 Fill in thisCase   24-15446-RG
              information                   Doc 1
                          to identify the case:            Filed 05/29/24 Entered 05/29/24 15:27:11                               Desc Main
                                                          Document Page 1 of 2068
     United States Bankruptcy Court for the:

     ____________________ District of _________________
     District of New Jersey           (State)



                                                                       7
     Case number (If known): _________________________ Chapter ______
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                             06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Sure  Thing Sales, LLC.
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          Sure  Thing Toys
                                           ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                   Mailing address, if different from principal place
                                                                                                         of business
                                               45 Villa Road                                             _______________________________________________
                                           ______________________________________________
                                           Number     Street                                             Number     Street

                                           ______________________________________________                _______________________________________________
                                                                                                         P.O. Box

                                               Little Falls                NJ       07424
                                           ______________________________________________                _______________________________________________
                                           City                        State    ZIP Code                 City                      State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                               Passaic County
                                           ______________________________________________
                                           County                                                        _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Sure Thing Sales, LLC.
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            459120
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the             
                                         ✔ Chapter 7
      debtor filing?
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
         Case 24-15446-RG                      Doc 1     Filed 05/29/24 Entered 05/29/24 15:27:11                                Desc Main
                                                        Document Page 3 of 2068
               Sure Thing Sales, LLC.
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                           ✔




                                           1-49                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000
                                                                            ✔
                                                                                                                      50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
          Case 24-15446-RG                   Doc 1         Filed 05/29/24 Entered 05/29/24 15:27:11                               Desc Main
                                                          Document Page 4 of 2068
             Sure Thing Sales, LLC.
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million
                                                                                 ✔
                                                                                                                         $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                              petition.
   debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            05/29/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Ryan Wing
                                              _____________________________________________              Ryan Wing
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    Member
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ Aiden Murphy
                                              _____________________________________________             Date          05/29/2024
                                                                                                                      _________________
                                              Signature of attorney for debtor                                        MM   / DD / YYYY



                                              Aiden Murphy
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Scura Wigfield, Heyer, Stevens & Cammarota LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                              1599 Hamburg Turnpike
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Wayne
                                             ____________________________________________________             NJ             07470
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              973-696-8391
                                             ____________________________________                              amurphy@scura.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              12324                                                           NJ
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
                Case 24-15446-RG                                   Doc 1             Filed 05/29/24 Entered 05/29/24 15:27:11                                                                      Desc Main
                                                                                    Document Page 5 of 2068

 Fill in this information to identify the case:

                Sure Thing Sales, LLC.
  Debtor name _________________________________________________________________

                                          District of New Jersey
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       1,242,100.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         1,242,100.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          818,000.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                          218,830.33
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        2,108,424.85



4. Total liabilities ...........................................................................................................................................................................        3,145,255.18
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
             Case 24-15446-RG                      Doc 1    Filed 05/29/24 Entered 05/29/24 15:27:11                             Desc Main
                                                           Document Page 6 of 2068
  Fill in this information to identify the case:

               Sure Thing Sales, LLC.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          District of New Jersey
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Bank of America
    3.1. _________________________________________________  Checking
                                                           ______________________              9
                                                                                               ____  4
                                                                                                    ____ 5
                                                                                                         ____ 2
                                                                                                              ____               $______________________
                                                                                                                                   0.00
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
         PayPal
   4.1. _____________________________________________________________________________________________________                      0.00
                                                                                                                                 $______________________
          Quickbooks
    4.2. _____________________________________________________________________________________________________                     0.00
                                                                                                                                 $______________________

5. Total of Part 1                                                                                                                 0.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    ✔


    Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
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Debtor           Sure Thing Sales, LLC.                    Document Page 7 of 2068
                _______________________________________________________           Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
            Case 24-15446-RG                   Doc 1        Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
                Sure Thing Sales, LLC.
Debtor                                                     Document Page 8 of 2068
               _______________________________________________________            Case number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                              Date of the last         Net book value of        Valuation method used      Current value of
                                                       physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                (Where available)
19. Raw materials
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

22. Other inventory or supplies
                                                                                                           Cost value                1,200,000.00
  Inventory
   ________________________________________                  ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                  1,200,000.00
                                                                                                                                   $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔ No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      ✔


      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used      Current value of debtor’s
                                                                                debtor's interest        for current value          interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________    $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                  page 3
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Debtor
                Sure Thing Sales, LLC.                     Document Page 9 of 2068
               _______________________________________________________            Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
Office furniture
                                                                                  $________________   ____________________       2,000.00
                                                                                                                               $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
Office equipment                                                                                                                 5,000.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 7,000.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
            Case 24-15446-RG                  Doc 1        Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
                Sure Thing Sales, LLC.
 Debtor                                                   Document Page 10 of 2068
               _______________________________________________________           Case number (if known)_____________________________________
               Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of     Valuation method used    Current value of
                                                                           debtor's interest     for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________     ____________________   $______________________

    47.2___________________________________________________________         $________________     ____________________   $______________________

    47.3___________________________________________________________         $________________     ____________________   $______________________

    47.4___________________________________________________________         $________________     ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________          $________________     ____________________   $______________________

    48.2__________________________________________________________          $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________          $________________     ____________________   $______________________

    49.2__________________________________________________________          $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    Manlift, shelving, conveyor system, tape machines, misc.
                                                                                                  Debtor's estimates       30,000.00
    ______________________________________________________________          $________________     ____________________   $______________________


51. Total of Part 8.                                                                                                       30,000.00
                                                                                                                         $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔ No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔ No
      Yes




 Official Form 206A/B                                       Schedule A/B: Assets  Real and Personal Property                       page 5
              Case   24-15446-RG
                Sure Thing Sales, LLC.
                                                   Doc 1       Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
 Debtor                                                       Document Page 11 of 2068
                  _______________________________________________________            Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
       ✔


        Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1

                                                                                     $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
        No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
        No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
                                                                                                                                     100.00
    Surethingtoys.com
    ______________________________________________________________                   $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations                                                                             5,000.00
    Customer List
    ______________________________________________________________                   $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                5,100.00
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                              page 6
             Case 24-15446-RG                           Doc 1    Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
Debtor            Sure Thing Sales, LLC.                        Document Page 12 of 2068
                 _______________________________________________________               Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔ No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔ No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
      ✔


     Yes. Fill in the information below.
                                                                                                                                       Current value of
                                                                                                                                       debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                          _______________ –   __________________________         =   $_____________________
     ______________________________________________________
                                                                          Total face amount   doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                    $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                    $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                    $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                     $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                       $_____________________
   ____________________________________________________________                                                                       $_____________________
78. Total of Part 11.
                                                                                                                                      $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                              Schedule A/B: Assets  Real and Personal Property                               page 7
              Case 24-15446-RG                          Doc 1         Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
                   Sure Thing Sales, LLC.
Debtor                                                               Document Page 13 of 2068
                  _______________________________________________________                   Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         0.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         1,200,000.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         7,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         30,000.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            0.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         5,100.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         1,242,100.00                      0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  1,242,100.00                                                                                   1,242,100.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
               Case 24-15446-RG                          Doc 1     Filed 05/29/24 Entered 05/29/24 15:27:11                                     Desc Main
                                                                  Document Page 14 of 2068
  Fill in this information to identify the case:
              Sure Thing Sales, LLC.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: District of New Jersey

  Case number (If known):       _________________________                                                                                             Check if this is an
                                                                                                                                                          amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim           Value of collateral
                                                                                                                               Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien          of collateral.            claim
     Amazon Capital Services, Inc.                               Inventory
      __________________________________________                                                                                 818,000.00
                                                                                                                               $__________________          1,200,000.00
                                                                                                                                                          $_________________

     Creditor’s mailing address

      2201 Westlake Avenue
      ________________________________________________________
      Seattle, WA 98121
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          
                                                                 ✔ No

    Last 4 digits of account                                      Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔ No

    same property?                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                               $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                 No
    same property?                                                Yes
     No                                                         Is anyone else liable on this claim?
     Yes. Have you already specified the relative                No
           priority?
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
          Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                       Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  818,000.00
                                                                                                                                $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        2
                                                                                                                                                            page 1 of ___
            Case 24-15446-RG                  Doc 1      Filed 05/29/24 Entered 05/29/24 15:27:11                                    Desc Main
                                                        Document Page 15 of 2068
Debtor
               Sure Thing Sales, LLC.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Amazon Capital Services, Inc
     410 Terry Ave. North,
     Seattle, WA, 98109                                                                                                1
                                                                                                               Line 2. __                    _________________


     Davis Wright Tremaine LLP
     920 Fifth Ave. - Suite 3300
     Seattle, WA, 98104                                                                                                1
                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      2 of ___
                                                                                                                                                           2
                 Case 24-15446-RG               Doc 1      Filed 05/29/24 Entered 05/29/24 15:27:11                                 Desc Main
   Fill in this information to identify the case:         Document Page 16 of 2068

   Debtor
                    Sure Thing Sales, LLC.
                    __________________________________________________________________

                                           District of New Jersey
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                       Check if this is an
                                                                                                                                          amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
    
    ✔ Yes. Go to line 2.


 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           2,600.20
    Alabama Department of Revenue                                                                                                     $_________________
                                                            Check all that apply.
    PO Box 327790                                            Contingent
                                                             Unliquidated
     Montgomery, AL, 36132-7790                              Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Arizona Department of Revenue                           As of the petition filing date, the claim is: $______________________
                                                                                                            46.14                     $_________________
                                                            Check all that apply.
    PO Box 29010
                                                             Contingent
     Phoenix, AZ, 85038                                      Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
                                8
    claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           158.00
    Arkanas Department of Revenue                                                                                                     $_________________
                                                            Check all that apply.
    PO Box 1272
                                                             Contingent
                                                             Unliquidated
    Little Rock, AR, 72203-1272                              Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
                               8
    claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                      page 1 of ___
                                                                                                                                                      1682
              Case   24-15446-RG
               Sure Thing Sales, LLC.         Doc 1      Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor         _______________________________________________________       Case number (if known)_____________________________________
                 Name                                   Document Page 17 of 2068
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                        19,821.00
                                                                                                          $______________________   $_________________
      California Department of Tax and Fee                As of the petition filing date, the claim is:
      Administration                                      Check all that apply.
      PO Box 942879                                        Contingent
                                                           Unliquidated
      Sacramento, CA, 94279-0001                           Disputed

        Date or dates debt was incurred                   Basis for the claim:

        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________
        Last 4 digits of account
        number      _______________________
                                                          Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔ No
                                                           Yes
  5
2.____ Priority creditor’s name and mailing address                                                        1,082.76
                                                                                                          $______________________   $_________________
      Colorado Department of Revenue
                                                          As of the petition filing date, the claim is:
      PO Box 17087
                                                          Check all that apply.

      Denver, CO, 80217-0087
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
                                                          Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

  6
2.____ Priority creditor’s name and mailing address                                                         113.84
                                                                                                          $______________________   $_________________
      Comptroller of Maryland                             As of the petition filing date, the claim is:
      110 Carroll Street                                  Check all that apply.
                                                           Contingent
      Annapolis, MD, 21411-0001                            Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________                 Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
        number      _______________________               Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured     
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)                  Yes
  7
2.____ Priority creditor’s name and mailing address                                                       93.17
                                                          As of the petition filing date, the claim is: $______________________     $_________________
      Florida Department of Revenue
                                                          Check all that apply.
      1415 W. US Highway 90 - STE 115
                                                           Contingent
      Lake City, FL, 32055-6156
                                                           Unliquidated
                                                           Disputed

                                                          Basis for the claim:
        Date or dates debt was incurred
                                                          Taxes & Other Government Units
                                                          _________________________________
        _________________________________

        Last 4 digits of account                          Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  2 of ___
                                                                                                                                                page __    1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.          Doc 1    Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________      Case number (if known)_____________________________________
                  Name                                  Document Page 18 of 2068
 Pa rt 1 .     Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  8
2.____ Priority creditor’s name and mailing address                                                        0.00
                                                                                                          $______________________   $_________________
       Georgia Department of Revenue                      As of the petition filing date, the claim is:
       PO Box 105408                                      Check all that apply.
                                                           Contingent
       Atlanta, GA, 30348-5408                             Unliquidated
                                                           Disputed

        Date or dates debt was incurred                   Basis for the claim:

        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________
        Last 4 digits of account
        number      _______________________
                                                          Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔ No
                                                           Yes
  9
2.____ Priority creditor’s name and mailing address                                                        32.64
                                                                                                          $______________________   $_________________
       Government of the District of Columbia
                                                          As of the petition filing date, the claim is:
       1101 4th St. SW
                                                          Check all that apply.

       Washington, DC, 20024
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
                                                          Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

  10
2.____ Priority creditor’s name and mailing address                                                         6.24
                                                                                                          $______________________   $_________________
       Idaho State Tax Commission                         As of the petition filing date, the claim is:
       PO Box 76                                          Check all that apply.
                                                           Contingent
       Boise, ID, 83707                                    Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________                 Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
        number      _______________________               Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured     
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)                  Yes
  11
2.____ Priority creditor’s name and mailing address                                                       150,000.00
                                                          As of the petition filing date, the claim is: $______________________     $_________________
      Internal Revenue Service
                                                          Check all that apply.
      P.O. Box 7346
      Philadelphia, PA, 19101
                                                           Contingent
                                                           Unliquidated
                                                           Disputed

                                                          Basis for the claim:
        Date or dates debt was incurred
                                                          Taxes & Other Government Units
                                                          _________________________________
        _________________________________

        Last 4 digits of account                          Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  3 of ___
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               Case   24-15446-RG
                Sure Thing Sales, LLC.        Doc 1      Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________      Case number (if known)_____________________________________
                  Name                                  Document Page 19 of 2068
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 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  12
2.____ Priority creditor’s name and mailing address                                                        208.35
                                                                                                          $______________________   $_________________
       Iowa Department of Revenue                         As of the petition filing date, the claim is:
       PO Box 10412                                       Check all that apply.
                                                           Contingent
       Des Moines, IA, 50306-0412                          Unliquidated
                                                           Disputed

        Date or dates debt was incurred                   Basis for the claim:

        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________
        Last 4 digits of account
        number      _______________________
                                                          Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔ No
                                                           Yes
  13
2.____ Priority creditor’s name and mailing address                                                        12.18
                                                                                                          $______________________   $_________________
       Kentucky Department of Revenue
                                                          As of the petition filing date, the claim is:
       PO Box 299
                                                          Check all that apply.

       Frankfort, KY, 40602
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
                                                          Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

  14
2.____ Priority creditor’s name and mailing address                                                         310.85
                                                                                                          $______________________   $_________________
       Louisiana Sales and Use Tax Commission For         As of the petition filing date, the claim is:
       Remote Sellers                                     Check all that apply.
       7722 Office Park Blvd. - Suite 400                  Contingent
                                                           Unliquidated
       Baton Rouge, LA, 70809                              Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________                 Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
        number      _______________________               Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured     
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)                  Yes
  15
2.____ Priority creditor’s name and mailing address                                                       1,040.40
                                                          As of the petition filing date, the claim is: $______________________     $_________________
    Massachusetts Department of Revenue
                                                          Check all that apply.
    PO Box 7043
                                                           Contingent
    Boston, MA, 02204
                                                           Unliquidated
                                                           Disputed

                                                          Basis for the claim:
        Date or dates debt was incurred
                                                          Taxes & Other Government Units
                                                          _________________________________
        _________________________________

        Last 4 digits of account                          Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  4 of ___
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               Case   24-15446-RG
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  Debtor          _______________________________________________________      Case number (if known)_____________________________________
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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  16
2.____ Priority creditor’s name and mailing address                                                        1,602.36
                                                                                                          $______________________   $_________________
       Michigan Department of Treasury                    As of the petition filing date, the claim is:
       PO Box 30406                                       Check all that apply.
                                                           Contingent
       Lansing, MI, 48909-7906                             Unliquidated
                                                           Disputed

        Date or dates debt was incurred                   Basis for the claim:

        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________
        Last 4 digits of account
        number      _______________________
                                                          Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔ No
                                                           Yes
  17
2.____ Priority creditor’s name and mailing address                                                        38.00
                                                                                                          $______________________   $_________________
       Minnisota Department of Revenue
                                                          As of the petition filing date, the claim is:
       Mail Station 6330
                                                          Check all that apply.

       St. Paul, MN, 55146-6330
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
                                                          Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

  18
2.____ Priority creditor’s name and mailing address                                                         30.40
                                                                                                          $______________________   $_________________
       Mississippi Department of Revenue                  As of the petition filing date, the claim is:
       PO Box 1033                                        Check all that apply.
                                                           Contingent
       Jackson, MS, 39215                                  Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________                 Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
        number      _______________________               Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured     
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)                  Yes
  19
2.____ Priority creditor’s name and mailing address                                                       7.77
                                                          As of the petition filing date, the claim is: $______________________     $_________________
    Nebraska Department of Revenue
                                                          Check all that apply.
    PO Box 98923
                                                           Contingent
    Lincoln, NE, 68509-8923
                                                           Unliquidated
                                                           Disputed

                                                          Basis for the claim:
        Date or dates debt was incurred
                                                          Taxes & Other Government Units
                                                          _________________________________
        _________________________________

        Last 4 digits of account                          Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  5 of ___
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               Case   24-15446-RG
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  Debtor          _______________________________________________________      Case number (if known)_____________________________________
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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  20
2.____ Priority creditor’s name and mailing address                                                        4,262.00
                                                                                                          $______________________   $_________________
       New Jersey Department of Labor                     As of the petition filing date, the claim is:
       PO Box 059                                         Check all that apply.
                                                           Contingent
       Trenton, NJ, 08646-0059                             Unliquidated
                                                           Disputed

        Date or dates debt was incurred                   Basis for the claim:

        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________
        Last 4 digits of account
        number      _______________________
                                                          Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔ No
                                                           Yes
  21
2.____ Priority creditor’s name and mailing address                                                        2,998.00
                                                                                                          $______________________   $_________________
       New Jersey Division of Taxation
                                                          As of the petition filing date, the claim is:
       PO Box 999
                                                          Check all that apply.

       Trenton, NJ, 08646-0999
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
                                                          Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

  22
2.____ Priority creditor’s name and mailing address                                                         0.00
                                                                                                          $______________________   $_________________
       New Mexico Taxation & Revenue                      As of the petition filing date, the claim is:
       1200 South St. Francis Dr.                         Check all that apply.
                                                           Contingent
       Santa Fe, NM, 87505                                 Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________                 Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
        number      _______________________               Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured     
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)                  Yes
  23
2.____ Priority creditor’s name and mailing address                                                       9,226.99
                                                          As of the petition filing date, the claim is: $______________________     $_________________
    New York Department of Taxation and Finance
                                                          Check all that apply.
    PO Box 5300
                                                           Contingent
    Albany, NY, 12205-0300
                                                           Unliquidated
                                                           Disputed

                                                          Basis for the claim:
        Date or dates debt was incurred
                                                          Taxes & Other Government Units
                                                          _________________________________
        _________________________________

        Last 4 digits of account                          Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  6 of ___
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                  Name                                  Document Page 22 of 2068
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 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  24
2.____ Priority creditor’s name and mailing address                                                        10.50
                                                                                                          $______________________   $_________________
       North Dakota Office of the State Tax               As of the petition filing date, the claim is:
       Commissioner                                       Check all that apply.
       600 E. Boulevard Ave. - Dept 127                    Contingent
                                                           Unliquidated
       Bismark, ND, 58505-0599                             Disputed

        Date or dates debt was incurred                   Basis for the claim:

        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________
        Last 4 digits of account
        number      _______________________
                                                          Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔ No
                                                           Yes
  25
2.____ Priority creditor’s name and mailing address                                                        6.67
                                                                                                          $______________________   $_________________
       Ohio Department of Taxation
                                                          As of the petition filing date, the claim is:
       PO Box 2678
                                                          Check all that apply.

       Columbus, OH, 43216-2678
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
                                                          Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

  26
2.____ Priority creditor’s name and mailing address                                                         388.71
                                                                                                          $______________________   $_________________
       Oklahoma Tax Commission                            As of the petition filing date, the claim is:
       PO Box 26850                                       Check all that apply.
                                                           Contingent
       Oklahoma City, OK, 73126-0850                       Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________                 Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
        number      _______________________               Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured     
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)                  Yes
  27
2.____ Priority creditor’s name and mailing address                                                       32.48
                                                          As of the petition filing date, the claim is: $______________________     $_________________
    Pennsylvania Department of Revenue
                                                          Check all that apply.
    PO Box 280404
                                                           Contingent
    Harrisburg, PA, 17128-0431
                                                           Unliquidated
                                                           Disputed

                                                          Basis for the claim:
        Date or dates debt was incurred
                                                          Taxes & Other Government Units
                                                          _________________________________
        _________________________________

        Last 4 digits of account                          Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  7 of ___
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               Case   24-15446-RG
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                   Name                                  Document Page 23 of 2068
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 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  28
2.____ Priority creditor’s name and mailing address                                                         1.18
                                                                                                           $______________________   $_________________
       South Dakota Department of Revenue                  As of the petition filing date, the claim is:
       445 East Capital Ave.                               Check all that apply.
                                                            Contingent
       Pierre, SD, 57501-3185                               Unliquidated
                                                            Disputed

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔ No
                                                            Yes
  29
2.____ Priority creditor’s name and mailing address                                                         3,200.00
                                                                                                           $______________________   $_________________
       State of California Franchise Tax Board
                                                           As of the petition filing date, the claim is:
       PO Box 942857
                                                           Check all that apply.

       Sacramento, CA, 94257-0540
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  30
2.____ Priority creditor’s name and mailing address                                                          6.63
                                                                                                           $______________________   $_________________
       State of Hawaii                                     As of the petition filing date, the claim is:
       PO Box 1530                                         Check all that apply.
                                                            Contingent
       Honolulu, HI, 96806-1530                             Unliquidated
                                                            Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)                   Yes
  31
2.____ Priority creditor’s name and mailing address                                                        300.00
                                                           As of the petition filing date, the claim is: $______________________     $_________________
    State of Maine
                                                           Check all that apply.
    PO Box 9101
                                                            Contingent
    Augusta, ME, 04332-9101
                                                            Unliquidated
                                                            Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

       Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  8 of ___
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               Case   24-15446-RG
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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  32
2.____ Priority creditor’s name and mailing address                                                        15,000.00
                                                                                                          $______________________   $_________________
       State of New Jersey, Division of Taxation          As of the petition filing date, the claim is:
       Compliance and Enforcement - Bankruptcy Unit       Check all that apply.
       3 John Fitch Way, 5th Floor, Po box 245             Contingent
       Trenton, NJ, 08695                                  Unliquidated
                                                           Disputed

        Date or dates debt was incurred                   Basis for the claim:

        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________
        Last 4 digits of account
        number      _______________________
                                                          Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔ No
                                                           Yes
  33
2.____ Priority creditor’s name and mailing address                                                        5,079.73
                                                                                                          $______________________   $_________________
       Tennessee Department of Revenue
                                                          As of the petition filing date, the claim is:
       500 Deaderick St. - 3rd Fl.
                                                          Check all that apply.

       Nashville, TN, 37242
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
                                                          Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

  34
2.____ Priority creditor’s name and mailing address                                                         1,000.00
                                                                                                          $______________________   $_________________
       Texas Comptroller of Public Accounts               As of the petition filing date, the claim is:
       PO Box 149348                                      Check all that apply.
                                                           Contingent
       Austin, TX, 78714-9348                              Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________                 Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
        number      _______________________               Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured     
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)                  Yes
  35
2.____ Priority creditor’s name and mailing address                                                       112.64
                                                          As of the petition filing date, the claim is: $______________________     $_________________
    Texas Comptroller of Public Accounts
                                                          Check all that apply.
    PO Box 1149354
                                                           Contingent
    Austin, TX, 78711-9354
                                                           Unliquidated
                                                           Disputed

                                                          Basis for the claim:
        Date or dates debt was incurred
                                                          Taxes & Other Government Units
                                                          _________________________________
        _________________________________

        Last 4 digits of account                          Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  9 of ___
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                  Name                                  Document Page 25 of 2068
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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  36
2.____ Priority creditor’s name and mailing address                                                        0.00
                                                                                                          $______________________   $_________________
       Vermont Department of Taxes                        As of the petition filing date, the claim is:
       PO Box 1881                                        Check all that apply.
                                                           Contingent
       Montpelier, VT, 05601-1881                          Unliquidated
                                                           Disputed

        Date or dates debt was incurred                   Basis for the claim:

        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________
        Last 4 digits of account
        number      _______________________
                                                          Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔ No
                                                           Yes
  37
2.____ Priority creditor’s name and mailing address                                                        0.00
                                                                                                          $______________________   $_________________
       Virginia Department of Taxation
                                                          As of the petition filing date, the claim is:
       PO Box 1777
                                                          Check all that apply.

       Richmond, VA, 23218-1777
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
                                                          Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

  38
2.____ Priority creditor’s name and mailing address                                                         0.50
                                                                                                          $______________________   $_________________
       Wisconsin Department of Revenue                    As of the petition filing date, the claim is:
       PO Box 3028                                        Check all that apply.
                                                           Contingent
       Milwaukee, WI, 53201-3028                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
        Date or dates debt was incurred
        _________________________________                 Taxes & Other Government Units
                                                          _________________________________

        Last 4 digits of account
        number      _______________________               Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured     
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)                  Yes
  39
2.____ Priority creditor’s name and mailing address                                                       0.00
                                                          As of the petition filing date, the claim is: $______________________     $_________________
    Wyoming Department of Revenue
                                                          Check all that apply.
    122 West 25th St. - Suite E301
                                                           Contingent
    Cheyenne, WY, 82002-0110
                                                           Unliquidated
                                                           Disputed

                                                          Basis for the claim:
        Date or dates debt was incurred
                                                          Taxes & Other Government Units
                                                          _________________________________
        _________________________________

        Last 4 digits of account                          Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

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  Debtor        _______________________________________________________        Case number (if known)_____________________________________
                Name                                    Document Page 26 of 2068
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                              Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address
    Aarhiel Fernandez
                                                                           Check all that apply.
                                                                                                                             54.99
                                                                                                                           $________________________________
                                                                            Contingent
    90 Canterbury Avenue                                                    Unliquidated
                                                                            Disputed
    Daly City, CA, 94015                                                                           Customers with Outstanding Deposits
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Aaron Gaspard                                                          Check all that apply.                             13.00
                                                                                                                           $________________________________
    1201 S College Rd, 2                                                    Contingent
                                                                            Unliquidated
    Lafayette, LA, 70503                                                    Disputed
                                                                           Basis for the claim:
                                                                                                   Customers with Outstanding Deposits


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address
    Aaron Bourg
                                                                           Check all that apply.                             89.99
                                                                                                                           $________________________________
                                                                            Contingent
    166 East 102nd Street                                                   Unliquidated
                                                                            Disputed
     Cut Off, LA, 70345
                                                                           Basis for the claim:
                                                                                                   Customers with Outstanding Deposits

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Aaron Buzzas                                                           Check all that apply.
                                                                                                                             32.99
                                                                                                                           $________________________________
    1825 Burlington Avenue                                                  Contingent
                                                                            Unliquidated
    Missoula, MT, 59801                                                     Disputed
                                                                            Basis for the claim:
                                                                                                   Customers with Outstanding Deposits

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Aaron Campbell                                                                                                           69.99
                                                                                                                           $________________________________
                                                                           Check all that apply.
    16830 dry run road south                                                Contingent
                                                                            Unliquidated
    Dry run, PA, 17220-9709                                                 Disputed
                                                                           Basis for the claim:
                                                                                                   Customers with Outstanding Deposits

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Aaron Cortez                                                                                                             35.99
                                                                                                                           $________________________________
                                                                           Check all that apply.
    915 South Aprilia Avenue                                                Contingent
                                                                            Unliquidated
     Compton, CA, 90220                                                     Disputed
                                                                           Basis for the claim:    Customers with Outstanding Deposits

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                             No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   11 of ___
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.98
                                                                                                                     $________________________________
 Aaron D Archuleta                                                    Contingent
 P.O. Box 668                                                         Unliquidated
                                                                      Disputed
 Espanola, NM, 87532
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       55.98
                                                                                                                     $________________________________
 Aaron Davis                                                         Check all that apply.
 224 S. Spencer St.                                                   Contingent
                                                                      Unliquidated
 FRACKVILLE, PA, 17931                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aaron Elliott                                                       Check all that apply.
                                                                                                                      116.59
                                                                                                                     $________________________________
 42956 Beachall Street                                                Contingent
                                                                      Unliquidated
 Chantilly, VA, 20152                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.98
                                                                                                                     $________________________________
 Aaron Escobedo                                                      Check all that apply.
 2034 N 18th Ave Apt 8                                                Contingent
                                                                      Unliquidated
 Melrose Park, IL, 60160                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aaron Foster                                                        Check all that apply.
                                                                                                                       150.96
                                                                                                                     $________________________________
 205 N Forke Dr                                                       Contingent
                                                                      Unliquidated
 Advance, NC, 27006                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Aaron Gartin                                                         Contingent
 2180 rt65                                                            Unliquidated
                                                                      Disputed
 Delbarton, WV, 25670
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.22
                                                                                                                     $________________________________
 Aaron herkenhoff                                                    Check all that apply.
 1025 Flagler st                                                      Contingent
                                                                      Unliquidated
 Durham, NC, 27713                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aaron Herrera-Pacheco                                               Check all that apply.
                                                                                                                      661.45
                                                                                                                     $________________________________
 4611 W Broadway, Apt. B                                              Contingent
                                                                      Unliquidated
 Hawthorne, CA, 90250                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.99
                                                                                                                     $________________________________
 Aaron Howard                                                        Check all that apply.
 527 Turkey Lane                                                      Contingent
                                                                      Unliquidated
 Cynthiana, KY, 41031                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aaron Jackson                                                       Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 228 Alverstone Street                                                Contingent
                                                                      Unliquidated
 DeSoto, TX, 75115                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Aaron Labajo                                                         Contingent
 15480 Red Pepper Place                                               Unliquidated
                                                                      Disputed
 Fontana, CA, 92336
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.49
                                                                                                                     $________________________________
 aaron moore                                                         Check all that apply.
 715 Almondwood Place                                                 Contingent
                                                                      Unliquidated
 La Vergne, TN, 37086                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aaron Mullinix                                                      Check all that apply.
                                                                                                                      33.16
                                                                                                                     $________________________________
 337 South Hightpoint Road, 2                                         Contingent
                                                                      Unliquidated
 Spartanburg, SC, 29301                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                     $________________________________
 Aaron Nuezca                                                        Check all that apply.
 600 William Street, 109                                              Contingent
                                                                      Unliquidated
 Oakland, CA, 94612                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aaron Nugent                                                        Check all that apply.
                                                                                                                       170.12
                                                                                                                     $________________________________
 97 Norman Street                                                     Contingent
                                                                      Unliquidated
 Manchester, CT, 6040                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                               14 of ___
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             77.94
                                                                                                                     $________________________________
 Aaron Simpliciano                                                    Contingent
 94-413 Honowai Place                                                 Unliquidated
                                                                      Disputed
 Waipahu, HI, 96797
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Aaron Sims                                                          Check all that apply.
 30w Pebble Beach Cir, 104                                            Contingent
                                                                      Unliquidated
 Glendale Heights, IL, 60139                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aaron Smith                                                         Check all that apply.
                                                                                                                      38.97
                                                                                                                     $________________________________
 13291 Criolla Circle                                                 Contingent
                                                                      Unliquidated
 Eastvale, CA, 92880                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.19
                                                                                                                     $________________________________
 Aaron Souvanno                                                      Check all that apply.
 1609 Amy Avenue                                                      Contingent
                                                                      Unliquidated
 Glendale Heights, IL, 60139                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aaron Tang                                                          Check all that apply.
                                                                                                                       182.32
                                                                                                                     $________________________________
 47 Highfield Lane                                                    Contingent
                                                                      Unliquidated
 Nutley, NJ, 7110                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.65
                                                                                                                     $________________________________
 Aaron Taylor                                                         Contingent
 2907 Kidder Rd                                                       Unliquidated
                                                                      Disputed
 Clinton, MD, 20735
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       203.76
                                                                                                                     $________________________________
 Aaron Tietjen                                                       Check all that apply.
 9762 s. chylene dr                                                   Contingent
                                                                      Unliquidated
 sandy, UT, 84092                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aaron Villicana                                                     Check all that apply.
                                                                                                                      12.86
                                                                                                                     $________________________________
 3148 La Mantia Drive                                                 Contingent
                                                                      Unliquidated
 Yuba City, CA, 95993                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Aaron Woods                                                         Check all that apply.
 6501 Colonial Drive, Apt #3                                          Contingent
                                                                      Unliquidated
 Myrtle Beach, SC, 29572                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aaron Yunk                                                          Check all that apply.
                                                                                                                       59.98
                                                                                                                     $________________________________
 5201 E. US highway 95, LOT 137                                       Contingent
                                                                      Unliquidated
 Yuma, AZ, 85365                                                      Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             66.98
                                                                                                                     $________________________________
 Aarti Kasabwala                                                      Contingent
 583 Paulison Ave                                                     Unliquidated
                                                                      Disputed
 Clifton, NJ, 07011-4120
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.34
                                                                                                                     $________________________________
 AB Donegan                                                          Check all that apply.
 525 Park Terrace                                                     Contingent
                                                                      Unliquidated
 Greensboro, NC, 27403                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 abbi o?Äômalley                                                     Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 3105 East 5th Road, lot j                                            Contingent
                                                                      Unliquidated
 La Salle, IL, 61301                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      48.59
                                                                                                                     $________________________________
 Abbie Gettys                                                        Check all that apply.
 936 Achord Circle, Apt. 22                                           Contingent
                                                                      Unliquidated
 Dublin, GA, 31021                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Abbigail Copeland                                                   Check all that apply.
                                                                                                                       119.99
                                                                                                                     $________________________________
 1484 E Louise Dr                                                     Contingent
                                                                      Unliquidated
 Columbia City, IN, 46725                                             Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.96
                                                                                                                     $________________________________
 Abby Dycus                                                           Contingent
 1350 Fort Lamar Rd                                                   Unliquidated
                                                                      Disputed
 Charleston, SC, 29412
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Abdallah Higazy                                                     Check all that apply.
 21021 Aldine Westfield Road, 1204                                    Contingent
                                                                      Unliquidated
 Humble, TX, 77338                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Abdi Rosa                                                           Check all that apply.
                                                                                                                      26.74
                                                                                                                     $________________________________
 402 Jewell St                                                        Contingent
                                                                      Unliquidated
 Columbus, IN, 47203                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.99
                                                                                                                     $________________________________
 Abdulla Faiq                                                        Check all that apply.
 40 Metropolitan Oval Apt 2A                                          Contingent
                                                                      Unliquidated
 Bronx, NY, 10462                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Abdullah Bakolka                                                    Check all that apply.
                                                                                                                       27.99
                                                                                                                     $________________________________
 4882 West wiley post way, B6101                                      Contingent
                                                                      Unliquidated
 SALT LAKE CITY, UT, 84116                                            Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             92.60
                                                                                                                     $________________________________
 Abel Mota                                                            Contingent
 4522 S Harding                                                       Unliquidated
                                                                      Disputed
 Chicago, IL, 60632-4016
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Abiel Reyes                                                         Check all that apply.
 7809 State Line Avenue                                               Contingent
                                                                      Unliquidated
 Munster, IN, 46321                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Abigail Cole                                                        Check all that apply.
                                                                                                                      42.38
                                                                                                                     $________________________________
 1420 Mulberry Ln.                                                    Contingent
                                                                      Unliquidated
 St. Joseph, MI, 49085                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 Abigail Ott                                                         Check all that apply.
 3114 S. Herman St., Apt A                                            Contingent
                                                                      Unliquidated
 Milwaukee, WI, 53207                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Abigail Schwartz                                                    Check all that apply.
                                                                                                                       31.12
                                                                                                                     $________________________________
 9153 County Road 3                                                   Contingent
                                                                      Unliquidated
 Owatonna, MN, 55060                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Abigail Stringham                                                    Contingent
 17434 Hoskinson Rd                                                   Unliquidated
                                                                      Disputed
 poolesville, MD, 20837
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Abigail Wilson                                                      Check all that apply.
 5109 N 33rd St                                                       Contingent
                                                                      Unliquidated
 Arlington, VA, 22207                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Abigaile Caaway                                                     Check all that apply.
                                                                                                                      54.94
                                                                                                                     $________________________________
 10950 Welsh Road                                                     Contingent
                                                                      Unliquidated
 San Diego, CA, 92126                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      7.53
                                                                                                                     $________________________________
 Abigale Rippe                                                       Check all that apply.
 6914 Cottonwood Circle                                               Contingent
                                                                      Unliquidated
 Eastvale, CA, 92880                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Abigayil Ramirez                                                    Check all that apply.
                                                                                                                       141.77
                                                                                                                     $________________________________
 310 East 9th St                                                      Contingent
                                                                      Unliquidated
 BAKERSFIELD, CA, 93307                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.61
                                                                                                                     $________________________________
 Abraham Castro                                                       Contingent
 1418 Paddocks Way                                                    Unliquidated
                                                                      Disputed
 Powder Springs, GA, 30127
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.99
                                                                                                                     $________________________________
 Abraham FLores                                                      Check all that apply.
 24191 Pleasant Run Rd                                                Contingent
                                                                      Unliquidated
 Moreno Valley, CA, 92557                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Abraham Gonzalez                                                    Check all that apply.
                                                                                                                      28.99
                                                                                                                     $________________________________
 556 N Chardonnay Dr                                                  Contingent
                                                                      Unliquidated
 Covina, CA, 91723                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Abraham Higginbotham                                                Check all that apply.
 14641 Deervale Place                                                 Contingent
                                                                      Unliquidated
 Sherman Oaks, CA, 91403                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Abraham Mata                                                        Check all that apply.
                                                                                                                       34.17
                                                                                                                     $________________________________
 6425 Clara St                                                        Contingent
                                                                      Unliquidated
 Bell Gardens, CA, 90201                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  57
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 Abraham Ponce                                                        Contingent
 16255 Daisy View Court                                               Unliquidated
                                                                      Disputed
 Conroe, TX, 77302
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       125.55
                                                                                                                     $________________________________
 Abraham Rivera                                                      Check all that apply.
 808 flatters way                                                     Contingent
                                                                      Unliquidated
 Pflugerville , TX, 78660                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  59
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Abram Yang                                                          Check all that apply.
                                                                                                                      34.80
                                                                                                                     $________________________________
 1918 Georgia Avenue                                                  Contingent
                                                                      Unliquidated
 Sheboygan, WI, 53081                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      678.86
                                                                                                                     $________________________________
 Absaar Jawed                                                        Check all that apply.
 49 Green Street, Apartment B                                         Contingent
                                                                      Unliquidated
 Westwood, NJ, 7675                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Absalom Menchavez                                                   Check all that apply.
                                                                                                                       74.16
                                                                                                                     $________________________________
 4346 Faith Home Road                                                 Contingent
                                                                      Unliquidated
 Ceres, CA, 95307                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  62
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             81.64
                                                                                                                     $________________________________
 Ace owo                                                              Contingent
 1064 60th Street                                                     Unliquidated
                                                                      Disputed
 Brooklyn, NY, 11219
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       45.69
                                                                                                                     $________________________________
 Ace Royal                                                           Check all that apply.
 1985 S Knox Ct                                                       Contingent
                                                                      Unliquidated
 Denver, CO, 80219                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  64
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 AD L                                                                Check all that apply.
                                                                                                                      58.02
                                                                                                                     $________________________________
 335 Isabel St.                                                       Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90065                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.99
                                                                                                                     $________________________________
 Adalicia Garcia-Bellorin                                            Check all that apply.
 6622 Shadygrove St.                                                  Contingent
                                                                      Unliquidated
 Tujunga, CA, 91042                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adam Conner                                                         Check all that apply.
                                                                                                                       59.98
                                                                                                                     $________________________________
 5522 Cory Street                                                     Contingent
                                                                      Unliquidated
 Fairview Heights, IL, 62208                                          Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.63
                                                                                                                     $________________________________
 Adam Bransky                                                         Contingent
 92 3rd Ave, Apt 1                                                    Unliquidated
                                                                      Disputed
 Garwood, NJ, 7027
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  68
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.99
                                                                                                                     $________________________________
 Adam Dilley                                                         Check all that apply.
 1750 Brookview Rd                                                    Contingent
                                                                      Unliquidated
 Baltimore, MD, 21222                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  69
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adam Dutro                                                          Check all that apply.
                                                                                                                      32.31
                                                                                                                     $________________________________
 29040 Spring Rd #501                                                 Contingent
                                                                      Unliquidated
 Pine Valley, CA, 91962                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  70
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      404.94
                                                                                                                     $________________________________
 Adam Enriquez                                                       Check all that apply.
 4719 Hunter Peak Ct                                                  Contingent
                                                                      Unliquidated
 Antioch, CA, 94531                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  71
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adam Faulkner                                                       Check all that apply.
                                                                                                                       20.56
                                                                                                                     $________________________________
 1658 N Olympic                                                       Contingent
                                                                      Unliquidated
 Mesa, AZ, 85205                                                      Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  72
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.80
                                                                                                                     $________________________________
 Adam Flores                                                          Contingent
 13950 milton ave, suite 200A                                         Unliquidated
                                                                      Disputed
 westminister, CA, 92683
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  73
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.91
                                                                                                                     $________________________________
 Adam Fox                                                            Check all that apply.
 5770 Ruhl Rd.                                                        Contingent
                                                                      Unliquidated
 Fairview, PA, 16415                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  74
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adam Grey                                                           Check all that apply.
                                                                                                                      28.01
                                                                                                                     $________________________________
 135 Garfield Pl, Apt 423                                             Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45202                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  75
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Adam Lopez                                                          Check all that apply.
 4513 La Madera Avenue                                                Contingent
                                                                      Unliquidated
 El Monte, CA, 91732                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  76
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adam Miller                                                         Check all that apply.
                                                                                                                       41.33
                                                                                                                     $________________________________
 100 1st Avenue                                                       Contingent
                                                                      Unliquidated
 Reisterstown, MD, 21136                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  77
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             85.69
                                                                                                                     $________________________________
 Adam Nelson                                                          Contingent
 106 Indian Hills Lane                                                Unliquidated
                                                                      Disputed
 Circle Pines, MN, 55014
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  78
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Adam Nikirk                                                         Check all that apply.
 714 North 7th Street                                                 Contingent
                                                                      Unliquidated
 Grand Junction, CO, 81501                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  79
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adam Orwig                                                          Check all that apply.
                                                                                                                      239.98
                                                                                                                     $________________________________
 4 West 32 nd St.                                                     Contingent
                                                                      Unliquidated
 Sand Springs, OK, 74063                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  80
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.07
                                                                                                                     $________________________________
 Adam Presson                                                        Check all that apply.
 20264 NEWSOME RD                                                     Contingent
                                                                      Unliquidated
 OAKBORO, NC, 28129-9580                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  81
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adam Rivera                                                         Check all that apply.
                                                                                                                       176.98
                                                                                                                     $________________________________
 1410 West Dekalb Street                                              Contingent
                                                                      Unliquidated
 Egg Harbor City, NJ, 8215                                            Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  82
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             139.98
                                                                                                                     $________________________________
 Adam RYAN                                                            Contingent
 832 S. Nova Road, 100                                                Unliquidated
                                                                      Disputed
 Daytona Beach, FL, 32114
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  83
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.76
                                                                                                                     $________________________________
 Adam Sabata                                                         Check all that apply.
 224 Edinboro Drive                                                   Contingent
                                                                      Unliquidated
 Southern Pines, NC, 28387                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  84
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adam Schmidt                                                        Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 8133 Sepulveda Boulevard, 102                                        Contingent
                                                                      Unliquidated
 Panorama City, CA, 91402                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  85
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.59
                                                                                                                     $________________________________
 Adam Shields                                                        Check all that apply.
 303 FIRESIDE ST.                                                     Contingent
                                                                      Unliquidated
 Oceanside, CA, 92058                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  86
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adam Smith                                                          Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 2543 Flintridge Drive                                                Contingent
                                                                      Unliquidated
 Glendale, CA, 91206                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  87
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.67
                                                                                                                     $________________________________
 Adam Strantz                                                         Contingent
 790 N Dick Ave                                                       Unliquidated
                                                                      Disputed
 Hamilton, OH, 45013
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  88
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       109.99
                                                                                                                     $________________________________
 Adam Vitale                                                         Check all that apply.
 269 Chestnut Hill Road                                               Contingent
                                                                      Unliquidated
 Emmaus, PA, 18049                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  89
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adam Xiong                                                          Check all that apply.
                                                                                                                      319.97
                                                                                                                     $________________________________
 4688 E Pitt Ave                                                      Contingent
                                                                      Unliquidated
 Fresno, CA, 93725                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  90
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.98
                                                                                                                     $________________________________
 adan bojorquez                                                      Check all that apply.
 2125 GREENLEE DR                                                     Contingent
                                                                      Unliquidated
 EL PASO, TX, 79936                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  91
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adan Flores                                                         Check all that apply.
                                                                                                                       43.97
                                                                                                                     $________________________________
 7701 Calle Paraiso NE                                                Contingent
                                                                      Unliquidated
 Albuquerque, NM, 87113                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  92
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.34
                                                                                                                     $________________________________
 Adan Rivas                                                           Contingent
 4313 Altura Avenue, Apt 2                                            Unliquidated
                                                                      Disputed
 El Paso, TX, 79903
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  93
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.39
                                                                                                                     $________________________________
 Adhitya Sripennem                                                   Check all that apply.
 1853 26th Street, #115, View on 26th                                 Contingent
                                                                      Unliquidated
 Boulder, CO, 80302                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  94
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aditya Aiyer                                                        Check all that apply.
                                                                                                                      25.84
                                                                                                                     $________________________________
 7029 Heron Cir                                                       Contingent
                                                                      Unliquidated
 Carlsbad, CA, 92011                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  95
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      244.67
                                                                                                                     $________________________________
 Adniel Hernandez                                                    Check all that apply.
 82309 Valencia Avenue                                                Contingent
                                                                      Unliquidated
 Indio, CA, 92201                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  96
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adolfo Angel Medina                                                 Check all that apply.
                                                                                                                       25.99
                                                                                                                     $________________________________
 10603 S Wilcrest Dr, #43                                             Contingent
                                                                      Unliquidated
 Houston, TX, 77099                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  97
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.98
                                                                                                                     $________________________________
 Adonis Inman                                                         Contingent
 3485 Princess Tammy Cove                                             Unliquidated
                                                                      Disputed
 Tucker, GA, 30084
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  98
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       477.87
                                                                                                                     $________________________________
 Adonis Rodriguez                                                    Check all that apply.
 452 Satsuma Lane                                                     Contingent
                                                                      Unliquidated
 Orlando, FL, 32835                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  99
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adria Renouard                                                      Check all that apply.
                                                                                                                      52.79
                                                                                                                     $________________________________
 26099 W ORAIBI DR                                                    Contingent
                                                                      Unliquidated
 BUCKEYE, AZ, 85396                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  100
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      90.92
                                                                                                                     $________________________________
 Adrian Angel                                                        Check all that apply.
 5007 Caprock Dr                                                      Contingent
                                                                      Unliquidated
 Pearland, TX, 77584                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  101
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adrian Bocanegra                                                    Check all that apply.
                                                                                                                       184.99
                                                                                                                     $________________________________
 610 N Mississippi ave                                                Contingent
                                                                      Unliquidated
 BIg Lake, TX, 76932                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  102
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.44
                                                                                                                     $________________________________
 adrian burstein                                                      Contingent
 2100 NE 208th st                                                     Unliquidated
                                                                      Disputed
 Miami, FL, 33179
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  103
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Adrian Castillo                                                     Check all that apply.
 3828 Wilberta Street                                                 Contingent
                                                                      Unliquidated
 Olney, MD, 20832                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  104
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adrian Contreras                                                    Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 13526 East Evans Avenue                                              Contingent
                                                                      Unliquidated
 Aurora, CO, 80014                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  105
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      86.59
                                                                                                                     $________________________________
 Adrian Contreras                                                    Check all that apply.
 9326 Sandpiper Tree                                                  Contingent
                                                                      Unliquidated
 San Antonio, TX, 78251                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  106
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adrian Escobar                                                      Check all that apply.
                                                                                                                       28.13
                                                                                                                     $________________________________
 147 Abney Drive                                                      Contingent
                                                                      Unliquidated
 Houston, TX, 77060                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  107
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Adrian Fernandez                                                     Contingent
 1728 North Karlov Avenue                                             Unliquidated
                                                                      Disputed
 Chicago, IL, 60639
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  108
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       67.10
                                                                                                                     $________________________________
 Adrian Garcia                                                       Check all that apply.
 12303 Serenity Farm                                                  Contingent
                                                                      Unliquidated
 San Antonio, TX, 78249                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  109
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adrian Gonzalez-Perez                                               Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 5151 W Roscoe St                                                     Contingent
                                                                      Unliquidated
 Chicago, IL, 60641-4205                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  110
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.53
                                                                                                                     $________________________________
 Adrian Herrera                                                      Check all that apply.
 5943 Fox Point Trail,                                                Contingent
                                                                      Unliquidated
 Dallas, TX, 75249                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  111
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adrian Joseph Aguilar                                               Check all that apply.
                                                                                                                       49.99
                                                                                                                     $________________________________
 10815 Hesby Street, 209                                              Contingent
                                                                      Unliquidated
 Los Angeles, CA, 91601                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  112
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.35
                                                                                                                     $________________________________
 Adrian Lara                                                          Contingent
 231 Briarwood Drive                                                  Unliquidated
                                                                      Disputed
 Elgin, IL, 60120
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  113
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.13
                                                                                                                     $________________________________
 Adrian Nunez                                                        Check all that apply.
 7435 Wilcox                                                          Contingent
                                                                      Unliquidated
 El Paso, TX, 79915                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  114
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adrian P                                                            Check all that apply.
                                                                                                                      28.99
                                                                                                                     $________________________________
 100 Chapel Street, Apt 2                                             Contingent
                                                                      Unliquidated
 New Haven, CT, 6513                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  115
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      63.99
                                                                                                                     $________________________________
 Adrian Proctor                                                      Check all that apply.
 1838 CONCORD AVE SE                                                  Contingent
                                                                      Unliquidated
 GRAND RAPIDS, MI, 49506-4629                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  116
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adrian Rivas                                                        Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 1474 Chaffee st, Apt 103                                             Contingent
                                                                      Unliquidated
 Upland, CA, 91786                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  117
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             176.98
                                                                                                                     $________________________________
 adrian ruiz                                                          Contingent
 605 colchester ct                                                    Unliquidated
                                                                      Disputed
 middletown, DE, 19709
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  118
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       126.13
                                                                                                                     $________________________________
 Adrian Washington                                                   Check all that apply.
 6114 Noah Way                                                        Contingent
                                                                      Unliquidated
 Hanover, MD, 21076                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  119
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adrian Wong                                                         Check all that apply.
                                                                                                                      85.66
                                                                                                                     $________________________________
 3855 Kent Way                                                        Contingent
                                                                      Unliquidated
 South San Francisco, CA, 94080                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  120
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Adriana Huerta                                                      Check all that apply.
 1860 Thompson Ave                                                    Contingent
                                                                      Unliquidated
 Atlanta , GA, 30344                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  121
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adriana Price                                                       Check all that apply.
                                                                                                                       29.25
                                                                                                                     $________________________________
 6881 Linda Creek Ct                                                  Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89178                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  122
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             47.99
                                                                                                                     $________________________________
 Adriana Rodriguez                                                    Contingent
 3314 PEBBLE BEACH DR                                                 Unliquidated
                                                                      Disputed
 HARLINGEN, TX, 78550
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  123
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       106.97
                                                                                                                     $________________________________
 Adriana Tercilla                                                    Check all that apply.
 905 NE 199th St, 205                                                 Contingent
                                                                      Unliquidated
 Miami, FL, 33179                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  124
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adrianna Meucci                                                     Check all that apply.
                                                                                                                      168.26
                                                                                                                     $________________________________
 4231 15th Avenue Southwest                                           Contingent
                                                                      Unliquidated
 Naples, FL, 34116                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  125
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      92.00
                                                                                                                     $________________________________
 Adrianne Garcia                                                     Check all that apply.
 714 Pebblecreek Dr                                                   Contingent
                                                                      Unliquidated
 Garland, TX, 75040                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  126
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Adrien Rodriguez                                                    Check all that apply.
                                                                                                                       13.19
                                                                                                                     $________________________________
 27747 E Frost Pl                                                     Contingent
                                                                      Unliquidated
 Aurora, CO, 80016-6253                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  127
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.70
                                                                                                                     $________________________________
 Adrienne Abercrombie                                                 Contingent
 1608 Hollis Dr                                                       Unliquidated
                                                                      Disputed
 Orlando, FL, 32822
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  128
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.25
                                                                                                                     $________________________________
 Adrienne Gamble                                                     Check all that apply.
 325 S 400 E Apt 1                                                    Contingent
                                                                      Unliquidated
 Salt Lake City, UT, 84111                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  129
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Agustin Arroyo                                                      Check all that apply.
                                                                                                                      22.98
                                                                                                                     $________________________________
 32 Pierce street                                                     Contingent
                                                                      Unliquidated
 Newark, NJ, 7103                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  130
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.44
                                                                                                                     $________________________________
 Ahlexus Deang                                                       Check all that apply.
 336 Manton Ave                                                       Contingent
                                                                      Unliquidated
 Providence, RI, 2909                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  131
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ahmed Flores                                                        Check all that apply.
                                                                                                                       27.37
                                                                                                                     $________________________________
 423 W locust st                                                      Contingent
                                                                      Unliquidated
 Covington , VA, 24426                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  132
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             46.23
                                                                                                                     $________________________________
 Aidan Ball                                                           Contingent
 393 Monmouth Boulevard                                               Unliquidated
                                                                      Disputed
 Galesburg, IL, 61401
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  133
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.78
                                                                                                                     $________________________________
 Aidan Esposito                                                      Check all that apply.
 28 Lynwood Rd                                                        Contingent
                                                                      Unliquidated
 Cedar Grove, NJ, 7009                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  134
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aidan Machin                                                        Check all that apply.
                                                                                                                      21.31
                                                                                                                     $________________________________
 18 High Pond Ln                                                      Contingent
                                                                      Unliquidated
 Bedminster, NJ, 7921                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  135
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.99
                                                                                                                     $________________________________
 Aidan O'Brien                                                       Check all that apply.
 17315 Cougar Trails Dr.                                              Contingent
                                                                      Unliquidated
 Wildwood, MO, 63040                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  136
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aiden Orton                                                         Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 2925 Madison Avenue, Apt 4                                           Contingent
                                                                      Unliquidated
 Burlington, IA, 52601                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  137
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.00
                                                                                                                     $________________________________
 Aileen Gonzalez                                                      Contingent
 3819 Lawrence Ct                                                     Unliquidated
                                                                      Disputed
 Monroe, NC, 28110-8646
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  138
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       69.99
                                                                                                                     $________________________________
 Aileen Hernandez                                                    Check all that apply.
 10 Clayton St, Apt 1                                                 Contingent
                                                                      Unliquidated
 Malden, MA, 2148                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  139
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aisha Heidt                                                         Check all that apply.
                                                                                                                      15.99
                                                                                                                     $________________________________
 91-310 Peleleu Pl                                                    Contingent
                                                                      Unliquidated
 Ewa Beach, HI, 96706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  140
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.86
                                                                                                                     $________________________________
 Aisha Swain                                                         Check all that apply.
 39 E 8330 S                                                          Contingent
                                                                      Unliquidated
 Sandy, UT, 84070-2115                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  141
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aivre Sutton                                                        Check all that apply.
                                                                                                                       86.82
                                                                                                                     $________________________________
 9875 Prominent Peak Heights, Apt 315                                 Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80924                                          Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  142
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 AJ Garcia                                                            Contingent
 1208 Northeast 41st Avenue                                           Unliquidated
                                                                      Disputed
 Homestead, FL, 33033
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  143
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.99
                                                                                                                     $________________________________
 AJ Ramirez                                                          Check all that apply.
 3823 Calle Buenos Aires                                              Contingent
                                                                      Unliquidated
 Brownsville, TX, 78526                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  144
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aja Leeann Cruz                                                     Check all that apply.
                                                                                                                      13.17
                                                                                                                     $________________________________
 587 Westmoor Ave                                                     Contingent
                                                                      Unliquidated
 Daly City, CA, 94015                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  145
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.99
                                                                                                                     $________________________________
 Ajana Jones                                                         Check all that apply.
 7702 Girard Circle                                                   Contingent
                                                                      Unliquidated
 Omaha, NE, 68122                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  146
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alain De Quesada                                                    Check all that apply.
                                                                                                                       69.54
                                                                                                                     $________________________________
 1695 Southwest 12th Street                                           Contingent
                                                                      Unliquidated
 Miami, FL, 33135                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  147
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             94.60
                                                                                                                     $________________________________
 alaina jones                                                         Contingent
 3129 Federalist Ln                                                   Unliquidated
                                                                      Disputed
 Sacramento, CA, 95827
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  148
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       170.98
                                                                                                                     $________________________________
 alan aguilar                                                        Check all that apply.
 1821 North 40th Avenue                                               Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85009                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  149
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alan Byron Rosillo                                                  Check all that apply.
                                                                                                                      146.71
                                                                                                                     $________________________________
 12040 SHELDON ST, APT B37                                            Contingent
                                                                      Unliquidated
 Sun valley, CA, 91352                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  150
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Alan Cornford                                                       Check all that apply.
 8477 North Meadowlark Lane                                           Contingent
                                                                      Unliquidated
 Stillman Valley, IL, 61084                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  151
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alan Dunmire                                                        Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 70 E Prada Pacana Lane                                               Contingent
                                                                      Unliquidated
 Washington, UT, 84780                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  152
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Alan Gonsalez                                                        Contingent
 1907 West Jay Street, Apt F                                          Unliquidated
                                                                      Disputed
 Pasco, WA, 99301
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  153
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.99
                                                                                                                     $________________________________
 Alan Hernandez                                                      Check all that apply.
 9817 Larga Dr.                                                       Contingent
                                                                      Unliquidated
 Dallas, TX, 75220                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  154
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alan Jeffers                                                        Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 3236 E Avenue H2                                                     Contingent
                                                                      Unliquidated
 Lancaster, CA, 93535                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  155
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.36
                                                                                                                     $________________________________
 Alan Lord                                                           Check all that apply.
 11 Baker Ln                                                          Contingent
                                                                      Unliquidated
 Lakeville, MA, 2347                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  156
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alan Natanagara                                                     Check all that apply.
                                                                                                                       187.96
                                                                                                                     $________________________________
 928 Sycamore Drive                                                   Contingent
                                                                      Unliquidated
 Decatur, GA, 30030                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  157
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 Alan Sayer                                                           Contingent
 402 Hunter Avenue                                                    Unliquidated
                                                                      Disputed
 Niles, OH, 44446
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  158
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       88.99
                                                                                                                     $________________________________
 Alan Shepherd                                                       Check all that apply.
 3812 Market Street                                                   Contingent
                                                                      Unliquidated
 West Valley City, UT, 84119                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  159
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alan Simon                                                          Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 14253 N. 50th DR.                                                    Contingent
                                                                      Unliquidated
 Glendale, AZ, 85306                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  160
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                     $________________________________
 alan vozila                                                         Check all that apply.
 2443 29th Avenue                                                     Contingent
                                                                      Unliquidated
 San Francisco, CA, 94116                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  161
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alayne Avery                                                        Check all that apply.
                                                                                                                       98.97
                                                                                                                     $________________________________
 29104 homewood dr                                                    Contingent
                                                                      Unliquidated
 Wickliffe, OH, 44092                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  162
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.00
                                                                                                                     $________________________________
 Albert Dockweiler                                                    Contingent
 2462 Crisfield Street                                                Unliquidated
                                                                      Disputed
 Toms River, NJ, 8755
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  163
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.98
                                                                                                                     $________________________________
 Albert Gonzalez                                                     Check all that apply.
 11343 LOVEBIRD LN                                                    Contingent
                                                                      Unliquidated
 HOUSTON, TX, 77067                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  164
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Albert Huerta                                                       Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 2591 West 7590 South                                                 Contingent
                                                                      Unliquidated
 West Jordan, UT, 84084                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  165
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      84.00
                                                                                                                     $________________________________
 Albert Huynh                                                        Check all that apply.
 8322 Worthy Drive                                                    Contingent
                                                                      Unliquidated
 Midway City, CA, 92655                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  166
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Albert Melgar                                                       Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 10403 Gypsy Ave                                                      Contingent
                                                                      Unliquidated
 Weeki Wachee, FL, 34613                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  167
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.99
                                                                                                                     $________________________________
 Albert Mendoza                                                       Contingent
 15 San Raphael Pl                                                    Unliquidated
                                                                      Disputed
 POMONA, CA, 91766
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  168
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.00
                                                                                                                     $________________________________
 Albert Phan                                                         Check all that apply.
 5808 Laguna Seca Way                                                 Contingent
                                                                      Unliquidated
 San Jose, CA, 95123                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  169
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Albert Soliz                                                        Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 1432 E Broadway Rd                                                   Contingent
                                                                      Unliquidated
 Mesa, AZ, 85204                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  170
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                     $________________________________
 Albert Valencia                                                     Check all that apply.
 2142 Tosca Ln                                                        Contingent
                                                                      Unliquidated
 DALLAS, TX, 75224-4151                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  171
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Albert Vega                                                         Check all that apply.
                                                                                                                       21.54
                                                                                                                     $________________________________
 1213 S. Pacific Dr.                                                  Contingent
                                                                      Unliquidated
 Fullerton, CA, 92833                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  172
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.94
                                                                                                                     $________________________________
 Alberto Gonzalez                                                     Contingent
 2950 Sanchez Avenue, Apartment 3                                     Unliquidated
                                                                      Disputed
 Eagle Pass, TX, 78852
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  173
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.46
                                                                                                                     $________________________________
 Alberto Vite                                                        Check all that apply.
 6719 Flamewood Dr                                                    Contingent
                                                                      Unliquidated
 Arlington, TX, 76001                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  174
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Albet Rowan                                                         Check all that apply.
                                                                                                                      204.54
                                                                                                                     $________________________________
 2919 Cane Field Drive                                                Contingent
                                                                      Unliquidated
 Sugar Land, TX, 77479                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  175
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.31
                                                                                                                     $________________________________
 Ale Bautista                                                        Check all that apply.
 4 Vin Court                                                          Contingent
                                                                      Unliquidated
 Napa, CA, 94558                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  176
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ale Lozano                                                          Check all that apply.
                                                                                                                       138.98
                                                                                                                     $________________________________
 2446 Nutwood Ave, Apt H11                                            Contingent
                                                                      Unliquidated
 Fullerton, CA, 92831-3173                                            Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  177
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             77.03
                                                                                                                     $________________________________
 Alec Cerrillo                                                        Contingent
 14778 W LARKSPUR DR                                                  Unliquidated
                                                                      Disputed
 Surprise, AZ, 85379
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  178
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Alec Crawford                                                       Check all that apply.
 15 Arrowhead                                                         Contingent
                                                                      Unliquidated
 Irvine, CA, 92618                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  179
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alec Toillion                                                       Check all that apply.
                                                                                                                      48.98
                                                                                                                     $________________________________
 224 Sakata Street,                                                   Contingent
                                                                      Unliquidated
 Brighton, CO, 80601                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  180
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.95
                                                                                                                     $________________________________
 Alejandra Montoya                                                   Check all that apply.
 3 Arbor Ct                                                           Contingent
                                                                      Unliquidated
 Hampton Bays, NY, 11946                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  181
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alejandra Carrillo                                                  Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 2000 36th Avenue, 207                                                Contingent
                                                                      Unliquidated
 Oakland, CA, 94601                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  182
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.96
                                                                                                                     $________________________________
 Alejandra De La Huerta                                               Contingent
 10911 Sherry Lee Cove                                                Unliquidated
                                                                      Disputed
 Austin, TX, 78753
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  183
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       43.29
                                                                                                                     $________________________________
 Alejandra Garcia                                                    Check all that apply.
 2014 Rogelio Avenue                                                  Contingent
                                                                      Unliquidated
 El Paso, TX, 79902                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  184
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alejandra Rodriguez                                                 Check all that apply.
                                                                                                                      70.61
                                                                                                                     $________________________________
 332 To To Lo Chee Drive                                              Contingent
                                                                      Unliquidated
 Hialeah, FL, 33010                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  185
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,021.94
                                                                                                                     $________________________________
 Alejandro Acevedo                                                   Check all that apply.
 39589, Calle Cabernet                                                Contingent
                                                                      Unliquidated
 Temecula, CA, 92591                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  186
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alejandro Alvarez                                                   Check all that apply.
                                                                                                                       49.98
                                                                                                                     $________________________________
 44 College Avenue, A house                                           Contingent
                                                                      Unliquidated
 Poughkeepsie, NY, 12603                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  187
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             69.53
                                                                                                                     $________________________________
 Alejandro Belmontes                                                  Contingent
 404 South Bruner Street                                              Unliquidated
                                                                      Disputed
 West Point, NE, 68788
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  188
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.23
                                                                                                                     $________________________________
 Alejandro Calderon                                                  Check all that apply.
 3223 MADISON ST                                                      Contingent
                                                                      Unliquidated
 Omaha, NE, 68107                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  189
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alejandro Castillo                                                  Check all that apply.
                                                                                                                      33.99
                                                                                                                     $________________________________
 16236 78th rd n                                                      Contingent
                                                                      Unliquidated
 Loxahatchee, FL, 33470                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  190
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 alejandro hernandez                                                 Check all that apply.
 24919 magic mountain pkwy apt 721                                    Contingent
                                                                      Unliquidated
 Valencia, CA, 91355                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  191
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alejandro Jimenez                                                   Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 1319 N Eastern Ave                                                   Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90063                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  192
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             149.49
                                                                                                                     $________________________________
 Alejandro Marcucci                                                   Contingent
 626 Coral Way, Apt 601B                                              Unliquidated
                                                                      Disputed
 Coral Gables, FL, 33134
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  193
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       100.72
                                                                                                                     $________________________________
 Alejandro Morales                                                   Check all that apply.
 1105 E Pico Blvd                                                     Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90021-2223                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  194
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alejandro Palacios                                                  Check all that apply.
                                                                                                                      28.88
                                                                                                                     $________________________________
 6955 W 24th Ln                                                       Contingent
                                                                      Unliquidated
 Hialeah, FL, 33016                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  195
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.03
                                                                                                                     $________________________________
 Alejandro Sanchez Perez                                             Check all that apply.
 3080 Tuscaloosa Ln                                                   Contingent
                                                                      Unliquidated
 Lexington, KY, 40515                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  196
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alejandro Somilleda                                                 Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 609 N Joplin Ave                                                     Contingent
                                                                      Unliquidated
 Joplin, MO, 64801-2431                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  197
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.47
                                                                                                                     $________________________________
 Alek Johnson                                                         Contingent
 3665 Westwind Dr                                                     Unliquidated
                                                                      Disputed
 Beavercreek, OH, 45440
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  198
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.78
                                                                                                                     $________________________________
 Alen Del Valle                                                      Check all that apply.
 9590 Catawba Ave.                                                    Contingent
                                                                      Unliquidated
 Fontana, CA, 92335                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  199
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alen Del Valle                                                      Check all that apply.
                                                                                                                      54.94
                                                                                                                     $________________________________
 9590 Catawba Avenue                                                  Contingent
                                                                      Unliquidated
 Fontana, CA, 92335                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  200
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.31
                                                                                                                     $________________________________
 alena dotzauer                                                      Check all that apply.
 1415 Norwood Crest Court                                             Contingent
                                                                      Unliquidated
 Raleigh, NC, 27614                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  201
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alesha Bolton                                                       Check all that apply.
                                                                                                                       58.98
                                                                                                                     $________________________________
 176 Old Middlesboro Highway                                          Contingent
                                                                      Unliquidated
 LaFollette, TN, 37766                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  202
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             115.78
                                                                                                                     $________________________________
 Alesha Bolton                                                        Contingent
 176 Old Middlesboro Highway                                          Unliquidated
                                                                      Disputed
 LaFollette, TN, 37766
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  203
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.69
                                                                                                                     $________________________________
 Alessa Saengyothinh                                                 Check all that apply.
 2914 Kelly Drive                                                     Contingent
                                                                      Unliquidated
 Elgin, IL, 60124                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  204
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alessandro Mureno                                                   Check all that apply.
                                                                                                                      37.21
                                                                                                                     $________________________________
 822 East Century Boulevard                                           Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90002                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  205
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      53.99
                                                                                                                     $________________________________
 Alessio Bordoni                                                     Check all that apply.
 104 Greenpoint Avenue, 4L                                            Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11222                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  206
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Aleth Romanillos                                                    Check all that apply.
                                                                                                                       114.96
                                                                                                                     $________________________________
 4201 Toland way.                                                     Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90065                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  207
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             51.96
                                                                                                                     $________________________________
 Alex Anacleto                                                        Contingent
 107 South Bowser Road, #244                                          Unliquidated
                                                                      Disputed
 Richardson, TX, 75081
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  208
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       88.99
                                                                                                                     $________________________________
 Alex Bradley                                                        Check all that apply.
 202 Queensbury Ct                                                    Contingent
                                                                      Unliquidated
 Acworth, GA, 30102                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  209
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Brenner                                                        Check all that apply.
                                                                                                                      58.42
                                                                                                                     $________________________________
 8426 54th Ave S                                                      Contingent
                                                                      Unliquidated
 Seattle, WA, 98118                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  210
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Alex Cain                                                           Check all that apply.
 984 Kempson Ct                                                       Contingent
                                                                      Unliquidated
 Westfield, IN, 46074                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  211
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Cast                                                           Check all that apply.
                                                                                                                       46.99
                                                                                                                     $________________________________
 843 DEEP SPRINGS DR                                                  Contingent
                                                                      Unliquidated
 CLAREMONT, CA, 91711-1449                                            Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  212
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             223.90
                                                                                                                     $________________________________
 Alex Chan                                                            Contingent
 14 Sunset Drive                                                      Unliquidated
                                                                      Disputed
 Chatham, NJ, 7928
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  213
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.86
                                                                                                                     $________________________________
 Alex Chrisco                                                        Check all that apply.
 668 Port Mann Row, Z5                                                Contingent
                                                                      Unliquidated
 Taylorsville, UT, 84123                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  214
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Ciccone                                                        Check all that apply.
                                                                                                                      15.96
                                                                                                                     $________________________________
 3413 Alvara Court                                                    Contingent
                                                                      Unliquidated
 Spring Hill, FL, 34609                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  215
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Alex Connelly-Zackular                                              Check all that apply.
 136 ruthven street                                                   Contingent
                                                                      Unliquidated
 boston, MA, 2121                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  216
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Douangdara                                                     Check all that apply.
                                                                                                                       88.99
                                                                                                                     $________________________________
 2186 S 2125 w                                                        Contingent
                                                                      Unliquidated
 Woods Cross, UT, 84087                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  217
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.65
                                                                                                                     $________________________________
 Alex Dusza                                                           Contingent
 116 Lyndale Avenue                                                   Unliquidated
                                                                      Disputed
 Nottingham, MD, 21236
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  218
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.99
                                                                                                                     $________________________________
 Alex Eckroth                                                        Check all that apply.
 8044 Felecity Court                                                  Contingent
                                                                      Unliquidated
 Springfield, VA, 22153                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  219
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Espinoza                                                       Check all that apply.
                                                                                                                      52.98
                                                                                                                     $________________________________
 2355 Goldenrod Court                                                 Contingent
                                                                      Unliquidated
 Aurora, IL, 60506                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  220
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.97
                                                                                                                     $________________________________
 Alex Godoy-Fowler                                                   Check all that apply.
 4400 Falcon Parkway                                                  Contingent
                                                                      Unliquidated
 Flowery Branch, GA, 30542                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  221
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Hernandez                                                      Check all that apply.
                                                                                                                       41.99
                                                                                                                     $________________________________
 2033 Pacina Drive                                                    Contingent
                                                                      Unliquidated
 San Jose, CA, 95116                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  222
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             53.77
                                                                                                                     $________________________________
 Alex Hower                                                           Contingent
 415 Sandstone Dr. NE                                                 Unliquidated
                                                                      Disputed
 Rio Rancho, NM, NM, 87124
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  223
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.00
                                                                                                                     $________________________________
 Alex Johnson                                                        Check all that apply.
 51 Red Bud Cir                                                       Contingent
                                                                      Unliquidated
 Amelia, OH, 45102                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  224
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Klapat                                                         Check all that apply.
                                                                                                                      17.98
                                                                                                                     $________________________________
 3733 Elm Avenue                                                      Contingent
                                                                      Unliquidated
 Baltimore, MD, 21211                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  225
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.98
                                                                                                                     $________________________________
 Alex Lam                                                            Check all that apply.
 13042 Vinson Court                                                   Contingent
                                                                      Unliquidated
 Maryland Heights, MO, 63043                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  226
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Licon                                                          Check all that apply.
                                                                                                                       55.10
                                                                                                                     $________________________________
 21816 Elaine Avenue                                                  Contingent
                                                                      Unliquidated
 Hawaiian Gardens, CA, 90716                                          Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  227
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             127.99
                                                                                                                      $________________________________
 Alex Lira                                                             Contingent
 327 N Soto St                                                         Unliquidated
                                                                       Disputed
 Los Angeles, CA, 90033
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  228
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        29.74
                                                                                                                      $________________________________
 Alex Macneill                                                        Check all that apply.
 13 Nyack Street                                                       Contingent
                                                                       Unliquidated
 Watertown, MA, 2472                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  229
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Alex Malecha                                                         Check all that apply.
                                                                                                                       88.99
                                                                                                                      $________________________________
 910 linden St s                                                       Contingent
                                                                       Unliquidated
 Northfield, MN, 55057                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  230
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                      $________________________________
 Alex Martinez                                                        Check all that apply.
 1325 15th St.                                                         Contingent
                                                                       Unliquidated
 SAN DIEGO, CA, 92154                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  231
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Alex Medina                                                          Check all that apply.
                                                                                                                        7.48
                                                                                                                      $________________________________
 955 Cambridge Drive                                                   Contingent
                                                                       Unliquidated
 Mason, OH, 45040                                                      Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  232
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             84.99
                                                                                                                     $________________________________
 alex myatt                                                           Contingent
 835 west Godfrey drive                                               Unliquidated
                                                                      Disputed
 lincoln, NE, 68521
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  233
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.05
                                                                                                                     $________________________________
 alex o                                                              Check all that apply.
 774 Park Way                                                         Contingent
                                                                      Unliquidated
 South San Francisco, CA, 94080                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  234
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Olmos                                                          Check all that apply.
                                                                                                                      28.45
                                                                                                                     $________________________________
 12171 Terra Bella Street                                             Contingent
                                                                      Unliquidated
 Pacoima, CA, 91331                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  235
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      70.67
                                                                                                                     $________________________________
 alex palafox                                                        Check all that apply.
 29500 el presidio ln.                                                Contingent
                                                                      Unliquidated
 menifee, CA, 92584                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  236
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Parker                                                         Check all that apply.
                                                                                                                       70.24
                                                                                                                     $________________________________
 2820 Pasadena Avenue                                                 Contingent
                                                                      Unliquidated
 Kingman, AZ, 86401                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  237
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             75.02
                                                                                                                     $________________________________
 Alex Pinto                                                           Contingent
 640 Santa Barbara St                                                 Unliquidated
                                                                      Disputed
 Los Banos, CA, 93635
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  238
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       189.94
                                                                                                                     $________________________________
 Alex Rivera                                                         Check all that apply.
 628 S Pasadena                                                       Contingent
                                                                      Unliquidated
 Mesa, AZ, 85210                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  239
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 alex sokol                                                          Check all that apply.
                                                                                                                      52.98
                                                                                                                     $________________________________
 6130 reseda blvd, apt 102                                            Contingent
                                                                      Unliquidated
 tarana, CA, 91335                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  240
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.16
                                                                                                                     $________________________________
 Alex Vaccaro                                                        Check all that apply.
 268 Tucker Dr                                                        Contingent
                                                                      Unliquidated
 Worthington, OH, 43085                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  241
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Weber                                                          Check all that apply.
                                                                                                                       17.98
                                                                                                                     $________________________________
 5540 Euclid Way                                                      Contingent
                                                                      Unliquidated
 Farmington, MN, 55024                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  242
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.98
                                                                                                                     $________________________________
 Alex Westerfield                                                     Contingent
 2334 New Hope Road                                                   Unliquidated
                                                                      Disputed
 Zebulon, GA, 30295
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  243
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.42
                                                                                                                     $________________________________
 Alex Wilson                                                         Check all that apply.
 3505 Avenida Simi                                                    Contingent
                                                                      Unliquidated
 Simi Valley, CA, 93063                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  244
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alex Yanish                                                         Check all that apply.
                                                                                                                      21.49
                                                                                                                     $________________________________
 4837 53rd St S                                                       Contingent
                                                                      Unliquidated
 Fargo, ND, 58104                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  245
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      62.90
                                                                                                                     $________________________________
 Alexa Cassaro                                                       Check all that apply.
 1020 Rahway Ave, --                                                  Contingent
                                                                      Unliquidated
 Westfield, NJ, 7090                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  246
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexa Deaderick                                                     Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 6992 Cinnamon dr.                                                    Contingent
                                                                      Unliquidated
 Sparks, NV, 89436                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  247
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.99
                                                                                                                     $________________________________
 Alexa Lee                                                            Contingent
 525 North Alpine Drive                                               Unliquidated
                                                                      Disputed
 Beverly Hills, CA, 90210
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  248
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       125.97
                                                                                                                     $________________________________
 Alexa Urquiza                                                       Check all that apply.
 529 S Hilda Ct                                                       Contingent
                                                                      Unliquidated
 Anaheim, CA, 92806                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  249
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexander Brison                                                    Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 5910 Stevehaven Ln                                                   Contingent
                                                                      Unliquidated
 Cumming, GA, 30028                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  250
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      81.87
                                                                                                                     $________________________________
 Alexander Charles                                                   Check all that apply.
 4 Lacey Lane                                                         Contingent
                                                                      Unliquidated
 Norwalk, CT, 6854                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  251
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexander Cooper                                                    Check all that apply.
                                                                                                                       152.06
                                                                                                                     $________________________________
 2678 36th Ave                                                        Contingent
                                                                      Unliquidated
 San Francisco, CA, 94116                                             Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  252
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.63
                                                                                                                     $________________________________
 Alexander Daniels                                                    Contingent
 8003 South Scottsburg Court                                          Unliquidated
                                                                      Disputed
 Aurora, CO, 80016
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  253
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Alexander Gutierrez                                                 Check all that apply.
 4014 Calle Puebla                                                    Contingent
                                                                      Unliquidated
 Laredo, TX, 78046                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  254
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexander Jacobs                                                    Check all that apply.
                                                                                                                      38.98
                                                                                                                     $________________________________
 2 Hammond circle                                                     Contingent
                                                                      Unliquidated
 Hudson, MA, 1749                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  255
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.98
                                                                                                                     $________________________________
 Alexander James Dodson                                              Check all that apply.
 610 Pawtucket Ave.                                                   Contingent
                                                                      Unliquidated
 PAWTUCKET, RI, 2860                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  256
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexander Kiser                                                     Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 4503 4th st s                                                        Contingent
                                                                      Unliquidated
 Moorhead, MN, 56560                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  257
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Alexander LeMaine                                                    Contingent
 167 Edenfield Ave.                                                   Unliquidated
                                                                      Disputed
 Watertown, MA, 02472-1816
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  258
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       58.99
                                                                                                                     $________________________________
 Alexander Markowitz                                                 Check all that apply.
 1650 10th Ave                                                        Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11215-6002                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  259
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexander Mayo                                                      Check all that apply.
                                                                                                                      41.99
                                                                                                                     $________________________________
 1105 Arabian Arch                                                    Contingent
                                                                      Unliquidated
 Chesapeake, VA, 23322                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  260
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      68.99
                                                                                                                     $________________________________
 Alexander Neff                                                      Check all that apply.
 20421 Berrywood Ln                                                   Contingent
                                                                      Unliquidated
 TAMPA, FL, 33647                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  261
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexander Ortega                                                    Check all that apply.
                                                                                                                       66.97
                                                                                                                     $________________________________
 PO Box 250062, Carr 467 K3 H8 Int Bo                                 Contingent
 Camaseye                                                             Unliquidated
                                                                      Disputed
 AGUADILLA, PR, 604                                                   Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  262
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Alexander Owhadi                                                     Contingent
 9407 Clover Glen Dr                                                  Unliquidated
                                                                      Disputed
 Riverview, FL, 33569
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  263
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       65.16
                                                                                                                     $________________________________
 Alexander Rivas                                                     Check all that apply.
 176 Westview Lane                                                    Contingent
                                                                      Unliquidated
 Hewlett, NY, 11557                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  264
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexander Rozmiarek                                                 Check all that apply.
                                                                                                                      62.75
                                                                                                                     $________________________________
 20602 Snicker Ct                                                     Contingent
                                                                      Unliquidated
 Waynesville, MO, 65583                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  265
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.99
                                                                                                                     $________________________________
 Alexander Santa Clara                                               Check all that apply.
 3648 Westwood Blvd. Apt.1                                            Contingent
                                                                      Unliquidated
 Los angeles, CA, 90034                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  266
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexander Stokes                                                    Check all that apply.
                                                                                                                       146.80
                                                                                                                     $________________________________
 396 Pratt St                                                         Contingent
                                                                      Unliquidated
 Buffalo, NY, 14204                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  267
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             67.51
                                                                                                                     $________________________________
 Alexander Surton                                                     Contingent
 W4815 Kemp Ave, PO Box 7                                             Unliquidated
                                                                      Disputed
 Irma, WI, 54442
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  268
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.88
                                                                                                                     $________________________________
 Alexanderia Caballero                                               Check all that apply.
 1933 E Bradford St                                                   Contingent
                                                                      Unliquidated
 Stockton, CA, 95205                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  269
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexandra Carmona                                                   Check all that apply.
                                                                                                                      32.30
                                                                                                                     $________________________________
 2634 Idaho Road                                                      Contingent
                                                                      Unliquidated
 Naperville, IL, 60564                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  270
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.84
                                                                                                                     $________________________________
 Alexandra Chavez                                                    Check all that apply.
 17168 Newhope St Apt 204                                             Contingent
                                                                      Unliquidated
 Fountain Valley, CA, 92708-8220                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  271
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexandra Esquivel                                                  Check all that apply.
                                                                                                                       368.04
                                                                                                                     $________________________________
 3410 Deerwood Ln                                                     Contingent
                                                                      Unliquidated
 Missouri City, TX, 77459                                             Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  272
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Alexandra Fusella                                                    Contingent
 271 Lovers Lane                                                      Unliquidated
                                                                      Disputed
 Rutherfordton, NC, 28139
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  273
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.98
                                                                                                                     $________________________________
 Alexandra Gardner                                                   Check all that apply.
 1906 W Neilscott Dr                                                  Contingent
                                                                      Unliquidated
 Nampa, ID, 83651                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  274
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexandra Hartwell                                                  Check all that apply.
                                                                                                                      47.67
                                                                                                                     $________________________________
 47 Jackladder Drive                                                  Contingent
                                                                      Unliquidated
 Middle Sackville, NS, B4E 2X6                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  275
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.60
                                                                                                                     $________________________________
 Alexandra Katsos                                                    Check all that apply.
 4397 Crowne Lake Circle, 2G                                          Contingent
                                                                      Unliquidated
 Jamestown, NC, 27282                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  276
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexandra Lockhart                                                  Check all that apply.
                                                                                                                       27.49
                                                                                                                     $________________________________
 808 Western Ave                                                      Contingent
                                                                      Unliquidated
 Joliet, IL, 60435-6922                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  277
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Alexandra Lopez                                                      Contingent
 1545 West 215th Street                                               Unliquidated
                                                                      Disputed
 Torrance, CA, 90501
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  278
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Alexandra Marah                                                     Check all that apply.
 941 Elm Road                                                         Contingent
                                                                      Unliquidated
 Halethorpe, MD, 21227                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  279
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexandra Martin                                                    Check all that apply.
                                                                                                                      143.95
                                                                                                                     $________________________________
 9903 Ebb Street                                                      Contingent
                                                                      Unliquidated
 Houston, TX, 77089                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  280
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      91.98
                                                                                                                     $________________________________
 Alexandra Peterson                                                  Check all that apply.
 20 Hassayampa Trail                                                  Contingent
                                                                      Unliquidated
 Henderson, NV, 89052                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  281
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexandrea Tackett                                                  Check all that apply.
                                                                                                                       389.87
                                                                                                                     $________________________________
 13408 120th Ave E                                                    Contingent
                                                                      Unliquidated
 Puyallup, WA, 98374                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  282
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             67.98
                                                                                                                     $________________________________
 Alexandria Barker                                                    Contingent
 101 NELSON ST                                                        Unliquidated
                                                                      Disputed
 HOLDEN, MA, 1520
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  283
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 AlexandrIa Young                                                    Check all that apply.
 307 Burnt Pine Court                                                 Contingent
                                                                      Unliquidated
 Apex, NC, 27502                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  284
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexi Atteberry                                                     Check all that apply.
                                                                                                                      31.98
                                                                                                                     $________________________________
 16828 Falda Ave                                                      Contingent
                                                                      Unliquidated
 Torrance, CA, 90504                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  285
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Alexia Blackman                                                     Check all that apply.
 6137 Snowberry Lane NE                                               Contingent
                                                                      Unliquidated
 Bremerton, WA, 98311                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  286
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexia Christou                                                     Check all that apply.
                                                                                                                       84.97
                                                                                                                     $________________________________
 25-40 Shore Boulevard, #LF                                           Contingent
                                                                      Unliquidated
 Astoria, NY, 11102                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  287
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.45
                                                                                                                     $________________________________
 Alexia Palmer                                                        Contingent
 235 E 73rd St Apt 10A                                                Unliquidated
                                                                      Disputed
 New York, NY, 10021
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  288
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.13
                                                                                                                     $________________________________
 Alexis Avalos                                                       Check all that apply.
 2828 E Placita Galapagos                                             Contingent
                                                                      Unliquidated
 Tucson, AZ, 85706                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  289
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexis Chua                                                         Check all that apply.
                                                                                                                      13.13
                                                                                                                     $________________________________
 17829 LUDLOW ST                                                      Contingent
                                                                      Unliquidated
 GRANADA HILLS, CA, 91344                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  290
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.81
                                                                                                                     $________________________________
 Alexis Fishleigh                                                    Check all that apply.
 469 South Street                                                     Contingent
                                                                      Unliquidated
 Chardon, OH, 44024                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  291
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexis Kaminsky                                                     Check all that apply.
                                                                                                                       72.98
                                                                                                                     $________________________________
 5150 Grand Canyon Rd NW                                              Contingent
                                                                      Unliquidated
 Concord, NC, 28027                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  292
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.99
                                                                                                                     $________________________________
 Alexis Lebron                                                        Contingent
 Alturas de Villa del Rey, R9 calle Espa?±a                           Unliquidated
                                                                      Disputed
 Caguas, PR, 725
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  293
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       138.98
                                                                                                                     $________________________________
 alexis lucas                                                        Check all that apply.
 790 grand st brooklyn ny, 2 f                                        Contingent
                                                                      Unliquidated
 brooklyn, NY, 11211                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  294
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexis Moreno                                                       Check all that apply.
                                                                                                                      36.98
                                                                                                                     $________________________________
 406 Blossom Way                                                      Contingent
                                                                      Unliquidated
 Hayward, CA, 94541                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  295
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.98
                                                                                                                     $________________________________
 Alexis Morley                                                       Check all that apply.
 11621 Pine Grove Lane                                                Contingent
                                                                      Unliquidated
 Parker, CO, 80138                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  296
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alexis Olson                                                        Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 1308 Otter Lane                                                      Contingent
                                                                      Unliquidated
 Oregon City, OR, 97045                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  297
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             67.09
                                                                                                                     $________________________________
 Alexis Rodriguez                                                     Contingent
 3040 Haber Ave                                                       Unliquidated
                                                                      Disputed
 Melrose Park, IL, 60164
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  298
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Alexis Sanders                                                      Check all that apply.
 1828 Lightwood Lane Northwest                                        Contingent
                                                                      Unliquidated
 Acworth, GA, 30102                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  299
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 alexus santikul                                                     Check all that apply.
                                                                                                                      27.99
                                                                                                                     $________________________________
 6092 Bankside Way                                                    Contingent
                                                                      Unliquidated
 Reno, NV, 89523                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  300
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      104.99
                                                                                                                     $________________________________
 Alfedo Arroyo                                                       Check all that apply.
 1751 Prairie Rose way                                                Contingent
                                                                      Unliquidated
 WASCO, CA, 93280                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  301
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alfonso Laster                                                      Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 483 Thors Street                                                     Contingent
                                                                      Unliquidated
 Pontiac , MI, 48342                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  302
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             127.99
                                                                                                                     $________________________________
 Alfonso R Tapia                                                      Contingent
 24945 CALLE EL ROSARIO                                               Unliquidated
                                                                      Disputed
 SALINAS, CA, 93908
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  303
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.81
                                                                                                                     $________________________________
 Alfred Annas III                                                    Check all that apply.
 1122 Ver Circle Northeast                                            Contingent
                                                                      Unliquidated
 Palm Bay, FL, 32905                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  304
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alfred Eastburn                                                     Check all that apply.
                                                                                                                      92.44
                                                                                                                     $________________________________
 803 Warren Rd                                                        Contingent
                                                                      Unliquidated
 Lutz, FL, 33548                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  305
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.97
                                                                                                                     $________________________________
 Alfred Valenzuela                                                   Check all that apply.
 10122 Alondra Dr                                                     Contingent
                                                                      Unliquidated
 Bakersfield, CA, 93311                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  306
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alfredo Felix                                                       Check all that apply.
                                                                                                                       32.98
                                                                                                                     $________________________________
 3239 Yellow Rose Trail                                               Contingent
                                                                      Unliquidated
 Gainesville, GA, 30507                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  307
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             281.10
                                                                                                                     $________________________________
 Ali Abdul Mateen-El                                                  Contingent
 1859 Benedict Way                                                    Unliquidated
                                                                      Disputed
 Pomona, CA, 91767
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  308
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       36.37
                                                                                                                     $________________________________
 Ali Al-Husseini                                                     Check all that apply.
 2860 Legion Lake Rd                                                  Contingent
                                                                      Unliquidated
 Douglasville, GA, 30135                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  309
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ali Asencio                                                         Check all that apply.
                                                                                                                      23.99
                                                                                                                     $________________________________
 3028 Mountainview Court                                              Contingent
                                                                      Unliquidated
 Grapevine, TX, 76051                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  310
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.99
                                                                                                                     $________________________________
 Alibia Young                                                        Check all that apply.
 3981 Farm to Market Road 2808                                        Contingent
                                                                      Unliquidated
 Kempner, TX, 76539                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  311
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alice Deng                                                          Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 19864 Calle Cadiz                                                    Contingent
                                                                      Unliquidated
 Walnut, CA, 91789                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  312
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Alice Mahone                                                         Contingent
 2101 Wingfield Rd.                                                   Unliquidated
                                                                      Disputed
 Charlottesville, VA, 22901
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  313
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.99
                                                                                                                     $________________________________
 Alice Rodgers                                                       Check all that apply.
 6184marsi                                                            Contingent
                                                                      Unliquidated
 Windsor, CA, 95492                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  314
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alice Zhu                                                           Check all that apply.
                                                                                                                      28.13
                                                                                                                     $________________________________
 4210 Fairmount St, Apt 4008                                          Contingent
                                                                      Unliquidated
 Dallas, TX, 75219                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  315
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.68
                                                                                                                     $________________________________
 Alicia Bozzuto                                                      Check all that apply.
 13322 Greenwood Ave N, Apt. 403                                      Contingent
                                                                      Unliquidated
 Seattle, WA, 98133                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  316
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alicia Daubert                                                      Check all that apply.
                                                                                                                       55.62
                                                                                                                     $________________________________
 6650 Greenshire Drive                                                Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46220                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  317
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             67.83
                                                                                                                     $________________________________
 Alicia Gonzalez                                                      Contingent
 1215 Kimberly Lane                                                   Unliquidated
                                                                      Disputed
 Glen Burnie, MD, 21061
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  318
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       170.96
                                                                                                                     $________________________________
 Alicia Padron                                                       Check all that apply.
 4 East Dogwood Court                                                 Contingent
                                                                      Unliquidated
 Westampton, NJ, 8060                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  319
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alicia Roe                                                          Check all that apply.
                                                                                                                      28.46
                                                                                                                     $________________________________
 205 Spice Hollow Rd                                                  Contingent
                                                                      Unliquidated
 JOHNSON CITY, TN, 37604                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  320
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.27
                                                                                                                     $________________________________
 Alicia Silva                                                        Check all that apply.
 859 BLUE PARK AVE                                                    Contingent
                                                                      Unliquidated
 SANTA TERESA, NM, 88008                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  321
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alicia Wright                                                       Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 11804 N 1000 W                                                       Contingent
                                                                      Unliquidated
 Monticello, IN, 47960                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  322
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.93
                                                                                                                     $________________________________
 Aliette Garcia                                                       Contingent
 14951 Southwest 167th Street                                         Unliquidated
                                                                      Disputed
 Miami, FL, 33187
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  323
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.53
                                                                                                                     $________________________________
 Alina Gomez                                                         Check all that apply.
 602 Northwest 136th Avenue                                           Contingent
                                                                      Unliquidated
 Miami, FL, 33182                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  324
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alisa Gonzalez                                                      Check all that apply.
                                                                                                                      13.05
                                                                                                                     $________________________________
 2356 63rd St                                                         Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11204                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  325
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      56.92
                                                                                                                     $________________________________
 Alisay moore                                                        Check all that apply.
 644 East 45th Street, house                                          Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90011                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  326
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alisha Hessing                                                      Check all that apply.
                                                                                                                       25.96
                                                                                                                     $________________________________
 305 Rolling Meadow Court                                             Contingent
                                                                      Unliquidated
 Anna, TX, 75409                                                      Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  327
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1.00
                                                                                                                     $________________________________
 Alison Vargas                                                        Contingent
 1345 East Puente Street                                              Unliquidated
                                                                      Disputed
 Covina, CA, 91724
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  328
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.81
                                                                                                                     $________________________________
 Alison Cykana                                                       Check all that apply.
 4022 Toban Drive                                                     Contingent
                                                                      Unliquidated
 Madison, WI, 53704                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  329
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alison MacWilliams                                                  Check all that apply.
                                                                                                                      101.97
                                                                                                                     $________________________________
 10925 Parkway Court                                                  Contingent
                                                                      Unliquidated
 Plymouth, IN, 46563                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  330
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 Alissa Scott                                                        Check all that apply.
 313 Angela dr                                                        Contingent
                                                                      Unliquidated
 Burleson, TX, 76028                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  331
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 allan bennerson                                                     Check all that apply.
                                                                                                                       57.98
                                                                                                                     $________________________________
 36 Linden Street, C 8                                                Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11221                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  332
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             302.05
                                                                                                                     $________________________________
 Allan Bennett                                                        Contingent
 2914 Blankenship Loop Southwest                                      Unliquidated
                                                                      Disputed
 Lilburn, GA, 30047
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  333
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       209.99
                                                                                                                     $________________________________
 Allan Glover III                                                    Check all that apply.
 1802 Galahad Lane                                                    Contingent
                                                                      Unliquidated
 Arlington, TX, 76014-1533                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  334
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Allan Pascua                                                        Check all that apply.
                                                                                                                      18.99
                                                                                                                     $________________________________
 15150 SW 167th St                                                    Contingent
                                                                      Unliquidated
 Miami, FL, 33187-0806                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  335
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      48.98
                                                                                                                     $________________________________
 Allan Punsalan                                                      Check all that apply.
 178-19 69th Avenue                                                   Contingent
                                                                      Unliquidated
 Fresh Meadows, NY, 11365                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  336
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Allan Ritumban                                                      Check all that apply.
                                                                                                                       85.00
                                                                                                                     $________________________________
 8315 HIGHRIDGE PL                                                    Contingent
                                                                      Unliquidated
 RANCHO CUCAMONGA, CA, 91730                                          Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  337
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.07
                                                                                                                     $________________________________
 Allandale Pequet                                                     Contingent
 12086 Ash Ave                                                        Unliquidated
                                                                      Disputed
 Orosi, CA, 93647-2629
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  338
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.26
                                                                                                                     $________________________________
 Alle Wong                                                           Check all that apply.
 9513 Blue Mountain Way                                               Contingent
                                                                      Unliquidated
 Sacramento, CA, 95829                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  339
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Allen Cook                                                          Check all that apply.
                                                                                                                      42.98
                                                                                                                     $________________________________
 478North 2nd Street                                                  Contingent
                                                                      Unliquidated
 Nashville, TN, 37207                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  340
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      209.99
                                                                                                                     $________________________________
 Allen Ge                                                            Check all that apply.
 3601 KESWICK CT                                                      Contingent
                                                                      Unliquidated
 SAN JOSE, CA, 95127                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  341
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 allen mayhew                                                        Check all that apply.
                                                                                                                       50.97
                                                                                                                     $________________________________
 19 Racine Court                                                      Contingent
                                                                      Unliquidated
 Greenville, SC, 29617-1717                                           Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  342
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             40.50
                                                                                                                     $________________________________
 Allen Peacock                                                        Contingent
 206 Redfern Street                                                   Unliquidated
                                                                      Disputed
 Hamilton, NJ, 8610
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  343
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       138.10
                                                                                                                     $________________________________
 Allen Sao                                                           Check all that apply.
 29 Troy Street                                                       Contingent
                                                                      Unliquidated
 Lowell, MA, 1851                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  344
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Allen Sturtevant                                                    Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 77 W Harmony St                                                      Contingent
                                                                      Unliquidated
 Penns Grove, NJ, 08069-1320                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  345
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.52
                                                                                                                     $________________________________
 Allen Sullivan                                                      Check all that apply.
 2220 160th Ave Ct E                                                  Contingent
                                                                      Unliquidated
 Sumner, WA, 98391                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  346
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 allen to                                                            Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 21612 audubon way                                                    Contingent
                                                                      Unliquidated
 lake forest, CA, 92630                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  347
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             767.11
                                                                                                                     $________________________________
 Alliance Entertainment                                               Contingent
 8201 Peters Rd. - Suite 1000                                         Unliquidated
                                                                      Disputed
 Plantation, FL, 33324
                                                                     Basis for the claim: Trade Payables



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  348
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.81
                                                                                                                     $________________________________
 Allie Willson                                                       Check all that apply.
 537 South Court Street                                               Contingent
                                                                      Unliquidated
 medina, OH, 44256                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  349
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Allisa Ames                                                         Check all that apply.
                                                                                                                      41.06
                                                                                                                     $________________________________
 18 Oleander Drive                                                    Contingent
                                                                      Unliquidated
 Stafford, VA, 22554                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  350
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Allison Aniloff                                                     Check all that apply.
 101 Allison rd , APT C9                                              Contingent
                                                                      Unliquidated
 Horsham, PA, 19044                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  351
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Allison Burke                                                       Check all that apply.
                                                                                                                       7.99
                                                                                                                     $________________________________
 135 Hilltop Acres                                                    Contingent
                                                                      Unliquidated
 Yonkers, NY, 10704                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  352
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.03
                                                                                                                     $________________________________
 Allison Bye                                                          Contingent
 162 Inglewood Street                                                 Unliquidated
                                                                      Disputed
 Long Lake, MN, 55356
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  353
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Allison De Neufville                                                Check all that apply.
 1602 Georgina Avenue                                                 Contingent
                                                                      Unliquidated
 Santa Monica, CA, 90402                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  354
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Allison Metzinger                                                   Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 23815 Castle Peak                                                    Contingent
                                                                      Unliquidated
 San Antonio, TX, 78258                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  355
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Allison Myers                                                       Check all that apply.
 2171 spanish moss dr                                                 Contingent
                                                                      Unliquidated
 Jacksonville, FL, 32246                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  356
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Allison Pena                                                        Check all that apply.
                                                                                                                       42.99
                                                                                                                     $________________________________
 10253 Hanna Avenue                                                   Contingent
                                                                      Unliquidated
 Chatsworth, CA, 91311                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  357
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.71
                                                                                                                     $________________________________
 Allison Teets                                                        Contingent
 7264 Elm Tree Ter Apt B                                              Unliquidated
                                                                      Disputed
 Mechanicsville, VA, 23111-1248
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  358
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       57.55
                                                                                                                     $________________________________
 Allyson Enriquez                                                    Check all that apply.
 17 ANDREA DR                                                         Contingent
                                                                      Unliquidated
 COLUMBUS, NJ, 8022                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  359
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Allyson Riley                                                       Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 394 Violet Dr.                                                       Contingent
                                                                      Unliquidated
 Robinson, TX, 76706                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  360
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      94.16
                                                                                                                     $________________________________
 Allyssa Garrido                                                     Check all that apply.
 4061 Maison lane                                                     Contingent
                                                                      Unliquidated
 Tracy, CA, 95377                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  361
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alma Perez                                                          Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 203 Reynosa Ave                                                      Contingent
                                                                      Unliquidated
 Bakersfield, CA, 93307-7088                                          Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  362
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 almitra colon                                                        Contingent
 56 Bay 22nd St, 2fl                                                  Unliquidated
                                                                      Disputed
 Brooklyn, NY, 11214
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  363
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Alondra Sanchez                                                     Check all that apply.
 15959 Meadowside Street                                              Contingent
                                                                      Unliquidated
 La Puente, CA, 91744                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  364
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alonso Martinez                                                     Check all that apply.
                                                                                                                      12.98
                                                                                                                     $________________________________
 1850 W Lincoln Ave, Space # 30                                       Contingent
                                                                      Unliquidated
 El Centro, CA, 92243                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  365
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.61
                                                                                                                     $________________________________
 Alora Schoenberg                                                    Check all that apply.
 9480 Virginia Center Boulevard, 330                                  Contingent
                                                                      Unliquidated
 Vienna, VA, 22181                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  366
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alvarez Park                                                        Check all that apply.
                                                                                                                       213.50
                                                                                                                     $________________________________
 1474 243rd St.                                                       Contingent
                                                                      Unliquidated
 Harbor City, CA, 90710                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  367
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Alvaro Matos                                                         Contingent
 11191 Langley Dr                                                     Unliquidated
                                                                      Disputed
 Los Alamitos, CA, 90720
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number      ___________________
  368
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.99
                                                                                                                     $________________________________
 Alvin Zhang                                                         Check all that apply.
 545 Sycamore Lane, #219                                              Contingent
                                                                      Unliquidated
 Davis, CA, 95616                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  369
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alycia Knabenshue                                                   Check all that apply.
                                                                                                                      92.99
                                                                                                                     $________________________________
 77 Ferndale Rd N                                                     Contingent
                                                                      Unliquidated
 Wayzata, MN, 55391                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
        Last 4 digits of account number      __________________      
                                                                     ✔
                                                                       No
                                                                      Yes
  370
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.51
                                                                                                                     $________________________________
 Alysa hallock                                                       Check all that apply.
 1010 Godwin Avenue                                                   Contingent
                                                                      Unliquidated
 Chesapeake, VA, 23324                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes
  371
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Alyson Hudak                                                        Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 27 Hemenway Rd                                                       Contingent
                                                                      Unliquidated
 Framingham, MA, 01701-3134                                           Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number      ___________________      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  372
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             11.99
                                                                                                                    $________________________________
 Alyssa Alva                                                         Contingent
 105 Oak St                                                          Unliquidated
                                                                     Disputed
 Modesto, CA, 95351
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  373
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                    $________________________________
 Alyssa Clevinger                                                   Check all that apply.
 2544 W Pikes Peak Dr.                                               Contingent
                                                                     Unliquidated
 Flagstaff, AZ, 86001                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  374
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Alyssa Conine                                                      Check all that apply.
                                                                                                                     27.04
                                                                                                                    $________________________________
 4801 Sanger Avenue, 48                                              Contingent
                                                                     Unliquidated
 Waco, TX, 76710                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  375
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     39.99
                                                                                                                    $________________________________
 Alyssa Freese                                                      Check all that apply.
 644 Propp Ave                                                       Contingent
                                                                     Unliquidated
 Franklin Square, NY, 11010                                          Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  376
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Alyssa Gama                                                        Check all that apply.
                                                                                                                      32.99
                                                                                                                    $________________________________
 2355 Adirondack Row, Unit 2                                         Contingent
                                                                     Unliquidated
 San Diego, CA, 92139                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  377
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             13.80
                                                                                                                    $________________________________
 Alyssa Garcia                                                       Contingent
 1870 Naomi Drive                                                    Unliquidated
                                                                     Disputed
 Morris, IL, 60450
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  378
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                    $________________________________
 Alyssa M Arteaga                                                   Check all that apply.
 3731 South Glenstone Avenue, Lot 17 A                               Contingent
                                                                     Unliquidated
 Springfield, MO, 65804                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  379
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Alyssa Mettauer                                                    Check all that apply.
                                                                                                                     24.99
                                                                                                                    $________________________________
 1415 N Main                                                         Contingent
                                                                     Unliquidated
 BLANCHARD, OK, 73010                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  380
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     11.99
                                                                                                                    $________________________________
 Alyssa Moore                                                       Check all that apply.
 41930 Mayberry Avenue                                               Contingent
                                                                     Unliquidated
 Hemet, CA, 92544                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  381
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Alyssa Ortisi                                                      Check all that apply.
                                                                                                                      36.03
                                                                                                                    $________________________________
 16300 Wysong Drive                                                  Contingent
                                                                     Unliquidated
 Clinton Township, MI, 48035                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  382
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             23.99
                                                                                                                    $________________________________
 Alyssa Peterson                                                     Contingent
 319 Pine Knoll Dr, Apt 1A                                           Unliquidated
                                                                     Disputed
 Battle Creek, MI, 49014
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  383
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      69.26
                                                                                                                    $________________________________
 Alyssa Salinas                                                     Check all that apply.
 1012 E La Cantera Ave, Apt 4                                        Contingent
                                                                     Unliquidated
 McAllen, TX, 78503                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  384
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Alyssia Walowski                                                   Check all that apply.
                                                                                                                     30.83
                                                                                                                    $________________________________
 300 Fairwood Road                                                   Contingent
                                                                     Unliquidated
 Bethany , CT, 6524                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  385
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     13.96
                                                                                                                    $________________________________
 Alyvia Crummy                                                      Check all that apply.
 1870 42nd St S , 304                                                Contingent
                                                                     Unliquidated
 Fargo , ND, 58103                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  386
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amabelle Lumbreras                                                 Check all that apply.
                                                                                                                      18.99
                                                                                                                    $________________________________
 18977 TRUCKE WAY                                                    Contingent
                                                                     Unliquidated
 WALNUT, CA, 91789                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  387
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             54.11
                                                                                                                    $________________________________
 amal shindy                                                         Contingent
 3257 Bernal Avenue, a                                               Unliquidated
                                                                     Disputed
 Pleasanton, CA, 94566
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  388
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      59.87
                                                                                                                    $________________________________
 Amanda Lugo                                                        Check all that apply.
 300 Cherry St, 11H                                                  Contingent
                                                                     Unliquidated
 New York, NY, 10002                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  389
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 amanda abbasi                                                      Check all that apply.
                                                                                                                     44.99
                                                                                                                    $________________________________
 19 River Birch DR                                                   Contingent
                                                                     Unliquidated
 Kingston, GA, 30145                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  390
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     11.99
                                                                                                                    $________________________________
 Amanda Barnhart                                                    Check all that apply.
 13582 E HWY 40 Lot 161                                              Contingent
                                                                     Unliquidated
 SILVER SPRINGS, FL, 34488-3954                                      Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  391
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amanda Barrett                                                     Check all that apply.
                                                                                                                      12.83
                                                                                                                    $________________________________
 8 Edgewood Dr                                                       Contingent
                                                                     Unliquidated
 Newnan, GA, 30263                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  392
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             22.99
                                                                                                                    $________________________________
 Amanda Bielefeld                                                    Contingent
 W5625 County Road KK                                                Unliquidated
                                                                     Disputed
 Appleton, WI, 54915
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  393
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      103.01
                                                                                                                    $________________________________
 Amanda Bonela                                                      Check all that apply.
 61 Madison Avenue, Apt 1                                            Contingent
                                                                     Unliquidated
 Everett, MA, 2149                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  394
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amanda Cabaniss                                                    Check all that apply.
                                                                                                                     54.11
                                                                                                                    $________________________________
 8809 Stirrup Way                                                    Contingent
                                                                     Unliquidated
 Fort Worth, TX, 76244                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  395
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     17.11
                                                                                                                    $________________________________
 Amanda Chamberlain                                                 Check all that apply.
 1420 W 22nd Street                                                  Contingent
                                                                     Unliquidated
 Miami Beach, FL, 33140                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  396
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amanda Christie                                                    Check all that apply.
                                                                                                                      14.99
                                                                                                                    $________________________________
 6924 Chaffee Rd, Unit 21                                            Contingent
                                                                     Unliquidated
 Des Moines, IA, 50315                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  397
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             21.31
                                                                                                                    $________________________________
 AMANDA ELDREDGE                                                     Contingent
 707 Union Ln                                                        Unliquidated
                                                                     Disputed
 Brielle, NJ, 8730
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  398
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      25.58
                                                                                                                    $________________________________
 Amanda Harvey                                                      Check all that apply.
 212 Knight Ave                                                      Contingent
                                                                     Unliquidated
 Runnemede, NJ, 8078                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  399
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amanda Hicks                                                       Check all that apply.
                                                                                                                     12.86
                                                                                                                    $________________________________
 2990 Mc Kinley Avenue                                               Contingent
                                                                     Unliquidated
 Columbus, OH, 43204                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  400
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     88.98
                                                                                                                    $________________________________
 Amanda Johnson                                                     Check all that apply.
 4600 Old Town Dr                                                    Contingent
                                                                     Unliquidated
 Winston Salem, NC, 27106                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  401
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amanda Massey                                                      Check all that apply.
                                                                                                                      65.98
                                                                                                                    $________________________________
 4484 Graystone Dr                                                   Contingent
                                                                     Unliquidated
 Southaven, MS, 38671-7500                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  402
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             37.99
                                                                                                                    $________________________________
 Amanda McIntyre                                                     Contingent
 3029 WINCHESTER DRIVE                                               Unliquidated
                                                                     Disputed
 Valparaiso, IN, 46383
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  403
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      38.98
                                                                                                                    $________________________________
 Amanda Muffley                                                     Check all that apply.
 126 Ellis Drive                                                     Contingent
                                                                     Unliquidated
 Yorktown, VA, 23692                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  404
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amanda Murphy                                                      Check all that apply.
                                                                                                                     88.99
                                                                                                                    $________________________________
 965 Bluffpoint Drive                                                Contingent
                                                                     Unliquidated
 Columbus, OH, 43235                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  405
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     49.99
                                                                                                                    $________________________________
 Amanda Plaugher                                                    Check all that apply.
 3825 Yamala Court                                                   Contingent
                                                                     Unliquidated
 Orlando, FL, 32826                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  406
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amanda Quinn                                                       Check all that apply.
                                                                                                                      58.99
                                                                                                                    $________________________________
 7005 Atlantic Ave                                                   Contingent
                                                                     Unliquidated
 Virginia Beach, VA, 23451                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  407
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             13.18
                                                                                                                    $________________________________
 AMANDA ROME                                                         Contingent
 159A Megan Drive                                                    Unliquidated
                                                                     Disputed
 Houma, LA, 70364
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  408
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      13.90
                                                                                                                    $________________________________
 Amanda Rusk                                                        Check all that apply.
 2211 North 21st Street                                              Contingent
                                                                     Unliquidated
 Lafayette, IN, 47904                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  409
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amanda Russell                                                     Check all that apply.
                                                                                                                     29.94
                                                                                                                    $________________________________
 11802 Southwest 83rd Drive                                          Contingent
                                                                     Unliquidated
 Lake Butler, FL, 32054                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  410
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     44.99
                                                                                                                    $________________________________
 Amanda Santiago                                                    Check all that apply.
 344 E Markison Ave                                                  Contingent
                                                                     Unliquidated
 Columbus, OH, 43207                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  411
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amanda Siler                                                       Check all that apply.
                                                                                                                      31.79
                                                                                                                    $________________________________
 8048 Montague Ct                                                    Contingent
                                                                     Unliquidated
 Glen Burnie, MD, 21061                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  412
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             9.99
                                                                                                                    $________________________________
 Amanda Van Horn                                                     Contingent
 101 Pacific Ave                                                     Unliquidated
                                                                     Disputed
 Sharpsburg, GA, 30277
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  413
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      27.55
                                                                                                                    $________________________________
 Amani Tovar                                                        Check all that apply.
 22045 West Lakeland Trail                                           Contingent
                                                                     Unliquidated
 Plainfield, IL, 60544                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  414
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amari Guzman                                                       Check all that apply.
                                                                                                                     12.71
                                                                                                                    $________________________________
 600 West 26th Street                                                Contingent
                                                                     Unliquidated
 Norfolk, VA, 23517                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  415
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     95.96
                                                                                                                    $________________________________
 Amari Virginia Hopkins                                             Check all that apply.
 26 Watermill Ct                                                     Contingent
                                                                     Unliquidated
 Stafford, VA, 22556                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  416
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amaya Culbertson                                                   Check all that apply.
                                                                                                                      36.62
                                                                                                                    $________________________________
 6366 Bonnie View Drive                                              Contingent
                                                                     Unliquidated
 San Diego, CA, 92119                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  417
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             34.99
                                                                                                                    $________________________________
 amber rauhut                                                        Contingent
 2323 Island View Drive                                              Unliquidated
                                                                     Disputed
 West Bloomfield Township, MI, 48324
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  418
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      41.99
                                                                                                                    $________________________________
 Amber Case                                                         Check all that apply.
 17945 Blue Creek Court                                              Contingent
                                                                     Unliquidated
 Reno, NV, 89508                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  419
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amber Case                                                         Check all that apply.
                                                                                                                     27.05
                                                                                                                    $________________________________
 17945 Blue Creek Ct                                                 Contingent
                                                                     Unliquidated
 Reno, NV, 89508                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  420
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     54.36
                                                                                                                    $________________________________
 Amber Champion                                                     Check all that apply.
 1 MacArthur Blvd, Apt 616                                           Contingent
                                                                     Unliquidated
 Haddon Township, NJ, 8108                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  421
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amber Franks                                                       Check all that apply.
                                                                                                                      56.58
                                                                                                                    $________________________________
 3939 NW 85TH TER, APT. D                                            Contingent
                                                                     Unliquidated
 Kansas City, MO, 64154                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  422
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             62.62
                                                                                                                    $________________________________
 Amber Li                                                            Contingent
 16816 East Maplewood DR                                             Unliquidated
                                                                     Disputed
 Aurora, CO, 80016
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  423
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      28.88
                                                                                                                    $________________________________
 Amber Marie Mize                                                   Check all that apply.
 320 Ridgewood ave, D1                                               Contingent
                                                                     Unliquidated
 Gainesville, GA, 30501                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  424
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amber Riley                                                        Check all that apply.
                                                                                                                     550.91
                                                                                                                    $________________________________
 214 North Mimosa Lane                                               Contingent
                                                                     Unliquidated
 Bridgeport, WV, 26330                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  425
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     12.90
                                                                                                                    $________________________________
 Amber Roscoe-Diaz                                                  Check all that apply.
 6708 Mountain Hawk Loop NE                                          Contingent
                                                                     Unliquidated
 Rio Rancho, NM, 87144                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  426
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amber Silberberger                                                 Check all that apply.
                                                                                                                      53.61
                                                                                                                    $________________________________
 9235 Gamma Ln                                                       Contingent
                                                                     Unliquidated
 Montague, CA, 96064                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  427
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             84.99
                                                                                                                    $________________________________
 Amber Slachta                                                       Contingent
 2121 S Terripin Cir                                                 Unliquidated
                                                                     Disputed
 mesa, AZ, 85209
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  428
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      296.79
                                                                                                                    $________________________________
 Amber Vanadore                                                     Check all that apply.
 23 Riverplace Drive                                                 Contingent
                                                                     Unliquidated
 Greenville, SC, 29611                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  429
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amber Villalobos                                                   Check all that apply.
                                                                                                                     22.99
                                                                                                                    $________________________________
 11457 Loch Lomond Drive                                             Contingent
                                                                     Unliquidated
 Whittier, CA, 90606                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  430
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     26.45
                                                                                                                    $________________________________
 Amber West                                                         Check all that apply.
 509 E Valencia Ave, A                                               Contingent
                                                                     Unliquidated
 Burbank, CA, 91501-2571                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  431
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amelia Goncalves                                                   Check all that apply.
                                                                                                                      39.99
                                                                                                                    $________________________________
 86 Caroline Dr.                                                     Contingent
                                                                     Unliquidated
 Taunton, MA, 2780                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  432
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             25.99
                                                                                                                    $________________________________
 Amelia Orozco                                                       Contingent
 310 Carol Dr                                                        Unliquidated
                                                                     Disputed
 Grand Prairie, TX, 75052
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  433
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      135,332.74
                                                                                                                    $________________________________
 American Express                                                   Check all that apply.
 PO Box 1270                                                         Contingent
                                                                     Unliquidated
 Newark, NJ, 07101-1270                                              Disputed
                                                                    Basis for the claim: Credit Card Debt



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  434
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amia Janae Warren                                                  Check all that apply.
                                                                                                                     11.65
                                                                                                                    $________________________________
 1888 McCullough Drive                                               Contingent
                                                                     Unliquidated
 Lexington, KY, 40511                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  435
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     22.98
                                                                                                                    $________________________________
 Amida Fulmer                                                       Check all that apply.
 127 Hammock Road                                                    Contingent
                                                                     Unliquidated
 Trussville, AL, 35173                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  436
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amir Kondolojy                                                     Check all that apply.
                                                                                                                      76.30
                                                                                                                    $________________________________
 15044 Greenmount dr                                                 Contingent
                                                                     Unliquidated
 Woodbridge, VA, 22193                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  437
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             74.62
                                                                                                                    $________________________________
 Amman Gerald                                                        Contingent
 3512 Sudbury Lane                                                   Unliquidated
                                                                     Disputed
 Louisville, KY, 40220
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  438
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                    $________________________________
 Ammy Concepcion                                                    Check all that apply.
 426 W Osceola Ave                                                   Contingent
                                                                     Unliquidated
 Clewiston, FL, 33440                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  439
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amy Agosto                                                         Check all that apply.
                                                                                                                     23.99
                                                                                                                    $________________________________
 1129 Stratford Avenue, Ground Floor                                 Contingent
                                                                     Unliquidated
 The Bronx, NY, 10472                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  440
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     49.99
                                                                                                                    $________________________________
 Amy Aleksiev                                                       Check all that apply.
 1541 Onyx Circle                                                    Contingent
                                                                     Unliquidated
 Longmont, CO, 80504                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  441
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 amy calle                                                          Check all that apply.
                                                                                                                      152.41
                                                                                                                    $________________________________
 134-50 58th ave, 1                                                  Contingent
                                                                     Unliquidated
 flushing, NY, 11355                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  442
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             19.99
                                                                                                                    $________________________________
 Amy Castronovo                                                      Contingent
 1367 KENORA PL                                                      Unliquidated
                                                                     Disputed
 Escondido, CA, 92027
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  443
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      27.48
                                                                                                                    $________________________________
 Amy Chan                                                           Check all that apply.
 12104 Hallwood Drive                                                Contingent
                                                                     Unliquidated
 El Monte, CA, 91732                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  444
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 AMY COX                                                            Check all that apply.
                                                                                                                     9.99
                                                                                                                    $________________________________
 2001 AZALEA DR                                                      Contingent
                                                                     Unliquidated
 VALDOSTA, GA, 31602                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  445
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     44.51
                                                                                                                    $________________________________
 Amy Failor                                                         Check all that apply.
 3563 Orrstown Rd                                                    Contingent
                                                                     Unliquidated
 Orrstown, PA, 17244                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  446
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amy Golden-Bouchard                                                Check all that apply.
                                                                                                                      12.65
                                                                                                                    $________________________________
 63 Boutelle Rd                                                      Contingent
                                                                     Unliquidated
 Bangor, ME, 04401-5842                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  447
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             37.18
                                                                                                                    $________________________________
 Amy Guo                                                             Contingent
 1156 Harold Rd                                                      Unliquidated
                                                                     Disputed
 District of North Vancouver, BC, V7K1G3
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  448
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      42.99
                                                                                                                    $________________________________
 Amy Ho                                                             Check all that apply.
 8008 Emerson PL                                                     Contingent
                                                                     Unliquidated
 Rosemead, CA, 91770                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  449
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amy Johnson                                                        Check all that apply.
                                                                                                                     28.39
                                                                                                                    $________________________________
 1721 Flores Street                                                  Contingent
                                                                     Unliquidated
 Seaside, CA, 93955                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  450
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     10.99
                                                                                                                    $________________________________
 Amy L Purvis                                                       Check all that apply.
 2299 7th avenue                                                     Contingent
                                                                     Unliquidated
 MILTON, WA, 98354                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  451
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amy Lopez                                                          Check all that apply.
                                                                                                                      9.99
                                                                                                                    $________________________________
 202 Ten Eyck Walk, 2B                                               Contingent
                                                                     Unliquidated
 Brooklyn, NY, 11206                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  452
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             131.97
                                                                                                                    $________________________________
 Amy Matlock                                                         Contingent
 15825 Quorum Dr, Apt 2130                                           Unliquidated
                                                                     Disputed
 ADDISON, TX, 75001-3486
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  453
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      12.80
                                                                                                                    $________________________________
 AMY MURDOCK                                                        Check all that apply.
 849 W. ABBEY DR.                                                    Contingent
                                                                     Unliquidated
 MEDINA, OH, 44256                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  454
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amy Nobles                                                         Check all that apply.
                                                                                                                     13.99
                                                                                                                    $________________________________
 125 W Main St                                                       Contingent
                                                                     Unliquidated
 Dryden, NY, 13053                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  455
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     26.99
                                                                                                                    $________________________________
 Amy Page                                                           Check all that apply.
 1419 Poplar Street                                                  Contingent
                                                                     Unliquidated
 Lebanon, PA, 17042                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  456
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amy Povick                                                         Check all that apply.
                                                                                                                      49.99
                                                                                                                    $________________________________
 4211 South 94th Street                                              Contingent
                                                                     Unliquidated
 Greenfield, WI, 53228                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  457
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             27.99
                                                                                                                    $________________________________
 Amy Rockey                                                          Contingent
 1804 Stonecrest Ct                                                  Unliquidated
                                                                     Disputed
 North Chesterfield, VA, 23236
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  458
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      35.99
                                                                                                                    $________________________________
 Amy Tran                                                           Check all that apply.
 5010 Southeast 114th Avenue                                         Contingent
                                                                     Unliquidated
 Portland, OR, 97266                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  459
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amy Williamson                                                     Check all that apply.
                                                                                                                     13.13
                                                                                                                    $________________________________
 29 Lake Village Court                                               Contingent
                                                                     Unliquidated
 Johnson City, TN, 37601                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  460
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     11.98
                                                                                                                    $________________________________
 Amy Yaskoff                                                        Check all that apply.
 7543 Loop St                                                        Contingent
                                                                     Unliquidated
 Navarre, FL, 32566                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  461
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Amy Zeng                                                           Check all that apply.
                                                                                                                      213.87
                                                                                                                    $________________________________
 3872 Stone Pointe Way                                               Contingent
                                                                     Unliquidated
 Pleasanton, CA, 94588                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  462
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 An Vo                                                                Contingent
 24800 Townsend Ave                                                   Unliquidated
                                                                      Disputed
 Hayward, CA, 94544
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  463
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.98
                                                                                                                     $________________________________
 Ana Cestero                                                         Check all that apply.
 1827 Ryon Falls Dr                                                   Contingent
                                                                      Unliquidated
 Richmond, TX, 77469                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  464
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ana cubilla                                                         Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 4203 South 19th Street                                               Contingent
                                                                      Unliquidated
 Omaha, NE, 68107                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  465
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                     $________________________________
 Ana G Rios                                                          Check all that apply.
 3018 NW Port Ave                                                     Contingent
                                                                      Unliquidated
 Lincoln City, OR, 97367-4707                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  466
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ana Li                                                              Check all that apply.
                                                                                                                       106.68
                                                                                                                     $________________________________
 10676 Ellen St                                                       Contingent
                                                                      Unliquidated
 El Monte, CA, 91731                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  467
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             32.46
                                                                                                                    $________________________________
 Ana Michelle Gomez                                                  Contingent
 125 Crosspoint Road, Apt 8204                                       Unliquidated
                                                                     Disputed
 Boerne, TX, 78006
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  468
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      53.98
                                                                                                                    $________________________________
 Ana Michelle Gomez                                                 Check all that apply.
 125 Crosspoint Road, Apt 8204                                       Contingent
                                                                     Unliquidated
 Boerne, TX, 78006                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  469
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ana Rivera                                                         Check all that apply.
                                                                                                                     32.57
                                                                                                                    $________________________________
 2553 W Catalina Dr                                                  Contingent
                                                                     Unliquidated
 Phoenix, AZ, 85017                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  470
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     32.83
                                                                                                                    $________________________________
 Ana Sanchez                                                        Check all that apply.
 6257 Columbus Ave, 6257 Columbus Ave                                Contingent
                                                                     Unliquidated
 Van Nuys, CA, 91411                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  471
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ana Valdes Behrens                                                 Check all that apply.
                                                                                                                      44.99
                                                                                                                    $________________________________
 6486 W 80th Dr Unit B                                               Contingent
                                                                     Unliquidated
 Arvada, CO, 80003                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  472
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             37.75
                                                                                                                    $________________________________
 Ana Valdes Behrens                                                  Contingent
 6486 W 80th Dr Unit B                                               Unliquidated
                                                                     Disputed
 Arvada, CO, 80003
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  473
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      41.59
                                                                                                                    $________________________________
 Ana Vallejo                                                        Check all that apply.
 11400 Culver Blvd, 11                                               Contingent
                                                                     Unliquidated
 Los Angeles, CA, 90066                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  474
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anabel Hill                                                        Check all that apply.
                                                                                                                     31.79
                                                                                                                    $________________________________
 20316 Hunt Club Dr                                                  Contingent
                                                                     Unliquidated
 Harper Woods, MI, 48225                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  475
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     15.89
                                                                                                                    $________________________________
 Anais Rivera                                                       Check all that apply.
 2620 Centennial Court                                               Contingent
                                                                     Unliquidated
 Duluth, GA, 30096                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  476
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anas Rahman                                                        Check all that apply.
                                                                                                                      65.31
                                                                                                                    $________________________________
 4305 47 Street, Apt A22                                             Contingent
                                                                     Unliquidated
 Sunnyside, NY, 11104                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  477
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             87.97
                                                                                                                    $________________________________
 Anastasia Evseeva                                                   Contingent
 22 Old Ranch Road                                                   Unliquidated
                                                                     Disputed
 Laguna Niguel, CA, 92677
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  478
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                    $________________________________
 Anastasiia Osypova                                                 Check all that apply.
 2562 Seymour Avenue                                                 Contingent
                                                                     Unliquidated
 The Bronx, NY, 10469                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  479
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andi Kausch                                                        Check all that apply.
                                                                                                                     12.78
                                                                                                                    $________________________________
 208 CLEVELAND LN                                                    Contingent
                                                                     Unliquidated
 PRINCETON, NJ, 8540                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  480
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     29.08
                                                                                                                    $________________________________
 Andi Nguyen                                                        Check all that apply.
 10281 Empress Ave                                                   Contingent
                                                                     Unliquidated
 San Diego, CA, 92126                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  481
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 andre fuller                                                       Check all that apply.
                                                                                                                      22.99
                                                                                                                    $________________________________
 7044 DARTMOUTH AVE                                                  Contingent
                                                                     Unliquidated
 UNIVERSITY CITY, MO, 63130                                          Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  482
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             24.99
                                                                                                                    $________________________________
 Andre Robles                                                        Contingent
 6301 Ming Ave, apt. 69                                              Unliquidated
                                                                     Disputed
 Bakersfield, CA, 93309
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  483
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                    $________________________________
 Andre Santiago                                                     Check all that apply.
 2620 Fatemeh Circle                                                 Contingent
                                                                     Unliquidated
 Anchorage, AK, 99507                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  484
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andre West                                                         Check all that apply.
                                                                                                                     64.64
                                                                                                                    $________________________________
 506 Marinella Aisle                                                 Contingent
                                                                     Unliquidated
 Irvine, CA, 92606                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  485
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     16.22
                                                                                                                    $________________________________
 Andrea Aguilar                                                     Check all that apply.
 631 Sandalwood Dr                                                   Contingent
                                                                     Unliquidated
 El Cajon, CA, 92021                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  486
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrea Aleman                                                      Check all that apply.
                                                                                                                      39.99
                                                                                                                    $________________________________
 2719 Logan Drive                                                    Contingent
                                                                     Unliquidated
 Mansfield, TX, 76063                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  487
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             32.99
                                                                                                                    $________________________________
 Andrea Cruz                                                         Contingent
 10455 Allenby Street                                                Unliquidated
                                                                     Disputed
 Riverside, CA, 92505
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  488
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      26.08
                                                                                                                    $________________________________
 Andrea Haywood                                                     Check all that apply.
 145 Pebble Court                                                    Contingent
                                                                     Unliquidated
 Pike Road, AL, 36064                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  489
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 andrea nava                                                        Check all that apply.
                                                                                                                     45.99
                                                                                                                    $________________________________
 1789 ARMAND DR                                                      Contingent
                                                                     Unliquidated
 MILPITAS, CA, 95035                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  490
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     9.99
                                                                                                                    $________________________________
 Andrea Ortega                                                      Check all that apply.
 8301 Mesa RD                                                        Contingent
                                                                     Unliquidated
 Santee, CA, 92071                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  491
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrea Przybylski                                                  Check all that apply.
                                                                                                                      189.43
                                                                                                                    $________________________________
 7015 Forest Meadow                                                  Contingent
                                                                     Unliquidated
 San Antonio, TX, 78240                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  492
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             13.22
                                                                                                                    $________________________________
 Andres Acosta                                                       Contingent
 4133 Durfee Avenue                                                  Unliquidated
                                                                     Disputed
 Pico Rivera, CA, 90660
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  493
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                    $________________________________
 Andres Gutierrez                                                   Check all that apply.
 3004 South L Street                                                 Contingent
                                                                     Unliquidated
 Oxnard, CA, 93033                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  494
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andres Landeros                                                    Check all that apply.
                                                                                                                     54.99
                                                                                                                    $________________________________
 4050 N CENTRAL AVE                                                  Contingent
                                                                     Unliquidated
 CHICAGO, IL, 60634-1832                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  495
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     101.97
                                                                                                                    $________________________________
 Andres Lopez                                                       Check all that apply.
 1201 West Pottery Street                                            Contingent
                                                                     Unliquidated
 Lake Elsinore, CA, 92530                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  496
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andres Luna                                                        Check all that apply.
                                                                                                                      191.62
                                                                                                                    $________________________________
 719 East 40th Place, Apt 8                                          Contingent
                                                                     Unliquidated
 Los Angeles, CA, 90011                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  497
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             76.44
                                                                                                                    $________________________________
 Andres S Perez                                                      Contingent
 805 24 Ave. Apt. F                                                  Unliquidated
                                                                     Disputed
 Santa Cruz, CA, 95062
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  498
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      12.71
                                                                                                                    $________________________________
 Andres Valbuena                                                    Check all that apply.
 1321 Porter Street, A                                               Contingent
                                                                     Unliquidated
 Richmond, VA, 23224                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  499
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andres Vazquez                                                     Check all that apply.
                                                                                                                     52.98
                                                                                                                    $________________________________
 4734N 79TH Dr                                                       Contingent
                                                                     Unliquidated
 Phoenix, AZ, 85033                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  500
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     35.98
                                                                                                                    $________________________________
 Andrew Chau                                                        Check all that apply.
 13431 Wynant Dr                                                     Contingent
                                                                     Unliquidated
 Garden Grove, CA, 92844                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  501
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew J Glidewell                                                 Check all that apply.
                                                                                                                      120.00
                                                                                                                    $________________________________
 121 E Tenny Ave                                                     Contingent
                                                                     Unliquidated
 Louisville, KY, 40214                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  502
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             24.99
                                                                                                                    $________________________________
 Andrew Park                                                         Contingent
 827 Whitewater Drive                                                Unliquidated
                                                                     Disputed
 Fullerton, CA, 92833
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  503
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      400.00
                                                                                                                    $________________________________
 Andrew Ramos                                                       Check all that apply.
 1641 W Monte Vista Ave                                              Contingent
                                                                     Unliquidated
 VISALIA, CA, 93277-7332                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  504
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Thomas Azud                                                 Check all that apply.
                                                                                                                     37.99
                                                                                                                    $________________________________
 231 Adeline Drive                                                   Contingent
                                                                     Unliquidated
 Westminster, MD, 21157                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  505
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     29.98
                                                                                                                    $________________________________
 Andrew Ward                                                        Check all that apply.
 3187 Bellevue Avenue, Apt B6                                        Contingent
                                                                     Unliquidated
 Syracuse, NY, 13219                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  506
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Albrecht                                                    Check all that apply.
                                                                                                                      34.97
                                                                                                                    $________________________________
 2224 broadhead Place                                                Contingent
                                                                     Unliquidated
 Lexington, KY, 40515                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  507
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             68.42
                                                                                                                     $________________________________
 Andrew Alguera                                                       Contingent
 25 Starlight Ct                                                      Unliquidated
                                                                      Disputed
 West Babylon, NY, 11704
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  508
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.98
                                                                                                                     $________________________________
 andrew aros                                                         Check all that apply.
 13940 leedy ave.                                                     Contingent
                                                                      Unliquidated
 sylmar, CA, 91342                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  509
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Andrew Avila                                                        Check all that apply.
                                                                                                                      37.75
                                                                                                                     $________________________________
 3828 Tahiti Ln                                                       Contingent
                                                                      Unliquidated
 Modesto, CA, 95356                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  510
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      296.79
                                                                                                                     $________________________________
 Andrew Bartholet                                                    Check all that apply.
 11 OAK DR                                                            Contingent
                                                                      Unliquidated
 STONINGTON, CT, 6378                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  511
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Andrew Belleza                                                      Check all that apply.
                                                                                                                       47.06
                                                                                                                     $________________________________
 2010 Ardmore Ave, Apt 74                                             Contingent
                                                                      Unliquidated
 Fort Wayne, IN, 46802                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  512
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             29.98
                                                                                                                    $________________________________
 Andrew Bennett                                                      Contingent
 300 Prairie Avenue                                                  Unliquidated
                                                                     Disputed
 Bozeman, MT, 59718
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  513
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                    $________________________________
 Andrew Bogdan                                                      Check all that apply.
 616 Union Mills Road                                                Contingent
                                                                     Unliquidated
 Broadalbin, NY, 12025                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  514
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Brooks                                                      Check all that apply.
                                                                                                                     16.99
                                                                                                                    $________________________________
 320 McHenry Rd, Unit 20                                             Contingent
                                                                     Unliquidated
 Glendale, CA, 91206                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  515
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     253.46
                                                                                                                    $________________________________
 Andrew Bruck                                                       Check all that apply.
 2335 Washington St, 302                                             Contingent
                                                                     Unliquidated
 San Francisco, CA, 94115                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  516
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Bullen                                                      Check all that apply.
                                                                                                                      15.99
                                                                                                                    $________________________________
 1178 Boyds Corner RD                                                Contingent
                                                                     Unliquidated
 Middletown, DE, 19709                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  517
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             109.99
                                                                                                                    $________________________________
 Andrew Burnette                                                     Contingent
 2925 Camden Drive                                                   Unliquidated
                                                                     Disputed
 West Chicago, IL, 60185
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  518
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      12.92
                                                                                                                    $________________________________
 Andrew Chavez                                                      Check all that apply.
 17375 Via Calma                                                     Contingent
                                                                     Unliquidated
 Tustin, CA, 92780                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  519
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 andrew cleair                                                      Check all that apply.
                                                                                                                     27.95
                                                                                                                    $________________________________
 1424 Elm St                                                         Contingent
                                                                     Unliquidated
 Fort Collins, CO, 80521                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  520
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     47.97
                                                                                                                    $________________________________
 Andrew Cook                                                        Check all that apply.
 863 Highlander Trail                                                Contingent
                                                                     Unliquidated
 Hudson, WI, 54016                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  521
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Cooklin                                                     Check all that apply.
                                                                                                                      35.78
                                                                                                                    $________________________________
 1603 Pcr 800                                                        Contingent
                                                                     Unliquidated
 Perryville, MO, 63775                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  522
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             11.99
                                                                                                                    $________________________________
 Andrew Defenbaugh                                                   Contingent
 4545 East Arapahoe Place                                            Unliquidated
                                                                     Disputed
 Centennial, CO, 80122
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  523
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      64.99
                                                                                                                    $________________________________
 ANDREW DEMAYO                                                      Check all that apply.
 401 WOLFE ST                                                        Contingent
                                                                     Unliquidated
 VALLEJO, CA, 94590                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  524
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Elliott                                                     Check all that apply.
                                                                                                                     99.98
                                                                                                                    $________________________________
 37908 Greenwich St                                                  Contingent
                                                                     Unliquidated
 Clinton Township, MI, 48036                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  525
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     93.06
                                                                                                                    $________________________________
 Andrew Escobar                                                     Check all that apply.
 5437 GEYSER AVE                                                     Contingent
                                                                     Unliquidated
 Tarzana, CA, 91356                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  526
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Feller                                                      Check all that apply.
                                                                                                                      35.38
                                                                                                                    $________________________________
 8400 Metronome Drive                                                Contingent
                                                                     Unliquidated
 Raleigh, NC, 27613                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  527
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             62.40
                                                                                                                    $________________________________
 Andrew Gutierrez                                                    Contingent
 5216 North Muscatel Avenue                                          Unliquidated
                                                                     Disputed
 San Gabriel, CA, 91776
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  528
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      13.16
                                                                                                                    $________________________________
 Andrew Hensarling                                                  Check all that apply.
 7664 Apple Valley Road                                              Contingent
                                                                     Unliquidated
 Germantown, TN, 38138                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  529
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Hoefer                                                      Check all that apply.
                                                                                                                     104.99
                                                                                                                    $________________________________
 7109 Old Harbor Avenue                                              Contingent
                                                                     Unliquidated
 Anchorage, AK, 99504                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  530
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     59.96
                                                                                                                    $________________________________
 Andrew J Richards                                                  Check all that apply.
 16375 Parkwood Dr                                                   Contingent
                                                                     Unliquidated
 Macomb, MI, 48044-3220                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  531
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Jacobs                                                      Check all that apply.
                                                                                                                      50.12
                                                                                                                    $________________________________
 3221 Florence Avenue                                                Contingent
                                                                     Unliquidated
 Steger, IL, 60475                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  532
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             19.99
                                                                                                                    $________________________________
 Andrew Kooser                                                       Contingent
 7608 HALSEY ST, APT 203                                             Unliquidated
                                                                     Disputed
 LENEXA, KS, 66216
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  533
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      17.11
                                                                                                                    $________________________________
 Andrew Le                                                          Check all that apply.
 208 Adams ave                                                       Contingent
                                                                     Unliquidated
 Biloxi, MS, 39531                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  534
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Lewis                                                       Check all that apply.
                                                                                                                     119.45
                                                                                                                    $________________________________
 13805 10th Terrace                                                  Contingent
                                                                     Unliquidated
 Grandview, MO, 64030                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  535
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     13.02
                                                                                                                    $________________________________
 Andrew Masi                                                        Check all that apply.
 12838 W. Segovia Dr.                                                Contingent
                                                                     Unliquidated
 Litchfield Park, AZ, 85340                                          Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  536
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Mersel                                                      Check all that apply.
                                                                                                                      31.93
                                                                                                                    $________________________________
 11 Cypress Ct.                                                      Contingent
                                                                     Unliquidated
 Bordentown, NJ, 8505                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  537
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             15.98
                                                                                                                    $________________________________
 Andrew Mihalkovic                                                   Contingent
 2865 Einstein Dr                                                    Unliquidated
                                                                     Disputed
 Virginia Beach, VA, 23456
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  538
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      34.99
                                                                                                                    $________________________________
 Andrew Miller                                                      Check all that apply.
 10916 Tesson Ferry Road                                             Contingent
                                                                     Unliquidated
 St. Louis, MO, 63123                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  539
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Moore                                                       Check all that apply.
                                                                                                                     14.99
                                                                                                                    $________________________________
 9064 Brandywine                                                     Contingent
                                                                     Unliquidated
 Northfield, OH, 44067                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  540
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     24.95
                                                                                                                    $________________________________
 Andrew Morris                                                      Check all that apply.
 3019 35th Ave                                                       Contingent
                                                                     Unliquidated
 Rock Island, IL, 61201                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  541
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Munoz                                                       Check all that apply.
                                                                                                                      27.48
                                                                                                                    $________________________________
 13662 Beckner Street                                                Contingent
                                                                     Unliquidated
 La Puente, CA, 91746                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  542
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             59.55
                                                                                                                    $________________________________
 Andrew Nguyen                                                       Contingent
 11245 E Ulysses Ave                                                 Unliquidated
                                                                     Disputed
 Mesa, AZ, 85212
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  543
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                    $________________________________
 Andrew Nielson                                                     Check all that apply.
 824 Rim View Ln E                                                   Contingent
                                                                     Unliquidated
 Twin Falls, ID, 83301                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  544
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew O'Laughlin                                                  Check all that apply.
                                                                                                                     37.91
                                                                                                                    $________________________________
 48 Vogel Circle                                                     Contingent
                                                                     Unliquidated
 Arnold, MO, 63010                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  545
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     409.94
                                                                                                                    $________________________________
 Andrew Patton                                                      Check all that apply.
 710 Berkeley Ave.                                                   Contingent
                                                                     Unliquidated
 Orange, NJ, 7050                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  546
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Ramirez                                                     Check all that apply.
                                                                                                                      13.13
                                                                                                                    $________________________________
 3055 Cudahy St                                                      Contingent
                                                                     Unliquidated
 Huntington Park, CA, 90255                                          Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  547
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             42.21
                                                                                                                    $________________________________
 Andrew Roman                                                        Contingent
 2901 Virginia ave, 10                                               Unliquidated
                                                                     Disputed
 Bakersfield, CA, 93307
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  548
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                    $________________________________
 Andrew Ruelas                                                      Check all that apply.
 2756 East Hickory Street                                            Contingent
                                                                     Unliquidated
 Gilbert, AZ, 85298                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  549
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Salgado                                                     Check all that apply.
                                                                                                                     27.61
                                                                                                                    $________________________________
 1541 COVE DR                                                        Contingent
                                                                     Unliquidated
 PROSPECT HEIGHTS, IL, 60070                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  550
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     149.90
                                                                                                                    $________________________________
 andrew sirianni                                                    Check all that apply.
 8223 Southeast 71st Street                                          Contingent
                                                                     Unliquidated
 Mercer Island, WA, 98040                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  551
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Smith                                                       Check all that apply.
                                                                                                                      57.61
                                                                                                                    $________________________________
 500 locust st                                                       Contingent
                                                                     Unliquidated
 Burdett, KS, 67523                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  552
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             15.99
                                                                                                                    $________________________________
 Andrew Swailes                                                      Contingent
 16450 Macon Street, Apt. 301                                        Unliquidated
                                                                     Disputed
 CLERMONT, FL, 34714
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  553
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                    $________________________________
 Andrew Vu                                                          Check all that apply.
 5567 Annandale Place                                                Contingent
                                                                     Unliquidated
 Corona, CA, 92880                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  554
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Wlodyga                                                     Check all that apply.
                                                                                                                     11.99
                                                                                                                    $________________________________
 6647 Hanna Ct                                                       Contingent
                                                                     Unliquidated
 Byron, MI, 48418                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  555
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     58.98
                                                                                                                    $________________________________
 Andrew Wong                                                        Check all that apply.
 157 Crestmount Ave, 1                                               Contingent
                                                                     Unliquidated
 Tonawanda, NY, 14150                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  556
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andrew Wright                                                      Check all that apply.
                                                                                                                      21.99
                                                                                                                    $________________________________
 3365 Diego Bay Circle                                               Contingent
                                                                     Unliquidated
 Las Vegas, NV, 89117                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  557
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             267.96
                                                                                                                    $________________________________
 Andrew Yen                                                          Contingent
 14561 Manchester Ave                                                Unliquidated
                                                                     Disputed
 Chino, CA, 91710-6969
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  558
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                    $________________________________
 Andrew Yenco                                                       Check all that apply.
 5046 Relleum Avenue                                                 Contingent
                                                                     Unliquidated
 Cincinnati, OH, 45238                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  559
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andria Hoover                                                      Check all that apply.
                                                                                                                     31.98
                                                                                                                    $________________________________
 8031 California Ave SW                                              Contingent
                                                                     Unliquidated
 Seattle, WA, 98136                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  560
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     25.99
                                                                                                                    $________________________________
 andrieth martinez                                                  Check all that apply.
 urb.las monjitas calle novicia 328                                  Contingent
                                                                     Unliquidated
 PONCE, PR, 730                                                      Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  561
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andy Craig                                                         Check all that apply.
                                                                                                                      134.98
                                                                                                                    $________________________________
 235 e hale st                                                       Contingent
                                                                     Unliquidated
 Ridgeway, OH, 43345                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  562
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             26.99
                                                                                                                    $________________________________
 Andy Cruz                                                           Contingent
 10810 Odyssey Court                                                 Unliquidated
                                                                     Disputed
 Houston, TX, 77099
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  563
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                    $________________________________
 Andy De Santiago                                                   Check all that apply.
 158 N 13th Ave, Apt. C                                              Contingent
                                                                     Unliquidated
 Upland, CA, 91786                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  564
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andy Everett                                                       Check all that apply.
                                                                                                                     27.88
                                                                                                                    $________________________________
 232 Oakwood Drive                                                   Contingent
                                                                     Unliquidated
 Layton, UT, 84040                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  565
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     389.94
                                                                                                                    $________________________________
 Andy Gilles                                                        Check all that apply.
 592 Sunset Ave                                                      Contingent
                                                                     Unliquidated
 Keizer, OR, 97303                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  566
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andy Gomez                                                         Check all that apply.
                                                                                                                      37.44
                                                                                                                    $________________________________
 8045 Sw 107 Ave, Apt.316                                            Contingent
                                                                     Unliquidated
 Miami, FL, 33173                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  567
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             106.66
                                                                                                                    $________________________________
 Andy Leung                                                          Contingent
 3315 Del Mar Avenue, B                                              Unliquidated
                                                                     Disputed
 Rosemead, CA, 91770
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  568
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      74.66
                                                                                                                    $________________________________
 Andy Lopez                                                         Check all that apply.
 12401 Tierra Ana Court                                              Contingent
                                                                     Unliquidated
 El Paso, TX, 79938                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  569
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andy McGrath                                                       Check all that apply.
                                                                                                                     11.99
                                                                                                                    $________________________________
 8318 Robey Ave                                                      Contingent
                                                                     Unliquidated
 Annandale, VA, 22003                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  570
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     41.11
                                                                                                                    $________________________________
 Andy Melgar                                                        Check all that apply.
 16503 MOUNT HOPE DR                                                 Contingent
                                                                     Unliquidated
 Cypress, TX, 77433                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  571
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Andy Nguyen                                                        Check all that apply.
                                                                                                                      65.99
                                                                                                                    $________________________________
 1125 9th Street                                                     Contingent
                                                                     Unliquidated
 San Leon, TX, 77539                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  572
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             329.94
                                                                                                                    $________________________________
 Andy Nguyen                                                         Contingent
 930 Ball Avenue                                                     Unliquidated
                                                                     Disputed
 Escondido, CA, 92026
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  573
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      227.97
                                                                                                                    $________________________________
 andy wong                                                          Check all that apply.
 8621 Greylag way                                                    Contingent
                                                                     Unliquidated
 Elk Grove, CA, 95757                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  574
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Aneth Tirado                                                       Check all that apply.
                                                                                                                     24.99
                                                                                                                    $________________________________
 434 SECT. NOGUERAS                                                  Contingent
                                                                     Unliquidated
 CIDRA, PR, 739                                                      Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  575
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     70.98
                                                                                                                    $________________________________
 Angel Alvarez                                                      Check all that apply.
 10430 Cr 800                                                        Contingent
                                                                     Unliquidated
 Royse City, TX, 75189                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  576
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angel Camarillo                                                    Check all that apply.
                                                                                                                      21.54
                                                                                                                    $________________________________
 2705 Seine Ave                                                      Contingent
                                                                     Unliquidated
 Highland, CA, 92346                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  577
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             41.99
                                                                                                                    $________________________________
 Angel Cebreros                                                      Contingent
 649 Erica Street                                                    Unliquidated
                                                                     Disputed
 Escondido, CA, 92027
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  578
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      78.99
                                                                                                                    $________________________________
 angel hernandez                                                    Check all that apply.
 131 Saint Nicholas Avenue                                           Contingent
                                                                     Unliquidated
 New York, NY, 10026                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  579
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angel Herrera                                                      Check all that apply.
                                                                                                                     28.13
                                                                                                                    $________________________________
 1501 Barlow Ave                                                     Contingent
                                                                     Unliquidated
 Dallas, TX, 75224                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  580
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     85.07
                                                                                                                    $________________________________
 Angel Medina                                                       Check all that apply.
 45 St James St                                                      Contingent
                                                                     Unliquidated
 West Hartford, CT, 6119                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  581
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angel Mendez                                                       Check all that apply.
                                                                                                                      39.39
                                                                                                                    $________________________________
 2907 Brighton Ave                                                   Contingent
                                                                     Unliquidated
 Los Angeles, CA, 90018-3123                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  582
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             16.53
                                                                                                                    $________________________________
 Angel Quintero                                                      Contingent
 1414 South Eastern Avenue                                           Unliquidated
                                                                     Disputed
 Commerce, CA, 90040
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  583
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      14.92
                                                                                                                    $________________________________
 Angel Soto                                                         Check all that apply.
 200 Mill St, APT. B6                                                Contingent
                                                                     Unliquidated
 Belleville, NJ, 7109                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  584
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angel Soto                                                         Check all that apply.
                                                                                                                     33.99
                                                                                                                    $________________________________
 P. O. Box 2077                                                      Contingent
                                                                     Unliquidated
 Hatillo, PR, 659                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  585
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     11.99
                                                                                                                    $________________________________
 Angel Valerio                                                      Check all that apply.
 10250 Spencer Street, 1102                                          Contingent
                                                                     Unliquidated
 Las Vegas, NV, 89183                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  586
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angel Vazquez                                                      Check all that apply.
                                                                                                                      36.04
                                                                                                                    $________________________________
 4808 Blue Springs Dr                                                Contingent
                                                                     Unliquidated
 Nashville, TN, 37211                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  587
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             13.13
                                                                                                                    $________________________________
 Angel Velasquez                                                     Contingent
 3837 Hellman ave                                                    Unliquidated
                                                                     Disputed
 Los ?°ngeles, CA, 90032
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  588
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      20.98
                                                                                                                    $________________________________
 Angela Brown                                                       Check all that apply.
 143 Margate Drive, Address 2                                        Contingent
                                                                     Unliquidated
 Albany, GA, 31721                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  589
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angela Emmons                                                      Check all that apply.
                                                                                                                     28.61
                                                                                                                    $________________________________
 7365 North Peppermill Way                                           Contingent
                                                                     Unliquidated
 Boise, ID, 83714                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  590
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     15.99
                                                                                                                    $________________________________
 Angela Kelly                                                       Check all that apply.
 123 Trailwood Avenue                                                Contingent
                                                                     Unliquidated
 Aiken, SC, 29803                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  591
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angela Pham                                                        Check all that apply.
                                                                                                                      99.99
                                                                                                                    $________________________________
 1011 South Main Street, APT 4601                                    Contingent
                                                                     Unliquidated
 Carrollton, TX, 75006                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  592
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             12.99
                                                                                                                    $________________________________
 Angela Pluck                                                        Contingent
 19972 New Rome Road                                                 Unliquidated
                                                                     Disputed
 Nevada City, CA, 95959
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  593
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      31.99
                                                                                                                    $________________________________
 Angela Simpkins                                                    Check all that apply.
 1550 Jasmine Trail                                                  Contingent
                                                                     Unliquidated
 Sevierville, TN, 37862                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  594
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angela Yan                                                         Check all that apply.
                                                                                                                     57.89
                                                                                                                    $________________________________
 260 Clara Terrace                                                   Contingent
                                                                     Unliquidated
 Fremont, CA, 94539                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  595
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     39.99
                                                                                                                    $________________________________
 Angelia Ouk                                                        Check all that apply.
 4930n North Drake Avenue                                            Contingent
                                                                     Unliquidated
 Chicago, IL, 60625                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  596
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angelica Siangco                                                   Check all that apply.
                                                                                                                      63.86
                                                                                                                    $________________________________
 4231 Shady River                                                    Contingent
                                                                     Unliquidated
 Missouri City, TX, 77459                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  597
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             29.22
                                                                                                                    $________________________________
 Angelica Buckley                                                    Contingent
 3005 Rugeley St                                                     Unliquidated
                                                                     Disputed
 Bay City, TX, 77414
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  598
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      29.53
                                                                                                                    $________________________________
 Angelica Cain                                                      Check all that apply.
 P.O. Box 733                                                        Contingent
                                                                     Unliquidated
 Howland, ME, 4448                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  599
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angelica Pearson                                                   Check all that apply.
                                                                                                                     27.05
                                                                                                                    $________________________________
 20216 south mountain road                                           Contingent
                                                                     Unliquidated
 Santa paula , CA, 93060                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  600
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     26.99
                                                                                                                    $________________________________
 Angelica Shoemaker                                                 Check all that apply.
 149 Eckenrode Rd                                                    Contingent
                                                                     Unliquidated
 Loretto, PA, 15940                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  601
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angelika Sobilo                                                    Check all that apply.
                                                                                                                      44.99
                                                                                                                    $________________________________
 628 Humboldt St, 2                                                  Contingent
                                                                     Unliquidated
 Brooklyn, NY, 11222                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  602
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             42.99
                                                                                                                    $________________________________
 Angelina Ayvazyan                                                   Contingent
 17450 Weddington Street                                             Unliquidated
                                                                     Disputed
 Los Angeles, CA, 91316
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  603
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      37.99
                                                                                                                    $________________________________
 Angelina Buscaglia                                                 Check all that apply.
 143 Brendan Avenue                                                  Contingent
                                                                     Unliquidated
 Buffalo, NY, 14217                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  604
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 angelina sirico                                                    Check all that apply.
                                                                                                                     202.16
                                                                                                                    $________________________________
 643 Parakeet Court, 643                                             Contingent
                                                                     Unliquidated
 Kissimmee, FL, 34759                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  605
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     45.35
                                                                                                                    $________________________________
 Angelina Ulaj                                                      Check all that apply.
 7323 State Rte 55                                                   Contingent
                                                                     Unliquidated
 Neversink, NY, 12765                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  606
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angeline Salva                                                     Check all that apply.
                                                                                                                      58.98
                                                                                                                    $________________________________
 6824 Trovita Way                                                    Contingent
                                                                     Unliquidated
 Citrus Heights, CA, 95610                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  607
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             40.27
                                                                                                                    $________________________________
 Angelique Gatti                                                     Contingent
 401 Prospect Avenue, Apt 2                                          Unliquidated
                                                                     Disputed
 Brooklyn, NY, 11215
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  608
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      69.98
                                                                                                                    $________________________________
 Angelique Ramirez                                                  Check all that apply.
 7747 pioneer blvd                                                   Contingent
                                                                     Unliquidated
 whittier, CA, 90606                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  609
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angellica Carter                                                   Check all that apply.
                                                                                                                     133.95
                                                                                                                    $________________________________
 5361 Longhorn Trail                                                 Contingent
                                                                     Unliquidated
 Gulf Breeze, FL, 32563                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  610
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     83.97
                                                                                                                    $________________________________
 Angelo Atienza                                                     Check all that apply.
 46 franklin ave                                                     Contingent
                                                                     Unliquidated
 Rockaway, NJ, 7866                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  611
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angelo Beltrame                                                    Check all that apply.
                                                                                                                      22.99
                                                                                                                    $________________________________
 921 Rowlett Avenue                                                  Contingent
                                                                     Unliquidated
 Melrose Park, IL, 60164                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  612
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             25.31
                                                                                                                    $________________________________
 Angelo Martinez                                                     Contingent
 1555 South 9th Street                                               Unliquidated
                                                                     Disputed
 Milwaukee, WI, 53204
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  613
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      42.98
                                                                                                                    $________________________________
 Angelo Tagliavia                                                   Check all that apply.
 1434 big bend rd, B                                                 Contingent
                                                                     Unliquidated
 WAUKESHA, WI, 53189-7651                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  614
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angely Martinez                                                    Check all that apply.
                                                                                                                     52.20
                                                                                                                    $________________________________
 3317 101st Street                                                   Contingent
                                                                     Unliquidated
 Queens, NY, 11368                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  615
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     52.99
                                                                                                                    $________________________________
 Angie Lacombe                                                      Check all that apply.
 15 Woods Lane                                                       Contingent
                                                                     Unliquidated
 Cranston, RI, 2921                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  616
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Angie Ramirez                                                      Check all that apply.
                                                                                                                      59.53
                                                                                                                    $________________________________
 818 Richcrest Drive, Apt 2901                                       Contingent
                                                                     Unliquidated
 Houston, TX, 77060                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  617
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             99.98
                                                                                                                    $________________________________
 angie rivera                                                        Contingent
 3832 wenonah avenue                                                 Unliquidated
                                                                     Disputed
 berwyn, IL, 60402
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  618
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      37.99
                                                                                                                    $________________________________
 Ania T. Manley                                                     Check all that apply.
 11801 Breton Court, 22C                                             Contingent
                                                                     Unliquidated
 Reston, VA, 20191                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  619
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anibal Rosado                                                      Check all that apply.
                                                                                                                     13.77
                                                                                                                    $________________________________
 62 Lower Ridgeview Circle, Unit C                                   Contingent
                                                                     Unliquidated
 East Stroudsburg, PA, 18302                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  620
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     39.99
                                                                                                                    $________________________________
 Anika Perry                                                        Check all that apply.
 13305 Northeast 45th Street                                         Contingent
                                                                     Unliquidated
 Vancouver, WA, 98682                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  621
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anissa Libler                                                      Check all that apply.
                                                                                                                      13.90
                                                                                                                    $________________________________
 6467 N Daden Drive                                                  Contingent
                                                                     Unliquidated
 Alexandria, IN, 46001                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  622
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             56.70
                                                                                                                    $________________________________
 Anita Beth Benkert                                                  Contingent
 1245 Burr Oak Circle                                                Unliquidated
                                                                     Disputed
 Greenwood, IN, 46143
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  623
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      12.71
                                                                                                                    $________________________________
 Aniya Patterson                                                    Check all that apply.
 4307 57th Ave, Apt 4                                                Contingent
                                                                     Unliquidated
 Bladensburg, MD, 20710                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  624
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 ann aldrich                                                        Check all that apply.
                                                                                                                     23.98
                                                                                                                    $________________________________
 209 Hawick Rd                                                       Contingent
                                                                     Unliquidated
 Inwood, WV, 25428                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  625
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     25.42
                                                                                                                    $________________________________
 Ann Aldrich                                                        Check all that apply.
 209 hawick rd                                                       Contingent
                                                                     Unliquidated
 Inwood, WV, 25428                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  626
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ann Craig                                                          Check all that apply.
                                                                                                                      22.99
                                                                                                                    $________________________________
 2924 Swansea Cres E                                                 Contingent
                                                                     Unliquidated
 Allison Park, PA, 15101                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  627
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             74.99
                                                                                                                    $________________________________
 ann Endsley                                                         Contingent
 1121 K St                                                           Unliquidated
                                                                     Disputed
 Modesto, CA, 95354
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  628
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      15.99
                                                                                                                    $________________________________
 Ann Palmisciano                                                    Check all that apply.
 227 George Allen rd                                                 Contingent
                                                                     Unliquidated
 Chepachet, RI, 2814                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  629
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ann Wymer                                                          Check all that apply.
                                                                                                                     32.01
                                                                                                                    $________________________________
 3409 Eryn Place                                                     Contingent
                                                                     Unliquidated
 Hudson, OH, 44236                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  630
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     11.99
                                                                                                                    $________________________________
 Anna Sebastianelli                                                 Check all that apply.
 22 Riverview Drive                                                  Contingent
                                                                     Unliquidated
 Jessup, PA, 18434                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  631
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anna Kapinos                                                       Check all that apply.
                                                                                                                      116.86
                                                                                                                    $________________________________
 63 Crane Avenue                                                     Contingent
                                                                     Unliquidated
 Westfield, MA, 1085                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  632
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             85.11
                                                                                                                    $________________________________
 anna milagrosa                                                      Contingent
 24W661 Meadow Lake Dr                                               Unliquidated
                                                                     Disputed
 Naperville, IL, 60540
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  633
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      161.96
                                                                                                                    $________________________________
 Anna Trenholm                                                      Check all that apply.
 4959 Wetzel dr NW                                                   Contingent
                                                                     Unliquidated
 Depauw , IN, 47115                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  634
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 anna wilcox                                                        Check all that apply.
                                                                                                                     96.99
                                                                                                                    $________________________________
 13829 S Vestry Rd                                                   Contingent
                                                                     Unliquidated
 Draper, UT, 84020                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  635
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     28.61
                                                                                                                    $________________________________
 Annabel Alford                                                     Check all that apply.
 18310 Hrebik Road                                                   Contingent
                                                                     Unliquidated
 Stewartstown, PA, 17363                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  636
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Annabelle Madison                                                  Check all that apply.
                                                                                                                      8.99
                                                                                                                    $________________________________
 203 Sutterville cv                                                  Contingent
                                                                     Unliquidated
 Austin, TX, 78717                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  637
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             16.98
                                                                                                                    $________________________________
 AnnaLee Dragon                                                      Contingent
 21 Albany Ave, Apt C                                                Unliquidated
                                                                     Disputed
 Green Island, NY, 12183
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  638
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      47.32
                                                                                                                    $________________________________
 Annalisa Villanueva                                                Check all that apply.
 517 Forest Village Cir                                              Contingent
                                                                     Unliquidated
 La Marque, TX, 77568-1505                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  639
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 AnnaMae Murphy                                                     Check all that apply.
                                                                                                                     101.98
                                                                                                                    $________________________________
 6679 Grand Oaks Dr                                                  Contingent
                                                                     Unliquidated
 Las Vegas, NV, 89156                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  640
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     618.95
                                                                                                                    $________________________________
 AnnaMae Murphy                                                     Check all that apply.
 6679 Grand Oaks Dr                                                  Contingent
                                                                     Unliquidated
 Las Vegas, NV, 89156                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  641
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 anne adamson                                                       Check all that apply.
                                                                                                                      17.99
                                                                                                                    $________________________________
 309 8th Street                                                      Contingent
                                                                     Unliquidated
 Huntington Beach, CA, 92648                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  642
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             24.99
                                                                                                                    $________________________________
 Anne Ligas                                                          Contingent
 17 South Woodland Ave                                               Unliquidated
                                                                     Disputed
 East Brunswick, NJ, 8816
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  643
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                    $________________________________
 Anne McGuire                                                       Check all that apply.
 1261 NE Market Dr.                                                  Contingent
                                                                     Unliquidated
 Fairview, OR, 97024                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  644
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anne Smith                                                         Check all that apply.
                                                                                                                     23.98
                                                                                                                    $________________________________
 91 Guygrace Lane                                                    Contingent
                                                                     Unliquidated
 Webster, NY, 14580                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  645
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     22.99
                                                                                                                    $________________________________
 ANNE WRIGHT                                                        Check all that apply.
 310 COTTAGE AVE                                                     Contingent
                                                                     Unliquidated
 HORSHAM, PA, 19044                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  646
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Annette Lee                                                        Check all that apply.
                                                                                                                      105.98
                                                                                                                    $________________________________
 1102 Iron Ridge Court                                               Contingent
                                                                     Unliquidated
 Herndon, VA, 20170                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  647
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             37.88
                                                                                                                    $________________________________
 annmalene Watson                                                    Contingent
 3211 Pearl Street APT 502                                           Unliquidated
                                                                     Disputed
 Nacogdoches, TX, 75965
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  648
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      25.00
                                                                                                                    $________________________________
 ANNYELA QUEZADA                                                    Check all that apply.
 3192 VIA VIGANELLO                                                  Contingent
                                                                     Unliquidated
 Chula Vista, CA, 91914                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  649
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anri Ocampo                                                        Check all that apply.
                                                                                                                     87.98
                                                                                                                    $________________________________
 754 KIKANAI LOOP                                                    Contingent
                                                                     Unliquidated
 HONOLULU, HI, 96818-4434                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  650
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     12.99
                                                                                                                    $________________________________
 Anthea Murphy                                                      Check all that apply.
 4616 Heights Drive                                                  Contingent
                                                                     Unliquidated
 Columbia Heights, MN, 55421                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  651
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anthony Germanotta                                                 Check all that apply.
                                                                                                                      58.31
                                                                                                                    $________________________________
 3209 Capri Drive                                                    Contingent
                                                                     Unliquidated
 Philadelphia, PA, 19145                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  652
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             371.97
                                                                                                                    $________________________________
 Anthony Saez                                                        Contingent
 2901 Utopia Drive                                                   Unliquidated
                                                                     Disputed
 Miramar, FL, 33023
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  653
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      129.44
                                                                                                                    $________________________________
 Anthony Andrews                                                    Check all that apply.
 23 Brunswick Ln, Unit B                                             Contingent
                                                                     Unliquidated
 Palm Coast, FL, 32137-3627                                          Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  654
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anthony Annunziato                                                 Check all that apply.
                                                                                                                     22.99
                                                                                                                    $________________________________
 8403 247th Street                                                   Contingent
                                                                     Unliquidated
 Bellerose, NY, 11426                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  655
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     26.93
                                                                                                                    $________________________________
 Anthony Battaglini                                                 Check all that apply.
 2232 North McCord Road                                              Contingent
                                                                     Unliquidated
 Toledo, OH, 43615                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  656
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anthony Bocci                                                      Check all that apply.
                                                                                                                      39.99
                                                                                                                    $________________________________
 1837 N 52nd Street, BSMT                                            Contingent
                                                                     Unliquidated
 Seattle, WA, 98103                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  657
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             74.98
                                                                                                                    $________________________________
 Anthony Breslin                                                     Contingent
 12574 SPRINGBROOK LN SW                                             Unliquidated
                                                                     Disputed
 LAKEWOOD, WA, 98499-3356
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  658
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      76.95
                                                                                                                    $________________________________
 Anthony Callaway                                                   Check all that apply.
 12491 Red Fox Dr                                                    Contingent
                                                                     Unliquidated
 Gulfport, MS, 39503                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  659
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anthony Canez                                                      Check all that apply.
                                                                                                                     26.99
                                                                                                                    $________________________________
 63 West Maple Avenue                                                Contingent
                                                                     Unliquidated
 Heber, CA, 92249                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  660
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     19.99
                                                                                                                    $________________________________
 Anthony Corns                                                      Check all that apply.
 14006 Kentucky 57                                                   Contingent
                                                                     Unliquidated
 Tollesboro, KY, 41189                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  661
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anthony Corona                                                     Check all that apply.
                                                                                                                      16.42
                                                                                                                    $________________________________
 7860 Steddom Drive                                                  Contingent
                                                                     Unliquidated
 Rosemead, CA, 91770                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  662
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.25
                                                                                                                     $________________________________
 Anthony Diaz                                                         Contingent
 7009 Via Bella Luna Avenue                                           Unliquidated
                                                                      Disputed
 Las Vegas, NV, 89131
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  663
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 anthony diehm                                                       Check all that apply.
 313 n 875 e                                                          Contingent
                                                                      Unliquidated
 Mill Creek, IN, 46365                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  664
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Anthony Guzman                                                      Check all that apply.
                                                                                                                      69.30
                                                                                                                     $________________________________
 37 CHADWICK RD                                                       Contingent
                                                                      Unliquidated
 HILLSDALE, NJ, 7642                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  665
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.91
                                                                                                                     $________________________________
 Anthony Irineo                                                      Check all that apply.
 208 Parker Avenue, Apartment 5                                       Contingent
                                                                      Unliquidated
 Passaic, NJ, 7055                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  666
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Anthony J Gomez                                                     Check all that apply.
                                                                                                                       76.19
                                                                                                                     $________________________________
 240 Cabrini Blvd Apt B, 240 Cabrini Blvd Apt B                       Contingent
                                                                      Unliquidated
 New York, NY, 10033-1128                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  667
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             8.99
                                                                                                                    $________________________________
 Anthony Johnson                                                     Contingent
 999 North Silver Springs Boulevard                                  Unliquidated
                                                                     Disputed
 Wichita, KS, 67212
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  668
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      67.96
                                                                                                                    $________________________________
 Anthony Jones                                                      Check all that apply.
 5569 Pinehurst Ln                                                   Contingent
                                                                     Unliquidated
 Columbia, MO, 65202                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  669
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anthony Knutson                                                    Check all that apply.
                                                                                                                     61.98
                                                                                                                    $________________________________
 911 E 4th St                                                        Contingent
                                                                     Unliquidated
 Litchfield, MN, 55355                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  670
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     21.59
                                                                                                                    $________________________________
 Anthony Kukich                                                     Check all that apply.
 8734 Center Drive                                                   Contingent
                                                                     Unliquidated
 North Royalton, OH, 44133                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  671
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anthony Marosi                                                     Check all that apply.
                                                                                                                      85.39
                                                                                                                    $________________________________
 3652 Wright Brothers Avenue, 304c                                   Contingent
                                                                     Unliquidated
 Goldsboro, NC, 27534                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  672
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             60.49
                                                                                                                    $________________________________
 Anthony Martinez                                                    Contingent
 7640 West Sunset Drive                                              Unliquidated
                                                                     Disputed
 Elmwood Park, IL, 60707
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  673
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      29.75
                                                                                                                    $________________________________
 Anthony May                                                        Check all that apply.
 405 22nd Ave                                                        Contingent
                                                                     Unliquidated
 Seattle, WA, 98122                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  674
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 anthony maybin                                                     Check all that apply.
                                                                                                                     70.95
                                                                                                                    $________________________________
 2268 Dutch Lane Northwest                                           Contingent
                                                                     Unliquidated
 Newark, OH, 43055                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  675
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     41.72
                                                                                                                    $________________________________
 Anthony Merckel                                                    Check all that apply.
 836 Halyard Drive                                                   Contingent
                                                                     Unliquidated
 Avon, IN, 46123                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  676
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 ANTHONY NICHOLSON                                                  Check all that apply.
                                                                                                                      24.99
                                                                                                                    $________________________________
 7099 N Hualapai Way, 1100                                           Contingent
                                                                     Unliquidated
 Las Vegas, NV, 89166                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  677
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             10.99
                                                                                                                    $________________________________
 Anthony Palumbo                                                     Contingent
 41 Shotwell Avenue                                                  Unliquidated
                                                                     Disputed
 Staten Island, NY, 10312
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  678
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      77.99
                                                                                                                    $________________________________
 Anthony Parrotta                                                   Check all that apply.
 109 Winchester Drive                                                Contingent
                                                                     Unliquidated
 Liverpool, NY, 13088                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  679
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anthony Pena                                                       Check all that apply.
                                                                                                                     25.99
                                                                                                                    $________________________________
 3803 Pipers Crest Street                                            Contingent
                                                                     Unliquidated
 San Antonio, TX, 78251                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  680
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     49.99
                                                                                                                    $________________________________
 Anthony Powell                                                     Check all that apply.
 2124 Knickerbocker St. SW                                           Contingent
                                                                     Unliquidated
 Wyoming, MI, 49519                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  681
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anthony Ramirez                                                    Check all that apply.
                                                                                                                      47.99
                                                                                                                    $________________________________
 8051 West Georgia Avenue                                            Contingent
                                                                     Unliquidated
 Glendale, AZ, 85303                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  682
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             37.18
                                                                                                                    $________________________________
 Anthony Rivera                                                      Contingent
 11 Forest Acres Drive haverhill MA, 11B                             Unliquidated
                                                                     Disputed
 Haverhill, MA, 1835
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  683
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      16.04
                                                                                                                    $________________________________
 Anthony Sassone                                                    Check all that apply.
 23 Tarragon Terrace                                                 Contingent
                                                                     Unliquidated
 Halfmoon, NY, 12065                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  684
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anthony Scott                                                      Check all that apply.
                                                                                                                     42.39
                                                                                                                    $________________________________
 7 Lydia Court                                                       Contingent
                                                                     Unliquidated
 Pikesville, MD, 21208                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  685
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     26.56
                                                                                                                    $________________________________
 Anthony Smith                                                      Check all that apply.
 18320 West Cinnabar Avenue                                          Contingent
                                                                     Unliquidated
 Waddell, AZ, 85355                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  686
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Anthony Soliz                                                      Check all that apply.
                                                                                                                      212.34
                                                                                                                    $________________________________
 3160 Vera Lane                                                      Contingent
                                                                     Unliquidated
 Bluffdale, UT, 84065                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  687
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             51.98
                                                                                                                    $________________________________
 Anthony Soria                                                       Contingent
 6316 Alamo St                                                       Unliquidated
                                                                     Disputed
 Springfield, VA, 22150
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  688
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      118.50
                                                                                                                    $________________________________
 Anthony Testa                                                      Check all that apply.
 13423 Hidden Valley St, None                                        Contingent
                                                                     Unliquidated
 Eastvale, CA, 92880                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  689
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Antoinette Bonanno                                                 Check all that apply.
                                                                                                                     23.98
                                                                                                                    $________________________________
 24 Maple Wing Drive                                                 Contingent
                                                                     Unliquidated
 Central Islip, NY, 11722                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  690
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     182.38
                                                                                                                    $________________________________
 antoinette marturana                                               Check all that apply.
 1821 Meadow Trails Drive                                            Contingent
                                                                     Unliquidated
 Florissant, MO, 63031                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  691
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Antonia Martinez                                                   Check all that apply.
                                                                                                                      47.97
                                                                                                                    $________________________________
 97 William Patterson Court                                          Contingent
                                                                     Unliquidated
 Princeton, NJ, 8540                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  692
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             163.93
                                                                                                                    $________________________________
 Antonino Garufi                                                     Contingent
 383 Littleworth Lane                                                Unliquidated
                                                                     Disputed
 Sea Cliff, NY, 11579
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  693
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      37.88
                                                                                                                    $________________________________
 Antonino N Sabado                                                  Check all that apply.
 2601 COLUMBUS ST, APT C37                                           Contingent
                                                                     Unliquidated
 BAKERSFIELD, CA, 93306                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  694
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Antonio Bailey                                                     Check all that apply.
                                                                                                                     134.22
                                                                                                                    $________________________________
 23619 Misty Peak                                                    Contingent
                                                                     Unliquidated
 San Antonio, TX, 78258                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  695
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     21.99
                                                                                                                    $________________________________
 Antonio Borrero                                                    Check all that apply.
 5 Terra Nova Drive                                                  Contingent
                                                                     Unliquidated
 Hopewell Junction, NY, 12533                                        Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  696
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Antonio Cespedes                                                   Check all that apply.
                                                                                                                      64.99
                                                                                                                    $________________________________
 2541 82nd Street, 1                                                 Contingent
                                                                     Unliquidated
 Queens, NY, 11370                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  697
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             45.98
                                                                                                                    $________________________________
 Antonio Contreras                                                   Contingent
 4132 East 5th Street                                                Unliquidated
                                                                     Disputed
 Tucson, AZ, 85711
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  698
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      37.88
                                                                                                                    $________________________________
 Antonio Garza                                                      Check all that apply.
 401 E 27TH ST                                                       Contingent
                                                                     Unliquidated
 HOUSTON, TX, 77008-2203                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  699
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Antonio Jimenez                                                    Check all that apply.
                                                                                                                     445.38
                                                                                                                    $________________________________
 4529 West 64th Place                                                Contingent
                                                                     Unliquidated
 Chicago, IL, 60629                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  700
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     125.99
                                                                                                                    $________________________________
 ANTONIO LARA                                                       Check all that apply.
 306 NW 114TH AVE APT 103                                            Contingent
                                                                     Unliquidated
 MIAMI, FL, 33172-4754                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  701
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Antonio Martinez                                                   Check all that apply.
                                                                                                                      64.99
                                                                                                                    $________________________________
 928 Ivanhoe Ln.                                                     Contingent
                                                                     Unliquidated
 Dyer, IN, 46311                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  702
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             25.85
                                                                                                                    $________________________________
 Antonio Romero                                                      Contingent
 21011 Osterman Rd., Apt.C300                                        Unliquidated
                                                                     Disputed
 Lake Forest, CA, 92630
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  703
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      13.05
                                                                                                                    $________________________________
 ANTONIO SANCHEZ                                                    Check all that apply.
 950 49th Street, Apt 6F                                             Contingent
                                                                     Unliquidated
 Brooklyn, NY, 11219                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  704
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Antonio Santillan-Martinez                                         Check all that apply.
                                                                                                                     209.98
                                                                                                                    $________________________________
 239 West I St, Apt. 2                                               Contingent
                                                                     Unliquidated
 Los Banos, CA, 93635                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  705
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     185.48
                                                                                                                    $________________________________
 Antonio Torres                                                     Check all that apply.
 16 Mill Pond Dr.                                                    Contingent
                                                                     Unliquidated
 Lancaster, PA, 17603                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  706
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Antonio Vela                                                       Check all that apply.
                                                                                                                      120.98
                                                                                                                    $________________________________
 9209 S Avers Ave                                                    Contingent
                                                                     Unliquidated
 Evergreen Park, IL, 60805                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  707
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             29.08
                                                                                                                    $________________________________
 April Bermel                                                        Contingent
 2100 s lewis St, APT 217                                            Unliquidated
                                                                     Disputed
 Anaheim, CA, 92802
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  708
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      154.96
                                                                                                                    $________________________________
 april defrancesco                                                  Check all that apply.
 29 Joseph pl.                                                       Contingent
                                                                     Unliquidated
 Wayne, NJ, 7470                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  709
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 April Iverson                                                      Check all that apply.
                                                                                                                     21.98
                                                                                                                    $________________________________
 1227 Davenport St                                                   Contingent
                                                                     Unliquidated
 Sturgis, SD, 57785-1922                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  710
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     35.38
                                                                                                                    $________________________________
 April Kittel                                                       Check all that apply.
 107 Fairview Rd                                                     Contingent
                                                                     Unliquidated
 Thousand Oaks, CA, 91362                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  711
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 April Simons                                                       Check all that apply.
                                                                                                                      9.99
                                                                                                                    $________________________________
 346 Gentry Crossing Boulevard                                       Contingent
                                                                     Unliquidated
 Mount Washington, KY, 40047                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  712
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             38.94
                                                                                                                    $________________________________
 April Vieyra                                                        Contingent
 16007 Cutten Rd                                                     Unliquidated
                                                                     Disputed
 Houston, TX, 77070
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  713
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      17.99
                                                                                                                    $________________________________
 April Vigil                                                        Check all that apply.
 1125 Liberty Avenue                                                 Contingent
                                                                     Unliquidated
 Ogden, UT, 84404                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  714
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 April Wittenstrom                                                  Check all that apply.
                                                                                                                     12.99
                                                                                                                    $________________________________
 301 Randle St                                                       Contingent
                                                                     Unliquidated
 Valparaiso, IN, 46383                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  715
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     155.94
                                                                                                                    $________________________________
 Arabian Young                                                      Check all that apply.
 243 white oak road                                                  Contingent
                                                                     Unliquidated
 Lake Elsinore, CA, 92530                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  716
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Araceli Guzman                                                     Check all that apply.
                                                                                                                      34.63
                                                                                                                    $________________________________
 301 Esma Street                                                     Contingent
                                                                     Unliquidated
 San Antonio, TX, 78223                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  717
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             155.13
                                                                                                                    $________________________________
 arammaru kim                                                        Contingent
 7416 western bay dr                                                 Unliquidated
                                                                     Disputed
 buena park, CA, 90621
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  718
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      30.41
                                                                                                                    $________________________________
 Arely Rivera                                                       Check all that apply.
 1835 Ash Dr SW                                                      Contingent
                                                                     Unliquidated
 Los Lunas, NM, 87031                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  719
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ari McDonald                                                       Check all that apply.
                                                                                                                     19.99
                                                                                                                    $________________________________
 9026 S. Essex Ave                                                   Contingent
                                                                     Unliquidated
 Chicago, IL, 60617                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  720
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     28.17
                                                                                                                    $________________________________
 Aria Cirillo                                                       Check all that apply.
 3880 LONE MESA DR                                                   Contingent
                                                                     Unliquidated
 LAS VEGAS, NV, 89147                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  721
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Arian Nguyen                                                       Check all that apply.
                                                                                                                      52.19
                                                                                                                    $________________________________
 13211 Kerry St                                                      Contingent
                                                                     Unliquidated
 Garden Grove, CA, 92844                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  722
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             29.35
                                                                                                                    $________________________________
 Ariana Perez                                                        Contingent
 402 SIERRA VISTA ST, Apt 4                                          Unliquidated
                                                                     Disputed
 CORONA, CA, 92882
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  723
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      84.99
                                                                                                                    $________________________________
 Ariana Tyler                                                       Check all that apply.
 1 Westford Pl, Apt 1                                                Contingent
                                                                     Unliquidated
 Allston, MA, 2134                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  724
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Arianna Cheng                                                      Check all that apply.
                                                                                                                     16.99
                                                                                                                    $________________________________
 1925 Kemp Rd                                                        Contingent
                                                                     Unliquidated
 Marietta, GA, 30066                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  725
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     26.92
                                                                                                                    $________________________________
 Arianna Gleason                                                    Check all that apply.
 21446 Yucca Loma Road                                               Contingent
                                                                     Unliquidated
 Apple Valley, CA, 92307-5846                                        Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  726
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Arianna Goff                                                       Check all that apply.
                                                                                                                      29.16
                                                                                                                    $________________________________
 7440 E Thomas Road, Apt 144                                         Contingent
                                                                     Unliquidated
 Scottsdale, AZ, 85251                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  727
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             55.80
                                                                                                                    $________________________________
 Ariel Eskridge                                                      Contingent
 33612 Spring Hill Drive                                             Unliquidated
                                                                     Disputed
 Glade Spring, VA, 24340
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  728
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                    $________________________________
 Ariel Harbin                                                       Check all that apply.
 900 goddard apt 33                                                  Contingent
                                                                     Unliquidated
 Lincoln park, MI, 48229                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  729
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ariel Lin                                                          Check all that apply.
                                                                                                                     77.98
                                                                                                                    $________________________________
 36 Jackie Drive                                                     Contingent
                                                                     Unliquidated
 Long Valley, NJ, 7853                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  730
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     249.95
                                                                                                                    $________________________________
 Ariel Lo                                                           Check all that apply.
 2981 Avenue U                                                       Contingent
                                                                     Unliquidated
 Brooklyn, NY, 11229                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  731
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ariel Marin                                                        Check all that apply.
                                                                                                                      14.99
                                                                                                                    $________________________________
 17430 Cleveland Dr                                                  Contingent
                                                                     Unliquidated
 Fort Myers , FL, 33967                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  732
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             25.43
                                                                                                                      $________________________________
 ariel stallknecht                                                     Contingent
 21 Church Street                                                      Unliquidated
                                                                       Disputed
 Glen Rock, PA, 17327
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  733
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        38.51
                                                                                                                      $________________________________
 Ariela Johnson                                                       Check all that apply.
 11281 NW 40TH St                                                      Contingent
                                                                       Unliquidated
 Coral Springs, FL, 33065-7736                                         Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  734
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Aries Wintz                                                          Check all that apply.
                                                                                                                       47.01
                                                                                                                      $________________________________
 18705 E 28th St S                                                     Contingent
                                                                       Unliquidated
 Independence, MO, 64057                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  735
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       49.98
                                                                                                                      $________________________________
 Arin Adams                                                           Check all that apply.
 1118 Wiliki Dr.                                                       Contingent
                                                                       Unliquidated
 Honolulu, HI, 96818                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  736
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Ariyan Womack                                                        Check all that apply.
                                                                                                                        59.31
                                                                                                                      $________________________________
 100 3rd St N (Park View Entrance), 812                                Contingent
                                                                       Unliquidated
 Moorhead, MN, 56560                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  737
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             83.16
                                                                                                                    $________________________________
 Arlehn KanYek                                                       Contingent
 6 Lake Avenue                                                       Unliquidated
                                                                     Disputed
 Keyport, NJ, 7735
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  738
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      21.49
                                                                                                                    $________________________________
 ARLENE WINDLER                                                     Check all that apply.
 4501 N HILLCREST ST                                                 Contingent
                                                                     Unliquidated
 BEL AIRE, KS, 67220                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  739
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Arlette Garcia                                                     Check all that apply.
                                                                                                                     77.91
                                                                                                                    $________________________________
 1329 Carriage Drive                                                 Contingent
                                                                     Unliquidated
 Irving, TX, 75062                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  740
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     9.99
                                                                                                                    $________________________________
 Armando Blancarte                                                  Check all that apply.
 670 West 23rd Street                                                Contingent
                                                                     Unliquidated
 Safford, AZ, 85546                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  741
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Armando Dardon                                                     Check all that apply.
                                                                                                                      112.32
                                                                                                                    $________________________________
 2200 NW 129 AVE, SUITE 108, GUA-104130                              Contingent
                                                                     Unliquidated
 Miami, FL, 33182-2485                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  742
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             48.14
                                                                                                                    $________________________________
 Armando Furtado                                                     Contingent
 14 Lenky Dr                                                         Unliquidated
                                                                     Disputed
 Cumberland, RI, 2864
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  743
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      11.98
                                                                                                                    $________________________________
 Armando Gonzalez                                                   Check all that apply.
 12602 Maple Park Drive                                              Contingent
                                                                     Unliquidated
 SAN ANTONIO, TX, 78249                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  744
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Armando Jimenez                                                    Check all that apply.
                                                                                                                     53.25
                                                                                                                    $________________________________
 440 Camino Vencejo, F                                               Contingent
                                                                     Unliquidated
 Rio Rico, AZ, 85648                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  745
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     88.99
                                                                                                                    $________________________________
 Armando Nunez                                                      Check all that apply.
 11403 lima dr                                                       Contingent
                                                                     Unliquidated
 San Antonio, TX, 78213                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  746
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Armando Ochoa                                                      Check all that apply.
                                                                                                                      113.40
                                                                                                                    $________________________________
 150 E 1ST AVE, 1216                                                 Contingent
                                                                     Unliquidated
 Hialeah, FL, 33010                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  747
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             180.98
                                                                                                                    $________________________________
 Armando Rodriguez                                                   Contingent
 Unit # 61439, Apache                                                Unliquidated
                                                                     Disputed
 APO, AE, 9855
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  748
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      19.98
                                                                                                                    $________________________________
 Arnita Furgason                                                    Check all that apply.
 5473 Marsh Road                                                     Contingent
                                                                     Unliquidated
 Meridian charter Township, MI, 48840                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  749
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Arnold Juarez                                                      Check all that apply.
                                                                                                                     109.49
                                                                                                                    $________________________________
 901 South 6th Avenue # space 108                                    Contingent
                                                                     Unliquidated
 Hacienda Heights, CA, 91745                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  750
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     14.99
                                                                                                                    $________________________________
 Arnold Mendoza                                                     Check all that apply.
 5954 Kings Ranch Road                                               Contingent
                                                                     Unliquidated
 Riverside, CA, 92505                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  751
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Aron Dody                                                          Check all that apply.
                                                                                                                      27.99
                                                                                                                    $________________________________
 324 North Union Street                                              Contingent
                                                                     Unliquidated
 Council Grove, KS, 66846                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  752
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             28.64
                                                                                                                    $________________________________
 Artemaeus Julien                                                    Contingent
 2307 Beverly Drive, Apt 918                                         Unliquidated
                                                                     Disputed
 Urbandale, IA, 50322
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  753
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      31.98
                                                                                                                    $________________________________
 Artemio Gonzalez                                                   Check all that apply.
 809 N 29th St                                                       Contingent
                                                                     Unliquidated
 McAllen, TX, 78501                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  754
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Arthur C. Sabio                                                    Check all that apply.
                                                                                                                     107.96
                                                                                                                    $________________________________
 240 EUGENE DR NW                                                    Contingent
                                                                     Unliquidated
 Roanoke, VA, 24017                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  755
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     59.53
                                                                                                                    $________________________________
 Arthur Ceker                                                       Check all that apply.
 9419 Meadowbriar Lane                                               Contingent
                                                                     Unliquidated
 Houston, TX, 77063                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  756
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Arthur Chang                                                       Check all that apply.
                                                                                                                      19.99
                                                                                                                    $________________________________
 3214 113th ave se                                                   Contingent
                                                                     Unliquidated
 bellevue, WA, 98004                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  757
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             10.00
                                                                                                                    $________________________________
 arthur morris                                                       Contingent
 20 ASTER DR                                                         Unliquidated
                                                                     Disputed
 SICKLERVILLE, NJ, 8081
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  758
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      76.63
                                                                                                                    $________________________________
 Arthur Prayogo                                                     Check all that apply.
 4020 Valley Blvd, Unit 100                                          Contingent
                                                                     Unliquidated
 Walnut, CA, 91789                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  759
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 arthur rose                                                        Check all that apply.
                                                                                                                     27.99
                                                                                                                    $________________________________
 3958 Julian Street                                                  Contingent
                                                                     Unliquidated
 Denver, CO, 80211                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  760
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     44.99
                                                                                                                    $________________________________
 Arturo Briseno                                                     Check all that apply.
 1221 Victoria Avenue                                                Contingent
                                                                     Unliquidated
 North Chicago, IL, 60064                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  761
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Arturo Oaxaca                                                      Check all that apply.
                                                                                                                      226.26
                                                                                                                    $________________________________
 4730 Myrtle Ave                                                     Contingent
                                                                     Unliquidated
 San Diego, CA, 92105-3533                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  762
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             93.98
                                                                                                                    $________________________________
 Arturo Riojas                                                       Contingent
 7308 Wagner CT                                                      Unliquidated
                                                                     Disputed
 Laredo, TX, 78045
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  763
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      57.99
                                                                                                                    $________________________________
 Arwen O'Leary                                                      Check all that apply.
 2000 SW 4th St                                                      Contingent
                                                                     Unliquidated
 Battle Ground, WA, 98604                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  764
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Asha Lynn Jones                                                    Check all that apply.
                                                                                                                     18.21
                                                                                                                    $________________________________
 4881 S 4180 W                                                       Contingent
                                                                     Unliquidated
 Kearns, UT, 84118-4064                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  765
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     39.99
                                                                                                                    $________________________________
 Asher Cartagena                                                    Check all that apply.
 1091 park forest dr                                                 Contingent
                                                                     Unliquidated
 Lilburn, GA, 30047                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  766
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 asher chase                                                        Check all that apply.
                                                                                                                      34.23
                                                                                                                    $________________________________
 194 saint paul street, 521                                          Contingent
                                                                     Unliquidated
 Burlington, VT, 5401                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  767
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             11.99
                                                                                                                    $________________________________
 Ashia Beverly                                                       Contingent
 8016 Old Mill Court                                                 Unliquidated
                                                                     Disputed
 Severn, MD, 21144
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  768
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      25.97
                                                                                                                    $________________________________
 Ashlea Delarosa                                                    Check all that apply.
 428 Sugar Mill Drive                                                Contingent
                                                                     Unliquidated
 Cedar Hill, TX, 75104                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  769
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ashlee Smith                                                       Check all that apply.
                                                                                                                     23.98
                                                                                                                    $________________________________
 898 Justin Lane                                                     Contingent
                                                                     Unliquidated
 West Chester, PA, 19382                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  770
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     35.54
                                                                                                                    $________________________________
 Ashleigh Arnone                                                    Check all that apply.
 633 Payton                                                          Contingent
                                                                     Unliquidated
 Irvine, CA, 92620                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  771
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ashleigh McDonald                                                  Check all that apply.
                                                                                                                      19.07
                                                                                                                    $________________________________
 1905 Tufton Court                                                   Contingent
                                                                     Unliquidated
 Virginia Beach, VA, 23454                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  772
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             28.52
                                                                                                                    $________________________________
 Ashleigh Peretic                                                    Contingent
 1400 Cedardale Court                                                Unliquidated
                                                                     Disputed
 Mt. Juliet, TN, 37122
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  773
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      99.98
                                                                                                                    $________________________________
 Ashleigh Pyle                                                      Check all that apply.
 1432 Chevelle Drive                                                 Contingent
                                                                     Unliquidated
 Richmond, VA, 23235                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  774
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ashley Berger-Turner                                               Check all that apply.
                                                                                                                     609.89
                                                                                                                    $________________________________
 5819 Shawnee Court                                                  Contingent
                                                                     Unliquidated
 Mishawaka, IN, 46545                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  775
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     11.99
                                                                                                                    $________________________________
 Ashley Bryan                                                       Check all that apply.
 12808 Strode lane                                                   Contingent
                                                                     Unliquidated
 Windermere, FL, 34786                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  776
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ashley Bryan                                                       Check all that apply.
                                                                                                                      38.49
                                                                                                                    $________________________________
 4233 salt springs lane                                              Contingent
                                                                     Unliquidated
 Lakeland , FL, 33811                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  777
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             46.98
                                                                                                                    $________________________________
 Ashley Casarrubias                                                  Contingent
 3255 South Dorsey Lane, Apt 2005                                    Unliquidated
                                                                     Disputed
 Tempe, AZ, 85282
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  778
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      23.53
                                                                                                                    $________________________________
 Ashley Gillingham                                                  Check all that apply.
 4224 Ort Dr                                                         Contingent
                                                                     Unliquidated
 Woodburn, IN, 46797                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  779
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 ASHLEY HILDEBRAND                                                  Check all that apply.
                                                                                                                     52.99
                                                                                                                    $________________________________
 661 Spears Road                                                     Contingent
                                                                     Unliquidated
 Hornbeck, LA, 71439                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  780
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     45.82
                                                                                                                    $________________________________
 Ashley Hogue                                                       Check all that apply.
 11170 Foothill Ave                                                  Contingent
                                                                     Unliquidated
 Gilroy, CA, 95020                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  781
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ashley Hussey                                                      Check all that apply.
                                                                                                                      18.99
                                                                                                                    $________________________________
 3895 Englewood drive                                                Contingent
                                                                     Unliquidated
 Stow, OH, 44224                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  782
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             28.99
                                                                                                                    $________________________________
 Ashley Jackson                                                      Contingent
 6641 lynfield dr                                                    Unliquidated
                                                                     Disputed
 Charlotte, NC, 28212
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  783
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                    $________________________________
 Ashley Juarez                                                      Check all that apply.
 604 Verano Street                                                   Contingent
                                                                     Unliquidated
 Soledad, CA, 93960                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  784
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ashley Kellett                                                     Check all that apply.
                                                                                                                     26.51
                                                                                                                    $________________________________
 10434 Harvest Ave                                                   Contingent
                                                                     Unliquidated
 Santa Fe Springs, CA, 90670                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  785
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     40.27
                                                                                                                    $________________________________
 Ashley Laufert                                                     Check all that apply.
 14613 Tulip Lane                                                    Contingent
                                                                     Unliquidated
 Hancock, MD, 21750                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  786
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ashley Love                                                        Check all that apply.
                                                                                                                      25.67
                                                                                                                    $________________________________
 304 E 45th Street                                                   Contingent
                                                                     Unliquidated
 Savannah, GA, 31405                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  787
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             52.99
                                                                                                                    $________________________________
 Ashley Mal                                                          Contingent
 5520 Lee Highway, apt 102                                           Unliquidated
                                                                     Disputed
 Arlington, VA, 22207
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  788
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                    $________________________________
 Ashley McKercher                                                   Check all that apply.
 7109 Edgewood Rd                                                    Contingent
                                                                     Unliquidated
 Mechanicsville, VA, 23111                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  789
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ashley Mochizuki                                                   Check all that apply.
                                                                                                                     32.99
                                                                                                                    $________________________________
 1368 Baxter Drive                                                   Contingent
                                                                     Unliquidated
 Glendora, CA, 91741                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  790
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     12.83
                                                                                                                    $________________________________
 Ashley O'Salway                                                    Check all that apply.
 1753 Carlton Blvd.                                                  Contingent
                                                                     Unliquidated
 Avon, IN, 46123                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  791
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ashley Rodriguez                                                   Check all that apply.
                                                                                                                      12.98
                                                                                                                    $________________________________
 823 E Hummingbird St                                                Contingent
                                                                     Unliquidated
 Roma, TX, 78584                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  792
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             74.96
                                                                                                                    $________________________________
 Ashley Setters                                                      Contingent
 128 s butler ave                                                    Unliquidated
                                                                     Disputed
 Indianapolis, IN, 46219
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  793
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      27.43
                                                                                                                    $________________________________
 Ashley Siemiaczko                                                  Check all that apply.
 160 Granda Flora Dr                                                 Contingent
                                                                     Unliquidated
 White House, TN, 37188                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  794
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ashley Sopila                                                      Check all that apply.
                                                                                                                     14.16
                                                                                                                    $________________________________
 1759 Sharon Drive                                                   Contingent
                                                                     Unliquidated
 Guthrie, OK, 73044                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  795
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     153.96
                                                                                                                    $________________________________
 Ashley Tabar                                                       Check all that apply.
 1910 South White Road                                               Contingent
                                                                     Unliquidated
 San Jose, CA, 95148                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  796
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ashley Watts                                                       Check all that apply.
                                                                                                                      18.99
                                                                                                                    $________________________________
 272 W Water St                                                      Contingent
                                                                     Unliquidated
 Flemingsburg, KY, 41041-1051                                        Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  797
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             58.28
                                                                                                                    $________________________________
 Ashley Welch                                                        Contingent
 6128 Creekside cir                                                  Unliquidated
                                                                     Disputed
 Ypsilanti, MI, 48197
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  798
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      42.99
                                                                                                                    $________________________________
 Ashley White                                                       Check all that apply.
 2651 Reservior Dr                                                   Contingent
                                                                     Unliquidated
 Simi Valley, CA, 93065                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  799
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 ASHLEY WILLIAMS                                                    Check all that apply.
                                                                                                                     29.42
                                                                                                                    $________________________________
 2354 ELM DR                                                         Contingent
                                                                     Unliquidated
 COLUMBUS, GA, 31907                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  800
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     196.97
                                                                                                                    $________________________________
 Ashlie Duflo                                                       Check all that apply.
 131 South Nebraska Street                                           Contingent
                                                                     Unliquidated
 Chandler, AZ, 85225                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  801
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Athena Magno                                                       Check all that apply.
                                                                                                                      42.99
                                                                                                                    $________________________________
 4618 66th Street                                                    Contingent
                                                                     Unliquidated
 Woodside, NY, 11377                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  802
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             37.99
                                                                                                                    $________________________________
 attn. Mitch-Midnight Express                                        Contingent
 Po box 1468                                                         Unliquidated
                                                                     Disputed
 Gresham, OR, 97030-0500
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  803
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      36.28
                                                                                                                    $________________________________
 Aubrey Brunson                                                     Check all that apply.
 8956 Brant Road                                                     Contingent
                                                                     Unliquidated
 Diana, TX, 75640                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  804
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Audra Frogoso                                                      Check all that apply.
                                                                                                                     33.99
                                                                                                                    $________________________________
 7011 Jasper Hill Way                                                Contingent
                                                                     Unliquidated
 Las Vegas, NV, 89118                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  805
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     19.74
                                                                                                                    $________________________________
 Audrey L Johnson                                                   Check all that apply.
 4844 Frontage Road Northwest                                        Contingent
                                                                     Unliquidated
 Cleveland, TN, 37312                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  806
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Audrey Ojeda                                                       Check all that apply.
                                                                                                                      10.65
                                                                                                                    $________________________________
 29 Colonial Terr                                                    Contingent
                                                                     Unliquidated
 Nutley, NJ, 7110                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  807
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             22.04
                                                                                                                    $________________________________
 Audrey Weon                                                         Contingent
 1441 Brett Place, Unit 324                                          Unliquidated
                                                                     Disputed
 San Pedro, CA, 90732
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  808
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                    $________________________________
 Audrianna R.                                                       Check all that apply.
 331 Belmont Avenue                                                  Contingent
                                                                     Unliquidated
 Redwood City, CA, 94061                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  809
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 August Callahan                                                    Check all that apply.
                                                                                                                     10.95
                                                                                                                    $________________________________
 730 Picket Lane                                                     Contingent
                                                                     Unliquidated
 Longmont, CO, 80504                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  810
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     104.98
                                                                                                                    $________________________________
 August Sankey                                                      Check all that apply.
 9008 Hierba Rd                                                      Contingent
                                                                     Unliquidated
 Agua Dulce, CA, 91390                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  811
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Augusto Viteri Men?©ndez                                           Check all that apply.
                                                                                                                      10.65
                                                                                                                    $________________________________
 325 Vollmer Court                                                   Contingent
                                                                     Unliquidated
 Northvale, NJ, 7647                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  812
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             21.99
                                                                                                                    $________________________________
 aurelio juarez                                                      Contingent
 8722 Old Town Ln                                                    Unliquidated
                                                                     Disputed
 Indianapolis, IN, 46260
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  813
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      28.32
                                                                                                                    $________________________________
 Aurielle Davis                                                     Check all that apply.
 2500 Vintage Park Lane                                              Contingent
                                                                     Unliquidated
 Yukon, OK, 73099                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  814
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Aurora Malpass                                                     Check all that apply.
                                                                                                                     68.46
                                                                                                                    $________________________________
 5650 32nd Ter N                                                     Contingent
                                                                     Unliquidated
 Saint Petersburg, FL, 33710                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  815
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     15.00
                                                                                                                    $________________________________
 Aurora Morrison                                                    Check all that apply.
 5069 Hidden Park Cres, Apt A109                                     Contingent
                                                                     Unliquidated
 Simi Valley, CA, 93063                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  816
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Austin Alcorn                                                      Check all that apply.
                                                                                                                      82.98
                                                                                                                    $________________________________
 2202 south jackson cove                                             Contingent
                                                                     Unliquidated
 Russellville, AR, 72802                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  817
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             11.98
                                                                                                                    $________________________________
 Austin Caudill                                                      Contingent
 137 Susans Court                                                    Unliquidated
                                                                     Disputed
 Hazard, KY, 41701
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  818
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      35.05
                                                                                                                    $________________________________
 Austin Cormier                                                     Check all that apply.
 113 Bright street                                                   Contingent
                                                                     Unliquidated
 Waltham, MA, 2453                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  819
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Austin Craig                                                       Check all that apply.
                                                                                                                     25.98
                                                                                                                    $________________________________
 129 Flemming Road                                                   Contingent
                                                                     Unliquidated
 Fort Bragg, NC, 28307                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  820
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     238.50
                                                                                                                    $________________________________
 Austin Cusak                                                       Check all that apply.
 1432 Van Valkenburgh Lane                                           Contingent
                                                                     Unliquidated
 Alexandria, VA, 22301                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  821
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Austin Hussey                                                      Check all that apply.
                                                                                                                      55.98
                                                                                                                    $________________________________
 1088 North Petaluma Street                                          Contingent
                                                                     Unliquidated
 Tulare, CA, 93274                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  822
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             89.99
                                                                                                                    $________________________________
 Austin Jasa                                                         Contingent
 1704 44th ave E, 205                                                Unliquidated
                                                                     Disputed
 Tacoma, WA, 98446
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  823
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      42.74
                                                                                                                    $________________________________
 Austin Johnson                                                     Check all that apply.
 876 Johnson Bridge Road                                             Contingent
                                                                     Unliquidated
 De Queen, AR, 71832                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  824
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Austin Leiser                                                      Check all that apply.
                                                                                                                     35.30
                                                                                                                    $________________________________
 19296 Lead Mine Road                                                Contingent
                                                                     Unliquidated
 Anamosa, IA, 52205                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  825
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     44.97
                                                                                                                    $________________________________
 Austin Lewis                                                       Check all that apply.
 13526 3rd Avenue Northeast                                          Contingent
                                                                     Unliquidated
 Bradenton, FL, 34212                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  826
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Austin Moyer                                                       Check all that apply.
                                                                                                                      240.82
                                                                                                                    $________________________________
 13696 E DIABLO CREEK DR                                             Contingent
                                                                     Unliquidated
 VAIL, AZ, 85641                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  827
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             33.91
                                                                                                                    $________________________________
 Austin Voravong                                                     Contingent
 1944 Ewing Estates Dr                                               Unliquidated
                                                                     Disputed
 Dacula, GA, 30019
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  828
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      28.99
                                                                                                                    $________________________________
 Autumn Drees                                                       Check all that apply.
 2948 Mayfair Ct                                                     Contingent
                                                                     Unliquidated
 Clearwater, FL, 33761                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  829
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Autumn Willey                                                      Check all that apply.
                                                                                                                     158.31
                                                                                                                    $________________________________
 184 W Elm St                                                        Contingent
                                                                     Unliquidated
 Pembroke, MA, 02359-2111                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  830
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     29.67
                                                                                                                    $________________________________
 Ava Gartman                                                        Check all that apply.
 108 Bendingwood Cir                                                 Contingent
                                                                     Unliquidated
 Taylors, SC, 29687                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  831
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ava Park                                                           Check all that apply.
                                                                                                                      609.58
                                                                                                                    $________________________________
 1770 Chestnut Place                                                 Contingent
                                                                     Unliquidated
 Denver, CO, 80202                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  832
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Ava Russell                                                          Contingent
 254 Seward St                                                        Unliquidated
                                                                      Disputed
 Pittsburgh, PA, 15211-1038
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  833
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       160.49
                                                                                                                     $________________________________
 Ava Tramm                                                           Check all that apply.
 11540 Weeping Willow Drive                                           Contingent
                                                                      Unliquidated
 Zionsville, IN, 46077                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  834
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ava Zolfaghari                                                      Check all that apply.
                                                                                                                      61.59
                                                                                                                     $________________________________
 722 ROE ST                                                           Contingent
                                                                      Unliquidated
 STEILACOOM, WA, 98388                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  835
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      111.22
                                                                                                                     $________________________________
 Avery Alexander                                                     Check all that apply.
 1329 Sherwood Avenue                                                 Contingent
                                                                      Unliquidated
 North Tonawanda, NY, 14120                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  836
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Avery Broughton                                                     Check all that apply.
                                                                                                                       19.25
                                                                                                                     $________________________________
 315 Carpenter Lane                                                   Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19119                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  837
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             41.12
                                                                                                                    $________________________________
 Avery Burns                                                         Contingent
 13774 Monstrell Road                                                Unliquidated
                                                                     Disputed
 Frisco, TX, 75035
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  838
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      63.86
                                                                                                                    $________________________________
 Avery Ellis                                                        Check all that apply.
 2329 Gilmour Ave                                                    Contingent
                                                                     Unliquidated
 Corpus Christi, TX, 78414                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  839
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Avery Whitledge                                                    Check all that apply.
                                                                                                                     15.93
                                                                                                                    $________________________________
 159 east brimfield road                                             Contingent
                                                                     Unliquidated
 Holland, MA, 1521                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  840
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     51.95
                                                                                                                    $________________________________
 Avery Wilson                                                       Check all that apply.
 2501 Soprano Way, Austin, TX, USA                                   Contingent
                                                                     Unliquidated
 Austin, TX, 78759                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  841
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Avik Banerjee                                                      Check all that apply.
                                                                                                                      104.97
                                                                                                                    $________________________________
 1028 Austin Pond Drive                                              Contingent
                                                                     Unliquidated
 Cary, NC, 27519                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  842
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             14.99
                                                                                                                    $________________________________
 Avram Kaufman                                                       Contingent
 100 West 119th Street, 2D                                           Unliquidated
                                                                     Disputed
 New York, NY, 10026
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  843
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                    $________________________________
 Axel Andersen                                                      Check all that apply.
 2043 Bedford St.                                                    Contingent
                                                                     Unliquidated
 Santa Rosa, CA, 95404                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  844
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 ay- B                                                              Check all that apply.
                                                                                                                     122.99
                                                                                                                    $________________________________
 6550 Saulsbury Ct                                                   Contingent
                                                                     Unliquidated
 Arvada, CO, 80003                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  845
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     27.20
                                                                                                                    $________________________________
 Ayat Useinoski                                                     Check all that apply.
 3425 Gates Place, 6G                                                Contingent
                                                                     Unliquidated
 Bronx, NY, 10467                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  846
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ayden Gallo                                                        Check all that apply.
                                                                                                                      276.98
                                                                                                                    $________________________________
 9 Justin Way                                                        Contingent
                                                                     Unliquidated
 Cranston, RI, 2910                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  847
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             21.99
                                                                                                                    $________________________________
 Ayla Graham                                                         Contingent
 4326 North Maple Street                                             Unliquidated
                                                                     Disputed
 Spokane, WA, 99205
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  848
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      34.99
                                                                                                                    $________________________________
 Aylin Hernandez                                                    Check all that apply.
 12-16 30th Dr, 1                                                    Contingent
                                                                     Unliquidated
 Astoria, NY, 11102                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  849
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 AYOUNG KIM                                                         Check all that apply.
                                                                                                                     21.99
                                                                                                                    $________________________________
 3701 Harvard Dr                                                     Contingent
                                                                     Unliquidated
 North Wales, PA, 19454                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  850
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     29.01
                                                                                                                    $________________________________
 Azaryah Wilson                                                     Check all that apply.
 2506 Waldemar Ln                                                    Contingent
                                                                     Unliquidated
 Tallahassee, FL, 32304                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  851
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Azaryiah Ritter-Williams                                           Check all that apply.
                                                                                                                      94.98
                                                                                                                    $________________________________
 5734 Fleetwing Dr                                                   Contingent
                                                                     Unliquidated
 Levittown, PA, 19057                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  852
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             25.97
                                                                                                                    $________________________________
 Azucena Manzano                                                     Contingent
 3412 Dovewood Street, (LockerBox code 0814#)                        Unliquidated
                                                                     Disputed
 Bakersfield, CA, 93309
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  853
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      27.17
                                                                                                                    $________________________________
 Azul Mejia                                                         Check all that apply.
 82340 Miles Avenue                                                  Contingent
                                                                     Unliquidated
 Indio, CA, 92201                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  854
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Azusena Garcia                                                     Check all that apply.
                                                                                                                     27.99
                                                                                                                    $________________________________
 415 West Fresno Street                                              Contingent
                                                                     Unliquidated
 Greenwood, AR, 72936                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  855
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     25.99
                                                                                                                    $________________________________
 B. Xiong                                                           Check all that apply.
 4646 North 71st Street                                              Contingent
                                                                     Unliquidated
 Milwaukee, WI, 53218                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  856
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Babak Asaseh                                                       Check all that apply.
                                                                                                                      208.62
                                                                                                                    $________________________________
 4458 Northwest 65th Street                                          Contingent
                                                                     Unliquidated
 Coconut Creek, FL, 33073                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  857
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             88.98
                                                                                                                    $________________________________
 Bach Nguyen                                                         Contingent
 173 Dogwood Ct                                                      Unliquidated
                                                                     Disputed
 Canton, MI, 48187
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  858
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      64.46
                                                                                                                    $________________________________
 Bailey Carlson                                                     Check all that apply.
 479 Stonegate Way NW                                                Contingent
                                                                     Unliquidated
 Airdrie, AB, T4B 2Y2                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  859
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bailey Duenas                                                      Check all that apply.
                                                                                                                     29.98
                                                                                                                    $________________________________
 930 SW Silverberry ST                                               Contingent
                                                                     Unliquidated
 Oak Harbor, WA, 98277                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  860
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     25.97
                                                                                                                    $________________________________
 Bailey Powell                                                      Check all that apply.
 4417 San Mateo Ln                                                   Contingent
                                                                     Unliquidated
 McKinney, TX, 75070                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  861
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Baily Mueller                                                      Check all that apply.
                                                                                                                      22.99
                                                                                                                    $________________________________
 2024 briarwood Ct                                                   Contingent
                                                                     Unliquidated
 Newton, KS, 67114                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  862
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             89.99
                                                                                                                    $________________________________
 Baker, Loretta                                                      Contingent
 218 Brandon Drive                                                   Unliquidated
                                                                     Disputed
 Monticello, KY, 42633
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  863
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      387,061.33
                                                                                                                    $________________________________
 Bandai Namco Toys & Collectibles America Inc.                      Check all that apply.
 23 Odyssey Ave.                                                     Contingent
                                                                     Unliquidated
 Irvine, CA, 92618                                                   Disputed
                                                                    Basis for the claim: Trade Payables



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  864
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bank of America                                                    Check all that apply.
                                                                                                                     32,262.87
                                                                                                                    $________________________________
 PO Box 660441                                                       Contingent
                                                                     Unliquidated
 Dallas, TX, 75266-0441                                              Disputed
                                                                    Basis for the claim: Credit Card Debt



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  865
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     553.73
                                                                                                                    $________________________________
 Bao Zheng                                                          Check all that apply.
 32708 Regents Blvd                                                  Contingent
                                                                     Unliquidated
 Union City, CA, 94587                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  866
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Barbara Beaver                                                     Check all that apply.
                                                                                                                      45.84
                                                                                                                    $________________________________
 1739 2nd Street                                                     Contingent
                                                                     Unliquidated
 West Deptford, NJ, 8086                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  867
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             10.99
                                                                                                                    $________________________________
 Barbara C Breslin                                                   Contingent
 280 Neponset Valley PKWY                                            Unliquidated
                                                                     Disputed
 Hyde Park, MA, 2136
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  868
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      28.88
                                                                                                                    $________________________________
 Barbara Canady                                                     Check all that apply.
 2309 Walton Pl                                                      Contingent
                                                                     Unliquidated
 Minneapolis, MN, 55411                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  869
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Barbara Hesik                                                      Check all that apply.
                                                                                                                     28.99
                                                                                                                    $________________________________
 6310 Winding Stream Dr                                              Contingent
                                                                     Unliquidated
 Louisville, KY, 40272                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  870
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     28.52
                                                                                                                    $________________________________
 Barbara Villarreal                                                 Check all that apply.
 918 Richview Drive                                                  Contingent
                                                                     Unliquidated
 Houston, TX, 77060                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  871
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Barclays Bank Delaware                                             Check all that apply.
                                                                                                                      13,459.88
                                                                                                                    $________________________________
 PO Box 70264                                                        Contingent
                                                                     Unliquidated
 Philadelphia, PA, 19176-0264                                        Disputed
                                                                    Basis for the claim: Credit Card Debt



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  872
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             34.99
                                                                                                                    $________________________________
 Barry Chan                                                          Contingent
 5352 Debra Lane                                                     Unliquidated
                                                                     Disputed
 Richmond, CA, 94803
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  873
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      54.28
                                                                                                                    $________________________________
 BARRY SULLIVAN                                                     Check all that apply.
 512 Gideon Road,                                                    Contingent
                                                                     Unliquidated
 Middletown, OH, 45044                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  874
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Barton Lynn                                                        Check all that apply.
                                                                                                                     12.98
                                                                                                                    $________________________________
 18244 La Casa Ct.                                                   Contingent
                                                                     Unliquidated
 Reno, NV, 89508                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  875
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     9.99
                                                                                                                    $________________________________
 BAYDEN DORA                                                        Check all that apply.
 2506 Tremont Drive                                                  Contingent
                                                                     Unliquidated
 Eustis, FL, 32726                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  876
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 baylee jones                                                       Check all that apply.
                                                                                                                      9.99
                                                                                                                    $________________________________
 8834 South Alaska Street                                            Contingent
                                                                     Unliquidated
 Tacoma, WA, 98444                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  877
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             28.99
                                                                                                                    $________________________________
 Baylee Steele                                                       Contingent
 622 Vine Street                                                     Unliquidated
                                                                     Disputed
 Chillicothe, OH, 45601
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  878
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      196.64
                                                                                                                    $________________________________
 Beatrice Navarrette                                                Check all that apply.
 190 Roberta Dr                                                      Contingent
                                                                     Unliquidated
 Watsonville, CA, 95076                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  879
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Beatrice Vantapool                                                 Check all that apply.
                                                                                                                     32.99
                                                                                                                    $________________________________
 4600 9th Ave, 508                                                   Contingent
                                                                     Unliquidated
 Brooklyn, NY, 11220                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  880
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     9.99
                                                                                                                    $________________________________
 Beau Floyd                                                         Check all that apply.
 1209 Douglas Street                                                 Contingent
                                                                     Unliquidated
 Euless, TX, 76039                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  881
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Beau Nguyen                                                        Check all that apply.
                                                                                                                      52.99
                                                                                                                    $________________________________
 5531 Lavaca road                                                    Contingent
                                                                     Unliquidated
 Grand Prairie, TX, 75052                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  882
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             23.98
                                                                                                                    $________________________________
 Bebito Vargas                                                       Contingent
 1561 7th Avenue Drive                                               Unliquidated
                                                                     Disputed
 Kingsburg, CA, 93631
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  883
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                    $________________________________
 becca mcgough                                                      Check all that apply.
 Shipslanding Avenue Northwest, 6125                                 Contingent
                                                                     Unliquidated
 canton, OH, 44718                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  884
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Beckie Boring                                                      Check all that apply.
                                                                                                                     61.27
                                                                                                                    $________________________________
 6871 Raybear Dr                                                     Contingent
                                                                     Unliquidated
 Canal Winchester, OH, 43110-9497                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  885
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     12.83
                                                                                                                    $________________________________
 Beckie Ramsey                                                      Check all that apply.
 2303 Education Way                                                  Contingent
                                                                     Unliquidated
 Oakwood, GA, 30566                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  886
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Becky Weeden                                                       Check all that apply.
                                                                                                                      52.99
                                                                                                                    $________________________________
 90 Jericho Road                                                     Contingent
                                                                     Unliquidated
 Haverhill, MA, 1832                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  887
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             28.99
                                                                                                                    $________________________________
 belen corona                                                        Contingent
 12413 Clearglen Avenue, Apt 13                                      Unliquidated
                                                                     Disputed
 Whittier, CA, 90604
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  888
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      37.88
                                                                                                                    $________________________________
 Belen Lezama                                                       Check all that apply.
 1230 Acmite Avenue                                                  Contingent
                                                                     Unliquidated
 Aubrey, TX, 76227                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  889
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Belinda Hernandez                                                  Check all that apply.
                                                                                                                     93.70
                                                                                                                    $________________________________
 38060 12th St E                                                     Contingent
                                                                     Unliquidated
 Palmdale, CA, 93550                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  890
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     37.09
                                                                                                                    $________________________________
 Bella Mcnamara                                                     Check all that apply.
 5821 West Strant Street                                             Contingent
                                                                     Unliquidated
 Eagle, ID, 83616                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  891
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Belladonna Scala                                                   Check all that apply.
                                                                                                                      44.99
                                                                                                                    $________________________________
 3443 East 5th Street                                                Contingent
                                                                     Unliquidated
 Los Angeles, CA, 90063                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  892
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             73.97
                                                                                                                    $________________________________
 Bellamy Fowlds                                                      Contingent
 1737 20th avenue SE, 606                                            Unliquidated
                                                                     Disputed
 Aberdeen, SD, 57401
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  893
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      21.64
                                                                                                                    $________________________________
 Ben Carkhuff                                                       Check all that apply.
 1127 meadow ln                                                      Contingent
                                                                     Unliquidated
 Colona, IL, 61241                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  894
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ben Castillo                                                       Check all that apply.
                                                                                                                     70.34
                                                                                                                    $________________________________
 12638 Ridgeline Blvd, Apt 1213                                      Contingent
                                                                     Unliquidated
 Cedar park, TX, 78613                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  895
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     25.85
                                                                                                                    $________________________________
 Ben Kasko                                                          Check all that apply.
 1111 Mormon Street                                                  Contingent
                                                                     Unliquidated
 Folsom, CA, 95630                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  896
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ben Mitchell                                                       Check all that apply.
                                                                                                                      35.98
                                                                                                                    $________________________________
 5548 Greatpine lane n                                               Contingent
                                                                     Unliquidated
 Jacksonville, FL, 32244                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  897
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             40.64
                                                                                                                    $________________________________
 ben rockefeller                                                     Contingent
 3872 South Leawood Avenue                                           Unliquidated
                                                                     Disputed
 Springfield, MO, 65807
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  898
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      79.97
                                                                                                                    $________________________________
 Ben Rohde                                                          Check all that apply.
 7836 Ogden Avenue, 276                                              Contingent
                                                                     Unliquidated
 Lyons, IL, 60534                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  899
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ben Schuldt                                                        Check all that apply.
                                                                                                                     19.99
                                                                                                                    $________________________________
 2300 West San Angelo Street, Apt. 1147                              Contingent
                                                                     Unliquidated
 Gilbert, AZ, 85233                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  900
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     39.98
                                                                                                                    $________________________________
 Ben Schultz                                                        Check all that apply.
 15921 W 66th Pl                                                     Contingent
                                                                     Unliquidated
 Arvada, CO, 80007                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  901
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 bendee anzures                                                     Check all that apply.
                                                                                                                      120.39
                                                                                                                    $________________________________
 1492 Palisades Drive                                                Contingent
                                                                     Unliquidated
 PACIFIC PALISADES, CA, 90272                                        Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  902
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             35.97
                                                                                                                    $________________________________
 Benito Omana Moro                                                   Contingent
 2740 SE 73rd Ave                                                    Unliquidated
                                                                     Disputed
 Portland, OR, 97206
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  903
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      58.97
                                                                                                                    $________________________________
 Benjamin Alcaraz                                                   Check all that apply.
 125 San Pascual Ave                                                 Contingent
                                                                     Unliquidated
 Los Angeles, CA, 90042                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  904
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Benjamin Averitt                                                   Check all that apply.
                                                                                                                     67.24
                                                                                                                    $________________________________
 216 Nunn St                                                         Contingent
                                                                     Unliquidated
 Havelock , NC, 28532                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  905
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     11.99
                                                                                                                    $________________________________
 Benjamin Bainbridge                                                Check all that apply.
 203 Market St, BOX 412                                              Contingent
                                                                     Unliquidated
 Cumbola, PA, 17930                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  906
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Benjamin Bishop                                                    Check all that apply.
                                                                                                                      132.36
                                                                                                                    $________________________________
 1939 WILLOWGREEN DR                                                 Contingent
                                                                     Unliquidated
 BEAVERCREEK, OH, 45432                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  907
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             58.29
                                                                                                                    $________________________________
 Benjamin Danaj                                                      Contingent
 7016 DEERING ST                                                     Unliquidated
                                                                     Disputed
 GARDEN CITY, MI, 48135
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  908
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      117.85
                                                                                                                    $________________________________
 Benjamin Darling                                                   Check all that apply.
 69 South 1300 East                                                  Contingent
                                                                     Unliquidated
 Springville, UT, 84663                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  909
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Benjamin Dillon                                                    Check all that apply.
                                                                                                                     10.99
                                                                                                                    $________________________________
 7829 49th Ave                                                       Contingent
                                                                     Unliquidated
 Kenosha, WI, 53142                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  910
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     42.96
                                                                                                                    $________________________________
 Benjamin Gifford                                                   Check all that apply.
 2001 FLORAL DR                                                      Contingent
                                                                     Unliquidated
 WILMINGTON, DE, 19810-3835                                          Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  911
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Benjamin Godwin                                                    Check all that apply.
                                                                                                                      45.57
                                                                                                                    $________________________________
 4188 Butternut Hill Drive                                           Contingent
                                                                     Unliquidated
 Troy, MI, 48098                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  912
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             26.49
                                                                                                                    $________________________________
 Benjamin Hamilton                                                   Contingent
 863 Florida Ave                                                     Unliquidated
                                                                     Disputed
 York, PA, 17404
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  913
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      38.99
                                                                                                                    $________________________________
 Benjamin Hinely                                                    Check all that apply.
 211 Neely Hammonds Road                                             Contingent
                                                                     Unliquidated
 Covington, GA, 30014                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  914
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Benjamin Lozensky                                                  Check all that apply.
                                                                                                                     84.99
                                                                                                                    $________________________________
 510 5th ST                                                          Contingent
                                                                     Unliquidated
 West Concord, MN, 55985                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  915
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     91.57
                                                                                                                    $________________________________
 Benjamin Magrum                                                    Check all that apply.
 5822 Calaveras Circle                                               Contingent
                                                                     Unliquidated
 La Palma, CA, 90623                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  916
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Benjamin McElhany                                                  Check all that apply.
                                                                                                                      37.09
                                                                                                                    $________________________________
 438 Locust Grove Road                                               Contingent
                                                                     Unliquidated
 YORK, PA, 17402                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  917
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             56.99
                                                                                                                    $________________________________
 Benjamin Metzemaekers                                               Contingent
 6 Washington Circle                                                 Unliquidated
                                                                     Disputed
 Hillsboro, NH, 3244
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  918
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      69.54
                                                                                                                    $________________________________
 Benjamin Morales                                                   Check all that apply.
 204 Greenhurst Ave                                                  Contingent
                                                                     Unliquidated
 Summerville, SC, 29485                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  919
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Benjamin Nichols                                                   Check all that apply.
                                                                                                                     50.98
                                                                                                                    $________________________________
 601 Orange Avenue Northeast, 264                                    Contingent
                                                                     Unliquidated
 Roanoke, VA, 24016                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  920
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     22.99
                                                                                                                    $________________________________
 Benjamin Ortega                                                    Check all that apply.
 2604 Cumberland Ct                                                  Contingent
                                                                     Unliquidated
 College Station, TX, 77845                                          Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  921
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Benjamin Ortiz                                                     Check all that apply.
                                                                                                                      87.59
                                                                                                                    $________________________________
 1563 West 113th Street                                              Contingent
                                                                     Unliquidated
 Los Angeles, CA, 90047                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  922
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             312.46
                                                                                                                    $________________________________
 Benjamin Quach                                                      Contingent
 1407 West Chateau Avenue                                            Unliquidated
                                                                     Disputed
 Anaheim, CA, 92802
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  923
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      221.90
                                                                                                                    $________________________________
 Benjamin Reyes                                                     Check all that apply.
 302 Meadow lane                                                     Contingent
                                                                     Unliquidated
 Norfolk, NE, 68701                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  924
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Benjamin Richey                                                    Check all that apply.
                                                                                                                     26.97
                                                                                                                    $________________________________
 1917 Tabor Circle                                                   Contingent
                                                                     Unliquidated
 Gadsden, AL, 35904                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  925
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     73.69
                                                                                                                    $________________________________
 Benjamin Robertson                                                 Check all that apply.
 45 Mountain Avenue                                                  Contingent
                                                                     Unliquidated
 Rocky Mount, VA, 24151                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  926
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Benjamin Sennett                                                   Check all that apply.
                                                                                                                      320.99
                                                                                                                    $________________________________
 257 Weathervane Rd                                                  Contingent
                                                                     Unliquidated
 South Kingstown, RI, 2879                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  927
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             8.99
                                                                                                                    $________________________________
 Benjamin Tripp                                                      Contingent
 124 Davis St., Apt.#1                                               Unliquidated
                                                                     Disputed
 Greenfield, MA, 1301
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  928
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                    $________________________________
 Benjamin Tyler                                                     Check all that apply.
 108 Ferntree Ct                                                     Contingent
                                                                     Unliquidated
 Columbia, SC, 29210                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  929
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Benjamin Whitt                                                     Check all that apply.
                                                                                                                     86.23
                                                                                                                    $________________________________
 1539 E Scott Ave                                                    Contingent
                                                                     Unliquidated
 Gilbert, AZ, 85234                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  930
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     21.99
                                                                                                                    $________________________________
 Bentley Dean                                                       Check all that apply.
 1064 boyd crossing rd                                               Contingent
                                                                     Unliquidated
 Newberry, SC, 29108                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  931
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Berend DeBoer                                                      Check all that apply.
                                                                                                                      82.49
                                                                                                                    $________________________________
 14501 kolmar ave                                                    Contingent
                                                                     Unliquidated
 Midlothian, IL, 60445                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  932
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             10.99
                                                                                                                    $________________________________
 Bernard Bernard                                                     Contingent
 26474 Sagewood                                                      Unliquidated
                                                                     Disputed
 Lake Forest, CA, 92630
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  933
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      23.98
                                                                                                                    $________________________________
 Bernard Panelo                                                     Check all that apply.
 6009 Rancho Mission Road, Unit 208                                  Contingent
                                                                     Unliquidated
 San Diego, CA, 92108                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  934
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Beth Achterhoff                                                    Check all that apply.
                                                                                                                     12.83
                                                                                                                    $________________________________
 720 Diamondhead Drive South                                         Contingent
                                                                     Unliquidated
 Pinehurst, NC, 28374                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  935
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     32.99
                                                                                                                    $________________________________
 Beth Tchinski                                                      Check all that apply.
 26256 Golada                                                        Contingent
                                                                     Unliquidated
 Mission Viejo, CA, 92692                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  936
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bethany Carr                                                       Check all that apply.
                                                                                                                      38.87
                                                                                                                    $________________________________
 PO Box 61                                                           Contingent
                                                                     Unliquidated
 Randolph, NY, 14772                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  937
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             53.98
                                                                                                                    $________________________________
 Bethany Marner                                                      Contingent
 6409 53rd Avenue Court West Apt D, Apt D                            Unliquidated
                                                                     Disputed
 University Place, WA, 98467
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  938
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      13.13
                                                                                                                    $________________________________
 Bethney Soto                                                       Check all that apply.
 3701 Whitefish Street                                               Contingent
                                                                     Unliquidated
 Bentonville, AR, 72712                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  939
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Betina Levine-Rivas                                                Check all that apply.
                                                                                                                     35.18
                                                                                                                    $________________________________
 427 15th Street, apt 1D                                             Contingent
                                                                     Unliquidated
 Brooklyn, NY, 11215                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  940
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     22.99
                                                                                                                    $________________________________
 Betsy Leeloy                                                       Check all that apply.
 HC3 Box 14076, 15-1972 32nd St.-HPP                                 Contingent
                                                                     Unliquidated
 Keaau, HI, 96749                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  941
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Betzalys Cabrera Kuilan                                            Check all that apply.
                                                                                                                      17.99
                                                                                                                    $________________________________
 4008 North Bernard Street, Floor 1                                  Contingent
                                                                     Unliquidated
 Chicago, IL, 60618                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  942
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             53.76
                                                                                                                       $________________________________
 Beverly Escamilla                                                      Contingent
 3818 Ohio Ave, Richmond, Apt, suite, floor, etc.                       Unliquidated
                                                                        Disputed
 Richmond, CA, 94804
                                                                       Basis for the claim: Customers with Outstanding Deposits



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number         ___________________
  943
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         59.71
                                                                                                                       $________________________________
 Beverly Saenz                                                         Check all that apply.
 5 Evans Street                                                         Contingent
                                                                        Unliquidated
 San Diego, CA, 92102                                                   Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  944
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Bianca Arellano                                                       Check all that apply.
                                                                                                                        40.93
                                                                                                                       $________________________________
 704 S Vine Ave                                                         Contingent
                                                                        Unliquidated
 Ontario, CA, 91762                                                     Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  945
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        9.99
                                                                                                                       $________________________________
 Bianca Nascimento                                                     Check all that apply.
 4242 East West Highway, 1109                                           Contingent
                                                                        Unliquidated
 Bethesda, MD, 20815                                                    Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________     Yes
  946
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Bianca Solano                                                         Check all that apply.
                                                                                                                         29.84
                                                                                                                       $________________________________
 123 Lalor Street                                                       Contingent
                                                                        Unliquidated
 Trenton, NJ, 8611                                                      Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
        Last 4 digits of account number         ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  947
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             52.99
                                                                                                                    $________________________________
 Bianca Yu                                                           Contingent
 98-364 Kaonohi Street, Apt 2                                        Unliquidated
                                                                     Disputed
 Aiea, HI, 96701
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  948
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      135.67
                                                                                                                    $________________________________
 Bilal Estwani                                                      Check all that apply.
 12615 Fantasia Drive                                                Contingent
                                                                     Unliquidated
 Herndon, VA, 20170                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  949
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bill Dziatkowicz                                                   Check all that apply.
                                                                                                                     165.96
                                                                                                                    $________________________________
 9682 Kingston Trl                                                   Contingent
                                                                     Unliquidated
 Olmsted Twp, OH, 44138                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  950
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     38.58
                                                                                                                    $________________________________
 Bill Ghaffary                                                      Check all that apply.
 4766 Dartmoor Court                                                 Contingent
                                                                     Unliquidated
 Moorpark, CA, 93021                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  951
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bill Kennen                                                        Check all that apply.
                                                                                                                      25.66
                                                                                                                    $________________________________
 49 Lufkin Ct.                                                       Contingent
                                                                     Unliquidated
 Warwick, RI, 2888                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  952
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             24.99
                                                                                                                    $________________________________
 Bill Seufert                                                        Contingent
 2424 SE Pine Ln                                                     Unliquidated
                                                                     Disputed
 Portland, OR, 97267
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  953
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      89.99
                                                                                                                    $________________________________
 Billie Powers                                                      Check all that apply.
 2024 Dane - Kelsey Drive                                            Contingent
                                                                     Unliquidated
 Pekin, IL, 61554                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  954
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Billy Goshorn                                                      Check all that apply.
                                                                                                                     106.62
                                                                                                                    $________________________________
 16886 West Roosevelt Street                                         Contingent
                                                                     Unliquidated
 Goodyear, AZ, 85338                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  955
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     173.39
                                                                                                                    $________________________________
 Billy Lu                                                           Check all that apply.
 4033 Villeroy Avenue                                                Contingent
                                                                     Unliquidated
 Las Vegas, NV, 89141                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  956
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Billy Tong                                                         Check all that apply.
                                                                                                                      21.99
                                                                                                                    $________________________________
 751 Kaiwiula Street, 13H                                            Contingent
                                                                     Unliquidated
 Honolulu, HI, 96817                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  957
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             259.98
                                                                                                                    $________________________________
 Billy Trafford                                                      Contingent
 202 E. Plumb St PO BOX 75                                           Unliquidated
                                                                     Disputed
 Linden, IN, 47955
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  958
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      86.35
                                                                                                                    $________________________________
 Bishop Craig                                                       Check all that apply.
 101 crestview drive lot 3                                           Contingent
                                                                     Unliquidated
 Foley, MO, 63347                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  959
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bizarre_ Ethen                                                     Check all that apply.
                                                                                                                     28.94
                                                                                                                    $________________________________
 13767 West Pattison Avenue                                          Contingent
                                                                     Unliquidated
 Kenton, OH, 43326                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  960
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     25.98
                                                                                                                    $________________________________
 Bj Sablan                                                          Check all that apply.
 6473 S Hoyt Ct                                                      Contingent
                                                                     Unliquidated
 Littleton, CO, 80123                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  961
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bladimir Valladarez                                                Check all that apply.
                                                                                                                      67.87
                                                                                                                    $________________________________
 26577 Ward Street                                                   Contingent
                                                                     Unliquidated
 Highland, CA, 92346                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  962
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             62.90
                                                                                                                      $________________________________
 Blair Zhou                                                            Contingent
 6 Phyllis pl                                                          Unliquidated
                                                                       Disputed
 Milltown, NJ, 8850
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  963
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        49.32
                                                                                                                      $________________________________
 Blake Essex                                                          Check all that apply.
 4500 Emerson Drive                                                    Contingent
                                                                       Unliquidated
 Plano, TX, 75093                                                      Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  964
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 blake holcomb                                                        Check all that apply.
                                                                                                                       62.98
                                                                                                                      $________________________________
 572 west berdine street                                               Contingent
                                                                       Unliquidated
 roseburg, OR, 97471                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  965
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       65.99
                                                                                                                      $________________________________
 Blake Knecht                                                         Check all that apply.
 424 independence drive                                                Contingent
                                                                       Unliquidated
 Burlington, NJ, 8016                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  966
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Blake Kunimoto                                                       Check all that apply.
                                                                                                                        283.97
                                                                                                                      $________________________________
 8906 Bergamo Circle                                                   Contingent
                                                                       Unliquidated
 Stockton, CA, 95212                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  967
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             956.08
                                                                                                                    $________________________________
 Blake Roberts                                                       Contingent
 41 Old Oak Court                                                    Unliquidated
                                                                     Disputed
 Southington, CT, 6489
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  968
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      37.04
                                                                                                                    $________________________________
 Blake Weldon                                                       Check all that apply.
 190 Gorget Ct                                                       Contingent
                                                                     Unliquidated
 Troy, MO, 63379                                                     Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  969
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 blake Wheeler                                                      Check all that apply.
                                                                                                                     13.16
                                                                                                                    $________________________________
 705 East Market Avenue, Apt 2                                       Contingent
                                                                     Unliquidated
 Searcy, AR, 72143                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  970
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     29.99
                                                                                                                    $________________________________
 Blanca Flores                                                      Check all that apply.
 327 Fair Ave.                                                       Contingent
                                                                     Unliquidated
 San Antonio, TX, 78223                                              Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  971
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Blas Gutierrez                                                     Check all that apply.
                                                                                                                      99.98
                                                                                                                    $________________________________
 2007 North O'Connor Road                                            Contingent
                                                                     Unliquidated
 Irving, TX, 75061                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  972
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             21.99
                                                                                                                    $________________________________
 Bleng Puih                                                          Contingent
 704 Carroll Street                                                  Unliquidated
                                                                     Disputed
 Durham, NC, 27701
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  973
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      77.99
                                                                                                                    $________________________________
 Bob Ayach                                                          Check all that apply.
 21731 Ventura Blvd. Ste 300                                         Contingent
                                                                     Unliquidated
 Woodland Hills, CA, 91364                                           Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  974
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bob Mitchell                                                       Check all that apply.
                                                                                                                     25.30
                                                                                                                    $________________________________
 1730 N. Arlington Pl.                                               Contingent
                                                                     Unliquidated
 Milwaukee, WI, 53202                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  975
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     59.99
                                                                                                                    $________________________________
 Bobby Rucker                                                       Check all that apply.
 1200 west oklahoma avenue                                           Contingent
                                                                     Unliquidated
 Sulphur, OK, 73086                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  976
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 BOBBY Z                                                            Check all that apply.
                                                                                                                      49.99
                                                                                                                    $________________________________
 10903 Northfleet Drive                                              Contingent
                                                                     Unliquidated
 Anchorage, AK, 99515                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  977
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             153.97
                                                                                                                    $________________________________
 Bobby Zambella                                                      Contingent
 7338 Heapford Terrace                                               Unliquidated
                                                                     Disputed
 Port Charlotte, FL, 33981
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  978
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      28.99
                                                                                                                    $________________________________
 Bonnie Claire Gauthier                                             Check all that apply.
 7728 Chickory Hollow Ct                                             Contingent
                                                                     Unliquidated
 Worthington, OH, 43085-4883                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  979
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bowei Ye                                                           Check all that apply.
                                                                                                                     330.74
                                                                                                                    $________________________________
 222 N Columbus Dr Apt 1810                                          Contingent
                                                                     Unliquidated
 Chicago, IL, 60601-7951                                             Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  980
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     135.28
                                                                                                                    $________________________________
 BOWEN SHEN                                                         Check all that apply.
 959 Stewart Dr, Apt 828                                             Contingent
                                                                     Unliquidated
 Sunnyvale, CA, 94085                                                Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  981
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Boyle Boyle                                                        Check all that apply.
                                                                                                                      8.57
                                                                                                                    $________________________________
 2201 Mountain Springs Road                                          Contingent
                                                                     Unliquidated
 Auburn, CA, 95602                                                   Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  982
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             108.98
                                                                                                                    $________________________________
 Brad Allebone                                                       Contingent
 4707 Cornoustie Street                                              Unliquidated
                                                                     Disputed
 Pasadena, TX, 77505
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  983
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      45.98
                                                                                                                    $________________________________
 Brad Farrow                                                        Check all that apply.
 4691 Harpeth Peytonsville Rd                                        Contingent
                                                                     Unliquidated
 Thompsons Station, TN, 37179                                        Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  984
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Brad Johnson                                                       Check all that apply.
                                                                                                                     22.99
                                                                                                                    $________________________________
 397 Pennsylvania ave                                                Contingent
                                                                     Unliquidated
 Bridgeport, WV, 26330                                               Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  985
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     108.91
                                                                                                                    $________________________________
 Brad Ramirez                                                       Check all that apply.
 7734 Ironbark Drive                                                 Contingent
                                                                     Unliquidated
 Port Richey, FL, 34668-1723                                         Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  986
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Brad Scallin                                                       Check all that apply.
                                                                                                                      16.99
                                                                                                                    $________________________________
 172 Diablo Court                                                    Contingent
                                                                     Unliquidated
 Pleasant Hill, CA, 94523                                            Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  987
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             71.39
                                                                                                                    $________________________________
 Brad Vaughn                                                         Contingent
 29226 Greenbrier Dr                                                 Unliquidated
                                                                     Disputed
 Pierce City, MO, 65723
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  988
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                    $________________________________
 Bradley Barwick                                                    Check all that apply.
 20722 Sunset Lane                                                   Contingent
                                                                     Unliquidated
 Redding, CA, 96002                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  989
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bradley Evans                                                      Check all that apply.
                                                                                                                     65.98
                                                                                                                    $________________________________
 9804 Pulham Road                                                    Contingent
                                                                     Unliquidated
 Burke, VA, 22015                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  990
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     22.99
                                                                                                                    $________________________________
 Bradley Evans                                                      Check all that apply.
 9804 Pulham Road                                                    Contingent
                                                                     Unliquidated
 Burke, VA, 22015                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  991
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bradley Good                                                       Check all that apply.
                                                                                                                      12.95
                                                                                                                    $________________________________
 24 Camborne Circle                                                  Contingent
                                                                     Unliquidated
 Fairport, NY, 14450                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  992
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             179.97
                                                                                                                    $________________________________
 Bradley Jackson                                                     Contingent
 PO Box 221073                                                       Unliquidated
                                                                     Disputed
 Anchorage , AK, 99522
                                                                    Basis for the claim: Customers with Outstanding Deposits



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
        Last 4 digits of account number      ___________________
  993
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      96.96
                                                                                                                    $________________________________
 Bradley Lopez                                                      Check all that apply.
 1335 South Scarborough lane                                         Contingent
                                                                     Unliquidated
 Anaheim, CA, 92804                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
  994
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bradley Rivera                                                     Check all that apply.
                                                                                                                     133.27
                                                                                                                    $________________________________
 94 Midland Ave                                                      Contingent
                                                                     Unliquidated
 garfield, NJ, 7026                                                  Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                      No
                                                                     Yes
  995
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     26.55
                                                                                                                    $________________________________
 Brady Alantzas                                                     Check all that apply.
 14 Mill River Lane                                                  Contingent
                                                                     Unliquidated
 Rowley, MA, 1969                                                    Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes
  996
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Brady Ingersoll                                                    Check all that apply.
                                                                                                                      26.49
                                                                                                                    $________________________________
 7035 Deepage Drive,                                                 Contingent
                                                                     Unliquidated
 Columbia, MD, 21045                                                 Disputed
                                                                    Basis for the claim: Customers with Outstanding Deposits



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                      No
        Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  997
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             112.98
                                                                                                                     $________________________________
 Brady VanGorder                                                      Contingent
 80 Pear Street                                                       Unliquidated
                                                                      Disputed
 Cabot, AR, 72023
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  998
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.01
                                                                                                                     $________________________________
 Brandee Riehle                                                      Check all that apply.
 238 West Calle Bayeta                                                Contingent
                                                                      Unliquidated
 Sahuarita, AZ, 85629                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  999
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Branden Klimas                                                      Check all that apply.
                                                                                                                      357.37
                                                                                                                     $________________________________
 9 Wynnecliffe Drive                                                  Contingent
                                                                      Unliquidated
 Carnegie, PA, 15106                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1000
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.98
                                                                                                                     $________________________________
 Brandi Camp                                                         Check all that apply.
 5555 Roswell 5555 ROSWELL RD, Apt W4                                 Contingent
                                                                      Unliquidated
 Atlanta, GA, 30342                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1001
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandi McGinty                                                      Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 48 Everard Street, apt 3                                             Contingent
                                                                      Unliquidated
 Worcester, MA, 1605                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1002
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5.99
                                                                                                                     $________________________________
 Brandi Taylor                                                        Contingent
 8104 Blue Hole Court                                                 Unliquidated
                                                                      Disputed
 McKinney, TX, 75070
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1003
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       274.91
                                                                                                                     $________________________________
 Brandon Alos Fujimoto                                               Check all that apply.
 95-1036 Hoalumi St.                                                  Contingent
                                                                      Unliquidated
 Mililani, HI, 96789                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1004
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Berg                                                        Check all that apply.
                                                                                                                      139.57
                                                                                                                     $________________________________
 1702 41st Ave s                                                      Contingent
                                                                      Unliquidated
 Moorhead , MN, 56560                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1005
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      53.99
                                                                                                                     $________________________________
 Brandon Boone                                                       Check all that apply.
 148 Jim Boone Ln                                                     Contingent
                                                                      Unliquidated
 Jacksonville, GA, 31544                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1006
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Bourland                                                    Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 1102 Markham Avenue                                                  Contingent
                                                                      Unliquidated
 Paducah, KY, 42003                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1007
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             47.55
                                                                                                                     $________________________________
 brandon carter                                                       Contingent
 2349 e castleman st                                                  Unliquidated
                                                                      Disputed
 Longview, WA, 98632
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1008
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.99
                                                                                                                     $________________________________
 Brandon Castillo                                                    Check all that apply.
 114 Colt Loop                                                        Contingent
                                                                      Unliquidated
 Kyle, TX, 78640                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1009
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Chan                                                        Check all that apply.
                                                                                                                      74.99
                                                                                                                     $________________________________
 10890 Macouba Place                                                  Contingent
                                                                      Unliquidated
 San Diego, CA, 92124                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1010
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.04
                                                                                                                     $________________________________
 Brandon Colmenero                                                   Check all that apply.
 1278 Cabelas Drive, Apt 221                                          Contingent
                                                                      Unliquidated
 Buda, TX, 78610                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1011
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 brandon edmonds                                                     Check all that apply.
                                                                                                                       35.98
                                                                                                                     $________________________________
 1007 Lockett Drive                                                   Contingent
                                                                      Unliquidated
 Danville, VA, 24541                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1012
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             466.78
                                                                                                                     $________________________________
 BRANDON FRANK                                                        Contingent
 2625 Hillcrest Avenue                                                Unliquidated
                                                                      Disputed
 Norristown, PA, 19401
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1013
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       51.80
                                                                                                                     $________________________________
 Brandon Hairston                                                    Check all that apply.
 1663 Firvale Ave                                                     Contingent
                                                                      Unliquidated
 Montebello, CA, 90640                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1014
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Hamilton                                                    Check all that apply.
                                                                                                                      57.90
                                                                                                                     $________________________________
 104 Main Street, PO Box 146                                          Contingent
                                                                      Unliquidated
 MONROE CENTER, IL, 61052                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1015
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Brandon Hamilton                                                    Check all that apply.
 6231 N. Burkhart Rd.                                                 Contingent
                                                                      Unliquidated
 Howell, MI, 48855                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1016
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Hoang                                                       Check all that apply.
                                                                                                                       98.99
                                                                                                                     $________________________________
 4733 SW Greensboro Way, Apt 93                                       Contingent
                                                                      Unliquidated
 Beaverton, OR, 97007                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1017
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             328.11
                                                                                                                     $________________________________
 Brandon Hwang                                                        Contingent
 394 Boynton Avenue, APT E3                                           Unliquidated
                                                                      Disputed
 San jose, CA, 95117
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1018
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.31
                                                                                                                     $________________________________
 Brandon Ingraham                                                    Check all that apply.
 5406 Simpson Circle                                                  Contingent
                                                                      Unliquidated
 Doylestown, PA, 18902                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1019
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Jefferson                                                   Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 726 Roark Street                                                     Contingent
                                                                      Unliquidated
 Chase City, VA, 23924                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1020
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.98
                                                                                                                     $________________________________
 Brandon Kelly                                                       Check all that apply.
 2232 Moldavite Lane                                                  Contingent
                                                                      Unliquidated
 Santa Rosa, CA, 95404                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1021
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Kent                                                        Check all that apply.
                                                                                                                       25.98
                                                                                                                     $________________________________
 444 Santa Barbara Drive                                              Contingent
                                                                      Unliquidated
 Pataskala, OH, 43062                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1022
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.29
                                                                                                                     $________________________________
 Brandon Kosinski                                                     Contingent
 21574 Chase Dr.                                                      Unliquidated
                                                                      Disputed
 Novi, MI, 48375
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1023
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.04
                                                                                                                     $________________________________
 Brandon Lantis                                                      Check all that apply.
 25105 Rancho Lane                                                    Contingent
                                                                      Unliquidated
 Paisley, FL, 32767                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1024
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Luu                                                         Check all that apply.
                                                                                                                      124.99
                                                                                                                     $________________________________
 988 B Mowry Ave                                                      Contingent
                                                                      Unliquidated
 Fremont, CA, 94536                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1025
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.71
                                                                                                                     $________________________________
 Brandon McKinney                                                    Check all that apply.
 310 Long Grove Lane                                                  Contingent
                                                                      Unliquidated
 Greer, SC, 29650                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1026
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Menifee                                                     Check all that apply.
                                                                                                                       13.16
                                                                                                                     $________________________________
 2868 Kings Lynn                                                      Contingent
                                                                      Unliquidated
 memphis, TN, 38128                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1027
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Brandon Murphypmb1478                                                Contingent
 285 Farenholt Ave Unit303                                            Unliquidated
                                                                      Disputed
 Tamuning, GU, 96913
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1028
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.90
                                                                                                                     $________________________________
 Brandon Nichols                                                     Check all that apply.
 4311 W Anthem Dr                                                     Contingent
                                                                      Unliquidated
 Fayetteville, AR, 72704-5059                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1029
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon OBrien                                                      Check all that apply.
                                                                                                                      69.96
                                                                                                                     $________________________________
 577 Oak Street                                                       Contingent
                                                                      Unliquidated
 Berlin, WI, 54923                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1030
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.71
                                                                                                                     $________________________________
 Brandon Parker                                                      Check all that apply.
 380 Latimore Valley Road                                             Contingent
                                                                      Unliquidated
 York Springs, PA, 17372                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1031
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Parsley                                                     Check all that apply.
                                                                                                                       24.98
                                                                                                                     $________________________________
 54 Grandview Cir                                                     Contingent
                                                                      Unliquidated
 White Lake, MI, 48386                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1032
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             80.45
                                                                                                                     $________________________________
 Brandon Quintero                                                     Contingent
 1618 Kimberly lane                                                   Unliquidated
                                                                      Disputed
 Romeoville, IL, 60446
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1033
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.99
                                                                                                                     $________________________________
 Brandon Rawlins                                                     Check all that apply.
 3318 BONNEVILLE CIR                                                  Contingent
                                                                      Unliquidated
 Chattanooga, TN, 37419                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1034
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Reale                                                       Check all that apply.
                                                                                                                      49.98
                                                                                                                     $________________________________
 6241 Sunnywood dr                                                    Contingent
                                                                      Unliquidated
 Solon, OH, 44139                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1035
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.99
                                                                                                                     $________________________________
 Brandon Rendon                                                      Check all that apply.
 691 Monferino Dr.                                                    Contingent
                                                                      Unliquidated
 San Jose, CA, 95112                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1036
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Renteria                                                    Check all that apply.
                                                                                                                       68.99
                                                                                                                     $________________________________
 1734 Luna Bella Ln                                                   Contingent
                                                                      Unliquidated
 Manteca, CA, 95337                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1037
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.96
                                                                                                                     $________________________________
 Brandon Rios                                                         Contingent
 29785 Calle Edmundo                                                  Unliquidated
                                                                      Disputed
 Sun City, CA, 92586
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1038
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.99
                                                                                                                     $________________________________
 Brandon Roof                                                        Check all that apply.
 319 Nell St                                                          Contingent
                                                                      Unliquidated
 Batesburg, SC, 29006                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1039
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Rountree                                                    Check all that apply.
                                                                                                                      59.99
                                                                                                                     $________________________________
 822 S Southern St                                                    Contingent
                                                                      Unliquidated
 Seattle, WA, 98108-4440                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1040
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      151.19
                                                                                                                     $________________________________
 BRANDON STROUP                                                      Check all that apply.
 343 South Boundary Avenue SE, Apt 2                                  Contingent
                                                                      Unliquidated
 Aiken, SC, 29801                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1041
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandon Whitmore                                                    Check all that apply.
                                                                                                                       26.49
                                                                                                                     $________________________________
 1930 Hopedale Dr                                                     Contingent
                                                                      Unliquidated
 Troy, MI, 48085                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1042
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             97.75
                                                                                                                     $________________________________
 Brandon Wong                                                         Contingent
 25 Scott Aly                                                         Unliquidated
                                                                      Disputed
 San Francisco, CA, 94107-1086
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1043
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       36.12
                                                                                                                     $________________________________
 Brandon Worrell                                                     Check all that apply.
 2105 Fort Robinson Dr                                                Contingent
                                                                      Unliquidated
 Kingsport, TN, 37660                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1044
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandy Johnson                                                      Check all that apply.
                                                                                                                      89.99
                                                                                                                     $________________________________
 31 Highland St                                                       Contingent
                                                                      Unliquidated
 Rice Lake, WI, 54868-2220                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1045
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Brandy Miller                                                       Check all that apply.
 401 Hawkeye Avenue                                                   Contingent
                                                                      Unliquidated
 Williamson, IA, 50272                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1046
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brandy Ramirez                                                      Check all that apply.
                                                                                                                       79.52
                                                                                                                     $________________________________
 4825 Sparrow Dr                                                      Contingent
                                                                      Unliquidated
 Saint Cloud, FL, 34772                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1047
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Brandy Steals                                                        Contingent
 18 Lamplighter Lane                                                  Unliquidated
                                                                      Disputed
 Baden, PA, 15005
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1048
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.90
                                                                                                                     $________________________________
 Brantley Kuglar                                                     Check all that apply.
 140 Hickory Lane                                                     Contingent
                                                                      Unliquidated
 Williston, SC, 29853                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1049
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brayan Garcia                                                       Check all that apply.
                                                                                                                      8.75
                                                                                                                     $________________________________
 500 South Lake Street, 317                                           Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90057                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1050
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.98
                                                                                                                     $________________________________
 Bre Hancock                                                         Check all that apply.
 3120 Naamans Rd, APT S5                                              Contingent
                                                                      Unliquidated
 Wilmington, DE, 19810-2114                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1051
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brea Hellard                                                        Check all that apply.
                                                                                                                       59.99
                                                                                                                     $________________________________
 135 Gadwall Ct                                                       Contingent
                                                                      Unliquidated
 Shepherdsville, KY, 40165                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1052
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             174.79
                                                                                                                     $________________________________
 Breana Villa                                                         Contingent
 51 Beverly Drive                                                     Unliquidated
                                                                      Disputed
 salinas, CA, 93905
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1053
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.04
                                                                                                                     $________________________________
 Breanna Briggs                                                      Check all that apply.
 69 Stratford Road                                                    Contingent
                                                                      Unliquidated
 Tinton Falls, NJ, 7724                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1054
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Breanna Henriquez                                                   Check all that apply.
                                                                                                                      77.99
                                                                                                                     $________________________________
 15 Ponus Avenue                                                      Contingent
                                                                      Unliquidated
 Norwalk, CT, 6850                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1055
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.65
                                                                                                                     $________________________________
 Bree Burchinal                                                      Check all that apply.
 2033 Springdale Avenue                                               Contingent
                                                                      Unliquidated
 Charlotte, NC, 28203                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1056
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Breeanny Meza                                                       Check all that apply.
                                                                                                                       13.98
                                                                                                                     $________________________________
 3700 Parkview Lane, 24 D                                             Contingent
                                                                      Unliquidated
 Irvine, CA, 92612                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1057
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             339.99
                                                                                                                     $________________________________
 Bren Bataclan                                                        Contingent
 25 Kelly Road #2                                                     Unliquidated
                                                                      Disputed
 Cambridge, MA, 2139
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1058
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.35
                                                                                                                     $________________________________
 Brenda Solem                                                        Check all that apply.
 5815 Mayberry Drive                                                  Contingent
                                                                      Unliquidated
 Imperial, MO, 63052                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1059
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brenda Curiel                                                       Check all that apply.
                                                                                                                      37.99
                                                                                                                     $________________________________
 432 E Banning St                                                     Contingent
                                                                      Unliquidated
 compton, CA, 90222-1414                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1060
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.97
                                                                                                                     $________________________________
 Brenda Dickason                                                     Check all that apply.
 7742 N. Avenida de Carlotta                                          Contingent
                                                                      Unliquidated
 Tucson, AZ, 85704                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1061
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 BRENDA FREKING                                                      Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 3333 BELLEVIEW ROAD                                                  Contingent
                                                                      Unliquidated
 PETERSBURG, KY, 41080                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1062
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Brenda Rawson                                                        Contingent
 909 Congressional Dr                                                 Unliquidated
                                                                      Disputed
 Lawrence, KS, 66049
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1063
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Brenda Streitman                                                    Check all that apply.
 3 Shore Lane                                                         Contingent
                                                                      Unliquidated
 Westhampton, NY, 11977                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1064
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brendan Coletta                                                     Check all that apply.
                                                                                                                      33.04
                                                                                                                     $________________________________
 2719 W Bonnie Brook Ln                                               Contingent
                                                                      Unliquidated
 Waukegan, IL, 60087                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1065
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.11
                                                                                                                     $________________________________
 Brendan Dailey                                                      Check all that apply.
 58 Greenwood Avenue, Apt. 4                                          Contingent
                                                                      Unliquidated
 East Islip, NY, 11730                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1066
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brendan Selig                                                       Check all that apply.
                                                                                                                       23.99
                                                                                                                     $________________________________
 48 phelps st                                                         Contingent
                                                                      Unliquidated
 Windsor, CT, 6095                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1067
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             62.85
                                                                                                                     $________________________________
 brendon moeller                                                      Contingent
 3 veteran road                                                       Unliquidated
                                                                      Disputed
 patterson, NY, 12563
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1068
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       209.96
                                                                                                                     $________________________________
 Brenna Bochow                                                       Check all that apply.
 531 Paper Mill Road                                                  Contingent
                                                                      Unliquidated
 Newark, DE, 19711                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1069
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brenna Lamborn                                                      Check all that apply.
                                                                                                                      49.98
                                                                                                                     $________________________________
 11698 Stone Crest Circle                                             Contingent
                                                                      Unliquidated
 Riverton, UT, 84065                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1070
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Brenna Martin                                                       Check all that apply.
 289 Twin Lake Trail                                                  Contingent
                                                                      Unliquidated
 Little Canada, MN, 55127                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1071
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brennan Jones                                                       Check all that apply.
                                                                                                                       36.53
                                                                                                                     $________________________________
 5887 Barbanna Lane                                                   Contingent
                                                                      Unliquidated
 Dayton, OH, 45415                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1072
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.44
                                                                                                                     $________________________________
 Brennan Knight                                                       Contingent
 604 Mercer Grant Dr                                                  Unliquidated
                                                                      Disputed
 Cary, NC, 27519
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1073
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Brennan Wong                                                        Check all that apply.
 2840 Nicholas Drive                                                  Contingent
                                                                      Unliquidated
 San Jose, CA, 95124                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1074
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brent Hamby                                                         Check all that apply.
                                                                                                                      149.90
                                                                                                                     $________________________________
 22 Gateswood Dr                                                      Contingent
                                                                      Unliquidated
 St. Peters, MO, 63376                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1075
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.99
                                                                                                                     $________________________________
 brent ross                                                          Check all that apply.
 420 Shogan Drive                                                     Contingent
                                                                      Unliquidated
 Greensburg, PA, 15601                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1076
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brent Snoddy                                                        Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 12111 sunset Dr                                                      Contingent
                                                                      Unliquidated
 Garfield Heights, OH, 44125                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1077
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             119.80
                                                                                                                     $________________________________
 Brent Triantos                                                       Contingent
 1261 Mariposa Avenue                                                 Unliquidated
                                                                      Disputed
 San Jose, CA, 95126
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1078
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.19
                                                                                                                     $________________________________
 Brenton Milazzo                                                     Check all that apply.
 716 N. 1st Street                                                    Contingent
                                                                      Unliquidated
 Richmond, VA, 23219                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1079
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bret Rivera                                                         Check all that apply.
                                                                                                                      48.74
                                                                                                                     $________________________________
 6251 Manor Circle                                                    Contingent
                                                                      Unliquidated
 Bensalem, PA, 19020-1207                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1080
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      120.00
                                                                                                                     $________________________________
 Brett Hoffmann                                                      Check all that apply.
 2204 West Park Boulevard, 2103                                       Contingent
                                                                      Unliquidated
 Plano, TX, 75075                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1081
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brett Crandall                                                      Check all that apply.
                                                                                                                       64.77
                                                                                                                     $________________________________
 13 Hickok Avenue                                                     Contingent
                                                                      Unliquidated
 Norwich, NY, 13815                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1082
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.99
                                                                                                                     $________________________________
 Brett Dickson                                                        Contingent
 35643 Reymouth Dr.                                                   Unliquidated
                                                                      Disputed
 Newark, CA, 94560
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1083
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.78
                                                                                                                     $________________________________
 Brett Johnson                                                       Check all that apply.
 27 Eaves Mill Road                                                   Contingent
                                                                      Unliquidated
 Medford, NJ, 8055                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1084
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brett Thomann                                                       Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 16107 Londelius St                                                   Contingent
                                                                      Unliquidated
 North Hills, CA, 91343                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1085
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      90.94
                                                                                                                     $________________________________
 Brian Diaz                                                          Check all that apply.
 9 Sect Zamot                                                         Contingent
                                                                      Unliquidated
 Isabela , PR, 662                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1086
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Presley                                                       Check all that apply.
                                                                                                                       28.61
                                                                                                                     $________________________________
 11835 state route 85                                                 Contingent
                                                                      Unliquidated
 Kittanning, PA, 16201                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1087
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Brian Brookshire                                                     Contingent
 105 Colonial Dr                                                      Unliquidated
                                                                      Disputed
 Louisville, KY, 40207
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1088
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.98
                                                                                                                     $________________________________
 Brian Brown                                                         Check all that apply.
 1418 e Calhoun st                                                    Contingent
                                                                      Unliquidated
 Anderson, SC, 29621                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1089
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian brown                                                         Check all that apply.
                                                                                                                      28.99
                                                                                                                     $________________________________
 7770 w 950 n Fairland Indiana 46126                                  Contingent
                                                                      Unliquidated
 Fairland, IN, 46126                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1090
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.89
                                                                                                                     $________________________________
 Brian Bruzzese                                                      Check all that apply.
 1914 Glen Road                                                       Contingent
                                                                      Unliquidated
 Aliquippa, PA, 15001                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1091
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 brian buchanan                                                      Check all that apply.
                                                                                                                       36.28
                                                                                                                     $________________________________
 170 east porthaven way                                               Contingent
                                                                      Unliquidated
 Clayton, NC, 27527                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1092
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.25
                                                                                                                     $________________________________
 brian confetti                                                       Contingent
 14144 campagna way                                                   Unliquidated
                                                                      Disputed
 watsonville, CA, 95076-9250
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1093
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       96.92
                                                                                                                     $________________________________
 Brian Conrad                                                        Check all that apply.
 979 Koontz Rd                                                        Contingent
                                                                      Unliquidated
 Chehalis, WA, 98532                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1094
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 BRIAN COUNTS                                                        Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 1280 Appian Way                                                      Contingent
                                                                      Unliquidated
 Lawrenceville, GA, 30046-7660                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1095
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      117.68
                                                                                                                     $________________________________
 Brian Crawford                                                      Check all that apply.
 186 DONNA RD NE                                                      Contingent
                                                                      Unliquidated
 PALM BAY, FL, 32907                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1096
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Crites                                                        Check all that apply.
                                                                                                                       51.98
                                                                                                                     $________________________________
 548 East Prospect Street                                             Contingent
                                                                      Unliquidated
 Front Royal, VA, 22630                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1097
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Brian Davis                                                          Contingent
 1746 Treseder Circle                                                 Unliquidated
                                                                      Disputed
 El Cajon , CA, 92019
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1098
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.98
                                                                                                                     $________________________________
 Brian DiDomenico                                                    Check all that apply.
 14350 Addison St. Apt 211, 91423                                     Contingent
                                                                      Unliquidated
 SHERMAN OAKS, CA, 91423                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1099
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Fitzgerald                                                    Check all that apply.
                                                                                                                      81.63
                                                                                                                     $________________________________
 382 Southerland Terrace NE                                           Contingent
                                                                      Unliquidated
 Atlanta, GA, 30307                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1100
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Brian Hubbart                                                       Check all that apply.
 143 Auburn Avenue Northeast                                          Contingent
                                                                      Unliquidated
 Grand Rapids, MI, 49503                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1101
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Hunt                                                          Check all that apply.
                                                                                                                       37.79
                                                                                                                     $________________________________
 10 Pennsylvania Ave                                                  Contingent
                                                                      Unliquidated
 Avon, NY, 14414-9790                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1102
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.65
                                                                                                                     $________________________________
 Brian Huqueriza                                                      Contingent
 5835 El Dorado Ln                                                    Unliquidated
                                                                      Disputed
 Dublin, CA, 94568
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1103
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Brian Jimenez Martinez                                              Check all that apply.
 9916 11th St                                                         Contingent
                                                                      Unliquidated
 Garden Grove, CA, 92844                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1104
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Kessel                                                        Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 2721 Pine Drive                                                      Contingent
                                                                      Unliquidated
 Columbia, MO, 65216                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1105
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.39
                                                                                                                     $________________________________
 Brian Kirkland                                                      Check all that apply.
 106 W Lynde Street                                                   Contingent
                                                                      Unliquidated
 Watertown, NY, 13601                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1106
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Kramer                                                        Check all that apply.
                                                                                                                       44.97
                                                                                                                     $________________________________
 2435 Lingerman Way                                                   Contingent
                                                                      Unliquidated
 Avon, IN, 46123                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1107
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             141.97
                                                                                                                     $________________________________
 Brian Leonard                                                        Contingent
 4751 East Angela Drive                                               Unliquidated
                                                                      Disputed
 Phoenix, AZ, 85032
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1108
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.00
                                                                                                                     $________________________________
 Brian Masters                                                       Check all that apply.
 32 Ravine Drive West                                                 Contingent
                                                                      Unliquidated
 Hawthorne, NJ, 7506                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1109
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Nieves                                                        Check all that apply.
                                                                                                                      69.21
                                                                                                                     $________________________________
 839 Vercelli ST                                                      Contingent
                                                                      Unliquidated
 Deltona, FL, 32725                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1110
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      97.01
                                                                                                                     $________________________________
 Brian Panks                                                         Check all that apply.
 1270 W Derringer Way                                                 Contingent
                                                                      Unliquidated
 Chandler, AZ, 85286                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1111
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Perez                                                         Check all that apply.
                                                                                                                       304.14
                                                                                                                     $________________________________
 4509 S Brookline Ave                                                 Contingent
                                                                      Unliquidated
 Oklahoma City, OK, 73119                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1112
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.98
                                                                                                                     $________________________________
 Brian R Earley                                                       Contingent
 3535 lincoln st ne                                                   Unliquidated
                                                                      Disputed
 Minneapolis, MN, 55418
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1113
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       92.98
                                                                                                                     $________________________________
 Brian Ramirez                                                       Check all that apply.
 3710 Newton Falls St                                                 Contingent
                                                                      Unliquidated
 North Las Vegas, NV, 89032                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1114
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Ridings                                                       Check all that apply.
                                                                                                                      120.00
                                                                                                                     $________________________________
 6620 Vesper Ave                                                      Contingent
                                                                      Unliquidated
 Van Nuys, CA, 91405                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1115
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                     $________________________________
 Brian Salamanca                                                     Check all that apply.
 4130 West 59th Street                                                Contingent
                                                                      Unliquidated
 Chicago, IL, 60629                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1116
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Sanchez                                                       Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 68535 Tachevah Drive                                                 Contingent
                                                                      Unliquidated
 Cathedral City, CA, 92234                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1117
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.99
                                                                                                                     $________________________________
 Brian Schultz                                                        Contingent
 6225 Obyrne Ln.                                                      Unliquidated
                                                                      Disputed
 Union , KY, 41091
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1118
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.99
                                                                                                                     $________________________________
 Brian Sons                                                          Check all that apply.
 6079 MS Hwy 15                                                       Contingent
                                                                      Unliquidated
 Ackerman, MS, 39735                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1119
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Stands                                                        Check all that apply.
                                                                                                                      12.75
                                                                                                                     $________________________________
 5 Totem Lane                                                         Contingent
                                                                      Unliquidated
 Griswold, CT, 6351                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1120
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.79
                                                                                                                     $________________________________
 Brian Stewart                                                       Check all that apply.
 13120 Orchard Street                                                 Contingent
                                                                      Unliquidated
 Southgate, MI, 48195                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1121
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Thackeray                                                     Check all that apply.
                                                                                                                       34.97
                                                                                                                     $________________________________
 220 s 3rd w                                                          Contingent
                                                                      Unliquidated
 Rexburg, ID, 83440                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1122
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             120.00
                                                                                                                     $________________________________
 Brian Tran                                                           Contingent
 220 East Broadway, STE. 210                                          Unliquidated
                                                                      Disputed
 GLENDALE, CA, 91205
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1123
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.99
                                                                                                                     $________________________________
 Brian Tran                                                          Check all that apply.
 3704 Tomahawk Lane                                                   Contingent
                                                                      Unliquidated
 San Diego, CA, 92117                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1124
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Vatcher                                                       Check all that apply.
                                                                                                                      55.98
                                                                                                                     $________________________________
 115 Capen St                                                         Contingent
                                                                      Unliquidated
 Medford, MA, 02155-4204                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1125
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.49
                                                                                                                     $________________________________
 Brian Watson                                                        Check all that apply.
 10117 Oakley Pointe Drive                                            Contingent
                                                                      Unliquidated
 Richmond, VA, 23233                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1126
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brian Yarayan                                                       Check all that apply.
                                                                                                                       102.80
                                                                                                                     $________________________________
 10945 Price Manor Way, 421                                           Contingent
                                                                      Unliquidated
 Laurel, MD, 20723                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1127
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.83
                                                                                                                     $________________________________
 Brian Zelidon                                                        Contingent
 1618 West 1440 North                                                 Unliquidated
                                                                      Disputed
 St. George, UT, 84770
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1128
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Briana Williams                                                     Check all that apply.
 1722 POPLAR LN                                                       Contingent
                                                                      Unliquidated
 MUNSTER, IN, 46321-3849                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1129
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brianna Andrade                                                     Check all that apply.
                                                                                                                      59.96
                                                                                                                     $________________________________
 1822 Metzerott Rd, Apt 207                                           Contingent
                                                                      Unliquidated
 Hyattsville , MD, 20783                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1130
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.39
                                                                                                                     $________________________________
 Brianna Benites                                                     Check all that apply.
 1049 West Elgin Street                                               Contingent
                                                                      Unliquidated
 Chandler, AZ, 85224                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1131
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brianna Buffalo                                                     Check all that apply.
                                                                                                                       71.96
                                                                                                                     $________________________________
 923 Morning Oaks st                                                  Contingent
                                                                      Unliquidated
 San Antonio, TX, 78245                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1132
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.98
                                                                                                                     $________________________________
 Brianna Cavender                                                     Contingent
 940 E Old Willow Rd, Apt 304                                         Unliquidated
                                                                      Disputed
 Prospect Heights, IL, 60070
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1133
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.07
                                                                                                                     $________________________________
 Brianna Cook                                                        Check all that apply.
 26712 Brandon                                                        Contingent
                                                                      Unliquidated
 Mission Viejo, CA, 92692                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1134
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brianna Hernandez                                                   Check all that apply.
                                                                                                                      61.88
                                                                                                                     $________________________________
 2209 north 91st Glen                                                 Contingent
                                                                      Unliquidated
 PHOENIX, AZ, 85037                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1135
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.99
                                                                                                                     $________________________________
 Brianna Herrera                                                     Check all that apply.
 4150 East Main Street, 2035                                          Contingent
                                                                      Unliquidated
 Mesa, AZ, 85205                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1136
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brianna Hill                                                        Check all that apply.
                                                                                                                       127.99
                                                                                                                     $________________________________
 2501 Tabor Court                                                     Contingent
                                                                      Unliquidated
 Woodbridge, VA, 22191                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1137
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             8.99
                                                                                                                     $________________________________
 Brianna Loftus                                                       Contingent
 2710 N Dryden Pl                                                     Unliquidated
                                                                      Disputed
 Arlington Heights, IL, 60004
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1138
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.98
                                                                                                                     $________________________________
 Brianna Murphy                                                      Check all that apply.
 3336 Easton Ave                                                      Contingent
                                                                      Unliquidated
 Chattanooga, TN, 37415-4718                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1139
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brianna Pullen                                                      Check all that apply.
                                                                                                                      45.98
                                                                                                                     $________________________________
 1911 Aberdeen Drive                                                  Contingent
                                                                      Unliquidated
 Papillion, NE, 68133                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1140
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                     $________________________________
 Brianna Rogers                                                      Check all that apply.
 596 West Lucky Penny Place                                           Contingent
                                                                      Unliquidated
 Casa Grande, AZ, 85122                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1141
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brianna Scheening                                                   Check all that apply.
                                                                                                                       34.99
                                                                                                                     $________________________________
 1 Anna Court                                                         Contingent
                                                                      Unliquidated
 Utica, NY, 13502                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1142
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             157.96
                                                                                                                     $________________________________
 Brianna Warren                                                       Contingent
 1404 Samuel Adams Cir SW                                             Unliquidated
                                                                      Disputed
 Concord, NC, 28027
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1143
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       80.24
                                                                                                                     $________________________________
 Brianna Warren                                                      Check all that apply.
 385 Settlers Ridge Dr                                                Contingent
                                                                      Unliquidated
 Kannapolis, NC, 28081                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1144
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brianna Werdann                                                     Check all that apply.
                                                                                                                      31.98
                                                                                                                     $________________________________
 249 Riverside Dr N                                                   Contingent
                                                                      Unliquidated
 Brick, NJ, 8724                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1145
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      170.82
                                                                                                                     $________________________________
 Bridget Ge                                                          Check all that apply.
 745 BREWERTON RD #1614                                               Contingent
                                                                      Unliquidated
 West Point, NY, 10996                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1146
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bridget MacLeod                                                     Check all that apply.
                                                                                                                       26.80
                                                                                                                     $________________________________
 1901 24th Ave S, 2                                                   Contingent
                                                                      Unliquidated
 Grand Forks, ND, 58201                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1147
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.99
                                                                                                                     $________________________________
 Bridget Taylor                                                       Contingent
 18953 Maisons Drive                                                  Unliquidated
                                                                      Disputed
 Lutz, FL, 33558
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1148
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.15
                                                                                                                     $________________________________
 Brigit Collins                                                      Check all that apply.
 4726 Timberlane Drive                                                Contingent
                                                                      Unliquidated
 Macon, GA, 31210-3122                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1149
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brine Reyes                                                         Check all that apply.
                                                                                                                      77.38
                                                                                                                     $________________________________
 66 West Dahlia Lane                                                  Contingent
                                                                      Unliquidated
 Round Lake Beach, IL, 60073                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1150
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.92
                                                                                                                     $________________________________
 Britney Hill                                                        Check all that apply.
 3045 Marina Bay Dr, APT 8103                                         Contingent
                                                                      Unliquidated
 League City, TX, 77573                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1151
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Britta Duvall                                                       Check all that apply.
                                                                                                                       27.74
                                                                                                                     $________________________________
 36 Bard Drive                                                        Contingent
                                                                      Unliquidated
 Hudson, OH, 44236                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1152
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.04
                                                                                                                     $________________________________
 Brittanie Irby                                                       Contingent
 311 San Miguel Court, Apt #4                                         Unliquidated
                                                                      Disputed
 Milpitas, CA, 95035
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1153
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Brittany Adames                                                     Check all that apply.
 PSC 819 Box 4075                                                     Contingent
                                                                      Unliquidated
 FPO, AE, 9645                                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1154
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brittany Boudreaux                                                  Check all that apply.
                                                                                                                      30.36
                                                                                                                     $________________________________
 207 Sparkling Meadows Lane                                           Contingent
                                                                      Unliquidated
 Lafayette, LA, 70506                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1155
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.77
                                                                                                                     $________________________________
 Brittany Bullis                                                     Check all that apply.
 6400 W Essex Dr                                                      Contingent
                                                                      Unliquidated
 Sioux Falls, SD, 57106                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1156
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brittany Loggins                                                    Check all that apply.
                                                                                                                       28.39
                                                                                                                     $________________________________
 30 Dry Creek Road, 106                                               Contingent
                                                                      Unliquidated
 Goodlettsville, TN, 37072                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1157
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Brittany Pearson                                                     Contingent
 945 PRESTONWOOD DR                                                   Unliquidated
                                                                      Disputed
 LAWRENCEVILLE, GA, 30043
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1158
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.99
                                                                                                                     $________________________________
 Brittany Stacks                                                     Check all that apply.
 13003 Calabay Court                                                  Contingent
                                                                      Unliquidated
 Clermont, FL, 34711                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1159
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brittany Young                                                      Check all that apply.
                                                                                                                      29.97
                                                                                                                     $________________________________
 675 Spring Street                                                    Contingent
                                                                      Unliquidated
 Mapleton, PA, 17052                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1160
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.00
                                                                                                                     $________________________________
 Britton Stice                                                       Check all that apply.
 2625 South Linden Street                                             Contingent
                                                                      Unliquidated
 Pine Bluff, AR, 71603                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1161
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bro Mo                                                              Check all that apply.
                                                                                                                       84.71
                                                                                                                     $________________________________
 5483 S 3350 W                                                        Contingent
                                                                      Unliquidated
 Taylorsville, UT, 84129-7851                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1162
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             46.63
                                                                                                                     $________________________________
 Brock Macklij                                                        Contingent
 11030 Cooper Road                                                    Unliquidated
                                                                      Disputed
 Pleasant Lake, MI, 49272
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1163
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.99
                                                                                                                     $________________________________
 Brockton MacDonald                                                  Check all that apply.
 28 Sherman Street, Apartment 3                                       Contingent
                                                                      Unliquidated
 Portland, ME, 4101                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1164
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brody Laing                                                         Check all that apply.
                                                                                                                      32.93
                                                                                                                     $________________________________
 29 Bond St                                                           Contingent
                                                                      Unliquidated
 Gloucester, MA, 1930                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1165
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Brogan Rogan                                                        Check all that apply.
 11548 S BRAMBLEBERRY LN                                              Contingent
                                                                      Unliquidated
 Draper, UT, 84020                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1166
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brohn Jelks                                                         Check all that apply.
                                                                                                                       19.47
                                                                                                                     $________________________________
 12858 Westella Dr                                                    Contingent
                                                                      Unliquidated
 HOUSTON, TX, 77077                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1167
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.86
                                                                                                                     $________________________________
 Bronagh Kelly                                                        Contingent
 2702 Fairmount Avenue                                                Unliquidated
                                                                      Disputed
 Vancouver, WA, 98661
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1168
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Bronson Herrera                                                     Check all that apply.
 2209 Calabazas Blvd.                                                 Contingent
                                                                      Unliquidated
 Santa Clara, CA, 95051                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1169
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brook Lopez                                                         Check all that apply.
                                                                                                                      184.61
                                                                                                                     $________________________________
 700 Harris Street, Ste 201                                           Contingent
                                                                      Unliquidated
 Charlottesville, VA, 22903                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1170
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      90.25
                                                                                                                     $________________________________
 Brooke Angle                                                        Check all that apply.
 5922 13th St                                                         Contingent
                                                                      Unliquidated
 Sacramento, CA, 95822-2904                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1171
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brooke Claxon                                                       Check all that apply.
                                                                                                                       31.79
                                                                                                                     $________________________________
 1708 Yetta Dr                                                        Contingent
                                                                      Unliquidated
 Lexington, KY, 40515                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1172
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             249.99
                                                                                                                     $________________________________
 Brooke LeJeune                                                       Contingent
 425 Sixth St                                                         Unliquidated
                                                                      Disputed
 Iowa, LA, 70647
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1173
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       41.43
                                                                                                                     $________________________________
 brooke murphy                                                       Check all that apply.
 7 bassett brook lane                                                 Contingent
                                                                      Unliquidated
 duxbury, MA, 2332                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1174
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brooke Painter                                                      Check all that apply.
                                                                                                                      27.36
                                                                                                                     $________________________________
 191 Nonquon Rd, 912                                                  Contingent
                                                                      Unliquidated
 Oshawa, ON, L1G 3S3                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1175
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      5.99
                                                                                                                     $________________________________
 Brooke Parra                                                        Check all that apply.
 150 East Floral Dr                                                   Contingent
                                                                      Unliquidated
 Monterey Park, CA, 91755                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1176
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 brooke rose                                                         Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 3109 Sierra Dr                                                       Contingent
                                                                      Unliquidated
 San Angelo, TX, 76904                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1177
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.39
                                                                                                                     $________________________________
 Brooke Rose                                                          Contingent
 90 S Rhodefer Rd, Apt B 107                                          Unliquidated
                                                                      Disputed
 Sequim, WA, 98382
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1178
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.34
                                                                                                                     $________________________________
 Brooke Wilson                                                       Check all that apply.
 194 Mountain View Rd                                                 Contingent
                                                                      Unliquidated
 Marion, NC, 28752-6466                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1179
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bruce Bennett                                                       Check all that apply.
                                                                                                                      88.97
                                                                                                                     $________________________________
 10804 Beech Creek Drive                                              Contingent
                                                                      Unliquidated
 Columbia, MD, 21044-1023                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1180
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      191.88
                                                                                                                     $________________________________
 bruce coltre                                                        Check all that apply.
 12 Magnolia Court                                                    Contingent
                                                                      Unliquidated
 Bordentown, NJ, 8505                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1181
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bruce Gailey                                                        Check all that apply.
                                                                                                                       13.77
                                                                                                                     $________________________________
 1581 South Osborne Road                                              Contingent
                                                                      Unliquidated
 Dansville, MI, 48819                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1182
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             315.87
                                                                                                                     $________________________________
 Bruce Lehmann                                                        Contingent
 355 W. 2nd S., 204                                                   Unliquidated
                                                                      Disputed
 Recburg, ID, 83440
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1183
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.62
                                                                                                                     $________________________________
 Bruce Solis                                                         Check all that apply.
 53667 Co Rd 5                                                        Contingent
                                                                      Unliquidated
 Elkhart, IN, 46514                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1184
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bruno Ivaldi                                                        Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 2315 14th St                                                         Contingent
                                                                      Unliquidated
 Lubbock, TX, 79401                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1185
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Bryan Aguilera                                                      Check all that apply.
 12544 Truro ave                                                      Contingent
                                                                      Unliquidated
 Hawthorne, CA, 90250                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1186
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bryan Arrue                                                         Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 13747 vanowen, apt 102                                               Contingent
                                                                      Unliquidated
 van nuys, CA, 91405                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1187
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Bryan Budvitis                                                       Contingent
 1037 Tamarack Lane                                                   Unliquidated
                                                                      Disputed
 Libertyville, IL, 60048
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1188
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.79
                                                                                                                     $________________________________
 Bryan Buel                                                          Check all that apply.
 16701 New Kent Hwy                                                   Contingent
                                                                      Unliquidated
 Lanexa, VA, 23089-5206                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1189
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bryan Byrd                                                          Check all that apply.
                                                                                                                      135.67
                                                                                                                     $________________________________
 6040 Gordon Rd                                                       Contingent
                                                                      Unliquidated
 Waterford, MI, 48327                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1190
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.04
                                                                                                                     $________________________________
 Bryan Cuevas                                                        Check all that apply.
 1315 NE 200TH Terrace                                                Contingent
                                                                      Unliquidated
 Miami, FL, 33179                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1191
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 bryan Gamez                                                         Check all that apply.
                                                                                                                       32.16
                                                                                                                     $________________________________
 1170 Willow Glen Dr                                                  Contingent
                                                                      Unliquidated
 Yuba City, CA, 95991-1523                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1192
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.83
                                                                                                                     $________________________________
 Bryan Garcia                                                         Contingent
 14522 Del Mar Dr                                                     Unliquidated
                                                                      Disputed
 Woodbridge, VA, 22193
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1193
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       58.29
                                                                                                                     $________________________________
 Bryan Hott                                                          Check all that apply.
 142 Specks Run Rd                                                    Contingent
                                                                      Unliquidated
 Bunker Hill, WV, 25413-2059                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1194
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 bryan houston                                                       Check all that apply.
                                                                                                                      10.00
                                                                                                                     $________________________________
 225 Ayliffe Avenue                                                   Contingent
                                                                      Unliquidated
 Westfield, NJ, 7090                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1195
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.97
                                                                                                                     $________________________________
 Bryan Moore                                                         Check all that apply.
 6490 hollyridge dr                                                   Contingent
                                                                      Unliquidated
 riverside, CA, 92504                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1196
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bryan Romero                                                        Check all that apply.
                                                                                                                       2,452.48
                                                                                                                     $________________________________
 67075 HWY 111 92254-5067, Po box 1670/                               Contingent
 Space Number 59                                                      Unliquidated
                                                                      Disputed
 Mecca, CA, 92254                                                    Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1197
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.14
                                                                                                                     $________________________________
 Bryan Sales                                                          Contingent
 1201 Pridgen Rd, Unit B3                                             Unliquidated
                                                                      Disputed
 Myrtle Beach, SC, 29577-4297
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1198
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.80
                                                                                                                     $________________________________
 Bryan Soto-zubia                                                    Check all that apply.
 3557 Merry Ridge Road                                                Contingent
                                                                      Unliquidated
 Tobaccoville, NC, 27050                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1199
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bryan Thompson                                                      Check all that apply.
                                                                                                                      206.91
                                                                                                                     $________________________________
 121 E Victory , I-104                                                Contingent
                                                                      Unliquidated
 Meridian, ID, 83642                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1200
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      89.99
                                                                                                                     $________________________________
 Bryan Tillman                                                       Check all that apply.
 2406 Jessica Dr                                                      Contingent
                                                                      Unliquidated
 Conway, AR, 72034-2558                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1201
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bryan Vaughn                                                        Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 100 Harvard Lane                                                     Contingent
                                                                      Unliquidated
 Easley, SC, 29640                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1202
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Bryan Wright                                                         Contingent
 734 Rock Bridge Road                                                 Unliquidated
                                                                      Disputed
 Bethpage, TN, 37022
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1203
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.36
                                                                                                                     $________________________________
 Bryanna Falkofske                                                   Check all that apply.
 7325 26th Ave                                                        Contingent
                                                                      Unliquidated
 Kenosha , WI, 53143                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1204
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bryant Lampano                                                      Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 15024 16th ave w                                                     Contingent
                                                                      Unliquidated
 Lynnwood, WA, 98087                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1205
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.98
                                                                                                                     $________________________________
 Bryant OSheaf                                                       Check all that apply.
 310 Congling Circle                                                  Contingent
                                                                      Unliquidated
 Grovetown, GA, 30813                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1206
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bryant Williams                                                     Check all that apply.
                                                                                                                       21.39
                                                                                                                     $________________________________
 106 tryon ct                                                         Contingent
                                                                      Unliquidated
 Jacksonville, NC, 28546                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1207
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             182.74
                                                                                                                     $________________________________
 bryce braswell                                                       Contingent
 46 Wesley Avenue,                                                    Unliquidated
                                                                      Disputed
 Youngstown, OH, 44509
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1208
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.17
                                                                                                                     $________________________________
 Bryce Emmons                                                        Check all that apply.
 2125 Feather Bush Street                                             Contingent
                                                                      Unliquidated
 Henderson, NV, 89074                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1209
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bryce Fussell                                                       Check all that apply.
                                                                                                                      44.93
                                                                                                                     $________________________________
 5415 Kingsman Avenue                                                 Contingent
                                                                      Unliquidated
 North Port, FL, 34288                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1210
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.20
                                                                                                                     $________________________________
 Bryce Glasper                                                       Check all that apply.
 675 Lincoln Avenue, 15U                                              Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11208                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1211
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bryce Miyahara                                                      Check all that apply.
                                                                                                                       63.06
                                                                                                                     $________________________________
 2520 Lara Ln                                                         Contingent
                                                                      Unliquidated
 Oceano, CA, 93445                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1212
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.12
                                                                                                                     $________________________________
 Bryce Pflughaupt                                                     Contingent
 1605 Cougar Ct                                                       Unliquidated
                                                                      Disputed
 College Station, TX, 77840
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1213
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.24
                                                                                                                     $________________________________
 Bryce Roth                                                          Check all that apply.
 2701 N Career Ave., 347                                              Contingent
                                                                      Unliquidated
 Sioux Falls, SD, 57107                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1214
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Bryceton Bible                                                      Check all that apply.
                                                                                                                      28.39
                                                                                                                     $________________________________
 11700 Crystal Brook Lane                                             Contingent
                                                                      Unliquidated
 Knoxville, TN, 37934                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1215
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      228.89
                                                                                                                     $________________________________
 Brynnan Fox                                                         Check all that apply.
 701 Quail Ridge Road                                                 Contingent
                                                                      Unliquidated
 Newcastle, OK, 73065                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1216
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brynne O                                                            Check all that apply.
                                                                                                                       50.99
                                                                                                                     $________________________________
 815 1st ave #323                                                     Contingent
                                                                      Unliquidated
 Seattle, WA, 98104                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1217
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Bryonia Gutrick                                                      Contingent
 2416 Gerard Court                                                    Unliquidated
                                                                      Disputed
 Bryans Road, MD, 20616
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1218
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Buck Thananaken                                                     Check all that apply.
 460 Camino Del Remedio, Unit A                                       Contingent
                                                                      Unliquidated
 Santa Barbara, CA, 93110                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1219
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Buffy Reinmuth                                                      Check all that apply.
                                                                                                                      8.99
                                                                                                                     $________________________________
 24227 Raven St NW                                                    Contingent
                                                                      Unliquidated
 Saint Francis, MN, 55070                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1220
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.26
                                                                                                                     $________________________________
 Burton Lanam                                                        Check all that apply.
 8943 West Cloudwood Drive                                            Contingent
                                                                      Unliquidated
 Marana, AZ, 85653                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1221
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Buzzy Moore                                                         Check all that apply.
                                                                                                                       24.99
                                                                                                                     $________________________________
 3224 Vernon-Asbury Road, OH                                          Contingent
                                                                      Unliquidated
 South Vienna, OH, 45369                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1222
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Byron Kellogg                                                        Contingent
 11114 W Nebraska                                                     Unliquidated
                                                                      Disputed
 Youngtown, AZ, 85363
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1223
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       97.98
                                                                                                                     $________________________________
 Byron Lee                                                           Check all that apply.
 906 Prospect Place, 3B                                               Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11213                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1224
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Byron Reynolds                                                      Check all that apply.
                                                                                                                      87.19
                                                                                                                     $________________________________
 1036 Hampstead Lane                                                  Contingent
                                                                      Unliquidated
 Opelika, AL, 36801                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1225
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      149.26
                                                                                                                     $________________________________
 C. INNISS                                                           Check all that apply.
 136 Englewood Ave                                                    Contingent
                                                                      Unliquidated
 Teaneck, NJ, 07666-6032                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1226
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cadence Shupe                                                       Check all that apply.
                                                                                                                       8.47
                                                                                                                     $________________________________
 3206 Murray Road                                                     Contingent
                                                                      Unliquidated
 Finksburg, MD, 21048                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1227
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             53.49
                                                                                                                     $________________________________
 Cadence Zaremski                                                     Contingent
 7 Adsit Lane                                                         Unliquidated
                                                                      Disputed
 Clifton Park, NY, 12065
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1228
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 caedmon dorn                                                        Check all that apply.
 8200 Northwest 79th Terrace                                          Contingent
                                                                      Unliquidated
 Kansas City, MO, 64152                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1229
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Caesar Lopez                                                        Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 11972 South Allerton Circle                                          Contingent
                                                                      Unliquidated
 Parker, CO, 80138                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1230
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Caisha King                                                         Check all that apply.
 1450 E SHERWOOD DR                                                   Contingent
                                                                      Unliquidated
 GRAND JUNCTION, CO, 81501-7548                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1231
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Caitlin Barr                                                        Check all that apply.
                                                                                                                       27.02
                                                                                                                     $________________________________
 21 Ardmore Drive                                                     Contingent
                                                                      Unliquidated
 Wappingers Falls, NY, 12590                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1232
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.02
                                                                                                                     $________________________________
 Caitlin Barr                                                         Contingent
 21 Ardmore Drive                                                     Unliquidated
                                                                      Disputed
 Wappingers Falls, NY, 12590
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1233
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Caitlin Cook                                                        Check all that apply.
 5379 Balsam St. #208B                                                Contingent
                                                                      Unliquidated
 Arvada, CO, 80002                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1234
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Caitlin Joy                                                         Check all that apply.
                                                                                                                      231.07
                                                                                                                     $________________________________
 409 Stonehaven Commons Court                                         Contingent
                                                                      Unliquidated
 Louisville, KY, 40207                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1235
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.99
                                                                                                                     $________________________________
 Caitlin Rivest                                                      Check all that apply.
 23988 Tenbury Wells Place                                            Contingent
                                                                      Unliquidated
 Aldie, VA, 20105-2871                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1236
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Caitlyn Ramsey                                                      Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 345 Hall Road                                                        Contingent
                                                                      Unliquidated
 Crownsville, MD, 21032                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1237
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.42
                                                                                                                     $________________________________
 Caitlyn Robinson                                                     Contingent
 555 S CEDAR COVE RD                                                  Unliquidated
                                                                      Disputed
 Hartselle, AL, 35640-6902
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1238
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       211.97
                                                                                                                     $________________________________
 Caleb B                                                             Check all that apply.
 115 W Santa Gertrudis Trl                                            Contingent
                                                                      Unliquidated
 San Tan Valley, AZ, 85143-4997                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1239
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Caleb DeShazer                                                      Check all that apply.
                                                                                                                      31.53
                                                                                                                     $________________________________
 1119 Paint Brush Trail                                               Contingent
                                                                      Unliquidated
 Cedar Park, TX, 78613                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1240
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      116.59
                                                                                                                     $________________________________
 Caleb Hubbard                                                       Check all that apply.
 610 Oak St                                                           Contingent
                                                                      Unliquidated
 Inverness, FL, 34452                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1241
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Caleb Moring                                                        Check all that apply.
                                                                                                                       39.93
                                                                                                                     $________________________________
 1359 Empire Court                                                    Contingent
                                                                      Unliquidated
 Freeport, IL, 61032                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1242
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Callie Lanter                                                        Contingent
 2334 Gardenia Street                                                 Unliquidated
                                                                      Disputed
 Forest Grove, OR, 97116
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1243
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Callie Oliver                                                       Check all that apply.
 5317 Royal Lytham Rd                                                 Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76244                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1244
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Callie Rodriguez                                                    Check all that apply.
                                                                                                                      20.41
                                                                                                                     $________________________________
 4609 Hope Valley Road, C                                             Contingent
                                                                      Unliquidated
 Durham, NC, 27707                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1245
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      83.99
                                                                                                                     $________________________________
 Calvin Tran                                                         Check all that apply.
 909 West San Marino Avenue                                           Contingent
                                                                      Unliquidated
 Alhambra, CA, 91801                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1246
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Calvin Vu                                                           Check all that apply.
                                                                                                                       41.99
                                                                                                                     $________________________________
 12100 Metric Boulevard, APT 1928                                     Contingent
                                                                      Unliquidated
 Austin, TX, 78758                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1247
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             341.98
                                                                                                                     $________________________________
 Calvin Wong                                                          Contingent
 851 33rd Avenue                                                      Unliquidated
                                                                      Disputed
 San Francisco, CA, 94121
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1248
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.98
                                                                                                                     $________________________________
 Cameron Burleson                                                    Check all that apply.
 4744 Brown Road                                                      Contingent
                                                                      Unliquidated
 Vassar, MI, 48768                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1249
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cameron Casto                                                       Check all that apply.
                                                                                                                      36.96
                                                                                                                     $________________________________
 4726 West Main Street                                                Contingent
                                                                      Unliquidated
 Norman, OK, 73072                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1250
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      129.99
                                                                                                                     $________________________________
 Cameron Catapusan                                                   Check all that apply.
 12238 Oakview Way                                                    Contingent
                                                                      Unliquidated
 San Diego, CA, 92128                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1251
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cameron D. Brown                                                    Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 20178 Emerald Mountain Drive                                         Contingent
                                                                      Unliquidated
 Richmond, TX, 77407                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1252
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.31
                                                                                                                     $________________________________
 Cameron DeMoss                                                       Contingent
 5212 E Princess Anne RD                                              Unliquidated
                                                                      Disputed
 Norfolk, VA, 23502
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1253
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       230.93
                                                                                                                     $________________________________
 Cameron Drouilhet                                                   Check all that apply.
 1103 Lowerline St                                                    Contingent
                                                                      Unliquidated
 New Orleans, LA, 70118                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1254
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cameron Eckstrom                                                    Check all that apply.
                                                                                                                      60.12
                                                                                                                     $________________________________
 22448 Obrien Creek RD NE                                             Contingent
                                                                      Unliquidated
 Hines, MN, 56647                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1255
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.83
                                                                                                                     $________________________________
 Cameron Jagger                                                      Check all that apply.
 1150 S Clarizz Blvd                                                  Contingent
                                                                      Unliquidated
 Bloomington, IN, 47401                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1256
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cameron Ramon                                                       Check all that apply.
                                                                                                                       27.12
                                                                                                                     $________________________________
 20329 S 187th Pl                                                     Contingent
                                                                      Unliquidated
 Queen Creek, AZ, 85142                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1257
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.87
                                                                                                                     $________________________________
 Cameron Stopforth                                                    Contingent
 3330 Palos Verdes Dr East                                            Unliquidated
                                                                      Disputed
 Rancho Palos Verdes, CA, 90275
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1258
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.79
                                                                                                                     $________________________________
 Cameron Waitman                                                     Check all that apply.
 418 S 7th St                                                         Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19147                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1259
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cameron Watkins                                                     Check all that apply.
                                                                                                                      70.35
                                                                                                                     $________________________________
 5832 Shreveport Dr                                                   Contingent
                                                                      Unliquidated
 Austin, TX, 78727                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1260
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                     $________________________________
 Cameron Young                                                       Check all that apply.
 33228 N 55th street                                                  Contingent
                                                                      Unliquidated
 Cave Creek, AZ, 85331                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1261
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Camila Decima                                                       Check all that apply.
                                                                                                                       68.98
                                                                                                                     $________________________________
 37 argyle ave                                                        Contingent
                                                                      Unliquidated
 uniondale, NY, 11553                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1262
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.86
                                                                                                                     $________________________________
 Camille Pagador                                                      Contingent
 2461 Carriage Lamp Drive                                             Unliquidated
                                                                      Disputed
 Jacksonville, FL, 32246
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1263
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       134.98
                                                                                                                     $________________________________
 Camy Dang                                                           Check all that apply.
 6836 1/2 13th Street                                                 Contingent
                                                                      Unliquidated
 Berwyn, IL, 60402                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1264
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Canaan King                                                         Check all that apply.
                                                                                                                      59.25
                                                                                                                     $________________________________
 4724, Rolando blvd                                                   Contingent
                                                                      Unliquidated
 San Diego , CA, 92115                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1265
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65.26
                                                                                                                     $________________________________
 Candace Crisp                                                       Check all that apply.
 899 Rocky Creek Road                                                 Contingent
                                                                      Unliquidated
 Mansfield, GA, 30055                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1266
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 candace marzec                                                      Check all that apply.
                                                                                                                       30.73
                                                                                                                     $________________________________
 2960 ohio                                                            Contingent
                                                                      Unliquidated
 saginaw, MI, 48601                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1267
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             51.96
                                                                                                                     $________________________________
 CANDACE RISHAR                                                       Contingent
 7522 LAUREL SPRINGS DR                                               Unliquidated
                                                                      Disputed
 Winter Park, FL, 32792
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1268
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.98
                                                                                                                     $________________________________
 Candemir Kurubas                                                    Check all that apply.
 1520 N. Vista St, Apt. 101                                           Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90046                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1269
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Candice Gates                                                       Check all that apply.
                                                                                                                      16.04
                                                                                                                     $________________________________
 1001 NE 5th St                                                       Contingent
                                                                      Unliquidated
 Washington, IN, 47501                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1270
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 candice fierro                                                      Check all that apply.
 418 S. Oakcreek Dr.                                                  Contingent
                                                                      Unliquidated
 pueblo west, CO, 81007                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1271
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Candice Sargent                                                     Check all that apply.
                                                                                                                       23.90
                                                                                                                     $________________________________
 15807 SE 296th St                                                    Contingent
                                                                      Unliquidated
 Kent, WA, 98042                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1272
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             102.97
                                                                                                                     $________________________________
 Candy Acosta                                                         Contingent
 3024 W MARYLAND AVE                                                  Unliquidated
                                                                      Disputed
 PHOENIX, AZ, 85017
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1273
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10,880.64
                                                                                                                     $________________________________
 Capital One                                                         Check all that apply.
 PO Box 4069                                                          Contingent
                                                                      Unliquidated
 Carol Stream, IL, 60197-4069                                         Disputed
                                                                     Basis for the claim: Credit Card Debt



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1274
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cara Kovalovich                                                     Check all that apply.
                                                                                                                      84.79
                                                                                                                     $________________________________
 33 Norman Street                                                     Contingent
                                                                      Unliquidated
 Aston, PA, 19014                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1275
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.05
                                                                                                                     $________________________________
 Carisa Phillips                                                     Check all that apply.
 1360 Osterville Rd                                                   Contingent
                                                                      Unliquidated
 West Barnstable, MA, 2668                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1276
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carissa Foy                                                         Check all that apply.
                                                                                                                       45.98
                                                                                                                     $________________________________
 5034 Copper Bar Road                                                 Contingent
                                                                      Unliquidated
 Las Cruces, NM, 88011                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1277
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.15
                                                                                                                     $________________________________
 Carissa Gorman                                                       Contingent
 22 Lawnton Rd                                                        Unliquidated
                                                                      Disputed
 Norristown, PA, 19401
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1278
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Carl Pilgrim                                                        Check all that apply.
 57 Summit St.                                                        Contingent
                                                                      Unliquidated
 Malden, MA, 2148                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1279
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carl Anderson                                                       Check all that apply.
                                                                                                                      12.63
                                                                                                                     $________________________________
 11686 Stonewall Jackson Rd                                           Contingent
                                                                      Unliquidated
 Woodford, VA, 22580                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1280
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.48
                                                                                                                     $________________________________
 carl gonce                                                          Check all that apply.
 108 Club Rd.                                                         Contingent
                                                                      Unliquidated
 Pasadena, MD, 21122                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1281
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carl Greenblatt                                                     Check all that apply.
                                                                                                                       251.96
                                                                                                                     $________________________________
 2728 Kennington Dr                                                   Contingent
                                                                      Unliquidated
 Glendale, CA, 91206                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1282
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             8.99
                                                                                                                     $________________________________
 Carl Hartstein                                                       Contingent
 58335 County Road 105                                                Unliquidated
                                                                      Disputed
 Elkhart, IN, 46517
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1283
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       33.47
                                                                                                                     $________________________________
 Carl Jones                                                          Check all that apply.
 5326 West Berks Street                                               Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19131                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1284
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carl Vensel                                                         Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 2504 N. Upriver Ct.                                                  Contingent
                                                                      Unliquidated
 Spokane , WA, 99217                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1285
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      53.30
                                                                                                                     $________________________________
 Carl Victor Salazar                                                 Check all that apply.
 46 Magnolia Street                                                   Contingent
                                                                      Unliquidated
 Bergenfield, NJ, 7621                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1286
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carla Cain                                                          Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 8753 S. Paxton Ave.                                                  Contingent
                                                                      Unliquidated
 Chicago, IL, 60617                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1287
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Carla Donaldson                                                      Contingent
 459 Bellingham Drive                                                 Unliquidated
                                                                      Disputed
 Beech Island, SC, 29842
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1288
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Carla Gonzalez                                                      Check all that apply.
 7000 Lexington ct                                                    Contingent
                                                                      Unliquidated
 Forest Hill, TX, 76140                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1289
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carla Morales                                                       Check all that apply.
                                                                                                                      65.99
                                                                                                                     $________________________________
 HC 1 Box 9087                                                        Contingent
                                                                      Unliquidated
 Bajadero, PR, 616                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1290
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.98
                                                                                                                     $________________________________
 Carla Sanchez                                                       Check all that apply.
 108 East Peach Avenue                                                Contingent
                                                                      Unliquidated
 Comanche, TX, 76442                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1291
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carlea Gorczynski                                                   Check all that apply.
                                                                                                                       65.59
                                                                                                                     $________________________________
 704 S Muskogee Ave                                                   Contingent
                                                                      Unliquidated
 Claremore, OK, 74017                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1292
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             16.06
                                                                                                                      $________________________________
 Carlene Garrick                                                       Contingent
 3302 Aldrich Avenue                                                   Unliquidated
                                                                       Disputed
 Anoka, MN, 55303
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  1293
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        38.49
                                                                                                                      $________________________________
 Carlito Tamisin                                                      Check all that apply.
 2535 Sheila St                                                        Contingent
                                                                       Unliquidated
 Franklin Park, IL, 60131                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  1294
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Carlo Abasta                                                         Check all that apply.
                                                                                                                       3,060.85
                                                                                                                      $________________________________
 8930 Boulder Bay Circle                                               Contingent
                                                                       Unliquidated
 ANCHORAGE, AK, 99507                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  1295
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       79.98
                                                                                                                      $________________________________
 Carlo Labastida                                                      Check all that apply.
 2640 Muirfield Circle                                                 Contingent
                                                                       Unliquidated
 San Bruno, CA, 94066                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  1296
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Carlos Magana                                                        Check all that apply.
                                                                                                                        42.99
                                                                                                                      $________________________________
 2449 North Oak Park Avenue                                            Contingent
                                                                       Unliquidated
 Chicago, IL, 60707                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1297
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             63.56
                                                                                                                        $________________________________
 carlos aleman h                                                         Contingent
 3091 Camino Aleta                                                       Unliquidated
                                                                         Disputed
 San Diego, CA, 92154
                                                                        Basis for the claim: Customers with Outstanding Deposits



                                                                        Is the claim subject to offset?
         Date or dates debt was incurred         ___________________
                                                                        
                                                                        ✔
                                                                          No
                                                                         Yes
         Last 4 digits of account number         ___________________
  1298
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                          11.90
                                                                                                                        $________________________________
 carlos cabrera                                                         Check all that apply.
 18226 cardinal valley, 18226 cardinal valley                            Contingent
                                                                         Unliquidated
 Mission, TX, 78574                                                      Disputed
                                                                        Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred         ___________________    Is the claim subject to offset?
         Last 4 digits of account number         ___________________
                                                                        
                                                                        ✔
                                                                          No
                                                                         Yes
  1299
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 Carlos Cestero                                                         Check all that apply.
                                                                                                                         25.97
                                                                                                                        $________________________________
 1831 Ryon Falls Dr                                                      Contingent
                                                                         Unliquidated
 Richmond, TX, 77469                                                     Disputed
                                                                        Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred         ___________________    Is the claim subject to offset?
         Last 4 digits of account number         __________________     
                                                                        ✔
                                                                          No
                                                                         Yes
  1300
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         124.39
                                                                                                                        $________________________________
 Carlos Cisneros                                                        Check all that apply.
 10635 SE 244TH ST                                                       Contingent
                                                                         Unliquidated
 KENT, WA, 98030                                                         Disputed
                                                                        Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                          No
         Last 4 digits of account number         ___________________     Yes
  1301
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 Carlos CO10X240026N                                                    Check all that apply.
                                                                                                                          37.44
                                                                                                                        $________________________________
 7801 Northwest 37th Street                                              Contingent
                                                                         Unliquidated
 Doral, FL, 33195-6503                                                   Disputed
                                                                        Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                          No
         Last 4 digits of account number         ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1302
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.58
                                                                                                                     $________________________________
 carlos fajardo                                                       Contingent
 6 North St                                                           Unliquidated
                                                                      Disputed
 Huntington Station, NY, 11746-1370
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1303
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       179.99
                                                                                                                     $________________________________
 Carlos Felix                                                        Check all that apply.
 145 BUSSEY ST                                                        Contingent
                                                                      Unliquidated
 Dedham, MA, 2026                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1304
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carlos Ferrer                                                       Check all that apply.
                                                                                                                      8.99
                                                                                                                     $________________________________
 4371 NE 13 Avenue                                                    Contingent
                                                                      Unliquidated
 Oakland Park, FL, 33334                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1305
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.61
                                                                                                                     $________________________________
 carlos leon                                                         Check all that apply.
 3090 Rodrick Cir.                                                    Contingent
                                                                      Unliquidated
 Orlando, FL, 32824                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1306
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 carlos Lopez                                                        Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 PO Box 1006 Grants NM 87020                                          Contingent
                                                                      Unliquidated
 Grants, NM, 87020                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1307
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             62.98
                                                                                                                      $________________________________
 Carlos Martinez                                                       Contingent
 159 Sunrise Pkwy                                                      Unliquidated
                                                                       Disputed
 Mountainside, NJ, 7092
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  1308
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        107.94
                                                                                                                      $________________________________
 Carlos Martinez                                                      Check all that apply.
 4126 Pinell St                                                        Contingent
                                                                       Unliquidated
 Sacramento, CA, 95838                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  1309
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Carlos Moscoso                                                       Check all that apply.
                                                                                                                       63.96
                                                                                                                      $________________________________
 83 PLAUDERVILLE AVE FL 2                                              Contingent
                                                                       Unliquidated
 GARFIELD, NJ, 7026                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  1310
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       29.56
                                                                                                                      $________________________________
 Carlos Ordonez                                                       Check all that apply.
 1209 Gabriel Garcia Marquez Street, Apt. B                            Contingent
                                                                       Unliquidated
 Los Angeles, CA, 90033                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  1311
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Carlos Ortiz                                                         Check all that apply.
                                                                                                                        531.89
                                                                                                                      $________________________________
 28451 Saddlecrest st                                                  Contingent
                                                                       Unliquidated
 Menifee, CA, 92585                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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  1312
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             62.99
                                                                                                                     $________________________________
 Carlos Ramirez                                                       Contingent
 1114 18th St                                                         Unliquidated
                                                                      Disputed
 Moline, IL, 61265
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1313
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 carlos romero                                                       Check all that apply.
 4215 Van Horne Ave                                                   Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90032-1133                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1314
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carlos Savarin                                                      Check all that apply.
                                                                                                                      69.99
                                                                                                                     $________________________________
 2825 Claflin Avenue, 4J                                              Contingent
                                                                      Unliquidated
 The Bronx, NY, 10468                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1315
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      71.16
                                                                                                                     $________________________________
 Carlos Solis                                                        Check all that apply.
 3033 Valley Boulevard spc 142                                        Contingent
                                                                      Unliquidated
 West Covina, CA, 91792                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1316
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carlos Tamayo                                                       Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 341 Saint Paul Street, Apt. 6                                        Contingent
                                                                      Unliquidated
 Brookline, MA, 2446                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1317
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             145.78
                                                                                                                     $________________________________
 Carlos Tavares                                                       Contingent
 500 South Lester Rd                                                  Unliquidated
                                                                      Disputed
 Outlook, WA, 98938
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1318
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.80
                                                                                                                     $________________________________
 Carlos Valdez                                                       Check all that apply.
 18150 West Caribbean Lane                                            Contingent
                                                                      Unliquidated
 Surprise, AZ, 85388                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1319
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 carlos Velasquez Gomez                                              Check all that apply.
                                                                                                                      59.11
                                                                                                                     $________________________________
 6254 Rosewood St                                                     Contingent
                                                                      Unliquidated
 Mission, KS, 66205                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1320
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.99
                                                                                                                     $________________________________
 Carlos Villegas                                                     Check all that apply.
 1516 East Swift Avenue, 109                                          Contingent
                                                                      Unliquidated
 Fresno, CA, 93704                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1321
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carlos Viteri                                                       Check all that apply.
                                                                                                                       28.45
                                                                                                                     $________________________________
 2978 Ripple Pl., #201                                                Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90039                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1322
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             71.65
                                                                                                                     $________________________________
 Carlos Zarate                                                        Contingent
 9306 Latrobe                                                         Unliquidated
                                                                      Disputed
 Skokie, IL, 60077
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1323
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Carlton Kifer                                                       Check all that apply.
 9852 Parkmere Dr                                                     Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76108                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1324
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carly Glanton                                                       Check all that apply.
                                                                                                                      44.93
                                                                                                                     $________________________________
 3243 ward street                                                     Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15213                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1325
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.79
                                                                                                                     $________________________________
 Carly Shields                                                       Check all that apply.
 62 Stuyvesant Rd.                                                    Contingent
                                                                      Unliquidated
 Pittsford, NY, 14534                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1326
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carly Siddoway                                                      Check all that apply.
                                                                                                                       28.95
                                                                                                                     $________________________________
 412 N 3425 W                                                         Contingent
                                                                      Unliquidated
 Layton, UT, 84041                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1327
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             239.98
                                                                                                                     $________________________________
 Carlyn Cumberland                                                    Contingent
 4137 Wisconsin 173                                                   Unliquidated
                                                                      Disputed
 Nekoosa, WI, 54457
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1328
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.33
                                                                                                                     $________________________________
 Carmen Correa                                                       Check all that apply.
 12049 Redstone Street                                                Contingent
                                                                      Unliquidated
 El Monte, CA, 91732                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1329
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carmen Gaeta                                                        Check all that apply.
                                                                                                                      37.18
                                                                                                                     $________________________________
 5 Winchester Drive                                                   Contingent
                                                                      Unliquidated
 Lynnfield, MA, 1940                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1330
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.56
                                                                                                                     $________________________________
 Carmine Capone                                                      Check all that apply.
 14 Clairview Road                                                    Contingent
                                                                      Unliquidated
 DENVILLE, NJ, 7834                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1331
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carmine Marino                                                      Check all that apply.
                                                                                                                       17.99
                                                                                                                     $________________________________
 2475 Southern Blvd, Apt 23C                                          Contingent
                                                                      Unliquidated
 Bronx, NY, 10458                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1332
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.44
                                                                                                                     $________________________________
 Carol Flannigan                                                      Contingent
 2031 19th Ave W                                                      Unliquidated
                                                                      Disputed
 Bradenton, FL, 34205
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1333
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.04
                                                                                                                     $________________________________
 Carol Jeffery                                                       Check all that apply.
 200 Parc Oaks Dr                                                     Contingent
                                                                      Unliquidated
 Aledo, TX, 76008                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1334
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carol Merwede                                                       Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 19525 15th Avenue Northeast                                          Contingent
                                                                      Unliquidated
 Arlington, WA, 98223                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1335
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Carol Montoya                                                       Check all that apply.
 12008 Pueblo Laguna Drive                                            Contingent
                                                                      Unliquidated
 El Paso, TX, 79936                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1336
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carole Garcia                                                       Check all that apply.
                                                                                                                       168.99
                                                                                                                     $________________________________
 1526 East Fallbrook Avenue                                           Contingent
                                                                      Unliquidated
 Fresno, CA, 93720                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1337
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             77.98
                                                                                                                     $________________________________
 Carolina Aponte                                                      Contingent
 12527, Enchanted Forest Drive                                        Unliquidated
                                                                      Disputed
 Austin, TX, 78727
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1338
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       276.94
                                                                                                                     $________________________________
 Carolina Flores                                                     Check all that apply.
 3217 W 139th St                                                      Contingent
                                                                      Unliquidated
 Hawthorne, CA, 90250                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1339
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carolina Galicia                                                    Check all that apply.
                                                                                                                      13.13
                                                                                                                     $________________________________
 11940 Gager Street                                                   Contingent
                                                                      Unliquidated
 Sylmar, CA, 91342                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1340
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.99
                                                                                                                     $________________________________
 Carolina Mendez                                                     Check all that apply.
 11117 Addie Road                                                     Contingent
                                                                      Unliquidated
 Balch Springs, TX, 75180                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1341
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Caroline Chandler                                                   Check all that apply.
                                                                                                                       295.91
                                                                                                                     $________________________________
 207 Johnson RD                                                       Contingent
                                                                      Unliquidated
 Greer, SC, 29651                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1342
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.15
                                                                                                                     $________________________________
 Caroline Godbout                                                     Contingent
 734 Higganum Rd                                                      Unliquidated
                                                                      Disputed
 Durham , CT, 6422
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1343
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Caroline Hanna                                                      Check all that apply.
 629 Collins Street                                                   Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15206                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1344
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carolyn Wyller                                                      Check all that apply.
                                                                                                                      97.98
                                                                                                                     $________________________________
 306 Garden St.                                                       Contingent
                                                                      Unliquidated
 North Judson, IN, 46366                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1345
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      66.33
                                                                                                                     $________________________________
 carolyn gasz                                                        Check all that apply.
 501 Mount Vernon Road                                                Contingent
                                                                      Unliquidated
 Buffalo, NY, 14226                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1346
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carrie Duerfeldt                                                    Check all that apply.
                                                                                                                       38.99
                                                                                                                     $________________________________
 820 Maple Court , PO Box 439                                         Contingent
                                                                      Unliquidated
 Sweetser, IN, 46987                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1347
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.13
                                                                                                                     $________________________________
 Carrie Adams                                                         Contingent
 3632 North Old Trail                                                 Unliquidated
                                                                      Disputed
 Shamokin Dam, PA, 17876
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1348
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       18.99
                                                                                                                     $________________________________
 Carrie Little                                                       Check all that apply.
 315 Mullet Drive                                                     Contingent
                                                                      Unliquidated
 Ivor, VA, 23866                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1349
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carrie Sauter                                                       Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 4040 W. 82nd Place                                                   Contingent
                                                                      Unliquidated
 Chicago, IL, 60652                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1350
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.75
                                                                                                                     $________________________________
 Carrieann Quaranta                                                  Check all that apply.
 3546 Main Street                                                     Contingent
                                                                      Unliquidated
 Bridgeport, CT, 6606                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1351
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carter Frick                                                        Check all that apply.
                                                                                                                       277.21
                                                                                                                     $________________________________
 129 Avenue Of Two Rivers                                             Contingent
                                                                      Unliquidated
 Rumson, NJ, 7760                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1352
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.66
                                                                                                                     $________________________________
 Carter Nottingham                                                    Contingent
 20806 W Prospector Way                                               Unliquidated
                                                                      Disputed
 Buckeye, AZ, 85396
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1353
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.99
                                                                                                                     $________________________________
 caryle wamsley                                                      Check all that apply.
 2600 Harden Blvd Lot 55                                              Contingent
                                                                      Unliquidated
 Lakeland, FL, 33803-5924                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1354
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Casandra Kutara                                                     Check all that apply.
                                                                                                                      183.88
                                                                                                                     $________________________________
 1662 Haku St                                                         Contingent
                                                                      Unliquidated
 Honolulu, HI, 96819                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1355
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                     $________________________________
 Casandra Newsome                                                    Check all that apply.
 965 COLUMBUS AVE, APT 7B                                             Contingent
                                                                      Unliquidated
 NEW YORK, NY, 10025                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1356
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Casey Braden                                                        Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 824 Chennault Ln                                                     Contingent
                                                                      Unliquidated
 Whiteman Air Force Base, MO, 65305-1150                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1357
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Casey de la Rocha                                                    Contingent
 319 Cheerful Ct                                                      Unliquidated
                                                                      Disputed
 Simi Valley, CA, 93065
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1358
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.92
                                                                                                                     $________________________________
 Casey Hart                                                          Check all that apply.
 1411 East 21st Street                                                Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55404                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1359
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Casey Hudson                                                        Check all that apply.
                                                                                                                      60.48
                                                                                                                     $________________________________
 89706 U.S. 59                                                        Contingent
                                                                      Unliquidated
 Stilwell, OK, 74960                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1360
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.03
                                                                                                                     $________________________________
 Casey Johnson                                                       Check all that apply.
 16450 Tribune Street                                                 Contingent
                                                                      Unliquidated
 Los Angeles, CA, 91344                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1361
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 casey pennant                                                       Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 8127 149th Place Northeast, A001                                     Contingent
                                                                      Unliquidated
 Redmond, WA, 98052                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1362
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.87
                                                                                                                     $________________________________
 Casey Thomas                                                         Contingent
 1263 TELFAIR COUNTY LINE RD                                          Unliquidated
                                                                      Disputed
 RHINE, GA, 31077
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1363
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       48.14
                                                                                                                     $________________________________
 Casey Warren                                                        Check all that apply.
 3917 Castleberry Bridge Road                                         Contingent
                                                                      Unliquidated
 Dawsonville, GA, 30534                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1364
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Casper Magnolia                                                     Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 816 Greenwood Dr                                                     Contingent
                                                                      Unliquidated
 Hendersonville , NC, 28791                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1365
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Caspian Berry                                                       Check all that apply.
 12435 West Via Camille                                               Contingent
                                                                      Unliquidated
 El Mirage, AZ, 85335                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1366
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cassandra Carrillo                                                  Check all that apply.
                                                                                                                       34.99
                                                                                                                     $________________________________
 3520 Lowell Ave                                                      Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90032-2415                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1367
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             61.99
                                                                                                                     $________________________________
 Cassandra Dahl                                                       Contingent
 19261 S Ridge Rd                                                     Unliquidated
                                                                      Disputed
 Oregon City, OR, 97045
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1368
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.74
                                                                                                                     $________________________________
 Cassandra Dorsey                                                    Check all that apply.
 224 Magazine St                                                      Contingent
                                                                      Unliquidated
 Carnegie, PA, 15106                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1369
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cassandra Ingram                                                    Check all that apply.
                                                                                                                      8.47
                                                                                                                     $________________________________
 8578 W Wiley Rd                                                      Contingent
                                                                      Unliquidated
 Weidman, MI, 48893                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1370
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      139.66
                                                                                                                     $________________________________
 Cassandra Mayer                                                     Check all that apply.
 682 Price Drive                                                      Contingent
                                                                      Unliquidated
 Morgan Hill, CA, 95037                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1371
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cassandra McEllen                                                   Check all that apply.
                                                                                                                       13.13
                                                                                                                     $________________________________
 8011 W. 119th St                                                     Contingent
                                                                      Unliquidated
 Palos Park, IL, 60464                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1372
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.80
                                                                                                                     $________________________________
 Cassandra Medeiros                                                   Contingent
 132 Fowler Road                                                      Unliquidated
                                                                      Disputed
 Northbridge, MA, 1534
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1373
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.99
                                                                                                                     $________________________________
 Cassi W                                                             Check all that apply.
 1941 Cumberland Ave                                                  Contingent
                                                                      Unliquidated
 Arkdale, WI, 54613                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1374
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 cassidy manigo                                                      Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 911 Northeast 174th Avenue                                           Contingent
                                                                      Unliquidated
 Portland, OR, 97230                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1375
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                     $________________________________
 Cassidy Sulaiman                                                    Check all that apply.
 1629 Commonwealth Avenue, Apartment 3                                Contingent
                                                                      Unliquidated
 Boston, MA, 2135                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1376
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cassidy Wheeler                                                     Check all that apply.
                                                                                                                       55.98
                                                                                                                     $________________________________
 8554 South 83rd Avenue                                               Contingent
                                                                      Unliquidated
 Hickory Hills, IL, 60457                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1377
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             47.62
                                                                                                                     $________________________________
 Cassie Cunningham                                                    Contingent
 203 Plum Cir                                                         Unliquidated
                                                                      Disputed
 Lake Jackson, TX, 77566
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1378
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       139.98
                                                                                                                     $________________________________
 Cassie DeBoard                                                      Check all that apply.
 464 West 27th Street, 3R                                             Contingent
                                                                      Unliquidated
 Chicago, IL, 60616                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1379
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cassie Madewell                                                     Check all that apply.
                                                                                                                      32.46
                                                                                                                     $________________________________
 911 Leola Lane                                                       Contingent
                                                                      Unliquidated
 Allen, TX, 75013                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1380
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      156.21
                                                                                                                     $________________________________
 Cassie Payne                                                        Check all that apply.
 111 Greentree Dr                                                     Contingent
                                                                      Unliquidated
 Newnan, GA, 30265-2066                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1381
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cassie Venable                                                      Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 18146 Oxnard Street, Unit 50                                         Contingent
                                                                      Unliquidated
 Tarzana, CA, 91356                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1382
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.83
                                                                                                                     $________________________________
 Cath O?ÄôBrien                                                       Contingent
 389 Wood-Ridge Avenue                                                Unliquidated
                                                                      Disputed
 Wood-Ridge, NJ, 7075
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1383
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       89.97
                                                                                                                     $________________________________
 Catherine Bui                                                       Check all that apply.
 1901 Crossing Pl, Apt. 1104                                          Contingent
                                                                      Unliquidated
 AUSTIN, TX, 78741                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1384
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Catherine Forrester                                                 Check all that apply.
                                                                                                                      145.97
                                                                                                                     $________________________________
 331 Sunset Ave                                                       Contingent
                                                                      Unliquidated
 Pocono Manor, PA, 18349                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1385
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.71
                                                                                                                     $________________________________
 Catherine Olaez                                                     Check all that apply.
 11919 Parklawn Drive, Apt 301                                        Contingent
                                                                      Unliquidated
 Rockville, MD, 20852                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1386
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Catherine Regan                                                     Check all that apply.
                                                                                                                       103.42
                                                                                                                     $________________________________
 7008 Colonial Rd                                                     Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11209                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1387
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             82.99
                                                                                                                     $________________________________
 Catherine Sun                                                        Contingent
 10975 Ayres Ave.                                                     Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90064
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1388
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.94
                                                                                                                     $________________________________
 Cathy Cunningham                                                    Check all that apply.
 2225 Western Ave                                                     Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76107                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1389
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cathy Longhurst                                                     Check all that apply.
                                                                                                                      60.41
                                                                                                                     $________________________________
 325 Rose Hill Road                                                   Contingent
                                                                      Unliquidated
 Mount Vernon, KY, 40456                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1390
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      20.98
                                                                                                                     $________________________________
 Cathy Nolan                                                         Check all that apply.
 404 Lakewood Avenue                                                  Contingent
                                                                      Unliquidated
 Tampa, FL, 33613                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1391
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cathy Shenefield                                                    Check all that apply.
                                                                                                                       6.99
                                                                                                                     $________________________________
 3911 Grand Bend Dr                                                   Contingent
                                                                      Unliquidated
 Groveport, OH, 43125-9538                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1392
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Catrina Adams                                                        Contingent
 2114 South Airport Road                                              Unliquidated
                                                                      Disputed
 Peoria, IL, 61607
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1393
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       70.10
                                                                                                                     $________________________________
 Catrina Elizardo                                                    Check all that apply.
 489 Center Street, Apt #3                                            Contingent
                                                                      Unliquidated
 Fall River, MA, 2724                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1394
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CCS                                                                 Check all that apply.
                                                                                                                      59.85
                                                                                                                     $________________________________
 PO Box 55126                                                         Contingent
                                                                      Unliquidated
 Boston, MA, 02205-5126                                               Disputed
                                                                     Basis for the claim: Credit Card Debt



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1395
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.99
                                                                                                                     $________________________________
 CCS830627 Oscar Belmonte                                            Check all that apply.
 2250 NW 114th Ave, Unit 1C                                           Contingent
                                                                      Unliquidated
 Miami, FL, 33192-4177                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1396
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cecelia Mataalii                                                    Check all that apply.
                                                                                                                       26.43
                                                                                                                     $________________________________
 25022 Woodward Avenue                                                Contingent
                                                                      Unliquidated
 Lomita, CA, 90717                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1397
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             43.99
                                                                                                                     $________________________________
 Cecil Yawn                                                           Contingent
 1727 West Street                                                     Unliquidated
                                                                      Disputed
 Montgomery, AL, 36106
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1398
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.18
                                                                                                                     $________________________________
 Cecilia Chan                                                        Check all that apply.
 6 Coppel Dr                                                          Contingent
                                                                      Unliquidated
 Tenafly, NJ, 7670                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1399
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cecilia De La Garza                                                 Check all that apply.
                                                                                                                      28.13
                                                                                                                     $________________________________
 2445 Monarch Dr. #1604                                               Contingent
                                                                      Unliquidated
 Laredo, TX, 78045                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1400
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Cecilia Pellitteri                                                  Check all that apply.
 10671 Oregon Trail                                                   Contingent
                                                                      Unliquidated
 Huntley, IL, 60142                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1401
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cecilia Rodriguez                                                   Check all that apply.
                                                                                                                       19.51
                                                                                                                     $________________________________
 999 W EL MONTE WAY, APT 213                                          Contingent
                                                                      Unliquidated
 Dinuba, CA, 93618-3466                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1402
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.49
                                                                                                                     $________________________________
 Cecilie Darling                                                      Contingent
 3782 Whisper Creek Dr                                                Unliquidated
                                                                      Disputed
 Dayton, OH, 45414
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1403
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       139.98
                                                                                                                     $________________________________
 Cedric Clark                                                        Check all that apply.
 917 Whitney ave                                                      Contingent
                                                                      Unliquidated
 Suisun City, CA, 94585                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1404
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cehidi Dorantes                                                     Check all that apply.
                                                                                                                      65.51
                                                                                                                     $________________________________
 2310 South Glenarbor Street                                          Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92704                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1405
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      137.98
                                                                                                                     $________________________________
 Celena Caracciolo                                                   Check all that apply.
 167 Old Farm Rd                                                      Contingent
                                                                      Unliquidated
 lexington, VA, 24450                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1406
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Celena Moore                                                        Check all that apply.
                                                                                                                       12.92
                                                                                                                     $________________________________
 35742 Rhone Lane                                                     Contingent
                                                                      Unliquidated
 Winchester, CA, 92596                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1407
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.01
                                                                                                                     $________________________________
 Celestine Lang                                                       Contingent
 102 Daugherty Avenue                                                 Unliquidated
                                                                      Disputed
 McIntosh, AL, 36553
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1408
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.94
                                                                                                                     $________________________________
 Celina Montiel                                                      Check all that apply.
 201 West Mile 10 North                                               Contingent
                                                                      Unliquidated
 Weslaco, TX, 78596                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1409
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Celina Nava Camacho                                                 Check all that apply.
                                                                                                                      35.98
                                                                                                                     $________________________________
 437 West Valencia Drive, Apt A                                       Contingent
                                                                      Unliquidated
 Fullerton, CA, 92832                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1410
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      99.98
                                                                                                                     $________________________________
 Celisete Romero                                                     Check all that apply.
 13939 Oolite Run                                                     Contingent
                                                                      Unliquidated
 san antonio, TX, 78253                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1411
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cesar Aguirre                                                       Check all that apply.
                                                                                                                       29.25
                                                                                                                     $________________________________
 143 Bayside Terrace                                                  Contingent
                                                                      Unliquidated
 Vallejo, CA, 94591                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1412
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.07
                                                                                                                     $________________________________
 Cesar Barrios                                                        Contingent
 1004 West Granada Court, E                                           Unliquidated
                                                                      Disputed
 Ontario, CA, 91762
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1413
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.65
                                                                                                                     $________________________________
 Cesar Gonzalez                                                      Check all that apply.
 1333 East Adams Boulevard, Apt. B                                    Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90011                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1414
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cesar Ramirez                                                       Check all that apply.
                                                                                                                      22.98
                                                                                                                     $________________________________
 40440 Sharose Drive                                                  Contingent
                                                                      Unliquidated
 Hemet, CA, 92544                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1415
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.41
                                                                                                                     $________________________________
 Cesar Rendon                                                        Check all that apply.
 1259 W 112TH ST                                                      Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90044                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1416
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cesar Rodriguez                                                     Check all that apply.
                                                                                                                       27.68
                                                                                                                     $________________________________
 1411 Cuyler Avenue                                                   Contingent
                                                                      Unliquidated
 Berwyn, IL, 60402                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1417
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 Cesar Romero                                                         Contingent
 7317 S San Pedro St                                                  Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90003
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1418
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.80
                                                                                                                     $________________________________
 Cha Len Vang                                                        Check all that apply.
 5700 Wardell Way                                                     Contingent
                                                                      Unliquidated
 Sacramento, CA, 95823                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1419
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chad Schroeder                                                      Check all that apply.
                                                                                                                      64.19
                                                                                                                     $________________________________
 544 Arbor Drive                                                      Contingent
                                                                      Unliquidated
 Round Lake Park, IL, 60073                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1420
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Chad A Reisman                                                      Check all that apply.
 436 Cambridge Drive                                                  Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45241                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1421
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chad Cannon                                                         Check all that apply.
                                                                                                                       13.16
                                                                                                                     $________________________________
 5115 Ander Dr                                                        Contingent
                                                                      Unliquidated
 Brentwood, TN, 37027                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1422
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.99
                                                                                                                     $________________________________
 Chad Cannon                                                          Contingent
 5115 Ander Dr                                                        Unliquidated
                                                                      Disputed
 Brentwood, TN, 37027-8870
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1423
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       57.98
                                                                                                                     $________________________________
 chad cowell                                                         Check all that apply.
 34000 North 27th DR., 3104                                           Contingent
                                                                      Unliquidated
 phoenix, AZ, 85085                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1424
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chad Davis                                                          Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 160 Rolling Hills 3rd St                                             Contingent
                                                                      Unliquidated
 Mcminnville, TN, 37110                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1425
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.00
                                                                                                                     $________________________________
 Chad Elliott                                                        Check all that apply.
 1940 South Lynnwood Drive                                            Contingent
                                                                      Unliquidated
 Decatur, IL, 62521                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1426
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CHAD KORBEL                                                         Check all that apply.
                                                                                                                       53.85
                                                                                                                     $________________________________
 16280 SUMMIT WAY                                                     Contingent
                                                                      Unliquidated
 DELHI, CA, 95315-9234                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1427
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.88
                                                                                                                     $________________________________
 Chad Krieger                                                         Contingent
 1930 Avenida Comunidad                                               Unliquidated
                                                                      Disputed
 Rio Rancho, NM, 87124
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1428
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       68.89
                                                                                                                     $________________________________
 Chad Miller                                                         Check all that apply.
 p.o. box 115                                                         Contingent
                                                                      Unliquidated
 Middleport, PA, 17953                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1429
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 chains Ellis                                                        Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 708 2nd Ave                                                          Contingent
                                                                      Unliquidated
 Sterling, IL, 61081                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1430
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.21
                                                                                                                     $________________________________
 Chance Justice                                                      Check all that apply.
 806 Conway Dr                                                        Contingent
                                                                      Unliquidated
 San Marcos, TX, 78666                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1431
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chance Williams                                                     Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 64911 Mcdermott Rd                                                   Contingent
                                                                      Unliquidated
 Deer Island, OR, 97054                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1432
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.99
                                                                                                                     $________________________________
 Chandler Carlile                                                     Contingent
 3630 Edinburgh Drive                                                 Unliquidated
                                                                      Disputed
 Las Vegas, NV, 89103
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1433
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.97
                                                                                                                     $________________________________
 Chandler Howrey                                                     Check all that apply.
 5733 Fairford Lane                                                   Contingent
                                                                      Unliquidated
 Virginia Beach, VA, 23464                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1434
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chandler Smith                                                      Check all that apply.
                                                                                                                      59.55
                                                                                                                     $________________________________
 2318 South Country Club Drive, Apt 2074                              Contingent
                                                                      Unliquidated
 Mesa, AZ, 85210                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1435
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      77.99
                                                                                                                     $________________________________
 Chandra Andrade                                                     Check all that apply.
 123 Mill Pond Cove                                                   Contingent
                                                                      Unliquidated
 Crestview, FL, 32539                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1436
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chantelle McGee                                                     Check all that apply.
                                                                                                                       28.24
                                                                                                                     $________________________________
 725 Aztec Drive, Unit C                                              Contingent
                                                                      Unliquidated
 Fort Collins, CO, 80521                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1437
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.32
                                                                                                                     $________________________________
 Chantice Barr                                                        Contingent
 33 leverich st                                                       Unliquidated
                                                                      Disputed
 hempstead, NY, 11550
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1438
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       171.98
                                                                                                                     $________________________________
 chaoyuan chen                                                       Check all that apply.
 7845 lake city way ne                                                Contingent
                                                                      Unliquidated
 seattle, WA, 98115                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1439
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Charlee Fair                                                        Check all that apply.
                                                                                                                      16.30
                                                                                                                     $________________________________
 39750 Avenida Miguel Oeste                                           Contingent
                                                                      Unliquidated
 Murrieta, CA, 92563                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1440
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      40.99
                                                                                                                     $________________________________
 Charleen Ramirez                                                    Check all that apply.
 133 East 110th St Apt 7, 7                                           Contingent
                                                                      Unliquidated
 New York, NY, 10029                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1441
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Charlene Hudson                                                     Check all that apply.
                                                                                                                       83.99
                                                                                                                     $________________________________
 1725 Arial Drive                                                     Contingent
                                                                      Unliquidated
 Austin, TX, 78753                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1442
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             87.59
                                                                                                                     $________________________________
 Charlene Invencion                                                   Contingent
 12728 N WATT LANE, UNIT C                                            Unliquidated
                                                                      Disputed
 SYLMAR, CA, 91342
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1443
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Charlene Spears                                                     Check all that apply.
 5911 W. Hwy. 146                                                     Contingent
                                                                      Unliquidated
 Crestwood, KY, 40014                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1444
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Charles Allen                                                       Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 6510 North Vernal Avenue                                             Contingent
                                                                      Unliquidated
 Fresno, CA, 93722                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1445
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65.98
                                                                                                                     $________________________________
 Charles Benitez                                                     Check all that apply.
 1818 se 5th pl                                                       Contingent
                                                                      Unliquidated
 Cape Coral, FL, 33990                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1446
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Charles Brammer                                                     Check all that apply.
                                                                                                                       37.88
                                                                                                                     $________________________________
 105 LEWIS CIR                                                        Contingent
                                                                      Unliquidated
 WINCHESTER, VA, 22602                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1447
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.81
                                                                                                                     $________________________________
 Charles Clemencio                                                    Contingent
 5200 Mesa Ridge Dr.                                                  Unliquidated
                                                                      Disputed
 Antioch, CA, 94531
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1448
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.97
                                                                                                                     $________________________________
 Charles Craigmiles                                                  Check all that apply.
 1180 Via Encinos Drive                                               Contingent
                                                                      Unliquidated
 Fallbrook, CA, 92028-8402                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1449
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CHARLES DEL HIERRO                                                  Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 7010 BEAR AVE APT A                                                  Contingent
                                                                      Unliquidated
 BELL, CA, 90201                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1450
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      419.99
                                                                                                                     $________________________________
 Charles Drumgole                                                    Check all that apply.
 37100 Julian Lane                                                    Contingent
                                                                      Unliquidated
 Palmdale, CA, 93552                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1451
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Charles Gibbs                                                       Check all that apply.
                                                                                                                       41.12
                                                                                                                     $________________________________
 1330 Augusta Drive, Apt 6                                            Contingent
                                                                      Unliquidated
 Houston, TX, 77057                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1452
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Charles J Swank                                                      Contingent
 310 W 15th St                                                        Unliquidated
                                                                      Disputed
 SCOTTSBLUFF, NE, 69361
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1453
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       60.95
                                                                                                                     $________________________________
 charles jewell                                                      Check all that apply.
 138 south zeigler lane                                               Contingent
                                                                      Unliquidated
 stout, OH, 45684                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1454
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Charles Perez                                                       Check all that apply.
                                                                                                                      131.03
                                                                                                                     $________________________________
 14902 prairie vista lp se                                            Contingent
                                                                      Unliquidated
 Yelm, WA, 98597                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1455
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      154.07
                                                                                                                     $________________________________
 Charles Ramos                                                       Check all that apply.
 1400 Victory Hwy                                                     Contingent
                                                                      Unliquidated
 Oakland, RI, 2858                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1456
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Charles Thompson                                                    Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 6930 Providence Square Dr., Apt.191                                  Contingent
                                                                      Unliquidated
 Charlotte, NC, 28270                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1457
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.96
                                                                                                                     $________________________________
 Charles Vinyard                                                      Contingent
 1555 Hecker Pass Road, G102                                          Unliquidated
                                                                      Disputed
 Gilroy , CA, 95020
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1458
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Charles Young                                                       Check all that apply.
 422 cr 452                                                           Contingent
                                                                      Unliquidated
 Dayton, TX, 77535                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1459
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 charlie bejines                                                     Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 7727 Lankershim Blvd, 276                                            Contingent
                                                                      Unliquidated
 North Hollywood, CA, 91605                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1460
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Charlie Betancourt                                                  Check all that apply.
 149 Woodbury Street                                                  Contingent
                                                                      Unliquidated
 Rochester, NY, 14605                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1461
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Charlie Han                                                         Check all that apply.
                                                                                                                       469.93
                                                                                                                     $________________________________
 6502 Alamo Ave                                                       Contingent
                                                                      Unliquidated
 Bell, CA, 90201-2732                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1462
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.99
                                                                                                                     $________________________________
 Charlie Hernandez                                                    Contingent
 1907 S SHENANDOAH ST, 2                                              Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90034
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1463
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.99
                                                                                                                     $________________________________
 Charlie Sheridan                                                    Check all that apply.
 19 Oakleigh St                                                       Contingent
                                                                      Unliquidated
 Patchogue, NY, 11772                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1464
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Charlie Zeman                                                       Check all that apply.
                                                                                                                      148.39
                                                                                                                     $________________________________
 3223 Manitoba Drive                                                  Contingent
                                                                      Unliquidated
 Woodbridge, VA, 22192                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1465
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      68.98
                                                                                                                     $________________________________
 Charlotte Davenport                                                 Check all that apply.
 PO Box 297                                                           Contingent
                                                                      Unliquidated
 Onyx, CA, 93255                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1466
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Charlotte Guiney                                                    Check all that apply.
                                                                                                                       83.99
                                                                                                                     $________________________________
 19449 Via Madronas Ct.                                               Contingent
                                                                      Unliquidated
 Saratoga, CA, 95070                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1467
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             91.57
                                                                                                                     $________________________________
 Charlotte Roberts                                                    Contingent
 150 S Magnolia Ave, APT 169                                          Unliquidated
                                                                      Disputed
 Anaheim, CA, 92804
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1468
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Charlton Kangas                                                     Check all that apply.
 111 Enchanted Way                                                    Contingent
                                                                      Unliquidated
 San Ramon, CA, 94583                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1469
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Charmen Burrage                                                     Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 3010 Golden Dale Lane                                                Contingent
                                                                      Unliquidated
 Charlotte, NC, 28262                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1470
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.98
                                                                                                                     $________________________________
 Chas Martinez                                                       Check all that apply.
 9044 Misty Creek Dr                                                  Contingent
                                                                      Unliquidated
 Sarasota, FL, 34241                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1471
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chase                                                               Check all that apply.
                                                                                                                       106,683.91
                                                                                                                     $________________________________
 PO Box 1423                                                          Contingent
                                                                      Unliquidated
 Charlotte, NC, 28201-1423                                            Disputed
                                                                     Basis for the claim: Credit Card Debt



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1472
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.78
                                                                                                                     $________________________________
 Chase Donahue                                                        Contingent
 10240 Carloway Hills Drive                                           Unliquidated
                                                                      Disputed
 Wimauma, FL, 33598
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1473
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.05
                                                                                                                     $________________________________
 Che Verdejo                                                         Check all that apply.
 96 Wood Ave                                                          Contingent
                                                                      Unliquidated
 Iselin, NJ, 8830                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1474
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chelsea Blackwell                                                   Check all that apply.
                                                                                                                      21.98
                                                                                                                     $________________________________
 3507 Stringtown Rd.                                                  Contingent
                                                                      Unliquidated
 Evansville, IN, 47711                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1475
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.57
                                                                                                                     $________________________________
 Chelsea Camejo                                                      Check all that apply.
 578 Stewart St                                                       Contingent
                                                                      Unliquidated
 Ridgefield, NJ, 07657-1928                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1476
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chelsea De Leon                                                     Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 1818 West Central Avenue                                             Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92704                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1477
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.15
                                                                                                                     $________________________________
 Chelsea Iritsky                                                      Contingent
 368 Settlemyre Road                                                  Unliquidated
                                                                      Disputed
 Morganton, NC, 28655
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1478
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Chelsea Keyser                                                      Check all that apply.
 1710 Marshall Street                                                 Contingent
                                                                      Unliquidated
 Benwood, WV, 26031                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1479
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chelsea Laflam                                                      Check all that apply.
                                                                                                                      31.99
                                                                                                                     $________________________________
 2465 Tandy Turn                                                      Contingent
                                                                      Unliquidated
 Eugene, OR, 97401                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1480
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      167.46
                                                                                                                     $________________________________
 Chelsea Taylor                                                      Check all that apply.
 8 West Dewart Street                                                 Contingent
                                                                      Unliquidated
 Shamokin, PA, 17872                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1481
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chelsea Thompson                                                    Check all that apply.
                                                                                                                       41.72
                                                                                                                     $________________________________
 1818 Woodmont Rd                                                     Contingent
                                                                      Unliquidated
 Huntington, WV, 25701                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1482
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             137.99
                                                                                                                     $________________________________
 Chelsi Campbell                                                      Contingent
 917 Glenwood ave                                                     Unliquidated
                                                                      Disputed
 Hastings, NE, 68901
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1483
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       127.19
                                                                                                                     $________________________________
 Chen Ge                                                             Check all that apply.
 1308 ROSENEATH RD, APT 425                                           Contingent
                                                                      Unliquidated
 RICHMOND, VA, 23230                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1484
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chen Si                                                             Check all that apply.
                                                                                                                      147.31
                                                                                                                     $________________________________
 965 East El Camino Real #322                                         Contingent
                                                                      Unliquidated
 Sunnyvale, CA, 94087                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1485
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.83
                                                                                                                     $________________________________
 Chengyu Deng                                                        Check all that apply.
 626 1st Ave., W.18E                                                  Contingent
                                                                      Unliquidated
 New York, NY, 10016                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1486
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cheri Stone                                                         Check all that apply.
                                                                                                                       84.99
                                                                                                                     $________________________________
 455 Baker Road                                                       Contingent
                                                                      Unliquidated
 Merritt Island , FL, 32953                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1487
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Cherri Picard                                                        Contingent
 1644 North Pearl Street                                              Unliquidated
                                                                      Disputed
 Jacksonville, FL, 32206
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1488
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.97
                                                                                                                     $________________________________
 Cheryl Kibler                                                       Check all that apply.
 12142 W Columbia Rd                                                  Contingent
                                                                      Unliquidated
 Boise, ID, 83709                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1489
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cheryl Swords                                                       Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 14 Granger Court                                                     Contingent
                                                                      Unliquidated
 Barbourville, KY, 40906                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1490
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Chester Cramer                                                      Check all that apply.
 501 Evangeline Drive                                                 Contingent
                                                                      Unliquidated
 Waynesboro, PA, 17268                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1491
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cheyenne McMahan                                                    Check all that apply.
                                                                                                                       45.99
                                                                                                                     $________________________________
 1794 Coast Ct                                                        Contingent
                                                                      Unliquidated
 Gulf Breeze, FL, 32563                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1492
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.81
                                                                                                                     $________________________________
 Chi Quach                                                            Contingent
 1898 Papaya Park Drive                                               Unliquidated
                                                                      Disputed
 Ocoee, FL, 34761
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1493
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.39
                                                                                                                     $________________________________
 Chi Quach                                                           Check all that apply.
 1898 Papaya Park Drive,                                              Contingent
                                                                      Unliquidated
 Ocoee, FL, 34761                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1494
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chiara Delfino                                                      Check all that apply.
                                                                                                                      13.10
                                                                                                                     $________________________________
 1514 E. Avalon Ave.                                                  Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92705                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1495
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.38
                                                                                                                     $________________________________
 Chicklet Morales                                                    Check all that apply.
 252 Calhoun Avenue                                                   Contingent
                                                                      Unliquidated
 The Bronx, NY, 10465                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1496
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chimere Smith                                                       Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 1626 Powell Road                                                     Contingent
                                                                      Unliquidated
 Brookhaven, PA, 19015                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1497
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             178.98
                                                                                                                     $________________________________
 Chin-Hsiang Ho                                                       Contingent
 2202 YOSEMITE DR                                                     Unliquidated
                                                                      Disputed
 MILPITAS, CA, 95035
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1498
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       74.18
                                                                                                                     $________________________________
 Chingona Solis                                                      Check all that apply.
 8301 22nd Street NE                                                  Contingent
                                                                      Unliquidated
 Lake Stevens, WA, 98258                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1499
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chloe Calder                                                        Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 1148 Molino Ave #6                                                   Contingent
                                                                      Unliquidated
 Long Beach, CA, 90804                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1500
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.86
                                                                                                                     $________________________________
 Chloe Mattox                                                        Check all that apply.
 8214 Fan Palm Way                                                    Contingent
                                                                      Unliquidated
 Kissimmee, FL, 34747                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1501
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chloe Mcconahie                                                     Check all that apply.
                                                                                                                       25.97
                                                                                                                     $________________________________
 18121 Canopy Ln                                                      Contingent
                                                                      Unliquidated
 Manor, TX, 78653                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1502
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             456.98
                                                                                                                     $________________________________
 Chloe Parke                                                          Contingent
 7433 Township Highway 43                                             Unliquidated
                                                                      Disputed
 Findlay, OH, 45840
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1503
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Chloe Schuett                                                       Check all that apply.
 16920 Christensen Rd                                                 Contingent
                                                                      Unliquidated
 Gretna, NE, USA, NE, 68028                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1504
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chong Paek                                                          Check all that apply.
                                                                                                                      49.98
                                                                                                                     $________________________________
 4418 E Campo Bello Dr                                                Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85032                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1505
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Choua Vue                                                           Check all that apply.
 4313 Winchester Lane                                                 Contingent
                                                                      Unliquidated
 Brooklyn Center, MN, 55429                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1506
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 chris allen                                                         Check all that apply.
                                                                                                                       64.98
                                                                                                                     $________________________________
 1600 N 1575 W, Apt G202                                              Contingent
                                                                      Unliquidated
 Layton, UT, 84041                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1507
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.64
                                                                                                                     $________________________________
 Chris Anderson                                                       Contingent
 420 sunflower trail                                                  Unliquidated
                                                                      Disputed
 Douglas, WY, 82633
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1508
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       96.29
                                                                                                                     $________________________________
 Chris augustin                                                      Check all that apply.
 158 kensington way                                                   Contingent
                                                                      Unliquidated
 Royal Beach, FL, 33414                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1509
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris Beauchamp                                                     Check all that apply.
                                                                                                                      27.37
                                                                                                                     $________________________________
 3038 BURNLEY STATION RD                                              Contingent
                                                                      Unliquidated
 BARBOURSVILLE, VA, 22923                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1510
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      48.23
                                                                                                                     $________________________________
 Chris Bernardi                                                      Check all that apply.
 2375 Erter Drive                                                     Contingent
                                                                      Unliquidated
 Springfield, OH, 45503                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1511
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris Burdick                                                       Check all that apply.
                                                                                                                       42.99
                                                                                                                     $________________________________
 4258 PEARL WOOD WAY, 4258 PEARL WOOD                                 Contingent
 WAY                                                                  Unliquidated
                                                                      Disputed
 ANTELOPE, CA, 95843                                                 Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1512
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.57
                                                                                                                     $________________________________
 Chris Carrier                                                        Contingent
 295 Depot Street                                                     Unliquidated
                                                                      Disputed
 Waldoboro, ME, 4572
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1513
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.94
                                                                                                                     $________________________________
 Chris Chapman                                                       Check all that apply.
 5340 Locust Drive                                                    Contingent
                                                                      Unliquidated
 Mckinney, TX, 75070                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1514
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris Chapman                                                       Check all that apply.
                                                                                                                      85.51
                                                                                                                     $________________________________
 5340 Locust Drive                                                    Contingent
                                                                      Unliquidated
 McKinney, TX, 75070                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1515
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 chris day                                                           Check all that apply.
 11005 16th Ave se, 24A                                               Contingent
                                                                      Unliquidated
 Everett , WA, 98208                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1516
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 chris deese                                                         Check all that apply.
                                                                                                                       19.98
                                                                                                                     $________________________________
 6253 Reddoch Rd.                                                     Contingent
                                                                      Unliquidated
 Marianna, FL, 32446                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1517
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Chris Duggins                                                        Contingent
 625 Long Valley rd                                                   Unliquidated
                                                                      Disputed
 Irvington, KY, 40146
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1518
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.29
                                                                                                                     $________________________________
 Chris Eads                                                          Check all that apply.
 6513 Landis Road                                                     Contingent
                                                                      Unliquidated
 Brookville, OH, 45309                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1519
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris Edwards                                                       Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 5197 Alan Avenue                                                     Contingent
                                                                      Unliquidated
 San Jose, CA, 95124                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1520
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      108.24
                                                                                                                     $________________________________
 Chris Foley                                                         Check all that apply.
 8083 Stonebrook Pkwy Apt 205                                         Contingent
                                                                      Unliquidated
 Frisco, TX, 75034                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1521
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CHRIS GARLEN                                                        Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 13440 N 44TH ST, APT 2076                                            Contingent
                                                                      Unliquidated
 PHOENIX, AZ, 85032                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1522
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.80
                                                                                                                     $________________________________
 Chris Gilson                                                         Contingent
 284 Springs Hill Cir                                                 Unliquidated
                                                                      Disputed
 Seguin, TX, 78155
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1523
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Chris Guerra                                                        Check all that apply.
 3304 Menard Lane                                                     Contingent
                                                                      Unliquidated
 El Paso, TX, 79936                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1524
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris Hallman                                                       Check all that apply.
                                                                                                                      86.59
                                                                                                                     $________________________________
 152 Buffington Avenue                                                Contingent
                                                                      Unliquidated
 Royse City, TX, 75189                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1525
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.96
                                                                                                                     $________________________________
 Chris Isbrecht                                                      Check all that apply.
 1419 Reiner Road                                                     Contingent
                                                                      Unliquidated
 Norristown, PA, 19403                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1526
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris Janak                                                         Check all that apply.
                                                                                                                       24.37
                                                                                                                     $________________________________
 1311 Pulliam St                                                      Contingent
                                                                      Unliquidated
 N Chesterfield, VA, 23235                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1527
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Chris Jones                                                          Contingent
 214 Sixpence Ln.                                                     Unliquidated
                                                                      Disputed
 Euless, TX, 76039
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1528
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Chris Joslin                                                        Check all that apply.
 802 S LARKSPUR LN                                                    Contingent
                                                                      Unliquidated
 BLOOMINGTON, IN, 47403-2946                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1529
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 chris kobashigawa                                                   Check all that apply.
                                                                                                                      110.19
                                                                                                                     $________________________________
 13126 129TH CT NE                                                    Contingent
                                                                      Unliquidated
 KIRKLAND, WA, 98034-3229                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1530
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.99
                                                                                                                     $________________________________
 CHRIS LAMROUEX                                                      Check all that apply.
 22373 CHEROKEE ROSE PLACE                                            Contingent
                                                                      Unliquidated
 LAND O LAKES, FL, 34639                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1531
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 chris latorre                                                       Check all that apply.
                                                                                                                       74.97
                                                                                                                     $________________________________
 7 dewitt st                                                          Contingent
                                                                      Unliquidated
 Kingston, NY, 12401-6505                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1532
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.98
                                                                                                                     $________________________________
 Chris Lin                                                            Contingent
 1153 N CALVADOS AVE                                                  Unliquidated
                                                                      Disputed
 COVINA, CA, 91722
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1533
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.99
                                                                                                                     $________________________________
 Chris Lyons                                                         Check all that apply.
 5351 Newport Drive                                                   Contingent
                                                                      Unliquidated
 Lisle, IL, 60532                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1534
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris mcneal                                                        Check all that apply.
                                                                                                                      26.62
                                                                                                                     $________________________________
 3614 Woodford Rd., 4                                                 Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45213                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1535
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      91.37
                                                                                                                     $________________________________
 Chris Mendoza                                                       Check all that apply.
 525 E Como Ave                                                       Contingent
                                                                      Unliquidated
 Columbus, OH, 43202                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1536
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris P                                                             Check all that apply.
                                                                                                                       148.74
                                                                                                                     $________________________________
 683 Sea Street                                                       Contingent
                                                                      Unliquidated
 Quincy, MA, 2169                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1537
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.48
                                                                                                                     $________________________________
 CHRIS PEREZ                                                          Contingent
 1919 MONTANA AVE E                                                   Unliquidated
                                                                      Disputed
 SAINT PAUL, MN, 55119-3030
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1538
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 chris purcell                                                       Check all that apply.
 9500 NW 70th St                                                      Contingent
                                                                      Unliquidated
 Fort Lauderdale, FL, 33321-3003                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1539
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris Roque                                                         Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 17 Virginia Street                                                   Contingent
                                                                      Unliquidated
 Springfield, MA, 1108                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1540
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Chris Sargenti                                                      Check all that apply.
 1055 Rodriguez St                                                    Contingent
                                                                      Unliquidated
 Santa Cruz, CA, 95062-1617                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1541
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris Skully                                                        Check all that apply.
                                                                                                                       234.33
                                                                                                                     $________________________________
 7940 Palmer Rd SW                                                    Contingent
                                                                      Unliquidated
 Reynoldsburg, OH, 43068-3254                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1542
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.86
                                                                                                                     $________________________________
 Chris Smith                                                          Contingent
 18859 Pleasant Park Rd                                               Unliquidated
                                                                      Disputed
 Conifer, CO, 80433-6601
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1543
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.99
                                                                                                                     $________________________________
 chris steinman                                                      Check all that apply.
 14 indian red road                                                   Contingent
                                                                      Unliquidated
 Levittown, PA, 19057                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1544
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris Thompson                                                      Check all that apply.
                                                                                                                      27.17
                                                                                                                     $________________________________
 5728 Windy Knoll Dr                                                  Contingent
                                                                      Unliquidated
 Loves Park, IL, 61111                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1545
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Chris Tlaseca                                                       Check all that apply.
 881 orchid court, Apartment 1                                        Contingent
                                                                      Unliquidated
 Upland, CA, 91786                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1546
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chris Williams                                                      Check all that apply.
                                                                                                                       14.06
                                                                                                                     $________________________________
 2564 Westminster Lane                                                Contingent
                                                                      Unliquidated
 Aurora, IL, 60506                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1547
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.06
                                                                                                                     $________________________________
 Chris Young                                                          Contingent
 760 Twin Oak Circle                                                  Unliquidated
                                                                      Disputed
 Lebanon, VA, 24266
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1548
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.91
                                                                                                                     $________________________________
 Chrissna Chum                                                       Check all that apply.
 115 2nd Avenue                                                       Contingent
                                                                      Unliquidated
 Cranston, RI, 2910                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1549
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chrissty Nguyen                                                     Check all that apply.
                                                                                                                      41.31
                                                                                                                     $________________________________
 9411 Murline Drive                                                   Contingent
                                                                      Unliquidated
 Garden Grove, CA, 92841                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1550
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Christi Osborne                                                     Check all that apply.
 5335 Evian Xing NW                                                   Contingent
                                                                      Unliquidated
 Kennesaw, GA, 30152                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1551
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christian Aldava                                                    Check all that apply.
                                                                                                                       37.88
                                                                                                                     $________________________________
 4204 W Bayou Maison Circle                                           Contingent
                                                                      Unliquidated
 Dickinson, TX, 77539                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1552
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             113.28
                                                                                                                     $________________________________
 Christian Barrientos                                                 Contingent
 13447 Temple Ave                                                     Unliquidated
                                                                      Disputed
 La Puente, CA, 91746
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1553
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.78
                                                                                                                     $________________________________
 Christian Cardona                                                   Check all that apply.
 360 E 23rd Street                                                    Contingent
                                                                      Unliquidated
 Paterson, NJ, 7514                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1554
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christian Corpuz                                                    Check all that apply.
                                                                                                                      16.99
                                                                                                                     $________________________________
 1967 Birchwood Park Drive N                                          Contingent
                                                                      Unliquidated
 Cherry Hill, NJ, 8003                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1555
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Christian Curry                                                     Check all that apply.
 24 Eisenhower Drive                                                  Contingent
                                                                      Unliquidated
 Middletown, NY, 10940                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1556
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christian Dominguez                                                 Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 219 Corkwood St                                                      Contingent
                                                                      Unliquidated
 Lake Jackson, TX, 77566-5765                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1557
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.34
                                                                                                                     $________________________________
 Christian Erickson                                                   Contingent
 102 Edgestone Drive                                                  Unliquidated
                                                                      Disputed
 Harvest, AL, 35749
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1558
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       65.98
                                                                                                                     $________________________________
 Christian Fuentes                                                   Check all that apply.
 3505 Liongate Circle                                                 Contingent
                                                                      Unliquidated
 Modesto, CA, 95356                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1559
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christian Guerrero                                                  Check all that apply.
                                                                                                                      85.49
                                                                                                                     $________________________________
 321 State Avenue South                                               Contingent
                                                                      Unliquidated
 Thief River Falls, MN, 56701                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1560
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      75.22
                                                                                                                     $________________________________
 Christian Lumbag                                                    Check all that apply.
 1005 Briarcreek Road                                                 Contingent
                                                                      Unliquidated
 Jacksonville, FL, 32225                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1561
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christian PaffChristian                                             Check all that apply.
                                                                                                                       41.99
                                                                                                                     $________________________________
 3245 South Lyons Ave                                                 Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46221                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1562
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.91
                                                                                                                     $________________________________
 Christian Razo                                                       Contingent
 3000 OAKSHIRE ST                                                     Unliquidated
                                                                      Disputed
 Denton, TX, 76209
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1563
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.98
                                                                                                                     $________________________________
 Christian Reed                                                      Check all that apply.
 1012 Strathmore Way                                                  Contingent
                                                                      Unliquidated
 Hendersonville, TN, 37075                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1564
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christian Rosado-Bermudez                                           Check all that apply.
                                                                                                                      44.99
                                                                                                                     $________________________________
 12838 Dunhill Drive                                                  Contingent
                                                                      Unliquidated
 Tampa, FL, 33624                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1565
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.42
                                                                                                                     $________________________________
 CHRISTIAN SILVA                                                     Check all that apply.
 3421 E 5th St                                                        Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90063                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1566
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christian Torres                                                    Check all that apply.
                                                                                                                       29.98
                                                                                                                     $________________________________
 1670 Latour pl                                                       Contingent
                                                                      Unliquidated
 Jacksonville, FL, 32221                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1567
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             6.99
                                                                                                                     $________________________________
 Christian-Jay Lazaro                                                 Contingent
 343 E. 238th St.                                                     Unliquidated
                                                                      Disputed
 Carson, CA, 90745
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1568
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       41.99
                                                                                                                     $________________________________
 Christiana Jallah                                                   Check all that apply.
 127 East Villa Capri Circle, A                                       Contingent
                                                                      Unliquidated
 DeLand, FL, 32724                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1569
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christie Decker                                                     Check all that apply.
                                                                                                                      42.99
                                                                                                                     $________________________________
 386 Hudson cemetery rd                                               Contingent
                                                                      Unliquidated
 Camden, TN, 38320                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1570
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.56
                                                                                                                     $________________________________
 Christie Kerr                                                       Check all that apply.
 757 New Tork Dr                                                      Contingent
                                                                      Unliquidated
 Altadena, CA, 91001                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1571
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christie Kerr                                                       Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 757 New York Dr.                                                     Contingent
                                                                      Unliquidated
 Altadena, CA, 91001                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1572
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17.98
                                                                                                                     $________________________________
 Christina Knezevic                                                   Contingent
 8644 East Montecito Avenue                                           Unliquidated
                                                                      Disputed
 Scottsdale, AZ, 85251
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1573
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.83
                                                                                                                     $________________________________
 Christina Beran                                                     Check all that apply.
 31-64 21st street, 5A                                                Contingent
                                                                      Unliquidated
 Queens, NY, 11106                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1574
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christina Cheek                                                     Check all that apply.
                                                                                                                      102.98
                                                                                                                     $________________________________
 123 sheldon avenue                                                   Contingent
                                                                      Unliquidated
 pittsburgh, PA, 15220                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1575
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                     $________________________________
 CHRISTINA COLON                                                     Check all that apply.
 412 MACON AVE                                                        Contingent
                                                                      Unliquidated
 ROMEOVILLE, IL, 60446                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1576
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 christina dang                                                      Check all that apply.
                                                                                                                       29.22
                                                                                                                     $________________________________
 1710 silver lining ln                                                Contingent
                                                                      Unliquidated
 sugar land, TX, 77498                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1577
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.78
                                                                                                                     $________________________________
 Christina DeBrango                                                   Contingent
 514 Avon Road                                                        Unliquidated
                                                                      Disputed
 Pine Beach, NJ, 8741
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1578
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.19
                                                                                                                     $________________________________
 Christina Garcia                                                    Check all that apply.
 2509 McVeary Ct Apt F                                                Contingent
                                                                      Unliquidated
 Silver Spring, MD, 20906-6147                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1579
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christina Graslie                                                   Check all that apply.
                                                                                                                      135.96
                                                                                                                     $________________________________
 1200 Northwest Marshall Street, ste 1107                             Contingent
                                                                      Unliquidated
 Portland, OR, 97209                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1580
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Christina Lopez                                                     Check all that apply.
 6409 W DEL RIO ST                                                    Contingent
                                                                      Unliquidated
 CHANDLER, AZ, 85226-1765                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1581
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christina Mabunga                                                   Check all that apply.
                                                                                                                       44.97
                                                                                                                     $________________________________
 16139 Crooked Creek Ct                                               Contingent
                                                                      Unliquidated
 Chino Hills, CA, 91709                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1582
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             11.99
                                                                                                                       $________________________________
 Christina MacLean                                                      Contingent
 5252 South Pebblecreek Road                                            Unliquidated
                                                                        Disputed
 West Bloomfield Township, MI, 48322
                                                                       Basis for the claim: Customers with Outstanding Deposits



                                                                       Is the claim subject to offset?
         Date or dates debt was incurred        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
         Last 4 digits of account number        ___________________
  1583
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         27.67
                                                                                                                       $________________________________
 Christina Miller                                                      Check all that apply.
 81 Brookwood Ave , Apt 6                                               Contingent
                                                                        Unliquidated
 Hamilton, OH, 45013                                                    Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  1584
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Christina Muldoon                                                     Check all that apply.
                                                                                                                        45.84
                                                                                                                       $________________________________
 727 Charnwood Drive                                                    Contingent
                                                                        Unliquidated
 Wyckoff, NJ, 7481                                                      Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  1585
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        281.96
                                                                                                                       $________________________________
 christina olivos                                                      Check all that apply.
 3708 foster ct                                                         Contingent
                                                                        Unliquidated
 west sacramento, CA, 95691                                             Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes
  1586
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Christina Parra                                                       Check all that apply.
                                                                                                                         23.88
                                                                                                                       $________________________________
 9450 Virginia Avenue                                                   Contingent
                                                                        Unliquidated
 Phoenix, AZ, 85037                                                     Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1587
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             96.98
                                                                                                                     $________________________________
 christina patton                                                     Contingent
 62 keating circle                                                    Unliquidated
                                                                      Disputed
 weymouth, MA, 2190
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1588
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.65
                                                                                                                     $________________________________
 Christina Rodriguez                                                 Check all that apply.
 6926 Tunney Ave                                                      Contingent
                                                                      Unliquidated
 Reseda, CA, 91335                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1589
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christina Song                                                      Check all that apply.
                                                                                                                      25.99
                                                                                                                     $________________________________
 7786 Grandwind Drive                                                 Contingent
                                                                      Unliquidated
 Lorton, VA, 22079                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1590
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.99
                                                                                                                     $________________________________
 Christina Young                                                     Check all that apply.
 604 Falcon Ridge Lane                                                Contingent
                                                                      Unliquidated
 La Grange, KY, 40031                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1591
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CHRISTINE Batcho                                                    Check all that apply.
                                                                                                                       65.24
                                                                                                                     $________________________________
 167 Iris Avenue                                                      Contingent
                                                                      Unliquidated
 Buffalo, NY, 14224                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1592
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.58
                                                                                                                     $________________________________
 Christine Blankeknship                                               Contingent
 PO Box 1783                                                          Unliquidated
                                                                      Disputed
 Palmer, AK, 99645
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1593
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Christine Chrisman                                                  Check all that apply.
 4545 S Mission rd trlr 195                                           Contingent
                                                                      Unliquidated
 Tucson, AZ, 85746                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1594
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 christine janvrin                                                   Check all that apply.
                                                                                                                      29.98
                                                                                                                     $________________________________
 52 main st                                                           Contingent
                                                                      Unliquidated
 groveton, NH, 3582                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1595
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      68.65
                                                                                                                     $________________________________
 Christine Joyce Reburiano                                           Check all that apply.
 27187 Underwood Ave                                                  Contingent
                                                                      Unliquidated
 Hayward, CA, 94544                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1596
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christine Liang                                                     Check all that apply.
                                                                                                                       66.93
                                                                                                                     $________________________________
 95 Carriageway Drive, 105                                            Contingent
                                                                      Unliquidated
 Leominster, MA, 1453                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1597
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             72.49
                                                                                                                     $________________________________
 Christine Remite                                                     Contingent
 132 Jillian Blvd                                                     Unliquidated
                                                                      Disputed
 Parsippany, NJ, 7054
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1598
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Christine Siebert                                                   Check all that apply.
 218 North Texas Blvd., 204                                           Contingent
                                                                      Unliquidated
 Denton, TX, 76201                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1599
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christine Stuart                                                    Check all that apply.
                                                                                                                      29.21
                                                                                                                     $________________________________
 116 N Norwich Ave                                                    Contingent
                                                                      Unliquidated
 Lubbock, TX, 79416-3730                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1600
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Christine Sturch                                                    Check all that apply.
 1709 McCraren Road                                                   Contingent
                                                                      Unliquidated
 Highland Park, IL, 60035                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1601
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christine Taylor                                                    Check all that apply.
                                                                                                                       26.64
                                                                                                                     $________________________________
 20434 W 199th Ter                                                    Contingent
                                                                      Unliquidated
 SPRING HILL, KS, 66083                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1602
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Christine Truong                                                     Contingent
 5907 North Washtenaw Avenue                                          Unliquidated
                                                                      Disputed
 Chicago, IL, 60659
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1603
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       18.05
                                                                                                                     $________________________________
 Christine Valley                                                    Check all that apply.
 7 Tori Lane, x815                                                    Contingent
                                                                      Unliquidated
 OAK BLUFFS, MA, 2557                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1604
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Greeley                                                 Check all that apply.
                                                                                                                      58.43
                                                                                                                     $________________________________
 98 Pellana Rd                                                        Contingent
                                                                      Unliquidated
 Norwood, MA, 02062-4729                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1605
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Christopher Reynolds                                                Check all that apply.
 3430 Tie Street                                                      Contingent
                                                                      Unliquidated
 San Diego, CA, 92105                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1606
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Anderson                                                Check all that apply.
                                                                                                                       20.46
                                                                                                                     $________________________________
 15 Cerner Court                                                      Contingent
                                                                      Unliquidated
 Ladera Ranch, CA, 92694                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1607
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             16.18
                                                                                                                     $________________________________
 Christopher Arriaga                                                  Contingent
 913 Cedarbrook Road                                                  Unliquidated
                                                                      Disputed
 Derby, KS, 67037
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1608
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.35
                                                                                                                     $________________________________
 Christopher Ballard                                                 Check all that apply.
 68 Sherbrooke Avenue                                                 Contingent
                                                                      Unliquidated
 Buffalo, NY, 14221                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1609
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Belvedere                                               Check all that apply.
                                                                                                                      91.23
                                                                                                                     $________________________________
 1621 Louis Kossuth Ave                                               Contingent
                                                                      Unliquidated
 Bohemia, NY, 11716-1511                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1610
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      89.99
                                                                                                                     $________________________________
 Christopher Briotte                                                 Check all that apply.
 1374 fox glen dr.                                                    Contingent
                                                                      Unliquidated
 Hummelstown, PA, 17036                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1611
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Brizendine                                              Check all that apply.
                                                                                                                       21.19
                                                                                                                     $________________________________
 2496 Checkerberry Drive                                              Contingent
                                                                      Unliquidated
 Lexington, KY, 40509                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1612
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Christopher Chagdes                                                  Contingent
 118 Bearss Circle                                                    Unliquidated
                                                                      Disputed
 Longwood, FL, 32750
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1613
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.25
                                                                                                                     $________________________________
 Christopher Chang-Lo                                                Check all that apply.
 550 Kamaaha Ave, Unit 901                                            Contingent
                                                                      Unliquidated
 Kapolei, HI, 96707                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1614
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher chiaro                                                  Check all that apply.
                                                                                                                      961.92
                                                                                                                     $________________________________
 14 Cove St                                                           Contingent
                                                                      Unliquidated
 Portsmouth, RI, 2871                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1615
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.53
                                                                                                                     $________________________________
 Christopher Clark                                                   Check all that apply.
 5896 Alturas Way                                                     Contingent
                                                                      Unliquidated
 Hilliard, OH, 43026                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1616
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Cohen                                                   Check all that apply.
                                                                                                                       59.73
                                                                                                                     $________________________________
 23 Madeline Rd                                                       Contingent
                                                                      Unliquidated
 Ridge, NY, 11961-2942                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1617
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             86.19
                                                                                                                     $________________________________
 Christopher de Lis                                                   Contingent
 21641 Kanakoa Lane                                                   Unliquidated
                                                                      Disputed
 Huntington Beach, CA, 92646
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1618
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.99
                                                                                                                     $________________________________
 Christopher DeMorier                                                Check all that apply.
 59 W View Rd                                                         Contingent
                                                                      Unliquidated
 Troutville, VA, 24175                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1619
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Dion                                                    Check all that apply.
                                                                                                                      71.98
                                                                                                                     $________________________________
 369 ROBB RD                                                          Contingent
                                                                      Unliquidated
 AMSTERDAM, NY, 12010                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1620
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.99
                                                                                                                     $________________________________
 Christopher Dravus                                                  Check all that apply.
 2431 W Gunnison St, apt 2                                            Contingent
                                                                      Unliquidated
 chicago, IL, 60625                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1621
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Duke                                                    Check all that apply.
                                                                                                                       32.65
                                                                                                                     $________________________________
 243 Rosedale Road                                                    Contingent
                                                                      Unliquidated
 Yonkers, NY, 10710                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1622
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             89.99
                                                                                                                     $________________________________
 Christopher Ebelt                                                    Contingent
 6025 SW Karla Ct                                                     Unliquidated
                                                                      Disputed
 Portland, OR, 97239-1188
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1623
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       117.26
                                                                                                                     $________________________________
 Christopher Fabiano                                                 Check all that apply.
 39 Cambridge Road                                                    Contingent
                                                                      Unliquidated
 Edison, NJ, 8817                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1624
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Fluit                                                   Check all that apply.
                                                                                                                      8.99
                                                                                                                     $________________________________
 171 Timber Brook Lane                                                Contingent
                                                                      Unliquidated
 Penfield, NY, 14526                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1625
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.64
                                                                                                                     $________________________________
 Christopher Garrison                                                Check all that apply.
 120 Trish Dr.                                                        Contingent
                                                                      Unliquidated
 Novato, CA, 94947-1926                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1626
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher George                                                  Check all that apply.
                                                                                                                       13.99
                                                                                                                     $________________________________
 226 South Washington Street                                          Contingent
                                                                      Unliquidated
 Lindsborg, KS, 67456                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1627
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.68
                                                                                                                     $________________________________
 Christopher Goodwin                                                  Contingent
 92 Central Street                                                    Unliquidated
                                                                      Disputed
 Ashland, MA, 01721-1750
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1628
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.98
                                                                                                                     $________________________________
 Christopher Groomes                                                 Check all that apply.
 921 Washington Ave                                                   Contingent
                                                                      Unliquidated
 Winthrop Harbor, IL, 60096                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1629
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Hawkins                                                 Check all that apply.
                                                                                                                      21.59
                                                                                                                     $________________________________
 106 Hampton Avenue                                                   Contingent
                                                                      Unliquidated
 Rensselaer, NY, 12144                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1630
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      80.09
                                                                                                                     $________________________________
 Christopher Horsley                                                 Check all that apply.
 1409A E 2Nd St                                                       Contingent
                                                                      Unliquidated
 Austin, TX, 78702-4309                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1631
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Hufman                                                  Check all that apply.
                                                                                                                       30.09
                                                                                                                     $________________________________
 8787 W Alameda Ave                                                   Contingent
                                                                      Unliquidated
 Lakewood, CO, 80226                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1632
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.99
                                                                                                                     $________________________________
 Christopher Iquina                                                   Contingent
 7127 66th place                                                      Unliquidated
                                                                      Disputed
 Glendale, NY, 11385
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1633
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Christopher Jaory                                                   Check all that apply.
 16308 Sisley Drive                                                   Contingent
                                                                      Unliquidated
 Chino Hills, CA, 91709                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1634
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 christopher kirkland                                                Check all that apply.
                                                                                                                      95.39
                                                                                                                     $________________________________
 1815 Hembree road, 416                                               Contingent
                                                                      Unliquidated
 Alpharetta, GA, 30009                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1635
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Christopher Koch-Weser                                              Check all that apply.
 10513 Cheviot Drive                                                  Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90064                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1636
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Larsen                                                  Check all that apply.
                                                                                                                       47.67
                                                                                                                     $________________________________
 1315 cherrington drive                                               Contingent
                                                                      Unliquidated
 HARRISBURG, PA, 17110                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1637
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             127.19
                                                                                                                     $________________________________
 Christopher Lawrence                                                 Contingent
 171 Young Road                                                       Unliquidated
                                                                      Disputed
 Erie, PA, 16509
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1638
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       57.90
                                                                                                                     $________________________________
 Christopher Lewis                                                   Check all that apply.
 2401 Papermill Road, 11                                              Contingent
                                                                      Unliquidated
 Winchester, VA, 22601                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1639
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Marino                                                  Check all that apply.
                                                                                                                      71.96
                                                                                                                     $________________________________
 4928 MOUNT LA PLATTA DRIVE                                           Contingent
                                                                      Unliquidated
 SAN DIEGO, CA, 92117                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1640
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Christopher Marrero                                                 Check all that apply.
 109 Oakview Drive                                                    Contingent
                                                                      Unliquidated
 Floresville, TX, 78114                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1641
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher McKee                                                   Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 11973 Carters Creek Drive                                            Contingent
                                                                      Unliquidated
 Chesterfield, VA, 23838                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1642
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.21
                                                                                                                     $________________________________
 Christopher Morgan                                                   Contingent
 5886 W Evening Petal Lane                                            Unliquidated
                                                                      Disputed
 Tucson, AZ, 85735
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1643
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.99
                                                                                                                     $________________________________
 Christopher Nallo                                                   Check all that apply.
 382 Buckingham Way                                                   Contingent
                                                                      Unliquidated
 Westminster, MD, 21157                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1644
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Nowak                                                   Check all that apply.
                                                                                                                      12.71
                                                                                                                     $________________________________
 69 Crawford St, Apt 1A                                               Contingent
                                                                      Unliquidated
 Oxford, MI, 48371-4906                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1645
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      54.30
                                                                                                                     $________________________________
 Christopher Ouellette                                               Check all that apply.
 173 Christopher Drive                                                Contingent
                                                                      Unliquidated
 San Francisco,, CA, 94131                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1646
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher plymire                                                 Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 56887, Jewel Rd                                                      Contingent
                                                                      Unliquidated
 Senecaville, OH, 43780                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1647
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.71
                                                                                                                     $________________________________
 Christopher Price                                                    Contingent
 1926 N. Parham Rd.                                                   Unliquidated
                                                                      Disputed
 Richmond, VA, 23229
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1648
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.99
                                                                                                                     $________________________________
 Christopher Revelas                                                 Check all that apply.
 41 Pennsylvania Avenue                                               Contingent
                                                                      Unliquidated
 Stratford, NJ, 8084                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1649
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Ruiz                                                    Check all that apply.
                                                                                                                      312.73
                                                                                                                     $________________________________
 8768 Hauser Street, G                                                Contingent
                                                                      Unliquidated
 Lenexa, KS, 66215                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1650
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      109.99
                                                                                                                     $________________________________
 Christopher Ryan                                                    Check all that apply.
 406 Boscawen Lane                                                    Contingent
                                                                      Unliquidated
 Cary, NC, 27519                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1651
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CHRISTOPHER SMITH                                                   Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 170 Park Side Dr, Unit 104                                           Contingent
                                                                      Unliquidated
 Fletcher, NC, 28732                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1652
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             178.07
                                                                                                                     $________________________________
 Christopher Somers                                                   Contingent
 85 Belmont Rd                                                        Unliquidated
                                                                      Disputed
 Gettysburg , PA, 17325
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1653
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       127.99
                                                                                                                     $________________________________
 Christopher Vazquez                                                 Check all that apply.
 16047 Pago Pago Drive                                                Contingent
                                                                      Unliquidated
 Tega Cay, SC, 29708                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1654
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Vidaic                                                  Check all that apply.
                                                                                                                      29.38
                                                                                                                     $________________________________
 21-40 24th Street                                                    Contingent
                                                                      Unliquidated
 Astoria, NY, 11105                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1655
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Christopher Wilson                                                  Check all that apply.
 4215 NE 94th Terrace                                                 Contingent
                                                                      Unliquidated
 Kansas City, MO, 64156                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1656
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christopher Wirt                                                    Check all that apply.
                                                                                                                       29.98
                                                                                                                     $________________________________
 2762 Bonnet St                                                       Contingent
                                                                      Unliquidated
 Manchester Center, VT, 05255-9362                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1657
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.99
                                                                                                                     $________________________________
 Christy Clark                                                        Contingent
 1052 Decatur St                                                      Unliquidated
                                                                      Disputed
 Vermilion, OH, 44089
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1658
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.30
                                                                                                                     $________________________________
 Christy Cox                                                         Check all that apply.
 3360 County Rd 13                                                    Contingent
                                                                      Unliquidated
 Headland, AL, 36345                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1659
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christy Nisco                                                       Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 5358 Coastal Loop                                                    Contingent
                                                                      Unliquidated
 Blaine, WA, 98230                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1660
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Christy Rios                                                        Check all that apply.
 16211 Windermere Dr                                                  Contingent
                                                                      Unliquidated
 Pflugerville, TX, 78660-2440                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1661
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christy Rodriguez                                                   Check all that apply.
                                                                                                                       23.91
                                                                                                                     $________________________________
 2508 CRESCENT WAY                                                    Contingent
                                                                      Unliquidated
 DISCOVERY BAY, CA, 94505                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1662
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             107.98
                                                                                                                     $________________________________
 Christyn Walters                                                     Contingent
 352 ROCKHOUSE XING                                                   Unliquidated
                                                                      Disputed
 HATFIELD, KY, 41514
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1663
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.99
                                                                                                                     $________________________________
 Chrisy Soulack                                                      Check all that apply.
 6517 Maddox Road                                                     Contingent
                                                                      Unliquidated
 Morrow, GA, 30260                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1664
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chryssi Ladas                                                       Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 8136 Hillandale Drive                                                Contingent
                                                                      Unliquidated
 San Diego, CA, 92120                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1665
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.19
                                                                                                                     $________________________________
 Chrystal Forney                                                     Check all that apply.
 1696 Hill View Pl                                                    Contingent
                                                                      Unliquidated
 Lexington, KY, 40504                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1666
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chrystelle Hernandez                                                Check all that apply.
                                                                                                                       80.97
                                                                                                                     $________________________________
 5370 BRENTFORD WAY                                                   Contingent
                                                                      Unliquidated
 EL DORADO HILLS, CA, 95762                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1667
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 Chuck Ridgway                                                        Contingent
 385 South Grant Street                                               Unliquidated
                                                                      Disputed
 Denver, CO, 80209
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1668
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.73
                                                                                                                     $________________________________
 Chuck Westlake                                                      Check all that apply.
 1110 Ohio Avenue, #2                                                 Contingent
                                                                      Unliquidated
 Ashtabula, OH, 44004                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1669
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chuiyee Thao                                                        Check all that apply.
                                                                                                                      43.00
                                                                                                                     $________________________________
 3215 98th Circle North                                               Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55443                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1670
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      219.99
                                                                                                                     $________________________________
 Chun Chan                                                           Check all that apply.
 7304 Prestwick Ter                                                   Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76126-1405                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1671
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chun Ho Wong                                                        Check all that apply.
                                                                                                                       157.67
                                                                                                                     $________________________________
 3050 Mission Inn Ave, APT 223, APT 223                               Contingent
                                                                      Unliquidated
 Riverside, CA, 92507                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1672
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.13
                                                                                                                     $________________________________
 Chun Kit Ma                                                          Contingent
 4507 Hidden Oaks Way                                                 Unliquidated
                                                                      Disputed
 Houston, TX, 77084
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1673
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       98.11
                                                                                                                     $________________________________
 Chun lam Chiu                                                       Check all that apply.
 10934 Edes Avenue                                                    Contingent
                                                                      Unliquidated
 Oakland, CA, 94603                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1674
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 chun yung                                                           Check all that apply.
                                                                                                                      233.93
                                                                                                                     $________________________________
 31 Pocahontas Drive                                                  Contingent
                                                                      Unliquidated
 West Hartford, CT, 6117                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1675
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      309.20
                                                                                                                     $________________________________
 Chung-Ying Tsai                                                     Check all that apply.
 132 Tuers Ave                                                        Contingent
                                                                      Unliquidated
 Jersey City, NJ, 7306                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1676
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chunie Tong                                                         Check all that apply.
                                                                                                                       32.57
                                                                                                                     $________________________________
 412 Johnson Avenue                                                   Contingent
                                                                      Unliquidated
 Bohemia, NY, 11716                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1677
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             140.39
                                                                                                                     $________________________________
 Chuwei Zheng                                                         Contingent
 938 120th Street                                                     Unliquidated
                                                                      Disputed
 Queens, NY, 11356
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1678
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       110.98
                                                                                                                     $________________________________
 Ciara Fraser                                                        Check all that apply.
 33314 Cheryl Drive                                                   Contingent
                                                                      Unliquidated
 Clinton Township, MI, 48035                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1679
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cielo Heredia                                                       Check all that apply.
                                                                                                                      32.61
                                                                                                                     $________________________________
 3788 Hemlock Avenue                                                  Contingent
                                                                      Unliquidated
 Clearlake, CA, 95422                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1680
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.97
                                                                                                                     $________________________________
 Cierra Vincent                                                      Check all that apply.
 1913 12th Avenue                                                     Contingent
                                                                      Unliquidated
 Altoona, PA, 16601                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1681
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cindy Chheng                                                        Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 2037 Richdale Ave                                                    Contingent
                                                                      Unliquidated
 Hacienda Heights, CA, 91745                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1682
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Cindy Holway                                                         Contingent
 30 Ashworth Court                                                    Unliquidated
                                                                      Disputed
 Amherst, NY, 14228
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1683
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       109.49
                                                                                                                     $________________________________
 Cindy Lam                                                           Check all that apply.
 1640 Lancewood Avenue                                                Contingent
                                                                      Unliquidated
 Hacienda Heights, CA, 91745                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1684
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CINDY NAM                                                           Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 1543 77th St                                                         Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11228                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1685
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.00
                                                                                                                     $________________________________
 Cindy robertson                                                     Check all that apply.
 1746 Ronald Rd                                                       Contingent
                                                                      Unliquidated
 Akron, OH, 44312                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1686
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cindy Wooten                                                        Check all that apply.
                                                                                                                       30.98
                                                                                                                     $________________________________
 1057 Timber Bluff Dr                                                 Contingent
                                                                      Unliquidated
 Wentzville, MO, 63385-2144                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1687
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Cindy Zaldivar                                                       Contingent
 1024 Gillespie street, 2                                             Unliquidated
                                                                      Disputed
 Schenectady, NY, 12308
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1688
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       229.99
                                                                                                                     $________________________________
 CJ Rosario                                                          Check all that apply.
 3136 Chepstow Ln                                                     Contingent
                                                                      Unliquidated
 Falls Church , VA, 22042                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1689
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CJ Wadsworth                                                        Check all that apply.
                                                                                                                      299.70
                                                                                                                     $________________________________
 4895 Cornish Heights Pkwy                                            Contingent
                                                                      Unliquidated
 Syracuse, NY, 13215-2475                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1690
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.98
                                                                                                                     $________________________________
 CL Hodge                                                            Check all that apply.
 3830 creal lake court                                                Contingent
                                                                      Unliquidated
 terre haute, IN, 47805                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1691
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Claire Dickens                                                      Check all that apply.
                                                                                                                       99.11
                                                                                                                     $________________________________
 13 Wisteria Pl                                                       Contingent
                                                                      Unliquidated
 Aliso Viejo, CA, 92656                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1692
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             68.19
                                                                                                                     $________________________________
 Claire Fischer                                                       Contingent
 28214 Gadwall Dr                                                     Unliquidated
                                                                      Disputed
 Katy, TX, 77494
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1693
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       36.03
                                                                                                                     $________________________________
 Claire Pond                                                         Check all that apply.
 115 Field CT NE                                                      Contingent
                                                                      Unliquidated
 Leesburg, VA, 20176                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1694
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Clara Reynolds                                                      Check all that apply.
                                                                                                                      15.88
                                                                                                                     $________________________________
 10 Guinevere Court                                                   Contingent
                                                                      Unliquidated
 Rosedale, MD, 21237                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1695
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.14
                                                                                                                     $________________________________
 Clark goebel                                                        Check all that apply.
 1366 ANA MARIA CIR                                                   Contingent
                                                                      Unliquidated
 PORT ORANGE, FL, 32129                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1696
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Claude Dearchs                                                      Check all that apply.
                                                                                                                       37.09
                                                                                                                     $________________________________
 2424 Chancery Lane, Apt. 303                                         Contingent
                                                                      Unliquidated
 Chesapeake, VA, 23321                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1697
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.99
                                                                                                                     $________________________________
 Claudia Duarte                                                       Contingent
 750 Laporte Avenue                                                   Unliquidated
                                                                      Disputed
 San Bernardino, CA, 92405
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1698
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       76.98
                                                                                                                     $________________________________
 Claudia Ferdinand                                                   Check all that apply.
 212 BRENTWOOD ST                                                     Contingent
                                                                      Unliquidated
 BAY SHORE, NY, 11706-2016                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1699
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Claudia Gonzalez                                                    Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 3412 Cornell Avenue                                                  Contingent
                                                                      Unliquidated
 McAllen, TX, 78504                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1700
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      97.41
                                                                                                                     $________________________________
 claudia munoz                                                       Check all that apply.
 915 Paul St                                                          Contingent
                                                                      Unliquidated
 pasadena, TX, 77506                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1701
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Claudia Perez                                                       Check all that apply.
                                                                                                                       17.99
                                                                                                                     $________________________________
 29908 Southwest 159th Drive                                          Contingent
                                                                      Unliquidated
 Homestead, FL, 33033                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1702
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             63.35
                                                                                                                     $________________________________
 claudio mercado                                                      Contingent
 12507 Saratoga Woods Ln                                              Unliquidated
                                                                      Disputed
 humble, TX, 77346-3715
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1703
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       242.94
                                                                                                                     $________________________________
 Clever Parajon                                                      Check all that apply.
 3151 North F Street                                                  Contingent
                                                                      Unliquidated
 San Bernardino, CA, 92405                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1704
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cliff Green                                                         Check all that apply.
                                                                                                                      29.98
                                                                                                                     $________________________________
 230 Pages Place , Apt 4                                              Contingent
                                                                      Unliquidated
 Bountiful, UT, 84010                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1705
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.17
                                                                                                                     $________________________________
 Clifford Elor                                                       Check all that apply.
 67 N second ave Nanuet Ny 10954                                      Contingent
                                                                      Unliquidated
 Nanuet, NY, 10954                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1706
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Clint Grommett                                                      Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 500 E MIFFLIN ST                                                     Contingent
                                                                      Unliquidated
 ORWIGSBURG, PA, 17961                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1707
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             50.98
                                                                                                                     $________________________________
 Clint Miller                                                         Contingent
 140 Akaloa Dr                                                        Unliquidated
                                                                      Disputed
 Bastrop, TX, 78602
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1708
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       125.97
                                                                                                                     $________________________________
 CLINT VON HOLLEN                                                    Check all that apply.
 1252 AMHERST COURT                                                   Contingent
                                                                      Unliquidated
 COCOA, FL, 32922                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1709
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Clinton Camp                                                        Check all that apply.
                                                                                                                      89.96
                                                                                                                     $________________________________
 715 Parkway, Suite 8                                                 Contingent
                                                                      Unliquidated
 Gatlinburg, TN, 37738                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1710
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      99.98
                                                                                                                     $________________________________
 Clinton Casey                                                       Check all that apply.
 6024 Osprey Dr.                                                      Contingent
                                                                      Unliquidated
 Rosenberg, TX, 77469                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1711
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Clinton Dunn                                                        Check all that apply.
                                                                                                                       99.50
                                                                                                                     $________________________________
 14003 Lookout Way North                                              Contingent
                                                                      Unliquidated
 Seminole, FL, 33776                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1712
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             18.98
                                                                                                                     $________________________________
 Clinton Dybul                                                        Contingent
 3201 E Lake Park Xing, Unit 65                                       Unliquidated
                                                                      Disputed
 Appleton, WI, 54915
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1713
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       109.99
                                                                                                                     $________________________________
 Clovis Medeiros 5 HIGHLAND ST MILFORD MA                            Check all that apply.
 01757-2313 Medeiros                                                  Contingent
 5 HIGHLAND ST                                                        Unliquidated
                                                                      Disputed
 MILFORD, MA, 01757-2313
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1714
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CNA Insurance                                                       Check all that apply.
                                                                                                                      1,596.55
                                                                                                                     $________________________________
 PO Box 74007619                                                      Contingent
                                                                      Unliquidated
 Chicago, IL, 60674.7619                                              Disputed
                                                                     Basis for the claim: Insurance company



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1715
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.39
                                                                                                                     $________________________________
 Cody Chambers                                                       Check all that apply.
 134 Rosewood Dr.                                                     Contingent
                                                                      Unliquidated
 Princeton, WV, 24739                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1716
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cody Cramer                                                         Check all that apply.
                                                                                                                       26.04
                                                                                                                     $________________________________
 1980 Country Road Lot 80                                             Contingent
                                                                      Unliquidated
 Rapid City, SD, 57701                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1717
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             129.99
                                                                                                                     $________________________________
 Cody farmer                                                          Contingent
 4608 Williams Valley Road                                            Unliquidated
                                                                      Disputed
 Clayton, WA, 99110
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1718
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       89.87
                                                                                                                     $________________________________
 Cody Kreppein                                                       Check all that apply.
 1355 Bradley Blvd, Apt 208                                           Contingent
                                                                      Unliquidated
 Savannah, GA, 31419-8155                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1719
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cody Morris                                                         Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 301 West Lin Street                                                  Contingent
                                                                      Unliquidated
 Fulton, MS, 38843                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1720
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65.95
                                                                                                                     $________________________________
 Cody Onishi                                                         Check all that apply.
 1415 Victoria Street, Apt 606                                        Contingent
                                                                      Unliquidated
 Honolulu, HI, 96822                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1721
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 cody piet                                                           Check all that apply.
                                                                                                                       69.54
                                                                                                                     $________________________________
 6240 west 136th avenue                                               Contingent
                                                                      Unliquidated
 cedar lake, IN, 46303                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1722
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.09
                                                                                                                     $________________________________
 Cody Smith                                                           Contingent
 205 Steeplechase Dr                                                  Unliquidated
                                                                      Disputed
 Auburn, IN, 46706
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1723
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.99
                                                                                                                     $________________________________
 Cole Halverson                                                      Check all that apply.
 2735 E Runaway Bay PL                                                Contingent
                                                                      Unliquidated
 Gilbert, AZ, 85298                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1724
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cole Jackson                                                        Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 1049 Chatsworth Drive                                                Contingent
                                                                      Unliquidated
 Mount Juliet, TN, 37138                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1725
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      18.45
                                                                                                                     $________________________________
 Cole Kruger                                                         Check all that apply.
 106213 E 297 PR SE                                                   Contingent
                                                                      Unliquidated
 Kennewick, WA, 99338                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1726
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cole Willingham                                                     Check all that apply.
                                                                                                                       32.09
                                                                                                                     $________________________________
 2604 Laurelwood Drive                                                Contingent
                                                                      Unliquidated
 Martinsville, IN, 46151                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1727
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.42
                                                                                                                     $________________________________
 Colin Agpaoa                                                         Contingent
 857 Kellogg Mill Road                                                Unliquidated
                                                                      Disputed
 Fredericksburg, VA, 22406
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1728
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.69
                                                                                                                     $________________________________
 Colin Taibi                                                         Check all that apply.
 2142 Tournament Way                                                  Contingent
                                                                      Unliquidated
 Grove City, OH, 43123                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1729
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Colleen Scala                                                       Check all that apply.
                                                                                                                      64.19
                                                                                                                     $________________________________
 5470 Sw 100th Loop                                                   Contingent
                                                                      Unliquidated
 Ocala, FL, 34476                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1730
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.98
                                                                                                                     $________________________________
 Collin Partin                                                       Check all that apply.
 3052 Lakefield Drive                                                 Contingent
                                                                      Unliquidated
 Little Elm, TX, 75068                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1731
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CON MALLARI                                                         Check all that apply.
                                                                                                                       38.97
                                                                                                                     $________________________________
 11364 walcroft street                                                Contingent
                                                                      Unliquidated
 lakewood, CA, 90715                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1732
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.99
                                                                                                                     $________________________________
 Connan Powers                                                        Contingent
 716 South Fuller Avenue                                              Unliquidated
                                                                      Disputed
 Independence, MO, 64052
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1733
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       438.70
                                                                                                                     $________________________________
 Connie Divis                                                        Check all that apply.
 1009 Doubletree Court Northeast                                      Contingent
                                                                      Unliquidated
 Cedar Rapids, IA, 52402                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1734
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Connie Gilbert                                                      Check all that apply.
                                                                                                                      53.99
                                                                                                                     $________________________________
 19634 Pine Valley Avenue                                             Contingent
                                                                      Unliquidated
 Porter Ranch, CA, 91326                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1735
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.99
                                                                                                                     $________________________________
 Connie Oseguera Espinoza                                            Check all that apply.
 240 Alhambra Street                                                  Contingent
                                                                      Unliquidated
 Salinas, CA, 93906                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1736
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Connie Situ                                                         Check all that apply.
                                                                                                                       118.97
                                                                                                                     $________________________________
 11 Saint George St, 13B                                              Contingent
                                                                      Unliquidated
 Boston, MA, 2118                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1737
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             107.96
                                                                                                                     $________________________________
 Connor Hoasjoe                                                       Contingent
 102 OaK Leaf Trl.                                                    Unliquidated
                                                                      Disputed
 Benton, LA, 71006
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1738
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.23
                                                                                                                     $________________________________
 Connor Center                                                       Check all that apply.
 712 Oak brook Drive                                                  Contingent
                                                                      Unliquidated
 Hebron, IN, 46341                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1739
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Connor Shropshire                                                   Check all that apply.
                                                                                                                      52.84
                                                                                                                     $________________________________
 PO box 2974                                                          Contingent
                                                                      Unliquidated
 Redmond, WA, 98073                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1740
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.12
                                                                                                                     $________________________________
 Connor Smith                                                        Check all that apply.
 610 Parkway Blvd                                                     Contingent
                                                                      Unliquidated
 Elizabethton, TN, 37643                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1741
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Connor Young                                                        Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 5 Bells Creek Drive                                                  Contingent
                                                                      Unliquidated
 Simpsonville, SC, 29681                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1742
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.05
                                                                                                                     $________________________________
 Conor McCarty                                                        Contingent
 429 S. Hoover St., 2                                                 Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90020
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1743
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.35
                                                                                                                     $________________________________
 Corey Augustine                                                     Check all that apply.
 2030 e beauregard st                                                 Contingent
                                                                      Unliquidated
 Chalmette, LA, 70043                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1744
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Corey Behanna                                                       Check all that apply.
                                                                                                                      25.67
                                                                                                                     $________________________________
 378 Bunola River Rd, Box 242                                         Contingent
                                                                      Unliquidated
 Bunola, PA, 15020-1004                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1745
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Corey Capella                                                       Check all that apply.
 471 W College Ave, 313                                               Contingent
                                                                      Unliquidated
 Santa Rosa, CA, 95401                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1746
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Corey Danowsky                                                      Check all that apply.
                                                                                                                       48.75
                                                                                                                     $________________________________
 578 Madison Avenue                                                   Contingent
                                                                      Unliquidated
 Milton, PA, 17847                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1747
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             98.97
                                                                                                                     $________________________________
 Corey Dean                                                           Contingent
 108 High Street                                                      Unliquidated
                                                                      Disputed
 North East, MD, 21901
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1748
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.89
                                                                                                                     $________________________________
 Corey Fields                                                        Check all that apply.
 4313 Gum Tree Lane                                                   Contingent
                                                                      Unliquidated
 Lexington, KY, 40513-1357                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1749
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Corey Hahnl                                                         Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 779 G Street                                                         Contingent
                                                                      Unliquidated
 Washougal, WA, 98671                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1750
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      46.28
                                                                                                                     $________________________________
 Corey Heard                                                         Check all that apply.
 4041 N KEYSTONE AVE, 1B                                              Contingent
                                                                      Unliquidated
 CHICAGO, IL, 60641                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1751
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Corey Hissam                                                        Check all that apply.
                                                                                                                       308.17
                                                                                                                     $________________________________
 9274 Hare Drive                                                      Contingent
                                                                      Unliquidated
 West Chester, OH, 45069                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1752
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Corey Hutt                                                           Contingent
 109 Driftwood Drive                                                  Unliquidated
                                                                      Disputed
 Oneida, NY, 13421
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1753
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.23
                                                                                                                     $________________________________
 Corey Jones                                                         Check all that apply.
 7509 Ishmael Lane                                                    Contingent
                                                                      Unliquidated
 Corryton, TN, 37721                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1754
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Corey Kener                                                         Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 6134 W. Intrigue Place                                               Contingent
                                                                      Unliquidated
 Herriman, UT, 84096                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1755
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      174.39
                                                                                                                     $________________________________
 Corey Leavell                                                       Check all that apply.
 7405 N Audubon St                                                    Contingent
                                                                      Unliquidated
 Spokane, WA, 99208                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1756
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Corey Mulloy                                                        Check all that apply.
                                                                                                                       15.89
                                                                                                                     $________________________________
 3549 Christy Way N                                                   Contingent
                                                                      Unliquidated
 Saginaw, MI, 48603                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1757
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             164.97
                                                                                                                     $________________________________
 Corey Stewart                                                        Contingent
 221 Asiago                                                           Unliquidated
                                                                      Disputed
 Schertz, TX, 78108
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1758
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Corina Bray                                                         Check all that apply.
 34383 Summerlyn Drive, 111                                           Contingent
                                                                      Unliquidated
 Lewes, DE, 19958                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1759
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Corina Houseworth                                                   Check all that apply.
                                                                                                                      28.65
                                                                                                                     $________________________________
 223 Spetti Drive                                                     Contingent
                                                                      Unliquidated
 Fremont, CA, 94536                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1760
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8.99
                                                                                                                     $________________________________
 Cory Howard                                                         Check all that apply.
 33R Adams Pond Rd                                                    Contingent
                                                                      Unliquidated
 Derry, NH, 3038                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1761
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cory Kakogawa                                                       Check all that apply.
                                                                                                                       228.97
                                                                                                                     $________________________________
 94-1023 Halekapio St.                                                Contingent
                                                                      Unliquidated
 Waipahu, HI, 96797                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1762
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             395.84
                                                                                                                     $________________________________
 Cory Norell                                                          Contingent
 1111 Breen Street                                                    Unliquidated
                                                                      Disputed
 Saint Paul, MN, 55106
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1763
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Cory Richards                                                       Check all that apply.
 1160 89th Street                                                     Contingent
                                                                      Unliquidated
 West Des Moines, IA, 50266                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1764
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cory Sorrells                                                       Check all that apply.
                                                                                                                      26.66
                                                                                                                     $________________________________
 279 herron trail                                                     Contingent
                                                                      Unliquidated
 Mcdade, TX, 78650                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1765
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      80.05
                                                                                                                     $________________________________
 Cory Sutyak                                                         Check all that apply.
 1227 Glenoak Dr                                                      Contingent
                                                                      Unliquidated
 Tallmadge, OH, 44278                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1766
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cosmo Gonzalez                                                      Check all that apply.
                                                                                                                       45.44
                                                                                                                     $________________________________
 2905 Abbott Ave                                                      Contingent
                                                                      Unliquidated
 Mission, TX, 78572                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1767
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.99
                                                                                                                     $________________________________
 Court Joy                                                            Contingent
 Windermere Chase Boulevard                                           Unliquidated
                                                                      Disputed
 Gotha, FL, 34734
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1768
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       112.35
                                                                                                                     $________________________________
 Courtney Carter                                                     Check all that apply.
 73 North 150 East                                                    Contingent
                                                                      Unliquidated
 Malad City, ID, 83252                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1769
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Courtney Chapman                                                    Check all that apply.
                                                                                                                      68.89
                                                                                                                     $________________________________
 101 Yeargin circle                                                   Contingent
                                                                      Unliquidated
 FOUNTAIN INN, SC, 29644                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1770
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      55.11
                                                                                                                     $________________________________
 Courtney Cole                                                       Check all that apply.
 30 Brattleboro Drive                                                 Contingent
                                                                      Unliquidated
 Greensburg, PA, 15601                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1771
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Courtney Copening                                                   Check all that apply.
                                                                                                                       32.16
                                                                                                                     $________________________________
 3033 Holston Lane, A                                                 Contingent
                                                                      Unliquidated
 Raleigh, NC, 27610                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1772
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             8.99
                                                                                                                     $________________________________
 Courtney Doring                                                      Contingent
 12 Linden Pl, 2a                                                     Unliquidated
                                                                      Disputed
 Port Jefferson, NY, 11777
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1773
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       180.18
                                                                                                                     $________________________________
 Courtney Fox                                                        Check all that apply.
 31 Bluffside Drive                                                   Contingent
                                                                      Unliquidated
 Greenville, SC, 29611                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1774
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Courtney Honda                                                      Check all that apply.
                                                                                                                      26.17
                                                                                                                     $________________________________
 95-1149 Makaikai St. # 109, #109                                     Contingent
                                                                      Unliquidated
 Mililani, HI, 96789                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1775
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.99
                                                                                                                     $________________________________
 Courtney Ito                                                        Check all that apply.
 1565 W 208th St, apt 4                                               Contingent
                                                                      Unliquidated
 Torrance, CA, 90501                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1776
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Craig Arnold                                                        Check all that apply.
                                                                                                                       16.30
                                                                                                                     $________________________________
 96 Martinique Dr                                                     Contingent
                                                                      Unliquidated
 Buffalo, NY, 14227                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1777
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             11.99
                                                                                                                       $________________________________
 Craig Buren                                                            Contingent
 3201 Leith Lane, Apt 614                                               Unliquidated
                                                                        Disputed
 Louisville, KY, 40218
                                                                       Basis for the claim: Customers with Outstanding Deposits



                                                                       Is the claim subject to offset?
         Date or dates debt was incurred        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
         Last 4 digits of account number        ___________________
  1778
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         148.74
                                                                                                                       $________________________________
 Craig Fujita                                                          Check all that apply.
 20A Central St.                                                        Contingent
                                                                        Unliquidated
 Somerville, MA, 2143                                                   Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  1779
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Craig Norberg                                                         Check all that apply.
                                                                                                                        209.86
                                                                                                                       $________________________________
 1936 Ashfield Street                                                   Contingent
                                                                        Unliquidated
 Orlando, FL, 32825                                                     Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  1780
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        10.99
                                                                                                                       $________________________________
 Craig Norman                                                          Check all that apply.
 505 2nd st                                                             Contingent
                                                                        Unliquidated
 menasha, WI, 54952                                                     Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes
  1781
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Craig Piccirillo                                                      Check all that apply.
                                                                                                                         29.98
                                                                                                                       $________________________________
 25 Cary Ave                                                            Contingent
                                                                        Unliquidated
 Milton, MA, 2186                                                       Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes



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  1782
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.98
                                                                                                                     $________________________________
 Craig Rush                                                           Contingent
 12028 Urbank Circle Northeast                                        Unliquidated
                                                                      Disputed
 Blaine, MN, 55449
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1783
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       239.99
                                                                                                                     $________________________________
 Craig Semon                                                         Check all that apply.
 216 Saint Nicholas Avenue                                            Contingent
                                                                      Unliquidated
 Worcester, MA, 1606                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1784
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Craig Taylor                                                        Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 301 West Main Street                                                 Contingent
                                                                      Unliquidated
 Cortez, CO, 81321                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1785
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.99
                                                                                                                     $________________________________
 craig zeigler                                                       Check all that apply.
 400 W Broadway St ste 101, 204                                       Contingent
                                                                      Unliquidated
 Missoula , MT, 59802                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1786
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Craige Hood                                                         Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 1986 Scarecrow Drive, 1041#                                          Contingent
                                                                      Unliquidated
 Camano, WA, 98282                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1787
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.13
                                                                                                                     $________________________________
 Cris E Hough                                                         Contingent
 5717 Concord Hill Dr                                                 Unliquidated
                                                                      Disputed
 Columbus, OH, 43213-2607
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1788
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       81.27
                                                                                                                     $________________________________
 criss lin                                                           Check all that apply.
 8136 CRIMSON CREEK CT                                                Contingent
                                                                      Unliquidated
 LAS VEGAS, NV, 89139-6909                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1789
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cristal Medrano                                                     Check all that apply.
                                                                                                                      51.95
                                                                                                                     $________________________________
 5916 La Ramada Street                                                Contingent
                                                                      Unliquidated
 Pharr, TX, 78577                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1790
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      46.89
                                                                                                                     $________________________________
 Cristi DiBernardo                                                   Check all that apply.
 2172 Crossing Way                                                    Contingent
                                                                      Unliquidated
 Wayne, NJ, 7470                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1791
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cristian Bruce                                                      Check all that apply.
                                                                                                                       54.95
                                                                                                                     $________________________________
 2416 Oak CT                                                          Contingent
                                                                      Unliquidated
 Yuba City, CA, 95991                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1792
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.61
                                                                                                                     $________________________________
 Cristian Camarillo                                                   Contingent
 402 Christopher Court                                                Unliquidated
                                                                      Disputed
 Grand Prairie, TX, 75052
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1793
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Cristian Diaz                                                       Check all that apply.
 6204 South California Avenue                                         Contingent
                                                                      Unliquidated
 Chicago, IL, 60629                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1794
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cristian Feliciano                                                  Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 912 calle amor Urb. Sagrado corazon                                  Contingent
                                                                      Unliquidated
 Penuelas, PR, 624                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1795
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.86
                                                                                                                     $________________________________
 Cristian Moreno                                                     Check all that apply.
 3528s Callao Dr                                                      Contingent
                                                                      Unliquidated
 West Valley City, UT, 84128                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1796
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cristian Perez                                                      Check all that apply.
                                                                                                                       92.98
                                                                                                                     $________________________________
 523 Butternut Dr Lot 90                                              Contingent
                                                                      Unliquidated
 Holland, MI, 49424                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1797
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.94
                                                                                                                     $________________________________
 Cristian Rodriguez                                                   Contingent
 87 Stratler Dr                                                       Unliquidated
                                                                      Disputed
 Shirley, NY, 11967
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1798
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       95.97
                                                                                                                     $________________________________
 cristina azpeitia                                                   Check all that apply.
 1114 Windsor Dr                                                      Contingent
                                                                      Unliquidated
 Fort Myers, FL, 33905                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1799
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cristina Duarte                                                     Check all that apply.
                                                                                                                      315.98
                                                                                                                     $________________________________
 28830 SW Ashland Dr Apt 294                                          Contingent
                                                                      Unliquidated
 Wilsonville, OR, 97070                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1800
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      118.51
                                                                                                                     $________________________________
 Cristo Silva                                                        Check all that apply.
 602 South Mancos Place                                               Contingent
                                                                      Unliquidated
 Anaheim, CA, 92806                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1801
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cristobal Pena                                                      Check all that apply.
                                                                                                                       330.98
                                                                                                                     $________________________________
 1087 SE Tamora AVE                                                   Contingent
                                                                      Unliquidated
 Hillsboro, OR, 97123                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1802
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 cristobal Quintero                                                   Contingent
 1444 Childs Ave                                                      Unliquidated
                                                                      Disputed
 Ogden, UT, 84404
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1803
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       169.99
                                                                                                                     $________________________________
 cristobal Quintero                                                  Check all that apply.
 1444 Childs Ave                                                      Contingent
                                                                      Unliquidated
 Ogden, UT, 84404                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1804
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CRISTOBAL RODARTE                                                   Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 9226 WOLCOTT PARK LN                                                 Contingent
                                                                      Unliquidated
 Houston, TX, 77075-3824                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1805
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      374.50
                                                                                                                     $________________________________
 Cristopher Flores                                                   Check all that apply.
 1417 Menlo Avenue                                                    Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90006                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1806
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cristopher Lugo                                                     Check all that apply.
                                                                                                                       54.99
                                                                                                                     $________________________________
 1901 84th Street, 3D                                                 Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1807
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             117.29
                                                                                                                     $________________________________
 Crown Equipment Corporation                                          Contingent
 PO Box 641173                                                        Unliquidated
                                                                      Disputed
 Cincinatti, OH, 45264-1173
                                                                     Basis for the claim: Trade Payables



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1808
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.10
                                                                                                                     $________________________________
 Crys Lau                                                            Check all that apply.
 54 Ramblewood Drive                                                  Contingent
                                                                      Unliquidated
 Newburgh, NY, 12550                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1809
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Crystal Bedenbaugh                                                  Check all that apply.
                                                                                                                      8.99
                                                                                                                     $________________________________
 750 Square Lake Dr N                                                 Contingent
                                                                      Unliquidated
 Bartow, FL, 33830                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1810
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.15
                                                                                                                     $________________________________
 Crystal Coronado                                                    Check all that apply.
 3213 Clear Lake Rd                                                   Contingent
                                                                      Unliquidated
 Ontario, CA, 91761                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1811
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Crystal Gutierrez                                                   Check all that apply.
                                                                                                                       24.99
                                                                                                                     $________________________________
 PO Box 932, 106 W Gray St                                            Contingent
                                                                      Unliquidated
 Jay, OK, 74346-0932                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1812
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             106.98
                                                                                                                     $________________________________
 Crystal Hernandez                                                    Contingent
 445 Orchard View Ave                                                 Unliquidated
                                                                      Disputed
 Martinez, CA, 94553-3553
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1813
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.49
                                                                                                                     $________________________________
 Crystal Lohr                                                        Check all that apply.
 111 Keister Ln, Apt 1                                                Contingent
                                                                      Unliquidated
 Duncansville, PA, 16635                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1814
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Crystal Makkinga                                                    Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 211 Everstone Dr                                                     Contingent
                                                                      Unliquidated
 Calgary, AB, T2Y4V1                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1815
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      80.37
                                                                                                                     $________________________________
 Crystal Moussouris                                                  Check all that apply.
 9633 E Caley Cir                                                     Contingent
                                                                      Unliquidated
 Englewood, CO, 80111                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1816
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CRYSTAL NIBARGER                                                    Check all that apply.
                                                                                                                       21.19
                                                                                                                     $________________________________
 125 LINDA DR                                                         Contingent
                                                                      Unliquidated
 NEWPORT NEWS, VA, 23608                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1817
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             48.03
                                                                                                                     $________________________________
 Crystal Wong                                                         Contingent
 128 Innsbruck Dr                                                     Unliquidated
                                                                      Disputed
 Clayton, NC, 27527
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1818
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.97
                                                                                                                     $________________________________
 Crystal Young                                                       Check all that apply.
 1306 Golden Gate Ln                                                  Contingent
                                                                      Unliquidated
 saint peters, MO, 63376-5207                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1819
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Crystel Byrd                                                        Check all that apply.
                                                                                                                      29.98
                                                                                                                     $________________________________
 2519 West Edgefield Road                                             Contingent
                                                                      Unliquidated
 Florence, SC, 29501                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1820
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      114.69
                                                                                                                     $________________________________
 Cuahutemoc Dominguez                                                Check all that apply.
 308 Sweetland Dr                                                     Contingent
                                                                      Unliquidated
 Chattanooga, TN, 37415                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1821
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Curtis Castaneda                                                    Check all that apply.
                                                                                                                       34.99
                                                                                                                     $________________________________
 16090 Euclid Ave                                                     Contingent
                                                                      Unliquidated
 Allen Park, MI, 48101                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1822
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.86
                                                                                                                     $________________________________
 Curtis Helmick                                                       Contingent
 4820 S 350 E, A17                                                    Unliquidated
                                                                      Disputed
 Ogden, UT, 84405
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1823
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       286.98
                                                                                                                     $________________________________
 CURTIS LOUDON                                                       Check all that apply.
 7108 Heron Hills Dr                                                  Contingent
                                                                      Unliquidated
 Wolverine Lake, MI, 48390-1414                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1824
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Curtis Reichert                                                     Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 3010 West Zachary Drive                                              Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85027                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1825
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.53
                                                                                                                     $________________________________
 Cy Nguyen                                                           Check all that apply.
 2414 Telegraph Ave., Apt. 614                                        Contingent
                                                                      Unliquidated
 Berkeley, CA, 94704                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1826
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cybil Bennett                                                       Check all that apply.
                                                                                                                       28.04
                                                                                                                     $________________________________
 10435 Casador Del Oso Northeast                                      Contingent
                                                                      Unliquidated
 Albuquerque, NM, 87111                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1827
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.36
                                                                                                                     $________________________________
 Cynthia Andre                                                        Contingent
 1301 Golden Rain, 3                                                  Unliquidated
                                                                      Disputed
 Walnut Creek, CA, 94595
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1828
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.49
                                                                                                                     $________________________________
 cynthia chan                                                        Check all that apply.
 11 rockaway st, apt 1                                                Contingent
                                                                      Unliquidated
 lynn, MA, 1902                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1829
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cynthia Franco                                                      Check all that apply.
                                                                                                                      31.98
                                                                                                                     $________________________________
 1550 Safari Ct.                                                      Contingent
                                                                      Unliquidated
 Palmdale, CA, 93551                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1830
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                     $________________________________
 CYNTHIA GONZALEZ                                                    Check all that apply.
 1909 Burma Lane                                                      Contingent
                                                                      Unliquidated
 South Saint Paul, MN, 55075                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1831
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cynthia Herrera                                                     Check all that apply.
                                                                                                                       70.33
                                                                                                                     $________________________________
 1808 arctic ct                                                       Contingent
                                                                      Unliquidated
 LAREDO, TX, 78045                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1832
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             46.88
                                                                                                                     $________________________________
 Cynthia Hu                                                           Contingent
 14041 Agusta Drive                                                   Unliquidated
                                                                      Disputed
 Chesterfield, MO, 63017
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1833
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       105.11
                                                                                                                     $________________________________
 Cynthia Lopez                                                       Check all that apply.
 4402 green Ave , Apt a                                               Contingent
                                                                      Unliquidated
 Los Alamitos , CA, 90059                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1834
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cynthia Scott                                                       Check all that apply.
                                                                                                                      28.29
                                                                                                                     $________________________________
 2451 Oak Court Rd                                                    Contingent
                                                                      Unliquidated
 ukiah, CA, 95482                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1835
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.98
                                                                                                                     $________________________________
 Cynthia servin                                                      Check all that apply.
 5722 West 23rd Street                                                Contingent
                                                                      Unliquidated
 Cicero, IL, 60804                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1836
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cynthia Torres                                                      Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 23 Ivy Hill Road                                                     Contingent
                                                                      Unliquidated
 Mahopac, NY, 10541                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1837
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             18.99
                                                                                                                     $________________________________
 Cynthia Vargas                                                       Contingent
 5809 Finchley Rd                                                     Unliquidated
                                                                      Disputed
 Palmdale, CA, 93552
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1838
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       45.98
                                                                                                                     $________________________________
 Cynthua Riddle                                                      Check all that apply.
 125 West Bare Hill Road                                              Contingent
                                                                      Unliquidated
 Harvard, MA, 1451                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1839
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cyrus Lusk                                                          Check all that apply.
                                                                                                                      16.04
                                                                                                                     $________________________________
 5569 Gillot Blvd                                                     Contingent
                                                                      Unliquidated
 Port Charlottle, FL, 33981                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1840
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.99
                                                                                                                     $________________________________
 D.J. Bowes                                                          Check all that apply.
 4910 40th place                                                      Contingent
                                                                      Unliquidated
 hyattsville, MD, 20781                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1841
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dad/Rustyn Duet                                                     Check all that apply.
                                                                                                                       37.98
                                                                                                                     $________________________________
 246 East 71st St.                                                    Contingent
                                                                      Unliquidated
 Cut Off, LA, 70345                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1842
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             53.31
                                                                                                                     $________________________________
 Dagoberto Navarro                                                    Contingent
 444 Santa Barbara Avenue                                             Unliquidated
                                                                      Disputed
 Daly City, CA, 94014
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1843
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.25
                                                                                                                     $________________________________
 Dahlia Romero                                                       Check all that apply.
 5150 N Valentine Ave, Apt 239                                        Contingent
                                                                      Unliquidated
 Fresno, CA, 93711                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1844
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daisy Enciso                                                        Check all that apply.
                                                                                                                      23.99
                                                                                                                     $________________________________
 201 S Magnolia Ave, Apt 25                                           Contingent
                                                                      Unliquidated
 Anaheim, CA, 92804-2141                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1845
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      86.98
                                                                                                                     $________________________________
 Daisy Magdaleno                                                     Check all that apply.
 1025 W Central Ave Apt.C                                             Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92707                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1846
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daisy Magdaleno                                                     Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 1025 West Central Avenue Apt.C                                       Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92707                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1847
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.71
                                                                                                                     $________________________________
 Dakota Hansen                                                        Contingent
 9779 2 Mile Road Northeast                                           Unliquidated
                                                                      Disputed
 Lowell, MI, 49331
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1848
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.65
                                                                                                                     $________________________________
 Dakota Kessinger                                                    Check all that apply.
 1903 Wyckshire Court, Apt B3                                         Contingent
                                                                      Unliquidated
 Clarksville, IN, 47129                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1849
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dakota Phipps                                                       Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 3729 morganton road                                                  Contingent
                                                                      Unliquidated
 Maryville, TN, 37801                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1850
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.97
                                                                                                                     $________________________________
 Dakota Rogert                                                       Check all that apply.
 954 4th st                                                           Contingent
                                                                      Unliquidated
 SULTAN, WA, 98294                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1851
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dakota Salsberry                                                    Check all that apply.
                                                                                                                       32.31
                                                                                                                     $________________________________
 1342 Chrysolite Avenue, A                                            Contingent
                                                                      Unliquidated
 Mentone, CA, 92359                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1852
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.99
                                                                                                                     $________________________________
 Dakota Wresch                                                        Contingent
 17463 Lewis smith dr                                                 Unliquidated
                                                                      Disputed
 Foley, AL, 36535
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1853
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Dale Clark                                                          Check all that apply.
 68 Shennecossett Road                                                Contingent
                                                                      Unliquidated
 Groton, CT, 6340                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1854
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dalia Campos                                                        Check all that apply.
                                                                                                                      57.99
                                                                                                                     $________________________________
 2939 ridgeway dr                                                     Contingent
                                                                      Unliquidated
 national city, CA, 91950-7830                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1855
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      139.40
                                                                                                                     $________________________________
 Dallan Blunt                                                        Check all that apply.
 4760 Highland Drive                                                  Contingent
                                                                      Unliquidated
 Millcreek, UT, 84117                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1856
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dallas Miller                                                       Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 3430 SE Harrison St Apt C6                                           Contingent
                                                                      Unliquidated
 Milwaukie, OR, 97222-6555                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1857
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             61.03
                                                                                                                     $________________________________
 Dalton Barbot                                                        Contingent
 1687 Dotterers Run                                                   Unliquidated
                                                                      Disputed
 Charleston, SC, 29414
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1858
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Dalton McClung                                                      Check all that apply.
 106 Churchill Drive                                                  Contingent
                                                                      Unliquidated
 LaGrange, GA, 30241                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1859
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dalton Miatke                                                       Check all that apply.
                                                                                                                      77.99
                                                                                                                     $________________________________
 11243 East Six Corners Road                                          Contingent
                                                                      Unliquidated
 Whitewater, WI, 53190                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1860
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.99
                                                                                                                     $________________________________
 Dalton Morris                                                       Check all that apply.
 7801 Susan Circle                                                    Contingent
                                                                      Unliquidated
 Anchorage, AK, 99516                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1861
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dalya Dickstein                                                     Check all that apply.
                                                                                                                       25.58
                                                                                                                     $________________________________
 9 Vista Terrace                                                      Contingent
                                                                      Unliquidated
 Livingston, NJ, 7039                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1862
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Damaris Rodriguez                                                    Contingent
 1718 blue jay                                                        Unliquidated
                                                                      Disputed
 Penitas, TX, 78576
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1863
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Damian Andujar                                                      Check all that apply.
 HC 4 Box 13612 Arecibo PR 00612-9221                                 Contingent
                                                                      Unliquidated
 Arecibo, PR, 612                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1864
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Damian Harris                                                       Check all that apply.
                                                                                                                      28.81
                                                                                                                     $________________________________
 PO BOX 5158                                                          Contingent
                                                                      Unliquidated
 Greensboro, NC, 27435                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1865
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      83.94
                                                                                                                     $________________________________
 Damian Womack                                                       Check all that apply.
 6363 Emerald Trail                                                   Contingent
                                                                      Unliquidated
 Acworth, GA, 30102                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1866
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Damien Foster                                                       Check all that apply.
                                                                                                                       19.79
                                                                                                                     $________________________________
 12724 104th Avenue Ct E, Apt G101                                    Contingent
                                                                      Unliquidated
 Puyallup, WA, 98374                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1867
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Damien Pavkovich                                                     Contingent
 19 Woodbury Circle                                                   Unliquidated
                                                                      Disputed
 Taylors, SC, 29687
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1868
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       92.97
                                                                                                                     $________________________________
 Damien Tucker                                                       Check all that apply.
 260 Bay st, APT #4406                                                Contingent
                                                                      Unliquidated
 San Francisco, CA, 94133                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1869
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Damien Wright                                                       Check all that apply.
                                                                                                                      220.49
                                                                                                                     $________________________________
 1831 East Rancho Grande Dr                                           Contingent
                                                                      Unliquidated
 Covina, CA, 91724                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1870
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      92.82
                                                                                                                     $________________________________
 Dan Berg                                                            Check all that apply.
 11217 43rd Ave                                                       Contingent
                                                                      Unliquidated
 Pleasant Prairie, WI, 53158                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1871
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dan Bildilli                                                        Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 2409 Sharondale Dr.                                                  Contingent
                                                                      Unliquidated
 Clovis, NM, 88101                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1872
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Dan Bingham                                                          Contingent
 11120 Southwest 43rd Avenue                                          Unliquidated
                                                                      Disputed
 Portland, OR, 97219
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1873
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.98
                                                                                                                     $________________________________
 Dan Blatnik                                                         Check all that apply.
 11820 57th AVE SE                                                    Contingent
                                                                      Unliquidated
 SNOHOMISH, WA, 98296                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1874
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dan Cali                                                            Check all that apply.
                                                                                                                      45.97
                                                                                                                     $________________________________
 2041 Clearfork Road                                                  Contingent
                                                                      Unliquidated
 Bridgeville, PA, 15017                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1875
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.99
                                                                                                                     $________________________________
 Dan Eustathion                                                      Check all that apply.
 161 Horseshoe Drive                                                  Contingent
                                                                      Unliquidated
 Annville, PA, 17003                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1876
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DAN JUAREZ                                                          Check all that apply.
                                                                                                                       43.48
                                                                                                                     $________________________________
 29100 Avenida La Vista                                               Contingent
                                                                      Unliquidated
 Cathedral City, CA, 92234                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1877
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.98
                                                                                                                     $________________________________
 Dan Kroft                                                            Contingent
 571 Longworth Avenue, Unit 8                                         Unliquidated
                                                                      Disputed
 Bowmanville, ON, L1C0H3
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1878
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       300.61
                                                                                                                     $________________________________
 Dan Leelachat                                                       Check all that apply.
 9876 Silvretta Drive                                                 Contingent
                                                                      Unliquidated
 Cypress, CA, 90630                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1879
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dan Lenihan                                                         Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 9345 Parkside Lane                                                   Contingent
                                                                      Unliquidated
 Urbandale, IA, 50322                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1880
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      84.99
                                                                                                                     $________________________________
 Dan Mcgurk                                                          Check all that apply.
 3500 Haverford Avenue                                                Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89121                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1881
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DANA BRANDT                                                         Check all that apply.
                                                                                                                       44.99
                                                                                                                     $________________________________
 813 S WEBER ST                                                       Contingent
                                                                      Unliquidated
 COLORADO SPRINGS, CO, 80903                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1882
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             8.99
                                                                                                                     $________________________________
 Dana Lawrence                                                        Contingent
 401 Dubois St                                                        Unliquidated
                                                                      Disputed
 Bonneau, SC, 29431
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1883
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.11
                                                                                                                     $________________________________
 Danah Aldameth                                                      Check all that apply.
 2635 Quarry Stone Court                                              Contingent
                                                                      Unliquidated
 Oviedo, FL, 32765                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1884
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dandan Wang                                                         Check all that apply.
                                                                                                                      26.92
                                                                                                                     $________________________________
 20180 Volterra Lane                                                  Contingent
                                                                      Unliquidated
 Yorba Linda, CA, 92886                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1885
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.40
                                                                                                                     $________________________________
 Dane Johnson                                                        Check all that apply.
 4554 Cedar Ave S                                                     Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55407                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1886
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dane Konkel                                                         Check all that apply.
                                                                                                                       13.99
                                                                                                                     $________________________________
 825 AUBURN DR                                                        Contingent
                                                                      Unliquidated
 BROOKFIELD, WI, 53045-3773                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1887
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.99
                                                                                                                     $________________________________
 Danelle Amalfitano                                                   Contingent
 24 Del Oro Lagoon                                                    Unliquidated
                                                                      Disputed
 Novato, CA, 94949
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1888
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       48.99
                                                                                                                     $________________________________
 Danelle Sanders                                                     Check all that apply.
 30909 177th Ave. SE                                                  Contingent
                                                                      Unliquidated
 Auburn, WA, 98092                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1889
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dani Xico                                                           Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 41 Weybosset Street                                                  Contingent
                                                                      Unliquidated
 New Haven, CT, 6513                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1890
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      61.96
                                                                                                                     $________________________________
 Danica Angeles                                                      Check all that apply.
 1901 Northwind Drive                                                 Contingent
                                                                      Unliquidated
 Junction City, KS, 66441                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1891
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Armenta                                                      Check all that apply.
                                                                                                                       97.92
                                                                                                                     $________________________________
 2600 2nd Ave, Unit 702                                               Contingent
                                                                      Unliquidated
 Seattle, WA, 98121                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1892
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.98
                                                                                                                     $________________________________
 Daniel Barrett                                                       Contingent
 21 Plantation Rd                                                     Unliquidated
                                                                      Disputed
 Myrtle Beach, SC, 29588-7022
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1893
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.92
                                                                                                                     $________________________________
 Daniel Becan                                                        Check all that apply.
 2008 N. Deerpark Dr., Apartment #336,                                Contingent
 Apartment #336                                                       Unliquidated
                                                                      Disputed
 FULLERTON, CA, 92831
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1894
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Bogacz                                                       Check all that apply.
                                                                                                                      31.31
                                                                                                                     $________________________________
 1444 SANDSTONE CT W                                                  Contingent
                                                                      Unliquidated
 TARENTUM, PA, 15084                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1895
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.30
                                                                                                                     $________________________________
 Daniel Bruce                                                        Check all that apply.
 2206 Country Dell Dr                                                 Contingent
                                                                      Unliquidated
 Garland, TX, 75040-4072                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1896
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Bryz-Gornia                                                  Check all that apply.
                                                                                                                       55.40
                                                                                                                     $________________________________
 107 S. Suffolk Ave.                                                  Contingent
                                                                      Unliquidated
 Ventnor City, NJ, 8406                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1897
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             60.97
                                                                                                                     $________________________________
 Daniel Carrillo                                                      Contingent
 2220 Albatross Way                                                   Unliquidated
                                                                      Disputed
 San Jacinto, CA, 92582
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1898
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       18.27
                                                                                                                     $________________________________
 Daniel Chiavaroli                                                   Check all that apply.
 1801 Kirkwood Dr                                                     Contingent
                                                                      Unliquidated
 Durham, NC, 27705                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1899
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Conrado                                                      Check all that apply.
                                                                                                                      45.24
                                                                                                                     $________________________________
 531 Kennedy St.                                                      Contingent
                                                                      Unliquidated
 Rialto, CA, 92376                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1900
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      63.49
                                                                                                                     $________________________________
 Daniel Di Scala                                                     Check all that apply.
 210 Forest Road                                                      Contingent
                                                                      Unliquidated
 Little Neck, NY, 11363                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1901
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Downing                                                      Check all that apply.
                                                                                                                       37.31
                                                                                                                     $________________________________
 315 Steilen Avenue                                                   Contingent
                                                                      Unliquidated
 Ridgewood, NJ, 7450                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1902
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.55
                                                                                                                     $________________________________
 Daniel Eifel                                                         Contingent
 3727 palm tree blvd                                                  Unliquidated
                                                                      Disputed
 Cape Coral, FL, 33904
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1903
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Daniel Fillmon                                                      Check all that apply.
 495 Mitscher Street                                                  Contingent
                                                                      Unliquidated
 Milton, FL, 32570                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1904
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel flores                                                       Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 1539 Sunnyside Ave                                                   Contingent
                                                                      Unliquidated
 Stockton, CA, 95205                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1905
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      87.99
                                                                                                                     $________________________________
 Daniel Flores                                                       Check all that apply.
 808 South Bonnie Beach Pl                                            Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90023                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1906
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Fry                                                          Check all that apply.
                                                                                                                       47.99
                                                                                                                     $________________________________
 20 Werner Road                                                       Contingent
                                                                      Unliquidated
 Greenville, PA, 16125                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1907
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.99
                                                                                                                     $________________________________
 Daniel Galvez                                                        Contingent
 3854 Stichman Avenue                                                 Unliquidated
                                                                      Disputed
 Baldwin Park, CA, 91706
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1908
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Daniel Garcia                                                       Check all that apply.
 1911 Hannah Drive                                                    Contingent
                                                                      Unliquidated
 Edinburg, TX, 78542                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1909
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Garcia                                                       Check all that apply.
                                                                                                                      70.35
                                                                                                                     $________________________________
 3844 Saint Louis Avenue                                              Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76110                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1910
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Daniel Garcia                                                       Check all that apply.
 4575 Dean St NE                                                      Contingent
                                                                      Unliquidated
 Salem, OR, 97301-3057                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1911
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Garrido                                                      Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 3617 3rd Ave                                                         Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90018                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1912
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.97
                                                                                                                     $________________________________
 Daniel George                                                        Contingent
 123 Fremont Drive                                                    Unliquidated
                                                                      Disputed
 Summerville, SC, 29486
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1913
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       61.76
                                                                                                                     $________________________________
 Daniel Germani                                                      Check all that apply.
 29 Everett Street                                                    Contingent
                                                                      Unliquidated
 Rye, NY, 10580                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1914
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Greenslade                                                   Check all that apply.
                                                                                                                      124.96
                                                                                                                     $________________________________
 1719 Parkview Avenue                                                 Contingent
                                                                      Unliquidated
 The Bronx, NY, 10461                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1915
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      68.43
                                                                                                                     $________________________________
 Daniel Guzman                                                       Check all that apply.
 131 Country Park Drive                                               Contingent
                                                                      Unliquidated
 Winchester, VA, 22602                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1916
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Hawbaker                                                     Check all that apply.
                                                                                                                       25.31
                                                                                                                     $________________________________
 552 S HURON RD, APT 77                                               Contingent
                                                                      Unliquidated
 GREEN BAY, WI, 54311                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1917
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.04
                                                                                                                     $________________________________
 Daniel Heredia                                                       Contingent
 746 Bounty Dr, Apt 4609                                              Unliquidated
                                                                      Disputed
 Foster City, CA, 94404
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1918
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Daniel Herrera                                                      Check all that apply.
 11021 NW 62nd Ct                                                     Contingent
                                                                      Unliquidated
 Hialeah, FL, 33012                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1919
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Hurst                                                        Check all that apply.
                                                                                                                      16.60
                                                                                                                     $________________________________
 2709 Washington St                                                   Contingent
                                                                      Unliquidated
 Alameda, CA, 94501                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1920
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.91
                                                                                                                     $________________________________
 Daniel Jares                                                        Check all that apply.
 9826 Dandelion Ave                                                   Contingent
                                                                      Unliquidated
 Fountain Valley, CA, 92708-2029                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1921
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Johnson                                                      Check all that apply.
                                                                                                                       269.27
                                                                                                                     $________________________________
 38395 Alta Drive                                                     Contingent
                                                                      Unliquidated
 Fremont, CA, 94536                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1922
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             127.93
                                                                                                                     $________________________________
 Daniel L??pez                                                        Contingent
 St. 444, km 4.8, HC 5 Box 10996                                      Unliquidated
                                                                      Disputed
 Moca, PR, 676
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1923
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       45.97
                                                                                                                     $________________________________
 Daniel Lahar                                                        Check all that apply.
 6300 Mesquite Dr NW                                                  Contingent
                                                                      Unliquidated
 Albuquerque, NM, 87120                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1924
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Lopez                                                        Check all that apply.
                                                                                                                      272.34
                                                                                                                     $________________________________
 149 Amherst Avenue                                                   Contingent
                                                                      Unliquidated
 Menlo Park, CA, 94025                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1925
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.16
                                                                                                                     $________________________________
 daniel martin                                                       Check all that apply.
 217a patterson st                                                    Contingent
                                                                      Unliquidated
 Paris, TN, 38242                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1926
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Mason                                                        Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 172 Shannon Blvd                                                     Contingent
                                                                      Unliquidated
 Middletown, DE, 19709                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1927
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Daniel Mccormick                                                     Contingent
 223 Quail Drive                                                      Unliquidated
                                                                      Disputed
 Greensburg, PA, 15601
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1928
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       48.57
                                                                                                                     $________________________________
 Daniel Milliken                                                     Check all that apply.
 1566 Macintosh Way                                                   Contingent
                                                                      Unliquidated
 Hummelstown, PA, 17036                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1929
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Morales                                                      Check all that apply.
                                                                                                                      153.96
                                                                                                                     $________________________________
 51 Garretson Avenue                                                  Contingent
                                                                      Unliquidated
 Staten Island, NY, 10304                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1930
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.97
                                                                                                                     $________________________________
 Daniel Moreno                                                       Check all that apply.
 1617 FEATHERBAND DR                                                  Contingent
                                                                      Unliquidated
 VALRICO, FL, 33594                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1931
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 daniel negrete                                                      Check all that apply.
                                                                                                                       229.98
                                                                                                                     $________________________________
 3206 n koning dr                                                     Contingent
                                                                      Unliquidated
 Sheboygan, WI, 53083                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1932
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             98.08
                                                                                                                     $________________________________
 Daniel ONeill                                                        Contingent
 3667 West Benjamin Holt Drive, APT 236                               Unliquidated
                                                                      Disputed
 Stockton, CA, 95219
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1933
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.98
                                                                                                                     $________________________________
 Daniel Padilla                                                      Check all that apply.
 8703 Glen Bluff                                                      Contingent
                                                                      Unliquidated
 San Antonio, TX, 78239                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1934
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Paradine                                                     Check all that apply.
                                                                                                                      149.26
                                                                                                                     $________________________________
 89 West 15th Street                                                  Contingent
                                                                      Unliquidated
 Bayonne, NJ, 7002                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1935
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      50.98
                                                                                                                     $________________________________
 Daniel Plummer                                                      Check all that apply.
 9 Wilson Ln                                                          Contingent
                                                                      Unliquidated
 Groton, CT, 6340                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1936
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Ramos                                                        Check all that apply.
                                                                                                                       13.05
                                                                                                                     $________________________________
 790 11th Ave., Apt. #38H                                             Contingent
                                                                      Unliquidated
 New York, NY, 10019                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1937
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             178.49
                                                                                                                     $________________________________
 Daniel Reierson                                                      Contingent
 2202 Cascade Street                                                  Unliquidated
                                                                      Disputed
 Juneau, AK, 99801
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1938
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Daniel Saffold                                                      Check all that apply.
 14631 San Bruno Drive                                                Contingent
                                                                      Unliquidated
 La Mirada, CA, 90638                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1939
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Shealey                                                      Check all that apply.
                                                                                                                      12.83
                                                                                                                     $________________________________
 1508 East Rutherford Street                                          Contingent
                                                                      Unliquidated
 Landrum, SC, 29356                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1940
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      119.35
                                                                                                                     $________________________________
 Daniel Sosa                                                         Check all that apply.
 732 N Birmingham Place                                               Contingent
                                                                      Unliquidated
 Tulsa, OK, 74110                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1941
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Spencer                                                      Check all that apply.
                                                                                                                       59.96
                                                                                                                     $________________________________
 694 Crestridge Dr                                                    Contingent
                                                                      Unliquidated
 Grand Junction, CO, 81506                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1942
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.62
                                                                                                                     $________________________________
 Daniel Stuart                                                        Contingent
 411 Alliance Blvd, Apt 3208                                          Unliquidated
                                                                      Disputed
 Waxahachie, TX, 75165
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1943
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       116.59
                                                                                                                     $________________________________
 Daniel Suhn                                                         Check all that apply.
 1405 Norcross Ln                                                     Contingent
                                                                      Unliquidated
 Severn, MD, 21144-1828                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1944
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Surom                                                        Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 2132 Dunn Road                                                       Contingent
                                                                      Unliquidated
 Fayetteville, NC, 28312                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1945
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      228.97
                                                                                                                     $________________________________
 Daniel To                                                           Check all that apply.
 65482 Burrowing Owl Court                                            Contingent
                                                                      Unliquidated
 Desert Hot Springs, CA, 92240                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1946
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Tovar                                                        Check all that apply.
                                                                                                                       54.99
                                                                                                                     $________________________________
 768 North Brand Boulevard                                            Contingent
                                                                      Unliquidated
 San Fernando, CA, 91340                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1947
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.21
                                                                                                                     $________________________________
 Daniel Vega                                                          Contingent
 3626 Havenmoor Place                                                 Unliquidated
                                                                      Disputed
 Katy, TX, 77449
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1948
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.98
                                                                                                                     $________________________________
 Daniel Webber                                                       Check all that apply.
 951 Turner Rd. Apartment 228                                         Contingent
                                                                      Unliquidated
 Grapevine, TX, 76051                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1949
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daniel Yi                                                           Check all that apply.
                                                                                                                      30.44
                                                                                                                     $________________________________
 1633 Mill Street                                                     Contingent
                                                                      Unliquidated
 San Luis Obispo, CA, 93401                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1950
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      171.02
                                                                                                                     $________________________________
 Daniela Becker                                                      Check all that apply.
 901 dove creek drive                                                 Contingent
                                                                      Unliquidated
 Athens, TX, 75751                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1951
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Danielle Walker                                                     Check all that apply.
                                                                                                                       32.39
                                                                                                                     $________________________________
 12680 Augusta Highway                                                Contingent
                                                                      Unliquidated
 Walterboro, SC, 29488                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1952
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Danielle Arboleda                                                    Contingent
 13818 Newport Shores Dr                                              Unliquidated
                                                                      Disputed
 Hudson, FL, 34669
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1953
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.65
                                                                                                                     $________________________________
 Danielle Bedolla                                                    Check all that apply.
 8123 Crab Apple Ct                                                   Contingent
                                                                      Unliquidated
 Bakersfield, CA, 93311                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1954
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Danielle Benzer                                                     Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 947 E Clovefield St                                                  Contingent
                                                                      Unliquidated
 Gilbert , AZ, 85299                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1955
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.32
                                                                                                                     $________________________________
 Danielle Brigham                                                    Check all that apply.
 11132 76TH AVE, APT 5H                                               Contingent
                                                                      Unliquidated
 FOREST HILLS, NY, 11375-6407                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1956
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Danielle Garner                                                     Check all that apply.
                                                                                                                       16.08
                                                                                                                     $________________________________
 21806, Baldy pl                                                      Contingent
                                                                      Unliquidated
 Cottonwood, CA, 96022-7600                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1957
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5.99
                                                                                                                     $________________________________
 Danielle Gray                                                        Contingent
 307 Shelly Dr                                                        Unliquidated
                                                                      Disputed
 Reading, PA, 19608
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1958
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       57.98
                                                                                                                     $________________________________
 Danielle LoPresti                                                   Check all that apply.
 2645 Homecrest Avenue, apt 2h                                        Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11235                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1959
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Danielle Terukina                                                   Check all that apply.
                                                                                                                      34.54
                                                                                                                     $________________________________
 91-1081 Iwikuamo'o Street, Unit 104                                  Contingent
                                                                      Unliquidated
 Ewa Beach, HI, 96706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1960
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      134.69
                                                                                                                     $________________________________
 Dann Manahan                                                        Check all that apply.
 25 Jasmine                                                           Contingent
                                                                      Unliquidated
 Lake Forest, CA, 92630-1456                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1961
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Danno Mattice                                                       Check all that apply.
                                                                                                                       95.39
                                                                                                                     $________________________________
 1221 Pouder rd                                                       Contingent
                                                                      Unliquidated
 Sykesville, MD, 21784                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1962
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.55
                                                                                                                     $________________________________
 danny esser                                                          Contingent
 156 Summer Street, Apt 2                                             Unliquidated
                                                                      Disputed
 Fitchburg, MA, 1420
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1963
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.58
                                                                                                                     $________________________________
 Danny Lin                                                           Check all that apply.
 401 N Veterans Pkwy Ste 2, STE 2                                     Contingent
                                                                      Unliquidated
 Bloomington, IL, 61704                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1964
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Danny Olivares                                                      Check all that apply.
                                                                                                                      41.96
                                                                                                                     $________________________________
 34112, Silktassel Rd                                                 Contingent
                                                                      Unliquidated
 Lake Elsinore, CA, 92532                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1965
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.99
                                                                                                                     $________________________________
 danny ortiz                                                         Check all that apply.
 1282 Raleigh Court, 304                                              Contingent
                                                                      Unliquidated
 Glendale Heights, IL, 60139                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1966
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Danny Phakeovilay                                                   Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 1481 Calle Artigas                                                   Contingent
                                                                      Unliquidated
 Thousand Oaks, CA, 91260                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1967
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.99
                                                                                                                     $________________________________
 Danny Shreffler                                                      Contingent
 3025 Sw 11th court                                                   Unliquidated
                                                                      Disputed
 Cape coral, FL, 33914
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1968
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.16
                                                                                                                     $________________________________
 Danny Shreffler                                                     Check all that apply.
 3025 Sw 11th court                                                   Contingent
                                                                      Unliquidated
 Cape coral, FL, 33914                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1969
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dante Kim                                                           Check all that apply.
                                                                                                                      61.87
                                                                                                                     $________________________________
 15928 MERIDIAN AVE S                                                 Contingent
                                                                      Unliquidated
 BOTHELL, WA, 98012-5578                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1970
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.11
                                                                                                                     $________________________________
 Daphne Aguilar                                                      Check all that apply.
 5353 Carrara Court                                                   Contingent
                                                                      Unliquidated
 St. Cloud, FL, 34771                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1971
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daphne Do                                                           Check all that apply.
                                                                                                                       104.99
                                                                                                                     $________________________________
 485 Caffrey Ct.                                                      Contingent
                                                                      Unliquidated
 Monterey, CA, 93944                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1972
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             131.97
                                                                                                                     $________________________________
 Darci Pelham                                                         Contingent
 8550 Touchton Rd, Unit 734                                           Unliquidated
                                                                      Disputed
 Jacksonville, FL, 32216
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1973
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       119.99
                                                                                                                     $________________________________
 Daria Medved                                                        Check all that apply.
 11527 Seneca Forest Cir                                              Contingent
                                                                      Unliquidated
 Germantown, MD, 20876-4308                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1974
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Darian Glisson                                                      Check all that apply.
                                                                                                                      61.98
                                                                                                                     $________________________________
 200 Throop Avenue, APT 3A                                            Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11206                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1975
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Darianne Mullenax                                                   Check all that apply.
 843 BRADDOCK RD                                                      Contingent
                                                                      Unliquidated
 Cumberland, MD, 21502-2622                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1976
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Darien Restifo                                                      Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 3314 New Scotland Road                                               Contingent
                                                                      Unliquidated
 Voorheesville, NY, 12186                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1977
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             83.97
                                                                                                                     $________________________________
 darien riley                                                         Contingent
 13904 Coronado Drive                                                 Unliquidated
                                                                      Disputed
 Spring Hill, FL, 34609
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1978
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Darion Vega                                                         Check all that apply.
 8990 Northwest 166th Terrace                                         Contingent
                                                                      Unliquidated
 Miami Lakes, FL, 33018                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1979
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Darius Scott                                                        Check all that apply.
                                                                                                                      35.30
                                                                                                                     $________________________________
 172 Creekside Bluff Way                                              Contingent
                                                                      Unliquidated
 Auburn, GA, 30011                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1980
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.44
                                                                                                                     $________________________________
 Darius Scott                                                        Check all that apply.
 172 Creekside Bluff Way                                              Contingent
                                                                      Unliquidated
 Auburn, GA, 30011                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1981
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dariusz Polakowski                                                  Check all that apply.
                                                                                                                       10.00
                                                                                                                     $________________________________
 6 Trembley Court                                                     Contingent
                                                                      Unliquidated
 Bayonne, NJ, 7002                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1982
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.71
                                                                                                                     $________________________________
 Darniesha Beach                                                      Contingent
 3301 Chauncey Pl, Apt 101                                            Unliquidated
                                                                      Disputed
 Mount Rainier, MD, 20712
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1983
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.23
                                                                                                                     $________________________________
 Daron Hilburn                                                       Check all that apply.
 24506 Pelican Hill Dr.                                               Contingent
                                                                      Unliquidated
 Katy, TX, 77494                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1984
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Darra Henderson                                                     Check all that apply.
                                                                                                                      44.99
                                                                                                                     $________________________________
 4452 Winding River Cir                                               Contingent
                                                                      Unliquidated
 Stockton, CA, 95219                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1985
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      46.75
                                                                                                                     $________________________________
 Darrel Petri                                                        Check all that apply.
 202 W LOCUST ST, APT 1112                                            Contingent
                                                                      Unliquidated
 Bloomington, IL, 61701                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1986
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Darrell Albert                                                      Check all that apply.
                                                                                                                       21.98
                                                                                                                     $________________________________
 2559 55th Ave S                                                      Contingent
                                                                      Unliquidated
 Fargo, ND, 58104                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1987
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             92.98
                                                                                                                     $________________________________
 Darrell Cuff                                                         Contingent
 909 Bullock Ave                                                      Unliquidated
                                                                      Disputed
 Yeadon, PA, 19050
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1988
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.80
                                                                                                                     $________________________________
 Darrell Turlington                                                  Check all that apply.
 1522 Union Rd Apt. E                                                 Contingent
                                                                      Unliquidated
 Gastonia, NC, 28054                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1989
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Darren Block                                                        Check all that apply.
                                                                                                                      34.23
                                                                                                                     $________________________________
 6483 109th Ter                                                       Contingent
                                                                      Unliquidated
 Pinellas Park, FL, 33782-2421                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1990
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.54
                                                                                                                     $________________________________
 Darren Ezawa                                                        Check all that apply.
 95-068 Kaulua St.                                                    Contingent
                                                                      Unliquidated
 Mililani , HI, 96789                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1991
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Darren Fang                                                         Check all that apply.
                                                                                                                       65.16
                                                                                                                     $________________________________
 722 Brussels Street                                                  Contingent
                                                                      Unliquidated
 San Francisco, CA, 94134                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  1992
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             114.18
                                                                                                                     $________________________________
 Darren Fong                                                          Contingent
 9745 Shanelyn Way                                                    Unliquidated
                                                                      Disputed
 Elk Grove, CA, 95757
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1993
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Darren Hoch                                                         Check all that apply.
 1931 Gray Meadow Drive                                               Contingent
                                                                      Unliquidated
 Apex, NC, 27502                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1994
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Darren Huynh                                                        Check all that apply.
                                                                                                                      94.99
                                                                                                                     $________________________________
 12611 Ohmer Way                                                      Contingent
                                                                      Unliquidated
 Garden Grove, CA, 92841                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  1995
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      89.97
                                                                                                                     $________________________________
 Darren Myron                                                        Check all that apply.
 2824 Stone Street                                                    Contingent
                                                                      Unliquidated
 Port Huron, MI, 48060                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  1996
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Darrien Bigney                                                      Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 3520 Cleveland Heights Boulevard, #159                               Contingent
                                                                      Unliquidated
 Lakeland, FL, 33803                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  1997
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.95
                                                                                                                     $________________________________
 Darrion Yang                                                         Contingent
 209 E University Ave, APT 332                                        Unliquidated
                                                                      Disputed
 Champaign, IL, 61820
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  1998
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.39
                                                                                                                     $________________________________
 Darry Etheridge                                                     Check all that apply.
 1785 South Burnt Hickory Road                                        Contingent
                                                                      Unliquidated
 Douglasville, GA, 30134                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  1999
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Darryl Hannah                                                       Check all that apply.
                                                                                                                      173.19
                                                                                                                     $________________________________
 486 calle elegante                                                   Contingent
                                                                      Unliquidated
 vista, CA, 92083                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2000
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      494.97
                                                                                                                     $________________________________
 Dartenion Damron                                                    Check all that apply.
 13026 Columbine Way                                                  Contingent
                                                                      Unliquidated
 Thornton, CO, 80241                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2001
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Darven Norris                                                       Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 105 Franklin Avenue                                                  Contingent
                                                                      Unliquidated
 Pottsboro, TX, 75076                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2002
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.21
                                                                                                                     $________________________________
 Darwin Pappas-Fernandes                                              Contingent
 219 Reeds Lane                                                       Unliquidated
                                                                      Disputed
 Stratford, CT, 6614
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2003
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       78.99
                                                                                                                     $________________________________
 Darya Suvorova                                                      Check all that apply.
 4640 Kenilworth Drive, Apt 105                                       Contingent
                                                                      Unliquidated
 Rolling Meadows, IL, 60008                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2004
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DARYES BABERS                                                       Check all that apply.
                                                                                                                      179.96
                                                                                                                     $________________________________
 31300 AUTO CENTER DR, Apt M157                                       Contingent
                                                                      Unliquidated
 LAKE ELSINORE, CA, 92530                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2005
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.98
                                                                                                                     $________________________________
 Daryl Williams                                                      Check all that apply.
 801 Thera Drive                                                      Contingent
                                                                      Unliquidated
 Charlotte, NC, 28206                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2006
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Daryush Nadimi                                                      Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 6110 Rosalind Avenue                                                 Contingent
                                                                      Unliquidated
 Richmond, CA, 94805                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2007
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.98
                                                                                                                     $________________________________
 Daulton Sherwin                                                      Contingent
 523 Ardmore Ave                                                      Unliquidated
                                                                      Disputed
 Erie, PA, 16505
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2008
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.58
                                                                                                                     $________________________________
 Dave Nagy                                                           Check all that apply.
 23 Cornwall Avenue                                                   Contingent
                                                                      Unliquidated
 Prospect, CT, 6712                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2009
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dave Novak                                                          Check all that apply.
                                                                                                                      12.83
                                                                                                                     $________________________________
 806 Florence ave                                                     Contingent
                                                                      Unliquidated
 East McKeesport, PA, 15035                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2010
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.99
                                                                                                                     $________________________________
 Dave Wright                                                         Check all that apply.
 c/o Sarah Smith, 10501 W Almeria Rd                                  Contingent
                                                                      Unliquidated
 Avondale, AZ, 85392                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2011
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Jimenez                                                       Check all that apply.
                                                                                                                       279.18
                                                                                                                     $________________________________
 1157 South Alma Avenue                                               Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90023                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2012
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             84.91
                                                                                                                     $________________________________
 David Wong                                                           Contingent
 128 Avenue V                                                         Unliquidated
                                                                      Disputed
 Brooklyn, NY, 11223
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2013
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       123.90
                                                                                                                     $________________________________
 David A Diaz                                                        Check all that apply.
 7723 Yankee Place                                                    Contingent
                                                                      Unliquidated
 Fontana, CA, 92336                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2014
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 david abbott                                                        Check all that apply.
                                                                                                                      37.99
                                                                                                                     $________________________________
 61 GREELEY ST                                                        Contingent
                                                                      Unliquidated
 HUDSON, NH, 3051                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2015
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      189.43
                                                                                                                     $________________________________
 David Alexander                                                     Check all that apply.
 2626 Natchez Ct                                                      Contingent
                                                                      Unliquidated
 League City, TX, 77573                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2016
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 david allen                                                         Check all that apply.
                                                                                                                       11.95
                                                                                                                     $________________________________
 70147 10th Street                                                    Contingent
                                                                      Unliquidated
 Covington, LA, 70433                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2017
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.99
                                                                                                                     $________________________________
 David Baecker                                                        Contingent
 1309 11th St Ne                                                      Unliquidated
                                                                      Disputed
 Massillon, OH, 44646
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2018
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 David Ballaro                                                       Check all that apply.
 61 Briarwood Dr                                                      Contingent
                                                                      Unliquidated
 Seymour, CT, 6483                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2019
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Berry                                                         Check all that apply.
                                                                                                                      16.99
                                                                                                                     $________________________________
 1801 34th Avenue                                                     Contingent
                                                                      Unliquidated
 Stone Park, IL, 60165                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2020
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                     $________________________________
 David Bevevino                                                      Check all that apply.
 4021 Roxbury Road                                                    Contingent
                                                                      Unliquidated
 Erie, PA, 16506                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2021
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Blackford                                                     Check all that apply.
                                                                                                                       13.99
                                                                                                                     $________________________________
 12816 Bay Tree Way                                                   Contingent
                                                                      Unliquidated
 Louisville, KY, 40245                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2022
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 David Blaufuss                                                       Contingent
 4798 Clark Street                                                    Unliquidated
                                                                      Disputed
 Hamburg, NY, 14075
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2023
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.97
                                                                                                                     $________________________________
 David Brangers                                                      Check all that apply.
 9005 Brandywyne Dr                                                   Contingent
                                                                      Unliquidated
 Louisville, KY, 40291                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2024
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Brown                                                         Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 5228 Esmond Drive                                                    Contingent
                                                                      Unliquidated
 Odessa, TX, 79762                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2025
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.00
                                                                                                                     $________________________________
 David Burger                                                        Check all that apply.
 581 Lafayette Avenue                                                 Contingent
                                                                      Unliquidated
 Palmerton, PA, 18071                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2026
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Burns                                                         Check all that apply.
                                                                                                                       62.99
                                                                                                                     $________________________________
 3243 Stanhope Ave                                                    Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45211                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2027
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 David Calel                                                          Contingent
 12345 LAMPLIGHT VILLAGE AVE, APT 416                                 Unliquidated
                                                                      Disputed
 AUSTIN, TX, 78758
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2028
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       139.99
                                                                                                                     $________________________________
 David Callahan                                                      Check all that apply.
 189 W Darby Cir                                                      Contingent
                                                                      Unliquidated
 Dover, DE, 19904-6083                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2029
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Campbell                                                      Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 414 Colerain Street                                                  Contingent
                                                                      Unliquidated
 Sligo, PA, 16255                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2030
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 David Carr                                                          Check all that apply.
 13755 Wesleyan Boulevard                                             Contingent
                                                                      Unliquidated
 Orlando, FL, 32826                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2031
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Chait                                                         Check all that apply.
                                                                                                                       56.95
                                                                                                                     $________________________________
 16 Peachtree Rd                                                      Contingent
                                                                      Unliquidated
 Lexington, MA, 02420-2411                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2032
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.52
                                                                                                                     $________________________________
 David Clark                                                          Contingent
 2166 Ridgewood Way                                                   Unliquidated
                                                                      Disputed
 Bountiful, UT, 84010
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2033
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 David Collins                                                       Check all that apply.
 166 Beech Street                                                     Contingent
                                                                      Unliquidated
 Roslindale , MA, 2131                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2034
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Crawford                                                      Check all that apply.
                                                                                                                      39.97
                                                                                                                     $________________________________
 348 Taffy St                                                         Contingent
                                                                      Unliquidated
 Westland, MI, 48186                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2035
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      85.57
                                                                                                                     $________________________________
 David Dacre                                                         Check all that apply.
 1001 Dart Way, 412                                                   Contingent
                                                                      Unliquidated
 Des Moines, IA, 50309                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2036
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David De La Rosa Jr                                                 Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 3302 White Oak Drive                                                 Contingent
                                                                      Unliquidated
 Mission, TX, 78573                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2037
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.92
                                                                                                                     $________________________________
 David de Neve                                                        Contingent
 194 Meadow Grass Place                                               Unliquidated
                                                                      Disputed
 Escondido, CA, 92027
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2038
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       67.98
                                                                                                                     $________________________________
 David Dela Rosa                                                     Check all that apply.
 149 30th St.                                                         Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11232                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2039
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Diaz                                                          Check all that apply.
                                                                                                                      60.92
                                                                                                                     $________________________________
 11956 West Baker Avenue                                              Contingent
                                                                      Unliquidated
 Avondale, AZ, 85392                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2040
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      198.97
                                                                                                                     $________________________________
 David Dickinson                                                     Check all that apply.
 3249 Peoria Road                                                     Contingent
                                                                      Unliquidated
 Liberty, MS, 39645                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2041
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DAVID DISHMAN                                                       Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 5209 East Allison Road                                               Contingent
                                                                      Unliquidated
 Camby, IN, 46113                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2042
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.29
                                                                                                                     $________________________________
 David Duch                                                           Contingent
 1116 Ave. G                                                          Unliquidated
                                                                      Disputed
 Ormond Beach, FL, 32174
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2043
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.99
                                                                                                                     $________________________________
 David Elizais                                                       Check all that apply.
 3280 Arapahoe St.                                                    Contingent
                                                                      Unliquidated
 Riverside, CA, 92503                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2044
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DAVID ELLSWORTH                                                     Check all that apply.
                                                                                                                      38.99
                                                                                                                     $________________________________
 3631 Seneca Lane                                                     Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89169                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2045
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      138.06
                                                                                                                     $________________________________
 David Fairchild                                                     Check all that apply.
 17220 North 35th Street                                              Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85032                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2046
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Farley                                                        Check all that apply.
                                                                                                                       37.88
                                                                                                                     $________________________________
 8109 Wendy Ln                                                        Contingent
                                                                      Unliquidated
 Benbrook, TX, 76116                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2047
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             385.84
                                                                                                                     $________________________________
 David Fein                                                           Contingent
 8203 Raintree Circle                                                 Unliquidated
                                                                      Disputed
 Culver City, CA, 90230
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2048
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.04
                                                                                                                     $________________________________
 David Ferland                                                       Check all that apply.
 109 Lynncrest Terrace                                                Contingent
                                                                      Unliquidated
 Cheektowaga, NY, 14225                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2049
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 david fierro                                                        Check all that apply.
                                                                                                                      68.97
                                                                                                                     $________________________________
 7700 e. speedway blvd apt 622                                        Contingent
                                                                      Unliquidated
 tucson, AZ, 85710                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2050
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      95.85
                                                                                                                     $________________________________
 David Foots                                                         Check all that apply.
 12533 Beacontree Way                                                 Contingent
                                                                      Unliquidated
 Orlando, FL, 32837                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2051
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 david freeman                                                       Check all that apply.
                                                                                                                       21.19
                                                                                                                     $________________________________
 10607 Meadowhill rd.                                                 Contingent
                                                                      Unliquidated
 Silver Spring, MD, 20901                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2052
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.94
                                                                                                                     $________________________________
 David Gernhard                                                       Contingent
 409 Rockaway Dr                                                      Unliquidated
                                                                      Disputed
 Midlothian, TX, 76065
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2053
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 David Gilliam                                                       Check all that apply.
 1026 Flower Frst                                                     Contingent
                                                                      Unliquidated
 San Antonio, TX, 78245-1333                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2054
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Goodwin                                                       Check all that apply.
                                                                                                                      184.99
                                                                                                                     $________________________________
 30-92 29th Street, Apartment 4H                                      Contingent
                                                                      Unliquidated
 Astoria, NY, 11102                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2055
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      55.97
                                                                                                                     $________________________________
 David Guerra                                                        Check all that apply.
 P. O. Box 45457                                                      Contingent
                                                                      Unliquidated
 San Diego, CA, 92145                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2056
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Guerrero                                                      Check all that apply.
                                                                                                                       16.13
                                                                                                                     $________________________________
 2753 East Broadway Road, ste 101-180                                 Contingent
                                                                      Unliquidated
 Mesa, AZ, 85204                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2057
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             237.94
                                                                                                                     $________________________________
 David gutierrez                                                      Contingent
 609 Stewart St                                                       Unliquidated
                                                                      Disputed
 Killeen, TX, 76541-5680
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2058
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       95.34
                                                                                                                     $________________________________
 David Hagelin                                                       Check all that apply.
 15206 CALEXICO LN                                                    Contingent
                                                                      Unliquidated
 Woodbridge, VA, 22193-1627                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2059
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Hill                                                          Check all that apply.
                                                                                                                      15.88
                                                                                                                     $________________________________
 731 Seaton Ave, Unit 243                                             Contingent
                                                                      Unliquidated
 Alexandria, VA, 22305-3058                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2060
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 David Holtzapfel                                                    Check all that apply.
 134 rolling acres                                                    Contingent
                                                                      Unliquidated
 winfield, WV, 25213                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2061
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Hong                                                          Check all that apply.
                                                                                                                       63.95
                                                                                                                     $________________________________
 566 Kiowa Drive                                                      Contingent
                                                                      Unliquidated
 Franklin Lakes, NJ, 7417                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2062
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.99
                                                                                                                     $________________________________
 David Hunter                                                         Contingent
 260 Crumly Chapel Road                                               Unliquidated
                                                                      Disputed
 Birmingham, AL, 35214
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2063
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 David Jauregui                                                      Check all that apply.
 3620 Monroe St apt#617                                               Contingent
                                                                      Unliquidated
 Riverside, CA, 92504                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2064
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Johnson                                                       Check all that apply.
                                                                                                                      68.99
                                                                                                                     $________________________________
 8236 BEDFORD COVE WAY                                                Contingent
                                                                      Unliquidated
 Sacramento, CA, 95828                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2065
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 David Jones                                                         Check all that apply.
 1636 East Skyline Drive                                              Contingent
                                                                      Unliquidated
 Tucson, AZ, 85718-1164                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2066
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Jordan                                                        Check all that apply.
                                                                                                                       80.00
                                                                                                                     $________________________________
 16 Juliette Street, Apt 2                                            Contingent
                                                                      Unliquidated
 Dorchester, MA, 2122                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2067
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 David Karwoski                                                       Contingent
 4521 Ashburner                                                       Unliquidated
                                                                      Disputed
 Philadelphia, PA, 19136
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2068
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.08
                                                                                                                     $________________________________
 David Kelly                                                         Check all that apply.
 6811 Laronda Ln                                                      Contingent
                                                                      Unliquidated
 Las vegas, NV, 89156                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2069
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Kogut                                                         Check all that apply.
                                                                                                                      139.19
                                                                                                                     $________________________________
 1704 Wildspring Parkway                                              Contingent
                                                                      Unliquidated
 Joliet, IL, 60431                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2070
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 David Learman                                                       Check all that apply.
 1501 Marquette Avenue                                                Contingent
                                                                      Unliquidated
 Bay City, MI, 48706                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2071
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Leja                                                          Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 141 Luce Road                                                        Contingent
                                                                      Unliquidated
 Williamstown, MA, 1267                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2072
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             51.59
                                                                                                                     $________________________________
 David Lipham                                                         Contingent
 12413 Early Run Ln                                                   Unliquidated
                                                                      Disputed
 Riverview, FL, 33578-3308
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2073
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 David Macias                                                        Check all that apply.
 518 Hannah Heights Way                                               Contingent
                                                                      Unliquidated
 Hull, GA, 30646                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2074
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Madruga                                                       Check all that apply.
                                                                                                                      84.99
                                                                                                                     $________________________________
 6167 American Beauty Avenue                                          Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89142                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2075
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.22
                                                                                                                     $________________________________
 David Maldonado                                                     Check all that apply.
 8815 Willoway St                                                     Contingent
                                                                      Unliquidated
 Houston, TX, 77016                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2076
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DAVID MALINOWSKI                                                    Check all that apply.
                                                                                                                       61.76
                                                                                                                     $________________________________
 127 Frank Avenue                                                     Contingent
                                                                      Unliquidated
 Mamaroneck, NY, 10543                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2077
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             51.46
                                                                                                                     $________________________________
 David Marin                                                          Contingent
 18643 Runnymede street                                               Unliquidated
                                                                      Disputed
 Reseda, CA, 91335
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2078
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.99
                                                                                                                     $________________________________
 David Marion                                                        Check all that apply.
 7 Cobblestone Circle                                                 Contingent
                                                                      Unliquidated
 Hatboro, PA, 19040                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2079
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David McCarthy                                                      Check all that apply.
                                                                                                                      7.53
                                                                                                                     $________________________________
 6526 Friars Road, Unit 206                                           Contingent
                                                                      Unliquidated
 San Diego, CA, 92108                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2080
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.00
                                                                                                                     $________________________________
 David McMorrow                                                      Check all that apply.
 174 State RT 17, Suite C                                             Contingent
                                                                      Unliquidated
 Rochelle Park, NJ, 7662                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2081
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Milkman                                                       Check all that apply.
                                                                                                                       108.29
                                                                                                                     $________________________________
 265 E Hanford Armona Rd, Apt 108                                     Contingent
                                                                      Unliquidated
 Lemoore, CA, 93245-2368                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2082
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             127.19
                                                                                                                     $________________________________
 David Mogollon                                                       Contingent
 2000 Hungtington Avenue, Apt. 411                                    Unliquidated
                                                                      Disputed
 Alexandria, VA, 22303
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2083
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       77.98
                                                                                                                     $________________________________
 David Molina                                                        Check all that apply.
 2795 Sherman Oak Dr.                                                 Contingent
                                                                      Unliquidated
 North Port, FL, 34289                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2084
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Morales                                                       Check all that apply.
                                                                                                                      124.98
                                                                                                                     $________________________________
 218 Eldert Ln                                                        Contingent
                                                                      Unliquidated
 Woodhaven, NY, 11421                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2085
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      146.04
                                                                                                                     $________________________________
 David Mueller                                                       Check all that apply.
 403 N Verzel Dr                                                      Contingent
                                                                      Unliquidated
 Macomb, IL, 61455                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2086
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Munguia                                                       Check all that apply.
                                                                                                                       60.98
                                                                                                                     $________________________________
 6590 Marquette St UNIT D                                             Contingent
                                                                      Unliquidated
 Moorpark, CA, 93021                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2087
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             179.98
                                                                                                                     $________________________________
 David Murray                                                         Contingent
 115 Fieldcrest Street, 203                                           Unliquidated
                                                                      Disputed
 Ann Arbor, MI, 48103
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2088
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.99
                                                                                                                     $________________________________
 David Myster                                                        Check all that apply.
 8571 Tern Court                                                      Contingent
                                                                      Unliquidated
 Chanhassen, MN, 55317                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2089
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Pacheco                                                       Check all that apply.
                                                                                                                      261.91
                                                                                                                     $________________________________
 2960 San Pasqual St                                                  Contingent
                                                                      Unliquidated
 Pasadena, CA, 91107-5332                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2090
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 David Parker                                                        Check all that apply.
 13100 notre dame ln n                                                Contingent
                                                                      Unliquidated
 jacksonville, FL, 32218                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2091
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Phillips                                                      Check all that apply.
                                                                                                                       282.71
                                                                                                                     $________________________________
 379 Kaholalele Road                                                  Contingent
                                                                      Unliquidated
 Kapaa, HI, 96746                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2092
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.97
                                                                                                                     $________________________________
 David Raughley                                                       Contingent
 101 Richmond Hill Pkwy                                               Unliquidated
                                                                      Disputed
 Byron, GA, 31008
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2093
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.74
                                                                                                                     $________________________________
 David Rich                                                          Check all that apply.
 292 North Street, 421                                                Contingent
                                                                      Unliquidated
 Pittsfield, MA, 1201                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2094
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Roberts                                                       Check all that apply.
                                                                                                                      34.99
                                                                                                                     $________________________________
 116 n 200 e                                                          Contingent
                                                                      Unliquidated
 Cedar City, UT, 84720                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2095
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      118.22
                                                                                                                     $________________________________
 David Rohrenback                                                    Check all that apply.
 PO Box 744                                                           Contingent
                                                                      Unliquidated
 Johnson, KS, 67855                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2096
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Romero                                                        Check all that apply.
                                                                                                                       119.06
                                                                                                                     $________________________________
 1725 Griego Ave                                                      Contingent
                                                                      Unliquidated
 Olivehurst, CA, 95961                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2097
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             65.98
                                                                                                                     $________________________________
 David Romero                                                         Contingent
 7248 Whittier Ave, Back house                                        Unliquidated
                                                                      Disputed
 Whittier, CA, 90602
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2098
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 david sansone                                                       Check all that apply.
 22 quaspec rd                                                        Contingent
                                                                      Unliquidated
 blauvelt, NY, 10913                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2099
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Shapiro                                                       Check all that apply.
                                                                                                                      60.98
                                                                                                                     $________________________________
 11500 Jollyville Road, 2922                                          Contingent
                                                                      Unliquidated
 Austin, TX, 78759                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2100
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.92
                                                                                                                     $________________________________
 david Shapiro                                                       Check all that apply.
 6206 Caminito Plata                                                  Contingent
                                                                      Unliquidated
 San Diego, CA, 92120                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2101
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Siman                                                         Check all that apply.
                                                                                                                       25.43
                                                                                                                     $________________________________
 10788 Kinglet Circle                                                 Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45249                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2102
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.99
                                                                                                                     $________________________________
 David Smith                                                          Contingent
 120 A St                                                             Unliquidated
                                                                      Disputed
 Girardville, PA, 17935-1309
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2103
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       69.99
                                                                                                                     $________________________________
 David Smith                                                         Check all that apply.
 27 PINEBROOK DR                                                      Contingent
                                                                      Unliquidated
 MORRISONVILLE, NY, 12962-9781                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2104
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Sorensen                                                      Check all that apply.
                                                                                                                      62.77
                                                                                                                     $________________________________
 8804 Wood Stork Drive                                                Contingent
                                                                      Unliquidated
 Austin, TX, 78729                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2105
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.97
                                                                                                                     $________________________________
 David T Wilson                                                      Check all that apply.
 5838 Five Oaks Pkwy null                                             Contingent
                                                                      Unliquidated
 Saint Louis, MO, 63128-1403                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2106
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Tanner                                                        Check all that apply.
                                                                                                                       15.89
                                                                                                                     $________________________________
 720 North Apricot Place                                              Contingent
                                                                      Unliquidated
 Nampa, ID, 83687                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2107
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             74.95
                                                                                                                     $________________________________
 David Tharp                                                          Contingent
 3307 Dovel Hollow Road                                               Unliquidated
                                                                      Disputed
 Stanley, VA, 22851
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2108
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       122.98
                                                                                                                     $________________________________
 David Tiburcio                                                      Check all that apply.
 451 East 116th Street                                                Contingent
                                                                      Unliquidated
 New York, NY, 10029                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2109
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Todd                                                          Check all that apply.
                                                                                                                      16.04
                                                                                                                     $________________________________
 369 HIGHPOINT XING                                                   Contingent
                                                                      Unliquidated
 POWDER SPRINGS, GA, 30127                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2110
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 David Vandervoort                                                   Check all that apply.
 535 Ne Monroe                                                        Contingent
                                                                      Unliquidated
 Portland, OR, 97212                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2111
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Vasquez                                                       Check all that apply.
                                                                                                                       21.34
                                                                                                                     $________________________________
 101 Evan Court                                                       Contingent
                                                                      Unliquidated
 Clayton, NC, 27520                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2112
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.56
                                                                                                                     $________________________________
 David Warner                                                         Contingent
 4144 Cobb Drive                                                      Unliquidated
                                                                      Disputed
 Zephyrhills, FL, 33543
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2113
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.98
                                                                                                                     $________________________________
 david whitehurst                                                    Check all that apply.
 620 willruth dr                                                      Contingent
                                                                      Unliquidated
 allison park, PA, 15101                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2114
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Wigglesworth                                                  Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 183-04 Babylon Avenue                                                Contingent
                                                                      Unliquidated
 Saint Albans, NY, 11412                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2115
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 David Wood                                                          Check all that apply.
 1709 South 92nd Street                                               Contingent
                                                                      Unliquidated
 Tacoma, WA, 98444                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2116
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Wood                                                          Check all that apply.
                                                                                                                       17.05
                                                                                                                     $________________________________
 39 N 1st St                                                          Contingent
                                                                      Unliquidated
 Phillipsburg, NJ, 8865                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2117
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             63.59
                                                                                                                     $________________________________
 David Worley                                                         Contingent
 795 Rosewood Ln                                                      Unliquidated
                                                                      Disputed
 York, PA, 17403-5917
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2118
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.47
                                                                                                                     $________________________________
 David Ye                                                            Check all that apply.
 2790 86th Street, Apt. 2F                                            Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11223                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2119
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Davin Acol                                                          Check all that apply.
                                                                                                                      68.05
                                                                                                                     $________________________________
 73-1237 Ahikawa St                                                   Contingent
                                                                      Unliquidated
 Kailua Kona, HI, 96740                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2120
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.33
                                                                                                                     $________________________________
 Davison Brooks                                                      Check all that apply.
 1310 East Horseshoe Bend Drive                                       Contingent
                                                                      Unliquidated
 Rochester Hills, MI, 48306                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2121
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 davon davis                                                         Check all that apply.
                                                                                                                       37.79
                                                                                                                     $________________________________
 129 Auburnleaf Drive                                                 Contingent
                                                                      Unliquidated
 Hopkins, SC, 29061                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2122
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Davone Fisher                                                        Contingent
 9805 Tailspin Lane, Apartment G                                      Unliquidated
                                                                      Disputed
 Middle River, MD, 21220
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2123
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.30
                                                                                                                     $________________________________
 Davy Manzanarez                                                     Check all that apply.
 8711 Summercrest Circle                                              Contingent
                                                                      Unliquidated
 Garden Grove, CA, 92844                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2124
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dawn Causey                                                         Check all that apply.
                                                                                                                      44.97
                                                                                                                     $________________________________
 309 Beechwood Lane                                                   Contingent
                                                                      Unliquidated
 Irmo, SC, 29063                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2125
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Dawn McDaniel                                                       Check all that apply.
 2707 FIELDCREST DR                                                   Contingent
                                                                      Unliquidated
 Urbana, IL, 61802                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2126
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dawn Oshiro                                                         Check all that apply.
                                                                                                                       650.82
                                                                                                                     $________________________________
 98-1481 Kaahumanu Street, Apt. C                                     Contingent
                                                                      Unliquidated
 Aiea, HI, 96701                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2127
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             536.86
                                                                                                                     $________________________________
 Dawn Thomas                                                          Contingent
 13743 Golden Road                                                    Unliquidated
                                                                      Disputed
 Milaca, MN, 56353
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2128
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 DAwn Traynor                                                        Check all that apply.
 91 White Street                                                      Contingent
                                                                      Unliquidated
 Eatontown, NJ, 7724                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2129
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dawnthea Price Lisco                                                Check all that apply.
                                                                                                                      41.99
                                                                                                                     $________________________________
 115 N 1ST ST, APT 115                                                Contingent
                                                                      Unliquidated
 RICHMOND, VA, 23219-2125                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2130
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      95.98
                                                                                                                     $________________________________
 Dawon Kim                                                           Check all that apply.
 43729 Calabro Street                                                 Contingent
                                                                      Unliquidated
 Temecula, CA, 92592                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2131
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dawson McCall                                                       Check all that apply.
                                                                                                                       32.46
                                                                                                                     $________________________________
 1725 Biltmore Dr.                                                    Contingent
                                                                      Unliquidated
 Keller, TX, 76262                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2132
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.99
                                                                                                                     $________________________________
 Dawson Sherman                                                       Contingent
 715 Bethayres Street                                                 Unliquidated
                                                                      Disputed
 Harrington, DE, 19952
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2133
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.31
                                                                                                                     $________________________________
 Dayana Rodriguez                                                    Check all that apply.
 3148 N 37th Drive                                                    Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85019                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2134
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 De Andra Morgan                                                     Check all that apply.
                                                                                                                      22.01
                                                                                                                     $________________________________
 10834 6th Avenue South                                               Contingent
                                                                      Unliquidated
 Seattle, WA, 98168                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2135
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Dean Hammett                                                        Check all that apply.
 1741 Chesnee Highway                                                 Contingent
                                                                      Unliquidated
 Gaffney, SC, 29341                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2136
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dean Hinnegan-Stevenson                                             Check all that apply.
                                                                                                                       84.99
                                                                                                                     $________________________________
 30 Chiltern Hill Dr                                                  Contingent
                                                                      Unliquidated
 Worcester, MA, 1602                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2137
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             69.99
                                                                                                                     $________________________________
 Dean Kim                                                             Contingent
 762 N 203RD ST                                                       Unliquidated
                                                                      Disputed
 SHORELINE, WA, 98133
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2138
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       88.94
                                                                                                                     $________________________________
 Dean Price                                                          Check all that apply.
 14408 Shady Bend Rd                                                  Contingent
                                                                      Unliquidated
 Olathe, KS, 66061                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2139
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 deana travetti                                                      Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 6338 Sherwood Rd.                                                    Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19151                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2140
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      108.11
                                                                                                                     $________________________________
 Deanna Copenhaver                                                   Check all that apply.
 75 Dew Drop Lane                                                     Contingent
                                                                      Unliquidated
 Gettysburg, PA, 17325                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2141
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Deanna Loren                                                        Check all that apply.
                                                                                                                       90.98
                                                                                                                     $________________________________
 7068 Spruce Hill Circle                                              Contingent
                                                                      Unliquidated
 WEST CHESTER, OH, 45069                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2142
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.32
                                                                                                                     $________________________________
 Deanna McCurdy                                                       Contingent
 2825 W Westport Road                                                 Unliquidated
                                                                      Disputed
 Peoria, IL, 61615
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2143
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.99
                                                                                                                     $________________________________
 Debbera DILena                                                      Check all that apply.
 14570 Leary Street                                                   Contingent
                                                                      Unliquidated
 Nokesville, VA, 20181                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2144
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Debbie Pierce                                                       Check all that apply.
                                                                                                                      32.30
                                                                                                                     $________________________________
 101 W. Riverdale Ave Unit 25                                         Contingent
                                                                      Unliquidated
 Orange, CA, 92865                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2145
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Debora Fernandez                                                    Check all that apply.
 12831 Sw 43 Dr                                                       Contingent
                                                                      Unliquidated
 Miami, FL, 33175                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2146
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Deborah Hidalgo                                                     Check all that apply.
                                                                                                                       27.99
                                                                                                                     $________________________________
 11531 Kathy Lane                                                     Contingent
                                                                      Unliquidated
 Garden Grove, CA, 92840                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2147
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             372.98
                                                                                                                     $________________________________
 Deborah Izquierdo                                                    Contingent
 938 Floyd Ter                                                        Unliquidated
                                                                      Disputed
 Union, NJ, 07083-8302
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2148
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.98
                                                                                                                     $________________________________
 Deborah Rosado                                                      Check all that apply.
 1240 Westchester Ave Apt 4K                                          Contingent
                                                                      Unliquidated
 Bronx, NY, 10459                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2149
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Deborah Williams                                                    Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 818 Webster Avenue                                                   Contingent
                                                                      Unliquidated
 Hamilton, OH, 45013                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2150
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      152.96
                                                                                                                     $________________________________
 Debra Glynn                                                         Check all that apply.
 165 N Main St                                                        Contingent
                                                                      Unliquidated
 Uxbridge, MA, 1569                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2151
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Decreeta Gary                                                       Check all that apply.
                                                                                                                       42.99
                                                                                                                     $________________________________
 1807 Brier Street Southeast                                          Contingent
                                                                      Unliquidated
 Warren, OH, 44484                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2152
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             122.79
                                                                                                                     $________________________________
 Dee Dixon                                                            Contingent
 1971 Yellow Pine Drive                                               Unliquidated
                                                                      Disputed
 Middleton, ID, 83644
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2153
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.99
                                                                                                                     $________________________________
 Dee Gayle                                                           Check all that apply.
 1405 Parker Den Dr                                                   Contingent
                                                                      Unliquidated
 Ruskin, FL, 33570                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2154
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Deepti Ajjampore                                                    Check all that apply.
                                                                                                                      69.99
                                                                                                                     $________________________________
 18185 Prairie Falcon Lane                                            Contingent
                                                                      Unliquidated
 Brookfield, WI, 53045                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2155
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      104.75
                                                                                                                     $________________________________
 Deja Faison                                                         Check all that apply.
 10600 Village Trail                                                  Contingent
                                                                      Unliquidated
 Jonesboro, GA, 30238                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2156
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Delaney Smith                                                       Check all that apply.
                                                                                                                       22.57
                                                                                                                     $________________________________
 2101 Cheltenham Rd                                                   Contingent
                                                                      Unliquidated
 Columbus, OH, 43220                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2157
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.97
                                                                                                                     $________________________________
 Delaney Thomas                                                       Contingent
 1218 North Ironwood Drive                                            Unliquidated
                                                                      Disputed
 SOUTH BEND, IN, 46615
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2158
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.76
                                                                                                                     $________________________________
 Deleann Depew                                                       Check all that apply.
 10735 52nd Ave North                                                 Contingent
                                                                      Unliquidated
 St. Petersburg, FL, 33708                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2159
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Delilah Dunn                                                        Check all that apply.
                                                                                                                      72.07
                                                                                                                     $________________________________
 1575 Hillside Oak Drive                                              Contingent
                                                                      Unliquidated
 Grayson, GA, 30017                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2160
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      58.99
                                                                                                                     $________________________________
 Dell Hughes                                                         Check all that apply.
 340 Pocahontas St                                                    Contingent
                                                                      Unliquidated
 Mosheim, TN, 37818-3908                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2161
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Delonta Smith                                                       Check all that apply.
                                                                                                                       29.15
                                                                                                                     $________________________________
 2793 Noble Road, 1                                                   Contingent
                                                                      Unliquidated
 Cleveland Heights, OH, 44121                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2162
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 demarcus adams                                                       Contingent
 833 Ardella Avenue                                                   Unliquidated
                                                                      Disputed
 Akron, OH, 44306
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2163
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       80.98
                                                                                                                     $________________________________
 Demetrius Casillas                                                  Check all that apply.
 1949 Oakford Avenue                                                  Contingent
                                                                      Unliquidated
 Feasterville-Trevose, PA, 19053                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2164
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dena Anastasiou                                                     Check all that apply.
                                                                                                                      29.95
                                                                                                                     $________________________________
 264 Whitesand Court                                                  Contingent
                                                                      Unliquidated
 Casselberry, FL, 32707                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2165
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.66
                                                                                                                     $________________________________
 Dena Neal                                                           Check all that apply.
 Po Box 873604                                                        Contingent
                                                                      Unliquidated
 Wasilla, AK, 99687                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2166
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Denise Ennist                                                       Check all that apply.
                                                                                                                       54.86
                                                                                                                     $________________________________
 143 South Ferguson Avenue                                            Contingent
                                                                      Unliquidated
 Cookeville, TN, 38501                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2167
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             56.67
                                                                                                                     $________________________________
 Denise Feng                                                          Contingent
 2633 Kenney Dr                                                       Unliquidated
                                                                      Disputed
 San Pablo, CA, 94806
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2168
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       33.99
                                                                                                                     $________________________________
 Denise Levien                                                       Check all that apply.
 3840 Water Drop Court                                                Contingent
                                                                      Unliquidated
 Burtonsville, MD, 20866                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2169
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Denise Speir                                                        Check all that apply.
                                                                                                                      97.00
                                                                                                                     $________________________________
 3104 Woodbridge Drive                                                Contingent
                                                                      Unliquidated
 Birmingham, AL, 35242                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2170
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      114.84
                                                                                                                     $________________________________
 Denisse Firma                                                       Check all that apply.
 118-C Penny Meadow Lane                                              Contingent
                                                                      Unliquidated
 Stratford, CT, 6614                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2171
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Denitza Russi                                                       Check all that apply.
                                                                                                                       12.65
                                                                                                                     $________________________________
 964 Weeden Creek Rd                                                  Contingent
                                                                      Unliquidated
 Sheboygan, WI, 53081                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2172
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             121.08
                                                                                                                     $________________________________
 Dennis Dzurikanin                                                    Contingent
 615 Sidney Street                                                    Unliquidated
                                                                      Disputed
 Hopewell, VA, 23860
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2173
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Dennis Gonzales                                                     Check all that apply.
 5225 W. 121 PL                                                       Contingent
                                                                      Unliquidated
 Alsip, IL, 60803                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2174
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dennis Isip                                                         Check all that apply.
                                                                                                                      21.89
                                                                                                                     $________________________________
 16054 Cook LN                                                        Contingent
                                                                      Unliquidated
 North Hills, CA, 91343                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2175
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Dennis J Santos                                                     Check all that apply.
 47 Madison Avenue                                                    Contingent
                                                                      Unliquidated
 Chelsea, MA, 2150                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2176
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dennis Marciuska                                                    Check all that apply.
                                                                                                                       59.99
                                                                                                                     $________________________________
 4942 Alessandro Avenue                                               Contingent
                                                                      Unliquidated
 Temple City, CA, 91780                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2177
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             273.93
                                                                                                                     $________________________________
 Dennis Mooney                                                        Contingent
 75 Central Avenue                                                    Unliquidated
                                                                      Disputed
 East Brunswick, NJ, 8816
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2178
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Dennis Moya                                                         Check all that apply.
 5308 Pitch Pine Ct                                                   Contingent
                                                                      Unliquidated
 Raleigh, NC, 27617-5804                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2179
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dennis Ong                                                          Check all that apply.
                                                                                                                      66.05
                                                                                                                     $________________________________
 33211 33rd Ave SW                                                    Contingent
                                                                      Unliquidated
 Federal Way, WA, 98023                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2180
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.77
                                                                                                                     $________________________________
 Dennis Vargas                                                       Check all that apply.
 601 S Seneca Blvd                                                    Contingent
                                                                      Unliquidated
 Daytona Beach, FL, 32114-4519                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2181
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Denny Bradberry                                                     Check all that apply.
                                                                                                                       31.99
                                                                                                                     $________________________________
 10880 fleming rd                                                     Contingent
                                                                      Unliquidated
 Fowlerville, MI, 48836                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2182
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             53.99
                                                                                                                     $________________________________
 Denny Newman                                                         Contingent
 641 Green Pasture Ct.                                                Unliquidated
                                                                      Disputed
 Elgin, SC, 29045
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2183
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.66
                                                                                                                     $________________________________
 Derek Bendixson                                                     Check all that apply.
 8410 135th ave nw                                                    Contingent
                                                                      Unliquidated
 Alamo, ND, 58830                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2184
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Derek Cain                                                          Check all that apply.
                                                                                                                      247.80
                                                                                                                     $________________________________
 6419 Monteverde Lane                                                 Contingent
                                                                      Unliquidated
 Citrus Heights, CA, 95621                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2185
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      5.99
                                                                                                                     $________________________________
 Derek Dean                                                          Check all that apply.
 1834 Pecan Grove Drive                                               Contingent
                                                                      Unliquidated
 Anna, TX, 75409                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2186
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Derek Hendricks                                                     Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 452 Old Winder Jefferson Hwy                                         Contingent
                                                                      Unliquidated
 Jefferson, GA, 30549                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2187
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Derek Knapp                                                          Contingent
 36843 Lompoc Ave                                                     Unliquidated
                                                                      Disputed
 Barstow, CA, 92311
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2188
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.07
                                                                                                                     $________________________________
 Derek Mckinney                                                      Check all that apply.
 3466 County Road 427                                                 Contingent
                                                                      Unliquidated
 Elba, AL, 36323                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2189
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Derek Michaelson                                                    Check all that apply.
                                                                                                                      37.98
                                                                                                                     $________________________________
 1605 East 29th Street                                                Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11229                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2190
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.60
                                                                                                                     $________________________________
 Derek Monacchio                                                     Check all that apply.
 10 Park Row W, #224                                                  Contingent
                                                                      Unliquidated
 Providence, RI, 02903-1136                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2191
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Derek Morris                                                        Check all that apply.
                                                                                                                       23.53
                                                                                                                     $________________________________
 6432 Ault Place                                                      Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46221                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2192
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.12
                                                                                                                     $________________________________
 Derek n Henry                                                        Contingent
 4105 East R Street                                                   Unliquidated
                                                                      Disputed
 Tacoma, WA, 98404
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2193
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.98
                                                                                                                     $________________________________
 Derek Ruiz                                                          Check all that apply.
 669 47th Avenue Northeast                                            Contingent
                                                                      Unliquidated
 Columbia Heights, MN, 55421                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2194
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Derek Schneider                                                     Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 11437 South Ki Road                                                  Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85044                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2195
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.13
                                                                                                                     $________________________________
 Derek Stoudt                                                        Check all that apply.
 205 west Granada ave                                                 Contingent
                                                                      Unliquidated
 Hershey, PA, 17033-1540                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2196
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Derek Watt                                                          Check all that apply.
                                                                                                                       12.83
                                                                                                                     $________________________________
 112 Allenwood Circle Southwest                                       Contingent
                                                                      Unliquidated
 Milledgeville, GA, 31061                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2197
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Derreck Cochran                                                      Contingent
 1524 E Queen Ave                                                     Unliquidated
                                                                      Disputed
 Spokane, WA, 99207-4142
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2198
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.99
                                                                                                                     $________________________________
 Derrick Gray                                                        Check all that apply.
 PSC 3 Box 7653                                                       Contingent
                                                                      Unliquidated
 APO, AP, 96266                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2199
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DERRICK JOE                                                         Check all that apply.
                                                                                                                      26.68
                                                                                                                     $________________________________
 PO BOX 4581                                                          Contingent
                                                                      Unliquidated
 YATAHEY, NM, 87375                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2200
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.84
                                                                                                                     $________________________________
 Desiree Gomez-Gutierrez                                             Check all that apply.
 10808 FOOTHILL BLVD # 160-733                                        Contingent
                                                                      Unliquidated
 RANCHO CUCAMONGA, CA, 91730                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2201
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Desiree Smith                                                       Check all that apply.
                                                                                                                       28.17
                                                                                                                     $________________________________
 1200 S Dairy Ashford, #424                                           Contingent
                                                                      Unliquidated
 Houston, TX, 77077                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2202
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Desiree Sze                                                          Contingent
 1715 popham avenue, apt 1                                            Unliquidated
                                                                      Disputed
 Bronx, NY, 10453
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2203
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Desmond Bostic                                                      Check all that apply.
 993 Equestrian Dr, Apt 4202                                          Contingent
                                                                      Unliquidated
 Henderson, NV, 89002-8458                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2204
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Destinee Fannin                                                     Check all that apply.
                                                                                                                      28.88
                                                                                                                     $________________________________
 609 West 4th Street                                                  Contingent
                                                                      Unliquidated
 Marion, IN, 46952                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2205
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.97
                                                                                                                     $________________________________
 Destiny Goade                                                       Check all that apply.
 750 Keyes Drive                                                      Contingent
                                                                      Unliquidated
 Grovetown, GA, 30813                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2206
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Destiny Sanchez                                                     Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 820 Award Drive                                                      Contingent
                                                                      Unliquidated
 Colton, CA, 92324                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2207
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.03
                                                                                                                     $________________________________
 Devan Bissonette                                                     Contingent
 5692 Ridge Road West                                                 Unliquidated
                                                                      Disputed
 Spencerport, NY, 14559
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2208
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.00
                                                                                                                     $________________________________
 Devi Shamdasani                                                     Check all that apply.
 712 featherwood dr                                                   Contingent
                                                                      Unliquidated
 Diamond bar, CA, 91765                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2209
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Devin Champagne                                                     Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 39 Towne st                                                          Contingent
                                                                      Unliquidated
 North Attleboro, MA, 2760                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2210
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Devin Fabian                                                        Check all that apply.
 5830 5th Ave Apt 2-2                                                 Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15232-2742                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2211
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Devin Howell                                                        Check all that apply.
                                                                                                                       59.99
                                                                                                                     $________________________________
 8003 Parkside Lane NW                                                Contingent
                                                                      Unliquidated
 Washington, DC, 20012                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2212
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             395.02
                                                                                                                     $________________________________
 Devin Mauldin                                                        Contingent
 795 Avante Place                                                     Unliquidated
                                                                      Disputed
 Morgan Hill, CA, 95037
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2213
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Devin Orr                                                           Check all that apply.
 140 Proctor Hill Road                                                Contingent
                                                                      Unliquidated
 Hollis, NH, 3049                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2214
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Devin Smith                                                         Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 2004 Hastings Drive                                                  Contingent
                                                                      Unliquidated
 Plainfield, IL, 60586                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2215
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      139.40
                                                                                                                     $________________________________
 Devin Stocksdale                                                    Check all that apply.
 9718 East Annalyn Dr                                                 Contingent
                                                                      Unliquidated
 Sandy, UT, 84070                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2216
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Devlin O?ÄôHaver                                                    Check all that apply.
                                                                                                                       8.81
                                                                                                                     $________________________________
 534 NE 80th St.                                                      Contingent
                                                                      Unliquidated
 Seattle, WA, 98115                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2217
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             66.64
                                                                                                                     $________________________________
 Devon Ceja                                                           Contingent
 114 Woodknoll Pl                                                     Unliquidated
                                                                      Disputed
 Valrico, FL, 33594-6732
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2218
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Devon Mauer                                                         Check all that apply.
 307 West 10th Street                                                 Contingent
                                                                      Unliquidated
 Winona, MN, 55987                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2219
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DeVona Day                                                          Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 8429 Brahma Drive                                                    Contingent
                                                                      Unliquidated
 Justin, TX, 76247                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2220
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.98
                                                                                                                     $________________________________
 Dexter Arafiles                                                     Check all that apply.
 25227 Redlands Blvd, Ste D                                           Contingent
                                                                      Unliquidated
 Loma Linda, CA, 92354-1932                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2221
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dexter Heineke                                                      Check all that apply.
                                                                                                                       69.26
                                                                                                                     $________________________________
 128 S REITER ST                                                      Contingent
                                                                      Unliquidated
 Benson, IL, 61516                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2222
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             199.98
                                                                                                                     $________________________________
 Dezso Augusztin                                                      Contingent
 220 Johnson Avenue                                                   Unliquidated
                                                                      Disputed
 Stratford, CT, 6614
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2223
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       254,719.85
                                                                                                                     $________________________________
 Diamond Comic Distributors, Inc.                                    Check all that apply.
 10150 York Rd. - Suite 300                                           Contingent
                                                                      Unliquidated
 Hunt Valley, MD, 21030                                               Disputed
                                                                     Basis for the claim: Trade Payables



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2224
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Diana Alcala                                                        Check all that apply.
                                                                                                                      95.97
                                                                                                                     $________________________________
 4240 South Centinela Avenue, Apt3                                    Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90066                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2225
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.91
                                                                                                                     $________________________________
 Diana Gibbs                                                         Check all that apply.
 10621 West 102nd Place                                               Contingent
                                                                      Unliquidated
 Westminster, CO, 80021                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2226
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Diana Gutierrez                                                     Check all that apply.
                                                                                                                       53.98
                                                                                                                     $________________________________
 2727 5 Points Road                                                   Contingent
                                                                      Unliquidated
 Indiana, PA, 15701                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2227
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             25.90
                                                                                                                        $________________________________
 Diana Langie                                                            Contingent
 1439 Northwoods Rd                                                      Unliquidated
                                                                         Disputed
 Deerfield, IL, 60015
                                                                        Basis for the claim: Customers with Outstanding Deposits



                                                                        Is the claim subject to offset?
         Date or dates debt was incurred         ___________________
                                                                        
                                                                        ✔
                                                                          No
                                                                         Yes
         Last 4 digits of account number         ___________________
  2228
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                          27.99
                                                                                                                        $________________________________
 Diana Pyhala                                                           Check all that apply.
 11S573 Webster Lane                                                     Contingent
                                                                         Unliquidated
 Naperville, IL, 60564                                                   Disputed
                                                                        Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred         ___________________    Is the claim subject to offset?
         Last 4 digits of account number         ___________________
                                                                        
                                                                        ✔
                                                                          No
                                                                         Yes
  2229
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 Diane Frost                                                            Check all that apply.
                                                                                                                         19.99
                                                                                                                        $________________________________
 303 W Main, Apt 1601                                                    Contingent
                                                                         Unliquidated
 Elkland, PA, 16920                                                      Disputed
                                                                        Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred         ___________________    Is the claim subject to offset?
         Last 4 digits of account number         __________________     
                                                                        ✔
                                                                          No
                                                                         Yes
  2230
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         19.99
                                                                                                                        $________________________________
 Diane Garcia                                                           Check all that apply.
 Woodtrail Apts, 3130 E Villa Maria Rd Apt 207                           Contingent
                                                                         Unliquidated
 Bryan, TX, 77803-5067                                                   Disputed
                                                                        Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                          No
         Last 4 digits of account number         ___________________     Yes
  2231
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 Diane Messer                                                           Check all that apply.
                                                                                                                          119.98
                                                                                                                        $________________________________
 77 Dogwood Road                                                         Contingent
                                                                         Unliquidated
 Asheville, NC, 28805                                                    Disputed
                                                                        Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                          No
         Last 4 digits of account number         ___________________     Yes



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  2232
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.92
                                                                                                                     $________________________________
 Diane Zeno                                                           Contingent
 16521 Regina Circle, 4, 4                                            Unliquidated
                                                                      Disputed
 Huntington Beach, CA, 92649
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2233
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.98
                                                                                                                     $________________________________
 Dianna Sajuan Vazquez                                               Check all that apply.
 36647 Cherry Street                                                  Contingent
                                                                      Unliquidated
 Newark, CA, 94560                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2234
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DiAntha Threat                                                      Check all that apply.
                                                                                                                      147.96
                                                                                                                     $________________________________
 7920 Branch Way                                                      Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76116                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2235
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Dias reyes reyes                                                    Check all that apply.
 8537 Northwest 66th Street                                           Contingent
                                                                      Unliquidated
 Silver Lake, KS, 66539                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2236
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Diego Alzaga                                                        Check all that apply.
                                                                                                                       73.26
                                                                                                                     $________________________________
 2161 Villa Sonoma Glen                                               Contingent
                                                                      Unliquidated
 Escondido, CA, 92029                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2237
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             80.97
                                                                                                                     $________________________________
 Diego F Delgado                                                      Contingent
 84-20 153 Ave, 6H                                                    Unliquidated
                                                                      Disputed
 Howard Beach, NY, 11414
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2238
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.12
                                                                                                                     $________________________________
 Diego Guerrero                                                      Check all that apply.
 15562 Outside Trail                                                  Contingent
                                                                      Unliquidated
 Noblesville, IN, 46060                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2239
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Diego Martinez                                                      Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 2882 Mount Hope Drive                                                Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89156                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2240
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      72.96
                                                                                                                     $________________________________
 Diego Sanchez                                                       Check all that apply.
 1463 Morgan Rd                                                       Contingent
                                                                      Unliquidated
 San Bernardino, CA, 92407                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2241
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Diego Sernadas                                                      Check all that apply.
                                                                                                                       94.71
                                                                                                                     $________________________________
 50-21 45th Street, Apt 3f                                            Contingent
                                                                      Unliquidated
 Queens, NY, 11377                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2242
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.55
                                                                                                                     $________________________________
 Diego V                                                              Contingent
 421 Cardona circle                                                   Unliquidated
                                                                      Disputed
 Greenfield, CA, 93927
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2243
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Diego Villalobos                                                    Check all that apply.
 8785 Frankfort Street                                                Contingent
                                                                      Unliquidated
 Fontana, CA, 92335                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2244
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dilene Gonzalez                                                     Check all that apply.
                                                                                                                      27.99
                                                                                                                     $________________________________
 19750 Saticoy St.                                                    Contingent
                                                                      Unliquidated
 Winnetka, CA, 91306                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2245
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.45
                                                                                                                     $________________________________
 Dillon Thorp                                                        Check all that apply.
 8652 Woodman Avenue                                                  Contingent
                                                                      Unliquidated
 Los Angeles, CA, 91331                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2246
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dillon Wellerbrady                                                  Check all that apply.
                                                                                                                       30.80
                                                                                                                     $________________________________
 26 Ansonia Road                                                      Contingent
                                                                      Unliquidated
 Boston, MA, 2132                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2247
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Dina Ost                                                             Contingent
 1313 Maple Drive                                                     Unliquidated
                                                                      Disputed
 Blair, NE, 68008
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2248
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.96
                                                                                                                     $________________________________
 Dina Weslander                                                      Check all that apply.
 2529 West Cactus Road, Apt 3123                                      Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85029                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2249
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Discover Bank                                                       Check all that apply.
                                                                                                                      12,906.00
                                                                                                                     $________________________________
 PO Box 6103                                                          Contingent
                                                                      Unliquidated
 Carol Stream, IL, 60197-6103                                         Disputed
                                                                     Basis for the claim: Credit Card Debt



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2250
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.19
                                                                                                                     $________________________________
 DJ Singleton                                                        Check all that apply.
 9816 140th Street Court East                                         Contingent
                                                                      Unliquidated
 Puyallup, WA, 98373                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2251
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DJ SMITH                                                            Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 12717 Carter Street                                                  Contingent
                                                                      Unliquidated
 Overland Park, KS, 66213                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2252
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.22
                                                                                                                     $________________________________
 Dj Smoot                                                             Contingent
 3528 California Avenue                                               Unliquidated
                                                                      Disputed
 Long Beach, CA, 90807
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2253
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Dmitri Weise                                                        Check all that apply.
 160 Ludlow st                                                        Contingent
                                                                      Unliquidated
 Belchertown, MA, 1007                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2254
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dmitriy Kazimirko                                                   Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 4558 Spring Blvd                                                     Contingent
                                                                      Unliquidated
 Eugene, OR, 97405                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2255
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Dolf Dodge                                                          Check all that apply.
 3953 Pegg Ave                                                        Contingent
                                                                      Unliquidated
 Columbus, OH, 43214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2256
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dolly Becerra                                                       Check all that apply.
                                                                                                                       60.98
                                                                                                                     $________________________________
 2259 N Latrobe ave , House                                           Contingent
                                                                      Unliquidated
 Chicago , IL, 60639                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2257
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             16.40
                                                                                                                     $________________________________
 Dolly Pham                                                           Contingent
 1574 Orangewood Dr                                                   Unliquidated
                                                                      Disputed
 San Jose, CA, 95121
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2258
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       156.98
                                                                                                                     $________________________________
 Dominador Florentino                                                Check all that apply.
 2418 Marquette Trl.                                                  Contingent
                                                                      Unliquidated
 Katy, TX, 77494                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2259
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 domingo reyes                                                       Check all that apply.
                                                                                                                      119.96
                                                                                                                     $________________________________
 104 Stahl Ave                                                        Contingent
                                                                      Unliquidated
 New Castle, DE, 19720                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2260
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.24
                                                                                                                     $________________________________
 Dominic DeLellis                                                    Check all that apply.
 120 ENGLEWOOD BLVD                                                   Contingent
                                                                      Unliquidated
 HAMILTON, NJ, 8610                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2261
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dominic Lam                                                         Check all that apply.
                                                                                                                       269.99
                                                                                                                     $________________________________
 12 MacDonald Court                                                   Contingent
                                                                      Unliquidated
 Richmond Hill, ON, L4E 1E9                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2262
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             270.96
                                                                                                                     $________________________________
 Dominic Maffuccio                                                    Contingent
 8 Ashley Street                                                      Unliquidated
                                                                      Disputed
 Pittsfield, MA, 1201
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2263
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.91
                                                                                                                     $________________________________
 Dominic Quinn                                                       Check all that apply.
 4272 Ellinwood Boulevard                                             Contingent
                                                                      Unliquidated
 Palm Harbor, FL, 34685                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2264
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dominic Torrez                                                      Check all that apply.
                                                                                                                      91.13
                                                                                                                     $________________________________
 300 Addison Court                                                    Contingent
                                                                      Unliquidated
 Oswego, IL, 60543                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2265
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.03
                                                                                                                     $________________________________
 Dominik Fernandez                                                   Check all that apply.
 13127 Rockridge Lane                                                 Contingent
                                                                      Unliquidated
 Woodbridge, VA, 22191                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2266
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Don Craft                                                           Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 320 new st.                                                          Contingent
                                                                      Unliquidated
 fairport harbor, OH, 44077                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2267
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.98
                                                                                                                     $________________________________
 Don Kallenberger                                                     Contingent
 720 woodlawn Ave                                                     Unliquidated
                                                                      Disputed
 Muscatine , IA, 52761
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2268
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Donald Fitzgerald                                                   Check all that apply.
 6533 Graylock Ln.                                                    Contingent
                                                                      Unliquidated
 North Highlands, CA, 95660                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2269
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Donald Greguoli                                                     Check all that apply.
                                                                                                                      67.08
                                                                                                                     $________________________________
 8726 Brackenwood Dr                                                  Contingent
                                                                      Unliquidated
 Orlando, FL, 32829                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2270
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      130.14
                                                                                                                     $________________________________
 Donald Hanson                                                       Check all that apply.
 3005 South 47th Street, Apt 71                                       Contingent
                                                                      Unliquidated
 Tacoma, WA, 98409                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2271
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Donald key                                                          Check all that apply.
                                                                                                                       61.99
                                                                                                                     $________________________________
 3526 south adelle                                                    Contingent
                                                                      Unliquidated
 Mesa, AZ, 85212                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2272
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             286.83
                                                                                                                     $________________________________
 Donald Moore                                                         Contingent
 77 Borough Road                                                      Unliquidated
                                                                      Disputed
 Concord, NH, 3303
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2273
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       178.81
                                                                                                                     $________________________________
 Donald Murphy Jr                                                    Check all that apply.
 291 Columbus ave, Apr 2l                                             Contingent
                                                                      Unliquidated
 Tuckahoe, NY, 10707                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2274
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Donald Nguyen                                                       Check all that apply.
                                                                                                                      7.99
                                                                                                                     $________________________________
 216 Andrea Drive                                                     Contingent
                                                                      Unliquidated
 Jamestown, NC, 27282                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2275
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 Donald Perkins                                                      Check all that apply.
 569 Copperfield Dr                                                   Contingent
                                                                      Unliquidated
 Lawrenceburg, KY, 40342                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2276
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Donald Rexroad                                                      Check all that apply.
                                                                                                                       69.68
                                                                                                                     $________________________________
 1847 Tin Mine Rd                                                     Contingent
                                                                      Unliquidated
 Lincolnton, NC, 28092                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2277
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.99
                                                                                                                     $________________________________
 Dong Lee                                                             Contingent
 121, 1st CAVALRY RD                                                  Unliquidated
                                                                      Disputed
 FORT LEAVENWORTH, KS, 66027-1202
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2278
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       100.98
                                                                                                                     $________________________________
 Dong Yuan                                                           Check all that apply.
 136-21 Latimer Place, 2H                                             Contingent
                                                                      Unliquidated
 Flushing, NY, 11354                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2279
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dongbo Liu                                                          Check all that apply.
                                                                                                                      134.99
                                                                                                                     $________________________________
 477 Baltimore Pl                                                     Contingent
                                                                      Unliquidated
 San Jose, CA, 95123                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2280
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.99
                                                                                                                     $________________________________
 Donna Oriondo                                                       Check all that apply.
 11328 Euclid Avenue, 206                                             Contingent
                                                                      Unliquidated
 Cleveland, OH, 44106                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2281
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Donna Edwards                                                       Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 5700 Bayou Dr                                                        Contingent
                                                                      Unliquidated
 Bossier City, LA, 71112                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2282
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Donny Valenzuela                                                     Contingent
 4819 Mendocino Terrace                                               Unliquidated
                                                                      Disputed
 Fremont, CA, 94555
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2283
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.80
                                                                                                                     $________________________________
 Donovan Pair                                                        Check all that apply.
 219 Saddlebow Road                                                   Contingent
                                                                      Unliquidated
 Bell Canyon, CA, 91307                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2284
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Donte Jackson                                                       Check all that apply.
                                                                                                                      16.42
                                                                                                                     $________________________________
 22727 Dolorosa St                                                    Contingent
                                                                      Unliquidated
 Woodland Hills, CA, 91367                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2285
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      62.98
                                                                                                                     $________________________________
 Donte Parks                                                         Check all that apply.
 3516a South Webster Street                                           Contingent
                                                                      Unliquidated
 Seattle, WA, 98118                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2286
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Doral Moore                                                         Check all that apply.
                                                                                                                       79.99
                                                                                                                     $________________________________
 470 Hood Road                                                        Contingent
                                                                      Unliquidated
 Stockbridge, GA, 30281                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2287
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 Doreen Milazzo                                                       Contingent
 71B Gough Avenue                                                     Unliquidated
                                                                      Disputed
 West Warwick, RI, 2893
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2288
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.99
                                                                                                                     $________________________________
 Dorian Barrios                                                      Check all that apply.
 413 19th Street, Apt 1                                               Contingent
                                                                      Unliquidated
 Altoona, PA, 16602                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2289
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Doris Ihejirika                                                     Check all that apply.
                                                                                                                      81.60
                                                                                                                     $________________________________
 1314 Eastwood Dr                                                     Contingent
                                                                      Unliquidated
 District Heights, MD, 20747                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2290
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.99
                                                                                                                     $________________________________
 Dorn, Caedmon                                                       Check all that apply.
 8200 nw 79th terr                                                    Contingent
                                                                      Unliquidated
 Kansas City, MO, 64152                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2291
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dorothy Anderson                                                    Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 190 Harold Ave                                                       Contingent
                                                                      Unliquidated
 Derby, CT, 6418                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2292
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             53.74
                                                                                                                     $________________________________
 Dorsey Clemons                                                       Contingent
 12700 Bartram Park Blvd, APT 1723                                    Unliquidated
                                                                      Disputed
 Jacksonville, FL, 32258
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2293
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.81
                                                                                                                     $________________________________
 Dory Sain                                                           Check all that apply.
 2702 Lakeside Way, Apt 2702, Apt 2702                                Contingent
                                                                      Unliquidated
 Newnan, GA, 30265                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2294
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 doug emery                                                          Check all that apply.
                                                                                                                      47.25
                                                                                                                     $________________________________
 PO Box 2202                                                          Contingent
                                                                      Unliquidated
 Gypsum, CO, 81637                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2295
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      74.95
                                                                                                                     $________________________________
 doug hicks                                                          Check all that apply.
 105 Tinker Way                                                       Contingent
                                                                      Unliquidated
 Sacramento, CA, 95838                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2296
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Doug Singer                                                         Check all that apply.
                                                                                                                       19.98
                                                                                                                     $________________________________
 2605 Scott Avenue                                                    Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90026                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2297
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             170.79
                                                                                                                     $________________________________
 Doug Vandiver                                                        Contingent
 1182 Deblin Dr                                                       Unliquidated
                                                                      Disputed
 Milford, OH, 45150
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2298
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       46.63
                                                                                                                     $________________________________
 Douglas Piontkowski                                                 Check all that apply.
 3415 Glover Rd                                                       Contingent
                                                                      Unliquidated
 Almont, MI, 48003-8130                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2299
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Douglas Bernard                                                     Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 1838 Davidson Street                                                 Contingent
                                                                      Unliquidated
 Aliquippa, PA, 15001                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2300
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.98
                                                                                                                     $________________________________
 Douglas Caulfield                                                   Check all that apply.
 889 Home Park Drive                                                  Contingent
                                                                      Unliquidated
 Saint Peters, MO, 63376                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2301
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Douglas Fisher                                                      Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 3214 s Durango st, Unit b                                            Contingent
                                                                      Unliquidated
 Tacoma, WA, 98409                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2302
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Douglas Gordon                                                       Contingent
 1322 W 64th St                                                       Unliquidated
                                                                      Disputed
 Cleveland, OH, 44102-2106
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2303
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       127.18
                                                                                                                     $________________________________
 Douglas Hassett                                                     Check all that apply.
 644 Hollywood Dr                                                     Contingent
                                                                      Unliquidated
 MONROE, MI, 48162                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2304
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Douglas Shaffer                                                     Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 1723 West Carol Avenue                                               Contingent
                                                                      Unliquidated
 Mesa, AZ, 85202                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2305
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Douglas Walkinshaw                                                  Check all that apply.
 55 Woodham Ave                                                       Contingent
                                                                      Unliquidated
 Fort Walton Beach, FL, 32547                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2306
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Douglas Wallace                                                     Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 45 Lenox Circle                                                      Contingent
                                                                      Unliquidated
 Roanoke, VA, 24019                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2307
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             148.83
                                                                                                                     $________________________________
 Douglas Wong                                                         Contingent
 2518 N Marshfield Ave                                                Unliquidated
                                                                      Disputed
 Chicago, IL, 60614
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2308
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.81
                                                                                                                     $________________________________
 Doyle, Kassandra                                                    Check all that apply.
 1509 Comer Ave                                                       Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46203                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2309
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Drake Blaney                                                        Check all that apply.
                                                                                                                      84.99
                                                                                                                     $________________________________
 11028 Labelle Avenue                                                 Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45242                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2310
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      48.39
                                                                                                                     $________________________________
 Drake Williams                                                      Check all that apply.
 6831 Curry Station Rd                                                Contingent
                                                                      Unliquidated
 Eastaboga, AL, 36260                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2311
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dre Quintino                                                        Check all that apply.
                                                                                                                       62.98
                                                                                                                     $________________________________
 2110 12th Street                                                     Contingent
                                                                      Unliquidated
 Anacortes, WA, 98221                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2312
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             252.86
                                                                                                                     $________________________________
 Drei Domes                                                           Contingent
 4120 C Street                                                        Unliquidated
                                                                      Disputed
 Bremerton, WA, 98312
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2313
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.09
                                                                                                                     $________________________________
 Drew Blanchard                                                      Check all that apply.
 25098 72nd Street                                                    Contingent
                                                                      Unliquidated
 South Haven, MI, 49090                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2314
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 drew e stone                                                        Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 3608 owens way                                                       Contingent
                                                                      Unliquidated
 north highlands, CA, 95660                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2315
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.11
                                                                                                                     $________________________________
 Drew Sardinha                                                       Check all that apply.
 255 Davis St, FLOOR 2                                                Contingent
                                                                      Unliquidated
 Fall River, MA, 2720                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2316
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dreyden Huncovsky                                                   Check all that apply.
                                                                                                                       277.12
                                                                                                                     $________________________________
 308 2nd Avenue Northeast                                             Contingent
                                                                      Unliquidated
 Belfield, ND, 58622                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2317
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             537.39
                                                                                                                     $________________________________
 Drink Meta                                                           Contingent
 1 Gateway Center                                                     Unliquidated
                                                                      Disputed
 Newark, NJ, 07102
                                                                     Basis for the claim: Trade Payables



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2318
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       136.97
                                                                                                                     $________________________________
 DRURY SYLVESTER                                                     Check all that apply.
 P. O. Box 2231                                                       Contingent
                                                                      Unliquidated
 PRESCOTT, AZ, 86302                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2319
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 duane allen                                                         Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 4488 south 4475 West                                                 Contingent
                                                                      Unliquidated
 West Valley City, UT, 84120                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2320
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      79.98
                                                                                                                     $________________________________
 Duc Nguyen                                                          Check all that apply.
 7024 Yakima Avenue                                                   Contingent
                                                                      Unliquidated
 Tacoma, WA, 98408                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2321
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dulan Langel                                                        Check all that apply.
                                                                                                                       13.19
                                                                                                                     $________________________________
 14207 126th Avenue East                                              Contingent
                                                                      Unliquidated
 Puyallup, WA, 98374                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2322
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Dulce Hernandez                                                      Contingent
 210 Peachtree St                                                     Unliquidated
                                                                      Disputed
 Shelbyville, KY, 40065
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2323
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Duncan Sheridan                                                     Check all that apply.
 5 Croydon Drive                                                      Contingent
                                                                      Unliquidated
 Merrick, NY, 11566                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2324
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Durham Parker                                                       Check all that apply.
                                                                                                                      26.97
                                                                                                                     $________________________________
 1753 Tanglewood Road                                                 Contingent
                                                                      Unliquidated
 Jacksonville Beach, FL, 32250                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2325
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Dustin Bredice                                                      Check all that apply.
 4975 Fenton St                                                       Contingent
                                                                      Unliquidated
 Denver, CO, 80212                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2326
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dustin Bryant                                                       Check all that apply.
                                                                                                                       67.96
                                                                                                                     $________________________________
 3229 43rd Avenue South                                               Contingent
                                                                      Unliquidated
 Grand Forks, ND, 58201                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2327
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             402.02
                                                                                                                     $________________________________
 Dustin Carter                                                        Contingent
 6158 Douglas Ct                                                      Unliquidated
                                                                      Disputed
 Farmington, NY, 14425
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2328
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.95
                                                                                                                     $________________________________
 Dustin Chasteen                                                     Check all that apply.
 9066 108th Ave                                                       Contingent
                                                                      Unliquidated
 Vero Beach, FL, 32967                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2329
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dustin Cook                                                         Check all that apply.
                                                                                                                      18.99
                                                                                                                     $________________________________
 3612 HARMS RD                                                        Contingent
                                                                      Unliquidated
 JOLIET, IL, 60435                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2330
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.89
                                                                                                                     $________________________________
 Dustin Deling                                                       Check all that apply.
 420 FORD Road, Apt 139                                               Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55426                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2331
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dustin L Turner                                                     Check all that apply.
                                                                                                                       34.63
                                                                                                                     $________________________________
 3609 Downing Circle                                                  Contingent
                                                                      Unliquidated
 Deer Park, TX, 77536                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2332
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.39
                                                                                                                     $________________________________
 Dustin Markau                                                        Contingent
 6004 Tree Line Ct                                                    Unliquidated
                                                                      Disputed
 Orangevale, CA, 95662-4948
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2333
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       86.59
                                                                                                                     $________________________________
 dustin miller                                                       Check all that apply.
 2000 Huntington Drive                                                Contingent
                                                                      Unliquidated
 Waco, TX, 76710                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2334
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dustin Ochoa                                                        Check all that apply.
                                                                                                                      97.36
                                                                                                                     $________________________________
 9731 Caritas Circle                                                  Contingent
                                                                      Unliquidated
 Houston, TX, 77065                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2335
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      119.92
                                                                                                                     $________________________________
 Dustin Wenger                                                       Check all that apply.
 12406 E Cortez Dr                                                    Contingent
                                                                      Unliquidated
 Scottsdale, AZ, 85259                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2336
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dustin Wood                                                         Check all that apply.
                                                                                                                       21.59
                                                                                                                     $________________________________
 21805 David dr                                                       Contingent
                                                                      Unliquidated
 Elkmont, AL, 35620                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2337
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.99
                                                                                                                     $________________________________
 Dusty Jarrell                                                        Contingent
 1155 Vine St.                                                        Unliquidated
                                                                      Disputed
 Adrian , MI, 49221
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2338
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Dusty Low                                                           Check all that apply.
 6012 ne 71st ct                                                      Contingent
                                                                      Unliquidated
 VANCOUVER, WA, 98661                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2339
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Duvan Giraldo Micasillero                                           Check all that apply.
                                                                                                                      77.01
                                                                                                                     $________________________________
 9 Southwest 107th Avenue Suite B                                     Contingent
                                                                      Unliquidated
 Miami, FL, 33174                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2340
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.49
                                                                                                                     $________________________________
 Dwight Jenkins                                                      Check all that apply.
 4180 Ann St                                                          Contingent
                                                                      Unliquidated
 Saginaw, MI, 48603                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2341
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dwight Perreira                                                     Check all that apply.
                                                                                                                       49.99
                                                                                                                     $________________________________
 62 Wells Ave, 2nd Floor                                              Contingent
                                                                      Unliquidated
 East Hartford, CT, 6108                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2342
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             30.73
                                                                                                                     $________________________________
 dwight stewart                                                       Contingent
 3935 Wyckoff Dr                                                      Unliquidated
                                                                      Disputed
 Virginia Beach, VA, 23452
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2343
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       212.98
                                                                                                                     $________________________________
 Dylan Dorn                                                          Check all that apply.
 705 NE 116th ct                                                      Contingent
                                                                      Unliquidated
 Portland, OR, 97220                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2344
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dylan Holmen                                                        Check all that apply.
                                                                                                                      26.83
                                                                                                                     $________________________________
 225 East Main Street                                                 Contingent
                                                                      Unliquidated
 Le Roy, MN, 55951                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2345
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.23
                                                                                                                     $________________________________
 Dylan James                                                         Check all that apply.
 2372 Avalon Court                                                    Contingent
                                                                      Unliquidated
 Aurora, IL, 60503                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2346
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dylan Jones                                                         Check all that apply.
                                                                                                                       812.97
                                                                                                                     $________________________________
 20619 Gathering Oak                                                  Contingent
                                                                      Unliquidated
 San Antonio, TX, 78258                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2347
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Dylan Keller                                                         Contingent
 814 N 112TH ST                                                       Unliquidated
                                                                      Disputed
 Wauwatosa, WI, 53226-3744
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2348
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       56.30
                                                                                                                     $________________________________
 Dylan Korzeniowski                                                  Check all that apply.
 9 Norway Farms Dr                                                    Contingent
                                                                      Unliquidated
 Norfolk, MA, 2056                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2349
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dylan Lovato                                                        Check all that apply.
                                                                                                                      31.74
                                                                                                                     $________________________________
 1717 Eighth Street                                                   Contingent
                                                                      Unliquidated
 Manhattan Beach, CA, 90266                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2350
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.91
                                                                                                                     $________________________________
 Dylan Lyon                                                          Check all that apply.
 940 Matinee Blvd, Unit 1F                                            Contingent
                                                                      Unliquidated
 Cold Spring, KY, 41076                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2351
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dylan Mayrides                                                      Check all that apply.
                                                                                                                       37.09
                                                                                                                     $________________________________
 166 Nectar Run                                                       Contingent
                                                                      Unliquidated
 Telford, PA, 18969-2183                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2352
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             84.98
                                                                                                                     $________________________________
 Dylan McKenzie                                                       Contingent
 171 Goldens Bridge Road                                              Unliquidated
                                                                      Disputed
 Katonah, NY, 10536
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2353
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Dylan Neves                                                         Check all that apply.
 1142 Washington St.                                                  Contingent
                                                                      Unliquidated
 Gooding, ID, 83330                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2354
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dylan Ramirez                                                       Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 7 Comet Lane                                                         Contingent
                                                                      Unliquidated
 Levittown, NY, 11756                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2355
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.09
                                                                                                                     $________________________________
 Dylan Rossbaxh                                                      Check all that apply.
 8128 South 94th Street                                               Contingent
                                                                      Unliquidated
 La Vista, NE, 68128                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2356
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dylan Strichartz                                                    Check all that apply.
                                                                                                                       70.43
                                                                                                                     $________________________________
 16 Ferndale Road                                                     Contingent
                                                                      Unliquidated
 New City, NY, 10956                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2357
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.99
                                                                                                                     $________________________________
 Dylan Thomas                                                         Contingent
 14 Edgewood Trail                                                    Unliquidated
                                                                      Disputed
 Fair Grove, MO, 65648
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2358
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.99
                                                                                                                     $________________________________
 Dylan Twigg                                                         Check all that apply.
 1270 Rohm Drive                                                      Contingent
                                                                      Unliquidated
 Auburn, IN, 46706                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2359
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dylan Weinert                                                       Check all that apply.
                                                                                                                      114.99
                                                                                                                     $________________________________
 P.O box 8871                                                         Contingent
                                                                      Unliquidated
 Asheville, NC, 28814                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2360
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.65
                                                                                                                     $________________________________
 E Acuna                                                             Check all that apply.
 3 Cottage Lane                                                       Contingent
                                                                      Unliquidated
 Summit, NJ, 7901                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2361
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eamonn Allen                                                        Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 18 Briarwood Drive                                                   Contingent
                                                                      Unliquidated
 Wappingers Falls, NY, 12590                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2362
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             250.97
                                                                                                                     $________________________________
 Earl Coombs                                                          Contingent
 751 East 46th Street                                                 Unliquidated
                                                                      Disputed
 Brooklyn, NY, 11203
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2363
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       510.38
                                                                                                                     $________________________________
 Ebander Reyes                                                       Check all that apply.
 1341 Northwest 2nd Street, Apt 1                                     Contingent
                                                                      Unliquidated
 Miami, FL, 33125                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2364
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ed David                                                            Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 4413 Henry St                                                        Contingent
                                                                      Unliquidated
 Oak Forest, IL, 60452                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2365
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Eddie Acosta                                                        Check all that apply.
 12925 DRONFIELD AVE                                                  Contingent
                                                                      Unliquidated
 SYLMAR, CA, 91342                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2366
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eddie Kwan                                                          Check all that apply.
                                                                                                                       27.30
                                                                                                                     $________________________________
 1481 Murchison Drive                                                 Contingent
                                                                      Unliquidated
 Millbrae, CA, 94030                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2367
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.99
                                                                                                                     $________________________________
 Eddy Rojas                                                           Contingent
 7000 Water Meadows Dr                                                Unliquidated
                                                                      Disputed
 Fort Worth, TX, 76123-2979
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2368
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.99
                                                                                                                     $________________________________
 Eddy L                                                              Check all that apply.
 16600 SW 95th St, Miami, FL 33196                                    Contingent
                                                                      Unliquidated
 Miami, FL, 33196                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2369
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eddy Palacios                                                       Check all that apply.
                                                                                                                      63.10
                                                                                                                     $________________________________
 524 Chain St                                                         Contingent
                                                                      Unliquidated
 Norristown, PA, 19401-4608                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2370
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.97
                                                                                                                     $________________________________
 Eddy Pug                                                            Check all that apply.
 55W 45th Street, 3RD FLOOR                                           Contingent
                                                                      Unliquidated
 New York, NY, 10036                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2371
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eddy Virgen                                                         Check all that apply.
                                                                                                                       65.60
                                                                                                                     $________________________________
 8313 Peakview Dr                                                     Contingent
                                                                      Unliquidated
 Fort Collins, CO, 80528                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2372
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.03
                                                                                                                     $________________________________
 Eddy Zayas                                                           Contingent
 805 E Ontario St                                                     Unliquidated
                                                                      Disputed
 Philadelphia, PA, 19134
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2373
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       273.11
                                                                                                                     $________________________________
 Edgar Garcia                                                        Check all that apply.
 1305 Fuente Dr                                                       Contingent
                                                                      Unliquidated
 Oxnard , CA, 93030                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2374
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Edgar Delgadillo                                                    Check all that apply.
                                                                                                                      8.99
                                                                                                                     $________________________________
 1540 west ball rd, Apt 2E                                            Contingent
                                                                      Unliquidated
 Anaheim, CA, 92802                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2375
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      132.76
                                                                                                                     $________________________________
 Edgar Garcia                                                        Check all that apply.
 221South Central Avenue, Lot #23                                     Contingent
                                                                      Unliquidated
 Avondale, AZ, 85323                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2376
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Edgar Gonzales                                                      Check all that apply.
                                                                                                                       65.99
                                                                                                                     $________________________________
 5003 Imperial Avenue, 306                                            Contingent
                                                                      Unliquidated
 San Diego, CA, 92113                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2377
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.99
                                                                                                                     $________________________________
 Edgar Martinez                                                       Contingent
 33817 rancho Vista dr                                                Unliquidated
                                                                      Disputed
 Cathedral city, CA, 92234
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2378
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       5.99
                                                                                                                     $________________________________
 Edgar Montano                                                       Check all that apply.
 321 S West St.                                                       Contingent
                                                                      Unliquidated
 Anaheim, CA, 92805                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2379
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Edgar Ortiz                                                         Check all that apply.
                                                                                                                      73.43
                                                                                                                     $________________________________
 4891 SPRINGFIELD DRIVE                                               Contingent
                                                                      Unliquidated
 DUNWOODY, GA, 30338                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2380
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 edgar shoenfelt                                                     Check all that apply.
 9265 malibu rd ne                                                    Contingent
                                                                      Unliquidated
 minerva, OH, 44657                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2381
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Edgardo Concepcion                                                  Check all that apply.
                                                                                                                       182.32
                                                                                                                     $________________________________
 2000 LINWOOD AVE                                                     Contingent
                                                                      Unliquidated
 FORT LEE, NJ, 7024                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2382
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.98
                                                                                                                     $________________________________
 Edin Hasangjekaj                                                     Contingent
 134 Wixon Pond Rd                                                    Unliquidated
                                                                      Disputed
 Mahopac, NY, 10541
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2383
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       61.64
                                                                                                                     $________________________________
 Edith Sanchez                                                       Check all that apply.
 6805 Nordling Rd, Trlr 9                                             Contingent
                                                                      Unliquidated
 Houston, TX, 77076                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2384
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Edna Gonzaga                                                        Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 10575 S Emerald Meadows Dr                                           Contingent
                                                                      Unliquidated
 Oak Creek, WI, 53154                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2385
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      80.24
                                                                                                                     $________________________________
 Eduardo Carcano                                                     Check all that apply.
 2400 Northeast 9th Street, Apt.404                                   Contingent
                                                                      Unliquidated
 Fort Lauderdale, FL, 33304                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2386
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eduardo Chavez                                                      Check all that apply.
                                                                                                                       12.98
                                                                                                                     $________________________________
 8650 Pitner Road, Apt 188                                            Contingent
                                                                      Unliquidated
 Houston, TX, 77080                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2387
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.16
                                                                                                                     $________________________________
 Eduardo Delgado                                                      Contingent
 1100 Sullivan Ave Unit 905                                           Unliquidated
                                                                      Disputed
 Daly City, CA, 94017
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2388
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Eduardo Diaz                                                        Check all that apply.
 2700 Colorado Blvd, Apt 1821                                         Contingent
                                                                      Unliquidated
 Denton, TX, 76210                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2389
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eduardo Diaz                                                        Check all that apply.
                                                                                                                      44.97
                                                                                                                     $________________________________
 903 Agua Caliente                                                    Contingent
                                                                      Unliquidated
 El Paso, TX, 79912                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2390
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.45
                                                                                                                     $________________________________
 Eduardo Hernandez                                                   Check all that apply.
 140 S Occidental Blvd, Apt.1                                         Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90057                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2391
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eduardo Jos?© Calder??n Escobar                                     Check all that apply.
                                                                                                                       25.88
                                                                                                                     $________________________________
 824 S 8th Pl                                                         Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85034                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2392
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.45
                                                                                                                     $________________________________
 Eduardo Palafox                                                      Contingent
 10 Adele Court                                                       Unliquidated
                                                                      Disputed
 Staten Island, NY, 10304
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2393
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.99
                                                                                                                     $________________________________
 Eduardo Porte                                                       Check all that apply.
 2031 Ipsden Dr, House                                                Contingent
                                                                      Unliquidated
 Orlando, FL, 32837                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2394
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eduardo Saucedo                                                     Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 11616 South 104th East Avenue                                        Contingent
                                                                      Unliquidated
 Bixby, OK, 74008                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2395
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.31
                                                                                                                     $________________________________
 Eduardo Verastegui                                                  Check all that apply.
 1207 Avenue C                                                        Contingent
                                                                      Unliquidated
 Del Rio, TX, 78840                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2396
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Edward Hicks                                                        Check all that apply.
                                                                                                                       47.99
                                                                                                                     $________________________________
 6732 Highland House Court, A                                         Contingent
                                                                      Unliquidated
 Affton, MO, 63123                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2397
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             47.99
                                                                                                                     $________________________________
 Edward A Flores                                                      Contingent
 1498 E LAS SENDAS DR                                                 Unliquidated
                                                                      Disputed
 SAFFORD, AZ, 85546-2183
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2398
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Edward Cardenas                                                     Check all that apply.
 8685 San Luis Avenue                                                 Contingent
                                                                      Unliquidated
 South Gate, CA, 90280                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2399
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Edward Holdfast                                                     Check all that apply.
                                                                                                                      51.96
                                                                                                                     $________________________________
 33 Elm Street, Unit 5A                                               Contingent
                                                                      Unliquidated
 Merrimack, NH, 3054                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2400
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                     $________________________________
 Edward Kostich                                                      Check all that apply.
 11090 Mountain View Dr, #72                                          Contingent
                                                                      Unliquidated
 Rancho Cucamonga, CA, 91730                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2401
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 EDWARD L GUNDRUM                                                    Check all that apply.
                                                                                                                       63.59
                                                                                                                     $________________________________
 1924 Deer Path Rd                                                    Contingent
                                                                      Unliquidated
 Harrisburg, PA, 17110                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2402
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 Edward Mooney                                                        Contingent
 3402 Manchester                                                      Unliquidated
                                                                      Disputed
 Bossier City, LA, 71111
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2403
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.52
                                                                                                                     $________________________________
 Edward Normile                                                      Check all that apply.
 2071 N BECHTLE AVE                                                   Contingent
                                                                      Unliquidated
 SPRINGFIELD, OH, 45504                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2404
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Edward Te                                                           Check all that apply.
                                                                                                                      15.99
                                                                                                                     $________________________________
 2131A Mason Street                                                   Contingent
                                                                      Unliquidated
 San Francisco, CA, 94133                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2405
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.94
                                                                                                                     $________________________________
 EDward Toler                                                        Check all that apply.
 326 North Virginia Avenue                                            Contingent
                                                                      Unliquidated
 Massapequa, NY, 11758                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2406
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Edward Valdez                                                       Check all that apply.
                                                                                                                       74.99
                                                                                                                     $________________________________
 16410 Palomino Place, Apt. 102                                       Contingent
                                                                      Unliquidated
 91387, CA, 91387                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2407
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Edwardleo Crawfoot                                                   Contingent
 363 Bob-O-Link Drive, 363 bob o link dr                              Unliquidated
                                                                      Disputed
 Lexington, KY, 40503
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2408
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Edwin Colon                                                         Check all that apply.
 62 Surrey Drive                                                      Contingent
                                                                      Unliquidated
 Easton, PA, 18045                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2409
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Edwin Cordova                                                       Check all that apply.
                                                                                                                      44.99
                                                                                                                     $________________________________
 141 Kiowa Lane                                                       Contingent
                                                                      Unliquidated
 ALBRIGHTSVLLE, PA, 18210                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2410
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Edwin Lopez                                                         Check all that apply.
 2903 Middletown Road, Bsmt                                           Contingent
                                                                      Unliquidated
 Bronx, NY, 10461                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2411
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Edwin Potter                                                        Check all that apply.
                                                                                                                       37.09
                                                                                                                     $________________________________
 1830 Heaton Road                                                     Contingent
                                                                      Unliquidated
 Louisville, KY, 40216                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2412
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             86.19
                                                                                                                     $________________________________
 Edwin Torres                                                         Contingent
 1951 Sir Charles Drive                                               Unliquidated
                                                                      Disputed
 Salt Lake City, UT, 84116
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2413
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       117.96
                                                                                                                     $________________________________
 Efren Guerrero                                                      Check all that apply.
 2605 E 600 N                                                         Contingent
                                                                      Unliquidated
 Spanish Fork, UT, 84660                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2414
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Egan Askay                                                          Check all that apply.
                                                                                                                      45.98
                                                                                                                     $________________________________
 1801 Congress Circle, Apt. #3                                        Contingent
                                                                      Unliquidated
 Anchorage, AK, 99507                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2415
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Egardo Santiago                                                     Check all that apply.
 17367 Via Valencia                                                   Contingent
                                                                      Unliquidated
 San Lorenzo, CA, 94580                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2416
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eileen Lyons                                                        Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 6540 N. Bosworth Ave, 2                                              Contingent
                                                                      Unliquidated
 Chicago, IL, 60626                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2417
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Eileen Santos                                                        Contingent
 61 Carolyn Avenue                                                    Unliquidated
                                                                      Disputed
 Colonia, NJ, 7067
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2418
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       65.98
                                                                                                                     $________________________________
 ej s                                                                Check all that apply.
 12734 sw willow point Ln                                             Contingent
                                                                      Unliquidated
 portland, OR, 97224                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2419
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 EL DIABLO Hatch                                                     Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 3650 W central ave                                                   Contingent
                                                                      Unliquidated
 Toledo, OH, 43606                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2420
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      170.81
                                                                                                                     $________________________________
 Elaine Chan                                                         Check all that apply.
 2337 E Alaska St                                                     Contingent
                                                                      Unliquidated
 West Covina, CA, 91791                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2421
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elaine Lam                                                          Check all that apply.
                                                                                                                       39.14
                                                                                                                     $________________________________
 10431 Nottingham Avenue                                              Contingent
                                                                      Unliquidated
 Westminster, CA, 92683                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2422
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             63.92
                                                                                                                     $________________________________
 Elaine Lam                                                           Contingent
 6042 N Lawndale Ave                                                  Unliquidated
                                                                      Disputed
 Chicago, IL, 60659
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2423
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Elaine Raines                                                       Check all that apply.
 Indianfield Estates, 385 South Santee Rd                             Contingent
                                                                      Unliquidated
 McClellanville, SC, 29458                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2424
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elani Jones                                                         Check all that apply.
                                                                                                                      158.58
                                                                                                                     $________________________________
 25 Delamere Street                                                   Contingent
                                                                      Unliquidated
 Huntington, NY, 11743                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2425
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Eldrick Sean Rillera                                                Check all that apply.
 29049 Madrid Pl                                                      Contingent
                                                                      Unliquidated
 Castaic, CA, 91384-4792                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2426
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eleanor White                                                       Check all that apply.
                                                                                                                       12.71
                                                                                                                     $________________________________
 4400 Massachusetts Avenue Northwest,                                 Contingent
 Anderson 362                                                         Unliquidated
                                                                      Disputed
 Washington, DC, 20016                                               Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2427
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.99
                                                                                                                     $________________________________
 Elena Munoz                                                          Contingent
 705 West Sequoia Avenue, Apt 117                                     Unliquidated
                                                                      Disputed
 Woodlake, CA, 93286
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2428
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.42
                                                                                                                     $________________________________
 Elena Salas                                                         Check all that apply.
 1356 East 57th Street                                                Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90011                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2429
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elena Tellez                                                        Check all that apply.
                                                                                                                      27.64
                                                                                                                     $________________________________
 25 Seminole Road                                                     Contingent
                                                                      Unliquidated
 Middlefield, CT, 6455                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2430
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      119.56
                                                                                                                     $________________________________
 Eli Torres                                                          Check all that apply.
 3201 E FORT LOWELL RD, APT 2096                                      Contingent
                                                                      Unliquidated
 Tucson, AZ, 85716-1689                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2431
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eliana Crabb                                                        Check all that apply.
                                                                                                                       85.99
                                                                                                                     $________________________________
 430 East Lane Avenue                                                 Contingent
                                                                      Unliquidated
 Columbus, OH, 43201                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2432
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             74.99
                                                                                                                     $________________________________
 Elias Chairez                                                        Contingent
 8971 Dearborn Ave.                                                   Unliquidated
                                                                      Disputed
 South Gate, CA, 90280
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2433
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       296.79
                                                                                                                     $________________________________
 Elias Dombrowski                                                    Check all that apply.
 7647 Deer Track Run                                                  Contingent
                                                                      Unliquidated
 Hudsonville, MI, 49426                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2434
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elias Gomez                                                         Check all that apply.
                                                                                                                      119.06
                                                                                                                     $________________________________
 700 Glen Court                                                       Contingent
                                                                      Unliquidated
 Cleburne, TX, 76031                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2435
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.45
                                                                                                                     $________________________________
 Elieser Abreu                                                       Check all that apply.
 123 Clifton Place                                                    Contingent
                                                                      Unliquidated
 Jersey City, NJ, 7304                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2436
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elif Bahadir                                                        Check all that apply.
                                                                                                                       12.86
                                                                                                                     $________________________________
 2420 Franklin Street                                                 Contingent
                                                                      Unliquidated
 Lincoln, NE, 68502                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2437
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.38
                                                                                                                     $________________________________
 Elijah Frank                                                         Contingent
 P.O. Box 3178                                                        Unliquidated
                                                                      Disputed
 Kirtland, NM, 87417
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2438
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       245.42
                                                                                                                     $________________________________
 Elijah Garcia                                                       Check all that apply.
 491 East Kerley Corners Road                                         Contingent
                                                                      Unliquidated
 Tivoli, NY, 12583                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2439
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elijah James                                                        Check all that apply.
                                                                                                                      37.09
                                                                                                                     $________________________________
 Po Box 65                                                            Contingent
                                                                      Unliquidated
 Avis, PA, 17721                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2440
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.19
                                                                                                                     $________________________________
 Elijah R Hogan                                                      Check all that apply.
 1207 Ohio Avenue                                                     Contingent
                                                                      Unliquidated
 Knoxville, TN, 37921                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2441
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elijah Sartain                                                      Check all that apply.
                                                                                                                       232.13
                                                                                                                     $________________________________
 4430 East 16th Street                                                Contingent
                                                                      Unliquidated
 Chyenne, WY, 82001                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2442
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             604.98
                                                                                                                     $________________________________
 Elimelec Rodriguez                                                   Contingent
 24445 Calle Ruben Vega                                               Unliquidated
                                                                      Disputed
 Quebradillas, PR, 678
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2443
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Elisabeth Pratt                                                     Check all that apply.
 170 Hampton Lane                                                     Contingent
                                                                      Unliquidated
 Key Biscayne, FL, 33149                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2444
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elisabeth Strand                                                    Check all that apply.
                                                                                                                      34.99
                                                                                                                     $________________________________
 17198 S Holly Ln                                                     Contingent
                                                                      Unliquidated
 Oregon City, OR, 97045                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2445
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Elise Ginsburg                                                      Check all that apply.
 9301 Wilshie Blvd, #206                                              Contingent
                                                                      Unliquidated
 Beverly Hills, CA, 90210                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2446
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 eliseo aguire                                                       Check all that apply.
                                                                                                                       26.96
                                                                                                                     $________________________________
 7573 PineRige Tre                                                    Contingent
                                                                      Unliquidated
 Castle Pines, CO, 80108                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2447
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             169.59
                                                                                                                     $________________________________
 Elisha Miller                                                        Contingent
 621 Constitution Drive                                               Unliquidated
                                                                      Disputed
 Virginia Beach, VA, 23462
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2448
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.93
                                                                                                                     $________________________________
 Eliza Perez                                                         Check all that apply.
 1230 south c street                                                  Contingent
                                                                      Unliquidated
 Lake worth, FL, 33460                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2449
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth Forbis                                                    Check all that apply.
                                                                                                                      32.53
                                                                                                                     $________________________________
 2106 Northeast Cranbrook Drive                                       Contingent
                                                                      Unliquidated
 Vancouver, WA, 98664                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2450
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Elizabeth Giannini                                                  Check all that apply.
 22 North Street                                                      Contingent
                                                                      Unliquidated
 Hatfield, MA, 1038                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2451
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth Mercado                                                   Check all that apply.
                                                                                                                       12.74
                                                                                                                     $________________________________
 6433 W Dakin St                                                      Contingent
                                                                      Unliquidated
 Chicago, IL, 60634                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2452
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.45
                                                                                                                     $________________________________
 Elizabeth Alley                                                      Contingent
 32108 HAVERS DR                                                      Unliquidated
                                                                      Disputed
 CARY, NC, 27518
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2453
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       157.98
                                                                                                                     $________________________________
 Elizabeth Ayme                                                      Check all that apply.
 14 Delaware Ave                                                      Contingent
                                                                      Unliquidated
 Somers Point, NJ, 8244                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2454
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth Balestrini                                                Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 207 Georgetown Ct                                                    Contingent
                                                                      Unliquidated
 Hanover, PA, 17331                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2455
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.83
                                                                                                                     $________________________________
 Elizabeth Blank                                                     Check all that apply.
 4270 Alvin St                                                        Contingent
                                                                      Unliquidated
 Saginaw, MI, 48603                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2456
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth Chavez                                                    Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 8170 Maple St                                                        Contingent
                                                                      Unliquidated
 Jax, FL, 32244                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2457
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             30.44
                                                                                                                     $________________________________
 Elizabeth D Fowler                                                   Contingent
 7831 Hopi TRL                                                        Unliquidated
                                                                      Disputed
 Yucca Valley, CA, 92284-3413
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2458
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.90
                                                                                                                     $________________________________
 Elizabeth DeBoard                                                   Check all that apply.
 130 Thompson Way, Apt B                                              Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46227                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2459
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth Duvkwall                                                  Check all that apply.
                                                                                                                      35.30
                                                                                                                     $________________________________
 1023 Landings Court, Apartment 1                                     Contingent
                                                                      Unliquidated
 Brazil, IN, 47834                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2460
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      68.23
                                                                                                                     $________________________________
 Elizabeth Gordon                                                    Check all that apply.
 77 Hudson Ave                                                        Contingent
                                                                      Unliquidated
 Maplewood, NJ, 7040                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2461
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth Green                                                     Check all that apply.
                                                                                                                       37.18
                                                                                                                     $________________________________
 260 High Street, apt 1                                               Contingent
                                                                      Unliquidated
 Newburyport, MA, 1950                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2462
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.11
                                                                                                                     $________________________________
 Elizabeth Hrehor                                                     Contingent
 4421 Murphy Road                                                     Unliquidated
                                                                      Disputed
 Binghamton, NY, 13903
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2463
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       315.90
                                                                                                                     $________________________________
 Elizabeth Hull                                                      Check all that apply.
 1466 Paramount Dr, 8A                                                Contingent
                                                                      Unliquidated
 Huntsville, AL, 35806                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2464
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth Jones                                                     Check all that apply.
                                                                                                                      61.16
                                                                                                                     $________________________________
 363 Yorkshire Circle                                                 Contingent
                                                                      Unliquidated
 Nashville, TN, 37211                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2465
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Elizabeth Marchand                                                  Check all that apply.
 2339 Diamond ST. NE                                                  Contingent
                                                                      Unliquidated
 Canton, OH, 44721                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2466
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth McCusker                                                  Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 9918 Sully Ct                                                        Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80920-1459                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2467
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             102.91
                                                                                                                     $________________________________
 Elizabeth Morikawa                                                   Contingent
 23843 Minnequa Dr                                                    Unliquidated
                                                                      Disputed
 Diamond Bar, CA, 91765
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2468
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.99
                                                                                                                     $________________________________
 Elizabeth Nguyen                                                    Check all that apply.
 9801 E Pinyon Pine Dr                                                Contingent
                                                                      Unliquidated
 Tucson, AZ, 85748                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2469
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth Perquin                                                   Check all that apply.
                                                                                                                      58.83
                                                                                                                     $________________________________
 8719 Grand Avenue                                                    Contingent
                                                                      Unliquidated
 Omaha, NE, 68134                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2470
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.53
                                                                                                                     $________________________________
 Elizabeth Pimentel                                                  Check all that apply.
 144 S Hummingbird Place                                              Contingent
                                                                      Unliquidated
 Palm Coast, FL, 32164                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2471
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth Siqueiros                                                 Check all that apply.
                                                                                                                       41.99
                                                                                                                     $________________________________
 408 Roberts St North, 211                                            Contingent
                                                                      Unliquidated
 Fargo, ND, 58102                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2472
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Elizabeth Skerencak                                                  Contingent
 274 Judson Place                                                     Unliquidated
                                                                      Disputed
 Bridgeport, CT, 6610
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2473
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Elizabeth Somsak                                                    Check all that apply.
 15849 Paseo Del Campo                                                Contingent
                                                                      Unliquidated
 San Lorenzo, CA, 94580                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2474
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth Thompson                                                  Check all that apply.
                                                                                                                      19.98
                                                                                                                     $________________________________
 10503 Brookhill Ct                                                   Contingent
                                                                      Unliquidated
 Louisville, KY, 40223                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2475
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      84.99
                                                                                                                     $________________________________
 Elizabeth Wade                                                      Check all that apply.
 1934 W Patterson                                                     Contingent
                                                                      Unliquidated
 Chicago, IL, 60613                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2476
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabeth Werner                                                    Check all that apply.
                                                                                                                       54.56
                                                                                                                     $________________________________
 2728 Quail Hollow Lane                                               Contingent
                                                                      Unliquidated
 Cedar Falls, IA, 50613                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2477
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.71
                                                                                                                     $________________________________
 Elizabeth Wu                                                         Contingent
 26 Ave At Port Imperial, Apt. 335                                    Unliquidated
                                                                      Disputed
 West New York, NJ, 7093
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2478
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       190.52
                                                                                                                     $________________________________
 Elizabeth Yermes                                                    Check all that apply.
 333 E 46th St, 9D                                                    Contingent
                                                                      Unliquidated
 New York, NY, 10017                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2479
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elle Cardenas                                                       Check all that apply.
                                                                                                                      166.46
                                                                                                                     $________________________________
 1522 Henry st apt e                                                  Contingent
                                                                      Unliquidated
 Berkeley, CA, 94709                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2480
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                     $________________________________
 Ellen Mezinis                                                       Check all that apply.
 700 Autumn Ridge Ct                                                  Contingent
                                                                      Unliquidated
 St Louis, MO, 63125                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2481
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ELLEN SANTOS                                                        Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 Fairview General Hospital #20 Mercury Fairview                       Contingent
 Ave                                                                  Unliquidated
                                                                      Disputed
 Quezon City, NH, 1118                                               Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2482
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             27.99
                                                                                                                      $________________________________
 Ellie Sain                                                            Contingent
 14618 N Briarwood Dr                                                  Unliquidated
                                                                       Disputed
 Fountain Hills, AZ, 85268
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  2483
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        26.74
                                                                                                                      $________________________________
 Elliet Lugo                                                          Check all that apply.
 13300 Walsingham Road, Apt 30 Bld 3                                   Contingent
                                                                       Unliquidated
 Largo, FL, 33774                                                      Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  2484
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Elliot Silvia                                                        Check all that apply.
                                                                                                                       98.08
                                                                                                                      $________________________________
 10414 lake blvd                                                       Contingent
                                                                       Unliquidated
 Felton, CA, 95018                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  2485
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       37.79
                                                                                                                      $________________________________
 Elliott Carrion                                                      Check all that apply.
 PO Box 56                                                             Contingent
                                                                       Unliquidated
 Woodbourne, NY, 12788                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  2486
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Elliott Rivas                                                        Check all that apply.
                                                                                                                        267.95
                                                                                                                      $________________________________
 6771 E Loop 1604 S                                                    Contingent
                                                                       Unliquidated
 Adkins, TX, 78101-2683                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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  2487
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 Elma McWilliams                                                      Contingent
 18 Kentwood Boulevard                                                Unliquidated
                                                                      Disputed
 Brick Township, NJ, 8724
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2488
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Elmer Sorto                                                         Check all that apply.
 2087 Mayflower Dr                                                    Contingent
                                                                      Unliquidated
 Woodbridge, VA, 22192                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2489
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elowen Scott                                                        Check all that apply.
                                                                                                                      49.53
                                                                                                                     $________________________________
 18722 61st Pl NE                                                     Contingent
                                                                      Unliquidated
 Kenmore, WA, 98028                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2490
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      102.97
                                                                                                                     $________________________________
 Elsa Chavez                                                         Check all that apply.
 1505 S Rd 40 E #920                                                  Contingent
                                                                      Unliquidated
 Pasco, WA, 99301                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2491
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elvis Mak                                                           Check all that apply.
                                                                                                                       151.98
                                                                                                                     $________________________________
 475 Bright Street                                                    Contingent
                                                                      Unliquidated
 San Francisco, CA, 94132                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2492
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17.05
                                                                                                                     $________________________________
 Elyse K Peterson                                                     Contingent
 7 Wedgewood Circle                                                   Unliquidated
                                                                      Disputed
 Eatontown, NJ, 7724
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2493
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.45
                                                                                                                     $________________________________
 Ema Yamashiro                                                       Check all that apply.
 24 Strong Place , Apt 4                                              Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11231                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2494
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emanuel Guerrero                                                    Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 2981 Ash Field Drive                                                 Contingent
                                                                      Unliquidated
 San Antonio, TX, 78245                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2495
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.98
                                                                                                                     $________________________________
 Emanuel Concepcion                                                  Check all that apply.
 PSC 1 box 2623                                                       Contingent
                                                                      Unliquidated
 Apo, AE, 9009                                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2496
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emanuel Solis                                                       Check all that apply.
                                                                                                                       41.87
                                                                                                                     $________________________________
 603 East Avenue J10                                                  Contingent
                                                                      Unliquidated
 Lancaster, CA, 93535                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2497
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             143.94
                                                                                                                     $________________________________
 Emerald Doan                                                         Contingent
 2580 29th Ave S Apt 24                                               Unliquidated
                                                                      Disputed
 Seattle, WA, 98144
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2498
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.35
                                                                                                                     $________________________________
 Emerald Thompson                                                    Check all that apply.
 6 Slate Creek Drive                                                  Contingent
                                                                      Unliquidated
 Cheektowaga, NY, 14227                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2499
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emerson Decampos                                                    Check all that apply.
                                                                                                                      12.78
                                                                                                                     $________________________________
 328 Locust st                                                        Contingent
                                                                      Unliquidated
 Roselle Park, NJ, 7204                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2500
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      191.95
                                                                                                                     $________________________________
 Emileigh Beard                                                      Check all that apply.
 10243 Eggbornsville Road                                             Contingent
                                                                      Unliquidated
 Rixeyville, VA, 22737                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2501
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emilia Garrison                                                     Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 102 Jennifer Drive                                                   Contingent
                                                                      Unliquidated
 Mahomet, IL, 61853                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2502
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             55.80
                                                                                                                     $________________________________
 Emilia Sanford                                                       Contingent
 87 Beachview Lane                                                    Unliquidated
                                                                      Disputed
 Troutville, VA, 24064
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2503
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       58.70
                                                                                                                     $________________________________
 Emiliano TAPIA                                                      Check all that apply.
 50660 Eisenhower Drive, APT 312                                      Contingent
                                                                      Unliquidated
 La Quinta, CA, 92253                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2504
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emilie Gonzalez                                                     Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 2022 Holguin Street                                                  Contingent
                                                                      Unliquidated
 Lancaster, CA, 93536                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2505
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      99.99
                                                                                                                     $________________________________
 EMILIO GONZALEZ                                                     Check all that apply.
 80622 WILLOW LANE                                                    Contingent
                                                                      Unliquidated
 indio, CA, 92201                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2506
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emilio Sanchez                                                      Check all that apply.
                                                                                                                       11.91
                                                                                                                     $________________________________
 5925 Balsam Pine Dr                                                  Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89142-1670                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2507
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.59
                                                                                                                     $________________________________
 Emill Guzman                                                         Contingent
 3433 A ST                                                            Unliquidated
                                                                      Disputed
 Philadelphia, PA, 19134
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2508
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Emily Biskey                                                        Check all that apply.
 21243 SW Silo Terr                                                   Contingent
                                                                      Unliquidated
 Sherwood, OR, 97140                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2509
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emily Buckelew                                                      Check all that apply.
                                                                                                                      13.22
                                                                                                                     $________________________________
 36 N Mill Rd                                                         Contingent
                                                                      Unliquidated
 Addison, IL, 60101                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2510
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.55
                                                                                                                     $________________________________
 Emily Chavez                                                        Check all that apply.
 2307 W Lincoln Rd                                                    Contingent
                                                                      Unliquidated
 Mchenry, IL, 60051-3636                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2511
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emily Daley                                                         Check all that apply.
                                                                                                                       63.96
                                                                                                                     $________________________________
 17 Rolling Hill Dr.                                                  Contingent
                                                                      Unliquidated
 Millington, NJ, 7946                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2512
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             81.64
                                                                                                                      $________________________________
 Emily Evans                                                           Contingent
 6 Archer Lane                                                         Unliquidated
                                                                       Disputed
 Darien, CT, 6820
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  2513
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        94.94
                                                                                                                      $________________________________
 Emily Ferg                                                           Check all that apply.
 250 West Iola Street                                                  Contingent
                                                                       Unliquidated
 Iola, WI, 54945                                                       Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  2514
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Emily Frances Carlin                                                 Check all that apply.
                                                                                                                       89.61
                                                                                                                      $________________________________
 1353 Wellsley Ct.                                                     Contingent
                                                                       Unliquidated
 Mobile, AL, 36695                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  2515
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       15.89
                                                                                                                      $________________________________
 Emily Hecox                                                          Check all that apply.
 30145 Joliet Ct                                                       Contingent
                                                                       Unliquidated
 Novi, MI, 48377                                                       Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  2516
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Emily Janik                                                          Check all that apply.
                                                                                                                        19.99
                                                                                                                      $________________________________
 0885 e sportsman ln                                                   Contingent
                                                                       Unliquidated
 La porte, IN, 46350                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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  2517
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.99
                                                                                                                     $________________________________
 Emily Jones                                                          Contingent
 31672 Chamise Lane                                                   Unliquidated
                                                                      Disputed
 Murrieta, CA, 92563
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2518
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Emily Kielbasinski                                                  Check all that apply.
 3494 Wyss Road                                                       Contingent
                                                                      Unliquidated
 Cazenovia, NY, 13035                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2519
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emily Klawiter                                                      Check all that apply.
                                                                                                                      55.88
                                                                                                                     $________________________________
 604 West Windhorst Road                                              Contingent
                                                                      Unliquidated
 Brandon, FL, 33510                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2520
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      63.55
                                                                                                                     $________________________________
 Emily L                                                             Check all that apply.
 1204 Airway Drive                                                    Contingent
                                                                      Unliquidated
 Waterford Township, MI, 48327                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2521
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emily Locsin                                                        Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 6509 94th Ave                                                        Contingent
                                                                      Unliquidated
 Kenosha, WI, 53142                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2522
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             56.50
                                                                                                                     $________________________________
 Emily M Orellana Rosales                                             Contingent
 725 Pembroke Way                                                     Unliquidated
                                                                      Disputed
 Ridgefield, NJ, 7657
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2523
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.08
                                                                                                                     $________________________________
 Emily McCracken                                                     Check all that apply.
 10500 Kelly Road Northeast                                           Contingent
                                                                      Unliquidated
 Carnation, WA, 98014                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2524
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emily Phillips                                                      Check all that apply.
                                                                                                                      11.97
                                                                                                                     $________________________________
 2924 Claremont Ave APT 5                                             Contingent
                                                                      Unliquidated
 Berkeley, CA, 94705                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2525
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.37
                                                                                                                     $________________________________
 Emily Portas                                                        Check all that apply.
 5601 kennedy blvd, 8E                                                Contingent
                                                                      Unliquidated
 west new york, NJ, 7093                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2526
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emily Roycraft                                                      Check all that apply.
                                                                                                                       33.74
                                                                                                                     $________________________________
 228 W Cascade Ave                                                    Contingent
                                                                      Unliquidated
 River Falls, WI, 54022-2223                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2527
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.98
                                                                                                                     $________________________________
 Emily Tran                                                           Contingent
 871 Legacy Woods Dr                                                  Unliquidated
                                                                      Disputed
 Norcross, GA, 30093
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2528
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       112.34
                                                                                                                     $________________________________
 Emily Tran                                                          Check all that apply.
 871 Legacy Woods Dr.                                                 Contingent
                                                                      Unliquidated
 Norcross, GA, 30093                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2529
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emily Tweed                                                         Check all that apply.
                                                                                                                      58.29
                                                                                                                     $________________________________
 3008 Angel Court                                                     Contingent
                                                                      Unliquidated
 Erie, PA, 16506                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2530
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.86
                                                                                                                     $________________________________
 Emily Wilhelm                                                       Check all that apply.
 3025 Glendale Avenue                                                 Contingent
                                                                      Unliquidated
 Green Bay, WI, 54313                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2531
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 emily worthington                                                   Check all that apply.
                                                                                                                       39.09
                                                                                                                     $________________________________
 115 Cranford Blvd                                                    Contingent
                                                                      Unliquidated
 Mastic, NY, 11950                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2532
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             104.73
                                                                                                                     $________________________________
 Emma Allen                                                           Contingent
 135 East Laurel Avenue                                               Unliquidated
                                                                      Disputed
 Sierra Madre, CA, 91024
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2533
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       36.28
                                                                                                                     $________________________________
 Emma hill                                                           Check all that apply.
 106 Carr Ct                                                          Contingent
                                                                      Unliquidated
 Mebane, NC, 27302                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2534
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 EMMA MEDALS                                                         Check all that apply.
                                                                                                                      35.99
                                                                                                                     $________________________________
 914 LOGANWOOD AVE                                                    Contingent
                                                                      Unliquidated
 RICHARDSON, TX, 75080                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2535
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.31
                                                                                                                     $________________________________
 Emma O'Connor                                                       Check all that apply.
 1001 20th Street Northeast                                           Contingent
                                                                      Unliquidated
 Austin, MN, 55912                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2536
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emma Presnell                                                       Check all that apply.
                                                                                                                       15.89
                                                                                                                     $________________________________
 9313 Community Cove Way                                              Contingent
                                                                      Unliquidated
 Louisville, KY, 40229-2779                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2537
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.31
                                                                                                                     $________________________________
 Emma Russo                                                           Contingent
 14 Crescent Dr                                                       Unliquidated
                                                                      Disputed
 Akron, NY, 14001-1521
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2538
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.65
                                                                                                                     $________________________________
 Emma Tavolacci                                                      Check all that apply.
 5070 Becht rd                                                        Contingent
                                                                      Unliquidated
 Coloma, MI, 49038                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2539
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emmanuel Alzate                                                     Check all that apply.
                                                                                                                      9.78
                                                                                                                     $________________________________
 12-1 117th Street, 1R, 1R                                            Contingent
                                                                      Unliquidated
 Queens, NY, 11356                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2540
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.51
                                                                                                                     $________________________________
 Emmanuel Bahena                                                     Check all that apply.
 P.O. Box 1638                                                        Contingent
                                                                      Unliquidated
 Davenport, FL, 33836                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2541
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emmanuel Brunson                                                    Check all that apply.
                                                                                                                       23.98
                                                                                                                     $________________________________
 728 S 36th St                                                        Contingent
                                                                      Unliquidated
 Milwaukee, WI, 53215                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2542
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.99
                                                                                                                     $________________________________
 emmanuel graak                                                       Contingent
 30660 Milky WAY DR. Apt A4, Apt. A4                                  Unliquidated
                                                                      Disputed
 Temecula, CA, 92592
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2543
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.07
                                                                                                                     $________________________________
 Emmanuel Juanta                                                     Check all that apply.
 222 Pulaski Street, Apt 12                                           Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11206                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2544
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emmanuel Mejorada                                                   Check all that apply.
                                                                                                                      89.99
                                                                                                                     $________________________________
 2620 E Madison St                                                    Contingent
                                                                      Unliquidated
 Carson, CA, 90810                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2545
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      136.71
                                                                                                                     $________________________________
 Emmanuel Torres                                                     Check all that apply.
 1590 Jupiter Drive                                                   Contingent
                                                                      Unliquidated
 Milpitas, CA, 95035                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2546
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emmanuel Valerio                                                    Check all that apply.
                                                                                                                       52.25
                                                                                                                     $________________________________
 3535 KINGS COLLEGE PL, APT 3C                                        Contingent
                                                                      Unliquidated
 BRONX, NY, 10467                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2547
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             99.98
                                                                                                                     $________________________________
 Emmanuelle De la Cerda                                               Contingent
 26 Cobb Road                                                         Unliquidated
                                                                      Disputed
 Jackson, TN, 38305
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2548
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.66
                                                                                                                     $________________________________
 Emmit Winn III                                                      Check all that apply.
 3705 Plum Blossom Court                                              Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89129                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2549
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Emmy Jiang                                                          Check all that apply.
                                                                                                                      93.08
                                                                                                                     $________________________________
 2314 Kazmir Dr                                                       Contingent
                                                                      Unliquidated
 Corpus Christi, TX, 78418                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2550
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      5.99
                                                                                                                     $________________________________
 Ena Casco                                                           Check all that apply.
 15111 SW 128th Ave                                                   Contingent
                                                                      Unliquidated
 Miami, FL, 33186                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2551
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Enlai M Aranzabal                                                   Check all that apply.
                                                                                                                       47.99
                                                                                                                     $________________________________
 10104 Chapel Hill CT                                                 Contingent
                                                                      Unliquidated
 Tampa, FL, 33615-2636                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2552
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             182.99
                                                                                                                     $________________________________
 Enoch Allingham                                                      Contingent
 1823 Springdale Avenue                                               Unliquidated
                                                                      Disputed
 Shelbyville, TN, 37160
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2553
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       403.62
                                                                                                                     $________________________________
 Enrico Falino                                                       Check all that apply.
 15554 Sunquat Drive                                                  Contingent
                                                                      Unliquidated
 Winter Garden, FL, 34787                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2554
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Enrico Leano                                                        Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 1608 Gold Run Road                                                   Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91913                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2555
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.55
                                                                                                                     $________________________________
 Enrique Felix                                                       Check all that apply.
 2233, Davis Dr                                                       Contingent
                                                                      Unliquidated
 New Smyrna Beach , FL, 32168                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2556
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Enrique Espinoza                                                    Check all that apply.
                                                                                                                       12.83
                                                                                                                     $________________________________
 6336 University Parkway                                              Contingent
                                                                      Unliquidated
 Winston-Salem, NC, 27105                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2557
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.99
                                                                                                                     $________________________________
 Enrique Marte                                                        Contingent
 7910 Longdale Drive                                                  Unliquidated
                                                                      Disputed
 Lemon Grove, CA, 91945
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2558
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       292.95
                                                                                                                     $________________________________
 Enrique Mendez                                                      Check all that apply.
 2053 Pine Street                                                     Contingent
                                                                      Unliquidated
 Des Plaines, IL, 60018                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2559
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Enrique Osorio                                                      Check all that apply.
                                                                                                                      29.22
                                                                                                                     $________________________________
 9850 Whitehurst Dr., Apt 1006                                        Contingent
                                                                      Unliquidated
 Dallas, TX, 75243                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2560
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      415.30
                                                                                                                     $________________________________
 Enrique Robles                                                      Check all that apply.
 28055 Sandlewood Dr.                                                 Contingent
                                                                      Unliquidated
 Hayward, CA, 94545                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2561
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Enrique Rojas                                                       Check all that apply.
                                                                                                                       47.89
                                                                                                                     $________________________________
 1250 Franklin Avenue                                                 Contingent
                                                                      Unliquidated
 The Bronx, NY, 10456                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2562
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Enrique Vega                                                         Contingent
 6320 1/2 Gotham Street                                               Unliquidated
                                                                      Disputed
 Bell Gardens, CA, 90201
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2563
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Ephienne Jean-Joseph                                                Check all that apply.
 104 Northeast 7th Avenue, Apt 206                                    Contingent
                                                                      Unliquidated
 Boynton Beach, FL, 33435                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2564
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erasmo Vargas                                                       Check all that apply.
                                                                                                                      119.99
                                                                                                                     $________________________________
 1092 Post Road East                                                  Contingent
                                                                      Unliquidated
 Westport, CT, 6880                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2565
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65.26
                                                                                                                     $________________________________
 Eric Moore                                                          Check all that apply.
 4614 Park Boulevard                                                  Contingent
                                                                      Unliquidated
 Panama City, FL, 32404                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2566
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Aponte                                                         Check all that apply.
                                                                                                                       28.28
                                                                                                                     $________________________________
 11187 W Almeria Rd                                                   Contingent
                                                                      Unliquidated
 Avondale, AZ, 85392                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2567
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             71.48
                                                                                                                     $________________________________
 eric araiza                                                          Contingent
 16808 sam gerry drive                                                Unliquidated
                                                                      Disputed
 la puente, CA, 91744
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2568
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Eric Becker                                                         Check all that apply.
 23022 melrose ave                                                    Contingent
                                                                      Unliquidated
 Eastpoint, MI, 48021                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2569
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Beharry                                                        Check all that apply.
                                                                                                                      44.99
                                                                                                                     $________________________________
 13038 129 Street                                                     Contingent
                                                                      Unliquidated
 South Ozone Park, NY, 11420                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2570
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      183.80
                                                                                                                     $________________________________
 Eric Bernier                                                        Check all that apply.
 32 Columbus St                                                       Contingent
                                                                      Unliquidated
 Chelsea, MA, 02150-1444                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2571
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Blyth                                                          Check all that apply.
                                                                                                                       160.98
                                                                                                                     $________________________________
 14404 Barley Field Drive                                             Contingent
                                                                      Unliquidated
 Wimauma, FL, 33598                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2572
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.98
                                                                                                                     $________________________________
 ERIC BROWN                                                           Contingent
 34 SENECA RD                                                         Unliquidated
                                                                      Disputed
 NEW HAVEN, CT, 6515
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2573
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       414.96
                                                                                                                     $________________________________
 Eric Burnham                                                        Check all that apply.
 27172 Columbia Way                                                   Contingent
                                                                      Unliquidated
 Hayward, CA, 94542                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2574
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Cha                                                            Check all that apply.
                                                                                                                      77.72
                                                                                                                     $________________________________
 3710 Portals Avenue                                                  Contingent
                                                                      Unliquidated
 Clovis, CA, 93619                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2575
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.92
                                                                                                                     $________________________________
 Eric Chu                                                            Check all that apply.
 101 Drama                                                            Contingent
                                                                      Unliquidated
 Irvine, CA, 92618                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2576
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Davies                                                         Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 839 Indian Creek Drive                                               Contingent
                                                                      Unliquidated
 O'Fallon, IL, 62269                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2577
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             47.89
                                                                                                                     $________________________________
 Eric Di Resta                                                        Contingent
 3 Court Square Unit 1003                                             Unliquidated
                                                                      Disputed
 Long Island City, NY, 11101
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2578
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       80.05
                                                                                                                     $________________________________
 Eric Elliott                                                        Check all that apply.
 8010 Oak Hill Rd                                                     Contingent
                                                                      Unliquidated
 Bremen, OH, 43107                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2579
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Fagre                                                          Check all that apply.
                                                                                                                      12.71
                                                                                                                     $________________________________
 31404 Philmar Lane                                                   Contingent
                                                                      Unliquidated
 Wesley Chapel, FL, 33543                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2580
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      78.43
                                                                                                                     $________________________________
 Eric Fisher                                                         Check all that apply.
 306 Trafalgar Square                                                 Contingent
                                                                      Unliquidated
 Cranberry Township, PA, 16066                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2581
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Fusco                                                          Check all that apply.
                                                                                                                       69.54
                                                                                                                     $________________________________
 50 cottage st                                                        Contingent
                                                                      Unliquidated
 warwick, RI, 2886                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2582
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Eric Hagenauer                                                       Contingent
 1116 Chatham Court                                                   Unliquidated
                                                                      Disputed
 Cincinnati, OH, 45215
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2583
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.38
                                                                                                                     $________________________________
 Eric Hart                                                           Check all that apply.
 140 Riverside Boulevard, Apt 1015                                    Contingent
                                                                      Unliquidated
 New York, NY, 10069                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2584
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Holowka                                                        Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 73 Joan Dr.                                                          Contingent
                                                                      Unliquidated
 New City, NY, 10956                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2585
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Eric Horton                                                         Check all that apply.
 330 Turn Pike Dr                                                     Contingent
                                                                      Unliquidated
 Folsom, CA, 95630-8085                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2586
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Huang                                                          Check all that apply.
                                                                                                                       82.86
                                                                                                                     $________________________________
 84 Farrington St Apt1                                                Contingent
                                                                      Unliquidated
 Quincy, MA, 2170                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2587
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Eric James                                                           Contingent
 11556 Highway 94                                                     Unliquidated
                                                                      Disputed
 Colorado springs, CO, 80929
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2588
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.83
                                                                                                                     $________________________________
 Eric Kabat                                                          Check all that apply.
 7343 Gold King Way                                                   Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46259-5826                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2589
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric MacLean                                                        Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 152 Allen Rd., Unit 217                                              Contingent
                                                                      Unliquidated
 South Burlington, VT, 5403                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2590
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Eric Martinez                                                       Check all that apply.
 6624 Sherman Way                                                     Contingent
                                                                      Unliquidated
 Bell, CA, 90201                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2591
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric McDowell                                                       Check all that apply.
                                                                                                                       83.93
                                                                                                                     $________________________________
 5206 Elk Creek                                                       Contingent
                                                                      Unliquidated
 San Antonio, TX, 78251                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2592
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 Eric Meadows                                                         Contingent
 100 PEAK ST                                                          Unliquidated
                                                                      Disputed
 CHATTANOOGA, TN, 37405
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2593
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       79.96
                                                                                                                     $________________________________
 Eric Mendoza                                                        Check all that apply.
 20 W Church St , Apt 10                                              Contingent
                                                                      Unliquidated
 Bergenfield, NJ, 7621                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2594
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Micarsos                                                       Check all that apply.
                                                                                                                      54.99
                                                                                                                     $________________________________
 2322 Weymouth Ln.                                                    Contingent
                                                                      Unliquidated
 Crofton, MD, 21114                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2595
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.75
                                                                                                                     $________________________________
 eric mooney                                                         Check all that apply.
 40 FOXON HILL ROAD, G22                                              Contingent
                                                                      Unliquidated
 New Haven, CT, 6513                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2596
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Mounts                                                         Check all that apply.
                                                                                                                       27.99
                                                                                                                     $________________________________
 312 South Michele Dr                                                 Contingent
                                                                      Unliquidated
 Mount Orab, OH, 45154                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2597
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.39
                                                                                                                     $________________________________
 Eric Newman                                                          Contingent
 60 Norman RD                                                         Unliquidated
                                                                      Disputed
 Rochester, NY, 14623-1152
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2598
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       762.99
                                                                                                                     $________________________________
 Eric Oneal                                                          Check all that apply.
 13749 Ginger Dr                                                      Contingent
                                                                      Unliquidated
 McCalla, AL, 35111                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2599
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Osterberg                                                      Check all that apply.
                                                                                                                      12.74
                                                                                                                     $________________________________
 7 Marcel Ct                                                          Contingent
                                                                      Unliquidated
 Ferguson, MO, 63135                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2600
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Eric Padilla                                                        Check all that apply.
 347 Pickwood Lane                                                    Contingent
                                                                      Unliquidated
 Stockton, CA, 95207                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2601
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Pena                                                           Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 6347 Sunset Haven                                                    Contingent
                                                                      Unliquidated
 6347 Sunset Haven, TX, 78249-2435                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2602
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.00
                                                                                                                     $________________________________
 Eric Peres                                                           Contingent
 115 lower rd                                                         Unliquidated
                                                                      Disputed
 linden, NJ, 7036
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2603
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Eric Perez                                                          Check all that apply.
 2541 W. 46th Pl.                                                     Contingent
                                                                      Unliquidated
 Chicago, IL, 60632                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2604
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Perryman                                                       Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 1518 11th                                                            Contingent
                                                                      Unliquidated
 Tell City, IN, 47586                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2605
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Eric Reis                                                           Check all that apply.
 1111 Maunawili Rd.                                                   Contingent
                                                                      Unliquidated
 Kailua, HI, 96734                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2606
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Reyes                                                          Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 14803 Mansa Drive                                                    Contingent
                                                                      Unliquidated
 La Mirada, CA, 90638                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2607
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             110.98
                                                                                                                     $________________________________
 Eric Shyu                                                            Contingent
 30-47 79th st                                                        Unliquidated
                                                                      Disputed
 East Elmhurst, NY, 11370
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2608
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.77
                                                                                                                     $________________________________
 Eric Silva II                                                       Check all that apply.
 962 Antrim Loop                                                      Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80910                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2609
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Sisouvanh                                                      Check all that apply.
                                                                                                                      172.39
                                                                                                                     $________________________________
 614 MELILOT LN                                                       Contingent
                                                                      Unliquidated
 ALPHARETTA, GA, 30004-0786                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2610
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.98
                                                                                                                     $________________________________
 Eric Soto                                                           Check all that apply.
 3421 Foxboro Drive, Apartment G                                      Contingent
                                                                      Unliquidated
 Woodridge, IL, 60517                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2611
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Strom                                                          Check all that apply.
                                                                                                                       26.65
                                                                                                                     $________________________________
 24 Oak Street, Apt 18A                                               Contingent
                                                                      Unliquidated
 Hackensack, NJ, 7601                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2612
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             62.54
                                                                                                                     $________________________________
 Eric Szwanek                                                         Contingent
 406 Roble Ave.                                                       Unliquidated
                                                                      Disputed
 Pinole, CA, 94564
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2613
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.99
                                                                                                                     $________________________________
 Eric Tarin                                                          Check all that apply.
 2209 E Idaho                                                         Contingent
                                                                      Unliquidated
 LAS CRUCES, NM, 88001                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2614
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 eric tusing                                                         Check all that apply.
                                                                                                                      21.44
                                                                                                                     $________________________________
 419 Oak Ridge Grove Dr                                               Contingent
                                                                      Unliquidated
 Spring, TX, 77386                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2615
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Eric Valdez                                                         Check all that apply.
 13410 Possum Rock                                                    Contingent
                                                                      Unliquidated
 San Antonio, TX, 78232                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2616
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eric Wald                                                           Check all that apply.
                                                                                                                       34.99
                                                                                                                     $________________________________
 259 Ramsgate Way                                                     Contingent
                                                                      Unliquidated
 Haines City, FL, 33844                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2617
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             89.98
                                                                                                                     $________________________________
 Eric Williams                                                        Contingent
 2638 Cobble Hill Way                                                 Unliquidated
                                                                      Disputed
 Vestavia Hills, AL, 35216
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2618
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 eric yarberry                                                       Check all that apply.
 1230 craig rd                                                        Contingent
                                                                      Unliquidated
 maumee, OH, 43537-3011                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2619
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erica Ann                                                           Check all that apply.
                                                                                                                      13.16
                                                                                                                     $________________________________
 5852 W. 82nd Street                                                  Contingent
                                                                      Unliquidated
 Burbank, IL, 60459                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2620
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.29
                                                                                                                     $________________________________
 ERICA AUFFORTH                                                      Check all that apply.
 1050 West Venture Place, Apt 211                                     Contingent
                                                                      Unliquidated
 Sioux Falls, SD, 57105                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2621
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erica De Guzman                                                     Check all that apply.
                                                                                                                       8.61
                                                                                                                     $________________________________
 10041 Antigua St                                                     Contingent
                                                                      Unliquidated
 Anaheim, CA, 92804                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2622
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5.99
                                                                                                                     $________________________________
 Erica Harding                                                        Contingent
 11356 East Sunland Avenue                                            Unliquidated
                                                                      Disputed
 Mesa, AZ, 85208
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2623
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       18.56
                                                                                                                     $________________________________
 Erica Jones                                                         Check all that apply.
 801 North 4th Street                                                 Contingent
                                                                      Unliquidated
 Ponca City, OK, 74601                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2624
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erica Macaranas                                                     Check all that apply.
                                                                                                                      14.22
                                                                                                                     $________________________________
 27874 Caraway Ln.                                                    Contingent
                                                                      Unliquidated
 Santa Clarita, CA, 91350                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2625
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.49
                                                                                                                     $________________________________
 Erica Stora                                                         Check all that apply.
 5410 Ridgeline Drive                                                 Contingent
                                                                      Unliquidated
 Medina, OH, 44256                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2626
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erica Venegas                                                       Check all that apply.
                                                                                                                       394.35
                                                                                                                     $________________________________
 912 Dosangh Court                                                    Contingent
                                                                      Unliquidated
 Livingston, CA, 95334                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2627
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.60
                                                                                                                     $________________________________
 Erica Vigay                                                          Contingent
 302 Fifth Avenue, Apt 3                                              Unliquidated
                                                                      Disputed
 Village of Pelham, NY, 10803
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2628
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       79.98
                                                                                                                     $________________________________
 Erich Majors                                                        Check all that apply.
 2317 Market Street                                                   Contingent
                                                                      Unliquidated
 Harrisburg, PA, 17103                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2629
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erick Alaniz                                                        Check all that apply.
                                                                                                                      30.30
                                                                                                                     $________________________________
 15 Cruz Trevino                                                      Contingent
                                                                      Unliquidated
 Roma, TX, 78584                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2630
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      70.99
                                                                                                                     $________________________________
 Erick Ayala                                                         Check all that apply.
 2800 W.17st APT#243                                                  Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2631
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erick Gutierrez                                                     Check all that apply.
                                                                                                                       76.46
                                                                                                                     $________________________________
 1629 West 22nd Street                                                Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2632
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Erick Henriquez                                                      Contingent
 4352 South 60th Avenue                                               Unliquidated
                                                                      Disputed
 Omaha, NE, 68117
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2633
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       87.59
                                                                                                                     $________________________________
 Erick Martinez Jr                                                   Check all that apply.
 3927 Arlington Avenue                                                Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90008                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2634
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erick Paz                                                           Check all that apply.
                                                                                                                      145.04
                                                                                                                     $________________________________
 1405 Boca Chica Boulevard, 37                                        Contingent
                                                                      Unliquidated
 Brownsville, TX, 78520                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2635
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.98
                                                                                                                     $________________________________
 Ericka Trujillo                                                     Check all that apply.
 209 Johnce Road                                                      Contingent
                                                                      Unliquidated
 Newark, DE, 19711                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2636
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ericzel Catalan                                                     Check all that apply.
                                                                                                                       11.57
                                                                                                                     $________________________________
 1322 S Shelton St                                                    Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92707                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2637
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             129.89
                                                                                                                     $________________________________
 Erik Gallardo                                                        Contingent
 13004 Vicenza Cove                                                   Unliquidated
                                                                      Disputed
 Austin, TX, 78739
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2638
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.68
                                                                                                                     $________________________________
 Erik Elliott                                                        Check all that apply.
 8 Amherst Road                                                       Contingent
                                                                      Unliquidated
 Watertown, MA, 2472                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2639
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erik Espinoza                                                       Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 614 Calder Ave                                                       Contingent
                                                                      Unliquidated
 duncanville, TX, 75116-3508                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2640
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.04
                                                                                                                     $________________________________
 Erik Fields                                                         Check all that apply.
 8327 Greenview Drive                                                 Contingent
                                                                      Unliquidated
 Rome, NY, 13440                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2641
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erik J Zuniga                                                       Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 917 Campfire Cir                                                     Contingent
                                                                      Unliquidated
 Rocklin, CA, 95765-5345                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2642
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.09
                                                                                                                     $________________________________
 Erik Limardo                                                         Contingent
 1075 Greene Ave, 2G                                                  Unliquidated
                                                                      Disputed
 Brooklyn, NY, 11221
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2643
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       148.98
                                                                                                                     $________________________________
 erik lundquist                                                      Check all that apply.
 1144 South St                                                        Contingent
                                                                      Unliquidated
 Tewksbury, MA, 1876                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2644
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erik Schmid                                                         Check all that apply.
                                                                                                                      15.99
                                                                                                                     $________________________________
 1125 michigan st, 1125 Michigan St                                   Contingent
                                                                      Unliquidated
 Hibbing, MN, 55746-1637                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2645
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 ERIK SIZEMORE                                                       Check all that apply.
 10728 Casper St                                                      Contingent
                                                                      Unliquidated
 Kensington, MD, 20895                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2646
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erik Stauch                                                         Check all that apply.
                                                                                                                       15.93
                                                                                                                     $________________________________
 610 Barry St                                                         Contingent
                                                                      Unliquidated
 Feeding Hills, MA, 1030                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2647
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.04
                                                                                                                     $________________________________
 Erik Swartz                                                          Contingent
 80 Brentwood Dr                                                      Unliquidated
                                                                      Disputed
 Buffalo, NY, 14227
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2648
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.86
                                                                                                                     $________________________________
 Erika Beyer                                                         Check all that apply.
 620 Santa Fe Drive                                                   Contingent
                                                                      Unliquidated
 Vancouver, WA, 98661                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2649
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erika Jacobi                                                        Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 2851 Leonard Dr, Apt J114                                            Contingent
                                                                      Unliquidated
 Aventura, FL, 33160                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2650
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.99
                                                                                                                     $________________________________
 Erika Jacobi                                                        Check all that apply.
 2851 Leonard Dr, Apt J114                                            Contingent
                                                                      Unliquidated
 Aventura, FL, 33160                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2651
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erika King                                                          Check all that apply.
                                                                                                                       102.82
                                                                                                                     $________________________________
 154 Hampshire Grove Northwest                                        Contingent
                                                                      Unliquidated
 Calgary, AB, T3A 5B3                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2652
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Erika Quintanilla                                                    Contingent
 1889 Raymond Avenue, 4                                               Unliquidated
                                                                      Disputed
 Signal Hill, CA, 90755
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2653
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Erika Radabah                                                       Check all that apply.
 4 Martha RD apt 4                                                    Contingent
                                                                      Unliquidated
 Columbia falls, MT, 59912                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2654
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erin Asilo                                                          Check all that apply.
                                                                                                                      29.89
                                                                                                                     $________________________________
 31408 Marlin Ct                                                      Contingent
                                                                      Unliquidated
 Union City, CA, 94587-2594                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2655
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Erin Fowler                                                         Check all that apply.
 21 WINDERMERE BND NW                                                 Contingent
                                                                      Unliquidated
 CARTERSVILLE, GA, 30120-7783                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2656
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erin Hampton                                                        Check all that apply.
                                                                                                                       8.99
                                                                                                                     $________________________________
 10308 Asheville hwy                                                  Contingent
                                                                      Unliquidated
 Strawberry Plains, TN, 37871                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2657
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 Erin Johnson                                                         Contingent
 14108 Periwinkle Lane                                                Unliquidated
                                                                      Disputed
 Glade Spring, VA, 24340
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2658
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       74.95
                                                                                                                     $________________________________
 Erin Joyner                                                         Check all that apply.
 1400 Melinda Ln                                                      Contingent
                                                                      Unliquidated
 Edmond, OK, 73012                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2659
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erin Kizorek                                                        Check all that apply.
                                                                                                                      32.72
                                                                                                                     $________________________________
 1174 Crandano Court                                                  Contingent
                                                                      Unliquidated
 Sunnyvale, CA, 94087                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2660
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.27
                                                                                                                     $________________________________
 Erin Milligan                                                       Check all that apply.
 6517 S 110th E Ave                                                   Contingent
                                                                      Unliquidated
 Tulsa, OK, 74133                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2661
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erin Recupero                                                       Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 3269 Sweetwater Dr                                                   Contingent
                                                                      Unliquidated
 Ontario, CA, 91761-5052                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2662
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Erin Schermerhorn                                                    Contingent
 2 Thayer Circle                                                      Unliquidated
                                                                      Disputed
 Wakefield, MA, 1880
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2663
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Erin Strunk                                                         Check all that apply.
 401 12TH AVE SE APT 168                                              Contingent
                                                                      Unliquidated
 NORMAN, OK, 73071                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2664
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Erin Wiseman-Parkin                                                 Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 7468 Glendora Avenue                                                 Contingent
                                                                      Unliquidated
 Georgetown Township, MI, 49428                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2665
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.96
                                                                                                                     $________________________________
 Erin Yogasundram                                                    Check all that apply.
 500 E 77th St, 1129                                                  Contingent
                                                                      Unliquidated
 New York, NY, 10162                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2666
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ernest Lemieux                                                      Check all that apply.
                                                                                                                       41.99
                                                                                                                     $________________________________
 2655 Merritt Avenue                                                  Contingent
                                                                      Unliquidated
 San Pablo, CA, 94806                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2667
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Ernest Rivera                                                        Contingent
 395 angora road                                                      Unliquidated
                                                                      Disputed
 Reading, PA, 19606
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2668
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       7.99
                                                                                                                     $________________________________
 Ernest Morales                                                      Check all that apply.
 1134 Franwood Dr                                                     Contingent
                                                                      Unliquidated
 DALLAS, TX, 75217                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2669
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ernesto Gonzalez                                                    Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 10 Robillard st                                                      Contingent
                                                                      Unliquidated
 Gardner , MA, 1440                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2670
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.10
                                                                                                                     $________________________________
 Ernesto Munoz                                                       Check all that apply.
 25242 West Maldonado Drive                                           Contingent
                                                                      Unliquidated
 Buckeye, AZ, 85326                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2671
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ernesto Sanchez                                                     Check all that apply.
                                                                                                                       247.87
                                                                                                                     $________________________________
 6922 Port Bay                                                        Contingent
                                                                      Unliquidated
 San Antonio, TX, 78242-1526                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2672
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.34
                                                                                                                     $________________________________
 Ernie Liu                                                            Contingent
 9332 Vineyard Crest                                                  Unliquidated
                                                                      Disputed
 Bellevue, WA, 98004
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2673
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       82.68
                                                                                                                     $________________________________
 Ernie Ramirez                                                       Check all that apply.
 6639 El Selinda Avenue                                               Contingent
                                                                      Unliquidated
 Bell Gardens, CA, 90201                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2674
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eryne Greene                                                        Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 6890 Trinidad Drive                                                  Contingent
                                                                      Unliquidated
 San Jose, CA, 95120                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2675
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      77.98
                                                                                                                     $________________________________
 Esau Vasquez                                                        Check all that apply.
 3413 West Camille Street                                             Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92704                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2676
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Esme Carson                                                         Check all that apply.
                                                                                                                       71.01
                                                                                                                     $________________________________
 708 Old Lancaster Road                                               Contingent
                                                                      Unliquidated
 Bryn Mawr, PA, 19010                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2677
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             53.86
                                                                                                                     $________________________________
 Esmeralda Gonzalez                                                   Contingent
 308 Columbine Court                                                  Unliquidated
                                                                      Disputed
 Perris, CA, 92570
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2678
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       157.18
                                                                                                                     $________________________________
 Esmeralda Martinez                                                  Check all that apply.
 8835 East 39th Place                                                 Contingent
                                                                      Unliquidated
 Yuma, AZ, 85365                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2679
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Espe Pelayo                                                         Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 6402 Arcadia St                                                      Contingent
                                                                      Unliquidated
 EASTVALE, CA, 92880-4005                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2680
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.98
                                                                                                                     $________________________________
 Esperanza Mathiasson                                                Check all that apply.
 6605 N. Talman Ave, Apt 2                                            Contingent
                                                                      Unliquidated
 Chicago, IL, 60645                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2681
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Esperanza Ramirez                                                   Check all that apply.
                                                                                                                       31.99
                                                                                                                     $________________________________
 4148035389, Casa                                                     Contingent
                                                                      Unliquidated
 Milwaukee , WI, 53215                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2682
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.98
                                                                                                                     $________________________________
 Esteban Pineda                                                       Contingent
 1800 Preston On The Lake Boulevard, Trlr 477                         Unliquidated
                                                                      Disputed
 Little Elm, TX, 75068
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2683
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.04
                                                                                                                     $________________________________
 Estefania Villalobos                                                Check all that apply.
 14925 Grass Valley Road                                              Contingent
                                                                      Unliquidated
 Winnemucca, NV, 89445                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2684
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Estela Gonzalez                                                     Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 144 Heather Drive                                                    Contingent
                                                                      Unliquidated
 San Pablo, CA, 94806                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2685
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.19
                                                                                                                     $________________________________
 Estella Diep                                                        Check all that apply.
 4100 Cobblestone Drive                                               Contingent
                                                                      Unliquidated
 Muskogee, OK, 74403                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2686
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Estevan Rangel                                                      Check all that apply.
                                                                                                                       70.34
                                                                                                                     $________________________________
 515 N. Guadalupe St                                                  Contingent
                                                                      Unliquidated
 Seguin, TX, 78155                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2687
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             82.68
                                                                                                                     $________________________________
 Esther Escobedo                                                      Contingent
 1722 North Keeler Avenue                                             Unliquidated
                                                                      Disputed
 Chicago, IL, 60639
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2688
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.40
                                                                                                                     $________________________________
 Esther Tse                                                          Check all that apply.
 1822 Midnight Circle                                                 Contingent
                                                                      Unliquidated
 San Jose, CA, 95133                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2689
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 esther wang                                                         Check all that apply.
                                                                                                                      36.98
                                                                                                                     $________________________________
 45 Kew Gardens Rd, Apt 5H                                            Contingent
                                                                      Unliquidated
 Kew Gardens, NY, 11415-1148                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2690
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Ethan Gilpin                                                        Check all that apply.
 8649 , E. Sunnyside                                                  Contingent
                                                                      Unliquidated
 New Carlisle, IN, 46552                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2691
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ethan Kay                                                           Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 2390 Cairnwell Drive                                                 Contingent
                                                                      Unliquidated
 Belvidere, IL, 61008                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2692
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.99
                                                                                                                     $________________________________
 Ethan Davidson                                                       Contingent
 7133 Wynnfield Drive South                                           Unliquidated
                                                                      Disputed
 Mobile, AL, 36695
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2693
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Ethan Gadberry                                                      Check all that apply.
 1505 Lost Creek Dr                                                   Contingent
                                                                      Unliquidated
 DeSoto, TX, 75115                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2694
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ethan luettgemann                                                   Check all that apply.
                                                                                                                      34.97
                                                                                                                     $________________________________
 4434 whitt mill rd                                                   Contingent
                                                                      Unliquidated
 acworth, GA, 30101                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2695
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      55.98
                                                                                                                     $________________________________
 Ethan Mar                                                           Check all that apply.
 1928 AUSTIN AVE                                                      Contingent
                                                                      Unliquidated
 CLOVIS, CA, 93611-5281                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2696
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ethan Monma                                                         Check all that apply.
                                                                                                                       105.98
                                                                                                                     $________________________________
 920 PERSIMMON CT                                                     Contingent
                                                                      Unliquidated
 ST CHARLES, IL, 60174-5627                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2697
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Ethan Roper                                                          Contingent
 413 ARTHUR DR                                                        Unliquidated
                                                                      Disputed
 Hurst, TX, 76053
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2698
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.88
                                                                                                                     $________________________________
 Ethan Selby                                                         Check all that apply.
 555 South Center Road                                                Contingent
                                                                      Unliquidated
 Boonville, IN, 47601                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2699
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eugene Mitchell                                                     Check all that apply.
                                                                                                                      16.41
                                                                                                                     $________________________________
 982 Collegeroad                                                      Contingent
                                                                      Unliquidated
 Union, MO, 63084                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2700
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.24
                                                                                                                     $________________________________
 Eugene Mok                                                          Check all that apply.
 45 Billie Ellis Lane                                                 Contingent
                                                                      Unliquidated
 Princeton, NJ, 8540                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2701
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 eugene yoon                                                         Check all that apply.
                                                                                                                       35.99
                                                                                                                     $________________________________
 10 linwood st, Apt. 115                                              Contingent
                                                                      Unliquidated
 malden, MA, 2148                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2702
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.42
                                                                                                                     $________________________________
 EUGENIO CALAMARI                                                     Contingent
 610 Ridgewood Rd                                                     Unliquidated
                                                                      Disputed
 Key Biscayne, FL, 33149-2019
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2703
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.04
                                                                                                                     $________________________________
 EUGENIO MARTINEZ MERCADO                                            Check all that apply.
 187 Westbrook Court                                                  Contingent
                                                                      Unliquidated
 Columbus, IN, 47201                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2704
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eva Bodman                                                          Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 1 East Dunstable Road                                                Contingent
                                                                      Unliquidated
 Nashua, NH, 3060                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2705
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                     $________________________________
 Eva Espinoza                                                        Check all that apply.
 1657 S. 13th St West                                                 Contingent
                                                                      Unliquidated
 Missoula, MT, 59801                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2706
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Evan Aaron                                                          Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 1307 Mac Drummond Road                                               Contingent
                                                                      Unliquidated
 Jasper, AL, 35504                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2707
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Evan Ahrendt                                                         Contingent
 2885 Sw. 122nd Ave.                                                  Unliquidated
                                                                      Disputed
 Beaverton, OR, 97005
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2708
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.88
                                                                                                                     $________________________________
 Evan Brandal                                                        Check all that apply.
 18022 E Alki Ave                                                     Contingent
                                                                      Unliquidated
 Spokane Valley, WA, 99016                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2709
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Evan Bryant                                                         Check all that apply.
                                                                                                                      67.40
                                                                                                                     $________________________________
 127 Rossmoor ct                                                      Contingent
                                                                      Unliquidated
 Anderson, SC, 29621                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2710
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.99
                                                                                                                     $________________________________
 Evan Gross                                                          Check all that apply.
 6908 Conjeo Avenue                                                   Contingent
                                                                      Unliquidated
 Joshua Tree, CA, 92252                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2711
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 EVAN OWENS                                                          Check all that apply.
                                                                                                                       62.98
                                                                                                                     $________________________________
 3411 Braddock Ln                                                     Contingent
                                                                      Unliquidated
 Manvel, TX, 77578-3583                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2712
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Evan Tang                                                            Contingent
 618 West 37th Street                                                 Unliquidated
                                                                      Disputed
 Long Beach, CA, 90806
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2713
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Evan Warren                                                         Check all that apply.
 1703 Rita Ct.                                                        Contingent
                                                                      Unliquidated
 Oak Ridge, NC, 27310                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2714
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Evan Wolf                                                           Check all that apply.
                                                                                                                      188.97
                                                                                                                     $________________________________
 8126 Charlesderry Rd                                                 Contingent
                                                                      Unliquidated
 Kirtland, OH, 44094                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2715
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.99
                                                                                                                     $________________________________
 Evangelina Sandoval                                                 Check all that apply.
 7362 Greenhaven Avenue, 50                                           Contingent
                                                                      Unliquidated
 Rancho Cucamonga, CA, 91730                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2716
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Evelina Bejar                                                       Check all that apply.
                                                                                                                       13.01
                                                                                                                     $________________________________
 565 Venice Avenue                                                    Contingent
                                                                      Unliquidated
 Dinuba, CA, 93618-8000                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2717
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Evelyn Cavazos                                                       Contingent
 6055 North Brawley Avenue, Apt. 214                                  Unliquidated
                                                                      Disputed
 Fresno, CA, 93722
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2718
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.12
                                                                                                                     $________________________________
 Evelyn M Salazar Camilo                                             Check all that apply.
 2340 Valentine Ave, 5F                                               Contingent
                                                                      Unliquidated
 Bronx, NY, 10458                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2719
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Evelyn Robles                                                       Check all that apply.
                                                                                                                      64.98
                                                                                                                     $________________________________
 21035 North Dr                                                       Contingent
                                                                      Unliquidated
 Nuevo, CA, 92567                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2720
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Evelyn Varela                                                       Check all that apply.
 27641 Southwest 134th Court                                          Contingent
                                                                      Unliquidated
 Homestead, FL, 33032                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2721
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Evelyn Yanez                                                        Check all that apply.
                                                                                                                       12.92
                                                                                                                     $________________________________
 182 East Jackson Street, Apt A                                       Contingent
                                                                      Unliquidated
 Rialto, CA, 92376                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2722
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.99
                                                                                                                     $________________________________
 EVERARDO MATIAS                                                      Contingent
 610 S DITMAR ST                                                      Unliquidated
                                                                      Disputed
 OCEANSIDE, CA, 92054-4142
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2723
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       68.19
                                                                                                                     $________________________________
 everest nguyen                                                      Check all that apply.
 3315 big sky pass                                                    Contingent
                                                                      Unliquidated
 Missouri, TX, 77459                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2724
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Everett Whiteside                                                   Check all that apply.
                                                                                                                      59.11
                                                                                                                     $________________________________
 2635 Tambridge Circle                                                Contingent
                                                                      Unliquidated
 Pensacola, FL, 32503                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2725
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.99
                                                                                                                     $________________________________
 Eylul Monroy                                                        Check all that apply.
 186 Coombs Dr, P.o. Box 536                                          Contingent
                                                                      Unliquidated
 Paramus, NJ, 7652                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2726
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ezekiel Jensen                                                      Check all that apply.
                                                                                                                       40.39
                                                                                                                     $________________________________
 68135 Tumbleweed Road                                                Contingent
                                                                      Unliquidated
 Montrose, CO, 81403                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2727
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.99
                                                                                                                     $________________________________
 Ezekiel Rivera                                                       Contingent
 Urb. Sierra Linda Calle 12 S31                                       Unliquidated
                                                                      Disputed
 Bayamon, PR, 00957-2120
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2728
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.20
                                                                                                                     $________________________________
 Fabian Alvarez                                                      Check all that apply.
 5476 DUNBAR DR                                                       Contingent
                                                                      Unliquidated
 Oxnard, CA, 93033-9112                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2729
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fabian Lopez                                                        Check all that apply.
                                                                                                                      31.16
                                                                                                                     $________________________________
 13030 Avalon Crest Ct                                                Contingent
                                                                      Unliquidated
 Riverview, FL, 33579                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2730
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      361.97
                                                                                                                     $________________________________
 Fabio Mendez                                                        Check all that apply.
 7440 Miami Lakes Dr., Apt.F106                                       Contingent
                                                                      Unliquidated
 Miami Lakes, FL, 33014                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2731
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Faeryn Koonce                                                       Check all that apply.
                                                                                                                       62.83
                                                                                                                     $________________________________
 888 Western Ave, Apt 1018                                            Contingent
                                                                      Unliquidated
 Seattle, WA, 98104                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2732
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             68.58
                                                                                                                     $________________________________
 fahad alshaheen                                                      Contingent
 182-21 150th Drive, 718-553-8740 aramex                              Unliquidated
 account : KWI 24558                                                  Disputed
 Springfield Gardens, NY, 11413                                      Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2733
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       70.19
                                                                                                                     $________________________________
 Fahiym Sakacs                                                       Check all that apply.
 5417 Brow Avenue, Floor 2                                            Contingent
                                                                      Unliquidated
 Newburgh Heights, OH, 44105                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2734
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fairchild, Michael                                                  Check all that apply.
                                                                                                                      417.97
                                                                                                                     $________________________________
 6593 W Us Highway 6                                                  Contingent
                                                                      Unliquidated
 Gibsonburg, OH, 43431                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2735
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      58.84
                                                                                                                     $________________________________
 Faith Riner                                                         Check all that apply.
 1032 Eddie Craig Dr.                                                 Contingent
                                                                      Unliquidated
 Mcdonough, GA, 30252                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2736
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fang-Ting Kao                                                       Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 801 FRANKLIN ST, APT 407                                             Contingent
                                                                      Unliquidated
 OAKLAND, CA, 94607                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2737
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Fatima Garcia                                                        Contingent
 3175 Carleton Way Northeast                                          Unliquidated
                                                                      Disputed
 Salem, OR, 97301
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2738
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       77.99
                                                                                                                     $________________________________
 Fauzia Mohamed                                                      Check all that apply.
 11040 South Lakeview Drive                                           Contingent
                                                                      Unliquidated
 Pembroke Pines, FL, 33026                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2739
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fazia Ahmad                                                         Check all that apply.
                                                                                                                      54.36
                                                                                                                     $________________________________
 15498 Zalman LN                                                      Contingent
                                                                      Unliquidated
 Lathrop , CA, 95330                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2740
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      2,110.69
                                                                                                                     $________________________________
 Fedex                                                               Check all that apply.
 PO Box 223125                                                        Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15251-2125                                           Disputed
                                                                     Basis for the claim: Trade Payables



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2741
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Felicia Lepur                                                       Check all that apply.
                                                                                                                       52.12
                                                                                                                     $________________________________
 6851 w.crittenden ln                                                 Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85033                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2742
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             16.21
                                                                                                                     $________________________________
 Felipe Mendoza                                                       Contingent
 20 MUD MILLS RD                                                      Unliquidated
                                                                      Disputed
 MIDDLETOWN, NY, 10940-5035
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2743
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       46.59
                                                                                                                     $________________________________
 Felipe pelaez                                                       Check all that apply.
 154 South Broadway                                                   Contingent
                                                                      Unliquidated
 White Plains, NY, 10605                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2744
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Felipe Rumbaut                                                      Check all that apply.
                                                                                                                      149.26
                                                                                                                     $________________________________
 7915 Bergenline Ave, suite 7458                                      Contingent
                                                                      Unliquidated
 North bergen, NJ, 7047                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2745
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.22
                                                                                                                     $________________________________
 Felisha Rodriguez                                                   Check all that apply.
 PO Box 11011                                                         Contingent
                                                                      Unliquidated
 Spring, TX, 77391                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2746
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Felix Acosta                                                        Check all that apply.
                                                                                                                       79.99
                                                                                                                     $________________________________
 54 Bee Mountain Rd                                                   Contingent
                                                                      Unliquidated
 New Hartford, CT, 6057                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2747
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.88
                                                                                                                     $________________________________
 Felix Bahamonde                                                      Contingent
 984 English Town Ln, Apt 302                                         Unliquidated
                                                                      Disputed
 Winter Springs, FL, 32708
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2748
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       68.89
                                                                                                                     $________________________________
 Felix Lopez                                                         Check all that apply.
 1 Eusden Drive                                                       Contingent
                                                                      Unliquidated
 Aston, PA, 19014                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2749
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Felix Navarro                                                       Check all that apply.
                                                                                                                      100.98
                                                                                                                     $________________________________
 5725 N Figueroa St                                                   Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90042                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2750
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 FELIX VALERIANO                                                     Check all that apply.
 1424 1/2 Meadowbrook Ave                                             Contingent
                                                                      Unliquidated
 LOS ANGELES, CA, 90019                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2751
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Felix Wu                                                            Check all that apply.
                                                                                                                       69.54
                                                                                                                     $________________________________
 Calle Jes??s de Galindez                                             Contingent
                                                                      Unliquidated
 Santo Domingo, 11501                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2752
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             126.97
                                                                                                                     $________________________________
 ferd racelis                                                         Contingent
 622 madrid street                                                    Unliquidated
                                                                      Disputed
 san francisco, CA, 94112
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2753
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.22
                                                                                                                     $________________________________
 Ferdinand Lansang                                                   Check all that apply.
 3414 Fontenay Park                                                   Contingent
                                                                      Unliquidated
 San Antonio, TX, 78251                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2754
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fernanda Hernandez                                                  Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 21205 ROSCOE BLVD, APT 17                                            Contingent
                                                                      Unliquidated
 CANOGA PARK, CA, 91304-4238                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2755
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      72.97
                                                                                                                     $________________________________
 Fernando Jimenez                                                    Check all that apply.
 12119 Kenney Street                                                  Contingent
                                                                      Unliquidated
 Norwalk, CA, 90650                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2756
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fernando Barriga                                                    Check all that apply.
                                                                                                                       31.99
                                                                                                                     $________________________________
 464 N Liberty St                                                     Contingent
                                                                      Unliquidated
 Elgin, IL, 60120                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2757
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.99
                                                                                                                     $________________________________
 Fernando Castillo                                                    Contingent
 143 Cordova Lane                                                     Unliquidated
                                                                      Disputed
 Laredo, TX, 78043
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2758
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       62.97
                                                                                                                     $________________________________
 Fernando Ceciliano                                                  Check all that apply.
 4750 Princeton Lane                                                  Contingent
                                                                      Unliquidated
 Lake In The Hills, IL, 60156                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2759
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fernando Esparza                                                    Check all that apply.
                                                                                                                      57.33
                                                                                                                     $________________________________
 512 I St. SW                                                         Contingent
                                                                      Unliquidated
 Quincy, WA, 98848                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2760
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.99
                                                                                                                     $________________________________
 Fernando Gonzalez                                                   Check all that apply.
 12916 Reis St                                                        Contingent
                                                                      Unliquidated
 Whittier, CA, 90605                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2761
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fernando Hernandez                                                  Check all that apply.
                                                                                                                       17.30
                                                                                                                     $________________________________
 1515 hawley ln                                                       Contingent
                                                                      Unliquidated
 Dallas, TX, 75217                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2762
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 Fernando Perez                                                       Contingent
 5833 Armour Drive                                                    Unliquidated
                                                                      Disputed
 Houston, TX, 77020
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2763
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.99
                                                                                                                     $________________________________
 Fernando Perez                                                      Check all that apply.
 8057 Bendell Dr                                                      Contingent
                                                                      Unliquidated
 Houston, TX, 77017                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2764
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fernando Resendiz Jr                                                Check all that apply.
                                                                                                                      296.38
                                                                                                                     $________________________________
 1400 CHICKASAW AVE                                                   Contingent
                                                                      Unliquidated
 LABELLE, FL, 33935                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2765
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.35
                                                                                                                     $________________________________
 Fernando Roman                                                      Check all that apply.
 6145 Sage Drive                                                      Contingent
                                                                      Unliquidated
 Orlando, FL, 32807                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2766
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fernando Santos                                                     Check all that apply.
                                                                                                                       70.34
                                                                                                                     $________________________________
 1360 Foothill Drive, 82                                              Contingent
                                                                      Unliquidated
 Vista, CA, 92084                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2767
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             238.13
                                                                                                                     $________________________________
 Fidela LopezFidela Lopez                                             Contingent
 8179 Mounatin View Ave Apt C                                         Unliquidated
                                                                      Disputed
 South Gate, CA, 90280
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2768
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       389.97
                                                                                                                     $________________________________
 Filiberto Medina                                                    Check all that apply.
 2818 E Orange Grove Ave                                              Contingent
                                                                      Unliquidated
 Orange, CA, 92867-7345                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2769
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fiorella Hernandez-Montero                                          Check all that apply.
                                                                                                                      54.05
                                                                                                                     $________________________________
 7 Rhonda Court                                                       Contingent
                                                                      Unliquidated
 Greenville, SC, 29617                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2770
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.22
                                                                                                                     $________________________________
 Fish Mutha-effa                                                     Check all that apply.
 4048 N. California Ave, Unit 1                                       Contingent
                                                                      Unliquidated
 Chicago, IL, 60618                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2771
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Flavio Colorado                                                     Check all that apply.
                                                                                                                       81.98
                                                                                                                     $________________________________
 451 kingston ave, A5                                                 Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11225                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2772
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Florentino Gomez                                                     Contingent
 2102 186th Place Southeast                                           Unliquidated
                                                                      Disputed
 Bothell, WA, 98012
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2773
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.09
                                                                                                                     $________________________________
 Forbes Perkins                                                      Check all that apply.
 1521 West Fulton Place                                               Contingent
                                                                      Unliquidated
 Broken Arrow, OK, 74012                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2774
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Forrest Brown                                                       Check all that apply.
                                                                                                                      65.98
                                                                                                                     $________________________________
 16437 S 33rd St                                                      Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85048                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2775
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Forrest Zmoda                                                       Check all that apply.
 316 Brookfield Circle                                                Contingent
                                                                      Unliquidated
 Macungie, PA, 18062                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2776
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fran Malouf                                                         Check all that apply.
                                                                                                                       13.99
                                                                                                                     $________________________________
 P.o. box 101                                                         Contingent
                                                                      Unliquidated
 Odanah, WI, 54861                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2777
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.99
                                                                                                                     $________________________________
 Francelys Desarden Flores                                            Contingent
 43 Woodland St, 2R Apt                                               Unliquidated
                                                                      Disputed
 Worcester, MA, 1610
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2778
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.61
                                                                                                                     $________________________________
 Francelys Desarden Flores                                           Check all that apply.
 43 woodland street, 2R                                               Contingent
                                                                      Unliquidated
 Worcester, MA, 1610                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2779
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Frances Brockwell                                                   Check all that apply.
                                                                                                                      82.67
                                                                                                                     $________________________________
 4494 East Black River Road                                           Contingent
                                                                      Unliquidated
 Black River, MI, 48721                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2780
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      134.99
                                                                                                                     $________________________________
 frances McClellan                                                   Check all that apply.
 2992 Stonegate ln                                                    Contingent
                                                                      Unliquidated
 middleburg, FL, 32068                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2781
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Francesco DiCocco                                                   Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 3812 Country Lights Street                                           Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89129                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2782
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             76.02
                                                                                                                     $________________________________
 Francesco Policaro                                                   Contingent
 488 Ocean Ave                                                        Unliquidated
                                                                      Disputed
 Lynbrook, NY, 11563
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2783
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Francesco Zappoli                                                   Check all that apply.
 1 pier pointe st                                                     Contingent
                                                                      Unliquidated
 yonkers, NY, 10701                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2784
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Franceska Ong                                                       Check all that apply.
                                                                                                                      97.99
                                                                                                                     $________________________________
 16060 35th Ave NE                                                    Contingent
                                                                      Unliquidated
 Lake Forest Park, WA, 98155                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2785
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.95
                                                                                                                     $________________________________
 Francie Eyer                                                        Check all that apply.
 170 Colonial Drive                                                   Contingent
                                                                      Unliquidated
 Chambersburg, PA, 17202                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2786
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Francine Yee                                                        Check all that apply.
                                                                                                                       10.00
                                                                                                                     $________________________________
 55 Riverwalk Place #601                                              Contingent
                                                                      Unliquidated
 West New York, NJ, 7093                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2787
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.71
                                                                                                                     $________________________________
 Francis McGinley                                                     Contingent
 9956 Wingtip rd                                                      Unliquidated
                                                                      Disputed
 Philadelphia, PA, 19115
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2788
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.99
                                                                                                                     $________________________________
 Francisca Valdes                                                    Check all that apply.
 233 North Olive Street, Apartment B                                  Contingent
                                                                      Unliquidated
 Santa Paula, CA, 93060                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2789
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Francisca Carrera                                                   Check all that apply.
                                                                                                                      35.97
                                                                                                                     $________________________________
 6434 8th street ct w                                                 Contingent
                                                                      Unliquidated
 Bradenton, FL, 34207                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2790
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.99
                                                                                                                     $________________________________
 Francisco Alas                                                      Check all that apply.
 1760 N Freeman Ave, Apt B                                            Contingent
                                                                      Unliquidated
 Long Beach, CA, 90804                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2791
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Francisco Alvarez Cavazos                                           Check all that apply.
                                                                                                                       55.24
                                                                                                                     $________________________________
 20123 13TH AVE W                                                     Contingent
                                                                      Unliquidated
 LYNNWOOD, WA, 98036                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2792
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             134.67
                                                                                                                     $________________________________
 Francisco Casillas                                                   Contingent
 7929 Cypress Ave                                                     Unliquidated
                                                                      Disputed
 FONTANA, CA, 92336
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2793
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       199.98
                                                                                                                     $________________________________
 Francisco Cruz-Varo                                                 Check all that apply.
 2977 Park Avenue, Apt #3                                             Contingent
                                                                      Unliquidated
 San Bernardino, CA, 92404                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2794
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Francisco Delgado                                                   Check all that apply.
                                                                                                                      12.86
                                                                                                                     $________________________________
 2007 West 4250 South                                                 Contingent
                                                                      Unliquidated
 Roy, UT, 84067                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2795
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      407.01
                                                                                                                     $________________________________
 Francisco Emmanuel De Los Santos                                    Check all that apply.
 32154 Mirasol Bnd                                                    Contingent
                                                                      Unliquidated
 Bulverde, TX, 78163                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2796
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Francisco Garcia                                                    Check all that apply.
                                                                                                                       58.90
                                                                                                                     $________________________________
 1374 Waterloo Ln                                                     Contingent
                                                                      Unliquidated
 gardnerville, NV, 89410-5318                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2797
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.63
                                                                                                                     $________________________________
 Francisco Garcia                                                     Contingent
 2818 Gardenia Drive                                                  Unliquidated
                                                                      Disputed
 Garland, TX, 75041
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2798
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.31
                                                                                                                     $________________________________
 Francisco Garcia                                                    Check all that apply.
 625 Sw 67th St                                                       Contingent
                                                                      Unliquidated
 Oklahoma City, OK, 73139                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2799
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 FRANCISCO GOMEZ                                                     Check all that apply.
                                                                                                                      43.29
                                                                                                                     $________________________________
 11727 Culebra Rd, 3304                                               Contingent
                                                                      Unliquidated
 San Antonio, TX, 78253                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2800
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      58.84
                                                                                                                     $________________________________
 Francisco Gonzalez                                                  Check all that apply.
 51671 Clubhouse Drive                                                Contingent
                                                                      Unliquidated
 South Bend, IN, 46628                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2801
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Francisco Juan                                                      Check all that apply.
                                                                                                                       83.99
                                                                                                                     $________________________________
 88 County Road 546                                                   Contingent
                                                                      Unliquidated
 Albertville, AL, 35951                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2802
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.99
                                                                                                                     $________________________________
 Francisco Lopez                                                      Contingent
 333 Silver Ave                                                       Unliquidated
                                                                      Disputed
 San Francisco, CA, 94112
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2803
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.99
                                                                                                                     $________________________________
 Francisco Martinez                                                  Check all that apply.
 5200 Summit Ridge Dr, Apt#5124                                       Contingent
                                                                      Unliquidated
 Reno, NV, 89523                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2804
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Francisco Mendez                                                    Check all that apply.
                                                                                                                      882.89
                                                                                                                     $________________________________
 11627 E Kentucky Avenue.                                             Contingent
                                                                      Unliquidated
 Aurora, CO, 80012                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2805
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.07
                                                                                                                     $________________________________
 Francisco Palomares                                                 Check all that apply.
 864 Laker Lane                                                       Contingent
                                                                      Unliquidated
 Fowler, CA, 93625                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2806
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Francisco Palomino                                                  Check all that apply.
                                                                                                                       69.86
                                                                                                                     $________________________________
 3050 La Spezia Cir Apt 113                                           Contingent
                                                                      Unliquidated
 Kissimmee, FL, 34741                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2807
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.71
                                                                                                                     $________________________________
 Francisco Patino                                                     Contingent
 2005 146TH PL SE, 2005 146TH PL SE                                   Unliquidated
                                                                      Disputed
 BELLEVUE, WA, 98007
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2808
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.99
                                                                                                                     $________________________________
 Francisco Pelegri                                                   Check all that apply.
 180 Northeast 12th Avenue, 16A                                       Contingent
                                                                      Unliquidated
 Hallandale Beach, FL, 33009                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2809
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 francisco rodriguez                                                 Check all that apply.
                                                                                                                      47.99
                                                                                                                     $________________________________
 132 North Echo Avenue                                                Contingent
                                                                      Unliquidated
 Fresno, CA, 93701                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2810
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      97.25
                                                                                                                     $________________________________
 Francisco Velazquez                                                 Check all that apply.
 18551 Merseyside loop                                                Contingent
                                                                      Unliquidated
 Land o Lakes, FL, 34638                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2811
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Franco Santoyo                                                      Check all that apply.
                                                                                                                       42.21
                                                                                                                     $________________________________
 465 Champions Dr                                                     Contingent
                                                                      Unliquidated
 Brownsville, TX, 78520                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2812
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.78
                                                                                                                     $________________________________
 FRANCO SOLIS                                                         Contingent
 72 CEDARHURST AVE, 2ND FLR                                           Unliquidated
                                                                      Disputed
 WOODLAND PARK, NJ, 7424
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2813
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.70
                                                                                                                     $________________________________
 Frank Canino                                                        Check all that apply.
 406 S Interocean Ave                                                 Contingent
                                                                      Unliquidated
 Holyoke, CO, 80734                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2814
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Frank Locantora                                                     Check all that apply.
                                                                                                                      23.45
                                                                                                                     $________________________________
 16 Alberta Court                                                     Contingent
                                                                      Unliquidated
 Sewell, NJ, 8080                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2815
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      81.97
                                                                                                                     $________________________________
 Frank Lopez                                                         Check all that apply.
 6801 E Grandview st.                                                 Contingent
                                                                      Unliquidated
 Tacoma, WA, 98404                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2816
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Frank Masiello                                                      Check all that apply.
                                                                                                                       10.00
                                                                                                                     $________________________________
 2030 Hudson Street, apt. 1227                                        Contingent
                                                                      Unliquidated
 Fort Lee, NJ, 7024                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2817
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.99
                                                                                                                     $________________________________
 frank michel                                                         Contingent
 3000 Verdugo Road, apt 315                                           Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90065
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2818
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Frank Peng                                                          Check all that apply.
 4448 Candleberry Ave                                                 Contingent
                                                                      Unliquidated
 Seal Beach, CA, 90740                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2819
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Frank Salonek                                                       Check all that apply.
                                                                                                                      16.04
                                                                                                                     $________________________________
 1128 Pheasant Circle                                                 Contingent
                                                                      Unliquidated
 Winter Springs, FL, 32708                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2820
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      88.99
                                                                                                                     $________________________________
 Frank Varela                                                        Check all that apply.
 439 W. 42nd St                                                       Contingent
                                                                      Unliquidated
 Tucson, AZ, 85713                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2821
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Frankie Figueroa                                                    Check all that apply.
                                                                                                                       90.00
                                                                                                                     $________________________________
 46-01 39th Avenue, L3                                                Contingent
                                                                      Unliquidated
 Queens, NY, 11104                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2822
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Frankie Gomez                                                        Contingent
 5153 West 88th Street                                                Unliquidated
                                                                      Disputed
 Oak Lawn, IL, 60453
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2823
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.02
                                                                                                                     $________________________________
 Frankie Kuzemchak                                                   Check all that apply.
 3704 Locust Avenue                                                   Contingent
                                                                      Unliquidated
 Seaford, NY, 11783                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2824
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Frankie Manale                                                      Check all that apply.
                                                                                                                      26.61
                                                                                                                     $________________________________
 9707 Mia Circle, 1411                                                Contingent
                                                                      Unliquidated
 Orlando, FL, 32819                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2825
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.53
                                                                                                                     $________________________________
 Frankie Orona                                                       Check all that apply.
 5960 Alta Mesa Way                                                   Contingent
                                                                      Unliquidated
 San Diego, CA, 92115                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2826
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Frankie Whitt                                                       Check all that apply.
                                                                                                                       92.17
                                                                                                                     $________________________________
 4540 Moore Lane                                                      Contingent
                                                                      Unliquidated
 Culleoka, TN, 38451                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2827
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             18.65
                                                                                                                     $________________________________
 Franklin Higginbotham                                                Contingent
 172 DRY VALLEY RD                                                    Unliquidated
                                                                      Disputed
 COOKEVILLE, TN, 38506
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2828
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       185.48
                                                                                                                     $________________________________
 FraPer Landscape - Francisco Perez                                  Check all that apply.
 170 Wright ave, #1                                                   Contingent
                                                                      Unliquidated
 Morgan Hill, CA, 95037                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2829
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Frauke Russell                                                      Check all that apply.
                                                                                                                      16.19
                                                                                                                     $________________________________
 1251 Berkley Hills Pass                                              Contingent
                                                                      Unliquidated
 Evans, GA, 30809                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2830
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Fred Davis                                                          Check all that apply.
 3806 Bensalem Blvd., 207                                             Contingent
                                                                      Unliquidated
 Bensalem, PA, 19020                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2831
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fred Falk                                                           Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 4925 Orchid dr                                                       Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76137-6377                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2832
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.58
                                                                                                                     $________________________________
 Fred Ontalan Jr                                                      Contingent
 91-1023C Kalehuna Street                                             Unliquidated
                                                                      Disputed
 Kapolei, HI, 96707
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2833
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       93.05
                                                                                                                     $________________________________
 Freddy Ceballos                                                     Check all that apply.
 7316 Kester Ave, Apt.A                                               Contingent
                                                                      Unliquidated
 Van Nuys, CA, 91405                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2834
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 freddy contreras                                                    Check all that apply.
                                                                                                                      67.99
                                                                                                                     $________________________________
 8256 Northwest 30th Terrace, CHI-14871                               Contingent
                                                                      Unliquidated
 Doral, FL, 33122                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2835
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      141.52
                                                                                                                     $________________________________
 Freddy Cruz                                                         Check all that apply.
 580 W 176th St , Apartment 56                                        Contingent
                                                                      Unliquidated
 New York, NY, 10033-8447                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2836
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Freddy Espitia                                                      Check all that apply.
                                                                                                                       24.99
                                                                                                                     $________________________________
 19609 Babington St                                                   Contingent
                                                                      Unliquidated
 Canyon Country , CA, 91351                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2837
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 FREDDY GARCIA                                                        Contingent
 4200 South Fwy Suite 74                                              Unliquidated
                                                                      Disputed
 Fort Worth, TX, 76115-1424
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2838
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.00
                                                                                                                     $________________________________
 Frederic Ilac                                                       Check all that apply.
 22 cozy corner                                                       Contingent
                                                                      Unliquidated
 avenel, NJ, 7001                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2839
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Frederick Allen                                                     Check all that apply.
                                                                                                                      49.98
                                                                                                                     $________________________________
 13350 Grinstead Court                                                Contingent
                                                                      Unliquidated
 Sykesville, MD, 21784                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2840
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.97
                                                                                                                     $________________________________
 Fredy Rojas                                                         Check all that apply.
 1204 Lasalle Street, 1                                               Contingent
                                                                      Unliquidated
 Racine, WI, 53404                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2841
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fredy Gomez Lopez                                                   Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 4057 stephen dr                                                      Contingent
                                                                      Unliquidated
 North highlands, CA, 95660                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2842
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.97
                                                                                                                     $________________________________
 Fredy Gonzales                                                       Contingent
 3633 Galena Dr Apt #4                                                Unliquidated
                                                                      Disputed
 Auburn, CA, 95602
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2843
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       127.94
                                                                                                                     $________________________________
 Fredy H Cadavid                                                     Check all that apply.
 10 Lilac Path Apt C                                                  Contingent
                                                                      Unliquidated
 Maple shade, NJ, 8052                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2844
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Freeman                                                             Check all that apply.
                                                                                                                      27,532.28
                                                                                                                     $________________________________
 PO Box 734596                                                        Contingent
                                                                      Unliquidated
 Dallas, TX, 75373-4596                                               Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2845
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      76.26
                                                                                                                     $________________________________
 Fuentes, Dante                                                      Check all that apply.
 1444 Hada Ln                                                         Contingent
                                                                      Unliquidated
 Lawrenceville, GA, 30043                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2846
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 FUQUAN FRAGUADA                                                     Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 19 Glendale Road                                                     Contingent
                                                                      Unliquidated
 Colonia, NJ, 7067                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2847
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 gq                                                                   Contingent
 250 old lyman rd                                                     Unliquidated
                                                                      Disputed
 chicopee, MA, 1020
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2848
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       89.02
                                                                                                                     $________________________________
 G.E. Ott                                                            Check all that apply.
 82 West Hoke Street                                                  Contingent
                                                                      Unliquidated
 Spring Grove, PA, 17362                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2849
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gabby Saint                                                         Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 210 Kelly Avenue                                                     Contingent
                                                                      Unliquidated
 Parlier, CA, 93648                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2850
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.99
                                                                                                                     $________________________________
 Gabe Kalama                                                         Check all that apply.
 67-1309 La'ikealoha Street                                           Contingent
                                                                      Unliquidated
 Kamuela, HI, 96743                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2851
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gabirel Cantu                                                       Check all that apply.
                                                                                                                       44.99
                                                                                                                     $________________________________
 1419 FM-535                                                          Contingent
                                                                      Unliquidated
 Smithville, TX, 78957                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2852
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.98
                                                                                                                     $________________________________
 Gabriel Chin                                                         Contingent
 147-41 Sanford Avenue, Apt 3                                         Unliquidated
                                                                      Disputed
 Queens, NY, 11355
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2853
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       259.79
                                                                                                                     $________________________________
 Gabriel Daigle                                                      Check all that apply.
 704 Westwood Dr                                                      Contingent
                                                                      Unliquidated
 Richardson, TX, 75080                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2854
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gabriel Garcia                                                      Check all that apply.
                                                                                                                      54.94
                                                                                                                     $________________________________
 2270 Cottonwood Road                                                 Contingent
                                                                      Unliquidated
 Banning, CA, 92220                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2855
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.99
                                                                                                                     $________________________________
 Gabriel Ison                                                        Check all that apply.
 101 Rich Ln                                                          Contingent
                                                                      Unliquidated
 Georgetown, KY, 40324                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2856
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gabriel Jimenez                                                     Check all that apply.
                                                                                                                       29.94
                                                                                                                     $________________________________
 381 Northeast 37th Avenue                                            Contingent
                                                                      Unliquidated
 Homestead, FL, 33033                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2857
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 Gabriel Laracuente                                                   Contingent
 117 Helen Avenue                                                     Unliquidated
                                                                      Disputed
 Buffalo, NY, 14219
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2858
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Gabriel Lopez                                                       Check all that apply.
 703 Melbourne ST.                                                    Contingent
                                                                      Unliquidated
 HOUSTON, TX, 77022                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2859
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gabriel Madrid                                                      Check all that apply.
                                                                                                                      119.99
                                                                                                                     $________________________________
 1795 Tahoe circle                                                    Contingent
                                                                      Unliquidated
 Tracy, CA, 95376                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2860
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      124.99
                                                                                                                     $________________________________
 gabriel marquez                                                     Check all that apply.
 2115 Lone Rock Drive                                                 Contingent
                                                                      Unliquidated
 Kingwood, TX, 77339                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2861
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gabriel Nana                                                        Check all that apply.
                                                                                                                       8.70
                                                                                                                     $________________________________
 31-31 29th St , Apartment 2B                                         Contingent
                                                                      Unliquidated
 Astoria, NY, 11106                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2862
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.04
                                                                                                                     $________________________________
 Gabriel Ocampo                                                       Contingent
 81351 Ave 46, Spc 108                                                Unliquidated
                                                                      Disputed
 Indio, CA, 92201
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2863
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       1,295.88
                                                                                                                     $________________________________
 Gabriel Osorio                                                      Check all that apply.
 228 Apalachee way, -                                                 Contingent
                                                                      Unliquidated
 Bossier City, LA, 71111                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2864
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gabriel Pastor                                                      Check all that apply.
                                                                                                                      32.45
                                                                                                                     $________________________________
 151 S Resler Dr, #019                                                Contingent
                                                                      Unliquidated
 El Paso, TX, 79912                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2865
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.26
                                                                                                                     $________________________________
 Gabriel Ramirez                                                     Check all that apply.
 PO BOX 7291                                                          Contingent
                                                                      Unliquidated
 Santa Monica, CA, 90406                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2866
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gabriel Vargas                                                      Check all that apply.
                                                                                                                       165.72
                                                                                                                     $________________________________
 Po box 505                                                           Contingent
                                                                      Unliquidated
 Barranquitas, PR, 794                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2867
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.97
                                                                                                                     $________________________________
 gabriel vidal                                                        Contingent
 8737 110TH ST APT 1                                                  Unliquidated
                                                                      Disputed
 RICHMOND HILL, NY, 11418-2328
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2868
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.13
                                                                                                                     $________________________________
 Gabriela E De hoyos                                                 Check all that apply.
 Rio panuco 1717, Jardines del valle                                  Contingent
                                                                      Unliquidated
 Monclova, OK, 25730                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2869
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gabriela Holguin                                                    Check all that apply.
                                                                                                                      97.46
                                                                                                                     $________________________________
 4031 East Arbor Avenue                                               Contingent
                                                                      Unliquidated
 Mesa, AZ, 85206                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2870
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                     $________________________________
 Gabriela Lara                                                       Check all that apply.
 117 Manning Ave                                                      Contingent
                                                                      Unliquidated
 Ames, IA, 50014                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2871
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gabriela Saltos                                                     Check all that apply.
                                                                                                                       37.09
                                                                                                                     $________________________________
 3289 N Weston Ave                                                    Contingent
                                                                      Unliquidated
 Meridian, ID, 83646                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2872
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Gabriella Jones                                                      Contingent
 11 Fountain Rd                                                       Unliquidated
                                                                      Disputed
 Levittown, PA, 19056
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2873
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.19
                                                                                                                     $________________________________
 Gabrielle DuBuclet                                                  Check all that apply.
 2663 Ricker Pond Court                                               Contingent
                                                                      Unliquidated
 Waldorf, MD, 20603                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2874
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gabrielle Duchesne                                                  Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 6917 E Yellowglen Dr                                                 Contingent
                                                                      Unliquidated
 Prescott Valley, AZ, 86314                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2875
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.21
                                                                                                                     $________________________________
 Gabrielle Knickerbocker                                             Check all that apply.
 188 Pinnacle Road                                                    Contingent
                                                                      Unliquidated
 West Monroe, NY, 13167                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2876
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gaby Galdamez                                                       Check all that apply.
                                                                                                                       44.61
                                                                                                                     $________________________________
 135 brooks st                                                        Contingent
                                                                      Unliquidated
 East Boston, MA, 2128                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2877
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.12
                                                                                                                     $________________________________
 Gage Sipes                                                           Contingent
 1109 14th Avenue                                                     Unliquidated
                                                                      Disputed
 Fox Island, WA, 98333
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2878
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.04
                                                                                                                     $________________________________
 Gail fahey                                                          Check all that apply.
 100 Pleasant Avenue                                                  Contingent
                                                                      Unliquidated
 Lancaster, NY, 14086                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2879
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gail J Wood                                                         Check all that apply.
                                                                                                                      12.77
                                                                                                                     $________________________________
 13375 newcastle ave                                                  Contingent
                                                                      Unliquidated
 spring hill, FL, 34609-6710                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2880
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      67.19
                                                                                                                     $________________________________
 Gala Wandschneider                                                  Check all that apply.
 401 Prairie Song Drive                                               Contingent
                                                                      Unliquidated
 Waukesha, WI, 53188                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2881
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gang Huang                                                          Check all that apply.
                                                                                                                       118.75
                                                                                                                     $________________________________
 3101 old 63 s, D 206                                                 Contingent
                                                                      Unliquidated
 Columbia, MO, 65201                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2882
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             599.88
                                                                                                                     $________________________________
 ganhuiqiong ZTDLMG                                                   Contingent
 18432 NE Sandy Blvd, PES CNZTDLMG                                    Unliquidated
                                                                      Disputed
 Portland, OR, 97251-6835
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2883
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       51.89
                                                                                                                     $________________________________
 Garret Firl                                                         Check all that apply.
 1134 6th St SW                                                       Contingent
                                                                      Unliquidated
 Rochester, MN, 55902                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2884
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Garrett Boesiger                                                    Check all that apply.
                                                                                                                      28.61
                                                                                                                     $________________________________
 3672 s daisy way                                                     Contingent
                                                                      Unliquidated
 Boise, ID, 83709                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2885
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.54
                                                                                                                     $________________________________
 Garrett Burns                                                       Check all that apply.
 216 N. Michigan Avenue                                               Contingent
                                                                      Unliquidated
 Hobart, IN, 46342                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2886
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Garrett Harvey                                                      Check all that apply.
                                                                                                                       172.98
                                                                                                                     $________________________________
 16137 Brookfield dr                                                  Contingent
                                                                      Unliquidated
 Gulfport, MS, 39503                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2887
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             69.99
                                                                                                                     $________________________________
 Garrett Leight                                                       Contingent
 3750 Moore Street                                                    Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90066
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2888
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       283.95
                                                                                                                     $________________________________
 Garrett Wilson                                                      Check all that apply.
 29 Brainerd Rd, Apt 204                                              Contingent
                                                                      Unliquidated
 Allston, MA, 2134                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2889
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Garth Lee                                                           Check all that apply.
                                                                                                                      64.99
                                                                                                                     $________________________________
 16233 Malden Street                                                  Contingent
                                                                      Unliquidated
 Los Angeles, CA, 91343                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2890
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Gary Barrett                                                        Check all that apply.
 1626 Wilcox Avenue, 320                                              Contingent
                                                                      Unliquidated
 Hollywood, CA, 90028                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2891
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gary Booth                                                          Check all that apply.
                                                                                                                       59.25
                                                                                                                     $________________________________
 4192 Peabody Way                                                     Contingent
                                                                      Unliquidated
 Roseville, CA, 95747                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2892
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             94.74
                                                                                                                     $________________________________
 Gary F Giles                                                         Contingent
 26161 Oakdale Rd                                                     Unliquidated
                                                                      Disputed
 Waverly, VA, 23890-3735
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2893
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.67
                                                                                                                     $________________________________
 Gary Fitzpatrick                                                    Check all that apply.
 25 Banbury Drive                                                     Contingent
                                                                      Unliquidated
 Youngstown, OH, 44511                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2894
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gary Frantzen                                                       Check all that apply.
                                                                                                                      29.76
                                                                                                                     $________________________________
 720 W Gordon Terrace - #16N                                          Contingent
                                                                      Unliquidated
 Chicago, IL, 60613                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2895
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      48.12
                                                                                                                     $________________________________
 Gary Harbert                                                        Check all that apply.
 1361 JONES RUN RD                                                    Contingent
                                                                      Unliquidated
 LUMBERPORT, WV, 26386-8308                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2896
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gary Lavoie                                                         Check all that apply.
                                                                                                                       12.74
                                                                                                                     $________________________________
 269 Woodlawn St                                                      Contingent
                                                                      Unliquidated
 Fall River, MA, 2720                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2897
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.07
                                                                                                                     $________________________________
 Gary Leek                                                            Contingent
 1027 Fain Avenue                                                     Unliquidated
                                                                      Disputed
 Kingsport, TN, 37660
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2898
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.09
                                                                                                                     $________________________________
 Gary Love                                                           Check all that apply.
 506 Westcliffe Way                                                   Contingent
                                                                      Unliquidated
 Greenville, SC, 29611-3044                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2899
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gary Pair                                                           Check all that apply.
                                                                                                                      59.35
                                                                                                                     $________________________________
 13207 Armstead Street                                                Contingent
                                                                      Unliquidated
 Woodbridge, VA, 22191                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2900
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.68
                                                                                                                     $________________________________
 Gaspar Heller                                                       Check all that apply.
 1875 Commonwealth Ave, Apt 5                                         Contingent
                                                                      Unliquidated
 Brighton, MA, 2135                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2901
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gauge Norberg                                                       Check all that apply.
                                                                                                                       11.85
                                                                                                                     $________________________________
 712 6th Ave S                                                        Contingent
                                                                      Unliquidated
 St. Paul, MN, 55107                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2902
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             143.91
                                                                                                                     $________________________________
 Gaura Allen                                                          Contingent
 8346 NE Milton St                                                    Unliquidated
                                                                      Disputed
 Portland, OR, 97220
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2903
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 GAVIN CLARK                                                         Check all that apply.
 9936 BONNIE VISTA DR                                                 Contingent
                                                                      Unliquidated
 LA MESA, CA, 91941                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2904
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gavin Gruwell                                                       Check all that apply.
                                                                                                                      18.18
                                                                                                                     $________________________________
 10313 Palladio Drive                                                 Contingent
                                                                      Unliquidated
 New Port Richey, FL, 34655                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2905
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.99
                                                                                                                     $________________________________
 Gavin Kucera                                                        Check all that apply.
 1654 29th Ave NW                                                     Contingent
                                                                      Unliquidated
 Saint Paul, MN, 55112-1720                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2906
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gaynne Zimmerman                                                    Check all that apply.
                                                                                                                       208.80
                                                                                                                     $________________________________
 7323 LIGHTSHIP CT                                                    Contingent
                                                                      Unliquidated
 BURKE, VA, 22015                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2907
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             51.17
                                                                                                                     $________________________________
 Gayoung Lee                                                          Contingent
 126 Neptune Avenue, Apt 6                                            Unliquidated
                                                                      Disputed
 Jersey City, NJ, 7305
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2908
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.56
                                                                                                                     $________________________________
 Gelin Contreras                                                     Check all that apply.
 42 Stedman Avenue, 2                                                 Contingent
                                                                      Unliquidated
 Pawtucket, RI, 2860                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2909
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gemma Kern                                                          Check all that apply.
                                                                                                                      172.99
                                                                                                                     $________________________________
 48 36th Ave NE                                                       Contingent
                                                                      Unliquidated
 Great Falls, MT, 59404                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2910
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.52
                                                                                                                     $________________________________
 Gene Silvestri                                                      Check all that apply.
 10574 Malaga Way                                                     Contingent
                                                                      Unliquidated
 Rancho Cordova, CA, 95670                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2911
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Genevieve Siebers                                                   Check all that apply.
                                                                                                                       219.41
                                                                                                                     $________________________________
 100 Mansfield Street                                                 Contingent
                                                                      Unliquidated
 New Haven, CT, 6511                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2912
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.98
                                                                                                                     $________________________________
 Genevieve Stella                                                     Contingent
 2605 Lexington Place                                                 Unliquidated
                                                                      Disputed
 McKinney, TX, 75070
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2913
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Genica Heath                                                        Check all that apply.
 4179 S Hemet St                                                      Contingent
                                                                      Unliquidated
 Gilbert, AZ, 85297                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2914
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Geoffrey Grimes                                                     Check all that apply.
                                                                                                                      65.03
                                                                                                                     $________________________________
 404 nw Fargo st                                                      Contingent
                                                                      Unliquidated
 camas, WA, 98607                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2915
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      99.98
                                                                                                                     $________________________________
 Georg Brewer                                                        Check all that apply.
 97 sunset drive                                                      Contingent
                                                                      Unliquidated
 Chatham, NJ, 7928                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2916
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 George Cabrera                                                      Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 465 46th Street, 5                                                   Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11220                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2917
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.99
                                                                                                                     $________________________________
 George Lopez                                                         Contingent
 1200 S GREVILLEA AVE                                                 Unliquidated
                                                                      Disputed
 INGLEWOOD, CA, 90301-3810
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2918
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       117.26
                                                                                                                     $________________________________
 George Macey                                                        Check all that apply.
 22 BULGER AVE, APT D                                                 Contingent
                                                                      Unliquidated
 NEW MILFORD, NJ, 7646                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2919
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 George Olds                                                         Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 22 Metropolitan Oval, Apt 3A                                         Contingent
                                                                      Unliquidated
 Bronx, NY, 10462-6721                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2920
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      79.99
                                                                                                                     $________________________________
 George Villalobos                                                   Check all that apply.
 223 N. Justine                                                       Contingent
                                                                      Unliquidated
 Chicago, IL, 60607                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2921
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 George Wu                                                           Check all that apply.
                                                                                                                       99.99
                                                                                                                     $________________________________
 20022 East Skyline Drive                                             Contingent
                                                                      Unliquidated
 Walnut, CA, 91789                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2922
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.99
                                                                                                                     $________________________________
 George Youngdahl                                                     Contingent
 1411 Marsh Meadow Lane                                               Unliquidated
                                                                      Disputed
 Davenport, FL, 33896-6708
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2923
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.69
                                                                                                                     $________________________________
 Georgia Chavez                                                      Check all that apply.
 13455 Mountain Drive                                                 Contingent
                                                                      Unliquidated
 Hesperia, CA, 92344                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2924
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Georgina Green                                                      Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 225 Wynfield Ln                                                      Contingent
                                                                      Unliquidated
 Bonaire, GA, 31005                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2925
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.47
                                                                                                                     $________________________________
 Geraldine Suniga                                                    Check all that apply.
 7100 Balboa Boulevard, Unit 804                                      Contingent
                                                                      Unliquidated
 Los Angeles, CA, 91406                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2926
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Geraldine Genuino                                                   Check all that apply.
                                                                                                                       54.99
                                                                                                                     $________________________________
 14-05 Emerson Drive                                                  Contingent
                                                                      Unliquidated
 Fair Lawn, NJ, 7410                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2927
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 Gerardo Zaninovich                                                   Contingent
 2310 Fountain View Drive #50                                         Unliquidated
                                                                      Disputed
 Houston, TX, 77057
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2928
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Gerardo Molina                                                      Check all that apply.
 886 West Garrett Avenue                                              Contingent
                                                                      Unliquidated
 Farmersville, CA, 93223                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2929
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gerardo Munoz                                                       Check all that apply.
                                                                                                                      27.48
                                                                                                                     $________________________________
 715 Meeker Ave                                                       Contingent
                                                                      Unliquidated
 La Puente, CA, 91746                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2930
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      132.29
                                                                                                                     $________________________________
 Gerardo Murray                                                      Check all that apply.
 940 N Cornejo Way                                                    Contingent
                                                                      Unliquidated
 Azusa, CA, 91702                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2931
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gerardo Santa Rosa                                                  Check all that apply.
                                                                                                                       40.99
                                                                                                                     $________________________________
 2142 Warwick Road                                                    Contingent
                                                                      Unliquidated
 Houston, TX, 77093                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2932
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             112.43
                                                                                                                     $________________________________
 Gerardo Santana                                                      Contingent
 13821 Walnut St                                                      Unliquidated
                                                                      Disputed
 Whittier, CA, 90602
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2933
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       257.94
                                                                                                                     $________________________________
 Gerber Jimenez                                                      Check all that apply.
 3105 NEW COACH LN                                                    Contingent
                                                                      Unliquidated
 Bowie, MD, 20716                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2934
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Germaine Cunningham                                                 Check all that apply.
                                                                                                                      54.99
                                                                                                                     $________________________________
 2030 Brandilyn Cir                                                   Contingent
                                                                      Unliquidated
 Anchorage, AK, 99516                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2935
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.98
                                                                                                                     $________________________________
 German Torres                                                       Check all that apply.
 2798 flemons ave                                                     Contingent
                                                                      Unliquidated
 Stockton, CA, 95205                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2936
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Giancarlo Chavez                                                    Check all that apply.
                                                                                                                       27.80
                                                                                                                     $________________________________
 20402 Northeast 14th Court                                           Contingent
                                                                      Unliquidated
 North Miami Beach, FL, 33179                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2937
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.93
                                                                                                                     $________________________________
 Giankarlo Casanova                                                   Contingent
 332 W 29TH ST                                                        Unliquidated
                                                                      Disputed
 LORAIN, OH, 44055-1112
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2938
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Gianni Vestita                                                      Check all that apply.
 8104 Prairie Rye Dr                                                  Contingent
                                                                      Unliquidated
 Lago vista, TX, 78645                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2939
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gigi Cinkus                                                         Check all that apply.
                                                                                                                      27.68
                                                                                                                     $________________________________
 6517 41st Street                                                     Contingent
                                                                      Unliquidated
 Stickney, IL, 60402                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2940
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      46.99
                                                                                                                     $________________________________
 Gilana Reiss                                                        Check all that apply.
 5800 Arlington Ave, Apt 3B                                           Contingent
                                                                      Unliquidated
 Bronx, NY, 10471                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2941
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gilbert Perez                                                       Check all that apply.
                                                                                                                       47.98
                                                                                                                     $________________________________
 20935 Trails West Drive                                              Contingent
                                                                      Unliquidated
 Katy, TX, 77449                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2942
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.53
                                                                                                                     $________________________________
 Gilbert Priestley                                                    Contingent
 4113 East 12th Street, Unit 2                                        Unliquidated
                                                                      Disputed
 Austin, TX, 78721
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2943
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.99
                                                                                                                     $________________________________
 Gilbert Rivera Jr                                                   Check all that apply.
 1430 gaviota dr                                                      Contingent
                                                                      Unliquidated
 salinas, CA, 93905                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2944
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gilda Meraz                                                         Check all that apply.
                                                                                                                      32.30
                                                                                                                     $________________________________
 502 S Church Ave                                                     Contingent
                                                                      Unliquidated
 Bloomington, CA, 92316                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2945
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Gileene Mayllo                                                      Check all that apply.
 1662 Del Amo Boulevard                                               Contingent
                                                                      Unliquidated
 Torrance, CA, 90501                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2946
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 gilianne posadas                                                    Check all that apply.
                                                                                                                       5.99
                                                                                                                     $________________________________
 245 Desmond Street, Ste 100                                          Contingent
                                                                      Unliquidated
 San Francisco, CA, 94134                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2947
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             65.69
                                                                                                                     $________________________________
 Gilmar Rosales                                                       Contingent
 6646 Wilbur ave, Apt 202                                             Unliquidated
                                                                      Disputed
 Reseda, CA, 91335
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2948
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.99
                                                                                                                     $________________________________
 Gin Tregoning                                                       Check all that apply.
 4277 105th Avenue                                                    Contingent
                                                                      Unliquidated
 Allegan, MI, 49010                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2949
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 GINA ARRIOLA                                                        Check all that apply.
                                                                                                                      44.97
                                                                                                                     $________________________________
 4601 PLANTATION DR                                                   Contingent
                                                                      Unliquidated
 FAIR OAKS, CA, 95628                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2950
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.99
                                                                                                                     $________________________________
 Gina Leccese                                                        Check all that apply.
 6 RIVERLEDGE RD                                                      Contingent
                                                                      Unliquidated
 HUDSON, NY, 12534                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2951
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gina Mollinary                                                      Check all that apply.
                                                                                                                       21.31
                                                                                                                     $________________________________
 46 Lackawanna Dr                                                     Contingent
                                                                      Unliquidated
 Stanhope, NJ, 07874-3108                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2952
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             46.32
                                                                                                                     $________________________________
 Gina Sinaniz                                                         Contingent
 6746 , Aqueduct Ct                                                   Unliquidated
                                                                      Disputed
 San Diego, CA, 92119
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2953
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.38
                                                                                                                     $________________________________
 Gina Tarita-Nistor                                                  Check all that apply.
 147 BELLINI AVE, Apt 205                                             Contingent
                                                                      Unliquidated
 WOODBRIDGE, ON, L4H 0N1                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2954
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Giodannie Pozo                                                      Check all that apply.
                                                                                                                      26.86
                                                                                                                     $________________________________
 7507 Morning Glory Lane                                              Contingent
                                                                      Unliquidated
 Tampa, FL, 33619                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2955
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Giovani Maciel                                                      Check all that apply.
 1015 N Del Norte Ave                                                 Contingent
                                                                      Unliquidated
 Ontario, CA, 91764                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2956
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Giovanni Feliu                                                      Check all that apply.
                                                                                                                       24.99
                                                                                                                     $________________________________
 3118 Abbie Street                                                    Contingent
                                                                      Unliquidated
 Sachse, TX, 75048                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2957
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             40.01
                                                                                                                     $________________________________
 Giovanni Guillen                                                     Contingent
 22951 N Stuart Pl Rd                                                 Unliquidated
                                                                      Disputed
 Harlingen, TX, 78552
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2958
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.01
                                                                                                                     $________________________________
 Gisel Badillo                                                       Check all that apply.
 8866 Broad St. NE                                                    Contingent
                                                                      Unliquidated
 Moses Lake, WA, 98837                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2959
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Giselle Lovo                                                        Check all that apply.
                                                                                                                      121.88
                                                                                                                     $________________________________
 1401 E Lee Rd                                                        Contingent
                                                                      Unliquidated
 Sterling, VA, 20164                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2960
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Gissette Martinez                                                   Check all that apply.
 2235 Lakeside Place, Apt 201                                         Contingent
                                                                      Unliquidated
 Corona, CA, 92879                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2961
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Giuseppe Spataro                                                    Check all that apply.
                                                                                                                       69.67
                                                                                                                     $________________________________
 61-19 Linden street                                                  Contingent
                                                                      Unliquidated
 Ridgewood , NY, 11385                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2962
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 Gladdie Cayton                                                       Contingent
 40278 Old Hickory Avenue                                             Unliquidated
                                                                      Disputed
 Gonzales, LA, 70737
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2963
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       41.33
                                                                                                                     $________________________________
 Glen Christian                                                      Check all that apply.
 13570 Old Telegraph Road                                             Contingent
                                                                      Unliquidated
 Providence Forge, VA, 23140                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2964
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Glen H Ackerman                                                     Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 1010 Wisconsin Avenue NW, Suite 208                                  Contingent
                                                                      Unliquidated
 Washington, DC, 20007                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2965
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.09
                                                                                                                     $________________________________
 Glen Viggiano                                                       Check all that apply.
 45 Tacoma Street                                                     Contingent
                                                                      Unliquidated
 Staten Island, NY, 10304                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2966
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Glenda Romero                                                       Check all that apply.
                                                                                                                       54.99
                                                                                                                     $________________________________
 1301 Valley Drive                                                    Contingent
                                                                      Unliquidated
 Hyattsville, MD, 20782                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2967
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.05
                                                                                                                     $________________________________
 Glenn Mullinax                                                       Contingent
 2415 Quail Ridge Dr                                                  Unliquidated
                                                                      Disputed
 New Braunfels, TX, 78130-9412
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2968
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       170.91
                                                                                                                     $________________________________
 Glenn Parker                                                        Check all that apply.
 4666 Trademark Trl                                                   Contingent
                                                                      Unliquidated
 Hilliard, OH, 43026-7481                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2969
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Glenna Watson                                                       Check all that apply.
                                                                                                                      63.59
                                                                                                                     $________________________________
 703 White Cloud Drive                                                Contingent
                                                                      Unliquidated
 Boise, ID, 83709                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2970
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Glenry Jason Pontillas                                              Check all that apply.
 2073 Stansfield Drive                                                Contingent
                                                                      Unliquidated
 Roseville, CA, 95747                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2971
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gleyn Shields                                                       Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 3406 13th Street Northwest, apt-5                                    Contingent
                                                                      Unliquidated
 Washington, DC, 20010                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2972
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.04
                                                                                                                     $________________________________
 Gloria Aluotto                                                       Contingent
 11 Charles Street                                                    Unliquidated
                                                                      Disputed
 Keansburg, NJ, 7734
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2973
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       157.97
                                                                                                                     $________________________________
 Gloria Castrejon                                                    Check all that apply.
 21030 Gresham st, 404                                                Contingent
                                                                      Unliquidated
 Canoga park, CA, 91304                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2974
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gloria Pineda-Sigala                                                Check all that apply.
                                                                                                                      46.53
                                                                                                                     $________________________________
 625 West Holt Avenue                                                 Contingent
                                                                      Unliquidated
 El Centro, CA, 92243                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2975
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      159.99
                                                                                                                     $________________________________
 Gloria Zengewald                                                    Check all that apply.
 3777 Silina Drive                                                    Contingent
                                                                      Unliquidated
 Virginia Beach, VA, 23452                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2976
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gloria-Joy Yeaton                                                   Check all that apply.
                                                                                                                       47.87
                                                                                                                     $________________________________
 2784 Golden Currant View #21                                         Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80918-9057                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2977
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Godfrey Miles                                                        Contingent
 3836 HIGHWAY US 82 West, LOT 160                                     Unliquidated
                                                                      Disputed
 Leland, MS, 38756-9204
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2978
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       40.91
                                                                                                                     $________________________________
 GOKHAN YILMAZ                                                       Check all that apply.
 4 NORTHBROOK ROAD                                                    Contingent
                                                                      Unliquidated
 EAST YORK, ON, M4J 4G1                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2979
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gong Ning Li                                                        Check all that apply.
                                                                                                                      167.86
                                                                                                                     $________________________________
 11 new whitney st #308                                               Contingent
                                                                      Unliquidated
 boston, MA, 2115                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2980
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.76
                                                                                                                     $________________________________
 Gordon Danzey                                                       Check all that apply.
 1905 Barbridge Way                                                   Contingent
                                                                      Unliquidated
 Powell, TN, 37849                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2981
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gordon Newman                                                       Check all that apply.
                                                                                                                       123.97
                                                                                                                     $________________________________
 3511 Southern Ave.                                                   Contingent
                                                                      Unliquidated
 Baltimore, MD, 21214                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2982
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.71
                                                                                                                     $________________________________
 Grace Brooks                                                         Contingent
 23571 Oneida St                                                      Unliquidated
                                                                      Disputed
 Oak Park, MI, 48237
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2983
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       55.98
                                                                                                                     $________________________________
 Grace Kim                                                           Check all that apply.
 2406 Weycroft                                                        Contingent
                                                                      Unliquidated
 Enid, OK, 73703                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2984
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Grace Thurmond                                                      Check all that apply.
                                                                                                                      104.50
                                                                                                                     $________________________________
 1270 Plum Street                                                     Contingent
                                                                      Unliquidated
 San Diego, CA, 92106                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2985
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.42
                                                                                                                     $________________________________
 GRACE WORMLEY                                                       Check all that apply.
 514 WEST MAIN ST. P O BOX 355                                        Contingent
                                                                      Unliquidated
 EMMITSBURG, MD, 21727-0355                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2986
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 gracie allen                                                        Check all that apply.
                                                                                                                       27.55
                                                                                                                     $________________________________
 568 hi crest drive                                                   Contingent
                                                                      Unliquidated
 Lexington, KY, 40505                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2987
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 Grant Bell                                                           Contingent
 3711 Folsom Ct                                                       Unliquidated
                                                                      Disputed
 West Sacramento, CA, 95691
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2988
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.87
                                                                                                                     $________________________________
 Grant Brown                                                         Check all that apply.
 6569 Brandt Pike                                                     Contingent
                                                                      Unliquidated
 Huber Heights, OH, 45424                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2989
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Grant Brownlee                                                      Check all that apply.
                                                                                                                      44.03
                                                                                                                     $________________________________
 9301 Avondale Rd NE Apt S2103                                        Contingent
                                                                      Unliquidated
 Redmond, WA, 98052-3343                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2990
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Grant Cole                                                          Check all that apply.
 1071 Turkey Run Rd                                                   Contingent
                                                                      Unliquidated
 Halifax, VA, 24558                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2991
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Grant Hirano                                                        Check all that apply.
                                                                                                                       28.99
                                                                                                                     $________________________________
 1127 Kassel Ter                                                      Contingent
                                                                      Unliquidated
 sunnyvale, CA, 94089-4510                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  2992
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.98
                                                                                                                     $________________________________
 Grant Hirano                                                         Contingent
 1127 Kassel Terrace                                                  Unliquidated
                                                                      Disputed
 SUNNYVALE, CA, 94089
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2993
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Grant Tiemann                                                       Check all that apply.
 88 Baycrest Court                                                    Contingent
                                                                      Unliquidated
 Newport Beach, CA, 92660                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2994
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Greg Buck                                                           Check all that apply.
                                                                                                                      139.40
                                                                                                                     $________________________________
 1682 w 4450 s                                                        Contingent
                                                                      Unliquidated
 ROY, UT, 84067-3041                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  2995
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.18
                                                                                                                     $________________________________
 Greg Capel Jr                                                       Check all that apply.
 123 South Main Street                                                Contingent
                                                                      Unliquidated
 Glassboro, NJ, 08028-2541                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  2996
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Greg D Kammes                                                       Check all that apply.
                                                                                                                       69.99
                                                                                                                     $________________________________
 17539 County Road G                                                  Contingent
                                                                      Unliquidated
 Mineral Point, WI, 53565                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  2997
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Greg Kraft                                                           Contingent
 25 N Cedar Ave                                                       Unliquidated
                                                                      Disputed
 Maple Shade, NJ, 8052
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  2998
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       285.91
                                                                                                                     $________________________________
 Greg Levy                                                           Check all that apply.
 1033 Pebble Lake Street                                              Contingent
                                                                      Unliquidated
 Henderson, NV, 89011                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  2999
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Greg Sinnwell                                                       Check all that apply.
                                                                                                                      27.98
                                                                                                                     $________________________________
 2067 Grants Valley Ln                                                Contingent
                                                                      Unliquidated
 Imperial, MO, 63052-4017                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3000
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.94
                                                                                                                     $________________________________
 Greg Smith                                                          Check all that apply.
 2126 S 900 E                                                         Contingent
                                                                      Unliquidated
 Bountiful, UT, 84010                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3001
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gregg Shiozaki                                                      Check all that apply.
                                                                                                                       283.82
                                                                                                                     $________________________________
 3905 Wellington Square                                               Contingent
                                                                      Unliquidated
 San Jose, CA, 95136                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3002
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.98
                                                                                                                     $________________________________
 Gregory Apodaca                                                      Contingent
 2715 Wiedekamp Ct, Unit C                                            Unliquidated
                                                                      Disputed
 JBER, AK, 99506-4660
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3003
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.99
                                                                                                                     $________________________________
 Gregory Arrington                                                   Check all that apply.
 6724 Wayman Ridge                                                    Contingent
                                                                      Unliquidated
 San Antonio, TX, 78233                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3004
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gregory Brooks                                                      Check all that apply.
                                                                                                                      47.99
                                                                                                                     $________________________________
 3900 Greystone Avenue, Apt 53F                                       Contingent
                                                                      Unliquidated
 Bronx, NY, 10463                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3005
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      51.99
                                                                                                                     $________________________________
 Gregory C Nordin                                                    Check all that apply.
 6213 Twin Oaks Dr, Apt 1197                                          Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80918-3261                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3006
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gregory C Nordin                                                    Check all that apply.
                                                                                                                       71.97
                                                                                                                     $________________________________
 6213 Twin Oaks Dr, Apt 1197                                          Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80918-3261                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3007
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             48.99
                                                                                                                     $________________________________
 Gregory Fuller                                                       Contingent
 5804 taft st                                                         Unliquidated
                                                                      Disputed
 arvada, CO, 80004
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3008
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       45.72
                                                                                                                     $________________________________
 Gregory Ginsburg                                                    Check all that apply.
 1020 Grand Concourse, Apt 7A                                         Contingent
                                                                      Unliquidated
 Bronx, NY, 10451                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3009
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gregory Hirn                                                        Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 9078 West Heathwood Drive, 6K                                        Contingent
                                                                      Unliquidated
 Niles, IL, 60714                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3010
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Gregory j Credille                                                  Check all that apply.
 4320 Commons Drive West apt 3211                                     Contingent
                                                                      Unliquidated
 Destin, FL, 32541                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3011
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gregory Lipeles                                                     Check all that apply.
                                                                                                                       24.98
                                                                                                                     $________________________________
 15111 FREEMAN AVENUE UNIT 71                                         Contingent
                                                                      Unliquidated
 LAWNDALE, CA, 90260                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3012
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.64
                                                                                                                     $________________________________
 Gregory Pecht                                                        Contingent
 1 JFK Blvd, 25 F                                                     Unliquidated
                                                                      Disputed
 Somerset, NJ, 8873
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3013
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.65
                                                                                                                     $________________________________
 Gregory Sim                                                         Check all that apply.
 914 Crain Hwy N                                                      Contingent
                                                                      Unliquidated
 Glen Burnie, MD, 21061                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3014
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gregory Tingle                                                      Check all that apply.
                                                                                                                      37.99
                                                                                                                     $________________________________
 9319 Rum Ridge Road                                                  Contingent
                                                                      Unliquidated
 Delmar, MD, 21875                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3015
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      128.74
                                                                                                                     $________________________________
 Gregory Tucker                                                      Check all that apply.
 8372 Wilmington Dr, --                                               Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80920                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3016
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gregory Valade                                                      Check all that apply.
                                                                                                                       84.99
                                                                                                                     $________________________________
 20901 Robinson St                                                    Contingent
                                                                      Unliquidated
 Farmington Hills, MI, 48336                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3017
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.98
                                                                                                                     $________________________________
 Gregory Wheeldon                                                     Contingent
 26 Danielle Court                                                    Unliquidated
                                                                      Disputed
 Mays Landing, NJ, 8330
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3018
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Gregory Williams                                                    Check all that apply.
 2131 Danville Pike                                                   Contingent
                                                                      Unliquidated
 Hillsville, VA, 24343                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3019
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 greta katz                                                          Check all that apply.
                                                                                                                      37.79
                                                                                                                     $________________________________
 104 Kandace Street                                                   Contingent
                                                                      Unliquidated
 Syracuse, NY, 13204                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3020
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.98
                                                                                                                     $________________________________
 Grey Damon                                                          Check all that apply.
 10880 Wilshire Boulevard, Suite 1000                                 Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90024                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3021
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Grey Damon                                                          Check all that apply.
                                                                                                                       74.99
                                                                                                                     $________________________________
 10880 Wilshire Boulevard, Suite 1000                                 Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90024                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  3022
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,990.72
                                                                                                                     $________________________________
 Grey Damon                                                           Contingent
 4311 Beeman ave                                                      Unliquidated
                                                                      Disputed
 Studio City, CA, 91604
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3023
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.99
                                                                                                                     $________________________________
 Greyson Lazarus                                                     Check all that apply.
 4920 SW Humphrey Park Crest                                          Contingent
                                                                      Unliquidated
 Portland, OR, 97221                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3024
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Griffin Cooper                                                      Check all that apply.
                                                                                                                      28.78
                                                                                                                     $________________________________
 14 Indian Field Court                                                Contingent
                                                                      Unliquidated
 Mahwah, NJ, 7430                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3025
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      73.09
                                                                                                                     $________________________________
 GRIFFIN Martin                                                      Check all that apply.
 3702 Windmere Lane                                                   Contingent
                                                                      Unliquidated
 Johnsburg, IL, 60051                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3026
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Grolan Malolot                                                      Check all that apply.
                                                                                                                       35.30
                                                                                                                     $________________________________
 4641 Live Oak Lane                                                   Contingent
                                                                      Unliquidated
 Milton, FL, 32571                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3027
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             200.00
                                                                                                                     $________________________________
 Guardian                                                             Contingent
 PO Box 677458                                                        Unliquidated
                                                                      Disputed
 Dallas, TX, 75267-7458
                                                                     Basis for the claim: Insurance company



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3028
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       152.41
                                                                                                                     $________________________________
 Guido Barba                                                         Check all that apply.
 85-09 151st Avenue, 4k                                               Contingent
                                                                      Unliquidated
 Queens, NY, 11414                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3029
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Guido Schettini                                                     Check all that apply.
                                                                                                                      122.97
                                                                                                                     $________________________________
 4507 Welby Turn                                                      Contingent
                                                                      Unliquidated
 Midlothian, VA, 23113                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3030
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.99
                                                                                                                     $________________________________
 Guillermo Mora                                                      Check all that apply.
 915 North Elm Street                                                 Contingent
                                                                      Unliquidated
 Seymour, IN, 47274                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3031
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Guillermo Garcia                                                    Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 1335 Roselawn street                                                 Contingent
                                                                      Unliquidated
 National City, CA, 91950                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3032
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.42
                                                                                                                     $________________________________
 Guillermo Reyes                                                      Contingent
 8339 SW 157th Pl                                                     Unliquidated
                                                                      Disputed
 Miami, FL, 33193
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3033
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Guillermo Rivas                                                     Check all that apply.
 2216 West Rock Creek Court                                           Contingent
                                                                      Unliquidated
 Merced, CA, 95348                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3034
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Guillermo Torres                                                    Check all that apply.
                                                                                                                      265.20
                                                                                                                     $________________________________
 2410 Huckleberry Lane                                                Contingent
                                                                      Unliquidated
 Pasadena, TX, 77502                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3035
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.98
                                                                                                                     $________________________________
 Guiyuan Wu                                                          Check all that apply.
 2617 South Holly Street                                              Contingent
                                                                      Unliquidated
 Seattle, WA, 98108                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3036
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Guo Yu                                                              Check all that apply.
                                                                                                                       86.99
                                                                                                                     $________________________________
 409 Grenoble Rd                                                      Contingent
                                                                      Unliquidated
 Santa Barbara, CA, 93110                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3037
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.63
                                                                                                                     $________________________________
 Gust Truy                                                            Contingent
 24 Monmouth Avenue                                                   Unliquidated
                                                                      Disputed
 Edison, NJ, 8820
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3038
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.98
                                                                                                                     $________________________________
 Gustavo Chang                                                       Check all that apply.
 73 Gile Pond RD                                                      Contingent
                                                                      Unliquidated
 Franklin, NH, 3235                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3039
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gustavo Gonzalez                                                    Check all that apply.
                                                                                                                      38.05
                                                                                                                     $________________________________
 15485 Shadow Mountain Ln                                             Contingent
                                                                      Unliquidated
 Lake Elsinore, CA, 92530                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3040
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      160.00
                                                                                                                     $________________________________
 Gusto                                                               Check all that apply.
 525 20th St.                                                         Contingent
                                                                      Unliquidated
 San Francisco, CA, 94107                                             Disputed
                                                                     Basis for the claim: Software Invoice



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3041
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Guy Higuchi                                                         Check all that apply.
                                                                                                                       52.34
                                                                                                                     $________________________________
 PO Box 193                                                           Contingent
                                                                      Unliquidated
 Hanapepe, HI, 96716-0193                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3042
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Guy Reeves                                                           Contingent
 PSC 2, Box 7772                                                      Unliquidated
                                                                      Disputed
 APO, AE, 9012
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3043
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.88
                                                                                                                     $________________________________
 Guy Twitty                                                          Check all that apply.
 1941 20th Avenue drive NE, 52                                        Contingent
                                                                      Unliquidated
 Hickory, NC, 28601                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3044
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gwen Mulligan                                                       Check all that apply.
                                                                                                                      25.91
                                                                                                                     $________________________________
 152 Bristol Pass                                                     Contingent
                                                                      Unliquidated
 Aiken, SC, 29801                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3045
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.47
                                                                                                                     $________________________________
 Ha'ani Tydingco                                                     Check all that apply.
 13241 Corte Villanueva                                               Contingent
                                                                      Unliquidated
 San Diego, CA, 92129                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3046
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ha'mani Ashley                                                      Check all that apply.
                                                                                                                       34.99
                                                                                                                     $________________________________
 16275 E 107th Pl                                                     Contingent
                                                                      Unliquidated
 Commerce City, CO, 80022                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3047
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             261.22
                                                                                                                     $________________________________
 Ha-Won Lee                                                           Contingent
 16 Hollywood Dr                                                      Unliquidated
                                                                      Disputed
 Woodbridge, NJ, 7095
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3048
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       2,367.50
                                                                                                                     $________________________________
 Hageo Trinidad                                                      Check all that apply.
 172 Smith Drive                                                      Contingent
                                                                      Unliquidated
 Winchester, VA, 22603                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3049
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hai Du                                                              Check all that apply.
                                                                                                                      13.99
                                                                                                                     $________________________________
 541 West Royce Drive                                                 Contingent
                                                                      Unliquidated
 Mountain House, CA, 95391                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3050
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      344.97
                                                                                                                     $________________________________
 Hai Duong                                                           Check all that apply.
 3624 Bloomsbury Way                                                  Contingent
                                                                      Unliquidated
 San Jose, CA, 95132                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3051
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Haihan Wang                                                         Check all that apply.
                                                                                                                       78.98
                                                                                                                     $________________________________
 958 Robin Rd                                                         Contingent
                                                                      Unliquidated
 Amherst, NY, 14228                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3052
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             47.99
                                                                                                                      $________________________________
 hailea fiona                                                          Contingent
 95 RIVER RD APT 18                                                    Unliquidated
                                                                       Disputed
 MANCHESTER, NH, 03104-2963
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  3053
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        32.08
                                                                                                                      $________________________________
 Hailee Yoder                                                         Check all that apply.
 629 Ebersole Road                                                     Contingent
                                                                       Unliquidated
 Reading, PA, 19605                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  3054
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Hailey Tinajero                                                      Check all that apply.
                                                                                                                       31.70
                                                                                                                      $________________________________
 1279 bal                                                              Contingent
                                                                       Unliquidated
 San jose , CA, 95122                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  3055
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       37.44
                                                                                                                      $________________________________
 Hakeem Ferguson                                                      Check all that apply.
 301 Richmondfarm Cir.                                                 Contingent
                                                                       Unliquidated
 Lexington, SC, 29072                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  3056
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Haleigh Baez                                                         Check all that apply.
                                                                                                                        13.05
                                                                                                                      $________________________________
 181 E 111th St, Apt 4A                                                Contingent
                                                                       Unliquidated
 New York, NY, 10029                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3057
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.98
                                                                                                                     $________________________________
 haley bishop                                                         Contingent
 122 South Grove Street                                               Unliquidated
                                                                      Disputed
 Sicklerville, NJ, 8081
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3058
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       58.98
                                                                                                                     $________________________________
 Haley Olson                                                         Check all that apply.
 10551 Greenbrier Rd Apt 309                                          Contingent
                                                                      Unliquidated
 Minnetonka, MN, 55305                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3059
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Haley Peterson                                                      Check all that apply.
                                                                                                                      42.99
                                                                                                                     $________________________________
 1645 Ala Wai Boulevard, Apartment #1406                              Contingent
                                                                      Unliquidated
 Honolulu, HI, 96815                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3060
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.69
                                                                                                                     $________________________________
 Haley Roldan                                                        Check all that apply.
 10213 Union Terrace Ln N                                             Contingent
                                                                      Unliquidated
 Maple grove, MN, 55369-4712                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3061
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Haley Roraff                                                        Check all that apply.
                                                                                                                       283.97
                                                                                                                     $________________________________
 N1247 Coolidge Road                                                  Contingent
                                                                      Unliquidated
 Oconomowoc, WI, 53066                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3062
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             224.99
                                                                                                                     $________________________________
 HALEY SMITH                                                          Contingent
 106 S BENDING OAK LN                                                 Unliquidated
                                                                      Disputed
 WYLIE, TX, 75098
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3063
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.99
                                                                                                                     $________________________________
 Haley Storey                                                        Check all that apply.
 70 East Road                                                         Contingent
                                                                      Unliquidated
 East Kingston, NH, 3827                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3064
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Han Nguyen                                                          Check all that apply.
                                                                                                                      13.26
                                                                                                                     $________________________________
 17830 47th ave w                                                     Contingent
                                                                      Unliquidated
 lynnwood, WA, 98037                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3065
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      94.06
                                                                                                                     $________________________________
 Han Xu                                                              Check all that apply.
 2151 Oakland Road spc 142, 142                                       Contingent
                                                                      Unliquidated
 San Jose, CA, 95131                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3066
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hanji Chen                                                          Check all that apply.
                                                                                                                       24.99
                                                                                                                     $________________________________
 180 South St, Apt 16D                                                Contingent
                                                                      Unliquidated
 New York, NY, 10038-1419                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3067
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.00
                                                                                                                     $________________________________
 Hank Diplock                                                         Contingent
 27 Macomber Ave                                                      Unliquidated
                                                                      Disputed
 Augusta, ME, 4330
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3068
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.99
                                                                                                                     $________________________________
 Hannah Currey                                                       Check all that apply.
 1138 La Jolla Dr                                                     Contingent
                                                                      Unliquidated
 Thousand Oaks, CA, 91362                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3069
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hannah Esbenshade                                                   Check all that apply.
                                                                                                                      121.89
                                                                                                                     $________________________________
 11 Laura Ct                                                          Contingent
                                                                      Unliquidated
 Quarryville, PA, 17566                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3070
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.73
                                                                                                                     $________________________________
 hannah francis                                                      Check all that apply.
 15147 Homestead Road                                                 Contingent
                                                                      Unliquidated
 Thompsonville, MI, 49683                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3071
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hannah Kerezsi                                                      Check all that apply.
                                                                                                                       56.81
                                                                                                                     $________________________________
 1704 Falkirk Road                                                    Contingent
                                                                      Unliquidated
 Madison, OH, 44057                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3072
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.43
                                                                                                                     $________________________________
 Hannah Newell                                                        Contingent
 2443 New Hinson Rd                                                   Unliquidated
                                                                      Disputed
 Slocomb, AL, 36375
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3073
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       41.57
                                                                                                                     $________________________________
 Hannah Panzino                                                      Check all that apply.
 540 Salem Avenue                                                     Contingent
                                                                      Unliquidated
 Newfield, NJ, 8344                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3074
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hannah Tamaki                                                       Check all that apply.
                                                                                                                      75.40
                                                                                                                     $________________________________
 24982 Southport Street                                               Contingent
                                                                      Unliquidated
 Laguna Hills, CA, 92653                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3075
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.13
                                                                                                                     $________________________________
 Hannah Wall                                                         Check all that apply.
 2518 Hightrail dr                                                    Contingent
                                                                      Unliquidated
 Carrollton, TX, 75006                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3076
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hannah Wambold                                                      Check all that apply.
                                                                                                                       33.49
                                                                                                                     $________________________________
 17212 North Scottsdale Road, #2137                                   Contingent
                                                                      Unliquidated
 Scottsdale, AZ, 85255                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3077
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.16
                                                                                                                     $________________________________
 Hannah West                                                          Contingent
 119 Wade Herrod Road                                                 Unliquidated
                                                                      Disputed
 Smyrna, TN, 37167
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3078
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       163.48
                                                                                                                     $________________________________
 Hannah Wilkinson                                                    Check all that apply.
 4115 Kingman Boulevard, Apt.1                                        Contingent
                                                                      Unliquidated
 Des Moines, IA, 50311                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3079
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hannah Zermeno                                                      Check all that apply.
                                                                                                                      8.69
                                                                                                                     $________________________________
 2285 Lakeside Place, 201                                             Contingent
                                                                      Unliquidated
 Corona, CA, 92879                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3080
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.88
                                                                                                                     $________________________________
 Hannett, Megan                                                      Check all that apply.
 1005 E Grove Drive                                                   Contingent
                                                                      Unliquidated
 Pleasant Grove, UT, 84062                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3081
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 HANS LE                                                             Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 7808 Rose Garden Lane                                                Contingent
                                                                      Unliquidated
 Springfield, VA, 22153                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3082
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             223.98
                                                                                                                     $________________________________
 Haoyun Qiu                                                           Contingent
 830 Columba Ln                                                       Unliquidated
                                                                      Disputed
 Foster City, CA, 94404
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3083
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.42
                                                                                                                     $________________________________
 Happy Singh                                                         Check all that apply.
 2100 beechwood court                                                 Contingent
                                                                      Unliquidated
 Antioch, CA, 94509                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3084
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hari Kavia                                                          Check all that apply.
                                                                                                                      12.92
                                                                                                                     $________________________________
 24382 Patricia Street                                                Contingent
                                                                      Unliquidated
 Laguna Hills, CA, 92656                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3085
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.95
                                                                                                                     $________________________________
 Harold Bierwirth                                                    Check all that apply.
 2139 3rd Avenue                                                      Contingent
                                                                      Unliquidated
 Watervliet, NY, 12189                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3086
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Harold Sheridan                                                     Check all that apply.
                                                                                                                       38.99
                                                                                                                     $________________________________
 28 Park Avenue                                                       Contingent
                                                                      Unliquidated
 Warwick, NY, 10990                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3087
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             74.99
                                                                                                                     $________________________________
 Harold Sussman                                                       Contingent
 65 Provencal Road, APT 406                                           Unliquidated
                                                                      Disputed
 Laconia, NH, 3246
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3088
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Harrison Deitz                                                      Check all that apply.
 43864 Piney Stream Ct                                                Contingent
                                                                      Unliquidated
 Chantilly, VA, 20152                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3089
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Harrison Stewart                                                    Check all that apply.
                                                                                                                      26.49
                                                                                                                     $________________________________
 27141 Norfolk, 27141 Norfolk                                         Contingent
                                                                      Unliquidated
 Inkster, MI, 48141                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3090
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      136.47
                                                                                                                     $________________________________
 Harry A Moore                                                       Check all that apply.
 110 Main Street                                                      Contingent
                                                                      Unliquidated
 Southampton Township, NJ, 8088                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3091
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Harry M Peless                                                      Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 8807 Birchwood Dr                                                    Contingent
                                                                      Unliquidated
 Newport, MI, 48166                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3092
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Harry Tyler                                                          Contingent
 815 CIRCLE DR                                                        Unliquidated
                                                                      Disputed
 PALMER LAKE, CO, 80133
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3093
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       167.40
                                                                                                                     $________________________________
 Hasan Currie                                                        Check all that apply.
 1511 S 47th street                                                   Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19143                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3094
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hattie Barger                                                       Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 3967 Winding Blade Road                                              Contingent
                                                                      Unliquidated
 East Bernstadt, KY, 40729                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3095
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      373.99
                                                                                                                     $________________________________
 Hattie Bethke                                                       Check all that apply.
 1928 Crystal Springs Rd W                                            Contingent
                                                                      Unliquidated
 University Place, WA, 98466                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3096
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 HAYDE FRANCO                                                        Check all that apply.
                                                                                                                       19.98
                                                                                                                     $________________________________
 15906 MONTE BELLO LN                                                 Contingent
                                                                      Unliquidated
 EDINBURG, TX, 78541-7392                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3097
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             93.51
                                                                                                                     $________________________________
 hayden evans                                                         Contingent
 59 Denrose Dr, H                                                     Unliquidated
                                                                      Disputed
 Amherst, NY, 14228
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3098
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Hayes Kwong                                                         Check all that apply.
 3246 Dorset Dr.                                                      Contingent
                                                                      Unliquidated
 Brooklyn Heights, OH, 44131                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3099
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hayley Green                                                        Check all that apply.
                                                                                                                      84.99
                                                                                                                     $________________________________
 628 Canyon Rd.                                                       Contingent
                                                                      Unliquidated
 Novato, CA, 94947                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3100
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.64
                                                                                                                     $________________________________
 Hays Amano                                                          Check all that apply.
 138N G 3rd Street, G                                                 Contingent
                                                                      Unliquidated
 Alhambra, CA, 91801                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3101
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hazel Haggins                                                       Check all that apply.
                                                                                                                       118.78
                                                                                                                     $________________________________
 6037 Hickory Drive                                                   Contingent
                                                                      Unliquidated
 Forest Park, GA, 30297                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3102
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.99
                                                                                                                     $________________________________
 Heath Wineburner                                                     Contingent
 336 S Oliver                                                         Unliquidated
                                                                      Disputed
 Wichita, KS, 67218
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3103
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.37
                                                                                                                     $________________________________
 Heather Banton                                                      Check all that apply.
 608 Northwynd Cir                                                    Contingent
                                                                      Unliquidated
 Lynchburg, VA, 24502                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3104
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Heather Condon                                                      Check all that apply.
                                                                                                                      277.11
                                                                                                                     $________________________________
 3244 Prairie St.                                                     Contingent
                                                                      Unliquidated
 Aurora, IL, 60506                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3105
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.09
                                                                                                                     $________________________________
 Heather Crockett                                                    Check all that apply.
 527 East Grandview Way                                               Contingent
                                                                      Unliquidated
 Casselberry, FL, 32707                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3106
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Heather Gomez                                                       Check all that apply.
                                                                                                                       12.71
                                                                                                                     $________________________________
 1301 Congress Street                                                 Contingent
                                                                      Unliquidated
 Woodbridge, VA, 22191                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3107
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.18
                                                                                                                     $________________________________
 Heather marshall                                                     Contingent
 161 West Bell Street                                                 Unliquidated
                                                                      Disputed
 Sequim, WA, 98382
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3108
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.98
                                                                                                                     $________________________________
 Heather Russell                                                     Check all that apply.
 411 Candlewood Dr.                                                   Contingent
                                                                      Unliquidated
 State College, PA, 16803                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3109
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Heather Sassi                                                       Check all that apply.
                                                                                                                      60.98
                                                                                                                     $________________________________
 20 Little River Ct                                                   Contingent
                                                                      Unliquidated
 Youngsville, NC, 27596                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3110
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Heather Schwenker                                                   Check all that apply.
 3046 Alton Darby Creek Rd                                            Contingent
                                                                      Unliquidated
 Hilliard, OH, 43026                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3111
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Heather Waldenmaier                                                 Check all that apply.
                                                                                                                       49.99
                                                                                                                     $________________________________
 25 Simmons Rd                                                        Contingent
                                                                      Unliquidated
 Mooers, NY, 12958-3834                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3112
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.68
                                                                                                                     $________________________________
 Heaven Anguiano                                                      Contingent
 45465 25th St E sp 182                                               Unliquidated
                                                                      Disputed
 Lancaster, CA, 93535
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3113
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       112.96
                                                                                                                     $________________________________
 Hector Alanis                                                       Check all that apply.
 8516 Paddock Trail                                                   Contingent
                                                                      Unliquidated
 Blacklick, OH, 43004                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3114
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hector Arizpe                                                       Check all that apply.
                                                                                                                      37.44
                                                                                                                     $________________________________
 3096 Grandiflora Dr                                                  Contingent
                                                                      Unliquidated
 Greenacres, FL, 33467                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3115
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      408.96
                                                                                                                     $________________________________
 Hector Cardenas                                                     Check all that apply.
 527 Howard Avenue, Apt. 16                                           Contingent
                                                                      Unliquidated
 Montebello, CA, 90640                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3116
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hector Castaneda                                                    Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 35 Baileys Court                                                     Contingent
                                                                      Unliquidated
 Silver Spring, MD, 20906                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3117
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.99
                                                                                                                     $________________________________
 Hector Castellanos                                                   Contingent
 2828 N Cambridge Ave, Apt 516                                        Unliquidated
                                                                      Disputed
 Chicago, IL, 60657-6053
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3118
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.06
                                                                                                                     $________________________________
 Hector Cervantes                                                    Check all that apply.
 427 Ripley Ave                                                       Contingent
                                                                      Unliquidated
 Richmond, CA, 94801-2684                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3119
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hector Delgado                                                      Check all that apply.
                                                                                                                      107.13
                                                                                                                     $________________________________
 7711 Pandora Street                                                  Contingent
                                                                      Unliquidated
 El Paso, TX, 79904                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3120
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.99
                                                                                                                     $________________________________
 Hector Farias                                                       Check all that apply.
 37327 East Ave 35th street                                           Contingent
                                                                      Unliquidated
 PALMDALE, CA, 93550                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3121
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hector Flores                                                       Check all that apply.
                                                                                                                       72.07
                                                                                                                     $________________________________
 13210 May Ct                                                         Contingent
                                                                      Unliquidated
 Silver Spring, MD, 20906-3915                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3122
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             113.12
                                                                                                                     $________________________________
 Hector Garcia                                                        Contingent
 135 virginia ave                                                     Unliquidated
                                                                      Disputed
 Ontario, CA, 91764-4323
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3123
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Hector Gomez                                                        Check all that apply.
 1403 Thornhill Dr                                                    Contingent
                                                                      Unliquidated
 Newark, DE, 19702                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3124
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hector Reyes                                                        Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 168 Hampden Street, Unit 1                                           Contingent
                                                                      Unliquidated
 Chicopee, MA, 1013                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3125
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.99
                                                                                                                     $________________________________
 HECTOR T VELAZQUEZ                                                  Check all that apply.
 PO BOX 367682                                                        Contingent
                                                                      Unliquidated
 San Juan, PR, 936                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3126
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hector Velasco                                                      Check all that apply.
                                                                                                                       31.74
                                                                                                                     $________________________________
 449 South Kern Ave                                                   Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90022                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3127
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             276.02
                                                                                                                     $________________________________
 Hector Zavala                                                        Contingent
 740 Manor St                                                         Unliquidated
                                                                      Disputed
 Houston, TX, 77015
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3128
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.11
                                                                                                                     $________________________________
 Heda Patrick                                                        Check all that apply.
 1212 Taylor Lane                                                     Contingent
                                                                      Unliquidated
 Lewisville, TX, 75077                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3129
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Heidi Asjes                                                         Check all that apply.
                                                                                                                      49.78
                                                                                                                     $________________________________
 511 Emerald Dunes Place                                              Contingent
                                                                      Unliquidated
 Horizon City, TX, 79928                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3130
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.99
                                                                                                                     $________________________________
 Heidi Cobb                                                          Check all that apply.
 343 Yockey Road                                                      Contingent
                                                                      Unliquidated
 Mitchell, IN, 47446                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3131
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Heidi Heintzelman                                                   Check all that apply.
                                                                                                                       84.99
                                                                                                                     $________________________________
 1719 Dressler Ridge Road                                             Contingent
                                                                      Unliquidated
 Richfield, PA, 17086                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3132
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Heidi Morales                                                        Contingent
 1949 Redberry Ln                                                     Unliquidated
                                                                      Disputed
 Conover, NC, 28613
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3133
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27,500.00
                                                                                                                     $________________________________
 HeimLantz                                                           Check all that apply.
 180 Admiral Cochrane Dr. - Suite 520                                 Contingent
                                                                      Unliquidated
 Annapolis, MD, 21401                                                 Disputed
                                                                     Basis for the claim: Accounting Services



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3134
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Helen Henry                                                         Check all that apply.
                                                                                                                      64.19
                                                                                                                     $________________________________
 106 Flicker Drive                                                    Contingent
                                                                      Unliquidated
 McKees Rocks, PA, 15136                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3135
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      149.78
                                                                                                                     $________________________________
 Helen Morales                                                       Check all that apply.
 4313 Flamingo dr                                                     Contingent
                                                                      Unliquidated
 Naples, FL, 34104                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3136
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Helen Uribe                                                         Check all that apply.
                                                                                                                       27.36
                                                                                                                     $________________________________
 1439 E 90th ST                                                       Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90002                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3137
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Helena Ramning                                                       Contingent
 712 Cowan Ln                                                         Unliquidated
                                                                      Disputed
 McKinney, TX, 75071
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3138
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.84
                                                                                                                     $________________________________
 Helio rodriguez                                                     Check all that apply.
 4040 boulder hwy , Apt#1110 Bldg#14                                  Contingent
                                                                      Unliquidated
 LAS VEGAS, NV, 89121                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3139
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hemant Patel                                                        Check all that apply.
                                                                                                                      111.98
                                                                                                                     $________________________________
 12572 San Pablo Avenue                                               Contingent
                                                                      Unliquidated
 Richmond, CA, 94805                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3140
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Henricky Nascimento                                                 Check all that apply.
 5202 Hampton Beach Place, town house                                 Contingent
                                                                      Unliquidated
 Tampa, FL, 33609                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3141
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Henry Arevalo                                                       Check all that apply.
                                                                                                                       49.03
                                                                                                                     $________________________________
 88 George St                                                         Contingent
                                                                      Unliquidated
 Milltown , NJ, 8850                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3142
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             111.97
                                                                                                                     $________________________________
 Henry Arevalo                                                        Contingent
 88 George st                                                         Unliquidated
                                                                      Disputed
 Milltown, NJ, 8850
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3143
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       114.98
                                                                                                                     $________________________________
 Henry AuYeung                                                       Check all that apply.
 3740 South Halsted Street                                            Contingent
                                                                      Unliquidated
 Chicago, IL, 60609                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3144
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Henry Bahrs                                                         Check all that apply.
                                                                                                                      30.79
                                                                                                                     $________________________________
 232 West Talcott Road                                                Contingent
                                                                      Unliquidated
 Park Ridge, IL, 60068                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3145
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.95
                                                                                                                     $________________________________
 Henry Barnes                                                        Check all that apply.
 75 Van Vlake Drive                                                   Contingent
                                                                      Unliquidated
 Georgetown, SC, 29440                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3146
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Henry Betancourth                                                   Check all that apply.
                                                                                                                       35.18
                                                                                                                     $________________________________
 8478 Eden Lane                                                       Contingent
                                                                      Unliquidated
 Pennsauken, NJ, 8110                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3147
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             142.98
                                                                                                                     $________________________________
 Henry Chen                                                           Contingent
 4935 Vail Drive                                                      Unliquidated
                                                                      Disputed
 Caledonia, IL, 61011
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3148
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.04
                                                                                                                     $________________________________
 Henry Chow                                                          Check all that apply.
 3356 Madden Way                                                      Contingent
                                                                      Unliquidated
 Dublin, CA, 94568                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3149
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Henry Do                                                            Check all that apply.
                                                                                                                      33.99
                                                                                                                     $________________________________
 6600 Tierra Drive                                                    Contingent
                                                                      Unliquidated
 Waco, TX, 76712                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3150
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      79.99
                                                                                                                     $________________________________
 Henry He                                                            Check all that apply.
 44-10 Ketcham Street, Apt. 1A                                        Contingent
                                                                      Unliquidated
 Elmhurst, NY, 11373                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3151
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Henry Knoche                                                        Check all that apply.
                                                                                                                       21.65
                                                                                                                     $________________________________
 1300 Walnut                                                          Contingent
                                                                      Unliquidated
 Higginsville, MO, 64037                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3152
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             173.53
                                                                                                                     $________________________________
 Henry Rivas                                                          Contingent
 8517 E 83rd St                                                       Unliquidated
                                                                      Disputed
 Tulsa, OK, 74133-8005
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3153
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.59
                                                                                                                     $________________________________
 Henry Tran                                                          Check all that apply.
 648 GROVER WILSON RD                                                 Contingent
                                                                      Unliquidated
 BLYTHEWOOD, SC, 29016                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3154
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Henry Vo                                                            Check all that apply.
                                                                                                                      21.64
                                                                                                                     $________________________________
 1751 Lakeside Enclave Drive                                          Contingent
                                                                      Unliquidated
 Houston, TX, 77077                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3155
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.85
                                                                                                                     $________________________________
 Hera Kim                                                            Check all that apply.
 5543 Ridgeton Hill Ct                                                Contingent
                                                                      Unliquidated
 Fairfax, VA, 22032                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3156
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Herbert Cholger                                                     Check all that apply.
                                                                                                                       134.91
                                                                                                                     $________________________________
 24256 Loretta Ave                                                    Contingent
                                                                      Unliquidated
 Warren, MI, 48091                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3157
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             146.80
                                                                                                                     $________________________________
 Herbert Isais                                                        Contingent
 46 Via Barberini                                                     Unliquidated
                                                                      Disputed
 Chula Vista, CA, 91910
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3158
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.99
                                                                                                                     $________________________________
 Herman Perez                                                        Check all that apply.
 4211 East 100th Avenue lot 441                                       Contingent
                                                                      Unliquidated
 Thornton, CO, 80229                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3159
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 hermes ramirez                                                      Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 9817 Turf Way, Apt 8                                                 Contingent
                                                                      Unliquidated
 Orlando, FL, 32837                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3160
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Hermione Joseph louis                                               Check all that apply.
 1602 East 94th Street                                                Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11236                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3161
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Heron LO                                                            Check all that apply.
                                                                                                                       28.65
                                                                                                                     $________________________________
 42607 Fontainebleau Park Lane                                        Contingent
                                                                      Unliquidated
 Fremont, CA, 94538                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3162
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             76.98
                                                                                                                      $________________________________
 Hien Huynh                                                            Contingent
 1315 E Nasa Parkway, Apt 307                                          Unliquidated
                                                                       Disputed
 Houston, TX, 77058
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  3163
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        231.98
                                                                                                                      $________________________________
 hien pham                                                            Check all that apply.
 167 Albany Ave                                                        Contingent
                                                                       Unliquidated
 vacaville, CA, 95687                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  3164
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Hieu Tran-Nol                                                        Check all that apply.
                                                                                                                       33.96
                                                                                                                      $________________________________
 17 Snell Street                                                       Contingent
                                                                       Unliquidated
 Holbrook, MA, 2343                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  3165
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                      $________________________________
 Hilary Mechler                                                       Check all that apply.
 5 Goodnow Avenue                                                      Contingent
                                                                       Unliquidated
 Ashland, MA, 1721                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  3166
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Hilda velez                                                          Check all that apply.
                                                                                                                        37.31
                                                                                                                      $________________________________
 590 62nd St, Apt 4A                                                   Contingent
                                                                       Unliquidated
 west new york, NJ, 07093-1556                                         Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3167
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Hilton Kreil                                                         Contingent
 9814 South Townsville Circle                                         Unliquidated
                                                                      Disputed
 Littleton, CO, 80130
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3168
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       149.99
                                                                                                                     $________________________________
 Hiram Leyva                                                         Check all that apply.
 West Flagler Street, 5                                               Contingent
                                                                      Unliquidated
 Miami, FL, 33144                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3169
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ho Chan                                                             Check all that apply.
                                                                                                                      154.98
                                                                                                                     $________________________________
 27 Perna Lane                                                        Contingent
                                                                      Unliquidated
 Riverside, CT, 6878                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3170
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.98
                                                                                                                     $________________________________
 Ho Yu                                                               Check all that apply.
 7606 Cortina Dr.                                                     Contingent
                                                                      Unliquidated
 Houston, TX, 77083                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3171
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hoa Huynh                                                           Check all that apply.
                                                                                                                       21.31
                                                                                                                     $________________________________
 1501 Little Gloucester Road, APT Q-30                                Contingent
                                                                      Unliquidated
 BLACKWOOD, NJ, 8012                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3172
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.94
                                                                                                                     $________________________________
 Hoan Que Ly                                                          Contingent
 1623 37TH AVENUE                                                     Unliquidated
                                                                      Disputed
 SAN FRANCISCO, CA, 94122-3127
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3173
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       55.98
                                                                                                                     $________________________________
 Hoang Gralewski                                                     Check all that apply.
 38W476 N. Lakeview Circle                                            Contingent
                                                                      Unliquidated
 Saint Charles, IL, 60175                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3174
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hoang Nguyen                                                        Check all that apply.
                                                                                                                      422.98
                                                                                                                     $________________________________
 5412 Wellington drive                                                Contingent
                                                                      Unliquidated
 Richardson, TX, 75082                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3175
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      258.70
                                                                                                                     $________________________________
 Hoi Yan Cheung                                                      Check all that apply.
 4622 west orchid lane                                                Contingent
                                                                      Unliquidated
 chandler, AZ, 85226                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3176
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Holden Honor                                                        Check all that apply.
                                                                                                                       20.99
                                                                                                                     $________________________________
 3025 Crum Road                                                       Contingent
                                                                      Unliquidated
 Brooksville, FL, 34604                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3177
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.83
                                                                                                                     $________________________________
 Hollee Smith                                                         Contingent
 3022 Brookhill Ct.                                                   Unliquidated
                                                                      Disputed
 Georgetown, IN, 47122
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3178
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Hollie Levy                                                         Check all that apply.
 340 Lakeview Ave                                                     Contingent
                                                                      Unliquidated
 Haddonfield, NJ, 8033                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3179
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Holly Bennett                                                       Check all that apply.
                                                                                                                      16.17
                                                                                                                     $________________________________
 4544 East Corral Road                                                Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85044                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3180
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.04
                                                                                                                     $________________________________
 Holly Check                                                         Check all that apply.
 19794 Zane St NW                                                     Contingent
                                                                      Unliquidated
 Elk River, MN, 55330                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3181
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Holly Dyer                                                          Check all that apply.
                                                                                                                       59.60
                                                                                                                     $________________________________
 301 E 26th Ave                                                       Contingent
                                                                      Unliquidated
 Ellensburg, WA, 98926-2523                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3182
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Holly Slaski                                                         Contingent
 4964 Sugar Pie Drive                                                 Unliquidated
                                                                      Disputed
 Schnecksville, PA, 18078
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3183
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.83
                                                                                                                     $________________________________
 Holly Stiffler                                                      Check all that apply.
 406 Stuart Circle                                                    Contingent
                                                                      Unliquidated
 Belle Vernon, PA, 15012                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3184
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hong L Yeung                                                        Check all that apply.
                                                                                                                      45.99
                                                                                                                     $________________________________
 755 Northeast Circle Boulevard, 36                                   Contingent
                                                                      Unliquidated
 Corvallis, OR, 97330                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3185
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      179.75
                                                                                                                     $________________________________
 Hongshan Xu                                                         Check all that apply.
 3336 Peppermill Drive                                                Contingent
                                                                      Unliquidated
 West Lafayette, IN, 47906                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3186
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Honor Pomeroy                                                       Check all that apply.
                                                                                                                       28.64
                                                                                                                     $________________________________
 1920 North 1st Avenue, Apt 114                                       Contingent
                                                                      Unliquidated
 Tucson, AZ, 85719                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3187
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Hope Amm                                                             Contingent
 5025 Trace Crossings Ln                                              Unliquidated
                                                                      Disputed
 Birmingham, AL, 35244
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3188
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       428.30
                                                                                                                     $________________________________
 Horizon Blue Cross Blue Shield of NJ                                Check all that apply.
 PO Box 10130                                                         Contingent
                                                                      Unliquidated
 Newark, NJ, 07101-3130                                               Disputed
                                                                     Basis for the claim: Insurance company



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3189
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Howard Hunter                                                       Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 3813 Orchard Park Lane                                               Contingent
                                                                      Unliquidated
 Midlothian, TX, 76065                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3190
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      126.95
                                                                                                                     $________________________________
 Howard Le                                                           Check all that apply.
 3902 Somerset Rd                                                     Contingent
                                                                      Unliquidated
 Yorba Linda, CA, 92886                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3191
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Huaning Wang                                                        Check all that apply.
                                                                                                                       79.72
                                                                                                                     $________________________________
 1629 Parkway Dr                                                      Contingent
                                                                      Unliquidated
 Folsom, CA, 95630                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3192
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Huck's Filling Station                                               Contingent
 211 Fall River Avenue                                                Unliquidated
                                                                      Disputed
 Seekonk, MA, 2771
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3193
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.98
                                                                                                                     $________________________________
 Hugh White                                                          Check all that apply.
 1573 Holcomb Bridge Rd, Apt D                                        Contingent
                                                                      Unliquidated
 Norcross, GA, 30092                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3194
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hugo Ortiz                                                          Check all that apply.
                                                                                                                      37.31
                                                                                                                     $________________________________
 40 Watchung Avenue                                                   Contingent
                                                                      Unliquidated
 West Orange, NJ, 7052                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3195
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      90.18
                                                                                                                     $________________________________
 Hugo Antonio                                                        Check all that apply.
 3501 W 118th Pl                                                      Contingent
                                                                      Unliquidated
 Inglewood, CA, 90303                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3196
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hugo De Luna                                                        Check all that apply.
                                                                                                                       117.69
                                                                                                                     $________________________________
 6339 Glenview Place                                                  Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15206                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3197
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.96
                                                                                                                     $________________________________
 Hugo Sanchez                                                         Contingent
 22720 Sidding Rd                                                     Unliquidated
                                                                      Disputed
 Bakersfield, CA, 93314
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3198
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       335.97
                                                                                                                     $________________________________
 HUI SHAO                                                            Check all that apply.
 34 Meadowbrook Dr.                                                   Contingent
                                                                      Unliquidated
 Huntingtion Station, NY, 11746                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3199
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hulicez Gonzalez                                                    Check all that apply.
                                                                                                                      21.79
                                                                                                                     $________________________________
 1514 East 8th Street                                                 Contingent
                                                                      Unliquidated
 Stockton, CA, 95206                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3200
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      657.96
                                                                                                                     $________________________________
 Hun Kim                                                             Check all that apply.
 4516 Yosemite Way                                                    Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90065                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3201
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hung Chun TWXWMANA                                                  Check all that apply.
                                                                                                                       79.98
                                                                                                                     $________________________________
 13822 NE Airport Way                                                 Contingent
                                                                      Unliquidated
 Portland, OR, 97251-9614                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3202
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Hung Dieu                                                            Contingent
 5702 Candlecreek Drive                                               Unliquidated
                                                                      Disputed
 Richmond, TX, 77469
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3203
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       613.96
                                                                                                                     $________________________________
 Hung Nguyen                                                         Check all that apply.
 129 Iron Horse                                                       Contingent
                                                                      Unliquidated
 Irvine, CA, 92602                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3204
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hung Nguyen                                                         Check all that apply.
                                                                                                                      122.82
                                                                                                                     $________________________________
 129 Iron Horse                                                       Contingent
                                                                      Unliquidated
 Irvine, CA, 92602-1826                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3205
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      109.35
                                                                                                                     $________________________________
 hung nguyen                                                         Check all that apply.
 1417 Scollon Ct                                                      Contingent
                                                                      Unliquidated
 San Jose, CA, 95132                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3206
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hunter Bar                                                          Check all that apply.
                                                                                                                       35.96
                                                                                                                     $________________________________
 709 Via Palo Alto                                                    Contingent
                                                                      Unliquidated
 Washoe Valley, NV, 89704                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3207
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.76
                                                                                                                     $________________________________
 Hunter Buehl                                                         Contingent
 1091 North Lake Avenue, #3                                           Unliquidated
                                                                      Disputed
 Pasadena, CA, 91104
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3208
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.61
                                                                                                                     $________________________________
 Hunter Carey                                                        Check all that apply.
 608 Maylawn Ave                                                      Contingent
                                                                      Unliquidated
 Louisville, KY, 40217                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3209
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hunter Isaacs                                                       Check all that apply.
                                                                                                                      28.26
                                                                                                                     $________________________________
 3416 Lerwick rd                                                      Contingent
                                                                      Unliquidated
 Sacramento, CA, 95821                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3210
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Hunter Lafferty                                                     Check all that apply.
 204 Prospect Drive                                                   Contingent
                                                                      Unliquidated
 Cottageville, WV, 25239                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3211
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hunter Leavitt                                                      Check all that apply.
                                                                                                                       101.98
                                                                                                                     $________________________________
 PO Box 81                                                            Contingent
                                                                      Unliquidated
 Marcus, IA, 51035                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3212
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.93
                                                                                                                     $________________________________
 Hunter Mason                                                         Contingent
 6825 S 185th Ave                                                     Unliquidated
                                                                      Disputed
 Omaha, NE, 68135
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3213
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       36.70
                                                                                                                     $________________________________
 Hunter Watson                                                       Check all that apply.
 8848 Gore St                                                         Contingent
                                                                      Unliquidated
 Arvada, CO, 80007-7312                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3214
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Husayn Reyes                                                        Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 34 Emerald Lane                                                      Contingent
                                                                      Unliquidated
 Old Bridge, NJ, 8857                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3215
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.22
                                                                                                                     $________________________________
 Huy Chung                                                           Check all that apply.
 6330 Stable Farm                                                     Contingent
                                                                      Unliquidated
 San Antonio, TX, 78249                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3216
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Huy Le                                                              Check all that apply.
                                                                                                                       79.99
                                                                                                                     $________________________________
 1969 W 16th St.                                                      Contingent
                                                                      Unliquidated
 San Bernardino, CA, 92411                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3217
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             139.95
                                                                                                                     $________________________________
 Hye Min Choi                                                         Contingent
 16604 Ermanita Ave                                                   Unliquidated
                                                                      Disputed
 Torrance, CA, 90504
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3218
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       98.98
                                                                                                                     $________________________________
 Hyesu Jung                                                          Check all that apply.
 542 25th St, 208                                                     Contingent
                                                                      Unliquidated
 Oakland, CA, 94612-1704                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3219
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 HYUN-SEOK JI                                                        Check all that apply.
                                                                                                                      99.99
                                                                                                                     $________________________________
 34024 19th Place Southwest                                           Contingent
                                                                      Unliquidated
 Federal Way, WA, 98023                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3220
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.54
                                                                                                                     $________________________________
 Iain Nicholson                                                      Check all that apply.
 13045 Palancar Drive                                                 Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76244                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3221
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ialah Buettner                                                      Check all that apply.
                                                                                                                       37.44
                                                                                                                     $________________________________
 1201 Jubilee Circle                                                  Contingent
                                                                      Unliquidated
 Pell City, AL, 35125                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3222
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Ian Boley                                                            Contingent
 217 Bowen Drive                                                      Unliquidated
                                                                      Disputed
 Fredericksburg, VA, 22407
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3223
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       51.38
                                                                                                                     $________________________________
 Ian Chi Chen                                                        Check all that apply.
 7600 Lyndale AVE S, APT 212                                          Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55423                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3224
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ian DeMers                                                          Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 2293 Bromley St, Apt 2, Apt 2                                        Contingent
                                                                      Unliquidated
 Medford, OR, 97501                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3225
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.71
                                                                                                                     $________________________________
 Ian Fleck                                                           Check all that apply.
 315 11th St SW                                                       Contingent
                                                                      Unliquidated
 Albuquerque, NM, 87102                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3226
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ian Goh                                                             Check all that apply.
                                                                                                                       149.99
                                                                                                                     $________________________________
 5960 Cedar Fern Court                                                Contingent
                                                                      Unliquidated
 Columbia, MD, 21044                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3227
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.98
                                                                                                                     $________________________________
 Ian Harper                                                           Contingent
 PO Box 883317                                                        Unliquidated
                                                                      Disputed
 Steamboat Springs, CO, 80488
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3228
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       58.99
                                                                                                                     $________________________________
 Ian MacRitchie                                                      Check all that apply.
 600 S. Ridgeley Dr. , #105                                           Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90036                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3229
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ian Monteith                                                        Check all that apply.
                                                                                                                      63.89
                                                                                                                     $________________________________
 1379 Westfield ave Sw                                                Contingent
                                                                      Unliquidated
 North Canton, OH, 44720                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3230
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.49
                                                                                                                     $________________________________
 Ian Musial                                                          Check all that apply.
 34 Howard Ave                                                        Contingent
                                                                      Unliquidated
 Hillside, IL, 60162                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3231
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ian Nelson                                                          Check all that apply.
                                                                                                                       51.23
                                                                                                                     $________________________________
 7906 South Gaylord Way,                                              Contingent
                                                                      Unliquidated
 Centennial, CO, 80122                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3232
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 Ian Pizano                                                           Contingent
 393 Walnut Court                                                     Unliquidated
                                                                      Disputed
 Palm harbor, FL, 34683
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3233
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.99
                                                                                                                     $________________________________
 Ian Stanley                                                         Check all that apply.
 49 Rosebud Lane                                                      Contingent
                                                                      Unliquidated
 Bloomsburg, PA, 17815                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3234
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ian Stavis                                                          Check all that apply.
                                                                                                                      81.45
                                                                                                                     $________________________________
 5431 Grissom Road                                                    Contingent
                                                                      Unliquidated
 San Antonio, TX, 78238                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3235
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.21
                                                                                                                     $________________________________
 Ian Wlodarczyk                                                      Check all that apply.
 5166 Caste Dr                                                        Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15236                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3236
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Icarus Lincoln                                                      Check all that apply.
                                                                                                                       26.55
                                                                                                                     $________________________________
 365 Main Street, PO Box 265                                          Contingent
                                                                      Unliquidated
 Douglas, MA, 1516                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3237
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.96
                                                                                                                     $________________________________
 Ida Tang                                                             Contingent
 12031 Morgan Lane                                                    Unliquidated
                                                                      Disputed
 Garden Grove, CA, 92840
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3238
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Ignacio Robles                                                      Check all that apply.
 4119 s sentous ave apt 127                                           Contingent
                                                                      Unliquidated
 West covina, CA, 91792                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3239
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Igor Aynbund                                                        Check all that apply.
                                                                                                                      31.56
                                                                                                                     $________________________________
 2034 E 37 Street                                                     Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11234-4924                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3240
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Ihtzel Grijalva                                                     Check all that apply.
 7865 ROESBORO CIRCLE                                                 Contingent
                                                                      Unliquidated
 SACRAMENTO, CA, 95828                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3241
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ilana Kissel                                                        Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 2218 Westview Dr                                                     Contingent
                                                                      Unliquidated
 Silver Spring, MD, 20910                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3242
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             99.98
                                                                                                                     $________________________________
 Illana Nugas                                                         Contingent
 21 Georgetown                                                        Unliquidated
                                                                      Disputed
 Irvine, CA, 92612
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3243
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       55.98
                                                                                                                     $________________________________
 Imari A Thomas                                                      Check all that apply.
 609 N Almon St Spc 1015                                              Contingent
                                                                      Unliquidated
 Moscow, ID, 83843                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3244
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Imran Shah                                                          Check all that apply.
                                                                                                                      47.07
                                                                                                                     $________________________________
 144-45 35th Ave, Apt. 3B                                             Contingent
                                                                      Unliquidated
 Flushing, NY, 11354                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3245
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.05
                                                                                                                     $________________________________
 India Dittemore                                                     Check all that apply.
 11 BLUEBERRY CT                                                      Contingent
                                                                      Unliquidated
 STOW, MA, 1775                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3246
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 India Tindale                                                       Check all that apply.
                                                                                                                       33.02
                                                                                                                     $________________________________
 6900 North East 187th Pl, 106                                        Contingent
                                                                      Unliquidated
 Kenmore, WA, 98028                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3247
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.98
                                                                                                                     $________________________________
 Ingrid Chen                                                          Contingent
 11533 Spruce Run Drive                                               Unliquidated
                                                                      Disputed
 San Diego, CA, 92131
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3248
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.71
                                                                                                                     $________________________________
 Ingrid Lopez                                                        Check all that apply.
 346 Winston Rd sw                                                    Contingent
                                                                      Unliquidated
 marietta, GA, 30008                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3249
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 inman lee                                                           Check all that apply.
                                                                                                                      43.09
                                                                                                                     $________________________________
 1234 S WESTERN AVE, #118                                             Contingent
                                                                      Unliquidated
 Anaheim, CA, 92804-4774                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3250
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Inyez Soniat                                                        Check all that apply.
 2005 Hearthstone Dr.                                                 Contingent
                                                                      Unliquidated
 Carrollton, TX, 75010                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3251
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Irina Tskhomelidze                                                  Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 7402 Bay Parkway, Apt b2                                             Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11204                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3252
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             76.01
                                                                                                                     $________________________________
 irvin salinas                                                        Contingent
 32580 lake Bridgeport st                                             Unliquidated
                                                                      Disputed
 Fremont, CA, 94555
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3253
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Irvin Salinas                                                       Check all that apply.
 32580 Lake Bridgeport Street                                         Contingent
                                                                      Unliquidated
 Fremont, CA, 94555                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3254
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 IRVING CABEZAS                                                      Check all that apply.
                                                                                                                      193.94
                                                                                                                     $________________________________
 844 E E St, Colton                                                   Contingent
                                                                      Unliquidated
 Colton, CA, 92324                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3255
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.97
                                                                                                                     $________________________________
 Irwin Abraham                                                       Check all that apply.
 130-22 Rockaway Blvd.                                                Contingent
                                                                      Unliquidated
 South Ozone Park, NY, 11420                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3256
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Isa Haskologlu                                                      Check all that apply.
                                                                                                                       24.00
                                                                                                                     $________________________________
 625 Lehigh Road, C-06                                                Contingent
                                                                      Unliquidated
 NEWARK, DE, 19711                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3257
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Isaac Reyes                                                          Contingent
 1775 Milmont Drive, Apt.T312                                         Unliquidated
                                                                      Disputed
 Milpitas, CA, 95035
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3258
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.78
                                                                                                                     $________________________________
 Isaac Brenes                                                        Check all that apply.
 64 Caldwell Place, Apartment A                                       Contingent
                                                                      Unliquidated
 SPRINGFIELD, NJ, 07081-1714                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3259
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Isaac Burgess                                                       Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 1905 Jane Ann Ct.                                                    Contingent
                                                                      Unliquidated
 URBANA, IL, 61802                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3260
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.00
                                                                                                                     $________________________________
 ISAAC GIRON                                                         Check all that apply.
 25287 Moorland Road                                                  Contingent
                                                                      Unliquidated
 Moreno Valley, CA, 92551-1105                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3261
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Isaac Jacobo                                                        Check all that apply.
                                                                                                                       32.61
                                                                                                                     $________________________________
 100 Oldenburg Lane                                                   Contingent
                                                                      Unliquidated
 Norco, CA, 92860                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3262
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.97
                                                                                                                     $________________________________
 Isaac Johnson                                                        Contingent
 922 Artwood Road Northeast                                           Unliquidated
                                                                      Disputed
 Atlanta, GA, 30307
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3263
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.22
                                                                                                                     $________________________________
 Isaac Vargas                                                        Check all that apply.
 1423 Tampico Avenue                                                  Contingent
                                                                      Unliquidated
 Salinas, CA, 93906                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3264
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Isabel Briseno                                                      Check all that apply.
                                                                                                                      11.65
                                                                                                                     $________________________________
 1117 Cotton Street                                                   Contingent
                                                                      Unliquidated
 Reading, PA, 19602                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3265
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      91.57
                                                                                                                     $________________________________
 Isabel Lopez                                                        Check all that apply.
 901 E Washington St, 205                                             Contingent
                                                                      Unliquidated
 Colton, CA, 92324                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3266
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 isabela malave                                                      Check all that apply.
                                                                                                                       23.98
                                                                                                                     $________________________________
 154 Broome Street, 9c                                                Contingent
                                                                      Unliquidated
 New York, NY, 10002                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3267
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Isabella Burkhardt                                                   Contingent
 855 Noble st                                                         Unliquidated
                                                                      Disputed
 Indianapolis, IN, 46203
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3268
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       160.96
                                                                                                                     $________________________________
 Isabella Hanselman                                                  Check all that apply.
 101 Garfield Ave.,                                                   Contingent
                                                                      Unliquidated
 Cuyahoga Falls, OH, 44221                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3269
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Isabella Navas                                                      Check all that apply.
                                                                                                                      36.37
                                                                                                                     $________________________________
 10026 sw 163rd PL                                                    Contingent
                                                                      Unliquidated
 Miami, FL, 33196                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3270
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      40.92
                                                                                                                     $________________________________
 Isabella Olivarez                                                   Check all that apply.
 7809 Zenith Dr                                                       Contingent
                                                                      Unliquidated
 Citrus Heights, CA, 95621                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3271
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Isabelle Wray                                                       Check all that apply.
                                                                                                                       16.30
                                                                                                                     $________________________________
 10647 Main Street                                                    Contingent
                                                                      Unliquidated
 North Collins, NY, 14111                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  3272
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.67
                                                                                                                     $________________________________
 Isaiah Lozano                                                        Contingent
 7405 Sterling Ave Apt J77                                            Unliquidated
                                                                      Disputed
 San Bernardino, CA, 92410
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3273
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.05
                                                                                                                     $________________________________
 Isaiah Gonzalez                                                     Check all that apply.
 13340 Roosevelt Ave Apt 6H                                           Contingent
                                                                      Unliquidated
 FLUSHING, NY, 11354-5220                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3274
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Isaiah Maciel                                                       Check all that apply.
                                                                                                                      35.70
                                                                                                                     $________________________________
 2116 Setting Sun Drive, House                                        Contingent
                                                                      Unliquidated
 El Paso, TX, 79938                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3275
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8.99
                                                                                                                     $________________________________
 Isaiah Miller                                                       Check all that apply.
 3209 Charlesgate Ave SW                                              Contingent
                                                                      Unliquidated
 Wyoming, MI, 49509                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3276
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Isaiah Wilson                                                       Check all that apply.
                                                                                                                       126.78
                                                                                                                     $________________________________
 415 Howard Street, Apt 611                                           Contingent
                                                                      Unliquidated
 Evanston, IL, 60202                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  3277
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 Isaiah Wortham                                                       Contingent
 5711 W 92nd Ave APT 2                                                Unliquidated
                                                                      Disputed
 Westminster, CO, 80031-3012
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3278
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       119.98
                                                                                                                     $________________________________
 Isaias Cruz                                                         Check all that apply.
 12210 Flushing md. Dr                                                Contingent
                                                                      Unliquidated
 Houston, TX, 77089                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3279
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Isidro Perez                                                        Check all that apply.
                                                                                                                      42.01
                                                                                                                     $________________________________
 1538 East Adams Avenue, F                                            Contingent
                                                                      Unliquidated
 Orange, CA, 92867                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3280
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.89
                                                                                                                     $________________________________
 Isis Thickstun                                                      Check all that apply.
 7410 east rich st                                                    Contingent
                                                                      Unliquidated
 Reynoldsburg , OH, 43068                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3281
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ismael De La Cruz Jr                                                Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 8203 Academic Post                                                   Contingent
                                                                      Unliquidated
 San Antonio, TX, 78250                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3282
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.96
                                                                                                                     $________________________________
 Ismael Barron Barron                                                 Contingent
 711 Clay Street, Trlr #15                                            Unliquidated
                                                                      Disputed
 Cleveland, TX, 77327
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3283
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.98
                                                                                                                     $________________________________
 Ismael Candelas                                                     Check all that apply.
 413 Roan Ln                                                          Contingent
                                                                      Unliquidated
 Red Oak, TX, 75154                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3284
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Israel Sandoval                                                     Check all that apply.
                                                                                                                      104.50
                                                                                                                     $________________________________
 24400 Bostwick Dr.                                                   Contingent
                                                                      Unliquidated
 MORENO VALLEY, CA, 92553                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3285
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.99
                                                                                                                     $________________________________
 Israfel Torres-Ortiz                                                Check all that apply.
 Urb. Bella Vista Calle Rosa B7                                       Contingent
                                                                      Unliquidated
 Aibonito, PR, 00705-4103                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3286
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Issac Cerna                                                         Check all that apply.
                                                                                                                       50.01
                                                                                                                     $________________________________
 511 West Ocean Avenue, Apartment #b                                  Contingent
                                                                      Unliquidated
 Lompoc, CA, 93436                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3287
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Issac Rico                                                           Contingent
 2133 Lupin Street                                                    Unliquidated
                                                                      Disputed
 Simi Valley, CA, 93065
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3288
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.99
                                                                                                                     $________________________________
 Issac Silva                                                         Check all that apply.
 2122 Clairton Pl                                                     Contingent
                                                                      Unliquidated
 San Diego, CA, 92154                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3289
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Itzamara Vazquez                                                    Check all that apply.
                                                                                                                      27.84
                                                                                                                     $________________________________
 656 S 910 W, Unit 27                                                 Contingent
                                                                      Unliquidated
 Pleasant Grove, UT, 84062                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3290
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      80.09
                                                                                                                     $________________________________
 Ivan Alanis                                                         Check all that apply.
 1016 Fieldwood Dr, Unit B                                            Contingent
                                                                      Unliquidated
 Austin, TX, 78758                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3291
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ivan Castro                                                         Check all that apply.
                                                                                                                       128.39
                                                                                                                     $________________________________
 7730 Southwest 47 Lane                                               Contingent
                                                                      Unliquidated
 Gainesville, FL, 32608                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3292
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             422.98
                                                                                                                     $________________________________
 Ivan Corona                                                          Contingent
 1687 north durward st.                                               Unliquidated
                                                                      Disputed
 Banning, CA, 92220
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3293
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.51
                                                                                                                     $________________________________
 IVAN DAVILA                                                         Check all that apply.
 2 Birch Hill Lane                                                    Contingent
                                                                      Unliquidated
 Kent, CT, 6757                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3294
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ivan Garcia                                                         Check all that apply.
                                                                                                                      48.97
                                                                                                                     $________________________________
 Diciembre 2113 Dr, Hogar                                             Contingent
                                                                      Unliquidated
 El Paso, TX, 79935                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3295
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                     $________________________________
 Ivan Luna                                                           Check all that apply.
 4359 Benham Avenue Southeast                                         Contingent
                                                                      Unliquidated
 Salem, OR, 97317                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3296
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ivan Rivera JR                                                      Check all that apply.
                                                                                                                       12.83
                                                                                                                     $________________________________
 215 Longbridge Way                                                   Contingent
                                                                      Unliquidated
 Perry, GA, 31069                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3297
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             85.00
                                                                                                                     $________________________________
 Ivan Sandoval                                                        Contingent
 221 Alamo st                                                         Unliquidated
                                                                      Disputed
 SULLIVAN CITY, TX, 78595
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3298
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       229.99
                                                                                                                     $________________________________
 Ivan Wong                                                           Check all that apply.
 18 Augusta Ave                                                       Contingent
                                                                      Unliquidated
 Edison, NJ, 8820                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3299
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ivette Castro                                                       Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 1221 Huntsmoor Drive                                                 Contingent
                                                                      Unliquidated
 Gastonia, NC, 28054                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3300
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      18.99
                                                                                                                     $________________________________
 Ivonne Zavala                                                       Check all that apply.
 6623 San Miguel St.                                                  Contingent
                                                                      Unliquidated
 Paramount, CA, 90723                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3301
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ixchel Ochoa                                                        Check all that apply.
                                                                                                                       11.84
                                                                                                                     $________________________________
 131 ALVERSON RD, APT 36                                              Contingent
                                                                      Unliquidated
 SAN YSIDRO, CA, 92173                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  3302
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.35
                                                                                                                     $________________________________
 Ixzamara Sopon                                                       Contingent
 239 BushTail Dr, Apt, suite, floor, etc.                             Unliquidated
                                                                      Disputed
 New Braunfels, TX, 78130
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3303
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.49
                                                                                                                     $________________________________
 Izabela Lokiec                                                      Check all that apply.
 8309 Washington blvd., Apt. i                                        Contingent
                                                                      Unliquidated
 Washington , MI, 48094                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3304
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JM                                                                  Check all that apply.
                                                                                                                      34.05
                                                                                                                     $________________________________
 123 Edison Avenue                                                    Contingent
                                                                      Unliquidated
 South San Francisco, CA, 94080                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3305
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.77
                                                                                                                     $________________________________
 J. Taylor                                                           Check all that apply.
 1111 jefferson davis drive                                           Contingent
                                                                      Unliquidated
 Bogalusa, LA, 70427                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3306
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 J.P. Valente                                                        Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 238 SUSSEX RD                                                        Contingent
                                                                      Unliquidated
 WOOD RIDGE, NJ, 7075                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  3307
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             34.99
                                                                                                                       $________________________________
 JABER W ALEIDAN                                                        Contingent
 Sabah Al-Salem, Block 4, Street 29, House 31                           Unliquidated
                                                                        Disputed
 Kuwait City, 44004
                                                                       Basis for the claim: Customers with Outstanding Deposits



                                                                       Is the claim subject to offset?
         Date or dates debt was incurred        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
         Last 4 digits of account number        ___________________
  3308
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         159.51
                                                                                                                       $________________________________
 Jabril Portillo                                                       Check all that apply.
 15 Greenwich Ave Unit 2                                                Contingent
                                                                        Unliquidated
 Stamford, CT, 06902-5033                                               Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  3309
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Jack Ajubita                                                          Check all that apply.
                                                                                                                        95.00
                                                                                                                       $________________________________
 65 Woodlake Blvd.                                                      Contingent
                                                                        Unliquidated
 Kenner, LA, 70065                                                      Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  3310
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        89.94
                                                                                                                       $________________________________
 Jack C. Christmann                                                    Check all that apply.
 1178 Highland Road                                                     Contingent
                                                                        Unliquidated
 Mundelein, IL, 60060                                                   Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes
  3311
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Jack Fruge                                                            Check all that apply.
                                                                                                                         42.87
                                                                                                                       $________________________________
 524 hensgens Rd                                                        Contingent
                                                                        Unliquidated
 Crowley, LA, 70526                                                     Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3312
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             129.99
                                                                                                                     $________________________________
 Jack Gluckman                                                        Contingent
 3 Grandin Lane                                                       Unliquidated
                                                                      Disputed
 Cincinnati, OH, 45208
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3313
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.99
                                                                                                                     $________________________________
 Jack Hate                                                           Check all that apply.
 539 Brigham Trail                                                    Contingent
                                                                      Unliquidated
 Augusta, GA, 30909                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3314
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jack Lechelt                                                        Check all that apply.
                                                                                                                      257.96
                                                                                                                     $________________________________
 1206 South Sunnyvale Drive                                           Contingent
                                                                      Unliquidated
 Kennewick, WA, 99338                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3315
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                     $________________________________
 Jack Leyva                                                          Check all that apply.
 1995 Padding River Rd.                                               Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91913                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3316
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jack Livingston                                                     Check all that apply.
                                                                                                                       37.61
                                                                                                                     $________________________________
 182 s monroe atreet, Apt 5                                           Contingent
                                                                      Unliquidated
 Tiffin, OH, 44883                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3317
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.99
                                                                                                                     $________________________________
 Jack Massad                                                          Contingent
 6112 Kenwood Avenue                                                  Unliquidated
                                                                      Disputed
 Dallas, TX, 75214
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3318
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.99
                                                                                                                     $________________________________
 Jack Rabin                                                          Check all that apply.
 330 E Hudson St.                                                     Contingent
                                                                      Unliquidated
 Long Beach, NY, 11561                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3319
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jack Regan                                                          Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 31209 sleepy Hollow lane                                             Contingent
                                                                      Unliquidated
 Beverly Hills, MI, 48025                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3320
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      354.63
                                                                                                                     $________________________________
 Jack Shultz                                                         Check all that apply.
 562 Belle Meade Farm Drive                                           Contingent
                                                                      Unliquidated
 Loveland, OH, 45140                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3321
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jack Vartuli                                                        Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 29 Northridge Road                                                   Contingent
                                                                      Unliquidated
 OLD GREENWICH, CT, 6870                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3322
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.74
                                                                                                                     $________________________________
 Jackelyne Reyes                                                      Contingent
 231 montana                                                          Unliquidated
                                                                      Disputed
 San francisco, CA, 94112-2951
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3323
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.28
                                                                                                                     $________________________________
 Jackie Alarid                                                       Check all that apply.
 5773 East 143rd Court                                                Contingent
                                                                      Unliquidated
 Thornton, CO, 80602                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3324
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jackie Benton                                                       Check all that apply.
                                                                                                                      6.99
                                                                                                                     $________________________________
 130 Bowman Loop                                                      Contingent
                                                                      Unliquidated
 Beech Bluff, TN, 38313                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3325
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                     $________________________________
 Jackie Ching                                                        Check all that apply.
 83 Diablo View Drive                                                 Contingent
                                                                      Unliquidated
 Orinda, CA, 94563                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3326
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jackie stoller                                                      Check all that apply.
                                                                                                                       12.83
                                                                                                                     $________________________________
 364 Belmont Ct                                                       Contingent
                                                                      Unliquidated
 Lebanon, OH, 45036                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3327
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.61
                                                                                                                     $________________________________
 Jacklyn Hart                                                         Contingent
 44 Dorwin Drive                                                      Unliquidated
                                                                      Disputed
 West Springfield, MA, 1089
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3328
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Jackson Bova                                                        Check all that apply.
 670 Wall avenue                                                      Contingent
                                                                      Unliquidated
 PITCAIRN, PA, 15140                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3329
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jackson Richter                                                     Check all that apply.
                                                                                                                      55.98
                                                                                                                     $________________________________
 10228 Deerhollow Lane                                                Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45252                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3330
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Jackson Tang                                                        Check all that apply.
 4249 Callan Blvd                                                     Contingent
                                                                      Unliquidated
 Daly City, CA, 94015                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3331
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jackson Wright                                                      Check all that apply.
                                                                                                                       14.04
                                                                                                                     $________________________________
 44 W CAMINO PRESIDIO QUEMADO                                         Contingent
                                                                      Unliquidated
 SAHUARITA, AZ, 85629                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3332
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             71.98
                                                                                                                     $________________________________
 Jaclyn Lewis                                                         Contingent
 7115 Shadow Run                                                      Unliquidated
                                                                      Disputed
 San Antonio, TX, 78250-3494
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3333
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.18
                                                                                                                     $________________________________
 Jaclyn Moldawsky                                                    Check all that apply.
 5 Harold Terrace                                                     Contingent
                                                                      Unliquidated
 Towaco, NJ, 7082                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3334
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacob Silva                                                         Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 762 Callecita Aquilla Sur                                            Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91911                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3335
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.18
                                                                                                                     $________________________________
 Jacob Abbott                                                        Check all that apply.
 555 South Galleria Way, Unit 460                                     Contingent
                                                                      Unliquidated
 Chandler, AZ, 85226                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3336
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacob Baides                                                        Check all that apply.
                                                                                                                       75.85
                                                                                                                     $________________________________
 2806 Watson Ct                                                       Contingent
                                                                      Unliquidated
 Fairfield, CA, 94534                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3337
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.90
                                                                                                                     $________________________________
 Jacob Colbert                                                        Contingent
 416 Church Street                                                    Unliquidated
                                                                      Disputed
 Farmville, VA, 23901
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3338
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       314.56
                                                                                                                     $________________________________
 Jacob Esquivel                                                      Check all that apply.
 11219 Forest Grove St.                                               Contingent
                                                                      Unliquidated
 El Monte, CA, 91731                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3339
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacob Ferderigos                                                    Check all that apply.
                                                                                                                      84.99
                                                                                                                     $________________________________
 150 E Robinson St, APT 2405                                          Contingent
                                                                      Unliquidated
 Orlando, FL, 32801                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3340
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      189.99
                                                                                                                     $________________________________
 Jacob Frederick                                                     Check all that apply.
 721 Chandon Dr                                                       Contingent
                                                                      Unliquidated
 Merced, CA, 95348                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3341
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacob Hansen                                                        Check all that apply.
                                                                                                                       114.95
                                                                                                                     $________________________________
 930 YALE AVE                                                         Contingent
                                                                      Unliquidated
 GLADSTONE, OR, 97027                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3342
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             34.97
                                                                                                                      $________________________________
 Jacob Harmon                                                          Contingent
 3910 Stony Brook Dr                                                   Unliquidated
                                                                       Disputed
 Louisville, KY, 40299
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  3343
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        52.77
                                                                                                                      $________________________________
 Jacob Hecht                                                          Check all that apply.
 35888 Weiss Road                                                      Contingent
                                                                       Unliquidated
 Walker, LA, 70785                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  3344
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Jacob Hill                                                           Check all that apply.
                                                                                                                       43.29
                                                                                                                      $________________________________
 7204 PARK WEST CIR apt 106                                            Contingent
                                                                       Unliquidated
 FORT WORTH, TX, 76134                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  3345
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       41.94
                                                                                                                      $________________________________
 Jacob Hoffner                                                        Check all that apply.
 616 Iron Street                                                       Contingent
                                                                       Unliquidated
 Lehighton, PA, 18235                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  3346
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Jacob Holguin                                                        Check all that apply.
                                                                                                                        187.46
                                                                                                                      $________________________________
 625 West Baker Avenue                                                 Contingent
                                                                       Unliquidated
 Fullerton, CA, 92832                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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  3347
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.31
                                                                                                                     $________________________________
 Jacob Horner                                                         Contingent
 44 S. Main St                                                        Unliquidated
                                                                      Disputed
 Mullica Hill, NJ, 8062
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3348
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.61
                                                                                                                     $________________________________
 Jacob Hoskinson                                                     Check all that apply.
 302 Cliffwood Hill Way                                               Contingent
                                                                      Unliquidated
 Louisville, KY, 40206                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3349
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacob Kaine                                                         Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 4708 Waxwing Dr                                                      Contingent
                                                                      Unliquidated
 Arlington, TX, 76018-1266                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3350
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Jacob Kirk                                                          Check all that apply.
 5811 Wollochet Drive Northwest                                       Contingent
                                                                      Unliquidated
 Gig Harbor, WA, 98335                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3351
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacob Luvaas                                                        Check all that apply.
                                                                                                                       18.45
                                                                                                                     $________________________________
 227 University Dr, 127                                               Contingent
                                                                      Unliquidated
 Richland, WA, 99354                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3352
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             67.05
                                                                                                                     $________________________________
 Jacob Montoya                                                        Contingent
 909 Weinberger Trace Dr                                              Unliquidated
                                                                      Disputed
 Ponchatoula, LA, 70454
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3353
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       95.39
                                                                                                                     $________________________________
 Jacob Ofarrell                                                      Check all that apply.
 15209 Hanover Avenue                                                 Contingent
                                                                      Unliquidated
 Allen Park, MI, 48101                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3354
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacob Peterson                                                      Check all that apply.
                                                                                                                      62.36
                                                                                                                     $________________________________
 3812 46th ave n                                                      Contingent
                                                                      Unliquidated
 robbinsdale, MN, 55422                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3355
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.43
                                                                                                                     $________________________________
 Jacob Plants                                                        Check all that apply.
 97 Ebbert Road                                                       Contingent
                                                                      Unliquidated
 West Alexander, PA, 15376                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3356
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacob Proctor                                                       Check all that apply.
                                                                                                                       5.99
                                                                                                                     $________________________________
 3301 Irish Road                                                      Contingent
                                                                      Unliquidated
 Chatham, VA, 24531                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3357
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Jacob Queen                                                          Contingent
 2007 N TRAVIS AVE                                                    Unliquidated
                                                                      Disputed
 SPRINGFIELD, MO, 65803-3242
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3358
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       70.43
                                                                                                                     $________________________________
 Jacob Saldana                                                       Check all that apply.
 27 Adams dr.                                                         Contingent
                                                                      Unliquidated
 Stony point, NY, 10980-1022                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3359
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacob Schultz                                                       Check all that apply.
                                                                                                                      26.92
                                                                                                                     $________________________________
 3061 Corte Portofino                                                 Contingent
                                                                      Unliquidated
 Newport Beach, CA, 92660                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3360
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      321.36
                                                                                                                     $________________________________
 Jacob Sellner                                                       Check all that apply.
 412 s state street                                                   Contingent
                                                                      Unliquidated
 New Ulm, MN, 56073                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3361
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacob Streif                                                        Check all that apply.
                                                                                                                       223.64
                                                                                                                     $________________________________
 11409 Sunset Trail                                                   Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55441                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3362
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             89.77
                                                                                                                     $________________________________
 Jacob Watkins                                                        Contingent
 6432 York Boulevard                                                  Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90042
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3363
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       72.72
                                                                                                                     $________________________________
 Jacob Wittry                                                        Check all that apply.
 1208 Southfield Drive                                                Contingent
                                                                      Unliquidated
 Jefferson, IA, 50129                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3364
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacobo Salazar                                                      Check all that apply.
                                                                                                                      21.51
                                                                                                                     $________________________________
 2419 Spruce Street                                                   Contingent
                                                                      Unliquidated
 Pueblo, CO, 81004                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3365
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.59
                                                                                                                     $________________________________
 Jacque Troy                                                         Check all that apply.
 3247 South Herman Street                                             Contingent
                                                                      Unliquidated
 Milwaukee, WI, 53207                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3366
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacqueline Brefczynski                                              Check all that apply.
                                                                                                                       28.68
                                                                                                                     $________________________________
 1560 Dempster St., Apt. #101                                         Contingent
                                                                      Unliquidated
 Mount Prospect, IL, 60056                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3367
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             66.14
                                                                                                                     $________________________________
 Jacqueline Kennedy                                                   Contingent
 2531 S 56TH CT                                                       Unliquidated
                                                                      Disputed
 CICERO, IL, 60804
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3368
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Jacqueline Kerth                                                    Check all that apply.
 624 Frazier Court                                                    Contingent
                                                                      Unliquidated
 Wheaton, IL, 60189                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3369
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jacqueline Thomas                                                   Check all that apply.
                                                                                                                      34.99
                                                                                                                     $________________________________
 PO Box 2065                                                          Contingent
                                                                      Unliquidated
 Gainesville, TX, 76241                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3370
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Jada Thai                                                           Check all that apply.
 9536 Glen Iris Street                                                Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89123                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3371
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jade Cangiamilla                                                    Check all that apply.
                                                                                                                       29.98
                                                                                                                     $________________________________
 1432 Inspiration Dr                                                  Contingent
                                                                      Unliquidated
 Modesto, CA, 95357-0881                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3372
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.09
                                                                                                                     $________________________________
 Jade Inglada                                                         Contingent
 11200 Jackson Avenue                                                 Unliquidated
                                                                      Disputed
 Lynwood, CA, 90262
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3373
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.07
                                                                                                                     $________________________________
 Jaden Barney                                                        Check all that apply.
 2214 Oakwood Dr                                                      Contingent
                                                                      Unliquidated
 East Palo Alto, CA, 94303                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3374
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jaden Goldsby                                                       Check all that apply.
                                                                                                                      29.08
                                                                                                                     $________________________________
 1080 Broken Spoke Ln                                                 Contingent
                                                                      Unliquidated
 Roseville, CA, 95747                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3375
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      84.99
                                                                                                                     $________________________________
 Jaden Robbins                                                       Check all that apply.
 1908 Northwest Liberty Avenue                                        Contingent
                                                                      Unliquidated
 Lawton, OK, 73507                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3376
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jadezia elias                                                       Check all that apply.
                                                                                                                       26.49
                                                                                                                     $________________________________
 292 Brodhead Avenue                                                  Contingent
                                                                      Unliquidated
 East Stroudsburg, PA, 18301                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3377
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.28
                                                                                                                     $________________________________
 Jadith Sanchez                                                       Contingent
 2502 N 51st Dr                                                       Unliquidated
                                                                      Disputed
 Phoenix, AZ, 85035-1902
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3378
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       33.99
                                                                                                                     $________________________________
 Jadon Quintiliano                                                   Check all that apply.
 24 sessions                                                          Contingent
                                                                      Unliquidated
 Bexley, OH, 43209                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3379
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jaeli Loja                                                          Check all that apply.
                                                                                                                      27.99
                                                                                                                     $________________________________
 37 Woodcrest Ave                                                     Contingent
                                                                      Unliquidated
 West Harrison, NY, 10604                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3380
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.46
                                                                                                                     $________________________________
 Jaesun Bowman                                                       Check all that apply.
 612 East Rosedale Street, Apt A                                      Contingent
                                                                      Unliquidated
 Sherman, TX, 75090                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3381
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jahrie Harrell                                                      Check all that apply.
                                                                                                                       44.92
                                                                                                                     $________________________________
 190 linclon street # 259                                             Contingent
                                                                      Unliquidated
 Badin, NC, 28009                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3382
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.85
                                                                                                                     $________________________________
 Jahvon Ryan                                                          Contingent
 392 Norfolk St, Apt 2                                                Unliquidated
                                                                      Disputed
 Dorchester, MA, 2124
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3383
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.98
                                                                                                                     $________________________________
 Jaidah Miles                                                        Check all that apply.
 1-10 Astoria Blvd, Apt 3D                                            Contingent
                                                                      Unliquidated
 Astoria, NY, 11102                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3384
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jaide Wug-Caal                                                      Check all that apply.
                                                                                                                      64.99
                                                                                                                     $________________________________
 4508 West Wrightwood Avenue                                          Contingent
                                                                      Unliquidated
 Chicago, IL, 60639                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3385
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.98
                                                                                                                     $________________________________
 JAIME GARCIA                                                        Check all that apply.
 409 Fairmont ave                                                     Contingent
                                                                      Unliquidated
 Lockport, IL, 60441                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3386
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jaime Lopez                                                         Check all that apply.
                                                                                                                       75.05
                                                                                                                     $________________________________
 2964 West Washington Street                                          Contingent
                                                                      Unliquidated
 Lincoln, NE, 68522                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3387
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.25
                                                                                                                     $________________________________
 Jaime Martinez                                                       Contingent
 16086 Ivy Ave                                                        Unliquidated
                                                                      Disputed
 Fontana, CA, 92335
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3388
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       170.89
                                                                                                                     $________________________________
 Jaime Martinez                                                      Check all that apply.
 38000 17st E. Apt # 6                                                Contingent
                                                                      Unliquidated
 Palmdale, CA, 93550                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3389
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jaime Rodriguez                                                     Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 1920 East Price Street, Unit #1                                      Contingent
                                                                      Unliquidated
 Laredo, TX, 78043                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3390
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.99
                                                                                                                     $________________________________
 Jaime Roman                                                         Check all that apply.
 38 Hileen Dr                                                         Contingent
                                                                      Unliquidated
 Kings Park, NY, 11754                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3391
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jaimelyn Mamaril                                                    Check all that apply.
                                                                                                                       31.40
                                                                                                                     $________________________________
 987 Queen Street, 208                                                Contingent
                                                                      Unliquidated
 Honolulu, HI, 96814                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3392
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             196.21
                                                                                                                     $________________________________
 Jairo Vidales                                                        Contingent
 112 Spruce St                                                        Unliquidated
                                                                      Disputed
 Red Oak, TX, 75154
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3393
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       68.98
                                                                                                                     $________________________________
 Jake C                                                              Check all that apply.
 109 Forest Oaks Dr                                                   Contingent
                                                                      Unliquidated
 Goodlettsville, TN, 37072-8841                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3394
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jake Johnson                                                        Check all that apply.
                                                                                                                      61.96
                                                                                                                     $________________________________
 1810, kings crossing                                                 Contingent
                                                                      Unliquidated
 Edmond, OK, 73013                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3395
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.97
                                                                                                                     $________________________________
 Jake Kranz                                                          Check all that apply.
 208 N Lewis St                                                       Contingent
                                                                      Unliquidated
 Saline, MI, 48176-1148                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3396
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jake Lammers                                                        Check all that apply.
                                                                                                                       16.16
                                                                                                                     $________________________________
 3011 Murdock Ave                                                     Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45205                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3397
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.53
                                                                                                                     $________________________________
 Jake Landry                                                          Contingent
 405 ORLEANS AVE                                                      Unliquidated
                                                                      Disputed
 NEW IBERIA, LA, 70563
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3398
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.07
                                                                                                                     $________________________________
 Jake McCauley                                                       Check all that apply.
 1706 98th Ave SE                                                     Contingent
                                                                      Unliquidated
 Lake Stevens, WA, 98258                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3399
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jake Mckinna                                                        Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 140 Thompson st., 21A                                                Contingent
                                                                      Unliquidated
 East Haven, CT, 6513                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3400
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      365.94
                                                                                                                     $________________________________
 Jake Nowak                                                          Check all that apply.
 3114 North 97th Street, Apt 134                                      Contingent
                                                                      Unliquidated
 Omaha, NE, 68134                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3401
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jake Penko                                                          Check all that apply.
                                                                                                                       24.82
                                                                                                                     $________________________________
 7816 McCreary Road                                                   Contingent
                                                                      Unliquidated
 Seven Hills, OH, 44131                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3402
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.15
                                                                                                                     $________________________________
 Jake Rees                                                            Contingent
 7037 Edgecliff Drive                                                 Unliquidated
                                                                      Disputed
 Parma, OH, 44134
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3403
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.76
                                                                                                                     $________________________________
 Jake Rubinsky                                                       Check all that apply.
 275 West End Avenue                                                  Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11235                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3404
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jake Son                                                            Check all that apply.
                                                                                                                      25.26
                                                                                                                     $________________________________
 501 Sunridge Dr, Apt T                                               Contingent
                                                                      Unliquidated
 BLACKSBURG, VA, 24060-3287                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3405
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.21
                                                                                                                     $________________________________
 Jakob Steele                                                        Check all that apply.
 21393 I-35 saddle creek apartments, 905                              Contingent
                                                                      Unliquidated
 Kyle, TX, 78640                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3406
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jamal Blackwell                                                     Check all that apply.
                                                                                                                       14.06
                                                                                                                     $________________________________
 202 Brushy Creek Trail                                               Contingent
                                                                      Unliquidated
 Hutto, TX, 78634                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3407
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.97
                                                                                                                     $________________________________
 James Weaver                                                         Contingent
 1277 Gatewood Dr                                                     Unliquidated
                                                                      Disputed
 Lawrenceville, GA, 30043
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3408
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.99
                                                                                                                     $________________________________
 James A Ugarte                                                      Check all that apply.
 130 green valley rd                                                  Contingent
                                                                      Unliquidated
 staten Island, NY, 10312                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3409
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Acosta                                                        Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 1640 S SUNSET AVE., Apt. 04                                          Contingent
                                                                      Unliquidated
 WEST COVINA, CA, 91790                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3410
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.00
                                                                                                                     $________________________________
 James Benoit                                                        Check all that apply.
 9 Eileen Ct                                                          Contingent
                                                                      Unliquidated
 Wharton, NJ, 07885-2524                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3411
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Bergstrom Jr                                                  Check all that apply.
                                                                                                                       27.40
                                                                                                                     $________________________________
 17618 71st Ct Apt 1N                                                 Contingent
                                                                      Unliquidated
 Tinley Park, IL, 60477-3893                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3412
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             16.99
                                                                                                                     $________________________________
 James Childers                                                       Contingent
 464 Chardonnay Ct                                                    Unliquidated
                                                                      Disputed
 San Marcos, CA, 92069
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3413
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 James Chuong                                                        Check all that apply.
 59 Madrone Avenue                                                    Contingent
                                                                      Unliquidated
 San Francisco, CA, 94127                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3414
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Corea                                                         Check all that apply.
                                                                                                                      69.30
                                                                                                                     $________________________________
 47A Wavecrest Avenue                                                 Contingent
                                                                      Unliquidated
 Winfield, NJ, 7036                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3415
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      54.98
                                                                                                                     $________________________________
 james crawford                                                      Check all that apply.
 2837 S Monte Cristo Way                                              Contingent
                                                                      Unliquidated
 las vegas, NV, 89117                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3416
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Dawson                                                        Check all that apply.
                                                                                                                       8.99
                                                                                                                     $________________________________
 1400 College Ave, Apt B                                              Contingent
                                                                      Unliquidated
 Fredericksburg, VA, 22401                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3417
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 James Dracoules                                                      Contingent
 2815 Filbert Ave                                                     Unliquidated
                                                                      Disputed
 Reading, PA, 19606
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3418
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 James Dyer                                                          Check all that apply.
 313 Portico Drive                                                    Contingent
                                                                      Unliquidated
 Chesterfield, MO, 63017                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3419
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Eagle                                                         Check all that apply.
                                                                                                                      248.22
                                                                                                                     $________________________________
 953 Francis st                                                       Contingent
                                                                      Unliquidated
 west palm beach, FL, 33405-2413                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3420
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.99
                                                                                                                     $________________________________
 James Favors                                                        Check all that apply.
 1302 Fox Glen Trl                                                    Contingent
                                                                      Unliquidated
 Mansfield, TX, 76063                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3421
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Fung                                                          Check all that apply.
                                                                                                                       79.98
                                                                                                                     $________________________________
 2416 84th St                                                         Contingent
                                                                      Unliquidated
 BROOKLYN, NY, 11214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3422
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             119.99
                                                                                                                     $________________________________
 James Furrh                                                          Contingent
 422 Fairfield Drive                                                  Unliquidated
                                                                      Disputed
 Madison, MS, 39110
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3423
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       33.67
                                                                                                                     $________________________________
 James Gill                                                          Check all that apply.
 842 Ardmore Pl                                                       Contingent
                                                                      Unliquidated
 Bellmore, NY, 11710                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3424
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Gonzalez                                                      Check all that apply.
                                                                                                                      34.99
                                                                                                                     $________________________________
 682 Clearview Dr                                                     Contingent
                                                                      Unliquidated
 Long Pond, PA, 18334-7736                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3425
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 James Gross                                                         Check all that apply.
 46 N Mason Ave                                                       Contingent
                                                                      Unliquidated
 Amboy, IL, 61310                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3426
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Hancock                                                       Check all that apply.
                                                                                                                       47.99
                                                                                                                     $________________________________
 16230 SW Black Bird St                                               Contingent
                                                                      Unliquidated
 Beaverton, OR, 97007-8963                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3427
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             82.99
                                                                                                                     $________________________________
 James Harris                                                         Contingent
 9552 Covington Place                                                 Unliquidated
                                                                      Disputed
 Manassas, VA, 20109
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3428
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.98
                                                                                                                     $________________________________
 James Haught                                                        Check all that apply.
 32337 Elmwood St                                                     Contingent
                                                                      Unliquidated
 Garden city, MI, 48135-1516                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3429
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Hicks                                                         Check all that apply.
                                                                                                                      65.16
                                                                                                                     $________________________________
 11 Glen Hollow Dr., Apt. D7                                          Contingent
                                                                      Unliquidated
 Holtsville, NY, 11742                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3430
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      738.63
                                                                                                                     $________________________________
 James Kwan                                                          Check all that apply.
 839 Catalpa Drive                                                    Contingent
                                                                      Unliquidated
 Franklin Square, NY, 11010                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3431
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Laba                                                          Check all that apply.
                                                                                                                       108.11
                                                                                                                     $________________________________
 24405 Orangelawn                                                     Contingent
                                                                      Unliquidated
 Redford, MI, 48239                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3432
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             71.96
                                                                                                                     $________________________________
 James Loving                                                         Contingent
 2103 Promontory Pt                                                   Unliquidated
                                                                      Disputed
 Plano, TX, 75075-3548
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3433
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 James Lucas                                                         Check all that apply.
 3901 N 24th St                                                       Contingent
                                                                      Unliquidated
 Milwaukee, WI, 53206                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3434
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Luckey                                                        Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 8 Christopher arms                                                   Contingent
                                                                      Unliquidated
 Pittsfield, MA, 1201                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3435
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      87.98
                                                                                                                     $________________________________
 James Matthews                                                      Check all that apply.
 10401 Mauretania Cir                                                 Contingent
                                                                      Unliquidated
 Huntington Beach, CA, 92646                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3436
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James McIntyre                                                      Check all that apply.
                                                                                                                       26.04
                                                                                                                     $________________________________
 2218 East 56th Place                                                 Contingent
                                                                      Unliquidated
 Tulsa, OK, 74105                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3437
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 James Miller                                                         Contingent
 304 Melody Lane                                                      Unliquidated
                                                                      Disputed
 Mattoon, IL, 61938
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3438
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.98
                                                                                                                     $________________________________
 James Morales                                                       Check all that apply.
 12 Village Grn                                                       Contingent
                                                                      Unliquidated
 Colonia, NJ, 7067                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3439
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Murry                                                         Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 4075 Filbert AVE NE                                                  Contingent
                                                                      Unliquidated
 Keizer, OR, 97303                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3440
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 James Napoli                                                        Check all that apply.
 20 Oliver Place                                                      Contingent
                                                                      Unliquidated
 Staten Island, NY, 10314                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3441
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Nelson                                                        Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 229 1/2 Spruce St.                                                   Contingent
                                                                      Unliquidated
 Ridgway, PA, 15853                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3442
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.99
                                                                                                                     $________________________________
 James Newsome                                                        Contingent
 7520 Ashcroft Circle                                                 Unliquidated
                                                                      Disputed
 Fort Worth, TX, 76120
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3443
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.08
                                                                                                                     $________________________________
 James O'Connor                                                      Check all that apply.
 14221 luray road rd                                                  Contingent
                                                                      Unliquidated
 southwest ranches, FL, 33330                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3444
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James pas jr                                                        Check all that apply.
                                                                                                                      21.28
                                                                                                                     $________________________________
 137 Arenas Valley Rd                                                 Contingent
                                                                      Unliquidated
 Arenas Valley, NM, 88022                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3445
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.42
                                                                                                                     $________________________________
 James Perri                                                         Check all that apply.
 801 W Covina Boulevard SPC 145                                       Contingent
                                                                      Unliquidated
 San Dimas, CA, 91773                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3446
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Pinkerton                                                     Check all that apply.
                                                                                                                       167.96
                                                                                                                     $________________________________
 3049 W Walden Dr                                                     Contingent
                                                                      Unliquidated
 Anthem, AZ, 85086                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3447
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.05
                                                                                                                     $________________________________
 James Ragan                                                          Contingent
 9416 Silverthorn Dr                                                  Unliquidated
                                                                      Disputed
 Waco, TX, 76708
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3448
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.99
                                                                                                                     $________________________________
 James Ramirez                                                       Check all that apply.
 10406 W Haskell St                                                   Contingent
                                                                      Unliquidated
 Wichita, KS, 67209-3036                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3449
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Rider                                                         Check all that apply.
                                                                                                                      61.09
                                                                                                                     $________________________________
 100 El Rayo St                                                       Contingent
                                                                      Unliquidated
 Los Alamos, NM, 87544                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3450
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 James Robbins                                                       Check all that apply.
 105 Gilbertville rd                                                  Contingent
                                                                      Unliquidated
 ware, MA, 1082                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3451
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Romp                                                          Check all that apply.
                                                                                                                       59.95
                                                                                                                     $________________________________
 1633 Lebanon                                                         Contingent
                                                                      Unliquidated
 Toledo, OH, 43605                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3452
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.31
                                                                                                                     $________________________________
 James Rosario                                                        Contingent
 31 Vernon Terrace                                                    Unliquidated
                                                                      Disputed
 East Orange, NJ, 7017
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3453
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.99
                                                                                                                     $________________________________
 James Rout, III                                                     Check all that apply.
 1015 Snowden Farm Road                                               Contingent
                                                                      Unliquidated
 Collierville, TN, 38017                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3454
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Sandoval                                                      Check all that apply.
                                                                                                                      51.81
                                                                                                                     $________________________________
 4520 Bryant St                                                       Contingent
                                                                      Unliquidated
 Denver, CO, 80211                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3455
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      139.99
                                                                                                                     $________________________________
 James Scannell                                                      Check all that apply.
 2921 Winding Trail Drive                                             Contingent
                                                                      Unliquidated
 Valrico, FL, 33596                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3456
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 james sherlock                                                      Check all that apply.
                                                                                                                       8.99
                                                                                                                     $________________________________
 4708 bridgewater club loop                                           Contingent
                                                                      Unliquidated
 springhill, FL, 34607                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3457
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             89.67
                                                                                                                     $________________________________
 JAMES SISON                                                          Contingent
 24900 Santa Clara Street, Apt 60                                     Unliquidated
                                                                      Disputed
 Hayward, CA, 94544
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3458
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       252.99
                                                                                                                     $________________________________
 James States                                                        Check all that apply.
 1508 1st ave                                                         Contingent
                                                                      Unliquidated
 Wilmington, DE, 19805                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3459
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Stewart                                                       Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 PO Box 993                                                           Contingent
                                                                      Unliquidated
 East Troy, WI, 53120-0993                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3460
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      79.93
                                                                                                                     $________________________________
 James Thomas                                                        Check all that apply.
 58 Campbell Avenue                                                   Contingent
                                                                      Unliquidated
 Clifton, NJ, 7013                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3461
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Townsley                                                      Check all that apply.
                                                                                                                       49.99
                                                                                                                     $________________________________
 38 Houston Lane                                                      Contingent
                                                                      Unliquidated
 Staten Island, NY, 10302                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3462
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             149.26
                                                                                                                     $________________________________
 James Tyminski                                                       Contingent
 130 West 9th Street                                                  Unliquidated
                                                                      Disputed
 Bayonne, NJ, 7002
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3463
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       104.98
                                                                                                                     $________________________________
 James Vanwasshenova                                                 Check all that apply.
 302 Baptiste Avenue                                                  Contingent
                                                                      Unliquidated
 Monroe, MI, 48162                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3464
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Verespej                                                      Check all that apply.
                                                                                                                      77.99
                                                                                                                     $________________________________
 140 Taylor Street                                                    Contingent
                                                                      Unliquidated
 Talent, OR, 97540                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3465
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      116.59
                                                                                                                     $________________________________
 James Walsh                                                         Check all that apply.
 1401 North Taft St, Apt 1327                                         Contingent
                                                                      Unliquidated
 Arlington, VA, 22201                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3466
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James Weatherford                                                   Check all that apply.
                                                                                                                       16.04
                                                                                                                     $________________________________
 732 chaparral dr                                                     Contingent
                                                                      Unliquidated
 Lakeland, FL, 33815-4130                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3467
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.20
                                                                                                                     $________________________________
 James Whirlwind Horse                                                Contingent
 124 Little Wound Drive                                               Unliquidated
                                                                      Disputed
 Kyle, SD, 57752
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3468
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 james wright                                                        Check all that apply.
 1845 beech rd                                                        Contingent
                                                                      Unliquidated
 stow, OH, 44224                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3469
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jamie Alexander                                                     Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 20212 19th DR SE, APT D                                              Contingent
                                                                      Unliquidated
 Bothell, WA, 98012                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3470
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.71
                                                                                                                     $________________________________
 Jamie Browning                                                      Check all that apply.
 141 Wye Knot Ct                                                      Contingent
                                                                      Unliquidated
 Queenstown, MD, 21658                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3471
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jamie Fitzgerald                                                    Check all that apply.
                                                                                                                       38.50
                                                                                                                     $________________________________
 67 Springwood Meadows Drive                                          Contingent
                                                                      Unliquidated
 Ballston Spa, NY, 12020                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3472
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Jamie Hendrickson                                                    Contingent
 2001 120TH PL SE, APT 6-203                                          Unliquidated
                                                                      Disputed
 Everett, WA, 98208
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3473
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.16
                                                                                                                     $________________________________
 Jamie Randall                                                       Check all that apply.
 2978 Brushwood Ave                                                   Contingent
                                                                      Unliquidated
 Springdale, AR, 72764                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3474
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jamie Savage                                                        Check all that apply.
                                                                                                                      69.99
                                                                                                                     $________________________________
 33 Fox Creek Road, A                                                 Contingent
                                                                      Unliquidated
 Laramie , WY, 82070                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3475
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Jamie Sherman                                                       Check all that apply.
 16037 e cornell pl                                                   Contingent
                                                                      Unliquidated
 Aurora, CO, 80013                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3476
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jamie Sherman                                                       Check all that apply.
                                                                                                                       73.53
                                                                                                                     $________________________________
 16037 East Cornell Place                                             Contingent
                                                                      Unliquidated
 Aurora, CO, 80013                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3477
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             185.93
                                                                                                                     $________________________________
 Jamison Parker                                                       Contingent
 3845 E Whippoorwill Lane                                             Unliquidated
                                                                      Disputed
 Byron, IL, 61010
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3478
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Jan Avram Tan                                                       Check all that apply.
 5 Maremma Ln                                                         Contingent
                                                                      Unliquidated
 Ladera Ranch, CA, 92694                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3479
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Janae Ellis                                                         Check all that apply.
                                                                                                                      26.67
                                                                                                                     $________________________________
 8848 Staghorn Mill                                                   Contingent
                                                                      Unliquidated
 Converse, TX, 78109                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3480
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.74
                                                                                                                     $________________________________
 Jane Carpenter                                                      Check all that apply.
 2066 Heritage Park Way                                               Contingent
                                                                      Unliquidated
 Navarre, FL, 32566                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3481
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jane Devito                                                         Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 801 Pine Street                                                      Contingent
                                                                      Unliquidated
 Trenton, NJ, 8638                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3482
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.65
                                                                                                                     $________________________________
 Jane Kim                                                             Contingent
 12563 Summit Manor Drive, 516                                        Unliquidated
                                                                      Disputed
 Fairfax, VA, 22033
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3483
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.19
                                                                                                                     $________________________________
 Jane Sun                                                            Check all that apply.
 14419 Salisbury Plain Court                                          Contingent
                                                                      Unliquidated
 Centreville, VA, 20120                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3484
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jane Valentin                                                       Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 217 Concord Drive S.                                                 Contingent
                                                                      Unliquidated
 Oswego, IL, 60543                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3485
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Janelle Janson                                                      Check all that apply.
 1604 Lakehills Drive                                                 Contingent
                                                                      Unliquidated
 El Dorado Hills, CA, 95762                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3486
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Janelle P?©rez Martinez                                             Check all that apply.
                                                                                                                       12.65
                                                                                                                     $________________________________
 3010 Dorchester Way                                                  Contingent
                                                                      Unliquidated
 Madison, WI, 53719                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3487
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.98
                                                                                                                     $________________________________
 Janelle Padilla                                                      Contingent
 2088 South Zenobia Street                                            Unliquidated
                                                                      Disputed
 Denver, CO, 80219
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3488
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       83.33
                                                                                                                     $________________________________
 Janelle Wyman                                                       Check all that apply.
 806 E Allouez Ave                                                    Contingent
                                                                      Unliquidated
 Green Bay, WI, 54301                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3489
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Janet Harvatt                                                       Check all that apply.
                                                                                                                      53.30
                                                                                                                     $________________________________
 218 Mechanic Street                                                  Contingent
                                                                      Unliquidated
 Cape May Court House, NJ, 8210                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3490
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 JANET Benson                                                        Check all that apply.
 28 North Fernwood Drive                                              Contingent
                                                                      Unliquidated
 Rockledge, FL, 32955                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3491
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Janet Berns                                                         Check all that apply.
                                                                                                                       87.99
                                                                                                                     $________________________________
 42 S. Monroe St                                                      Contingent
                                                                      Unliquidated
 Monroe, MI, 48161                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3492
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             53.98
                                                                                                                     $________________________________
 Janet M Segelhurst                                                   Contingent
 15 Foxtrot Drive                                                     Unliquidated
                                                                      Disputed
 FARMINGTON, NH, 3835
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3493
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.99
                                                                                                                     $________________________________
 Janet Rodriguez                                                     Check all that apply.
 117 East Romie Lane, Apt 4                                           Contingent
                                                                      Unliquidated
 Salinas, CA, 93901                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3494
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Janette Goldstein                                                   Check all that apply.
                                                                                                                      51.98
                                                                                                                     $________________________________
 3533 Odom Drive                                                      Contingent
                                                                      Unliquidated
 New Port Richey, FL, 34652                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3495
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8.99
                                                                                                                     $________________________________
 Janice Ferguson                                                     Check all that apply.
 6715 Southwest State Road 200                                        Contingent
                                                                      Unliquidated
 Ocala, FL, 34476                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3496
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Janice Heigh                                                        Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 2500 Lunar Drive                                                     Contingent
                                                                      Unliquidated
 Rapid City, SD, 57703                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3497
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.15
                                                                                                                     $________________________________
 Janine Nist                                                          Contingent
 141 Burns Road                                                       Unliquidated
                                                                      Disputed
 New Brighton, PA, 15066
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3498
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       318.95
                                                                                                                     $________________________________
 Janki Kasabwala                                                     Check all that apply.
 583 Paulison Avenue                                                  Contingent
                                                                      Unliquidated
 Clifton, NJ, 7011                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3499
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Janna Christie                                                      Check all that apply.
                                                                                                                      84.99
                                                                                                                     $________________________________
 373 Southwest Eastport Circle                                        Contingent
                                                                      Unliquidated
 Port St. Lucie, FL, 34953                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3500
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Japdev Nagra                                                        Check all that apply.
 1206 Ruess Road                                                      Contingent
                                                                      Unliquidated
 Ripon, CA, 95366                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3501
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jaqueline Alvarado                                                  Check all that apply.
                                                                                                                       28.58
                                                                                                                     $________________________________
 311 N 2nd Ave                                                        Contingent
                                                                      Unliquidated
 Maywood, IL, 60153                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3502
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.98
                                                                                                                     $________________________________
 Jared Gardner                                                        Contingent
 204 Elm Street, 12                                                   Unliquidated
                                                                      Disputed
 South Portland, ME, 4106
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3503
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Jared Kennedy                                                       Check all that apply.
 2441 nw rogue valley terrace                                         Contingent
                                                                      Unliquidated
 Beaverton, OR, 97006                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3504
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jared Rigsby                                                        Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 206 woodford ave.                                                    Contingent
                                                                      Unliquidated
 berea, KY, 40403-1316                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3505
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Jared Rodriguez                                                     Check all that apply.
 4902 Cedar Brook Court                                               Contingent
                                                                      Unliquidated
 Louisville, KY, 40219                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3506
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jared Romano                                                        Check all that apply.
                                                                                                                       60.08
                                                                                                                     $________________________________
 5391 Swindle Road                                                    Contingent
                                                                      Unliquidated
 Nashville, TN, 37189                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3507
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.36
                                                                                                                     $________________________________
 Jared Shelton                                                        Contingent
 5036 Echo Street, Apt 17                                             Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90042
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3508
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.30
                                                                                                                     $________________________________
 Jared Sullivan                                                      Check all that apply.
 5104 N. Chatham Dr.                                                  Contingent
                                                                      Unliquidated
 Bloomington, IN, 47404                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3509
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jared Vick                                                          Check all that apply.
                                                                                                                      216.05
                                                                                                                     $________________________________
 2988 Frank Street                                                    Contingent
                                                                      Unliquidated
 Saint Paul, MN, 55109                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3510
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.19
                                                                                                                     $________________________________
 Jared Weiland                                                       Check all that apply.
 1B Denise Drive, Building 1 Apt B                                    Contingent
                                                                      Unliquidated
 Latham, NY, 12110                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3511
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jaret Henderson                                                     Check all that apply.
                                                                                                                       24.99
                                                                                                                     $________________________________
 310 Dave Gaskey Lane                                                 Contingent
                                                                      Unliquidated
 Morgantown, KY, 42261                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3512
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.96
                                                                                                                     $________________________________
 Jarid pagan                                                          Contingent
 312 Olmos Drive                                                      Unliquidated
                                                                      Disputed
 Leander, TX, 78641
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3513
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.11
                                                                                                                     $________________________________
 Jaritza Serrano                                                     Check all that apply.
 162 Ansley Ander Avenue                                              Contingent
                                                                      Unliquidated
 COLLINS, GA, 30421                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3514
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jarling wang                                                        Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 69-97 Park Drive East #B, Pls Do Not Leave at                        Contingent
 Door                                                                 Unliquidated
                                                                      Disputed
 Kew Garden Hills, NY, 11367
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3515
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.54
                                                                                                                     $________________________________
 Jarmon Eldridge                                                     Check all that apply.
 7736 Highway 5                                                       Contingent
                                                                      Unliquidated
 Arlington, AL, 36722                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3516
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jarod Goenner                                                       Check all that apply.
                                                                                                                       79.99
                                                                                                                     $________________________________
 195 Sturbridge Drive                                                 Contingent
                                                                      Unliquidated
 Franklin, TN, 37064                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3517
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.98
                                                                                                                     $________________________________
 Jaron Kie                                                            Contingent
 3512 Flat Iron Road Northeast                                        Unliquidated
                                                                      Disputed
 Rio Rancho, NM, 87144
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3518
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       226.10
                                                                                                                     $________________________________
 Jarrad Ryan Cravens                                                 Check all that apply.
 16788 39th Ave NE                                                    Contingent
                                                                      Unliquidated
 Lake Forest Park, WA, 98155                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3519
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jarrel Richburg                                                     Check all that apply.
                                                                                                                      158.75
                                                                                                                     $________________________________
 109 Angus Dr                                                         Contingent
                                                                      Unliquidated
 Columbia, SC, 29223                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3520
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.99
                                                                                                                     $________________________________
 Jarrod Hastie                                                       Check all that apply.
 3711 7th Street West, A-307                                          Contingent
                                                                      Unliquidated
 Williston, ND, 58801                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3521
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jarrod Sullivan                                                     Check all that apply.
                                                                                                                       23.98
                                                                                                                     $________________________________
 7 Carter Way                                                         Contingent
                                                                      Unliquidated
 Bedford, MA, 1730                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3522
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 Jase Celeste                                                         Contingent
 30107 NE Livingston Mtn Cir                                          Unliquidated
                                                                      Disputed
 Camas, WA, 98607
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3523
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Jasmin Herbick                                                      Check all that apply.
 925 MANSION AVE                                                      Contingent
                                                                      Unliquidated
 OGDENSBURG, NY, 13669                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3524
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JASMIN MANZO                                                        Check all that apply.
                                                                                                                      31.58
                                                                                                                     $________________________________
 136 MILL STONE DR                                                    Contingent
                                                                      Unliquidated
 VERONA, VA, 24482                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3525
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.32
                                                                                                                     $________________________________
 Jasmine Adachi                                                      Check all that apply.
 44 Helen Avenue                                                      Contingent
                                                                      Unliquidated
 Smithtown, NY, 11787                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3526
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jasmine Amaya                                                       Check all that apply.
                                                                                                                       11.98
                                                                                                                     $________________________________
 2654 Independence Ave                                                Contingent
                                                                      Unliquidated
 Huntington Park, CA, 90255                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3527
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 Jasmine garcia                                                       Contingent
 11301 Se 10th St, apt 3                                              Unliquidated
                                                                      Disputed
 Vancouver, WA, 98664
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3528
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.99
                                                                                                                     $________________________________
 Jasmine Mehnert                                                     Check all that apply.
 557 Knickerbocker Avenue, Apartment 6F                               Contingent
                                                                      Unliquidated
 BROOKLYN, NY, 11221                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3529
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jasmine Yee                                                         Check all that apply.
                                                                                                                      12.83
                                                                                                                     $________________________________
 4725 Schilling Court                                                 Contingent
                                                                      Unliquidated
 Woodbury, MN, 55129                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3530
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.38
                                                                                                                     $________________________________
 Jason Aker                                                          Check all that apply.
 920 East Moore Avenue                                                Contingent
                                                                      Unliquidated
 Stillwater, OK, 74075                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3531
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason alvarado                                                      Check all that apply.
                                                                                                                       34.39
                                                                                                                     $________________________________
 626 S Courtleigh St,                                                 Contingent
                                                                      Unliquidated
 Wichita, KS, 67218                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3532
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             191.91
                                                                                                                     $________________________________
 Jason Atkinson                                                       Contingent
 206 Lighthouse Dr                                                    Unliquidated
                                                                      Disputed
 Manahawkin, NJ, 08050-2524
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3533
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       88.99
                                                                                                                     $________________________________
 Jason Bailey                                                        Check all that apply.
 1008 N. First Avenue                                                 Contingent
                                                                      Unliquidated
 Evansville, IN, 47710                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3534
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Blasco                                                        Check all that apply.
                                                                                                                      50.51
                                                                                                                     $________________________________
 11 Ten Eyck Ave                                                      Contingent
                                                                      Unliquidated
 Albany, NY, 12209                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3535
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      18.12
                                                                                                                     $________________________________
 Jason Brignoni                                                      Check all that apply.
 6 oak branch rd                                                      Contingent
                                                                      Unliquidated
 East windsor, NJ, 8512                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3536
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Bryant                                                        Check all that apply.
                                                                                                                       13.02
                                                                                                                     $________________________________
 14029 North 8th Place                                                Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85022                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3537
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.09
                                                                                                                     $________________________________
 Jason Carvalho                                                       Contingent
 28 Oaklawn Ave, Apt 315                                              Unliquidated
                                                                      Disputed
 Cranston, RI, 2920
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3538
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.99
                                                                                                                     $________________________________
 Jason Ceresa                                                        Check all that apply.
 3533 Calvert Court                                                   Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89121                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3539
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Chacon                                                        Check all that apply.
                                                                                                                      51.99
                                                                                                                     $________________________________
 345 South Alexandria Avenue, 318                                     Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90020                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3540
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      251.95
                                                                                                                     $________________________________
 Jason Cueny                                                         Check all that apply.
 PO Box 241                                                           Contingent
                                                                      Unliquidated
 Antigo, WI, 54409                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3541
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason D Okamura                                                     Check all that apply.
                                                                                                                       25.99
                                                                                                                     $________________________________
 12003 RIVERVIEW DR                                                   Contingent
                                                                      Unliquidated
 WOODWAY, TX, 76712                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3542
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.24
                                                                                                                     $________________________________
 Jason Davis                                                          Contingent
 210 South Country Hill Road                                          Unliquidated
                                                                      Disputed
 Anaheim, CA, 92808
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3543
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Jason Deeter                                                        Check all that apply.
 10134 Norwick St                                                     Contingent
                                                                      Unliquidated
 Rancho Cucamonga, CA, 91730                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3544
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Delg                                                          Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 1583 E 700TH RD                                                      Contingent
                                                                      Unliquidated
 LAWRENCE, KS, 66049                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3545
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Jason Deveney                                                       Check all that apply.
 130 N Charles St., Apt A                                             Contingent
                                                                      Unliquidated
 Red Lion, PA, 17356                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3546
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Domela                                                        Check all that apply.
                                                                                                                       78.99
                                                                                                                     $________________________________
 P.O. Box 507                                                         Contingent
                                                                      Unliquidated
 Girdwood, AK, 99587                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3547
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             213.24
                                                                                                                     $________________________________
 Jason Encalada                                                       Contingent
 12 Vail Place                                                        Unliquidated
                                                                      Disputed
 Morristown, NJ, 7960
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3548
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Jason Ferreira                                                      Check all that apply.
 177 Albert Avenue                                                    Contingent
                                                                      Unliquidated
 Milltown, NJ, 8850                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3549
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Fukui                                                         Check all that apply.
                                                                                                                      35.99
                                                                                                                     $________________________________
 6222 SW Garden Home Rd                                               Contingent
                                                                      Unliquidated
 Portland, OR, 97219                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3550
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      85.07
                                                                                                                     $________________________________
 Jason Garcia                                                        Check all that apply.
 21 Upper Road                                                        Contingent
                                                                      Unliquidated
 Stafford, CT, 6076                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3551
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Goldman                                                       Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 500 Carpenter Ave                                                    Contingent
                                                                      Unliquidated
 Oceanside, NY, 11572                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  3552
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Jason Gonzalez                                                       Contingent
 3378 Lakers rd                                                       Unliquidated
                                                                      Disputed
 Harbor Beach, MI, 48441
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3553
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.99
                                                                                                                     $________________________________
 Jason Guardado                                                      Check all that apply.
 1107 Pike Path                                                       Contingent
                                                                      Unliquidated
 Round Rock, TX, 78665                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3554
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Hale                                                          Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 1207 NW 167th Ave.                                                   Contingent
                                                                      Unliquidated
 Pembroke Pines, FL, 33028                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3555
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      855.18
                                                                                                                     $________________________________
 Jason Han                                                           Check all that apply.
 1425 N. Wilmington Blvd, Apt 6                                       Contingent
                                                                      Unliquidated
 Wilmington, CA, 90744                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3556
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Hatfield                                                      Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 269 Little Burwell Rd                                                Contingent
                                                                      Unliquidated
 Harvest, AL, 35749-9123                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3557
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             149.90
                                                                                                                     $________________________________
 Jason Hendrix                                                        Contingent
 1535 Crown Point Drive                                               Unliquidated
                                                                      Disputed
 Mount Olive, AL, 35117
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3558
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Jason Hughes                                                        Check all that apply.
 10799 E Kanney Ave                                                   Contingent
                                                                      Unliquidated
 Walkerton, IN, 46574                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3559
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Hughes                                                        Check all that apply.
                                                                                                                      28.99
                                                                                                                     $________________________________
 4617 Neal Drive                                                      Contingent
                                                                      Unliquidated
 Seabrook, TX, 77586                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3560
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      157.84
                                                                                                                     $________________________________
 Jason Jackson                                                       Check all that apply.
 1155 E 56th Street, Apt #1                                           Contingent
                                                                      Unliquidated
 BROOKLYN, NY, 11234                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3561
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jason jensen                                                        Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 2400 River Hills Dr                                                  Contingent
                                                                      Unliquidated
 Burnsville, MN, 55337                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3562
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             89.99
                                                                                                                     $________________________________
 Jason Jimenez                                                        Contingent
 8528 Oakdale Ave                                                     Unliquidated
                                                                      Disputed
 Winnetka, CA, 91306
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3563
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.66
                                                                                                                     $________________________________
 Jason Jordan                                                        Check all that apply.
 11516 S 102nd East Ave                                               Contingent
                                                                      Unliquidated
 Bixby, OK, 74008                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3564
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jason klaich                                                        Check all that apply.
                                                                                                                      20.32
                                                                                                                     $________________________________
 10111 Margo Lane                                                     Contingent
                                                                      Unliquidated
 Munster, IN, 46321                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3565
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      46.62
                                                                                                                     $________________________________
 jason krueger                                                       Check all that apply.
 7898 JONAGOLD DR SE                                                  Contingent
                                                                      Unliquidated
 GRAND RAPIDS, MI, 49508                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3566
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jason lail                                                          Check all that apply.
                                                                                                                       117.68
                                                                                                                     $________________________________
 220 Walnut Avenue                                                    Contingent
                                                                      Unliquidated
 Mount Holly, NC, 28120                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3567
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             8.99
                                                                                                                     $________________________________
 Jason Long                                                           Contingent
 5800 HAMILTON ST, APT 34                                             Unliquidated
                                                                      Disputed
 SACRAMENTO, CA, 95842
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3568
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       144.94
                                                                                                                     $________________________________
 Jason Martin                                                        Check all that apply.
 12829 Harrison Drive                                                 Contingent
                                                                      Unliquidated
 Carmel, IN, 46033                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3569
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason McCarthy                                                      Check all that apply.
                                                                                                                      54.96
                                                                                                                     $________________________________
 631 South 103rd Street                                               Contingent
                                                                      Unliquidated
 West Allis, WI, 53214                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3570
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.08
                                                                                                                     $________________________________
 Jason Mejia                                                         Check all that apply.
 2710 S.W. 66 Terrace                                                 Contingent
                                                                      Unliquidated
 Miramar, FL, 33023                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3571
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Mendez                                                        Check all that apply.
                                                                                                                       38.96
                                                                                                                     $________________________________
 8226 Tombstone Drive                                                 Contingent
                                                                      Unliquidated
 Arlington, TX, 76001                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3572
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             40.27
                                                                                                                     $________________________________
 Jason Miller                                                         Contingent
 4336 Heritage Dr                                                     Unliquidated
                                                                      Disputed
 Hudsonville, MI, 49426
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3573
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.27
                                                                                                                     $________________________________
 Jason Montano                                                       Check all that apply.
 400 Runnymede Street                                                 Contingent
                                                                      Unliquidated
 East Palo Alto, CA, 94303                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3574
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Palacios                                                      Check all that apply.
                                                                                                                      31.98
                                                                                                                     $________________________________
 PO Box 595                                                           Contingent
                                                                      Unliquidated
 Banquete, TX, 78339                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3575
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      154.99
                                                                                                                     $________________________________
 Jason Parker                                                        Check all that apply.
 47 Reubens Circle                                                    Contingent
                                                                      Unliquidated
 Newark, DE, 19702                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3576
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Parrott                                                       Check all that apply.
                                                                                                                       69.97
                                                                                                                     $________________________________
 113 north 7th street, apt 3                                          Contingent
                                                                      Unliquidated
 Missouri Valley, IA, 51555-1781                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3577
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.99
                                                                                                                     $________________________________
 Jason Patterson                                                      Contingent
 5613 Cletsoway Dr SW                                                 Unliquidated
                                                                      Disputed
 Albuquerque, NM, 87105
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3578
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       45.35
                                                                                                                     $________________________________
 Jason Payne                                                         Check all that apply.
 655 Wall Street, Apartment 3                                         Contingent
                                                                      Unliquidated
 North Tonawanda, NY, 14120                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3579
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jason phillips                                                      Check all that apply.
                                                                                                                      29.49
                                                                                                                     $________________________________
 223 Fairway Dr.                                                      Contingent
                                                                      Unliquidated
 Nashville, TN, 37214-2723                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3580
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.47
                                                                                                                     $________________________________
 Jason Reker                                                         Check all that apply.
 7800 Shamrock Ct                                                     Contingent
                                                                      Unliquidated
 Huber Heights, OH, 45424                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3581
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Reyes                                                         Check all that apply.
                                                                                                                       30.61
                                                                                                                     $________________________________
 3812 Kauai Drive                                                     Contingent
                                                                      Unliquidated
 San Jose, CA, 95111                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3582
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.99
                                                                                                                     $________________________________
 Jason Roberts                                                        Contingent
 3216 Mott Rd                                                         Unliquidated
                                                                      Disputed
 Dover, FL, 33527
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3583
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       142.94
                                                                                                                     $________________________________
 Jason Robinson                                                      Check all that apply.
 15552 Harvest Lane                                                   Contingent
                                                                      Unliquidated
 Southgate, MI, 48195                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3584
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Russell                                                       Check all that apply.
                                                                                                                      20.36
                                                                                                                     $________________________________
 15460 Sprucevale Road                                                Contingent
                                                                      Unliquidated
 East Liverpool, OH, 43920                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3585
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      106.97
                                                                                                                     $________________________________
 Jason Sandoval Jr.                                                  Check all that apply.
 18032 Faysmith Avenue                                                Contingent
                                                                      Unliquidated
 Torrance, CA, 90504                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3586
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Scansaroli                                                    Check all that apply.
                                                                                                                       37.99
                                                                                                                     $________________________________
 1105 Mellien Drive                                                   Contingent
                                                                      Unliquidated
 Downingtown, PA, 19335                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3587
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             69.99
                                                                                                                     $________________________________
 Jason Shearer                                                        Contingent
 39 South Chapel Street, Front Apartment                              Unliquidated
                                                                      Disputed
 Gowanda, NY, 14070
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3588
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Jason Shoemaker                                                     Check all that apply.
 10308 CHESTNUT SWEET ST                                              Contingent
                                                                      Unliquidated
 LAS VEGAS, NV, 89131-1563                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3589
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Sircy                                                         Check all that apply.
                                                                                                                      474.98
                                                                                                                     $________________________________
 1042 63rd Street                                                     Contingent
                                                                      Unliquidated
 Oakland, CA, 94608                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3590
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      153.67
                                                                                                                     $________________________________
 Jason Sledd                                                         Check all that apply.
 2005 E Tupelo Dr SE                                                  Contingent
                                                                      Unliquidated
 HUNTSVILLE, AL, 35803-1837                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3591
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Tran                                                          Check all that apply.
                                                                                                                       59.94
                                                                                                                     $________________________________
 260 Mayfield Farms                                                   Contingent
                                                                      Unliquidated
 Lawrenceville, GA, 30043                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3592
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             47.98
                                                                                                                     $________________________________
 Jason Vicens                                                         Contingent
 5707 Wynnewood Lane                                                  Unliquidated
                                                                      Disputed
 Sheffield Village, OH, 44035
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3593
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.09
                                                                                                                     $________________________________
 Jason Wills                                                         Check all that apply.
 272 Wyckoff Street apt# 4k                                           Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11217                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3594
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Javier Bravo Garcia                                                 Check all that apply.
                                                                                                                      555.85
                                                                                                                     $________________________________
 1894 WELLONS DR                                                      Contingent
                                                                      Unliquidated
 GREENVILLE, NC, 27858                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3595
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      92.29
                                                                                                                     $________________________________
 Javier Bello Hernandez                                              Check all that apply.
 3502 West Shangri-la Road                                            Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85029                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3596
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Javier Diaz Jr                                                      Check all that apply.
                                                                                                                       58.43
                                                                                                                     $________________________________
 158 Main street, 1                                                   Contingent
                                                                      Unliquidated
 Everett , MA, 2149                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3597
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.97
                                                                                                                     $________________________________
 Javier Hernandez                                                     Contingent
 1833 Cheddar Loop, 210                                               Unliquidated
                                                                      Disputed
 Austin, TX, 78728
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3598
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Javier Machuca                                                      Check all that apply.
 85202 Avenida Reforma                                                Contingent
                                                                      Unliquidated
 Coachella , CA, 92236                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3599
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Javier Millan                                                       Check all that apply.
                                                                                                                      41.99
                                                                                                                     $________________________________
 2300 Fairview , M105                                                 Contingent
                                                                      Unliquidated
 Costa Mesa , CA, 92626                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3600
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.21
                                                                                                                     $________________________________
 Javier Riojas                                                       Check all that apply.
 466 Jefferson street, Suite A                                        Contingent
                                                                      Unliquidated
 Eagle pass, TX, 78852                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3601
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Javon Reid                                                          Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 1303 Burton Avenue                                                   Contingent
                                                                      Unliquidated
 Sharon Hill, PA, 19079                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3602
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             306.01
                                                                                                                     $________________________________
 Jawad Awan                                                           Contingent
 7101 Appaloosa Trail                                                 Unliquidated
                                                                      Disputed
 Southwest Ranches, FL, 33330
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3603
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.61
                                                                                                                     $________________________________
 Jax Stockman                                                        Check all that apply.
 33 Esty Street                                                       Contingent
                                                                      Unliquidated
 Ashland, MA, 1721                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3604
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jay Betley                                                          Check all that apply.
                                                                                                                      45.98
                                                                                                                     $________________________________
 8796 Gatewood Drive                                                  Contingent
                                                                      Unliquidated
 Mentor, OH, 44060                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3605
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      72.95
                                                                                                                     $________________________________
 Jay Cabrera                                                         Check all that apply.
 1169 Trivoli Way                                                     Contingent
                                                                      Unliquidated
 Salinas, CA, 93905                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3606
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jay Hao                                                             Check all that apply.
                                                                                                                       164.97
                                                                                                                     $________________________________
 6243 English Hollow Road                                             Contingent
                                                                      Unliquidated
 Tampa, FL, 33647                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3607
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Jay McCoy                                                            Contingent
 120-38 226th Street                                                  Unliquidated
                                                                      Disputed
 Cambria Heights, NY, 11411
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3608
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Jay Roberts                                                         Check all that apply.
 14277 Desert Sky Dr                                                  Contingent
                                                                      Unliquidated
 Horizon City, TX, 79928                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3609
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jayde Hartzell                                                      Check all that apply.
                                                                                                                      13.77
                                                                                                                     $________________________________
 324 PINE ST                                                          Contingent
                                                                      Unliquidated
 JOHNSTOWN, PA, 15963                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3610
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.56
                                                                                                                     $________________________________
 Jayden Arias                                                        Check all that apply.
 19554 Castille Lane                                                  Contingent
                                                                      Unliquidated
 Santa clarita, CA, 91350                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3611
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jayleen Padilla                                                     Check all that apply.
                                                                                                                       84.52
                                                                                                                     $________________________________
 234 Magnolia Avenue                                                  Contingent
                                                                      Unliquidated
 Mount Vernon, NY, 10552                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3612
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.99
                                                                                                                     $________________________________
 Jaylen Miller                                                        Contingent
 396 Walls Ford Road                                                  Unliquidated
                                                                      Disputed
 Saint Clair, MO, 63077
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3613
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       119.99
                                                                                                                     $________________________________
 Jaylin Dunn                                                         Check all that apply.
 1246 Hunters Plane                                                   Contingent
                                                                      Unliquidated
 San Antonio, TX, 78245                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3614
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jayna rubino                                                        Check all that apply.
                                                                                                                      26.80
                                                                                                                     $________________________________
 10504 Conistan Pl                                                    Contingent
                                                                      Unliquidated
 Cornelius, NC, 28031                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3615
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.95
                                                                                                                     $________________________________
 Jayson Bingham                                                      Check all that apply.
 1989 Tobsal Court                                                    Contingent
                                                                      Unliquidated
 Warren, MI, 48091                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3616
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jayson Hartson                                                      Check all that apply.
                                                                                                                       16.99
                                                                                                                     $________________________________
 2550 Longbranch Court                                                Contingent
                                                                      Unliquidated
 Kissimmee, FL, 34744                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3617
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             16.33
                                                                                                                     $________________________________
 Jayson P Lapat                                                       Contingent
 889 NW Tinkam Ct                                                     Unliquidated
                                                                      Disputed
 Bremerton, WA, 98311
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3618
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       151.96
                                                                                                                     $________________________________
 Jaz Rodriguez                                                       Check all that apply.
 2515 E Olive Street, Unit 1C                                         Contingent
                                                                      Unliquidated
 Arlington Heights, IL, 60004                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3619
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jazmin Hernandez                                                    Check all that apply.
                                                                                                                      31.79
                                                                                                                     $________________________________
 7735 Donnybrook Court, Apt. 6                                        Contingent
                                                                      Unliquidated
 Annandale, VA, 22003                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3620
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.99
                                                                                                                     $________________________________
 Jazmin Montoya                                                      Check all that apply.
 3030 Northwest 8th Street                                            Contingent
                                                                      Unliquidated
 Pompano Beach, FL, 33069                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3621
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jazmine Noguera                                                     Check all that apply.
                                                                                                                       28.42
                                                                                                                     $________________________________
 856 Cameron Cir                                                      Contingent
                                                                      Unliquidated
 Milpitas, CA, 95035                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3622
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             16.11
                                                                                                                     $________________________________
 Jean Patrouch                                                        Contingent
 2417 Acorn Dr                                                        Unliquidated
                                                                      Disputed
 Dayton, OH, 45419
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3623
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.98
                                                                                                                     $________________________________
 Jean Rivera                                                         Check all that apply.
 2166 Crofton Avenue                                                  Contingent
                                                                      Unliquidated
 Davenport, FL, 33837                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3624
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeannine Vieni                                                      Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 8356 Ocean View Avenue                                               Contingent
                                                                      Unliquidated
 Whittier , CA, 90602                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3625
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      143.87
                                                                                                                     $________________________________
 Jeanninne Trinidad                                                  Check all that apply.
 6920 92nd Street South                                               Contingent
                                                                      Unliquidated
 Cottage Grove, MN, 55016                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3626
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jechy Ramirez                                                       Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 1983 Denison Street                                                  Contingent
                                                                      Unliquidated
 Pomona, CA, 91766                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3627
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             210.94
                                                                                                                     $________________________________
 Jeerasit Leesawet                                                    Contingent
 2721 Rockefeller Ln , Apt #2                                         Unliquidated
                                                                      Disputed
 Redondo Beach, CA, 90278
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3628
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Jeff Curtis                                                         Check all that apply.
 15539 8th Ave NE                                                     Contingent
                                                                      Unliquidated
 Shoreline, WA, 98155                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3629
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeff Biederstedt                                                    Check all that apply.
                                                                                                                      102.98
                                                                                                                     $________________________________
 406 West Virginia Street, P.O. Box 135                               Contingent
                                                                      Unliquidated
 Sublette, IL, 61367                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3630
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Jeff Collins                                                        Check all that apply.
 6147 Lockwood Drive                                                  Contingent
                                                                      Unliquidated
 Rockford, IL, 61109                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3631
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeff Coronado                                                       Check all that apply.
                                                                                                                       29.22
                                                                                                                     $________________________________
 5002 Rosemary Lane                                                   Contingent
                                                                      Unliquidated
 Houston, TX, 77093                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3632
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.52
                                                                                                                     $________________________________
 jeff finley                                                          Contingent
 4298 Fox Ridge Rd                                                    Unliquidated
                                                                      Disputed
 Eagan, MN, 55122-2253
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3633
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.22
                                                                                                                     $________________________________
 Jeff Lee                                                            Check all that apply.
 1025 Huntington Drive                                                Contingent
                                                                      Unliquidated
 Elk Grove Village, IL, 60007                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3634
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeff Mattson                                                        Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 6345 vincent ave s                                                   Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55423                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3635
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.95
                                                                                                                     $________________________________
 Jeff Mayfield                                                       Check all that apply.
 24862 Tabuenca                                                       Contingent
                                                                      Unliquidated
 Mission Viejo, CA, 92692                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3636
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeff Miller                                                         Check all that apply.
                                                                                                                       59.99
                                                                                                                     $________________________________
 749 Crestview Drive                                                  Contingent
                                                                      Unliquidated
 Tooele, UT, 84074                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3637
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.99
                                                                                                                     $________________________________
 Jeff Morris                                                          Contingent
 5074 Arroyo Lane #303                                                Unliquidated
                                                                      Disputed
 Simi Valley , CA, 93063
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3638
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Jeff Pardee                                                         Check all that apply.
 76 20th Ave Ct                                                       Contingent
                                                                      Unliquidated
 Milton, WA, 98354                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3639
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeff Roberts                                                        Check all that apply.
                                                                                                                      202.98
                                                                                                                     $________________________________
 5499 W Melinda Ln                                                    Contingent
                                                                      Unliquidated
 Glendale, AZ, 85308                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3640
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      512.52
                                                                                                                     $________________________________
 jeff schatschneider                                                 Check all that apply.
 13308 grandterrace dr                                                Contingent
                                                                      Unliquidated
 grandisland, FL, 32735                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3641
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeff Scheuer                                                        Check all that apply.
                                                                                                                       69.10
                                                                                                                     $________________________________
 59 Gingerwood Way                                                    Contingent
                                                                      Unliquidated
 West Henrietta, NY, 14586                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3642
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.98
                                                                                                                     $________________________________
 Jeff Smith                                                           Contingent
 1912 Atwood Avenue, Apt 103                                          Unliquidated
                                                                      Disputed
 Madison, WI, 53704
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3643
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       859.87
                                                                                                                     $________________________________
 Jeff Stanislawski                                                   Check all that apply.
 2503 Milfoil Cv                                                      Contingent
                                                                      Unliquidated
 Austin, TX, 78704                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3644
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeff Weber                                                          Check all that apply.
                                                                                                                      89.98
                                                                                                                     $________________________________
 8348 W Utahna St                                                     Contingent
                                                                      Unliquidated
 Boise, ID, 83714                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3645
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.11
                                                                                                                     $________________________________
 Jeff Woolslayer                                                     Check all that apply.
 8424 Fobes Rd                                                        Contingent
                                                                      Unliquidated
 Snohomish, WA, 98290                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3646
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffery Gist                                                        Check all that apply.
                                                                                                                       28.06
                                                                                                                     $________________________________
 208 Cedar Falls Ct                                                   Contingent
                                                                      Unliquidated
 Columbia, MO, 65203                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3647
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.71
                                                                                                                     $________________________________
 Jeffery Placer                                                       Contingent
 505 N Broad St                                                       Unliquidated
                                                                      Disputed
 Ridgway, PA, 15853
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3648
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.98
                                                                                                                     $________________________________
 Jeffery Cole                                                        Check all that apply.
 18 Seaview Terrace                                                   Contingent
                                                                      Unliquidated
 Santa Monica, CA, 90401                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3649
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffery Macias                                                      Check all that apply.
                                                                                                                      31.96
                                                                                                                     $________________________________
 1505 Schulenberg Ave                                                 Contingent
                                                                      Unliquidated
 Modesto, CA, 95350                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3650
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.51
                                                                                                                     $________________________________
 Jeffery Painter                                                     Check all that apply.
 7602 Buncombe Place                                                  Contingent
                                                                      Unliquidated
 Madison, AL, 35757                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3651
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffrey King                                                        Check all that apply.
                                                                                                                       52.91
                                                                                                                     $________________________________
 7400 North Oleander Avenue                                           Contingent
                                                                      Unliquidated
 Chicago, IL, 60631                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3652
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.96
                                                                                                                     $________________________________
 Jeffrey Thompson                                                     Contingent
 207 Longview Drive                                                   Unliquidated
                                                                      Disputed
 Smithfield, NC, 27577
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3653
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.08
                                                                                                                     $________________________________
 Jeffrey A Gee                                                       Check all that apply.
 6533 VERSAILLES RD                                                   Contingent
                                                                      Unliquidated
 Lake View, NY, 14085                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3654
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffrey Barr                                                        Check all that apply.
                                                                                                                      60.98
                                                                                                                     $________________________________
 5562 Bonnie Brae St.                                                 Contingent
                                                                      Unliquidated
 Montclair, CA, 91763                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3655
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      83.33
                                                                                                                     $________________________________
 Jeffrey Germait                                                     Check all that apply.
 1008 South 112th Street                                              Contingent
                                                                      Unliquidated
 West Allis, WI, 53214                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3656
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffrey Gilmer                                                      Check all that apply.
                                                                                                                       16.04
                                                                                                                     $________________________________
 504 S Townes Court                                                   Contingent
                                                                      Unliquidated
 Spartanburg, SC, 29301                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3657
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.74
                                                                                                                     $________________________________
 Jeffrey Goldberg                                                     Contingent
 24 BRADFORD RD                                                       Unliquidated
                                                                      Disputed
 FRAMINGHAM, MA, 1701
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3658
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Jeffrey Golden                                                      Check all that apply.
 2016 North Riverview Circle                                          Contingent
                                                                      Unliquidated
 Albany, GA, 31705                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3659
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffrey Gould                                                       Check all that apply.
                                                                                                                      38.98
                                                                                                                     $________________________________
 37554 Arbor Woods Dr                                                 Contingent
                                                                      Unliquidated
 Livonia, MI, 48150                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3660
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      93.81
                                                                                                                     $________________________________
 Jeffrey Guagliardo                                                  Check all that apply.
 43 , Halifax Dr                                                      Contingent
                                                                      Unliquidated
 Morganville, NJ, 7751                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3661
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffrey Haussler                                                    Check all that apply.
                                                                                                                       45.45
                                                                                                                     $________________________________
 1812 Dolphin Dr                                                      Contingent
                                                                      Unliquidated
 Seabrook, TX, 77586                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3662
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             132.49
                                                                                                                     $________________________________
 Jeffrey Hosfelt                                                      Contingent
 24458 Otter Road                                                     Unliquidated
                                                                      Disputed
 Huron Charter Township, MI, 48164
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3663
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.98
                                                                                                                     $________________________________
 Jeffrey Jensen                                                      Check all that apply.
 2616 West Madison Avenue                                             Contingent
                                                                      Unliquidated
 Norfolk, NE, 68701                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3664
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffrey Johnson                                                     Check all that apply.
                                                                                                                      108.36
                                                                                                                     $________________________________
 896 Single Tree dr                                                   Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89123                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3665
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                     $________________________________
 Jeffrey Lechner                                                     Check all that apply.
 4640 Eastridge Drive Omaha                                           Contingent
                                                                      Unliquidated
 Omaha, NE, 68134                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3666
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffrey Long                                                        Check all that apply.
                                                                                                                       80.98
                                                                                                                     $________________________________
 3202 W Cherry Ln                                                     Contingent
                                                                      Unliquidated
 Boise, ID, 83705-4013                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3667
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.25
                                                                                                                     $________________________________
 Jeffrey Marquez                                                      Contingent
 5471 Zaffina Cir                                                     Unliquidated
                                                                      Disputed
 Las Vegas, NV, 89120
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3668
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       410.55
                                                                                                                     $________________________________
 Jeffrey Martinez                                                    Check all that apply.
 13 Firtree Lane                                                      Contingent
                                                                      Unliquidated
 Levittown, NY, 11756                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3669
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffrey McLerran                                                    Check all that apply.
                                                                                                                      11.89
                                                                                                                     $________________________________
 1 E Washington St # 1600                                             Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85004                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3670
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.33
                                                                                                                     $________________________________
 Jeffrey McManigal                                                   Check all that apply.
 5208 W Main St                                                       Contingent
                                                                      Unliquidated
 Edinburg, PA, 16116                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3671
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffrey Moss                                                        Check all that apply.
                                                                                                                       27.23
                                                                                                                     $________________________________
 9797 15th Pl SE                                                      Contingent
                                                                      Unliquidated
 Lake Stevens , WA, 98258                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3672
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.80
                                                                                                                     $________________________________
 Jeffrey Novak                                                        Contingent
 331 Euclid Avenue                                                    Unliquidated
                                                                      Disputed
 Kenmore, NY, 14217
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3673
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Jeffrey Peterson                                                    Check all that apply.
 1161 North 2775 West                                                 Contingent
                                                                      Unliquidated
 Layton, UT, 84041                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3674
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffrey Pollard                                                     Check all that apply.
                                                                                                                      80.54
                                                                                                                     $________________________________
 654 Trimble Road                                                     Contingent
                                                                      Unliquidated
 Joppatowne, MD, 21085                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3675
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65.56
                                                                                                                     $________________________________
 Jeffrey Schouten                                                    Check all that apply.
 10371 Douglas Drive                                                  Contingent
                                                                      Unliquidated
 Saint John, IN, 46373                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3676
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeffrey Waitkevich                                                  Check all that apply.
                                                                                                                       12.83
                                                                                                                     $________________________________
 18025 Greensboro St                                                  Contingent
                                                                      Unliquidated
 Spring Hill, FL, 34610                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3677
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             69.38
                                                                                                                     $________________________________
 Jefry Montalvan Zelaya                                               Contingent
 1591 Yelverton Grove Road                                            Unliquidated
                                                                      Disputed
 Smithfield, NC, 27577
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3678
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.68
                                                                                                                     $________________________________
 Jehovany Pineda                                                     Check all that apply.
 23 Nature Trl                                                        Contingent
                                                                      Unliquidated
 Lawrenceville, GA, 30043                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3679
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jen ambriz                                                          Check all that apply.
                                                                                                                      62.98
                                                                                                                     $________________________________
 1430 South Sycamore, Apt. D                                          Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92707                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3680
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.95
                                                                                                                     $________________________________
 Jen Correa                                                          Check all that apply.
 11720 Greenspring Ave                                                Contingent
                                                                      Unliquidated
 Lutherville Timon, MD, 21093                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3681
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jenae Kincade                                                       Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 po box 2282                                                          Contingent
                                                                      Unliquidated
 tucker, GA, 30085                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3682
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             201.46
                                                                                                                     $________________________________
 Jeneen Williamson                                                    Contingent
 40 Pamrapo Ave, Apt #2                                               Unliquidated
                                                                      Disputed
 Jersey City, NJ, 7305
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3683
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.23
                                                                                                                     $________________________________
 Jenna Anderson                                                      Check all that apply.
 96 Richmond Road West                                                Contingent
                                                                      Unliquidated
 East Syracuse, NY, 13057                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3684
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jenna Kaczorowski                                                   Check all that apply.
                                                                                                                      29.67
                                                                                                                     $________________________________
 39 Salzburg Road, unit 3                                             Contingent
                                                                      Unliquidated
 Bay City, MI, 48708                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3685
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.10
                                                                                                                     $________________________________
 Jenna Lawson                                                        Check all that apply.
 4400 Royalview Rd                                                    Contingent
                                                                      Unliquidated
 Knoxville, TN, 37921                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3686
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jenness Mayer                                                       Check all that apply.
                                                                                                                       29.36
                                                                                                                     $________________________________
 105 N Links Drive, 1085                                              Contingent
                                                                      Unliquidated
 Avondale, AZ, 85323                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3687
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             96.97
                                                                                                                     $________________________________
 Jenni Naranjo                                                        Contingent
 907 East Ghent Street                                                Unliquidated
                                                                      Disputed
 Azusa, CA, 91702
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3688
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Jennie Brown                                                        Check all that apply.
 1380 East Street, Apt 401                                            Contingent
                                                                      Unliquidated
 New Britain, CT, 6053                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3689
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennie Tran                                                         Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 3607 Clear Brook Court                                               Contingent
                                                                      Unliquidated
 San Jose, CA, 95111                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3690
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      296.79
                                                                                                                     $________________________________
 Jennie VanMeter                                                     Check all that apply.
 229 Preston Ave                                                      Contingent
                                                                      Unliquidated
 Lexington, KY, 40502                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3691
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennie Vo                                                           Check all that apply.
                                                                                                                       30.44
                                                                                                                     $________________________________
 15572 Briarcliff Street                                              Contingent
                                                                      Unliquidated
 Westminster, CA, 92683                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3692
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             44.97
                                                                                                                      $________________________________
 Jennifer Czajkowski                                                   Contingent
 13192 Judy Road                                                       Unliquidated
                                                                       Disputed
 Greenwood, DE, 19950
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  3693
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        21.99
                                                                                                                      $________________________________
 Jennifer Mata                                                        Check all that apply.
 717 Cordelia Avenue                                                   Contingent
                                                                       Unliquidated
 Glendora, CA, 91740                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  3694
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 JENNIFER ALAMO                                                       Check all that apply.
                                                                                                                       32.98
                                                                                                                      $________________________________
 PO Box 1442                                                           Contingent
                                                                       Unliquidated
 Skippack, PA, 19474                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  3695
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       50.99
                                                                                                                      $________________________________
 Jennifer Alvord                                                      Check all that apply.
 2043 14th St N                                                        Contingent
                                                                       Unliquidated
 Saint Cloud, MN, 56303-1736                                           Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  3696
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Jennifer Blanco                                                      Check all that apply.
                                                                                                                        84.78
                                                                                                                      $________________________________
 21248 Chevalier Drive                                                 Contingent
                                                                       Unliquidated
 Macomb, MI, 48044                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3697
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             77.99
                                                                                                                     $________________________________
 jennifer buzin                                                       Contingent
 17344 Fountainside loop, 4102                                        Unliquidated
                                                                      Disputed
 lutz, FL, 33558
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3698
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       95.22
                                                                                                                     $________________________________
 Jennifer Chandler                                                   Check all that apply.
 380 Town Creek Church Rd                                             Contingent
                                                                      Unliquidated
 Talking Rock, GA, 30175                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3699
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Chrin                                                      Check all that apply.
                                                                                                                      204.98
                                                                                                                     $________________________________
 2081 Atlantic Avenue                                                 Contingent
                                                                      Unliquidated
 Long Beach, CA, 90806                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3700
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                     $________________________________
 Jennifer Ciurla                                                     Check all that apply.
 3203 Russett Dr                                                      Contingent
                                                                      Unliquidated
 Tampa, FL, 33618-1442                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3701
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Clark                                                      Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 7025 Fairway Oaks                                                    Contingent
                                                                      Unliquidated
 Fayetteville, PA, 17222                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3702
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.99
                                                                                                                     $________________________________
 Jennifer Deitz                                                       Contingent
 43864 Piney Stream Court                                             Unliquidated
                                                                      Disputed
 Chantilly, VA, 20152
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3703
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.05
                                                                                                                     $________________________________
 Jennifer DePetro                                                    Check all that apply.
 4421 Wanda Ln                                                        Contingent
                                                                      Unliquidated
 Flower Mound, TX, 75022                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3704
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Diosdado                                                   Check all that apply.
                                                                                                                      25.99
                                                                                                                     $________________________________
 1038 West Village Court, Apt B                                       Contingent
                                                                      Unliquidated
 Pasadena, TX, 77506                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3705
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.42
                                                                                                                     $________________________________
 Jennifer Douglas                                                    Check all that apply.
 916 S Rose Street, Apt 1, Apt 1                                      Contingent
                                                                      Unliquidated
 Kalamazoo, MI, 49001                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3706
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Duran                                                      Check all that apply.
                                                                                                                       65.98
                                                                                                                     $________________________________
 708 Tayopa Court                                                     Contingent
                                                                      Unliquidated
 EL PASO, TX, 79932                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3707
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Jennifer Fritz                                                       Contingent
 29W352 Greenbriar Lane                                               Unliquidated
                                                                      Disputed
 Warrenville, IL, 60555
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3708
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Jennifer Gargano                                                    Check all that apply.
 313 Cindy St                                                         Contingent
                                                                      Unliquidated
 Old Bridge, NJ, 8857                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3709
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Gibbs                                                      Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 7 Forest St                                                          Contingent
                                                                      Unliquidated
 Nashua, NH, 03064-1560                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3710
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.13
                                                                                                                     $________________________________
 Jennifer Holland                                                    Check all that apply.
 2000 FM 1460, Apt 6208                                               Contingent
                                                                      Unliquidated
 Georgetown, TX, 78626                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3711
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Hopson                                                     Check all that apply.
                                                                                                                       608.46
                                                                                                                     $________________________________
 4472 Magnolia Lane                                                   Contingent
                                                                      Unliquidated
 Hudson, NC, 28638                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3712
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.49
                                                                                                                     $________________________________
 Jennifer James                                                       Contingent
 704 22nd Ave W                                                       Unliquidated
                                                                      Disputed
 Bradenton, FL, 34205
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3713
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       173.98
                                                                                                                     $________________________________
 Jennifer Jones                                                      Check all that apply.
 8115 Norton Ave                                                      Contingent
                                                                      Unliquidated
 West Hollywood, CA, 90046                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3714
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Joseph                                                     Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 7801 Cherrybrook ct                                                  Contingent
                                                                      Unliquidated
 Severn, MD, 21144                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3715
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.99
                                                                                                                     $________________________________
 Jennifer Kean                                                       Check all that apply.
 1602 Lake Mars Ave                                                   Contingent
                                                                      Unliquidated
 Ocean Springs, MS, 39564                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3716
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Lam                                                        Check all that apply.
                                                                                                                       119.75
                                                                                                                     $________________________________
 2315 60th Street                                                     Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11204                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3717
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             152.41
                                                                                                                     $________________________________
 Jennifer Lam                                                         Contingent
 2315 60th street                                                     Unliquidated
                                                                      Disputed
 Brooklyn, NY, 11204
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3718
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.43
                                                                                                                     $________________________________
 Jennifer Littlejohn                                                 Check all that apply.
 Po box 181                                                           Contingent
                                                                      Unliquidated
 Onsted, MI, 49265                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3719
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Maddox                                                     Check all that apply.
                                                                                                                      139.99
                                                                                                                     $________________________________
 10 Wabon Street, 2                                                   Contingent
                                                                      Unliquidated
 Boston, MA, 2121                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3720
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Jennifer Matos                                                      Check all that apply.
 2793 W CALLE VISTA DR                                                Contingent
                                                                      Unliquidated
 Rialto, CA, 92377                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3721
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer McCollister                                                Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 355 South Wahanna Road, 17                                           Contingent
                                                                      Unliquidated
 Seaside, OR, 97138                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3722
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Jennifer Miyano                                                      Contingent
 135 ARDMORE AVE                                                      Unliquidated
                                                                      Disputed
 HERMOSA BEACH, CA, 90254
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3723
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       69.99
                                                                                                                     $________________________________
 Jennifer Ocean                                                      Check all that apply.
 410 East 57th Street, 3A                                             Contingent
                                                                      Unliquidated
 New York, NY, 10022                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3724
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Orozco                                                     Check all that apply.
                                                                                                                      57.88
                                                                                                                     $________________________________
 310 Knight Ln                                                        Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92704                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3725
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.68
                                                                                                                     $________________________________
 Jennifer Owen                                                       Check all that apply.
 571 Boca Chica Circle, Apt 202                                       Contingent
                                                                      Unliquidated
 Ocoee, FL, 34761                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3726
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Patten                                                     Check all that apply.
                                                                                                                       27.84
                                                                                                                     $________________________________
 14148 Cobalt Cir NW                                                  Contingent
                                                                      Unliquidated
 Ramsey, MN, 55303                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3727
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.77
                                                                                                                     $________________________________
 Jennifer Reich                                                       Contingent
 12215 Braxfield Court, #10                                           Unliquidated
                                                                      Disputed
 North Bethesda, MD, 20852
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3728
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.99
                                                                                                                     $________________________________
 Jennifer Rolon                                                      Check all that apply.
 811 Beverley Road, 2C                                                Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11218                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3729
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Rozycki                                                    Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 11715 East Evans Avenue                                              Contingent
                                                                      Unliquidated
 Aurora, CO, 80014                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3730
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                     $________________________________
 Jennifer Sandoval                                                   Check all that apply.
 1054 Fredrick Boulevard                                              Contingent
                                                                      Unliquidated
 Reading, PA, 19605                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3731
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Sargent                                                    Check all that apply.
                                                                                                                       31.98
                                                                                                                     $________________________________
 418 Thompson                                                         Contingent
                                                                      Unliquidated
 St Joseph, MO, 64504                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3732
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Jennifer Segura                                                      Contingent
 773 Avalon Way                                                       Unliquidated
                                                                      Disputed
 Livermore, CA, 94550
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3733
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Jennifer Settles                                                    Check all that apply.
 444 Sheyenne Street Apt 408                                          Contingent
                                                                      Unliquidated
 West Fargo, ND, 58078                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3734
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Smith                                                      Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 17 Woodford Dr                                                       Contingent
                                                                      Unliquidated
 Fredericksburg, VA, 22405                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3735
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Jennifer Soriano                                                    Check all that apply.
 495 W Terrace St                                                     Contingent
                                                                      Unliquidated
 Altadena, CA, 91001                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3736
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Svane                                                      Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 2607 Larlin Dr.                                                      Contingent
                                                                      Unliquidated
 Everett, WA, 98203-6928                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3737
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.98
                                                                                                                     $________________________________
 Jennifer Tsai                                                        Contingent
 142 STOCKBRIDGE AVE                                                  Unliquidated
                                                                      Disputed
 ALHAMBRA, CA, 91801
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3738
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       76.96
                                                                                                                     $________________________________
 Jennifer Ventura                                                    Check all that apply.
 11160 C-1 South Lakes Drive, 614                                     Contingent
                                                                      Unliquidated
 Reston, VA, 20191                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3739
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jennifer Wagher                                                     Check all that apply.
                                                                                                                      15.89
                                                                                                                     $________________________________
 206 candlewood way                                                   Contingent
                                                                      Unliquidated
 Harleysville, PA, 19438                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3740
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Jennirose Pedro                                                     Check all that apply.
 66-913 Alena Loop                                                    Contingent
                                                                      Unliquidated
 Waialua, HI, 96791                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3741
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jenny Juarez                                                        Check all that apply.
                                                                                                                       19.46
                                                                                                                     $________________________________
 7507 Riptide Dr                                                      Contingent
                                                                      Unliquidated
 Houston, TX, 77072                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3742
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.99
                                                                                                                     $________________________________
 Jenny Miller                                                         Contingent
 2124 Thomas Street                                                   Unliquidated
                                                                      Disputed
 Ashland, KY, 41101
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3743
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       57.99
                                                                                                                     $________________________________
 Jenny Saucerman                                                     Check all that apply.
 2001 Bristol Street                                                  Contingent
                                                                      Unliquidated
 Middleton, WI, 53562                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3744
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jenny Wong                                                          Check all that apply.
                                                                                                                      37.99
                                                                                                                     $________________________________
 3324 S Justine St                                                    Contingent
                                                                      Unliquidated
 Chicago, IL, 60608                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3745
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.46
                                                                                                                     $________________________________
 Jenson Turner                                                       Check all that apply.
 1624 Eleanor Drive                                                   Contingent
                                                                      Unliquidated
 Haslet, TX, 76052                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3746
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jenwei Lin                                                          Check all that apply.
                                                                                                                       79.47
                                                                                                                     $________________________________
 2778 Maddison Towns Ave                                              Contingent
                                                                      Unliquidated
 Norcross, GA, 30071                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3747
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.92
                                                                                                                     $________________________________
 Jerald Skilton                                                       Contingent
 7281 LOBELIA RD                                                      Unliquidated
                                                                      Disputed
 FORT MYERS, FL, 33967
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3748
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.98
                                                                                                                     $________________________________
 Jeramie Robinson                                                    Check all that apply.
 1099 Polaris Rd                                                      Contingent
                                                                      Unliquidated
 Helena, MT, 59602-8269                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3749
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeremiah Bowers                                                     Check all that apply.
                                                                                                                      25.42
                                                                                                                     $________________________________
 17248 American Elm Ct                                                Contingent
                                                                      Unliquidated
 Dumfries, VA, 22026                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3750
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      952.93
                                                                                                                     $________________________________
 Jeremiah D                                                          Check all that apply.
 13364 Blackburn Road                                                 Contingent
                                                                      Unliquidated
 Athens, AL, 35611                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3751
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeremiah Davenport                                                  Check all that apply.
                                                                                                                       35.98
                                                                                                                     $________________________________
 1315 LANCER VILLAGE DR, 205                                          Contingent
                                                                      Unliquidated
 LA CRESCENT, MN, 55947                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3752
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Jeremiah Harvey Maximus Collectors                                   Contingent
 703 River Rd                                                         Unliquidated
                                                                      Disputed
 Binghamton, NY, 13901
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3753
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.48
                                                                                                                     $________________________________
 Jeremiah Owens                                                      Check all that apply.
 424 Eloquence Drive                                                  Contingent
                                                                      Unliquidated
 Boiling Springs, SC, 29316                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3754
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeremiah Perez                                                      Check all that apply.
                                                                                                                      58.63
                                                                                                                     $________________________________
 233 Prospect Street, 4A                                              Contingent
                                                                      Unliquidated
 East orange, NJ, 7017                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3755
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.98
                                                                                                                     $________________________________
 Jeremiah Reeves                                                     Check all that apply.
 18627 BROOKHURST ST 557                                              Contingent
                                                                      Unliquidated
 Fountain Valley, CA, 92708                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3756
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeremiah Scott                                                      Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 806 W Palo Verde Dr                                                  Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85013                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3757
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.85
                                                                                                                     $________________________________
 Jeremy Belisle                                                       Contingent
 675 Burlington Rd                                                    Unliquidated
                                                                      Disputed
 Saint Paul, MN, 55119
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3758
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       88.98
                                                                                                                     $________________________________
 JEREMY BERTEL                                                       Check all that apply.
 6 CARLSTAD ST APT 2                                                  Contingent
                                                                      Unliquidated
 WORCESTER, MA, 01607-1948                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3759
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeremy Blodnieks                                                    Check all that apply.
                                                                                                                      29.95
                                                                                                                     $________________________________
 2925 Begonia Way                                                     Contingent
                                                                      Unliquidated
 Hollywood, FL, 33026                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3760
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.77
                                                                                                                     $________________________________
 Jeremy Bower-Anspach                                                Check all that apply.
 509 Hickory Drive                                                    Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80911                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3761
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeremy Bremer                                                       Check all that apply.
                                                                                                                       84.83
                                                                                                                     $________________________________
 16280 RED CLOVER LANE                                                Contingent
                                                                      Unliquidated
 NOBLESVILLE, IN, 46062                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3762
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.99
                                                                                                                     $________________________________
 Jeremy Charles                                                       Contingent
 24 Roy I Road                                                        Unliquidated
                                                                      Disputed
 Belleville, PA, 17004
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3763
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       43.99
                                                                                                                     $________________________________
 Jeremy Chen                                                         Check all that apply.
 1245 Boot Hill Ln                                                    Contingent
                                                                      Unliquidated
 NewCastle, CA, 95658                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3764
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeremy Clark                                                        Check all that apply.
                                                                                                                      76.96
                                                                                                                     $________________________________
 40 Ewing Dr                                                          Contingent
                                                                      Unliquidated
 Reisterstown, MD, 21136-3636                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3765
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.89
                                                                                                                     $________________________________
 Jeremy Delong                                                       Check all that apply.
 4914 Reed Road, Apt H                                                Contingent
                                                                      Unliquidated
 Columbus, OH, 43220                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3766
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeremy Feeley                                                       Check all that apply.
                                                                                                                       15.89
                                                                                                                     $________________________________
 6 Blue Spruce Way                                                    Contingent
                                                                      Unliquidated
 Elkton, MD, 21921                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3767
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.49
                                                                                                                     $________________________________
 Jeremy Hines                                                         Contingent
 6000 Leafridge Lane                                                  Unliquidated
                                                                      Disputed
 Columbus, OH, 43232
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3768
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.34
                                                                                                                     $________________________________
 Jeremy Hodge                                                        Check all that apply.
 1625 Westridge Pl                                                    Contingent
                                                                      Unliquidated
 Modesto, CA, 95358-1082                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3769
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JEREMY HODGES                                                       Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 3758 Hideaway Lane                                                   Contingent
                                                                      Unliquidated
 Grass Lake, MI, 49240                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3770
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Jeremy Holter                                                       Check all that apply.
 908 53rd ST SE                                                       Contingent
                                                                      Unliquidated
 Minot, ND, 58701                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3771
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeremy Kasprak                                                      Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 1714 W Rain Ln                                                       Contingent
                                                                      Unliquidated
 Spokane, WA, 99208                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3772
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.58
                                                                                                                     $________________________________
 Jeremy Mccool                                                        Contingent
 219 Cherbourg Street                                                 Unliquidated
                                                                      Disputed
 Houma, LA, 70363
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3773
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.99
                                                                                                                     $________________________________
 Jeremy Moore                                                        Check all that apply.
 207 Pleasant Avenue                                                  Contingent
                                                                      Unliquidated
 Highlands, TX, 77562                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3774
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeremy Roper                                                        Check all that apply.
                                                                                                                      44.97
                                                                                                                     $________________________________
 3105 north 4th street, 34                                            Contingent
                                                                      Unliquidated
 coeur d'alene, ID, 83815                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3775
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Jeremy Rubio                                                        Check all that apply.
 10019 Carole Lane                                                    Contingent
                                                                      Unliquidated
 Baytown, TX, 77521                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3776
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jeremy Startz                                                       Check all that apply.
                                                                                                                       94.97
                                                                                                                     $________________________________
 4839 6th Street                                                      Contingent
                                                                      Unliquidated
 Zephyrhills, FL, 33542                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3777
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Jeremy Swank                                                         Contingent
 4011 Alabama Street, Apt 2208                                        Unliquidated
                                                                      Disputed
 El Paso, TX, 79930
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3778
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.84
                                                                                                                     $________________________________
 Jeremy Torres                                                       Check all that apply.
 12 Midfield St                                                       Contingent
                                                                      Unliquidated
 Stony Brook, NY, 11790-2942                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3779
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jerico Salon                                                        Check all that apply.
                                                                                                                      622.91
                                                                                                                     $________________________________
 11047 Coral Drive                                                    Contingent
                                                                      Unliquidated
 Jurupa Valley, CA, 91752                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3780
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      50.99
                                                                                                                     $________________________________
 Jerielle Baculi                                                     Check all that apply.
 4030 North 44th Avenue, Apt 1054                                     Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85031                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3781
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jermaine Melendez                                                   Check all that apply.
                                                                                                                       79.99
                                                                                                                     $________________________________
 2825 sierra goldway                                                  Contingent
                                                                      Unliquidated
 riverbank, CA, 95367                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3782
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.99
                                                                                                                     $________________________________
 Jermiah Chatman                                                      Contingent
 900 Canteberry Ln                                                    Unliquidated
                                                                      Disputed
 Smithfield, VA, 23430
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3783
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       65.98
                                                                                                                     $________________________________
 Jerome Bernardi                                                     Check all that apply.
 5146 Glendenning Road                                                Contingent
                                                                      Unliquidated
 North Lewisburg, OH, 43060                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3784
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jerome Eaton                                                        Check all that apply.
                                                                                                                      99.98
                                                                                                                     $________________________________
 1320w West 101st Street                                              Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90044                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3785
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      73.99
                                                                                                                     $________________________________
 Jerome Simmons                                                      Check all that apply.
 1228 W Northwest Blvd Suite A                                        Contingent
                                                                      Unliquidated
 Spokane, WA, 99205                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3786
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jerrilyn De Cambra                                                  Check all that apply.
                                                                                                                       12.49
                                                                                                                     $________________________________
 919 Ehoeho St.                                                       Contingent
                                                                      Unliquidated
 Makawao, HI, 96768                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3787
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             252.46
                                                                                                                     $________________________________
 Jerry Chao                                                           Contingent
 930 North Monterey Street, #231                                      Unliquidated
                                                                      Disputed
 Alhambra, CA, 91801
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3788
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.88
                                                                                                                     $________________________________
 Jerry Halbeisen                                                     Check all that apply.
 7260 Cold Harbor Rd, Apt. 103                                        Contingent
                                                                      Unliquidated
 Mechanicsville, VA, 23111                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3789
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jerry Soto                                                          Check all that apply.
                                                                                                                      57.18
                                                                                                                     $________________________________
 8451 Albia St                                                        Contingent
                                                                      Unliquidated
 Downey, CA, 90242                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3790
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      93.08
                                                                                                                     $________________________________
 Jerry Sun                                                           Check all that apply.
 14131 Kingsride Lane                                                 Contingent
                                                                      Unliquidated
 Houston, TX, 77079                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3791
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jerry Vongkhamsay                                                   Check all that apply.
                                                                                                                       53.79
                                                                                                                     $________________________________
 7319 W Acacia St                                                     Contingent
                                                                      Unliquidated
 Milwaukee, WI, 53223                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3792
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.31
                                                                                                                     $________________________________
 jess delgado                                                         Contingent
 2205 S Walker Ave                                                    Unliquidated
                                                                      Disputed
 ontario, CA, 91761-8305
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3793
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       67.10
                                                                                                                     $________________________________
 Jess Shea                                                           Check all that apply.
 605 3rd Street                                                       Contingent
                                                                      Unliquidated
 Gregory, TX, 78359                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3794
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessamin Karabinovich                                               Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 3835 Michaels Way                                                    Contingent
                                                                      Unliquidated
 Cumming, GA, 30040                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3795
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.98
                                                                                                                     $________________________________
 JESSE BONILLA                                                       Check all that apply.
 9157 Bearint Way                                                     Contingent
                                                                      Unliquidated
 Elk Grove, CA, 95758                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3796
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jesse carpenter                                                     Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 1593 w homecoming way                                                Contingent
                                                                      Unliquidated
 Tucson, AZ, 85704                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3797
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             79.42
                                                                                                                     $________________________________
 Jesse Clark                                                          Contingent
 727 N. Wahsatch Ave.                                                 Unliquidated
                                                                      Disputed
 Colorado Springs, CO, 80903
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3798
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Jesse Couch                                                         Check all that apply.
 1313 S Bowdish Rd                                                    Contingent
                                                                      Unliquidated
 Spokane Valley, WA, 99206-5480                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3799
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesse Crowder                                                       Check all that apply.
                                                                                                                      219.34
                                                                                                                     $________________________________
 3316 Santa Rosa Dr                                                   Contingent
                                                                      Unliquidated
 Gulf Breeze, FL, 32563                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3800
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      75.96
                                                                                                                     $________________________________
 jesse cusworth                                                      Check all that apply.
 6033 Godwin Boulevard                                                Contingent
                                                                      Unliquidated
 Suffolk, VA, 23432                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3801
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesse Diaz                                                          Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 750 Irish rd                                                         Contingent
                                                                      Unliquidated
 Rural Hall, NC, 27045                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3802
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 jesse diaz                                                           Contingent
 9810 Carmenita Rd                                                    Unliquidated
                                                                      Disputed
 Whittier, CA, 90605
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3803
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.19
                                                                                                                     $________________________________
 Jesse Griffis                                                       Check all that apply.
 130 Myers Road                                                       Contingent
                                                                      Unliquidated
 Odenville, AL, 35120                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3804
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesse Hernandez                                                     Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 22915 Provincial Blvd.                                               Contingent
                                                                      Unliquidated
 Katy, TX, 77450                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3805
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                     $________________________________
 Jesse Hernandez                                                     Check all that apply.
 6615 Kenwell St                                                      Contingent
                                                                      Unliquidated
 Dallas, TX, 75209                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3806
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesse Jedrusiak                                                     Check all that apply.
                                                                                                                       219.34
                                                                                                                     $________________________________
 910 NJ-36, Unit 304                                                  Contingent
                                                                      Unliquidated
 Hazlet, NJ, 7730                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3807
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.99
                                                                                                                     $________________________________
 Jesse Laurienti                                                      Contingent
 9300 Ciancio Street                                                  Unliquidated
                                                                      Disputed
 Thornton, CO, 80229
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3808
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Jesse OBrien                                                        Check all that apply.
 1411 1st Street West, Apt 211                                        Contingent
                                                                      Unliquidated
 Thief River Falls, MN, 56701                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3809
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesse Orozco                                                        Check all that apply.
                                                                                                                      183.16
                                                                                                                     $________________________________
 1925 E Grand Ave, APT 40                                             Contingent
                                                                      Unliquidated
 Escondido, CA, 92027                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3810
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      125.86
                                                                                                                     $________________________________
 Jesse Owen                                                          Check all that apply.
 132 North Cortez Street, A                                           Contingent
                                                                      Unliquidated
 New Orleans, LA, 70119                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3811
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesse Santos                                                        Check all that apply.
                                                                                                                       149.78
                                                                                                                     $________________________________
 10220 County Road 223                                                Contingent
                                                                      Unliquidated
 Oxford, FL, 34484                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3812
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             102.40
                                                                                                                     $________________________________
 Jesse Silver                                                         Contingent
 5505 Graves Rd                                                       Unliquidated
                                                                      Disputed
 Cincinnati, OH, 45243
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3813
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Jesse Tarantino                                                     Check all that apply.
 156 Porter Street unit 204                                           Contingent
                                                                      Unliquidated
 East Boston, MA, 02128-2134                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3814
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesse Terwillegar                                                   Check all that apply.
                                                                                                                      43.43
                                                                                                                     $________________________________
 6462 Navajo Place                                                    Contingent
                                                                      Unliquidated
 Maple Falls, WA, 98266                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3815
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      186.54
                                                                                                                     $________________________________
 Jesse Vance                                                         Check all that apply.
 80 Campus Drive                                                      Contingent
                                                                      Unliquidated
 Edison, NJ, 8837                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3816
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessi LaBruno                                                       Check all that apply.
                                                                                                                       27.55
                                                                                                                     $________________________________
 3240 Morningside Dr                                                  Contingent
                                                                      Unliquidated
 Chesapeake, VA, 23321-4612                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3817
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.55
                                                                                                                     $________________________________
 Jessica Nicholson                                                    Contingent
 4734 Mawani Rd                                                       Unliquidated
                                                                      Disputed
 Baltimore, MD, 21206
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3818
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       7.99
                                                                                                                     $________________________________
 Jessica Pinto                                                       Check all that apply.
 618 Grandiflora Dr                                                   Contingent
                                                                      Unliquidated
 Orlando, FL, 32811                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3819
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Alder                                                       Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 1155 5th St., Apt #404                                               Contingent
                                                                      Unliquidated
 Oakland, CA, 94607                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3820
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.65
                                                                                                                     $________________________________
 Jessica Baez                                                        Check all that apply.
 25-76 Steinway Street, Apt 3                                         Contingent
                                                                      Unliquidated
 Queens, NY, 11103                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3821
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Baker                                                       Check all that apply.
                                                                                                                       326.98
                                                                                                                     $________________________________
 714 Market Street                                                    Contingent
                                                                      Unliquidated
 Gloucester City, NJ, 8030                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3822
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             84.99
                                                                                                                     $________________________________
 Jessica Balsizer                                                     Contingent
 231 Oakwood Drive                                                    Unliquidated
                                                                      Disputed
 Alabaster, AL, 35007
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3823
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.99
                                                                                                                     $________________________________
 Jessica Bolding                                                     Check all that apply.
 1613 college                                                         Contingent
                                                                      Unliquidated
 Lewisville, TX, 75077                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3824
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Burgos                                                      Check all that apply.
                                                                                                                      34.99
                                                                                                                     $________________________________
 410 SE 7th Ave                                                       Contingent
                                                                      Unliquidated
 Deerfield Bch, FL, 33441-4826                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3825
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.98
                                                                                                                     $________________________________
 Jessica C Newell                                                    Check all that apply.
 9615 Mossridge Dr                                                    Contingent
                                                                      Unliquidated
 Dallas, TX, 75238                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3826
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Carmichael                                                  Check all that apply.
                                                                                                                       39.41
                                                                                                                     $________________________________
 16039 Acre Street                                                    Contingent
                                                                      Unliquidated
 Los Angeles, CA, 91343                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3827
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Jessica Childs                                                       Contingent
 15438 Seamount Cay Court 102                                         Unliquidated
                                                                      Disputed
 Corpus Christi, TX, 78418
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3828
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.99
                                                                                                                     $________________________________
 Jessica Clark                                                       Check all that apply.
 75 Woodbine Ave                                                      Contingent
                                                                      Unliquidated
 Concord, NH, 3303                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3829
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Craw                                                        Check all that apply.
                                                                                                                      15.89
                                                                                                                     $________________________________
 5105 Sprucewood Dr                                                   Contingent
                                                                      Unliquidated
 Louisville, KY, 40291                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3830
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.55
                                                                                                                     $________________________________
 Jessica DeCormier                                                   Check all that apply.
 1712 Northampton St, Apt 3L                                          Contingent
                                                                      Unliquidated
 Holyoke, MA, 01040-1997                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3831
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica DeLorm                                                      Check all that apply.
                                                                                                                       32.78
                                                                                                                     $________________________________
 1003 Williams ST NW                                                  Contingent
                                                                      Unliquidated
 Orting, WA, 98360                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3832
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.61
                                                                                                                     $________________________________
 Jessica Donoho                                                       Contingent
 Po box 10072                                                         Unliquidated
                                                                      Disputed
 Brooksville, FL, 34603
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3833
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.99
                                                                                                                     $________________________________
 JESSICA DUFF                                                        Check all that apply.
 2491 BENCH REEF PL                                                   Contingent
                                                                      Unliquidated
 HENDERSON, NV, 89052                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3834
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Gabaldon                                                    Check all that apply.
                                                                                                                      16.30
                                                                                                                     $________________________________
 11655 West Levi Drive                                                Contingent
                                                                      Unliquidated
 Avondale, AZ, 85323                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3835
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.50
                                                                                                                     $________________________________
 Jessica Gandy                                                       Check all that apply.
 3930 Mohigan Way                                                     Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89119                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3836
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Hidalgo                                                     Check all that apply.
                                                                                                                       16.15
                                                                                                                     $________________________________
 5040 3rd Street                                                      Contingent
                                                                      Unliquidated
 Rocklin, CA, 95677                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  3837
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             88.99
                                                                                                                     $________________________________
 Jessica Honadel                                                      Contingent
 17273 S. Lichtenauer Drive                                           Unliquidated
                                                                      Disputed
 Olathe, KS, 66062
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3838
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       63.96
                                                                                                                     $________________________________
 Jessica Jimenez                                                     Check all that apply.
 319 High Street                                                      Contingent
                                                                      Unliquidated
 Elizabeth, NJ, 7202                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3839
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Laughter                                                    Check all that apply.
                                                                                                                      26.71
                                                                                                                     $________________________________
 Po box 1110                                                          Contingent
                                                                      Unliquidated
 Tuba City, AZ, 86045                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3840
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.99
                                                                                                                     $________________________________
 Jessica Mallory                                                     Check all that apply.
 1419 Chirikof Court                                                  Contingent
                                                                      Unliquidated
 Anchorage, AK, 99507                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3841
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica McCarthy                                                    Check all that apply.
                                                                                                                       32.58
                                                                                                                     $________________________________
 193 Jerome Avenue                                                    Contingent
                                                                      Unliquidated
 Mineola, NY, 11501                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  3842
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             71.16
                                                                                                                     $________________________________
 Jessica Meir                                                         Contingent
 200 S La Peer Dr                                                     Unliquidated
                                                                      Disputed
 Beverly Hills, CA, 90211
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3843
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.07
                                                                                                                     $________________________________
 Jessica Minga                                                       Check all that apply.
 4681 West Beeplant Way                                               Contingent
                                                                      Unliquidated
 Tucson, AZ, 85741                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3844
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Oakes                                                       Check all that apply.
                                                                                                                      78.97
                                                                                                                     $________________________________
 12 Kibbie Rd                                                         Contingent
                                                                      Unliquidated
 Brushton, NY, 12916                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3845
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.93
                                                                                                                     $________________________________
 Jessica Privett                                                     Check all that apply.
 11089 sharon meadows dr.                                             Contingent
                                                                      Unliquidated
 Sharonville, OH, 45241                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3846
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Rodriguez                                                   Check all that apply.
                                                                                                                       28.13
                                                                                                                     $________________________________
 2514 sabana ln                                                       Contingent
                                                                      Unliquidated
 Laredo, TX, 78046                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3847
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.99
                                                                                                                     $________________________________
 Jessica Saiontz                                                      Contingent
 22547 SW 102nd Avenue                                                Unliquidated
                                                                      Disputed
 Cutler Bay, FL, 33190
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3848
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Jessica Souza                                                       Check all that apply.
 2237 Pacer way                                                       Contingent
                                                                      Unliquidated
 Turlock, CA, 95380                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3849
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Trebolo                                                     Check all that apply.
                                                                                                                      37.61
                                                                                                                     $________________________________
 5009 Pinehurst Court                                                 Contingent
                                                                      Unliquidated
 Johnsburg, IL, 60051                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3850
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Jessica Walker                                                      Check all that apply.
 14003 Gatewood Road                                                  Contingent
                                                                      Unliquidated
 Petersburg, VA, 23805                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3851
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessica Wang                                                        Check all that apply.
                                                                                                                       77.97
                                                                                                                     $________________________________
 3604 Sadlers Walk                                                    Contingent
                                                                      Unliquidated
 Marietta, GA, 30068                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3852
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.98
                                                                                                                     $________________________________
 jessie leon                                                          Contingent
 8623 Burnet Avenue, unit J                                           Unliquidated
                                                                      Disputed
 Los Angeles, CA, 91343
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3853
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       235.95
                                                                                                                     $________________________________
 Jessie Frederick                                                    Check all that apply.
 PO Box 234                                                           Contingent
                                                                      Unliquidated
 Bath, ME, 4530                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3854
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessie Piltch-Loeb                                                  Check all that apply.
                                                                                                                      134.90
                                                                                                                     $________________________________
 75 Dana St                                                           Contingent
                                                                      Unliquidated
 CAMBRIDGE, MA, 2138                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3855
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.99
                                                                                                                     $________________________________
 Jessie Wong                                                         Check all that apply.
 173 WASHINGTON DR                                                    Contingent
                                                                      Unliquidated
 Milpitas, CA, 95035                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3856
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jessinda Clark                                                      Check all that apply.
                                                                                                                       63.98
                                                                                                                     $________________________________
 P.O. Box 4175                                                        Contingent
                                                                      Unliquidated
 Omak, WA, 98841                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3857
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             184.01
                                                                                                                     $________________________________
 Jessy Enriquez                                                       Contingent
 3917 Weems Street                                                    Unliquidated
                                                                      Disputed
 Houston, TX, 77009
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3858
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.81
                                                                                                                     $________________________________
 Jesus Torres                                                        Check all that apply.
 108 Avenue B, Apartment 3R                                           Contingent
                                                                      Unliquidated
 Woonsocket, RI, 2895                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3859
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesus Arellano                                                      Check all that apply.
                                                                                                                      23.99
                                                                                                                     $________________________________
 4608 Prock Ln Apt A                                                  Contingent
                                                                      Unliquidated
 Austin, TX, 78721                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3860
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      48.99
                                                                                                                     $________________________________
 Jesus Barraza                                                       Check all that apply.
 2360 Tocayo Avenue, Unit 89                                          Contingent
                                                                      Unliquidated
 San Diego, CA, 92154                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3861
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesus Gastelum                                                      Check all that apply.
                                                                                                                       97.98
                                                                                                                     $________________________________
 14045 1/2 Orizaba Avenue                                             Contingent
                                                                      Unliquidated
 Paramount, CA, 90723                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3862
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.99
                                                                                                                     $________________________________
 Jesus Herrera                                                        Contingent
 410 E Geneva St                                                      Unliquidated
                                                                      Disputed
 Rogers, AR, 72758
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3863
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       110.97
                                                                                                                     $________________________________
 Jesus Ibarrola                                                      Check all that apply.
 3915 WATERWOOD PASS DR.                                              Contingent
                                                                      Unliquidated
 ELMENDORF, TX, 78112                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3864
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesus Martinez                                                      Check all that apply.
                                                                                                                      278.81
                                                                                                                     $________________________________
 300 S 24th ST                                                        Contingent
                                                                      Unliquidated
 Lincoln, NE, 68510                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3865
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      89.99
                                                                                                                     $________________________________
 Jesus Navarro                                                       Check all that apply.
 1205 Cabot Dr                                                        Contingent
                                                                      Unliquidated
 Dallas, TX, 75217-6837                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3866
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JESUS Palacios                                                      Check all that apply.
                                                                                                                       27.04
                                                                                                                     $________________________________
 3408 Pine St                                                         Contingent
                                                                      Unliquidated
 Laredo, TX, 78046                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3867
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             99.99
                                                                                                                     $________________________________
 Jesus Perez                                                          Contingent
 1753 W 3rd St                                                        Unliquidated
                                                                      Disputed
 Santa Rosa, CA, 95401
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3868
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.65
                                                                                                                     $________________________________
 Jesus Rodriguez                                                     Check all that apply.
 2383 w 5650 s                                                        Contingent
                                                                      Unliquidated
 Roy, UT, 84067                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3869
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesus Rodriguez                                                     Check all that apply.
                                                                                                                      64.98
                                                                                                                     $________________________________
 Bo Puente Zarza Calle C #25, Hc 04 Box 19054                         Contingent
                                                                      Unliquidated
 Camuy, PR, 627                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3870
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      214.94
                                                                                                                     $________________________________
 Jesus Romero                                                        Check all that apply.
 5197 sw 175th ave, Apt 8                                             Contingent
                                                                      Unliquidated
 Aloha, OR, 97078                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3871
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesus Salazar                                                       Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 2006 Airline Rd, Apt 402                                             Contingent
                                                                      Unliquidated
 Corpus Christi, TX, 78412                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3872
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.99
                                                                                                                     $________________________________
 Jesus Solorzano                                                      Contingent
 2540 Country Hills Road, 257                                         Unliquidated
                                                                      Disputed
 Brea, CA, 92821
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3873
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       677.94
                                                                                                                     $________________________________
 Jesus Torres                                                        Check all that apply.
 2216 NW 135th Ter                                                    Contingent
                                                                      Unliquidated
 Opa Locka, FL, 33054-4020                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3874
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesus Trevizo                                                       Check all that apply.
                                                                                                                      26.39
                                                                                                                     $________________________________
 12009 South Kildare Avenue                                           Contingent
                                                                      Unliquidated
 Alsip, IL, 60803                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3875
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      215.76
                                                                                                                     $________________________________
 Jesus V                                                             Check all that apply.
 9679 Gilpin ST.                                                      Contingent
                                                                      Unliquidated
 Denver, CO, 80229                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3876
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jesus Zarate                                                        Check all that apply.
                                                                                                                       25.96
                                                                                                                     $________________________________
 230 Mariposa St                                                      Contingent
                                                                      Unliquidated
 Madera, CA, 93638                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3877
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.42
                                                                                                                     $________________________________
 Jeswin Veliyathukudy                                                 Contingent
 303 W Asbury Dr                                                      Unliquidated
                                                                      Disputed
 Round Lake, IL, 60073-5644
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3878
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.53
                                                                                                                     $________________________________
 Jett Turner                                                         Check all that apply.
 1223 North Avenue 56, 9                                              Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90042                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3879
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jheremy Iparra                                                      Check all that apply.
                                                                                                                      28.61
                                                                                                                     $________________________________
 1752 West Broad St                                                   Contingent
                                                                      Unliquidated
 Bethlehem, PA, 18018                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3880
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.36
                                                                                                                     $________________________________
 Jherwin Torres                                                      Check all that apply.
 13774 Chase Street                                                   Contingent
                                                                      Unliquidated
 Los Angeles, CA, 91331                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3881
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jhonny Rodriguez                                                    Check all that apply.
                                                                                                                       69.69
                                                                                                                     $________________________________
 8155 S REDWOOD RD, Trlr 57                                           Contingent
                                                                      Unliquidated
 WEST JORDAN, UT, 84088-9479                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3882
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5.50
                                                                                                                     $________________________________
 Jia Lin Chen                                                         Contingent
 919 W Mission Rd                                                     Unliquidated
                                                                      Disputed
 Alhambra, CA, 91801
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3883
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 jiajian hu                                                          Check all that apply.
 37164 CORALBURST ST                                                  Contingent
                                                                      Unliquidated
 Sandy, OR, 97055                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3884
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jiale Qin                                                           Check all that apply.
                                                                                                                      279.98
                                                                                                                     $________________________________
 20800 Homesstead Rd Apt 31A                                          Contingent
                                                                      Unliquidated
 Cupertino, CA, 95014                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3885
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.32
                                                                                                                     $________________________________
 Jiaming Liang                                                       Check all that apply.
 16 Lavender Ct                                                       Contingent
                                                                      Unliquidated
 Daly City, CA, 94014                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3886
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jianna Acerbo                                                       Check all that apply.
                                                                                                                       26.65
                                                                                                                     $________________________________
 18 Tenby Chase Drive                                                 Contingent
                                                                      Unliquidated
 Voorhees Township, NJ, 8043                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3887
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.53
                                                                                                                     $________________________________
 Jianna Harrison                                                      Contingent
 8802 Johnston Street                                                 Unliquidated
                                                                      Disputed
 Highland, IN, 46322
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3888
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.06
                                                                                                                     $________________________________
 JIASHENG XU                                                         Check all that apply.
 167 Concord St                                                       Contingent
                                                                      Unliquidated
 San Francisco, CA, 94112                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3889
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JIAWEI LU                                                           Check all that apply.
                                                                                                                      784.92
                                                                                                                     $________________________________
 4136 66th St, Apt 1B                                                 Contingent
                                                                      Unliquidated
 Woodside, NY, 11377-3740                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3890
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Jill Rauer                                                          Check all that apply.
 111 Keswick Drive                                                    Contingent
                                                                      Unliquidated
 East Islip, NY, 11730                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3891
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jill Scott                                                          Check all that apply.
                                                                                                                       16.49
                                                                                                                     $________________________________
 1108 Mountain St NE                                                  Contingent
                                                                      Unliquidated
 Jacksonville, AL, 36265-1942                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3892
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.99
                                                                                                                     $________________________________
 Jillian Lovett                                                       Contingent
 4690 Portofino Way, Apt 208                                          Unliquidated
                                                                      Disputed
 West Palm Beach, FL, 33409
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3893
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.99
                                                                                                                     $________________________________
 jim davis                                                           Check all that apply.
 2014 lafayette st.                                                   Contingent
                                                                      Unliquidated
 scranton, PA, 18504                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3894
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jim Lagunas                                                         Check all that apply.
                                                                                                                      31.23
                                                                                                                     $________________________________
 5486 Riverside Dr Unit B                                             Contingent
                                                                      Unliquidated
 Chino, CA, 91710                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3895
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      249.99
                                                                                                                     $________________________________
 Jim Lee                                                             Check all that apply.
 2012 Paso Real Avenue                                                Contingent
                                                                      Unliquidated
 Rowland Heights, CA, 91748                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3896
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jim Seeberg                                                         Check all that apply.
                                                                                                                       79.99
                                                                                                                     $________________________________
 9382 Meadowview Drive                                                Contingent
                                                                      Unliquidated
 Orland Hills, IL, 60487                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3897
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             314.95
                                                                                                                     $________________________________
 Jim Zalud                                                            Contingent
 1031 Perth Dr                                                        Unliquidated
                                                                      Disputed
 Schaumburg, IL, 60194
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3898
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.21
                                                                                                                     $________________________________
 Jimena Garcia                                                       Check all that apply.
 1532 Lauren Dr                                                       Contingent
                                                                      Unliquidated
 Petaluma, CA, 94954                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3899
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jimi Lopex                                                          Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 5226 Lyndale Cir                                                     Contingent
                                                                      Unliquidated
 Forest Park, GA, 30297                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3900
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.26
                                                                                                                     $________________________________
 Jimmie wu                                                           Check all that apply.
 7719 upper 167th St W                                                Contingent
                                                                      Unliquidated
 Lakeville, MN, 55044                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3901
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jimmy Chow                                                          Check all that apply.
                                                                                                                       38.05
                                                                                                                     $________________________________
 220 Marigold Street,                                                 Contingent
                                                                      Unliquidated
 Danville, CA, 94506                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3902
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 Jimmy Johnson                                                        Contingent
 1103 Fairfield pike                                                  Unliquidated
                                                                      Disputed
 Shelbyville, TN, 37160
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3903
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Jimmy Mosher                                                        Check all that apply.
 2078 Cleveland rd                                                    Contingent
                                                                      Unliquidated
 Sandusky, OH, 44870-4451                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3904
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jimmy Nguyen                                                        Check all that apply.
                                                                                                                      93.06
                                                                                                                     $________________________________
 1402 Rodney Rd                                                       Contingent
                                                                      Unliquidated
 West Covina, CA, 91792-1528                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3905
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.78
                                                                                                                     $________________________________
 Jimmy Nguyen                                                        Check all that apply.
 2615 Elma St                                                         Contingent
                                                                      Unliquidated
 Kansas City, MO, 64124                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3906
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JIMMY NGUYEN                                                        Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 7149 W Claremont St                                                  Contingent
                                                                      Unliquidated
 Glendale, AZ, 85303                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3907
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 JIMMY NGUYEN                                                         Contingent
 7149 W Claremont St                                                  Unliquidated
                                                                      Disputed
 Glendale, AZ, 85303
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3908
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.23
                                                                                                                     $________________________________
 Jimmy Quach                                                         Check all that apply.
 3138 Kermath Drive                                                   Contingent
                                                                      Unliquidated
 San Jose, CA, 95132                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3909
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jimmy Stiles                                                        Check all that apply.
                                                                                                                      27.24
                                                                                                                     $________________________________
 Po box 1527                                                          Contingent
                                                                      Unliquidated
 Jasper, AL, 35502                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3910
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.65
                                                                                                                     $________________________________
 jin hong zhu                                                        Check all that apply.
 118 Elizabeth St, Apt 3c                                             Contingent
                                                                      Unliquidated
 New York, NY, 10013                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3911
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jin-Ning Tioh                                                       Check all that apply.
                                                                                                                       126.97
                                                                                                                     $________________________________
 1107 Delaware Avenue, Unit 1                                         Contingent
                                                                      Unliquidated
 Ames, IA, 50014                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3912
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             18.30
                                                                                                                     $________________________________
 Jing Zhi                                                             Contingent
 481 La Floresta Dr                                                   Unliquidated
                                                                      Disputed
 Brea, CA, 92823
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3913
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.99
                                                                                                                     $________________________________
 JINLIN ZHOU                                                         Check all that apply.
 18212 NW Montreux Dr                                                 Contingent
                                                                      Unliquidated
 Issaquah, WA, 98027                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3914
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jinlin Zhou                                                         Check all that apply.
                                                                                                                      606.88
                                                                                                                     $________________________________
 4614 238th Dr SE                                                     Contingent
                                                                      Unliquidated
 Sammamish, WA, 98029                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3915
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.45
                                                                                                                     $________________________________
 jj bond                                                             Check all that apply.
 1651 Greenville-Nashville Rd                                         Contingent
                                                                      Unliquidated
 Greenville, OH, 45331                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3916
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jj brough                                                           Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 228e 600n                                                            Contingent
                                                                      Unliquidated
 Kaysville, UT, 84037                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  3917
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             80.22
                                                                                                                     $________________________________
 jo bro                                                               Contingent
 206 Lala Dr                                                          Unliquidated
                                                                      Disputed
 reidsville, NC, 27320-9248
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3918
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.05
                                                                                                                     $________________________________
 JO ELLA CANTU                                                       Check all that apply.
 1218 Oaxaca                                                          Contingent
                                                                      Unliquidated
 Mission, TX, 78572                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3919
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joab Aguilar                                                        Check all that apply.
                                                                                                                      74.18
                                                                                                                     $________________________________
 1813 South 57th Avenue                                               Contingent
                                                                      Unliquidated
 Cicero, IL, 60804                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3920
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.98
                                                                                                                     $________________________________
 Joan Mekawy                                                         Check all that apply.
 226 Mauch Chunk St                                                   Contingent
                                                                      Unliquidated
 Nazareth, PA, 18064                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3921
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joani Bencosme                                                      Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 35-47 34th street, 2G                                                Contingent
                                                                      Unliquidated
 Astoria, NY, 11106-1982                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3922
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.72
                                                                                                                     $________________________________
 JoAnn Baker                                                          Contingent
 1074 N. Hulet Lane                                                   Unliquidated
                                                                      Disputed
 Flagstaff, AZ, 86004
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3923
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Joanna Lin                                                          Check all that apply.
 41 Maple Street                                                      Contingent
                                                                      Unliquidated
 Malden, MA, 2148                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3924
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joanna Ayala                                                        Check all that apply.
                                                                                                                      31.98
                                                                                                                     $________________________________
 831 COLUMBUS AVENUE                                                  Contingent
                                                                      Unliquidated
 STROUDSBURG, PA, 18360                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3925
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                     $________________________________
 Joanna Beblo                                                        Check all that apply.
 PO Box 1087                                                          Contingent
                                                                      Unliquidated
 Gresham, OR, 97030                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3926
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joanna Winkowski                                                    Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 9 Franklin Ave                                                       Contingent
                                                                      Unliquidated
 DERBY, CT, 6418                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3927
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             55.10
                                                                                                                      $________________________________
 Joanne Choi                                                           Contingent
 26314 Western Ave #200                                                Unliquidated
                                                                       Disputed
 Lomita, CA, 90717
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  3928
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        62.99
                                                                                                                      $________________________________
 Joanne Suski                                                         Check all that apply.
 7850 FM 1960 RD E APT 204                                             Contingent
                                                                       Unliquidated
 Humble, TX, 77346                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  3929
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Joannie Betancourt                                                   Check all that apply.
                                                                                                                       65.99
                                                                                                                      $________________________________
 4561 Gardens Park blvd, apt 5216, apt 5216                            Contingent
                                                                       Unliquidated
 ORLANDO, FL, 32839                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  3930
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       86.64
                                                                                                                      $________________________________
 Joao Sanchez Riquelme                                                Check all that apply.
 805 85st miami beach fl 33141                                         Contingent
                                                                       Unliquidated
 Miami Beach, FL, 33141                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  3931
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Joaquin Longoria                                                     Check all that apply.
                                                                                                                        35.71
                                                                                                                      $________________________________
 2401 Mancuso Bend                                                     Contingent
                                                                       Unliquidated
 Cedar Park, TX, 78613                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3932
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Jocelyn Li                                                           Contingent
 1720 Sandypoint Rd                                                   Unliquidated
                                                                      Disputed
 West Sacramento, CA, 95691
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3933
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.44
                                                                                                                     $________________________________
 Jocelynn Rubio                                                      Check all that apply.
 1145 Ciric Avenue                                                    Contingent
                                                                      Unliquidated
 Sacramento, CA, 95833                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3934
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jodean Duquette                                                     Check all that apply.
                                                                                                                      51.98
                                                                                                                     $________________________________
 501 Lindsay Road                                                     Contingent
                                                                      Unliquidated
 Newport, NY, 13416                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3935
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      86.94
                                                                                                                     $________________________________
 Jodi Banghart                                                       Check all that apply.
 1820 Washington Valley Road                                          Contingent
                                                                      Unliquidated
 Martinsville, NJ, 8836                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3936
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jodi Nash                                                           Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 222 Pheasant Run                                                     Contingent
                                                                      Unliquidated
 Hendersonville, NC, 28739-8323                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3937
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             119.99
                                                                                                                     $________________________________
 Jodi Whitler                                                         Contingent
 1266 S Old State Rd 65                                               Unliquidated
                                                                      Disputed
 Princeton, IN, 47670
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3938
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       61.47
                                                                                                                     $________________________________
 Jodie Cinco                                                         Check all that apply.
 37243 Maas Dr.                                                       Contingent
                                                                      Unliquidated
 Sterling Heights, MI, 48312                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3939
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jodie Collett                                                       Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 300 Justin Dr #3                                                     Contingent
                                                                      Unliquidated
 Weymouth, MA, 2188                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3940
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Jody Pack                                                           Check all that apply.
 411 Crestline Way                                                    Contingent
                                                                      Unliquidated
 Woodstock, GA, 30188                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3941
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joe Alvarez                                                         Check all that apply.
                                                                                                                       36.92
                                                                                                                     $________________________________
 59 Pine Acres Blvd                                                   Contingent
                                                                      Unliquidated
 Deer Park, NY, 11729-2712                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3942
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Joe Arenas                                                           Contingent
 9433 Hearthside ct                                                   Unliquidated
                                                                      Disputed
 Rancho Cucamonga, CA, 91730
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3943
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Joe Bariso                                                          Check all that apply.
 10420 Piper Dr.                                                      Contingent
                                                                      Unliquidated
 NEW PORT RICHEY, FL, 34654                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3944
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joe Bellanca                                                        Check all that apply.
                                                                                                                      260.14
                                                                                                                     $________________________________
 232 Washington Place                                                 Contingent
                                                                      Unliquidated
 Cliffside Park, NJ, 7010                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3945
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.59
                                                                                                                     $________________________________
 Joe Cvikel                                                          Check all that apply.
 1140 River Park Circle East, 108                                     Contingent
                                                                      Unliquidated
 Mukwonago, WI, 53149                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3946
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joe Davis                                                           Check all that apply.
                                                                                                                       37.44
                                                                                                                     $________________________________
 6243 North Woods Edge Court                                          Contingent
                                                                      Unliquidated
 McCordsville, IN, 46055                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3947
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.11
                                                                                                                     $________________________________
 Joe DeLuca                                                           Contingent
 824 Mirabelle Ave                                                    Unliquidated
                                                                      Disputed
 Westbury, NY, 11590
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3948
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.44
                                                                                                                     $________________________________
 Joe Diaz Jr                                                         Check all that apply.
 13241 Southwest 37th Terrace                                         Contingent
                                                                      Unliquidated
 Miami, FL, 33175                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3949
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JOE LAJOIE                                                          Check all that apply.
                                                                                                                      85.97
                                                                                                                     $________________________________
 22 ADAM TAYLOR RD                                                    Contingent
                                                                      Unliquidated
 STERLING, MA, 01564-2827                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3950
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.97
                                                                                                                     $________________________________
 Joe Lambert                                                         Check all that apply.
 10300 golf course Rd NW Apt 803                                      Contingent
                                                                      Unliquidated
 Albuquerque, NM, 87114                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3951
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 joe lolla                                                           Check all that apply.
                                                                                                                       68.89
                                                                                                                     $________________________________
 5 South Chestnut st                                                  Contingent
                                                                      Unliquidated
 mount carmel, PA, 17851                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3952
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             69.99
                                                                                                                     $________________________________
 Joe Mateo                                                            Contingent
 17026 Stare St                                                       Unliquidated
                                                                      Disputed
 Northridge, CA, 91325-1647
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3953
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       242.97
                                                                                                                     $________________________________
 Joe Mateo                                                           Check all that apply.
 17026 Stare st.                                                      Contingent
                                                                      Unliquidated
 Northridge, CA, 91325                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3954
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joe Mitchell                                                        Check all that apply.
                                                                                                                      17.99
                                                                                                                     $________________________________
 3263 Motor Ave Apt 4                                                 Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90034-3718                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3955
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.99
                                                                                                                     $________________________________
 Joe Pelliccio                                                       Check all that apply.
 10734 Fiddlesticks Court                                             Contingent
                                                                      Unliquidated
 New Port Richey, FL, 34654                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3956
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joe Quiles                                                          Check all that apply.
                                                                                                                       26.36
                                                                                                                     $________________________________
 6328 West Beloit Road                                                Contingent
                                                                      Unliquidated
 West Allis, WI, 53219                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3957
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             18.98
                                                                                                                     $________________________________
 Joe Quiroz                                                           Contingent
 1776 W Orange Ave, Apt 218                                           Unliquidated
                                                                      Disputed
 El Centro, CA, 92243
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3958
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       153.97
                                                                                                                     $________________________________
 joe retherford                                                      Check all that apply.
 18 rose lea                                                          Contingent
                                                                      Unliquidated
 Hamilton, OH, 45011                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3959
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joe Vendemia                                                        Check all that apply.
                                                                                                                      13.22
                                                                                                                     $________________________________
 107 Wenatchee Way Southwest                                          Contingent
                                                                      Unliquidated
 Poplar Grove, IL, 61065                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3960
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Joe Zertuche                                                        Check all that apply.
 10485 Neale Sound Ct                                                 Contingent
                                                                      Unliquidated
 Gainesville, VA, 20155-4848                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3961
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joel Baer                                                           Check all that apply.
                                                                                                                       92.47
                                                                                                                     $________________________________
 9448 East Florida Avenue, 1078                                       Contingent
                                                                      Unliquidated
 Denver, CO, 80247                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3962
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.44
                                                                                                                     $________________________________
 Joel Castaneda                                                       Contingent
 20839 Rivershire Lane                                                Unliquidated
                                                                      Disputed
 Houston, TX, 77073
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3963
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Joel Hunter                                                         Check all that apply.
 219 Northeast 49th Street                                            Contingent
                                                                      Unliquidated
 Oak Island, NC, 28465                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3964
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joel Marayag                                                        Check all that apply.
                                                                                                                      12.03
                                                                                                                     $________________________________
 2086 Admiral Place                                                   Contingent
                                                                      Unliquidated
 San Jose, CA, 95133                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3965
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.04
                                                                                                                     $________________________________
 Joel Martinez                                                       Check all that apply.
 1413 O Sullivan Drive                                                Contingent
                                                                      Unliquidated
 Horizon City, TX, 79928                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3966
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joel Nance                                                          Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 5248 Northeast Cesar E Chavez Boulevard                              Contingent
                                                                      Unliquidated
 Portland, OR, 97211                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3967
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             127.99
                                                                                                                     $________________________________
 Joel Phillips                                                        Contingent
 636 Lakeland Dr, 2                                                   Unliquidated
                                                                      Disputed
 Baton Rouge, LA, 70802
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3968
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       1,083.83
                                                                                                                     $________________________________
 Joel Qui?±ones                                                      Check all that apply.
 11 calle Jaicoa, Urb. Hacienda Jaicoa                                Contingent
                                                                      Unliquidated
 Moca, PR, 676                                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3969
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joel Vivas                                                          Check all that apply.
                                                                                                                      71.32
                                                                                                                     $________________________________
 2256 Mangum Rd                                                       Contingent
                                                                      Unliquidated
 Memphis, TN, 38134                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3970
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Joey Barry                                                          Check all that apply.
 331 Oliver Lee Drive                                                 Contingent
                                                                      Unliquidated
 Belleville, IL, 62223                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3971
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joey Marchese                                                       Check all that apply.
                                                                                                                       41.72
                                                                                                                     $________________________________
 9025 Sweden blvd                                                     Contingent
                                                                      Unliquidated
 Punta Gorda, FL, 33982                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3972
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.09
                                                                                                                     $________________________________
 Joey Marrero                                                         Contingent
 26 Adirondack circle, Apt E                                          Unliquidated
                                                                      Disputed
 Gansevoort, NY, 12831
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3973
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.31
                                                                                                                     $________________________________
 Joey Miller                                                         Check all that apply.
 47674 Mocking Bird Ct                                                Contingent
                                                                      Unliquidated
 Novi, MI, 48374                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3974
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joey Perez                                                          Check all that apply.
                                                                                                                      12.98
                                                                                                                     $________________________________
 3927 Annapolis Ct                                                    Contingent
                                                                      Unliquidated
 Merced, CA, 95348                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3975
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      74.95
                                                                                                                     $________________________________
 Joey Rodberry                                                       Check all that apply.
 Pflugerville                                                         Contingent
                                                                      Unliquidated
 15114 moss phlox circle, TX, 78660                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3976
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Johana Castro                                                       Check all that apply.
                                                                                                                       36.98
                                                                                                                     $________________________________
 3217 w 134th pl                                                      Contingent
                                                                      Unliquidated
 Hawthorne, CA, 90250                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3977
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.73
                                                                                                                     $________________________________
 Johana Ocampo Becerra                                                Contingent
 3208 Arbor Street                                                    Unliquidated
                                                                      Disputed
 Mount Vernon, WA, 98273
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3978
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.98
                                                                                                                     $________________________________
 Johanna Glenn                                                       Check all that apply.
 10654 W BLACKHAWK DR                                                 Contingent
                                                                      Unliquidated
 Boise, ID, 83709                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3979
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John A Brennan                                                      Check all that apply.
                                                                                                                      172.98
                                                                                                                     $________________________________
 23 Lori Lane                                                         Contingent
                                                                      Unliquidated
 East Longmeadow, MA, 1028                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3980
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65.50
                                                                                                                     $________________________________
 John Anderson                                                       Check all that apply.
 10404 Coward Mill Road                                               Contingent
                                                                      Unliquidated
 Knoxville, TN, 37931                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3981
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Atanasio                                                       Check all that apply.
                                                                                                                       55.98
                                                                                                                     $________________________________
 6715 Valley Falls Road                                               Contingent
                                                                      Unliquidated
 Hope Mills, NC, 28348                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3982
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 John Atud                                                            Contingent
 1531 Stanley Way                                                     Unliquidated
                                                                      Disputed
 Escondido, CA, 92027
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3983
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       303.09
                                                                                                                     $________________________________
 John Ayala                                                          Check all that apply.
 210 North Horne Street                                               Contingent
                                                                      Unliquidated
 Duncanville, TX, 75116                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3984
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Bogley                                                         Check all that apply.
                                                                                                                      90.10
                                                                                                                     $________________________________
 1104 Riverboat Ct                                                    Contingent
                                                                      Unliquidated
 Annapolis, MD, 21409                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3985
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      189.99
                                                                                                                     $________________________________
 John Bolton                                                         Check all that apply.
 5901 Hyatt Road                                                      Contingent
                                                                      Unliquidated
 Knoxville, TN, 37918                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3986
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Bonacci                                                        Check all that apply.
                                                                                                                       44.99
                                                                                                                     $________________________________
 2923 Payson Way                                                      Contingent
                                                                      Unliquidated
 Wellington, FL, 33414                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3987
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 John Bonewicz                                                        Contingent
 55 Ivy Lane                                                          Unliquidated
                                                                      Disputed
 Cherry Hill, NJ, 8002
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3988
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.99
                                                                                                                     $________________________________
 John Buckingham 3rd                                                 Check all that apply.
 120 Alcock Rd                                                        Contingent
                                                                      Unliquidated
 Essex, MD, 21221-2108                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3989
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Campbell                                                       Check all that apply.
                                                                                                                      69.11
                                                                                                                     $________________________________
 12010 Farwell Road                                                   Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19154                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3990
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      140.82
                                                                                                                     $________________________________
 John Catalano                                                       Check all that apply.
 908 Fields End Ct                                                    Contingent
                                                                      Unliquidated
 Fairview Heights, IL, 62208-2936                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3991
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Conway                                                         Check all that apply.
                                                                                                                       35.30
                                                                                                                     $________________________________
 222 Rose Lake Road                                                   Contingent
                                                                      Unliquidated
 Lexington, SC, 29072                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3992
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 John Cregar                                                          Contingent
 7541 south county road 410 west                                      Unliquidated
                                                                      Disputed
 Laurel, IN, 47024
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3993
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.99
                                                                                                                     $________________________________
 John Decio                                                          Check all that apply.
 20507 Starling Court                                                 Contingent
                                                                      Unliquidated
 Santa Clarita, CA, 91350                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3994
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Deluca                                                         Check all that apply.
                                                                                                                      34.97
                                                                                                                     $________________________________
 1 Prentiss Drive                                                     Contingent
                                                                      Unliquidated
 Hopewell Junction, NY, 12533                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  3995
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      51.35
                                                                                                                     $________________________________
 John Ferguson                                                       Check all that apply.
 795 Chaseridge Drive                                                 Contingent
                                                                      Unliquidated
 McDonough, GA, 30253                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  3996
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 john gleva                                                          Check all that apply.
                                                                                                                       32.09
                                                                                                                     $________________________________
 62430 Locust Road, #222                                              Contingent
                                                                      Unliquidated
 South Bend, IN, 46614                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  3997
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.99
                                                                                                                     $________________________________
 John Golomb                                                          Contingent
 200 N Wynnewood Ave., A407                                           Unliquidated
                                                                      Disputed
 Wynnewood, PA, 19096-1430
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  3998
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.99
                                                                                                                     $________________________________
 John Gonzalez                                                       Check all that apply.
 207 Preston Street                                                   Contingent
                                                                      Unliquidated
 Hartford, CT, 6114                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  3999
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Griffin                                                        Check all that apply.
                                                                                                                      32.09
                                                                                                                     $________________________________
 108 East Melody Lane                                                 Contingent
                                                                      Unliquidated
 Corinth, MS, 38834                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4000
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      43.89
                                                                                                                     $________________________________
 John Halley                                                         Check all that apply.
 26 View St                                                           Contingent
                                                                      Unliquidated
 Jasper, TN, 37347-5723                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4001
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Heide                                                          Check all that apply.
                                                                                                                       31.98
                                                                                                                     $________________________________
 141 Spring Garden Street                                             Contingent
                                                                      Unliquidated
 Riverside, NJ, 8075                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4002
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.68
                                                                                                                     $________________________________
 John Henderson                                                       Contingent
 42020 Long Hollow Drive                                              Unliquidated
                                                                      Disputed
 Coarsegold, CA, 93614
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4003
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.97
                                                                                                                     $________________________________
 John Hillman                                                        Check all that apply.
 125 Locust Ave.                                                      Contingent
                                                                      Unliquidated
 Westville, NJ, 08093-1419                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4004
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Ho                                                             Check all that apply.
                                                                                                                      44.09
                                                                                                                     $________________________________
 220 N IVY AVE                                                        Contingent
                                                                      Unliquidated
 MONROVIA, CA, 91016                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4005
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      232.19
                                                                                                                     $________________________________
 John Hodge                                                          Check all that apply.
 4239 Briarcliff Road Northeast                                       Contingent
                                                                      Unliquidated
 Atlanta, GA, 30345                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4006
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Horn                                                           Check all that apply.
                                                                                                                       84.99
                                                                                                                     $________________________________
 7505 N Woodland Ave.                                                 Contingent
                                                                      Unliquidated
 Gladstone, MO, 64118                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4007
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             63.10
                                                                                                                     $________________________________
 John Iliopoulos                                                      Contingent
 208 W D st                                                           Unliquidated
                                                                      Disputed
 Elmwood, NE, 68349-6052
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4008
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.00
                                                                                                                     $________________________________
 John Kim                                                            Check all that apply.
 245 North Arizona Avenue                                             Contingent
                                                                      Unliquidated
 Chandler, AZ, 85225                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4009
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Kimpson                                                        Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 18325 Milmore Avenue                                                 Contingent
                                                                      Unliquidated
 Carson, CA, 90746                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4010
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.77
                                                                                                                     $________________________________
 John Kinzie                                                         Check all that apply.
 2955 Fairway View Drive                                              Contingent
                                                                      Unliquidated
 West Wendover, NV, 89883                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4011
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Kubina                                                         Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 307 UNION DR                                                         Contingent
                                                                      Unliquidated
 Ruther Glen, VA, 22546                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4012
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             96.29
                                                                                                                     $________________________________
 John Lawrence                                                        Contingent
 8505 Lot B. Pollock Ferry Rd.                                        Unliquidated
                                                                      Disputed
 Moss Point , MS, 39562
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4013
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.99
                                                                                                                     $________________________________
 John Laycock                                                        Check all that apply.
 1643 Savannah Highway B, #108                                        Contingent
                                                                      Unliquidated
 Charleston, SC, 29407                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4014
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Limoli                                                         Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 23933 DEL MONTE DR, UNIT 20                                          Contingent
                                                                      Unliquidated
 VALENCIA, CA, 91355                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4015
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.52
                                                                                                                     $________________________________
 John M Nguyen                                                       Check all that apply.
 8616 N 32nd Dr                                                       Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85051                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4016
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 john macciocca                                                      Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 9 Forest Drive, G.                                                   Contingent
                                                                      Unliquidated
 Garnerville, NY, 10923                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4017
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             46.98
                                                                                                                     $________________________________
 John Matyas                                                          Contingent
 52180 Hwy HH                                                         Unliquidated
                                                                      Disputed
 Hannibal, MO, 63401
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4018
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       84.99
                                                                                                                     $________________________________
 John McCloskey                                                      Check all that apply.
 37402, Radde                                                         Contingent
                                                                      Unliquidated
 Clinton Township, MI, 48036                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4019
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John McCoy                                                          Check all that apply.
                                                                                                                      26.74
                                                                                                                     $________________________________
 300 HICKS FARM RD NW                                                 Contingent
                                                                      Unliquidated
 Acworth, GA, 30102                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4020
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      63.59
                                                                                                                     $________________________________
 John Montagna                                                       Check all that apply.
 4924 Shallowford Circle                                              Contingent
                                                                      Unliquidated
 Virginia Beach, VA, 23462                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4021
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Morales                                                        Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 116 Chorley Run                                                      Contingent
                                                                      Unliquidated
 Ellenwood, GA, 30294-2905                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  4022
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.99
                                                                                                                     $________________________________
 John Murphy                                                          Contingent
 8 Spruce Street                                                      Unliquidated
                                                                      Disputed
 Clifton Park, NY, 12065
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4023
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.64
                                                                                                                     $________________________________
 John N. Mayer                                                       Check all that apply.
 274 Brookside Ave                                                    Contingent
                                                                      Unliquidated
 Wyckoff, NJ, 7481                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4024
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 john okuda                                                          Check all that apply.
                                                                                                                      13.04
                                                                                                                     $________________________________
 12022 Bailey Street #1                                               Contingent
                                                                      Unliquidated
 Garden Grove, CA, 92845                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4025
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      60.63
                                                                                                                     $________________________________
 John P Crosby                                                       Check all that apply.
 8642 Brookfield Avenue, Apt 2L                                       Contingent
                                                                      Unliquidated
 Brookfield, IL, 60513                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4026
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Paul Douglass                                                  Check all that apply.
                                                                                                                       302.80
                                                                                                                     $________________________________
 34 Chestnut Sq                                                       Contingent
                                                                      Unliquidated
 Jamaica Plain, MA, 2130                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4027
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.73
                                                                                                                     $________________________________
 John Perry                                                           Contingent
 78 East Chestnut Street, Unit 107                                    Unliquidated
                                                                      Disputed
 Columbus, OH, 43215
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4028
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       102.98
                                                                                                                     $________________________________
 JOHN PISCOPINK                                                      Check all that apply.
 1215 Manchester Rd                                                   Contingent
                                                                      Unliquidated
 Birmingham, MI, 48009-5806                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4029
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Powers                                                         Check all that apply.
                                                                                                                      21.74
                                                                                                                     $________________________________
 7667, 21st Ave                                                       Contingent
                                                                      Unliquidated
 Sacramento, CA, 95820                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4030
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 John Reed                                                           Check all that apply.
 29 messmore st apt. D, Apt D                                         Contingent
                                                                      Unliquidated
 Centerburg, OH, 43011                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4031
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Robinson                                                       Check all that apply.
                                                                                                                       32.23
                                                                                                                     $________________________________
 5545 bayridge dr                                                     Contingent
                                                                      Unliquidated
 Hilliard, OH, 43026                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4032
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 John Rodriguez                                                       Contingent
 2501 Foothill Blvd Apt 9                                             Unliquidated
                                                                      Disputed
 La crescenta, CA, 91214-3520
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4033
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       69.86
                                                                                                                     $________________________________
 John Sanchez                                                        Check all that apply.
 539 N. Ravine Dr                                                     Contingent
                                                                      Unliquidated
 Round Lake Beach, IL, 60073-3166                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4034
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Schloman                                                       Check all that apply.
                                                                                                                      33.99
                                                                                                                     $________________________________
 4851 N Monticello Ave                                                Contingent
                                                                      Unliquidated
 Chicago, IL, 60625                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4035
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      137.98
                                                                                                                     $________________________________
 John Serpa III                                                      Check all that apply.
 1130 High Chaparral Dr                                               Contingent
                                                                      Unliquidated
 Reno, NV, 89521                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4036
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Seymour                                                        Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 21635 Conners Avenue                                                 Contingent
                                                                      Unliquidated
 Warren, MI, 48091                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4037
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17.27
                                                                                                                     $________________________________
 John Simpson                                                         Contingent
 1291 Greenbrier Lane                                                 Unliquidated
                                                                      Disputed
 North Tonawanda, NY, 14120
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4038
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 John Sokolis                                                        Check all that apply.
 177 Elm Street                                                       Contingent
                                                                      Unliquidated
 Meriden, CT, 6450                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4039
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Starkey                                                        Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 671 Cascade Drive                                                    Contingent
                                                                      Unliquidated
 Chaska, MN, 55318                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4040
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      84.91
                                                                                                                     $________________________________
 John Stetz                                                          Check all that apply.
 4259 9th Avenue Circle South, Apt 102                                Contingent
                                                                      Unliquidated
 Fargo, ND, 58103                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4041
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Stone                                                          Check all that apply.
                                                                                                                       54.99
                                                                                                                     $________________________________
 3820 Nicholasville Rd., Apt 1410                                     Contingent
                                                                      Unliquidated
 Lexington, KY, 40503                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4042
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             53.99
                                                                                                                     $________________________________
 John Stuart                                                          Contingent
 1810 highland ridge rd                                               Unliquidated
                                                                      Disputed
 Estill Springs, TN, 37330-4303
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4043
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.96
                                                                                                                     $________________________________
 John Thompson                                                       Check all that apply.
 22313 17th Place West                                                Contingent
                                                                      Unliquidated
 Bothell, WA, 98021                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4044
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Tiet                                                           Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 11672 fredrick dr                                                    Contingent
                                                                      Unliquidated
 Garden grove, CA, 92840                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4045
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 John Velasquez                                                      Check all that apply.
 2477 Belmont Avenue, 2L                                              Contingent
                                                                      Unliquidated
 Bronx, NY, 10458                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4046
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Vick                                                           Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 518 W Winter Park St                                                 Contingent
                                                                      Unliquidated
 Orlando, FL, 32804                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4047
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.99
                                                                                                                     $________________________________
 JOhn Wailly                                                          Contingent
 1967 N 18th Ave,, apt 5                                              Unliquidated
                                                                      Disputed
 Melrose Park, IL, 60160-1213
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4048
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 john Walker                                                         Check all that apply.
 1447 east saginaw                                                    Contingent
                                                                      Unliquidated
 lansing, MI, 48906                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4049
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Weinreich                                                      Check all that apply.
                                                                                                                      117.68
                                                                                                                     $________________________________
 5097 River Chase Rdg                                                 Contingent
                                                                      Unliquidated
 WINSTON SALEM, NC, 27104-4491                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4050
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      18.99
                                                                                                                     $________________________________
 John Wilkins                                                        Check all that apply.
 6811 Smithfield Boulevard                                            Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46237                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4051
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Wilmer Samaniego                                               Check all that apply.
                                                                                                                       99.98
                                                                                                                     $________________________________
 3777 Peachtree Rd Ne Apt 1636                                        Contingent
                                                                      Unliquidated
 Brookhaven, GA, 30319                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4052
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             137.99
                                                                                                                     $________________________________
 Johnathan Aguirre                                                    Contingent
 957 Mossy Vale St                                                    Unliquidated
                                                                      Disputed
 Henderson, NV, 89052
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4053
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.17
                                                                                                                     $________________________________
 Johnathan Franklin                                                  Check all that apply.
 1961 Howe Avenue, 80                                                 Contingent
                                                                      Unliquidated
 Sacramento, CA, 95825                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4054
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Johnathon Evans                                                     Check all that apply.
                                                                                                                      37.70
                                                                                                                     $________________________________
 12206 Fair Oaks Boulevard, Apt. 19                                   Contingent
                                                                      Unliquidated
 Fair Oaks, CA, 95628                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4055
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      70.98
                                                                                                                     $________________________________
 Johnathon Herrera                                                   Check all that apply.
 14721 Southwest 113th Lane                                           Contingent
                                                                      Unliquidated
 Miami, FL, 33196                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4056
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Johnny Brooke                                                       Check all that apply.
                                                                                                                       32.08
                                                                                                                     $________________________________
 147 Ginger Quill Cir                                                 Contingent
                                                                      Unliquidated
 Biltmore Lake, NC, 28715                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4057
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             74.51
                                                                                                                     $________________________________
 Johnny Esperon                                                       Contingent
 322 View Drive                                                       Unliquidated
                                                                      Disputed
 Blythewood, SC, 29016
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4058
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.66
                                                                                                                     $________________________________
 Johnny Pingshaw                                                     Check all that apply.
 30 E County Road 2006                                                Contingent
                                                                      Unliquidated
 Bunnell, FL, 32110                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4059
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Johnny Reutted                                                      Check all that apply.
                                                                                                                      203.29
                                                                                                                     $________________________________
 101 Durango Loop Street                                              Contingent
                                                                      Unliquidated
 Davenport, FL, 33897                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4060
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      53.99
                                                                                                                     $________________________________
 Johnny Tran                                                         Check all that apply.
 3522 Penn Mar Ave, Apt A                                             Contingent
                                                                      Unliquidated
 El Monte, CA, 91732                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4061
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 johnson fountain                                                    Check all that apply.
                                                                                                                       48.05
                                                                                                                     $________________________________
 1104 commanchero dr                                                  Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80915                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4062
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.05
                                                                                                                     $________________________________
 Jojo Medina                                                          Contingent
 996 Hegeman Avenue, 1E                                               Unliquidated
                                                                      Disputed
 Brooklyn, NY, 11208
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4063
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.35
                                                                                                                     $________________________________
 Jolee Harvey                                                        Check all that apply.
 14287 Avenue 23 1/2                                                  Contingent
                                                                      Unliquidated
 Chowchilla, CA, 93610                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4064
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jolene Hobbs                                                        Check all that apply.
                                                                                                                      57.98
                                                                                                                     $________________________________
 8514 Branch Hollow Dr                                                Contingent
                                                                      Unliquidated
 Universal City, TX, 78148                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4065
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      88.19
                                                                                                                     $________________________________
 Jolie Speckmeyer                                                    Check all that apply.
 25215 Oak St, 5                                                      Contingent
                                                                      Unliquidated
 Lomita, CA, 90717                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4066
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jon fawkes                                                          Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 12 ramsgate ridge                                                    Contingent
                                                                      Unliquidated
 nashua, NH, 3063                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4067
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17.99
                                                                                                                     $________________________________
 Jon Jablonsky                                                        Contingent
 1851 Colby Ave.                                                      Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90025
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4068
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.99
                                                                                                                     $________________________________
 Jon Kava                                                            Check all that apply.
 504 5th St., P.O. Box 248                                            Contingent
                                                                      Unliquidated
 Silver Creek, NE, 68663                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4069
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jon marcus                                                          Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 80 hemlock ln.                                                       Contingent
                                                                      Unliquidated
 highland park, IL, 60035                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4070
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      89.99
                                                                                                                     $________________________________
 Jon Nelson                                                          Check all that apply.
 11455 Sw Shrope Ct.                                                  Contingent
                                                                      Unliquidated
 Tigard, OR, 97223                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4071
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jon Newberry                                                        Check all that apply.
                                                                                                                       27.18
                                                                                                                     $________________________________
 280 B Street, Unit 102                                               Contingent
                                                                      Unliquidated
 Blaine, WA, 98230                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4072
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.64
                                                                                                                     $________________________________
 Jon Rances                                                           Contingent
 85-40 Somerset Street                                                Unliquidated
                                                                      Disputed
 Queens, NY, 11432
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4073
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.71
                                                                                                                     $________________________________
 Jon Reed                                                            Check all that apply.
 213 Manoah Lane                                                      Contingent
                                                                      Unliquidated
 Nicholasville, KY, 40356                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4074
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jon-Michael Huber                                                   Check all that apply.
                                                                                                                      23.62
                                                                                                                     $________________________________
 7130 Kismet Place                                                    Contingent
                                                                      Unliquidated
 Huber Heights, OH, 45424                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4075
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.98
                                                                                                                     $________________________________
 Jon-Mitchel Sherburne                                               Check all that apply.
 20480 St. Rt. 31                                                     Contingent
                                                                      Unliquidated
 Marysville, OH, 43040                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4076
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonah Cowan                                                         Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 1 Iris Arbor Court                                                   Contingent
                                                                      Unliquidated
 Conroe, TX, 77301                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4077
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.07
                                                                                                                     $________________________________
 Jonah Ford                                                           Contingent
 618 Heritage Drive, Apartment 11                                     Unliquidated
                                                                      Disputed
 Brookings, SD, 57006
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4078
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.92
                                                                                                                     $________________________________
 Jonah Hedlund                                                       Check all that apply.
 5115 Reservoir Drive                                                 Contingent
                                                                      Unliquidated
 San Diego, CA, 92115                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4079
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonah Homrighausen                                                  Check all that apply.
                                                                                                                      72.98
                                                                                                                     $________________________________
 15594 East Arizona Avenue, Unit 306                                  Contingent
                                                                      Unliquidated
 Aurora, CO, 80017                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4080
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.97
                                                                                                                     $________________________________
 Jonas Blanco                                                        Check all that apply.
 1422 5 D Drive                                                       Contingent
                                                                      Unliquidated
 El Cajon, CA, 92021                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4081
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Gengler                                                    Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 1107 Freeport Road                                                   Contingent
                                                                      Unliquidated
 Natrona Heights, PA, 15065                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4082
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             46.32
                                                                                                                     $________________________________
 Jonathan Ochoa                                                       Contingent
 9560 hapmshire.st                                                    Unliquidated
                                                                      Disputed
 rancho cucamonga, CA, 91730
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4083
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.56
                                                                                                                     $________________________________
 Jonathan Smith                                                      Check all that apply.
 611 N BROWN ST                                                       Contingent
                                                                      Unliquidated
 GLOUCESTER CITY, NJ, 8030                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4084
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Aguiniga Vazquez                                           Check all that apply.
                                                                                                                      26.08
                                                                                                                     $________________________________
 1059 Las Rosas Dr                                                    Contingent
                                                                      Unliquidated
 San Jacinto, CA, 92583                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4085
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      119.99
                                                                                                                     $________________________________
 Jonathan Andrey Quesada Solis                                       Check all that apply.
 1625 Nantucket Circle, Apt 156                                       Contingent
                                                                      Unliquidated
 Santa Clara, CA, 95054                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4086
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Anthony                                                    Check all that apply.
                                                                                                                       74.99
                                                                                                                     $________________________________
 1743 East Iowa Avenue, Apartment 1004                                Contingent
                                                                      Unliquidated
 Saint Paul, MN, 55106                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4087
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.87
                                                                                                                     $________________________________
 Jonathan Armenta                                                     Contingent
 911 Marlin Drive                                                     Unliquidated
                                                                      Disputed
 Vista, CA, 92084
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4088
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       422.98
                                                                                                                     $________________________________
 Jonathan Bembanaste                                                 Check all that apply.
 11200 SW 51st Street                                                 Contingent
                                                                      Unliquidated
 Davie, FL, 33330                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4089
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Bice                                                       Check all that apply.
                                                                                                                      58.29
                                                                                                                     $________________________________
 1504 Hardwood Cove Circle                                            Contingent
                                                                      Unliquidated
 Birmingham, AL, 35242                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4090
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      307.91
                                                                                                                     $________________________________
 Jonathan Boettcher                                                  Check all that apply.
 2042 Hidden Lake Dr, Apt. B                                          Contingent
                                                                      Unliquidated
 Stow, OH, 44224                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4091
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Box                                                        Check all that apply.
                                                                                                                       16.34
                                                                                                                     $________________________________
 1835 Hwy 33                                                          Contingent
                                                                      Unliquidated
 Pelham, AL, 35124                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4092
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             344.90
                                                                                                                     $________________________________
 Jonathan Calderas                                                    Contingent
 583 park way apt D                                                   Unliquidated
                                                                      Disputed
 Chula vista, CA, 91910
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4093
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       55.99
                                                                                                                     $________________________________
 Jonathan Carter                                                     Check all that apply.
 300 Rolling Oaks Dr # 370                                            Contingent
                                                                      Unliquidated
 Thousand Oaks, CA, 91361                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4094
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Cenna                                                      Check all that apply.
                                                                                                                      38.15
                                                                                                                     $________________________________
 1334 Whitney Road                                                    Contingent
                                                                      Unliquidated
 Southampton, PA, 18966                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4095
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.06
                                                                                                                     $________________________________
 Jonathan Chan                                                       Check all that apply.
 618 East 21st Street                                                 Contingent
                                                                      Unliquidated
 Oakland, CA, 94606-1919                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4096
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Cheung                                                     Check all that apply.
                                                                                                                       220.45
                                                                                                                     $________________________________
 40135 Blanchard Street                                               Contingent
                                                                      Unliquidated
 Fremont, CA, 94538                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4097
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             73.99
                                                                                                                     $________________________________
 Jonathan Chong                                                       Contingent
 105 Stardance Drive                                                  Unliquidated
                                                                      Disputed
 Mission Viejo, CA, 92692
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4098
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       48.97
                                                                                                                     $________________________________
 Jonathan Chu(13369OF)                                               Check all that apply.
 90 South Spruce Avenue, Suite B                                      Contingent
                                                                      Unliquidated
 South San Francisco, CA, 94080                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4099
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Chu12535 OF                                                Check all that apply.
                                                                                                                      45.95
                                                                                                                     $________________________________
 90 S SPRUCE AVE STE B                                                Contingent
                                                                      Unliquidated
 SOUTH SAN FRANCISCO, CA, 94080-4555                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4100
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.29
                                                                                                                     $________________________________
 Jonathan Coates                                                     Check all that apply.
 3417 4th Street West                                                 Contingent
                                                                      Unliquidated
 Lehigh Acres, FL, 33971                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4101
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Cole                                                       Check all that apply.
                                                                                                                       25.96
                                                                                                                     $________________________________
 2400 jupiter rd, L2, L2                                              Contingent
                                                                      Unliquidated
 plano, TX, 75074                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4102
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Jonathan Davy                                                        Contingent
 301 Northshore Blvd, Apt 714                                         Unliquidated
                                                                      Disputed
 Portland, TX, 78374
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4103
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       175.97
                                                                                                                     $________________________________
 Jonathan Delgado                                                    Check all that apply.
 4240 Studio St                                                       Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89115                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4104
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jonathan dorr                                                       Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 655 Blackstone Dr                                                    Contingent
                                                                      Unliquidated
 Myrtle Beach, SC, 29588                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4105
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.64
                                                                                                                     $________________________________
 Jonathan Flores                                                     Check all that apply.
 1050 Florida Grove Rd, Apt. 5                                        Contingent
                                                                      Unliquidated
 Perth Amboy, NJ, 8861                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4106
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Garcia                                                     Check all that apply.
                                                                                                                       31.99
                                                                                                                     $________________________________
 2450 South Quebec Street, Apt #308                                   Contingent
                                                                      Unliquidated
 Denver, CO, 80231                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4107
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.66
                                                                                                                     $________________________________
 Jonathan Gentile                                                     Contingent
 623 West Alderwood Lane                                              Unliquidated
                                                                      Disputed
 Nampa, ID, 83651
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4108
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Jonathan George                                                     Check all that apply.
 8288 Wooster Pike, Apt 2                                             Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45227                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4109
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Geronimo                                                   Check all that apply.
                                                                                                                      82.99
                                                                                                                     $________________________________
 2541 Holland Ave, Side Door BSMT                                     Contingent
                                                                      Unliquidated
 Bronx, NY, 10467                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4110
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.61
                                                                                                                     $________________________________
 Jonathan Gindhart                                                   Check all that apply.
 900 Easy Street, D                                                   Contingent
                                                                      Unliquidated
 Tullytown, PA, 19007                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4111
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Gragert                                                    Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 4970 23rd ct sw                                                      Contingent
                                                                      Unliquidated
 Naples, FL, 34116                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4112
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             30.97
                                                                                                                     $________________________________
 Jonathan Guzman                                                      Contingent
 142 Lancer Avenue                                                    Unliquidated
                                                                      Disputed
 Oceanside, CA, 92058
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4113
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Jonathan Harrison                                                   Check all that apply.
 332 S 230 W                                                          Contingent
                                                                      Unliquidated
 Orem, UT, 84058                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4114
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Joanis                                                     Check all that apply.
                                                                                                                      47.99
                                                                                                                     $________________________________
 10 Chris Avenue                                                      Contingent
                                                                      Unliquidated
 Lampasas, TX, 76550                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4115
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      117.28
                                                                                                                     $________________________________
 Jonathan Lemus                                                      Check all that apply.
 450 state Route 94                                                   Contingent
                                                                      Unliquidated
 Columbia, NJ, 7832                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4116
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Lyvers                                                     Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 4006 sunrise blvd, Apartment A                                       Contingent
                                                                      Unliquidated
 Fort Pierce, FL, 34982                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4117
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             18.99
                                                                                                                     $________________________________
 Jonathan Miller                                                      Contingent
 964 Chateau Dr                                                       Unliquidated
                                                                      Disputed
 Marion, OH, 43302
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4118
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       68.24
                                                                                                                     $________________________________
 Jonathan Moniz                                                      Check all that apply.
 20 SE Wyoming BLVD, apt 42                                           Contingent
                                                                      Unliquidated
 Casper, WY, 82609                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4119
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Nguyen                                                     Check all that apply.
                                                                                                                      69.78
                                                                                                                     $________________________________
 1709 Evergreen Alcove                                                Contingent
                                                                      Unliquidated
 Woodbury, MN, 55125                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4120
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      79.99
                                                                                                                     $________________________________
 Jonathan O'Donnell                                                  Check all that apply.
 10801 Blake Gardens                                                  Contingent
                                                                      Unliquidated
 McKinney, TX, 75070                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4121
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Obenchain                                                  Check all that apply.
                                                                                                                       19.98
                                                                                                                     $________________________________
 5751 West Chestnut Avenue                                            Contingent
                                                                      Unliquidated
 Littleton, CO, 80128                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4122
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.95
                                                                                                                     $________________________________
 Jonathan Odom                                                        Contingent
 5025 Social Circle                                                   Unliquidated
                                                                      Disputed
 Indian Land, SC, 29707
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4123
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Jonathan Olson                                                      Check all that apply.
 26 Peggy Ln                                                          Contingent
                                                                      Unliquidated
 Portsmouth, RI, 2871                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4124
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Pace                                                       Check all that apply.
                                                                                                                      59.35
                                                                                                                     $________________________________
 2905 Graftons Lane                                                   Contingent
                                                                      Unliquidated
 Churchville, MD, 21028                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4125
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      74.99
                                                                                                                     $________________________________
 Jonathan Parrenas                                                   Check all that apply.
 5901 Monroe                                                          Contingent
                                                                      Unliquidated
 Morton Grove, IL, 60053                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4126
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Pena                                                       Check all that apply.
                                                                                                                       23.98
                                                                                                                     $________________________________
 11512 SW 239th Ter                                                   Contingent
                                                                      Unliquidated
 Homestead, FL, 33032                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4127
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.78
                                                                                                                     $________________________________
 Jonathan Pimentel                                                    Contingent
 11 Clove Drive                                                       Unliquidated
                                                                      Disputed
 Colonia, NJ, 7067
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4128
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.75
                                                                                                                     $________________________________
 Jonathan Rios                                                       Check all that apply.
 64 Beauvue Terrace                                                   Contingent
                                                                      Unliquidated
 Bridgeport, CT, 6606                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4129
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Rios                                                       Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 8171 Eleanor St                                                      Contingent
                                                                      Unliquidated
 Tyler, TX, 75708                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4130
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.64
                                                                                                                     $________________________________
 Jonathan Rodriguez                                                  Check all that apply.
 1600 Tamarack Avenue, 19                                             Contingent
                                                                      Unliquidated
 McAllen, TX, 78501                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4131
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathan Ruiz                                                       Check all that apply.
                                                                                                                       72.92
                                                                                                                     $________________________________
 2685 Barry st                                                        Contingent
                                                                      Unliquidated
 Camarillo, CA, 93010                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4132
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.69
                                                                                                                     $________________________________
 Jonathan sanchez                                                     Contingent
 647 South Palm Street, Unit F                                        Unliquidated
                                                                      Disputed
 LA HABRA, CA, 90631
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4133
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.07
                                                                                                                     $________________________________
 Jonathan Shelby                                                     Check all that apply.
 416 Twin Bridge Road                                                 Contingent
                                                                      Unliquidated
 Sandy Hook, MS, 39478                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4134
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jonathan trayes                                                     Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 1618 Perkins Ln                                                      Contingent
                                                                      Unliquidated
 Greenville, NC, 27834                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4135
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      215.98
                                                                                                                     $________________________________
 Jonathan Urtiz                                                      Check all that apply.
 191 harden parkway, Apartment c                                      Contingent
                                                                      Unliquidated
 salinas, CA, 93906-5195                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4136
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jonathan valencia                                                   Check all that apply.
                                                                                                                       11.82
                                                                                                                     $________________________________
 351 Riva Ridge Ln, Apt J108                                          Contingent
                                                                      Unliquidated
 Fort Collins, CO, 80526-6372                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4137
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.43
                                                                                                                     $________________________________
 Jonathan Yeung                                                       Contingent
 124 Holcomb ave.                                                     Unliquidated
                                                                      Disputed
 Staten Island, NY, 10312
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4138
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.99
                                                                                                                     $________________________________
 Jonathon Christopher                                                Check all that apply.
 20130 Picadilly Rd                                                   Contingent
                                                                      Unliquidated
 Detroit , MI, 48221                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4139
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonathon Eayre                                                      Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 1608 Nazareth Court                                                  Contingent
                                                                      Unliquidated
 Monroe , NC, 28110                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4140
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.54
                                                                                                                     $________________________________
 Jong Woo Lee                                                        Check all that apply.
 13 Arminta Ct                                                        Contingent
                                                                      Unliquidated
 Chico, CA, 95928                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4141
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jonnel Videna                                                       Check all that apply.
                                                                                                                       144.98
                                                                                                                     $________________________________
 7575 woodridge way                                                   Contingent
                                                                      Unliquidated
 san diego, CA, 92114                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
                  Name                            Document Page 854 of 2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4142
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             84.91
                                                                                                                     $________________________________
 Jonny Davis                                                          Contingent
 13800 Egrets Nest Drive, #1736                                       Unliquidated
                                                                      Disputed
 Jacksonville, FL, 32258
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4143
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       127.94
                                                                                                                     $________________________________
 Jonuel Velez                                                        Check all that apply.
 Po Box 1092                                                          Contingent
                                                                      Unliquidated
 Sabana Grande, PR, 637                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4144
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 joohwan cho                                                         Check all that apply.
                                                                                                                      129.16
                                                                                                                     $________________________________
 404 Shatto pl., #224B                                                Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90020                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4145
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      74.97
                                                                                                                     $________________________________
 Jordan Anderson                                                     Check all that apply.
 PO Box 34                                                            Contingent
                                                                      Unliquidated
 Kingsville, OH, 44048-0034                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4146
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordan Atkins                                                       Check all that apply.
                                                                                                                       69.10
                                                                                                                     $________________________________
 114 Plaxedale road                                                   Contingent
                                                                      Unliquidated
 Liverpool, NY, 13088                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4147
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.36
                                                                                                                     $________________________________
 jordan bracey                                                        Contingent
 118 East Avenue 45, D                                                Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90031
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4148
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       77.99
                                                                                                                     $________________________________
 Jordan Donati                                                       Check all that apply.
 3902 N. Lakeside Dr.                                                 Contingent
                                                                      Unliquidated
 Muncie, IN, 47304                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4149
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordan Dreasher                                                     Check all that apply.
                                                                                                                      53.03
                                                                                                                     $________________________________
 3035 Mark Twain Dr                                                   Contingent
                                                                      Unliquidated
 Dallas, TX, 75234-2131                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4150
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.97
                                                                                                                     $________________________________
 Jordan Esparza                                                      Check all that apply.
 P.O. Box 692965                                                      Contingent
                                                                      Unliquidated
 Stockton, CA, 95269                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4151
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordan Ewald                                                        Check all that apply.
                                                                                                                       12.77
                                                                                                                     $________________________________
 12813 Maryland Woods Court                                           Contingent
                                                                      Unliquidated
 Orlando, FL, 32824                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4152
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             694.90
                                                                                                                     $________________________________
 Jordan Gaudette                                                      Contingent
 443 De Mar Drive                                                     Unliquidated
                                                                      Disputed
 Sacramento, CA, 95831
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4153
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.29
                                                                                                                     $________________________________
 Jordan Haise                                                        Check all that apply.
 1015 San Jose Drive                                                  Contingent
                                                                      Unliquidated
 Elm Grove, WI, 53122                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4154
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordan Harvey                                                       Check all that apply.
                                                                                                                      28.99
                                                                                                                     $________________________________
 2408 Arbor Cir                                                       Contingent
                                                                      Unliquidated
 MIDLAND, TX, 79707                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4155
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.81
                                                                                                                     $________________________________
 Jordan King                                                         Check all that apply.
 6554 North Sidney Place, APT 103                                     Contingent
                                                                      Unliquidated
 Glendale, WI, 53209                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4156
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordan King                                                         Check all that apply.
                                                                                                                       106.49
                                                                                                                     $________________________________
 9881 Piney Point Cir                                                 Contingent
                                                                      Unliquidated
 Orlando, FL, 32825-6526                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4157
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.37
                                                                                                                     $________________________________
 Jordan McFarland                                                     Contingent
 1674 Gellenbeck St                                                   Unliquidated
                                                                      Disputed
 Cincinnati, OH, 45205
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4158
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       379.98
                                                                                                                     $________________________________
 Jordan Moran                                                        Check all that apply.
 19 Bean Ct                                                           Contingent
                                                                      Unliquidated
 Wanaque, NJ, 7465                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4159
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordan Nichols                                                      Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 800 Turtle Court, Apartment 822                                      Contingent
                                                                      Unliquidated
 Spartanburg, SC, 29303                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4160
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      56.28
                                                                                                                     $________________________________
 Jordan Ong                                                          Check all that apply.
 24807 Thorton Knolls Dr                                              Contingent
                                                                      Unliquidated
 Spring, TX, 77389                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4161
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordan Parkman                                                      Check all that apply.
                                                                                                                       26.49
                                                                                                                     $________________________________
 3197 Post Woods Drive, APT G                                         Contingent
                                                                      Unliquidated
 Atlanta, GA, 30339                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4162
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             30.44
                                                                                                                     $________________________________
 Jordan Pineda                                                        Contingent
 13086 Blackbird St, Apt 5                                            Unliquidated
                                                                      Disputed
 Garden Grove, CA, 92843-2913
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4163
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       58.16
                                                                                                                     $________________________________
 Jordan Santos                                                       Check all that apply.
 10515 Dabney Dr                                                      Contingent
                                                                      Unliquidated
 San Diego, CA, 92126                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4164
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordan Schroeder                                                    Check all that apply.
                                                                                                                      69.54
                                                                                                                     $________________________________
 5550 state route 109                                                 Contingent
                                                                      Unliquidated
 leipsic, OH, 45856                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4165
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.99
                                                                                                                     $________________________________
 Jordan Smith                                                        Check all that apply.
 219 Brushy Mountain Road                                             Contingent
                                                                      Unliquidated
 East Stroudsburg, PA, 18301                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4166
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordan Stephens                                                     Check all that apply.
                                                                                                                       10.65
                                                                                                                     $________________________________
 508 Muhlenberg Ave                                                   Contingent
                                                                      Unliquidated
 Wenonah, NJ, 8090                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4167
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 jordan taddei                                                        Contingent
 135 Summit Avenue                                                    Unliquidated
                                                                      Disputed
 Montclair, NJ, 7043
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4168
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       83.37
                                                                                                                     $________________________________
 Jordan Thomas                                                       Check all that apply.
 27 Logan Hill Dr                                                     Contingent
                                                                      Unliquidated
 Rogersville, MO, 65742                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4169
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordan Vargas                                                       Check all that apply.
                                                                                                                      27.81
                                                                                                                     $________________________________
 8818 Lido Lane                                                       Contingent
                                                                      Unliquidated
 Port Richey, FL, 34668                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4170
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      48.99
                                                                                                                     $________________________________
 Jordan Warner                                                       Check all that apply.
 13 Cahill St                                                         Contingent
                                                                      Unliquidated
 Amityville, NY, 11701                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4171
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordan Woolems                                                      Check all that apply.
                                                                                                                       26.98
                                                                                                                     $________________________________
 102 Thistledown Trail                                                Contingent
                                                                      Unliquidated
 Hot Springs, AR, 71913                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4172
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             402.31
                                                                                                                     $________________________________
 Jordy Chavez                                                         Contingent
 211 Shortwood Street                                                 Unliquidated
                                                                      Disputed
 Spartanburg, SC, 29301
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4173
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.78
                                                                                                                     $________________________________
 Jordyn Connell                                                      Check all that apply.
 1024 South Street                                                    Contingent
                                                                      Unliquidated
 Jackson, MN, 56143                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4174
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jordyn Raines                                                       Check all that apply.
                                                                                                                      30.44
                                                                                                                     $________________________________
 25201 Wagner Way                                                     Contingent
                                                                      Unliquidated
 Hemet, CA, 92544                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4175
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                     $________________________________
 Jordynn Zito                                                        Check all that apply.
 61128 Manhae Loop                                                    Contingent
                                                                      Unliquidated
 Bend, OR, 97702                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4176
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jorge Cano                                                          Check all that apply.
                                                                                                                       28.68
                                                                                                                     $________________________________
 511 Adalee DR                                                        Contingent
                                                                      Unliquidated
 Donna, TX, 78537                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4177
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Jorge Cruz                                                           Contingent
 1751 Mojave View Cir                                                 Unliquidated
                                                                      Disputed
 Corona, CA, 92882
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4178
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.98
                                                                                                                     $________________________________
 Jorge E Almeida                                                     Check all that apply.
 2717 Peach Drive                                                     Contingent
                                                                      Unliquidated
 Little Elm, TX, 75068                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4179
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jorge Figueroa                                                      Check all that apply.
                                                                                                                      56.98
                                                                                                                     $________________________________
 12901 E 23rd St                                                      Contingent
                                                                      Unliquidated
 Tulsa, OK, 74134                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4180
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Jorge Garcia                                                        Check all that apply.
 2912 Clay Avenue                                                     Contingent
                                                                      Unliquidated
 San Diego, CA, 92113                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4181
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jorge Garcia                                                        Check all that apply.
                                                                                                                       119.06
                                                                                                                     $________________________________
 2925 Emerald Lake Dr                                                 Contingent
                                                                      Unliquidated
 HARLINGEN, TX, 78550                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4182
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Jorge Morales                                                        Contingent
 170 French Ave                                                       Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90065
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4183
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       224.90
                                                                                                                     $________________________________
 Jorge Quezada                                                       Check all that apply.
 11020 Lillian Lane                                                   Contingent
                                                                      Unliquidated
 South Gate, CA, 90280                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4184
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jorge R quirarte                                                    Check all that apply.
                                                                                                                      42.98
                                                                                                                     $________________________________
 Matchaponix road 309                                                 Contingent
                                                                      Unliquidated
 Monroe, NJ, 8831                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4185
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.24
                                                                                                                     $________________________________
 Jorge Ramirez                                                       Check all that apply.
 7925 santa Barbara dr                                                Contingent
                                                                      Unliquidated
 rohnert park, CA, 94928                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4186
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jorge Virgilio                                                      Check all that apply.
                                                                                                                       349.98
                                                                                                                     $________________________________
 Calle B Manzana IV 23                                                Contingent
                                                                      Unliquidated
 Ciudad de Mexico, DF, 4400                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4187
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             93.50
                                                                                                                     $________________________________
 Josafath Garcia                                                      Contingent
 2086 W Algonquin Rd, 2A                                              Unliquidated
                                                                      Disputed
 Mount Prospect, IL, 60056
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4188
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Jose Olmedo                                                         Check all that apply.
 180 Bianca Court                                                     Contingent
                                                                      Unliquidated
 Imperial, CA, 92251                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4189
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose A Gomez                                                        Check all that apply.
                                                                                                                      47.98
                                                                                                                     $________________________________
 52448 Dos palmas ave.                                                Contingent
                                                                      Unliquidated
 Coachella, CA, 92236                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4190
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      238.69
                                                                                                                     $________________________________
 JOSE AGUIRRE                                                        Check all that apply.
 13207 1/2 Venice Blvd                                                Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90066                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4191
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Alfredo Gallegos Chavarria                                     Check all that apply.
                                                                                                                       265.96
                                                                                                                     $________________________________
 6813 193rd Avenue East                                               Contingent
                                                                      Unliquidated
 Bonney Lake, WA, 98391                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4192
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.99
                                                                                                                     $________________________________
 jose alonso                                                          Contingent
 14039 Pine Ln                                                        Unliquidated
                                                                      Disputed
 Humble, TX, 77396
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4193
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       219.78
                                                                                                                     $________________________________
 Jose Alvarado                                                       Check all that apply.
 3901 Carlota Boulevard, apt 1                                        Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90031                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4194
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose AlvarezPerez                                                   Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 162 Martin Street                                                    Contingent
                                                                      Unliquidated
 Oceanside, CA, 92058                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4195
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      249.95
                                                                                                                     $________________________________
 Jose Arceo                                                          Check all that apply.
 11921 Vose Street                                                    Contingent
                                                                      Unliquidated
 North Hollywood, CA, 91605                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4196
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Burgos                                                         Check all that apply.
                                                                                                                       67.71
                                                                                                                     $________________________________
 4410 Cocopah Loop                                                    Contingent
                                                                      Unliquidated
 Saint Cloud, FL, 34772                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4197
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.98
                                                                                                                     $________________________________
 Jose Caldera                                                         Contingent
 1421 West 51st Place                                                 Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90062
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4198
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Jose Carrasquillo                                                   Check all that apply.
 p o box 20743                                                        Contingent
                                                                      Unliquidated
 huntington station, NY, 11746                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4199
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Chavez                                                         Check all that apply.
                                                                                                                      14.32
                                                                                                                     $________________________________
 4513 division st                                                     Contingent
                                                                      Unliquidated
 Melrose park , IL, 60160                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4200
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Jose Corona                                                         Check all that apply.
 1718 Dolomite Drive                                                  Contingent
                                                                      Unliquidated
 Los Banos, CA, 93635                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4201
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jose cortes                                                         Check all that apply.
                                                                                                                       32.65
                                                                                                                     $________________________________
 4023 Ithaca St., 3FW                                                 Contingent
                                                                      Unliquidated
 Elmhurst, NY, 11373                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4202
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             99.99
                                                                                                                     $________________________________
 Jose Cruz                                                            Contingent
 3100 5th Street, Apt 26                                              Unliquidated
                                                                      Disputed
 Davis, CA, 95618
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4203
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       157.92
                                                                                                                     $________________________________
 Jose Davis                                                          Check all that apply.
 436 West Side Avenue, Apt. 1, Floor 2                                Contingent
                                                                      Unliquidated
 Jersey City, NJ, 7304                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4204
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Galagarza                                                      Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 2559 Twin Springs Dr S                                               Contingent
                                                                      Unliquidated
 Jacksonville, FL, 32246                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4205
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.04
                                                                                                                     $________________________________
 JOSE GARCIA                                                         Check all that apply.
 5514 S.NeeNah Ave.                                                   Contingent
                                                                      Unliquidated
 Chicago, IL, 60638                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4206
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Garcia                                                         Check all that apply.
                                                                                                                       44.99
                                                                                                                     $________________________________
 6107 Trout Court                                                     Contingent
                                                                      Unliquidated
 Pearland, TX, 77581                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4207
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             92.00
                                                                                                                     $________________________________
 Jose Garcia                                                          Contingent
 816 N. 34th st, Street Address 2                                     Unliquidated
                                                                      Disputed
 Omaha, NE, 68131
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4208
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       87.59
                                                                                                                     $________________________________
 Jose Gomez Moreno                                                   Check all that apply.
 13922 Sayre St Apt 23                                                Contingent
                                                                      Unliquidated
 Sylmar, CA, 91342                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4209
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Gutierrez                                                      Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 15540 Vanowen St Apt.126                                             Contingent
                                                                      Unliquidated
 Van Nuys, CA, 91406                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4210
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 JOSE HERNANDEZ                                                      Check all that apply.
 5954 ELM DR                                                          Contingent
                                                                      Unliquidated
 FOREST PARK, GA, 30297                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4211
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 jose hernandez                                                      Check all that apply.
                                                                                                                       33.05
                                                                                                                     $________________________________
 9510 Townley Dr                                                      Contingent
                                                                      Unliquidated
 Pico Rivera, CA, 90660                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4212
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             404.95
                                                                                                                     $________________________________
 jose izaguirre                                                       Contingent
 136 beaconridge dr                                                   Unliquidated
                                                                      Disputed
 bolingbrook, IL, 60440
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4213
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Jose Jimenez                                                        Check all that apply.
 5358 S Kenneth Ave                                                   Contingent
                                                                      Unliquidated
 Chicago, IL, 60632                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4214
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Leon                                                           Check all that apply.
                                                                                                                      26.92
                                                                                                                     $________________________________
 1907 West Willow Ave                                                 Contingent
                                                                      Unliquidated
 Anaheim, CA, 92804                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4215
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.55
                                                                                                                     $________________________________
 Jose Mont                                                           Check all that apply.
 157 woodycrest dr                                                    Contingent
                                                                      Unliquidated
 Farmingville , NY, 11738                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4216
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Montero                                                        Check all that apply.
                                                                                                                       365.99
                                                                                                                     $________________________________
 2493 Roll dr #210-423                                                Contingent
                                                                      Unliquidated
 san diego, CA, 92154                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4217
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.61
                                                                                                                     $________________________________
 Jose Munoz                                                           Contingent
 82 Alexander St                                                      Unliquidated
                                                                      Disputed
 Dorchester, MA, 2125
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4218
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       79.32
                                                                                                                     $________________________________
 jose olmos                                                          Check all that apply.
 600 Harding Avenue                                                   Contingent
                                                                      Unliquidated
 East Los Angeles, CA, 90022                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4219
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Pena                                                           Check all that apply.
                                                                                                                      105.98
                                                                                                                     $________________________________
 15212 NE 11th Circle                                                 Contingent
                                                                      Unliquidated
 Vancouver, WA, 98684                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4220
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Jose Perez                                                          Check all that apply.
 5114 Camarosa Dr                                                     Contingent
                                                                      Unliquidated
 Pasadena, TX, 77504                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4221
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Rendon                                                         Check all that apply.
                                                                                                                       32.46
                                                                                                                     $________________________________
 516 Myrtle Drive                                                     Contingent
                                                                      Unliquidated
 Arlington, TX, 76018                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4222
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.82
                                                                                                                     $________________________________
 Jose Reyes                                                           Contingent
 2434 w Fillmore st                                                   Unliquidated
                                                                      Disputed
 Chicago, IL, 60612
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4223
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.32
                                                                                                                     $________________________________
 Jose Rivera                                                         Check all that apply.
 1410 West 82nd Street                                                Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90047                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4224
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JOSE ROCHA                                                          Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 5009 S LECLAIRE AVE                                                  Contingent
                                                                      Unliquidated
 CHICAGO, IL, 60638                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4225
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      50.99
                                                                                                                     $________________________________
 jose rodriguez                                                      Check all that apply.
 5418 w Byron st, 2nd floor                                           Contingent
                                                                      Unliquidated
 CHICAGO, IL, 60641                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4226
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Saldana                                                        Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 3503 Chestnut Street                                                 Contingent
                                                                      Unliquidated
 Reading, PA, 19605                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4227
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Jose Sanchez THP                                                     Contingent
 8427 Nw 68th St                                                      Unliquidated
                                                                      Disputed
 Miami, FL, 33166-2658
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4228
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.45
                                                                                                                     $________________________________
 Jose Serrano                                                        Check all that apply.
 580 Boulevard                                                        Contingent
                                                                      Unliquidated
 Hasbrouck Heights, NJ, 7604                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4229
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Solorio                                                        Check all that apply.
                                                                                                                      66.10
                                                                                                                     $________________________________
 14000 Kornblum Ave                                                   Contingent
                                                                      Unliquidated
 Hawthorne, CA, 90250                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4230
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      70.35
                                                                                                                     $________________________________
 JOSE SOLORZANO                                                      Check all that apply.
 1017 SUNSET DR                                                       Contingent
                                                                      Unliquidated
 GARLAND, TX, 75040                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4231
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Torres                                                         Check all that apply.
                                                                                                                       118.50
                                                                                                                     $________________________________
 13082 13th Street                                                    Contingent
                                                                      Unliquidated
 Chino, CA, 91710                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4232
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.40
                                                                                                                     $________________________________
 Jose Trejo                                                           Contingent
 2733 Country Club Blvd, 73                                           Unliquidated
                                                                      Disputed
 Stockton, CA, 95204
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4233
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       87.78
                                                                                                                     $________________________________
 Jose Valadez                                                        Check all that apply.
 6316 Desert Leaf St, 201                                             Contingent
                                                                      Unliquidated
 North Las Vegas, NV, 89081                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4234
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Valenzuela Salas                                               Check all that apply.
                                                                                                                      33.99
                                                                                                                     $________________________________
 Saudi Aramco PO Box 2812                                             Contingent
                                                                      Unliquidated
 Dhahran, 31311                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4235
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                     $________________________________
 Jose Villagomez                                                     Check all that apply.
 128 5th Ave                                                          Contingent
                                                                      Unliquidated
 Moline, IL, 61265                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4236
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jose Villalobos                                                     Check all that apply.
                                                                                                                       111.96
                                                                                                                     $________________________________
 2509 Larchmont Ave                                                   Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  4237
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             61.17
                                                                                                                     $________________________________
 Josef Stojsik                                                        Contingent
 37 Cemetery Rd Oppelo                                                Unliquidated
                                                                      Disputed
 Oppelo, AR, 72110
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4238
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Joseph Richardson                                                   Check all that apply.
 3555 Bainbridge Ave, Apt 7-H                                         Contingent
                                                                      Unliquidated
 The Bronx, NY, 10467                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4239
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Alston                                                       Check all that apply.
                                                                                                                      463.04
                                                                                                                     $________________________________
 10534 S Wallace st                                                   Contingent
                                                                      Unliquidated
 Chicago, IL, 60628                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4240
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.96
                                                                                                                     $________________________________
 Joseph Amorelli                                                     Check all that apply.
 336 Avenue L                                                         Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15221-4232                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4241
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Archibeque                                                   Check all that apply.
                                                                                                                       13.07
                                                                                                                     $________________________________
 4914 tiamo way                                                       Contingent
                                                                      Unliquidated
 STOCKTON, CA, 95212                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4242
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.65
                                                                                                                     $________________________________
 Joseph Baes                                                          Contingent
 10400 Champions Circle                                               Unliquidated
                                                                      Disputed
 Grand Blanc, MI, 48439
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4243
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.09
                                                                                                                     $________________________________
 Joseph Bryant                                                       Check all that apply.
 36 Fairview Avenue                                                   Contingent
                                                                      Unliquidated
 Staten Island, NY, 10314                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4244
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Burnette                                                     Check all that apply.
                                                                                                                      198.86
                                                                                                                     $________________________________
 1910 Crest Ridge Dr                                                  Contingent
                                                                      Unliquidated
 Papillion, NE, 68133                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4245
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      129.97
                                                                                                                     $________________________________
 JOSEPH CANONICA JR                                                  Check all that apply.
 24 STATE ST                                                          Contingent
                                                                      Unliquidated
 BLACKWOOD, NJ, 8012                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4246
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Castillo                                                     Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 109 Salt Pond                                                        Contingent
                                                                      Unliquidated
 Hamptn, VA, 23664                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4247
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.74
                                                                                                                     $________________________________
 Joseph Cerrito                                                       Contingent
 50 W Palm Dr                                                         Unliquidated
                                                                      Disputed
 Margate, FL, 33063
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4248
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       185.63
                                                                                                                     $________________________________
 Joseph Cowles                                                       Check all that apply.
 9964 Jackson ST SE                                                   Contingent
                                                                      Unliquidated
 Yelm, WA, 98597                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4249
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Drozdz                                                       Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 7427 Bellingham Ave                                                  Contingent
                                                                      Unliquidated
 North Hollywood, CA, 91605                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4250
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.55
                                                                                                                     $________________________________
 Joseph Estrada                                                      Check all that apply.
 24228 Arch St.                                                       Contingent
                                                                      Unliquidated
 Newhall, CA, 91321                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4251
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Fabian                                                       Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 3343 Eder Street                                                     Contingent
                                                                      Unliquidated
 Highland, IN, 46322                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4252
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.39
                                                                                                                     $________________________________
 Joseph Fernandez                                                     Contingent
 12509 107th Ave CT E                                                 Unliquidated
                                                                      Disputed
 Puyallup, WA, 98374
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4253
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.99
                                                                                                                     $________________________________
 Joseph Fong                                                         Check all that apply.
 1065 Kawaiahao St #1610                                              Contingent
                                                                      Unliquidated
 Honolulu, HI, 96814-4125                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4254
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Forgione                                                     Check all that apply.
                                                                                                                      50.98
                                                                                                                     $________________________________
 727 Wyoming Avenue                                                   Contingent
                                                                      Unliquidated
 Maywood, NJ, 7607                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4255
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Joseph Frederick                                                    Check all that apply.
 151 Calderon Avenue, 72                                              Contingent
                                                                      Unliquidated
 Mountain View, CA, 94041                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4256
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Glad                                                         Check all that apply.
                                                                                                                       35.08
                                                                                                                     $________________________________
 6 WELLINGTON COURT DR                                                Contingent
                                                                      Unliquidated
 DANBURY, CT, 6811                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4257
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             111.29
                                                                                                                     $________________________________
 joseph gross                                                         Contingent
 4121 Berryman Ct.                                                    Unliquidated
                                                                      Disputed
 Lexington, KY, 40514
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4258
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Joseph Guevara                                                      Check all that apply.
 2030 242nd Street                                                    Contingent
                                                                      Unliquidated
 Lomita, CA, 90717                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4259
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Guzy                                                         Check all that apply.
                                                                                                                      29.95
                                                                                                                     $________________________________
 8361 SW 107th Ave, APT A                                             Contingent
                                                                      Unliquidated
 Miami, FL, 33173                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4260
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      55.71
                                                                                                                     $________________________________
 Joseph Haney                                                        Check all that apply.
 6203a Robertson Ave                                                  Contingent
                                                                      Unliquidated
 Nashville, TN, 37209                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4261
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Huang                                                        Check all that apply.
                                                                                                                       75.57
                                                                                                                     $________________________________
 66 Clark Court                                                       Contingent
                                                                      Unliquidated
 Woodland, CA, 95776                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4262
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.98
                                                                                                                     $________________________________
 Joseph Laraio Jr                                                     Contingent
 85 Lomond Road                                                       Unliquidated
                                                                      Disputed
 Williamstown, NJ, 08094-2929
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4263
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       88.97
                                                                                                                     $________________________________
 Joseph Lemley                                                       Check all that apply.
 201 Darr Rd                                                          Contingent
                                                                      Unliquidated
 Belle Vernon, PA, 15012                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4264
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Martin                                                       Check all that apply.
                                                                                                                      92.87
                                                                                                                     $________________________________
 3335 7th Avenue                                                      Contingent
                                                                      Unliquidated
 Troy, NY, 12180                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4265
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      136.97
                                                                                                                     $________________________________
 Joseph martz                                                        Check all that apply.
 550 Rustic Ln                                                        Contingent
                                                                      Unliquidated
 Tarentum, PA, 15084                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4266
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph McClaren                                                     Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 105 E STOP 13 RD                                                     Contingent
                                                                      Unliquidated
 INDIANAPOLIS, IN, 46227-2835                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4267
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             79.98
                                                                                                                     $________________________________
 Joseph Montgomery                                                    Contingent
 950 South Chatham Avenue                                             Unliquidated
                                                                      Disputed
 Addison, IL, 60101
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4268
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       133.90
                                                                                                                     $________________________________
 Joseph Napolitano                                                   Check all that apply.
 1841 Central Park Avenue                                             Contingent
                                                                      Unliquidated
 Yonkers, NY, 10710                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4269
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Navarro                                                      Check all that apply.
                                                                                                                      22.72
                                                                                                                     $________________________________
 2808 Trailing Vine Road, Apt #D                                      Contingent
                                                                      Unliquidated
 Spring, TX, 77373                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4270
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      132.98
                                                                                                                     $________________________________
 Joseph Neff                                                         Check all that apply.
 165 S Mulberry St                                                    Contingent
                                                                      Unliquidated
 Florence, AZ, 85132                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4271
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Nolan                                                        Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 2936 Sunset Drive                                                    Contingent
                                                                      Unliquidated
 New Smyrna Beach, FL, 32168                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  4272
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             60.98
                                                                                                                     $________________________________
 Joseph oseguera                                                      Contingent
 1240 n Ravenna st                                                    Unliquidated
                                                                      Disputed
 Anaheim, CA, 92801
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4273
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       162.33
                                                                                                                     $________________________________
 Joseph O?ÄôConnor                                                   Check all that apply.
 548 Nathan Street                                                    Contingent
                                                                      Unliquidated
 Saginaw, TX, 76179                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4274
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Perales                                                      Check all that apply.
                                                                                                                      197.24
                                                                                                                     $________________________________
 30 Bianculli Drive                                                   Contingent
                                                                      Unliquidated
 South Plainfield, NJ, 7080                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4275
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 joseph perez                                                        Check all that apply.
 2100 kaiser dr                                                       Contingent
                                                                      Unliquidated
 austin, TX, 78748                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4276
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Premetz                                                      Check all that apply.
                                                                                                                       29.22
                                                                                                                     $________________________________
 10662 Cobblecreek Way                                                Contingent
                                                                      Unliquidated
 Missouri City, TX, 77459                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4277
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.22
                                                                                                                     $________________________________
 Joseph Rivera                                                        Contingent
 3600 Greystone Drive, 408                                            Unliquidated
                                                                      Disputed
 Austin, TX, 78731
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4278
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       71.61
                                                                                                                     $________________________________
 Joseph Rossi                                                        Check all that apply.
 13131 NE 97th St                                                     Contingent
                                                                      Unliquidated
 Kirkland, WA, 98033                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4279
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Rost                                                         Check all that apply.
                                                                                                                      184.99
                                                                                                                     $________________________________
 9187 Grand Prix Lane                                                 Contingent
                                                                      Unliquidated
 Boynton beach, FL, 33472                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4280
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Joseph Shamel                                                       Check all that apply.
 6023 North Vista Street                                              Contingent
                                                                      Unliquidated
 San Gabriel, CA, 91775                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4281
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Simon                                                        Check all that apply.
                                                                                                                       28.71
                                                                                                                     $________________________________
 2006 N. 19th Ave, Melrose Park                                       Contingent
                                                                      Unliquidated
 Melrose Park, IL, 60160                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4282
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 Joseph Stewart                                                       Contingent
 1430 Amsterdam Avenue, Apt 18G                                       Unliquidated
                                                                      Disputed
 New York, NY, 10027
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4283
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.65
                                                                                                                     $________________________________
 Joseph Wade                                                         Check all that apply.
 225 E LLOYD ST                                                       Contingent
                                                                      Unliquidated
 MILWAUKEE, WI, 53212                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4284
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Ward                                                         Check all that apply.
                                                                                                                      81.45
                                                                                                                     $________________________________
 76 Belmont                                                           Contingent
                                                                      Unliquidated
 Little Rock, AR, 72204                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4285
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Joseph white                                                        Check all that apply.
 2015 h street road                                                   Contingent
                                                                      Unliquidated
 Blaine, WA, 98230                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4286
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joseph Ybarra                                                       Check all that apply.
                                                                                                                       13.93
                                                                                                                     $________________________________
 323 Walnut Street                                                    Contingent
                                                                      Unliquidated
 Shafter , CA, 93263                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4287
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             84.22
                                                                                                                     $________________________________
 Joseph0 Driscoll                                                     Contingent
 1317 Morgan Avenue                                                   Unliquidated
                                                                      Disputed
 Cinnaminson, NJ, 8077
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4288
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.53
                                                                                                                     $________________________________
 Josephine Julian                                                    Check all that apply.
 6255 Shadow Tree Lane                                                Contingent
                                                                      Unliquidated
 Lake Worth, FL, 33463                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4289
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 josh bossone                                                        Check all that apply.
                                                                                                                      70.60
                                                                                                                     $________________________________
 26 knot street                                                       Contingent
                                                                      Unliquidated
 east patchogue, NY, 11772                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4290
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Josh Calhoun                                                        Check all that apply.
 116 North Douglas Avenue                                             Contingent
                                                                      Unliquidated
 Belleville, IL, 62220                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4291
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Josh Glynn                                                          Check all that apply.
                                                                                                                       49.99
                                                                                                                     $________________________________
 62 Myra Avenue                                                       Contingent
                                                                      Unliquidated
 Pontiac, MI, 48341                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4292
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             66.98
                                                                                                                     $________________________________
 Josh Gonzales                                                        Contingent
 525 Herron Trl                                                       Unliquidated
                                                                      Disputed
 Mcdade, TX, 78650
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4293
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.99
                                                                                                                     $________________________________
 Josh Holder                                                         Check all that apply.
 1000 E. Agate Lane                                                   Contingent
                                                                      Unliquidated
 WASILLA, AK, 99654                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4294
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 josh korbel                                                         Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 2617 Glenview dr.                                                    Contingent
                                                                      Unliquidated
 hollister, CA, 95023-8109                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4295
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.83
                                                                                                                     $________________________________
 Josh Meisinger                                                      Check all that apply.
 4218 N 60th St                                                       Contingent
                                                                      Unliquidated
 Omaha, NE, 68104                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4296
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Josh Morley                                                         Check all that apply.
                                                                                                                       53.50
                                                                                                                     $________________________________
 1201 West Esplanade Avenue, 812                                      Contingent
                                                                      Unliquidated
 Kenner, LA, 70065                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4297
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.99
                                                                                                                     $________________________________
 Josh Seymour                                                         Contingent
 12245 Spring Street                                                  Unliquidated
                                                                      Disputed
 Unionville, VA, 22567
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4298
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.98
                                                                                                                     $________________________________
 Josh Stolp                                                          Check all that apply.
 1800 111TH AVE NW, APT 231                                           Contingent
                                                                      Unliquidated
 MINNEAPOLIS, MN, 55433-3637                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4299
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Josh Veld                                                           Check all that apply.
                                                                                                                      23.99
                                                                                                                     $________________________________
 520 McCourtie Street                                                 Contingent
                                                                      Unliquidated
 Kalamazoo, MI, 49008                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4300
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8.47
                                                                                                                     $________________________________
 Josh Weldon                                                         Check all that apply.
 405 Fannon Street                                                    Contingent
                                                                      Unliquidated
 Alexandria, VA, 22301                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4301
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshoa Santos                                                       Check all that apply.
                                                                                                                       13.99
                                                                                                                     $________________________________
 12626 Mineola Street                                                 Contingent
                                                                      Unliquidated
 Los Angeles, CA, 91331                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4302
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             81.63
                                                                                                                     $________________________________
 Joshua Barboza                                                       Contingent
 413 west 16 street apt# 2E                                           Unliquidated
                                                                      Disputed
 New York, NY, 10011
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4303
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.78
                                                                                                                     $________________________________
 Joshua Bueno                                                        Check all that apply.
 1608 Quesada Way                                                     Contingent
                                                                      Unliquidated
 Burlingame, CA, 94010                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4304
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Bullock                                                      Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 1199 GREENWAY CT APT L, Apt L                                        Contingent
                                                                      Unliquidated
 ALTOONA, IA, 50009                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4305
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      68.89
                                                                                                                     $________________________________
 Joshua Butler                                                       Check all that apply.
 18108 Breann Ct                                                      Contingent
                                                                      Unliquidated
 Accokeek, MD, 20607-3604                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4306
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Cadena                                                       Check all that apply.
                                                                                                                       11.89
                                                                                                                     $________________________________
 9006 FM-812                                                          Contingent
                                                                      Unliquidated
 Austin, TX, 78719                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4307
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             40.98
                                                                                                                     $________________________________
 Joshua Clancy                                                        Contingent
 66 NARRAGANSETT AVE                                                  Unliquidated
                                                                      Disputed
 WEYMOUTH, MA, 2188
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4308
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.89
                                                                                                                     $________________________________
 Joshua Cyphers                                                      Check all that apply.
 25 Eastfield Dr                                                      Contingent
                                                                      Unliquidated
 Lebanon, PA, 17042-8000                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4309
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Deena                                                        Check all that apply.
                                                                                                                      48.36
                                                                                                                     $________________________________
 4600 University Drive, 1116                                          Contingent
                                                                      Unliquidated
 Durham, NC, 27707                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4310
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                     $________________________________
 Joshua Dorstad                                                      Check all that apply.
 701 Redwood Boulevard, 75                                            Contingent
                                                                      Unliquidated
 Redding, CA, 96003                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4311
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua French                                                       Check all that apply.
                                                                                                                       466.61
                                                                                                                     $________________________________
 12815 Creekwood Street                                               Contingent
                                                                      Unliquidated
 Firestone, CO, 80504                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4312
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             60.33
                                                                                                                     $________________________________
 Joshua Gegen                                                         Contingent
 14843 Meadows Way                                                    Unliquidated
                                                                      Disputed
 Eastvale, CA, 92880
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4313
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.99
                                                                                                                     $________________________________
 Joshua Harp                                                         Check all that apply.
 10018 Riata Lane                                                     Contingent
                                                                      Unliquidated
 Bakersfield, CA, 93306                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4314
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Harrison                                                     Check all that apply.
                                                                                                                      64.99
                                                                                                                     $________________________________
 11 Bmw Drive                                                         Contingent
                                                                      Unliquidated
 Griswold, CT, 6351                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4315
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.81
                                                                                                                     $________________________________
 Joshua Hill                                                         Check all that apply.
 14210 West Franciscan Drive                                          Contingent
                                                                      Unliquidated
 Sun City West, AZ, 85375                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4316
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Horton                                                       Check all that apply.
                                                                                                                       11.78
                                                                                                                     $________________________________
 1087 Shorttown Branch Road                                           Contingent
                                                                      Unliquidated
 Bessemer, AL, 35023                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4317
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.08
                                                                                                                     $________________________________
 Joshua Ireland                                                       Contingent
 900 Timber Valley Way, apt 115                                       Unliquidated
                                                                      Disputed
 Virginia Beach, VA, 23464
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4318
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       403.11
                                                                                                                     $________________________________
 Joshua Jones                                                        Check all that apply.
 4712 durant rd.                                                      Contingent
                                                                      Unliquidated
 Dover, FL, 33527                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4319
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 joshua jordan                                                       Check all that apply.
                                                                                                                      89.99
                                                                                                                     $________________________________
 2313 Rodgers Drive Northeast                                         Contingent
                                                                      Unliquidated
 Huntsville, AL, 35811                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4320
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.30
                                                                                                                     $________________________________
 Joshua Kipps                                                        Check all that apply.
 7 Lisa Robyn Cir, Apt 206                                            Contingent
                                                                      Unliquidated
 Lakewood, NJ, 8701                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4321
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Lanier                                                       Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 5610 TOWSON VW                                                       Contingent
                                                                      Unliquidated
 COLORADO SPRINGS, CO, 80918                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4322
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             77.99
                                                                                                                     $________________________________
 Joshua Lentry                                                        Contingent
 6548 Centerwalk Dr, Apt B                                            Unliquidated
                                                                      Disputed
 Winter Park, FL, 32792
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4323
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.98
                                                                                                                     $________________________________
 Joshua Lyon                                                         Check all that apply.
 13 Garrison Road                                                     Contingent
                                                                      Unliquidated
 Shady, NY, 12409                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4324
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Madero                                                       Check all that apply.
                                                                                                                      44.97
                                                                                                                     $________________________________
 16617 Barbee St                                                      Contingent
                                                                      Unliquidated
 Fontana, CA, 92336                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4325
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      198.90
                                                                                                                     $________________________________
 Joshua Madero                                                       Check all that apply.
 16617 Barbee St                                                      Contingent
                                                                      Unliquidated
 Fontana, CA, 92336                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4326
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Marquez                                                      Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 307 East Crestline Drive                                             Contingent
                                                                      Unliquidated
 San Antonio, TX, 78201                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4327
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.98
                                                                                                                     $________________________________
 Joshua Marshall                                                      Contingent
 38954 Bel Air Dr                                                     Unliquidated
                                                                      Disputed
 Cathedral City, CA, 92234-2306
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4328
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.15
                                                                                                                     $________________________________
 Joshua Melendez                                                     Check all that apply.
 15655 Versailles Ct.                                                 Contingent
                                                                      Unliquidated
 Moreno Valley, CA, 92555                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4329
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Ponce                                                        Check all that apply.
                                                                                                                      30.32
                                                                                                                     $________________________________
 5955 Northwest Larkspur Street                                       Contingent
                                                                      Unliquidated
 Camas, WA, 98607                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4330
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      60.95
                                                                                                                     $________________________________
 Joshua Purvis                                                       Check all that apply.
 144 Little John Lane                                                 Contingent
                                                                      Unliquidated
 Warner Robins, GA, 31088                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4331
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Register                                                     Check all that apply.
                                                                                                                       71.26
                                                                                                                     $________________________________
 618 Giles Circle, APT E106                                           Contingent
                                                                      Unliquidated
 Byron, GA, 31008                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4332
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Joshua Robertson                                                     Contingent
 121 Comanche St                                                      Unliquidated
                                                                      Disputed
 Daleville, AL, 36322
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4333
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Joshua Schulze                                                      Check all that apply.
 196 Sue Ellen Avenue                                                 Contingent
                                                                      Unliquidated
 Belton, MO, 64012                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4334
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Sears                                                        Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 436 Wendover Ln                                                      Contingent
                                                                      Unliquidated
 Wilmington, NC, 28411                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4335
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      422.98
                                                                                                                     $________________________________
 Joshua Spear                                                        Check all that apply.
 120 Commons Way                                                      Contingent
                                                                      Unliquidated
 Goose Creek, SC, 29445                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4336
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Taylor                                                       Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 36947 Giles Road                                                     Contingent
                                                                      Unliquidated
 Grafton, OH, 44044                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4337
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Joshua Torres                                                        Contingent
 4712 haywood parkway                                                 Unliquidated
                                                                      Disputed
 Dallas, TX, 75232
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4338
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Joshua W Nolin                                                      Check all that apply.
 427 N.Main St Apt 15                                                 Contingent
                                                                      Unliquidated
 Cananadaigua, NY, 14424                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4339
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joshua Watson                                                       Check all that apply.
                                                                                                                      26.15
                                                                                                                     $________________________________
 P.O. box 41462 Charleston, SC 29423                                  Contingent
                                                                      Unliquidated
 North Charleston, SC, 29423                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4340
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      190.30
                                                                                                                     $________________________________
 Joshua Wilson                                                       Check all that apply.
 600 SW 134th St, TLRL 85                                             Contingent
                                                                      Unliquidated
 Moore, OK, 73170                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4341
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Josiah Amante                                                       Check all that apply.
                                                                                                                       28.00
                                                                                                                     $________________________________
 25 Lansdale Court                                                    Contingent
                                                                      Unliquidated
 Ladera Ranch, CA, 92694                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  4342
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 Josiah Johnson                                                       Contingent
 11180 Green Road                                                     Unliquidated
                                                                      Disputed
 Wilton, CA, 95693
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4343
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.19
                                                                                                                     $________________________________
 Josie Gaglio                                                        Check all that apply.
 1872 W 9th St                                                        Contingent
                                                                      Unliquidated
 New York, NY, 11223                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4344
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jossue Barajas                                                      Check all that apply.
                                                                                                                      18.99
                                                                                                                     $________________________________
 14038 Kornblum Avenue                                                Contingent
                                                                      Unliquidated
 Hawthorne, CA, 90250                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4345
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.37
                                                                                                                     $________________________________
 josty santos lantigua                                               Check all that apply.
 81 washington st                                                     Contingent
                                                                      Unliquidated
 perth amboy, NJ, 8861                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4346
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Josue Concepcion                                                    Check all that apply.
                                                                                                                       65.98
                                                                                                                     $________________________________
 1841 North Keeler Avenue                                             Contingent
                                                                      Unliquidated
 Chicago, IL, 60639                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4347
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Josue Gonzalez                                                       Contingent
 Mountain View M-13 calle 9                                           Unliquidated
                                                                      Disputed
 Carolina, PR, 00987-8077
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4348
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.18
                                                                                                                     $________________________________
 Joy Chang                                                           Check all that apply.
 23523 SE 380th St.                                                   Contingent
                                                                      Unliquidated
 Enumclaw, WA, 98022                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4349
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 joy lee                                                             Check all that apply.
                                                                                                                      41.59
                                                                                                                     $________________________________
 16632 Blackburn Dr                                                   Contingent
                                                                      Unliquidated
 La Mirada, CA, 90638                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4350
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Joy Rosser                                                          Check all that apply.
 340 Park Creek Drive                                                 Contingent
                                                                      Unliquidated
 Alpharetta, GA, 30005                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4351
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Joy Wang                                                            Check all that apply.
                                                                                                                       76.29
                                                                                                                     $________________________________
 2080 Leighton Drive                                                  Contingent
                                                                      Unliquidated
 Shelby Twp, MI, 48317                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4352
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             46.77
                                                                                                                      $________________________________
 Joyce Chua                                                            Contingent
 1521 AUTUMN MEADOW LN                                                 Unliquidated
                                                                       Disputed
 TRACY, CA, 95376
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  4353
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        26.49
                                                                                                                      $________________________________
 Joycelin Lau                                                         Check all that apply.
 1595 Rilla Circle                                                     Contingent
                                                                       Unliquidated
 Lawrenceville, GA, 30043                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  4354
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Juan Guido                                                           Check all that apply.
                                                                                                                       84.99
                                                                                                                      $________________________________
 6118 Rockne Avenue                                                    Contingent
                                                                       Unliquidated
 Whittier, CA, 90606                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  4355
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       217.95
                                                                                                                      $________________________________
 Juan Alcca                                                           Check all that apply.
 713 fletcher pl                                                       Contingent
                                                                       Unliquidated
 Rockville, MD, 20851                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  4356
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Juan Almaraz                                                         Check all that apply.
                                                                                                                        84.41
                                                                                                                      $________________________________
 2023 Quail Creek Road, 1206                                           Contingent
                                                                       Unliquidated
 Laredo, TX, 78045                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4357
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             154.98
                                                                                                                     $________________________________
 Juan Alveno                                                          Contingent
 4517 Maplewood Ave, 6                                                Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90004
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4358
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       40.99
                                                                                                                     $________________________________
 Juan Astacio                                                        Check all that apply.
 1056 Saint Johns Street Southeast                                    Contingent
                                                                      Unliquidated
 Palm Bay, FL, 32909                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4359
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Juan Astacio                                                        Check all that apply.
                                                                                                                      54.99
                                                                                                                     $________________________________
 1056 Saint Johns Street Southeast                                    Contingent
                                                                      Unliquidated
 Palm Bay, FL, 32909                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4360
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Juan Avelar                                                         Check all that apply.
 3236 Monarch Court                                                   Contingent
                                                                      Unliquidated
 Fort Collins, CO, 80525                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4361
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Juan Carlos Ticona                                                  Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 61 Hudson Street, Apt 2                                              Contingent
                                                                      Unliquidated
 Somerville, MA, 2143                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4362
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             139.92
                                                                                                                     $________________________________
 Juan Eudave                                                          Contingent
 16707 Lakewood Drive, Apt 302                                        Unliquidated
                                                                      Disputed
 Tinley Park, IL, 60477
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4363
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Juan Fracisco Salinas Garcia                                        Check all that apply.
 405 E Gardenia Ave                                                   Contingent
                                                                      Unliquidated
 McAllen, TX, 78501                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4364
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JUAN FUENTES                                                        Check all that apply.
                                                                                                                      86.98
                                                                                                                     $________________________________
 2945 DE LA VINA ST NO7                                               Contingent
                                                                      Unliquidated
 SANTA BARBARA, CA, 93105                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4365
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.56
                                                                                                                     $________________________________
 Juan Garcia                                                         Check all that apply.
 95-1055 Kaapeha Street, 151                                          Contingent
                                                                      Unliquidated
 Mililani, HI, 96789                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4366
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Juan Huertero                                                       Check all that apply.
                                                                                                                       50.99
                                                                                                                     $________________________________
 3069 Prado Ln                                                        Contingent
                                                                      Unliquidated
 Colton, CA, 92324                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4367
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 Juan Hurtado                                                         Contingent
 520 Linden Drive                                                     Unliquidated
                                                                      Disputed
 Round Lake, IL, 60073
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4368
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Juan Lopez                                                          Check all that apply.
 3713 South 8300 West                                                 Contingent
                                                                      Unliquidated
 Magna, UT, 84044                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4369
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Juan Luciano                                                        Check all that apply.
                                                                                                                      167.99
                                                                                                                     $________________________________
 8611 Northwest 54th Street                                           Contingent
                                                                      Unliquidated
 Doral, FL, 33166                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4370
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 Juan Medina                                                         Check all that apply.
 4359 Center Street                                                   Contingent
                                                                      Unliquidated
 Baldwin Park, CA, 91706                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4371
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JUAN MENJIVAR                                                       Check all that apply.
                                                                                                                       156.22
                                                                                                                     $________________________________
 7720 Burnt Tree Drive                                                Contingent
                                                                      Unliquidated
 Manassas, VA, 20111                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4372
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 juan olmos                                                           Contingent
 1263 Yost Street                                                     Unliquidated
                                                                      Disputed
 Aurora, CO, 80011
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4373
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Juan Pas                                                            Check all that apply.
 3230 MARYLAND AVE                                                    Contingent
                                                                      Unliquidated
 DALLAS, TX, 75216                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4374
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Juan Quinones                                                       Check all that apply.
                                                                                                                      99.99
                                                                                                                     $________________________________
 2110 Tanbark Lane                                                    Contingent
                                                                      Unliquidated
 Fort Lauderdale, FL, 33312                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4375
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      170.88
                                                                                                                     $________________________________
 Juan Ramirez                                                        Check all that apply.
 2225 n harlem, 1floor                                                Contingent
                                                                      Unliquidated
 chicago, IL, 60707-3241                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4376
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Juan Resto                                                          Check all that apply.
                                                                                                                       94.99
                                                                                                                     $________________________________
 217 Ave. Jos?© De Diego                                              Contingent
                                                                      Unliquidated
 Cayey Puerto Rico, PR, 736                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4377
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.21
                                                                                                                     $________________________________
 Juan Rodriguez                                                       Contingent
 2388 State Highway 135 , Lot 68                                      Unliquidated
                                                                      Disputed
 Gunnison , CO, 81230
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4378
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       43.98
                                                                                                                     $________________________________
 JUAN RUIZ                                                           Check all that apply.
 4111 Welter Avenue                                                   Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89104                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4379
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Juan Santos                                                         Check all that apply.
                                                                                                                      27.30
                                                                                                                     $________________________________
 3111 Mendocino Pl                                                    Contingent
                                                                      Unliquidated
 Oxnard, CA, 93033                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4380
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.17
                                                                                                                     $________________________________
 Juan Ultreras                                                       Check all that apply.
 2130 MEADOWLARK LN                                                   Contingent
                                                                      Unliquidated
 CA - California, CA, 95821                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4381
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 juan vega                                                           Check all that apply.
                                                                                                                       264.98
                                                                                                                     $________________________________
 577 central ave apt#16                                               Contingent
                                                                      Unliquidated
 jersey city, NJ, 7307                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4382
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.07
                                                                                                                     $________________________________
 Juanita Zavala                                                       Contingent
 4679 N Shasta Ave                                                    Unliquidated
                                                                      Disputed
 Kerman, CA, 93630
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4383
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       95.39
                                                                                                                     $________________________________
 Juanito Soltero                                                     Check all that apply.
 427 Randolph Ave                                                     Contingent
                                                                      Unliquidated
 Pocatello, ID, 83201-3912                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4384
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 juanyong lin                                                        Check all that apply.
                                                                                                                      266.55
                                                                                                                     $________________________________
 410 vine ave                                                         Contingent
                                                                      Unliquidated
 galloway, NJ, 8205                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4385
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.86
                                                                                                                     $________________________________
 Judith Bandars                                                      Check all that apply.
 1713 North 76th Street                                               Contingent
                                                                      Unliquidated
 Lincoln, NE, 68505                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4386
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Judith Geesaman                                                     Check all that apply.
                                                                                                                       45.73
                                                                                                                     $________________________________
 243 Stamper Rd                                                       Contingent
                                                                      Unliquidated
 Elma, WA, 98541                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4387
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             148.38
                                                                                                                     $________________________________
 Judith Kim                                                           Contingent
 12616 Varny Place                                                    Unliquidated
                                                                      Disputed
 Fairfax, VA, 22033
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4388
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       204.95
                                                                                                                     $________________________________
 Judith Phillips                                                     Check all that apply.
 175 Green Meadow Lane                                                Contingent
                                                                      Unliquidated
 Rocky Mount, VA, 24151                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4389
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Judson Atkins                                                       Check all that apply.
                                                                                                                      39.21
                                                                                                                     $________________________________
 2710 Salisbury Rd                                                    Contingent
                                                                      Unliquidated
 Midlothian, VA, 23113                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4390
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.99
                                                                                                                     $________________________________
 Judson Jackson                                                      Check all that apply.
 530 S Hewitt Street, Unit 141                                        Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90013                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4391
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julia Cohen                                                         Check all that apply.
                                                                                                                       17.97
                                                                                                                     $________________________________
 1400 Greenwich St, Apt 9                                             Contingent
                                                                      Unliquidated
 San Francisco, CA, 94109                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4392
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             30.44
                                                                                                                     $________________________________
 Julia Crites                                                         Contingent
 649 Teak Court                                                       Unliquidated
                                                                      Disputed
 walnut Creek, CA, 94598
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4393
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.99
                                                                                                                     $________________________________
 julia diaz                                                          Check all that apply.
 11416 Charlesworth rd                                                Contingent
                                                                      Unliquidated
 Santa Fe Springs , CA, 90670                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4394
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julia Griles                                                        Check all that apply.
                                                                                                                      237.00
                                                                                                                     $________________________________
 348 West St                                                          Contingent
                                                                      Unliquidated
 New Vienna, OH, 45159-9377                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4395
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Julia Hewitt                                                        Check all that apply.
 13561 NW Coho Run                                                    Contingent
                                                                      Unliquidated
 Bremerton, WA, 98312                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4396
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julia Leach                                                         Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 4383 Windsor Oaks Circle                                             Contingent
                                                                      Unliquidated
 Marietta, GA, 30066                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4397
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Julia Lewis                                                          Contingent
 131 Stratford Drive                                                  Unliquidated
                                                                      Disputed
 Slidell, LA, 70458
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4398
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.88
                                                                                                                     $________________________________
 Julia Miszuk                                                        Check all that apply.
 14110 Chesterfield Trail                                             Contingent
                                                                      Unliquidated
 Hudson, FL, 34669                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4399
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julia Nobrega                                                       Check all that apply.
                                                                                                                      12.78
                                                                                                                     $________________________________
 2401 Timber Ridge Ct.                                                Contingent
                                                                      Unliquidated
 Parlin, NJ, 8859                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4400
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      234.35
                                                                                                                     $________________________________
 Julia Swick                                                         Check all that apply.
 8504 NE 13TH Pl                                                      Contingent
                                                                      Unliquidated
 VANCOUVER, WA, 98665                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4401
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julian Alejandre                                                    Check all that apply.
                                                                                                                       8.69
                                                                                                                     $________________________________
 1195 2nd avenue                                                      Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91911                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4402
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Julian Balanzar                                                      Contingent
 17271 desert lake ct                                                 Unliquidated
                                                                      Disputed
 Reno, NV, 89508
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4403
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.71
                                                                                                                     $________________________________
 Julian Gaitan                                                       Check all that apply.
 1275 Silver Avenue                                                   Contingent
                                                                      Unliquidated
 San Francisco, CA, 94134                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4404
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julian Gonzalez                                                     Check all that apply.
                                                                                                                      51.95
                                                                                                                     $________________________________
 13415 Pelican Crossing                                               Contingent
                                                                      Unliquidated
 San Antonio, TX, 78221                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4405
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      224.69
                                                                                                                     $________________________________
 Julian Higgs                                                        Check all that apply.
 7323 Spinnaker Bay Dr                                                Contingent
                                                                      Unliquidated
 Lake Worth, FL, 33467                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4406
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 julian holt                                                         Check all that apply.
                                                                                                                       33.99
                                                                                                                     $________________________________
 1243 birchcreek dr                                                   Contingent
                                                                      Unliquidated
 Orlando, FL, 32828                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4407
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             127.99
                                                                                                                     $________________________________
 Julian Joosten                                                       Contingent
 412 W. San Marcos Blvd., Unit 126                                    Unliquidated
                                                                      Disputed
 San Marcos, CA, 92069
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4408
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.05
                                                                                                                     $________________________________
 julian long                                                         Check all that apply.
 9400 Gilman Drive                                                    Contingent
                                                                      Unliquidated
 La Jolla, CA, 92092                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4409
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julian Mora                                                         Check all that apply.
                                                                                                                      32.31
                                                                                                                     $________________________________
 704 Fern St.                                                         Contingent
                                                                      Unliquidated
 Escondido, CA, 92027                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4410
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.71
                                                                                                                     $________________________________
 Julian Pachicano                                                    Check all that apply.
 814 Porter Street                                                    Contingent
                                                                      Unliquidated
 Taylor, TX, 76574                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4411
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julian Rey                                                          Check all that apply.
                                                                                                                       44.76
                                                                                                                     $________________________________
 20 MAGNOLIA AVE                                                      Contingent
                                                                      Unliquidated
 KEARNY, NJ, 7032                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4412
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.72
                                                                                                                     $________________________________
 Julian Valdry                                                        Contingent
 706 county road 2654                                                 Unliquidated
                                                                      Disputed
 Loudonvillr, OH, 44842
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4413
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.23
                                                                                                                     $________________________________
 Juliana Pearson                                                     Check all that apply.
 2377 Palmer Circle                                                   Contingent
                                                                      Unliquidated
 Fairfield, CA, 94534                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4414
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julianna Grossman                                                   Check all that apply.
                                                                                                                      44.61
                                                                                                                     $________________________________
 37 Dolores Drive                                                     Contingent
                                                                      Unliquidated
 Burlington, MA, 1803                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4415
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Julianne Muench                                                     Check all that apply.
 1687 Ashbrook Dr.                                                    Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45238                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4416
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julie E Hagala                                                      Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 85 ASH ST, Fl 2                                                      Contingent
                                                                      Unliquidated
 MANCHESTER, NH, 03104-4906                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4417
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.98
                                                                                                                     $________________________________
 Julie Gunter                                                         Contingent
 10413 Blaisdell Av S                                                 Unliquidated
                                                                      Disputed
 MINNEAPOLIS, MN, 55420
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4418
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       62.99
                                                                                                                     $________________________________
 Julie Hughes                                                        Check all that apply.
 219 SONOMA DR                                                        Contingent
                                                                      Unliquidated
 DELAWARE, OH, 43015                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4419
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julie Martiato                                                      Check all that apply.
                                                                                                                      53.24
                                                                                                                     $________________________________
 7512 Marietta Street                                                 Contingent
                                                                      Unliquidated
 Orlando, FL, 32807                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4420
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.99
                                                                                                                     $________________________________
 Julie Peck                                                          Check all that apply.
 5513 E Hillery Dr                                                    Contingent
                                                                      Unliquidated
 Scottsdale, AZ, 85254                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4421
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julie Shen                                                          Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 94 Pine St, Apt 2                                                    Contingent
                                                                      Unliquidated
 Cambridge, MA, 2139                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4422
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             396.94
                                                                                                                     $________________________________
 Julie Ton                                                            Contingent
 3254 Trebol Lane                                                     Unliquidated
                                                                      Disputed
 San Jose, CA, 95148
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4423
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       165.96
                                                                                                                     $________________________________
 Julie Washenik                                                      Check all that apply.
 11268 Homedale St.                                                   Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90049                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4424
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julie Wilkins                                                       Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 3105-B River Road, Basement                                          Contingent
                                                                      Unliquidated
 Piedmont, SC, 29673                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4425
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Julien Perri                                                        Check all that apply.
 11345 Figtree Terrace Rd                                             Contingent
                                                                      Unliquidated
 Corona, CA, 92883                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4426
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Juliet Hossain                                                      Check all that apply.
                                                                                                                       409.99
                                                                                                                     $________________________________
 9752 Wyndham Dr.                                                     Contingent
                                                                      Unliquidated
 Frederick, MD, 21704                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4427
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.11
                                                                                                                     $________________________________
 Juliet Morehouse                                                     Contingent
 60 Eagle Ridge Circle                                                Unliquidated
                                                                      Disputed
 Lakewood, NJ, 8701
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4428
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.75
                                                                                                                     $________________________________
 Julio Cedeno                                                        Check all that apply.
 68 Taylor Drive                                                      Contingent
                                                                      Unliquidated
 Hartford, CT, 6120                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4429
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 julio Castelo                                                       Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 783 Graves Ave                                                       Contingent
                                                                      Unliquidated
 el cajon, CA, 92021                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4430
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.96
                                                                                                                     $________________________________
 Julio Chardon                                                       Check all that apply.
 Urb. Los Caobos #929 Acerola street                                  Contingent
                                                                      Unliquidated
 Ponce, PR, 716                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4431
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julio Chavez                                                        Check all that apply.
                                                                                                                       25.99
                                                                                                                     $________________________________
 529 CALIFORNIA AVE                                                   Contingent
                                                                      Unliquidated
 SHAFTER, CA, 93263-2107                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4432
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.64
                                                                                                                     $________________________________
 julio corral                                                         Contingent
 8206 Adams Way                                                       Unliquidated
                                                                      Disputed
 Denver, CO, 80221
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4433
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.81
                                                                                                                     $________________________________
 Julio Jauregui                                                      Check all that apply.
 8986 W Flagler St, Unit 12                                           Contingent
                                                                      Unliquidated
 Miami, FL, 33174                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4434
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julio Munoz                                                         Check all that apply.
                                                                                                                      42.97
                                                                                                                     $________________________________
 212 Key Parkway, Townhouse                                           Contingent
                                                                      Unliquidated
 Frederick, MD, 21702                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4435
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      70.35
                                                                                                                     $________________________________
 Julio Reyes                                                         Check all that apply.
 829 Tuskegee St, NA                                                  Contingent
                                                                      Unliquidated
 Grand Prairie, TX, 75051                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4436
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julio Ribot                                                         Check all that apply.
                                                                                                                       53.30
                                                                                                                     $________________________________
 546 Beardsley Ave                                                    Contingent
                                                                      Unliquidated
 Bloomfield, NJ, 7003                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4437
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Julio Rodrigues                                                      Contingent
 16332 SW 71st Ter                                                    Unliquidated
                                                                      Disputed
 Miami, FL, 33193
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4438
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Julio Soro                                                          Check all that apply.
 7285 West 34th Lane                                                  Contingent
                                                                      Unliquidated
 Hialeah, FL, 33018                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4439
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Julio Sousa                                                         Check all that apply.
                                                                                                                      68.99
                                                                                                                     $________________________________
 7646 NW 180th St.                                                    Contingent
                                                                      Unliquidated
 Hialeah, FL, 33015                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4440
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.19
                                                                                                                     $________________________________
 Julio Tirado                                                        Check all that apply.
 4903 Umbrella St SW, Apt A                                           Contingent
                                                                      Unliquidated
 MCCHORD AFB, WA, 98439                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4441
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JULIO VIDAL                                                         Check all that apply.
                                                                                                                       127.99
                                                                                                                     $________________________________
 11889 Manor Drive, B                                                 Contingent
                                                                      Unliquidated
 Hawthorne, CA, 90250                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4442
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.40
                                                                                                                     $________________________________
 Julissa Cuevas                                                       Contingent
 2038 Grey Stone Dr                                                   Unliquidated
                                                                      Disputed
 Stockton, CA, 95206
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4443
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       127.61
                                                                                                                     $________________________________
 Jun Jiang                                                           Check all that apply.
 7946 Buckfield Pl.                                                   Contingent
                                                                      Unliquidated
 Charlotte, NC, 28277                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4444
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Juna Donegan                                                        Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 3117 Guilford Ave                                                    Contingent
                                                                      Unliquidated
 Baltimore, MD, 21218                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4445
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      154.05
                                                                                                                     $________________________________
 Junfu Wang                                                          Check all that apply.
 35 Bellwood Cir                                                      Contingent
                                                                      Unliquidated
 Bellingham, MA, 2019                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4446
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jung Kim                                                            Check all that apply.
                                                                                                                       95.95
                                                                                                                     $________________________________
 20 Durant Avenue                                                     Contingent
                                                                      Unliquidated
 Holmdel, NJ, 7733                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4447
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.38
                                                                                                                     $________________________________
 justice maldonado                                                    Contingent
 16260 Bothell Way Northeast                                          Unliquidated
                                                                      Disputed
 Lake Forest Park, WA, 98155
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4448
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.99
                                                                                                                     $________________________________
 Justin Angulo                                                       Check all that apply.
 389 West Turner St                                                   Contingent
                                                                      Unliquidated
 Allentown, PA, 18102                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4449
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Ayotte                                                       Check all that apply.
                                                                                                                      120.00
                                                                                                                     $________________________________
 18075 NW Tillamook Dr.                                               Contingent
                                                                      Unliquidated
 Portland, OR, 97229                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4450
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      132.50
                                                                                                                     $________________________________
 Justin Bland                                                        Check all that apply.
 430 Spurlington Church Rd                                            Contingent
                                                                      Unliquidated
 CAMPBELLSVILLE, KY, 42718-7225                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4451
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Carpenter                                                    Check all that apply.
                                                                                                                       77.36
                                                                                                                     $________________________________
 6396 HAWKINS RD                                                      Contingent
                                                                      Unliquidated
 JACKSON, MI, 49201                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4452
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.98
                                                                                                                     $________________________________
 Justin Colvin                                                        Contingent
 6913 Gumwood Cir                                                     Unliquidated
                                                                      Disputed
 Citrus Heights, CA, 95621
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4453
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Justin Crothers                                                     Check all that apply.
 701 Bandera                                                          Contingent
                                                                      Unliquidated
 Allen, TX, 75013                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4454
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Delgado                                                      Check all that apply.
                                                                                                                      20.99
                                                                                                                     $________________________________
 3071 Perry Avenue, 3D                                                Contingent
                                                                      Unliquidated
 Bronx, NY, 10467                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4455
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                     $________________________________
 Justin Federico                                                     Check all that apply.
 10 PLEASANT RD                                                       Contingent
                                                                      Unliquidated
 PLYMOUTH MEETING, PA, 19462                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4456
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JUSTIN FILOSA                                                       Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 36 RIVER ST, UNIT # 155                                              Contingent
                                                                      Unliquidated
 WALTHAM, MA, 2453                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4457
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 justin flores                                                        Contingent
 2101 ne 151 ct                                                       Unliquidated
                                                                      Disputed
 vancouver, WA, 98684
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4458
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.61
                                                                                                                     $________________________________
 Justin Fortier                                                      Check all that apply.
 134 Laurian Court                                                    Contingent
                                                                      Unliquidated
 Brentwood, CA, 94513                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4459
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Garcia                                                       Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 2850 West 24th Street Apt 14D                                        Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11224                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4460
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      311.93
                                                                                                                     $________________________________
 Justin Hawks                                                        Check all that apply.
 245 Independence Road, APT.2                                         Contingent
                                                                      Unliquidated
 Sparta, NC, 28675                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4461
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Hill                                                         Check all that apply.
                                                                                                                       38.98
                                                                                                                     $________________________________
 149 Avis Street                                                      Contingent
                                                                      Unliquidated
 Pearl, MS, 39208                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4462
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.76
                                                                                                                     $________________________________
 Justin Hilton                                                        Contingent
 2959 N Allen Avenue                                                  Unliquidated
                                                                      Disputed
 Chicago, IL, 60618
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4463
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       43.99
                                                                                                                     $________________________________
 Justin Howe                                                         Check all that apply.
 4602 West Lindner Drive                                              Contingent
                                                                      Unliquidated
 Glendale, AZ, 85308                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4464
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Kauffmann                                                    Check all that apply.
                                                                                                                      27.02
                                                                                                                     $________________________________
 5916 Wells Road                                                      Contingent
                                                                      Unliquidated
 St. Louis, MO, 63128                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4465
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.62
                                                                                                                     $________________________________
 Justin Leno                                                         Check all that apply.
 17 W Winona St                                                       Contingent
                                                                      Unliquidated
 Duluth, MN, 55803-1902                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4466
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Li                                                           Check all that apply.
                                                                                                                       59.99
                                                                                                                     $________________________________
 1714 31st Avenue                                                     Contingent
                                                                      Unliquidated
 San Francisco, CA, 94122                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4467
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             296.79
                                                                                                                     $________________________________
 Justin Little                                                        Contingent
 2115 November Court Northwest                                        Unliquidated
                                                                      Disputed
 Acworth, GA, 30102
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4468
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       173.19
                                                                                                                     $________________________________
 Justin Longorio                                                     Check all that apply.
 673 Harter Road                                                      Contingent
                                                                      Unliquidated
 Dallas, TX, 75218                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4469
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Lowans                                                       Check all that apply.
                                                                                                                      32.09
                                                                                                                     $________________________________
 324 Pendleton Drive, Apt D                                           Contingent
                                                                      Unliquidated
 Martinsburg, WV, 25401                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4470
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      130.96
                                                                                                                     $________________________________
 Justin Matchawate`                                                  Check all that apply.
 PSC 2 BOX 1297                                                       Contingent
                                                                      Unliquidated
 APO, AP, 96264-0013                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4471
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Mclaury                                                      Check all that apply.
                                                                                                                       25.43
                                                                                                                     $________________________________
 950 otney rd                                                         Contingent
                                                                      Unliquidated
 jackson, MI, 49201                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4472
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.93
                                                                                                                     $________________________________
 Justin Ortiz                                                         Contingent
 518 Colonia de Los Cedros                                            Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90022
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4473
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.00
                                                                                                                     $________________________________
 Justin Ortiz                                                        Check all that apply.
 518 Colonia de Los Cedros                                            Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90022                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4474
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Pease                                                        Check all that apply.
                                                                                                                      124.99
                                                                                                                     $________________________________
 5901 Gibbs Rd                                                        Contingent
                                                                      Unliquidated
 Andover, OH, 44003                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4475
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      449.99
                                                                                                                     $________________________________
 Justin Penner                                                       Check all that apply.
 810 Janes View Street, 14                                            Contingent
                                                                      Unliquidated
 Papillion, NE, 68046                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4476
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Perez                                                        Check all that apply.
                                                                                                                       25.58
                                                                                                                     $________________________________
 2219 Central Avenue, Apt. 1                                          Contingent
                                                                      Unliquidated
 Union City, NJ, 7087                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4477
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             187.25
                                                                                                                     $________________________________
 Justin Ramos                                                         Contingent
 115 county road 2112                                                 Unliquidated
                                                                      Disputed
 Decatur, TX, 76234
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4478
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.98
                                                                                                                     $________________________________
 Justin Richardson                                                   Check all that apply.
 200 West 143rd Street, Apt 18C                                       Contingent
                                                                      Unliquidated
 New York, NY, 10030                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4479
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Rutherford                                                   Check all that apply.
                                                                                                                      23.99
                                                                                                                     $________________________________
 127 Howard Avenue                                                    Contingent
                                                                      Unliquidated
 Harriman, TN, 37748                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4480
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.99
                                                                                                                     $________________________________
 Justin Stills                                                       Check all that apply.
 325 P Street Southwest, 806                                          Contingent
                                                                      Unliquidated
 Washington, DC, 20024                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4481
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Trevarthen                                                   Check all that apply.
                                                                                                                       34.99
                                                                                                                     $________________________________
 P.O.Box 1161, 105 Buckles Dr.                                        Contingent
                                                                      Unliquidated
 Hollister, FL, 32147                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4482
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             94.71
                                                                                                                     $________________________________
 Justin Wegner                                                        Contingent
 24436 Grant Drive                                                    Unliquidated
                                                                      Disputed
 Rhoadesville, VA, 22542
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4483
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       345.55
                                                                                                                     $________________________________
 Justin Wight                                                        Check all that apply.
 3414 Lincoln Hwy E, Apt 311                                          Contingent
                                                                      Unliquidated
 Paradise, PA, 17562                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4484
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justine Lim                                                         Check all that apply.
                                                                                                                      21.98
                                                                                                                     $________________________________
 36 Meadow Gln                                                        Contingent
                                                                      Unliquidated
 Irvine, CA, 92602-1624                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4485
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.45
                                                                                                                     $________________________________
 Juventino Casas                                                     Check all that apply.
 16407 Monte Cristo Drive                                             Contingent
                                                                      Unliquidated
 Hacienda Heights, CA, 91745                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4486
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 K Pearson                                                           Check all that apply.
                                                                                                                       615.54
                                                                                                                     $________________________________
 2825 Windy Hill Road, Apt. 5302                                      Contingent
                                                                      Unliquidated
 Marietta, GA, 30067                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4487
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             184,337.26
                                                                                                                     $________________________________
 K&J Associates                                                       Contingent
 One Madison St.                                                      Unliquidated
                                                                      Disputed
 East Rutherford, NJ, 07073
                                                                     Basis for the claim: Commercial Lease



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4488
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       158.97
                                                                                                                     $________________________________
 Ka Lok Chan                                                         Check all that apply.
 1740 Earl Avenue                                                     Contingent
                                                                      Unliquidated
 San Bruno, CA, 94066                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4489
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaab Mallick                                                        Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 317 North Astell Avenue                                              Contingent
                                                                      Unliquidated
 West Covina, CA, 91790                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4490
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.74
                                                                                                                     $________________________________
 kacee takasaki                                                      Check all that apply.
 227 Locust Street                                                    Contingent
                                                                      Unliquidated
 Pacific Grove, CA, 93950                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4491
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kacey Paulsen                                                       Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 8248 willeta ave                                                     Contingent
                                                                      Unliquidated
 las vegas, NV, 89145                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4492
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             77.56
                                                                                                                     $________________________________
 Kacy Cook Richardson                                                 Contingent
 8370 Chase Way                                                       Unliquidated
                                                                      Disputed
 Arvada, CO, 80003-1446
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4493
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.98
                                                                                                                     $________________________________
 Kady Jeffares                                                       Check all that apply.
 136, Chrissy Dr                                                      Contingent
                                                                      Unliquidated
 Temple, GA, 30179                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4494
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaelah Calderone                                                    Check all that apply.
                                                                                                                      27.98
                                                                                                                     $________________________________
 1207 East Main Street, Apt 16                                        Contingent
                                                                      Unliquidated
 Jackson, MO, 63755                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4495
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      119.06
                                                                                                                     $________________________________
 Kaelin Douglas                                                      Check all that apply.
 4600 Daisy Leaf Drive                                                Contingent
                                                                      Unliquidated
 Fort worth, TX, 76244                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4496
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaesahn Willams                                                     Check all that apply.
                                                                                                                       12.71
                                                                                                                     $________________________________
 1024 Berkley Avenue Ext, 2c                                          Contingent
                                                                      Unliquidated
 Norfolk, VA, 23523                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4497
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             319.33
                                                                                                                     $________________________________
 Kah Ho                                                               Contingent
 22343 Slate Oaks Lane                                                Unliquidated
                                                                      Disputed
 Richmond, TX, 77469
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4498
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       127.99
                                                                                                                     $________________________________
 Kai Gilding                                                         Check all that apply.
 45-736 Keneke St                                                     Contingent
                                                                      Unliquidated
 Kaneohe, HI, 96744                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4499
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 KAi XU                                                              Check all that apply.
                                                                                                                      419.99
                                                                                                                     $________________________________
 10554 Heather St                                                     Contingent
                                                                      Unliquidated
 Rancho Cucamonga, CA, 91737                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4500
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.99
                                                                                                                     $________________________________
 Kaia Gavere                                                         Check all that apply.
 2630 Kearney St.                                                     Contingent
                                                                      Unliquidated
 Denver, CO, 80207                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4501
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaicy McMasters                                                     Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 652 COUNTY ROAD 4876                                                 Contingent
                                                                      Unliquidated
 COPPERAS COVE, TX, 76522                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4502
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             198.44
                                                                                                                     $________________________________
 Kailah Chaparro                                                      Contingent
 1713 West Chariot Court, Apt 1B                                      Unliquidated
                                                                      Disputed
 Mount Prospect, IL, 60056
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4503
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       36.90
                                                                                                                     $________________________________
 Kailynn Hatler                                                      Check all that apply.
 6012 South Crestview Street                                          Contingent
                                                                      Unliquidated
 Littleton, CO, 80120                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4504
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaitlin Geddis                                                      Check all that apply.
                                                                                                                      89.99
                                                                                                                     $________________________________
 203 N 104th St                                                       Contingent
                                                                      Unliquidated
 Seattle, WA, 98133                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4505
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                     $________________________________
 Kaitlin Malone                                                      Check all that apply.
 2709 Jack Johnson Boulevard                                          Contingent
                                                                      Unliquidated
 Galveston, TX, 77550                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4506
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaitlin Sera                                                        Check all that apply.
                                                                                                                       26.26
                                                                                                                     $________________________________
 6428 Whitman Avenue                                                  Contingent
                                                                      Unliquidated
 Van Nuys, CA, 91406                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4507
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             119.99
                                                                                                                     $________________________________
 Kaitlyn Bloomfield                                                   Contingent
 3938 Chickory Ave                                                    Unliquidated
                                                                      Disputed
 Columbus, OH, 43230-1009
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4508
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       65.81
                                                                                                                     $________________________________
 Kaitlyn Burrow                                                      Check all that apply.
 3625 Manson Pike, Unit 6301                                          Contingent
                                                                      Unliquidated
 Murfreesboro, TN, 37129                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4509
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaitlyn Enlow                                                       Check all that apply.
                                                                                                                      54.99
                                                                                                                     $________________________________
 324 Spencer Road, Apt K                                              Contingent
                                                                      Unliquidated
 Ithaca, NY, 14850                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4510
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      7.99
                                                                                                                     $________________________________
 Kaitlyn Kleinfelder                                                 Check all that apply.
 33024 26th Pl. SW                                                    Contingent
                                                                      Unliquidated
 Federal Way, WA, 98023                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4511
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaitlyn Millington                                                  Check all that apply.
                                                                                                                       101.64
                                                                                                                     $________________________________
 6765 West 2nd Court, Apt. 116                                        Contingent
                                                                      Unliquidated
 Hialeah, FL, 33012                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4512
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             341.96
                                                                                                                     $________________________________
 Kaitlyn Smith                                                        Contingent
 7913 Bobby Point Rd                                                  Unliquidated
                                                                      Disputed
 Wichita Falls, TX, 76305
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4513
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.98
                                                                                                                     $________________________________
 Kaitlyn Sticco                                                      Check all that apply.
 16051 Night Heron Road                                               Contingent
                                                                      Unliquidated
 Brooksville, FL, 34614                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4514
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 kaitlyn tate                                                        Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 514 Ellerdale Road                                                   Contingent
                                                                      Unliquidated
 Anderson, IN, 46017                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4515
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Kaitlyn Westbrook                                                   Check all that apply.
 18 Old Province Road                                                 Contingent
                                                                      Unliquidated
 Newbury, NH, 3255                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4516
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaitlyn Westbrook                                                   Check all that apply.
                                                                                                                       27.99
                                                                                                                     $________________________________
 3117 hwy 258 S                                                       Contingent
                                                                      Unliquidated
 Kinston, NC, 28504                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4517
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             51.35
                                                                                                                     $________________________________
 Kaled Torres                                                         Contingent
 1106, Hair St                                                        Unliquidated
                                                                      Disputed
 Dalton, GA, 30721
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4518
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.97
                                                                                                                     $________________________________
 Kalee Walter                                                        Check all that apply.
 890 Weir Lake Road                                                   Contingent
                                                                      Unliquidated
 Kunkletown, PA, 18058                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4519
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kalei Altamirano                                                    Check all that apply.
                                                                                                                      12.92
                                                                                                                     $________________________________
 851 Havasu Court                                                     Contingent
                                                                      Unliquidated
 Livermore, CA, 94551                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4520
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.02
                                                                                                                     $________________________________
 Kaleigh King                                                        Check all that apply.
 1875 Shay Lin Ct                                                     Contingent
                                                                      Unliquidated
 Niceville, FL, 32578                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4521
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaley Delaney                                                       Check all that apply.
                                                                                                                       28.88
                                                                                                                     $________________________________
 1449 South Kirkman Road, 2020                                        Contingent
                                                                      Unliquidated
 Orlando, FL, 32811                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4522
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.79
                                                                                                                     $________________________________
 Kalie Peterson                                                       Contingent
 432 Brandon Way                                                      Unliquidated
                                                                      Disputed
 Chesapeake, VA, 23320
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4523
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       109.89
                                                                                                                     $________________________________
 Kalina Todorova                                                     Check all that apply.
 10 e touhy ave, Address 2, Address 2                                 Contingent
                                                                      Unliquidated
 Park Ridge, IL, 60068                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4524
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kam Lau                                                             Check all that apply.
                                                                                                                      92.53
                                                                                                                     $________________________________
 5444 LITTLE NECK PKWY, APT 3S                                        Contingent
                                                                      Unliquidated
 LITTLE NECK, NY, 11362                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4525
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      2,179.88
                                                                                                                     $________________________________
 Kam Yeung                                                           Check all that apply.
 87A Hickory Rd                                                       Contingent
                                                                      Unliquidated
 Port Washington, NY, 11050                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4526
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kameron Jones                                                       Check all that apply.
                                                                                                                       28.43
                                                                                                                     $________________________________
 3630 Pennant Court Northwest                                         Contingent
                                                                      Unliquidated
 Olympia, WA, 98502                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4527
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Kamila Torres                                                        Contingent
 10554 Rocking A Run                                                  Unliquidated
                                                                      Disputed
 Orlando, FL, 32825
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4528
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.18
                                                                                                                     $________________________________
 Kaniah Tafoya                                                       Check all that apply.
 31 Royal Crest Dr., Apt.D                                            Contingent
                                                                      Unliquidated
 Pueblo, CO, 81005                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4529
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kara Amendola                                                       Check all that apply.
                                                                                                                      28.21
                                                                                                                     $________________________________
 6737 S PEORIA AVE, APT C213                                          Contingent
                                                                      Unliquidated
 Tulsa, OK, 74136                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4530
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Kara Schmith                                                        Check all that apply.
 219 5th St NE                                                        Contingent
                                                                      Unliquidated
 Oelwein, IA, 50662                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4531
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karanbir Deol                                                       Check all that apply.
                                                                                                                       89.99
                                                                                                                     $________________________________
 2100 Electric Avenue, Apt. 131                                       Contingent
                                                                      Unliquidated
 Bellingham, WA, 98229                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4532
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Karel Spala                                                          Contingent
 3129 Foxwood Drive                                                   Unliquidated
                                                                      Disputed
 Apopka, FL, 32703
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4533
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Karen Lugo                                                          Check all that apply.
 63 Arch Street                                                       Contingent
                                                                      Unliquidated
 Paterson, NJ, 7522                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4534
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karen Alvarez                                                       Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 2536 Birch Meadow St                                                 Contingent
                                                                      Unliquidated
 Santa Rosa, CA, 95407                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4535
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.97
                                                                                                                     $________________________________
 Karen Banda                                                         Check all that apply.
 68240 Calle Blanco                                                   Contingent
                                                                      Unliquidated
 Desert Hot Springs, CA, 92240                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4536
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karen Carpenter                                                     Check all that apply.
                                                                                                                       25.96
                                                                                                                     $________________________________
 918 Niles St Apt 2                                                   Contingent
                                                                      Unliquidated
 Bakersfield, CA, 93305                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4537
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Karen Dunlap                                                         Contingent
 2525 Fox Squirrel Ct                                                 Unliquidated
                                                                      Disputed
 Apopka, FL, 32712
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4538
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.79
                                                                                                                     $________________________________
 Karen Gonzalez                                                      Check all that apply.
 4535 South Wolcott Avenue                                            Contingent
                                                                      Unliquidated
 Chicago, IL, 60609                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4539
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karen Grodis                                                        Check all that apply.
                                                                                                                      65.99
                                                                                                                     $________________________________
 2514 Autumn Springs Lane                                             Contingent
                                                                      Unliquidated
 Spring, TX, 77373                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4540
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      43.45
                                                                                                                     $________________________________
 Karen Hall                                                          Check all that apply.
 21103 Mill Branch Drive                                              Contingent
                                                                      Unliquidated
 Leesburg, VA, 20175                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4541
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karen Hammann                                                       Check all that apply.
                                                                                                                       359.96
                                                                                                                     $________________________________
 5114 Northern Fences Lane                                            Contingent
                                                                      Unliquidated
 Columbia, MD, 21044                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4542
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 KAREN K CASTOR                                                       Contingent
 2422 TEAK CT                                                         Unliquidated
                                                                      Disputed
 SANTA ROSA, CA, 95403-1857
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4543
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.99
                                                                                                                     $________________________________
 Karen Lopez Alfonso Rivera                                          Check all that apply.
 5206 Corbridge Glen Ct                                               Contingent
                                                                      Unliquidated
 Katy, TX, 77449                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4544
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karen Morana                                                        Check all that apply.
                                                                                                                      29.08
                                                                                                                     $________________________________
 27771 Timberwood Drive                                               Contingent
                                                                      Unliquidated
 Highland, CA, 92346                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4545
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.98
                                                                                                                     $________________________________
 Karen Ng                                                            Check all that apply.
 28 Clement Street                                                    Contingent
                                                                      Unliquidated
 Malden, MA, 2148                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4546
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 karen overton                                                       Check all that apply.
                                                                                                                       13.99
                                                                                                                     $________________________________
 585 Remsen Avenue                                                    Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11236                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4547
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.00
                                                                                                                     $________________________________
 karen ryals                                                          Contingent
 17607 24th Ave SE                                                    Unliquidated
                                                                      Disputed
 Bothell, WA, 98012-6505
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4548
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       88.98
                                                                                                                     $________________________________
 Karen Sakai                                                         Check all that apply.
 4551 W. Martin Luther King Jr. Blvd, #356                            Contingent
 (USPS: Stand 8, Slot 6)                                              Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90016
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4549
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karen Sherman                                                       Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 5204 Amberhill Dr.                                                   Contingent
                                                                      Unliquidated
 Greensboro, NC, 27455                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4550
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                     $________________________________
 Karen Tsai                                                          Check all that apply.
 2517 Potrero Avenue                                                  Contingent
                                                                      Unliquidated
 El Monte, CA, 91733                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4551
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karen Yaneka                                                        Check all that apply.
                                                                                                                       36.71
                                                                                                                     $________________________________
 4324 Ontario Center Rd                                               Contingent
                                                                      Unliquidated
 Walworth, NY, 14568                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4552
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             47.99
                                                                                                                      $________________________________
 Karey Lester                                                          Contingent
 P.o. box 92063                                                        Unliquidated
                                                                       Disputed
 Long beach, CA, 90809
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  4553
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        10.99
                                                                                                                      $________________________________
 Kari Homola                                                          Check all that apply.
 19700 NE 29th Ave, Apt, suite, floor, etc.                            Contingent
                                                                       Unliquidated
 Ridgefield, WA, 98642                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  4554
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Kari Lovelace                                                        Check all that apply.
                                                                                                                       55.98
                                                                                                                      $________________________________
 530 52nd Terrace N                                                    Contingent
                                                                       Unliquidated
 Saint Petersburg, FL, 33703                                           Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  4555
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       51.32
                                                                                                                      $________________________________
 Kariesha Arnold                                                      Check all that apply.
 5034 W. Bullard Ave, 217                                              Contingent
                                                                       Unliquidated
 Fresno, CA, 93722                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  4556
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Karina Martinez                                                      Check all that apply.
                                                                                                                        36.79
                                                                                                                      $________________________________
 1817 Waldrop Street                                                   Contingent
                                                                       Unliquidated
 Irving, TX, 75061                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4557
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Karina Rodriguez                                                     Contingent
 1032 North Normandie Avenue, 5                                       Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90029
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4558
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.67
                                                                                                                     $________________________________
 Karis Pruitt                                                        Check all that apply.
 12601 Hampton Crossing Drive                                         Contingent
                                                                      Unliquidated
 Chesterfield, VA, 23832                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4559
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karissa Mclaurin                                                    Check all that apply.
                                                                                                                      27.64
                                                                                                                     $________________________________
 57 Lexington Gardens                                                 Contingent
                                                                      Unliquidated
 North Haven, CT, 6473                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4560
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      77.99
                                                                                                                     $________________________________
 Karl Salazar                                                        Check all that apply.
 1051 Mepham Drive                                                    Contingent
                                                                      Unliquidated
 Pittsburg, CA, 94565                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4561
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karla Cook                                                          Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 1545 Dell Pl                                                         Contingent
                                                                      Unliquidated
 Owatonna, MN, 55060                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4562
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.99
                                                                                                                     $________________________________
 Karla Lara                                                           Contingent
 535 S 20th St                                                        Unliquidated
                                                                      Disputed
 Richmond, CA, 94804
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4563
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       56.50
                                                                                                                     $________________________________
 Karla Ramirez                                                       Check all that apply.
 2103 Summit Avenue, Apt 3                                            Contingent
                                                                      Unliquidated
 Union City, NJ, 7087                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4564
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karla Saavedra                                                      Check all that apply.
                                                                                                                      27.55
                                                                                                                     $________________________________
 11401 Carson St, Ste J                                               Contingent
                                                                      Unliquidated
 Lakewood, CA, 90715-2546                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4565
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                     $________________________________
 Karla Torres                                                        Check all that apply.
 250 Main St, Apt 220                                                 Contingent
                                                                      Unliquidated
 Hartford, CT, 6106                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4566
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karley Page                                                         Check all that apply.
                                                                                                                       69.83
                                                                                                                     $________________________________
 515 Cardinal Circle                                                  Contingent
                                                                      Unliquidated
 Muskogee, OK, 74403                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4567
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.32
                                                                                                                     $________________________________
 Karlos Roa                                                           Contingent
 284 Drake Lane                                                       Unliquidated
                                                                      Disputed
 Des Plaines, IL, 60016
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4568
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Karlynn Tanaka                                                      Check all that apply.
 95-1012 Palamoa Street                                               Contingent
                                                                      Unliquidated
 Mililani, HI, 96789                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4569
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Karrington Taylor                                                   Check all that apply.
                                                                                                                      171.19
                                                                                                                     $________________________________
 1651 AC Evans Street                                                 Contingent
                                                                      Unliquidated
 Riviera Beach, FL, 33404                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4570
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.05
                                                                                                                     $________________________________
 Karsen Louderback                                                   Check all that apply.
 524 Adams Street                                                     Contingent
                                                                      Unliquidated
 excelsior springs, MO, 64024                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4571
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kartik Devineni                                                     Check all that apply.
                                                                                                                       58.63
                                                                                                                     $________________________________
 18 jenny layne                                                       Contingent
                                                                      Unliquidated
 sussex, NJ, 7461                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4572
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Karuna Namala                                                        Contingent
 4115 Tilden Avenue                                                   Unliquidated
                                                                      Disputed
 Culver City, CA, 90232
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4573
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.98
                                                                                                                     $________________________________
 Karyn Deane                                                         Check all that apply.
 186 Highland Pointe Circle East                                      Contingent
                                                                      Unliquidated
 Dawsonville, GA, 30534                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4574
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kasey Ann                                                           Check all that apply.
                                                                                                                      41.96
                                                                                                                     $________________________________
 Alturas de Olimpo Calle Pitirre E11 #400                             Contingent
                                                                      Unliquidated
 Guayama, PR, 784                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4575
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.35
                                                                                                                     $________________________________
 Kassandra Montanez                                                  Check all that apply.
 3913 Hollywood Dr                                                    Contingent
                                                                      Unliquidated
 Ceres, CA, 95307                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4576
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kassandra Salas                                                     Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 1035 W. Frito Ave                                                    Contingent
                                                                      Unliquidated
 Mesa, AZ, 85210                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4577
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             288.31
                                                                                                                     $________________________________
 Kassidy Sears                                                        Contingent
 4713 Carita Woods Way                                                Unliquidated
                                                                      Disputed
 Lexington, KY, 40515
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4578
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       65.56
                                                                                                                     $________________________________
 Kateisa Pena                                                        Check all that apply.
 PO Box 28711                                                         Contingent
                                                                      Unliquidated
 Seattle, WA, 98118                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4579
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katelin Kobuke                                                      Check all that apply.
                                                                                                                      27.21
                                                                                                                     $________________________________
 118 Kaeleloi Place,                                                  Contingent
                                                                      Unliquidated
 Honolulu, HI, 96821                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4580
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      323.24
                                                                                                                     $________________________________
 Katelyn Fregoso                                                     Check all that apply.
 12648 Dairy Street                                                   Contingent
                                                                      Unliquidated
 Corona, CA, 92880                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4581
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katelyn Giles                                                       Check all that apply.
                                                                                                                       24.99
                                                                                                                     $________________________________
 4610 Eubank Blvd NE, Apt 1126                                        Contingent
                                                                      Unliquidated
 Albuquerque, NM, 87111                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4582
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.99
                                                                                                                     $________________________________
 Katelyn Rafferty                                                     Contingent
 256a S Main St                                                       Unliquidated
                                                                      Disputed
 Laconia, NH, 03246-3717
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4583
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.98
                                                                                                                     $________________________________
 Katherine Brooks                                                    Check all that apply.
 Po box 951                                                           Contingent
                                                                      Unliquidated
 Arden, NC, 28704                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4584
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katherine Corletto                                                  Check all that apply.
                                                                                                                      13.91
                                                                                                                     $________________________________
 PO Box 464                                                           Contingent
                                                                      Unliquidated
 Elko, NV, 89803                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4585
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.74
                                                                                                                     $________________________________
 Katherine Davey                                                     Check all that apply.
 258 Fair Oaks St                                                     Contingent
                                                                      Unliquidated
 San Francisco, CA, 94110                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4586
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katherine Dunthorne                                                 Check all that apply.
                                                                                                                       48.01
                                                                                                                     $________________________________
 9354 East 65th Terrace                                               Contingent
                                                                      Unliquidated
 Raytown, MO, 64133                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4587
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             112.98
                                                                                                                     $________________________________
 Katherine Martinez                                                   Contingent
 23 East Midland Avenue                                               Unliquidated
                                                                      Disputed
 Kearny, NJ, 7032
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4588
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.75
                                                                                                                     $________________________________
 Katherine Orta                                                      Check all that apply.
 6581 Secluded Avenue                                                 Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89110                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4589
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katherine Pereira                                                   Check all that apply.
                                                                                                                      181.93
                                                                                                                     $________________________________
 1126 E Palmer Ave, Apt A                                             Contingent
                                                                      Unliquidated
 Glendale, CA, 91205                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4590
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      72.98
                                                                                                                     $________________________________
 Katherine Romano                                                    Check all that apply.
 1980 E Hazeltine Way                                                 Contingent
                                                                      Unliquidated
 Gilbert, AZ, 85298                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4591
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katherine Rowe                                                      Check all that apply.
                                                                                                                       98.97
                                                                                                                     $________________________________
 14305 Grape Holly Grove, 15                                          Contingent
                                                                      Unliquidated
 Centreville, VA, 20121                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  4592
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             74.98
                                                                                                                     $________________________________
 Katherine Sinsuan                                                    Contingent
 4621 Silent Knoll Dr                                                 Unliquidated
                                                                      Disputed
 Fallbrook, CA, 92028
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4593
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       87.39
                                                                                                                     $________________________________
 Katheyrn Gonzalez                                                   Check all that apply.
 228 Kennedy Street, D                                                Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91911                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4594
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kathleen Karner                                                     Check all that apply.
                                                                                                                      34.97
                                                                                                                     $________________________________
 221 Boardwalk Dr                                                     Contingent
                                                                      Unliquidated
 Cranberry Twp, PA, 16066                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4595
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.13
                                                                                                                     $________________________________
 Kathryn Biggs                                                       Check all that apply.
 10209 Marco Polo Avenue                                              Contingent
                                                                      Unliquidated
 Bakersfield, CA, 93312                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4596
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kathryn Higdon                                                      Check all that apply.
                                                                                                                       82.98
                                                                                                                     $________________________________
 903 Shannon Meadow Trl                                               Contingent
                                                                      Unliquidated
 Cedar Park, TX, 78613                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4597
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Kathryn Jones                                                        Contingent
 2444 Yorkshire Drive                                                 Unliquidated
                                                                      Disputed
 Huntsville, AL, 35803
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4598
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 kATHRYN LANG                                                        Check all that apply.
 3904 Winfield Ave                                                    Contingent
                                                                      Unliquidated
 Moosic, PA, 18507                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4599
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kathryn Villarevia                                                  Check all that apply.
                                                                                                                      17.99
                                                                                                                     $________________________________
 30 Elm Street                                                        Contingent
                                                                      Unliquidated
 Fryeburg, ME, 4037                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4600
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      60.98
                                                                                                                     $________________________________
 Kathryn Waddell                                                     Check all that apply.
 204 North Tyler Street                                               Contingent
                                                                      Unliquidated
 Big Sandy, TX, 75755                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4601
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kathy A Miller                                                      Check all that apply.
                                                                                                                       22.17
                                                                                                                     $________________________________
 5642 Abraham Ave                                                     Contingent
                                                                      Unliquidated
 Westminster, CA, 92683                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4602
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             507.88
                                                                                                                     $________________________________
 Kathy Clements                                                       Contingent
 103 Skeet Road                                                       Unliquidated
                                                                      Disputed
 Medford, NJ, 8055
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4603
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Kathy Hansen                                                        Check all that apply.
 3400 Wilderness Circle                                               Contingent
                                                                      Unliquidated
 Middleburg, FL, 32068                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4604
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kathy Hecker                                                        Check all that apply.
                                                                                                                      21.31
                                                                                                                     $________________________________
 62 Mountain Ave                                                      Contingent
                                                                      Unliquidated
 West Orange, NJ, 7052                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4605
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.92
                                                                                                                     $________________________________
 Kathy Lynn Halkins                                                  Check all that apply.
 27814 Lokaya Falls                                                   Contingent
                                                                      Unliquidated
 Boerne, TX, 78015                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4606
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kathy Wong                                                          Check all that apply.
                                                                                                                       58.81
                                                                                                                     $________________________________
 921 South Valley Drive                                               Contingent
                                                                      Unliquidated
 Lansing, KS, 66043                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4607
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             30.86
                                                                                                                     $________________________________
 kathya Quintanilla                                                   Contingent
 1889 Raymond Ave, Apt 4                                              Unliquidated
                                                                      Disputed
 Signal Hill, CA, 90755
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4608
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.65
                                                                                                                     $________________________________
 Kati Martensen                                                      Check all that apply.
 7836 48th Avenue                                                     Contingent
                                                                      Unliquidated
 Kenosha, WI, 53142                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4609
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katie Davis                                                         Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 7221 Magnolia Hills Drive                                            Contingent
                                                                      Unliquidated
 Nashville, TN, 37221                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4610
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Katie Amaya                                                         Check all that apply.
 6900 Mary Caroline Circle, Unit J                                    Contingent
                                                                      Unliquidated
 Alexandria, VA, 22310                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4611
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 katie burkhart                                                      Check all that apply.
                                                                                                                       12.98
                                                                                                                     $________________________________
 5426 Toucanet Court                                                  Contingent
                                                                      Unliquidated
 Oceanside, CA, 92057                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4612
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Katie Chapman                                                        Contingent
 1806 SW 48th ST                                                      Unliquidated
                                                                      Disputed
 Lawton, OK, 73505
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4613
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.39
                                                                                                                     $________________________________
 Katie Eckhardt                                                      Check all that apply.
 1403 Paullus Dr                                                      Contingent
                                                                      Unliquidated
 Hollister, CA, 95023                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4614
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katie Gifford                                                       Check all that apply.
                                                                                                                      31.99
                                                                                                                     $________________________________
 3687 Bountiful Lane                                                  Contingent
                                                                      Unliquidated
 Eagle Mountain, UT, 84005                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4615
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Katie Hornberger                                                    Check all that apply.
 6596 Gloria Dr                                                       Contingent
                                                                      Unliquidated
 Sacramento, CA, 95831                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4616
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katie LaHart                                                        Check all that apply.
                                                                                                                       16.19
                                                                                                                     $________________________________
 6 Ouelette Cir                                                       Contingent
                                                                      Unliquidated
 Keeseville, NY, 12944                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4617
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.00
                                                                                                                     $________________________________
 Katie Lepore                                                         Contingent
 2205 Saxony Drive                                                    Unliquidated
                                                                      Disputed
 Mount Laurel, NJ, 8054
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4618
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.05
                                                                                                                     $________________________________
 Katie Newkirk                                                       Check all that apply.
 4105 E Oak Knoll                                                     Contingent
                                                                      Unliquidated
 Springfield, MO, 65809                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4619
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katie Nuss                                                          Check all that apply.
                                                                                                                      86.59
                                                                                                                     $________________________________
 10118 Braemar street                                                 Contingent
                                                                      Unliquidated
 highlands, TX, 77562                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4620
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.41
                                                                                                                     $________________________________
 Katie Rice                                                          Check all that apply.
 3260 146th Street West                                               Contingent
                                                                      Unliquidated
 Rosemount, MN, 55068                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4621
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katie Robinson                                                      Check all that apply.
                                                                                                                       19.98
                                                                                                                     $________________________________
 6121 Magnolia Lane N                                                 Contingent
                                                                      Unliquidated
 Crestview, FL, 32539                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4622
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             272.90
                                                                                                                     $________________________________
 Katie Schuette                                                       Contingent
 504 SW Stratford Rd                                                  Unliquidated
                                                                      Disputed
 Lees Summit, MO, 64081-2734
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4623
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.25
                                                                                                                     $________________________________
 Katie Schuette                                                      Check all that apply.
 504 SW Stratford Rd                                                  Contingent
                                                                      Unliquidated
 Lees Summit, MO, 64081                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4624
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katie Silva                                                         Check all that apply.
                                                                                                                      91.49
                                                                                                                     $________________________________
 800 Northeast 67th Street, Apt 614                                   Contingent
                                                                      Unliquidated
 Seattle, WA, 98115                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4625
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Katie Winn                                                          Check all that apply.
 240 Walker Avenue                                                    Contingent
                                                                      Unliquidated
 East Patchogue, NY, 11772                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4626
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katrina Delgado                                                     Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 82732 Castleton Dr                                                   Contingent
                                                                      Unliquidated
 Indio, CA, 92203                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4627
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             138.94
                                                                                                                     $________________________________
 Katrina Roberts                                                      Contingent
 165 school street                                                    Unliquidated
                                                                      Disputed
 Lisbon, NH, 3585
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4628
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Katrina S Davis                                                     Check all that apply.
 22517 Iverson Drive, Unit 3                                          Contingent
                                                                      Unliquidated
 Great Mills, MD, 20634                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4629
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Katy Hendricks                                                      Check all that apply.
                                                                                                                      27.13
                                                                                                                     $________________________________
 2605 W Cavalry Dr                                                    Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85086                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4630
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      78.97
                                                                                                                     $________________________________
 Kayi Chan                                                           Check all that apply.
 16 Marigold Lane                                                     Contingent
                                                                      Unliquidated
 Hampton, VA, 23663                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4631
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kayla Boudreau                                                      Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 55 Bernice Avenue                                                    Contingent
                                                                      Unliquidated
 Leominster, MA, 1453                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4632
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Kayla Guthrie                                                        Contingent
 499 E French Camp Road                                               Unliquidated
                                                                      Disputed
 French Camp, CA, 95231
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4633
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.33
                                                                                                                     $________________________________
 Kayla Maciel Hern?°ndez                                             Check all that apply.
 3709 slopeview drive                                                 Contingent
                                                                      Unliquidated
 SAN JOSE, CA, 95148                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4634
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kayla Rodriguez                                                     Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 7789 Leiden Pt                                                       Contingent
                                                                      Unliquidated
 Peyton, CO, 80831                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4635
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.18
                                                                                                                     $________________________________
 Kayla Sanchez                                                       Check all that apply.
 84 Emmet Street                                                      Contingent
                                                                      Unliquidated
 Brockton, MA, 2302                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4636
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kayla Santana                                                       Check all that apply.
                                                                                                                       132.98
                                                                                                                     $________________________________
 1206 Concord Circle                                                  Contingent
                                                                      Unliquidated
 Independence, MO, 64056                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4637
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             102.98
                                                                                                                     $________________________________
 Kayla Skibicki                                                       Contingent
 710 Rutherford St                                                    Unliquidated
                                                                      Disputed
 Hampton, VA, 23661-1445
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4638
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.62
                                                                                                                     $________________________________
 Kayla StJohn                                                        Check all that apply.
 406 West 5th Street                                                  Contingent
                                                                      Unliquidated
 Mount Pleasant, TX, 75455                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4639
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kayla Taylor                                                        Check all that apply.
                                                                                                                      31.02
                                                                                                                     $________________________________
 76 Lockwood St                                                       Contingent
                                                                      Unliquidated
 West Warwick, RI, 2893                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4640
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.99
                                                                                                                     $________________________________
 Kayla Turner                                                        Check all that apply.
 7206 Jessman Road East Drive, Apt B                                  Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46256                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4641
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaylan Myers                                                        Check all that apply.
                                                                                                                       28.61
                                                                                                                     $________________________________
 7811 Montero Drive                                                   Contingent
                                                                      Unliquidated
 Prospect, KY, 40059                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4642
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.99
                                                                                                                     $________________________________
 Kayle Perez                                                          Contingent
 1010 Goff Street                                                     Unliquidated
                                                                      Disputed
 Tifton, GA, 31794
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4643
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.92
                                                                                                                     $________________________________
 Kaylea Brown                                                        Check all that apply.
 620 NE 87th Street                                                   Contingent
                                                                      Unliquidated
 Kansas City, MO, 64155                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4644
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kaylee holley                                                       Check all that apply.
                                                                                                                      34.99
                                                                                                                     $________________________________
 19370 Oakdale Ave                                                    Contingent
                                                                      Unliquidated
 Brooksville, FL, 34601-1842                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4645
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      129.89
                                                                                                                     $________________________________
 Kaylee Senn                                                         Check all that apply.
 15650 Fern Basin Drive                                               Contingent
                                                                      Unliquidated
 Houston, TX, 77084                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4646
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 kaylene hernandez                                                   Check all that apply.
                                                                                                                       40.65
                                                                                                                     $________________________________
 181 Glenbridge Ave                                                   Contingent
                                                                      Unliquidated
 Providence, RI, 2909                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4647
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Kayro Figueroa                                                       Contingent
 861 East La Verne Avenue                                             Unliquidated
                                                                      Disputed
 Pomona, CA, 91767
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4648
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.13
                                                                                                                     $________________________________
 Kc porter                                                           Check all that apply.
 2201 Oldham St                                                       Contingent
                                                                      Unliquidated
 Forney, TX, 75126                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4649
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Keegan Buchanan-Fraser                                              Check all that apply.
                                                                                                                      64.99
                                                                                                                     $________________________________
 13 Oxford Street                                                     Contingent
                                                                      Unliquidated
 Woodstock , ON, N4S 6A2                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4650
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      68.89
                                                                                                                     $________________________________
 Keeley Young Bird                                                   Check all that apply.
 3871 102 AVE NW, P.O. Box 491                                        Contingent
                                                                      Unliquidated
 New Town, ND, 58763                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4651
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kei S Chan                                                          Check all that apply.
                                                                                                                       25.99
                                                                                                                     $________________________________
 219 Manor Dr                                                         Contingent
                                                                      Unliquidated
 Pacifica, CA, 94044                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4652
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 Keith Coutray                                                        Contingent
 15 South Windsor Drive                                               Unliquidated
                                                                      Disputed
 Rogers, AR, 72758
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4653
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       130.64
                                                                                                                     $________________________________
 KEITH FELTENSTEIN                                                   Check all that apply.
 14410 38TH AVE                                                       Contingent
                                                                      Unliquidated
 FLUSHING, NY, 11354                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4654
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Keith Fung                                                          Check all that apply.
                                                                                                                      48.36
                                                                                                                     $________________________________
 2801 Sepulveda Blvd, Unit 119                                        Contingent
                                                                      Unliquidated
 Torrance, CA, 90505                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4655
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      51.99
                                                                                                                     $________________________________
 Keith Garduce                                                       Check all that apply.
 6060 Claret Ct                                                       Contingent
                                                                      Unliquidated
 Vallejo, CA, 94591                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4656
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Keith Lamae                                                         Check all that apply.
                                                                                                                       26.98
                                                                                                                     $________________________________
 121 Ranchette Circle                                                 Contingent
                                                                      Unliquidated
 Myrtle Beach, SC, 29587                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4657
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Keith McIlvaine                                                      Contingent
 3518 Neville Way                                                     Unliquidated
                                                                      Disputed
 Nazareth, PA, 18064
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4658
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.98
                                                                                                                     $________________________________
 Keith Redick                                                        Check all that apply.
 2097 Kendall Road                                                    Contingent
                                                                      Unliquidated
 Kendall, NY, 14476                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4659
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Keith Renner                                                        Check all that apply.
                                                                                                                      79.99
                                                                                                                     $________________________________
 617 South Main Street                                                Contingent
                                                                      Unliquidated
 Dunkirk, IN, 47336                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4660
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      55.08
                                                                                                                     $________________________________
 Keith Settles                                                       Check all that apply.
 3319 Northwestern Parkway                                            Contingent
                                                                      Unliquidated
 Louisville, KY, 40212                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4661
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Keith Wandtke                                                       Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 9185 Bracey Mill Place                                               Contingent
                                                                      Unliquidated
 MECHANICSVILLE, VA, 23116                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4662
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 keith watts                                                          Contingent
 102 HILLTOP RIDGE DR                                                 Unliquidated
                                                                      Disputed
 MADISON, AL, 35756
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4663
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 kelley rubino                                                       Check all that apply.
 1788 campbell ave.                                                   Contingent
                                                                      Unliquidated
 san jose, CA, 95125                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4664
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelley Wilson                                                       Check all that apply.
                                                                                                                      54.73
                                                                                                                     $________________________________
 4423 Woodglen Ln                                                     Contingent
                                                                      Unliquidated
 Mount Vernon, IL, 62864                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4665
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                     $________________________________
 Kelli Clausen                                                       Check all that apply.
 2200 Aldrich Avenue South, Apt 4                                     Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55405                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4666
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelli Dunbar                                                        Check all that apply.
                                                                                                                       61.98
                                                                                                                     $________________________________
 1648 Shetland Ter                                                    Contingent
                                                                      Unliquidated
 Dunedin, FL, 34698                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4667
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             67.98
                                                                                                                     $________________________________
 Kelli Hedden                                                         Contingent
 321 North 33rd Court                                                 Unliquidated
                                                                      Disputed
 Ridgefield, WA, 98642
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4668
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Kelli Kaminsky                                                      Check all that apply.
 44 Fuller Ave NE                                                     Contingent
                                                                      Unliquidated
 Grand Rapids , MI, 49503                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4669
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kellie Collins                                                      Check all that apply.
                                                                                                                      12.89
                                                                                                                     $________________________________
 947 Dan Rd                                                           Contingent
                                                                      Unliquidated
 Robbins, NC, 27325                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4670
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.30
                                                                                                                     $________________________________
 Kellie Kurapka                                                      Check all that apply.
 1937 w. Greenleaf St                                                 Contingent
                                                                      Unliquidated
 Allentown, PA, 18104                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4671
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kellie Lytle                                                        Check all that apply.
                                                                                                                       63.96
                                                                                                                     $________________________________
 67 Amara Lane                                                        Contingent
                                                                      Unliquidated
 Westampton, NJ, 8060                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4672
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Kelly Andrews                                                        Contingent
 1512 Brookhaven Rd                                                   Unliquidated
                                                                      Disputed
 Wynnewood, PA, 19096
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4673
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       105.98
                                                                                                                     $________________________________
 Kelly Evans                                                         Check all that apply.
 4330 Towanda Road                                                    Contingent
                                                                      Unliquidated
 Chesapeake, VA, 23325                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4674
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelly Jones                                                         Check all that apply.
                                                                                                                      26.49
                                                                                                                     $________________________________
 216 Rogers St                                                        Contingent
                                                                      Unliquidated
 Edmonton, KY, 42129                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4675
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                     $________________________________
 Kelly Kirkpatrick                                                   Check all that apply.
 7958 2nd Street, Trailer 1                                           Contingent
                                                                      Unliquidated
 Peosta, IA, 52068                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4676
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelly Lam                                                           Check all that apply.
                                                                                                                       92.74
                                                                                                                     $________________________________
 431 El Camino Real, 2216                                             Contingent
                                                                      Unliquidated
 Santa Clara, CA, 95050                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4677
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.99
                                                                                                                     $________________________________
 Kelly Megay                                                          Contingent
 220 Melrose Drive                                                    Unliquidated
                                                                      Disputed
 Gilbertsville, PA, 19525
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4678
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.39
                                                                                                                     $________________________________
 Kelly Miller                                                        Check all that apply.
 1 Lookout Drive                                                      Contingent
                                                                      Unliquidated
 Ukiah, CA, 95482                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4679
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelly Miller                                                        Check all that apply.
                                                                                                                      27.21
                                                                                                                     $________________________________
 1 Lookout Drive                                                      Contingent
                                                                      Unliquidated
 Ukiah, CA, 95482                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4680
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.06
                                                                                                                     $________________________________
 Kelly Mills                                                         Check all that apply.
 31006 Wilderness Trail                                               Contingent
                                                                      Unliquidated
 Westlake, OH, 44145                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4681
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelly Mondina                                                       Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 P.O. Box 315505                                                      Contingent
                                                                      Unliquidated
 Tamuning, GU, 96931                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                            Document Page 962 of 2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4682
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             117.28
                                                                                                                     $________________________________
 Kelly Negrin                                                         Contingent
 31 Colgate Court                                                     Unliquidated
                                                                      Disputed
 Atco, NJ, 8004
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4683
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.98
                                                                                                                     $________________________________
 Kelly Nicholson                                                     Check all that apply.
 108 Locust Ave                                                       Contingent
                                                                      Unliquidated
 Manteca, CA, 95337                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4684
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelly Quimby                                                        Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 157B VanAnden Street                                                 Contingent
                                                                      Unliquidated
 Auburn, NY, 13021                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4685
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      97.19
                                                                                                                     $________________________________
 Kelly Skierski?Äôs                                                  Check all that apply.
 3338 Chesterfield Road                                               Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19114                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4686
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelly Stayart                                                       Check all that apply.
                                                                                                                       54.99
                                                                                                                     $________________________________
 245 40TH ST                                                          Contingent
                                                                      Unliquidated
 Springfield, OR, 97478-5757                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                            Document Page 963 of 2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4687
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             8.99
                                                                                                                     $________________________________
 Kelly Weir                                                           Contingent
 402 7Th Ave NE                                                       Unliquidated
                                                                      Disputed
 Glen Burnie, MD, 21060
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4688
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.91
                                                                                                                     $________________________________
 Kelsey Hockenberger                                                 Check all that apply.
 24 Ballinger Way                                                     Contingent
                                                                      Unliquidated
 Mount Laurel, NJ, 8054                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4689
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelsey Kniess                                                       Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 982 Stonehaven Drive                                                 Contingent
                                                                      Unliquidated
 Sun Prairie, WI, 53590                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4690
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      176.95
                                                                                                                     $________________________________
 Kelsey Krasas                                                       Check all that apply.
 PO BOX 1456                                                          Contingent
                                                                      Unliquidated
 Poulsbo, WA, 98370                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4691
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelsey Minakata                                                     Check all that apply.
                                                                                                                       81.15
                                                                                                                     $________________________________
 6408 County Road 439, Minakata house?                                Contingent
                                                                      Unliquidated
 Jackson, MO, 63755                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4692
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5.99
                                                                                                                     $________________________________
 Kelsie Offill                                                        Contingent
 1715 N Aurora Ave                                                    Unliquidated
                                                                      Disputed
 East Wenatchee, WA, 98802
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4693
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.13
                                                                                                                     $________________________________
 Kelvin Poon                                                         Check all that apply.
 1177 CRYSTAL LN                                                      Contingent
                                                                      Unliquidated
 EL CAJON, CA, 92020                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4694
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelvin Quinones                                                     Check all that apply.
                                                                                                                      19.98
                                                                                                                     $________________________________
 265 Dunbar Hill rd                                                   Contingent
                                                                      Unliquidated
 Hamden, CT, 6514                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4695
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31,004.73
                                                                                                                     $________________________________
 Kelways Associates                                                  Check all that apply.
 One Madison St.                                                      Contingent
                                                                      Unliquidated
 East Rutherford, NJ, 07073                                           Disputed
                                                                     Basis for the claim: Commercial Lease



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4696
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelyn Boettcher                                                     Check all that apply.
                                                                                                                       11.80
                                                                                                                     $________________________________
 5350 Co Rd 123                                                       Contingent
                                                                      Unliquidated
 Mayer, MN, 55360                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4697
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.95
                                                                                                                     $________________________________
 ken collison                                                         Contingent
 800 South Durkin Drive, Apt 411                                      Unliquidated
                                                                      Disputed
 Springfield, IL, 62704
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4698
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       159.89
                                                                                                                     $________________________________
 Ken Cory                                                            Check all that apply.
 694 Monterey Boulevard                                               Contingent
                                                                      Unliquidated
 San Francisco, CA, 94127                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4699
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ken Estrada                                                         Check all that apply.
                                                                                                                      25.97
                                                                                                                     $________________________________
 13478 Santa Ysabel Drive                                             Contingent
                                                                      Unliquidated
 Desert Hot Springs, CA, 92240                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4700
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.99
                                                                                                                     $________________________________
 Ken Robinson                                                        Check all that apply.
 713 Hyde Park Dr                                                     Contingent
                                                                      Unliquidated
 Glen Burnie, MD, 21061                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4701
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ken Sniatecki                                                       Check all that apply.
                                                                                                                       12.98
                                                                                                                     $________________________________
 89 Baron Court                                                       Contingent
                                                                      Unliquidated
 Getzville, NY, 14068                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4702
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17.98
                                                                                                                     $________________________________
 Ken Walker                                                           Contingent
 1145 Eastview Drive                                                  Unliquidated
                                                                      Disputed
 Paxton, IL, 60957
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4703
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       190.52
                                                                                                                     $________________________________
 Ken Wysocki                                                         Check all that apply.
 859 71st St, Top Floor                                               Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11228-1016                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4704
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kenan Spears                                                        Check all that apply.
                                                                                                                      61.98
                                                                                                                     $________________________________
 2633 Mckinney ave, 130                                               Contingent
                                                                      Unliquidated
 Dallas, TX, 75204                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4705
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.99
                                                                                                                     $________________________________
 Kendall Bunje                                                       Check all that apply.
 5241 J St                                                            Contingent
                                                                      Unliquidated
 Washougal, WA, 98671                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4706
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kendall Parmenter                                                   Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 1320 n Franklin                                                      Contingent
                                                                      Unliquidated
 litchfield, IL, 62056                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4707
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.65
                                                                                                                     $________________________________
 Kendall Perkins                                                      Contingent
 830 Williamsbury Court Apt 390                                       Unliquidated
                                                                      Disputed
 Waterford Township, MI, 48328
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4708
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       33.99
                                                                                                                     $________________________________
 Kendel Morgan                                                       Check all that apply.
 1117 elberta st                                                      Contingent
                                                                      Unliquidated
 Houston, TX, 77051-1953                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4709
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kendra Sanchez                                                      Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 14279 Desert Sunset Drive                                            Contingent
                                                                      Unliquidated
 Horizon City, TX, 79928                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4710
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Kendrick Garcia                                                     Check all that apply.
 PO Box 530494                                                        Contingent
                                                                      Unliquidated
 Grand Prairie, TX, 75053                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4711
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kendy B Hernandez                                                   Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 1629 W Civic Center Dr., Apt. 205                                    Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92703                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4712
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.42
                                                                                                                     $________________________________
 Kenith Scheele                                                       Contingent
 4055 WELLS LAKE CT                                                   Unliquidated
                                                                      Disputed
 FARIBAULT, MN, 55021
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4713
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       55.01
                                                                                                                     $________________________________
 Kenley Frey                                                         Check all that apply.
 8620 Napa Valley Road Northeast                                      Contingent
                                                                      Unliquidated
 Albuquerque, NM, 87122                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4714
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kenlyn Watson                                                       Check all that apply.
                                                                                                                      26.74
                                                                                                                     $________________________________
 2993 South Webster Street                                            Contingent
                                                                      Unliquidated
 Kokomo, IN, 46902                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4715
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.29
                                                                                                                     $________________________________
 Kenneth A Maxey                                                     Check all that apply.
 2403 S 17TH Ave, House                                               Contingent
                                                                      Unliquidated
 Broadview, IL, 60155-3905                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4716
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kenneth Alexander                                                   Check all that apply.
                                                                                                                       59.97
                                                                                                                     $________________________________
 6432 South Sangamon Street, Floor 1                                  Contingent
                                                                      Unliquidated
 Chicago, IL, 60621                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4717
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Kenneth Bell                                                         Contingent
 16104 Shasta St                                                      Unliquidated
                                                                      Disputed
 Clermont, FL, 34714
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4718
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Kenneth Cash                                                        Check all that apply.
 300 South Utah Street,                                               Contingent
                                                                      Unliquidated
 La Porte, TX, 77571                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4719
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kenneth Chang                                                       Check all that apply.
                                                                                                                      33.06
                                                                                                                     $________________________________
 2307 w cantara dr                                                    Contingent
                                                                      Unliquidated
 dublin, CA, 94568-4853                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4720
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      81.98
                                                                                                                     $________________________________
 Kenneth Holloway                                                    Check all that apply.
 119 S Vista                                                          Contingent
                                                                      Unliquidated
 Auburn Hills, MI, 48326                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4721
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kenneth Hopkins                                                     Check all that apply.
                                                                                                                       69.30
                                                                                                                     $________________________________
 634 South Washington Avenue                                          Contingent
                                                                      Unliquidated
 Piscataway, NJ, 8854                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4722
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.99
                                                                                                                     $________________________________
 Kenneth Keller                                                       Contingent
 3751 Darrell Drive                                                   Unliquidated
                                                                      Disputed
 Cridersville, OH, 45806
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4723
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.78
                                                                                                                     $________________________________
 Kenneth Kidwell                                                     Check all that apply.
 1733 Silverlawn Drive                                                Contingent
                                                                      Unliquidated
 Grove City, OH, 43123                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4724
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kenneth Long                                                        Check all that apply.
                                                                                                                      26.55
                                                                                                                     $________________________________
 91 Hillview Road                                                     Contingent
                                                                      Unliquidated
 Westwood, MA, 2090                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4725
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Kenneth Ohnuma                                                      Check all that apply.
 500 Central Park Avenue, #431                                        Contingent
                                                                      Unliquidated
 Scarsdale, NY, 10583                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4726
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kenneth Reno                                                        Check all that apply.
                                                                                                                       23.97
                                                                                                                     $________________________________
 19639 W Curtice East and West Rd                                     Contingent
                                                                      Unliquidated
 Curtice , OH, 43412                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4727
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Kenneth Rod                                                          Contingent
 3604 Southeast Powell Valley Road, Apartment                         Unliquidated
 357 M                                                                Disputed
 Gresham, OR, 97080                                                  Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4728
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.61
                                                                                                                     $________________________________
 KENNETH STANLEY                                                     Check all that apply.
 13456 FRAZHO RD                                                      Contingent
                                                                      Unliquidated
 WARREN, MI, 48089-1379                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4729
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kenneth Villalon                                                    Check all that apply.
                                                                                                                      60.98
                                                                                                                     $________________________________
 1049 South Mayfair Ave.                                              Contingent
                                                                      Unliquidated
 Daly City, CA, 94015                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4730
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      271.97
                                                                                                                     $________________________________
 Kenneth Williams                                                    Check all that apply.
 1518 Lenox Avenue                                                    Contingent
                                                                      Unliquidated
 Las Cruces, NM, 88005                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4731
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kennia Perez                                                        Check all that apply.
                                                                                                                       35.97
                                                                                                                     $________________________________
 3421 Scoon Rd                                                        Contingent
                                                                      Unliquidated
 Sunnyside, WA, 98944                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4732
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             82.12
                                                                                                                     $________________________________
 Kenny Chung                                                          Contingent
 2620 West 235th Street                                               Unliquidated
                                                                      Disputed
 Torrance, CA, 90505
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4733
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.27
                                                                                                                     $________________________________
 Kenny Lee                                                           Check all that apply.
 7249 Rush River Dr                                                   Contingent
                                                                      Unliquidated
 Sacramento, CA, 95831                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4734
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kenny Lei                                                           Check all that apply.
                                                                                                                      20.98
                                                                                                                     $________________________________
 119 Wildwood Ave.                                                    Contingent
                                                                      Unliquidated
 Braintree, MA, 2184                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4735
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      415.86
                                                                                                                     $________________________________
 Kenny Loui                                                          Check all that apply.
 192 16th Ave                                                         Contingent
                                                                      Unliquidated
 San Francisco, CA, 94118-1017                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4736
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kenny Morales                                                       Check all that apply.
                                                                                                                       412.98
                                                                                                                     $________________________________
 2405 Fairmount Parkway                                               Contingent
                                                                      Unliquidated
 Erie, PA, 16510                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4737
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             43.98
                                                                                                                     $________________________________
 Kenny Schunk                                                         Contingent
 63 main street apt b3                                                Unliquidated
                                                                      Disputed
 SOUTH DAYTON, NY, 14138
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4738
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.80
                                                                                                                     $________________________________
 Kent Glinsky                                                        Check all that apply.
 11 Painted Canyon Pl                                                 Contingent
                                                                      Unliquidated
 Spring, TX, 77381                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4739
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kent Hammerstrom                                                    Check all that apply.
                                                                                                                      15.96
                                                                                                                     $________________________________
 1291 N Kepler Rd                                                     Contingent
                                                                      Unliquidated
 Deland, FL, 32724                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4740
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.74
                                                                                                                     $________________________________
 Kenya Poston                                                        Check all that apply.
 5022 Hilltop Road, Apt Q                                             Contingent
                                                                      Unliquidated
 Greensboro, NC, 27407                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4741
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kenya Adams                                                         Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 3782 Regal Ridge, Apt 3D                                             Contingent
                                                                      Unliquidated
 Southgate, KY, 41071                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4742
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.02
                                                                                                                     $________________________________
 Kera Dobbins                                                         Contingent
 20245 N 32nd Dr, Apt 180                                             Unliquidated
                                                                      Disputed
 Phoenix, AZ, 85027
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4743
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Keri Shigeta                                                        Check all that apply.
 98487 koauka loop, Apt B1004                                         Contingent
                                                                      Unliquidated
 Aiea, HI, 96701                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4744
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kerri Hustad                                                        Check all that apply.
                                                                                                                      22.05
                                                                                                                     $________________________________
 6617 S Clement Ave                                                   Contingent
                                                                      Unliquidated
 Tacoma, WA, 98409                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4745
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Kerrie Lutz                                                         Check all that apply.
 244 Bateman Rd                                                       Contingent
                                                                      Unliquidated
 Oakdale, PA, 15071                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4746
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kerry Cheng                                                         Check all that apply.
                                                                                                                       356.54
                                                                                                                     $________________________________
 449 Don Del Monico Ct.                                               Contingent
                                                                      Unliquidated
 San Jose, CA, 95123                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4747
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.35
                                                                                                                     $________________________________
 Kersten Duvall                                                       Contingent
 2828 Orchard Avenue, Apartment 102                                   Unliquidated
                                                                      Disputed
 Grand Junction, CO, 81501
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4748
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       56.98
                                                                                                                     $________________________________
 Kerystyn Johnson                                                    Check all that apply.
 307 11th Street Pl, Apt A                                            Contingent
                                                                      Unliquidated
 Bremerton, WA, 98337                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4749
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 kessee erickson                                                     Check all that apply.
                                                                                                                      62.98
                                                                                                                     $________________________________
 313 D St W, P.O Box 286                                              Contingent
                                                                      Unliquidated
 poplar, MT, 59255                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4750
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      68.89
                                                                                                                     $________________________________
 Kevin Alva                                                          Check all that apply.
 11 MCCARTY CT                                                        Contingent
                                                                      Unliquidated
 Sterling, VA, 20165                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4751
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Alvayero                                                      Check all that apply.
                                                                                                                       119.75
                                                                                                                     $________________________________
 7508 20th Ave, Apt 5                                                 Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11214-1244                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4752
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.99
                                                                                                                     $________________________________
 Kevin Antonio                                                        Contingent
 Hacienda La Matilde 5252 La Calle Ingenio                            Unliquidated
                                                                      Disputed
 Ponce, PR, 728
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4753
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       58.29
                                                                                                                     $________________________________
 Kevin Augustine                                                     Check all that apply.
 5265 Rockrose Lane, BLDG D25                                         Contingent
                                                                      Unliquidated
 Allentown, PA, 18104                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4754
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Ayala                                                         Check all that apply.
                                                                                                                      32.30
                                                                                                                     $________________________________
 2301 ramon dr                                                        Contingent
                                                                      Unliquidated
 sacramento, CA, 95825                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4755
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      60.70
                                                                                                                     $________________________________
 Kevin Best                                                          Check all that apply.
 2035 Paradise rd                                                     Contingent
                                                                      Unliquidated
 Orrville, OH, 44667                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4756
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Briggs                                                        Check all that apply.
                                                                                                                       37.99
                                                                                                                     $________________________________
 8770 kings rd                                                        Contingent
                                                                      Unliquidated
 Waynesboro, PA, 17268                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4757
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             328.92
                                                                                                                     $________________________________
 Kevin Day                                                            Contingent
 4312 Brooks Baker Ave                                                Unliquidated
                                                                      Disputed
 LAKESIDE, TX, 76135
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4758
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       135.67
                                                                                                                     $________________________________
 Kevin Delaney                                                       Check all that apply.
 4424 Reef Road                                                       Contingent
                                                                      Unliquidated
 Marietta, GA, 30066                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4759
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Dellinger                                                     Check all that apply.
                                                                                                                      72.95
                                                                                                                     $________________________________
 2905 Hickory Grove Road                                              Contingent
                                                                      Unliquidated
 Gastonia, NC, 28056                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4760
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                     $________________________________
 Kevin Dilmore                                                       Check all that apply.
 4345 Bell Street                                                     Contingent
                                                                      Unliquidated
 Kansas City, MO, 64111                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4761
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Doty                                                          Check all that apply.
                                                                                                                       31.98
                                                                                                                     $________________________________
 20 Sequoia Drive                                                     Contingent
                                                                      Unliquidated
 Aliso Viejo, CA, 92656                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4762
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.32
                                                                                                                     $________________________________
 Kevin Esterine                                                       Contingent
 2439 East Avenue R-4                                                 Unliquidated
                                                                      Disputed
 Palmdale, CA, 93550
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4763
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       79.99
                                                                                                                     $________________________________
 Kevin Garcia                                                        Check all that apply.
 502 21st Street Southeast, Apartment I                               Contingent
                                                                      Unliquidated
 Auburn, WA, 98002                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4764
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Gildo                                                         Check all that apply.
                                                                                                                      116.58
                                                                                                                     $________________________________
 1226 N RADEMACHER ST                                                 Contingent
                                                                      Unliquidated
 DETROIT, MI, 48209                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4765
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      79.91
                                                                                                                     $________________________________
 Kevin Gomez                                                         Check all that apply.
 503 e 4th st, 2nd floor rear door                                    Contingent
                                                                      Unliquidated
 Bethlehem, PA, 18015                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4766
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Greene                                                        Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 508 Progress Drive                                                   Contingent
                                                                      Unliquidated
 Cottage Grove, WI, 53527                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4767
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             170.62
                                                                                                                     $________________________________
 Kevin Greenlee                                                       Contingent
 5104 Mayview Rd                                                      Unliquidated
                                                                      Disputed
 Lyndhurst, OH, 44124-1244
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4768
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Kevin Guiracocha                                                    Check all that apply.
 2438 N St Louis Ave                                                  Contingent
                                                                      Unliquidated
 Chicago , IL, 60647                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4769
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Harlow                                                        Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 392 Camino Elevado                                                   Contingent
                                                                      Unliquidated
 Bonita, CA, 91902                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4770
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Kevin Kammerer                                                      Check all that apply.
 353 E Park Creeke Ln, Apt A                                          Contingent
                                                                      Unliquidated
 Salt Lake City, UT, 84115-4086                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4771
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin King                                                          Check all that apply.
                                                                                                                       194.57
                                                                                                                     $________________________________
 15604 N. Freya                                                       Contingent
                                                                      Unliquidated
 Mead, WA, 99021                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor            _______________________________________________________Case number (if known)_____________________________________
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                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4772
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             11.99
                                                                                                                       $________________________________
 Kevin Lake                                                             Contingent
 923 Huntington Drive                                                   Unliquidated
                                                                        Disputed
 Duncanville, TX, 75137
                                                                       Basis for the claim: Customers with Outstanding Deposits



                                                                       Is the claim subject to offset?
         Date or dates debt was incurred        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
         Last 4 digits of account number        ___________________
  4773
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         308.97
                                                                                                                       $________________________________
 kevin le                                                              Check all that apply.
 333 tucker rd, .                                                       Contingent
                                                                        Unliquidated
 searcy, AR, 72143                                                      Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  4774
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Kevin M Hanley                                                        Check all that apply.
                                                                                                                        22.99
                                                                                                                       $________________________________
 138 Dominican Dr                                                       Contingent
                                                                        Unliquidated
 San Rafael, CA, 94901                                                  Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  4775
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        62.76
                                                                                                                       $________________________________
 Kevin Marfiandra                                                      Check all that apply.
 5001 W WADLEY AVE APT F216                                             Contingent
                                                                        Unliquidated
 Midland , TX, 79707-5148                                               Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes
  4776
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Kevin Moncrieft                                                       Check all that apply.
                                                                                                                         52.98
                                                                                                                       $________________________________
 21 Cecil Court                                                         Contingent
                                                                        Unliquidated
 Staten Island, NY, 10303                                               Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4777
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             179.35
                                                                                                                     $________________________________
 Kevin Moore                                                          Contingent
 5231 Kingswood Ct                                                    Unliquidated
                                                                      Disputed
 Oceanside, CA, 92056
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4778
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.99
                                                                                                                     $________________________________
 Kevin Moriarty                                                      Check all that apply.
 24965 Jeffery Ave                                                    Contingent
                                                                      Unliquidated
 Chisago City, MN, 55013                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4779
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin OBrien                                                        Check all that apply.
                                                                                                                      213.97
                                                                                                                     $________________________________
 19 verdun street, --                                                 Contingent
                                                                      Unliquidated
 Watervliet, NY, 12189                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4780
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                     $________________________________
 Kevin Ramirez                                                       Check all that apply.
 1030 Glengrove Avenue                                                Contingent
                                                                      Unliquidated
 Central Point, OR, 97502-2796                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4781
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Rohlfing                                                      Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 Kevin Rohlfing, 3007 Crystal Lake Drive                              Contingent
                                                                      Unliquidated
 Saint Louis, MO, 63129                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4782
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             189.99
                                                                                                                     $________________________________
 Kevin Ruiz                                                           Contingent
 2332 S Bentley Ave, Apt 206                                          Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90064-1924
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4783
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       141.04
                                                                                                                     $________________________________
 Kevin Ryan                                                          Check all that apply.
 856 Warne Court                                                      Contingent
                                                                      Unliquidated
 Elburn, IL, 60119                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4784
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Sullivan                                                      Check all that apply.
                                                                                                                      12.77
                                                                                                                     $________________________________
 2415 Fox Sedge Way, Apt F                                            Contingent
                                                                      Unliquidated
 West Chester, OH, 45069                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4785
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      62.99
                                                                                                                     $________________________________
 Kevin Tello                                                         Check all that apply.
 2804 Comstock Plaza Apt.K                                            Contingent
                                                                      Unliquidated
 Bellevue, NE, 68123                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4786
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Tirona                                                        Check all that apply.
                                                                                                                       29.65
                                                                                                                     $________________________________
 421 Lynbrook Drive                                                   Contingent
                                                                      Unliquidated
 Pacifica, CA, 94044                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4787
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.51
                                                                                                                     $________________________________
 Kevin Torres                                                         Contingent
 349 Smith Street                                                     Unliquidated
                                                                      Disputed
 Perth Amboy, NJ, 8861
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4788
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.86
                                                                                                                     $________________________________
 Kevin Towles                                                        Check all that apply.
 2906 Wildtree Dr., 202                                               Contingent
                                                                      Unliquidated
 Riverview, FL, 33578                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4789
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Valencia                                                      Check all that apply.
                                                                                                                      38.05
                                                                                                                     $________________________________
 529 White Cloud Terr.                                                Contingent
                                                                      Unliquidated
 Palmdale, CA, 93551                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4790
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.99
                                                                                                                     $________________________________
 Kevin Valenzuela                                                    Check all that apply.
 2420 West Glenrosa Avenue, 11                                        Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85015                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4791
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin Varela                                                        Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 3314 BlackHawk Trail                                                 Contingent
                                                                      Unliquidated
 Saint Charles, IL, 60174                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4792
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.98
                                                                                                                     $________________________________
 Kevin Wolber                                                         Contingent
 1304 Railroad Ave, 304                                               Unliquidated
                                                                      Disputed
 Bellingham, WA, 98225
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4793
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.25
                                                                                                                     $________________________________
 Kevin Xia                                                           Check all that apply.
 28-10 Jackson Avenue, Apt 5H                                         Contingent
                                                                      Unliquidated
 Queens, NY, 11101                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4794
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kevin You                                                           Check all that apply.
                                                                                                                      264.99
                                                                                                                     $________________________________
 51448 Forster Ln                                                     Contingent
                                                                      Unliquidated
 Shelby Township, MI, 48316                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4795
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      63.99
                                                                                                                     $________________________________
 Keyur Ajbani                                                        Check all that apply.
 12 Chestnut Street                                                   Contingent
                                                                      Unliquidated
 Hopewell Junction, NY, 12533                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4796
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 KHALIL RICO                                                         Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 1903 LANTANA DR                                                      Contingent
                                                                      Unliquidated
 ROUND ROCK, TX, 78664                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4797
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Khanh Nguyen                                                         Contingent
 12218 North Palm Lake Dr.                                            Unliquidated
                                                                      Disputed
 Houston, TX, 77034
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4798
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.22
                                                                                                                     $________________________________
 Khanh Nguyen                                                        Check all that apply.
 8817 Poynter St                                                      Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76123                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4799
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Khay Truong                                                         Check all that apply.
                                                                                                                      104.93
                                                                                                                     $________________________________
 6419 Avon rd                                                         Contingent
                                                                      Unliquidated
 Norfolk, VA, 23513                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4800
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.64
                                                                                                                     $________________________________
 Khayla Rol                                                          Check all that apply.
 308 Kuliouou Road                                                    Contingent
                                                                      Unliquidated
 Honolulu, HI, 96821                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4801
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Khoa Bui                                                            Check all that apply.
                                                                                                                       33.99
                                                                                                                     $________________________________
 4 Mary Ellen Drive                                                   Contingent
                                                                      Unliquidated
 Lynn, MA, 1904                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4802
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             140.06
                                                                                                                     $________________________________
 Khoa Nguyen                                                          Contingent
 641 NANCY ST                                                         Unliquidated
                                                                      Disputed
 ESCONDIDO, CA, 92027
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4803
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.47
                                                                                                                     $________________________________
 Khoi Le                                                             Check all that apply.
 13249 Firestone Dr.                                                  Contingent
                                                                      Unliquidated
 Rancho Cucamonga, CA, 91739                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4804
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kian Rathbun                                                        Check all that apply.
                                                                                                                      29.98
                                                                                                                     $________________________________
 7940 Lake Forest Drive Southeast                                     Contingent
                                                                      Unliquidated
 Olympia, WA, 98503                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4805
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.30
                                                                                                                     $________________________________
 Kiara Tassone                                                       Check all that apply.
 40 Columbine Ave                                                     Contingent
                                                                      Unliquidated
 Pawtucket, RI, 2861                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4806
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kiel Trinidad                                                       Check all that apply.
                                                                                                                       44.09
                                                                                                                     $________________________________
 4585 Donalbain Circle                                                Contingent
                                                                      Unliquidated
 Fremont, CA, 94555                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4807
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             274.81
                                                                                                                     $________________________________
 Kieran Kennedy                                                       Contingent
 129 Landing Road                                                     Unliquidated
                                                                      Disputed
 Glen Cove, NY, 11542
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4808
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Kiet Huynh                                                          Check all that apply.
 7741 Nw 38 St.                                                       Contingent
                                                                      Unliquidated
 Hollywood, FL, 33024                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4809
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Killian Trago                                                       Check all that apply.
                                                                                                                      96.28
                                                                                                                     $________________________________
 3510 Elmleaf Circle                                                  Contingent
                                                                      Unliquidated
 Mansfield, OH, 44904                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4810
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.59
                                                                                                                     $________________________________
 Kim Andreshak                                                       Check all that apply.
 15225 W Rogers Dr                                                    Contingent
                                                                      Unliquidated
 New Berlin, WI, 53151                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4811
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 kim christensen                                                     Check all that apply.
                                                                                                                       31.02
                                                                                                                     $________________________________
 113 Valentine Ct                                                     Contingent
                                                                      Unliquidated
 Michigan City, IN, 46360                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4812
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.98
                                                                                                                     $________________________________
 Kim Fitzgerald                                                       Contingent
 52 Meeting House Road                                                Unliquidated
                                                                      Disputed
 Schaghticoke, NY, 12154
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4813
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.11
                                                                                                                     $________________________________
 Kim Nelson                                                          Check all that apply.
 1556 Valdez Way                                                      Contingent
                                                                      Unliquidated
 Pacifica, CA, 94044                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4814
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 kim phillips                                                        Check all that apply.
                                                                                                                      33.99
                                                                                                                     $________________________________
 4042 white opal st                                                   Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89130                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4815
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.65
                                                                                                                     $________________________________
 Kim POWE                                                            Check all that apply.
 84 Arrowgate Drive                                                   Contingent
                                                                      Unliquidated
 Randolph, NJ, 7869                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4816
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kim Tant                                                            Check all that apply.
                                                                                                                       37.99
                                                                                                                     $________________________________
 99 S Whitaker St                                                     Contingent
                                                                      Unliquidated
 Franklinton, NC, 27525-1430                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4817
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             18.48
                                                                                                                       $________________________________
 Kim Thomann                                                            Contingent
 4896 S Dudley St Unit 6-8                                              Unliquidated
                                                                        Disputed
 Littleton, CO, 80123-1949
                                                                       Basis for the claim: Customers with Outstanding Deposits



                                                                       Is the claim subject to offset?
         Date or dates debt was incurred        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
         Last 4 digits of account number        ___________________
  4818
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         58.63
                                                                                                                       $________________________________
 Kim Wentworth                                                         Check all that apply.
 910 Pleasant Valley Avenue                                             Contingent
                                                                        Unliquidated
 Mount Laurel Township, NJ, 8054                                        Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  4819
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Kim Williams                                                          Check all that apply.
                                                                                                                        28.94
                                                                                                                       $________________________________
 4501 Alexander Valley Drive, Apt 204                                   Contingent
                                                                        Unliquidated
 Charlotte, NC, 28270                                                   Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  4820
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        11.99
                                                                                                                       $________________________________
 Kimani Williams                                                       Check all that apply.
 6621 S Parnell Ave Chicago, IL 60621, unit 1                           Contingent
                                                                        Unliquidated
 Chicago, IL, 60621                                                     Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes
  4821
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Kimberlea Harris                                                      Check all that apply.
                                                                                                                         37.88
                                                                                                                       $________________________________
 300 Yandle Dr.                                                         Contingent
                                                                        Unliquidated
 Henderson, TX, 75652                                                   Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4822
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.81
                                                                                                                     $________________________________
 Kimberly Arzu                                                        Contingent
 13765 NW 5th Ave                                                     Unliquidated
                                                                      Disputed
 North Miami, FL, 33168
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4823
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       79.97
                                                                                                                     $________________________________
 Kimberly Barrante                                                   Check all that apply.
 4433 Murietta Ave., Apt 7                                            Contingent
                                                                      Unliquidated
 Sherman Oaks, CA, 91423                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4824
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kimberly Brito                                                      Check all that apply.
                                                                                                                      28.99
                                                                                                                     $________________________________
 3862 Paddy Ln,                                                       Contingent
                                                                      Unliquidated
 Baldwin Park, CA, 91706                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4825
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Kimberly Cooke                                                      Check all that apply.
 351 W. 44th Street, Apt 7                                            Contingent
                                                                      Unliquidated
 San Bernardino, CA, 92407                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4826
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kimberly Fritz                                                      Check all that apply.
                                                                                                                       37.31
                                                                                                                     $________________________________
 1 Courtney Way, 601                                                  Contingent
                                                                      Unliquidated
 Mount Laurel Township, NJ, 8054                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4827
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             71.98
                                                                                                                     $________________________________
 Kimberly Grindle                                                     Contingent
 78 UPHAM RD                                                          Unliquidated
                                                                      Disputed
 Union, ME, 4862
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4828
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       267.91
                                                                                                                     $________________________________
 Kimberly Hampton                                                    Check all that apply.
 245 Harvey Lane                                                      Contingent
                                                                      Unliquidated
 Orangeburg, SC, 29118                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4829
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kimberly Harris                                                     Check all that apply.
                                                                                                                      16.04
                                                                                                                     $________________________________
 11859 Shady Meadow Pl                                                Contingent
                                                                      Unliquidated
 Fishers, IN, 46037                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4830
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Kimberly Kohli                                                      Check all that apply.
 1000 Elbel Road, Apt 902                                             Contingent
                                                                      Unliquidated
 Schertz, TX, 78154                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4831
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kimberly Massey                                                     Check all that apply.
                                                                                                                       59.90
                                                                                                                     $________________________________
 8521 Decatur Street                                                  Contingent
                                                                      Unliquidated
 Omaha, NE, 68114                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4832
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.99
                                                                                                                     $________________________________
 Kimberly Mazziott                                                    Contingent
 25 Glyndon Drive, Apt B4                                             Unliquidated
                                                                      Disputed
 Reisterstown, MD, 21136
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4833
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.26
                                                                                                                     $________________________________
 Kimberly Mendoza                                                    Check all that apply.
 8167 Dunes Court                                                     Contingent
                                                                      Unliquidated
 Sacramento, CA, 95828                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4834
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kimberly Minardi                                                    Check all that apply.
                                                                                                                      26.74
                                                                                                                     $________________________________
 673 Bower Hill Rd.                                                   Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15243                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4835
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      80.97
                                                                                                                     $________________________________
 Kimberly Nguyen                                                     Check all that apply.
 8300 bellsbrae dr                                                    Contingent
                                                                      Unliquidated
 Antelope, CA, 95843                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4836
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kimberly Osborne                                                    Check all that apply.
                                                                                                                       24.99
                                                                                                                     $________________________________
 1710 Jefferson Avenue                                                Contingent
                                                                      Unliquidated
 Maryville (Default) Kimberly Osborne | 340                           Disputed
 McGhee St, Maryville, TN 37801-6815 | USA,                          Basis for the claim: Customers with Outstanding Deposits
 TN, 37804


         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4837
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.98
                                                                                                                     $________________________________
 Kimberly Savage                                                      Contingent
 15 Pond street, Apt 3                                                Unliquidated
                                                                      Disputed
 Dorchester, MA, 2125
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4838
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       96.96
                                                                                                                     $________________________________
 Kimberly Scheyhing                                                  Check all that apply.
 7012 Mimosa Dr.                                                      Contingent
                                                                      Unliquidated
 Carlsbad, CA, 92011                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4839
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kimberly Shotwell                                                   Check all that apply.
                                                                                                                      14.22
                                                                                                                     $________________________________
 5436 Lawyers Road                                                    Contingent
                                                                      Unliquidated
 Evington, VA, 24550                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4840
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.98
                                                                                                                     $________________________________
 Kimberly Spuhler                                                    Check all that apply.
 15371 PERIWINKLE CT                                                  Contingent
                                                                      Unliquidated
 Parker, CO, 80134                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4841
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kimberly Vingara                                                    Check all that apply.
                                                                                                                       23.45
                                                                                                                     $________________________________
 809 Breckenridge Drive                                               Contingent
                                                                      Unliquidated
 Branchburg, NJ, 8876                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4842
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             129.99
                                                                                                                     $________________________________
 Kimberly Weinreich                                                   Contingent
 218 Ellsworth Street                                                 Unliquidated
                                                                      Disputed
 Alexandria, VA, 22314
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4843
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.95
                                                                                                                     $________________________________
 Kimberly Williams                                                   Check all that apply.
 3540 Oakhill Drive                                                   Contingent
                                                                      Unliquidated
 Titusville, FL, 32780                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4844
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kimberly Yu                                                         Check all that apply.
                                                                                                                      75.98
                                                                                                                     $________________________________
 1045 Coleman Place Drive                                             Contingent
                                                                      Unliquidated
 Roswell, GA, 30075                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4845
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.96
                                                                                                                     $________________________________
 Kimi Standley                                                       Check all that apply.
 7632 YANCY DR                                                        Contingent
                                                                      Unliquidated
 LINCOLN, NE, 68507                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4846
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kin Luk                                                             Check all that apply.
                                                                                                                       57.99
                                                                                                                     $________________________________
 238 Urbano Drive                                                     Contingent
                                                                      Unliquidated
 San Francisco, CA, 94127                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4847
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.32
                                                                                                                     $________________________________
 Kira Davidson                                                        Contingent
 400 North Concourse Avenue                                           Unliquidated
                                                                      Disputed
 Montebello, CA, 90640
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4848
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.09
                                                                                                                     $________________________________
 Kira Pratt                                                          Check all that apply.
 2581 Kingstown Road                                                  Contingent
                                                                      Unliquidated
 South Kingstown, RI, 2881                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4849
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kirby Priovolos                                                     Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 212 South Virginia Avenue                                            Contingent
                                                                      Unliquidated
 Falls Church, VA, 22046                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4850
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Kirson Williams                                                     Check all that apply.
 904 Belgian Avenue, Apt 1 B                                          Contingent
                                                                      Unliquidated
 Baltimore, MD, 21218                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4851
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kirstin Thode                                                       Check all that apply.
                                                                                                                       42.39
                                                                                                                     $________________________________
 7106 Laketree Ct, No                                                 Contingent
                                                                      Unliquidated
 Fairfax Station, VA, 22039                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4852
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Kiruna Mattson                                                       Contingent
 38 Pennsylvania Ct                                                   Unliquidated
                                                                      Disputed
 Morton, IL, 61550-1795
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4853
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       224.98
                                                                                                                     $________________________________
 KIT MCCORMICK                                                       Check all that apply.
 2535 W RIVER RD                                                      Contingent
                                                                      Unliquidated
 GRAND ISLAND, NY, 14072-2052                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4854
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kit Wilcox                                                          Check all that apply.
                                                                                                                      29.21
                                                                                                                     $________________________________
 5 Madaket Court                                                      Contingent
                                                                      Unliquidated
 Guilford, CT, 6437                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4855
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      127.99
                                                                                                                     $________________________________
 Kitana Konthong                                                     Check all that apply.
 321 Wheeler St                                                       Contingent
                                                                      Unliquidated
 Dracut, MA, 1826                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4856
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Knema Rezaei                                                        Check all that apply.
                                                                                                                       21.64
                                                                                                                     $________________________________
 7617 Seneca Falls Loop                                               Contingent
                                                                      Unliquidated
 Austin, TX, 78739                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4857
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             61.47
                                                                                                                     $________________________________
 Kobe M De Guzman                                                     Contingent
 1405 Collingswood Trail                                              Unliquidated
                                                                      Disputed
 VIRGINIA BEACH, VA, 23464
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4858
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.99
                                                                                                                     $________________________________
 kobe ortiz                                                          Check all that apply.
 1017 west lincoln street                                             Contingent
                                                                      Unliquidated
 easton, PA, 18042                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4859
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kobe Partlow                                                        Check all that apply.
                                                                                                                      26.74
                                                                                                                     $________________________________
 109 Bayview St.                                                      Contingent
                                                                      Unliquidated
 Salisbury, NC, 28147                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4860
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.54
                                                                                                                     $________________________________
 Kody Carnahan                                                       Check all that apply.
 819 Ohio Avenue                                                      Contingent
                                                                      Unliquidated
 St. Cloud, FL, 34769                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4861
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kody Timm                                                           Check all that apply.
                                                                                                                       11.86
                                                                                                                     $________________________________
 7004 Ralston Road                                                    Contingent
                                                                      Unliquidated
 Arvada, CO, 80002                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4862
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             82.68
                                                                                                                     $________________________________
 Kolin Kami                                                           Contingent
 11-3717 Nahelenani St, 1343                                          Unliquidated
                                                                      Disputed
 Volcano, HI, 96785-1343
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4863
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.53
                                                                                                                     $________________________________
 Kolin Shoulders                                                     Check all that apply.
 1524 I Street                                                        Contingent
                                                                      Unliquidated
 Bedford, IN, 47421                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4864
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kong Tsang                                                          Check all that apply.
                                                                                                                      53.33
                                                                                                                     $________________________________
 111 E14th Street #165                                                Contingent
                                                                      Unliquidated
 New York, NY, 10003                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4865
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      645.17
                                                                                                                     $________________________________
 Koon Him Moon                                                       Check all that apply.
 251-24 71st Ave, Apt 87B                                             Contingent
                                                                      Unliquidated
 Bellerose, NY, 11426                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4866
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kory Burkholder                                                     Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 276 Gristmill Rd                                                     Contingent
                                                                      Unliquidated
 New Holland, PA, 17557                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4867
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             95.22
                                                                                                                     $________________________________
 Kourtney Liggett                                                     Contingent
 1910 Allison Avenue                                                  Unliquidated
                                                                      Disputed
 Speedway, IN, 46224
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4868
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.98
                                                                                                                     $________________________________
 Kraig Horigan                                                       Check all that apply.
 24501 mandeville dr.                                                 Contingent
                                                                      Unliquidated
 laguna hills, CA, 92653                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4869
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kris A.                                                             Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 1663 RASPBERRY HILL RD                                               Contingent
                                                                      Unliquidated
 LAS VEGAS, NV, 89142                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4870
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.93
                                                                                                                     $________________________________
 Kris Moore                                                          Check all that apply.
 1187 Bushwick Avenue                                                 Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11221                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4871
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kris N                                                              Check all that apply.
                                                                                                                       25.98
                                                                                                                     $________________________________
 1256 W 160th St                                                      Contingent
                                                                      Unliquidated
 Gardena, CA, 90247-4410                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4872
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.99
                                                                                                                     $________________________________
 KRISHA SEATE                                                         Contingent
 2417 THORN OAK DR                                                    Unliquidated
                                                                      Disputed
 MEDFORD, OR, 97501
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4873
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       46.54
                                                                                                                     $________________________________
 Kristen Babcock                                                     Check all that apply.
 18835 Brescia Lane                                                   Contingent
                                                                      Unliquidated
 Katy, TX, 77449                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4874
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kristen barkley                                                     Check all that apply.
                                                                                                                      23.99
                                                                                                                     $________________________________
 3140 Hidden Pond Dr., apt 204                                        Contingent
                                                                      Unliquidated
 raleigh, NC, 27613                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4875
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.96
                                                                                                                     $________________________________
 Kristen Brooks                                                      Check all that apply.
 2730 Oak Road, APT 53                                                Contingent
                                                                      Unliquidated
 Walnut Creek, CA, 94597                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4876
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kristen Caina                                                       Check all that apply.
                                                                                                                       31.27
                                                                                                                     $________________________________
 732 Hardin Road, Apt 3                                               Contingent
                                                                      Unliquidated
 Newman, CA, 95360                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1001 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4877
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.13
                                                                                                                     $________________________________
 Kristen Daley                                                        Contingent
 1108 West Stone Drive                                                Unliquidated
                                                                      Disputed
 Kingsport, TN, 37660
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4878
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       90.09
                                                                                                                     $________________________________
 KRISTEN FAUST                                                       Check all that apply.
 2951 KINGSMARK CT                                                    Contingent
                                                                      Unliquidated
 ABINGDON, MD, 21009-1923                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4879
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kristen GURNEY                                                      Check all that apply.
                                                                                                                      58.97
                                                                                                                     $________________________________
 14030 14030 Ridgewater way                                           Contingent
                                                                      Unliquidated
 Charlotte, NC, 28278                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4880
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      5.99
                                                                                                                     $________________________________
 Kristen Webb                                                        Check all that apply.
 66 Road 6050                                                         Contingent
                                                                      Unliquidated
 Farmington, NM, 87401                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4881
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kristen Wehner                                                      Check all that apply.
                                                                                                                       278.97
                                                                                                                     $________________________________
 997 Winterwood Court                                                 Contingent
                                                                      Unliquidated
 Beavercreek, OH, 45430                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor           _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4882
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             26.99
                                                                                                                      $________________________________
 Kristian Serna                                                        Contingent
 3413 New Mexico 18, Box 1124                                          Unliquidated
                                                                       Disputed
 Jal, NM, 88252
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  4883
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        183.99
                                                                                                                      $________________________________
 Kristian Torres                                                      Check all that apply.
 P.O. Box 153                                                          Contingent
                                                                       Unliquidated
 Juncos, PR, 777                                                       Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  4884
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Kristin Fenech                                                       Check all that apply.
                                                                                                                       941.59
                                                                                                                      $________________________________
 4101 Gulf Shore Boulevard North, PH 2                                 Contingent
                                                                       Unliquidated
 Naples, FL, 34103                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  4885
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       26.11
                                                                                                                      $________________________________
 kristin hasegawa                                                     Check all that apply.
 45-621 Uhilehua Street                                                Contingent
                                                                       Unliquidated
 Kaneohe, HI, 96744                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  4886
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Kristin McCartney                                                    Check all that apply.
                                                                                                                        12.99
                                                                                                                      $________________________________
 318 94th Street                                                       Contingent
                                                                       Unliquidated
 Brooklyn, NY, 11209                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4887
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             168.44
                                                                                                                     $________________________________
 Kristin Meyer                                                        Contingent
 48 South Park ST unit 308                                            Unliquidated
                                                                      Disputed
 Montclair, NJ, 7042
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4888
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       40.26
                                                                                                                     $________________________________
 Kristina Douglas                                                    Check all that apply.
 436 Molina Way                                                       Contingent
                                                                      Unliquidated
 St. Charles, MO, 63304                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4889
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kristina Fiser                                                      Check all that apply.
                                                                                                                      70.97
                                                                                                                     $________________________________
 2060 LAKE VISTA DR                                                   Contingent
                                                                      Unliquidated
 MOUNT HOLLY, NC, 28120                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4890
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.43
                                                                                                                     $________________________________
 Kristina Hartig                                                     Check all that apply.
 1930 Taylor Ave                                                      Contingent
                                                                      Unliquidated
 Highland Heights, KY, 41076                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4891
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kristina Lopez                                                      Check all that apply.
                                                                                                                       32.46
                                                                                                                     $________________________________
 9603 Woodland Hls                                                    Contingent
                                                                      Unliquidated
 San Antonio, TX, 78250                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                           Document Page 1004 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4892
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.99
                                                                                                                     $________________________________
 Kristina Ong                                                         Contingent
 1910 Lake Street                                                     Unliquidated
                                                                      Disputed
 San Francisco, CA, 94121
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4893
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.79
                                                                                                                     $________________________________
 Kristine Heeger                                                     Check all that apply.
 46964 Shelby Rd                                                      Contingent
                                                                      Unliquidated
 Shelby Twp, MI, 48317                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4894
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kristine Lopez                                                      Check all that apply.
                                                                                                                      103.78
                                                                                                                     $________________________________
 14901 Sw 178th Ter                                                   Contingent
                                                                      Unliquidated
 Miami, FL, 33187                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4895
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Kristofer Allen                                                     Check all that apply.
 1303 Walnut Unit 2                                                   Contingent
                                                                      Unliquidated
 Huntington Beach, CA, 92648                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4896
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kristopher Gordon                                                   Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 337 Bear Run                                                         Contingent
                                                                      Unliquidated
 Maple Hill, NC, 28454                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4897
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             69.99
                                                                                                                     $________________________________
 Kristopher Houge                                                     Contingent
 2140 East Memorial Drive                                             Unliquidated
                                                                      Disputed
 Janesville, WI, 53545
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4898
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.99
                                                                                                                     $________________________________
 Kristopher Kolisnyk                                                 Check all that apply.
 16206 windermere circle                                              Contingent
                                                                      Unliquidated
 southgate, MI, 48195                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4899
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kristopher Sheahan                                                  Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 6525 Palm Ln                                                         Contingent
                                                                      Unliquidated
 Scottsdale, AZ, 85257-2564                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4900
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.98
                                                                                                                     $________________________________
 Kristy Gardner                                                      Check all that apply.
 8 Louis Ave                                                          Contingent
                                                                      Unliquidated
 SAUGERTIES, NY, 12477                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4901
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kristy Nguyen                                                       Check all that apply.
                                                                                                                       37.97
                                                                                                                     $________________________________
 532 3rd Street #1                                                    Contingent
                                                                      Unliquidated
 San Rafael, CA, 94901                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4902
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             213.99
                                                                                                                     $________________________________
 KRYS EARLES                                                          Contingent
 286 FLAT CREEK RD                                                    Unliquidated
                                                                      Disputed
 Fairview, NC, 28730
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4903
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.19
                                                                                                                     $________________________________
 krystal stanford                                                    Check all that apply.
 8050 sw 19th ct                                                      Contingent
                                                                      Unliquidated
 Davie, FL, 33324                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4904
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Krystelle Diaz                                                      Check all that apply.
                                                                                                                      42.45
                                                                                                                     $________________________________
 605 FDR Drive, Apt.7B                                                Contingent
                                                                      Unliquidated
 New York, NY, 10002                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4905
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.74
                                                                                                                     $________________________________
 Krystina Blackwell                                                  Check all that apply.
 12439 Totem Lake Way, Apt #212                                       Contingent
                                                                      Unliquidated
 Kirkland, WA, 98034                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4906
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kuan Lee                                                            Check all that apply.
                                                                                                                       335.07
                                                                                                                     $________________________________
 1382 Walnut Avenue, Apt 206                                          Contingent
                                                                      Unliquidated
 Tustin, CA, 92780                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4907
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.99
                                                                                                                     $________________________________
 Kue Won                                                              Contingent
 28462 El Peppino                                                     Unliquidated
                                                                      Disputed
 Laguna Niguel, CA, 92677
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4908
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       292.20
                                                                                                                     $________________________________
 Kurt Forbes                                                         Check all that apply.
 9901 Laurel Drive                                                    Contingent
                                                                      Unliquidated
 Douglasville, GA, 30135                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4909
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kurt Killberg                                                       Check all that apply.
                                                                                                                      12.59
                                                                                                                     $________________________________
 S68W12886 Bristlecone Ln                                             Contingent
                                                                      Unliquidated
 Muskego, WI, 53150                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4910
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.97
                                                                                                                     $________________________________
 KURT LAMPRECHT                                                      Check all that apply.
 4760 NE 4th Ave                                                      Contingent
                                                                      Unliquidated
 Fort Lauderdale, FL, 33334-6039                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4911
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kwan Chan                                                           Check all that apply.
                                                                                                                       107.28
                                                                                                                     $________________________________
 5884 Crown Palms Ave                                                 Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89139-6974                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1008 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4912
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             71.52
                                                                                                                     $________________________________
 Kwan S Trina Tam                                                     Contingent
 2352 Upland Drive                                                    Unliquidated
                                                                      Disputed
 Vancouver, BC, V5S 2B5
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4913
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       56.50
                                                                                                                     $________________________________
 Kya Monasterial                                                     Check all that apply.
 131 Oakridge Drive                                                   Contingent
                                                                      Unliquidated
 Mount Royal, NJ, 8061                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4914
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kyara Oceguera                                                      Check all that apply.
                                                                                                                      28.20
                                                                                                                     $________________________________
 1605 SE Eighth St                                                    Contingent
                                                                      Unliquidated
 Moore, OK, 73160                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4915
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.52
                                                                                                                     $________________________________
 Kyell Marsh                                                         Check all that apply.
 3383 n 301st dr                                                      Contingent
                                                                      Unliquidated
 Buckeye, AZ, 85396                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4916
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kyle Beasley                                                        Check all that apply.
                                                                                                                       25.99
                                                                                                                     $________________________________
 7715 Pennsylvania Avenue                                             Contingent
                                                                      Unliquidated
 Saint Louis, MO, 63111                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1009 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4917
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.39
                                                                                                                     $________________________________
 Kyle Dupell                                                          Contingent
 57 Vicar Lane                                                        Unliquidated
                                                                      Disputed
 Levittown, PA, 19054
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4918
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       83.97
                                                                                                                     $________________________________
 Kyle Esparza                                                        Check all that apply.
 18032 North 145th Drive                                              Contingent
                                                                      Unliquidated
 Surprise, AZ, 85374                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4919
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kyle Fogg                                                           Check all that apply.
                                                                                                                      7.37
                                                                                                                     $________________________________
 82 Prospect Ave                                                      Contingent
                                                                      Unliquidated
 South Paris, ME, 4281                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4920
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.88
                                                                                                                     $________________________________
 Kyle Gallagher                                                      Check all that apply.
 2 Saddle Place                                                       Contingent
                                                                      Unliquidated
 Pinehurst, NC, 28374                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4921
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kyle Graham                                                         Check all that apply.
                                                                                                                       13.77
                                                                                                                     $________________________________
 29 Jay Street                                                        Contingent
                                                                      Unliquidated
 Wilkes-Barre, PA, 18705                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4922
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Kyle Haug                                                            Contingent
 3510 E. Lakewood Pkwy W, Unit 107                                    Unliquidated
                                                                      Disputed
 Phoenix, AZ, 85048
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4923
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       61.18
                                                                                                                     $________________________________
 Kyle Hinze                                                          Check all that apply.
 340 Myrtle Street                                                    Contingent
                                                                      Unliquidated
 Reedsburg, WI, 53959                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4924
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kyle Jones                                                          Check all that apply.
                                                                                                                      66.32
                                                                                                                     $________________________________
 1000 Windy Pass, Spc 157                                             Contingent
                                                                      Unliquidated
 Barstow, CA, 92311                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4925
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 Kyle Kaeo                                                           Check all that apply.
 3701 Landsdowne Dr.                                                  Contingent
                                                                      Unliquidated
 Mckinney, TX, 75072                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4926
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kyle Kikendall                                                      Check all that apply.
                                                                                                                       45.03
                                                                                                                     $________________________________
 800c Ashewyck Commons Ct, 800 C                                      Contingent
                                                                      Unliquidated
 Fuquay-Varina, NC, 27526                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4927
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Kyle Moody                                                           Contingent
 3908 Posada Court                                                    Unliquidated
                                                                      Disputed
 Oceanside, CA, 92058
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4928
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Kyle Norman                                                         Check all that apply.
 1164 Bartosh Lane, 14                                                Contingent
                                                                      Unliquidated
 River Falls, WI, 54022                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4929
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kyle Oster                                                          Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 9324 Pleasant Hill Ct. NE                                            Contingent
                                                                      Unliquidated
 Olympia, WA, 98516                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4930
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.88
                                                                                                                     $________________________________
 Kyle Owens                                                          Check all that apply.
 4200 Cherry Orchard Ct                                               Contingent
                                                                      Unliquidated
 Bloomington, IN, 47403                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4931
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kyle S Corbet                                                       Check all that apply.
                                                                                                                       19.36
                                                                                                                     $________________________________
 3939 Garmisch Court                                                  Contingent
                                                                      Unliquidated
 Antelope, CA, 95843                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4932
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             258.98
                                                                                                                     $________________________________
 Kyle Sanchez                                                         Contingent
 8454 Noble Avenue                                                    Unliquidated
                                                                      Disputed
 North Hills , CA, 91343
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4933
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       69.98
                                                                                                                     $________________________________
 Kyle Starostka                                                      Check all that apply.
 12012 69th Court                                                     Contingent
                                                                      Unliquidated
 Palos Heights, IL, 60463                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4934
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kyle Tillman                                                        Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 3916 Wallwerth Dr                                                    Contingent
                                                                      Unliquidated
 Toledo, OH, 43612                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4935
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      80.54
                                                                                                                     $________________________________
 Kylee Caines                                                        Check all that apply.
 1708 Park Place                                                      Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11233                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4936
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kylee Garcia                                                        Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 308 E Oak Ave                                                        Contingent
                                                                      Unliquidated
 Lompoc, CA, 93436                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4937
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.79
                                                                                                                     $________________________________
 Kylee Malone                                                         Contingent
 5990 Roselawn Ave                                                    Unliquidated
                                                                      Disputed
 Columbus, OH, 43232
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4938
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.91
                                                                                                                     $________________________________
 Kyler Noble                                                         Check all that apply.
 434 Sugar Hill Way                                                   Contingent
                                                                      Unliquidated
 Oakley, CA, 94561                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4939
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kylie Jennings                                                      Check all that apply.
                                                                                                                      26.86
                                                                                                                     $________________________________
 11710 Evergreen Hills Court                                          Contingent
                                                                      Unliquidated
 Tallahassee, FL, 32305                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4940
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.38
                                                                                                                     $________________________________
 Kylie Marsden                                                       Check all that apply.
 2644 Jenna Circle                                                    Contingent
                                                                      Unliquidated
 Montgomery, IL, 60538                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4941
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kym Houston                                                         Check all that apply.
                                                                                                                       8.99
                                                                                                                     $________________________________
 32012 Watoga Loop                                                    Contingent
                                                                      Unliquidated
 Wesley Chapel, FL, 33543                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4942
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Kyme Nguyen                                                          Contingent
 19424 Charrice Court                                                 Unliquidated
                                                                      Disputed
 Orlando, FL, 32833
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4943
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.99
                                                                                                                     $________________________________
 Kyna S Speake                                                       Check all that apply.
 161 County Road 1187                                                 Contingent
                                                                      Unliquidated
 Cullman, AL, 35057                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4944
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kyra Mansour                                                        Check all that apply.
                                                                                                                      14.98
                                                                                                                     $________________________________
 1075 Marcia Road                                                     Contingent
                                                                      Unliquidated
 Memphis, TN, 38117                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4945
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      137.96
                                                                                                                     $________________________________
 Kyra Morales                                                        Check all that apply.
 836 Duck Pond Dr                                                     Contingent
                                                                      Unliquidated
 Grand Prairie, TX, 75052                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4946
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kyrk Hamm                                                           Check all that apply.
                                                                                                                       153.93
                                                                                                                     $________________________________
 115 Landis Ave                                                       Contingent
                                                                      Unliquidated
 Freedom, CA, 95019                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4947
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.55
                                                                                                                     $________________________________
 Kyung Choi                                                           Contingent
 1635 West Wise Road, suite 5                                         Unliquidated
                                                                      Disputed
 Schaumburg, IL, 60193
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4948
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       248.99
                                                                                                                     $________________________________
 Kyungse Park                                                        Check all that apply.
 11743 NE SUMNER ST, #KJ5818                                          Contingent
                                                                      Unliquidated
 PORTLAND, OR, 97250                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4949
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 L Holbrook                                                          Check all that apply.
                                                                                                                      183.15
                                                                                                                     $________________________________
 4935 Sunshine Lane                                                   Contingent
                                                                      Unliquidated
 Sacramento, CA, 95841                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4950
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.64
                                                                                                                     $________________________________
 L. Myers                                                            Check all that apply.
 16835 Jonas Hill Ln SE, P.O. Box 1078                                Contingent
                                                                      Unliquidated
 Rainier, WA, 98576                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4951
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laarni Almirol                                                      Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 625 W Romneya Via                                                    Contingent
                                                                      Unliquidated
 Anaheim, CA, 92801                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4952
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 LaBelle Truong                                                       Contingent
 2323 E Kelton Ln                                                     Unliquidated
                                                                      Disputed
 Phoenix, AZ, 85022
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4953
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.74
                                                                                                                     $________________________________
 Lacey Curry                                                         Check all that apply.
 1416 w 30th st                                                       Contingent
                                                                      Unliquidated
 Sioux city, IA, 51103-1220                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4954
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lacie Flinders                                                      Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 3878 w 1875 n                                                        Contingent
                                                                      Unliquidated
 plain city, UT, 84404                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4955
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.83
                                                                                                                     $________________________________
 Lacy Moncus                                                         Check all that apply.
 745 West Church Street                                               Contingent
                                                                      Unliquidated
 Sandersville, GA, 31082                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4956
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 LaDoria Soto                                                        Check all that apply.
                                                                                                                       34.99
                                                                                                                     $________________________________
 3927 Fairfield Avenue, Fairfield Ave                                 Contingent
                                                                      Unliquidated
 Fort Wayne, IN, 46807                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4957
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             238.13
                                                                                                                     $________________________________
 Laila Ali                                                            Contingent
 1305 North Annie Glidden Road, Unit 423                              Unliquidated
                                                                      Disputed
 DeKalb, IL, 60115
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4958
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 LaKesha Brooks                                                      Check all that apply.
 1124 Chicago Street Southeast                                        Contingent
                                                                      Unliquidated
 Washington, DC, 20020                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4959
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lance Hopp                                                          Check all that apply.
                                                                                                                      26.74
                                                                                                                     $________________________________
 43 Evergreen Avenue                                                  Contingent
                                                                      Unliquidated
 Clifton park, NY, 12065                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4960
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.98
                                                                                                                     $________________________________
 Lance Laidlaw                                                       Check all that apply.
 1216 Westward Dr.                                                    Contingent
                                                                      Unliquidated
 goose creek, SC, 29445                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4961
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lance Loeding                                                       Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 275 4th street                                                       Contingent
                                                                      Unliquidated
 Marysville, MI, 48040                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4962
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             76.99
                                                                                                                     $________________________________
 Lance Powell                                                         Contingent
 13133 Deneb Dr                                                       Unliquidated
                                                                      Disputed
 Littleton, CO, 80124
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4963
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.99
                                                                                                                     $________________________________
 Landon Best                                                         Check all that apply.
 110 Stockbridge Drive                                                Contingent
                                                                      Unliquidated
 Greer, SC, 29650                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4964
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Landon Burkhardt                                                    Check all that apply.
                                                                                                                      43.98
                                                                                                                     $________________________________
 10041 E Clements Cir                                                 Contingent
                                                                      Unliquidated
 Livonia, MI, 48150                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4965
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                     $________________________________
 Landon Combs                                                        Check all that apply.
 211 Spurgeon Ln                                                      Contingent
                                                                      Unliquidated
 Gray, TN, 37615                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4966
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Landon Medlin                                                       Check all that apply.
                                                                                                                       13.15
                                                                                                                     $________________________________
 2710 North Farm Road 137                                             Contingent
                                                                      Unliquidated
 Springfield, MO, 65803                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4967
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             53.99
                                                                                                                         $________________________________
 Lane Kayonnie                                                            Contingent
 203 East 7th Street, Happy Valley trailer park                           Unliquidated
 #25.                                                                     Disputed
 Cortez, CO, 81321                                                       Basis for the claim: Customers with Outstanding Deposits



                                                                         Is the claim subject to offset?
         Date or dates debt was incurred          ___________________
                                                                         
                                                                         ✔
                                                                           No
                                                                          Yes
         Last 4 digits of account number          ___________________
  4968
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                           13.00
                                                                                                                         $________________________________
 Lane Bergeron                                                           Check all that apply.
 106 Rye Cir                                                              Contingent
                                                                          Unliquidated
 Scott, LA, 70583                                                         Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ___________________    Is the claim subject to offset?
         Last 4 digits of account number          ___________________
                                                                         
                                                                         ✔
                                                                           No
                                                                          Yes
  4969
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Lane Keyoth                                                             Check all that apply.
                                                                                                                          13.99
                                                                                                                         $________________________________
 10009 W. 99th Ave                                                        Contingent
                                                                          Unliquidated
 Westminster, CO, 80021                                                   Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ___________________    Is the claim subject to offset?
         Last 4 digits of account number          __________________     
                                                                         ✔
                                                                           No
                                                                          Yes
  4970
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          23.99
                                                                                                                         $________________________________
 Larry Cuate                                                             Check all that apply.
 1103 s. washington ave.                                                  Contingent
                                                                          Unliquidated
 compton, CA, 90221                                                       Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                           No
         Last 4 digits of account number          ___________________     Yes
  4971
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Larry L Watson                                                          Check all that apply.
                                                                                                                           149.44
                                                                                                                         $________________________________
 901 Apple Street                                                         Contingent
                                                                          Unliquidated
 Gibsonville, NC, 27249                                                   Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                           No
         Last 4 digits of account number          ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4972
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 larry martin                                                         Contingent
 7950 burstaff road                                                   Unliquidated
                                                                      Disputed
 pensacola, FL, 32514
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4973
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.83
                                                                                                                     $________________________________
 Larry P. Jones Jr.                                                  Check all that apply.
 216 Adele Ct                                                         Contingent
                                                                      Unliquidated
 Wilmington, NC, 28412                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4974
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Larry Rodriguez                                                     Check all that apply.
                                                                                                                      87.45
                                                                                                                     $________________________________
 686 Manes St.                                                        Contingent
                                                                      Unliquidated
 Firebaugh, CA, 93622                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4975
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Larry Walker                                                        Check all that apply.
 1465 e. Lexington ave. , Suite 19a                                   Contingent
                                                                      Unliquidated
 El. Cajon, CA, 92019                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4976
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Larvine Bustos                                                      Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 7633 Zephyr Hills                                                    Contingent
                                                                      Unliquidated
 Antelope, CA, 95843                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4977
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.99
                                                                                                                     $________________________________
 LaSaundra Hester                                                     Contingent
 1239 Rosewood Dr                                                     Unliquidated
                                                                      Disputed
 Columbus, GA, 31907
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4978
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.99
                                                                                                                     $________________________________
 Lashonda Linder                                                     Check all that apply.
 536 Sniders Hwy                                                      Contingent
                                                                      Unliquidated
 Walterboro, SC, 29488                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4979
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 LaTanya Huntley                                                     Check all that apply.
                                                                                                                      27.81
                                                                                                                     $________________________________
 5505 Hidden Valley Ln                                                Contingent
                                                                      Unliquidated
 Cumming, GA, 30028                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4980
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      127.99
                                                                                                                     $________________________________
 Latonya White                                                       Check all that apply.
 7172 Red Cardinal Loop                                               Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80908                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4981
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laura Arro                                                          Check all that apply.
                                                                                                                       28.13
                                                                                                                     $________________________________
 6510 Merlin Way                                                      Contingent
                                                                      Unliquidated
 San Antonio, TX, 78233                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4982
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             51.81
                                                                                                                     $________________________________
 Laura Barrios                                                        Contingent
 852 Ridge Avenue, #1                                                 Unliquidated
                                                                      Disputed
 Evanston, IL, 60202
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4983
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Laura Brazier                                                       Check all that apply.
 10611 Fowler Ave, 10611 Fowler Ave                                   Contingent
                                                                      Unliquidated
 OMAHA, NE, 68134                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4984
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laura Chavez                                                        Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 361 East J Street                                                    Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91910                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4985
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.09
                                                                                                                     $________________________________
 Laura Crespo                                                        Check all that apply.
 2967 Northwest 28th Street                                           Contingent
                                                                      Unliquidated
 Miami, FL, 33142                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4986
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laura Crespo                                                        Check all that apply.
                                                                                                                       31.02
                                                                                                                     $________________________________
 2967 Northwest 28th Street                                           Contingent
                                                                      Unliquidated
 Miami, FL, 33142                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1023 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4987
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.63
                                                                                                                     $________________________________
 Laura Cruz                                                           Contingent
 2730 Gainesborugh Drive                                              Unliquidated
                                                                      Disputed
 San Antonio, TX, 78230
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4988
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.99
                                                                                                                     $________________________________
 Laura Davis                                                         Check all that apply.
 6909 E PORTIA ST                                                     Contingent
                                                                      Unliquidated
 MESA, AZ, 85207-1562                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4989
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laura Horan                                                         Check all that apply.
                                                                                                                      32.38
                                                                                                                     $________________________________
 1055 Watervliet Shaker Rd                                            Contingent
                                                                      Unliquidated
 Albany, NY, 12205                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4990
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Laura Lease                                                         Check all that apply.
 210 St. Anthony's Drive                                              Contingent
                                                                      Unliquidated
 Macon, GA, 31220                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4991
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laura Marin                                                         Check all that apply.
                                                                                                                       2,490.72
                                                                                                                     $________________________________
 12373 Knightsbridge Dr.                                              Contingent
                                                                      Unliquidated
 El Paso, TX, 79928                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1024 of Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4992
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.61
                                                                                                                     $________________________________
 Laura Martinez                                                       Contingent
 2204 Jason Way                                                       Unliquidated
                                                                      Disputed
 Modesto, CA, 95350
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4993
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.80
                                                                                                                     $________________________________
 Laura Parise                                                        Check all that apply.
 7793 W. Calla Rd.                                                    Contingent
                                                                      Unliquidated
 Canfield, OH, 44406                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4994
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laura Raines                                                        Check all that apply.
                                                                                                                      36.37
                                                                                                                     $________________________________
 24076 NW 187 Road                                                    Contingent
                                                                      Unliquidated
 High Springs, FL, 32643                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  4995
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      79.99
                                                                                                                     $________________________________
 Laura Rogers                                                        Check all that apply.
 2200 Sinclair Ave                                                    Contingent
                                                                      Unliquidated
 Midland, TX, 79705-8649                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  4996
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laura Santoki                                                       Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 2119 Overview Dr Ne                                                  Contingent
                                                                      Unliquidated
 Tacoma, WA, 98422                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  4997
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Laura Snyder                                                         Contingent
 1040 N Vinedo Ave                                                    Unliquidated
                                                                      Disputed
 Pasadena, CA, 91107
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  4998
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.97
                                                                                                                     $________________________________
 Laura Thompson                                                      Check all that apply.
 2702 PAOLI PIKE, Apt. 237                                            Contingent
                                                                      Unliquidated
 New Albany, IN, 47150                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  4999
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laura Young                                                         Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 6023 Northeast Wasco Street                                          Contingent
                                                                      Unliquidated
 Portland, OR, 97213                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5000
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      51.71
                                                                                                                     $________________________________
 Lauren Allee                                                        Check all that apply.
 1524 South Lovering Ave.                                             Contingent
                                                                      Unliquidated
 Fullerton, CA, 92833                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5001
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lauren Buckhard                                                     Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 4 Water Street, Unit 641                                             Contingent
                                                                      Unliquidated
 Searsport, ME, 4974                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5002
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.99
                                                                                                                     $________________________________
 Lauren Carducci                                                      Contingent
 61854 Avonlea Circle                                                 Unliquidated
                                                                      Disputed
 Bend, OR, 97702
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5003
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.99
                                                                                                                     $________________________________
 Lauren Della                                                        Check all that apply.
 12221 E Colonial Dr, Apt 1306                                        Contingent
                                                                      Unliquidated
 Orlando, FL, 32826                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5004
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lauren Hill                                                         Check all that apply.
                                                                                                                      83.99
                                                                                                                     $________________________________
 1100 W TRINITY MILLS RD, APT 3046                                    Contingent
                                                                      Unliquidated
 CARROLLTON, TX, 75006                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5005
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      121.97
                                                                                                                     $________________________________
 Lauren Jones                                                        Check all that apply.
 Po box 528                                                           Contingent
                                                                      Unliquidated
 Somers point, NJ, 8244                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5006
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lauren Lopez                                                        Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 4746 Liberty Rd. S. , #301                                           Contingent
                                                                      Unliquidated
 Salem, OR, 97302                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                           Document Page 1027 of Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5007
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 Lauren Macfarlane                                                    Contingent
 324 Everson Drive                                                    Unliquidated
                                                                      Disputed
 Santa Cruz, CA, 95060
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5008
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.99
                                                                                                                     $________________________________
 Lauren Moye                                                         Check all that apply.
 3418 S Arcadian Shores Ave                                           Contingent
                                                                      Unliquidated
 Ontario, CA, 91761                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5009
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lauren Sorrells                                                     Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 1904 Scurry Street                                                   Contingent
                                                                      Unliquidated
 Big Spring, TX, 79720                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5010
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.95
                                                                                                                     $________________________________
 Lauren Vranov                                                       Check all that apply.
 500 Plymouth Ave                                                     Contingent
                                                                      Unliquidated
 Syracuse, NY, 13211                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5011
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lauren White                                                        Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 6056, Notre Dame ave                                                 Contingent
                                                                      Unliquidated
 Chino, CA, 91710                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5012
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.99
                                                                                                                     $________________________________
 Lauren Young                                                         Contingent
 6099 South Wallflower Place                                          Unliquidated
                                                                      Disputed
 Boise, ID, 83716
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5013
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.53
                                                                                                                     $________________________________
 Laurie Acevedo                                                      Check all that apply.
 17350 Blazing Star Circle                                            Contingent
                                                                      Unliquidated
 Clermont, FL, 34714                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5014
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laurie Rego                                                         Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 370 Jacintho St                                                      Contingent
                                                                      Unliquidated
 New Bedford, MA, 2740                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5015
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.16
                                                                                                                     $________________________________
 Laurie Valley                                                       Check all that apply.
 180 Princess Ann Drive                                               Contingent
                                                                      Unliquidated
 Colchester, VT, 5446                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5016
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lauryn Alderman                                                     Check all that apply.
                                                                                                                       26.39
                                                                                                                     $________________________________
 33 Wigeon Circle                                                     Contingent
                                                                      Unliquidated
 Oxford, AL, 36203                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5017
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.98
                                                                                                                     $________________________________
 Lavonne Fox                                                          Contingent
 12943 Palatine Hill                                                  Unliquidated
                                                                      Disputed
 San Antonio, TX, 78253
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5018
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       157.96
                                                                                                                     $________________________________
 Lawrence Freeman                                                    Check all that apply.
 2115 Greencove Lane                                                  Contingent
                                                                      Unliquidated
 Sugar Land, TX, 77479                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5019
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lawrence Mouri                                                      Check all that apply.
                                                                                                                      58.02
                                                                                                                     $________________________________
 1302 w. ituni st.                                                    Contingent
                                                                      Unliquidated
 West Covina, CA, 91790                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5020
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.12
                                                                                                                     $________________________________
 Laycion C                                                           Check all that apply.
 Hamiha Place                                                         Contingent
                                                                      Unliquidated
 Ewa Beach, HI, 96706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5021
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Layne Hyatt                                                         Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 561 Walker Street                                                    Contingent
                                                                      Unliquidated
 Centerton, AR, 72719                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1030 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5022
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Lazaro Sotolongo                                                     Contingent
 7 north salem rd Apart 1c                                            Unliquidated
                                                                      Disputed
 Ridgefield, CT, 6877
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5023
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.92
                                                                                                                     $________________________________
 Le Nguyen                                                           Check all that apply.
 7881 Holt Dr. #1                                                     Contingent
                                                                      Unliquidated
 Huntington Beach, CA, 92647-3766                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5024
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lea Mancini                                                         Check all that apply.
                                                                                                                      134.96
                                                                                                                     $________________________________
 2565 Macero Street                                                   Contingent
                                                                      Unliquidated
 Roseville, CA, 95747                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5025
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Leah Campbell                                                       Check all that apply.
 4215 willowview blvd                                                 Contingent
                                                                      Unliquidated
 LOUISVILLE, KY, 40299                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5026
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leah Hernandez                                                      Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 336 Cypress Road                                                     Contingent
                                                                      Unliquidated
 St. Augustine, FL, 32086                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1031 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5027
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.61
                                                                                                                     $________________________________
 Leah Kruse                                                           Contingent
 401 N Main St #872503                                                Unliquidated
                                                                      Disputed
 Wasilla, AK, 99687
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5028
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       102.98
                                                                                                                     $________________________________
 Leandro Villarreal                                                  Check all that apply.
 7423yarrow Blvd#8104                                                 Contingent
                                                                      Unliquidated
 San Antonio, TX, 78224                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5029
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leanna Johnson                                                      Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 640 fir st ne                                                        Contingent
                                                                      Unliquidated
 Albany, OR, 97321-4513                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5030
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 Leanna K                                                            Check all that apply.
 222 Brookhaven Road                                                  Contingent
                                                                      Unliquidated
 Brookhaven, PA, 19015                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5031
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ledis Molina                                                        Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 925 SW 131st Ave                                                     Contingent
                                                                      Unliquidated
 Davie, FL, 33325                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1032 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5032
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.63
                                                                                                                     $________________________________
 Lee Barton                                                           Contingent
 3156 Lake Wesley Court                                               Unliquidated
                                                                      Disputed
 Warrenton, VA, 20187
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5033
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.96
                                                                                                                     $________________________________
 Lee Brooks                                                          Check all that apply.
 122 Rustic Cedar Lane                                                Contingent
                                                                      Unliquidated
 Madison, AL, 35757                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5034
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lee Buchanan                                                        Check all that apply.
                                                                                                                      13.13
                                                                                                                     $________________________________
 3216 Capri Street                                                    Contingent
                                                                      Unliquidated
 Kingsport, TN, 37660                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5035
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 Lee Fleming                                                         Check all that apply.
 6317 W. 6th Street                                                   Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90048                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5036
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lee Keith                                                           Check all that apply.
                                                                                                                       29.48
                                                                                                                     $________________________________
 5616 Davida Road Northwest                                           Contingent
                                                                      Unliquidated
 Knoxville, TN, 37912                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                  Name                           Document Page 1033 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5037
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.13
                                                                                                                     $________________________________
 Lee Vaughn                                                           Contingent
 462 West 46th Street                                                 Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90037
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5038
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       84.87
                                                                                                                     $________________________________
 Leesa Hunter                                                        Check all that apply.
 320 E Lorena Ave                                                     Contingent
                                                                      Unliquidated
 Wood River, IL, 62095-2022                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5039
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leesa worden                                                        Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 2217 east ave N                                                      Contingent
                                                                      Unliquidated
 Onalaska, WI, 54650-7022                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5040
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      54.66
                                                                                                                     $________________________________
 Legosi Wolfen                                                       Check all that apply.
 8325 CAMBRIDGE ST                                                    Contingent
                                                                      Unliquidated
 GRANITE BAY, CA, 95746                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5041
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leidiana Rodriguez                                                  Check all that apply.
                                                                                                                       34.23
                                                                                                                     $________________________________
 6365 Southwest 8th Street, Apt 12                                    Contingent
                                                                      Unliquidated
 West Miami, FL, 33144                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5042
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 Leigh Kubishke                                                       Contingent
 915 Red Hill Drive                                                   Unliquidated
                                                                      Disputed
 Lorain, OH, 44052
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5043
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       157.96
                                                                                                                     $________________________________
 Leighann Martinez                                                   Check all that apply.
 7923 Riata Avenue                                                    Contingent
                                                                      Unliquidated
 San Antonio, TX, 78227                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5044
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leighann Martinez                                                   Check all that apply.
                                                                                                                      119.98
                                                                                                                     $________________________________
 7923 Riata Avenue                                                    Contingent
                                                                      Unliquidated
 San Antonio, TX, 78227                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5045
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      67.24
                                                                                                                     $________________________________
 Leilani Munoz                                                       Check all that apply.
 2184 Wesleygrove Ave                                                 Contingent
                                                                      Unliquidated
 Duarte, CA, 91010                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5046
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leilani Tran                                                        Check all that apply.
                                                                                                                       57.35
                                                                                                                     $________________________________
 2105 Woods Court                                                     Contingent
                                                                      Unliquidated
 Pearland, TX, 77581                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1035 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5047
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             43.88
                                                                                                                     $________________________________
 Leisa Eto                                                            Contingent
 PO box 7                                                             Unliquidated
                                                                      Disputed
 Koloa, HI, 96756
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5048
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       185.08
                                                                                                                     $________________________________
 Leji Li                                                             Check all that apply.
 46 Bay 34th St 2fl                                                   Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5049
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lela McIntyre                                                       Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 2003 Chambers St Se                                                  Contingent
                                                                      Unliquidated
 Olympia, WA, 98501                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5050
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.46
                                                                                                                     $________________________________
 Lena Mutchler                                                       Check all that apply.
 3136 Adamson Drive                                                   Contingent
                                                                      Unliquidated
 Geneva, IL, 60134                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5051
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 lenny pinto                                                         Check all that apply.
                                                                                                                       17.99
                                                                                                                     $________________________________
 47 Irving st                                                         Contingent
                                                                      Unliquidated
 Naugatuck, CT, 6770                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5052
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             60.42
                                                                                                                     $________________________________
 Leo Carrio                                                           Contingent
 419 Winchester Street                                                Unliquidated
                                                                      Disputed
 Daly City, CA, 94014
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5053
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.99
                                                                                                                     $________________________________
 Leo DuBois                                                          Check all that apply.
 7048 Kahuna Road, Unit F                                             Contingent
                                                                      Unliquidated
 Kapa€ªa, HI, 96746                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5054
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leo Yu                                                              Check all that apply.
                                                                                                                      220.49
                                                                                                                     $________________________________
 493 Walnut Ave                                                       Contingent
                                                                      Unliquidated
 Arcadia, CA, 91007                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5055
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.98
                                                                                                                     $________________________________
 Leon Blake                                                          Check all that apply.
 10203 Eyelet Court                                                   Contingent
                                                                      Unliquidated
 Clinton, MD, 20735                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5056
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leon Hill                                                           Check all that apply.
                                                                                                                       45.78
                                                                                                                     $________________________________
 2015 Driftwood Street                                                Contingent
                                                                      Unliquidated
 Middletown, OH, 45042                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1037 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5057
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.99
                                                                                                                     $________________________________
 Leon Matthews                                                        Contingent
 1519 Dennison Avenue Southwest                                       Unliquidated
                                                                      Disputed
 Birmingham, AL, 35211
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5058
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       56.96
                                                                                                                     $________________________________
 Leon Shnayder                                                       Check all that apply.
 56 Creighton Circle                                                  Contingent
                                                                      Unliquidated
 Old Bridge, NJ, 8857                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5059
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leon so                                                             Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 2003 Gordon verner circle                                            Contingent
                                                                      Unliquidated
 Stockton, CA, 95206                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5060
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      61.69
                                                                                                                     $________________________________
 Leona Dakay                                                         Check all that apply.
 16746 Bending Creek Lane                                             Contingent
                                                                      Unliquidated
 Friendswood, TX, 77546                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5061
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leonard Haynoski                                                    Check all that apply.
                                                                                                                       95.95
                                                                                                                     $________________________________
 740 Mill Street, Unit E-9                                            Contingent
                                                                      Unliquidated
 Belleville, NJ, 7109                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1038 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5062
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             485.94
                                                                                                                     $________________________________
 Leonard Koenigsmark                                                  Contingent
 12204 S 87th Ave                                                     Unliquidated
                                                                      Disputed
 Palos Park, IL, 60464-1209
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5063
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       167.94
                                                                                                                     $________________________________
 Leonard Lucenti                                                     Check all that apply.
 2832 West 35th Street                                                Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11224                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5064
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leonard Sarmiento                                                   Check all that apply.
                                                                                                                      86.19
                                                                                                                     $________________________________
 25350 Marie Street                                                   Contingent
                                                                      Unliquidated
 Perris, CA, 92570                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5065
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Leonardo Hernandez                                                  Check all that apply.
 613 Maravillas Street                                                Contingent
                                                                      Unliquidated
 Horizon City, TX, 79928                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5066
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leonardo Navarro jr                                                 Check all that apply.
                                                                                                                       26.57
                                                                                                                     $________________________________
 12302 Fourth St                                                      Contingent
                                                                      Unliquidated
 Fort Myers, FL, 33905                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1039 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5067
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             68.99
                                                                                                                     $________________________________
 leonardo vallejo                                                     Contingent
 560 North Evans Street                                               Unliquidated
                                                                      Disputed
 Banning, CA, 92220
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5068
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       134.84
                                                                                                                     $________________________________
 Leonel Padilla                                                      Check all that apply.
 415 W Stevens Dr, G08                                                Contingent
                                                                      Unliquidated
 Addison, IL, 60101                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5069
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leroy Cornelius                                                     Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 30 pearl ave, Apt 2                                                  Contingent
                                                                      Unliquidated
 Johnson city, NY, 13790-1514                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5070
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.29
                                                                                                                     $________________________________
 Leshay Weaver                                                       Check all that apply.
 5165 MANCHESTER ST                                                   Contingent
                                                                      Unliquidated
 N RIDGEVILLE, OH, 44039-1333                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5071
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lesley Cao                                                          Check all that apply.
                                                                                                                       27.99
                                                                                                                     $________________________________
 1925 Osage Ave                                                       Contingent
                                                                      Unliquidated
 Hayward, CA, 94545                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1040 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5072
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             222.98
                                                                                                                     $________________________________
 Leslie Miranda Roman                                                 Contingent
 8213 Boyd St                                                         Unliquidated
                                                                      Disputed
 Houston, TX, 77022
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5073
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Leslie Nguyen                                                       Check all that apply.
 718 S Central Pkwy                                                   Contingent
                                                                      Unliquidated
 Tracy, CA, 95391                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5074
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leslie Sweeney                                                      Check all that apply.
                                                                                                                      32.98
                                                                                                                     $________________________________
 1645 Claremont Drive                                                 Contingent
                                                                      Unliquidated
 Darien, IL, 60561                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5075
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.98
                                                                                                                     $________________________________
 leslie tyrell                                                       Check all that apply.
 635 Cadbury drive                                                    Contingent
                                                                      Unliquidated
 Odenton, MD, 21113                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5076
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lesly Morales salazar                                               Check all that apply.
                                                                                                                       65.94
                                                                                                                     $________________________________
 52-32 72nd st                                                        Contingent
                                                                      Unliquidated
 Maspeth, NY, 11378                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1041 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5077
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.29
                                                                                                                     $________________________________
 Lester Martinez                                                      Contingent
 17401 ne 12 ave                                                      Unliquidated
                                                                      Disputed
 miami, FL, 33162
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5078
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.99
                                                                                                                     $________________________________
 Lester Tavico                                                       Check all that apply.
 1548 Attridge Avenue                                                 Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90063                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5079
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leticia Garcia                                                      Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 625 Sw 67th St                                                       Contingent
                                                                      Unliquidated
 Oklahoma City, OK, 73139                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5080
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.99
                                                                                                                     $________________________________
 Leticia Mercado                                                     Check all that apply.
 8010 Schaefer Avenue                                                 Contingent
                                                                      Unliquidated
 Ontario, CA, 91761                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5081
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Leticia Velazquez                                                   Check all that apply.
                                                                                                                       59.53
                                                                                                                     $________________________________
 11565 Old Field Ave                                                  Contingent
                                                                      Unliquidated
 Fontana, CA, 92337                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1042 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5082
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.98
                                                                                                                     $________________________________
 Levan Franco                                                         Contingent
 2018 146th Street, Apt C                                             Unliquidated
                                                                      Disputed
 Whitestone, NY, 11357
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5083
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.04
                                                                                                                     $________________________________
 Levarnia Grant                                                      Check all that apply.
 4468 Norfleet Street                                                 Contingent
                                                                      Unliquidated
 Concord, NC, 28025                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5084
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Levi O?ÄôMara                                                       Check all that apply.
                                                                                                                      54.41
                                                                                                                     $________________________________
 1746 Windmill Court                                                  Contingent
                                                                      Unliquidated
 Liberty, MO, 64068                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5085
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.51
                                                                                                                     $________________________________
 Lewis Yang                                                          Check all that apply.
 13557 Rose Street                                                    Contingent
                                                                      Unliquidated
 Cerritos, CA, 90703                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5086
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lex Logan                                                           Check all that apply.
                                                                                                                       225.67
                                                                                                                     $________________________________
 161 Lundys Lane                                                      Contingent
                                                                      Unliquidated
 San Francisco, CA, 94110                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5087
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.11
                                                                                                                     $________________________________
 Lexie Martinez                                                       Contingent
 103 Lake Vista Drive                                                 Unliquidated
                                                                      Disputed
 Lake Dallas, TX, 75065
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5088
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Leyton Klee                                                         Check all that apply.
 P.O.Box 57                                                           Contingent
                                                                      Unliquidated
 Hotevilla, AZ, 86030                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5089
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lezlee Sasse                                                        Check all that apply.
                                                                                                                      49.21
                                                                                                                     $________________________________
 2900 Grand Ave, 43                                                   Contingent
                                                                      Unliquidated
 Kearney, NE, 68847                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5090
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8.00
                                                                                                                     $________________________________
 LGBS - DELDOT                                                       Check all that apply.
 PO Box 702118                                                        Contingent
                                                                      Unliquidated
 San Antonio, TX, 78270-2118                                          Disputed
                                                                     Basis for the claim:



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5091
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Li, Leo                                                             Check all that apply.
                                                                                                                       105.99
                                                                                                                     $________________________________
 1101 South Joyce Street, Apt 2539                                    Contingent
                                                                      Unliquidated
 Arlington, VA, 22202                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1044 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5092
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             84.52
                                                                                                                     $________________________________
 Lia Rodriguez                                                        Contingent
 6415 Sw 129 Pl, Apt.2404                                             Unliquidated
                                                                      Disputed
 Miami, FL, 33183
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5093
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.51
                                                                                                                     $________________________________
 Liam Butler                                                         Check all that apply.
 21034 121st Place Southeast                                          Contingent
                                                                      Unliquidated
 Kent, WA, 98031                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5094
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Liam Fratturo                                                       Check all that apply.
                                                                                                                      21.64
                                                                                                                     $________________________________
 35 Webster St, #402                                                  Contingent
                                                                      Unliquidated
 East Boston, MA, 2128                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5095
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.99
                                                                                                                     $________________________________
 Liangjie Deng                                                       Check all that apply.
 219 Sweetwater Station Dr.                                           Contingent
                                                                      Unliquidated
 Savannah, GA, 31419                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5096
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Libba Kelmor                                                        Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 16118 Pointer Ridge Drive                                            Contingent
                                                                      Unliquidated
 Bowie, MD, 20716                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1045 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5097
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.48
                                                                                                                     $________________________________
 Lilian Chevalier                                                     Contingent
 109 Jewett Street                                                    Unliquidated
                                                                      Disputed
 Newton, MA, 2458
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5098
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       77.96
                                                                                                                     $________________________________
 Liliana Flores                                                      Check all that apply.
 PO BOX 963                                                           Contingent
                                                                      Unliquidated
 Arizona city, AZ, 85123                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5099
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lillia Parks                                                        Check all that apply.
                                                                                                                      13.99
                                                                                                                     $________________________________
 528 MACON RD                                                         Contingent
                                                                      Unliquidated
 REYNOLDS, GA, 31076-2316                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5100
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      89.99
                                                                                                                     $________________________________
 Lillian Giang                                                       Check all that apply.
 1036 W. Paseo Way                                                    Contingent
                                                                      Unliquidated
 Tempe, AZ, 85283                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5101
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lillian Kass                                                        Check all that apply.
                                                                                                                       37.09
                                                                                                                     $________________________________
 4520 Wolfcreek Pkwy, K15                                             Contingent
                                                                      Unliquidated
 Louisville, KY, 40241                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1046 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5102
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.92
                                                                                                                     $________________________________
 LILLIAN NGUYEN                                                       Contingent
 250 Cecil Pl                                                         Unliquidated
                                                                      Disputed
 Costa Mesa , CA, 92627
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5103
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.88
                                                                                                                     $________________________________
 Lillie Johnston                                                     Check all that apply.
 1112 North Hampton Street                                            Contingent
                                                                      Unliquidated
 Siler City, NC, 27344                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5104
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lillith Gonzales                                                    Check all that apply.
                                                                                                                      68.99
                                                                                                                     $________________________________
 203 County Road 579                                                  Contingent
                                                                      Unliquidated
 Cisco, TX, 76437                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5105
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      91.96
                                                                                                                     $________________________________
 Lilly Ladue                                                         Check all that apply.
 61 Citrus Park Ln                                                    Contingent
                                                                      Unliquidated
 Boynton Beach, FL, 33436                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5106
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lilly Zieba                                                         Check all that apply.
                                                                                                                       10.00
                                                                                                                     $________________________________
 270 Park St                                                          Contingent
                                                                      Unliquidated
 Hackensack, NJ, 7601                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1047 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5107
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Lily Coy-Johnson                                                     Contingent
 1411 ARBOR KNOT DR                                                   Unliquidated
                                                                      Disputed
 KYLE, TX, 78640
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5108
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.99
                                                                                                                     $________________________________
 Lily Malloy                                                         Check all that apply.
 2006 Kenley Court                                                    Contingent
                                                                      Unliquidated
 Alexandria, VA, 22308                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5109
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lily Riley                                                          Check all that apply.
                                                                                                                      30.80
                                                                                                                     $________________________________
 303 3rd St., Apt. 608                                                Contingent
                                                                      Unliquidated
 Cambridge, MA, 2142                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5110
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Lincoln McCleary                                                    Check all that apply.
 18160 Cottonwood Road                                                Contingent
                                                                      Unliquidated
 Sunriver, OR, 97707                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5111
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Linda Mikucki                                                       Check all that apply.
                                                                                                                       12.95
                                                                                                                     $________________________________
 23 Green Street                                                      Contingent
                                                                      Unliquidated
 Franklinville, NY, 14737                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1048 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5112
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             179.98
                                                                                                                     $________________________________
 Linda Aikins                                                         Contingent
 3404 Stone Post Court                                                Unliquidated
                                                                      Disputed
 Lawrence, KS, 66049
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5113
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       112.98
                                                                                                                     $________________________________
 Linda Barreto                                                       Check all that apply.
 311 East 23 Street, Apt. 2BB                                         Contingent
                                                                      Unliquidated
 New York, NY, 10010                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5114
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Linda Berryhill                                                     Check all that apply.
                                                                                                                      65.99
                                                                                                                     $________________________________
 3237 Poplar Lane                                                     Contingent
                                                                      Unliquidated
 Adamsville, AL, 35005                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5115
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.22
                                                                                                                     $________________________________
 Linda Dumouchelle                                                   Check all that apply.
 1726 15th Avenue, Apt 16                                             Contingent
                                                                      Unliquidated
 Seattle, WA, 98122                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5116
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Linda Forsyth                                                       Check all that apply.
                                                                                                                       128.51
                                                                                                                     $________________________________
 12 East Bend Court                                                   Contingent
                                                                      Unliquidated
 Columbia, SC, 29223                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1049 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5117
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.73
                                                                                                                     $________________________________
 Linda Meherg                                                         Contingent
 101 South 4th Street Apt #102, 102                                   Unliquidated
                                                                      Disputed
 Leavenworth, KS, 66048
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5118
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.07
                                                                                                                     $________________________________
 Linda Roman                                                         Check all that apply.
 209 Austin Drive                                                     Contingent
                                                                      Unliquidated
 Avon, IN, 46123                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5119
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Linda Thomas                                                        Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 27144 Woodbluff Road                                                 Contingent
                                                                      Unliquidated
 Laguna Hills, CA, 92653                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5120
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                     $________________________________
 Linda Thomas                                                        Check all that apply.
 279 Five Creek Road                                                  Contingent
                                                                      Unliquidated
 Gardnerville, NV, 89460                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5121
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Linda Zinn                                                          Check all that apply.
                                                                                                                       28.88
                                                                                                                     $________________________________
 9005 Baywood Cir                                                     Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46256                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1050 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5122
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             157.93
                                                                                                                     $________________________________
 Lindsay Bulmann                                                      Contingent
 1950 Presque Isle Avenue, 323                                        Unliquidated
                                                                      Disputed
 Marquette, MI, 49855
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5123
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.99
                                                                                                                     $________________________________
 Lindsay West                                                        Check all that apply.
 114 Hillcrest Ave                                                    Contingent
                                                                      Unliquidated
 Benicia, CA, 94510                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5124
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lindsey Hill                                                        Check all that apply.
                                                                                                                      42.99
                                                                                                                     $________________________________
 2115 Chestnut Oak Ln                                                 Contingent
                                                                      Unliquidated
 Statesboro, GA, 30461                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5125
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      70.98
                                                                                                                     $________________________________
 Lindsey Moreno                                                      Check all that apply.
 6767 East Butler Avenue                                              Contingent
                                                                      Unliquidated
 Fresno, CA, 93727                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5126
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lindsey Norlander                                                   Check all that apply.
                                                                                                                       167.66
                                                                                                                     $________________________________
 5427 Wyoming St                                                      Contingent
                                                                      Unliquidated
 Duluth, MN, 55804                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1051 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5127
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.19
                                                                                                                     $________________________________
 Lindsey Sexton                                                       Contingent
 2601 New Forest Street                                               Unliquidated
                                                                      Disputed
 Northport, AL, 35475
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5128
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       57.36
                                                                                                                     $________________________________
 Linhua Li                                                           Check all that apply.
 6207 Misty Terrace Ct                                                Contingent
                                                                      Unliquidated
 Katy, TX, 77494                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5129
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Linjie Yang                                                         Check all that apply.
                                                                                                                      229.97
                                                                                                                     $________________________________
 5329 70th ST, 1FL                                                    Contingent
                                                                      Unliquidated
 Maspeth, NY, 11378                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5130
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.18
                                                                                                                     $________________________________
 Linsey Dorion                                                       Check all that apply.
 501 Nahatan Street                                                   Contingent
                                                                      Unliquidated
 Norwood, MA, 2062                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5131
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Linz Yarnall                                                        Check all that apply.
                                                                                                                       12.71
                                                                                                                     $________________________________
 9132 Lawncrest Drive                                                 Contingent
                                                                      Unliquidated
 Clio, MI, 48420                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1052 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5132
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             409.99
                                                                                                                     $________________________________
 Liqun Chen                                                           Contingent
 2616 Erwin Rd Apt 1513, Apt 1513                                     Unliquidated
                                                                      Disputed
 Durham, NC, 27705
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5133
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.44
                                                                                                                     $________________________________
 Lisa Arizaga                                                        Check all that apply.
 53352 Calle Soledad                                                  Contingent
                                                                      Unliquidated
 Coachella, CA, 92236                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5134
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lisa Arthur                                                         Check all that apply.
                                                                                                                      12.65
                                                                                                                     $________________________________
 21570 Garmisch Rd.                                                   Contingent
                                                                      Unliquidated
 Cable, WI, 54821                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5135
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65.98
                                                                                                                     $________________________________
 Lisa Bloomer                                                        Check all that apply.
 407 Church Street                                                    Contingent
                                                                      Unliquidated
 Weber City, VA, 24290                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5136
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lisa Childress                                                      Check all that apply.
                                                                                                                       33.97
                                                                                                                     $________________________________
 20832 Belshire Avenue                                                Contingent
                                                                      Unliquidated
 Lakewood, CA, 90715                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1053 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5137
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             48.99
                                                                                                                     $________________________________
 Lisa Everhart                                                        Contingent
 116 Cavalcade Circle                                                 Unliquidated
                                                                      Disputed
 Franklin, TN, 37069
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5138
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Lisa Fish                                                           Check all that apply.
 8990 Crestview Drive                                                 Contingent
                                                                      Unliquidated
 Frisco, TX, 75033                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5139
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lisa Fuchs                                                          Check all that apply.
                                                                                                                      11.72
                                                                                                                     $________________________________
 122 Hickory Rd                                                       Contingent
                                                                      Unliquidated
 Marlton, NJ, 8053                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5140
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      714.73
                                                                                                                     $________________________________
 Lisa Leifer                                                         Check all that apply.
 117 ELLIOTT ST E                                                     Contingent
                                                                      Unliquidated
 FORT MILL, SC, 29715                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5141
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lisa Matthews                                                       Check all that apply.
                                                                                                                       47.29
                                                                                                                     $________________________________
 P.O. Box 406                                                         Contingent
                                                                      Unliquidated
 Arcadia, FL, 34265-0406                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1054 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5142
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Lisa Mulkey                                                          Contingent
 711 oakforest dr                                                     Unliquidated
                                                                      Disputed
 Dallas, TX, 75232
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5143
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.77
                                                                                                                     $________________________________
 Lisa Palmer                                                         Check all that apply.
 5715 Keshena Dr                                                      Contingent
                                                                      Unliquidated
 Liberty Township, OH, 45011                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5144
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lisa Scavuzzo                                                       Check all that apply.
                                                                                                                      66.25
                                                                                                                     $________________________________
 27 Albert Street                                                     Contingent
                                                                      Unliquidated
 Shoreham, NY, 11786                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5145
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.97
                                                                                                                     $________________________________
 Lisa Sharp                                                          Check all that apply.
 869 Mathis Rd SE                                                     Contingent
                                                                      Unliquidated
 Rome, GA, 30161-9442                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5146
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lisa Urich                                                          Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 437 31st Street                                                      Contingent
                                                                      Unliquidated
 Hermosa Beach, CA, 90254                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1055 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5147
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Lisa White                                                           Contingent
 5625 Knell Avenue                                                    Unliquidated
                                                                      Disputed
 Baltimore, MD, 21206
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5148
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 lisandro sanchez                                                    Check all that apply.
 2707 bomar ave                                                       Contingent
                                                                      Unliquidated
 fort worth, TX, 76103                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5149
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lisbeth Sedeno Pacheco                                              Check all that apply.
                                                                                                                      26.44
                                                                                                                     $________________________________
 10424 Central Avenue, Apt, 1SE                                       Contingent
                                                                      Unliquidated
 Oak Lawn, IL, 60453                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5150
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      333.97
                                                                                                                     $________________________________
 Livia Overton                                                       Check all that apply.
 360 Williamsburg Lane                                                Contingent
                                                                      Unliquidated
 Memphis, TN, 38117                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5151
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Liyi Zheng                                                          Check all that apply.
                                                                                                                       377.07
                                                                                                                     $________________________________
 239 S Alhambra Ave                                                   Contingent
                                                                      Unliquidated
 Monterey Park, CA, 91755                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5152
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.62
                                                                                                                     $________________________________
 Liz Berrios                                                          Contingent
 13774 sw 33rd ct rd                                                  Unliquidated
                                                                      Disputed
 ocala, FL, 34473-2204
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5153
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       84.99
                                                                                                                     $________________________________
 Liz Gonzalez                                                        Check all that apply.
 3210 Crownover St                                                    Contingent
                                                                      Unliquidated
 Austin, TX, 78725                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5154
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Liz Marin                                                           Check all that apply.
                                                                                                                      45.98
                                                                                                                     $________________________________
 1481 Washington Ave, 14B                                             Contingent
                                                                      Unliquidated
 Bronx, NY, 10456-1924                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5155
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Liz Neyman                                                          Check all that apply.
 205 Drayton st                                                       Contingent
                                                                      Unliquidated
 Winnsboro, SC, 29180                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5156
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Liz Starling                                                        Check all that apply.
                                                                                                                       12.83
                                                                                                                     $________________________________
 22 HERALD DR                                                         Contingent
                                                                      Unliquidated
 Queensbury, NY, 12804-9190                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5157
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             8.69
                                                                                                                     $________________________________
 Lizandro Cardenas                                                    Contingent
 1550 NE 13th St                                                      Unliquidated
                                                                      Disputed
 Benton City, WA, 99320
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5158
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.62
                                                                                                                     $________________________________
 Lizeth Gonzalez                                                     Check all that apply.
 7932 Gladwater Drive                                                 Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76134                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5159
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lj Tate                                                             Check all that apply.
                                                                                                                      27.13
                                                                                                                     $________________________________
 2228 East Wier Avenue                                                Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85040                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5160
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.09
                                                                                                                     $________________________________
 Logan Bender                                                        Check all that apply.
 115 Spruce St                                                        Contingent
                                                                      Unliquidated
 Chaska, MN, 55318                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5161
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Logan Bru                                                           Check all that apply.
                                                                                                                       28.47
                                                                                                                     $________________________________
 221 Pioneer St                                                       Contingent
                                                                      Unliquidated
 West Paris, ME, 4289                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1058 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5162
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.98
                                                                                                                     $________________________________
 Logan Bunner                                                         Contingent
 401 rosette st                                                       Unliquidated
                                                                      Disputed
 Holly, MI, 48442
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5163
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Logan Bunting                                                       Check all that apply.
 8660 N Union Church Rd                                               Contingent
                                                                      Unliquidated
 Lincoln, DE, 19960                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5164
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Logan Flatt                                                         Check all that apply.
                                                                                                                      38.15
                                                                                                                     $________________________________
 3432 Golden Eagle Way                                                Contingent
                                                                      Unliquidated
 Georgetown Township, MI, 49428                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5165
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.98
                                                                                                                     $________________________________
 Logan Furey                                                         Check all that apply.
 1339 Woodgate Drive                                                  Contingent
                                                                      Unliquidated
 Kirkwood, MO, 63122                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5166
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Logan Hancock                                                       Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 460, 22nd St SE                                                      Contingent
                                                                      Unliquidated
 Salem, OR, 97301                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1059 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5167
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.97
                                                                                                                     $________________________________
 Logan Jarrett                                                        Contingent
 1719 Pennsylvania Avenue                                             Unliquidated
                                                                      Disputed
 Charleston, WV, 25302
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5168
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       51.95
                                                                                                                     $________________________________
 Logan McNeel                                                        Check all that apply.
 18374 Stillwood lane                                                 Contingent
                                                                      Unliquidated
 Flint, TX, 75762                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5169
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Logan Monroe                                                        Check all that apply.
                                                                                                                      70.47
                                                                                                                     $________________________________
 2072 Calle Contento                                                  Contingent
                                                                      Unliquidated
 Santa Fe, NM, 87505                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5170
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.98
                                                                                                                     $________________________________
 Logan Phillpott                                                     Check all that apply.
 600 Rolling Hills Drive, 1                                           Contingent
                                                                      Unliquidated
 Tahlequah, OK, 74464                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5171
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Logan Rojano                                                        Check all that apply.
                                                                                                                       464.96
                                                                                                                     $________________________________
 13843 Maidu Trail                                                    Contingent
                                                                      Unliquidated
 Penn Valley, CA, 95946                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1060 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5172
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.99
                                                                                                                     $________________________________
 Logan Tarutis                                                        Contingent
 2316 Creek Valley Circle                                             Unliquidated
                                                                      Disputed
 Monument, CO, 80132
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5173
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 LOK YEUNG                                                           Check all that apply.
 3008 OHARA PL                                                        Contingent
                                                                      Unliquidated
 OLNEY, MD, 20832                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5174
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Longqian Zheng                                                      Check all that apply.
                                                                                                                      58.29
                                                                                                                     $________________________________
 135 Bridlewood Way, Apt. C21                                         Contingent
                                                                      Unliquidated
 East York, PA, 17402                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5175
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Lonnie Mcintosh                                                     Check all that apply.
 11716 Beacon Court                                                   Contingent
                                                                      Unliquidated
 Louisville, KY, 40299                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5176
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Loren Cone                                                          Check all that apply.
                                                                                                                       59.74
                                                                                                                     $________________________________
 31 Guy Place, FRONT                                                  Contingent
                                                                      Unliquidated
 San Francisco, CA, 94105                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1061 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5177
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             55.10
                                                                                                                     $________________________________
 Lorena Govin                                                         Contingent
 1017 Flickerham Drive                                                Unliquidated
                                                                      Disputed
 Grand Ledge, MI, 48837
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5178
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       70.98
                                                                                                                     $________________________________
 Lorenzo Bolanos                                                     Check all that apply.
 1701 East D Street, 1012                                             Contingent
                                                                      Unliquidated
 Ontario, CA, 91764                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5179
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lorenzo Perez                                                       Check all that apply.
                                                                                                                      174.95
                                                                                                                     $________________________________
 286 Tobacco Road                                                     Contingent
                                                                      Unliquidated
 Willow spring, NC, 27592                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5180
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      179.99
                                                                                                                     $________________________________
 Lorenzo Soto                                                        Check all that apply.
 100 beach 131st street                                               Contingent
                                                                      Unliquidated
 Rockaway Park, NY, 11694                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5181
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Loretta Gontarek                                                    Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 2985 Marion st.                                                      Contingent
                                                                      Unliquidated
 ROSEVILLE, MN, 55113                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1062 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5182
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             101.94
                                                                                                                     $________________________________
 Loretta Reid                                                         Contingent
 264 Love Ave                                                         Unliquidated
                                                                      Disputed
 Mount Washington, KY, 40047-6201
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5183
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Loretta Watson                                                      Check all that apply.
 823 North 48th Avenue                                                Contingent
                                                                      Unliquidated
 Yakima, WA, 98908                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5184
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lori Carscallen                                                     Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 3209 S.E. 176th Pl.                                                  Contingent
                                                                      Unliquidated
 Portland, OR, 97236                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5185
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Lori Symons                                                         Check all that apply.
 2120 West Williams Street, 4J                                        Contingent
                                                                      Unliquidated
 Long Beach, CA, 90810                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5186
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lorl Lee                                                            Check all that apply.
                                                                                                                       212.98
                                                                                                                     $________________________________
 2733 Delaney Ct.                                                     Contingent
                                                                      Unliquidated
 Castro Valley, CA, 94546                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1063 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5187
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             78.74
                                                                                                                     $________________________________
 Lorne Hills                                                          Contingent
 1308 Main Street                                                     Unliquidated
                                                                      Disputed
 Relaince, WY, 82943
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5188
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       127.99
                                                                                                                     $________________________________
 Lorraine Stevenson                                                  Check all that apply.
 1514 IRONWOOD ST                                                     Contingent
                                                                      Unliquidated
 OROVILLE, WA, 98844                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5189
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 lorri maake                                                         Check all that apply.
                                                                                                                      10.00
                                                                                                                     $________________________________
 86 clinton ave                                                       Contingent
                                                                      Unliquidated
 montclair, NJ, 7042                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5190
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.53
                                                                                                                     $________________________________
 Lorrissa Kinchen                                                    Check all that apply.
 7349 Stone Bluff Drive                                               Contingent
                                                                      Unliquidated
 Douglasville, GA, 30134                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5191
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lou Gary                                                            Check all that apply.
                                                                                                                       129.99
                                                                                                                     $________________________________
 177 Manchester Road                                                  Contingent
                                                                      Unliquidated
 Schenectady, NY, 12304                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1064 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5192
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             69.30
                                                                                                                     $________________________________
 Lou Schmidt                                                          Contingent
 246 McClelland Avenue                                                Unliquidated
                                                                      Disputed
 Bellmawr, NJ, 8031
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5193
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       177.97
                                                                                                                     $________________________________
 Louie Prieto                                                        Check all that apply.
 411 Santa Mariana Ave.                                               Contingent
                                                                      Unliquidated
 La Puente, CA, 91746                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5194
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Louie Ybarra                                                        Check all that apply.
                                                                                                                      44.99
                                                                                                                     $________________________________
 1943 Wedgefield Drive                                                Contingent
                                                                      Unliquidated
 Eagle Pass, TX, 78852                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5195
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      93.56
                                                                                                                     $________________________________
 Louis Apodaca                                                       Check all that apply.
 711 South Lincoln st 80209                                           Contingent
                                                                      Unliquidated
 Denver, CO, 80209                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5196
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Louis Chan                                                          Check all that apply.
                                                                                                                       12.71
                                                                                                                     $________________________________
 11900 Skylark Road                                                   Contingent
                                                                      Unliquidated
 Clarksburg, MD, 20871                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5197
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             131.39
                                                                                                                     $________________________________
 Louis Gallal                                                         Contingent
 1218 Folkstone Ave                                                   Unliquidated
                                                                      Disputed
 Hacienda Heights, CA, 91745
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5198
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.92
                                                                                                                     $________________________________
 Louis Killeron Sewell                                               Check all that apply.
 902 North Onondaga Avenue                                            Contingent
                                                                      Unliquidated
 Anaheim, CA, 92801                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5199
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Louis Redpath                                                       Check all that apply.
                                                                                                                      45.99
                                                                                                                     $________________________________
 7521 SE Hacienda St                                                  Contingent
                                                                      Unliquidated
 Hillsboro, OR, 97123                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5200
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      192.98
                                                                                                                     $________________________________
 Louis Rodriguez                                                     Check all that apply.
 8472 S 3155 W                                                        Contingent
                                                                      Unliquidated
 West jordan, UT, 84088                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5201
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Louis Serafine                                                      Check all that apply.
                                                                                                                       15.89
                                                                                                                     $________________________________
 212 Hancock Ave                                                      Contingent
                                                                      Unliquidated
 East Norriton, PA, 19401                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5202
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             88.55
                                                                                                                     $________________________________
 Louis Wilkerson                                                      Contingent
 3010 Creekside Ct                                                    Unliquidated
                                                                      Disputed
 Warrington, PA, 18976-2439
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5203
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.99
                                                                                                                     $________________________________
 Lowell Hitchener                                                    Check all that apply.
 6414 Grey Fox Way                                                    Contingent
                                                                      Unliquidated
 Riverdale, GA, 30296                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5204
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lu Porter                                                           Check all that apply.
                                                                                                                      32.23
                                                                                                                     $________________________________
 9 Banneret Place                                                     Contingent
                                                                      Unliquidated
 Durham, NC, 27713                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5205
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.97
                                                                                                                     $________________________________
 Luca iannino                                                        Check all that apply.
 54 STEVENS ST                                                        Contingent
                                                                      Unliquidated
 ANDOVER, MA, 01810-3521                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5206
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lucas Alvarez Tobon                                                 Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 9148 Pershore Place                                                  Contingent
                                                                      Unliquidated
 Tamarac, FL, 33321                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5207
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             500.00
                                                                                                                     $________________________________
 Lucas Benjamin                                                       Contingent
 32 32nd Street                                                       Unliquidated
                                                                      Disputed
 Las pinas, MA, 1747
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5208
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.86
                                                                                                                     $________________________________
 Lucas Claverie-Berg?©                                               Check all that apply.
 12 Lancelot Drive                                                    Contingent
                                                                      Unliquidated
 Paxton, MA, 1612                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5209
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lucas Cruz                                                          Check all that apply.
                                                                                                                      209.86
                                                                                                                     $________________________________
 29804 Deer Run                                                       Contingent
                                                                      Unliquidated
 Farmington Hills, MI, 48331                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5210
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Lucas Garrett                                                       Check all that apply.
 2431 Travis court                                                    Contingent
                                                                      Unliquidated
 McKinleyville, CA, 95519                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5211
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lucas KAY                                                           Check all that apply.
                                                                                                                       26.10
                                                                                                                     $________________________________
 110 Carstensen Drive                                                 Contingent
                                                                      Unliquidated
 Scarsdale, NY, 10583                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1068 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5212
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             281.95
                                                                                                                     $________________________________
 Lucas Melby                                                          Contingent
 214 W Pleasant St                                                    Unliquidated
                                                                      Disputed
 Mankato, MN, 56001
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5213
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.88
                                                                                                                     $________________________________
 lucas Ochoa                                                         Check all that apply.
 9200 Swannanoa Trl                                                   Contingent
                                                                      Unliquidated
 Mechanicsville, VA, 23116                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5214
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lucas Purvis                                                        Check all that apply.
                                                                                                                      16.23
                                                                                                                     $________________________________
 11119 Alterra Pkwy, #1227                                            Contingent
                                                                      Unliquidated
 Austin, TX, 78758                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5215
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Lucas Turner                                                        Check all that apply.
 220 MAPLE LN, LOT 23                                                 Contingent
                                                                      Unliquidated
 GREEN SPRINGS, OH, 44836-9692                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5216
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luci Anderson                                                       Check all that apply.
                                                                                                                       35.26
                                                                                                                     $________________________________
 7637 W Peterson Ave                                                  Contingent
                                                                      Unliquidated
 Chicago, IL, 60631-2212                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1069 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5217
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.18
                                                                                                                     $________________________________
 Lucia Vasquez                                                        Contingent
 154 Homestead Pl                                                     Unliquidated
                                                                      Disputed
 Bogota, NJ, 7603
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5218
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       421.56
                                                                                                                     $________________________________
 Luciano Flores                                                      Check all that apply.
 3402 Earle Avenue                                                    Contingent
                                                                      Unliquidated
 Rosemead, CA, 91770                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5219
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luciano Perez                                                       Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 74 Sleepy Hollow Rd                                                  Contingent
                                                                      Unliquidated
 New Canaan, CT, 6840                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5220
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.63
                                                                                                                     $________________________________
 LUCINDA COOKE                                                       Check all that apply.
 332 W 600 N                                                          Contingent
                                                                      Unliquidated
 salt Lake city, UT, 84103                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5221
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 LUCIO FRIAS                                                         Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 5844 Woodsway Dr                                                     Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45236                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5222
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             89.94
                                                                                                                     $________________________________
 Lucy Clark                                                           Contingent
 7346 South 300 East                                                  Unliquidated
                                                                      Disputed
 Midvale, UT, 84047
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5223
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Lucy Rios                                                           Check all that apply.
 865 Provincetown Drive                                               Contingent
                                                                      Unliquidated
 Salinas, CA, 93906                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5224
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Looez                                                          Check all that apply.
                                                                                                                      27.05
                                                                                                                     $________________________________
 11651 Evesborough Dr                                                 Contingent
                                                                      Unliquidated
 Houston, TX, 77099                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5225
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      111.97
                                                                                                                     $________________________________
 Luis Parra                                                          Check all that apply.
 11895 Firebrand Circle                                               Contingent
                                                                      Unliquidated
 Garden Grove, CA, 92840                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5226
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis A Burgos                                                       Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 3429 South Central Avenue                                            Contingent
                                                                      Unliquidated
 Cicero, IL, 60804                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5227
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.92
                                                                                                                     $________________________________
 Luis Aguirre                                                         Contingent
 612 Lakewood Way                                                     Unliquidated
                                                                      Disputed
 Upland, CA, 91786
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5228
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       146.13
                                                                                                                     $________________________________
 Luis Alanis                                                         Check all that apply.
 4700 Staggerbrush Road, Apt 528                                      Contingent
                                                                      Unliquidated
 Austin, TX, 78749                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5229
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Alberto Ortiz                                                  Check all that apply.
                                                                                                                      33.99
                                                                                                                     $________________________________
 Paseo 10 #195 Alturas De Bayamon                                     Contingent
                                                                      Unliquidated
 Bayamon, PR, 956                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5230
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.05
                                                                                                                     $________________________________
 luis andrade                                                        Check all that apply.
 9859 Kenton Cir. , Kenton Cir.                                       Contingent
                                                                      Unliquidated
 Commerce Ciry, CO, 80022                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5231
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Arroyo                                                         Check all that apply.
                                                                                                                       27.98
                                                                                                                     $________________________________
 1461 32nd Ave                                                        Contingent
                                                                      Unliquidated
 Columbus, NE, 68601                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1072 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5232
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.39
                                                                                                                     $________________________________
 Luis Artica                                                          Contingent
 1033 Island Manor Dr                                                 Unliquidated
                                                                      Disputed
 Greenacres, FL, 33413
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5233
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.23
                                                                                                                     $________________________________
 Luis Brock                                                          Check all that apply.
 5157 Groveland Drive, APT 8                                          Contingent
                                                                      Unliquidated
 San Diego, CA, 92114                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5234
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Cantu                                                          Check all that apply.
                                                                                                                      86.59
                                                                                                                     $________________________________
 9902 Brookview Dr                                                    Contingent
                                                                      Unliquidated
 La Porte, TX, 77571-8605                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5235
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      407.01
                                                                                                                     $________________________________
 Luis Corrales                                                       Check all that apply.
 3101 N Midland Dr, Apt 900                                           Contingent
                                                                      Unliquidated
 Midland, TX, 79707                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5236
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Diaz                                                           Check all that apply.
                                                                                                                       259.78
                                                                                                                     $________________________________
 4832 Maureen Circle                                                  Contingent
                                                                      Unliquidated
 El Paso, TX, 79924                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1073 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5237
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             60.63
                                                                                                                     $________________________________
 Luis Felix                                                           Contingent
 37702 CHRISTENSEN CT                                                 Unliquidated
                                                                      Disputed
 Palmdale, CA, 93552
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5238
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.49
                                                                                                                     $________________________________
 Luis Fernandes                                                      Check all that apply.
 17 bell tower ln                                                     Contingent
                                                                      Unliquidated
 Charles town, WV, 25414                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5239
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Garcia                                                         Check all that apply.
                                                                                                                      140.71
                                                                                                                     $________________________________
 1000 Glazier Cir                                                     Contingent
                                                                      Unliquidated
 Austin, TX, 78753                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5240
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Luis Garcia                                                         Check all that apply.
 1959 Gwen Ct                                                         Contingent
                                                                      Unliquidated
 Conroe, TX, 77303                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5241
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Garcia                                                         Check all that apply.
                                                                                                                       81.99
                                                                                                                     $________________________________
 643 South Encina Avenue                                              Contingent
                                                                      Unliquidated
 Rialto, CA, 92376                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1074 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5242
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.63
                                                                                                                     $________________________________
 Luis Garnelo                                                         Contingent
 10032 Evergreen Ct N                                                 Unliquidated
                                                                      Disputed
 Brooklyn Park, MN, 55443-1577
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5243
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       89.87
                                                                                                                     $________________________________
 Luis Hernandez                                                      Check all that apply.
 562 Plantation Creek Drive                                           Contingent
                                                                      Unliquidated
 Boiling Springs, SC, 29316                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5244
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Huamani Abrigo                                                 Check all that apply.
                                                                                                                      131.96
                                                                                                                     $________________________________
 7341 NW 34TH ST                                                      Contingent
                                                                      Unliquidated
 Miami, FL, 33122                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5245
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.97
                                                                                                                     $________________________________
 Luis Jasso                                                          Check all that apply.
 424 Thornton Rd, Apt 7                                               Contingent
                                                                      Unliquidated
 Houston, TX, 77018                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5246
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Jorge Rodriguez Bravo                                          Check all that apply.
                                                                                                                       110.98
                                                                                                                     $________________________________
 124 Santa Rosa Drive                                                 Contingent
                                                                      Unliquidated
 San Jose, CA, 95111                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1075 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5247
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             169.99
                                                                                                                     $________________________________
 Luis Marrero                                                         Contingent
 C-20 Camino De Dalias Urb. Enramada                                  Unliquidated
                                                                      Disputed
 Bayamon, PR, 961
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5248
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       400.89
                                                                                                                     $________________________________
 Luis Menendez                                                       Check all that apply.
 115 Golfside Circle                                                  Contingent
                                                                      Unliquidated
 Sanford, FL, 32773                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5249
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Minez                                                          Check all that apply.
                                                                                                                      11.90
                                                                                                                     $________________________________
 726 South Texas Avenue                                               Contingent
                                                                      Unliquidated
 Mercedes, TX, 78570                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5250
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.43
                                                                                                                     $________________________________
 Luis Montoya                                                        Check all that apply.
 1253 East 13th Street                                                Contingent
                                                                      Unliquidated
 Des Moines, IA, 50316                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5251
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Morales                                                        Check all that apply.
                                                                                                                       31.99
                                                                                                                     $________________________________
 14172 Chagall Lane                                                   Contingent
                                                                      Unliquidated
 Fontana, CA, 92335                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1076 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5252
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.88
                                                                                                                     $________________________________
 Luis Morales                                                         Contingent
 4606 Helen st                                                        Unliquidated
                                                                      Disputed
 Corpus Christi, TX, 78415-1644
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5253
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       18.73
                                                                                                                     $________________________________
 Luis Orellana                                                       Check all that apply.
 915 Roswell Avenue                                                   Contingent
                                                                      Unliquidated
 Long Beach, CA, 90804                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5254
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Otero                                                          Check all that apply.
                                                                                                                      32.97
                                                                                                                     $________________________________
 9034 182nd Street                                                    Contingent
                                                                      Unliquidated
 HOLLIS, NY, 11423                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5255
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      465.46
                                                                                                                     $________________________________
 Luis Pantoja                                                        Check all that apply.
 3530 Chamois Ln                                                      Contingent
                                                                      Unliquidated
 El Paso, TX, 79938                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5256
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Quaresma                                                       Check all that apply.
                                                                                                                       16.40
                                                                                                                     $________________________________
 3223 Vesuvius Lane                                                   Contingent
                                                                      Unliquidated
 San Jose, CA, 95132                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1077 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5257
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 Luis Robles                                                          Contingent
 785 Northeast 16th Avenue                                            Unliquidated
                                                                      Disputed
 Canby, OR, 97013
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5258
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.97
                                                                                                                     $________________________________
 Luis San Juan                                                       Check all that apply.
 10 Arlington Street                                                  Contingent
                                                                      Unliquidated
 Ladera Ranch, CA, 92694                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5259
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Sanchez                                                        Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 367 Whitfill Road                                                    Contingent
                                                                      Unliquidated
 Ennis, TX, 75119                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5260
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Luis Sandoval                                                       Check all that apply.
 18061 E Santa Clara Ave                                              Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92705                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5261
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luis Soto                                                           Check all that apply.
                                                                                                                       77.99
                                                                                                                     $________________________________
 9643 Mallison Avenue Apartment D                                     Contingent
                                                                      Unliquidated
 South Gate, CA, 90280                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor           _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5262
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             286.61
                                                                                                                      $________________________________
 Luis Torres                                                           Contingent
 4937 S. Marshfield Ave.                                               Unliquidated
                                                                       Disputed
 Chicago, IL, 60609-4827
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  5263
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        13.16
                                                                                                                      $________________________________
 Luis Torres                                                          Check all that apply.
 724 Spike Trail                                                       Contingent
                                                                       Unliquidated
 Murfreesboro, TN, 37129                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  5264
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Luis Vargas Ruiz                                                     Check all that apply.
                                                                                                                       52.99
                                                                                                                      $________________________________
 PO Box 41                                                             Contingent
                                                                       Unliquidated
 Verona, MO, 65769                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  5265
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                      $________________________________
 Luis...A Diaz                                                        Check all that apply.
 9546 e 57th ter                                                       Contingent
                                                                       Unliquidated
 Raytown, MO, 64133                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  5266
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Luka Avgustin                                                        Check all that apply.
                                                                                                                        52.99
                                                                                                                      $________________________________
 2862 Arabian Court                                                    Contingent
                                                                       Unliquidated
 Mareitta, GA, 30062                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1079 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5267
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             134.99
                                                                                                                     $________________________________
 Luke DeBoer                                                          Contingent
 14310 Grant Street, Apartment 11-207                                 Unliquidated
                                                                      Disputed
 Thornton, CO, 80023
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5268
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       48.87
                                                                                                                     $________________________________
 Luke Macdonald                                                      Check all that apply.
 18 Cherry Wood Dr                                                    Contingent
                                                                      Unliquidated
 Ellington, CT, 6029                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5269
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luke Marcum                                                         Check all that apply.
                                                                                                                      47.07
                                                                                                                     $________________________________
 512 Garner Drive                                                     Contingent
                                                                      Unliquidated
 Salisbury, NC, 28146                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5270
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.65
                                                                                                                     $________________________________
 Luke Miguel Guevarra                                                Check all that apply.
 4415 Toland Pl                                                       Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90041                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5271
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luke Miller                                                         Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 13326 Birch Circle                                                   Contingent
                                                                      Unliquidated
 Thornton, CO, 80241                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1080 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5272
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             76.97
                                                                                                                     $________________________________
 Luke Naubert                                                         Contingent
 9708 cosmos ave                                                      Unliquidated
                                                                      Disputed
 El Paso, TX, 79925
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5273
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       370.22
                                                                                                                     $________________________________
 Luna Soeiro                                                         Check all that apply.
 1377 Clarete Ct                                                      Contingent
                                                                      Unliquidated
 Tulare, CA, 93274                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5274
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lundin Cahill                                                       Check all that apply.
                                                                                                                      119.20
                                                                                                                     $________________________________
 107 East J Street                                                    Contingent
                                                                      Unliquidated
 Benicia, CA, 94510                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5275
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      101.94
                                                                                                                     $________________________________
 Luong On                                                            Check all that apply.
 483 Landeros Drive                                                   Contingent
                                                                      Unliquidated
 San Mateo, CA, 94403                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5276
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lupe Lopez                                                          Check all that apply.
                                                                                                                       145.97
                                                                                                                     $________________________________
 36427 Ironhorse Dr                                                   Contingent
                                                                      Unliquidated
 Palmdale, CA, 93550                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1081 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5277
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.99
                                                                                                                     $________________________________
 Luther Solon                                                         Contingent
 4462 Stevely Avenue                                                  Unliquidated
                                                                      Disputed
 Lakewood, CA, 90713
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5278
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       46.90
                                                                                                                     $________________________________
 Luz Camacho                                                         Check all that apply.
 821 Anna St                                                          Contingent
                                                                      Unliquidated
 Elizabeth, NJ, 07201-1901                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5279
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Luz Gomez                                                           Check all that apply.
                                                                                                                      12.98
                                                                                                                     $________________________________
 1130 Bedford Street                                                  Contingent
                                                                      Unliquidated
 Santa Paula, CA, 93060                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5280
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.23
                                                                                                                     $________________________________
 Luz Jimenez                                                         Check all that apply.
 45043 Sancroft Avenue                                                Contingent
                                                                      Unliquidated
 Lancaster, CA, 93535                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5281
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lydia key                                                           Check all that apply.
                                                                                                                       95.99
                                                                                                                     $________________________________
 45605 3rd Infantry Road                                              Contingent
                                                                      Unliquidated
 El Paso, TX, 79904                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1082 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5282
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             84.98
                                                                                                                     $________________________________
 Lydia Calderon                                                       Contingent
 2815 S 127th St                                                      Unliquidated
                                                                      Disputed
 Seattle, WA, 98168
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5283
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.15
                                                                                                                     $________________________________
 Lydia Chang                                                         Check all that apply.
 17869 E Louisiana Ave                                                Contingent
                                                                      Unliquidated
 AURORA, CO, 80017                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5284
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lydianise A Saldana                                                 Check all that apply.
                                                                                                                      84.99
                                                                                                                     $________________________________
 1307 Zephyr Road                                                     Contingent
                                                                      Unliquidated
 Killeen, TX, 76541                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5285
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      136.68
                                                                                                                     $________________________________
 Lylybel Deloya                                                      Check all that apply.
 629 Edgebrook Terrace                                                Contingent
                                                                      Unliquidated
 Elgin, IL, 60120                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5286
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lynette Mondiello                                                   Check all that apply.
                                                                                                                       109.98
                                                                                                                     $________________________________
 213 lynbrook street                                                  Contingent
                                                                      Unliquidated
 Islip terrace, NY, 11752                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1083 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5287
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.99
                                                                                                                     $________________________________
 Lynette Vega                                                         Contingent
 5435 E Street                                                        Unliquidated
                                                                      Disputed
 Springfield, OR, 97478
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5288
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Lynn Minchew                                                        Check all that apply.
 481 Bartlett RD NE                                                   Contingent
                                                                      Unliquidated
 Pikeville, NC, 27863                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5289
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lynne Guarini                                                       Check all that apply.
                                                                                                                      159.98
                                                                                                                     $________________________________
 69-15 Metropolitan Avenue, Apt 1R                                    Contingent
                                                                      Unliquidated
 Middle Village, NY, 11379                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5290
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      257.99
                                                                                                                     $________________________________
 Lynnette Franklin                                                   Check all that apply.
 31 Edgemont Street                                                   Contingent
                                                                      Unliquidated
 Boston, MA, 2131                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5291
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lynnsey Puahala                                                     Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 99-945 Kalamoho Pl                                                   Contingent
                                                                      Unliquidated
 Aiea, HI, 96701                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1084 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5292
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.49
                                                                                                                     $________________________________
 Lynsey Baker                                                         Contingent
 611 Innes Street Northeast, Apt 1                                    Unliquidated
                                                                      Disputed
 Grand Rapids, MI, 49503
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5293
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       79.49
                                                                                                                     $________________________________
 M Cristina McGuire                                                  Check all that apply.
 1077 Brandy Lane                                                     Contingent
                                                                      Unliquidated
 Richmond, KY, 40475                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5294
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 M Lara Telli                                                        Check all that apply.
                                                                                                                      15.99
                                                                                                                     $________________________________
 1931 Hyacinth Avenue East                                            Contingent
                                                                      Unliquidated
 Saint Paul, MN, 55119                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5295
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      133.60
                                                                                                                     $________________________________
 m low                                                               Check all that apply.
 2426 Vista Nobleza                                                   Contingent
                                                                      Unliquidated
 Newport Beach, CA, 92660                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5296
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mach                                                                Check all that apply.
                                                                                                                       219.99
                                                                                                                     $________________________________
 19110 olimpia ln                                                     Contingent
                                                                      Unliquidated
 Lebanon, MO, 65536                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor           _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5297
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             68.47
                                                                                                                      $________________________________
 machaela kirchner                                                     Contingent
 4108 G Ave                                                            Unliquidated
                                                                       Disputed
 Kearney, NE, 68847
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  5298
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        74.87
                                                                                                                      $________________________________
 Macharely Martinez                                                   Check all that apply.
 2125 20th Street                                                      Contingent
                                                                       Unliquidated
 Zion, IL, 60099                                                       Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  5299
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Mackenzie Longval-Knudson                                            Check all that apply.
                                                                                                                       12.99
                                                                                                                      $________________________________
 18 Jacobs Drive                                                       Contingent
                                                                       Unliquidated
 Rochester , NH, 3867                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  5300
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       65.98
                                                                                                                      $________________________________
 Mackie Inthavong                                                     Check all that apply.
 126 Naomi Drive                                                       Contingent
                                                                       Unliquidated
 Stockbridge, GA, 30281                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  5301
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Maddie Fox                                                           Check all that apply.
                                                                                                                        31.79
                                                                                                                      $________________________________
 2543 claude dr                                                        Contingent
                                                                       Unliquidated
 Bay city, MI, 48708                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



    Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1086 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5302
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Maddy Ablan                                                          Contingent
 3124 W Logan Blvd Apt. G                                             Unliquidated
                                                                      Disputed
 Chicago, IL, 60647
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5303
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       76.97
                                                                                                                     $________________________________
 maddy Mullins                                                       Check all that apply.
 9337 Meetze Road                                                     Contingent
                                                                      Unliquidated
 Midland, VA, 22728                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5304
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maddy Potesta                                                       Check all that apply.
                                                                                                                      27.99
                                                                                                                     $________________________________
 12149 Lasselle Street                                                Contingent
                                                                      Unliquidated
 Moreno Valley, CA, 92557                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5305
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      40.65
                                                                                                                     $________________________________
 Madeline Beanard                                                    Check all that apply.
 130 Whaler Avenue                                                    Contingent
                                                                      Unliquidated
 Summerville, SC, 29483                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5306
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Madeline Dodson                                                     Check all that apply.
                                                                                                                       142.96
                                                                                                                     $________________________________
 1113 Deep Hollow Ct.                                                 Contingent
                                                                      Unliquidated
 Waxhaw, NC, 28173                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1087 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5307
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Madelyn Morales                                                      Contingent
 121 N MCCLAY ST, APT H                                               Unliquidated
                                                                      Disputed
 SANTA ANA, CA, 92701
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5308
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Madelyn Stoetzel                                                    Check all that apply.
 623 Carefree Drive                                                   Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45244                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5309
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Madi Roush                                                          Check all that apply.
                                                                                                                      33.99
                                                                                                                     $________________________________
 1804 NW 174th St                                                     Contingent
                                                                      Unliquidated
 Edmond, OK, 73012                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5310
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.84
                                                                                                                     $________________________________
 Madison Chin                                                        Check all that apply.
 132 Buttonwood Drive                                                 Contingent
                                                                      Unliquidated
 Piscataway, NJ, 8854                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5311
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 madison derby                                                       Check all that apply.
                                                                                                                       45.45
                                                                                                                     $________________________________
 100 Gatewood Bay                                                     Contingent
                                                                      Unliquidated
 Cibolo, TX, 78108                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1088 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5312
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.96
                                                                                                                     $________________________________
 Madison Dunn                                                         Contingent
 22928 165th Ave SE                                                   Unliquidated
                                                                      Disputed
 Monroe, WA, 98272
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5313
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       84.91
                                                                                                                     $________________________________
 Madison McCain                                                      Check all that apply.
 430 East Lane Avenue                                                 Contingent
                                                                      Unliquidated
 Columbus, OH, 43201                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5314
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Madison Miller                                                      Check all that apply.
                                                                                                                      69.98
                                                                                                                     $________________________________
 10425 Hanover Rd                                                     Contingent
                                                                      Unliquidated
 Forestville, NY, 14062                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5315
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.92
                                                                                                                     $________________________________
 Madison Reddington                                                  Check all that apply.
 4440 Muir Ave                                                        Contingent
                                                                      Unliquidated
 San Diego, CA, 92107                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5316
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Madison Warren                                                      Check all that apply.
                                                                                                                       27.27
                                                                                                                     $________________________________
 5319 Nw Sterling Chase Dr                                            Contingent
                                                                      Unliquidated
 Topeka, KS, 66618                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1089 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5317
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Madison Wright                                                       Contingent
 908 Muirfield Drive                                                  Unliquidated
                                                                      Disputed
 Mansfield, TX, 76063
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5318
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.03
                                                                                                                     $________________________________
 Magdiel Guzman                                                      Check all that apply.
 718 S GARFIELD ST                                                    Contingent
                                                                      Unliquidated
 KENNEWICK, WA, 99336                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5319
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maggie Gasso                                                        Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 333 Northeast Scenic Drive                                           Contingent
                                                                      Unliquidated
 Grants Pass, OR, 97526                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5320
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 maggie smith                                                        Check all that apply.
 41 Fuller Street                                                     Contingent
                                                                      Unliquidated
 Middleborough, MA, 2346                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5321
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Magnus McConnell                                                    Check all that apply.
                                                                                                                       16.37
                                                                                                                     $________________________________
 238 Beverly Drive                                                    Contingent
                                                                      Unliquidated
 Metairie, LA, 70001                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1090 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5322
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.34
                                                                                                                     $________________________________
 Mahogany Moore                                                       Contingent
 3620 Webster Ave, 7G                                                 Unliquidated
                                                                      Disputed
 Bronx, NY, 10467
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5323
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Mai Miller                                                          Check all that apply.
 2101 W Warm Springs Rd, Apt 3527                                     Contingent
                                                                      Unliquidated
 Henderson, NV, 89014                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5324
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mai Vang                                                            Check all that apply.
                                                                                                                      37.99
                                                                                                                     $________________________________
 1969 Montana Ave                                                     Contingent
                                                                      Unliquidated
 St Paul, MN, 55119                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5325
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Mai Vang                                                            Check all that apply.
 2408 125th Pl SE                                                     Contingent
                                                                      Unliquidated
 Everett, WA, 98208-6641                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5326
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maia Layo                                                           Check all that apply.
                                                                                                                       26.27
                                                                                                                     $________________________________
 1728 Apex Avenue                                                     Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90026                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1091 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5327
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Maisara Chowdhury                                                    Contingent
 4765 Fieldcrest Place Cir                                            Unliquidated
                                                                      Disputed
 Newburgh, IN, 47630
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5328
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.36
                                                                                                                     $________________________________
 Maitray Shah                                                        Check all that apply.
 1190 Seaside Way                                                     Contingent
                                                                      Unliquidated
 Milpitas, CA, 95035                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5329
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Makayla Castanon                                                    Check all that apply.
                                                                                                                      314.97
                                                                                                                     $________________________________
 1350 BUCKINGHAM WAY APT. 36                                          Contingent
                                                                      Unliquidated
 STOCKTON, CA, 95207                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5330
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.00
                                                                                                                     $________________________________
 Makayla Chipman                                                     Check all that apply.
 9117 Orangevale avenue                                               Contingent
                                                                      Unliquidated
 Sacramento, CA, 95662                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5331
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Makayla Rubidoux                                                    Check all that apply.
                                                                                                                       25.88
                                                                                                                     $________________________________
 8908 Round Rock Rd SW                                                Contingent
                                                                      Unliquidated
 Albuquerque, NM, 87121                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1092 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5332
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.95
                                                                                                                     $________________________________
 Makayla Skjefte                                                      Contingent
 4017 Natchez S Ave                                                   Unliquidated
                                                                      Disputed
 Minneapolis, MN, 55416-5050
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5333
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       128.39
                                                                                                                     $________________________________
 Makela, sami                                                        Check all that apply.
 1106 N K St                                                          Contingent
                                                                      Unliquidated
 Lake Worth Beach, FL, 33460                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5334
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maki Thomason                                                       Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 1628 8th Street                                                      Contingent
                                                                      Unliquidated
 Berkeley, CA, 94710                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5335
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      163.85
                                                                                                                     $________________________________
 MALCOLM DOUGAN                                                      Check all that apply.
 6976 Ellicott Court                                                  Contingent
                                                                      Unliquidated
 Jurupa Valley, CA, 91752                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5336
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Malcolm McCanles                                                    Check all that apply.
                                                                                                                       26.36
                                                                                                                     $________________________________
 142 North Hancock Street                                             Contingent
                                                                      Unliquidated
 Madison, WI, 53703                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1093 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5337
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.66
                                                                                                                     $________________________________
 Maleficent Clevenger                                                 Contingent
 4016 Canyon Loop                                                     Unliquidated
                                                                      Disputed
 Flagstaff, AZ, 86005
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5338
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.26
                                                                                                                     $________________________________
 Malena Hampton                                                      Check all that apply.
 15509 NE 28th St                                                     Contingent
                                                                      Unliquidated
 Vancouver, WA, 98682                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5339
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Malia Young                                                         Check all that apply.
                                                                                                                      142.95
                                                                                                                     $________________________________
 6790 Duncan Ct                                                       Contingent
                                                                      Unliquidated
 Timnath, CO, 80547                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5340
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.55
                                                                                                                     $________________________________
 Malik Harvey                                                        Check all that apply.
 2102 Sidney Avenue                                                   Contingent
                                                                      Unliquidated
 Baltimore, MD, 21230                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5341
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Malik Kalonji                                                       Check all that apply.
                                                                                                                       24.98
                                                                                                                     $________________________________
 220 S 6th Str. Apt# 115                                              Contingent
                                                                      Unliquidated
 Cottonwood, AZ, 86326                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5342
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             433.92
                                                                                                                     $________________________________
 Malik Rucker                                                         Contingent
 2851 Lancer Avenue                                                   Unliquidated
                                                                      Disputed
 Pomona, CA, 91768
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5343
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.49
                                                                                                                     $________________________________
 Mallory Bruno                                                       Check all that apply.
 1640 Branham Lane, Unit G                                            Contingent
                                                                      Unliquidated
 San Jose, CA, 95118                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5344
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Manda Moore                                                         Check all that apply.
                                                                                                                      35.30
                                                                                                                     $________________________________
 2220 Waverly CT                                                      Contingent
                                                                      Unliquidated
 Navarre, FL, 32566                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5345
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.43
                                                                                                                     $________________________________
 Mandy Welborn                                                       Check all that apply.
 1416 200th ST CT E                                                   Contingent
                                                                      Unliquidated
 Spanaway, WA, 98387                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5346
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Manny Herrera                                                       Check all that apply.
                                                                                                                       44.08
                                                                                                                     $________________________________
 10292 Ben Hur Avenue                                                 Contingent
                                                                      Unliquidated
 Whittier, CA, 90605                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5347
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Manoj Sundar Sundar                                                  Contingent
 1415 140th Avenue Northeast, 67                                      Unliquidated
                                                                      Disputed
 Bellevue, WA, 98005
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5348
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       152.95
                                                                                                                     $________________________________
 Manolo Gomez                                                        Check all that apply.
 1107 S 5th St                                                        Contingent
                                                                      Unliquidated
 Effingham, IL, 62401-2734                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5349
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MANUEL AQUINO                                                       Check all that apply.
                                                                                                                      7.60
                                                                                                                     $________________________________
 4295 East Mexico Avenue, Apt. 608                                    Contingent
                                                                      Unliquidated
 Denver, CO, 80222                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5350
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      97.98
                                                                                                                     $________________________________
 Manuel Becerra                                                      Check all that apply.
 1 Alexander Street, 720C                                             Contingent
                                                                      Unliquidated
 Yonkers, NY, 10701                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5351
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Manuel Carrillo                                                     Check all that apply.
                                                                                                                       131.97
                                                                                                                     $________________________________
 1284 Red Sea Ave                                                     Contingent
                                                                      Unliquidated
 Thermal, CA, 92274                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5352
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.60
                                                                                                                     $________________________________
 Manuel Cruz                                                          Contingent
 4806 Arrowhead Trail                                                 Unliquidated
                                                                      Disputed
 Chattanooga, TN, 37411
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5353
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.99
                                                                                                                     $________________________________
 Manuel De Los Reyes                                                 Check all that apply.
 35 West Barstow Avenue, 104                                          Contingent
                                                                      Unliquidated
 Clovis, CA, 93612                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5354
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Manuel Garibay                                                      Check all that apply.
                                                                                                                      169.99
                                                                                                                     $________________________________
 2024 41st Ave NE                                                     Contingent
                                                                      Unliquidated
 Salem, OR, 97305-1801                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5355
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.49
                                                                                                                     $________________________________
 Manuel Jurado                                                       Check all that apply.
 1648 32nd Street Southeast                                           Contingent
                                                                      Unliquidated
 Rio Rancho, NM, 87124                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5356
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Manuel Lucero                                                       Check all that apply.
                                                                                                                       49.99
                                                                                                                     $________________________________
 2616 pine st                                                         Contingent
                                                                      Unliquidated
 Pueblo, CO, 81004                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                           Document Page 1097 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5357
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             63.96
                                                                                                                     $________________________________
 manuel martinez                                                      Contingent
 15140 san jose ave                                                   Unliquidated
                                                                      Disputed
 Paramount, CA, 90723
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5358
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       104.96
                                                                                                                     $________________________________
 Manuel Montano                                                      Check all that apply.
 218 f st 1836                                                        Contingent
                                                                      Unliquidated
 San luis, AZ, 85349                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5359
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Manuel Quintana Pineda                                              Check all that apply.
                                                                                                                      13.90
                                                                                                                     $________________________________
 5256 West 24th Court                                                 Contingent
                                                                      Unliquidated
 Hialeah, FL, 33016                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5360
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      164.95
                                                                                                                     $________________________________
 Manuel Rios                                                         Check all that apply.
 HC 33 Box 3069                                                       Contingent
                                                                      Unliquidated
 Dorado, PR, 00646-9711                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5361
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Manuel Vazquez-Fernandez                                            Check all that apply.
                                                                                                                       45.99
                                                                                                                     $________________________________
 10297 Northwest 57th Terrace                                         Contingent
                                                                      Unliquidated
 Doral, FL, 33178                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5362
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             63.98
                                                                                                                     $________________________________
 Manzhao Chen                                                         Contingent
 3801 14th Street, Apt 801                                            Unliquidated
                                                                      Disputed
 Plano, TX, 75074
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5363
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       106.98
                                                                                                                     $________________________________
 Marangeline Perez                                                   Check all that apply.
 2260 Barker ave 1c                                                   Contingent
                                                                      Unliquidated
 bronx, NY, 10467                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5364
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marc Brumm                                                          Check all that apply.
                                                                                                                      25.98
                                                                                                                     $________________________________
 7819 N 20th Gln                                                      Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85021                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5365
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Marc Catalano                                                       Check all that apply.
 20 Rocky Ledge Drive                                                 Contingent
                                                                      Unliquidated
 Madison, CT, 6443                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5366
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marc Luce                                                           Check all that apply.
                                                                                                                       31.79
                                                                                                                     $________________________________
 18823 5 Points St                                                    Contingent
                                                                      Unliquidated
 Redford, MI, 48240                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5367
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5.99
                                                                                                                     $________________________________
 Marc Marconi                                                         Contingent
 916 Camino La Paz                                                    Unliquidated
                                                                      Disputed
 Chula Vista, CA, 91910
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5368
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.31
                                                                                                                     $________________________________
 Marc Naranjo                                                        Check all that apply.
 871 Circle Avenue                                                    Contingent
                                                                      Unliquidated
 Franklin Lakes, NJ, 7417                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5369
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marc Rutherford                                                     Check all that apply.
                                                                                                                      170.98
                                                                                                                     $________________________________
 7403 Copper Cove                                                     Contingent
                                                                      Unliquidated
 Converse, TX, 78109                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5370
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.50
                                                                                                                     $________________________________
 Marc Spadaccini                                                     Check all that apply.
 27 Moulton Avenue, 27 Moulton Ave                                    Contingent
                                                                      Unliquidated
 Dobbs Ferry, NY, 10522-1524                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5371
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marc zahler                                                         Check all that apply.
                                                                                                                       74.97
                                                                                                                     $________________________________
 13790 hidalgo st                                                     Contingent
                                                                      Unliquidated
 Desert Hot Springs, CA, 92240                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1100 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5372
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.05
                                                                                                                     $________________________________
 Marcela Perez                                                        Contingent
 16414 stuebner airline rd, Apt 1009                                  Unliquidated
                                                                      Disputed
 Spring, TX, 77379-7369
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5373
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       86.59
                                                                                                                     $________________________________
 Marcela Torres                                                      Check all that apply.
 10530 Varmus Drive                                                   Contingent
                                                                      Unliquidated
 Converse, TX, 78109                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5374
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marcella Angelicchio                                                Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 6731 Johnson Mill Road                                               Contingent
                                                                      Unliquidated
 Durham, NC, 27712                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5375
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.97
                                                                                                                     $________________________________
 Marcello Taylor                                                     Check all that apply.
 4913 78th Avenue                                                     Contingent
                                                                      Unliquidated
 Hyattsville, MD, 20784                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5376
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marcelo Ormond                                                      Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 23053 Old Inlet Bridge Drive                                         Contingent
                                                                      Unliquidated
 Boca Raton, FL, 33433                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5377
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Marci Aguirre                                                        Contingent
 7890 Alhambra Dr, Apt 6                                              Unliquidated
                                                                      Disputed
 Huntington Beach, CA, 92647-4689
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5378
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       109.99
                                                                                                                     $________________________________
 Marci Etzel                                                         Check all that apply.
 9605 Overton Drive                                                   Contingent
                                                                      Unliquidated
 Laurel, MD, 20723                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5379
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marcie Nelson                                                       Check all that apply.
                                                                                                                      35.38
                                                                                                                     $________________________________
 713 W Jefferson Ln                                                   Contingent
                                                                      Unliquidated
 Sandy, UT, 84070                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5380
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.08
                                                                                                                     $________________________________
 Marck Fleites                                                       Check all that apply.
 430 21st Court Southwest                                             Contingent
                                                                      Unliquidated
 Vero Beach, FL, 32962                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5381
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marco Antonio Castro Ulloa                                          Check all that apply.
                                                                                                                       108.98
                                                                                                                     $________________________________
 San Jose, Desamparados, Gravilias, Gravilias de                      Contingent
 Desamparados 400 metros este de la Escuela                           Unliquidated
 las Gravilias, casa #60                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits
 San Jose, 10312


         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1102 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5382
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             55.63
                                                                                                                     $________________________________
 Marco Antonio Dominguez Cid                                          Contingent
 130 Southwest 53rd Court                                             Unliquidated
                                                                      Disputed
 Coral Gables, FL, 33134
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5383
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.05
                                                                                                                     $________________________________
 Marco Badillo                                                       Check all that apply.
 1605 Townsend Avenue, 3B                                             Contingent
                                                                      Unliquidated
 Bronx, NY, 10452                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5384
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marco Castro                                                        Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 3655 W San Jose Ave, Apt 102                                         Contingent
                                                                      Unliquidated
 Fresno, CA, 93711                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5385
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      53.99
                                                                                                                     $________________________________
 Marco Cruz                                                          Check all that apply.
 69-16 164th st, APT 1F                                               Contingent
                                                                      Unliquidated
 Fresh Meadows, NY, 11365                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5386
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marco Flores                                                        Check all that apply.
                                                                                                                       86.95
                                                                                                                     $________________________________
 305 North Quincy Place                                               Contingent
                                                                      Unliquidated
 Kennewick, WA, 99336                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1103 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5387
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.99
                                                                                                                     $________________________________
 Marco Garcia                                                         Contingent
 218 south street                                                     Unliquidated
                                                                      Disputed
 Hanford, CA, 93230
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5388
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Marco Gazcon                                                        Check all that apply.
 3026 S Sheridan Blvd                                                 Contingent
                                                                      Unliquidated
 Denver, CO, 80227                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5389
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 marco hernandez                                                     Check all that apply.
                                                                                                                      37.87
                                                                                                                     $________________________________
 2908 pino seco pl.                                                   Contingent
                                                                      Unliquidated
 el paso, TX, 79938                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5390
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      67.99
                                                                                                                     $________________________________
 Marco Morales Carballo                                              Check all that apply.
 1 Aeropost Way, SJO-83208                                            Contingent
                                                                      Unliquidated
 Miami, FL, 33206-3206                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5391
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marco Plascencia                                                    Check all that apply.
                                                                                                                       64.94
                                                                                                                     $________________________________
 8673 Piper Pl                                                        Contingent
                                                                      Unliquidated
 Reno, NV, 89506                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5392
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             98.96
                                                                                                                     $________________________________
 Marco Ramos                                                          Contingent
 109 48th Avenue                                                      Unliquidated
                                                                      Disputed
 Bellwood, IL, 60104
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5393
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.87
                                                                                                                     $________________________________
 Marco Velasquez                                                     Check all that apply.
 1057 Serena Dr                                                       Contingent
                                                                      Unliquidated
 San Jacinto, CA, 92583                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5394
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marcos Diaz                                                         Check all that apply.
                                                                                                                      122.91
                                                                                                                     $________________________________
 8681 Katella Avenue, Spc 849                                         Contingent
                                                                      Unliquidated
 Stanton, CA, 90680                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5395
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      86.99
                                                                                                                     $________________________________
 Marcos Gonzalez                                                     Check all that apply.
 12 New Castle Ct                                                     Contingent
                                                                      Unliquidated
 Ocean View, DE, 19970                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5396
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marcos Hern?°ndez                                                   Check all that apply.
                                                                                                                       142.33
                                                                                                                     $________________________________
 917 West 85th Street                                                 Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90044                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5397
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             489.96
                                                                                                                     $________________________________
 Marcos Maia                                                          Contingent
 122 EAST CALBOURNE LN UNIT M12                                       Unliquidated
                                                                      Disputed
 SANDY, UT, 84070
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5398
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.99
                                                                                                                     $________________________________
 Marcos Ramos Seda                                                   Check all that apply.
 1354 n 10th st                                                       Contingent
                                                                      Unliquidated
 Reading, PA, 19604                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5399
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marcos Rodriguez                                                    Check all that apply.
                                                                                                                      21.64
                                                                                                                     $________________________________
 5600 Taylor Made Circle                                              Contingent
                                                                      Unliquidated
 Schertz, TX, 78108                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5400
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Marcos Sanchez                                                      Check all that apply.
 413 M Street Southwest                                               Contingent
                                                                      Unliquidated
 Quincy, WA, 98848                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5401
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marcos Sanchez                                                      Check all that apply.
                                                                                                                       335.78
                                                                                                                     $________________________________
 8012 Rio Grande Boulevard Northwest                                  Contingent
                                                                      Unliquidated
 Los Ranchos de Albuquerque, NM, 87114                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5402
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Marcos Villa                                                         Contingent
 3125 S Virginia St, 71                                               Unliquidated
                                                                      Disputed
 Reno, NV, 89502
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5403
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.22
                                                                                                                     $________________________________
 Marcus Arzadon                                                      Check all that apply.
 9718 Wheaton Edge Lane                                               Contingent
                                                                      Unliquidated
 Houston, TX, 77095                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5404
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marcus Bryant                                                       Check all that apply.
                                                                                                                      69.86
                                                                                                                     $________________________________
 3409 Waterloo Court, Apt D                                           Contingent
                                                                      Unliquidated
 Tampa, FL, 33614                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5405
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      342.99
                                                                                                                     $________________________________
 Marcus Grant                                                        Check all that apply.
 101 renaissance Lane                                                 Contingent
                                                                      Unliquidated
 New Brunswick , NJ, 8901                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5406
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marcus Saldana                                                      Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 304 DAKOTA RIDGE DR                                                  Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76134                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5407
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.74
                                                                                                                     $________________________________
 Marcus Uhlenhopp                                                     Contingent
 112 Trotting Way                                                     Unliquidated
                                                                      Disputed
 Charles Town, WV, 25414
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5408
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       61.99
                                                                                                                     $________________________________
 Marcus W Stowe                                                      Check all that apply.
 321 Gardenia Court                                                   Contingent
                                                                      Unliquidated
 Burleson, TX, 76028                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5409
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Margaret Cayabyab                                                   Check all that apply.
                                                                                                                      221.90
                                                                                                                     $________________________________
 1152 RUBERTA AVE                                                     Contingent
                                                                      Unliquidated
 GLENDALE, CA, 91201-1939                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5410
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.23
                                                                                                                     $________________________________
 Margaret Currey                                                     Check all that apply.
 15444 Hornell Street                                                 Contingent
                                                                      Unliquidated
 Whittier, CA, 90604                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5411
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Margaret Johnson                                                    Check all that apply.
                                                                                                                       12.80
                                                                                                                     $________________________________
 3846 Golden Meadow Ct                                                Contingent
                                                                      Unliquidated
 Amelia, OH, 45102                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5412
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             79.99
                                                                                                                     $________________________________
 Margaret Mummert                                                     Contingent
 21 Newman Drive                                                      Unliquidated
                                                                      Disputed
 Downingtown, PA, 19335
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5413
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.78
                                                                                                                     $________________________________
 Margaret O'Brien                                                    Check all that apply.
 9988 Windmill Lakes Blvd., Apt. 504                                  Contingent
                                                                      Unliquidated
 Houston, TX, 77075                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5414
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Margarita Sarita                                                    Check all that apply.
                                                                                                                      25.55
                                                                                                                     $________________________________
 7305 Gateshead Circle, Apt 4                                         Contingent
                                                                      Unliquidated
 Orlando, FL, 32822                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5415
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.22
                                                                                                                     $________________________________
 Margarita Avila                                                     Check all that apply.
 2458 South Trumbull Avenue                                           Contingent
                                                                      Unliquidated
 Chicago, IL, 60623                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5416
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marge Polman                                                        Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 106 West Maxson Avenue                                               Contingent
                                                                      Unliquidated
 West Liberty, IA, 52776                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5417
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.99
                                                                                                                     $________________________________
 Margeaux LeVere                                                      Contingent
 15 Westview Pl                                                       Unliquidated
                                                                      Disputed
 Thornville, OH, 43076-9330
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5418
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Margot A. Cardinale                                                 Check all that apply.
 6 Tuttle Ct                                                          Contingent
                                                                      Unliquidated
 Hillsborough, NJ, 8844                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5419
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 margot sayer                                                        Check all that apply.
                                                                                                                      53.86
                                                                                                                     $________________________________
 7934 Corte Domingo                                                   Contingent
                                                                      Unliquidated
 Carlsbad, CA, 92009                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5420
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.99
                                                                                                                     $________________________________
 Maria Hernandez                                                     Check all that apply.
 805 Rialto Street                                                    Contingent
                                                                      Unliquidated
 Oxnard, CA, 93035                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5421
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maria Mendoza                                                       Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 2580 Senter Road, Spc. 513                                           Contingent
                                                                      Unliquidated
 San Jose, CA, 95111                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5422
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             79.99
                                                                                                                     $________________________________
 Maria Aliftiras                                                      Contingent
 25631 Wentink Ave                                                    Unliquidated
                                                                      Disputed
 San Antonio, TX, 78261
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5423
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       75.98
                                                                                                                     $________________________________
 Maria Argueta                                                       Check all that apply.
 6335 Quail Meadow Dr.                                                Contingent
                                                                      Unliquidated
 Houston, TX, 77035                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5424
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maria Coakley                                                       Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 85 Bainbridge St.                                                    Contingent
                                                                      Unliquidated
 Malden, MA, 2148                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5425
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.99
                                                                                                                     $________________________________
 Maria Connor                                                        Check all that apply.
 974 VILLAGE CIR                                                      Contingent
                                                                      Unliquidated
 HICKORY, NC, 28602                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5426
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maria Contreras                                                     Check all that apply.
                                                                                                                       57.88
                                                                                                                     $________________________________
 118 Winham St                                                        Contingent
                                                                      Unliquidated
 Salinas, CA, 93901-3317                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5427
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Maria Contreras                                                      Contingent
 9710 Otis Street                                                     Unliquidated
                                                                      Disputed
 South Gate, CA, 90280
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5428
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Maria del carmen Mediano                                            Check all that apply.
 901 w pueblo                                                         Contingent
                                                                      Unliquidated
 Hobbs, NM, 88240                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5429
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maria Hernandez                                                     Check all that apply.
                                                                                                                      65.98
                                                                                                                     $________________________________
 21205 ROSCOE BLVD, APT 17                                            Contingent
                                                                      Unliquidated
 CANOGA PARK, CA, 91304-4238                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5430
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      215.67
                                                                                                                     $________________________________
 Maria Hernandez                                                     Check all that apply.
 21205 Roscoe Blvd, Apt# 17                                           Contingent
                                                                      Unliquidated
 Canoga Park, CA, 91304                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5431
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maria Jenny V?©lez                                                  Check all that apply.
                                                                                                                       308.95
                                                                                                                     $________________________________
 Urb. Santa Ana, D-10 Calle Temple                                    Contingent
                                                                      Unliquidated
 San Juan, PR, 927                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5432
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.09
                                                                                                                     $________________________________
 Maria Polink                                                         Contingent
 20900 Pioneer Ridge Terrace                                          Unliquidated
                                                                      Disputed
 Ashburn, VA, 20147
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5433
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.95
                                                                                                                     $________________________________
 Maria Rosales                                                       Check all that apply.
 1403 Sutton Circle                                                   Contingent
                                                                      Unliquidated
 Tifton, GA, 31794                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5434
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maria Sanchez                                                       Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 14823 Southeast 308th Street                                         Contingent
                                                                      Unliquidated
 Kent, WA, 98042                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5435
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      162.95
                                                                                                                     $________________________________
 Maria Sciullo                                                       Check all that apply.
 440 Russellwood Avenue                                               Contingent
                                                                      Unliquidated
 McKees Rocks, PA, 15136                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5436
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maria Vazquez                                                       Check all that apply.
                                                                                                                       19.98
                                                                                                                     $________________________________
 1301 W Kennedy St, Apt K                                             Contingent
                                                                      Unliquidated
 Pharr, TX, 78577                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5437
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.71
                                                                                                                     $________________________________
 Mariah Garbarino                                                     Contingent
 44 Patapsco Road                                                     Unliquidated
                                                                      Disputed
 Linthicum Heights, MD, 21090
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5438
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       154.99
                                                                                                                     $________________________________
 Mariah Simensky                                                     Check all that apply.
 1200 Mississippi Avenue                                              Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15216                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5439
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marian Oviedo                                                       Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 1621 West Holly Oak Drive                                            Contingent
                                                                      Unliquidated
 Tucson, AZ, 85746                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5440
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Mariana Thalwitz                                                    Check all that apply.
 3680 Shelby Road                                                     Contingent
                                                                      Unliquidated
 Madison, VA, 22727                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5441
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marianna De La Torre                                                Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 1221 Trapani Cove, Unit 1                                            Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91915                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1114 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5442
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             182.98
                                                                                                                     $________________________________
 Mariano Suarez                                                       Contingent
 1970 East 1st Avenue                                                 Unliquidated
                                                                      Disputed
 Hialeah, FL, 33010
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5443
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.95
                                                                                                                     $________________________________
 Mariateresa Snyder                                                  Check all that apply.
 224 E. Potter St.                                                    Contingent
                                                                      Unliquidated
 Wood Dale, IL, 60191                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5444
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maribel Ortiz                                                       Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 336 McCovey Ln                                                       Contingent
                                                                      Unliquidated
 San jose, CA, 95127                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5445
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.76
                                                                                                                     $________________________________
 Maribel Salgado                                                     Check all that apply.
 3080 Martin Ave. Apt 7                                               Contingent
                                                                      Unliquidated
 San Diego, CA, 92113                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5446
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maribella Lopez                                                     Check all that apply.
                                                                                                                       105.98
                                                                                                                     $________________________________
 14974 NW Jack Rd                                                     Contingent
                                                                      Unliquidated
 Banks, OR, 97106-7038                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1115 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5447
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             30.86
                                                                                                                     $________________________________
 Maricela Cazares                                                     Contingent
 8671 Beckett Way                                                     Unliquidated
                                                                      Disputed
 Dublin, CA, 94568
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5448
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       56.99
                                                                                                                     $________________________________
 Marie Booth                                                         Check all that apply.
 3988 LECONT CT                                                       Contingent
                                                                      Unliquidated
 SIMI VALLEY, CA, 93063-2855                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5449
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marie Clements                                                      Check all that apply.
                                                                                                                      83.93
                                                                                                                     $________________________________
 62 Spring Hill road                                                  Contingent
                                                                      Unliquidated
 Vineyard Haven, MA, 2568                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5450
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.22
                                                                                                                     $________________________________
 Marie McLendon                                                      Check all that apply.
 14027 Cleobrook drive                                                Contingent
                                                                      Unliquidated
 Houston, TX, 77070                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5451
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marie Ozturk                                                        Check all that apply.
                                                                                                                       32.16
                                                                                                                     $________________________________
 347 South Center Avenue                                              Contingent
                                                                      Unliquidated
 Bradley, IL, 60915                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5452
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Marie Saba                                                           Contingent
 21004 99th ave s                                                     Unliquidated
                                                                      Disputed
 kent, WA, 98031
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5453
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.66
                                                                                                                     $________________________________
 Mariela Cantoriano                                                  Check all that apply.
 2444 S Sabre Ave                                                     Contingent
                                                                      Unliquidated
 Fresno, CA, 93727                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5454
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 marilyn burg                                                        Check all that apply.
                                                                                                                      28.99
                                                                                                                     $________________________________
 702 N Hokah St                                                       Contingent
                                                                      Unliquidated
 caledonia, MN, 55921-1032                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5455
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.98
                                                                                                                     $________________________________
 Mario Corte Gonzalez                                                Check all that apply.
 6713 Barney Rd.                                                      Contingent
                                                                      Unliquidated
 Houston, TX, 77092                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5456
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mario Cortez                                                        Check all that apply.
                                                                                                                       59.96
                                                                                                                     $________________________________
 479 N. Olive St                                                      Contingent
                                                                      Unliquidated
 Orange, CA, 92866                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5457
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Mario Garcia                                                         Contingent
 1325 prater way Apt D Sparks NV 89433, Apt D                         Unliquidated
                                                                      Disputed
 Sparks, NV, 89431
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5458
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       237.97
                                                                                                                     $________________________________
 mario gomez                                                         Check all that apply.
 P.o.box 473                                                          Contingent
                                                                      Unliquidated
 Grulla, TX, 78548                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5459
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mario Guillen                                                       Check all that apply.
                                                                                                                      19.47
                                                                                                                     $________________________________
 12311 Tule River Way                                                 Contingent
                                                                      Unliquidated
 Bakersfield, CA, 93312                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5460
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Mario Hernandez                                                     Check all that apply.
 1366 Jasper Avenue                                                   Contingent
                                                                      Unliquidated
 Mentone, CA, 92359                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5461
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mario Mendoza                                                       Check all that apply.
                                                                                                                       25.99
                                                                                                                     $________________________________
 923 Southeast 10th Street, 3B                                        Contingent
                                                                      Unliquidated
 DEERFIELD BEACH, FL, 33441                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1118 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5462
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.98
                                                                                                                     $________________________________
 Mario Pizano                                                         Contingent
 4015 1st St                                                          Unliquidated
                                                                      Disputed
 East Moline, IL, 61244-3329
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5463
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       75.64
                                                                                                                     $________________________________
 Mario Ramirez                                                       Check all that apply.
 9154 W Dreyfus Dr                                                    Contingent
                                                                      Unliquidated
 Peoria, AZ, 85381                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5464
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mario Reyes                                                         Check all that apply.
                                                                                                                      60.68
                                                                                                                     $________________________________
 4049 Asante Cove Street                                              Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89115                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5465
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.78
                                                                                                                     $________________________________
 Mario Ross                                                          Check all that apply.
 908 Canterbury Ln.                                                   Contingent
                                                                      Unliquidated
 Waukesha, WI, 53188                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5466
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mario Salazar                                                       Check all that apply.
                                                                                                                       27.87
                                                                                                                     $________________________________
 11270 Avocet LN, apt 104                                             Contingent
                                                                      Unliquidated
 Raleigh, NC, 27617                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5467
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Mario Shoemore                                                       Contingent
 709 Delanie way                                                      Unliquidated
                                                                      Disputed
 Stone mountain , GA, 30083
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5468
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.62
                                                                                                                     $________________________________
 Mario Torres                                                        Check all that apply.
 4630 Apache Ln                                                       Contingent
                                                                      Unliquidated
 Crosby, TX, 77532-7189                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5469
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mario Vera                                                          Check all that apply.
                                                                                                                      58.98
                                                                                                                     $________________________________
 411 Spokane Street                                                   Contingent
                                                                      Unliquidated
 Wenatchee, WA, 98801                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5470
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.98
                                                                                                                     $________________________________
 Marisa Jones                                                        Check all that apply.
 36254 Pursh Drive                                                    Contingent
                                                                      Unliquidated
 Lake Elsinore, CA, 92532                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5471
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marisa Kline                                                        Check all that apply.
                                                                                                                       40.67
                                                                                                                     $________________________________
 39768 E Sam Arnold Loop                                              Contingent
                                                                      Unliquidated
 Ponchatoula, LA, 70454                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5472
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.12
                                                                                                                     $________________________________
 Marisela Burgos                                                      Contingent
 1190 East Newburgh Street                                            Unliquidated
                                                                      Disputed
 Azusa, CA, 91702
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5473
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Marisela Lopez                                                      Check all that apply.
 14643 Loving Lane                                                    Contingent
                                                                      Unliquidated
 El Paso, TX, 79938                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5474
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marissa Melen                                                       Check all that apply.
                                                                                                                      153.98
                                                                                                                     $________________________________
 500 West Middlefield Road, Apartment 101                             Contingent
                                                                      Unliquidated
 Mountain View, CA, 94043                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5475
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      50.19
                                                                                                                     $________________________________
 Marissa Winfield                                                    Check all that apply.
 1116 County Line Rd, Apt 32                                          Contingent
                                                                      Unliquidated
 Kansas City, KS, 66103                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5476
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maritsa Castillo                                                    Check all that apply.
                                                                                                                       8.65
                                                                                                                     $________________________________
 204 N Bernice Dr                                                     Contingent
                                                                      Unliquidated
 Garland, TX, 75042                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1121 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5477
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             519.96
                                                                                                                     $________________________________
 Maritza Aguero                                                       Contingent
 16011 n warren rd                                                    Unliquidated
                                                                      Disputed
 Maricopa, AZ, 85139
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5478
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Maritza Ross                                                        Check all that apply.
 1200 Taylor Creek Dr                                                 Contingent
                                                                      Unliquidated
 Mesquite, TX, 75181                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5479
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Maniaci                                                        Check all that apply.
                                                                                                                      13.99
                                                                                                                     $________________________________
 42012 , Ehrke                                                        Contingent
                                                                      Unliquidated
 Clinton Township, MI, 48038                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5480
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.80
                                                                                                                     $________________________________
 Mark A Walter                                                       Check all that apply.
 579 Sealock Avenue                                                   Contingent
                                                                      Unliquidated
 Steubenville, OH, 43952                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5481
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Arthur II                                                      Check all that apply.
                                                                                                                       12.89
                                                                                                                     $________________________________
 3213 Guffey Dr                                                       Contingent
                                                                      Unliquidated
 Grove City, OH, 43123                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1122 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5482
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Mark Barrientos                                                      Contingent
 314 Mott Ave                                                         Unliquidated
                                                                      Disputed
 Inwood, NY, 11096
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5483
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       642.96
                                                                                                                     $________________________________
 Mark Beltran                                                        Check all that apply.
 31 Highcrest Lane                                                    Contingent
                                                                      Unliquidated
 South San Francisco, CA, 94080                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5484
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Bowles                                                         Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 2167 N. Zircon PL                                                    Contingent
                                                                      Unliquidated
 Meridian, ID, 83646                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5485
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.02
                                                                                                                     $________________________________
 Mark Cahill                                                         Check all that apply.
 301 Chestnut Hill Road                                               Contingent
                                                                      Unliquidated
 Colchester, CT, 6415                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5486
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Carrasco                                                       Check all that apply.
                                                                                                                       95.97
                                                                                                                     $________________________________
 944 w 30th street                                                    Contingent
                                                                      Unliquidated
 San Bernardino, CA, 92405                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1123 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5487
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             188.94
                                                                                                                     $________________________________
 Mark Claravall                                                       Contingent
 5208 SE 46th St                                                      Unliquidated
                                                                      Disputed
 Oklahoma City, OK, 73135
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5488
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Mark Cole                                                           Check all that apply.
 1119 N Hilton Road                                                   Contingent
                                                                      Unliquidated
 Wilmington, DE, 19803                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5489
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 mark davidson                                                       Check all that apply.
                                                                                                                      102.98
                                                                                                                     $________________________________
 56250 s 36550 road                                                   Contingent
                                                                      Unliquidated
 Terlton, OK, 74081                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5490
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Mark Dellorto                                                       Check all that apply.
 1400 S. Nova Rd., 171                                                Contingent
                                                                      Unliquidated
 Daytona Beach, FL, 32114                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5491
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Delos Santos                                                   Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 1564 Fall Avenue                                                     Contingent
                                                                      Unliquidated
 San Jose, CA, 95127                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1124 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5492
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             173.99
                                                                                                                     $________________________________
 MARK DIAZ                                                            Contingent
 1529 Hunters Glen Ave                                                Unliquidated
                                                                      Disputed
 Chula Vista, CA, 91913
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5493
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Mark Garcia                                                         Check all that apply.
 10271 HARMONY RIDGE WAY                                              Contingent
                                                                      Unliquidated
 CLERMONT, FL, 34711-9207                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5494
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Greco                                                          Check all that apply.
                                                                                                                      51.17
                                                                                                                     $________________________________
 20 Jamie Dr                                                          Contingent
                                                                      Unliquidated
 Sewell, NJ, 08080-3532                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5495
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      62.98
                                                                                                                     $________________________________
 Mark Hart                                                           Check all that apply.
 1065 Canyon Shadows Ct.                                              Contingent
                                                                      Unliquidated
 Cary, NC, 27519                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5496
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Hensel                                                         Check all that apply.
                                                                                                                       260.39
                                                                                                                     $________________________________
 326 shervin dr                                                       Contingent
                                                                      Unliquidated
 burlington, WI, 53105-9628                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1125 of Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5497
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Mark Isham                                                           Contingent
 1190 main st , Apt 1                                                 Unliquidated
                                                                      Disputed
 Dallas, OR, 97338
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5498
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.98
                                                                                                                     $________________________________
 Mark Jankauskas                                                     Check all that apply.
 8734 Gillespie Street                                                Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19136                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5499
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Kyker                                                          Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 779 Hiwassee street                                                  Contingent
                                                                      Unliquidated
 Newport, TN, 37821                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5500
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      118.51
                                                                                                                     $________________________________
 Mark Leon                                                           Check all that apply.
 955 West Rosewood Court                                              Contingent
                                                                      Unliquidated
 Ontario, CA, 91762                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5501
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Lindsey                                                        Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 11408 sw 213th st                                                    Contingent
                                                                      Unliquidated
 Miami, FL, 33189                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5502
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.07
                                                                                                                     $________________________________
 Mark Manson                                                          Contingent
 110 Walter Way Unit 1722                                             Unliquidated
                                                                      Disputed
 Stockbridge, GA, 30281-9517
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5503
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.99
                                                                                                                     $________________________________
 Mark Matthews                                                       Check all that apply.
 15218 Hornell Street                                                 Contingent
                                                                      Unliquidated
 Whittier, CA, 90604                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5504
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Micheletti                                                     Check all that apply.
                                                                                                                      26.27
                                                                                                                     $________________________________
 7113 Marsh Way                                                       Contingent
                                                                      Unliquidated
 Cotati, CA, 94931                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5505
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.99
                                                                                                                     $________________________________
 Mark Morrill                                                        Check all that apply.
 P.O. Box 1203                                                        Contingent
                                                                      Unliquidated
 Fernley, NV, 89408                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5506
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MARK OLIVAREZ                                                       Check all that apply.
                                                                                                                       16.30
                                                                                                                     $________________________________
 448 Northpark Blvd                                                   Contingent
                                                                      Unliquidated
 San Bernardino, CA, 92407                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5507
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 Mark Pagan                                                           Contingent
 1446 Benner Street                                                   Unliquidated
                                                                      Disputed
 Philadelphia, PA, 19149
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5508
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       166.98
                                                                                                                     $________________________________
 Mark Pecina                                                         Check all that apply.
 331 McCotter Drive                                                   Contingent
                                                                      Unliquidated
 Grifton, NC, 28530                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5509
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark R Roush                                                        Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 72 Lucy Crk Apt 10                                                   Contingent
                                                                      Unliquidated
 Amelia, OH, 45102-1571                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5510
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.71
                                                                                                                     $________________________________
 Mark Samkowiak                                                      Check all that apply.
 2659 Indian Trail                                                    Contingent
                                                                      Unliquidated
 Evart, MI, 49631                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5511
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Santos                                                         Check all that apply.
                                                                                                                       541.24
                                                                                                                     $________________________________
 7211 Abilene Street                                                  Contingent
                                                                      Unliquidated
 Houston, TX, 77020                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1128 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5512
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             20.18
                                                                                                                     $________________________________
 Mark Schwaber                                                        Contingent
 5 Ferrante Avenue                                                    Unliquidated
                                                                      Disputed
 Greenfield, MA, 1301
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5513
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Mark Spero                                                          Check all that apply.
 1405 NE Parvin Rd, Apt 201                                           Contingent
                                                                      Unliquidated
 Kansas City, MO, 64116                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5514
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Tanner                                                         Check all that apply.
                                                                                                                      43.34
                                                                                                                     $________________________________
 3305 Carolina Moon Avenue                                            Contingent
                                                                      Unliquidated
 North Las Vegas, NV, 89081                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5515
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Mark Treadwell                                                      Check all that apply.
 20 Parkway North                                                     Contingent
                                                                      Unliquidated
 Brewer, ME, 4412                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5516
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Vital                                                          Check all that apply.
                                                                                                                       21.19
                                                                                                                     $________________________________
 146 South Hunter Highway                                             Contingent
                                                                      Unliquidated
 Drums, PA, 18222                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1129 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5517
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 Mark Walker                                                          Contingent
 375 Harbour Cove Dr., 517                                            Unliquidated
                                                                      Disputed
 Sparks, NV, 89434
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5518
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       80.46
                                                                                                                     $________________________________
 Mark Waymire                                                        Check all that apply.
 521 Sw 164th Ter                                                     Contingent
                                                                      Unliquidated
 Oklahoma City, OK, 73170                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5519
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mark Zimmelman                                                      Check all that apply.
                                                                                                                      29.76
                                                                                                                     $________________________________
 309 Sutter Street                                                    Contingent
                                                                      Unliquidated
 San Francisco, CA, 94108                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5520
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Marla Morales                                                       Check all that apply.
 P.O box 142115                                                       Contingent
                                                                      Unliquidated
 Arecibo, PR, 614                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5521
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marlena Svenson                                                     Check all that apply.
                                                                                                                       34.97
                                                                                                                     $________________________________
 244 Market Street, PO Box 392                                        Contingent
                                                                      Unliquidated
 Auburn, PA, 17922                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1130 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5522
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.57
                                                                                                                     $________________________________
 Marlene Arthur-schultz                                               Contingent
 1222 dodge ct                                                        Unliquidated
                                                                      Disputed
 Cheyenne, WY, 82001
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5523
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.26
                                                                                                                     $________________________________
 Marlene Davidson                                                    Check all that apply.
 1390 Santa Alicia Avenue, APT 13102                                  Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91913                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5524
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marlene Soo Hoo                                                     Check all that apply.
                                                                                                                      26.17
                                                                                                                     $________________________________
 91-1121 Keaunui Dr, Suite 108, PMB 198                               Contingent
                                                                      Unliquidated
 Ewa Beach, HI, 96706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5525
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.17
                                                                                                                     $________________________________
 Marley Corcoran                                                     Check all that apply.
 265A View Dr                                                         Contingent
                                                                      Unliquidated
 Sedona, AZ, 86336-5541                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5526
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marlin Fontanez                                                     Check all that apply.
                                                                                                                       38.09
                                                                                                                     $________________________________
 860 Riverside Drive, apt 3a                                          Contingent
                                                                      Unliquidated
 New York, NY, 10032                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1131 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5527
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.45
                                                                                                                     $________________________________
 Marlin Fontanez                                                      Contingent
 860 Riverside Drive, Apt 3A                                          Unliquidated
                                                                      Disputed
 New York, NY, 10032
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5528
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.95
                                                                                                                     $________________________________
 MArlo ADams                                                         Check all that apply.
 80 Freeman Hall Road                                                 Contingent
                                                                      Unliquidated
 Nottingham, NH, 3290                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5529
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marlon D Morales                                                    Check all that apply.
                                                                                                                      71.97
                                                                                                                     $________________________________
 1313 Bahia avenue                                                    Contingent
                                                                      Unliquidated
 Orlando, FL, 32807                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5530
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      123.72
                                                                                                                     $________________________________
 Marlon Galeano                                                      Check all that apply.
 17201 Burton Street                                                  Contingent
                                                                      Unliquidated
 Los Angeles, CA, 91406                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5531
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marrion Sevilla                                                     Check all that apply.
                                                                                                                       110.95
                                                                                                                     $________________________________
 24184 Via Vargas dr                                                  Contingent
                                                                      Unliquidated
 Moreno Valley, CA, 92553                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1132 of Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5532
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.07
                                                                                                                     $________________________________
 Marshall Hendricks                                                   Contingent
 384 Four Mile Loop, 9                                                Unliquidated
                                                                      Disputed
 CHERAW, SC, 29520
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5533
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.16
                                                                                                                     $________________________________
 Marshall Sarisky                                                    Check all that apply.
 85 Forest Hill Dr.                                                   Contingent
                                                                      Unliquidated
 Hubbard, OH, 44425                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5534
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marta Lacko                                                         Check all that apply.
                                                                                                                      161.24
                                                                                                                     $________________________________
 4104 Corsair Avenue                                                  Contingent
                                                                      Unliquidated
 Kissimmee, FL, 34741                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5535
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      18.99
                                                                                                                     $________________________________
 Martha Fuentes                                                      Check all that apply.
 3770 fm 725                                                          Contingent
                                                                      Unliquidated
 New Braunfels, TX, 78130                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5536
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Martha Guerrero                                                     Check all that apply.
                                                                                                                       42.21
                                                                                                                     $________________________________
 1693 Yale Avenue                                                     Contingent
                                                                      Unliquidated
 Brownsville, TX, 78520                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1133 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5537
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             40.04
                                                                                                                     $________________________________
 Martha Gutierrez                                                     Contingent
 416 Savannah Dr                                                      Unliquidated
                                                                      Disputed
 Pharr, TX, 78577
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5538
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       104.50
                                                                                                                     $________________________________
 Martha Larios                                                       Check all that apply.
 17202 Chestnut                                                       Contingent
                                                                      Unliquidated
 Irvine, CA, 92612                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5539
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Martin Espinoza II                                                  Check all that apply.
                                                                                                                      34.99
                                                                                                                     $________________________________
 108 Arbor Drive                                                      Contingent
                                                                      Unliquidated
 Moab, UT, 84532                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5540
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.02
                                                                                                                     $________________________________
 Martin Fung                                                         Check all that apply.
 85 Lupine Ave                                                        Contingent
                                                                      Unliquidated
 San Francisco, CA, 94118                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5541
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Martin Leibold II                                                   Check all that apply.
                                                                                                                       44.97
                                                                                                                     $________________________________
 10700 Finn Drive                                                     Contingent
                                                                      Unliquidated
 New Market, MD, 21774                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5542
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             74.15
                                                                                                                     $________________________________
 Martin Miller                                                        Contingent
 2950 Parlin Dr.                                                      Unliquidated
                                                                      Disputed
 Grove City, OH, 43123
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5543
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Martin Murguia                                                      Check all that apply.
 607 N may St                                                         Contingent
                                                                      Unliquidated
 Aurora, IL, 60506                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5544
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Martin Nino                                                         Check all that apply.
                                                                                                                      96.92
                                                                                                                     $________________________________
 1800 S. Main St Suite 125-326                                        Contingent
                                                                      Unliquidated
 MCALLEN, TX, 78503                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5545
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Martin Solorio                                                      Check all that apply.
 27515 Rosa Lane, Unit 203                                            Contingent
                                                                      Unliquidated
 CANYON COUNTRY, CA, 91387                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5546
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 martin zhou                                                         Check all that apply.
                                                                                                                       299.96
                                                                                                                     $________________________________
 68 bay blvd                                                          Contingent
                                                                      Unliquidated
 newward, DE, 19702                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1135 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5547
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.98
                                                                                                                     $________________________________
 Martina Schambra                                                     Contingent
 3455 Long Drive                                                      Unliquidated
                                                                      Disputed
 Minden, NV, 89423
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5548
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.45
                                                                                                                     $________________________________
 Martir Bonilla                                                      Check all that apply.
 66 Grand St                                                          Contingent
                                                                      Unliquidated
 Danbury, CT, 6810                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5549
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marvin Cruz                                                         Check all that apply.
                                                                                                                      13.05
                                                                                                                     $________________________________
 88-37 213 street                                                     Contingent
                                                                      Unliquidated
 Queens Village, NY, 11427                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5550
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.49
                                                                                                                     $________________________________
 Marvin Diaz-Lacayo                                                  Check all that apply.
 550 LIBERTY ST APT 802                                               Contingent
                                                                      Unliquidated
 Braintree, MA, 2184                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5551
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marvin Dimas                                                        Check all that apply.
                                                                                                                       90.38
                                                                                                                     $________________________________
 6043 Lakewood Blvd                                                   Contingent
                                                                      Unliquidated
 Lakewood, CA, 90712                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1136 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5552
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.37
                                                                                                                     $________________________________
 Marvin Dimas                                                         Contingent
 6043 Lakewood Blvd                                                   Unliquidated
                                                                      Disputed
 Lakewood, CA, 90712
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5553
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       69.30
                                                                                                                     $________________________________
 Marvin Rosario                                                      Check all that apply.
 191 Stephens St, Apt A10                                             Contingent
                                                                      Unliquidated
 Belleville, NJ, 7109                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5554
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mary Wong                                                           Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 3712 North Broadway                                                  Contingent
                                                                      Unliquidated
 Chicago, IL, 60613                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5555
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.97
                                                                                                                     $________________________________
 Mary Barrett                                                        Check all that apply.
 2319 17th strert                                                     Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19145                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5556
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mary Bennett                                                        Check all that apply.
                                                                                                                       12.78
                                                                                                                     $________________________________
 6 Sarah Lane                                                         Contingent
                                                                      Unliquidated
 Monroe Township, NJ, 8831                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1137 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5557
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Mary Carr                                                            Contingent
 1309 West Virginia Avenue                                            Unliquidated
                                                                      Disputed
 Dunbar, WV, 25064
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5558
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.18
                                                                                                                     $________________________________
 Mary Darnell                                                        Check all that apply.
 3804 Clubhouse Dr                                                    Contingent
                                                                      Unliquidated
 Paulsboro, NJ, 08066-2141                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5559
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mary E Crafton                                                      Check all that apply.
                                                                                                                      65.69
                                                                                                                     $________________________________
 219 Mandalay Dr.                                                     Contingent
                                                                      Unliquidated
 Florence, AL, 35630                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5560
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Mary Florian                                                        Check all that apply.
 1318 Ragsdale Ln                                                     Contingent
                                                                      Unliquidated
 Katy, TX, 77494-3573                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5561
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mary Furio                                                          Check all that apply.
                                                                                                                       12.92
                                                                                                                     $________________________________
 7561 8th St                                                          Contingent
                                                                      Unliquidated
 Buena Park, CA, 90621-2818                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1138 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5562
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.98
                                                                                                                     $________________________________
 mary furio                                                           Contingent
 7561 8th Street                                                      Unliquidated
                                                                      Disputed
 Buena Park, CA, 90621
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5563
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       5.40
                                                                                                                     $________________________________
 Mary Guina                                                          Check all that apply.
 4878 Mato Ct                                                         Contingent
                                                                      Unliquidated
 Sparks, NV, 89436                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5564
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mary Hall                                                           Check all that apply.
                                                                                                                      269.52
                                                                                                                     $________________________________
 6020 Dona Beatriz Ln                                                 Contingent
                                                                      Unliquidated
 El Paso, TX, 79932-1847                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5565
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.98
                                                                                                                     $________________________________
 Mary Harris                                                         Check all that apply.
 9848 Hathaway Drive                                                  Contingent
                                                                      Unliquidated
 Northville, MI, 48167                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5566
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mary Horner                                                         Check all that apply.
                                                                                                                       21.30
                                                                                                                     $________________________________
 11 Water Street                                                      Contingent
                                                                      Unliquidated
 Millville, NJ, 8332                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1139 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5567
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             341.92
                                                                                                                     $________________________________
 Mary Ingrassia                                                       Contingent
 62 COBBLERIDGE LN                                                    Unliquidated
                                                                      Disputed
 MANORVILLE, NY, 11949-2523
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5568
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.30
                                                                                                                     $________________________________
 Mary Kalu                                                           Check all that apply.
 1050 Mockingbird Hill Court                                          Contingent
                                                                      Unliquidated
 Murphy, TX, 75094                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5569
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mary Kay COY                                                        Check all that apply.
                                                                                                                      38.97
                                                                                                                     $________________________________
 129 Abigail Lane                                                     Contingent
                                                                      Unliquidated
 Anderson, SC, 29621                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5570
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.99
                                                                                                                     $________________________________
 Mary Miller                                                         Check all that apply.
 733 North Evergreen Avenue                                           Contingent
                                                                      Unliquidated
 Arlington Heights, IL, 60004                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5571
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MARY OLIVIA HARLOW                                                  Check all that apply.
                                                                                                                       159.98
                                                                                                                     $________________________________
 3160 Brierfield Rd                                                   Contingent
                                                                      Unliquidated
 Alpharetta, GA, 30004                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5572
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.98
                                                                                                                     $________________________________
 Mary Reyes                                                           Contingent
 13608 68th Dr, A                                                     Unliquidated
                                                                      Disputed
 Flushing, NY, 11367-1620
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5573
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.19
                                                                                                                     $________________________________
 mary rodriguez                                                      Check all that apply.
 112 ENGINEER CT                                                      Contingent
                                                                      Unliquidated
 harvest, AL, 35749-8446                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5574
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mary Simons                                                         Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 15378 Monterosa Drive                                                Contingent
                                                                      Unliquidated
 Granger, IN, 46530                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5575
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.55
                                                                                                                     $________________________________
 Mary Walsh                                                          Check all that apply.
 56 Colberg Avenue                                                    Contingent
                                                                      Unliquidated
 Boston, MA, 2131                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5576
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mary Youch                                                          Check all that apply.
                                                                                                                       36.24
                                                                                                                     $________________________________
 5 Downing Lane                                                       Contingent
                                                                      Unliquidated
 Sewell, NJ, 8080                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1141 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5577
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             460.52
                                                                                                                     $________________________________
 Mary-Anne Spina                                                      Contingent
 164-12 Lithonia Ave                                                  Unliquidated
                                                                      Disputed
 Flushing, NY, 11365
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5578
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       74.99
                                                                                                                     $________________________________
 Mary-Kristen McDonough                                              Check all that apply.
 7 Roseland Rd                                                        Contingent
                                                                      Unliquidated
 Newport, NH, 3773                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5579
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maryam Ghanem                                                       Check all that apply.
                                                                                                                      100.13
                                                                                                                     $________________________________
 3232 74th Street, R2                                                 Contingent
                                                                      Unliquidated
 East Elmhurst, NY, 11370                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5580
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      51.98
                                                                                                                     $________________________________
 Maryam Wasim                                                        Check all that apply.
 3319 Noble Drive                                                     Contingent
                                                                      Unliquidated
 Woodridge , IL, 60517                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5581
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MaryAnn Flor                                                        Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 51 Rossmore Place                                                    Contingent
                                                                      Unliquidated
 Belleville, NJ, 07109-2615                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1142 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5582
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.99
                                                                                                                     $________________________________
 MaryRuth Schrotenboer                                                Contingent
 3061 , Firefly Drive                                                 Unliquidated
                                                                      Disputed
 Norman , OK, 73071
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5583
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       259.66
                                                                                                                     $________________________________
 Masaki Nagamine                                                     Check all that apply.
 943 E Twill Ct.                                                      Contingent
                                                                      Unliquidated
 Anaheim, CA, 92802                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5584
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mason Beck                                                          Check all that apply.
                                                                                                                      709.52
                                                                                                                     $________________________________
 31194 Roberta Drive                                                  Contingent
                                                                      Unliquidated
 Bay Village, OH, 44140                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5585
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      139.99
                                                                                                                     $________________________________
 Mason Stewart                                                       Check all that apply.
 5 Cheshire Ct                                                        Contingent
                                                                      Unliquidated
 Londonderry, NH, 3053                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5586
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mason Yu                                                            Check all that apply.
                                                                                                                       146.64
                                                                                                                     $________________________________
 1919 28th avenue                                                     Contingent
                                                                      Unliquidated
 san francisco, CA, 94116                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1143 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5587
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.23
                                                                                                                     $________________________________
 Mason Zook                                                           Contingent
 8444 Swift Lane                                                      Unliquidated
                                                                      Disputed
 Canal Winchester, OH, 43110
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5588
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       62.99
                                                                                                                     $________________________________
 Massimo Romero                                                      Check all that apply.
 7641 10th Street, Apt #201                                           Contingent
                                                                      Unliquidated
 Buena Park, CA, 90621                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5589
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 mat gardiner                                                        Check all that apply.
                                                                                                                      34.99
                                                                                                                     $________________________________
 48339 morris rd                                                      Contingent
                                                                      Unliquidated
 hammond, LA, 70401                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5590
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.61
                                                                                                                     $________________________________
 Mateo Chanel                                                        Check all that apply.
 71 Ridgewood Avenue                                                  Contingent
                                                                      Unliquidated
 San Francisco, CA, 94112                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5591
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mateo Mallard                                                       Check all that apply.
                                                                                                                       263.98
                                                                                                                     $________________________________
 7004 Green Glade Ct 7004 Green Glade Ct                              Contingent
                                                                      Unliquidated
 Alexandria, VA, 22315-4243                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1144 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5592
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Mathew Haight                                                        Contingent
 18410 84th Ave W                                                     Unliquidated
                                                                      Disputed
 EDMONDS, WA, 98026
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5593
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       76.56
                                                                                                                     $________________________________
 Mathew Voos                                                         Check all that apply.
 40 Clark Ln Fl 2                                                     Contingent
                                                                      Unliquidated
 Waterford, CT, 06385-2310                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5594
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matt Alden                                                          Check all that apply.
                                                                                                                      38.42
                                                                                                                     $________________________________
 1595 Kilbarron Drive                                                 Contingent
                                                                      Unliquidated
 Morrow, OH, 45152                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5595
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Matt Cummins                                                        Check all that apply.
 26 Cali Ridge                                                        Contingent
                                                                      Unliquidated
 Fairport, NY, 14450                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5596
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matt Dabertin                                                       Check all that apply.
                                                                                                                       81.98
                                                                                                                     $________________________________
 3111 Gabriels Place                                                  Contingent
                                                                      Unliquidated
 SANDUSKY, OH, 44870                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1145 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5597
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.97
                                                                                                                     $________________________________
 Matt Delay                                                           Contingent
 37 Belhaven Drive                                                    Unliquidated
                                                                      Disputed
 Springfield, IL, 62704
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5598
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.49
                                                                                                                     $________________________________
 Matt Drake                                                          Check all that apply.
 112 Crab Orchard Court                                               Contingent
                                                                      Unliquidated
 Oakdale, PA, 15071                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5599
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matt Dyer                                                           Check all that apply.
                                                                                                                      45.98
                                                                                                                     $________________________________
 203 Brittney                                                         Contingent
                                                                      Unliquidated
 Poteau, OK, 74953                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5600
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.91
                                                                                                                     $________________________________
 Matt Finch                                                          Check all that apply.
 13 Saukdale Trail                                                    Contingent
                                                                      Unliquidated
 Madison, WI, 53717                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5601
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 matt foust                                                          Check all that apply.
                                                                                                                       79.99
                                                                                                                     $________________________________
 2291 east riviera blvd                                               Contingent
                                                                      Unliquidated
 Oviedo, FL, 32765                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1146 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5602
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17.07
                                                                                                                     $________________________________
 Matt Grycan                                                          Contingent
 10279 Flagstone Dr                                                   Unliquidated
                                                                      Disputed
 Twinsburg, OH, 44087
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5603
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       245.98
                                                                                                                     $________________________________
 Matt Horter                                                         Check all that apply.
 550 Chestnut Street, Apt 309                                         Contingent
                                                                      Unliquidated
 Winnetka, IL, 60093                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5604
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matt Kershner                                                       Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 1815 31st Street                                                     Contingent
                                                                      Unliquidated
 Moline, IL, 61265                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5605
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.51
                                                                                                                     $________________________________
 Matt Koba                                                           Check all that apply.
 324 Ashford Road                                                     Contingent
                                                                      Unliquidated
 Toms River, NJ, 8755                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5606
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matt Miller                                                         Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 4067 South Park Avenue                                               Contingent
                                                                      Unliquidated
 Buffalo, NY, 14219                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5607
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             61.83
                                                                                                                     $________________________________
 Matt Mitchell                                                        Contingent
 3047 South La Mesa Court                                             Unliquidated
                                                                      Disputed
 Visalia, CA, 93292
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5608
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Matt Perkins                                                        Check all that apply.
 913 Greenville Street                                                Contingent
                                                                      Unliquidated
 LaGrange, GA, 30241                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5609
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matt Randall                                                        Check all that apply.
                                                                                                                      29.81
                                                                                                                     $________________________________
 415 Collins Street                                                   Contingent
                                                                      Unliquidated
 Ormond Beach, FL, 32174                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5610
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      182.98
                                                                                                                     $________________________________
 Matt Royka                                                          Check all that apply.
 8109 Highway 70 South                                                Contingent
                                                                      Unliquidated
 Nashville, TN, 37221                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5611
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matt Williams                                                       Check all that apply.
                                                                                                                       269.82
                                                                                                                     $________________________________
 1312 PROVIDENCE AVE                                                  Contingent
                                                                      Unliquidated
 HIGH POINT, NC, 27262                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5612
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.29
                                                                                                                     $________________________________
 Matt Yeary                                                           Contingent
 400 Chapel Ct., Apartment 211                                        Unliquidated
                                                                      Disputed
 Walkersville, MD, 21793
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5613
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Matthew Reinhard                                                    Check all that apply.
 3717 S.Taft Hill Rd. Lot #235 N.                                     Contingent
                                                                      Unliquidated
 Fort Collins, CO, 80526                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5614
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew West                                                        Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 120 S Fox St                                                         Contingent
                                                                      Unliquidated
 Jenkintown, PA, 19046                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5615
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.42
                                                                                                                     $________________________________
 Matthew Altamirano                                                  Check all that apply.
 434 Betty Avenue                                                     Contingent
                                                                      Unliquidated
 East Los Angeles, CA, 90022                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5616
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Ampudia                                                     Check all that apply.
                                                                                                                       112.32
                                                                                                                     $________________________________
 7682 Shadow Lake Dr                                                  Contingent
                                                                      Unliquidated
 Panama City Beach, FL, 32407-0292                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1149 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5617
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             96.90
                                                                                                                     $________________________________
 Matthew Anderson                                                     Contingent
 1312 N AVONDALE AVE                                                  Unliquidated
                                                                      Disputed
 ANAHEIM, CA, 92801-1403
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5618
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       71.32
                                                                                                                     $________________________________
 Matthew Antonick                                                    Check all that apply.
 1255 Detroit Ave Apt 19                                              Contingent
                                                                      Unliquidated
 Concord, CA, 94520                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5619
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Bennett                                                     Check all that apply.
                                                                                                                      27.08
                                                                                                                     $________________________________
 6575 West Tropicana Avenue, Apt 2129                                 Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89103                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5620
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.98
                                                                                                                     $________________________________
 Matthew Byrd                                                        Check all that apply.
 306 Lombard Street                                                   Contingent
                                                                      Unliquidated
 Clarence, IA, 52216                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5621
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MATTHEW CASH COLLINS                                                Check all that apply.
                                                                                                                       32.46
                                                                                                                     $________________________________
 1014 Graham Dr, Apt K1                                               Contingent
                                                                      Unliquidated
 Tomball, TX, 77375-6403                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1150 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5622
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17.27
                                                                                                                     $________________________________
 Matthew Colvin                                                       Contingent
 2813 Hollywood Drive                                                 Unliquidated
                                                                      Disputed
 Decatur, GA, 30033
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5623
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       96.96
                                                                                                                     $________________________________
 Matthew Cooper                                                      Check all that apply.
 28601 Los Alisos Blvd, APT 1053                                      Contingent
                                                                      Unliquidated
 Mission Viejo, CA, 92692                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5624
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew DaSilva                                                     Check all that apply.
                                                                                                                      220.87
                                                                                                                     $________________________________
 P.O. Box 1137                                                        Contingent
                                                                      Unliquidated
 Hilmar, CA, 95324                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5625
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.98
                                                                                                                     $________________________________
 Matthew DeBenedetto                                                 Check all that apply.
 12854 Mapleview St, #23                                              Contingent
                                                                      Unliquidated
 Lakeside, CA, 92040                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5626
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew DeMarco                                                     Check all that apply.
                                                                                                                       31.98
                                                                                                                     $________________________________
 443 Hudson Ave                                                       Contingent
                                                                      Unliquidated
 MECHANICVILLE, NY, 12118                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1151 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5627
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             20.98
                                                                                                                     $________________________________
 Matthew Diehl                                                        Contingent
 2031 Rustling Trees Way                                              Unliquidated
                                                                      Disputed
 Spring, TX, 77373
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5628
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Matthew Donnon                                                      Check all that apply.
 2223 Spring Lake Park Lane                                           Contingent
                                                                      Unliquidated
 Spring, TX, 77386                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5629
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Eshragh                                                     Check all that apply.
                                                                                                                      26.14
                                                                                                                     $________________________________
 281 armadillo drive                                                  Contingent
                                                                      Unliquidated
 Guthrie, OK, 73044-7790                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5630
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.51
                                                                                                                     $________________________________
 Matthew Evangelista                                                 Check all that apply.
 128 Upland Dr.                                                       Contingent
                                                                      Unliquidated
 Industry, PA, 15052                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5631
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Febus                                                       Check all that apply.
                                                                                                                       42.99
                                                                                                                     $________________________________
 2546 Northwest 61st Avenue                                           Contingent
                                                                      Unliquidated
 Margate, FL, 33063                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1152 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5632
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             131.04
                                                                                                                     $________________________________
 Matthew Flint                                                        Contingent
 204 Mckee Street                                                     Unliquidated
                                                                      Disputed
 Pangburn, AR, 72121
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5633
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       74.98
                                                                                                                     $________________________________
 Matthew Forness                                                     Check all that apply.
 5409 Rinker Road                                                     Contingent
                                                                      Unliquidated
 Kansas City, MO, 64129                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5634
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Forrest                                                     Check all that apply.
                                                                                                                      12.78
                                                                                                                     $________________________________
 4 TALLAHATCHIE DR                                                    Contingent
                                                                      Unliquidated
 SUSSEX, NJ, 07461-4213                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5635
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      93.06
                                                                                                                     $________________________________
 Matthew Giles                                                       Check all that apply.
 13826 Highway 82                                                     Contingent
                                                                      Unliquidated
 Tahlequah, OK, 74464                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5636
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Giuliani                                                    Check all that apply.
                                                                                                                       47.99
                                                                                                                     $________________________________
 2 Wagner Drive                                                       Contingent
                                                                      Unliquidated
 Coram, NY, 11727                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1153 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5637
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.89
                                                                                                                     $________________________________
 Matthew Hicks                                                        Contingent
 3036 Brakefield Dr                                                   Unliquidated
                                                                      Disputed
 La Grange, NC, 28551
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5638
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Matthew Hunter                                                      Check all that apply.
 13409 Orme Rd                                                        Contingent
                                                                      Unliquidated
 Garfield Heights, OH, 44125                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5639
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Isaacs                                                      Check all that apply.
                                                                                                                      26.74
                                                                                                                     $________________________________
 2456 S County Road 750 E                                             Contingent
                                                                      Unliquidated
 Seymour, IN, 47274-9227                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5640
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.49
                                                                                                                     $________________________________
 Matthew Jackson                                                     Check all that apply.
 1828 Kent Street                                                     Contingent
                                                                      Unliquidated
 Columbus, OH, 43205                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5641
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Jones                                                       Check all that apply.
                                                                                                                       44.93
                                                                                                                     $________________________________
 614 Sprucewood Circle                                                Contingent
                                                                      Unliquidated
 Altamonte Springs, FL, 32714                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5642
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             55.96
                                                                                                                     $________________________________
 Matthew Locke                                                        Contingent
 4214 Judith Court                                                    Unliquidated
                                                                      Disputed
 Linden, MI, 48451
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5643
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Matthew Maddox                                                      Check all that apply.
 4212 Calm Waters Way                                                 Contingent
                                                                      Unliquidated
 Edmond, OK, 73034                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5644
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Maguder                                                     Check all that apply.
                                                                                                                      35.88
                                                                                                                     $________________________________
 2806 Centerwood Ct                                                   Contingent
                                                                      Unliquidated
 Hamburg, NY, 14075                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5645
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      136.68
                                                                                                                     $________________________________
 Matthew Marchesano                                                  Check all that apply.
 224 North Glendora Avenue                                            Contingent
                                                                      Unliquidated
 Covina, CA, 91724                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5646
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Meyers                                                      Check all that apply.
                                                                                                                       79.98
                                                                                                                     $________________________________
 6123 Fuller street                                                   Contingent
                                                                      Unliquidated
 Houston, TX, 77084                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5647
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.09
                                                                                                                     $________________________________
 Matthew Miceli                                                       Contingent
 3122 Christophers Watch Lane                                         Unliquidated
                                                                      Disputed
 Ruskin, FL, 33570
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5648
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.83
                                                                                                                     $________________________________
 Matthew Moretti                                                     Check all that apply.
 7 Heritage Road                                                      Contingent
                                                                      Unliquidated
 Barrington, RI, 2806                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5649
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Paull                                                       Check all that apply.
                                                                                                                      151.54
                                                                                                                     $________________________________
 2034 Hyannis cir                                                     Contingent
                                                                      Unliquidated
 Manteca, CA, 95336                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5650
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.97
                                                                                                                     $________________________________
 Matthew Penix                                                       Check all that apply.
 1235 PITT LOOP                                                       Contingent
                                                                      Unliquidated
 CHUCKEY, TN, 37641-3232                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5651
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Pham                                                        Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 6374 Alderman Drive                                                  Contingent
                                                                      Unliquidated
 Alexandria, VA, 22315                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1156 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5652
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.29
                                                                                                                     $________________________________
 Matthew Reichner                                                     Contingent
 8 W DEWART ST                                                        Unliquidated
                                                                      Disputed
 SHAMOKIN, PA, 17872
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5653
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Matthew Rhoades                                                     Check all that apply.
 1941 Morgan Avenue                                                   Contingent
                                                                      Unliquidated
 Claremont, CA, 91711                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5654
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Robayo                                                      Check all that apply.
                                                                                                                      68.42
                                                                                                                     $________________________________
 28 Meadowbrook Drive                                                 Contingent
                                                                      Unliquidated
 Huntington Station, NY, 11746                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5655
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      129.99
                                                                                                                     $________________________________
 Matthew Rosenberger                                                 Check all that apply.
 326 Willard St                                                       Contingent
                                                                      Unliquidated
 Toledo, OH, 43605                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5656
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Santos                                                      Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 271 Belair St                                                        Contingent
                                                                      Unliquidated
 New Bedford, MA, 02745-1602                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1157 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5657
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Matthew Schoen                                                       Contingent
 60523 Noble Ridge Drive                                              Unliquidated
                                                                      Disputed
 South Bend, IN, 46614
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5658
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       129.98
                                                                                                                     $________________________________
 Matthew Smith                                                       Check all that apply.
 7505 Seel Ave NW                                                     Contingent
                                                                      Unliquidated
 North Canton, OH, 44720                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5659
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 matthew Stromquist                                                  Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 418 Brown St                                                         Contingent
                                                                      Unliquidated
 Norway, MI, 49870                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5660
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Matthew Tranter                                                     Check all that apply.
 822 Center St                                                        Contingent
                                                                      Unliquidated
 Bethlehem, PA, 18018                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5661
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Virkus                                                      Check all that apply.
                                                                                                                       54.19
                                                                                                                     $________________________________
 55 Cordwood Road                                                     Contingent
                                                                      Unliquidated
 Cortlandt, NY, 10567                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1158 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5662
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.95
                                                                                                                     $________________________________
 Matthew Walter                                                       Contingent
 1901 24th Avenue South, Apartment #2                                 Unliquidated
                                                                      Disputed
 Grand Forks, ND, 58201
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5663
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       55.06
                                                                                                                     $________________________________
 Matthew Wheeler                                                     Check all that apply.
 828 Winchester Avenue                                                Contingent
                                                                      Unliquidated
 Alhambra, CA, 91803                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5664
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Wollersheim                                                 Check all that apply.
                                                                                                                      404.24
                                                                                                                     $________________________________
 1335 Kensington Ave.                                                 Contingent
                                                                      Unliquidated
 Oshkosh, WI, 54902                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5665
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      261.97
                                                                                                                     $________________________________
 Matthew Yingling                                                    Check all that apply.
 12 Strawberry Rd                                                     Contingent
                                                                      Unliquidated
 New Freedom, PA, 17349                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5666
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matthew Yost                                                        Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 116 Cider Mill Road                                                  Contingent
                                                                      Unliquidated
 Mertztown, PA, 19539                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1159 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5667
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.13
                                                                                                                     $________________________________
 Matthew Zupon                                                        Contingent
 825 1st St S, Apt 306                                                Unliquidated
                                                                      Disputed
 Hopkins, MN, 55343
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5668
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       45.99
                                                                                                                     $________________________________
 Maureen Hunt                                                        Check all that apply.
 2459 Park Place Drive                                                Contingent
                                                                      Unliquidated
 Gretna, LA, 70056                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5669
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maureen Maguire                                                     Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 318 Davis Ave                                                        Contingent
                                                                      Unliquidated
 Clifton Heights, PA, 19018                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5670
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      139.82
                                                                                                                     $________________________________
 Maureen Robinson                                                    Check all that apply.
 424 Madison Ave                                                      Contingent
                                                                      Unliquidated
 Fairborn, OH, 45324                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5671
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maureen Touhey                                                      Check all that apply.
                                                                                                                       9.59
                                                                                                                     $________________________________
 30 La Valley Drive                                                   Contingent
                                                                      Unliquidated
 Manalapan, NJ, 7726                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1160 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5672
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.39
                                                                                                                     $________________________________
 Maurice Bouchard                                                     Contingent
 106 Clyde Rd                                                         Unliquidated
                                                                      Disputed
 Athens, GA, 30605
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5673
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.99
                                                                                                                     $________________________________
 Maurice Van Roekel                                                  Check all that apply.
 42642 Rivera Dr.                                                     Contingent
                                                                      Unliquidated
 Temecula, CA, 92592                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5674
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mauricio A Mandara                                                  Check all that apply.
                                                                                                                      53.30
                                                                                                                     $________________________________
 135 Anderson Av Apt 2                                                Contingent
                                                                      Unliquidated
 Fairview , NJ, 7022                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5675
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.13
                                                                                                                     $________________________________
 Mauricio Ortiz                                                      Check all that apply.
 2445 Saffire Way                                                     Contingent
                                                                      Unliquidated
 The Colony, TX, 75056                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5676
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mauricio Romero                                                     Check all that apply.
                                                                                                                       94.17
                                                                                                                     $________________________________
 102 Belfast Dr                                                       Contingent
                                                                      Unliquidated
 San Antonio, TX, 78209                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1161 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5677
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             16.15
                                                                                                                     $________________________________
 Maverick Mamangon                                                    Contingent
 7576 Sylvan Creek Court                                              Unliquidated
                                                                      Disputed
 Citrus Heights, CA, 95610
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5678
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.99
                                                                                                                     $________________________________
 Max Anderson                                                        Check all that apply.
 2593 East Pryor Drive                                                Contingent
                                                                      Unliquidated
 Fresno, CA, 93720                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5679
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Max Fell                                                            Check all that apply.
                                                                                                                      18.12
                                                                                                                     $________________________________
 38 Maplewood Blvd.                                                   Contingent
                                                                      Unliquidated
 Suffern, NY, 10901                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5680
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      168.86
                                                                                                                     $________________________________
 Max Nikolaev                                                        Check all that apply.
 3251 Sneath Lane                                                     Contingent
                                                                      Unliquidated
 San Bruno, CA, 94066                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5681
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Max Ochoa                                                           Check all that apply.
                                                                                                                       53.64
                                                                                                                     $________________________________
 1366 West 112th Street                                               Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90044                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5682
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.92
                                                                                                                     $________________________________
 Max Solis                                                            Contingent
 182 Acalanes Drive, #7                                               Unliquidated
                                                                      Disputed
 Sunnyvale, CA, 94086
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5683
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.00
                                                                                                                     $________________________________
 Maximillian Figueroa                                                Check all that apply.
 5501 Timeless View                                                   Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80915                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5684
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Maximo Gutierrez                                                    Check all that apply.
                                                                                                                      27.01
                                                                                                                     $________________________________
 1820 East Bell De Mar Drive, 164                                     Contingent
                                                                      Unliquidated
 Tempe, AZ, 85283                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5685
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.59
                                                                                                                     $________________________________
 Maximos Mausten                                                     Check all that apply.
 2311 Oak Drive                                                       Contingent
                                                                      Unliquidated
 Steilacoom, WA, 98388                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5686
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MAXINE PIERRE                                                       Check all that apply.
                                                                                                                       37.09
                                                                                                                     $________________________________
 4283 GALILEE DR NE                                                   Contingent
                                                                      Unliquidated
 KENNESAW, GA, 30144                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1163 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5687
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 Maxwell Threlkeld                                                    Contingent
 27 Stand Rock Court                                                  Unliquidated
                                                                      Disputed
 Frisco, TX, 75033
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5688
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.09
                                                                                                                     $________________________________
 Maycie Longworth                                                    Check all that apply.
 567 Benton Rd                                                        Contingent
                                                                      Unliquidated
 Lexington, KY, 40505                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5689
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mayra Valero                                                        Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 5447 Copperhead                                                      Contingent
                                                                      Unliquidated
 San Antonio, TX, 78222                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5690
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.00
                                                                                                                     $________________________________
 Mayra Vences                                                        Check all that apply.
 1146 Antilles Drive                                                  Contingent
                                                                      Unliquidated
 Salt Lake City, UT, 84116                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5691
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 McKayla Snyder                                                      Check all that apply.
                                                                                                                       49.43
                                                                                                                     $________________________________
 3475 Barcroft Park                                                   Contingent
                                                                      Unliquidated
 Hilliard, OH, 43026                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1164 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5692
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.99
                                                                                                                     $________________________________
 McKenzie Mitchell                                                    Contingent
 22102 Bridges Road                                                   Unliquidated
                                                                      Disputed
 Toney, AL, 35773
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5693
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.42
                                                                                                                     $________________________________
 McKinley Lambert                                                    Check all that apply.
 1014 Superior Avenue, Apt 1                                          Contingent
                                                                      Unliquidated
 Tomah, WI, 54660                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5694
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Md Nafizur Rahman                                                   Check all that apply.
                                                                                                                      72.93
                                                                                                                     $________________________________
 8405 108 st, Apt B10                                                 Contingent
                                                                      Unliquidated
 Queens, NY, 11418                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5695
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      94.96
                                                                                                                     $________________________________
 Meadow Waleska                                                      Check all that apply.
 2821 E 8th St, 302A West Suites                                      Contingent
                                                                      Unliquidated
 Tulsa, OK, 74104                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5696
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Meagan Williams                                                     Check all that apply.
                                                                                                                       27.81
                                                                                                                     $________________________________
 17 Autumn Dr                                                         Contingent
                                                                      Unliquidated
 Ringgold, GA, 30736                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1165 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5697
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.38
                                                                                                                     $________________________________
 Mechae Hall                                                          Contingent
 24465 E Wagontrail Ave                                               Unliquidated
                                                                      Disputed
 Aurora , CO, 80016
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5698
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.65
                                                                                                                     $________________________________
 Mechea Boughton                                                     Check all that apply.
 Road 88 C 3160                                                       Contingent
                                                                      Unliquidated
 Dunnigan, CA, 95937                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5699
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Meg Linn                                                            Check all that apply.
                                                                                                                      16.30
                                                                                                                     $________________________________
 702 E Fountain Blvd                                                  Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80903                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5700
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      109.99
                                                                                                                     $________________________________
 Megan Conner                                                        Check all that apply.
 5053 Victoria Avenue Southeast                                       Contingent
                                                                      Unliquidated
 Auburn, WA, 98092                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5701
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Megan Corley Mrozinski                                              Check all that apply.
                                                                                                                       67.15
                                                                                                                     $________________________________
 12 Shipmaster Drive, Apt B                                           Contingent
                                                                      Unliquidated
 Brigantine, NJ, 8203                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1166 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5702
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.03
                                                                                                                     $________________________________
 Megan Dotson                                                         Contingent
 5434 Potter Rd                                                       Unliquidated
                                                                      Disputed
 Burton, MI, 48509
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5703
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Megan Francois                                                      Check all that apply.
 6345 E. Colgate Dr.                                                  Contingent
                                                                      Unliquidated
 Tucson, AZ, 85710                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5704
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Megan Guidry                                                        Check all that apply.
                                                                                                                      13.98
                                                                                                                     $________________________________
 3625 Bryant Ave S, Unit 5                                            Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55409                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5705
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.06
                                                                                                                     $________________________________
 Megan Gupta                                                         Check all that apply.
 1838 Sinclair Drive                                                  Contingent
                                                                      Unliquidated
 Pleasanton, CA, 94588                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5706
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MEGAN GUPTA                                                         Check all that apply.
                                                                                                                       29.76
                                                                                                                     $________________________________
 1838 Sinclair Drive                                                  Contingent
                                                                      Unliquidated
 Pleasanton, CA, 94588                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1167 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5707
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             206.60
                                                                                                                     $________________________________
 Megan Horn                                                           Contingent
 2722 Tropicana Pkwy W                                                Unliquidated
                                                                      Disputed
 Cape Coral, FL, 33993-6202
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5708
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       163.91
                                                                                                                     $________________________________
 megan huggler                                                       Check all that apply.
 12928 18th Ave E                                                     Contingent
                                                                      Unliquidated
 Tacoma, WA, 98445                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5709
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Megan Johnstone                                                     Check all that apply.
                                                                                                                      62.99
                                                                                                                     $________________________________
 9127 PERSHING AVE                                                    Contingent
                                                                      Unliquidated
 ORANGEVALE, CA, 95662                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5710
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.99
                                                                                                                     $________________________________
 Megan Mahoney                                                       Check all that apply.
 6 Woodthrush Street                                                  Contingent
                                                                      Unliquidated
 Longview, WA, 98632                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5711
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Megan Root                                                          Check all that apply.
                                                                                                                       35.54
                                                                                                                     $________________________________
 24863 Abalar Way                                                     Contingent
                                                                      Unliquidated
 Ramona, CA, 92065                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.        Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor           _______________________________________________________
                   Name                           Document Page 1168 of Case number (if known)_____________________________________
                                                                          2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5712
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             148.98
                                                                                                                      $________________________________
 Megan Stephens                                                        Contingent
 9201 Monument Ct                                                      Unliquidated
                                                                       Disputed
 Fort Worth, TX, 76244
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  5713
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        43.99
                                                                                                                      $________________________________
 Megan villanueva                                                     Check all that apply.
 1342 E ALGONQUIN RD                                                   Contingent
                                                                       Unliquidated
 Des Plaines, IL, 60016                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  5714
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Megan Vinciguerra                                                    Check all that apply.
                                                                                                                       83.99
                                                                                                                      $________________________________
 199 Sherman Ave, APT 4C                                               Contingent
                                                                       Unliquidated
 New York, NY, 10034                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  5715
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       114.99
                                                                                                                      $________________________________
 Megan Willette                                                       Check all that apply.
 18 Alicia Drive                                                       Contingent
                                                                       Unliquidated
 Taunton, MA, 2780                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  5716
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Meggie Cliff                                                         Check all that apply.
                                                                                                                        23.99
                                                                                                                      $________________________________
 PO Box 985                                                            Contingent
                                                                       Unliquidated
 Kennebunkport, ME, 4046                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1169 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5717
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.49
                                                                                                                     $________________________________
 Meggy Banks                                                          Contingent
 10 Windsor Gate Drive                                                Unliquidated
                                                                      Disputed
 Dix Hills, NY, 11746
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5718
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       18.99
                                                                                                                     $________________________________
 Meghan O'Connor                                                     Check all that apply.
 12827 Fair Briar Ln                                                  Contingent
                                                                      Unliquidated
 Fairfax, VA, 22033                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5719
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mehrnaz Emami                                                       Check all that apply.
                                                                                                                      13.22
                                                                                                                     $________________________________
 10334 Santa Gertrudes Avenue, #39                                    Contingent
                                                                      Unliquidated
 Whittier, CA, 90603                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5720
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.99
                                                                                                                     $________________________________
 Mei Lin Schraer                                                     Check all that apply.
 2422 Knickerbocker Dr.                                               Contingent
                                                                      Unliquidated
 Charlotte, NC, 28212                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5721
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MeKesha Beavers                                                     Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 219 Springdale Road                                                  Contingent
                                                                      Unliquidated
 Gadsden, AL, 35901                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1170 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5722
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Mekhi Souryyavongsa                                                  Contingent
 5 Newtonville Ave                                                    Unliquidated
                                                                      Disputed
 Fitchburg, MA, 1420
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5723
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       40.97
                                                                                                                     $________________________________
 Mel Aristeigueta                                                    Check all that apply.
 1603 nw 29th street                                                  Contingent
                                                                      Unliquidated
 cape coral, FL, 33993                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5724
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mel Johnson                                                         Check all that apply.
                                                                                                                      107.96
                                                                                                                     $________________________________
 2425 G St                                                            Contingent
                                                                      Unliquidated
 Springfield, OR, 97477                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5725
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      53.49
                                                                                                                     $________________________________
 Mel Torres                                                          Check all that apply.
 850 Spruce Street                                                    Contingent
                                                                      Unliquidated
 Englewood, FL, 34223                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5726
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melani Weltens                                                      Check all that apply.
                                                                                                                       12.98
                                                                                                                     $________________________________
 115 Oak Meadow Ln                                                    Contingent
                                                                      Unliquidated
 Boerne, TX, 78006                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1171 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5727
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             328.62
                                                                                                                     $________________________________
 Melanie Gannon                                                       Contingent
 4995 Old Cliffs Rd                                                   Unliquidated
                                                                      Disputed
 San Diego, CA, 92120
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5728
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.15
                                                                                                                     $________________________________
 Melanie Garcia                                                      Check all that apply.
 12224 Jamestown Place                                                Contingent
                                                                      Unliquidated
 Chino, CA, 91710                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5729
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 melanie hansbauer                                                   Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 633 Linden Avenue                                                    Contingent
                                                                      Unliquidated
 Newport, KY, 41071                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5730
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      109.99
                                                                                                                     $________________________________
 Melanie Mckenzie                                                    Check all that apply.
 506 E TRINITY LN                                                     Contingent
                                                                      Unliquidated
 NASHVILLE, TN, 37207                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5731
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melanie Mckenzie                                                    Check all that apply.
                                                                                                                       247.96
                                                                                                                     $________________________________
 506 East Trinity Lane                                                Contingent
                                                                      Unliquidated
 Nashville, TN, 37207                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1172 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5732
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             285.68
                                                                                                                     $________________________________
 Melanie Pietenpol                                                    Contingent
 388 West Harborview Road                                             Unliquidated
                                                                      Disputed
 Santa Rosa Beach, FL, 32459
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5733
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       81.99
                                                                                                                     $________________________________
 Melchor David Gochioco                                              Check all that apply.
 7036 Puetollano Drive                                                Contingent
                                                                      Unliquidated
 North Las Vegas, NV, 89084                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5734
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melenda Mcquown                                                     Check all that apply.
                                                                                                                      69.54
                                                                                                                     $________________________________
 1226 Northeast 15th Street                                           Contingent
                                                                      Unliquidated
 Ocala, FL, 34470                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5735
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Melina Barrera                                                      Check all that apply.
 609 West Glaze Avenue                                                Contingent
                                                                      Unliquidated
 Exeter, CA, 93221                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5736
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melinda Gonzales                                                    Check all that apply.
                                                                                                                       29.98
                                                                                                                     $________________________________
 6204 75th Pl                                                         Contingent
                                                                      Unliquidated
 Lubbock, TX, 79424                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1173 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5737
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             127.99
                                                                                                                     $________________________________
 Melinda Franzen                                                      Contingent
 2903 Ribbon Creek Way                                                Unliquidated
                                                                      Disputed
 Spring, TX, 77389
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5738
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.61
                                                                                                                     $________________________________
 Melinda Vue                                                         Check all that apply.
 201 Elm Street                                                       Contingent
                                                                      Unliquidated
 Combined Locks, WI, 54113                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5739
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melisa Duncan                                                       Check all that apply.
                                                                                                                      41.97
                                                                                                                     $________________________________
 103 New Hampshire St                                                 Contingent
                                                                      Unliquidated
 Millinocket, ME, 4462                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5740
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                     $________________________________
 melissa arce                                                        Check all that apply.
 1630 West 62nd Street                                                Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90047                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5741
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melissa Biddle                                                      Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 2311 E. North Redwood Dr.                                            Contingent
                                                                      Unliquidated
 Anaheim, CA, 92806                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1174 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5742
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 melissa buck                                                         Contingent
 8705 Wild Diamond ave                                                Unliquidated
                                                                      Disputed
 Las vegas, NV, 89143
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5743
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Melissa Cannon                                                      Check all that apply.
 3860 Lindsey rd                                                      Contingent
                                                                      Unliquidated
 Marietta, GA, 30067                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5744
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 melissa castillo                                                    Check all that apply.
                                                                                                                      44.99
                                                                                                                     $________________________________
 711 n Cambria st                                                     Contingent
                                                                      Unliquidated
 Anaheim, CA, 92801                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5745
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8.99
                                                                                                                     $________________________________
 melissa christopher                                                 Check all that apply.
 101 heatherington ct                                                 Contingent
                                                                      Unliquidated
 lanoka harbor, NJ, 8734                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5746
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melissa Cole                                                        Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 1005 LEA AVE                                                         Contingent
                                                                      Unliquidated
 Miamisburg, OH, 45342                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1175 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5747
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5.99
                                                                                                                     $________________________________
 Melissa Costa                                                        Contingent
 741 Lee Ave                                                          Unliquidated
                                                                      Disputed
 Newman, CA, 95360
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5748
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.97
                                                                                                                     $________________________________
 Melissa Curtis                                                      Check all that apply.
 3 Ridge View court                                                   Contingent
                                                                      Unliquidated
 SMITHFIELD, RI, 2917                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5749
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melissa Dennis                                                      Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 244 West Mayfair Avenue                                              Contingent
                                                                      Unliquidated
 Orange, CA, 92867                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5750
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.31
                                                                                                                     $________________________________
 Melissa Dubois                                                      Check all that apply.
 11440 Callahan Mill dr                                               Contingent
                                                                      Unliquidated
 Charlotte, NC, 28213                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5751
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 melissa heinzer                                                     Check all that apply.
                                                                                                                       53.36
                                                                                                                     $________________________________
 4214 lee hwy                                                         Contingent
                                                                      Unliquidated
 ARLINGTON, VA, 22207                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                 1160
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1176 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5752
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             74.89
                                                                                                                     $________________________________
 Melissa Houle                                                        Contingent
 296 Colden Rd                                                        Unliquidated
                                                                      Disputed
 Colchester, VT, 5446
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5753
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.22
                                                                                                                     $________________________________
 Melissa Mauer                                                       Check all that apply.
 2917 West Main Street                                                Contingent
                                                                      Unliquidated
 Belleville, IL, 62226                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5754
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melissa Mesa                                                        Check all that apply.
                                                                                                                      45.98
                                                                                                                     $________________________________
 3405 Collins Avenue                                                  Contingent
                                                                      Unliquidated
 Evans, CO, 80620                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5755
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.99
                                                                                                                     $________________________________
 Melissa Munoz                                                       Check all that apply.
 740 Jackson Avenue                                                   Contingent
                                                                      Unliquidated
 Carpentersville, IL, 60110                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5756
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melissa Oronia                                                      Check all that apply.
                                                                                                                       7.69
                                                                                                                     $________________________________
 11 dawn lane                                                         Contingent
                                                                      Unliquidated
 Calumet city, IL, 60409                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1177 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5757
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.31
                                                                                                                     $________________________________
 Melissa phelan                                                       Contingent
 53 crater ave                                                        Unliquidated
                                                                      Disputed
 wharton, NJ, 7885
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5758
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Melissa Piatti                                                      Check all that apply.
 7680 Castano Avenue                                                  Contingent
                                                                      Unliquidated
 Atascadero, CA, 93422                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5759
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MELISSA SEAMAN                                                      Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 2175 COLUMBIA BLVD CASHIER DESK                                      Contingent
 EMMERT MOTORS                                                        Unliquidated
                                                                      Disputed
 SAINT HELENS, OR, 97051-1738
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5760
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Melissa Takeda                                                      Check all that apply.
 1520 Ridgecrest St                                                   Contingent
                                                                      Unliquidated
 MONTEREY PARK, CA, 91754                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5761
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melissa Terrizzi                                                    Check all that apply.
                                                                                                                       12.77
                                                                                                                     $________________________________
 1445 West Princeton Street                                           Contingent
                                                                      Unliquidated
 Orlando, FL, 32804                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1178 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5762
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Melissa Viera                                                        Contingent
 2498 North Roxbury Drive                                             Unliquidated
                                                                      Disputed
 San Bernardino, CA, 92404
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5763
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.90
                                                                                                                     $________________________________
 Melody Alderman                                                     Check all that apply.
 25562 Shortcut Pl E                                                  Contingent
                                                                      Unliquidated
 Lincoln, WA, 99147-8521                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5764
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melody Burgos                                                       Check all that apply.
                                                                                                                      37.01
                                                                                                                     $________________________________
 271 E KINGSBRIDGE RD APT 11E                                         Contingent
                                                                      Unliquidated
 BRONX, NY, 10458-4419                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5765
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Melodye Delis                                                       Check all that apply.
 645 Red Pepper Loop                                                  Contingent
                                                                      Unliquidated
 Chuluota, FL, 32766                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5766
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melvin Andrews 3                                                    Check all that apply.
                                                                                                                       186.80
                                                                                                                     $________________________________
 9932 Chamberlin Rd.                                                  Contingent
                                                                      Unliquidated
 Twinsburg, OH, 44087                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1179 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5767
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             199.98
                                                                                                                     $________________________________
 Melvin Buzon                                                         Contingent
 25 Brighton Court                                                    Unliquidated
                                                                      Disputed
 Daly City, CA, 94015
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5768
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.99
                                                                                                                     $________________________________
 Melvin Orellana                                                     Check all that apply.
 38 Garrison Ave                                                      Contingent
                                                                      Unliquidated
 San Francisco, CA, 94134                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5769
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Meredith Lund                                                       Check all that apply.
                                                                                                                      30.98
                                                                                                                     $________________________________
 3966, Colbourn                                                       Contingent
                                                                      Unliquidated
 Hobart, IN, 46342                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5770
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      139.93
                                                                                                                     $________________________________
 Merlin Barraza                                                      Check all that apply.
 3117 Friendswood Avenue                                              Contingent
                                                                      Unliquidated
 El Monte, CA, 91733                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5771
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Merlion .                                                           Check all that apply.
                                                                                                                       33.99
                                                                                                                     $________________________________
 5908 NE 112th Ave 12478                                              Contingent
                                                                      Unliquidated
 Portland, OR, 97250-9606                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1180 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5772
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.59
                                                                                                                     $________________________________
 Merrick Malik                                                        Contingent
 266 Cypress Lakes Drive                                              Unliquidated
                                                                      Disputed
 Slidell, LA, 70458
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5773
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.51
                                                                                                                     $________________________________
 Mia Bronston                                                        Check all that apply.
 530 Carrier St NE                                                    Contingent
                                                                      Unliquidated
 Grand Rapids, MI, 49505                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5774
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mia Marrero                                                         Check all that apply.
                                                                                                                      35.99
                                                                                                                     $________________________________
 2260 Sandringham Circle                                              Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46214                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5775
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.47
                                                                                                                     $________________________________
 Mia Reyes                                                           Check all that apply.
 2062 77th Street, 3r                                                 Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5776
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mia Santos                                                          Check all that apply.
                                                                                                                       75.75
                                                                                                                     $________________________________
 7307 North 16th Lane                                                 Contingent
                                                                      Unliquidated
 McAllen, TX, 78504                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1181 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5777
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.07
                                                                                                                     $________________________________
 Mia Shikhman                                                         Contingent
 8 Jacaranda Court Penfield NY                                        Unliquidated
                                                                      Disputed
 PENFIELD, NY, 14526
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5778
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.76
                                                                                                                     $________________________________
 Mia Wilmoth                                                         Check all that apply.
 33 Raintree Place                                                    Contingent
                                                                      Unliquidated
 Palm Coast, FL, 32164                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5779
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Micah Coulson                                                       Check all that apply.
                                                                                                                      63.99
                                                                                                                     $________________________________
 14 Chalet Street                                                     Contingent
                                                                      Unliquidated
 Cabot, AR, 72023                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5780
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      102.98
                                                                                                                     $________________________________
 Micah Jones                                                         Check all that apply.
 833 Reveille Rd                                                      Contingent
                                                                      Unliquidated
 Ft.Worth, TX, 76108                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5781
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Micah Kosse                                                         Check all that apply.
                                                                                                                       192.67
                                                                                                                     $________________________________
 1301 W 5th St, Apt 614                                               Contingent
                                                                      Unliquidated
 Austin, TX, 78703                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1182 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5782
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.98
                                                                                                                     $________________________________
 Micajah Hopkins                                                      Contingent
 206 North Trenton Street, 4                                          Unliquidated
                                                                      Disputed
 Arlington, VA, 22203
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5783
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Michael Geoege                                                      Check all that apply.
 1348 Saxon Ave                                                       Contingent
                                                                      Unliquidated
 Bay Shore, NY, 11706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5784
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Owens                                                       Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 3060 Samantha Way                                                    Contingent
                                                                      Unliquidated
 Gilbertsville, PA, 19525                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5785
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      95.84
                                                                                                                     $________________________________
 michael aguilar                                                     Check all that apply.
 1908 monterey dr                                                     Contingent
                                                                      Unliquidated
 deltona, FL, 32738                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5786
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Allen                                                       Check all that apply.
                                                                                                                       8.55
                                                                                                                     $________________________________
 2267 Mancke Dr                                                       Contingent
                                                                      Unliquidated
 Rock Hill, SC, 29732                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5787
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.84
                                                                                                                     $________________________________
 Michael Amato                                                        Contingent
 27 Gladiola Drive                                                    Unliquidated
                                                                      Disputed
 Howell, NJ, 7731
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5788
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.11
                                                                                                                     $________________________________
 Michael Ames                                                        Check all that apply.
 2726 Arlex Dr W                                                      Contingent
                                                                      Unliquidated
 Jacksonville, FL, 32211-4085                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5789
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Andrews                                                     Check all that apply.
                                                                                                                      690.73
                                                                                                                     $________________________________
 6667 Bill Lundy Road                                                 Contingent
                                                                      Unliquidated
 Laurel Hill, FL, 32567                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5790
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      180.97
                                                                                                                     $________________________________
 Michael Bahnemann                                                   Check all that apply.
 9407 Stuart Ave                                                      Contingent
                                                                      Unliquidated
 Manassas, VA, 20110                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5791
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael ball                                                        Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 205 Susan Lane                                                       Contingent
                                                                      Unliquidated
 Fayetteville, GA, 30215                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.        Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                            Document Page 1184 of Case number (if known)_____________________________________
                                                                          2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5792
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             60.96
                                                                                                                      $________________________________
 michael Battey                                                        Contingent
 2991 Frederick Douglass Boulevard, Apt 15c                            Unliquidated
                                                                       Disputed
 New York, NY, 10039
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  5793
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        17.99
                                                                                                                      $________________________________
 Michael Bava                                                         Check all that apply.
 880 Millcreek Road, 1                                                 Contingent
                                                                       Unliquidated
 Radcliff, KY, 40160                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  5794
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Michael Berger                                                       Check all that apply.
                                                                                                                       64.19
                                                                                                                      $________________________________
 7533 Bolero Ct                                                        Contingent
                                                                       Unliquidated
 Camby, IN, 46113                                                      Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  5795
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       118.88
                                                                                                                      $________________________________
 Michael Beyhan                                                       Check all that apply.
 1648 Exquisite Street                                                 Contingent
                                                                       Unliquidated
 Castle Rock, CO, 80109                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  5796
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Michael Bledsoe                                                      Check all that apply.
                                                                                                                        200.06
                                                                                                                      $________________________________
 48 Summerfield Ln                                                     Contingent
                                                                       Unliquidated
 Fredericksburg, VA, 22405-1771                                        Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1185 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5797
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.16
                                                                                                                     $________________________________
 Michael Bokausek                                                     Contingent
 6528 Inland Shores Dr                                                Unliquidated
                                                                      Disputed
 Mentor, OH, 44060
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5798
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.85
                                                                                                                     $________________________________
 Michael Boland                                                      Check all that apply.
 14 Hycrest Road                                                      Contingent
                                                                      Unliquidated
 Charlton, MA, 1507                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5799
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Bonner                                                      Check all that apply.
                                                                                                                      86.39
                                                                                                                     $________________________________
 24431 Glenforest Rd                                                  Contingent
                                                                      Unliquidated
 Euclid, OH, 44123-2358                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5800
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Michael Borelli                                                     Check all that apply.
 2921 West Turner Street                                              Contingent
                                                                      Unliquidated
 Allentown, PA, 18104                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5801
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Brooks                                                      Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 940 Thornhill Drive                                                  Contingent
                                                                      Unliquidated
 Shelbyville, KY, 40065                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1186 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5802
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Michael Brown                                                        Contingent
 13056 8th Ct NE                                                      Unliquidated
                                                                      Disputed
 Seattle, WA, 98125
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5803
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.00
                                                                                                                     $________________________________
 Michael Calderon                                                    Check all that apply.
 408 46st, apt 2                                                      Contingent
                                                                      Unliquidated
 Union City, NJ, 7087                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5804
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Campana                                                     Check all that apply.
                                                                                                                      36.24
                                                                                                                     $________________________________
 449 Ward Avenue                                                      Contingent
                                                                      Unliquidated
 Brick, NJ, 8724                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5805
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.99
                                                                                                                     $________________________________
 Michael Cardoso                                                     Check all that apply.
 17372 Jacquelyn Lane, #1                                             Contingent
                                                                      Unliquidated
 Huntington Beach, CA, 92647                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5806
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Castillo                                                    Check all that apply.
                                                                                                                       114.98
                                                                                                                     $________________________________
 643 East 37th Street                                                 Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90011                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.        Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor           _______________________________________________________
                   Name                           Document Page 1187 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5807
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             86.59
                                                                                                                      $________________________________
 Michael Chambers                                                      Contingent
 1416 Catfish Rapids                                                   Unliquidated
                                                                       Disputed
 New Braunfels, TX, 78130
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  5808
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        29.98
                                                                                                                      $________________________________
 Michael Christy                                                      Check all that apply.
 126 Elm Park Avenue                                                   Contingent
                                                                       Unliquidated
 Pleasant Ridge, MI, 48069                                             Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  5809
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Michael Cianciola                                                    Check all that apply.
                                                                                                                       140.95
                                                                                                                      $________________________________
 41 Gill St, Apt A                                                     Contingent
                                                                       Unliquidated
 Walpole, MA, 2081                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  5810
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       566.91
                                                                                                                      $________________________________
 Michael Cinotti                                                      Check all that apply.
 9 Ono Drive                                                           Contingent
                                                                       Unliquidated
 Wallingford, CT, 6492                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  5811
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Michael Clore                                                        Check all that apply.
                                                                                                                        27.04
                                                                                                                      $________________________________
 1605 N Karnes Ave                                                     Contingent
                                                                       Unliquidated
 Cameron, TX, 76520-1046                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



    Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1188 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5812
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Michael Corrao                                                       Contingent
 822 Downfield Lane                                                   Unliquidated
                                                                      Disputed
 Fuquay Varina, NC, 27526
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5813
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       71.16
                                                                                                                     $________________________________
 Michael Correa                                                      Check all that apply.
 421 E 28th Street                                                    Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90011                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5814
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Corsi                                                       Check all that apply.
                                                                                                                      40.99
                                                                                                                     $________________________________
 524 HOLMES RD                                                        Contingent
                                                                      Unliquidated
 MORTON, PA, 19070                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5815
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.98
                                                                                                                     $________________________________
 Michael Cortez                                                      Check all that apply.
 2467 1/2 California st                                               Contingent
                                                                      Unliquidated
 Huntington Park, CA, 90255                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5816
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Coutu                                                       Check all that apply.
                                                                                                                       106.56
                                                                                                                     $________________________________
 1060 West 10th Street                                                Contingent
                                                                      Unliquidated
 San Bernardino, CA, 92411                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1189 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5817
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Michael D Moore                                                      Contingent
 2741 W Camino De La Caterva                                          Unliquidated
                                                                      Disputed
 Tucson, AZ, 85742-9265
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5818
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.99
                                                                                                                     $________________________________
 Michael Dagdagan                                                    Check all that apply.
 23019 Mission Drive                                                  Contingent
                                                                      Unliquidated
 Carson, CA, 90745                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5819
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Davis                                                       Check all that apply.
                                                                                                                      74.98
                                                                                                                     $________________________________
 8522 Legacy Ct.                                                      Contingent
                                                                      Unliquidated
 Fishers, IN, 46038                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5820
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      70.36
                                                                                                                     $________________________________
 Michael Derczo                                                      Check all that apply.
 8 Kroeger Lane                                                       Contingent
                                                                      Unliquidated
 Piscataway, NJ, 8854                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5821
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Doxzon                                                      Check all that apply.
                                                                                                                       69.98
                                                                                                                     $________________________________
 149 North Rd.                                                        Contingent
                                                                      Unliquidated
 Deerfield, NH, 3037                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1190 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5822
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             181.89
                                                                                                                     $________________________________
 Michael Durst                                                        Contingent
 105 Pinehurst Drive                                                  Unliquidated
                                                                      Disputed
 Bradenton, FL, 34210
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5823
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.99
                                                                                                                     $________________________________
 Michael Ehemann                                                     Check all that apply.
 578 Stonegate Dr                                                     Contingent
                                                                      Unliquidated
 Russellville, AR, 72802                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5824
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MICHAEL ENG                                                         Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 9384 LAKE SERENA DR                                                  Contingent
                                                                      Unliquidated
 BOCA RATON, FL, 33496-6510                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5825
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                     $________________________________
 michael fabian                                                      Check all that apply.
 5833 Tuttle's Grove Boulevard                                        Contingent
                                                                      Unliquidated
 Dublin, OH, 43016                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5826
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Fink                                                        Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 39741 Nebraska 22                                                    Contingent
                                                                      Unliquidated
 Genoa, NE, 68640                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1191 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5827
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.98
                                                                                                                     $________________________________
 Michael Funkhouser                                                   Contingent
 11845 W Wethersfield Rd                                              Unliquidated
                                                                      Disputed
 El Mirage, AZ, 85335
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5828
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.99
                                                                                                                     $________________________________
 michael gangi                                                       Check all that apply.
 209 walnut street                                                    Contingent
                                                                      Unliquidated
 Massapequa park, NY, 11762                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5829
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Garcia                                                      Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 7156 Village Lake Dr                                                 Contingent
                                                                      Unliquidated
 Cypress, TX, 77433                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5830
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      106.96
                                                                                                                     $________________________________
 Michael Goldman                                                     Check all that apply.
 340 Key West Drive                                                   Contingent
                                                                      Unliquidated
 Evansville, IN, 47712                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5831
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Gordon                                                      Check all that apply.
                                                                                                                       231.04
                                                                                                                     $________________________________
 203 N PLYMOUTH BLVD                                                  Contingent
                                                                      Unliquidated
 LOS ANGELES, CA, 90004-3833                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1192 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5832
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Michael Graham                                                       Contingent
 18310 Mossy Creek Ln                                                 Unliquidated
                                                                      Disputed
 Richmond, TX, 77407
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5833
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.99
                                                                                                                     $________________________________
 Michael Grambo Jr                                                   Check all that apply.
 2000 Bowen Rd                                                        Contingent
                                                                      Unliquidated
 Elma, NY, 14059                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5834
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Gray                                                        Check all that apply.
                                                                                                                      22.34
                                                                                                                     $________________________________
 9324 Bradleigh Dr                                                    Contingent
                                                                      Unliquidated
 Winter Garden, FL, 34787                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5835
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.98
                                                                                                                     $________________________________
 Michael Gray                                                        Check all that apply.
 9324 Bradleigh Drive                                                 Contingent
                                                                      Unliquidated
 Winter Garden, FL, 34787                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5836
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Hammond                                                     Check all that apply.
                                                                                                                       171.19
                                                                                                                     $________________________________
 3527 Comstock Ave                                                    Contingent
                                                                      Unliquidated
 Bellevue, NE, 68123                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1193 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5837
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             145.79
                                                                                                                     $________________________________
 Michael Harasimowicz                                                 Contingent
 9361 Creek Rd                                                        Unliquidated
                                                                      Disputed
 BATAVIA, NY, 14020
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5838
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.98
                                                                                                                     $________________________________
 MICHAEL HARRIS                                                      Check all that apply.
 121 Edgar Road                                                       Contingent
                                                                      Unliquidated
 Townsend, DE, 19734                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5839
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Hayes                                                       Check all that apply.
                                                                                                                      69.99
                                                                                                                     $________________________________
 4600 Kost Drive                                                      Contingent
                                                                      Unliquidated
 Bismarck, ND, 58503                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5840
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      118.31
                                                                                                                     $________________________________
 Michael Howland                                                     Check all that apply.
 94 Locust Blvd                                                       Contingent
                                                                      Unliquidated
 Ronkonkoma, NY, 11779-3164                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5841
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Ival                                                        Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 17470 W Madison St                                                   Contingent
                                                                      Unliquidated
 Goodyear, AZ, 85338                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1194 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5842
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Michael Jackson                                                      Contingent
 59 Lenox st                                                          Unliquidated
                                                                      Disputed
 Rochester, NY, 14611
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5843
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       319.94
                                                                                                                     $________________________________
 Michael Jimenez                                                     Check all that apply.
 1813 NE 17th Avenue                                                  Contingent
                                                                      Unliquidated
 Hillsboro, OR, 97124                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5844
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Jimenez                                                     Check all that apply.
                                                                                                                      274.95
                                                                                                                     $________________________________
 1813 Northeast 17th Avenue                                           Contingent
                                                                      Unliquidated
 Hillsboro, OR, 97124                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5845
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      129.99
                                                                                                                     $________________________________
 Michael Kirchenwitz                                                 Check all that apply.
 7402 143rd Street West                                               Contingent
                                                                      Unliquidated
 Apple Valley, MN, 55124                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5846
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Kuo                                                         Check all that apply.
                                                                                                                       60.22
                                                                                                                     $________________________________
 18434 Dancy St                                                       Contingent
                                                                      Unliquidated
 Rowland Heights, CA, 91748-4752                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1195 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5847
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             86.79
                                                                                                                     $________________________________
 Michael Langford                                                     Contingent
 1718 Fairburn Road Dr. SW                                            Unliquidated
                                                                      Disputed
 Atlanta, GA, 30331
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5848
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 MICHAEL LIM                                                         Check all that apply.
 13320 DOUBLEGROVE ST.                                                Contingent
                                                                      Unliquidated
 BALDWIN PARK, CA, 91706                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5849
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Lloyd                                                       Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 159 Crosby Lane                                                      Contingent
                                                                      Unliquidated
 Rochester, NY, 14612                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5850
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      74.99
                                                                                                                     $________________________________
 Michael Luchtefeld                                                  Check all that apply.
 93 PEARL DR                                                          Contingent
                                                                      Unliquidated
 HILLSBORO, MO, 63050-5032                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5851
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Mabborang                                                   Check all that apply.
                                                                                                                       43.19
                                                                                                                     $________________________________
 8751 Carlisle CT                                                     Contingent
                                                                      Unliquidated
 Darien, IL, 60561                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1196 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5852
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Michael Manning                                                      Contingent
 12956 BOGGY POINTE DR                                                Unliquidated
                                                                      Disputed
 Orlando, FL, 32824-4842
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5853
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.23
                                                                                                                     $________________________________
 MICHAEL MATTEO                                                      Check all that apply.
 177 Mount Sinai-Coram Road                                           Contingent
                                                                      Unliquidated
 Coram, NY, 11727                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5854
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael McGuire                                                     Check all that apply.
                                                                                                                      59.99
                                                                                                                     $________________________________
 5700 North Ashland Avenue, #320                                      Contingent
                                                                      Unliquidated
 Chicago, IL, 60660                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5855
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.98
                                                                                                                     $________________________________
 Michael Merwin                                                      Check all that apply.
 Po Box 726                                                           Contingent
                                                                      Unliquidated
 Margaretville, NY, 12455                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5856
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Michau                                                      Check all that apply.
                                                                                                                       296.79
                                                                                                                     $________________________________
 5214 Futura Avenue                                                   Contingent
                                                                      Unliquidated
 Richmond, VA, 23231                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1197 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5857
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.01
                                                                                                                     $________________________________
 Michael Monleon                                                      Contingent
 1320 Brookwood St.                                                   Unliquidated
                                                                      Disputed
 Bensenville, IL, 60106
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5858
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.99
                                                                                                                     $________________________________
 Michael Morrison                                                    Check all that apply.
 4008 e 3rd st                                                        Contingent
                                                                      Unliquidated
 Dayton, OH, 45403                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5859
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Mullen                                                      Check all that apply.
                                                                                                                      16.99
                                                                                                                     $________________________________
 15 Arnold Rd                                                         Contingent
                                                                      Unliquidated
 Fiskdale, MA, 1518                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5860
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.43
                                                                                                                     $________________________________
 Michael Mullett                                                     Check all that apply.
 919 Traction Park                                                    Contingent
                                                                      Unliquidated
 Monongah, WV, 26554                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5861
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Murphree                                                    Check all that apply.
                                                                                                                       18.98
                                                                                                                     $________________________________
 418 minnesota st.                                                    Contingent
                                                                      Unliquidated
 LAWRENCE, KS, 66044                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1198 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5862
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17.98
                                                                                                                     $________________________________
 Michael Murphy                                                       Contingent
 121 South Elm Street                                                 Unliquidated
                                                                      Disputed
 Howell, MI, 48843
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5863
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       81.18
                                                                                                                     $________________________________
 Michael Myers                                                       Check all that apply.
 7 Margory Ct                                                         Contingent
                                                                      Unliquidated
 Novato, CA, 94947                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5864
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Neumann                                                     Check all that apply.
                                                                                                                      207.26
                                                                                                                     $________________________________
 160 Leahy Cir S                                                      Contingent
                                                                      Unliquidated
 Des Plaines, IL, 60016-6025                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5865
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.47
                                                                                                                     $________________________________
 Michael Nguyen                                                      Check all that apply.
 6487 Peacock Boulevard                                               Contingent
                                                                      Unliquidated
 Morrow, GA, 30260                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5866
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Nie                                                         Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 11725 MONTANA AVENUE, APT 205                                        Contingent
                                                                      Unliquidated
 LOS ANGELES, CA, 90049                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1199 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5867
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 Michael Olivier                                                      Contingent
 402 Brooklyn St                                                      Unliquidated
                                                                      Disputed
 Luling, LA, 70070
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5868
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       45.98
                                                                                                                     $________________________________
 Michael Owen                                                        Check all that apply.
 6212 Derrick Dr                                                      Contingent
                                                                      Unliquidated
 Louisville, KY, 40216                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5869
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Owens                                                       Check all that apply.
                                                                                                                      24.60
                                                                                                                     $________________________________
 246 Tindall Drive                                                    Contingent
                                                                      Unliquidated
 North Wilkesboro, NC, 28659                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5870
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      120.33
                                                                                                                     $________________________________
 Michael Page                                                        Check all that apply.
 275 Coulson Rd                                                       Contingent
                                                                      Unliquidated
 Chehalis, WA, 98532                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5871
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Panas                                                       Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 111 E NOBLE ST                                                       Contingent
                                                                      Unliquidated
 STOCKTON, CA, 95204                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1200 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5872
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             99.98
                                                                                                                     $________________________________
 Michael Paramo                                                       Contingent
 1230 E CityLine Drive, Apt 2401                                      Unliquidated
                                                                      Disputed
 Richardson, TX, 75082
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5873
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.98
                                                                                                                     $________________________________
 Michael Peden                                                       Check all that apply.
 1876 W Rosewood Dr                                                   Contingent
                                                                      Unliquidated
 Scottsburg, IN, 47170                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5874
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Pelletier                                                   Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 14 Dolores Pl                                                        Contingent
                                                                      Unliquidated
 Central Islip, NY, 11722                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5875
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      71.93
                                                                                                                     $________________________________
 Michael Penna                                                       Check all that apply.
 1171 Spring Meadow Drive                                             Contingent
                                                                      Unliquidated
 Quakertown, PA, 18951                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5876
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Pizzileo                                                    Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 3699 Martha Boulevard                                                Contingent
                                                                      Unliquidated
 Bethpage, NY, 11714                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1201 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5877
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Michael Raymond                                                      Contingent
 795 hammond dr, Apt 1702                                             Unliquidated
                                                                      Disputed
 Atlanta, GA, 30328
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5878
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.38
                                                                                                                     $________________________________
 Michael Roach                                                       Check all that apply.
 802 South Pearl Street                                               Contingent
                                                                      Unliquidated
 Denver, CO, 80209                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5879
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Rodriguez                                                   Check all that apply.
                                                                                                                      66.78
                                                                                                                     $________________________________
 14625 Central Avenue                                                 Contingent
                                                                      Unliquidated
 Baldwin Park, CA, 91706                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5880
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.31
                                                                                                                     $________________________________
 michael roldan                                                      Check all that apply.
 265 Martina Dr                                                       Contingent
                                                                      Unliquidated
 chambersburg, PA, 17201-8253                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5881
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Russell                                                     Check all that apply.
                                                                                                                       34.99
                                                                                                                     $________________________________
 909 Chokecherry Drive                                                Contingent
                                                                      Unliquidated
 Poplar, MT, 59255                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1202 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5882
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Michael Russo                                                        Contingent
 1 Anjo Dr                                                            Unliquidated
                                                                      Disputed
 Massapequa, NY, 11758-1106
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5883
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Michael Rust                                                        Check all that apply.
 14838 se Lincoln st                                                  Contingent
                                                                      Unliquidated
 Portland, OR, 97233-3031                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5884
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Salazar                                                     Check all that apply.
                                                                                                                      38.99
                                                                                                                     $________________________________
 7026 Glengarry Avenue                                                Contingent
                                                                      Unliquidated
 Whittier, CA, 90606                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5885
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Michael Salcedo                                                     Check all that apply.
 1166 South 15th                                                      Contingent
                                                                      Unliquidated
 Abilene, TX, 79602                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5886
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Sawayda                                                     Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 149 Camelot Circle                                                   Contingent
                                                                      Unliquidated
 Coraopolis, PA, 15108                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1203 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5887
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Michael Sawyer                                                       Contingent
 1592 Nathaniel Mitchell Rd                                           Unliquidated
                                                                      Disputed
 Dover, DE, 19904-7014
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5888
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.78
                                                                                                                     $________________________________
 Michael Schwob                                                      Check all that apply.
 2399 WINTER CLIFFS ST                                                Contingent
                                                                      Unliquidated
 HENDERSON, NV, 89052                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5889
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Setias                                                      Check all that apply.
                                                                                                                      8.61
                                                                                                                     $________________________________
 1701 E D St. Apt 811                                                 Contingent
                                                                      Unliquidated
 Ontario, CA, 91764                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5890
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.64
                                                                                                                     $________________________________
 Michael Shannon                                                     Check all that apply.
 1004 South 3rd Street                                                Contingent
                                                                      Unliquidated
 Leavenworth, KS, 66048                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5891
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Shea                                                        Check all that apply.
                                                                                                                       99.98
                                                                                                                     $________________________________
 5535 Starling Loop                                                   Contingent
                                                                      Unliquidated
 Lakeland, FL, 33810                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                 1188
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1204 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5892
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Michael Silva                                                        Contingent
 304 N. Begonia Ave. Apt. A, Apt. # A                                 Unliquidated
                                                                      Disputed
 Ontario, CA, 91762
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5893
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       63.96
                                                                                                                     $________________________________
 Michael Smith                                                       Check all that apply.
 2907 Mill Run Road                                                   Contingent
                                                                      Unliquidated
 Hampton Cove, AL, 35763                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5894
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Soule                                                       Check all that apply.
                                                                                                                      125.30
                                                                                                                     $________________________________
 6540 Cherry Blossom Lane                                             Contingent
                                                                      Unliquidated
 Warrenton, VA, 20187                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5895
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.05
                                                                                                                     $________________________________
 Michael Sousa                                                       Check all that apply.
 42 Mount Pleasant Street                                             Contingent
                                                                      Unliquidated
 Somerville, MA, 2145                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5896
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Stambaugh                                                   Check all that apply.
                                                                                                                       44.99
                                                                                                                     $________________________________
 1802 Louise Circle                                                   Contingent
                                                                      Unliquidated
 Las Cruces, NM, 88001                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.           Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                               Document Page 1205 of Case number (if known)_____________________________________
                                                                             2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5897
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             34.22
                                                                                                                         $________________________________
 Michael Stoltz                                                           Contingent
 115 IVYWOOD CT                                                           Unliquidated
                                                                          Disputed
 Lewisville, NC, 27023
                                                                         Basis for the claim: Customers with Outstanding Deposits



                                                                         Is the claim subject to offset?
         Date or dates debt was incurred          ___________________
                                                                         
                                                                         ✔
                                                                           No
                                                                          Yes
         Last 4 digits of account number          ___________________
  5898
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                           59.99
                                                                                                                         $________________________________
 Michael Suarez                                                          Check all that apply.
 75-05 113 street, forest hills, ny 11375, 2-D                            Contingent
                                                                          Unliquidated
 Forest hills, NY, 11375                                                  Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ___________________    Is the claim subject to offset?
         Last 4 digits of account number          ___________________
                                                                         
                                                                         ✔
                                                                           No
                                                                          Yes
  5899
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Michael Svonavec                                                        Check all that apply.
                                                                                                                          12.71
                                                                                                                         $________________________________
 1030 N 23rd St, Apt L1A                                                  Contingent
                                                                          Unliquidated
 Allentown, PA, 18104                                                     Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ___________________    Is the claim subject to offset?
         Last 4 digits of account number          __________________     
                                                                         ✔
                                                                           No
                                                                          Yes
  5900
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          11.99
                                                                                                                         $________________________________
 Michael Swyryt                                                          Check all that apply.
 66 Mediterranean Blvd N                                                  Contingent
                                                                          Unliquidated
 Port Saint Lucie, FL, 34952                                              Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                           No
         Last 4 digits of account number          ___________________     Yes
  5901
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Michael Tamura                                                          Check all that apply.
                                                                                                                           225.93
                                                                                                                         $________________________________
 5430 Camino De Bryant                                                    Contingent
                                                                          Unliquidated
 Yorba Linda, CA, 92887                                                   Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                           No
         Last 4 digits of account number          ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1206 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5902
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.99
                                                                                                                     $________________________________
 Michael Thomas                                                       Contingent
 4310 N 320 Rd , 4310 N 320 Rd                                        Unliquidated
                                                                      Disputed
 Haskell, OK, 74436
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5903
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Michael Tyau                                                        Check all that apply.
 210 Albacore Ln                                                      Contingent
                                                                      Unliquidated
 Foster City, CA, 94404                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5904
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael WADE Hobby                                                  Check all that apply.
                                                                                                                      109.99
                                                                                                                     $________________________________
 4298 Lillian Hall Ln                                                 Contingent
                                                                      Unliquidated
 Orlando, FL, 32812                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5905
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      257.69
                                                                                                                     $________________________________
 Michael Warren                                                      Check all that apply.
 311 West Soo Street                                                  Contingent
                                                                      Unliquidated
 Parkers Prairie, MN, 56361                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5906
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Weidenheimer                                                Check all that apply.
                                                                                                                       403.29
                                                                                                                     $________________________________
 21324 virgina ave. N.E.                                              Contingent
                                                                      Unliquidated
 Kingston, WA, 98346                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1207 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5907
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             90.62
                                                                                                                     $________________________________
 Michael Wilk                                                         Contingent
 330 Spencer St                                                       Unliquidated
                                                                      Disputed
 Elizabeth, NJ, 7202
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5908
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Michael Williams                                                    Check all that apply.
 4809 Shadycreek Lane                                                 Contingent
                                                                      Unliquidated
 Colleyville, TX, 76034                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5909
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Winters                                                     Check all that apply.
                                                                                                                      28.78
                                                                                                                     $________________________________
 18 Piedmont Road                                                     Contingent
                                                                      Unliquidated
 Edison, NJ, 8817                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5910
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.87
                                                                                                                     $________________________________
 Michael Zeitlin                                                     Check all that apply.
 174 Main Rd, PO Box 850, PO Box 850                                  Contingent
                                                                      Unliquidated
 Milford, ME, 4461                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5911
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 michaela witkowski                                                  Check all that apply.
                                                                                                                       27.99
                                                                                                                     $________________________________
 2560 carson way                                                      Contingent
                                                                      Unliquidated
 SACRAMENTO, CA, 95821                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1208 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5912
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.98
                                                                                                                     $________________________________
 Michele Doto                                                         Contingent
 124 Athena Lane                                                      Unliquidated
                                                                      Disputed
 Lexington, SC, 29072
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5913
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Michele Hawkins                                                     Check all that apply.
 329 Bennett St                                                       Contingent
                                                                      Unliquidated
 Woonsocket, RI, 2895                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5914
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michele Mulkey                                                      Check all that apply.
                                                                                                                      10.34
                                                                                                                     $________________________________
 8133 SW 140th Ave                                                    Contingent
                                                                      Unliquidated
 Dunnellon, FL, 34432-3425                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5915
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.96
                                                                                                                     $________________________________
 Michele Wanger                                                      Check all that apply.
 320 Overbrook Dr                                                     Contingent
                                                                      Unliquidated
 Belleair, FL, 33756                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5916
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michell Garza                                                       Check all that apply.
                                                                                                                       251.93
                                                                                                                     $________________________________
 5002 Rosemary Lane                                                   Contingent
                                                                      Unliquidated
 Houston, TX, 77093                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5917
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Michell Reyna Aguilar                                                Contingent
 3832 Jefferson Street                                                Unliquidated
                                                                      Disputed
 Napa, CA, 94558
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5918
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.78
                                                                                                                     $________________________________
 Michelle Vanek vician                                               Check all that apply.
 2114 east beach drive                                                Contingent
                                                                      Unliquidated
 Fox river grove, IL, 60021                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5919
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michelle Anderson                                                   Check all that apply.
                                                                                                                      44.99
                                                                                                                     $________________________________
 178 McMahon Rd                                                       Contingent
                                                                      Unliquidated
 Purvis, MS, 39475                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5920
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      95.70
                                                                                                                     $________________________________
 Michelle Blaise                                                     Check all that apply.
 299 Williams Road                                                    Contingent
                                                                      Unliquidated
 Wallingford, CT, 6492                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5921
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michelle Dier                                                       Check all that apply.
                                                                                                                       34.99
                                                                                                                     $________________________________
 3432 Dixiana Dr                                                      Contingent
                                                                      Unliquidated
 Lexington, KY, 40517                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5922
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.99
                                                                                                                     $________________________________
 MICHELLE GO-FRIGILLANA                                               Contingent
 20541 via tarara                                                     Unliquidated
                                                                      Disputed
 yorba linda, CA, 92887
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5923
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.78
                                                                                                                     $________________________________
 Michelle Hawkins                                                    Check all that apply.
 3011 Washington st                                                   Contingent
                                                                      Unliquidated
 Commerce, TX, 75428-3847                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5924
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michelle Lemus Alvarez                                              Check all that apply.
                                                                                                                      160.96
                                                                                                                     $________________________________
 3606 W 66th Pl                                                       Contingent
                                                                      Unliquidated
 Chicago, IL, 60629                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5925
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      67.97
                                                                                                                     $________________________________
 Michelle M Patrino                                                  Check all that apply.
 19591 Rainier View Rd SE                                             Contingent
                                                                      Unliquidated
 Monroe, WA, 98272                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5926
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michelle Marini                                                     Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 232 Torrey Pine Drive                                                Contingent
                                                                      Unliquidated
 Rochester, NY, 14612                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5927
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.99
                                                                                                                     $________________________________
 Michelle Maxey                                                       Contingent
 7429 West Palm Brook Place                                           Unliquidated
                                                                      Disputed
 Tucson, AZ, 85743
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5928
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.98
                                                                                                                     $________________________________
 Michelle McCarty                                                    Check all that apply.
 611 S ERIN AVE                                                       Contingent
                                                                      Unliquidated
 TUCSON, AZ, 85711-4888                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5929
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michelle Mullady                                                    Check all that apply.
                                                                                                                      59.53
                                                                                                                     $________________________________
 21203 Stone Saddle                                                   Contingent
                                                                      Unliquidated
 San Antonio, TX, 78258                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5930
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Michelle Murfin                                                     Check all that apply.
 6801 E. Cheery Lynn Rd., Apt. 4                                      Contingent
                                                                      Unliquidated
 Scottsdale, AZ, 85251                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5931
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michelle Prado                                                      Check all that apply.
                                                                                                                       36.79
                                                                                                                     $________________________________
 3044 Jamaica Dr, Apt. 1                                              Contingent
                                                                      Unliquidated
 Corpus Christi, TX, 78418                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1212 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5932
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.15
                                                                                                                     $________________________________
 Michelle Reese                                                       Contingent
 9952 O'Neil Rd,                                                      Unliquidated
                                                                      Disputed
 Port Byron, NY, 13140
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5933
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.42
                                                                                                                     $________________________________
 Michelle Saxton                                                     Check all that apply.
 3037 Palace Gate Court                                               Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89117                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5934
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michelle T.G.                                                       Check all that apply.
                                                                                                                      344.98
                                                                                                                     $________________________________
 13608 Southeast Rhine Street                                         Contingent
                                                                      Unliquidated
 Portland, OR, 97236                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5935
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      104.75
                                                                                                                     $________________________________
 Michelle Thomas                                                     Check all that apply.
 2062 State Route 350                                                 Contingent
                                                                      Unliquidated
 Macedon, NY, 14502                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5936
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michelle Timmins                                                    Check all that apply.
                                                                                                                       17.99
                                                                                                                     $________________________________
 3111 WEEPING WILLOW DR                                               Contingent
                                                                      Unliquidated
 BRIDGEVILLE, PA, 15017                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1213 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5937
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             48.70
                                                                                                                     $________________________________
 Michelle Vacio                                                       Contingent
 1627 Central East Freeway                                            Unliquidated
                                                                      Disputed
 Wichita Falls, TX, 76306
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5938
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.09
                                                                                                                     $________________________________
 Michelle Viana                                                      Check all that apply.
 41 South Rd                                                          Contingent
                                                                      Unliquidated
 Harrison, NY, 10528                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5939
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michelle Ybarzabal                                                  Check all that apply.
                                                                                                                      34.23
                                                                                                                     $________________________________
 185 Margate Drive                                                    Contingent
                                                                      Unliquidated
 Davenport, FL, 33897                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5940
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.61
                                                                                                                     $________________________________
 Michelle Young                                                      Check all that apply.
 1704 Broad Street                                                    Contingent
                                                                      Unliquidated
 Greensburg, PA, 15601                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5941
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 mig rodriguez                                                       Check all that apply.
                                                                                                                       39.86
                                                                                                                     $________________________________
 5048 31st Place, basement                                            Contingent
                                                                      Unliquidated
 Cicero, IL, 60804                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1214 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5942
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.98
                                                                                                                     $________________________________
 Miguel Angel                                                         Contingent
 124 Merriam Street, 2nd floor                                        Unliquidated
                                                                      Disputed
 Bridgeport, CT, 6604
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5943
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       79.11
                                                                                                                     $________________________________
 Miguel A Perez                                                      Check all that apply.
 2807 N Promenade Cir, Apt 14                                         Contingent
                                                                      Unliquidated
 Sheboygan, WI, 53081                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5944
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MIGUEL ALVAREZ                                                      Check all that apply.
                                                                                                                      99.98
                                                                                                                     $________________________________
 777 Ada St, Unit 3                                                   Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91911                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5945
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      185.71
                                                                                                                     $________________________________
 Miguel Arroyo                                                       Check all that apply.
 1003 Sanderling Drive                                                Contingent
                                                                      Unliquidated
 Hercules, CA, 94547                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5946
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Miguel Beltran                                                      Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 94-15 58Th Ave, 3                                                    Contingent
                                                                      Unliquidated
 Elmhurst, NY, 11373                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1215 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5947
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.09
                                                                                                                     $________________________________
 Miguel Beltran                                                       Contingent
 94-15 58th ave, Apt 3                                                Unliquidated
                                                                      Disputed
 Elmhurst, NY, 11373-5148
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5948
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Miguel Casarrubias                                                  Check all that apply.
 717 West 80th Street, Apt#3                                          Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90044                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5949
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Miguel Chavez jr                                                    Check all that apply.
                                                                                                                      86.80
                                                                                                                     $________________________________
 7844 S 70th East Ave                                                 Contingent
                                                                      Unliquidated
 Tulsa, OK, 74133                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5950
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      272.96
                                                                                                                     $________________________________
 miguel contreras                                                    Check all that apply.
 3432 110th St, Apt 2                                                 Contingent
                                                                      Unliquidated
 Corona, NY, 11368-1377                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5951
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Miguel Flores                                                       Check all that apply.
                                                                                                                       13.08
                                                                                                                     $________________________________
 720 Carignane Dr                                                     Contingent
                                                                      Unliquidated
 Gilroy, CA, 95020                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1216 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5952
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             68.95
                                                                                                                     $________________________________
 Miguel Garcia                                                        Contingent
 332 West Orangewood Avenue, Apt C                                    Unliquidated
                                                                      Disputed
 Anaheim, CA, 92802
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5953
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.65
                                                                                                                     $________________________________
 Miguel Genao                                                        Check all that apply.
 2436 W Kimberly Ave                                                  Contingent
                                                                      Unliquidated
 Milwaukee, WI, 53221                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5954
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Miguel Kanaski                                                      Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 4088 Split Rail Ln                                                   Contingent
                                                                      Unliquidated
 Fenton, MI, 48430                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5955
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.99
                                                                                                                     $________________________________
 miguel morais                                                       Check all that apply.
 4 settlers way                                                       Contingent
                                                                      Unliquidated
 South Easton, MA, 2375                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5956
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Miguel Moran                                                        Check all that apply.
                                                                                                                       71.08
                                                                                                                     $________________________________
 658 Chemeketa Dr                                                     Contingent
                                                                      Unliquidated
 San Jose, CA, 95123                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1217 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5957
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             53.98
                                                                                                                     $________________________________
 Miguel Ruiz                                                          Contingent
 656 s eastern ave                                                    Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90022
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5958
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       353.93
                                                                                                                     $________________________________
 Miguel Torres                                                       Check all that apply.
 1086 Bethel Church Road                                              Contingent
                                                                      Unliquidated
 Lincolnton, NC, 28092                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5959
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Miguel Trillo                                                       Check all that apply.
                                                                                                                      27.98
                                                                                                                     $________________________________
 2457 W ZEPHER AVE                                                    Contingent
                                                                      Unliquidated
 FLAGSTAFF, AZ, 86001-2543                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5960
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.08
                                                                                                                     $________________________________
 Mihir Ganesan                                                       Check all that apply.
 3196 Cortona Drive                                                   Contingent
                                                                      Unliquidated
 San Jose, CA, 95135                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5961
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mikayla Johnson                                                     Check all that apply.
                                                                                                                       28.99
                                                                                                                     $________________________________
 3000 springfield ave.                                                Contingent
                                                                      Unliquidated
 Chesapeake, VA, 23325                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                 1202
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1218 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5962
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             75.40
                                                                                                                     $________________________________
 Mike Ade                                                             Contingent
 6104 Southern Drive                                                  Unliquidated
                                                                      Disputed
 St. Louis, MO, 63123
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5963
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.86
                                                                                                                     $________________________________
 Mike Allen                                                          Check all that apply.
 1805 E Lone Oak Drive                                                Contingent
                                                                      Unliquidated
 Draper, UT, 84020                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5964
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 mike blackley                                                       Check all that apply.
                                                                                                                      81.97
                                                                                                                     $________________________________
 520 Danver Lane                                                      Contingent
                                                                      Unliquidated
 Beech Grove, IN, 46107                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5965
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      48.50
                                                                                                                     $________________________________
 Mike Corcoran                                                       Check all that apply.
 10501 South Spaulding Avenue                                         Contingent
                                                                      Unliquidated
 Chicago, IL, 60655                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5966
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mike Filisha                                                        Check all that apply.
                                                                                                                       29.98
                                                                                                                     $________________________________
 12881 Marian Dr.                                                     Contingent
                                                                      Unliquidated
 Lemont, IL, 60439                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1203
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1219 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5967
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Mike Fumai Jr                                                        Contingent
 9 Abenaki Trail                                                      Unliquidated
                                                                      Disputed
 Oak Ridge, NJ, 7438
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5968
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.09
                                                                                                                     $________________________________
 Mike Harper                                                         Check all that apply.
 6 Tait drive                                                         Contingent
                                                                      Unliquidated
 New Freedom, PA, 17349                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5969
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mike Hess Jr.                                                       Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 6540 Alder Ct.                                                       Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46268                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5970
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Mike Hoggatt                                                        Check all that apply.
 4405 Southeast Franklin Street                                       Contingent
                                                                      Unliquidated
 Milwaukie, OR, 97222                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5971
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mike Marra                                                          Check all that apply.
                                                                                                                       12.95
                                                                                                                     $________________________________
 601 Kayleigh Dr                                                      Contingent
                                                                      Unliquidated
 Webster, NY, 14580                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1204
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1220 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5972
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Mike Mcdonough                                                       Contingent
 390 cherokee dr                                                      Unliquidated
                                                                      Disputed
 Cheektowaga, NY, 14225
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5973
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       108.93
                                                                                                                     $________________________________
 Mike Muschynka                                                      Check all that apply.
 925 Marshall Dr                                                      Contingent
                                                                      Unliquidated
 Warminster, PA, 18974-1809                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5974
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mike Portnoy                                                        Check all that apply.
                                                                                                                      28.61
                                                                                                                     $________________________________
 1618 Winston Road                                                    Contingent
                                                                      Unliquidated
 Gladwyne, PA, 19035                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5975
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Mike Roupas                                                         Check all that apply.
 757 N Orleans Street #1002                                           Contingent
                                                                      Unliquidated
 Chicago, IL, 60654                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5976
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mike Siler                                                          Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 7614 NW FOLKSTONE WAY                                                Contingent
                                                                      Unliquidated
 Lawton, OK, 73505-4107                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1205
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1221 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5977
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             30.98
                                                                                                                     $________________________________
 Mike Sperano                                                         Contingent
 886 Roosa Gap Rd                                                     Unliquidated
                                                                      Disputed
 Bloomingburg, NY, 12721
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5978
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       69.86
                                                                                                                     $________________________________
 Mike Stedham                                                        Check all that apply.
 3302 Hidden Lake Drive West                                          Contingent
                                                                      Unliquidated
 Jacksonville, FL, 32216                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5979
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mike Struble                                                        Check all that apply.
                                                                                                                      11.92
                                                                                                                     $________________________________
 23 S Lakeview Dr                                                     Contingent
                                                                      Unliquidated
 Goddard, KS, 67052                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5980
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Mike Terranova                                                      Check all that apply.
 30 CIDER MILL RD                                                     Contingent
                                                                      Unliquidated
 FRAMINGHAM, MA, 1701                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5981
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mike Vain                                                           Check all that apply.
                                                                                                                       11.98
                                                                                                                     $________________________________
 6789 Portage Avenue                                                  Contingent
                                                                      Unliquidated
 Portage, IN, 46368                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1206
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1222 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5982
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             129.89
                                                                                                                     $________________________________
 Mike Weigand                                                         Contingent
 5605A Creek Bottom                                                   Unliquidated
                                                                      Disputed
 Austin, TX, 78731
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5983
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       56.70
                                                                                                                     $________________________________
 Mikey Bennett                                                       Check all that apply.
 6054 Sheffield Cove                                                  Contingent
                                                                      Unliquidated
 Southaven, MS, 38671                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5984
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mikey Pantel                                                        Check all that apply.
                                                                                                                      77.99
                                                                                                                     $________________________________
 7532 Rhone lane                                                      Contingent
                                                                      Unliquidated
 Huntington beach, CA, 92647                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5985
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Mikey Santiago                                                      Check all that apply.
 2411 Brownwood Dr.                                                   Contingent
                                                                      Unliquidated
 Mulberry, FL, 33860                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5986
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mikie Dantonio III                                                  Check all that apply.
                                                                                                                       130.96
                                                                                                                     $________________________________
 5 Emile Avenue                                                       Contingent
                                                                      Unliquidated
 Kenner, LA, 70065                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1207
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1223 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5987
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Mildred Shipman                                                      Contingent
 1483 Garywood Ave                                                    Unliquidated
                                                                      Disputed
 Columbus, OH, 43227
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5988
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.16
                                                                                                                     $________________________________
 miles kelley                                                        Check all that apply.
 19361 brookhurst street, 87                                          Contingent
                                                                      Unliquidated
 huntington beach, CA, 92646                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5989
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Militza Rincon                                                      Check all that apply.
                                                                                                                      37.87
                                                                                                                     $________________________________
 305 West Baker Road, 1303                                            Contingent
                                                                      Unliquidated
 Baytown, TX, 77521                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5990
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.99
                                                                                                                     $________________________________
 Milka Mercado                                                       Check all that apply.
 9209 Shellgrove Ct                                                   Contingent
                                                                      Unliquidated
 Tampa, FL, 33615                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5991
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Milton Diego                                                        Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 14712 Gledhill St                                                    Contingent
                                                                      Unliquidated
 Panorama City, CA, 91402                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1208
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1224 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5992
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             69.30
                                                                                                                     $________________________________
 Min Liu                                                              Contingent
 6120 Ravens Crest Drive                                              Unliquidated
                                                                      Disputed
 Plainsboro, NJ, 8536
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5993
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Mina Lampe                                                          Check all that apply.
 9588 Akes Hill Road                                                  Contingent
                                                                      Unliquidated
 Dillsboro, IN, 47018                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5994
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mina zhang                                                          Check all that apply.
                                                                                                                      41.43
                                                                                                                     $________________________________
 1350 Boylston Street, 1410                                           Contingent
                                                                      Unliquidated
 Boston, MA, 2215                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  5995
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.99
                                                                                                                     $________________________________
 Mindy Bentley                                                       Check all that apply.
 9964 Jackson Street                                                  Contingent
                                                                      Unliquidated
 Yelm, WA, 98597                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  5996
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 mindy leonard                                                       Check all that apply.
                                                                                                                       252.95
                                                                                                                     $________________________________
 970 Monticello ave                                                   Contingent
                                                                      Unliquidated
 DAVIE, FL, 33325                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1209
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1225 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  5997
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             40.74
                                                                                                                     $________________________________
 Mindy Starcher                                                       Contingent
 210 Clark Drive                                                      Unliquidated
                                                                      Disputed
 Marietta, OH, 45750
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  5998
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Minerva Salas                                                       Check all that apply.
 844 N Oxford Ave                                                     Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90029                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  5999
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Minghao Chen                                                        Check all that apply.
                                                                                                                      36.20
                                                                                                                     $________________________________
 3111 La Campania                                                     Contingent
                                                                      Unliquidated
 Alameda, CA, 94502                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6000
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      99.98
                                                                                                                     $________________________________
 minghua hu                                                          Check all that apply.
 5419 Demerest Lane                                                   Contingent
                                                                      Unliquidated
 San Jose, CA, 95138                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6001
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Minh Cao                                                            Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 14552 Petsworth Lane                                                 Contingent
                                                                      Unliquidated
 Westminster, CA, 92683                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1226 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6002
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             77.99
                                                                                                                     $________________________________
 Miranda Luna                                                         Contingent
 811 Derrickson Drive                                                 Unliquidated
                                                                      Disputed
 El Paso, TX, 79912
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6003
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Miranda Gruber                                                      Check all that apply.
 1062 56e Avenue                                                      Contingent
                                                                      Unliquidated
 Montr?©al, QC, H1A 2R8                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6004
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Miranda Komlenovich                                                 Check all that apply.
                                                                                                                      42.99
                                                                                                                     $________________________________
 31227 SHAW DR                                                        Contingent
                                                                      Unliquidated
 WARREN, MI, 48093-1666                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6005
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.01
                                                                                                                     $________________________________
 Miranda Luparello                                                   Check all that apply.
 26 Belmont Ave                                                       Contingent
                                                                      Unliquidated
 Plainview, NY, 11803                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6006
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Miranda Narcy                                                       Check all that apply.
                                                                                                                       13.99
                                                                                                                     $________________________________
 1236 Stockton Pl                                                     Contingent
                                                                      Unliquidated
 Escondido, CA, 92026                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6007
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             63.17
                                                                                                                     $________________________________
 Miranda Schnakenberg                                                 Contingent
 1533 Mahixon Road                                                    Unliquidated
                                                                      Disputed
 Manquin, VA, 23106
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6008
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       192.94
                                                                                                                     $________________________________
 Mircea Mihalache                                                    Check all that apply.
 5134 N. Keeler Ave.                                                  Contingent
                                                                      Unliquidated
 Chicago, IL, 60630                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6009
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mirely Peralta                                                      Check all that apply.
                                                                                                                      211.10
                                                                                                                     $________________________________
 63 Hudson Street                                                     Contingent
                                                                      Unliquidated
 Newark, NJ, 7103                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6010
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      168.99
                                                                                                                     $________________________________
 Mireya Martinez                                                     Check all that apply.
 10524 Leeds St                                                       Contingent
                                                                      Unliquidated
 Norwalk, CA, 90650                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6011
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Miriam Lozano                                                       Check all that apply.
                                                                                                                       70.01
                                                                                                                     $________________________________
 2446 Nutwood Ave, H11                                                Contingent
                                                                      Unliquidated
 Fullerton, CA, 92831                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                           Document Page 1228 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6012
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.32
                                                                                                                     $________________________________
 Miriam Oliva                                                         Contingent
 11865 Cali Drive                                                     Unliquidated
                                                                      Disputed
 Painesville, OH, 44077
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6013
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Mirko Caldera                                                       Check all that apply.
 11170 SW 25th Street                                                 Contingent
                                                                      Unliquidated
 Miami, FL, 33165                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6014
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Miro Mora                                                           Check all that apply.
                                                                                                                      33.32
                                                                                                                     $________________________________
 900 West Monte Vista Avenue, B-129                                   Contingent
                                                                      Unliquidated
 Turlock, CA, 95382                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6015
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      84.94
                                                                                                                     $________________________________
 Miroslaw Zadroga                                                    Check all that apply.
 65 MONTCLAIR DR.                                                     Contingent
                                                                      Unliquidated
 EAST HARTFORD, CT, 06118-3328                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6016
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 misael luciano                                                      Check all that apply.
                                                                                                                       62.98
                                                                                                                     $________________________________
 highland park calle cactus #1220                                     Contingent
                                                                      Unliquidated
 San Juan, PR, 924                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1229 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6017
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             43.98
                                                                                                                     $________________________________
 MISHAEL JOHNSON                                                      Contingent
 7134 east 45th street                                                Unliquidated
                                                                      Disputed
 Indianapolis, IN, 46226
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6018
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.90
                                                                                                                     $________________________________
 Misty Lewis                                                         Check all that apply.
 403 Tilbury Lane                                                     Contingent
                                                                      Unliquidated
 Austin, TX, 78745                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6019
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mitch Stander                                                       Check all that apply.
                                                                                                                      25.91
                                                                                                                     $________________________________
 3629 New York 3                                                      Contingent
                                                                      Unliquidated
 Fulton, NY, 13069                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6020
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      215.17
                                                                                                                     $________________________________
 Mitchell Lundberg                                                   Check all that apply.
 5077 Bayleaf Dr                                                      Contingent
                                                                      Unliquidated
 Sterling Heights, MI, 48314                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6021
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mitchell Saisho                                                     Check all that apply.
                                                                                                                       35.27
                                                                                                                     $________________________________
 1220 Rio Blanco Street                                               Contingent
                                                                      Unliquidated
 Montebello, CA, 90640                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1230 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6022
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             160.89
                                                                                                                     $________________________________
 Mitchell Schell                                                      Contingent
 3648 Hillcrest Road                                                  Unliquidated
                                                                      Disputed
 El Sobrante, CA, 94803
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6023
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       68.99
                                                                                                                     $________________________________
 Mitchell slachter                                                   Check all that apply.
 580 Fairfield Ave NW                                                 Contingent
                                                                      Unliquidated
 Grand Rapids, MI, 49504-4649                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6024
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Miwa Ffuru                                                          Check all that apply.
                                                                                                                      80.98
                                                                                                                     $________________________________
 8127 maugham drive                                                   Contingent
                                                                      Unliquidated
 reynoldsburg, OH, 43068                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6025
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.95
                                                                                                                     $________________________________
 Moe Serrano                                                         Check all that apply.
 54 Foster Road                                                       Contingent
                                                                      Unliquidated
 Rochester, NY, 14616                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6026
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mohan Udayabhanu                                                    Check all that apply.
                                                                                                                       13.93
                                                                                                                     $________________________________
 308 W Amiron Way, Apt D                                              Contingent
                                                                      Unliquidated
 Orem, UT, 84057-8341                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6027
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.31
                                                                                                                     $________________________________
 Moises Arrue                                                         Contingent
 3865 Duke Street                                                     Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90031
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6028
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.32
                                                                                                                     $________________________________
 Mok?© Bean?©                                                        Check all that apply.
 1246 East 103rd Street                                               Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11236                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6029
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Molly Breen-Aronson                                                 Check all that apply.
                                                                                                                      42.99
                                                                                                                     $________________________________
 2A Harvard St                                                        Contingent
                                                                      Unliquidated
 Arlington, MA, 2476                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6030
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.51
                                                                                                                     $________________________________
 Molly Carrigan                                                      Check all that apply.
 4375 Baywood Drive                                                   Contingent
                                                                      Unliquidated
 Traverse City, MI, 49686                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6031
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Molly Colopy                                                        Check all that apply.
                                                                                                                       49.09
                                                                                                                     $________________________________
 2400 Carroll Eastern Rd NE                                           Contingent
                                                                      Unliquidated
 Pleasantville, OH, 43148                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor           _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6032
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             12.65
                                                                                                                      $________________________________
 Molly Kubichek                                                        Contingent
 2681 Maple Grove School Road                                          Unliquidated
                                                                       Disputed
 Oconto, WI, 54153
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  6033
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        25.03
                                                                                                                      $________________________________
 Molly Tyler                                                          Check all that apply.
 8607 n beaman ave                                                     Contingent
                                                                       Unliquidated
 kansas city, MO, 64154                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  6034
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Momo Garza                                                           Check all that apply.
                                                                                                                       11.90
                                                                                                                      $________________________________
 2705 Lima Street                                                      Contingent
                                                                       Unliquidated
 Brownsville, TX, 78521                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  6035
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       5.99
                                                                                                                      $________________________________
 Momoka Milph                                                         Check all that apply.
 5817 N. Houghton St                                                   Contingent
                                                                       Unliquidated
 Portland, OR, 97203                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  6036
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Monica Paige                                                         Check all that apply.
                                                                                                                        22.99
                                                                                                                      $________________________________
 426 colonial dr                                                       Contingent
                                                                       Unliquidated
 Garland, TX, 75043                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



    Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1233 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6037
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.92
                                                                                                                     $________________________________
 Monica Alvarez                                                       Contingent
 PO BOX 5192                                                          Unliquidated
                                                                      Disputed
 San Diego, CA, 92165
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6038
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.99
                                                                                                                     $________________________________
 Monica Burgos                                                       Check all that apply.
 145 Treasure Way, Apt A                                              Contingent
                                                                      Unliquidated
 San Antonio, TX, 78209                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6039
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Monica Collier                                                      Check all that apply.
                                                                                                                      23.53
                                                                                                                     $________________________________
 1107 Tahiti Cir,                                                     Contingent
                                                                      Unliquidated
 Davenport, FL, 33897                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6040
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                     $________________________________
 monica duenas                                                       Check all that apply.
 3009 fillmore way, 108                                               Contingent
                                                                      Unliquidated
 Costa mesa, CA, 92626                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6041
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Monica Kamin                                                        Check all that apply.
                                                                                                                       137.81
                                                                                                                     $________________________________
 11260 Overland Ave, #5A                                              Contingent
                                                                      Unliquidated
 Culver City, CA, 90230                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1234 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6042
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Monica Nguyen                                                        Contingent
 4110 Phoenix Dr                                                      Unliquidated
                                                                      Disputed
 Springfield, OH, 45503
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6043
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.99
                                                                                                                     $________________________________
 Monica Ortiz                                                        Check all that apply.
 6247 Cross River Drive                                               Contingent
                                                                      Unliquidated
 RIVERSIDE, CA, 92509                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6044
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Monica Peele                                                        Check all that apply.
                                                                                                                      81.98
                                                                                                                     $________________________________
 35606 Aster Dr.                                                      Contingent
                                                                      Unliquidated
 Wildomar, CA, 92595                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6045
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      110.24
                                                                                                                     $________________________________
 Monica Toledo                                                       Check all that apply.
 3719 W 116th St                                                      Contingent
                                                                      Unliquidated
 Hawthorne, CA, 90250-2623                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6046
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Monica Wang                                                         Check all that apply.
                                                                                                                       57.09
                                                                                                                     $________________________________
 3570 Torrey View Court                                               Contingent
                                                                      Unliquidated
 San Diego, CA, 92130                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1235 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6047
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Monica Zungali                                                       Contingent
 1987 Plank Road                                                      Unliquidated
                                                                      Disputed
 Carrolltown, PA, 15722
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6048
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       41.99
                                                                                                                     $________________________________
 Monik Vasquez                                                       Check all that apply.
 4463 Morganford Road , A                                             Contingent
                                                                      Unliquidated
 St Louis , MO, 63116                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6049
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Monique Arellano                                                    Check all that apply.
                                                                                                                      18.99
                                                                                                                     $________________________________
 949 Orchid Way                                                       Contingent
                                                                      Unliquidated
 San Diego, CA, 92154                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6050
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      92.97
                                                                                                                     $________________________________
 Monique Carraby-Valentine                                           Check all that apply.
 45 W Bort Street Apt 4                                               Contingent
                                                                      Unliquidated
 Long Beach, CA, 90805                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6051
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Monique Cepeda                                                      Check all that apply.
                                                                                                                       29.22
                                                                                                                     $________________________________
 2222 Glenfield Ave                                                   Contingent
                                                                      Unliquidated
 Dallas, TX, 75224                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1236 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6052
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Monique Duvall                                                       Contingent
 PO Box 43005                                                         Unliquidated
                                                                      Disputed
 Tucson, AZ, 85733
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6053
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       61.94
                                                                                                                     $________________________________
 Monique Frisby                                                      Check all that apply.
 2455 South Sawtelle Avenue                                           Contingent
                                                                      Unliquidated
 Tucson, AZ, 85713                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6054
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Monique Snagg                                                       Check all that apply.
                                                                                                                      128.39
                                                                                                                     $________________________________
 3150 Candace Lane                                                    Contingent
                                                                      Unliquidated
 Conyers, GA, 30094                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6055
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      75.94
                                                                                                                     $________________________________
 Montana Romo                                                        Check all that apply.
 P.O. Box 65                                                          Contingent
                                                                      Unliquidated
 Black River Falls, WI, 54615                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6056
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Morgan Anderson                                                     Check all that apply.
                                                                                                                       103.78
                                                                                                                     $________________________________
 712 Wellborn Avenue                                                  Contingent
                                                                      Unliquidated
 Carrabelle, FL, 32322                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1237 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6057
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 Morgan Byrd                                                          Contingent
 12633 Roy Road                                                       Unliquidated
                                                                      Disputed
 Pearland, TX, 77581
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6058
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.15
                                                                                                                     $________________________________
 Morgan Penny                                                        Check all that apply.
 5114 Shenandoah St                                                   Contingent
                                                                      Unliquidated
 Ventura, CA, 93003                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6059
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Morgan Rogge                                                        Check all that apply.
                                                                                                                      32.76
                                                                                                                     $________________________________
 5747 Cherry Way                                                      Contingent
                                                                      Unliquidated
 Livermore, CA, 94551-8697                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6060
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Morpheus Esquivel                                                   Check all that apply.
 14948 Southwest Tracy Ann Court, Apartment                           Contingent
 101 suite 3                                                          Unliquidated
                                                                      Disputed
 Beaverton, OR, 97007
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6061
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Morris Barfield Jr                                                  Check all that apply.
                                                                                                                       21.19
                                                                                                                     $________________________________
 1242 Anacostia Rd SE                                                 Contingent
                                                                      Unliquidated
 Washington, DC, 20019-2113                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1238 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6062
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Movses Guluzian                                                      Contingent
 38 Carlyle Green                                                     Unliquidated
                                                                      Disputed
 Staten Island, NY, 10312
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6063
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Ms julie kelley                                                     Check all that apply.
 1848 elevado ave                                                     Contingent
                                                                      Unliquidated
 Arcadia, CA, 91006                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6064
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ms Sasha Khan                                                       Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 5 Copper Ridge Circle                                                Contingent
                                                                      Unliquidated
 Egg Harbor Township, NJ, 8234                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6065
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      53.00
                                                                                                                     $________________________________
 Ms. Z                                                               Check all that apply.
 10112 Gard Avenue                                                    Contingent
                                                                      Unliquidated
 Santa Fe Springs, CA, 90670-3608                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6066
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Muchen Zhang                                                        Check all that apply.
                                                                                                                       126.98
                                                                                                                     $________________________________
 2204 S Bentley Ave, Apt 303                                          Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90064                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1239 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6067
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             124.99
                                                                                                                     $________________________________
 Mufan Lu                                                             Contingent
 355 Serrano Drive, APT 8D                                            Unliquidated
                                                                      Disputed
 San Francisco, CA, 94132
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6068
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       33.99
                                                                                                                     $________________________________
 Muhammed Fayaz                                                      Check all that apply.
 3109 Charing Cross                                                   Contingent
                                                                      Unliquidated
 Wilmington, DE, 19808                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6069
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Muriel Hasso                                                        Check all that apply.
                                                                                                                      54.99
                                                                                                                     $________________________________
 1180 Sidonia Ct                                                      Contingent
                                                                      Unliquidated
 Encinitas, CA, 92024-2227                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6070
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      18.99
                                                                                                                     $________________________________
 MUY CHANG                                                           Check all that apply.
 14346 Fosters Run Ln                                                 Contingent
                                                                      Unliquidated
 Humble, TX, 77396                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6071
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Mya-Mima Arcos                                                      Check all that apply.
                                                                                                                       32.09
                                                                                                                     $________________________________
 9961 SW 16th ST                                                      Contingent
                                                                      Unliquidated
 Miami, FL, 33165                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1240 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6072
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.99
                                                                                                                     $________________________________
 Myrisha Prince                                                       Contingent
 1909 Hazelwood Avenue, Apt A                                         Unliquidated
                                                                      Disputed
 Fort Wayne, IN, 46805-1393
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6073
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.99
                                                                                                                     $________________________________
 Myrna Toldy                                                         Check all that apply.
 3440 Hollywood Boulevard, Suite 415                                  Contingent
                                                                      Unliquidated
 Hollywood, FL, 33021                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6074
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Na Cho                                                              Check all that apply.
                                                                                                                      54.64
                                                                                                                     $________________________________
 20130 26th Dr SE                                                     Contingent
                                                                      Unliquidated
 Bothell, WA, 98012                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6075
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.50
                                                                                                                     $________________________________
 Na Li                                                               Check all that apply.
 1929 18th Ave NE                                                     Contingent
                                                                      Unliquidated
 Issaquah, WA, 98029                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6076
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Na Ree Jung                                                         Check all that apply.
                                                                                                                       110.98
                                                                                                                     $________________________________
 11479 Sierra Ranch View Rd.                                          Contingent
                                                                      Unliquidated
 Tujunga, CA, 91042                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1225
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1241 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6077
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.82
                                                                                                                     $________________________________
 Nadine Lopez                                                         Contingent
 7757 White Ginger Avenue                                             Unliquidated
                                                                      Disputed
 Las Vegas, NV, 89178
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6078
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.19
                                                                                                                     $________________________________
 Naheed Raja                                                         Check all that apply.
 4732 Wermuth Way                                                     Contingent
                                                                      Unliquidated
 Woodbridge, VA, 22192                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6079
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nai-Jelee Cibrian                                                   Check all that apply.
                                                                                                                      223.03
                                                                                                                     $________________________________
 9805 JAKE LANE APT 14309                                             Contingent
                                                                      Unliquidated
 San Diego, CA, 92126                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6080
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.67
                                                                                                                     $________________________________
 Naichee Lewis                                                       Check all that apply.
 714 east spruce street                                               Contingent
                                                                      Unliquidated
 Rawlins , WY, 82301                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6081
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nail Studio                                                         Check all that apply.
                                                                                                                       13.13
                                                                                                                     $________________________________
 13391 South Beach Boulevard                                          Contingent
                                                                      Unliquidated
 La Mirada, CA, 90638                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1226
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1242 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6082
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             47.29
                                                                                                                     $________________________________
 Nairi Serna                                                          Contingent
 2659 Murray Pass                                                     Unliquidated
                                                                      Disputed
 Odessa, FL, 33556
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6083
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Nancy Acosta                                                        Check all that apply.
 28868 94th Avenue                                                    Contingent
                                                                      Unliquidated
 Marcellus, MI, 49067                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6084
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nancy Catherine Beenadski                                           Check all that apply.
                                                                                                                      25.66
                                                                                                                     $________________________________
 10811 FILLMORE DR                                                    Contingent
                                                                      Unliquidated
 BOYNTON BEACH, FL, 33437-3955                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6085
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.79
                                                                                                                     $________________________________
 Nancy Dickall                                                       Check all that apply.
 4006 Pendleton Dr                                                    Contingent
                                                                      Unliquidated
 Spring Hill, TN, 37174-2765                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6086
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nancy Doherty                                                       Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 8611 Shauna Oaks Cir N                                               Contingent
                                                                      Unliquidated
 Jacksonville, FL, 32277                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1243 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6087
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.99
                                                                                                                     $________________________________
 Nancy Foster                                                         Contingent
 901 Mark drive                                                       Unliquidated
                                                                      Disputed
 Shelby, NC, 28152
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6088
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Nancy Hays                                                          Check all that apply.
 11275 North 99th Avenue, Unit 177                                    Contingent
                                                                      Unliquidated
 Peoria, AZ, 85345                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6089
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nancy Morkovsky                                                     Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 7911 Woodstone Lane                                                  Contingent
                                                                      Unliquidated
 Dallas, TX, 75248                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6090
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.97
                                                                                                                     $________________________________
 Nancy Williams                                                      Check all that apply.
 903 Gordons Gin                                                      Contingent
                                                                      Unliquidated
 San Antonio, TX, 78253                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6091
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nandranie Baichu                                                    Check all that apply.
                                                                                                                       53.95
                                                                                                                     $________________________________
 2012 Morris Ave                                                      Contingent
                                                                      Unliquidated
 Bronx, NY, 10453                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1244 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6092
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             105.96
                                                                                                                     $________________________________
 Naomi Pace                                                           Contingent
 293 Sickles Avenue, 2nd Floor                                        Unliquidated
                                                                      Disputed
 New Rochelle, NY, 10801
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6093
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       252.57
                                                                                                                     $________________________________
 Naomi Shibata                                                       Check all that apply.
 64-49 Wetherole Street, 6E                                           Contingent
                                                                      Unliquidated
 Rego Park, NY, 11374                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6094
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Napoleon Contreras                                                  Check all that apply.
                                                                                                                      27.05
                                                                                                                     $________________________________
 2720 Avenue D                                                        Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76105                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6095
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.04
                                                                                                                     $________________________________
 nash hren                                                           Check all that apply.
 123 East Beacon Hill Road                                            Contingent
                                                                      Unliquidated
 Ely, MN, 55731                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6096
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nash Mixon                                                          Check all that apply.
                                                                                                                       199.98
                                                                                                                     $________________________________
 116 East Hill Drive                                                  Contingent
                                                                      Unliquidated
 Madison, MS, 39110                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1245 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6097
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.22
                                                                                                                     $________________________________
 Nash Wolfram                                                         Contingent
 21310 Neptune Avenue                                                 Unliquidated
                                                                      Disputed
 Carson, CA, 90745
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6098
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       45.98
                                                                                                                     $________________________________
 Nash Wooten                                                         Check all that apply.
 3218 Little John Cir SE                                              Contingent
                                                                      Unliquidated
 Cleveland, TN, 37323                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6099
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nasr Matthews                                                       Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 1064 Blackbird Landing Road                                          Contingent
                                                                      Unliquidated
 Townsend, DE, 19734                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6100
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                     $________________________________
 Natalie Dickes                                                      Check all that apply.
 PO Box 1587                                                          Contingent
                                                                      Unliquidated
 La Mirada, CA, 90637                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6101
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Natalie Garcia                                                      Check all that apply.
                                                                                                                       52.98
                                                                                                                     $________________________________
 232 Saddlebrook Dr                                                   Contingent
                                                                      Unliquidated
 San Antonio, TX, 78245                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1230
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1246 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6102
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 natalie mears                                                        Contingent
 525 Silverberry Lane                                                 Unliquidated
                                                                      Disputed
 Sugar Hill, GA, 30518
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6103
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.39
                                                                                                                     $________________________________
 Natalie Nu?±ez Lopez                                                Check all that apply.
 14549 Sauder St.                                                     Contingent
                                                                      Unliquidated
 La Puente, CA, 91744                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6104
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nataly Becerril                                                     Check all that apply.
                                                                                                                      139.98
                                                                                                                     $________________________________
 1404 North Fayetteville Street, Trlr 19                              Contingent
                                                                      Unliquidated
 Asheboro, NC, 27203                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6105
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.15
                                                                                                                     $________________________________
 Nataly Hernandez                                                    Check all that apply.
 165 North 200 East                                                   Contingent
                                                                      Unliquidated
 Bountiful, UT, 84010                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6106
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Natascha Jabeguero                                                  Check all that apply.
                                                                                                                       32.61
                                                                                                                     $________________________________
 3697 White Ash Road                                                  Contingent
                                                                      Unliquidated
 San Bernardino, CA, 92407                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1247 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6107
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             286.19
                                                                                                                     $________________________________
 Natasha Fortin                                                       Contingent
 568 station rd                                                       Unliquidated
                                                                      Disputed
 Mount holly, VT, 5758
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6108
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       130.79
                                                                                                                     $________________________________
 Natasha Pietila                                                     Check all that apply.
 25 Acorn Way                                                         Contingent
                                                                      Unliquidated
 Kentfield, CA, 94904                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6109
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nate Bond                                                           Check all that apply.
                                                                                                                      56.43
                                                                                                                     $________________________________
 246 Ground Dove Cir                                                  Contingent
                                                                      Unliquidated
 Lehigh Acres, FL, 33936                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6110
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                     $________________________________
 Nate Dogg                                                           Check all that apply.
 10889 Lehigh Ave, #155                                               Contingent
                                                                      Unliquidated
 Pacoima, CA, 91331                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6111
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nate LaBar                                                          Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 129 Elizabeth Street                                                 Contingent
                                                                      Unliquidated
 Noxen, PA, 18636                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1232
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1248 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6112
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.67
                                                                                                                     $________________________________
 Nate Shoffner                                                        Contingent
 247 North Duke Street, Apt 8                                         Unliquidated
                                                                      Disputed
 Lancaster, PA, 17602
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6113
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Nathalie Cano                                                       Check all that apply.
 2601 Sarah Ave, 211                                                  Contingent
                                                                      Unliquidated
 Mcallen, TX, 78503                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6114
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nathalie Sciacca                                                    Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 52-41 69th Street                                                    Contingent
                                                                      Unliquidated
 Maspeth, NY, 11378                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6115
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      40.50
                                                                                                                     $________________________________
 Nathaly Garcia                                                      Check all that apply.
 11311 Emelita Street, Apt 6                                          Contingent
                                                                      Unliquidated
 North Hollywood, CA, 91601                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6116
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nathan Anthopoulos                                                  Check all that apply.
                                                                                                                       144.98
                                                                                                                     $________________________________
 605 Northeast 84th Circle                                            Contingent
                                                                      Unliquidated
 Vancouver, WA, 98665                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1233
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1249 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6117
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             43.79
                                                                                                                     $________________________________
 Nathan Boyd                                                          Contingent
 1467 Forrester Road                                                  Unliquidated
                                                                      Disputed
 Jasper, AL, 35504
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6118
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       211.99
                                                                                                                     $________________________________
 Nathan Butler                                                       Check all that apply.
 206 Outlaw Street                                                    Contingent
                                                                      Unliquidated
 Chesapeake, VA, 23320                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6119
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nathan Friend                                                       Check all that apply.
                                                                                                                      59.35
                                                                                                                     $________________________________
 14701 River Walk Way, 213                                            Contingent
                                                                      Unliquidated
 Woodbridge, VA, 22191                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6120
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      137.99
                                                                                                                     $________________________________
 Nathan Gonzalez                                                     Check all that apply.
 10506 tally ho ln                                                    Contingent
                                                                      Unliquidated
 San Antonio, TX, 78216-3716                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6121
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nathan Kim                                                          Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 11329 W 141st Terr                                                   Contingent
                                                                      Unliquidated
 Overland Park, KS, 66221                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1250 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6122
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.99
                                                                                                                     $________________________________
 Nathan Kohler                                                        Contingent
 23211 Green Garden Circle                                            Unliquidated
                                                                      Disputed
 Chugiak, AK, 99567
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6123
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.69
                                                                                                                     $________________________________
 Nathan Lizardo                                                      Check all that apply.
 1201 E Long Valley Dr Apt 2A                                         Contingent
                                                                      Unliquidated
 palatine, IL, 60074-3347                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6124
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nathan Luong                                                        Check all that apply.
                                                                                                                      27.99
                                                                                                                     $________________________________
 5610 Riverstone Crossing Dr                                          Contingent
                                                                      Unliquidated
 Sugar Land , TX, 77479                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6125
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Nathan McClellan                                                    Check all that apply.
 7315 Saint Andrews Woods Cir, #203                                   Contingent
                                                                      Unliquidated
 Louisville, KY, 40214                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6126
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nathan Ramjiawan                                                    Check all that apply.
                                                                                                                       23.98
                                                                                                                     $________________________________
 107 08 104 St                                                        Contingent
                                                                      Unliquidated
 OZONE PARK, NY, 11417                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1251 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6127
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             55.98
                                                                                                                     $________________________________
 Nathan Samora                                                        Contingent
 9712 Adams St                                                        Unliquidated
                                                                      Disputed
 Thornton, CO, 80229
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6128
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.04
                                                                                                                     $________________________________
 Nathan Springle                                                     Check all that apply.
 1125 11th Street, Apt 4                                              Contingent
                                                                      Unliquidated
 Huntington, WV, 25701                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6129
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nathan Vassiliades                                                  Check all that apply.
                                                                                                                      23.70
                                                                                                                     $________________________________
 4224 S SNOWCAP DR                                                    Contingent
                                                                      Unliquidated
 Gilbert, AZ, 85297                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6130
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Nathan-Ace Jimenez                                                  Check all that apply.
 1365 Bluebird Avenue                                                 Contingent
                                                                      Unliquidated
 VENTURA, CA, 93003                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6131
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nathanael Anderson                                                  Check all that apply.
                                                                                                                       29.69
                                                                                                                     $________________________________
 112 Helen Street                                                     Contingent
                                                                      Unliquidated
 Gadsden, AL, 35904                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1252 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6132
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.08
                                                                                                                     $________________________________
 Nathanael Schmidt                                                    Contingent
 15130 228 th Ave SE                                                  Unliquidated
                                                                      Disputed
 Monroe, WA, 98272
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6133
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       46.98
                                                                                                                     $________________________________
 Nathanial Hansen                                                    Check all that apply.
 455 Drager St                                                        Contingent
                                                                      Unliquidated
 Ashland, OR, 97520                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6134
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nathaniel Lopez                                                     Check all that apply.
                                                                                                                      36.79
                                                                                                                     $________________________________
 4058 Crown Shore Dr                                                  Contingent
                                                                      Unliquidated
 Dallas, TX, 75244                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6135
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.84
                                                                                                                     $________________________________
 Nathaniel Munday                                                    Check all that apply.
 800 Pennsylvania Street, Apt 209                                     Contingent
                                                                      Unliquidated
 Denver, CO, 80203                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6136
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nathaniel Piette                                                    Check all that apply.
                                                                                                                       31.49
                                                                                                                     $________________________________
 820 Brighton drive                                                   Contingent
                                                                      Unliquidated
 Menasha, WI, 54952                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1237
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1253 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6137
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.05
                                                                                                                     $________________________________
 Nathaniel Santiago                                                   Contingent
 3050 Park Avenue, 15A                                                Unliquidated
                                                                      Disputed
 The Bronx, NY, 10451
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6138
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       70.41
                                                                                                                     $________________________________
 Nathaniel Scorpio                                                   Check all that apply.
 5034 West Bullard Avenue, 217, 217                                   Contingent
                                                                      Unliquidated
 Fresno, CA, 93722                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6139
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nayeli Gellibert                                                    Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 30 Paladino Avenue, 6b                                               Contingent
                                                                      Unliquidated
 New york city, NY, 10035                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6140
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.82
                                                                                                                     $________________________________
 Nayeli Noriega                                                      Check all that apply.
 14010 Fox Street                                                     Contingent
                                                                      Unliquidated
 San Fernando, CA, 91340                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6141
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nayomee Casso                                                       Check all that apply.
                                                                                                                       18.99
                                                                                                                     $________________________________
 2116 Jefferson Avenue                                                Contingent
                                                                      Unliquidated
 McAllen, TX, 78504                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1254 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6142
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.99
                                                                                                                     $________________________________
 Nazima Rahamat                                                       Contingent
 1126 Ardsley Road                                                    Unliquidated
                                                                      Disputed
 Schenectady, NY, 12308
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6143
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.81
                                                                                                                     $________________________________
 Nedra Hinchman                                                      Check all that apply.
 235 Catalina Isle Drive                                              Contingent
                                                                      Unliquidated
 Merritt Island, FL, 32953                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6144
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Neftali Castillo                                                    Check all that apply.
                                                                                                                      28.99
                                                                                                                     $________________________________
 2522 W SOUTHCROSS BLVD                                               Contingent
                                                                      Unliquidated
 SAN ANTONIO, TX, 78211-1849                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6145
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.19
                                                                                                                     $________________________________
 Neftali Vanegas                                                     Check all that apply.
 7857 W MANSFIELD PKWY , APT 9-203                                    Contingent
                                                                      Unliquidated
 LAKEWOOD, CO, 80235                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6146
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 neil a yergeau                                                      Check all that apply.
                                                                                                                       134.95
                                                                                                                     $________________________________
 167 FRIENDSHIP ST                                                    Contingent
                                                                      Unliquidated
 NORTH PROVIDENCE, RI, 2904                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1255 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6147
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.98
                                                                                                                     $________________________________
 neil camacho                                                         Contingent
 19 langdon st, 1                                                     Unliquidated
                                                                      Disputed
 boston, MA, 2119
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6148
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Neil Czebieniak                                                     Check all that apply.
 8611 Continental Ave                                                 Contingent
                                                                      Unliquidated
 Warren, MI, 48089                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6149
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Neil Fragata                                                        Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 1168 Globe St, Apt 3                                                 Contingent
                                                                      Unliquidated
 Fall River, MA, 02721-7506                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6150
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Neil Smith                                                          Check all that apply.
 11006 Trimble Blvd, Unit A                                           Contingent
                                                                      Unliquidated
 Fort Campbell, KY, 42223                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6151
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Neil V                                                              Check all that apply.
                                                                                                                       57.56
                                                                                                                     $________________________________
 131 Mangels Ave                                                      Contingent
                                                                      Unliquidated
 San Francisco, CA, 94131                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1256 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6152
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.81
                                                                                                                     $________________________________
 Neila Sandoval                                                       Contingent
 8107 Ruby Drive                                                      Unliquidated
                                                                      Disputed
 Mission, TX, 78574
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6153
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Nellie Lowry                                                        Check all that apply.
 403 Tradewinds Dr, Apt E                                             Contingent
                                                                      Unliquidated
 Fayetteville, NC, 28314                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6154
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nelson Andrades                                                     Check all that apply.
                                                                                                                      92.97
                                                                                                                     $________________________________
 34 cotter rd                                                         Contingent
                                                                      Unliquidated
 Highland, NY, 12528                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6155
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      77.98
                                                                                                                     $________________________________
 Nelson Campos                                                       Check all that apply.
 2613 Wynterhall Road Southeast, A                                    Contingent
                                                                      Unliquidated
 Huntsville, AL, 35803                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6156
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nelson Corcuera                                                     Check all that apply.
                                                                                                                       10.00
                                                                                                                     $________________________________
 2110 48th Street                                                     Contingent
                                                                      Unliquidated
 North Bergen, NJ, 7047                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1257 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6157
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.04
                                                                                                                     $________________________________
 Nelson Franco                                                        Contingent
 531 Longfellow Avenue                                                Unliquidated
                                                                      Disputed
 Piscataway, NJ, 8854
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6158
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Nelson Miranda                                                      Check all that apply.
 230 W 8th St                                                         Contingent
                                                                      Unliquidated
 Pittsburg, CA, 94565                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6159
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nerilyn Peahi-Ayau                                                  Check all that apply.
                                                                                                                      16.00
                                                                                                                     $________________________________
 4200 ?Äé Silver Dollar Avenue, Apt 5                                 Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89102                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6160
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,039.96
                                                                                                                     $________________________________
 Nestor Bravo                                                        Check all that apply.
 14520 Manzanillo Street                                              Contingent
                                                                      Unliquidated
 Cabazon, CA, 92230                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6161
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nestor Hernandez                                                    Check all that apply.
                                                                                                                       79.99
                                                                                                                     $________________________________
 4703 Merced Avenue                                                   Contingent
                                                                      Unliquidated
 Baldwin Park , CA, 91706                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1258 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6162
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             111.98
                                                                                                                     $________________________________
 Nevina Bradley                                                       Contingent
 400 Central Avenue                                                   Unliquidated
                                                                      Disputed
 Wilmington, DE, 19805
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6163
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       970.00
                                                                                                                     $________________________________
 New Jersey Manufacturers insurance Company                          Check all that apply.
 PO Box 70167                                                         Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19176-0167                                         Disputed
                                                                     Basis for the claim: Insurance company



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6164
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Neybi Pineda                                                        Check all that apply.
                                                                                                                      212.49
                                                                                                                     $________________________________
 64 Fayette Street                                                    Contingent
                                                                      Unliquidated
 Lynn, MA, 1902                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6165
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      172.98
                                                                                                                     $________________________________
 NGA YU                                                              Check all that apply.
 8736 21st Avenue                                                     Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6166
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ngan Kim                                                            Check all that apply.
                                                                                                                       26.45
                                                                                                                     $________________________________
 5918 Turnberry Drive                                                 Contingent
                                                                      Unliquidated
 Dublin, CA, 94568                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1259 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6167
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.99
                                                                                                                     $________________________________
 Nghi Lac                                                             Contingent
 1135 Levick Street                                                   Unliquidated
                                                                      Disputed
 Philadelphia, PA, 19111
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6168
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       112.60
                                                                                                                     $________________________________
 Ngoc Ly                                                             Check all that apply.
 106 Faxon Road                                                       Contingent
                                                                      Unliquidated
 Quincy, MA, 2171                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6169
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nia Martin                                                          Check all that apply.
                                                                                                                      97.29
                                                                                                                     $________________________________
 2918 Network Place, Apt 202B                                         Contingent
                                                                      Unliquidated
 Lutz, FL, 33559                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6170
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.98
                                                                                                                     $________________________________
 Nic Schreder                                                        Check all that apply.
 9120 Pearl Cotton Avenue                                             Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89149                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6171
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Gonzalez                                                   Check all that apply.
                                                                                                                       109.99
                                                                                                                     $________________________________
 1645 E Cypress St.                                                   Contingent
                                                                      Unliquidated
 San Dimas, CA, 91773                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1244
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1260 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6172
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             185.93
                                                                                                                     $________________________________
 Nicholas Adamcewicz                                                  Contingent
 811 SW King St                                                       Unliquidated
                                                                      Disputed
 Lake City, FL, 32024
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6173
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.81
                                                                                                                     $________________________________
 Nicholas Affinito                                                   Check all that apply.
 4 St Johns Wood                                                      Contingent
                                                                      Unliquidated
 Gansevoort, NY, 12831                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6174
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Albano                                                     Check all that apply.
                                                                                                                      11.94
                                                                                                                     $________________________________
 5 vista CT                                                           Contingent
                                                                      Unliquidated
 bayville, NY, 11709                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6175
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.46
                                                                                                                     $________________________________
 Nicholas Bailon                                                     Check all that apply.
 13324 Humphrey Dr                                                    Contingent
                                                                      Unliquidated
 Austin, TX, 78729                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6176
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Begemann                                                   Check all that apply.
                                                                                                                       13.99
                                                                                                                     $________________________________
 207 Sarah Dr                                                         Contingent
                                                                      Unliquidated
 Ashland, MO, 65010                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1261 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6177
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             88.99
                                                                                                                     $________________________________
 Nicholas Bostater                                                    Contingent
 9318 E Lippincott Blvd                                               Unliquidated
                                                                      Disputed
 Davison, MI, 48423
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6178
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.98
                                                                                                                     $________________________________
 nicholas camperlengo                                                Check all that apply.
 2601 Brookridge Drive                                                Contingent
                                                                      Unliquidated
 hurst, TX, 76054                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6179
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Carmen                                                     Check all that apply.
                                                                                                                      12.80
                                                                                                                     $________________________________
 1028 Blue Stream Lane                                                Contingent
                                                                      Unliquidated
 Indian Trail, NC, 28079                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6180
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.59
                                                                                                                     $________________________________
 Nicholas Clapcich                                                   Check all that apply.
 678 Chestnut Street                                                  Contingent
                                                                      Unliquidated
 Stirling, NJ, 7980                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6181
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Coon                                                       Check all that apply.
                                                                                                                       15.99
                                                                                                                     $________________________________
 293 Oak Valley Drive                                                 Contingent
                                                                      Unliquidated
 Longview, TX, 75605                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1262 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6182
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.36
                                                                                                                     $________________________________
 Nicholas D Wilson                                                    Contingent
 1339 Glassboro Road                                                  Unliquidated
                                                                      Disputed
 Woodbury Heights, NJ, 8097
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6183
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.83
                                                                                                                     $________________________________
 Nicholas Dassow                                                     Check all that apply.
 2 oak landing trl s                                                  Contingent
                                                                      Unliquidated
 Douglasville, GA, 30134                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6184
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Deason                                                     Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 571 Arbor Hollow Circle, 23-204                                      Contingent
                                                                      Unliquidated
 Memphis, TN, 38018                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6185
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.73
                                                                                                                     $________________________________
 Nicholas Diaz                                                       Check all that apply.
 153 Plantation Drive                                                 Contingent
                                                                      Unliquidated
 Shelbyville, KY, 40065                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6186
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Diaz Galarza                                               Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 3541 Waxwing Way                                                     Contingent
                                                                      Unliquidated
 Antioch, CA, 94509                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1263 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6187
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 Nicholas Ehrman                                                      Contingent
 4363 11 Mile Rd                                                      Unliquidated
                                                                      Disputed
 Auburn, MI, 48611
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6188
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       68.46
                                                                                                                     $________________________________
 Nicholas Enders                                                     Check all that apply.
 142 sw 98th lane                                                     Contingent
                                                                      Unliquidated
 Coral Springs, FL, 33071                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6189
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 nicholas ferrara                                                    Check all that apply.
                                                                                                                      18.09
                                                                                                                     $________________________________
 1700 woodbury rd. apt 307                                            Contingent
                                                                      Unliquidated
 orlando, FL, 32828                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6190
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      56.16
                                                                                                                     $________________________________
 Nicholas Fishter                                                    Check all that apply.
 517 South Wayne Street                                               Contingent
                                                                      Unliquidated
 Lewistown, PA, 17044                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6191
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Garcia                                                     Check all that apply.
                                                                                                                       60.99
                                                                                                                     $________________________________
 309 Heavens Way                                                      Contingent
                                                                      Unliquidated
 San Antonio, TX, 78260                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1264 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6192
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.60
                                                                                                                     $________________________________
 Nicholas Herrera                                                     Contingent
 4941 Bandera Street                                                  Unliquidated
                                                                      Disputed
 Montclair, CA, 91763
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6193
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.99
                                                                                                                     $________________________________
 Nicholas Joniec                                                     Check all that apply.
 176 New Street                                                       Contingent
                                                                      Unliquidated
 Millersville, PA, 17551                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6194
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Kaprielian                                                 Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 10796 N Windham Bay Circle                                           Contingent
                                                                      Unliquidated
 Fresno, CA, 93730                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6195
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      133.83
                                                                                                                     $________________________________
 Nicholas Kowalczyk                                                  Check all that apply.
 10210 PALM GLEN DR, UNIT 77                                          Contingent
                                                                      Unliquidated
 Santee, CA, 92071                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6196
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Lapuma                                                     Check all that apply.
                                                                                                                       49.99
                                                                                                                     $________________________________
 16512 ne 10th st                                                     Contingent
                                                                      Unliquidated
 Gainesville, FL, 32609                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1265 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6197
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             72.49
                                                                                                                     $________________________________
 Nicholas Mangreum                                                    Contingent
 7 Ross Street                                                        Unliquidated
                                                                      Disputed
 Lumberton, NJ, 8048
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6198
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Nicholas Morgan                                                     Check all that apply.
 6680 Margarita Road                                                  Contingent
                                                                      Unliquidated
 San Diego, CA, 92114                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6199
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Morin                                                      Check all that apply.
                                                                                                                      21.24
                                                                                                                     $________________________________
 12 Whipple Avenue                                                    Contingent
                                                                      Unliquidated
 Blackstone, MA, 1504                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6200
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.52
                                                                                                                     $________________________________
 Nicholas Moy                                                        Check all that apply.
 11 Charthouse Lane                                                   Contingent
                                                                      Unliquidated
 Foster City, CA, 94404                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6201
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Paccione                                                   Check all that apply.
                                                                                                                       154.98
                                                                                                                     $________________________________
 3465 Amboy Rd, Apt 1F                                                Contingent
                                                                      Unliquidated
 Staten Island, NY, 10306                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1266 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6202
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Nicholas Palermo                                                     Contingent
 530 Huseman Ln.                                                      Unliquidated
                                                                      Disputed
 Covington, LA, 70435
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6203
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.78
                                                                                                                     $________________________________
 Nicholas Rivera                                                     Check all that apply.
 40 CHESTNUT ST, n/a                                                  Contingent
                                                                      Unliquidated
 AVENEL, NJ, 7001                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6204
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Schlichte                                                  Check all that apply.
                                                                                                                      44.99
                                                                                                                     $________________________________
 1446 Chestnut Rd.                                                    Contingent
                                                                      Unliquidated
 Coon Rapids, IA, 50058                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6205
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                     $________________________________
 Nicholas Simms                                                      Check all that apply.
 2021 deer field way                                                  Contingent
                                                                      Unliquidated
 harker heights, TX, 76548                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6206
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Tastinger                                                  Check all that apply.
                                                                                                                       38.97
                                                                                                                     $________________________________
 14867 Hawksmoor Run Cir                                              Contingent
                                                                      Unliquidated
 Orlando, FL, 32828-7510                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                 1251
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6207
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.99
                                                                                                                     $________________________________
 nicholas valentino                                                   Contingent
 1848 Danfield Drive                                                  Unliquidated
                                                                      Disputed
 Norman, OK, 73072
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6208
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       81.98
                                                                                                                     $________________________________
 Nicholas Vasquez                                                    Check all that apply.
 1341 Rebecchi Cir                                                    Contingent
                                                                      Unliquidated
 Firebaugh, CA, 93622-2537                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6209
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicholas Welliver                                                   Check all that apply.
                                                                                                                      8.99
                                                                                                                     $________________________________
 3007 NW Florence Ave.                                                Contingent
                                                                      Unliquidated
 Riverside, MO, 64150                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6210
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.56
                                                                                                                     $________________________________
 Nicholaus Mclane                                                    Check all that apply.
 91-1039 Keoneula Boulevard, D5                                       Contingent
                                                                      Unliquidated
 Ewa Beach, HI, 96706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6211
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nichole Thompson                                                    Check all that apply.
                                                                                                                       50.51
                                                                                                                     $________________________________
 4428 Kenfield Road                                                   Contingent
                                                                      Unliquidated
 Columbus, OH, 43224                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1268 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6212
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Nick Arch                                                            Contingent
 1100 West Valencia Mesa Drive                                        Unliquidated
                                                                      Disputed
 Fullerton, CA, 92833
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6213
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       63.98
                                                                                                                     $________________________________
 Nick Avgerinos                                                      Check all that apply.
 9914 S. Wildcat Rd                                                   Contingent
                                                                      Unliquidated
 Molalla, OR, 97038                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6214
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nick Beltrano                                                       Check all that apply.
                                                                                                                      149.97
                                                                                                                     $________________________________
 305 Archer St                                                        Contingent
                                                                      Unliquidated
 Oceanside, CA, 92058                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6215
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      306.96
                                                                                                                     $________________________________
 NICK DUARTE                                                         Check all that apply.
 3019 DOUGLAS ST NE                                                   Contingent
                                                                      Unliquidated
 WASHINGTON, DC, 20018-1546                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6216
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nick Garcia                                                         Check all that apply.
                                                                                                                       49.99
                                                                                                                     $________________________________
 7203 Loggia Pl                                                       Contingent
                                                                      Unliquidated
 Round Rock, TX, 78665                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1269 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6217
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             708.48
                                                                                                                     $________________________________
 Nick Guarente                                                        Contingent
 2605 Willowbrook Lane, Apt # 40                                      Unliquidated
                                                                      Disputed
 Aptos, CA, 95003
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6218
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.99
                                                                                                                     $________________________________
 Nick Guerin                                                         Check all that apply.
 340 Gran Via, 1052                                                   Contingent
                                                                      Unliquidated
 Irving, TX, 75039                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6219
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nick Jimenez                                                        Check all that apply.
                                                                                                                      69.99
                                                                                                                     $________________________________
 3724 Corinne Avenue                                                  Contingent
                                                                      Unliquidated
 Chalmette, LA, 70043                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6220
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      120.00
                                                                                                                     $________________________________
 Nick Lanni                                                          Check all that apply.
 4207 California Ave.                                                 Contingent
                                                                      Unliquidated
 Norco, CA, 92860                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6221
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nick Layton                                                         Check all that apply.
                                                                                                                       33.99
                                                                                                                     $________________________________
 14870 SW GEARHART DR                                                 Contingent
                                                                      Unliquidated
 Beaverton , OR, 97007                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1254
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1270 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6222
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             43.98
                                                                                                                     $________________________________
 Nick Lombardi                                                        Contingent
 170 Meadow Creek Dr                                                  Unliquidated
                                                                      Disputed
 Florence, KY, 41042-9469
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6223
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       53.30
                                                                                                                     $________________________________
 Nick Lonstrup                                                       Check all that apply.
 144 Huron Dr                                                         Contingent
                                                                      Unliquidated
 chatham/nj/07928, NJ, 7928                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6224
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nick Moran                                                          Check all that apply.
                                                                                                                      72.74
                                                                                                                     $________________________________
 93 Longbeach Rd                                                      Contingent
                                                                      Unliquidated
 Montgomery, IL, 60538                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6225
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.89
                                                                                                                     $________________________________
 Nick Murphy                                                         Check all that apply.
 307 Glenmoore Court                                                  Contingent
                                                                      Unliquidated
 Pataskala, OH, 43062                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6226
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nick Najdek                                                         Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 42424 SE TRUBEL RD                                                   Contingent
                                                                      Unliquidated
 SANDY, OR, 97055-7644                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1271 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6227
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 nick perros                                                          Contingent
 5651 Derby Drive                                                     Unliquidated
                                                                      Disputed
 helena, MT, 59602
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6228
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.99
                                                                                                                     $________________________________
 Nick Walsh                                                          Check all that apply.
 3 Florence Road                                                      Contingent
                                                                      Unliquidated
 Port Jefferson Station, NY, 11776                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6229
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 NIck Ward                                                           Check all that apply.
                                                                                                                      40.04
                                                                                                                     $________________________________
 2865 Valwood Cir.                                                    Contingent
                                                                      Unliquidated
 Farmers Branch, TX, 75234                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6230
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Nicki Theodoridis                                                   Check all that apply.
 715 Glenridge Drive                                                  Contingent
                                                                      Unliquidated
 Edmond, OK, 73013                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6231
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nickolas Cowan                                                      Check all that apply.
                                                                                                                       26.49
                                                                                                                     $________________________________
 1732 Hancock Boulevard                                               Contingent
                                                                      Unliquidated
 Reading, PA, 19607                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1272 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6232
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.23
                                                                                                                     $________________________________
 Nickolas Smith                                                       Contingent
 428 E MLK Blvd, 200                                                  Unliquidated
                                                                      Disputed
 Chattanooga, TN, 37403
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6233
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.98
                                                                                                                     $________________________________
 Nicky Bargabos                                                      Check all that apply.
 9031 Carneros Creek Rd                                               Contingent
                                                                      Unliquidated
 Charlotte, NC, 28214                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6234
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicolas Cannaverde                                                  Check all that apply.
                                                                                                                      13.98
                                                                                                                     $________________________________
 10125 junction drive, 267                                            Contingent
                                                                      Unliquidated
 Annapolis Junction, MD, 20701                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6235
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.84
                                                                                                                     $________________________________
 Nicolas Castillo                                                    Check all that apply.
 13530 LONGFELLOW LN                                                  Contingent
                                                                      Unliquidated
 SAN DIEGO, CA, 92129-2859                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6236
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicolas De Pinto                                                    Check all that apply.
                                                                                                                       12.83
                                                                                                                     $________________________________
 8440 South Dixie Highway, 303                                        Contingent
                                                                      Unliquidated
 Miami, FL, 33143                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1273 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6237
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.75
                                                                                                                     $________________________________
 Nicolas Flores                                                       Contingent
 555 West 160th Street, 53                                            Unliquidated
                                                                      Disputed
 New York, NY, 10032
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6238
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 nicole johnson                                                      Check all that apply.
 45147 Road 792                                                       Contingent
                                                                      Unliquidated
 Ansley, NE, 68814                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6239
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicole LaPlante                                                     Check all that apply.
                                                                                                                      5.99
                                                                                                                     $________________________________
 110 Saint Andrew Street                                              Contingent
                                                                      Unliquidated
 Fitchburg, MA, 1420                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6240
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.27
                                                                                                                     $________________________________
 Nicole Rogers                                                       Check all that apply.
 25110 Eshelman Avenue, 216                                           Contingent
                                                                      Unliquidated
 Lomita, CA, 90717                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6241
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicole Avery Ortiz                                                  Check all that apply.
                                                                                                                       64.19
                                                                                                                     $________________________________
 4 Hudson Lane                                                        Contingent
                                                                      Unliquidated
 Warwick, RI, 2886                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1274 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6242
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             240.97
                                                                                                                     $________________________________
 Nicole Barker                                                        Contingent
 118 High Street, Apt 2                                               Unliquidated
                                                                      Disputed
 Auburn, ME, 4210
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6243
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       5.99
                                                                                                                     $________________________________
 Nicole Boothe                                                       Check all that apply.
 8131 Mystic Chase                                                    Contingent
                                                                      Unliquidated
 Boerne, TX, 78015                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6244
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicole Cabana                                                       Check all that apply.
                                                                                                                      68.03
                                                                                                                     $________________________________
 1242 Oak Haven Way                                                   Contingent
                                                                      Unliquidated
 Antioch, CA, 94531                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6245
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.95
                                                                                                                     $________________________________
 Nicole D?ÄôArco                                                     Check all that apply.
 200 Swanton St, 232                                                  Contingent
                                                                      Unliquidated
 Winchester, MA, 01890-1962                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6246
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicole Emerson                                                      Check all that apply.
                                                                                                                       64.50
                                                                                                                     $________________________________
 7639 11th Avenue South                                               Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55423                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1275 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6247
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.97
                                                                                                                     $________________________________
 Nicole Higgins                                                       Contingent
 449 BEECHWOOD AVE                                                    Unliquidated
                                                                      Disputed
 FEASTERVILLE TREVOSE, PA, 19053
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6248
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.99
                                                                                                                     $________________________________
 Nicole Langreck                                                     Check all that apply.
 1969 110th Street                                                    Contingent
                                                                      Unliquidated
 Ossian, IA, 52161                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6249
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicole Lanto                                                        Check all that apply.
                                                                                                                      32.80
                                                                                                                     $________________________________
 184 N 31st St.                                                       Contingent
                                                                      Unliquidated
 San Jose, CA, 95116                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6250
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.07
                                                                                                                     $________________________________
 Nicole Laski                                                        Check all that apply.
 156 Falconer St                                                      Contingent
                                                                      Unliquidated
 North Tonawanda, NY, 14120                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6251
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicole Meyer                                                        Check all that apply.
                                                                                                                       139.74
                                                                                                                     $________________________________
 503 Durham Ave                                                       Contingent
                                                                      Unliquidated
 Hatton, ND, 58240                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1276 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6252
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Nicole Natanauan                                                     Contingent
 14 Hawser Way                                                        Unliquidated
                                                                      Disputed
 Randolph, NJ, 7869
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6253
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Nicole Nick-Shartrand                                               Check all that apply.
 214 Traders Pointe Cir                                               Contingent
                                                                      Unliquidated
 Council Bluffs, IA, 51501                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6254
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicole Perez                                                        Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 7623 Sturgess Avenue                                                 Contingent
                                                                      Unliquidated
 La Mesa, CA, 91941                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6255
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.59
                                                                                                                     $________________________________
 Nicole Perez                                                        Check all that apply.
 8625 Pioneer Blvd.                                                   Contingent
                                                                      Unliquidated
 Whittier, CA, 90606-2950                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6256
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicole Telhiard                                                     Check all that apply.
                                                                                                                       13.19
                                                                                                                     $________________________________
 1010 Navion Drive                                                    Contingent
                                                                      Unliquidated
 Mobile, AL, 36695                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1277 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6257
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.42
                                                                                                                     $________________________________
 Nicole Tellez                                                        Contingent
 80 west Fullerton                                                    Unliquidated
                                                                      Disputed
 Glendale Heights, IL, 60139
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6258
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       87.97
                                                                                                                     $________________________________
 Nicole Winje                                                        Check all that apply.
 933 Rafael Avenue North                                              Contingent
                                                                      Unliquidated
 Keizer, OR, 97303                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6259
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicolette Garcia                                                    Check all that apply.
                                                                                                                      37.87
                                                                                                                     $________________________________
 111 Dover Dell St                                                    Contingent
                                                                      Unliquidated
 Victoria, TX, 77904                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6260
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      61.90
                                                                                                                     $________________________________
 Nicolette Parmese                                                   Check all that apply.
 31 Bent Lane                                                         Contingent
                                                                      Unliquidated
 Levittown, NY, 11756                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6261
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nicoleus Nishi                                                      Check all that apply.
                                                                                                                       26.98
                                                                                                                     $________________________________
 5780 Lateral B Rd                                                    Contingent
                                                                      Unliquidated
 Wapato, WA, 98951                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1278 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6262
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             76.67
                                                                                                                     $________________________________
 nics chits                                                           Contingent
 9818 Walley Avenue                                                   Unliquidated
                                                                      Disputed
 Philadelphia, PA, 19115
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6263
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.98
                                                                                                                     $________________________________
 Nihemy Henr??quez                                                   Check all that apply.
 11735 Varnell St                                                     Contingent
                                                                      Unliquidated
 Houston, TX, 77039                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6264
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Niki Tumanyan                                                       Check all that apply.
                                                                                                                      56.79
                                                                                                                     $________________________________
 12271 Martha Ann Drive                                               Contingent
                                                                      Unliquidated
 Los Alamitos, CA, 90720                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6265
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      152.89
                                                                                                                     $________________________________
 nikki brezny                                                        Check all that apply.
 5758 South Skyline Drive                                             Contingent
                                                                      Unliquidated
 Evergreen, CO, 80439                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6266
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 NIKKI JED CRESCINI                                                  Check all that apply.
                                                                                                                       153.69
                                                                                                                     $________________________________
 10 Walnut St Apt B                                                   Contingent
                                                                      Unliquidated
 Wellsboro, PA, 16901-1548                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1279 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6267
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             47.95
                                                                                                                     $________________________________
 Nikki Morton                                                         Contingent
 54 Iroquois Ave                                                      Unliquidated
                                                                      Disputed
 Lake Hiawatha , NJ, 7034
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6268
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.21
                                                                                                                     $________________________________
 Nikolai Espinoza                                                    Check all that apply.
 9301 Turrentine Drive                                                Contingent
                                                                      Unliquidated
 El Paso, TX, 79925                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6269
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 nile wallace                                                        Check all that apply.
                                                                                                                      28.42
                                                                                                                     $________________________________
 172 stevens st                                                       Contingent
                                                                      Unliquidated
 Appomattox, VA, 24522                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6270
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.99
                                                                                                                     $________________________________
 Nina Guzman                                                         Check all that apply.
 957 W Riggs Ave                                                      Contingent
                                                                      Unliquidated
 Raymondville, TX, 78580                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6271
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nina Nahmias                                                        Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 14274 Southwest 153rd Terrace                                        Contingent
                                                                      Unliquidated
 Miami, FL, 33177                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1280 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6272
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.98
                                                                                                                     $________________________________
 Nini Williams                                                        Contingent
 21225 Evalyn Ave                                                     Unliquidated
                                                                      Disputed
 Torrance, CA, 90503
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6273
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       94.00
                                                                                                                     $________________________________
 NJ E-Zpass                                                          Check all that apply.
 PO Box 4971                                                          Contingent
                                                                      Unliquidated
 Trenton, NJ, 08650                                                   Disputed
                                                                     Basis for the claim: Toll violations



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6274
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Noah Cabrera                                                        Check all that apply.
                                                                                                                      38.37
                                                                                                                     $________________________________
 324 South Plainfield Avenue                                          Contingent
                                                                      Unliquidated
 South Plainfield, NJ, 7080                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6275
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      40.99
                                                                                                                     $________________________________
 Noah Carrasco                                                       Check all that apply.
 19202 Elston Way                                                     Contingent
                                                                      Unliquidated
 Estero, FL, 33928                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6276
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Noah Liang                                                          Check all that apply.
                                                                                                                       63.96
                                                                                                                     $________________________________
 48 Clydesdale Road                                                   Contingent
                                                                      Unliquidated
 Scotch Plains, NJ, 7076                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1265
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1281 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6277
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             112.97
                                                                                                                     $________________________________
 Noah Regan                                                           Contingent
 130 Abbott Street                                                    Unliquidated
                                                                      Disputed
 Lawrence, MA, 1843
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6278
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Noah Wilkins                                                        Check all that apply.
 30429 South Readman Lane                                             Contingent
                                                                      Unliquidated
 Wilmington, IL, 60481                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6279
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Noam Gross                                                          Check all that apply.
                                                                                                                      44.98
                                                                                                                     $________________________________
 25520 Karen St                                                       Contingent
                                                                      Unliquidated
 Oak Park, MI, 48237                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6280
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                     $________________________________
 Noe Paredes                                                         Check all that apply.
 10556 Blue Wing Road                                                 Contingent
                                                                      Unliquidated
 San Antonio, TX, 78223                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6281
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Noe B                                                               Check all that apply.
                                                                                                                       754.94
                                                                                                                     $________________________________
 124 siesta rd                                                        Contingent
                                                                      Unliquidated
 Carpentersville, IL, 60110                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1282 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6282
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             107.05
                                                                                                                     $________________________________
 Noe Gomez                                                            Contingent
 322 East Adams Street                                                Unliquidated
                                                                      Disputed
 Santa Ana, CA, 92707
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6283
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       101.70
                                                                                                                     $________________________________
 Noel Angel                                                          Check all that apply.
 12973 Pfeifle Ave                                                    Contingent
                                                                      Unliquidated
 San Jose, CA, 95111                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6284
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Noel Angel                                                          Check all that apply.
                                                                                                                      38.28
                                                                                                                     $________________________________
 12973 Pfeifle Ave.                                                   Contingent
                                                                      Unliquidated
 SAN JOSE, CA, 95111-3324                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6285
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.98
                                                                                                                     $________________________________
 Noel Vermander                                                      Check all that apply.
 51426 fox hill trail                                                 Contingent
                                                                      Unliquidated
 New baltimore, MI, 48047                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6286
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Noele Ashbarry                                                      Check all that apply.
                                                                                                                       44.99
                                                                                                                     $________________________________
 13752 Midland road                                                   Contingent
                                                                      Unliquidated
 Poway, CA, 92064                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1283 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6287
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Noelia Arevalo                                                       Contingent
 16631 Echo Hill Way                                                  Unliquidated
                                                                      Disputed
 Hacienda heights, CA, 91745
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6288
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       65.54
                                                                                                                     $________________________________
 Noemi Benitez                                                       Check all that apply.
 3246 Broadway Ave, A                                                 Contingent
                                                                      Unliquidated
 Huntington Park, CA, 90255                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6289
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nolan Collard                                                       Check all that apply.
                                                                                                                      35.83
                                                                                                                     $________________________________
 2395 W. Dusty Wren Dr.                                               Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85085                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6290
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.30
                                                                                                                     $________________________________
 Nolan Howard                                                        Check all that apply.
 7888 Schoolhouse Ave                                                 Contingent
                                                                      Unliquidated
 Gig Harbor , WA, 98335                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6291
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nolan Khai                                                          Check all that apply.
                                                                                                                       71.98
                                                                                                                     $________________________________
 6331 Southeast Johnson Street                                        Contingent
                                                                      Unliquidated
 Hillsboro, OR, 97123                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1284 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6292
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Nolan Martinez                                                       Contingent
 1202 North 19th Avenue                                               Unliquidated
                                                                      Disputed
 Durant, OK, 74701
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6293
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.99
                                                                                                                     $________________________________
 NORA Algasali                                                       Check all that apply.
 8793 Sylvia Beach Ct                                                 Contingent
                                                                      Unliquidated
 Las vegas, NV, 89148                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6294
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Norah Kellum                                                        Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 11528 Depew Ct                                                       Contingent
                                                                      Unliquidated
 Westminster, CO, 80020                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6295
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.12
                                                                                                                     $________________________________
 Norm Hjelm                                                          Check all that apply.
 128 19th Ave SW                                                      Contingent
                                                                      Unliquidated
 Olympia, WA, 98501                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6296
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Norma Cano                                                          Check all that apply.
                                                                                                                       26.09
                                                                                                                     $________________________________
 7017 Grantham Dr                                                     Contingent
                                                                      Unliquidated
 Joliet, IL, 60431                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1285 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6297
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17.31
                                                                                                                     $________________________________
 Norma Duez                                                           Contingent
 3402 Kings Mountain Drive                                            Unliquidated
                                                                      Disputed
 Kingwood, TX, 77345
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6298
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       65.16
                                                                                                                     $________________________________
 Nunziata Gallo                                                      Check all that apply.
 28 Eve Lane                                                          Contingent
                                                                      Unliquidated
 Levittown, NY, 11756                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6299
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nyah barajas                                                        Check all that apply.
                                                                                                                      13.22
                                                                                                                     $________________________________
 35 Northup Avenue                                                    Contingent
                                                                      Unliquidated
 Pasadena, CA, 91107                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6300
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.68
                                                                                                                     $________________________________
 Nydia Sanchez                                                       Check all that apply.
 4653 Alojar Lane                                                     Contingent
                                                                      Unliquidated
 Palmdale, CA, 93551                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6301
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ockchul Kim                                                         Check all that apply.
                                                                                                                       207.99
                                                                                                                     $________________________________
 326 Baxter Street                                                    Contingent
                                                                      Unliquidated
 Kernersville, NC, 27284                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1286 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6302
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Octavia Sanchez                                                      Contingent
 222 Gregory Drive                                                    Unliquidated
                                                                      Disputed
 Winston, OR, 97496
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6303
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.55
                                                                                                                     $________________________________
 Octavio De Avila                                                    Check all that apply.
 5624 S Moody Ave                                                     Contingent
                                                                      Unliquidated
 Chicago, IL, 60638                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6304
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ole Olsen                                                           Check all that apply.
                                                                                                                      53.85
                                                                                                                     $________________________________
 11 E. front Street                                                   Contingent
                                                                      Unliquidated
 SAINT JOHN, WA, 99171                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6305
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      137.99
                                                                                                                     $________________________________
 Ole Rodriguez                                                       Check all that apply.
 1919 Sandalwood St                                                   Contingent
                                                                      Unliquidated
 Mount Vernon, WA, 98273                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6306
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Oleg Markin                                                         Check all that apply.
                                                                                                                       185.08
                                                                                                                     $________________________________
 64-10 , Madison Street                                               Contingent
                                                                      Unliquidated
 Ridgewood, NY, 11385                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1287 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6307
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Oliver Lopez                                                         Contingent
 10312 10th Avenue Court South                                        Unliquidated
                                                                      Disputed
 Tacoma, WA, 98444
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6308
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       358.88
                                                                                                                     $________________________________
 Oliver Pellett                                                      Check all that apply.
 13220 97th Ave NE, Apt C301                                          Contingent
                                                                      Unliquidated
 KIRKLAND, WA, 98034                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6309
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Oliver So                                                           Check all that apply.
                                                                                                                      429.97
                                                                                                                     $________________________________
 33857 Cansler Way                                                    Contingent
                                                                      Unliquidated
 Yucaipa, CA, 92399                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6310
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.74
                                                                                                                     $________________________________
 olivette FELIX                                                      Check all that apply.
 39875 La Moria Corte                                                 Contingent
                                                                      Unliquidated
 Murrieta, CA, 92562                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6311
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Olivia DeNoyer                                                      Check all that apply.
                                                                                                                       33.99
                                                                                                                     $________________________________
 27 Pontiac Road                                                      Contingent
                                                                      Unliquidated
 Walpole, MA, 2081                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1288 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6312
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.91
                                                                                                                     $________________________________
 Olivia Harrison                                                      Contingent
 4873 Kennedy Drive                                                   Unliquidated
                                                                      Disputed
 Brooklyn, OH, 44144
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6313
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.99
                                                                                                                     $________________________________
 Olivia T Guevara                                                    Check all that apply.
 202 Circulo Silva                                                    Contingent
                                                                      Unliquidated
 Rio Rico, AZ, 85648                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6314
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Omar Delgadillp                                                     Check all that apply.
                                                                                                                      116.59
                                                                                                                     $________________________________
 9220 Placid St                                                       Contingent
                                                                      Unliquidated
 Manassas, VA, 20110                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6315
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      275.96
                                                                                                                     $________________________________
 Omar Escalona                                                       Check all that apply.
 807 West 15th Street, F                                              Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6316
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Omar Guzman                                                         Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 2453 N 73RD DR                                                       Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85035                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1289 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6317
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.81
                                                                                                                     $________________________________
 omar perez                                                           Contingent
 1720 Paveys Glen Run                                                 Unliquidated
                                                                      Disputed
 Fort Wayne, IN, 46804
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6318
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Omar Sangid                                                         Check all that apply.
 616 Live Oak Dr.                                                     Contingent
                                                                      Unliquidated
 McLean, VA, 22101                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6319
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Omar solomon                                                        Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 1406 Willshire Dr                                                    Contingent
                                                                      Unliquidated
 Aberdeen, MD, 21001                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6320
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Omar Syed                                                           Check all that apply.
 2202 Sheridan St                                                     Contingent
                                                                      Unliquidated
 Houston, TX, 77030-2016                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6321
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Omar Vasquez                                                        Check all that apply.
                                                                                                                       55.10
                                                                                                                     $________________________________
 2113 oakwood                                                         Contingent
                                                                      Unliquidated
 Richmond, VA, 23228                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1290 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6322
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             75.33
                                                                                                                     $________________________________
 Omayra Torres                                                        Contingent
 19739 N Casas Ave                                                    Unliquidated
                                                                      Disputed
 Maricopa, AZ, 85138
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6323
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       374.24
                                                                                                                     $________________________________
 Omer Khan                                                           Check all that apply.
 49 Johnson Avenue                                                    Contingent
                                                                      Unliquidated
 Teaneck, NJ, 7666                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6324
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ONAIZ ZINNA                                                         Check all that apply.
                                                                                                                      28.88
                                                                                                                     $________________________________
 2844 Forrestal Court                                                 Contingent
                                                                      Unliquidated
 New Port Richey, FL, 34655                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6325
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Onassis Daniels                                                     Check all that apply.
 27456 Lovettsville Ln                                                Contingent
                                                                      Unliquidated
 Temecula, CA, 92591                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6326
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ore Afolayan                                                        Check all that apply.
                                                                                                                       62.98
                                                                                                                     $________________________________
 2753 West Walnut Hill Lane, 127                                      Contingent
                                                                      Unliquidated
 Irving, TX, 75038                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1291 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6327
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.85
                                                                                                                     $________________________________
 oriana pasch                                                         Contingent
 1165 Lady Campbell Drive                                             Unliquidated
                                                                      Disputed
 Colorado Springs, CO, 80905
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6328
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.04
                                                                                                                     $________________________________
 Oriana Villarreal                                                   Check all that apply.
 5901 Edmond Ave, 144, 144                                            Contingent
                                                                      Unliquidated
 Waco, TX, 76710                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6329
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Orlando Castaneda                                                   Check all that apply.
                                                                                                                      186.36
                                                                                                                     $________________________________
 411 N COVELL AVE                                                     Contingent
                                                                      Unliquidated
 SIOUX FALLS, SD, 57104                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6330
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.27
                                                                                                                     $________________________________
 orlando pina                                                        Check all that apply.
 12473 correnti st                                                    Contingent
                                                                      Unliquidated
 Pacoima, CA, 91331                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6331
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Oscar Aguirre                                                       Check all that apply.
                                                                                                                       26.25
                                                                                                                     $________________________________
 18314 Tahoma St SE                                                   Contingent
                                                                      Unliquidated
 Monroe, WA, 98272                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1292 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6332
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.31
                                                                                                                     $________________________________
 Oscar Cumplido                                                       Contingent
 8853 SPECTRUM CENTER BLVD APT 7208                                   Unliquidated
                                                                      Disputed
 SAN DIEGO, CA, 92123-1470
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6333
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.91
                                                                                                                     $________________________________
 Oscar Garza                                                         Check all that apply.
 4408 E MCMILLAN ST                                                   Contingent
                                                                      Unliquidated
 COMPTON, CA, 90221-1854                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6334
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Oscar Leza                                                          Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 11201 Tenaha                                                         Contingent
                                                                      Unliquidated
 El Paso, TX, 79936                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6335
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      114.99
                                                                                                                     $________________________________
 Oscar Manuel Acabal                                                 Check all that apply.
 1290 Potrero Ave, Apt 305                                            Contingent
                                                                      Unliquidated
 San Francisco, CA, 94110                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6336
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Oscar Martinez                                                      Check all that apply.
                                                                                                                       50.01
                                                                                                                     $________________________________
 8111 Stanford Ave, Unit 83                                           Contingent
                                                                      Unliquidated
 Garden Grove, CA, 92841                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1293 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6337
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             171.90
                                                                                                                     $________________________________
 Oscar mauleon                                                        Contingent
 87-58 Lefferts Boulevard                                             Unliquidated
                                                                      Disputed
 Queens, NY, 11418
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6338
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       260.97
                                                                                                                     $________________________________
 Oscar Olazaba                                                       Check all that apply.
 4812 melita ave                                                      Contingent
                                                                      Unliquidated
 fort worth, TX, 76133                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6339
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Oscar Ortega Mejia                                                  Check all that apply.
                                                                                                                      30.30
                                                                                                                     $________________________________
 2027 Hillcrest Street, 2106                                          Contingent
                                                                      Unliquidated
 Mesquite, TX, 75149                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6340
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.02
                                                                                                                     $________________________________
 Oscar Oyola                                                         Check all that apply.
 251 Copeland Avenue                                                  Contingent
                                                                      Unliquidated
 Lyndhurst, NJ, 7071                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6341
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Oscar Pinales                                                       Check all that apply.
                                                                                                                       80.98
                                                                                                                     $________________________________
 4500 North Prospector Lane                                           Contingent
                                                                      Unliquidated
 Enoch, UT, 84721                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1294 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6342
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Oscar Preciado                                                       Contingent
 6322 Corona Avenue                                                   Unliquidated
                                                                      Disputed
 Bell, CA, 90201
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6343
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       229.99
                                                                                                                     $________________________________
 Oscar Yuen                                                          Check all that apply.
 2150 28th Avenue                                                     Contingent
                                                                      Unliquidated
 San Francisco, CA, 94116                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6344
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Oscari Gomez                                                        Check all that apply.
                                                                                                                      32.09
                                                                                                                     $________________________________
 112 Northeast 36th Avenue Road                                       Contingent
                                                                      Unliquidated
 Homestead, FL, 33033                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6345
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.99
                                                                                                                     $________________________________
 Oseye Boyd                                                          Check all that apply.
 1838 Wellesley Commons                                               Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46219                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6346
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Osmar Martinez                                                      Check all that apply.
                                                                                                                       37.88
                                                                                                                     $________________________________
 306 Sandra Drive                                                     Contingent
                                                                      Unliquidated
 Irving, TX, 75060                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1295 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6347
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.02
                                                                                                                     $________________________________
 Osvaldo Hernandez                                                    Contingent
 13838 1/2 Santa Ana ave                                              Unliquidated
                                                                      Disputed
 Fontana, CA, 92337
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6348
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Osvaldo LopezReyna                                                  Check all that apply.
 1302 CALDWELL ST                                                     Contingent
                                                                      Unliquidated
 DALLAS, TX, 75223                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6349
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Osvaldo Serrano                                                     Check all that apply.
                                                                                                                      435.89
                                                                                                                     $________________________________
 Hc02 Box 6160                                                        Contingent
                                                                      Unliquidated
 Florida, PR, 650                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6350
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      349.98
                                                                                                                     $________________________________
 Oswald Espinoza                                                     Check all that apply.
 585 11th street                                                      Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11215                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6351
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ot .                                                                Check all that apply.
                                                                                                                       35.71
                                                                                                                     $________________________________
 2306 Sage Dr                                                         Contingent
                                                                      Unliquidated
 Weslaco, TX, 78596-6848                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1296 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6352
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             71.98
                                                                                                                     $________________________________
 Otto Dunn                                                            Contingent
 429 1st Ave N, Apt D                                                 Unliquidated
                                                                      Disputed
 Algona, WA, 98001
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6353
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.53
                                                                                                                     $________________________________
 Owen Bell                                                           Check all that apply.
 1228 North Flores Street                                             Contingent
                                                                      Unliquidated
 West Hollywood, CA, 90069                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6354
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Owen Carlson                                                        Check all that apply.
                                                                                                                      15.99
                                                                                                                     $________________________________
 2837 Mariposa Avenue                                                 Contingent
                                                                      Unliquidated
 Chico, CA, 95973                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6355
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.96
                                                                                                                     $________________________________
 Owen Jaekle                                                         Check all that apply.
 175 Twin Oaks Terrace                                                Contingent
                                                                      Unliquidated
 Stratford, CT, 6614                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6356
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Owen Simwale                                                        Check all that apply.
                                                                                                                       42.99
                                                                                                                     $________________________________
 2406 Dorrington Court                                                Contingent
                                                                      Unliquidated
 Modesto, CA, 95350                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1297 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6357
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             56.17
                                                                                                                     $________________________________
 Owen Walker                                                          Contingent
 4395 Minges Road South                                               Unliquidated
                                                                      Disputed
 Battle Creek, MI, 49015
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6358
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Oytun Kaplan                                                        Check all that apply.
 10 Colibri                                                           Contingent
                                                                      Unliquidated
 Rancho Santa Margarita, CA, 92688                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6359
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 PA Turnpike Toll by Plate                                           Check all that apply.
                                                                                                                      9.20
                                                                                                                     $________________________________
 PO Box 645631                                                        Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15264-5254                                           Disputed
                                                                     Basis for the claim: Toll violations



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6360
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Pablo Ceas                                                          Check all that apply.
 189 S 9th St., 28                                                    Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11211                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6361
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pablo Guzman                                                        Check all that apply.
                                                                                                                       18.99
                                                                                                                     $________________________________
 350 Lake Lane                                                        Contingent
                                                                      Unliquidated
 New Oxford, PA, 17350                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1298 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6362
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             148.98
                                                                                                                     $________________________________
 Pablo Kingsley                                                       Contingent
 19665 Indian Summer lane                                             Unliquidated
                                                                      Disputed
 Monument, CO, 80132
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6363
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       51.98
                                                                                                                     $________________________________
 Pablo Perez                                                         Check all that apply.
 341 FM 2436                                                          Contingent
                                                                      Unliquidated
 La Grange, TX, 78945                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6364
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pabloin PRIETO                                                      Check all that apply.
                                                                                                                      29.98
                                                                                                                     $________________________________
 12883 MESA VIEW DRIVE                                                Contingent
                                                                      Unliquidated
 Victorville, CA, 92392-0483                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6365
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Paige Manini                                                        Check all that apply.
 900 Mulberry Street, 2498 The DeNaples Center                        Contingent
 The University of Scranton                                           Unliquidated
                                                                      Disputed
 Scranton, PA, 18510
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6366
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paige Mertens                                                       Check all that apply.
                                                                                                                       220.96
                                                                                                                     $________________________________
 3035 Mineral Springs Blvd                                            Contingent
                                                                      Unliquidated
 Oconomowoc, WI, 53066                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1299 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6367
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             71.98
                                                                                                                     $________________________________
 Paige Miller                                                         Contingent
 2154 Alice Ave 202                                                   Unliquidated
                                                                      Disputed
 Oxon Hill, MD, 20745
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6368
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       5.99
                                                                                                                     $________________________________
 Pam Catalano                                                        Check all that apply.
 18754 Crystal Creek Drive                                            Contingent
                                                                      Unliquidated
 Mokena, IL, 60448                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6369
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pam Mchale                                                          Check all that apply.
                                                                                                                      64.34
                                                                                                                     $________________________________
 5396 S 300 W                                                         Contingent
                                                                      Unliquidated
 Ogden, UT, 84405                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6370
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.99
                                                                                                                     $________________________________
 Pam Morlan                                                          Check all that apply.
 32 Liege Place                                                       Contingent
                                                                      Unliquidated
 Westerville, OH, 43081                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6371
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pam Smith                                                           Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 11 Joseph Ave                                                        Contingent
                                                                      Unliquidated
 Lebanon, PA, 17042                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1300 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6372
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             356.24
                                                                                                                     $________________________________
 Pamela Aquino                                                        Contingent
 3729 Branson Dr                                                      Unliquidated
                                                                      Disputed
 San Mateo, CA, 94403
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6373
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Pamela Clarke                                                       Check all that apply.
 334 Pulaski Avenue                                                   Contingent
                                                                      Unliquidated
 Staten Island, NY, 10303                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6374
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pamela Lucado                                                       Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 448 West Malvern Avenue                                              Contingent
                                                                      Unliquidated
 Fullerton, CA, 92832                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6375
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      84.79
                                                                                                                     $________________________________
 Pamela Ruiz                                                         Check all that apply.
 308 churchill drive apt 1                                            Contingent
                                                                      Unliquidated
 richmond, KY, 40475-3265                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6376
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pamela Schwartz                                                     Check all that apply.
                                                                                                                       14.14
                                                                                                                     $________________________________
 320 East 83rd Street, 2D                                             Contingent
                                                                      Unliquidated
 New York, NY, 10028                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1301 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6377
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Pamela Summers                                                       Contingent
 106 Pinegrove CT                                                     Unliquidated
                                                                      Disputed
 Jacksonville, NC, 28546
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6378
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Pandi Reding                                                        Check all that apply.
 7405 28th st                                                         Contingent
                                                                      Unliquidated
 White city, OR, 97503                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6379
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pang Leung                                                          Check all that apply.
                                                                                                                      273.73
                                                                                                                     $________________________________
 824 tegner dr                                                        Contingent
                                                                      Unliquidated
 monterey park, CA, 91755                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6380
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      79.49
                                                                                                                     $________________________________
 Paola Bernal                                                        Check all that apply.
 123 Summer Lane                                                      Contingent
                                                                      Unliquidated
 Mechanicsburg, PA, 17050                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6381
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paola Chavez                                                        Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 12600 Oneal Road                                                     Contingent
                                                                      Unliquidated
 Wake Forest, NC, 27587                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6382
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             61.47
                                                                                                                     $________________________________
 Parker Nowak                                                         Contingent
 38221 Ladywood Court                                                 Unliquidated
                                                                      Disputed
 Livonia, MI, 48154
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6383
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       87.39
                                                                                                                     $________________________________
 Parker Bonner                                                       Check all that apply.
 1 University Park Dr                                                 Contingent
                                                                      Unliquidated
 Nashville, TN, 37204                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6384
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Parker Cark                                                         Check all that apply.
                                                                                                                      13.02
                                                                                                                     $________________________________
 974 Wolf Creek Dr                                                    Contingent
                                                                      Unliquidated
 Longmont, CO, 80504                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6385
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      51.60
                                                                                                                     $________________________________
 Parker Franks                                                       Check all that apply.
 4138 Morley Circle                                                   Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80916                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6386
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Parker Hall                                                         Check all that apply.
                                                                                                                       408.89
                                                                                                                     $________________________________
 10 South Green Street                                                Contingent
                                                                      Unliquidated
 Larkspur, CA, 94939                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1303 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6387
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.14
                                                                                                                     $________________________________
 Parker Johnson                                                       Contingent
 2401 Narvik Court                                                    Unliquidated
                                                                      Disputed
 Henrico, VA, 23233
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6388
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       41.72
                                                                                                                     $________________________________
 Parker Layne                                                        Check all that apply.
 4701 OAKTON WAY                                                      Contingent
                                                                      Unliquidated
 GREENWOOD, IN, 46143                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6389
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Parker Lukjanovs                                                    Check all that apply.
                                                                                                                      199.98
                                                                                                                     $________________________________
 3014 Iris Ave                                                        Contingent
                                                                      Unliquidated
 Edinburg, TX, 78539                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6390
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.15
                                                                                                                     $________________________________
 Parker Robertson                                                    Check all that apply.
 607 SW Murray Rd                                                     Contingent
                                                                      Unliquidated
 Lee?Äôs Summit, MO, 64081                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6391
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pasquale Grasso                                                     Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 949 Sycamore Drive                                                   Contingent
                                                                      Unliquidated
 Denver, PA, 17517                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1304 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6392
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             109.99
                                                                                                                     $________________________________
 Pat Anbe                                                             Contingent
 94-510 Hoohele Place                                                 Unliquidated
                                                                      Disputed
 Waipahu, HI, 96797
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6393
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.53
                                                                                                                     $________________________________
 pat french                                                          Check all that apply.
 2505 West 88th Street                                                Contingent
                                                                      Unliquidated
 Leawood, KS, 66206                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6394
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pat ODell                                                           Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 6803 NE Berwick Drive                                                Contingent
                                                                      Unliquidated
 Ankeny, IA, 50021                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6395
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15,000.00
                                                                                                                     $________________________________
 Patencio Development, LLC.                                          Check all that apply.
 4770 Eureka Ave. - Ste 2137                                          Contingent
                                                                      Unliquidated
 Yorba Linda, CA, 92885                                               Disputed
                                                                     Basis for the claim: Consultant



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6396
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pathion Collins                                                     Check all that apply.
                                                                                                                       87.14
                                                                                                                     $________________________________
 307 Raven Dr.                                                        Contingent
                                                                      Unliquidated
 Temple, TX, 76502                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1305 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6397
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             80.97
                                                                                                                     $________________________________
 Patiphat Wongtouwan                                                  Contingent
 4660 N River Rd, 89                                                  Unliquidated
                                                                      Disputed
 oceanside, CA, 92057
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6398
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.13
                                                                                                                     $________________________________
 PATRICIA MEZA                                                       Check all that apply.
 2604 NW 81st street                                                  Contingent
                                                                      Unliquidated
 Lawton, OK, 73505                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6399
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patricia Woods                                                      Check all that apply.
                                                                                                                      64.99
                                                                                                                     $________________________________
 1825 Parker Road Southeast                                           Contingent
                                                                      Unliquidated
 Conyers, GA, 30094                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6400
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      97.97
                                                                                                                     $________________________________
 Patricia Balleser                                                   Check all that apply.
 1940 Bluff Knoll Ct                                                  Contingent
                                                                      Unliquidated
 North Las Vegas, NV, 89084-2080                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6401
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patricia Chischilly                                                 Check all that apply.
                                                                                                                       59.95
                                                                                                                     $________________________________
 PO BOX 1953, 6 Shundiin Drive                                        Contingent
                                                                      Unliquidated
 Crownpoint , NM, 87313                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1306 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6402
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Patricia DeChant                                                     Contingent
 4200 Staatz Dr.                                                      Unliquidated
                                                                      Disputed
 Youngstown, OH, 44511
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6403
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       172.79
                                                                                                                     $________________________________
 Patricia Johnson                                                    Check all that apply.
 2472 Greenvale Rd                                                    Contingent
                                                                      Unliquidated
 Cleveland, OH, 44121                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6404
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patrick Alza                                                        Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 254 East Kirkwall Road                                               Contingent
                                                                      Unliquidated
 Azusa, CA, 91702                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6405
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.99
                                                                                                                     $________________________________
 Patrick Belcher                                                     Check all that apply.
 529 Sage Valley Dr.                                                  Contingent
                                                                      Unliquidated
 Richardson, TX, 75080                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6406
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patrick Corrigan                                                    Check all that apply.
                                                                                                                       103.08
                                                                                                                     $________________________________
 5111 Goethe Ave                                                      Contingent
                                                                      Unliquidated
 Saint Louis, MO, 63109                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1307 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6407
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.99
                                                                                                                     $________________________________
 Patrick Eldon                                                        Contingent
 12272 Blue Pacific Drive                                             Unliquidated
                                                                      Disputed
 Riverview, FL, 33579
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6408
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.49
                                                                                                                     $________________________________
 Patrick Gerard                                                      Check all that apply.
 2400 Barrett Creek Blvd, Apt 203                                     Contingent
                                                                      Unliquidated
 Marietta, GA, 30066                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6409
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patrick Ho                                                          Check all that apply.
                                                                                                                      33.04
                                                                                                                     $________________________________
 4808 Cheryl Avenue                                                   Contingent
                                                                      Unliquidated
 Glendale, CA, 91214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6410
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8.99
                                                                                                                     $________________________________
 Patrick Keens                                                       Check all that apply.
 116 W 90th St                                                        Contingent
                                                                      Unliquidated
 Kansas City, MO, 64114-3613                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6411
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patrick Lahr                                                        Check all that apply.
                                                                                                                       162.74
                                                                                                                     $________________________________
 764 1st Avenue                                                       Contingent
                                                                      Unliquidated
 Lansford, ND, 58750                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1308 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6412
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             89.99
                                                                                                                     $________________________________
 Patrick Lait                                                         Contingent
 815 Main Street, 207                                                 Unliquidated
                                                                      Disputed
 El Segundo, CA, 90245
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6413
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       278.94
                                                                                                                     $________________________________
 Patrick Liu                                                         Check all that apply.
 6399 Christie Avenue, Apt 442                                        Contingent
                                                                      Unliquidated
 Emeryville, CA, 94608                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6414
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patrick Lo                                                          Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 8473 Tambor Way                                                      Contingent
                                                                      Unliquidated
 Elk Grove, CA, 95758                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6415
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      159.99
                                                                                                                     $________________________________
 Patrick Manion                                                      Check all that apply.
 1170 Stonegate Road                                                  Contingent
                                                                      Unliquidated
 Algonquin, IL, 60102                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6416
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patrick McGovern                                                    Check all that apply.
                                                                                                                       109.99
                                                                                                                     $________________________________
 208 Daisy Ln                                                         Contingent
                                                                      Unliquidated
 Carmel, NY, 10512                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6417
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.05
                                                                                                                     $________________________________
 Patrick Nguyen                                                       Contingent
 4703 del mar trail                                                   Unliquidated
                                                                      Disputed
 san antonio, TX, 78251
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6418
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       43.99
                                                                                                                     $________________________________
 Patrick OConnell                                                    Check all that apply.
 17760 Grama Ridge                                                    Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80908                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6419
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patrick Pederneira                                                  Check all that apply.
                                                                                                                      35.97
                                                                                                                     $________________________________
 181 Center Street                                                    Contingent
                                                                      Unliquidated
 Ludlow, MA, 1056                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6420
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.13
                                                                                                                     $________________________________
 Patrick Quinn                                                       Check all that apply.
 2334 Mountain View Rd                                                Contingent
                                                                      Unliquidated
 Powhatan, VA, 23139                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6421
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patrick Rust                                                        Check all that apply.
                                                                                                                       94.77
                                                                                                                     $________________________________
 222 N Maple St                                                       Contingent
                                                                      Unliquidated
 Chadron, NE, 69337                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1310 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6422
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             48.99
                                                                                                                     $________________________________
 Patrick Su                                                           Contingent
 6170 West Bennington Drive                                           Unliquidated
                                                                      Disputed
 Fresno, CA, 93722
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6423
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       279.99
                                                                                                                     $________________________________
 patrick Walenty                                                     Check all that apply.
 12458 Kent Drive                                                     Contingent
                                                                      Unliquidated
 Sterling Heights, MI, 48312                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6424
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patrick Williams                                                    Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 809 Carey Drive                                                      Contingent
                                                                      Unliquidated
 DeSoto, TX, 75115                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6425
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.99
                                                                                                                     $________________________________
 Patrick Wright                                                      Check all that apply.
 218 Highland View Drive                                              Contingent
                                                                      Unliquidated
 Knoxville, TN, 37920                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6426
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Patrick Wu                                                          Check all that apply.
                                                                                                                       149.99
                                                                                                                     $________________________________
 15723 V??a Sorrento                                                  Contingent
                                                                      Unliquidated
 San Lorenzo, CA, 94580                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6427
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Patti Andrews                                                        Contingent
 112535 South 4712 Road                                               Unliquidated
                                                                      Disputed
 Muldrow, OK, 74948
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6428
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       33.16
                                                                                                                     $________________________________
 Patton Gilbert                                                      Check all that apply.
 975 Green St. Circle                                                 Contingent
                                                                      Unliquidated
 Gainesville, GA, 30501                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6429
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pattrawut Phochana                                                  Check all that apply.
                                                                                                                      59.11
                                                                                                                     $________________________________
 16100, Gledhill St.                                                  Contingent
                                                                      Unliquidated
 North Hills, CA, 91343                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6430
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.49
                                                                                                                     $________________________________
 Patty Saint                                                         Check all that apply.
 210 Kelly Ave                                                        Contingent
                                                                      Unliquidated
 Parlier, CA, 93648                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6431
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paul Almeda                                                         Check all that apply.
                                                                                                                       218.98
                                                                                                                     $________________________________
 15210 Sherman Way, #16                                               Contingent
                                                                      Unliquidated
 Van Nuys, CA, 91405                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1312 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6432
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.98
                                                                                                                     $________________________________
 Paul Amelio                                                          Contingent
 11137 South Spaulding Avenue                                         Unliquidated
                                                                      Disputed
 Chicago, IL, 60655
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6433
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       55.10
                                                                                                                     $________________________________
 Paul Cannella                                                       Check all that apply.
 1587 LOWER SOUTH MAIN STREET                                         Contingent
                                                                      Unliquidated
 BANGOR, PA, 18013                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6434
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 PAUL CHIU                                                           Check all that apply.
                                                                                                                      224.97
                                                                                                                     $________________________________
 780 WEST END AVE, 11D                                                Contingent
                                                                      Unliquidated
 NEW YORK, NY, 10025                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6435
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.82
                                                                                                                     $________________________________
 Paul Cieslewicz                                                     Check all that apply.
 8070 W Russell Rd Unit 1057                                          Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89113                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6436
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paul Daley                                                          Check all that apply.
                                                                                                                       220.98
                                                                                                                     $________________________________
 15307 Wilderness Ridge Rd NW                                         Contingent
                                                                      Unliquidated
 Prior Lake, MN, 55372                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1313 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6437
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.42
                                                                                                                     $________________________________
 Paul Denetdeale                                                      Contingent
 2575 w Gregory st                                                    Unliquidated
                                                                      Disputed
 Apache Junction , AZ, 85120
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6438
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.99
                                                                                                                     $________________________________
 Paul DeVivo                                                         Check all that apply.
 51 South Spring Lane                                                 Contingent
                                                                      Unliquidated
 Phoenixville, PA, 19460                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6439
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paul DeVos                                                          Check all that apply.
                                                                                                                      89.99
                                                                                                                     $________________________________
 4755 Gateway Lane                                                    Contingent
                                                                      Unliquidated
 Flowery Branch, GA, 30542                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6440
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.64
                                                                                                                     $________________________________
 Paul Fernandez                                                      Check all that apply.
 9 Summit Street, 803                                                 Contingent
                                                                      Unliquidated
 Newark, NJ, 7103                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6441
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paul Flamburis                                                      Check all that apply.
                                                                                                                       26.97
                                                                                                                     $________________________________
 59 Birch Road                                                        Contingent
                                                                      Unliquidated
 Westford, MA, 1886                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                           Document Page 1314 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6442
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.97
                                                                                                                     $________________________________
 Paul Hallbrook                                                       Contingent
 1335 SW Huntington Ave                                               Unliquidated
                                                                      Disputed
 Portland , OR, 97225
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6443
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       70.01
                                                                                                                     $________________________________
 Paul Joseph Dizon                                                   Check all that apply.
 17406 93rd Ave. E                                                    Contingent
                                                                      Unliquidated
 Puyallup, WA, 98375                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6444
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paul Martinez                                                       Check all that apply.
                                                                                                                      251.04
                                                                                                                     $________________________________
 4429 Mount Lindsey Avenue                                            Contingent
                                                                      Unliquidated
 San Diego, CA, 92117                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6445
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.41
                                                                                                                     $________________________________
 Paul McClain                                                        Check all that apply.
 1521 West 17th Street                                                Contingent
                                                                      Unliquidated
 PORTALES, NM, 88130                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6446
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paul Nicotera                                                       Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 1803 Twining Road                                                    Contingent
                                                                      Unliquidated
 Willow Grove, PA, 19090                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6447
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Paul Nowicki                                                         Contingent
 802 6TH ST APT 1                                                     Unliquidated
                                                                      Disputed
 BOWLING GREEN, OH, 43402
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6448
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.42
                                                                                                                     $________________________________
 Paul Robson                                                         Check all that apply.
 11311 E. Chestnut Drive                                              Contingent
                                                                      Unliquidated
 Chandler, AZ, 85249                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6449
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paul S                                                              Check all that apply.
                                                                                                                      77.00
                                                                                                                     $________________________________
 11 Tanglewood Ct, Apt 22                                             Contingent
                                                                      Unliquidated
 West Warwick, RI, 2893                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6450
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.99
                                                                                                                     $________________________________
 paul salgado                                                        Check all that apply.
 12209 midtowne dr                                                    Contingent
                                                                      Unliquidated
 bakersfield, CA, 93312                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6451
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paul Turner                                                         Check all that apply.
                                                                                                                       21.80
                                                                                                                     $________________________________
 104 Newberry Ct                                                      Contingent
                                                                      Unliquidated
 Knob Noster, MO, 65336                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6452
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.74
                                                                                                                     $________________________________
 Paul Tuscano                                                         Contingent
 14 Patton Drive                                                      Unliquidated
                                                                      Disputed
 South Hamilton, MA, 1982
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6453
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.49
                                                                                                                     $________________________________
 Paul Wright                                                         Check all that apply.
 3102 SW 152nd PL                                                     Contingent
                                                                      Unliquidated
 Miami, FL, 33185-5653                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6454
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paula Cochran                                                       Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 1126 Birkdale drive                                                  Contingent
                                                                      Unliquidated
 Mebane, NC, 27302                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6455
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.00
                                                                                                                     $________________________________
 Paula Cosgrove                                                      Check all that apply.
 367 Arbor Falls Drive                                                Contingent
                                                                      Unliquidated
 Wadsworth, OH, 44281                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6456
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paula Kirwin                                                        Check all that apply.
                                                                                                                       57.99
                                                                                                                     $________________________________
 8917 Mapleview Avenue                                                Contingent
                                                                      Unliquidated
 Henrico, VA, 23294                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1317 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6457
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             299.59
                                                                                                                     $________________________________
 PAULA PETERS                                                         Contingent
 5022 S 150th Plz                                                     Unliquidated
                                                                      Disputed
 Omaha, NE, 68137-1408
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6458
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       100.69
                                                                                                                     $________________________________
 Paula Spicer                                                        Check all that apply.
 2400 N SMITH RD                                                      Contingent
                                                                      Unliquidated
 EATON RAPIDS, MI, 48827                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6459
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paula Stevens                                                       Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 198 Fairpark Drive                                                   Contingent
                                                                      Unliquidated
 Berea, OH, 44017                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6460
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.99
                                                                                                                     $________________________________
 Pauline Gonalez                                                     Check all that apply.
 4038 Abilene Street                                                  Contingent
                                                                      Unliquidated
 Dallas, TX, 75212                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6461
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paulo Avalos                                                        Check all that apply.
                                                                                                                       34.99
                                                                                                                     $________________________________
 3969 Big Cloud Way                                                   Contingent
                                                                      Unliquidated
 Antelope, CA, 95843                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1318 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6462
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             106.93
                                                                                                                     $________________________________
 Paxton Schiermeyer                                                   Contingent
 5121 Glenwood Avenue                                                 Unliquidated
                                                                      Disputed
 La Crescenta-Montrose, CA, 91214
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6463
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.35
                                                                                                                     $________________________________
 Payia Lee                                                           Check all that apply.
 3821 Elm Street                                                      Contingent
                                                                      Unliquidated
 Sacramento, CA, 95838                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6464
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Payton Neil                                                         Check all that apply.
                                                                                                                      18.26
                                                                                                                     $________________________________
 2514 Jasmine Trace Drive                                             Contingent
                                                                      Unliquidated
 Kissimmee, FL, 34758                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6465
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.30
                                                                                                                     $________________________________
 Payton Terry                                                        Check all that apply.
 155 West 1st Avenue                                                  Contingent
                                                                      Unliquidated
 Crestview, FL, 32536                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6466
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pe Ti                                                               Check all that apply.
                                                                                                                       23.99
                                                                                                                     $________________________________
 95-24 76th Street                                                    Contingent
                                                                      Unliquidated
 Queens, NY, 11416                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1319 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6467
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.99
                                                                                                                     $________________________________
 Peach Hulett                                                         Contingent
 394 S 15th St                                                        Unliquidated
                                                                      Disputed
 Saint Helens, OR, 97051
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6468
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.97
                                                                                                                     $________________________________
 Pearl Davis                                                         Check all that apply.
 1824 SW Prairie Road                                                 Contingent
                                                                      Unliquidated
 Topeka, KS, 66604                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6469
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pedro Angulo                                                        Check all that apply.
                                                                                                                      12.71
                                                                                                                     $________________________________
 11037 Blackburn Cove Ln                                              Contingent
                                                                      Unliquidated
 Manassas, VA, 20109                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6470
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      71.85
                                                                                                                     $________________________________
 Pedro Carlevarino                                                   Check all that apply.
 150-01 78th Avenue                                                   Contingent
                                                                      Unliquidated
 Queens, NY, 11367                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6471
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pedro Castanon                                                      Check all that apply.
                                                                                                                       25.42
                                                                                                                     $________________________________
 1207 Taylor Ave                                                      Contingent
                                                                      Unliquidated
 Halethorpe, MD, 21227-1424                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1320 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6472
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.99
                                                                                                                     $________________________________
 Pedro Duarte                                                         Contingent
 2294 Menalto Ave                                                     Unliquidated
                                                                      Disputed
 East Palo Alto, CA, 94303-1428
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6473
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Pedro Jimenez                                                       Check all that apply.
 2225 Roosevelt Street, Unit 2                                        Contingent
                                                                      Unliquidated
 Brownsville, TX, 78521                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6474
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pedro Ramos                                                         Check all that apply.
                                                                                                                      86.85
                                                                                                                     $________________________________
 601 North 9th Street                                                 Contingent
                                                                      Unliquidated
 Lamar, CO, 81052                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6475
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      160.97
                                                                                                                     $________________________________
 Peggy Yang                                                          Check all that apply.
 9115 Aubrac Lane                                                     Contingent
                                                                      Unliquidated
 Charlotte, NC, 28213                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6476
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pengfei Li                                                          Check all that apply.
                                                                                                                       469.93
                                                                                                                     $________________________________
 42-42 colden st, aptE4                                               Contingent
                                                                      Unliquidated
 flushing, NY, 11355                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.        Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor           _______________________________________________________
                   Name                           Document Page 1321 of Case number (if known)_____________________________________
                                                                          2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6477
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             50.16
                                                                                                                      $________________________________
 percy williams                                                        Contingent
 5528 Bridgeway Dr                                                     Unliquidated
                                                                       Disputed
 Greensboro, NC, 27406
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  6478
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        12.98
                                                                                                                      $________________________________
 Perry Johnson                                                        Check all that apply.
 1610 Winter Pass Trl                                                  Contingent
                                                                       Unliquidated
 Arlington, TX, 76002                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  6479
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Peter Aponte                                                         Check all that apply.
                                                                                                                       12.95
                                                                                                                      $________________________________
 31 Butterfly Ln                                                       Contingent
                                                                       Unliquidated
 West Henrietta, NY, 14586-9316                                        Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  6480
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       27.05
                                                                                                                      $________________________________
 Peter Brown                                                          Check all that apply.
 8314 Greenleaf Lake Drive                                             Contingent
                                                                       Unliquidated
 Houston, TX, 77095                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  6481
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Peter Carey                                                          Check all that apply.
                                                                                                                        34.99
                                                                                                                      $________________________________
 86 Erasmus St Apt 1A                                                  Contingent
                                                                       Unliquidated
 Brooklyn, NY, 11226-4054                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.        Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                            Document Page 1322 of Case number (if known)_____________________________________
                                                                          2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6482
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             26.65
                                                                                                                      $________________________________
 Peter Chan                                                            Contingent
 295 Princeton Hightstown Road, Unit 11-338                            Unliquidated
                                                                       Disputed
 West Windsor, NJ, 8550
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  6483
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        53.99
                                                                                                                      $________________________________
 peter chang                                                          Check all that apply.
 951 V St NE                                                           Contingent
                                                                       Unliquidated
 Washington DC, DC, 20018                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  6484
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Peter Di Teresa                                                      Check all that apply.
                                                                                                                       125.66
                                                                                                                      $________________________________
 5219 S Blackstone Ave                                                 Contingent
                                                                       Unliquidated
 Chicago, IL, 60615                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  6485
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       86.29
                                                                                                                      $________________________________
 Peter Dillon                                                         Check all that apply.
 1058 Fairmount Avenue                                                 Contingent
                                                                       Unliquidated
 Saint Paul, MN, 55105                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  6486
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Peter Dzubay                                                         Check all that apply.
                                                                                                                        12.75
                                                                                                                      $________________________________
 304 Jacob Road                                                        Contingent
                                                                       Unliquidated
 Southbury, CT, 6488                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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                                                                                                                                                           1682
               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1323 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6487
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Peter Jesse                                                          Contingent
 601 Avenida Cuarta, Apt 306                                          Unliquidated
                                                                      Disputed
 Clermont, FL, 34714-6576
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6488
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.22
                                                                                                                     $________________________________
 Peter Kuchta                                                        Check all that apply.
 2053 West Augusta Boulevard                                          Contingent
                                                                      Unliquidated
 Chicago, IL, 60622                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6489
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Peter Newbury                                                       Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 1879 Tamarack Lane                                                   Contingent
                                                                      Unliquidated
 Columbia Falls, MT, 59912                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6490
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.96
                                                                                                                     $________________________________
 PETER NGUYEN                                                        Check all that apply.
 7501 VANTAGE AVE                                                     Contingent
                                                                      Unliquidated
 NORTH HOLLYWOOD, CA, 91605                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6491
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Peter Nhan                                                          Check all that apply.
                                                                                                                       26.92
                                                                                                                     $________________________________
 7962 Cresentdale Way                                                 Contingent
                                                                      Unliquidated
 Sacramento, CA, 95823                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1324 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6492
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             130.50
                                                                                                                     $________________________________
 Peter Oltean                                                         Contingent
 1181 Los Molinos Way                                                 Unliquidated
                                                                      Disputed
 Sacramento, CA, 95864
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6493
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.77
                                                                                                                     $________________________________
 Peter Perez                                                         Check all that apply.
 12114 Magazine Street, #3302                                         Contingent
                                                                      Unliquidated
 Orlando, FL, 32828                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6494
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Peter Tokar                                                         Check all that apply.
                                                                                                                      44.97
                                                                                                                     $________________________________
 5900 S Lake Forest Dr Ste 110, Ste 100                               Contingent
                                                                      Unliquidated
 McKinney, TX, 75070-2194                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6495
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.98
                                                                                                                     $________________________________
 Peter Truong                                                        Check all that apply.
 1415 Eldridge Pkwy, Apt 232                                          Contingent
                                                                      Unliquidated
 Houston, TX, 77077-1636                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6496
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Peter Vu                                                            Check all that apply.
                                                                                                                       38.78
                                                                                                                     $________________________________
 2656 Balboa Vista Drive                                              Contingent
                                                                      Unliquidated
 San Diego, CA, 92105                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1325 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6497
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.99
                                                                                                                     $________________________________
 Peyton Knight                                                        Contingent
 3 Jefferson Street                                                   Unliquidated
                                                                      Disputed
 West Warwick, RI, 2893
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6498
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       174.42
                                                                                                                     $________________________________
 phetsada, Justin                                                    Check all that apply.
 3132 179th Street Southeast                                          Contingent
                                                                      Unliquidated
 Bothell, WA, 98012                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6499
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Philbert Loekman                                                    Check all that apply.
                                                                                                                      15.99
                                                                                                                     $________________________________
 19903 Tennessee Trail                                                Contingent
                                                                      Unliquidated
 Walnut, CA, 91789                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6500
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      43.98
                                                                                                                     $________________________________
 philip aja                                                          Check all that apply.
 393 Wallis Street                                                    Contingent
                                                                      Unliquidated
 Pasadena, CA, 91106                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6501
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Philip Campbell Jr.                                                 Check all that apply.
                                                                                                                       109.98
                                                                                                                     $________________________________
 62 East Stephen Drive                                                Contingent
                                                                      Unliquidated
 Newark, DE, 19713                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.        Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor           _______________________________________________________
                   Name                           Document Page 1326 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6502
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             29.98
                                                                                                                      $________________________________
 Philip Talley                                                         Contingent
 14818 Distaff rd                                                      Unliquidated
                                                                       Disputed
 Midlothian, VA, 23112
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  6503
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        22.99
                                                                                                                      $________________________________
 Philip Vaccaro                                                       Check all that apply.
 51 S Rambling Ridge Place                                             Contingent
                                                                       Unliquidated
 Conroe , TX, 77385                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  6504
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Philipp Renard                                                       Check all that apply.
                                                                                                                       11.99
                                                                                                                      $________________________________
 571 N Verde Ave                                                       Contingent
                                                                       Unliquidated
 Rialto, CA, 92376                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  6505
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       33.99
                                                                                                                      $________________________________
 Phillip Bledsoe                                                      Check all that apply.
 152 ohio st.                                                          Contingent
                                                                       Unliquidated
 Barnsville, OH, 43713                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  6506
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Phillip Coonce                                                       Check all that apply.
                                                                                                                        19.99
                                                                                                                      $________________________________
 5312 NE 43rd Terrace                                                  Contingent
                                                                       Unliquidated
 Kansas City, MO, 64117                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1327 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6507
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             395.23
                                                                                                                     $________________________________
 Phillip Fung                                                         Contingent
 65 Linden Ln                                                         Unliquidated
                                                                      Disputed
 Temple City, CA, 91780
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6508
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       71.55
                                                                                                                     $________________________________
 Phillip Gladstone                                                   Check all that apply.
 12846 SE 40th ln #11                                                 Contingent
                                                                      Unliquidated
 Bellevue, WA, 98006                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6509
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Phillip Kunzig                                                      Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 31033 Buttonwood Drive                                               Contingent
                                                                      Unliquidated
 Lewes, DE, 19958                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6510
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Phillip Martins                                                     Check all that apply.
 1432 Maryland Avenue                                                 Contingent
                                                                      Unliquidated
 Severn, MD, 21144                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6511
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Phillip Morgan                                                      Check all that apply.
                                                                                                                       31.69
                                                                                                                     $________________________________
 15838 Country Trail                                                  Contingent
                                                                      Unliquidated
 Tomball, TX, 77377                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1328 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6512
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Phillip Moss                                                         Contingent
 4 Jeffrey Manor Rd.                                                  Unliquidated
                                                                      Disputed
 Oakdale, CT, 6370
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6513
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       111.98
                                                                                                                     $________________________________
 Phillip Phan                                                        Check all that apply.
 5808 Laguna Seca Way                                                 Contingent
                                                                      Unliquidated
 San Jose, CA, 95123-3245                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6514
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 phillip stamper                                                     Check all that apply.
                                                                                                                      17.98
                                                                                                                     $________________________________
 1713 robin lane                                                      Contingent
                                                                      Unliquidated
 garland, TX, 75240                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6515
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65.98
                                                                                                                     $________________________________
 Phillip Starnes                                                     Check all that apply.
 12807 Bridge Cedar                                                   Contingent
                                                                      Unliquidated
 Helotes, TX, 78023                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6516
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Phillip Wheatley                                                    Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 74 N 775 E                                                           Contingent
                                                                      Unliquidated
 Tremomton , UT, 84337                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1329 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6517
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.76
                                                                                                                     $________________________________
 Phillip White                                                        Contingent
 9321 s woodlawn                                                      Unliquidated
                                                                      Disputed
 chicago, IL, 60619
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6518
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       119.95
                                                                                                                     $________________________________
 Phillipe Santos                                                     Check all that apply.
 32-06 47th Street, Apt 5C                                            Contingent
                                                                      Unliquidated
 Astoria, NY, 11103                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6519
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Phoebe O                                                            Check all that apply.
                                                                                                                      7.99
                                                                                                                     $________________________________
 1622 SE 71st Ave                                                     Contingent
                                                                      Unliquidated
 Portland, OR, 97215                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6520
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.65
                                                                                                                     $________________________________
 Phoeberly Ungos                                                     Check all that apply.
 91-1025 Manakuke St., Apartment B                                    Contingent
                                                                      Unliquidated
 Ewa Beach, HI, 96706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6521
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Phonesy Saengphachanh                                               Check all that apply.
                                                                                                                       98.98
                                                                                                                     $________________________________
 3632 Beresford Dr.                                                   Contingent
                                                                      Unliquidated
 Modesto, CA, 95357                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6522
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.99
                                                                                                                     $________________________________
 Phong Pham                                                           Contingent
 597 Commercial Street                                                Unliquidated
                                                                      Disputed
 Braintree, MA, 2184
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6523
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       85.00
                                                                                                                     $________________________________
 Phu Huynh                                                           Check all that apply.
 233 Bellam Blvd                                                      Contingent
                                                                      Unliquidated
 San Rafael, CA, 94901                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6524
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Phuc Nguyen                                                         Check all that apply.
                                                                                                                      32.23
                                                                                                                     $________________________________
 6918 Belleglade Dr                                                   Contingent
                                                                      Unliquidated
 Dayton, OH, 45424                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6525
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      81.55
                                                                                                                     $________________________________
 Phuc Nguyen                                                         Check all that apply.
 8120 Power Inn Rd, , Apt 113                                         Contingent
                                                                      Unliquidated
 Sacramento, CA, 95828                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6526
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Phuoc Doan                                                          Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 500 13th Avenue East, apt 205                                        Contingent
                                                                      Unliquidated
 Seattle, WA, 98102                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1331 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6527
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.17
                                                                                                                     $________________________________
 Phuong Mai                                                           Contingent
 34338 Sandburg Drive                                                 Unliquidated
                                                                      Disputed
 Union City, CA, 94587
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6528
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.10
                                                                                                                     $________________________________
 Piankhi Zimmerman                                                   Check all that apply.
 904 Whitehall Street                                                 Contingent
                                                                      Unliquidated
 Silver Spring, MD, 20901                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6529
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Piero Lopez Rodriguez-Gaona                                         Check all that apply.
                                                                                                                      47.97
                                                                                                                     $________________________________
 35 Gallagher Lane                                                    Contingent
                                                                      Unliquidated
 Wharton, NJ, 7885                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6530
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      133.25
                                                                                                                     $________________________________
 Pierre Demassey                                                     Check all that apply.
 13 Bisbee Dr                                                         Contingent
                                                                      Unliquidated
 Burlington, NJ, 8016                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6531
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pierre Pelen                                                        Check all that apply.
                                                                                                                       87.12
                                                                                                                     $________________________________
 3536 53rd Ave NE Tacoma, 3536 53rd Ave NE                            Contingent
 Tacoma                                                               Unliquidated
                                                                      Disputed
 Tacoma, WA, 98422                                                   Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1332 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6532
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.68
                                                                                                                     $________________________________
 Ping Somsack                                                         Contingent
 13204 Wat Rd                                                         Unliquidated
                                                                      Disputed
 Fort Worth, TX, 76244
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6533
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       279.41
                                                                                                                     $________________________________
 Pinto                                                               Check all that apply.
 95 US Highway 46 West                                                Contingent
                                                                      Unliquidated
 Lodi, NJ, 07644                                                      Disputed
                                                                     Basis for the claim: Service Invoice



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6534
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Piper Sullentrup                                                    Check all that apply.
                                                                                                                      102.62
                                                                                                                     $________________________________
 463 Basswood Drive                                                   Contingent
                                                                      Unliquidated
 Leslie, MO, 63056                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6535
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      81.18
                                                                                                                     $________________________________
 Pratsanee Galluzzo                                                  Check all that apply.
 7202 Nocona Drive                                                    Contingent
                                                                      Unliquidated
 Abilene, TX, 79602                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6536
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Preston Dupriest                                                    Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 10965 West 192nd Place                                               Contingent
                                                                      Unliquidated
 Spring Hill, KS, 66225                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1333 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6537
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             149.26
                                                                                                                     $________________________________
 Preston Owens                                                        Contingent
 239 Three Bridge Road                                                Unliquidated
                                                                      Disputed
 Monroeville, NJ, 08343-1880
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6538
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       74.99
                                                                                                                     $________________________________
 Preston Tingley                                                     Check all that apply.
 659 Ruby Drive                                                       Contingent
                                                                      Unliquidated
 Vacaville, CA, 95687                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6539
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Preston Ward                                                        Check all that apply.
                                                                                                                      76.81
                                                                                                                     $________________________________
 4283 Treat Blvd.                                                     Contingent
                                                                      Unliquidated
 Concord, CA, 94521                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6540
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Pricila Ortega                                                      Check all that apply.
 9602 Marlive Lane, Apt 3                                             Contingent
                                                                      Unliquidated
 Houston, TX, 77025                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6541
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Prime Packaging Corp.                                               Check all that apply.
                                                                                                                       5,129.12
                                                                                                                     $________________________________
 1290 Metropolitan Ave.                                               Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11237                                                  Disputed
                                                                     Basis for the claim: Trade Payables



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1334 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6542
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.88
                                                                                                                     $________________________________
 Priscilla Hamilton                                                   Contingent
 1224 Long Branch Road                                                Unliquidated
                                                                      Disputed
 Marble, NC, 28905
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6543
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Priscilla Miranda                                                   Check all that apply.
 7943 La Merced Road                                                  Contingent
                                                                      Unliquidated
 Rosemead, CA, 91770                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6544
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Proimsa Jose Munoz                                                  Check all that apply.
                                                                                                                      28.88
                                                                                                                     $________________________________
 2834 NW 72ND AVE                                                     Contingent
                                                                      Unliquidated
 Miami, FL, 33122                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6545
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      765.31
                                                                                                                     $________________________________
 PSE&G Co.                                                           Check all that apply.
 PO Box 14444                                                         Contingent
                                                                      Unliquidated
 New Brunswick, NJ, 08906-444                                         Disputed
                                                                     Basis for the claim: Utility Services



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6546
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Qiangqiang Hu                                                       Check all that apply.
                                                                                                                       138.99
                                                                                                                     $________________________________
 3708 Sara dr                                                         Contingent
                                                                      Unliquidated
 Torrance, CA, 90503                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1335 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6547
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.04
                                                                                                                     $________________________________
 qinglu he                                                            Contingent
 5116 C Sereno Dr , 5116 C                                            Unliquidated
                                                                      Disputed
 Temple City, CA, 91780
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6548
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.15
                                                                                                                     $________________________________
 Quan Vo                                                             Check all that apply.
 11859 Goodale Ave                                                    Contingent
                                                                      Unliquidated
 Fountain Valley, CA, 92708                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6549
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Quang Tran                                                          Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 147 Barry Oak Road                                                   Contingent
                                                                      Unliquidated
 Statesville, NC, 28625                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6550
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.87
                                                                                                                     $________________________________
 Queen McNeill                                                       Check all that apply.
 1023 Brandon Rd.                                                     Contingent
                                                                      Unliquidated
 Durham, NC, 27713                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6551
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Queenaly Tran                                                       Check all that apply.
                                                                                                                       44.98
                                                                                                                     $________________________________
 10542 SE Market St                                                   Contingent
                                                                      Unliquidated
 Portland, OR, 97216                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6552
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             158.41
                                                                                                                     $________________________________
 Quentin Welch                                                        Contingent
 6210 Twin Springs Boulevard                                          Unliquidated
                                                                      Disputed
 Cedar Hill, MO, 63016
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6553
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Quezada Deloryn                                                     Check all that apply.
 86 Wadsworth Avenue, 5                                               Contingent
                                                                      Unliquidated
 New York, NY, 10033                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6554
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 RH                                                                  Check all that apply.
                                                                                                                      71.01
                                                                                                                     $________________________________
 300 old batson rd                                                    Contingent
                                                                      Unliquidated
 Taylors, SC, 29687                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6555
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Rachael Adams                                                       Check all that apply.
 951 S Frost Dr                                                       Contingent
                                                                      Unliquidated
 Saginaw, MI, 48638                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6556
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rachael mehaffey                                                    Check all that apply.
                                                                                                                       28.07
                                                                                                                     $________________________________
 PO box 1099                                                          Contingent
                                                                      Unliquidated
 Hinesville, GA, 31310                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6557
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.51
                                                                                                                     $________________________________
 Rachel Whittle                                                       Contingent
 9832 Ga Highway 112                                                  Unliquidated
                                                                      Disputed
 Danville , GA, 31017
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6558
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       61.98
                                                                                                                     $________________________________
 Rachel Ardry                                                        Check all that apply.
 200 N Cayce Lane                                                     Contingent
                                                                      Unliquidated
 columbia, TN, 38401                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6559
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rachel Bailey                                                       Check all that apply.
                                                                                                                      71.33
                                                                                                                     $________________________________
 66 Long Branch Rd                                                    Contingent
                                                                      Unliquidated
 Lawrenceburg, TN, 38464                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6560
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.93
                                                                                                                     $________________________________
 Rachel Bang                                                         Check all that apply.
 12692 Shorewood Dr SW                                                Contingent
                                                                      Unliquidated
 Burien, WA, 98146                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6561
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rachel Bellaire                                                     Check all that apply.
                                                                                                                       27.55
                                                                                                                     $________________________________
 125 Coal Street                                                      Contingent
                                                                      Unliquidated
 McDonald, PA, 15057                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1338 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6562
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.07
                                                                                                                     $________________________________
 Rachel Caldwell                                                      Contingent
 70 Pine View Blvd                                                    Unliquidated
                                                                      Disputed
 Russellville, AL, 35654
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6563
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.96
                                                                                                                     $________________________________
 Rachel charlie dixon Dixon                                          Check all that apply.
 15 Belleview Terrace                                                 Contingent
                                                                      Unliquidated
 Cromwell, CT, 6416                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6564
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rachel Chitswara                                                    Check all that apply.
                                                                                                                      36.03
                                                                                                                     $________________________________
 86 karin dr                                                          Contingent
                                                                      Unliquidated
 Mountain Top, PA, 18707                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6565
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.51
                                                                                                                     $________________________________
 Rachel Colwell                                                      Check all that apply.
 11800 Sunset Hills Road, 714                                         Contingent
                                                                      Unliquidated
 Reston, VA, 20190                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6566
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rachel Cullar                                                       Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 4855 Tawny Court                                                     Contingent
                                                                      Unliquidated
 Oakley, CA, 94561                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1339 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6567
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.01
                                                                                                                     $________________________________
 Rachel Golden                                                        Contingent
 8610 Anglers Pointe Drive                                            Unliquidated
                                                                      Disputed
 Temple Terrace, FL, 33637
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6568
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       56.69
                                                                                                                     $________________________________
 Rachel Grant                                                        Check all that apply.
 38 Laurel Hill Road                                                  Contingent
                                                                      Unliquidated
 McDonald, PA, 15057                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6569
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rachel Helling                                                      Check all that apply.
                                                                                                                      12.65
                                                                                                                     $________________________________
 308 Willow Street, Apt 7                                             Contingent
                                                                      Unliquidated
 Somerset, WI, 54025                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6570
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.98
                                                                                                                     $________________________________
 Rachel Hensberger                                                   Check all that apply.
 29 Ruxview Ct, Apt 101                                               Contingent
                                                                      Unliquidated
 Towson, MD, 21204                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6571
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rachel Kurtz                                                        Check all that apply.
                                                                                                                       40.97
                                                                                                                     $________________________________
 2002 Noss Rd                                                         Contingent
                                                                      Unliquidated
 York, PA, 17408-8843                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1340 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6572
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.78
                                                                                                                     $________________________________
 Rachel Kuzara                                                        Contingent
 11640 Alderhill Terrace                                              Unliquidated
                                                                      Disputed
 San Diego, CA, 92131
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6573
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Rachel LaBerge                                                      Check all that apply.
 32471 Wisconsin Street                                               Contingent
                                                                      Unliquidated
 Livonia, MI, 48150                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6574
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rachel Lamancusa                                                    Check all that apply.
                                                                                                                      101.87
                                                                                                                     $________________________________
 4284 Kerrybrook Avenue                                               Contingent
                                                                      Unliquidated
 Youngstown, OH, 44511                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6575
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      61.69
                                                                                                                     $________________________________
 Rachel Melfi                                                        Check all that apply.
 3 Amen Corner Court                                                  Contingent
                                                                      Unliquidated
 Mansfield, TX, 76063                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6576
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rachel Pollard                                                      Check all that apply.
                                                                                                                       27.49
                                                                                                                     $________________________________
 1423 W St James Pl                                                   Contingent
                                                                      Unliquidated
 Arlington Hts, IL, 60005                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1341 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6577
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.23
                                                                                                                     $________________________________
 Rachel Reith                                                         Contingent
 6521 Vine Street, Apt 22                                             Unliquidated
                                                                      Disputed
 Lincoln, NE, 68505
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6578
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.99
                                                                                                                     $________________________________
 Rachel Rodil                                                        Check all that apply.
 178 REYNOLDSON RD                                                    Contingent
                                                                      Unliquidated
 Gates, NC, 27937                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6579
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rachel Stokes                                                       Check all that apply.
                                                                                                                      160.95
                                                                                                                     $________________________________
 1971 WEBSTER AVE, APT 1B                                             Contingent
                                                                      Unliquidated
 BRONX, NY, 10457                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6580
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.28
                                                                                                                     $________________________________
 Rachel Stokes                                                       Check all that apply.
 1971 WEBSTER AVE, APT 1B                                             Contingent
                                                                      Unliquidated
 BRONX, NY, 10457                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6581
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rachel Treadway                                                     Check all that apply.
                                                                                                                       34.71
                                                                                                                     $________________________________
 27 Lyncliff Drive                                                    Contingent
                                                                      Unliquidated
 Oswego, IL, 60543                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                           Document Page 1342 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6582
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Rachelle Hahn                                                        Contingent
 11745A SE Ankeny St                                                  Unliquidated
                                                                      Disputed
 Portland, OR, 97216-3711
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6583
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Radito Orodio                                                       Check all that apply.
 48 Madoline St                                                       Contingent
                                                                      Unliquidated
 Pittsburg, CA, 94565                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6584
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Radostin Draganov                                                   Check all that apply.
                                                                                                                      109.97
                                                                                                                     $________________________________
 175 Cemetery Rd                                                      Contingent
                                                                      Unliquidated
 Buxton, ME, 4093                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6585
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.23
                                                                                                                     $________________________________
 Radwan Abdalla                                                      Check all that apply.
 1077 Ramsey Street                                                   Contingent
                                                                      Unliquidated
 Shakopee, MN, 55379                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6586
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rae Tan                                                             Check all that apply.
                                                                                                                       33.99
                                                                                                                     $________________________________
 53 Turning Mill Road                                                 Contingent
                                                                      Unliquidated
 Lexington, MA, 2420                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6587
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             7.99
                                                                                                                     $________________________________
 Rae Valdez                                                           Contingent
 6769 Miramar Parkway                                                 Unliquidated
                                                                      Disputed
 Miramar, FL, 33023
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6588
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       109.99
                                                                                                                     $________________________________
 Raed Moukarem                                                       Check all that apply.
 13030 North Hunters Circle                                           Contingent
                                                                      Unliquidated
 San Antonio, TX, 78230                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6589
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raelenn Muldrow                                                     Check all that apply.
                                                                                                                      16.27
                                                                                                                     $________________________________
 9231 South 91st East Avenue                                          Contingent
                                                                      Unliquidated
 Tulsa, OK, 74133                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6590
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      149.26
                                                                                                                     $________________________________
 Raeshawn Spence                                                     Check all that apply.
 110 Broad Street, 303                                                Contingent
                                                                      Unliquidated
 Newark, NJ, 7104                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6591
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rafael Barbosa                                                      Check all that apply.
                                                                                                                       11.65
                                                                                                                     $________________________________
 912 Juniper Place                                                    Contingent
                                                                      Unliquidated
 Alexandria, VA, 22304                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6592
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 rafael garcia                                                        Contingent
 441 Venezian Court                                                   Unliquidated
                                                                      Disputed
 Roseville, CA, 95661
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6593
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.99
                                                                                                                     $________________________________
 Rafael Hernandez Jr                                                 Check all that apply.
 23842 Alicia Parkway, 243                                            Contingent
                                                                      Unliquidated
 Mission Viejo, CA, 92691                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6594
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rafael Rivera                                                       Check all that apply.
                                                                                                                      43.69
                                                                                                                     $________________________________
 1040 Riker St, 24                                                    Contingent
                                                                      Unliquidated
 Salinas, CA, 93901                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6595
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      97.41
                                                                                                                     $________________________________
 Rafael Rivera                                                       Check all that apply.
 16735 la cantera parkway, 17206                                      Contingent
                                                                      Unliquidated
 SAN ANTONIO, TX, 78256                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6596
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rafael rosario                                                      Check all that apply.
                                                                                                                       38.06
                                                                                                                     $________________________________
 1817 Eastgate Loop, 102                                              Contingent
                                                                      Unliquidated
 Ferndale, WA, 98248                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1345 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6597
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.43
                                                                                                                     $________________________________
 Rafael Sanchez                                                       Contingent
 4373 Avondale Ave                                                    Unliquidated
                                                                      Disputed
 Las Vegas, NV, 89121
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6598
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.09
                                                                                                                     $________________________________
 Rafael Vera                                                         Check all that apply.
 325 N Jefferson St                                                   Contingent
                                                                      Unliquidated
 Whitewater, WI, 53190-1423                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6599
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rafaela Ortiz                                                       Check all that apply.
                                                                                                                      447.81
                                                                                                                     $________________________________
 267 Elberon Avenue                                                   Contingent
                                                                      Unliquidated
 Paterson, NJ, 7502                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6600
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.99
                                                                                                                     $________________________________
 Rafaella Bressan                                                    Check all that apply.
 135 Sterling Pine Street, SUITE 042037                               Contingent
                                                                      Unliquidated
 Sanford, FL, 32773                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6601
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raiann Maas                                                         Check all that apply.
                                                                                                                       32.09
                                                                                                                     $________________________________
 1026 Beagle Club Road                                                Contingent
                                                                      Unliquidated
 Underwood, IN, 47177                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1346 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6602
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             127.18
                                                                                                                     $________________________________
 Rain Whelan                                                          Contingent
 206 Drexel Dr                                                        Unliquidated
                                                                      Disputed
 Bel Air, MD, 21014
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6603
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.25
                                                                                                                     $________________________________
 Rain Wood                                                           Check all that apply.
 1402, 195th Pl SW                                                    Contingent
                                                                      Unliquidated
 Lynnwood, WA, 98036                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6604
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raina Chalkley                                                      Check all that apply.
                                                                                                                      27.81
                                                                                                                     $________________________________
 8895 Daer Water Drive                                                Contingent
                                                                      Unliquidated
 Winston, GA, 30187                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6605
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.06
                                                                                                                     $________________________________
 Raissa Serna                                                        Check all that apply.
 6652 Hunting Path Rd                                                 Contingent
                                                                      Unliquidated
 Haymarket, VA, 20169                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6606
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ralfy Sanchez                                                       Check all that apply.
                                                                                                                       89.55
                                                                                                                     $________________________________
 146 73rd Street, 1                                                   Contingent
                                                                      Unliquidated
 North Bergen, NJ, 7047                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6607
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.95
                                                                                                                     $________________________________
 Ralph Gilson                                                         Contingent
 8880 Surrey Lane                                                     Unliquidated
                                                                      Disputed
 Plain City, OH, 43064
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6608
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.49
                                                                                                                     $________________________________
 Ralph Jacob                                                         Check all that apply.
 554 Blenheim Road                                                    Contingent
                                                                      Unliquidated
 Columbus, OH, 43214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6609
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ramesh Sharma                                                       Check all that apply.
                                                                                                                      231.11
                                                                                                                     $________________________________
 1625 brighton dr                                                     Contingent
                                                                      Unliquidated
 Mundelien, IL, 60060                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6610
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      352.88
                                                                                                                     $________________________________
 Ramirez Armstrong                                                   Check all that apply.
 838 Greens Road , Apt 159                                            Contingent
                                                                      Unliquidated
 Houston , TX, 77060                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6611
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ramiro benavidez                                                    Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 918 Francais Dr                                                      Contingent
                                                                      Unliquidated
 Shreveport, LA, 71118                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6612
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.78
                                                                                                                     $________________________________
 Ramiro Diaz                                                          Contingent
 6188 Catlett Road                                                    Unliquidated
                                                                      Disputed
 Bealeton, VA, 22712
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6613
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       121.25
                                                                                                                     $________________________________
 Ramiro Gallardo                                                     Check all that apply.
 37916 28TH ST E                                                      Contingent
                                                                      Unliquidated
 Palmdale, CA, 93550                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6614
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ramon Abreu                                                         Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 141 Twin Lakes Dr                                                    Contingent
                                                                      Unliquidated
 Vine Grove, KY, 40175                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6615
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.72
                                                                                                                     $________________________________
 Ramon Escobedo                                                      Check all that apply.
 161 w hanford armona rd , ste j #167                                 Contingent
                                                                      Unliquidated
 Lemoore, CA, 93245                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6616
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ramon Gomez                                                         Check all that apply.
                                                                                                                       231.97
                                                                                                                     $________________________________
 11578 Northwest 84th Street                                          Contingent
                                                                      Unliquidated
 Doral, FL, 33178                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6617
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Ramona Jorgenson                                                     Contingent
 2210 Black Oak Drive                                                 Unliquidated
                                                                      Disputed
 Minnetonka, MN, 55305
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6618
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.05
                                                                                                                     $________________________________
 Ramsha Fatima                                                       Check all that apply.
 545 Mission Pl                                                       Contingent
                                                                      Unliquidated
 Danville, CA, 94526                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6619
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ramyiah Starks                                                      Check all that apply.
                                                                                                                      8.99
                                                                                                                     $________________________________
 98Forest mill trl                                                    Contingent
                                                                      Unliquidated
 Mansfield, TX, 76063                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6620
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Ramzi Bivens                                                        Check all that apply.
 4089 Edgewater Court                                                 Contingent
                                                                      Unliquidated
 Lewis Center, OH, 43035                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6621
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rand Ratinac                                                        Check all that apply.
                                                                                                                       193.94
                                                                                                                     $________________________________
 10 Hollis Ave, 2                                                     Contingent
                                                                      Unliquidated
 Denistone East, WI, 2112                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6622
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             90.94
                                                                                                                     $________________________________
 Randal Eaton                                                         Contingent
 973 Cascades Park Trail                                              Unliquidated
                                                                      Disputed
 DeLand, FL, 32720
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6623
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       189.99
                                                                                                                     $________________________________
 Randal Wilson                                                       Check all that apply.
 22515 W. 56th St.                                                    Contingent
                                                                      Unliquidated
 Shawnee, KS, 66226-7940                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6624
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Randall Blum                                                        Check all that apply.
                                                                                                                      21.31
                                                                                                                     $________________________________
 28769 School House Road                                              Contingent
                                                                      Unliquidated
 Columbus, NJ, 8022                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6625
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.64
                                                                                                                     $________________________________
 Randall Jacob Galzote                                               Check all that apply.
 941177 Meleinoa Place, Apt 25D                                       Contingent
                                                                      Unliquidated
 Waipio, HI, 96797                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6626
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Randall Kemp                                                        Check all that apply.
                                                                                                                       37.79
                                                                                                                     $________________________________
 492 Connemara trl                                                    Contingent
                                                                      Unliquidated
 Evans, GA, 30809                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6627
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.98
                                                                                                                     $________________________________
 Randall Oldaker                                                      Contingent
 259 Leaksville Court                                                 Unliquidated
                                                                      Disputed
 Luray, VA, 22835
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6628
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       139.97
                                                                                                                     $________________________________
 Randall Vasquez                                                     Check all that apply.
 13580 Nw 4th ST, 107                                                 Contingent
                                                                      Unliquidated
 Pembroke Pines, FL, 33028                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6629
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Randee Chavez                                                       Check all that apply.
                                                                                                                      35.54
                                                                                                                     $________________________________
 6787 Cole Ave, Apt 129                                               Contingent
                                                                      Unliquidated
 Highland, CA, 92346                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6630
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.04
                                                                                                                     $________________________________
 Randy Gerzog                                                        Check all that apply.
 8697 93rd ave                                                        Contingent
                                                                      Unliquidated
 seminole, FL, 33777                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6631
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Randy Nwigwe                                                        Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 1808 SE Genaro Ter                                                   Contingent
                                                                      Unliquidated
 Port St Lucie, FL, 34952-6641                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1352 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6632
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.05
                                                                                                                     $________________________________
 Randy Runge                                                          Contingent
 8418 E Bull Pine Ln                                                  Unliquidated
                                                                      Disputed
 Spokane, WA, 99217
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6633
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       210.99
                                                                                                                     $________________________________
 Randy White                                                         Check all that apply.
 1410 West Wanda                                                      Contingent
                                                                      Unliquidated
 Milwaukee, WI, 53221                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6634
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Randy White                                                         Check all that apply.
                                                                                                                      37.46
                                                                                                                     $________________________________
 6057 Linden Avenue, Long Beach, CA, USA,,                            Contingent
 6057 Linden Avenue, 6057 Linden Avenue                               Unliquidated
                                                                      Disputed
 Long Beach, CA, 90805
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6635
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.55
                                                                                                                     $________________________________
 Ranya Tawfik                                                        Check all that apply.
 13526 Parkfield Way                                                  Contingent
                                                                      Unliquidated
 Winter Garden, FL, 34787                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6636
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raphael D'Sa                                                        Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 614 E. Vista Del Cerro Dr.                                           Contingent
                                                                      Unliquidated
 Tempe, AZ, 85281                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6637
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             149.99
                                                                                                                     $________________________________
 Raphael Landicho                                                     Contingent
 12643 Bellflower Lane                                                Unliquidated
                                                                      Disputed
 Moreno Valley, CA, 92555
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6638
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.35
                                                                                                                     $________________________________
 Raphael Monte                                                       Check all that apply.
 5532 S Monitor Ave                                                   Contingent
                                                                      Unliquidated
 Chicago, IL, 60638-2720                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6639
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raquel Antona                                                       Check all that apply.
                                                                                                                      13.22
                                                                                                                     $________________________________
 3735 Goldfinch Terrace                                               Contingent
                                                                      Unliquidated
 Fremont, CA, 94555                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6640
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Raquel Montano                                                      Check all that apply.
 302 Atrisco Drive Northwest                                          Contingent
                                                                      Unliquidated
 Albuquerque, NM, 87105                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6641
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 rashan hayes                                                        Check all that apply.
                                                                                                                       24.51
                                                                                                                     $________________________________
 122 Plane Street                                                     Contingent
                                                                      Unliquidated
 boonton, NJ, 7005                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6642
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 Raul Flores Jr.                                                      Contingent
 2220 Mortimer St.                                                    Unliquidated
                                                                      Disputed
 Huntington Park , CA, 90255
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6643
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.99
                                                                                                                     $________________________________
 Raul Esparza                                                        Check all that apply.
 419 North Everton Street                                             Contingent
                                                                      Unliquidated
 Houston, TX, 77003                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6644
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raul Laitano                                                        Check all that apply.
                                                                                                                      56.26
                                                                                                                     $________________________________
 623 Withee Street                                                    Contingent
                                                                      Unliquidated
 Bakersfield, CA, 93307                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6645
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.95
                                                                                                                     $________________________________
 Raul Lopez                                                          Check all that apply.
 18905 Smoothstone Way, Apt 6                                         Contingent
                                                                      Unliquidated
 Montgomery Village, MD, 20886                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6646
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raul Rodriguez                                                      Check all that apply.
                                                                                                                       85.00
                                                                                                                     $________________________________
 126 Westlake dr                                                      Contingent
                                                                      Unliquidated
 San Antonio, TX, 78227                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6647
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             69.27
                                                                                                                     $________________________________
 Raul Rodriguez                                                       Contingent
 2910 San Diego Drive                                                 Unliquidated
                                                                      Disputed
 Dallas, TX, 75228
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6648
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.99
                                                                                                                     $________________________________
 Raul Saenz                                                          Check all that apply.
 1605 Ocean Beach Road                                                Contingent
                                                                      Unliquidated
 Hoquiam, WA, 98550                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6649
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 RAVEN AYERS                                                         Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 12424 JONES GAP RD                                                   Contingent
                                                                      Unliquidated
 SODDY DAISY, TN, 37379                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6650
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      58.97
                                                                                                                     $________________________________
 Raven Brown                                                         Check all that apply.
 8100 Runaway Bay Dr, S                                               Contingent
                                                                      Unliquidated
 Charlotte, NC, 28212                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6651
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raven Mills                                                         Check all that apply.
                                                                                                                       57.89
                                                                                                                     $________________________________
 926 chip cove lane                                                   Contingent
                                                                      Unliquidated
 Knoxville, TN, 37938                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6652
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.24
                                                                                                                     $________________________________
 Raven Penwell                                                        Contingent
 73 Barrett Street, Apt 5153                                          Unliquidated
                                                                      Disputed
 Northampton, MA, 1060
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6653
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.99
                                                                                                                     $________________________________
 Ray Archuletta                                                      Check all that apply.
 3553 Nonchalant Circle East                                          Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80917                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6654
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ray Lump                                                            Check all that apply.
                                                                                                                      84.99
                                                                                                                     $________________________________
 1957 Universal Ave                                                   Contingent
                                                                      Unliquidated
 San Bernardino, CA, 92407                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6655
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.97
                                                                                                                     $________________________________
 Ray Rosales                                                         Check all that apply.
 545 W Hamilton St                                                    Contingent
                                                                      Unliquidated
 Costa Mesa, CA, 92627-2664                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6656
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raychel Villegas                                                    Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 9790 Proud Clarion Street                                            Contingent
                                                                      Unliquidated
 Las Vegad , NV, 89178                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6657
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Raylyn Corea                                                         Contingent
 15719 Eucalyptus Ave, Apt 21                                         Unliquidated
                                                                      Disputed
 Bellflower, CA, 90706
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6658
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.00
                                                                                                                     $________________________________
 Raylynn Ramirez                                                     Check all that apply.
 6351 Pacific Sky Street                                              Contingent
                                                                      Unliquidated
 North Las Vegas, NV, 89081                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6659
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raymond Bottaro                                                     Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 2214 Halter Drive                                                    Contingent
                                                                      Unliquidated
 Woodburn, OR, 97071                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6660
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.44
                                                                                                                     $________________________________
 Raymond Chojnacki                                                   Check all that apply.
 2101 Fairland Street                                                 Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15210                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6661
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raymond Gardea-Palato                                               Check all that apply.
                                                                                                                       287.84
                                                                                                                     $________________________________
 1944 Miramar Street                                                  Contingent
                                                                      Unliquidated
 Pomona, CA, 91767                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6662
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Raymond J Hill                                                       Contingent
 11825 SW 11th St.                                                    Unliquidated
                                                                      Disputed
 Beaverton, OR, 97005
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6663
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       36.11
                                                                                                                     $________________________________
 Raymond Phu                                                         Check all that apply.
 3 Amboy St                                                           Contingent
                                                                      Unliquidated
 Allston, MA, 2134                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6664
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raymond Rollings Jr                                                 Check all that apply.
                                                                                                                      59.98
                                                                                                                     $________________________________
 2870 New York 9D                                                     Contingent
                                                                      Unliquidated
 Wappingers Falls, NY, 12590                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6665
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      77.99
                                                                                                                     $________________________________
 Raymond Wang                                                        Check all that apply.
 136 102nd Ave SE, Apt 406                                            Contingent
                                                                      Unliquidated
 Bellevue, WA, 98004                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6666
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raymund Bucog                                                       Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 7555 Mission Street, Unit 312                                        Contingent
                                                                      Unliquidated
 Daly City, CA, 94014                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1359 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6667
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             128.69
                                                                                                                     $________________________________
 Rayna Hawes                                                          Contingent
 1287 Springwood Lane, 105 B                                          Unliquidated
                                                                      Disputed
 Fairborn, OH, 45324
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6668
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Razanne Farshoukh                                                   Check all that apply.
 2111 Warfield Avenue, APT B                                          Contingent
                                                                      Unliquidated
 Redondo Beach, CA, 90278                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6669
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ReAnne Marden                                                       Check all that apply.
                                                                                                                      222.51
                                                                                                                     $________________________________
 110 E Clarendon Dr                                                   Contingent
                                                                      Unliquidated
 ROUND LAKE BEACH, IL, 60073                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6670
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      67.08
                                                                                                                     $________________________________
 Rebecca Torres-Flores                                               Check all that apply.
 10914 Addison Street Southwest, Apt 5                                Contingent
                                                                      Unliquidated
 Lakewood, WA, 98499                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6671
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rebecca Clark                                                       Check all that apply.
                                                                                                                       46.63
                                                                                                                     $________________________________
 2934 E Little Creek Rd                                               Contingent
                                                                      Unliquidated
 Norfolk, VA, 23518                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1360 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6672
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Rebecca Covos                                                        Contingent
 240 South Chrisalta Way                                              Unliquidated
                                                                      Disputed
 Anaheim, CA, 92807
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6673
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       145.28
                                                                                                                     $________________________________
 Rebecca Creager                                                     Check all that apply.
 3809 Ivy Avenue                                                      Contingent
                                                                      Unliquidated
 Knoxville, TN, 37914                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6674
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rebecca Dorneden                                                    Check all that apply.
                                                                                                                      13.28
                                                                                                                     $________________________________
 9833 Vine St                                                         Contingent
                                                                      Unliquidated
 Thornton, CO, 80229-2489                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6675
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.83
                                                                                                                     $________________________________
 rebecca hamrick                                                     Check all that apply.
 4000 Elkin Ridge Dr, B                                               Contingent
                                                                      Unliquidated
 Greenville, NC, 27858                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6676
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 rebecca hamrick                                                     Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 4000 Elkin Ridge Dr, B                                               Contingent
                                                                      Unliquidated
 Greenville, NC, 27858                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1361 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6677
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             127.99
                                                                                                                     $________________________________
 Rebecca Jenkins                                                      Contingent
 7851 Northwest Roanridge Road, D                                     Unliquidated
                                                                      Disputed
 Kansas City, MO, 64151
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6678
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.97
                                                                                                                     $________________________________
 Rebecca Kiefer                                                      Check all that apply.
 7001 North Yates Road                                                Contingent
                                                                      Unliquidated
 Fox Point, WI, 53217                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6679
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rebecca Larrick                                                     Check all that apply.
                                                                                                                      31.99
                                                                                                                     $________________________________
 5930 Desiree Court                                                   Contingent
                                                                      Unliquidated
 Citrus Heights, CA, 95621                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6680
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      58.56
                                                                                                                     $________________________________
 Rebecca Owens                                                       Check all that apply.
 1309 Wilkshire Circle Southwest                                      Contingent
                                                                      Unliquidated
 North Canton, OH, 44720                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6681
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rebecca Picinich                                                    Check all that apply.
                                                                                                                       347.59
                                                                                                                     $________________________________
 21 RIDGE ROAD                                                        Contingent
                                                                      Unliquidated
 Rutherford, NJ, 7070                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1362 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6682
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             71.98
                                                                                                                     $________________________________
 Rebecca Randles                                                      Contingent
 5455 Norma Ave SE                                                    Unliquidated
                                                                      Disputed
 Salem, OR, 97306
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6683
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       129.29
                                                                                                                     $________________________________
 Rebecca Romero                                                      Check all that apply.
 1230 Arrow Wood Drive                                                Contingent
                                                                      Unliquidated
 BREA, CA, 92821                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6684
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rebecca Sorenson                                                    Check all that apply.
                                                                                                                      157.97
                                                                                                                     $________________________________
 325 Garfield                                                         Contingent
                                                                      Unliquidated
 Huntington, IN, 46750                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6685
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      97.99
                                                                                                                     $________________________________
 Rebecca Stoltenberg                                                 Check all that apply.
 16259 Windsor Creek Drive                                            Contingent
                                                                      Unliquidated
 Monument, CO, 80132                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6686
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rebecca Thompson                                                    Check all that apply.
                                                                                                                       229.99
                                                                                                                     $________________________________
 8200 Venice Avenue Northeast                                         Contingent
                                                                      Unliquidated
 Albuquerque, NM, 87122                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                           Document Page 1363 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6687
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.24
                                                                                                                     $________________________________
 REEVES, GREGORY SCOTT                                                Contingent
 188 Pheasant Hill Cir                                                Unliquidated
                                                                      Disputed
 Cotuit, MA, 2635
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6688
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       232.13
                                                                                                                     $________________________________
 Regan Benbow                                                        Check all that apply.
 808 Benton Dr apt 12                                                 Contingent
                                                                      Unliquidated
 Iowa City, IA, 52246                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6689
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 REGINA AVERY                                                        Check all that apply.
                                                                                                                      10.00
                                                                                                                     $________________________________
 1681 YORKTOWNE BLVD                                                  Contingent
                                                                      Unliquidated
 TOMS RIVER, NJ, 8753                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6690
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Regina Ewing                                                        Check all that apply.
 1130 Wilder Avenue, Apt. 902                                         Contingent
                                                                      Unliquidated
 Honolulu, HI, 96822                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6691
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Regina Guan                                                         Check all that apply.
                                                                                                                       24.99
                                                                                                                     $________________________________
 1706 Avenue X                                                        Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11235                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6692
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             90.94
                                                                                                                     $________________________________
 Regina mayberry                                                      Contingent
 317 Deauville Dr                                                     Unliquidated
                                                                      Disputed
 MONROEVILLE, PA, 15146
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6693
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.78
                                                                                                                     $________________________________
 Reginald Lowe                                                       Check all that apply.
 1419 Myrtle Avenue                                                   Contingent
                                                                      Unliquidated
 Plainfield, NJ, 7063                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6694
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Reginald Craig Jr.                                                  Check all that apply.
                                                                                                                      31.79
                                                                                                                     $________________________________
 4622,Merrick, St                                                     Contingent
                                                                      Unliquidated
 Dearborn Heights, MI, 48125                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6695
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      126.88
                                                                                                                     $________________________________
 reginald Francia                                                    Check all that apply.
 578 Almaden Walk Loop                                                Contingent
                                                                      Unliquidated
 San Jose, CA, 95125                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6696
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Reginald lowe                                                       Check all that apply.
                                                                                                                       31.97
                                                                                                                     $________________________________
 1419 Myrtle ave                                                      Contingent
                                                                      Unliquidated
 Plainfield, NJ, 7063                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6697
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             50.13
                                                                                                                     $________________________________
 Regis Sims                                                           Contingent
 2248 Barrington Ct                                                   Unliquidated
                                                                      Disputed
 Auburn, AL, 36830
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6698
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.99
                                                                                                                     $________________________________
 rehman mansoor                                                      Check all that apply.
 533 Eisenhower LN                                                    Contingent
                                                                      Unliquidated
 LAVON, TX, 75166                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6699
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Remi Gill                                                           Check all that apply.
                                                                                                                      149.26
                                                                                                                     $________________________________
 57 Nishuane Rd                                                       Contingent
                                                                      Unliquidated
 Montclair, NJ, 7042                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6700
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.89
                                                                                                                     $________________________________
 Remy Foster                                                         Check all that apply.
 11056A Bennett Ln                                                    Contingent
                                                                      Unliquidated
 Fort Campbell, KY, 42223                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6701
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ren Norwood                                                         Check all that apply.
                                                                                                                       12.95
                                                                                                                     $________________________________
 204 South Spain Street                                               Contingent
                                                                      Unliquidated
 Darlington, SC, 29532                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6702
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.99
                                                                                                                     $________________________________
 Renato Dulay                                                         Contingent
 13502 Greenbrier Avenue                                              Unliquidated
                                                                      Disputed
 Bellflower, CA, 90706
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6703
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       68.97
                                                                                                                     $________________________________
 renato marrero                                                      Check all that apply.
 8845 sw 99 st                                                        Contingent
                                                                      Unliquidated
 miami, FL, 33176                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6704
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rene Lara                                                           Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 215 W Locust St                                                      Contingent
                                                                      Unliquidated
 Ontario, CA, 91762                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6705
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      86.59
                                                                                                                     $________________________________
 RENE QUIROGA                                                        Check all that apply.
 13715 Naples Park Ln                                                 Contingent
                                                                      Unliquidated
 Houston, TX, 77070                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6706
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Renee Craig                                                         Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 2805 Briarwood Dr                                                    Contingent
                                                                      Unliquidated
 Horn Lake, MS, 38637                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6707
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Renee Miller                                                         Contingent
 631 Pen Argyl St, Apt 2                                              Unliquidated
                                                                      Disputed
 Pen Argyl, PA, 18072
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6708
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.61
                                                                                                                     $________________________________
 Renee Tipton-Netherton                                              Check all that apply.
 2817 Vale Drive                                                      Contingent
                                                                      Unliquidated
 Kettering, OH, 45420                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6709
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 RENEMEL M DECENA                                                    Check all that apply.
                                                                                                                      12.71
                                                                                                                     $________________________________
 4108 Hayfield Way                                                    Contingent
                                                                      Unliquidated
 Prospect, KY, 40059                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6710
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Renita Ransom                                                       Check all that apply.
 846 Kimberly Drive                                                   Contingent
                                                                      Unliquidated
 American Canyon, CA, 94503                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6711
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rennie LeDuc                                                        Check all that apply.
                                                                                                                       31.96
                                                                                                                     $________________________________
 50 Hickory Dr                                                        Contingent
                                                                      Unliquidated
 Maplewood, NJ, 7040                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6712
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             72.07
                                                                                                                     $________________________________
 Renwei Cheng                                                         Contingent
 21544 Kouros, Ct.                                                    Unliquidated
                                                                      Disputed
 Ashburn, VA, 20147
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6713
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       18.99
                                                                                                                     $________________________________
 Reuben Federico                                                     Check all that apply.
 1605 griffin st                                                      Contingent
                                                                      Unliquidated
 Oceanside, CA, 92054                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6714
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Reyes, Tiffany                                                      Check all that apply.
                                                                                                                      234.96
                                                                                                                     $________________________________
 2021 tiehack lane                                                    Contingent
                                                                      Unliquidated
 Garland, TX, 75044                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6715
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.13
                                                                                                                     $________________________________
 Reyli Vergara                                                       Check all that apply.
 4987 Milano Way                                                      Contingent
                                                                      Unliquidated
 Martinez, CA, 94553                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6716
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Reyna Rivera                                                        Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 65 North Chestnut Street, 3                                          Contingent
                                                                      Unliquidated
 Beacon, NY, 12508                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6717
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 REYNA RAMIREZ                                                        Contingent
 5110 SW SCHOLLS FERRY RD, APT D-205                                  Unliquidated
                                                                      Disputed
 PORTLAND, OR, 97225
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6718
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       74.98
                                                                                                                     $________________________________
 Reynaldo Morales, Jr.                                               Check all that apply.
 4926 Antioch Loop                                                    Contingent
                                                                      Unliquidated
 Union City, CA, 94587                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6719
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Reynaldo Pena                                                       Check all that apply.
                                                                                                                      12.96
                                                                                                                     $________________________________
 2178 state route 94                                                  Contingent
                                                                      Unliquidated
 Salisbury mills, NY, 12577                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6720
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      149.95
                                                                                                                     $________________________________
 Rhett Gedies                                                        Check all that apply.
 38824 Place Rd                                                       Contingent
                                                                      Unliquidated
 Fall Creek, OR, 97438                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6721
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rhett Nenzoski                                                      Check all that apply.
                                                                                                                       404.69
                                                                                                                     $________________________________
 176 Roosevelt Ave                                                    Contingent
                                                                      Unliquidated
 Elyria, OH, 44035                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6722
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.99
                                                                                                                     $________________________________
 rhey paguio                                                          Contingent
 26517 Danti Court                                                    Unliquidated
                                                                      Disputed
 Hayward, CA, 94545
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6723
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.73
                                                                                                                     $________________________________
 Rhianna Brown                                                       Check all that apply.
 810 chance ave                                                       Contingent
                                                                      Unliquidated
 silsbee, TX, 77656                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6724
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rhonda Dean                                                         Check all that apply.
                                                                                                                      69.99
                                                                                                                     $________________________________
 11976 Greymont Boulevard                                             Contingent
                                                                      Unliquidated
 Moundville, AL, 35474                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6725
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.45
                                                                                                                     $________________________________
 Rhonda Ricks                                                        Check all that apply.
 219 Mt. Vernon Ave.                                                  Contingent
                                                                      Unliquidated
 City of Orange, NJ, 7050                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6726
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rhonda Willey                                                       Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 5544 Forest Grove Road                                               Contingent
                                                                      Unliquidated
 Parsonsburg, MD, 21849                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6727
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             248.43
                                                                                                                     $________________________________
 Rhys Pollock                                                         Contingent
 376 Simon's Ave                                                      Unliquidated
                                                                      Disputed
 Hackensack, NJ, 7601
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6728
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.99
                                                                                                                     $________________________________
 Rian Zenner                                                         Check all that apply.
 2510 SE 47th Ave                                                     Contingent
                                                                      Unliquidated
 Portland, OR, 97206                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6729
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ric Walz-Smith                                                      Check all that apply.
                                                                                                                      17.47
                                                                                                                     $________________________________
 174 Anchor Dr.                                                       Contingent
                                                                      Unliquidated
 Bay Point, CA, 94565                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6730
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      54.26
                                                                                                                     $________________________________
 Ricardo Chaparro                                                    Check all that apply.
 4507 N 71st Ave                                                      Contingent
                                                                      Unliquidated
 Phoenix , AZ, 85033                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6731
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 RICARDO ACEVES                                                      Check all that apply.
                                                                                                                       71.65
                                                                                                                     $________________________________
 5208 S MOBILE AVE                                                    Contingent
                                                                      Unliquidated
 CHICAGO, IL, 60638                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6732
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 Ricardo Bautista                                                     Contingent
 1557 Lombardy Street                                                 Unliquidated
                                                                      Disputed
 Houston, TX, 77023
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6733
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       108.94
                                                                                                                     $________________________________
 Ricardo Betancourt                                                  Check all that apply.
 12878 Mulberry Drive                                                 Contingent
                                                                      Unliquidated
 Denham Springs, LA, 70726                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6734
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ricardo Castillo                                                    Check all that apply.
                                                                                                                      123.98
                                                                                                                     $________________________________
 1350 oakland road, spc #5                                            Contingent
                                                                      Unliquidated
 San Jose, CA, 95112                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6735
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Ricardo Contreras                                                   Check all that apply.
 1439 North Rohde Avenue                                              Contingent
                                                                      Unliquidated
 Berkeley, IL, 60163                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6736
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ricardo Cruz                                                        Check all that apply.
                                                                                                                       76.11
                                                                                                                     $________________________________
 13547 Indiana Avenue                                                 Contingent
                                                                      Unliquidated
 Corona, CA, 92879                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1373 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6737
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.49
                                                                                                                     $________________________________
 Ricardo Duenas                                                       Contingent
 42965 River Bend Dr                                                  Unliquidated
                                                                      Disputed
 Plymouth, MI, 48170
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6738
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.30
                                                                                                                     $________________________________
 Ricardo Gonzalez                                                    Check all that apply.
 3226 47th st                                                         Contingent
                                                                      Unliquidated
 Astoria, NY, 11103                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6739
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ricardo Grayson                                                     Check all that apply.
                                                                                                                      104.97
                                                                                                                     $________________________________
 5519 Sparkle Stone Crescent                                          Contingent
                                                                      Unliquidated
 Fitchburg, WI, 53711                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6740
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Ricardo Lacedelli Jr                                                Check all that apply.
 3308 swan str                                                        Contingent
                                                                      Unliquidated
 Haltom, TX, 76117                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6741
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ricardo Monasterio                                                  Check all that apply.
                                                                                                                       33.99
                                                                                                                     $________________________________
 960 Mockingbird Ln., Apt. 621                                        Contingent
                                                                      Unliquidated
 Plantation, FL, 33324                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6742
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             147.94
                                                                                                                     $________________________________
 Ricardo Navarro                                                      Contingent
 950 Howe Ave Apt 41                                                  Unliquidated
                                                                      Disputed
 Sacramento, CA, 95825
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6743
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Ricardo Padilla                                                     Check all that apply.
 3174 South 24th Street                                               Contingent
                                                                      Unliquidated
 Milwaukee, WI, 53215                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6744
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ricardo Pena                                                        Check all that apply.
                                                                                                                      48.46
                                                                                                                     $________________________________
 1250 ADAMS AVE, APT M103                                             Contingent
                                                                      Unliquidated
 COSTA MESA, CA, 92626                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6745
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.05
                                                                                                                     $________________________________
 Ricardo Rincon                                                      Check all that apply.
 5034 LONGHORN TRL                                                    Contingent
                                                                      Unliquidated
 Garland, TX, 75043                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6746
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ricardo Rodriguez                                                   Check all that apply.
                                                                                                                       319.32
                                                                                                                     $________________________________
 1707 Stone Field Lane                                                Contingent
                                                                      Unliquidated
 Laredo, TX, 78045                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6747
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.44
                                                                                                                     $________________________________
 Ricardo Tijerina                                                     Contingent
 5810 Oakwood Drive, Unit 3F                                          Unliquidated
                                                                      Disputed
 Lisle, IL, 60532
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6748
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.76
                                                                                                                     $________________________________
 Ricardo Vazquez                                                     Check all that apply.
 8868 pico vista rd                                                   Contingent
                                                                      Unliquidated
 Pico Rivera, CA, 90660                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6749
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rich Schultz                                                        Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 1601 East 300th Street                                               Contingent
                                                                      Unliquidated
 Wickliffe, OH, 44092                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6750
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      202.88
                                                                                                                     $________________________________
 Rich Sutor                                                          Check all that apply.
 86 Seton Creek Dr                                                    Contingent
                                                                      Unliquidated
 Oswego, IL, 60543                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6751
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Richard Robles                                                      Check all that apply.
                                                                                                                       49.99
                                                                                                                     $________________________________
 122 Stern Ct                                                         Contingent
                                                                      Unliquidated
 Tooele, UT, 84074                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1376 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6752
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             97.41
                                                                                                                     $________________________________
 Richard Andrade                                                      Contingent
 16782 N Gull Dr                                                      Unliquidated
                                                                      Disputed
 CONROE, TX, 77385
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6753
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.98
                                                                                                                     $________________________________
 Richard Bardy                                                       Check all that apply.
 171 Exeter Street,                                                   Contingent
                                                                      Unliquidated
 Highland Park, NJ, 8904                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6754
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Richard Bermudez                                                    Check all that apply.
                                                                                                                      12.95
                                                                                                                     $________________________________
 4305 claridge st                                                     Contingent
                                                                      Unliquidated
 philadelphia, PA, 19124                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6755
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.58
                                                                                                                     $________________________________
 Richard Dishman                                                     Check all that apply.
 6639 S Sangamon St 1                                                 Contingent
                                                                      Unliquidated
 Chicago, IL, 60621-1823                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6756
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Richard Edminson                                                    Check all that apply.
                                                                                                                       58.66
                                                                                                                     $________________________________
 842 E 30th St                                                        Contingent
                                                                      Unliquidated
 Tucson, AZ, 85713                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6757
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.99
                                                                                                                     $________________________________
 Richard Filsinger                                                    Contingent
 76-37 266th Street                                                   Unliquidated
                                                                      Disputed
 Queens, NY, 11040
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6758
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.37
                                                                                                                     $________________________________
 Richard Gonzalez                                                    Check all that apply.
 1856 Lafayette Avenue, Apt.6B                                        Contingent
                                                                      Unliquidated
 Bronx, NY, 10473                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6759
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Richard Gruber                                                      Check all that apply.
                                                                                                                      181.89
                                                                                                                     $________________________________
 4271 Balcony Breeze Dr                                               Contingent
                                                                      Unliquidated
 LAND O LAKES, FL, 34638                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6760
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.99
                                                                                                                     $________________________________
 Richard Hadden                                                      Check all that apply.
 472 Amherst St, Unit 7345020                                         Contingent
                                                                      Unliquidated
 Nashua, NH, 3063                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6761
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Richard Hurtado                                                     Check all that apply.
                                                                                                                       35.03
                                                                                                                     $________________________________
 16703 S. Cuzco Ave.                                                  Contingent
                                                                      Unliquidated
 Compton, CA, 90221                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6762
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 Richard Hutnik                                                       Contingent
 187 N Broad St                                                       Unliquidated
                                                                      Disputed
 Nazareth, PA, 18064
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6763
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.98
                                                                                                                     $________________________________
 Richard Jewell                                                      Check all that apply.
 4128 Franklin Rd                                                     Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15214                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6764
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Richard Landaverde                                                  Check all that apply.
                                                                                                                      64.98
                                                                                                                     $________________________________
 1315 West 41st Street                                                Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90037                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6765
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Richard Lanyi                                                       Check all that apply.
 969 S Monarch Rd                                                     Contingent
                                                                      Unliquidated
 San Ramon, CA, 94582                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6766
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Richard Lau                                                         Check all that apply.
                                                                                                                       187.99
                                                                                                                     $________________________________
 10470 Foothill Blvd, STE 126                                         Contingent
                                                                      Unliquidated
 Rancho Cucamonga, CA, 91730                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6767
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Richard Lau                                                          Contingent
 2664 Lucena Dr                                                       Unliquidated
                                                                      Disputed
 San Jose, CA, 95132
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6768
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.98
                                                                                                                     $________________________________
 Richard Licudine                                                    Check all that apply.
 General Delivery                                                     Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91910                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6769
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Richard Nguyen                                                      Check all that apply.
                                                                                                                      369.99
                                                                                                                     $________________________________
 345 Arco Ct                                                          Contingent
                                                                      Unliquidated
 San Jose, CA, 95123-2001                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6770
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Richard O'Brien Jr                                                  Check all that apply.
 9167 Avis Street                                                     Contingent
                                                                      Unliquidated
 Detroit, MI, 48209                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6771
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 richard parese                                                      Check all that apply.
                                                                                                                       21.98
                                                                                                                     $________________________________
 3240 Terkelson Ave                                                   Contingent
                                                                      Unliquidated
 Palm Bay, FL, 32909-7541                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1380 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6772
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.83
                                                                                                                     $________________________________
 Richard PEREZ                                                        Contingent
 3481 East 3rd Avenue                                                 Unliquidated
                                                                      Disputed
 HIALEAH, FL, 33013-2614
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6773
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       51.10
                                                                                                                     $________________________________
 Richard Ray                                                         Check all that apply.
 2670 rudeen close, Apt 5                                             Contingent
                                                                      Unliquidated
 Rockford, IL, 61108                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6774
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Richard Robertson                                                   Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 1807 WOODPOINTE DR                                                   Contingent
                                                                      Unliquidated
 Winter Haven, FL, 33884                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6775
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.97
                                                                                                                     $________________________________
 Richard Roman                                                       Check all that apply.
 HH2 calle D Luquillo Mar                                             Contingent
                                                                      Unliquidated
 Luquillo, PR, 773                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6776
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Richard Rose                                                        Check all that apply.
                                                                                                                       24.98
                                                                                                                     $________________________________
 3220 Dove Hollow                                                     Contingent
                                                                      Unliquidated
 Norman, OK, 73072                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1381 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6777
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 richard rutkowski                                                    Contingent
 6200 E Sam Houston Pkwy N Apt, Apt 10110                             Unliquidated
                                                                      Disputed
 Houston, TX, 77049-7295
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6778
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Richard S Azucena                                                   Check all that apply.
 6705 Hayvenhurst Avenue                                              Contingent
                                                                      Unliquidated
 Los Angeles, CA, 91406                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6779
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 RICHARD SIEG                                                        Check all that apply.
                                                                                                                      63.59
                                                                                                                     $________________________________
 10332 W MICHIGAN AVE                                                 Contingent
                                                                      Unliquidated
 SALINE, MI, 48176                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6780
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.31
                                                                                                                     $________________________________
 Richard Tiffer                                                      Check all that apply.
 29396 Alamitos Drive                                                 Contingent
                                                                      Unliquidated
 Menifee, CA, 92585                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6781
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Richard Vargas                                                      Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 7415 Sideview drive                                                  Contingent
                                                                      Unliquidated
 Pico Rivera, CA, 90660                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1382 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6782
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.14
                                                                                                                     $________________________________
 Richard Wion                                                         Contingent
 516 Carver Street Northwest                                          Unliquidated
                                                                      Disputed
 Massillon, OH, 44647
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6783
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.06
                                                                                                                     $________________________________
 Richard Yoshimi                                                     Check all that apply.
 7001 W Parker Rd, APT #334                                           Contingent
                                                                      Unliquidated
 Plano, TX, 75093                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6784
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rick Cruz                                                           Check all that apply.
                                                                                                                      165.97
                                                                                                                     $________________________________
 9815 52nd Place                                                      Contingent
                                                                      Unliquidated
 College Park, MD, 20740                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6785
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.79
                                                                                                                     $________________________________
 Rick Hunter                                                         Check all that apply.
 1046 Eleven Bridges Road                                             Contingent
                                                                      Unliquidated
 Cuthbert, GA, 39840                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6786
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rick Phillips                                                       Check all that apply.
                                                                                                                       13.09
                                                                                                                     $________________________________
 1124 Marguerite Avenue                                               Contingent
                                                                      Unliquidated
 Bremerton, WA, 98337                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1383 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6787
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.98
                                                                                                                     $________________________________
 Rick Pomer                                                           Contingent
 4 Raritan Road                                                       Unliquidated
                                                                      Disputed
 Hazlet, NJ, 7730
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6788
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.86
                                                                                                                     $________________________________
 Rick Romanelli                                                      Check all that apply.
 3055 newton drive                                                    Contingent
                                                                      Unliquidated
 Pensacola, FL, 32503                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6789
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rick Wang                                                           Check all that apply.
                                                                                                                      262.86
                                                                                                                     $________________________________
 304 Kimblewick Drive                                                 Contingent
                                                                      Unliquidated
 Silver Spring , MD, 20904                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6790
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      172.58
                                                                                                                     $________________________________
 Rickki Davis                                                        Check all that apply.
 249 Ramona St                                                        Contingent
                                                                      Unliquidated
 Pittsburg, CA, 94565                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6791
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ricky DIAZ                                                          Check all that apply.
                                                                                                                       130.04
                                                                                                                     $________________________________
 NA 4643 Startrain Dr                                                 Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89031                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1384 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6792
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             93.07
                                                                                                                     $________________________________
 Ricky Carter                                                         Contingent
 4680 Goldrock Dr                                                     Unliquidated
                                                                      Disputed
 Fort Worth, TX, 76137
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6793
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Ricky Figueroa                                                      Check all that apply.
 245 Eller Dr                                                         Contingent
                                                                      Unliquidated
 Corning, CA, 96021                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6794
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ricky Mak                                                           Check all that apply.
                                                                                                                      98.42
                                                                                                                     $________________________________
 700 S. Abel St., #324                                                Contingent
                                                                      Unliquidated
 Milpitas, CA, 95035                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6795
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Ricky Urrutia                                                       Check all that apply.
 16011 Butterfield Ranch Rd, 328                                      Contingent
                                                                      Unliquidated
 Chino Hills, CA, 91709                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6796
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rigoberto Olmedo                                                    Check all that apply.
                                                                                                                       287.92
                                                                                                                     $________________________________
 9304 IRONHORSE LN                                                    Contingent
                                                                      Unliquidated
 GAITHERSBURG, MD, 20886                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                           Document Page 1385 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6797
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             43.39
                                                                                                                     $________________________________
 Riki Kujanpaa                                                        Contingent
 703 Penn Avenue Northeast                                            Unliquidated
                                                                      Disputed
 Atlanta, GA, 30308
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6798
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Rikki Mohrbacher                                                    Check all that apply.
 420 Jackson Street                                                   Contingent
                                                                      Unliquidated
 Rochester, PA, 15074                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6799
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Riley Branch                                                        Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 4053 E Commanche St                                                  Contingent
                                                                      Unliquidated
 EAGLE MOUNTAIN, UT, 84005                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6800
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.98
                                                                                                                     $________________________________
 riley hernandez                                                     Check all that apply.
 9960 Via Montara                                                     Contingent
                                                                      Unliquidated
 Moreno Valley, CA, 92557                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6801
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Riley Karst                                                         Check all that apply.
                                                                                                                       149.99
                                                                                                                     $________________________________
 226 S Riley St                                                       Contingent
                                                                      Unliquidated
 Kendallville, IN, 46755                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6802
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Riley Mcconnell                                                      Contingent
 616 Stevenson Street, 616 Stevenson st                               Unliquidated
                                                                      Disputed
 Sayre, PA, 18840
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6803
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       299.59
                                                                                                                     $________________________________
 Riley Payne                                                         Check all that apply.
 3057 Heritage Rd. NE                                                 Contingent
                                                                      Unliquidated
 Milledgeville, GA, 31061                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6804
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Riley Schwartztrauber                                               Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 4443 Saint Paul Ave                                                  Contingent
                                                                      Unliquidated
 Lincoln, NE, 68504                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6805
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.34
                                                                                                                     $________________________________
 Riley Schwartztrauber                                               Check all that apply.
 4443 Saint Paul Avenue                                               Contingent
                                                                      Unliquidated
 Lincoln, NE, 68504                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6806
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Riley Stratford                                                     Check all that apply.
                                                                                                                       76.06
                                                                                                                     $________________________________
 44320 4th Street East                                                Contingent
                                                                      Unliquidated
 Lancaster, CA, 93535                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1387 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6807
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.11
                                                                                                                     $________________________________
 Rina Hizon                                                           Contingent
 949 Coventry Way                                                     Unliquidated
                                                                      Disputed
 Milpitas, CA, 95035-3591
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6808
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       93.73
                                                                                                                     $________________________________
 Rinkwan Saarddee                                                    Check all that apply.
 8571 DIAMOND OAK WAY                                                 Contingent
                                                                      Unliquidated
 ELK GROVE, CA, 95624                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6809
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rita Taylor                                                         Check all that apply.
                                                                                                                      38.32
                                                                                                                     $________________________________
 9055 Cattaraugus Ave                                                 Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90034                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6810
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Rob Arluck                                                          Check all that apply.
 67-50 Thornton Place Apt 6F                                          Contingent
                                                                      Unliquidated
 Forest Hills , NY, 11375                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6811
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rob Smith                                                           Check all that apply.
                                                                                                                       193.96
                                                                                                                     $________________________________
 1308 DEAN ST                                                         Contingent
                                                                      Unliquidated
 SAINT CHARLES, IL, 60174                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1388 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6812
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Robbi Garcia                                                         Contingent
 14720 Perthshire Road, Unit a                                        Unliquidated
                                                                      Disputed
 Houston, TX, 77079
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6813
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       113.55
                                                                                                                     $________________________________
 Robbie Hart                                                         Check all that apply.
 5215 walla walla lane                                                Contingent
                                                                      Unliquidated
 Yakima, WA, 98903                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6814
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robbie Perez                                                        Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 140 James Court                                                      Contingent
                                                                      Unliquidated
 South San Francisco, CA, 94080                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6815
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.90
                                                                                                                     $________________________________
 Robby Gann                                                          Check all that apply.
 152 Old Dandridge Pike                                               Contingent
                                                                      Unliquidated
 Strawberry Plains, TN, 37871                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6816
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Clayton                                                      Check all that apply.
                                                                                                                       14.83
                                                                                                                     $________________________________
 4821 Blagden Avenue, N.W.                                            Contingent
                                                                      Unliquidated
 Washington, DC, 20011                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6817
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.99
                                                                                                                     $________________________________
 Robert Albritton                                                     Contingent
 1567 Oakmont Dr                                                      Unliquidated
                                                                      Disputed
 Acworth, GA, 30102
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6818
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Robert Avila                                                        Check all that apply.
 8027 South Zarzamora Street, E3                                      Contingent
                                                                      Unliquidated
 San Antonio, TX, 78224                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6819
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Behlke                                                       Check all that apply.
                                                                                                                      47.18
                                                                                                                     $________________________________
 5245 Pleasant Chapel Road                                            Contingent
                                                                      Unliquidated
 South Vienna, OH, 45369                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6820
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      451.00
                                                                                                                     $________________________________
 ROBERT BOSQUES                                                      Check all that apply.
 5-01 MORLOT AVE FL 2                                                 Contingent
                                                                      Unliquidated
 FAIR LAWN, NJ, 7410                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6821
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Boyette                                                      Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 102 Sweetwater Cir                                                   Contingent
                                                                      Unliquidated
 Rincon, GA, 31326                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                           Document Page 1390 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6822
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Robert Braga                                                         Contingent
 2484 East Tahquitz Canyon Way, 114                                   Unliquidated
                                                                      Disputed
 Palm Springs, CA, 92262
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6823
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.59
                                                                                                                     $________________________________
 Robert Brangan                                                      Check all that apply.
 217 Lexingdale Dr                                                    Contingent
                                                                      Unliquidated
 Orlando, FL, 32828                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6824
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Brangan                                                      Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 217 Lexingdale Dr                                                    Contingent
                                                                      Unliquidated
 Orlando, FL, 32828                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6825
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.81
                                                                                                                     $________________________________
 Robert Brown                                                        Check all that apply.
 765 Carlysle Street                                                  Contingent
                                                                      Unliquidated
 Akron, OH, 44310                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6826
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Brunn                                                        Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 2139 Arden Circle                                                    Contingent
                                                                      Unliquidated
 Corona, CA, 92882                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6827
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.19
                                                                                                                     $________________________________
 Robert Cecil                                                         Contingent
 601 Innisbrook Ln                                                    Unliquidated
                                                                      Disputed
 Spartanburg, SC, 29306
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6828
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Robert Church                                                       Check all that apply.
 1239 brookshire dr                                                   Contingent
                                                                      Unliquidated
 Hudson, NC, 28638                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6829
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Deacon                                                       Check all that apply.
                                                                                                                      72.07
                                                                                                                     $________________________________
 128 Saint Croix Dr                                                   Contingent
                                                                      Unliquidated
 Beaver Falls, PA, 15010-3116                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6830
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      5.99
                                                                                                                     $________________________________
 Robert Dominguez                                                    Check all that apply.
 4243 W Commerce St, 105                                              Contingent
                                                                      Unliquidated
 San Antonio, TX, 78237                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6831
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Dowdy                                                        Check all that apply.
                                                                                                                       35.79
                                                                                                                     $________________________________
 3112 Meadowbrook Drive                                               Contingent
                                                                      Unliquidated
 Blacksburg, VA, 24060                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6832
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.99
                                                                                                                     $________________________________
 Robert Driver                                                        Contingent
 7906 Westlund Rd, Frnt Hs                                            Unliquidated
                                                                      Disputed
 Arlington, WA, 98223
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6833
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       138.99
                                                                                                                     $________________________________
 Robert Ellis                                                        Check all that apply.
 219 East Bass Avenue                                                 Contingent
                                                                      Unliquidated
 Yukon, OK, 73099                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6834
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Fierro                                                       Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 14 Skylark Dr.                                                       Contingent
                                                                      Unliquidated
 Larkspur, CA, 94939                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6835
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.99
                                                                                                                     $________________________________
 Robert Flannery                                                     Check all that apply.
 417 New St.                                                          Contingent
                                                                      Unliquidated
 Duryea, PA, 18642                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6836
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Garcia                                                       Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 16303 CHELSEA PL, APT 710                                            Contingent
                                                                      Unliquidated
 SELMA, TX, 78154                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6837
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             249.97
                                                                                                                     $________________________________
 Robert Garcia                                                        Contingent
 6051 Royal Valley Street                                             Unliquidated
                                                                      Disputed
 San Antonio, TX, 78242
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6838
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.78
                                                                                                                     $________________________________
 Robert Gladstone                                                    Check all that apply.
 3905 Andover Avenue                                                  Contingent
                                                                      Unliquidated
 Auburn Hills, MI, 48326                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6839
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Glasgow                                                      Check all that apply.
                                                                                                                      120.00
                                                                                                                     $________________________________
 3367 county road 8                                                   Contingent
                                                                      Unliquidated
 dillonvale, OH, 43917                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6840
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Robert Gonzales                                                     Check all that apply.
 604 West Overland Road                                               Contingent
                                                                      Unliquidated
 Payson, AZ, 85541                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6841
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Groner                                                       Check all that apply.
                                                                                                                       66.94
                                                                                                                     $________________________________
 28976 Canyon Oak Place                                               Contingent
                                                                      Unliquidated
 Santa Clarita, CA, 91390                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1394 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6842
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.98
                                                                                                                     $________________________________
 Robert Hareford                                                      Contingent
 16 earl ave.                                                         Unliquidated
                                                                      Disputed
 Shelby, OH, 44875
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6843
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       46.75
                                                                                                                     $________________________________
 Robert J. Marques                                                   Check all that apply.
 2808 Belleau Woods Drive                                             Contingent
                                                                      Unliquidated
 Joliet, IL, 60435                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6844
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Jackson                                                      Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 1453 Neff Dr                                                         Contingent
                                                                      Unliquidated
 Copperas Cove, TX, 76522                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6845
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 robert jenkins                                                      Check all that apply.
 1000 Pathfinder Way                                                  Contingent
                                                                      Unliquidated
 Round Rock, TX, 78665                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6846
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert John White                                                   Check all that apply.
                                                                                                                       178.07
                                                                                                                     $________________________________
 181 new castle rd                                                    Contingent
                                                                      Unliquidated
 Butler, PA, 16001                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1395 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6847
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.01
                                                                                                                     $________________________________
 Robert Kohler                                                        Contingent
 1149 Landings Loop                                                   Unliquidated
                                                                      Disputed
 Tallahassee, FL, 32311
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6848
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       138.66
                                                                                                                     $________________________________
 Robert Legendre                                                     Check all that apply.
 9029 Jefferson Highway, Suite D, #245                                Contingent
                                                                      Unliquidated
 River Ridge, LA, 70123                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6849
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Mack                                                         Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 576 Sherman St                                                       Contingent
                                                                      Unliquidated
 CONNEAUT, OH, 44030                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6850
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.57
                                                                                                                     $________________________________
 ROBERT MCDANIEL                                                     Check all that apply.
 24 New Castle Lane                                                   Contingent
                                                                      Unliquidated
 Willingboro, NJ, 8046                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6851
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Mentzel                                                      Check all that apply.
                                                                                                                       33.59
                                                                                                                     $________________________________
 19125 W Hillcrest Ct                                                 Contingent
                                                                      Unliquidated
 New Berlin, WI, 53146-4006                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1396 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6852
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Robert Milby                                                         Contingent
 11640 S Old Jones Rd                                                 Unliquidated
                                                                      Disputed
 Floral City, FL, 34436
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6853
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       6.99
                                                                                                                     $________________________________
 Robert Mulligan                                                     Check all that apply.
 5004 walnut st.                                                      Contingent
                                                                      Unliquidated
 riverside, CA, 92505                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6854
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Neuteboom                                                    Check all that apply.
                                                                                                                      29.98
                                                                                                                     $________________________________
 4820 169th Ave SE                                                    Contingent
                                                                      Unliquidated
 Davenport, ND, 58021                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6855
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.76
                                                                                                                     $________________________________
 Robert Nguyen                                                       Check all that apply.
 19032 Standish Ave Apt A                                             Contingent
                                                                      Unliquidated
 Hayward, CA, 94541-1775                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6856
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Nolan                                                        Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 534 Warm Spring Road, APT 15                                         Contingent
                                                                      Unliquidated
 Chambersburg, PA, 17202                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1397 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6857
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Robert Nufer                                                         Contingent
 4915 SW Watson Ave                                                   Unliquidated
                                                                      Disputed
 Beaverton, OR, 97005
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6858
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Robert Offerman                                                     Check all that apply.
 508 Terrington Drive                                                 Contingent
                                                                      Unliquidated
 Ballwin, MO, 63021                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6859
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 robert olvera                                                       Check all that apply.
                                                                                                                      42.40
                                                                                                                     $________________________________
 13241 Four Hills Way                                                 Contingent
                                                                      Unliquidated
 Victorville, CA, 92392                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6860
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      127.49
                                                                                                                     $________________________________
 Robert Parlin                                                       Check all that apply.
 25 Kelly Rd. #2                                                      Contingent
                                                                      Unliquidated
 Cambridge, MA, 2139                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6861
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Pickell                                                      Check all that apply.
                                                                                                                       35.99
                                                                                                                     $________________________________
 3 Den Avenue                                                         Contingent
                                                                      Unliquidated
 Merrimack, NH, 3054                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1398 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6862
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.06
                                                                                                                     $________________________________
 Robert Rendon                                                        Contingent
 615 Fresnillo Dr.                                                    Unliquidated
                                                                      Disputed
 Brownsville, TX, 78526
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6863
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.91
                                                                                                                     $________________________________
 Robert Richie                                                       Check all that apply.
 2033 Anchor Street                                                   Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19124                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6864
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Riggs                                                        Check all that apply.
                                                                                                                      194.97
                                                                                                                     $________________________________
 1984 River Inn Ln                                                    Contingent
                                                                      Unliquidated
 Charlottesville, VA, 22901                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6865
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Robert Rivera                                                       Check all that apply.
 2624 Glenriver Way                                                   Contingent
                                                                      Unliquidated
 Woodbridge, VA, 22191                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6866
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Rizzo                                                        Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 213 Blue Heron Blvd                                                  Contingent
                                                                      Unliquidated
 Haines City, FL, 33844                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1399 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6867
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.55
                                                                                                                     $________________________________
 Robert Roberts                                                       Contingent
 4715 Lacy Spine Rd NW                                                Unliquidated
                                                                      Disputed
 Albuquerque, NM, 87114
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6868
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       162.04
                                                                                                                     $________________________________
 Robert S Martin Jr                                                  Check all that apply.
 4411 Don Tomaso Dr Apt#3                                             Contingent
                                                                      Unliquidated
 La, CA, 90008                                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6869
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Salinas                                                      Check all that apply.
                                                                                                                      42.70
                                                                                                                     $________________________________
 417 S Hill St, Apt.1100                                              Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90013                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6870
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      158.98
                                                                                                                     $________________________________
 Robert Scully                                                       Check all that apply.
 16403 Shadow Lane                                                    Contingent
                                                                      Unliquidated
 Linden, MI, 48451                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6871
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Sevigny                                                      Check all that apply.
                                                                                                                       23.98
                                                                                                                     $________________________________
 291 Old Oxford Road, 291 Old Oxford Road                             Contingent
                                                                      Unliquidated
 North Smithfield, RI, 2896                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1400 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6872
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             78.99
                                                                                                                     $________________________________
 Robert Shelton                                                       Contingent
 11172 Vista Sorrento Pkwy #104                                       Unliquidated
                                                                      Disputed
 San Diego, CA, 92130
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6873
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.22
                                                                                                                     $________________________________
 Robert Simuong                                                      Check all that apply.
 8128 Fox Chase Dr                                                    Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76137                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6874
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Sloan                                                        Check all that apply.
                                                                                                                      33.91
                                                                                                                     $________________________________
 527 Leighty Road                                                     Contingent
                                                                      Unliquidated
 Hopewell, PA, 16650                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6875
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.99
                                                                                                                     $________________________________
 Robert Soto                                                         Check all that apply.
 2200 N Torrey Pines Dr, Apt 1071                                     Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89108                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6876
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert T Baugh                                                      Check all that apply.
                                                                                                                       95.34
                                                                                                                     $________________________________
 124 Deer Path Ln                                                     Contingent
                                                                      Unliquidated
 Battle Creek, MI, 49015-7949                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1401 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6877
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             62.83
                                                                                                                     $________________________________
 Robert Taylor                                                        Contingent
 26 crest haven                                                       Unliquidated
                                                                      Disputed
 Belleville, IL, 62221
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6878
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.15
                                                                                                                     $________________________________
 Robert Thomson                                                      Check all that apply.
 205 Cedar Springs dr.                                                Contingent
                                                                      Unliquidated
 Athens, GA, 30605                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6879
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Torres                                                       Check all that apply.
                                                                                                                      21.66
                                                                                                                     $________________________________
 1413 Promontory Ter                                                  Contingent
                                                                      Unliquidated
 San Ramon, CA, 94583                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6880
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      96.67
                                                                                                                     $________________________________
 Robert Tretola                                                      Check all that apply.
 34 Moore dr                                                          Contingent
                                                                      Unliquidated
 Bethpage, NY, 11714                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6881
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Trujillo                                                     Check all that apply.
                                                                                                                       52.91
                                                                                                                     $________________________________
 9235 Artesia Boulevard Spc 1                                         Contingent
                                                                      Unliquidated
 Bellflower, CA, 90706                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6882
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             32.99
                                                                                                                      $________________________________
 Robert Turley                                                         Contingent
 36 E 4th Ave                                                          Unliquidated
                                                                       Disputed
 Collegeville, PA, 19426
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  6883
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        28.78
                                                                                                                      $________________________________
 Robert Turner                                                        Check all that apply.
 27 Third Street                                                       Contingent
                                                                       Unliquidated
 Butler, NJ, 7405                                                      Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  6884
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Robert Valenzuela                                                    Check all that apply.
                                                                                                                       87.59
                                                                                                                      $________________________________
 14027 daventry st                                                     Contingent
                                                                       Unliquidated
 PACOIMA, CA, 91331                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  6885
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       31.79
                                                                                                                      $________________________________
 Robert Viskup                                                        Check all that apply.
 228 Suss Drive                                                        Contingent
                                                                       Unliquidated
 Waterbury Center, VT, 5677                                            Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  6886
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Robert Weber                                                         Check all that apply.
                                                                                                                        10.99
                                                                                                                      $________________________________
 50 Broad St                                                           Contingent
                                                                       Unliquidated
 Torrington, CT, 6790                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6887
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             26.96
                                                                                                                         $________________________________
 Robert Wiese                                                             Contingent
 148 General Arnold St NE , Apt. 8                                        Unliquidated
                                                                          Disputed
 Albuquerque, NM, 87123
                                                                         Basis for the claim: Customers with Outstanding Deposits



                                                                         Is the claim subject to offset?
         Date or dates debt was incurred          ___________________
                                                                         
                                                                         ✔
                                                                           No
                                                                          Yes
         Last 4 digits of account number          ___________________
  6888
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                           6.99
                                                                                                                         $________________________________
 Robert Wiget                                                            Check all that apply.
 1015 2nd Ave                                                             Contingent
                                                                          Unliquidated
 Cadillac, MI, 49601                                                      Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ___________________    Is the claim subject to offset?
         Last 4 digits of account number          ___________________
                                                                         
                                                                         ✔
                                                                           No
                                                                          Yes
  6889
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Robert Wilkinson                                                        Check all that apply.
                                                                                                                          24.60
                                                                                                                         $________________________________
 473 Main Street second floor , Marco's tattoo                            Contingent
                                                                          Unliquidated
 South Kingstown, RI, 2879                                                Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ___________________    Is the claim subject to offset?
         Last 4 digits of account number          __________________     
                                                                         ✔
                                                                           No
                                                                          Yes
  6890
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          137.97
                                                                                                                         $________________________________
 Roberto Arenas                                                          Check all that apply.
 33456 7th Street                                                         Contingent
                                                                          Unliquidated
 Union City, CA, 94587                                                    Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                           No
         Last 4 digits of account number          ___________________     Yes
  6891
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Roberto Blanco                                                          Check all that apply.
                                                                                                                           69.68
                                                                                                                         $________________________________
 1804 MUNSTER AVE                                                         Contingent
                                                                          Unliquidated
 SAINT PAUL, MN, 55116                                                    Disputed
                                                                         Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                           No
         Last 4 digits of account number          ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6892
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.24
                                                                                                                     $________________________________
 Roberto De Leon                                                      Contingent
 818 San Juanita St.                                                  Unliquidated
                                                                      Disputed
 San Juan, TX, 78589
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6893
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Roberto Romero                                                      Check all that apply.
 3856 Louis Krohn Drive                                               Contingent
                                                                      Unliquidated
 Santa Rosa, CA, 95407                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6894
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Roberto Sanchez                                                     Check all that apply.
                                                                                                                      28.13
                                                                                                                     $________________________________
 1418 Marion Street                                                   Contingent
                                                                      Unliquidated
 Laredo, TX, 78040                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6895
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      18.46
                                                                                                                     $________________________________
 Robin Antila                                                        Check all that apply.
 429 east hudson street                                               Contingent
                                                                      Unliquidated
 long beach, NY, 11561                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6896
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robin Antwine                                                       Check all that apply.
                                                                                                                       59.72
                                                                                                                     $________________________________
 4218 NE Davidson Rd                                                  Contingent
                                                                      Unliquidated
 Kansas City, MO, 64116-2322                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6897
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.88
                                                                                                                     $________________________________
 Robin Banks                                                          Contingent
 4626 N. Mary Belle Way                                               Unliquidated
                                                                      Disputed
 Bloomington, IN, 47404
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6898
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.04
                                                                                                                     $________________________________
 Robin Davis                                                         Check all that apply.
 830 Northeast 59th Street                                            Contingent
                                                                      Unliquidated
 Fort Lauderdale, FL, 33334                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6899
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robin E Malette                                                     Check all that apply.
                                                                                                                      57.99
                                                                                                                     $________________________________
 97 Cole Street, 2                                                    Contingent
                                                                      Unliquidated
 Pawtucket, RI, 2860                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6900
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      326.53
                                                                                                                     $________________________________
 Robin Ganahl                                                        Check all that apply.
 21 E. 57th Street                                                    Contingent
                                                                      Unliquidated
 Kansas City, MO, 64113                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6901
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robin Larita Jr                                                     Check all that apply.
                                                                                                                       36.99
                                                                                                                     $________________________________
 87-037 Kulaaupuni St #3204                                           Contingent
                                                                      Unliquidated
 Waianae, HI, 96792                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6902
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.83
                                                                                                                     $________________________________
 Robin Morgan                                                         Contingent
 1925 Milligan Court Southwest                                        Unliquidated
                                                                      Disputed
 Cedar Rapids, IA, 52404
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6903
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.99
                                                                                                                     $________________________________
 Rochelle Mead-Williams                                              Check all that apply.
 22554 Marylee Street                                                 Contingent
                                                                      Unliquidated
 Woodland Hills, CA, 91367                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6904
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rochelle Ortiz                                                      Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 312 North Westwood Avenue                                            Contingent
                                                                      Unliquidated
 Lindsay, CA, 93247                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6905
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Rocio Bravo                                                         Check all that apply.
 11310 Montecito Drive                                                Contingent
                                                                      Unliquidated
 El Monte, CA, 91731                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6906
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rocio Saravia                                                       Check all that apply.
                                                                                                                       78.82
                                                                                                                     $________________________________
 8510 GULLO AVE                                                       Contingent
                                                                      Unliquidated
 PANORAMA CITY, CA, 91402                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6907
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             71.42
                                                                                                                     $________________________________
 Rocko Bishop                                                         Contingent
 225 Bryan Street, Apartment 3                                        Unliquidated
                                                                      Disputed
 Denton, TX, 76201
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6908
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       76.97
                                                                                                                     $________________________________
 Rocky Fong                                                          Check all that apply.
 13520 SE 81ST Pl                                                     Contingent
                                                                      Unliquidated
 Newcastle, WA, 98059-7111                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6909
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rocky Legaspi                                                       Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 901 West Cameron Avenue, 203                                         Contingent
                                                                      Unliquidated
 West Covina, CA, 91790                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6910
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.55
                                                                                                                     $________________________________
 Rocky Pennington                                                    Check all that apply.
 312 Arlington Ave                                                    Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45215                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6911
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rod Zapata                                                          Check all that apply.
                                                                                                                       123.60
                                                                                                                     $________________________________
 20128 bending creek pl                                               Contingent
                                                                      Unliquidated
 Tampa , FL, 33647                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6912
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             67.83
                                                                                                                     $________________________________
 Roderick Waldridge                                                   Contingent
 680 South 4th Street                                                 Unliquidated
                                                                      Disputed
 Louisville, KY, 40202
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6913
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       188.93
                                                                                                                     $________________________________
 Rodger Smith                                                        Check all that apply.
 470 Sivley Road, Apt. 102                                            Contingent
                                                                      Unliquidated
 Hopkinsville, KY, 42240                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6914
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rodnesha Billings                                                   Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 1726 Parkridge Dr                                                    Contingent
                                                                      Unliquidated
 Knoxville, TN, 37924                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6915
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Rodney Gray                                                         Check all that apply.
 3913 Dover Drive                                                     Contingent
                                                                      Unliquidated
 Garland, TX, 75043                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6916
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rodney Swift                                                        Check all that apply.
                                                                                                                       49.99
                                                                                                                     $________________________________
 5783 Sheridan Blvd, Suite 305                                        Contingent
                                                                      Unliquidated
 Arvada, CO, 80002                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1409 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6917
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.99
                                                                                                                     $________________________________
 Rodney Walker                                                        Contingent
 7594 1300 West                                                       Unliquidated
                                                                      Disputed
 West Jordan, UT, 84084
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6918
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.84
                                                                                                                     $________________________________
 Rodolfo Diaz                                                        Check all that apply.
 503 E 4th St #29                                                     Contingent
                                                                      Unliquidated
 Battle Mountain, NV, 89820                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6919
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rodolfo Martinez                                                    Check all that apply.
                                                                                                                      7.99
                                                                                                                     $________________________________
 1104 cloudy day dr.                                                  Contingent
                                                                      Unliquidated
 Henderson, NV, 89074                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6920
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.09
                                                                                                                     $________________________________
 Rodrigo Martinez                                                    Check all that apply.
 7 Via Cuidado, 7                                                     Contingent
                                                                      Unliquidated
 Rancho Santa Margarita, CA, 92688                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6921
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rogelio Castro                                                      Check all that apply.
                                                                                                                       24.99
                                                                                                                     $________________________________
 9051 Annette Place                                                   Contingent
                                                                      Unliquidated
 Oak Creek, WI, 53154                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6922
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.99
                                                                                                                     $________________________________
 Rogelio Garza                                                        Contingent
 22001 Running Bear Drive                                             Unliquidated
                                                                      Disputed
 Von Ormy, TX, 78073
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6923
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.98
                                                                                                                     $________________________________
 Rogelio Villasano Jr                                                Check all that apply.
 11454 186th Street, APT 115                                          Contingent
                                                                      Unliquidated
 Artesia, CA, 90701                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6924
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rogeo Rocha                                                         Check all that apply.
                                                                                                                      64.99
                                                                                                                     $________________________________
 9404 Brents Elm Drive                                                Contingent
                                                                      Unliquidated
 Austin, TX, 78744                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6925
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Roger Arreola                                                       Check all that apply.
 3116 Red Sails                                                       Contingent
                                                                      Unliquidated
 El Paso, TX, 79936                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6926
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Roger Elswood                                                       Check all that apply.
                                                                                                                       43.07
                                                                                                                     $________________________________
 3168 Jemez Dr                                                        Contingent
                                                                      Unliquidated
 San Diego, CA, 92117                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6927
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.33
                                                                                                                     $________________________________
 Roger Jessamy                                                        Contingent
 1264 N James Estates Drive                                           Unliquidated
                                                                      Disputed
 Henrico, VA, 23231
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6928
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       6.99
                                                                                                                     $________________________________
 Roland Baptista                                                     Check all that apply.
 8945 SW Ash Meadows Circle, #216                                     Contingent
                                                                      Unliquidated
 Wilsonville, OR, 97070                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6929
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Roland Mello                                                        Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 619 Sanderling                                                       Contingent
                                                                      Unliquidated
 San Antonio, TX, 78245                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6930
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Rolando Torres                                                      Check all that apply.
 225 East Price Street                                                Contingent
                                                                      Unliquidated
 Nipomo, CA, 93444                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6931
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rolando Michel                                                      Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 1480 Hammock Ridge Road, 3202                                        Contingent
                                                                      Unliquidated
 Clermont, FL, 34711                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6932
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Rolland Geiger                                                       Contingent
 621 Essex Forest Drive                                               Unliquidated
                                                                      Disputed
 Cary, NC, 27518
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6933
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.02
                                                                                                                     $________________________________
 Romeo Clarke                                                        Check all that apply.
 25776 Quagga Street Northwest                                        Contingent
                                                                      Unliquidated
 Zimmerman, MN, 55398                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6934
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Romeo Lovelace                                                      Check all that apply.
                                                                                                                      107.84
                                                                                                                     $________________________________
 810 5th St.                                                          Contingent
                                                                      Unliquidated
 Sheldon, IA, 51201                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6935
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Romina Cortes                                                       Check all that apply.
 4510 W 3650 S                                                        Contingent
                                                                      Unliquidated
 West Valley City, UT, 84120                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6936
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Romina Tempest                                                      Check all that apply.
                                                                                                                       35.18
                                                                                                                     $________________________________
 347 Varick ST, APT 211A                                              Contingent
                                                                      Unliquidated
 Jersey City, NJ, 7302                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6937
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             334.97
                                                                                                                     $________________________________
 Ron Eng                                                              Contingent
 506 12th St                                                          Unliquidated
                                                                      Disputed
 brooklyn, NY, 11215
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6938
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       88.99
                                                                                                                     $________________________________
 Ron Eng                                                             Check all that apply.
 506 12th Street                                                      Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11215                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6939
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ron English                                                         Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 1061 Oxford Drive North                                              Contingent
                                                                      Unliquidated
 Pataskala, OH, 43062                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6940
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      68.47
                                                                                                                     $________________________________
 Ronald Arcila                                                       Check all that apply.
 833 North Lake Claire Circle                                         Contingent
                                                                      Unliquidated
 Oviedo, FL, 32765                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6941
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ronald DeMartines                                                   Check all that apply.
                                                                                                                       124.99
                                                                                                                     $________________________________
 11 Cottage Place, 3L                                                 Contingent
                                                                      Unliquidated
 Staten Island, NY, 10302                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6942
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.31
                                                                                                                     $________________________________
 Ronald Dube                                                          Contingent
 30 Bradley St                                                        Unliquidated
                                                                      Disputed
 SACO, ME, 4072
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6943
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Ronald Herrera                                                      Check all that apply.
 14 Muirwood Dr.                                                      Contingent
                                                                      Unliquidated
 Daly City, CA, 94014                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6944
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ronald Tai                                                          Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 87 Netherwood Drive                                                  Contingent
                                                                      Unliquidated
 Albertson, NY, 11507                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6945
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      143.97
                                                                                                                     $________________________________
 Ronald Toyer                                                        Check all that apply.
 208 West 119th street, 4c                                            Contingent
                                                                      Unliquidated
 New York, NY, 10026                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6946
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ronaldo Chen                                                        Check all that apply.
                                                                                                                       362.97
                                                                                                                     $________________________________
 425 N Olive Ave                                                      Contingent
                                                                      Unliquidated
 Alhambra, CA, 91801-2243                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1415 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6947
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 Ronaldo S Abagatnan Jr                                               Contingent
 PO BOX 20483                                                         Unliquidated
                                                                      Disputed
 Barrigada, GU, 96921
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6948
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.74
                                                                                                                     $________________________________
 Ronan Baker                                                         Check all that apply.
 47 Smith Street                                                      Contingent
                                                                      Unliquidated
 Dartmouth, MA, 2748                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6949
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ronara Williams                                                     Check all that apply.
                                                                                                                      93.28
                                                                                                                     $________________________________
 1008 Chapel Lake Circle                                              Contingent
                                                                      Unliquidated
 Franklin, TN, 37069                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6950
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.38
                                                                                                                     $________________________________
 Ronda Estep                                                         Check all that apply.
 3040 Knob Creek Road                                                 Contingent
                                                                      Unliquidated
 Shepherdsville, KY, 40165                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6951
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ronie Camejo                                                        Check all that apply.
                                                                                                                       70.75
                                                                                                                     $________________________________
 2558 Lurting Avenue                                                  Contingent
                                                                      Unliquidated
 Bronx, NY, 10469                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1416 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6952
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             46.98
                                                                                                                     $________________________________
 Roniel Ortega                                                        Contingent
 3314 Fermi Drive                                                     Unliquidated
                                                                      Disputed
 Katy, TX, 77493
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6953
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Ronnie Arredondo                                                    Check all that apply.
 406 Linares Street                                                   Contingent
                                                                      Unliquidated
 San Antonio, TX, 78225                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6954
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ronnie Buzzetta                                                     Check all that apply.
                                                                                                                      527.75
                                                                                                                     $________________________________
 6007 Cambridge Dr                                                    Contingent
                                                                      Unliquidated
 Alexandria, LA, 71303-2151                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6955
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Ronnie Hinojosa                                                     Check all that apply.
 3914 Hale ave, apt E                                                 Contingent
                                                                      Unliquidated
 Harlingen, TX, 78550                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6956
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ronnie Newton                                                       Check all that apply.
                                                                                                                       28.68
                                                                                                                     $________________________________
 51 Brookside Rd                                                      Contingent
                                                                      Unliquidated
 Southbridge, MA, 1550                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6957
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.99
                                                                                                                     $________________________________
 Rory Cannon                                                          Contingent
 17216 SW GREEN HERON DR                                              Unliquidated
                                                                      Disputed
 SHERWOOD, OR, 97140
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6958
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.83
                                                                                                                     $________________________________
 Rory Kennedy                                                        Check all that apply.
 1913 Warfield Ave, Apt 4                                             Contingent
                                                                      Unliquidated
 Redondo Beach, CA, 90278-1342                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6959
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rosa Gonzalez                                                       Check all that apply.
                                                                                                                      145.97
                                                                                                                     $________________________________
 1300 Keller Pkwy, apt 323                                            Contingent
                                                                      Unliquidated
 Keller, TX, 76248                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6960
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65.31
                                                                                                                     $________________________________
 Rosa Guerrero                                                       Check all that apply.
 19 White Place                                                       Contingent
                                                                      Unliquidated
 Staten Island, NY, 10310                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6961
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rosa Medrano                                                        Check all that apply.
                                                                                                                       26.09
                                                                                                                     $________________________________
 523 E Pioneer Ave                                                    Contingent
                                                                      Unliquidated
 Redlands, CA, 92374                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6962
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 Rosa Robles                                                          Contingent
 P.O Box 217                                                          Unliquidated
                                                                      Disputed
 Perris, CA, 92572
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6963
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.52
                                                                                                                     $________________________________
 Rosa Rodriguez                                                      Check all that apply.
 2216 East 51st Street South                                          Contingent
                                                                      Unliquidated
 Wichita, KS, 67216                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6964
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rosa Torres                                                         Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 2849 140th Street                                                    Contingent
                                                                      Unliquidated
 Blue Island, IL, 60406                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6965
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.98
                                                                                                                     $________________________________
 roscoe wentworth                                                    Check all that apply.
 11818 Camp Real Ln                                                   Contingent
                                                                      Unliquidated
 San Antonio, TX, 78253                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6966
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rose Pulickal                                                       Check all that apply.
                                                                                                                       39.95
                                                                                                                     $________________________________
 1083 Westside Drive                                                  Contingent
                                                                      Unliquidated
 Rochester, NY, 14624                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6967
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17.99
                                                                                                                     $________________________________
 Rosemary Cantu                                                       Contingent
 9328 Jason Court                                                     Unliquidated
                                                                      Disputed
 White Settlement, TX, 76108
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6968
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.99
                                                                                                                     $________________________________
 Rosendo Garcia                                                      Check all that apply.
 3015 North Avers Avenue                                              Contingent
                                                                      Unliquidated
 Chicago, IL, 60618                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6969
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ROSS BRADLEY                                                        Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 4756 N CONNOR RD                                                     Contingent
                                                                      Unliquidated
 JANESVILLE, WI, 53548                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6970
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.74
                                                                                                                     $________________________________
 Ross Martin                                                         Check all that apply.
 4246 2nd Avenue                                                      Contingent
                                                                      Unliquidated
 Sacramento, CA, 95817                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6971
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Route App, Inc. dba Safe Order Solutions                            Check all that apply.
                                                                                                                       1,021.72
                                                                                                                     $________________________________
 1557 W Innovation Way - Suite 200                                    Contingent
                                                                      Unliquidated
 Lehi, UT, 84043-4417                                                 Disputed
                                                                     Basis for the claim: Trade Payables



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6972
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             50.22
                                                                                                                     $________________________________
 Rowan Kost                                                           Contingent
 2623 North Lafayette                                                 Unliquidated
                                                                      Disputed
 Bremerton, WA, 98312
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6973
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       1,064.60
                                                                                                                     $________________________________
 Rowan Pearson                                                       Check all that apply.
 705 East 222nd st, 1                                                 Contingent
                                                                      Unliquidated
 Bronx, NY, 10467                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6974
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Roxana Merlos                                                       Check all that apply.
                                                                                                                      175.95
                                                                                                                     $________________________________
 15717 Bow Ln                                                         Contingent
                                                                      Unliquidated
 Houston, TX, 77053                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6975
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      60.96
                                                                                                                     $________________________________
 Roxanna Hembree                                                     Check all that apply.
 110a jake edwards rd                                                 Contingent
                                                                      Unliquidated
 Marshall, NC, 28753                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6976
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Roxanne Garcia                                                      Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 16198 Vermeer Drive                                                  Contingent
                                                                      Unliquidated
 Chino Hills, CA, 91709                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6977
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.22
                                                                                                                     $________________________________
 Roxanne Reed                                                         Contingent
 5236 Wright Terr                                                     Unliquidated
                                                                      Disputed
 SKOKIE, IL, 60077
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6978
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       116.58
                                                                                                                     $________________________________
 Roxxana Manzanarez                                                  Check all that apply.
 2935 Queens Court                                                    Contingent
                                                                      Unliquidated
 Norcross, GA, 30071                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6979
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Roy Ferrara                                                         Check all that apply.
                                                                                                                      32.57
                                                                                                                     $________________________________
 60 Orient Avenue                                                     Contingent
                                                                      Unliquidated
 Brentwood, NY, 11717                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6980
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                     $________________________________
 Roy Stephens                                                        Check all that apply.
 W1880 BROKEN BOW RD                                                  Contingent
                                                                      Unliquidated
 KESHENA, WI, 54135-9401                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6981
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Roy Tao                                                             Check all that apply.
                                                                                                                       50.99
                                                                                                                     $________________________________
 3493 STONER AVE.                                                     Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90066                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1422 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6982
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             28.45
                                                                                                                      $________________________________
 Ruben Betancourt Flores                                               Contingent
 1826 E 83rd St                                                        Unliquidated
                                                                       Disputed
 Los Angeles, CA, 90001
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number      ___________________
  6983
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        7.71
                                                                                                                      $________________________________
 Ruben Castaneda                                                      Check all that apply.
 6340 Whittier Ave, Apt C, Whittier CA 90601, Apt                      Contingent
 C                                                                     Unliquidated
                                                                       Disputed
 Whittier, CA, 90601
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________      Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  6984
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Ruben Correa                                                         Check all that apply.
                                                                                                                       39.99
                                                                                                                      $________________________________
 625 west E St.                                                        Contingent
                                                                       Unliquidated
 Wilmington, CA, 90744                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________      Is the claim subject to offset?
         Last 4 digits of account number      __________________      
                                                                      ✔
                                                                        No
                                                                       Yes
  6985
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       17.32
                                                                                                                      $________________________________
 Ruben Fernandez                                                      Check all that apply.
 1119 West 10th Street                                                 Contingent
                                                                       Unliquidated
 Mesa, AZ, 85201                                                       Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________      Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number      ___________________      Yes
  6986
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Ruben Hernandez                                                      Check all that apply.
                                                                                                                        57.36
                                                                                                                      $________________________________
 2619 Hartwick Rd                                                      Contingent
                                                                       Unliquidated
 Houston, TX, 77093                                                    Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________     Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number      ___________________      Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1423 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6987
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             8.36
                                                                                                                     $________________________________
 Ruben jay Macaraeg                                                   Contingent
 Po Box 824, 28-404 Waiaama Pl                                        Unliquidated
                                                                      Disputed
 Pepeekeo, HI, 96783
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6988
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.43
                                                                                                                     $________________________________
 ruben martinez                                                      Check all that apply.
 4200 Porpoise Drive Southeast                                        Contingent
                                                                      Unliquidated
 St. Petersburg, FL, 33705                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6989
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ruben Martinez                                                      Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 3131 SW 89th St , Apt 9102                                           Contingent
                                                                      Unliquidated
 Oklahoma City , OK, 73159                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6990
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.19
                                                                                                                     $________________________________
 Ruben Millan Jr.                                                    Check all that apply.
 Doverwood Dr.                                                        Contingent
                                                                      Unliquidated
 Riverside, CA, 92505-3200                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6991
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ruben Ramirez                                                       Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 6501 N 17th Ave, Unit 209                                            Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85015                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1424 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6992
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 Ruben Rodriguez                                                      Contingent
 14821 Pebble Hills BLVD                                              Unliquidated
                                                                      Disputed
 El Paso, TX, 79938
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6993
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Ruben Salinas                                                       Check all that apply.
 1957 Via Primero Street                                              Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89115                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6994
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ruben Sanchez                                                       Check all that apply.
                                                                                                                      26.36
                                                                                                                     $________________________________
 1020 South 30th Street                                               Contingent
                                                                      Unliquidated
 Milwaukee, WI, 53215                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  6995
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.04
                                                                                                                     $________________________________
 Ruby Frank                                                          Check all that apply.
 4031 Marathon St                                                     Contingent
                                                                      Unliquidated
 Los Angeles , CA, 90029                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  6996
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ruby Alvarado                                                       Check all that apply.
                                                                                                                       37.70
                                                                                                                     $________________________________
 3718 AVENIDA PALO VERDE                                              Contingent
                                                                      Unliquidated
 BONITA, CA, 91902                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                  Name                           Document Page 1425 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  6997
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.71
                                                                                                                     $________________________________
 Ruby Bauer                                                           Contingent
 5410 Bold Venture Rd                                                 Unliquidated
                                                                      Disputed
 Louisville, KY, 40272
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  6998
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       113.97
                                                                                                                     $________________________________
 Ruby Cassidy                                                        Check all that apply.
 36 Sugargrove Lane                                                   Contingent
                                                                      Unliquidated
 Strafford, VT, 5072                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  6999
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ruby wong                                                           Check all that apply.
                                                                                                                      27.08
                                                                                                                     $________________________________
 5415 w harmon ave unit 1020                                          Contingent
                                                                      Unliquidated
 las vegas , NV, 89103                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7000
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      275.59
                                                                                                                     $________________________________
 Ruddy Quiroga                                                       Check all that apply.
 4403 Elan Ct.                                                        Contingent
                                                                      Unliquidated
 Annandale, VA, 22003                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7001
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rudy Alvarrz                                                        Check all that apply.
                                                                                                                       146.30
                                                                                                                     $________________________________
 1724 Fawn Glen Circle                                                Contingent
                                                                      Unliquidated
 Fairfield, CA, 94534                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7002
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.02
                                                                                                                     $________________________________
 Ruelgar Ochosa                                                       Contingent
 10280 Maya linda Rd, Unit 58                                         Unliquidated
                                                                      Disputed
 San Diego, CA, 92126
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7003
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.86
                                                                                                                     $________________________________
 Rui Zhang                                                           Check all that apply.
 9 Ted Lane                                                           Contingent
                                                                      Unliquidated
 Southborough, MA, 1772                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7004
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rui-Ming Liu                                                        Check all that apply.
                                                                                                                      287.35
                                                                                                                     $________________________________
 10495 Northeast 4th Street, 340                                      Contingent
                                                                      Unliquidated
 Bellevue, WA, 98004                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7005
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.97
                                                                                                                     $________________________________
 Russell Artist                                                      Check all that apply.
 3836 West 71st Street                                                Contingent
                                                                      Unliquidated
 Chicago, IL, 60629                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7006
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Russell Champion                                                    Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 120 East 38th Street                                                 Contingent
                                                                      Unliquidated
 Savannah , GA, 31401                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7007
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.25
                                                                                                                     $________________________________
 Russell Sebastian                                                    Contingent
 160 Larsen Cir                                                       Unliquidated
                                                                      Disputed
 Vallejo, CA, 94589
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7008
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.98
                                                                                                                     $________________________________
 Russell Sheppard                                                    Check all that apply.
 1779 Donna drive                                                     Contingent
                                                                      Unliquidated
 westlake, OH, 44145                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7009
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Russell Stitz                                                       Check all that apply.
                                                                                                                      65.23
                                                                                                                     $________________________________
 11392 Foxglove Ln                                                    Contingent
                                                                      Unliquidated
 Corona, CA, 92878                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7010
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Rusty Cole                                                          Check all that apply.
 1380 Dogwood Kelly Road                                              Contingent
                                                                      Unliquidated
 Hopkinsville, KY, 42240-8811                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7011
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rusty Harrington                                                    Check all that apply.
                                                                                                                       73.91
                                                                                                                     $________________________________
 10905 N. E. 8th Ave.                                                 Contingent
                                                                      Unliquidated
 Vancouver, WA, 98685                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7012
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.08
                                                                                                                     $________________________________
 Ruth Pcholinsky                                                      Contingent
 3026 Falcon Dr.                                                      Unliquidated
                                                                      Disputed
 Charleston, WV, 25312
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7013
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Ryah Smith                                                          Check all that apply.
 1936 North Boston Avenue                                             Contingent
                                                                      Unliquidated
 Tulsa, OK, 74106                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7014
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Abbruzzese                                                     Check all that apply.
                                                                                                                      28.61
                                                                                                                     $________________________________
 301 Oak Manor Drive, Apt T3, Apt T3                                  Contingent
                                                                      Unliquidated
 Glen Burnie, MD, 21061                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7015
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.83
                                                                                                                     $________________________________
 Ryan Alexander                                                      Check all that apply.
 3456 East Thistle Avenue                                             Contingent
                                                                      Unliquidated
 Toms River, NJ, 8753                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7016
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Aquino                                                         Check all that apply.
                                                                                                                       26.17
                                                                                                                     $________________________________
 1618 Cottage Walk                                                    Contingent
                                                                      Unliquidated
 Honolulu, HI, 96813                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
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                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7017
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             78.99
                                                                                                                     $________________________________
 Ryan Canoy                                                           Contingent
 465 Marguerite St                                                    Unliquidated
                                                                      Disputed
 Elgin, IL, 60123
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7018
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       107.74
                                                                                                                     $________________________________
 Ryan Choe                                                           Check all that apply.
 8725 ARIVA CT, APT 462                                               Contingent
                                                                      Unliquidated
 San Diego, CA, 92123                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7019
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ryan collette                                                       Check all that apply.
                                                                                                                      19.11
                                                                                                                     $________________________________
 54 ST ASAPH ST                                                       Contingent
                                                                      Unliquidated
 LEOMINSTER, MA, 1453                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7020
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.97
                                                                                                                     $________________________________
 Ryan Croft                                                          Check all that apply.
 1314 West Chestnut Street, 1R                                        Contingent
                                                                      Unliquidated
 Chicago, IL, 60642                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7021
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Davis                                                          Check all that apply.
                                                                                                                       184.99
                                                                                                                     $________________________________
 271 W WALNUT AVE, APT 146                                            Contingent
                                                                      Unliquidated
 PAINESVILLE, OH, 44077                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7022
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.98
                                                                                                                     $________________________________
 Ryan Day                                                             Contingent
 245 S Yale St Apt 7                                                  Unliquidated
                                                                      Disputed
 Hemet, CA, 92544
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7023
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       121.95
                                                                                                                     $________________________________
 Ryan De Freitas                                                     Check all that apply.
 4812 Forest Creek Trail                                              Contingent
                                                                      Unliquidated
 Parrish, FL, 34219                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7024
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan De Korte                                                       Check all that apply.
                                                                                                                      15.89
                                                                                                                     $________________________________
 1351 Tamarack Ave NW                                                 Contingent
                                                                      Unliquidated
 Grand Rapids, MI, 49504                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7025
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.94
                                                                                                                     $________________________________
 Ryan Deaver                                                         Check all that apply.
 7478 South Travertine Road                                           Contingent
                                                                      Unliquidated
 West Jordan, UT, 84081                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7026
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Degregorio                                                     Check all that apply.
                                                                                                                       109.99
                                                                                                                     $________________________________
 2706 El Rastro Ln                                                    Contingent
                                                                      Unliquidated
 Carlsbad, CA, 92009-9109                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7027
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             42.23
                                                                                                                     $________________________________
 Ryan Ditmars                                                         Contingent
 14450 Thousand Oaks Place                                            Unliquidated
                                                                      Disputed
 Parkville, MO, 64152
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7028
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       46.21
                                                                                                                     $________________________________
 Ryan Duane                                                          Check all that apply.
 11301 Echo View Drive                                                Contingent
                                                                      Unliquidated
 Odessa, FL, 33556                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7029
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Fox                                                            Check all that apply.
                                                                                                                      16.52
                                                                                                                     $________________________________
 1100, Victory ln , apartment 16                                      Contingent
                                                                      Unliquidated
 Concord, CA, 94520                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7030
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      95.00
                                                                                                                     $________________________________
 Ryan Gilbert                                                        Check all that apply.
 5481 Evening Canyon Way                                              Contingent
                                                                      Unliquidated
 Alta Loma, CA, 91737                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7031
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Guerrero                                                       Check all that apply.
                                                                                                                       98.53
                                                                                                                     $________________________________
 7107 Whitsett Avenue, Apt 2                                          Contingent
                                                                      Unliquidated
 North Hollywood , CA, 91605                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7032
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             113.40
                                                                                                                     $________________________________
 Ryan Hannah                                                          Contingent
 4729 Spears St.                                                      Unliquidated
                                                                      Disputed
 Pace, FL, 32571
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7033
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.98
                                                                                                                     $________________________________
 Ryan Hawks                                                          Check all that apply.
 23902 Kuykendahl Road, 5219                                          Contingent
                                                                      Unliquidated
 Tomball, TX, 77375                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7034
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Henneberque                                                    Check all that apply.
                                                                                                                      14.09
                                                                                                                     $________________________________
 6844 NOLAN RD                                                        Contingent
                                                                      Unliquidated
 FORESTVILLE, CA, 95436                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7035
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      6.99
                                                                                                                     $________________________________
 Ryan Houle                                                          Check all that apply.
 3165 Shallowford St                                                  Contingent
                                                                      Unliquidated
 Deltona, FL, 32738-8949                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7036
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Hunt                                                           Check all that apply.
                                                                                                                       18.99
                                                                                                                     $________________________________
 176 Stillmeadow Drive                                                Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45245                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7037
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Ryan Kennedy                                                         Contingent
 460 South Euclid Avenue, 8                                           Unliquidated
                                                                      Disputed
 Pasadena, CA, 91101
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7038
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.93
                                                                                                                     $________________________________
 Ryan Kenter                                                         Check all that apply.
 928 Edwards Rd                                                       Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45208-3409                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7039
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ryan ladd                                                           Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 271 PEARY RD                                                         Contingent
                                                                      Unliquidated
 VENICE, FL, 34293                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7040
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.99
                                                                                                                     $________________________________
 Ryan LeBlanc                                                        Check all that apply.
 13506 Celia St.                                                      Contingent
                                                                      Unliquidated
 GONZALES, LA, 70737                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7041
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ryan lu                                                             Check all that apply.
                                                                                                                       101.99
                                                                                                                     $________________________________
 9353 glendon way                                                     Contingent
                                                                      Unliquidated
 rosemead, CA, 91770                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7042
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             147.13
                                                                                                                     $________________________________
 Ryan Meizinger                                                       Contingent
 1 Weatherhill Road                                                   Unliquidated
                                                                      Disputed
 Hamburg, NJ, 7419
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7043
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.94
                                                                                                                     $________________________________
 Ryan Mitchell                                                       Check all that apply.
 24215 Kuykendahl Road, 1236                                          Contingent
                                                                      Unliquidated
 Tomball, TX, 77375                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7044
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Morgan                                                         Check all that apply.
                                                                                                                      42.89
                                                                                                                     $________________________________
 7296 South 525 East                                                  Contingent
                                                                      Unliquidated
 Midvale, UT, 84047                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7045
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      50.69
                                                                                                                     $________________________________
 Ryan N Campos                                                       Check all that apply.
 4213 W 137th St, Unit A                                              Contingent
                                                                      Unliquidated
 Hawthorne, CA, 90250-7232                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7046
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Partridge                                                      Check all that apply.
                                                                                                                       90.39
                                                                                                                     $________________________________
 2589 Main Street                                                     Contingent
                                                                      Unliquidated
 Rocky Hill, CT, 6067                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7047
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.90
                                                                                                                     $________________________________
 Ryan Plopper                                                         Contingent
 461 County Route 65                                                  Unliquidated
                                                                      Disputed
 Bernhards Bay, NY, 13028-3157
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7048
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       63.98
                                                                                                                     $________________________________
 Ryan Richardson                                                     Check all that apply.
 1644 White Drive                                                     Contingent
                                                                      Unliquidated
 Lewisburg, TN, 37091                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7049
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Rodriguez                                                      Check all that apply.
                                                                                                                      91.57
                                                                                                                     $________________________________
 15170 Mesa Street                                                    Contingent
                                                                      Unliquidated
 Hesperia, CA, 92345                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7050
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.97
                                                                                                                     $________________________________
 Ryan Schaller                                                       Check all that apply.
 3361 CULBERTSON AVE                                                  Contingent
                                                                      Unliquidated
 ROCHESTER HILLS, MI, 48307                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7051
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Serpa                                                          Check all that apply.
                                                                                                                       30.99
                                                                                                                     $________________________________
 7446 Lake Street                                                     Contingent
                                                                      Unliquidated
 Morton Grove, IL, 60053                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1436 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7052
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.99
                                                                                                                     $________________________________
 Ryan Shatto                                                          Contingent
 1439 South 73rd Street                                               Unliquidated
                                                                      Disputed
 West Allis, WI, 53214
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7053
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Ryan Srarkey                                                        Check all that apply.
 671 Cascade Drive                                                    Contingent
                                                                      Unliquidated
 Chaska, MN, 55318                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7054
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Wesley                                                         Check all that apply.
                                                                                                                      47.08
                                                                                                                     $________________________________
 31932 cinnabar lane                                                  Contingent
                                                                      Unliquidated
 Castaic, CA, 91384                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7055
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.77
                                                                                                                     $________________________________
 Ryan Wyszynski                                                      Check all that apply.
 10294 Fairchild Rd                                                   Contingent
                                                                      Unliquidated
 Spring Hill, FL, 34608                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7056
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ryan Zi                                                             Check all that apply.
                                                                                                                       963.91
                                                                                                                     $________________________________
 7 Sycamore Lane                                                      Contingent
                                                                      Unliquidated
 Rolling Hills Estates, CA, 90274                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1437 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7057
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.99
                                                                                                                     $________________________________
 Ryane Thibodeau                                                      Contingent
 22050, Deer Park Circle                                              Unliquidated
                                                                      Disputed
 Chugiak, AK, 99567
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7058
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       71.67
                                                                                                                     $________________________________
 Rylan Daley                                                         Check all that apply.
 9 Stanwood Street                                                    Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15205                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7059
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Rylee Mormillo                                                      Check all that apply.
                                                                                                                      83.98
                                                                                                                     $________________________________
 4101 East Baseline Road, 714                                         Contingent
                                                                      Unliquidated
 Gilbert, AZ, 85234                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7060
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      152.97
                                                                                                                     $________________________________
 Ryou Kai                                                            Check all that apply.
 1658 Savannah Court                                                  Contingent
                                                                      Unliquidated
 Ypsilanti, MI, 48198                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7061
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 SS                                                                  Check all that apply.
                                                                                                                       56.15
                                                                                                                     $________________________________
 121 Gisela Dr                                                        Contingent
                                                                      Unliquidated
 American Canyon, CA, 94503                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1438 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7062
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             95.39
                                                                                                                     $________________________________
 Sabina Yi                                                            Contingent
 5275 Golden Sky Court                                                Unliquidated
                                                                      Disputed
 Columbia, MD, 21045
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7063
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       124.48
                                                                                                                     $________________________________
 Sabrina Thornton                                                    Check all that apply.
 203 LUNA VISTA DR                                                    Contingent
                                                                      Unliquidated
 HUTTO, TX, 78634                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7064
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sade Smith                                                          Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 1100 Calle del Cerro, Apt.24B                                        Contingent
                                                                      Unliquidated
 San Clemente, CA, 92672                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7065
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      99.98
                                                                                                                     $________________________________
 Sadie Fuller                                                        Check all that apply.
 7535 Ogemaw Dr                                                       Contingent
                                                                      Unliquidated
 Mount Pleasant, MI, 48858                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7066
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sadie Walkup                                                        Check all that apply.
                                                                                                                       69.45
                                                                                                                     $________________________________
 804 Canyon Wash Dr.                                                  Contingent
                                                                      Unliquidated
 Pasadena, CA, 91107                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1439 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7067
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             48.70
                                                                                                                     $________________________________
 Sahara Brown                                                         Contingent
 2443 Farm to Market Road 1488, 2005                                  Unliquidated
                                                                      Disputed
 Conroe, TX, 77384
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7068
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Sahara Stevenson                                                    Check all that apply.
 236 Etna St                                                          Contingent
                                                                      Unliquidated
 Russell, KY, 41169                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7069
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sahian Villegas                                                     Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 836 Papaya Street                                                    Contingent
                                                                      Unliquidated
 Madera, CA, 93638                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7070
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      696.76
                                                                                                                     $________________________________
 Sai wai To                                                          Check all that apply.
 22-15 Murray Street                                                  Contingent
                                                                      Unliquidated
 Whitestone, NY, 11357                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7071
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sakib Matin                                                         Check all that apply.
                                                                                                                       39.15
                                                                                                                     $________________________________
 30-53 69th St                                                        Contingent
                                                                      Unliquidated
 Woodside, NY, 11377                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1440 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7072
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.97
                                                                                                                     $________________________________
 Sakura Reyes                                                         Contingent
 565 Mountain View Drive, #6                                          Unliquidated
                                                                      Disputed
 Daly City, CA, 94014
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7073
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       73.92
                                                                                                                     $________________________________
 Sal Castellanos                                                     Check all that apply.
 3315 Auntine Burney Street                                           Contingent
                                                                      Unliquidated
 Sacramento, CA, 95838                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7074
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sal Perdichizzi                                                     Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 985 Jennings St                                                      Contingent
                                                                      Unliquidated
 Bronx, NY, 10460                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7075
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      46.70
                                                                                                                     $________________________________
 Saleem Sayage                                                       Check all that apply.
 1779 New York 106                                                    Contingent
                                                                      Unliquidated
 Syosset, NY, 11791                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7076
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Saleha Khan                                                         Check all that apply.
                                                                                                                       28.95
                                                                                                                     $________________________________
 3245 North Biggs Drive                                               Contingent
                                                                      Unliquidated
 Biggs, CA, 95917                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1441 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7077
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             202.96
                                                                                                                     $________________________________
 Salina Chan                                                          Contingent
 118 Glenwood Street                                                  Unliquidated
                                                                      Disputed
 Malden, MA, 2148
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7078
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.98
                                                                                                                     $________________________________
 SALINA RAMIREZ                                                      Check all that apply.
 11656 Warbler Way                                                    Contingent
                                                                      Unliquidated
 Moreno Valley, CA, 92557                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7079
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sally Aguilar                                                       Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 15356 Marburn                                                        Contingent
                                                                      Unliquidated
 Horizon City, TX, 79928                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7080
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      53.98
                                                                                                                     $________________________________
 Sally Cardaci                                                       Check all that apply.
 3420 Gulfshore Blvd north, Unit 21                                   Contingent
                                                                      Unliquidated
 Naples, FL, 34103                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7081
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sally Leigh                                                         Check all that apply.
                                                                                                                       45.99
                                                                                                                     $________________________________
 600 8th street                                                       Contingent
                                                                      Unliquidated
 Reedsburg, WI, 53959                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1442 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7082
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             41.99
                                                                                                                     $________________________________
 Sally Nguyen                                                         Contingent
 20690 Damman St                                                      Unliquidated
                                                                      Disputed
 Harper Woods, MI, 48225
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7083
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.65
                                                                                                                     $________________________________
 Salman Dass                                                         Check all that apply.
 128 Neptune Avenue, 5                                                Contingent
                                                                      Unliquidated
 Jersey City, NJ, 7305                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7084
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Salvador Arias                                                      Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 9649 Philta Way                                                      Contingent
                                                                      Unliquidated
 Elk Grove, CA, 95757-6201                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7085
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Salvador Cano                                                       Check all that apply.
 5419 Mavis Ave.                                                      Contingent
                                                                      Unliquidated
 Whittier, CA, 90601                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7086
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Salvador Heredia                                                    Check all that apply.
                                                                                                                       114.97
                                                                                                                     $________________________________
 700 El Caminito                                                      Contingent
                                                                      Unliquidated
 Livermore, CA, 94550                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                 1427
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1443 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7087
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.99
                                                                                                                     $________________________________
 Salvador Lerma                                                       Contingent
 2807 Posters way                                                     Unliquidated
                                                                      Disputed
 Bryan, TX, 77803
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7088
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.32
                                                                                                                     $________________________________
 Salvador Ramirez                                                    Check all that apply.
 118 S Homerest Ave                                                   Contingent
                                                                      Unliquidated
 West Covina, CA, 91791-1819                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7089
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Salvador Rodriguez                                                  Check all that apply.
                                                                                                                      60.90
                                                                                                                     $________________________________
 1310 s 57th ct                                                       Contingent
                                                                      Unliquidated
 Cicero, IL, 60804                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7090
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      164.99
                                                                                                                     $________________________________
 salvador salinas                                                    Check all that apply.
 1309 Caplin Street                                                   Contingent
                                                                      Unliquidated
 Houston, TX, 77022                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7091
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Salvador Torres                                                     Check all that apply.
                                                                                                                       19.47
                                                                                                                     $________________________________
 473 east 7th street                                                  Contingent
                                                                      Unliquidated
 reno, NV, 89512                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1444 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7092
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.75
                                                                                                                     $________________________________
 Salvatore Candido                                                    Contingent
 76 Bay 49th Street                                                   Unliquidated
                                                                      Disputed
 Brooklyn, NY, 11214
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7093
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.21
                                                                                                                     $________________________________
 Salvatore Iodice                                                    Check all that apply.
 4 Hopkins Ter                                                        Contingent
                                                                      Unliquidated
 Goshen, NY, 10924-2147                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7094
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sam Bellinghausen                                                   Check all that apply.
                                                                                                                      96.99
                                                                                                                     $________________________________
 101 Northwest 22nd Street                                            Contingent
                                                                      Unliquidated
 Blue Springs, MO, 64015                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7095
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Sam Favela                                                          Check all that apply.
 3422 Ridgepark St                                                    Contingent
                                                                      Unliquidated
 Caldwell, ID, 83605                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7096
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sam Fusani                                                          Check all that apply.
                                                                                                                       54.18
                                                                                                                     $________________________________
 647 Elm St, 1                                                        Contingent
                                                                      Unliquidated
 Wyandotte, MI, 48192                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1445 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7097
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.39
                                                                                                                     $________________________________
 Sam Garcia                                                           Contingent
 8861 Northwest 98th Avenue                                           Unliquidated
                                                                      Disputed
 Doral, FL, 33178
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7098
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       104.75
                                                                                                                     $________________________________
 sam woods                                                           Check all that apply.
 2141 count rd e carmi IL                                             Contingent
                                                                      Unliquidated
 carmi, IL, 62821                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7099
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samael Dietsch                                                      Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 4943 Pleasant street, 201                                            Contingent
                                                                      Unliquidated
 West Des Moines, IA, 50266                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7100
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      85.98
                                                                                                                     $________________________________
 Saman Mehrazar                                                      Check all that apply.
 318 E Fairview Blvd.                                                 Contingent
                                                                      Unliquidated
 Inglewood, CA, 90302                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7101
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Saman Mehrazar                                                      Check all that apply.
                                                                                                                       49.98
                                                                                                                     $________________________________
 318 East Fairview Boulevard                                          Contingent
                                                                      Unliquidated
 Inglewood, CA, 90302                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7102
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             53.99
                                                                                                                     $________________________________
 Samantha Pizano                                                      Contingent
 Po box 10224                                                         Unliquidated
                                                                      Disputed
 Salinas, CA, 93912
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7103
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.05
                                                                                                                     $________________________________
 Samantha Blackowl                                                   Check all that apply.
 1165 Shelly Rd                                                       Contingent
                                                                      Unliquidated
 Yukon, OK, 73099                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7104
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samantha C Heiser                                                   Check all that apply.
                                                                                                                      31.56
                                                                                                                     $________________________________
 24 Rosedale Avenue                                                   Contingent
                                                                      Unliquidated
 Barrington, RI, 2806                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7105
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.93
                                                                                                                     $________________________________
 SAMANTHA CARRIZALES                                                 Check all that apply.
 4807 GONDOLA AVE                                                     Contingent
                                                                      Unliquidated
 EDINBURG, TX, 78542                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7106
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samantha Carter                                                     Check all that apply.
                                                                                                                       45.14
                                                                                                                     $________________________________
 357 N Milstead                                                       Contingent
                                                                      Unliquidated
 Wichita, KS, 67212                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7107
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.98
                                                                                                                     $________________________________
 Samantha Chian                                                       Contingent
 4561 Halfway Rock St                                                 Unliquidated
                                                                      Disputed
 Las Vegas, NV, 89147
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7108
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.99
                                                                                                                     $________________________________
 Samantha Defreitas                                                  Check all that apply.
 60 Bridge Street, Apt 3                                              Contingent
                                                                      Unliquidated
 Salem, MA, 1970                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7109
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samantha Delfino                                                    Check all that apply.
                                                                                                                      83.99
                                                                                                                     $________________________________
 160-51 90th Street                                                   Contingent
                                                                      Unliquidated
 Queens, NY, 11414                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7110
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Samantha Dews                                                       Check all that apply.
 10314 Strathmore Hall Street, APT 401                                Contingent
                                                                      Unliquidated
 North Bethesda, MD, 20852                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7111
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 samantha Dohring                                                    Check all that apply.
                                                                                                                       47.98
                                                                                                                     $________________________________
 4800 SW 196th Ln                                                     Contingent
                                                                      Unliquidated
 Southwest Ranches, FL, 33332                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7112
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.47
                                                                                                                     $________________________________
 Samantha Evjen                                                       Contingent
 15014 Stablewood Downs Lane                                          Unliquidated
                                                                      Disputed
 Cypress, TX, 77429
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7113
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.79
                                                                                                                     $________________________________
 Samantha Gerleman                                                   Check all that apply.
 10911 Amherst Ave #521                                               Contingent
                                                                      Unliquidated
 Silver Spring, MD, 20902                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7114
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samantha Gonzalez                                                   Check all that apply.
                                                                                                                      86.00
                                                                                                                     $________________________________
 1629 Williamsbridge Rd, Rear Apt                                     Contingent
                                                                      Unliquidated
 Bronx, NY, 10461                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7115
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8.99
                                                                                                                     $________________________________
 Samantha Johnson                                                    Check all that apply.
 309 Highland Meadows Dr                                              Contingent
                                                                      Unliquidated
 Wylie, TX, 75098                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7116
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samantha Kahns                                                      Check all that apply.
                                                                                                                       12.91
                                                                                                                     $________________________________
 1741 Sierra Norte Loop NE                                            Contingent
                                                                      Unliquidated
 Rio Rancho, NM, 87144-2526                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7117
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.93
                                                                                                                     $________________________________
 Samantha Kosina                                                      Contingent
 1238 W Seascape Dr                                                   Unliquidated
                                                                      Disputed
 Gilbert, AZ, 85233
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7118
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Samantha McNulty                                                    Check all that apply.
 21 Hawthorn Road                                                     Contingent
                                                                      Unliquidated
 Braintree, MA, 2184                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7119
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 samantha moosman                                                    Check all that apply.
                                                                                                                      16.01
                                                                                                                     $________________________________
 829 s 1030 w                                                         Contingent
                                                                      Unliquidated
 richfield, UT, 84701                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7120
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.98
                                                                                                                     $________________________________
 Samantha Ocura                                                      Check all that apply.
 1811 West Ansley Boulevard                                           Contingent
                                                                      Unliquidated
 San Antonio, TX, 78224                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7121
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samantha Price                                                      Check all that apply.
                                                                                                                       96.06
                                                                                                                     $________________________________
 110 Lanyard Dr, Unit A                                               Contingent
                                                                      Unliquidated
 Mooresville, NC, 28117                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1450 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7122
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             127.79
                                                                                                                     $________________________________
 Samantha Sanchez                                                     Contingent
 3356 Rodrick cir.                                                    Unliquidated
                                                                      Disputed
 orlando, FL, 32824
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7123
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.05
                                                                                                                     $________________________________
 Samantha Sark                                                       Check all that apply.
 5502 Dock Side Court                                                 Contingent
                                                                      Unliquidated
 BAKERSFIELD, CA, 93312                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7124
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samantha Sellers                                                    Check all that apply.
                                                                                                                      31.09
                                                                                                                     $________________________________
 3267 TACKETT ST                                                      Contingent
                                                                      Unliquidated
 Springfield, OH, 45503                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7125
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65.61
                                                                                                                     $________________________________
 Samantha Skinner                                                    Check all that apply.
 350 Barack Obama Blvd, 314                                           Contingent
                                                                      Unliquidated
 San Jose, CA, 95126                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7126
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samantha Spears                                                     Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 103 12th Ave, 505                                                    Contingent
                                                                      Unliquidated
 Seattle, WA, 98122                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1451 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7127
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.99
                                                                                                                     $________________________________
 Samantha Thomas                                                      Contingent
 718 greyrock rd                                                      Unliquidated
                                                                      Disputed
 whitsett, NC, 27377
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7128
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       131.01
                                                                                                                     $________________________________
 Samantha Tomlin                                                     Check all that apply.
 1316 County Highway 5                                                Contingent
                                                                      Unliquidated
 Hayden, AL, 35079                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7129
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sami Riley                                                          Check all that apply.
                                                                                                                      27.05
                                                                                                                     $________________________________
 121 Cedar Creek Dr                                                   Contingent
                                                                      Unliquidated
 Huntington, TX, 75949                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7130
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      102.11
                                                                                                                     $________________________________
 Samira Sarakbi                                                      Check all that apply.
 866 Collinswood Drive                                                Contingent
                                                                      Unliquidated
 Jacksonville, FL, 32225                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7131
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sammy Hecker                                                        Check all that apply.
                                                                                                                       31.98
                                                                                                                     $________________________________
 511 Little Mill Road                                                 Contingent
                                                                      Unliquidated
 Monroeville, NJ, 8343                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7132
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.76
                                                                                                                     $________________________________
 Sammy Vaysman                                                        Contingent
 1817 E 29th St                                                       Unliquidated
                                                                      Disputed
 Brooklyn, NY, 11229
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7133
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.99
                                                                                                                     $________________________________
 Sampson Austin                                                      Check all that apply.
 630 w teft st Unit 1584                                              Contingent
                                                                      Unliquidated
 Nipomo, CA, 93444                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7134
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samuel Albright                                                     Check all that apply.
                                                                                                                      82.84
                                                                                                                     $________________________________
 1326 Drake Way                                                       Contingent
                                                                      Unliquidated
 Carson City , NV, 89701                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7135
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.88
                                                                                                                     $________________________________
 Samuel Arevalo                                                      Check all that apply.
 436 S Saint Augustine, Apt 1064                                      Contingent
                                                                      Unliquidated
 Dallas, TX, 75217                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7136
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samuel Bird                                                         Check all that apply.
                                                                                                                       15.98
                                                                                                                     $________________________________
 123 Route 70, Apt 2103                                               Contingent
                                                                      Unliquidated
 Evesham, NJ, 8053                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7137
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.74
                                                                                                                     $________________________________
 Samuel Cooke                                                         Contingent
 1875 Stegall Ln                                                      Unliquidated
                                                                      Disputed
 Fort Mill, SC, 29715
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7138
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 samuel hilborn                                                      Check all that apply.
 645 manzanita lane                                                   Contingent
                                                                      Unliquidated
 reno, NV, 89509                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7139
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samuel Jayden Mendoza                                               Check all that apply.
                                                                                                                      31.98
                                                                                                                     $________________________________
 11A Colfax Manor                                                     Contingent
                                                                      Unliquidated
 Roselle Park, NJ, 7204                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7140
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.76
                                                                                                                     $________________________________
 Samuel Kok                                                          Check all that apply.
 101 South Marguerita Avenue, Apt. A                                  Contingent
                                                                      Unliquidated
 Alhambra, CA, 91801                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7141
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samuel McCoucha                                                     Check all that apply.
                                                                                                                       33.05
                                                                                                                     $________________________________
 1438A Corona Drive                                                   Contingent
                                                                      Unliquidated
 Glendale, CA, 91205                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7142
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.05
                                                                                                                     $________________________________
 Samuel Moran                                                         Contingent
 628 West Hemlock Street                                              Unliquidated
                                                                      Disputed
 Port Hueneme, CA, 93041
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7143
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       309.56
                                                                                                                     $________________________________
 Samuel Pruyn                                                        Check all that apply.
 3922 Karrywood Ct                                                    Contingent
                                                                      Unliquidated
 Pearland, TX, 77584                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7144
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Samuel Vargas                                                       Check all that apply.
                                                                                                                      51.98
                                                                                                                     $________________________________
 6307 S Miramonte Blvd, Apt D unit D                                  Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90001                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7145
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.13
                                                                                                                     $________________________________
 Samuel Welchel                                                      Check all that apply.
 5707 Goodman Lane                                                    Contingent
                                                                      Unliquidated
 Oklahoma City, OK, 73129                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7146
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 San Diego Comic Convention                                          Check all that apply.
                                                                                                                       33,400.00
                                                                                                                     $________________________________
 PO Box 128458                                                        Contingent
                                                                      Unliquidated
 San Diego, CA, 92112-8458                                            Disputed
                                                                     Basis for the claim: Trade Payables



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7147
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.15
                                                                                                                     $________________________________
 Sanaa Bonet                                                          Contingent
 123 Gilroy Avenue                                                    Unliquidated
                                                                      Disputed
 Uniondale, NY, 11553
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7148
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.04
                                                                                                                     $________________________________
 Sand Phan                                                           Check all that apply.
 2636 Doreen Ave                                                      Contingent
                                                                      Unliquidated
 El Monte, CA, 91733                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7149
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sandra Campbell                                                     Check all that apply.
                                                                                                                      15.89
                                                                                                                     $________________________________
 102 Great Laurel Sq. SE                                              Contingent
                                                                      Unliquidated
 Leesburg, VA, 20175                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7150
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.30
                                                                                                                     $________________________________
 Sandra Espinosa                                                     Check all that apply.
 19 Harrington Street                                                 Contingent
                                                                      Unliquidated
 Courtdale, PA, 18704                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7151
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sandra Jimenez                                                      Check all that apply.
                                                                                                                       60.60
                                                                                                                     $________________________________
 2905 N. Troy                                                         Contingent
                                                                      Unliquidated
 Chicago, IL, 60618                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7152
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Sandra Juarez                                                        Contingent
 13110 Samprisi Ave                                                   Unliquidated
                                                                      Disputed
 Victorville, CA, 92392
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7153
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.99
                                                                                                                     $________________________________
 Sandra Molina                                                       Check all that apply.
 1180 S Bristol St, STE 111                                           Contingent
                                                                      Unliquidated
 Santa Ana, CA, 92704                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7154
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sandra Mollette                                                     Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 3018 Laconia Ave                                                     Contingent
                                                                      Unliquidated
 Bronx, NY, 10469                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7155
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.19
                                                                                                                     $________________________________
 Sandra Sharpe                                                       Check all that apply.
 124 Maple Street                                                     Contingent
                                                                      Unliquidated
 Massena, NY, 13662                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7156
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sandralee Sanchez                                                   Check all that apply.
                                                                                                                       37.35
                                                                                                                     $________________________________
 13284 Mengas St , Unit D                                             Contingent
                                                                      Unliquidated
 El Paso, TX, 79908                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1457 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7157
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.58
                                                                                                                     $________________________________
 Sandy Cuellar                                                        Contingent
 29600 east Colfax Ave lot 167                                        Unliquidated
                                                                      Disputed
 Aurora, CO, 80018
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7158
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.96
                                                                                                                     $________________________________
 Sandy Eddington                                                     Check all that apply.
 14170 Torrey Pines Drive                                             Contingent
                                                                      Unliquidated
 Auburn, CA, 95602                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7159
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sandy Logsdon                                                       Check all that apply.
                                                                                                                      16.04
                                                                                                                     $________________________________
 1214 Raspberry Way                                                   Contingent
                                                                      Unliquidated
 Jeffersonville, IN, 47130                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7160
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.98
                                                                                                                     $________________________________
 Sandy Switzer                                                       Check all that apply.
 434 Farrington Drive                                                 Contingent
                                                                      Unliquidated
 Lincolnshire, IL, 60069                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7161
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sandy Trinh                                                         Check all that apply.
                                                                                                                       15.70
                                                                                                                     $________________________________
 155 N Beretania St #1603                                             Contingent
                                                                      Unliquidated
 Honolulu, HI, 96817                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1458 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7162
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             6.39
                                                                                                                     $________________________________
 Sandy Turnbull                                                       Contingent
 98 Lewis St                                                          Unliquidated
                                                                      Disputed
 Phillipsburg, NJ, 08865-2927
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7163
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.00
                                                                                                                     $________________________________
 Sandy Vo                                                            Check all that apply.
 8382 WESTMINSTER BLVD, APT 16, APT 16                                Contingent
                                                                      Unliquidated
 WESTMINSTER, CA, 92683                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7164
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Santiago Avila                                                      Check all that apply.
                                                                                                                      42.89
                                                                                                                     $________________________________
 11309 Medina Ct                                                      Contingent
                                                                      Unliquidated
 El Monte, CA, 91731                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7165
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.83
                                                                                                                     $________________________________
 Santiago Maza                                                       Check all that apply.
 108 Hover Creek Rd                                                   Contingent
                                                                      Unliquidated
 Savannah, GA, 31419                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7166
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Santiago Rodriguez                                                  Check all that apply.
                                                                                                                       30.30
                                                                                                                     $________________________________
 322 Villa Canto Street                                               Contingent
                                                                      Unliquidated
 El Paso, TX, 79912                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1459 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7167
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.00
                                                                                                                     $________________________________
 Sara Atrach                                                          Contingent
 145 Central Avenue                                                   Unliquidated
                                                                      Disputed
 Ridgefield Park, NJ, 7660
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7168
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       68.03
                                                                                                                     $________________________________
 Sara Bhagwan                                                        Check all that apply.
 6625 morningsgate cv                                                 Contingent
                                                                      Unliquidated
 Memphis, TN, 38135                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7169
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sara Burkart                                                        Check all that apply.
                                                                                                                      13.99
                                                                                                                     $________________________________
 4070 Crest Lane                                                      Contingent
                                                                      Unliquidated
 Lake Havasu City, AZ, 86406                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7170
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.76
                                                                                                                     $________________________________
 Sara Diaz                                                           Check all that apply.
 2122 South Washtenaw Avenue                                          Contingent
                                                                      Unliquidated
 Chicago, IL, 60608                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7171
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sara DiGenova                                                       Check all that apply.
                                                                                                                       36.03
                                                                                                                     $________________________________
 23 Wheatfield Circle                                                 Contingent
                                                                      Unliquidated
 Bluffton, SC, 29910                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1460 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7172
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.86
                                                                                                                     $________________________________
 Sara Lipka                                                           Contingent
 2820 West Covered Bridge Drive                                       Unliquidated
                                                                      Disputed
 Lincoln, NE, 68523
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7173
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.98
                                                                                                                     $________________________________
 Sara Perugini                                                       Check all that apply.
 127 Monmouth Avenue                                                  Contingent
                                                                      Unliquidated
 Waterbury, CT, 6704                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7174
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sara Piersainvil                                                    Check all that apply.
                                                                                                                      57.56
                                                                                                                     $________________________________
 749 SCOTLAND RD, 6k                                                  Contingent
                                                                      Unliquidated
 Orange, NJ, 7050                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7175
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      141.98
                                                                                                                     $________________________________
 Sara Sims                                                           Check all that apply.
 1112 Corinth Greens Dr                                               Contingent
                                                                      Unliquidated
 Sun City Ctr, FL, 33573-8065                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7176
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sara Wells                                                          Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 12 Coventry lane                                                     Contingent
                                                                      Unliquidated
 ANDOVER, MA, 1810                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1461 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7177
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.86
                                                                                                                     $________________________________
 Sarah Barnett Thompson Thompson                                      Contingent
 822 Oak Drive                                                        Unliquidated
                                                                      Disputed
 Marion, OH, 43302
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7178
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       63.91
                                                                                                                     $________________________________
 Sarah Cannon                                                        Check all that apply.
 806 Hearthstone Drive                                                Contingent
                                                                      Unliquidated
 Lakewood, NJ, 8701                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7179
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Chandler                                                      Check all that apply.
                                                                                                                      25.67
                                                                                                                     $________________________________
 18338 Lake Winds Dr.                                                 Contingent
                                                                      Unliquidated
 Westfield, IN, 46074                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7180
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                     $________________________________
 Sarah Cole                                                          Check all that apply.
 7280 Acorn Ave                                                       Contingent
                                                                      Unliquidated
 Sparta, WI, 54656                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7181
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Coleman                                                       Check all that apply.
                                                                                                                       455.97
                                                                                                                     $________________________________
 9265 Pine St                                                         Contingent
                                                                      Unliquidated
 Taylor, MI, 48180-3419                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1462 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7182
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Sarah Crafton                                                        Contingent
 5130 90th Place Northeast                                            Unliquidated
                                                                      Disputed
 Marysville, WA, 98270
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7183
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.00
                                                                                                                     $________________________________
 Sarah DeLeon                                                        Check all that apply.
 5001 Sheridan St, APT C49                                            Contingent
                                                                      Unliquidated
 Davenport, IA, 52806                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7184
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Delgado                                                       Check all that apply.
                                                                                                                      463.93
                                                                                                                     $________________________________
 5403 W Poinsettia Dr                                                 Contingent
                                                                      Unliquidated
 Glendale, AZ, 85304                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7185
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Sarah Dennis                                                        Check all that apply.
 12 Lincklaen Terrace                                                 Contingent
                                                                      Unliquidated
 Cazenovia, NY, 13035                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7186
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Duffy                                                         Check all that apply.
                                                                                                                       39.21
                                                                                                                     $________________________________
 610 Fairview Avenue                                                  Contingent
                                                                      Unliquidated
 Feasterville-Trevose, PA, 19053                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1463 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7187
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Sarah Edmiston                                                       Contingent
 137 Palm Circle                                                      Unliquidated
                                                                      Disputed
 Melbourne, FL, 32940
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7188
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.99
                                                                                                                     $________________________________
 Sarah Glinka                                                        Check all that apply.
 32 Arbor Ridge Lane                                                  Contingent
                                                                      Unliquidated
 Centereach, NY, 11720                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7189
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 SARAH GOEHRING                                                      Check all that apply.
                                                                                                                      23.99
                                                                                                                     $________________________________
 7476 Comet View Court                                                Contingent
                                                                      Unliquidated
 San Diego, CA, 92120                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7190
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.52
                                                                                                                     $________________________________
 Sarah Goldacker                                                     Check all that apply.
 34876 Silversprings Place                                            Contingent
                                                                      Unliquidated
 Murrieta, CA, 92563                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7191
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Gonzalez                                                      Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 HC5 56624                                                            Contingent
                                                                      Unliquidated
 San Sebastian, PR, 685                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7192
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.29
                                                                                                                     $________________________________
 Sarah Krull                                                          Contingent
 70 Rosedale Apartments, 70                                           Unliquidated
                                                                      Disputed
 Hershey, PA, 17033
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7193
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       18.99
                                                                                                                     $________________________________
 Sarah Martinez                                                      Check all that apply.
 2911 Ruby Dr, Unit H                                                 Contingent
                                                                      Unliquidated
 Fullerton, CA, 92831                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7194
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Martuscello                                                   Check all that apply.
                                                                                                                      25.90
                                                                                                                     $________________________________
 2358 Hunt Road                                                       Contingent
                                                                      Unliquidated
 Camillus, NY, 13031                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7195
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.01
                                                                                                                     $________________________________
 Sarah McGehearty                                                    Check all that apply.
 2223 S 48TH ST, STE A/B                                              Contingent
                                                                      Unliquidated
 TEMPE, AZ, 85282                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7196
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Murphree                                                      Check all that apply.
                                                                                                                       129.99
                                                                                                                     $________________________________
 3626 Bickerstaff Rd Apt D                                            Contingent
                                                                      Unliquidated
 Lafayette, CA, 94549                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7197
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 SARAH NAKIHEI                                                        Contingent
 620 112th Street Southeast, Trailer 340                              Unliquidated
                                                                      Disputed
 Everett, WA, 98208
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7198
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.99
                                                                                                                     $________________________________
 Sarah Noble                                                         Check all that apply.
 42560 Adelbert Street                                                Contingent
                                                                      Unliquidated
 Elyria, OH, 44035                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7199
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah O'Leary                                                       Check all that apply.
                                                                                                                      50.98
                                                                                                                     $________________________________
 14 Constantine Ct                                                    Contingent
                                                                      Unliquidated
 Athens, NY, 12015                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7200
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.32
                                                                                                                     $________________________________
 Sarah Pannenberg                                                    Check all that apply.
 560 West 144th Street, Apt 66A                                       Contingent
                                                                      Unliquidated
 New York, NY, 10031                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7201
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Petersen                                                      Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 9 Kellie Ann Court                                                   Contingent
                                                                      Unliquidated
 Seekonk, MA, 2771                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7202
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.99
                                                                                                                     $________________________________
 Sarah Rahim                                                          Contingent
 11830 Montella Dr                                                    Unliquidated
                                                                      Disputed
 Rancho Cucamonga, CA, 91701
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7203
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Sarah Rajala                                                        Check all that apply.
 53 Spring St                                                         Contingent
                                                                      Unliquidated
 Windsor Locks, CT, 06096-2328                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7204
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Read                                                          Check all that apply.
                                                                                                                      35.05
                                                                                                                     $________________________________
 51 SARATOGA DR                                                       Contingent
                                                                      Unliquidated
 Pittsfield, MA, MA, 1201                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7205
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.67
                                                                                                                     $________________________________
 Sarah Rohde                                                         Check all that apply.
 9449 Sandy Reef Ave, Unit B                                          Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89147                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7206
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Sastoque                                                      Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 122 Turner Creek Drive                                               Contingent
                                                                      Unliquidated
 Hampton, GA, 30228                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7207
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.30
                                                                                                                     $________________________________
 Sarah Sloan                                                          Contingent
 1925 University Park Dr, Apt 203                                     Unliquidated
                                                                      Disputed
 Westville, IN, 46391-9341
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7208
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Sarah Sotsuda                                                       Check all that apply.
 921 Hickory Street                                                   Contingent
                                                                      Unliquidated
 Great Falls, MT, 59405                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7209
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Stelly                                                        Check all that apply.
                                                                                                                      168.84
                                                                                                                     $________________________________
 3307 Stillhouse Lake Rd., TRLR 27                                    Contingent
                                                                      Unliquidated
 Harker Heights, TX, 76548                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7210
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      44.97
                                                                                                                     $________________________________
 Sarah Terry                                                         Check all that apply.
 605 Sinewell Drive                                                   Contingent
                                                                      Unliquidated
 Wake Forest, NC, 27587                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7211
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 sarah thompson                                                      Check all that apply.
                                                                                                                       13.84
                                                                                                                     $________________________________
 7340 Princeton rd                                                    Contingent
                                                                      Unliquidated
 MIDDLETOWN, OH, 45044-9794                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7212
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.20
                                                                                                                     $________________________________
 Sarah Webster                                                        Contingent
 2866 Surfside Shores Ln                                              Unliquidated
                                                                      Disputed
 Knoxville, TN, 37938
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7213
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.99
                                                                                                                     $________________________________
 sarah whitney                                                       Check all that apply.
 339526 e 1030 rd                                                     Contingent
                                                                      Unliquidated
 meeker, OK, 74855                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7214
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarah Wornom                                                        Check all that apply.
                                                                                                                      84.79
                                                                                                                     $________________________________
 309 Woodside Drive                                                   Contingent
                                                                      Unliquidated
 Hampton, VA, 23669                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7215
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.31
                                                                                                                     $________________________________
 sarahlynn conley                                                    Check all that apply.
 7617Lipizzan Rd                                                      Contingent
                                                                      Unliquidated
 Oklahoma city, OK, 73132                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7216
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sarahy Vasquez                                                      Check all that apply.
                                                                                                                       29.56
                                                                                                                     $________________________________
 3320 Pasadena Avenue                                                 Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90031                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7217
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             89.97
                                                                                                                     $________________________________
 Sarina Singh                                                         Contingent
 50 S Grant Ave Apt 320                                               Unliquidated
                                                                      Disputed
 Columbus, OH, 43215-3938
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7218
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       52.91
                                                                                                                     $________________________________
 Sarnai Gankhuyag                                                    Check all that apply.
 2835 West Balmoral Avenue, Apt 1W                                    Contingent
                                                                      Unliquidated
 Chicago, IL, 60625                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7219
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sasha Murphy                                                        Check all that apply.
                                                                                                                      29.99
                                                                                                                     $________________________________
 15224 windmill ridge parkway                                         Contingent
                                                                      Unliquidated
 Diberville, MS, 39540                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7220
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Sasha Rue                                                           Check all that apply.
 5404 4th Avenue                                                      Contingent
                                                                      Unliquidated
 Valparaiso, IN, 46383                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7221
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Saul Barrera                                                        Check all that apply.
                                                                                                                       12.98
                                                                                                                     $________________________________
 4455 Bessie Dr.                                                      Contingent
                                                                      Unliquidated
 Dallas, TX, 75211                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7222
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             8.99
                                                                                                                     $________________________________
 Saul Figueroa                                                        Contingent
 6106 Vinevale Avenue                                                 Unliquidated
                                                                      Disputed
 Maywood, CA, 90270
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7223
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       41.99
                                                                                                                     $________________________________
 Saul Nava-Contreras                                                 Check all that apply.
 6581 Ozzie Harriet Avenue                                            Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89122                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7224
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Saul Ramirez                                                        Check all that apply.
                                                                                                                      127.99
                                                                                                                     $________________________________
 26 Trader Street                                                     Contingent
                                                                      Unliquidated
 Uniontown, PA, 15401                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7225
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Savanah Nehls                                                       Check all that apply.
 2505 30th st dr NE                                                   Contingent
                                                                      Unliquidated
 Hickory, NC, 28601                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7226
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Savannah Barnes                                                     Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 302 North Pleasant Street                                            Contingent
                                                                      Unliquidated
 Oberlin, OH, 44074                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7227
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.95
                                                                                                                     $________________________________
 Savannah Wagner                                                      Contingent
 1223 Harley Cir.                                                     Unliquidated
                                                                      Disputed
 STARKE, FL, 32091
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7228
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       112.98
                                                                                                                     $________________________________
 Savannah Walker                                                     Check all that apply.
 20337 Caron Circle                                                   Contingent
                                                                      Unliquidated
 Carson, CA, 90746                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7229
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Savas Tasiopoulos                                                   Check all that apply.
                                                                                                                      23.45
                                                                                                                     $________________________________
 420 Sheridan Place, Apartment 15                                     Contingent
                                                                      Unliquidated
 Fairview, NJ, 7022                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7230
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      71.52
                                                                                                                     $________________________________
 Sawie Barrios                                                       Check all that apply.
 5417 Michelleanne Road                                               Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89107                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7231
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 sayla russell-blake                                                 Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 6 Naskeag Point Road                                                 Contingent
                                                                      Unliquidated
 Brooklin, ME, 4616                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1472 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7232
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.99
                                                                                                                     $________________________________
 Schaine Carter                                                       Contingent
 2802 James Hamilton Road                                             Unliquidated
                                                                      Disputed
 Monroe, NC, 28110
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7233
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.99
                                                                                                                     $________________________________
 scott merkle                                                        Check all that apply.
 po box 223                                                           Contingent
                                                                      Unliquidated
 vandalia, OH, 45377-0223                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7234
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Barker                                                        Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 12 Pratt Lane                                                        Contingent
                                                                      Unliquidated
 North Attleborough, MA, 2760                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7235
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 scott bickler                                                       Check all that apply.
 1810 peachtree drive                                                 Contingent
                                                                      Unliquidated
 valparaiso, IN, 46383                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7236
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Braden                                                        Check all that apply.
                                                                                                                       20.13
                                                                                                                     $________________________________
 196 Winners Circle                                                   Contingent
                                                                      Unliquidated
 Red Lion, PA, 17356                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7237
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             91.97
                                                                                                                     $________________________________
 Scott Carroll                                                        Contingent
 1046 Carter Dr                                                       Unliquidated
                                                                      Disputed
 CHATTANOOGA, TN, 37415-5602
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7238
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       101.98
                                                                                                                     $________________________________
 Scott Chapin                                                        Check all that apply.
 6418 SE 83rd Ave                                                     Contingent
                                                                      Unliquidated
 Portland, OR, 97266                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7239
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Clevenger                                                     Check all that apply.
                                                                                                                      12.71
                                                                                                                     $________________________________
 1621 Pilgrim Ct                                                      Contingent
                                                                      Unliquidated
 Johnstown, PA, 15905                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7240
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.98
                                                                                                                     $________________________________
 Scott Crocker                                                       Check all that apply.
 340 North 8th Street                                                 Contingent
                                                                      Unliquidated
 Lewiston, NY, 14092                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7241
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Frix                                                          Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 2522 Maplewood Drive                                                 Contingent
                                                                      Unliquidated
 Gastonia, NC, 28052                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1474 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7242
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             128.81
                                                                                                                     $________________________________
 Scott Greve                                                          Contingent
 21827 Dolomite                                                       Unliquidated
                                                                      Disputed
 San Antonio, TX, 78259
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7243
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Scott Hall                                                          Check all that apply.
 2585 S Orion st                                                      Contingent
                                                                      Unliquidated
 Denver, CO, 80228                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7244
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Helm                                                          Check all that apply.
                                                                                                                      15.81
                                                                                                                     $________________________________
 W204N17221 Jackson Drive                                             Contingent
                                                                      Unliquidated
 Jackson, WI, 53037                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7245
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.11
                                                                                                                     $________________________________
 SCOTT HOLLOMAN                                                      Check all that apply.
 4105 CABORN RD N                                                     Contingent
                                                                      Unliquidated
 MOUNT VERNON, IN, 47620                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7246
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Irvin                                                         Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 975 Mineral Springs Road                                             Contingent
                                                                      Unliquidated
 Buffalo, NY, 14224                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7247
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Scott Johnson                                                        Contingent
 W4790 Palmer Rd                                                      Unliquidated
                                                                      Disputed
 Lake Geneva, WI, 53147-2626
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7248
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       46.90
                                                                                                                     $________________________________
 Scott Kane                                                          Check all that apply.
 15 N 12th Ave                                                        Contingent
                                                                      Unliquidated
 Manville, NJ, 8835                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7249
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Kelley                                                        Check all that apply.
                                                                                                                      203.05
                                                                                                                     $________________________________
 3454 providence rd                                                   Contingent
                                                                      Unliquidated
 Hayes , VA, 23072                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7250
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.98
                                                                                                                     $________________________________
 Scott Kramer                                                        Check all that apply.
 3905 W 123RD ST, 304B                                                Contingent
                                                                      Unliquidated
 Alsip, IL, 60803                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7251
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Larson                                                        Check all that apply.
                                                                                                                       12.75
                                                                                                                     $________________________________
 108 Long Hill Road                                                   Contingent
                                                                      Unliquidated
 Middletown, CT, 6457                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7252
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             142.20
                                                                                                                       $________________________________
 Scott Miller                                                           Contingent
 7429 Patricks Ln, Apt 62                                               Unliquidated
                                                                        Disputed
 Citrus Heights, CA, 95610
                                                                       Basis for the claim: Customers with Outstanding Deposits



                                                                       Is the claim subject to offset?
         Date or dates debt was incurred        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
         Last 4 digits of account number        ___________________
  7253
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         34.99
                                                                                                                       $________________________________
 Scott Mills                                                           Check all that apply.
 1909 Main Street #305                                                  Contingent
                                                                        Unliquidated
 Oregon City, OR, 97045                                                 Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        ___________________
                                                                       
                                                                       ✔
                                                                         No
                                                                        Yes
  7254
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Scott Mittledorf                                                      Check all that apply.
                                                                                                                        32.99
                                                                                                                       $________________________________
 Po box 2576                                                            Contingent
                                                                        Unliquidated
 Overton, NV, 89040                                                     Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
         Last 4 digits of account number        __________________     
                                                                       ✔
                                                                         No
                                                                        Yes
  7255
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        58.97
                                                                                                                       $________________________________
 SCOTT NIELSEN                                                         Check all that apply.
 2695 BROADWAY                                                          Contingent
                                                                        Unliquidated
 SAN DIEGO, CA, 92102                                                   Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes
  7256
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Scott Norman                                                          Check all that apply.
                                                                                                                         28.09
                                                                                                                       $________________________________
 224 Cunningham Road                                                    Contingent
                                                                        Unliquidated
 Kelso, WA, 98626                                                       Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                         No
         Last 4 digits of account number        ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7257
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             18.22
                                                                                                                     $________________________________
 Scott Petersen                                                       Contingent
 7537 Blanchard Boulevard                                             Unliquidated
                                                                      Disputed
 Lincoln, NE, 68516
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7258
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.96
                                                                                                                     $________________________________
 Scott Pryor                                                         Check all that apply.
 13942 POPLAR GROVE RD                                                Contingent
                                                                      Unliquidated
 Hagerstown, MD, 21742                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7259
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Puckett                                                       Check all that apply.
                                                                                                                      129.99
                                                                                                                     $________________________________
 3 Fieldcrest Road                                                    Contingent
                                                                      Unliquidated
 Fredericksburg, VA, 22406                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7260
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Scott Putman                                                        Check all that apply.
 712 Eaton Ave                                                        Contingent
                                                                      Unliquidated
 Middletown, OH, 45044                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7261
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Rife                                                          Check all that apply.
                                                                                                                       41.97
                                                                                                                     $________________________________
 1768 Harding Hwy E                                                   Contingent
                                                                      Unliquidated
 Caledonia, OH, 43314                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7262
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             244.92
                                                                                                                     $________________________________
 Scott Silva                                                          Contingent
 1720 West Trout Way                                                  Unliquidated
                                                                      Disputed
 Mustang, OK, 73064
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7263
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.23
                                                                                                                     $________________________________
 Scott Spasiano                                                      Check all that apply.
 1804 N 17th Ave Apt 202                                              Contingent
                                                                      Unliquidated
 Hollywood, FL, 33020                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7264
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Taylor                                                        Check all that apply.
                                                                                                                      37.99
                                                                                                                     $________________________________
 550 West Washington Street, Box 203                                  Contingent
                                                                      Unliquidated
 Upland, IN, 46989                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7265
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.91
                                                                                                                     $________________________________
 Scott Vielman                                                       Check all that apply.
 4501 Addy St, #149                                                   Contingent
                                                                      Unliquidated
 Washougal, WA, 98671                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7266
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Wilco                                                         Check all that apply.
                                                                                                                       34.97
                                                                                                                     $________________________________
 290 Hatteras Court                                                   Contingent
                                                                      Unliquidated
 Virginia Beach, VA, 23462                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7267
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Scott Yang                                                           Contingent
 2686 E Pacific Ct                                                    Unliquidated
                                                                      Disputed
 Brea, CA, 92821
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7268
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.99
                                                                                                                     $________________________________
 SCOTT ZEMBERI                                                       Check all that apply.
 2608 Autumn Harvest Dr                                               Contingent
                                                                      Unliquidated
 LOVELAND, OH, 45140                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7269
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Se Won Kim                                                          Check all that apply.
                                                                                                                      50.87
                                                                                                                     $________________________________
 3517 Sharonwood Rd APT 4C                                            Contingent
                                                                      Unliquidated
 Laurel, MD, 20724                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7270
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.62
                                                                                                                     $________________________________
 Seagren Johnson                                                     Check all that apply.
 4124 HARRISON AVE, APT 204                                           Contingent
                                                                      Unliquidated
 ROCKFORD, IL, 61108-7981                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7271
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sean Bennett                                                        Check all that apply.
                                                                                                                       35.99
                                                                                                                     $________________________________
 1100 Fairview Ave N , Room C3-123                                    Contingent
                                                                      Unliquidated
 Seattle, WA, 98109                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1480 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7272
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.98
                                                                                                                     $________________________________
 Sean Bowsher                                                         Contingent
 468 Maple Ave.                                                       Unliquidated
                                                                      Disputed
 Amherst, OH, 44001
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7273
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.00
                                                                                                                     $________________________________
 Sean Brautigan                                                      Check all that apply.
 57 South Main Street, 145                                            Contingent
                                                                      Unliquidated
 Neptune City, NJ, 7753                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7274
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sean Bray                                                           Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 862 Beverly Rd                                                       Contingent
                                                                      Unliquidated
 Jenkintown, PA, 19046                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7275
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.22
                                                                                                                     $________________________________
 sean daniels                                                        Check all that apply.
 5285 Morris Way                                                      Contingent
                                                                      Unliquidated
 Fremont, CA, 94536                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7276
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sean Dockery                                                        Check all that apply.
                                                                                                                       47.99
                                                                                                                     $________________________________
 5313 Beech Grove Rd                                                  Contingent
                                                                      Unliquidated
 Lebanon Junction, KY, 40150                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7277
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.31
                                                                                                                     $________________________________
 Sean Enis                                                            Contingent
 115 Stonehurst Drive                                                 Unliquidated
                                                                      Disputed
 Tenafly, NJ, 7670
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7278
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       76.97
                                                                                                                     $________________________________
 sean Fedoroff                                                       Check all that apply.
 605 E Main St                                                        Contingent
                                                                      Unliquidated
 kirbyville, TX, 75956-2225                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7279
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sean Higgins                                                        Check all that apply.
                                                                                                                      46.63
                                                                                                                     $________________________________
 4383 Norman Road                                                     Contingent
                                                                      Unliquidated
 Township of Burtchville, MI, 48059                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7280
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.98
                                                                                                                     $________________________________
 Sean Licon                                                          Check all that apply.
 4765 E 26th St                                                       Contingent
                                                                      Unliquidated
 Tucson, AZ, 85711-6404                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7281
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sean Lord                                                           Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 8120 Packard Lane                                                    Contingent
                                                                      Unliquidated
 Green Mountain Falls, CO, 80819                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1482 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7282
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Sean Love                                                            Contingent
 3338 mountain view drive                                             Unliquidated
                                                                      Disputed
 Tannersville, PA, 18372
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7283
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.09
                                                                                                                     $________________________________
 Sean Lynch                                                          Check all that apply.
 2910 Zullette ave, Ground floor                                      Contingent
                                                                      Unliquidated
 Bronx, NY, 10461                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7284
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sean Martinez                                                       Check all that apply.
                                                                                                                      44.99
                                                                                                                     $________________________________
 139 1/2 S. Sweetzer Ave.                                             Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90048                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7285
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      79.98
                                                                                                                     $________________________________
 Sean McCabe                                                         Check all that apply.
 53 E Main St, Apt 2                                                  Contingent
                                                                      Unliquidated
 Beacon, NY, 12508-3327                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7286
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sean McKibben                                                       Check all that apply.
                                                                                                                       85.00
                                                                                                                     $________________________________
 25 Main Street, Apartment 2C Rear                                    Contingent
                                                                      Unliquidated
 Ambridge, PA, 15003                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7287
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.97
                                                                                                                     $________________________________
 Sean Mouring                                                         Contingent
 909 Bonnie Ln.                                                       Unliquidated
                                                                      Disputed
 Aiken, SC, 29803
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7288
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Sean Mullen                                                         Check all that apply.
 249 Bethel Rd                                                        Contingent
                                                                      Unliquidated
 Odenville, AL, 35120-7417                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7289
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sean P. Montgomery                                                  Check all that apply.
                                                                                                                      47.99
                                                                                                                     $________________________________
 2366 NW Glen Oak Ave                                                 Contingent
                                                                      Unliquidated
 Redmond, OR, 97756-9017                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7290
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      54.98
                                                                                                                     $________________________________
 Sean Quddus                                                         Check all that apply.
 1766 Maywood Ave.                                                    Contingent
                                                                      Unliquidated
 Eugene, OR, 97404                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7291
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 sean riley                                                          Check all that apply.
                                                                                                                       28.99
                                                                                                                     $________________________________
 168 MANOMET ST                                                       Contingent
                                                                      Unliquidated
 BROCKTON, MA, 02301-5025                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7292
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.98
                                                                                                                     $________________________________
 Sean Riley                                                           Contingent
 168 Manomet Street                                                   Unliquidated
                                                                      Disputed
 Brockton, MA, 2301
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7293
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Sean Roberts                                                        Check all that apply.
 10949 SW 5th St, Apt, suite, floor, etc.                             Contingent
                                                                      Unliquidated
 Beaverton, OR, 97005                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7294
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sean Rochin                                                         Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 11020 Loch Avon Dr                                                   Contingent
                                                                      Unliquidated
 Whittier, CA, 90606                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7295
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      446.66
                                                                                                                     $________________________________
 Sean Rusnack                                                        Check all that apply.
 325 South Brooksvale Rd                                              Contingent
                                                                      Unliquidated
 Cheshire, CT, 6410                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7296
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sean Spiva                                                          Check all that apply.
                                                                                                                       8.99
                                                                                                                     $________________________________
 2227 Chapel Valley Lane                                              Contingent
                                                                      Unliquidated
 Lutherville-Timonium, MD, 21093                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7297
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Sean Starry                                                          Contingent
 50 W Main St.                                                        Unliquidated
                                                                      Disputed
 Fayetteville, PA, 17222
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7298
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.99
                                                                                                                     $________________________________
 Sean Walsh                                                          Check all that apply.
 48 Moody St.                                                         Contingent
                                                                      Unliquidated
 Byfield, MA, 1922                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7299
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sean Willard                                                        Check all that apply.
                                                                                                                      21.19
                                                                                                                     $________________________________
 304 prospect street                                                  Contingent
                                                                      Unliquidated
 baden, PA, 15005                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7300
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      253.37
                                                                                                                     $________________________________
 Sean Windbiel                                                       Check all that apply.
 4230 Morning Ridge Rd                                                Contingent
                                                                      Unliquidated
 Santa Maria, CA, 93455                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7301
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sebastian Gocan                                                     Check all that apply.
                                                                                                                       16.19
                                                                                                                     $________________________________
 5215 Addison Street                                                  Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19143                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1486 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7302
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.81
                                                                                                                     $________________________________
 Sebastian Groo                                                       Contingent
 314 Main Avenue S.                                                   Unliquidated
                                                                      Disputed
 Red Lake Falls, MN, 56750
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7303
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       60.63
                                                                                                                     $________________________________
 Sehiry Castro                                                       Check all that apply.
 1502 North Kolin Avenue, Apt 2                                       Contingent
                                                                      Unliquidated
 Chicago, IL, 60651                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7304
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Selina Fousekis                                                     Check all that apply.
                                                                                                                      28.00
                                                                                                                     $________________________________
 6310 Peachblossom st                                                 Contingent
                                                                      Unliquidated
 Corona, CA, 92880                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7305
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                     $________________________________
 Sennen Phoenix                                                      Check all that apply.
 P.O. Box 10250                                                       Contingent
                                                                      Unliquidated
 Houston, TX, 77206                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7306
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Seon Augustine                                                      Check all that apply.
                                                                                                                       28.26
                                                                                                                     $________________________________
 2749 E Chaparral St                                                  Contingent
                                                                      Unliquidated
 Ontario, CA, 91761                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1487 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7307
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             62.48
                                                                                                                     $________________________________
 Serena Young                                                         Contingent
 23 City Stroll                                                       Unliquidated
                                                                      Disputed
 Irvine, CA, 92620
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7308
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.44
                                                                                                                     $________________________________
 Sergio Aponte                                                       Check all that apply.
 278 Bright Street, 278                                               Contingent
                                                                      Unliquidated
 Jersey City, NJ, 7302                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7309
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sergio Castro                                                       Check all that apply.
                                                                                                                      29.97
                                                                                                                     $________________________________
 35553 Date St                                                        Contingent
                                                                      Unliquidated
 Yucaipa, CA, 92399                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7310
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      118.24
                                                                                                                     $________________________________
 Sergio Corzo                                                        Check all that apply.
 2609 Lantern Hill Avenue                                             Contingent
                                                                      Unliquidated
 Brandon, FL, 33511                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7311
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sergio Delgado Jr                                                   Check all that apply.
                                                                                                                       45.45
                                                                                                                     $________________________________
 1725 Duval Ct                                                        Contingent
                                                                      Unliquidated
 Corpus Christi, TX, 78418-3124                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1488 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7312
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.98
                                                                                                                     $________________________________
 Sergio Dovalina                                                      Contingent
 P.O. Box 760462                                                      Unliquidated
                                                                      Disputed
 San Antonio, TX, 78245
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7313
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       54.37
                                                                                                                     $________________________________
 Sergio Estefano                                                     Check all that apply.
 4585 Ponce De Leon Blvd.                                             Contingent
                                                                      Unliquidated
 Coral Gables, FL, 33146                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7314
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sergio Nuno                                                         Check all that apply.
                                                                                                                      14.32
                                                                                                                     $________________________________
 950 N Acacia Ave, Apt. A                                             Contingent
                                                                      Unliquidated
 Compton, CA, 90220                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7315
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.66
                                                                                                                     $________________________________
 SERGIO QUESADA                                                      Check all that apply.
 2745 Northwest 82nd Avenue, Rabbit Logistics                         Contingent
 IK-62963                                                             Unliquidated
                                                                      Disputed
 Doral, FL, 33198
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7316
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sergio Urena                                                        Check all that apply.
                                                                                                                       79.99
                                                                                                                     $________________________________
 8815 Traveling Breeze Avenue, Unit 103                               Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89178                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1489 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7317
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Serpico Arriaga                                                      Contingent
 1047 Wheeler Avenue                                                  Unliquidated
                                                                      Disputed
 The Bronx, NY, 10472
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7318
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       149.99
                                                                                                                     $________________________________
 Seth Adams                                                          Check all that apply.
 5001 Henderson Rd                                                    Contingent
                                                                      Unliquidated
 Temple Hills, MD, 20748                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7319
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Seth Dasher                                                         Check all that apply.
                                                                                                                      117.68
                                                                                                                     $________________________________
 1400 Sandal Lane, 1405                                               Contingent
                                                                      Unliquidated
 Panama City Beach, FL, 32413                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7320
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      103.85
                                                                                                                     $________________________________
 Seth Hartman                                                        Check all that apply.
 1047 E 7th St                                                        Contingent
                                                                      Unliquidated
 Des Moines, IA, 50316                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7321
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Seth Pacheco                                                        Check all that apply.
                                                                                                                       14.32
                                                                                                                     $________________________________
 9201 Cedar St                                                        Contingent
                                                                      Unliquidated
 Bellflower, CA, 90706                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1490 of Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7322
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,137.66
                                                                                                                     $________________________________
 Seth Saxon                                                           Contingent
 20835 STATE HIGHWAY 155 S                                            Unliquidated
                                                                      Disputed
 Flint, TX, 75762
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7323
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Seth Tobin                                                          Check all that apply.
 841 East Fort Avenue, #231                                           Contingent
                                                                      Unliquidated
 Baltimore, MD, 21230                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7324
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Seth Travers                                                        Check all that apply.
                                                                                                                      117.98
                                                                                                                     $________________________________
 14 cottage road                                                      Contingent
                                                                      Unliquidated
 Kensington, NH, 3833                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7325
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.78
                                                                                                                     $________________________________
 Seth Warren                                                         Check all that apply.
 13325 Heacock Street, Apt 40                                         Contingent
                                                                      Unliquidated
 Moreno Valley, CA, 92553                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7326
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Seth Wessitsh                                                       Check all that apply.
                                                                                                                       101.01
                                                                                                                     $________________________________
 2180 29th Ave                                                        Contingent
                                                                      Unliquidated
 San Francisco, CA, 94116                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1491 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7327
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             16.39
                                                                                                                     $________________________________
 Sevanna Rodriguez                                                    Contingent
 825 S Coffman St, Unit 44                                            Unliquidated
                                                                      Disputed
 Longmont, CO, 80501
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7328
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.98
                                                                                                                     $________________________________
 Shabad Sarpal                                                       Check all that apply.
 1067 Furth Road                                                      Contingent
                                                                      Unliquidated
 Valley Stream, NY, 11581                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7329
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shadow Colema                                                       Check all that apply.
                                                                                                                      11.91
                                                                                                                     $________________________________
 623 N New Haven Cir                                                  Contingent
                                                                      Unliquidated
 Mesa, AZ, 85205                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7330
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      367.65
                                                                                                                     $________________________________
 Shady Dib                                                           Check all that apply.
 7040 Sawley Ct                                                       Contingent
                                                                      Unliquidated
 Talahassee, FL, 32713                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7331
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 shaelin Strickland                                                  Check all that apply.
                                                                                                                       29.97
                                                                                                                     $________________________________
 833 west main street                                                 Contingent
                                                                      Unliquidated
 woodville, OH, 43469                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7332
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.63
                                                                                                                     $________________________________
 Shakir Williams                                                      Contingent
 30 Hemlock Court                                                     Unliquidated
                                                                      Disputed
 Trenton, NJ, 8619
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7333
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.98
                                                                                                                     $________________________________
 Shakira Algarin                                                     Check all that apply.
 RR4 BOX 17367                                                        Contingent
                                                                      Unliquidated
 Anasco, PR, 610                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7334
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shamira Rodriguez                                                   Check all that apply.
                                                                                                                      99.96
                                                                                                                     $________________________________
 835 North Zang Boulevard, Apt 227                                    Contingent
                                                                      Unliquidated
 Dallas, TX, 75208                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7335
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      58.29
                                                                                                                     $________________________________
 Shan Dave                                                           Check all that apply.
 9007 Briar Rd                                                        Contingent
                                                                      Unliquidated
 Parkville, MD, 21234                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7336
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shan Olsen                                                          Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 131 Sunnyside Dr                                                     Contingent
                                                                      Unliquidated
 Kelso, WA, 98626-3215                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7337
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.72
                                                                                                                     $________________________________
 Shanahan Lim                                                         Contingent
 10977 Acacia Way                                                     Unliquidated
                                                                      Disputed
 Cupertino, CA, 95014
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7338
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       124.39
                                                                                                                     $________________________________
 Shandon Olmos                                                       Check all that apply.
 15194 Marksmanway                                                    Contingent
                                                                      Unliquidated
 Bluffdale, UT, 84065                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7339
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shane Bass                                                          Check all that apply.
                                                                                                                      28.98
                                                                                                                     $________________________________
 489 Hennes Ave                                                       Contingent
                                                                      Unliquidated
 Shakopee, MN, 55379                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7340
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      56.02
                                                                                                                     $________________________________
 Shane Chua                                                          Check all that apply.
 6 Andover Court                                                      Contingent
                                                                      Unliquidated
 Laguna Niguel, CA, 92677                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7341
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shane Collins                                                       Check all that apply.
                                                                                                                       31.98
                                                                                                                     $________________________________
 320 South 2nd Street, F                                              Contingent
                                                                      Unliquidated
 Bismarck, ND, 58504                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7342
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             240.95
                                                                                                                     $________________________________
 Shane Jenkins                                                        Contingent
 2177 Greenpark Court                                                 Unliquidated
                                                                      Disputed
 Thousand Oaks, CA, 91362
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7343
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       58.97
                                                                                                                     $________________________________
 Shane Lavy                                                          Check all that apply.
 9420 3rd st                                                          Contingent
                                                                      Unliquidated
 Lincoln, NE, 68526-9351                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7344
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shanmarie Salmon                                                    Check all that apply.
                                                                                                                      50.99
                                                                                                                     $________________________________
 113 E Franklin Ave                                                   Contingent
                                                                      Unliquidated
 New castle, DE, 19720                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7345
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      56.17
                                                                                                                     $________________________________
 Shanna Broadnax                                                     Check all that apply.
 12625 pavillion court                                                Contingent
                                                                      Unliquidated
 Upper Marlboro, MD, 20772                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7346
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shannon Kose                                                        Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 8914 Braehill Rd                                                     Contingent
                                                                      Unliquidated
 Cheyenne, WY, 82009                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7347
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             73.98
                                                                                                                     $________________________________
 Shannon Abercrombie                                                  Contingent
 1608 Hollis Dr.                                                      Unliquidated
                                                                      Disputed
 Orlando, FL, 32822
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7348
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.98
                                                                                                                     $________________________________
 shannon cowell                                                      Check all that apply.
 12789 monagan hwy                                                    Contingent
                                                                      Unliquidated
 TIpton, MI, 49287                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7349
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shannon Duncan                                                      Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 905 n 70th st.                                                       Contingent
                                                                      Unliquidated
 Kansas city, KS, 66112                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7350
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      117.68
                                                                                                                     $________________________________
 Shannon Eller                                                       Check all that apply.
 71 Sara Ln                                                           Contingent
                                                                      Unliquidated
 Robbinsville, NC, 28771                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7351
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shannon Hamilton                                                    Check all that apply.
                                                                                                                       57.23
                                                                                                                     $________________________________
 28 Marilyn Rd                                                        Contingent
                                                                      Unliquidated
 Scott Depot, WV, 25560-9570                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7352
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.88
                                                                                                                     $________________________________
 Shannon McMaster                                                     Contingent
 10448 Ratcliffe Trail                                                Unliquidated
                                                                      Disputed
 Manassas, VA, 20110
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7353
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Shannon Redenius                                                    Check all that apply.
 9987 Hamlet Ln S                                                     Contingent
                                                                      Unliquidated
 Cottage Grove, MN, 55016                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7354
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shannon Riddle                                                      Check all that apply.
                                                                                                                      53.99
                                                                                                                     $________________________________
 8794 Scott Drive                                                     Contingent
                                                                      Unliquidated
 Macon, GA, 31220-1968                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7355
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.62
                                                                                                                     $________________________________
 shannon surratt                                                     Check all that apply.
 120 Estates Drive                                                    Contingent
                                                                      Unliquidated
 Lexington, NC, 27295                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7356
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shannon Tighe                                                       Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 10036 wild turkey row                                                Contingent
                                                                      Unliquidated
 McCordsville, IN, 46055                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7357
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.16
                                                                                                                     $________________________________
 Shanqualus Barber                                                    Contingent
 868 McClure rd                                                       Unliquidated
                                                                      Disputed
 Memphis, TN, 38116
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7358
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.99
                                                                                                                     $________________________________
 Shar Pourdanesh                                                     Check all that apply.
 1125 Sullivan                                                        Contingent
                                                                      Unliquidated
 Irvine, CA, 92614                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7359
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shar'Preas Jordan                                                   Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 98 S Martin L King Blvd, 154                                         Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89106                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7360
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.31
                                                                                                                     $________________________________
 Sharat Naik                                                         Check all that apply.
 1 Park View Avenue, Apt 1704                                         Contingent
                                                                      Unliquidated
 Jersey City, NJ, 7302                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7361
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shari Cordero                                                       Check all that apply.
                                                                                                                       65.31
                                                                                                                     $________________________________
 245 East 207th Street, Apt8A                                         Contingent
                                                                      Unliquidated
 Bronx, NY, 10467                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7362
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Sharon Butler                                                        Contingent
 5309 Northwest Trail                                                 Unliquidated
                                                                      Disputed
 Corpus Christi, TX, 78410
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7363
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Sharon Carberry                                                     Check all that apply.
 321 S 5th Ave                                                        Contingent
                                                                      Unliquidated
 Mount Vernon, NY, 10550                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7364
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sharon Hall                                                         Check all that apply.
                                                                                                                      81.26
                                                                                                                     $________________________________
 3704 Fernwood Court                                                  Contingent
                                                                      Unliquidated
 Davenport, IA, 52807                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7365
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.99
                                                                                                                     $________________________________
 Sharon Haywood                                                      Check all that apply.
 200 N Pecos Rd, Trlr 97                                              Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89101                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7366
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sharon Hsu                                                          Check all that apply.
                                                                                                                       27.99
                                                                                                                     $________________________________
 7665 Palmilla Dr, 5322                                               Contingent
                                                                      Unliquidated
 San Diego, CA, 92122                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7367
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             18.99
                                                                                                                     $________________________________
 Sharon Laase                                                         Contingent
 10618 Ridgemont Lane                                                 Unliquidated
                                                                      Disputed
 Chicago Ridge, IL, 60415
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7368
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Sharon Malicsi                                                      Check all that apply.
 2270 Channing Ct                                                     Contingent
                                                                      Unliquidated
 Fairfield, CA, 94533-2624                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7369
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sharon St.Ours                                                      Check all that apply.
                                                                                                                      54.99
                                                                                                                     $________________________________
 34Riverside Drive                                                    Contingent
                                                                      Unliquidated
 Norwell, MA, 2061                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7370
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.99
                                                                                                                     $________________________________
 Sharon Thomas                                                       Check all that apply.
 218 17TH ST NW                                                       Contingent
                                                                      Unliquidated
 PUYALLUP, WA, 98371-5228                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7371
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sharonee green                                                      Check all that apply.
                                                                                                                       59.95
                                                                                                                     $________________________________
 5812 ENCHANTED LN                                                    Contingent
                                                                      Unliquidated
 DALLAS, TX, 75227                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1500 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7372
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.99
                                                                                                                     $________________________________
 Shaun Cruz                                                           Contingent
 587 Susquehanna Avenue                                               Unliquidated
                                                                      Disputed
 Wyoming, PA, 18644
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7373
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.66
                                                                                                                     $________________________________
 Shaun Dover                                                         Check all that apply.
 PO Box 6091                                                          Contingent
                                                                      Unliquidated
 Charleston, WV, 25362                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7374
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shaun Motoda                                                        Check all that apply.
                                                                                                                      38.07
                                                                                                                     $________________________________
 77 South Adams Street, Apt 906                                       Contingent
                                                                      Unliquidated
 Denver, CO, 80209                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7375
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Shaun Washington                                                    Check all that apply.
 3719 Turfway Court, N/A                                              Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46228                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7376
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 shawn allen                                                         Check all that apply.
                                                                                                                       33.06
                                                                                                                     $________________________________
 1111 Peralta Street                                                  Contingent
                                                                      Unliquidated
 Oakland, CA, 94607                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1501 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7377
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.95
                                                                                                                     $________________________________
 Shawn Arndt                                                          Contingent
 4932 Packard Avenue, #19                                             Unliquidated
                                                                      Disputed
 Cudahy, WI, 53110
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7378
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Shawn Bradley                                                       Check all that apply.
 220 Waxmyrtle Drive                                                  Contingent
                                                                      Unliquidated
 Harvest, AL, 35749                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7379
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shawn Ficocelli                                                     Check all that apply.
                                                                                                                      87.49
                                                                                                                     $________________________________
 693 South 2nd Street                                                 Contingent
                                                                      Unliquidated
 San Jose, CA, 95112                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7380
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      116.97
                                                                                                                     $________________________________
 Shawn Green                                                         Check all that apply.
 6420 151st Street                                                    Contingent
                                                                      Unliquidated
 Oak Forest, IL, 60452                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7381
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shawn Hayes                                                         Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 8242 Algon Avenue                                                    Contingent
                                                                      Unliquidated
 Philadelphia, PA, 19152                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7382
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             47.97
                                                                                                                     $________________________________
 Shawn Hernandez                                                      Contingent
 3270 Santa Ana Street                                                Unliquidated
                                                                      Disputed
 South Gate, CA, 90280
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7383
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       146.63
                                                                                                                     $________________________________
 Shawn Poole                                                         Check all that apply.
 2428 NW 175th street                                                 Contingent
                                                                      Unliquidated
 2428 NW 175th street, OK, 73012                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7384
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shawn Reed                                                          Check all that apply.
                                                                                                                      57.98
                                                                                                                     $________________________________
 NA 91-1162 Paapaana Street                                           Contingent
                                                                      Unliquidated
 Ewa Beach, HI, 96706                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7385
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      43.99
                                                                                                                     $________________________________
 Shawn Renaud                                                        Check all that apply.
 900 Merrill New Rd                                                   Contingent
                                                                      Unliquidated
 Sugar Grove, IL, 60554                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7386
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shawn Richter                                                       Check all that apply.
                                                                                                                       12.92
                                                                                                                     $________________________________
 8606 Avalon CT                                                       Contingent
                                                                      Unliquidated
 Alta Loma, CA, 91701                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor           _______________________________________________________
                   Name                           Document Page 1503 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7387
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             26.97
                                                                                                                      $________________________________
 Shawn Smith                                                           Contingent
 1226 S. Patton Ave                                                    Unliquidated
                                                                       Disputed
 Arlington Heights, IL, 60005
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  7388
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        96.99
                                                                                                                      $________________________________
 Shawna Maloney                                                       Check all that apply.
 3005 Cumberland Avenue                                                Contingent
                                                                       Unliquidated
 Wichita Falls, TX, 76309                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  7389
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Shay Keele                                                           Check all that apply.
                                                                                                                       11.84
                                                                                                                      $________________________________
 3336 Welton Circle                                                    Contingent
                                                                       Unliquidated
 Roseville, CA, 95747                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  7390
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                      $________________________________
 Shay Reever                                                          Check all that apply.
 4 Lovell Street                                                       Contingent
                                                                       Unliquidated
 Laconia, NH, 3246                                                     Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  7391
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Shayla Wortman                                                       Check all that apply.
                                                                                                                        26.49
                                                                                                                      $________________________________
 2204 N Lincoln St                                                     Contingent
                                                                       Unliquidated
 Post Falls, ID, 83854                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1504 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7392
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             99.99
                                                                                                                     $________________________________
 Shaylyn Sprague                                                      Contingent
 P.O Box 1579                                                         Unliquidated
                                                                      Disputed
 Mount Pleasant, MI, 48804
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7393
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       97.52
                                                                                                                     $________________________________
 Shayna Mason                                                        Check all that apply.
 4424 Hillcrest Avenue                                                Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89102                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7394
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shea Stoner                                                         Check all that apply.
                                                                                                                      56.97
                                                                                                                     $________________________________
 2814 Huntington ave                                                  Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55416                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7395
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      68.98
                                                                                                                     $________________________________
 Sheena Heuer                                                        Check all that apply.
 2237 BISPHAM RD                                                      Contingent
                                                                      Unliquidated
 SARASOTA, FL, 34231                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7396
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sheila Perez                                                        Check all that apply.
                                                                                                                       28.99
                                                                                                                     $________________________________
 310 Dyer Street, TN                                                  Contingent
                                                                      Unliquidated
 New Haven, CT, 6515                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7397
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Shelby Currie                                                        Contingent
 8213 Lansdowne Road                                                  Unliquidated
                                                                      Disputed
 Mechanicsville, VA, 23116
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7398
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       89.99
                                                                                                                     $________________________________
 Shelby De Leon                                                      Check all that apply.
 462 via del plano, 462                                               Contingent
                                                                      Unliquidated
 Novato, CA, 94949                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7399
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shelby Hammer                                                       Check all that apply.
                                                                                                                      28.61
                                                                                                                     $________________________________
 132 Calvert Circle                                                   Contingent
                                                                      Unliquidated
 Bunker Hill, WV, 25413                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7400
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      119.99
                                                                                                                     $________________________________
 Shelby Painter                                                      Check all that apply.
 109 Realini Drive                                                    Contingent
                                                                      Unliquidated
 Havelock, NC, 28532                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7401
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shelby Thompson                                                     Check all that apply.
                                                                                                                       305.12
                                                                                                                     $________________________________
 175 Rollin Acres Road                                                Contingent
                                                                      Unliquidated
 Reeds Spring, MO, 65737                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7402
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             50.99
                                                                                                                     $________________________________
 Shelia Austin                                                        Contingent
 284 Collinswood Road                                                 Unliquidated
                                                                      Disputed
 Stonewall, LA, 71078
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7403
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.99
                                                                                                                     $________________________________
 Shellie Warren                                                      Check all that apply.
 4698 Highland Drive                                                  Contingent
                                                                      Unliquidated
 Millcreek, UT, 84117                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7404
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shengyi Zhang                                                       Check all that apply.
                                                                                                                      89.99
                                                                                                                     $________________________________
 23258 Northeast 15th Street                                          Contingent
                                                                      Unliquidated
 Sammamish, WA, 98074                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7405
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.71
                                                                                                                     $________________________________
 Sheree Hedrick                                                      Check all that apply.
 11308 Clover Hill Drive                                              Contingent
                                                                      Unliquidated
 Ashland, VA, 23005                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7406
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sheri Pensinger                                                     Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 4 Susan Circle                                                       Contingent
                                                                      Unliquidated
 Norton, MA, 2766                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7407
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.67
                                                                                                                     $________________________________
 Sherida Magana                                                       Contingent
 1363 Sheridan St NW                                                  Unliquidated
                                                                      Disputed
 Washington, DC, 20011
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7408
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.68
                                                                                                                     $________________________________
 Sherlyn Morales                                                     Check all that apply.
 36 Saratoga St                                                       Contingent
                                                                      Unliquidated
 LYNN, MA, 01902-3599                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7409
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shermayne Reyes                                                     Check all that apply.
                                                                                                                      16.95
                                                                                                                     $________________________________
 14920 Spriggs Tree Lane                                              Contingent
                                                                      Unliquidated
 Woodbridge, VA, 22193                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7410
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.98
                                                                                                                     $________________________________
 SHERRY COLOCHO                                                      Check all that apply.
 4010 Rockwood st                                                     Contingent
                                                                      Unliquidated
 Los angeles, CA, 90063                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7411
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sherwin Li                                                          Check all that apply.
                                                                                                                       10.99
                                                                                                                     $________________________________
 272 Schwerin Street, 272                                             Contingent
                                                                      Unliquidated
 San Francisco, CA, 94134                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7412
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.19
                                                                                                                     $________________________________
 Sheseng Lauwidjaja                                                   Contingent
 2008 S 29th St                                                       Unliquidated
                                                                      Disputed
 Philadelphia, PA, 19145-2411
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7413
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       38.15
                                                                                                                     $________________________________
 Shiori Yen                                                          Check all that apply.
 46835 Mountain Laurel Ter                                            Contingent
                                                                      Unliquidated
 Sterling, VA, 20164                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7414
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shireen Hatami                                                      Check all that apply.
                                                                                                                      16.98
                                                                                                                     $________________________________
 Po box 576                                                           Contingent
                                                                      Unliquidated
 Island heights , NJ, 8732                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7415
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.49
                                                                                                                     $________________________________
 Shirleena Chatman                                                   Check all that apply.
 3702 KECOUGHTAN RD, Apt b                                            Contingent
                                                                      Unliquidated
 HAMPTON, VA, 23669                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7416
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shopify Capital Inc.                                                Check all that apply.
                                                                                                                       76,174.34
                                                                                                                     $________________________________
 33 New Montgomery St. - Suite 750                                    Contingent
                                                                      Unliquidated
 San Francisco, CA, 94105                                             Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7417
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,744.33
                                                                                                                     $________________________________
 Shopify Inc.                                                         Contingent
 151 O'Connor St. - Ground Floor                                      Unliquidated
                                                                      Disputed
 Ottawa, MT, K2P 2L8
                                                                     Basis for the claim: Software Invoice



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7418
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       289.99
                                                                                                                     $________________________________
 shuo chen                                                           Check all that apply.
 1774 Castlegate Drive                                                Contingent
                                                                      Unliquidated
 San Jose, CA, 95132                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7419
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Siamak Ghahremani                                                   Check all that apply.
                                                                                                                      21.86
                                                                                                                     $________________________________
 233 Purple Glen Drive                                                Contingent
                                                                      Unliquidated
 San Jose, CA, 95119                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7420
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.23
                                                                                                                     $________________________________
 Sid Woodcook                                                        Check all that apply.
 1630 Pennsylvania Avenue                                             Contingent
                                                                      Unliquidated
 Pine City, NY, 14871                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7421
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sidney Bui                                                          Check all that apply.
                                                                                                                       171.81
                                                                                                                     $________________________________
 14591 Ontario Dr                                                     Contingent
                                                                      Unliquidated
 Westminster, CA, 92683                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7422
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             24.21
                                                                                                                      $________________________________
 Sienna Beck                                                           Contingent
 4146 WOODLAND DR                                                      Unliquidated
                                                                       Disputed
 Rockingham, VA, 22801-2318
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  7423
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        96.99
                                                                                                                      $________________________________
 Sierra Bangs                                                         Check all that apply.
 18717 UPPER MIDHILL DR                                                Contingent
                                                                       Unliquidated
 WEST LINN, OR, 97068                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  7424
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Sierra Bullock                                                       Check all that apply.
                                                                                                                       45.25
                                                                                                                      $________________________________
 2094 Autumn Lane                                                      Contingent
                                                                       Unliquidated
 Idaho Falls, ID, 83404                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  7425
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       36.63
                                                                                                                      $________________________________
 Sierra West                                                          Check all that apply.
 459 Effie Court                                                       Contingent
                                                                       Unliquidated
 Brentwood, CA, 94513                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  7426
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Silvestre Moran                                                      Check all that apply.
                                                                                                                        164.97
                                                                                                                      $________________________________
 68 pupek rd                                                           Contingent
                                                                       Unliquidated
 South Amboy, NJ, 8879                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7427
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.32
                                                                                                                     $________________________________
 Silvia Benalcazar                                                    Contingent
 3604 W. Schubert Ave., Apt. 2E                                       Unliquidated
                                                                      Disputed
 Chicago, IL, 60647-1190
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7428
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       99.98
                                                                                                                     $________________________________
 Simon Ho                                                            Check all that apply.
 605 W Duarte Rd Unit A                                               Contingent
                                                                      Unliquidated
 Monrovia, CA, 91016-4436                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7429
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Simon Willems                                                       Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 6593 South Irvington Way                                             Contingent
                                                                      Unliquidated
 Aurora, CO, 80016                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7430
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      263.24
                                                                                                                     $________________________________
 Simone Heckman                                                      Check all that apply.
 812 6th St Se                                                        Contingent
                                                                      Unliquidated
 Roanoke, VA, 24013                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7431
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sina Meisamy                                                        Check all that apply.
                                                                                                                       55.98
                                                                                                                     $________________________________
 501 Emerald Ridge Drive                                              Contingent
                                                                      Unliquidated
 Austin, TX, 78732                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7432
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             83.99
                                                                                                                     $________________________________
 Sinatra sinatra                                                      Contingent
 9612 BAILEYWICK RD                                                   Unliquidated
                                                                      Disputed
 raleigh, NC, 27615
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7433
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.00
                                                                                                                     $________________________________
 Sineva Haskins                                                      Check all that apply.
 3876 Trans Am Lane                                                   Contingent
                                                                      Unliquidated
 St. George, UT, 84790                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7434
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sir Swaggy Pants1                                                   Check all that apply.
                                                                                                                      32.12
                                                                                                                     $________________________________
 10060 Jay Street Northwest                                           Contingent
                                                                      Unliquidated
 Coon Rapids, MN, 55433                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7435
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      74.99
                                                                                                                     $________________________________
 Sirot Martin                                                        Check all that apply.
 92-808 Puhoho Street                                                 Contingent
                                                                      Unliquidated
 Kapolei, HI, 96707                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7436
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sky Taylor                                                          Check all that apply.
                                                                                                                       22.72
                                                                                                                     $________________________________
 7200 Heards Lane, Apt 511                                            Contingent
                                                                      Unliquidated
 Galveston, TX, 77551                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7437
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,133.19
                                                                                                                     $________________________________
 Skyler Meine                                                         Contingent
 1159 North 1100 East                                                 Unliquidated
                                                                      Disputed
 American Fork, UT, 84003
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7438
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       57.96
                                                                                                                     $________________________________
 Skyler Van hoy                                                      Check all that apply.
 4807 Warwick Boulevard                                               Contingent
                                                                      Unliquidated
 Newport News, VA, 23607                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7439
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Smyth Welton                                                        Check all that apply.
                                                                                                                      26.97
                                                                                                                     $________________________________
 4214 Winterburn Avenue                                               Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15207                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7440
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.49
                                                                                                                     $________________________________
 Snezana Lukac                                                       Check all that apply.
 8816 Briar Court, 1a                                                 Contingent
                                                                      Unliquidated
 Des Plaines, IL, 60016                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7441
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 socorro martinez                                                    Check all that apply.
                                                                                                                       103.30
                                                                                                                     $________________________________
 1554 Remington Hills Drive                                           Contingent
                                                                      Unliquidated
 San Diego, CA, 92154                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.        Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor           _______________________________________________________
                   Name                           Document Page 1514 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7442
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             95.98
                                                                                                                      $________________________________
 sofia rayas                                                           Contingent
 9415 McNeil Drive, #121                                               Unliquidated
                                                                       Disputed
 Austin, TX, 78750
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  7443
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        10.69
                                                                                                                      $________________________________
 Sofia Montenegro                                                     Check all that apply.
 2701 Canal Road                                                       Contingent
                                                                       Unliquidated
 Miramar, FL, 33025                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  7444
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Sofia Thakur                                                         Check all that apply.
                                                                                                                       120.02
                                                                                                                      $________________________________
 910 Rockefeller Drive, Apt 18 B                                       Contingent
                                                                       Unliquidated
 Sunnyvale, CA, 94087                                                  Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  7445
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                      $________________________________
 Solis, Felix                                                         Check all that apply.
 30 Wiltshire Dr                                                       Contingent
                                                                       Unliquidated
 Avondale Estates, GA, 30002                                           Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  7446
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Solmari Figueroa-Ojeda                                               Check all that apply.
                                                                                                                        12.74
                                                                                                                      $________________________________
 129 Florence Street, Apt A                                            Contingent
                                                                       Unliquidated
 Springfield, MA, 1105                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



    Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7447
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             506.41
                                                                                                                     $________________________________
 Songming Zhao                                                        Contingent
 17891 Bellflower Street                                              Unliquidated
                                                                      Disputed
 Adelanto, CA, 92301
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7448
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       16.95
                                                                                                                     $________________________________
 Sonia LAROCQUE                                                      Check all that apply.
 340 strafford rd                                                     Contingent
                                                                      Unliquidated
 Tunbridge, VT, 5077                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7449
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sonia Guzman                                                        Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 15 Beverly Street                                                    Contingent
                                                                      Unliquidated
 Revere, MA, 2151                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7450
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.68
                                                                                                                     $________________________________
 Sonia Mastroianni                                                   Check all that apply.
 3 Hunters Ridge                                                      Contingent
                                                                      Unliquidated
 Clinton, CT, 6413                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7451
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sonia Pacheco                                                       Check all that apply.
                                                                                                                       37.87
                                                                                                                     $________________________________
 8320 Signal Peak Place                                               Contingent
                                                                      Unliquidated
 El Paso, TX, 79904                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1516 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7452
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.83
                                                                                                                     $________________________________
 Sonja Notestine                                                      Contingent
 16209 Havenwood Dr.                                                  Unliquidated
                                                                      Disputed
 Woodburn, IN, 46797
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7453
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 sonya avakian                                                       Check all that apply.
 29611 Charlemagne Dr                                                 Contingent
                                                                      Unliquidated
 novi, MI, 48377-2211                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7454
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sonya Faria                                                         Check all that apply.
                                                                                                                      16.11
                                                                                                                     $________________________________
 14217 Waterville Cir                                                 Contingent
                                                                      Unliquidated
 Tampa, FL, 33626                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7455
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.99
                                                                                                                     $________________________________
 sonya sutton                                                        Check all that apply.
 1083 Park place Gate                                                 Contingent
                                                                      Unliquidated
 Stone mountain, GA, 30083                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7456
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sophia DeMiguel                                                     Check all that apply.
                                                                                                                       27.30
                                                                                                                     $________________________________
 2321 Bentley Court                                                   Contingent
                                                                      Unliquidated
 Castro Valley, CA, 94546                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1517 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7457
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.75
                                                                                                                     $________________________________
 Sophia Jones                                                         Contingent
 3315 121st Place                                                     Unliquidated
                                                                      Disputed
 Pleasant Prairie, WI, 53158
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7458
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.25
                                                                                                                     $________________________________
 Sophia Monroy                                                       Check all that apply.
 15702 East Waterside Circle, 206                                     Contingent
                                                                      Unliquidated
 Sunrise, FL, 33326                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7459
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 SOPHIA MURPHY                                                       Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 75 ELK CT                                                            Contingent
                                                                      Unliquidated
 MANSFIELD, GA, 30055                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7460
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      46.99
                                                                                                                     $________________________________
 Sophie Fredberg                                                     Check all that apply.
 132 Hammond Street                                                   Contingent
                                                                      Unliquidated
 Chestnut Hill, MA, 2467                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7461
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sophie Rancier                                                      Check all that apply.
                                                                                                                       52.98
                                                                                                                     $________________________________
 221 Anthurium Ave                                                    Contingent
                                                                      Unliquidated
 Johnson City, TN, 37604-3211                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1518 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7462
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.73
                                                                                                                     $________________________________
 Sophie Townsend                                                      Contingent
 12345 Lamplight Village Ave, #1522                                   Unliquidated
                                                                      Disputed
 Austin, TX, 78758
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7463
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Spencer Gay                                                         Check all that apply.
 6891 Orangewood Avenue                                               Contingent
                                                                      Unliquidated
 Cypress, CA, 90630                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7464
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Spencer Wallin                                                      Check all that apply.
                                                                                                                      172.99
                                                                                                                     $________________________________
 19515 Highland Ridge Drive                                           Contingent
                                                                      Unliquidated
 Eagle River, AK, 99577                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7465
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Spo Daddy                                                           Check all that apply.
 733 N Hudson Ave, Apt. 415                                           Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90038                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7466
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sruthi Thinakkal                                                    Check all that apply.
                                                                                                                       19.98
                                                                                                                     $________________________________
 2056 Hollow Bend Court                                               Contingent
                                                                      Unliquidated
 Naperville, IL, 60565                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7467
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5.99
                                                                                                                     $________________________________
 Stacey McKenzie                                                      Contingent
 31790 US Highway 19 N , Apt 47                                       Unliquidated
                                                                      Disputed
 Palm Harbor, FL, 34684-3716
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7468
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Stacey Smith                                                        Check all that apply.
 649 Sweetbriar Rd.                                                   Contingent
                                                                      Unliquidated
 Memphis, TN, 38120                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7469
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stacie Davis                                                        Check all that apply.
                                                                                                                      64.99
                                                                                                                     $________________________________
 7916 Fincastle Ct                                                    Contingent
                                                                      Unliquidated
 Sacramento, CA, 95829                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7470
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.45
                                                                                                                     $________________________________
 Stacy Kamin                                                         Check all that apply.
 163 Meli Ln                                                          Contingent
                                                                      Unliquidated
 Jackson, NJ, 08527-2375                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7471
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stacy Franco                                                        Check all that apply.
                                                                                                                       29.76
                                                                                                                     $________________________________
 21740 South Figueroa Street, 7                                       Contingent
                                                                      Unliquidated
 Carson, CA, 90745                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7472
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.98
                                                                                                                     $________________________________
 Stacy Sellers                                                        Contingent
 2223 W Augusta Blvd, 2F                                              Unliquidated
                                                                      Disputed
 Chicago, IL, 60622
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7473
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Stacy Vaughn                                                        Check all that apply.
 2851 29th Ct S                                                       Contingent
                                                                      Unliquidated
 La Crosse, WI, 54601                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7474
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stanley Lee                                                         Check all that apply.
                                                                                                                      52.99
                                                                                                                     $________________________________
 2724 Harway Avenue                                                   Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7475
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      58.29
                                                                                                                     $________________________________
 Stanley Vanm                                                        Check all that apply.
 719 Orchard Street                                                   Contingent
                                                                      Unliquidated
 Franklin, VA, 23851                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7476
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stanley Worth                                                       Check all that apply.
                                                                                                                       38.97
                                                                                                                     $________________________________
 4554 Hercules Ave, Apt 55                                            Contingent
                                                                      Unliquidated
 El Paso, TX, 79904-3372                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1521 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7477
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.99
                                                                                                                     $________________________________
 Star Panora                                                          Contingent
 21 Rifton Place, --                                                  Unliquidated
                                                                      Disputed
 Walden, NY, 12586
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7478
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       76.14
                                                                                                                     $________________________________
 Steele Harden                                                       Check all that apply.
 5326 113th Place Northeast                                           Contingent
                                                                      Unliquidated
 Marysville, WA, 98271                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7479
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stefan Eccles                                                       Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 8104 Northwest 75th Avenue                                           Contingent
                                                                      Unliquidated
 Tamarac, FL, 33321                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7480
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      84.99
                                                                                                                     $________________________________
 Stefani Swiatkowski                                                 Check all that apply.
 12807 7TH AVE S                                                      Contingent
                                                                      Unliquidated
 BURIEN, WA, 98168                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7481
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stefania Guarneri                                                   Check all that apply.
                                                                                                                       47.97
                                                                                                                     $________________________________
 392 Totowa Road                                                      Contingent
                                                                      Unliquidated
 Totowa, NJ, 7512                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1522 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7482
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.17
                                                                                                                     $________________________________
 STEFANIE STUBBLEFIELD                                                Contingent
 901 East Washington Street                                           Unliquidated
                                                                      Disputed
 Colton, CA, 92324
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7483
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       66.32
                                                                                                                     $________________________________
 Stefanie Wright                                                     Check all that apply.
 23708 Chestnut Court                                                 Contingent
                                                                      Unliquidated
 Auburn, CA, 95602                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7484
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stella Labellarte                                                   Check all that apply.
                                                                                                                      13.13
                                                                                                                     $________________________________
 15562 Bluefield Avenue                                               Contingent
                                                                      Unliquidated
 La Mirada, CA, 90638                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7485
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.95
                                                                                                                     $________________________________
 Stellmarys Lopez                                                    Check all that apply.
 648 Hallmark Dr, 203                                                 Contingent
                                                                      Unliquidated
 Glen Burnie, MD, 21061                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7486
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Andrews                                                   Check all that apply.
                                                                                                                       32.46
                                                                                                                     $________________________________
 101 Eagle Feather Road                                               Contingent
                                                                      Unliquidated
 Waxahachie, TX, 75165                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1523 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7487
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Stephanie Accardo                                                    Contingent
 26 LODI ST                                                           Unliquidated
                                                                      Disputed
 FORESTVILLE, NY, 14062-9552
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7488
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       18.99
                                                                                                                     $________________________________
 Stephanie Almarez                                                   Check all that apply.
 823 Rubino Ct                                                        Contingent
                                                                      Unliquidated
 Stockton, CA, 95209                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7489
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Boele                                                     Check all that apply.
                                                                                                                      53.99
                                                                                                                     $________________________________
 7331 85TH AVE NE                                                     Contingent
                                                                      Unliquidated
 MARYSVILLE, WA, 98270                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7490
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      199.93
                                                                                                                     $________________________________
 Stephanie Elleman                                                   Check all that apply.
 PSC 9 Box 6098                                                       Contingent
                                                                      Unliquidated
 APO, AE, 9123                                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7491
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Eller                                                     Check all that apply.
                                                                                                                       21.19
                                                                                                                     $________________________________
 4508 Duke St                                                         Contingent
                                                                      Unliquidated
 Caldwell, ID, 83607                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1524 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7492
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             123.98
                                                                                                                     $________________________________
 Stephanie Ferniza                                                    Contingent
 1213 Dani Ln, null                                                   Unliquidated
                                                                      Disputed
 Springfield, IL, 62712-7514
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7493
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.90
                                                                                                                     $________________________________
 Stephanie Hernandez                                                 Check all that apply.
 7530 SW 37TH ST                                                      Contingent
                                                                      Unliquidated
 MIAMI, FL, 33155-6606                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7494
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Hyla                                                      Check all that apply.
                                                                                                                      38.87
                                                                                                                     $________________________________
 118 Grenfell Rd                                                      Contingent
                                                                      Unliquidated
 Dewitt, NY, 13214                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7495
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      74.99
                                                                                                                     $________________________________
 Stephanie Jimenez                                                   Check all that apply.
 12161 Royal Palm Boulevard, 1c                                       Contingent
                                                                      Unliquidated
 Coral Springs, FL, 33065                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7496
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Juarez                                                    Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 151 Gayland Street, 141                                              Contingent
                                                                      Unliquidated
 Escondido, CA, 92027                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7497
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.99
                                                                                                                     $________________________________
 Stephanie Loheide                                                    Contingent
 312 Harris St                                                        Unliquidated
                                                                      Disputed
 Madison, TN, 37115
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7498
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Stephanie Moore                                                     Check all that apply.
 2251 Palm Vista Drive                                                Contingent
                                                                      Unliquidated
 Apopka, FL, 32712                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7499
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Nicole Ortiz Vega                                         Check all that apply.
                                                                                                                      19.54
                                                                                                                     $________________________________
 Urbanizacion Valle Hucares, 82 Calle Flamboyan                       Contingent
                                                                      Unliquidated
 Juana Diaz, 00795-2810                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7500
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.46
                                                                                                                     $________________________________
 Stephanie Novak                                                     Check all that apply.
 4510 Drake Ln Apt 537                                                Contingent
                                                                      Unliquidated
 Fort Worth, TX, 76137-4584                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7501
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Perez                                                     Check all that apply.
                                                                                                                       8.57
                                                                                                                     $________________________________
 2808 Taft Hwy Spc 69                                                 Contingent
                                                                      Unliquidated
 Bakersfield , CA, 93313                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7502
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.92
                                                                                                                     $________________________________
 Stephanie Periban                                                    Contingent
 23002 Village Drive, Apt C                                           Unliquidated
                                                                      Disputed
 Lake Forest, CA, 92630
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7503
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       94.97
                                                                                                                     $________________________________
 Stephanie Rivera                                                    Check all that apply.
 646 Adee Avenue, 4A                                                  Contingent
                                                                      Unliquidated
 The Bronx, NY, 10467                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7504
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Rodriguez                                                 Check all that apply.
                                                                                                                      8.99
                                                                                                                     $________________________________
 PO BOX 72                                                            Contingent
                                                                      Unliquidated
 LYFORD, TX, 78569-0072                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7505
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 Stephanie Sampson                                                   Check all that apply.
 422 Masonic Drive                                                    Contingent
                                                                      Unliquidated
 Elizabethtown, PA, 17022                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7506
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Schweitzer                                                Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 31 Lexington Rd.                                                     Contingent
                                                                      Unliquidated
 Avon, CT, 6001                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7507
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             84.99
                                                                                                                     $________________________________
 Stephanie Servellon                                                  Contingent
 2729 Nebraska Avenue, Apt. E                                         Unliquidated
                                                                      Disputed
 South Gate, CA, 90280
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7508
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.22
                                                                                                                     $________________________________
 stephanie solano                                                    Check all that apply.
 906 grant st apt 210                                                 Contingent
                                                                      Unliquidated
 Wichita falls, TX, 76301                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7509
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Spark                                                     Check all that apply.
                                                                                                                      29.08
                                                                                                                     $________________________________
 3908 Paseo De Olivos                                                 Contingent
                                                                      Unliquidated
 Fallbrook, CA, 92028                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7510
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Stephanie Stanford                                                  Check all that apply.
 4560 South 50th Street                                               Contingent
                                                                      Unliquidated
 Greenfield, WI, 53220                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7511
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Stewart                                                   Check all that apply.
                                                                                                                       368.98
                                                                                                                     $________________________________
 2407 Colber Court                                                    Contingent
                                                                      Unliquidated
 Waldorf, MD, 20603                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7512
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.16
                                                                                                                     $________________________________
 Stephanie Suarez                                                     Contingent
 4670 Dabney Vigor Drive                                              Unliquidated
                                                                      Disputed
 Charlotte, NC, 28209
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7513
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.98
                                                                                                                     $________________________________
 Stephanie Taylor                                                    Check all that apply.
 703 Daffodil Dr                                                      Contingent
                                                                      Unliquidated
 Wellington, FL, 33414-8249                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7514
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Torres                                                    Check all that apply.
                                                                                                                      54.82
                                                                                                                     $________________________________
 925 Otis Court                                                       Contingent
                                                                      Unliquidated
 Red Bluff, CA, 96080                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7515
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      116.97
                                                                                                                     $________________________________
 Stephanie Willwerth                                                 Check all that apply.
 516 Eastbrook Dr                                                     Contingent
                                                                      Unliquidated
 Anna, TX, 75409                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7516
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephanie Yang                                                      Check all that apply.
                                                                                                                       37.98
                                                                                                                     $________________________________
 76 Park Way                                                          Contingent
                                                                      Unliquidated
 Edison, NJ, 8817                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7517
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             97.10
                                                                                                                     $________________________________
 Stephany Orozco                                                      Contingent
 1209 W Wahalla Ln                                                    Unliquidated
                                                                      Disputed
 Phoenix, AZ, 85027
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7518
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.52
                                                                                                                     $________________________________
 Stephen Brown                                                       Check all that apply.
 9270 Broadstone Way                                                  Contingent
                                                                      Unliquidated
 Apex, NC, 27502                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7519
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephen Caudill Jr.                                                 Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 3411 Monel Ave                                                       Contingent
                                                                      Unliquidated
 Huntington, WV, 25705                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7520
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      122.90
                                                                                                                     $________________________________
 Stephen Christy                                                     Check all that apply.
 9520 BRIMTON DR                                                      Contingent
                                                                      Unliquidated
 Orlando, FL, 32817-2736                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7521
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephen Esposito                                                    Check all that apply.
                                                                                                                       54.43
                                                                                                                     $________________________________
 58-34 256 street                                                     Contingent
                                                                      Unliquidated
 Little Neck, NY, 11362                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7522
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17.99
                                                                                                                     $________________________________
 Stephen Favazza                                                      Contingent
 4127 Miami St                                                        Unliquidated
                                                                      Disputed
 St. Louis, MO, 63116
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7523
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.98
                                                                                                                     $________________________________
 Stephen Franco                                                      Check all that apply.
 120 33rd Street Northwest                                            Contingent
                                                                      Unliquidated
 Canton, OH, 44709                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7524
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephen Kozak                                                       Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 N 131 Regulator Dr                                                   Contingent
                                                                      Unliquidated
 Cambridge, MD, 21613                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7525
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      46.90
                                                                                                                     $________________________________
 Stephen LaFerriere                                                  Check all that apply.
 112 Lake Champlain Drive                                             Contingent
                                                                      Unliquidated
 Little Egg Harbor Township, NJ, 8087                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7526
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephen Lafferty                                                    Check all that apply.
                                                                                                                       29.98
                                                                                                                     $________________________________
 7 Homer Court                                                        Contingent
                                                                      Unliquidated
 Wilmington, DE, 19808                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7527
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.49
                                                                                                                     $________________________________
 Stephen Leedy                                                        Contingent
 186 MOUNTAIN VIEW DR                                                 Unliquidated
                                                                      Disputed
 BEREA, KY, 40403
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7528
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       58.84
                                                                                                                     $________________________________
 Stephen Lemoi                                                       Check all that apply.
 8 peppermint lane                                                    Contingent
                                                                      Unliquidated
 Johnston, RI, 2919                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7529
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephen Lewis                                                       Check all that apply.
                                                                                                                      42.68
                                                                                                                     $________________________________
 5376 Saint Bernard Avenue                                            Contingent
                                                                      Unliquidated
 New Orleans, LA, 70122                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7530
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      30.98
                                                                                                                     $________________________________
 Stephen Lutz                                                        Check all that apply.
 3 Lisa Road                                                          Contingent
                                                                      Unliquidated
 Windham, NH, 3087                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7531
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephen Mills                                                       Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 203 adams rd                                                         Contingent
                                                                      Unliquidated
 harleysville, PA, 19438                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7532
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             249.97
                                                                                                                     $________________________________
 Stephen Mok                                                          Contingent
 241 South Vinedo Avenue                                              Unliquidated
                                                                      Disputed
 Pasadena, CA, 91107
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7533
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       68.97
                                                                                                                     $________________________________
 Stephen Pieper                                                      Check all that apply.
 41 Crystal Circle                                                    Contingent
                                                                      Unliquidated
 Burlington, MA, 1803                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7534
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 stephen rountree                                                    Check all that apply.
                                                                                                                      62.63
                                                                                                                     $________________________________
 post office box 2231                                                 Contingent
                                                                      Unliquidated
 statesboro, GA, 30459                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7535
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 Stephen Sarafin                                                     Check all that apply.
 19002 Atasca South Drive                                             Contingent
                                                                      Unliquidated
 Humble, TX, 77346                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7536
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stephen Strong                                                      Check all that apply.
                                                                                                                       12.92
                                                                                                                     $________________________________
 3950 Coriander Dr                                                    Contingent
                                                                      Unliquidated
 Hesperia, CA, 92345                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7537
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             51.92
                                                                                                                     $________________________________
 Stephen Young                                                        Contingent
 7717 Milwaukee Avenue Ste E,                                         Unliquidated
                                                                      Disputed
 Lubbock, TX, 79424
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7538
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.99
                                                                                                                     $________________________________
 Stephen Zayac                                                       Check all that apply.
 602 East Southcross                                                  Contingent
                                                                      Unliquidated
 San Antonio, TX, 78214                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7539
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steve Davies                                                        Check all that apply.
                                                                                                                      38.13
                                                                                                                     $________________________________
 5808 Elkins Street                                                   Contingent
                                                                      Unliquidated
 Glen Burnie, MD, 21061                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7540
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.58
                                                                                                                     $________________________________
 Steve Grubb                                                         Check all that apply.
 6726 W Devon Ave                                                     Contingent
                                                                      Unliquidated
 Chicago, IL, 60631                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7541
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steve Hladek                                                        Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 12421 Mitchell Ave                                                   Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90066                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7542
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             8.99
                                                                                                                     $________________________________
 Steve Johnson                                                        Contingent
 786 Robin Drive SE                                                   Unliquidated
                                                                      Disputed
 Conyers, GA, 30094
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7543
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       127.94
                                                                                                                     $________________________________
 Steve Morris                                                        Check all that apply.
 18 Woodland Road, --                                                 Contingent
                                                                      Unliquidated
 Denville, NJ, 7834                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7544
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steve Peterson                                                      Check all that apply.
                                                                                                                      13.99
                                                                                                                     $________________________________
 1048 Fort Drive                                                      Contingent
                                                                      Unliquidated
 Bowling Green, OH, 43402                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7545
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.99
                                                                                                                     $________________________________
 Steve Ritter                                                        Check all that apply.
 1523 N.E. 141st Ave                                                  Contingent
                                                                      Unliquidated
 Vancouver, WA, 98684                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7546
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steve Roman                                                         Check all that apply.
                                                                                                                       197.26
                                                                                                                     $________________________________
 3 Dohrman Ave                                                        Contingent
                                                                      Unliquidated
 Teaneck , NJ, 7666                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1535 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7547
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             60.33
                                                                                                                     $________________________________
 Steve schultze                                                       Contingent
 8312 mango way                                                       Unliquidated
                                                                      Disputed
 buena park, CA, 90620
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7548
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Steve Sorg                                                          Check all that apply.
 6636 Tobias Avenue                                                   Contingent
                                                                      Unliquidated
 Los Angeles, CA, 91405                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7549
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steve Soukaserm                                                     Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 719 Bollons Island St                                                Contingent
                                                                      Unliquidated
 Henderson, NV, 89002                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7550
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.99
                                                                                                                     $________________________________
 Steve Truscello                                                     Check all that apply.
 186 Tallassee Trail                                                  Contingent
                                                                      Unliquidated
 Leesburg, GA, 31763                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7551
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steve Wake                                                          Check all that apply.
                                                                                                                       29.46
                                                                                                                     $________________________________
 1148 Opal St, Unit 102                                               Contingent
                                                                      Unliquidated
 Broomfield, CO, 80020                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1536 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7552
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 Steve Wheeler                                                        Contingent
 2419 Sandy Dr                                                        Unliquidated
                                                                      Disputed
 Clarksville, TN, 37043-5528
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7553
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.96
                                                                                                                     $________________________________
 Steve Zurita                                                        Check all that apply.
 10645 Foggy Glen Ave                                                 Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89135-1122                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7554
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steven Martinez                                                     Check all that apply.
                                                                                                                      38.10
                                                                                                                     $________________________________
 6109 Klickitat Ln                                                    Contingent
                                                                      Unliquidated
 Pasco, WA, 99301                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7555
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      148.99
                                                                                                                     $________________________________
 Steven Anderson                                                     Check all that apply.
 475 California 49                                                    Contingent
                                                                      Unliquidated
 Sonora, CA, 95370                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7556
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steven Baldwin                                                      Check all that apply.
                                                                                                                       44.99
                                                                                                                     $________________________________
 1348 Parkview Estates Dr                                             Contingent
                                                                      Unliquidated
 Ellisvile, MO, 63021                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1537 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7557
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Steven Borsch                                                        Contingent
 21 Colette Drive                                                     Unliquidated
                                                                      Disputed
 Poughkeepsie, NY, 12601
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7558
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       83.94
                                                                                                                     $________________________________
 Steven Cancinos                                                     Check all that apply.
 3477 W 50th St                                                       Contingent
                                                                      Unliquidated
 Cleveland, OH, 44102                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7559
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steven Daniels                                                      Check all that apply.
                                                                                                                      17.98
                                                                                                                     $________________________________
 906 Mcintosh Circle                                                  Contingent
                                                                      Unliquidated
 Belton, MO, 64012                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7560
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.99
                                                                                                                     $________________________________
 Steven Doss                                                         Check all that apply.
 140 woody acres drive                                                Contingent
                                                                      Unliquidated
 odenville, AL, 35120                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7561
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 STEVEN EDER                                                         Check all that apply.
                                                                                                                       13.99
                                                                                                                     $________________________________
 137 Cherry Avenue                                                    Contingent
                                                                      Unliquidated
 Hampton, VA, 23661                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1538 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7562
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             252.71
                                                                                                                     $________________________________
 Steven Epps                                                          Contingent
 533 King George Ave SW                                               Unliquidated
                                                                      Disputed
 Roanoke, VA, 24016
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7563
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       60.98
                                                                                                                     $________________________________
 Steven Gannon                                                       Check all that apply.
 2509 Boylston Ct                                                     Contingent
                                                                      Unliquidated
 Zionsville, IN, 46077                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7564
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steven Gaudiano                                                     Check all that apply.
                                                                                                                      71.65
                                                                                                                     $________________________________
 368 Wild Rose Lane                                                   Contingent
                                                                      Unliquidated
 Romeoville, IL, 60446                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7565
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Steven Geiger                                                       Check all that apply.
 2010 KINGS FOREST TRL                                                Contingent
                                                                      Unliquidated
 MOUNT AIRY, MD, 21771-8747                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7566
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steven Gutierrez Jr                                                 Check all that apply.
                                                                                                                       17.99
                                                                                                                     $________________________________
 5904 Arc Dome Avenue                                                 Contingent
                                                                      Unliquidated
 Bakersfield, CA, 93313-4965                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1539 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7567
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             78.06
                                                                                                                     $________________________________
 Steven Hilt                                                          Contingent
 3002 Foxtail Ct                                                      Unliquidated
                                                                      Disputed
 Schofield, WI, 54476
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7568
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       278.91
                                                                                                                     $________________________________
 Steven Hom                                                          Check all that apply.
 8799 Bay Parkway                                                     Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7569
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steven Kent Mapes                                                   Check all that apply.
                                                                                                                      86.59
                                                                                                                     $________________________________
 4327 Country Lane                                                    Contingent
                                                                      Unliquidated
 Grapevine, TX, 76051                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7570
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      130.93
                                                                                                                     $________________________________
 Steven Lopez                                                        Check all that apply.
 2002 18th St                                                         Contingent
                                                                      Unliquidated
 Hondo, TX, 78861-1624                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7571
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steven Love                                                         Check all that apply.
                                                                                                                       79.99
                                                                                                                     $________________________________
 3201 marion ct.                                                      Contingent
                                                                      Unliquidated
 Louisville, KY, 40206                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1540 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7572
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.74
                                                                                                                     $________________________________
 Steven Ly                                                            Contingent
 330 Tremont Street, Apt A803                                         Unliquidated
                                                                      Disputed
 Boston, MA, 2116
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7573
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.51
                                                                                                                     $________________________________
 Steven Michaud                                                      Check all that apply.
 5 Poplar Ter                                                         Contingent
                                                                      Unliquidated
 Somerdale, NJ, 08083-2016                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7574
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steven Nguyen                                                       Check all that apply.
                                                                                                                      172.39
                                                                                                                     $________________________________
 84 Legacy Way                                                        Contingent
                                                                      Unliquidated
 Irvine, CA, 92602                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7575
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      138.08
                                                                                                                     $________________________________
 Steven Pearlman                                                     Check all that apply.
 19 Brentwood Dr.                                                     Contingent
                                                                      Unliquidated
 Verona, NJ, 7044                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7576
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steven Pearlman                                                     Check all that apply.
                                                                                                                       621.62
                                                                                                                     $________________________________
 19 Brentwood Dr.                                                     Contingent
                                                                      Unliquidated
 Verona, NJ, 7044                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1541 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7577
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.99
                                                                                                                     $________________________________
 Steven Perez                                                         Contingent
 458 west 38 St                                                       Unliquidated
                                                                      Disputed
 San Pedro, CA, 90731
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7578
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.94
                                                                                                                     $________________________________
 Steven R Wallace                                                    Check all that apply.
 388 Kelinske Rd                                                      Contingent
                                                                      Unliquidated
 Elm Mott, TX, 76640                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7579
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steven Rivera                                                       Check all that apply.
                                                                                                                      33.99
                                                                                                                     $________________________________
 HC 03 box 10973                                                      Contingent
                                                                      Unliquidated
 Juana D??az, PR, 795                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7580
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      262.50
                                                                                                                     $________________________________
 Steven Rutt                                                         Check all that apply.
 112 Apollo Ct                                                        Contingent
                                                                      Unliquidated
 Mukwonago, WI, 53149                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7581
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Steven Tuttle                                                       Check all that apply.
                                                                                                                       64.99
                                                                                                                     $________________________________
 6105 S 34th St, Apt 107                                              Contingent
                                                                      Unliquidated
 Lincoln, NE, 68516-4793                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1542 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7582
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             89.83
                                                                                                                     $________________________________
 Steven Tyree                                                         Contingent
 5924 bobwhite ave.                                                   Unliquidated
                                                                      Disputed
 El paso, TX, 79924
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7583
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       44.99
                                                                                                                     $________________________________
 Steven x Kenyon                                                     Check all that apply.
 62 Locust St                                                         Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15223                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7584
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stevie Urbina                                                       Check all that apply.
                                                                                                                      35.75
                                                                                                                     $________________________________
 9 oakwood drive street, apartment 157                                Contingent
                                                                      Unliquidated
 Peekskill, NY, 10566                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7585
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      390.89
                                                                                                                     $________________________________
 Stewart Lilly                                                       Check all that apply.
 2073 Highway 42 W                                                    Contingent
                                                                      Unliquidated
 Bedford, KY, 40006                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7586
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stuart Janousky                                                     Check all that apply.
                                                                                                                       73.97
                                                                                                                     $________________________________
 2152 Camel Lake Court                                                Contingent
                                                                      Unliquidated
 Oviedo, FL, 32765                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1543 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7587
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             219.99
                                                                                                                     $________________________________
 Sub Lee                                                              Contingent
 8011 San Leon Cir                                                    Unliquidated
                                                                      Disputed
 Buena Park, CA, 90620
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7588
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.98
                                                                                                                     $________________________________
 Sue Harralson                                                       Check all that apply.
 7300 Foxtree Cv                                                      Contingent
                                                                      Unliquidated
 Austin, TX, 78750                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7589
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sue Hoch                                                            Check all that apply.
                                                                                                                      45.55
                                                                                                                     $________________________________
 14642 Paul Revere Lane                                               Contingent
                                                                      Unliquidated
 Plainfield, IL, 60544                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7590
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Sue Holzbauer                                                       Check all that apply.
 3445 210th Ave.                                                      Contingent
                                                                      Unliquidated
 Breckenridge, MN, 56520                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7591
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Suha Khondker                                                       Check all that apply.
                                                                                                                       79.99
                                                                                                                     $________________________________
 85-38 168th place, Apt 2                                             Contingent
                                                                      Unliquidated
 Jamaica, NY, 11432                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1544 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7592
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.99
                                                                                                                     $________________________________
 Summer Warren                                                        Contingent
 202 Meadow Wood Ct                                                   Unliquidated
                                                                      Disputed
 Thomasville, NC, 27360
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7593
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       99.99
                                                                                                                     $________________________________
 Sung-Young Trifault                                                 Check all that apply.
 165 Seaman Ave, 1C                                                   Contingent
                                                                      Unliquidated
 NEW YORK, NY, 10034                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7594
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Susa laura giron                                                    Check all that apply.
                                                                                                                      35.97
                                                                                                                     $________________________________
 7343 NW 79th Ter.                                                    Contingent
                                                                      Unliquidated
 Medley, FL, 33166                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7595
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.52
                                                                                                                     $________________________________
 Susan Becker                                                        Check all that apply.
 po box 1465                                                          Contingent
                                                                      Unliquidated
 Blue Ridge, 30513-1064                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7596
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Susan Bradley                                                       Check all that apply.
                                                                                                                       12.83
                                                                                                                     $________________________________
 1001 S Sumner St, Apt. 17                                            Contingent
                                                                      Unliquidated
 Creston, IA, 50801                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1545 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7597
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37.79
                                                                                                                     $________________________________
 Susan Her                                                            Contingent
 1225 Weston Drive                                                    Unliquidated
                                                                      Disputed
 Decatur, GA, 30032
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7598
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       84.99
                                                                                                                     $________________________________
 Susan Koscielski                                                    Check all that apply.
 17350 E. Temple Ave, 345                                             Contingent
                                                                      Unliquidated
 La Puente, CA, 91744                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7599
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Susan Lawson                                                        Check all that apply.
                                                                                                                      12.71
                                                                                                                     $________________________________
 1519 talmadge way                                                    Contingent
                                                                      Unliquidated
 louisville, KY, 40216                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7600
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Susan Magasiny                                                      Check all that apply.
 417 Anvil Dr                                                         Contingent
                                                                      Unliquidated
 Kennett Square, PA, 19348-1821                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7601
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Susan McAdams                                                       Check all that apply.
                                                                                                                       59.94
                                                                                                                     $________________________________
 1875 Cherokee Rose Circle                                            Contingent
                                                                      Unliquidated
 Mount Pleasant, SC, 29466                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1546 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7602
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.04
                                                                                                                     $________________________________
 Susan McCarthy                                                       Contingent
 4178 Liberty Drive                                                   Unliquidated
                                                                      Disputed
 Orchard Park, NY, 14127
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7603
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.79
                                                                                                                     $________________________________
 Susan Tabassum                                                      Check all that apply.
 302 West 5th Street                                                  Contingent
                                                                      Unliquidated
 Lansdale, PA, 19446                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7604
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Susan Viola                                                         Check all that apply.
                                                                                                                      47.89
                                                                                                                     $________________________________
 20-20 35th Street                                                    Contingent
                                                                      Unliquidated
 Astoria, NY, 11105                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7605
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Susana Diaz                                                         Check all that apply.
 364 E BARD RD                                                        Contingent
                                                                      Unliquidated
 Oxnard, CA, 93033                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7606
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Susana Romero Vazquez                                               Check all that apply.
                                                                                                                       97.97
                                                                                                                     $________________________________
 609 Galtier Street                                                   Contingent
                                                                      Unliquidated
 St. Paul , MN, 55103                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1547 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7607
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.37
                                                                                                                     $________________________________
 Susanne Miller                                                       Contingent
 318 Bynum Ridge Rd                                                   Unliquidated
                                                                      Disputed
 Forest Hill, MD, 21050
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7608
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.98
                                                                                                                     $________________________________
 Susie Wells                                                         Check all that apply.
 507 vina ct                                                          Contingent
                                                                      Unliquidated
 Livingston, CA, 95334                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7609
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Suzanne Bastian                                                     Check all that apply.
                                                                                                                      26.97
                                                                                                                     $________________________________
 2835 Euclid Avenue                                                   Contingent
                                                                      Unliquidated
 Duboistown, PA, 17702                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7610
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 Suzanne Masri                                                       Check all that apply.
 121 Beacon Hill Drive                                                Contingent
                                                                      Unliquidated
 Coraopolis, PA, 15108                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7611
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 suzanne stevens hisey                                               Check all that apply.
                                                                                                                       44.99
                                                                                                                     $________________________________
 2889 NW 24th Way                                                     Contingent
                                                                      Unliquidated
 boca raton, FL, 33431                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1548 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7612
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 suzy bondoc                                                          Contingent
 17 York Way                                                          Unliquidated
                                                                      Disputed
 Hockessin, DE, 19707
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7613
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.15
                                                                                                                     $________________________________
 Svetlana Embrey                                                     Check all that apply.
 233 East Lakewood Street                                             Contingent
                                                                      Unliquidated
 Morton, IL, 61550                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7614
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sydney Francoeur                                                    Check all that apply.
                                                                                                                      42.69
                                                                                                                     $________________________________
 3600 West Kirkwood Street                                            Contingent
                                                                      Unliquidated
 Rogers, AR, 72758                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7615
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.99
                                                                                                                     $________________________________
 Sydney Gonzalez                                                     Check all that apply.
 3704 Southwest 150th Court                                           Contingent
                                                                      Unliquidated
 Miami, FL, 33185                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7616
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sydney Hanson                                                       Check all that apply.
                                                                                                                       49.60
                                                                                                                     $________________________________
 3449 N ELAINE PL, 307, 110                                           Contingent
                                                                      Unliquidated
 Chicago, IL, 60657                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1549 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7617
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Sydney Parrott                                                       Contingent
 14862 County Road 1 50                                               Unliquidated
                                                                      Disputed
 Edon, OH, 43518-9679
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7618
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       174.07
                                                                                                                     $________________________________
 Sydney Underwood                                                    Check all that apply.
 3309 72nd Avenue Court Northwest                                     Contingent
                                                                      Unliquidated
 Gig Harbor, WA, 98335                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7619
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 syed SHAH                                                           Check all that apply.
                                                                                                                      148.88
                                                                                                                     $________________________________
 1101 65th street apt#4b                                              Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11219                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7620
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.61
                                                                                                                     $________________________________
 Sylvia Torres                                                       Check all that apply.
 15526 Jimenez rd                                                     Contingent
                                                                      Unliquidated
 SAN BENITO, TX, 78586                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7621
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Symone Merriman                                                     Check all that apply.
                                                                                                                       88.99
                                                                                                                     $________________________________
 11811 LaPadera Lane                                                  Contingent
                                                                      Unliquidated
 Florissant, MO, 63033                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1550 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7622
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.84
                                                                                                                     $________________________________
 Syrena West                                                          Contingent
 185 Macedonia Road                                                   Unliquidated
                                                                      Disputed
 Cherokee, NC, 28719
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7623
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       110.22
                                                                                                                     $________________________________
 Sysy Second                                                         Check all that apply.
 288 St Phillip Ct.                                                   Contingent
                                                                      Unliquidated
 Fremont, CA, 94539                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7624
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Szandor Voorhis                                                     Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 409 S Barry St                                                       Contingent
                                                                      Unliquidated
 Greenville, MI, 48838                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7625
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 T Grant Lewis                                                       Check all that apply.
 114 Dummitt Ave                                                      Contingent
                                                                      Unliquidated
 Fayetteville, WV, 25840                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7626
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tabitha Bradley                                                     Check all that apply.
                                                                                                                       266.93
                                                                                                                     $________________________________
 5208 Hollyridge Dr                                                   Contingent
                                                                      Unliquidated
 Raleigh, NC, 27612                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1551 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7627
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             319.35
                                                                                                                     $________________________________
 Tabitha Bradley                                                      Contingent
 5208 Hollyridge Dr                                                   Unliquidated
                                                                      Disputed
 Raleigh, NC, 27612
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7628
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       183.98
                                                                                                                     $________________________________
 Tahir Mahmood                                                       Check all that apply.
 214-08 110th Ave                                                     Contingent
                                                                      Unliquidated
 Queens Village, NY, 11429                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7629
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Taiyanna I Pereira                                                  Check all that apply.
                                                                                                                      23.98
                                                                                                                     $________________________________
 3231 West Boone Avenue, #Unit 425                                    Contingent
                                                                      Unliquidated
 Spokane, WA, 99201                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7630
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      29.15
                                                                                                                     $________________________________
 Tajalee Andrews                                                     Check all that apply.
 1335 8th Avenue                                                      Contingent
                                                                      Unliquidated
 Watervliet, NY, 12189                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7631
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Takashi Midorikawa                                                  Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 21151 Maria Lane                                                     Contingent
                                                                      Unliquidated
 Saratoga, CA, 95070                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1552 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7632
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Talia Clayborn                                                       Contingent
 797 Mount Tabor Church Rd                                            Unliquidated
                                                                      Disputed
 Pickens, SC, 29671
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7633
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       175.94
                                                                                                                     $________________________________
 Talia Rodriguez                                                     Check all that apply.
 1308 e del rio drive                                                 Contingent
                                                                      Unliquidated
 Tempe, AZ, 85282                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7634
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tallun Anderson                                                     Check all that apply.
                                                                                                                      38.99
                                                                                                                     $________________________________
 377 Fringe Ruff Drive                                                Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89148                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7635
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.62
                                                                                                                     $________________________________
 Tamara Joyner                                                       Check all that apply.
 34711 Shangri ln.                                                    Contingent
                                                                      Unliquidated
 Yucaipa, CA, 92399                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7636
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tamara McKenzie                                                     Check all that apply.
                                                                                                                       26.99
                                                                                                                     $________________________________
 7418 Tyrone Avenue                                                   Contingent
                                                                      Unliquidated
 Van Nuys, CA, 91405                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1553 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7637
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.11
                                                                                                                     $________________________________
 Tamara Ruiz                                                          Contingent
 231 De bord Drive                                                    Unliquidated
                                                                      Disputed
 Tracy, CA, 95376
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7638
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.38
                                                                                                                     $________________________________
 Tamara Smith                                                        Check all that apply.
 1433 East 89th Street                                                Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11236                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7639
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tamara Whyte                                                        Check all that apply.
                                                                                                                      12.63
                                                                                                                     $________________________________
 2180 Silk Wood Ct                                                    Contingent
                                                                      Unliquidated
 Charlottesville, VA, 22911                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7640
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.36
                                                                                                                     $________________________________
 Tamarah Knudsen                                                     Check all that apply.
 5418 NW 79TH AVE, CR TRACK 001                                       Contingent
                                                                      Unliquidated
 Doral, FL, 33195                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7641
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tameka Rushing                                                      Check all that apply.
                                                                                                                       35.98
                                                                                                                     $________________________________
 2300 Story Road W 166783                                             Contingent
                                                                      Unliquidated
 Irving, TX, 75038                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7642
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             55.71
                                                                                                                     $________________________________
 Tamia Nguyen                                                         Contingent
 121 Yolo Ct                                                          Unliquidated
                                                                      Disputed
 Bay Point, CA, 94565
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7643
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Tamille Pierson                                                     Check all that apply.
 11849 Cedarbrook dr.                                                 Contingent
                                                                      Unliquidated
 South Lyon, MI, 48178                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7644
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tammara Boerstler                                                   Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 214 Robinson Drive                                                   Contingent
                                                                      Unliquidated
 New Ellenton, SC, 29809                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7645
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.09
                                                                                                                     $________________________________
 Tammera Marks                                                       Check all that apply.
 5329 Dorchester                                                      Contingent
                                                                      Unliquidated
 Kalamazoo, MI, 49048                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7646
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tammi Cassady                                                       Check all that apply.
                                                                                                                       13.25
                                                                                                                     $________________________________
 4903 234th ST SW                                                     Contingent
                                                                      Unliquidated
 Mountlake Terrace, WA, 98043                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1555 of Case number (if known)_____________________________________
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7647
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.78
                                                                                                                     $________________________________
 Tammy k Ervin                                                        Contingent
 7360 Portie-Flamingo Rd. SE.                                         Unliquidated
                                                                      Disputed
 New Lexington, OH, 43764
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7648
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       77.99
                                                                                                                     $________________________________
 Tammy Davis                                                         Check all that apply.
 3415 189th St SE                                                     Contingent
                                                                      Unliquidated
 Bothell, WA, 98012                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7649
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tammy Donnelly                                                      Check all that apply.
                                                                                                                      69.99
                                                                                                                     $________________________________
 81 Northwoods Drive                                                  Contingent
                                                                      Unliquidated
 Wading River, NY, 11792                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7650
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      74.95
                                                                                                                     $________________________________
 Tammy Jacobs                                                        Check all that apply.
 9774 Creekside Way                                                   Contingent
                                                                      Unliquidated
 Streetsboro, OH, 44241                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7651
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 tammy kern                                                          Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 530 Timberlake Avenue                                                Contingent
                                                                      Unliquidated
 Erlanger, KY, 41018                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1556 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7652
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             174.99
                                                                                                                     $________________________________
 Tammy Nourse                                                         Contingent
 2516 Conrad St.                                                      Unliquidated
                                                                      Disputed
 Bossier City, LA, 71111
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7653
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       59.95
                                                                                                                     $________________________________
 Tammy Phan                                                          Check all that apply.
 2565 Stonecreek Dr                                                   Contingent
                                                                      Unliquidated
 Akron, OH, 44320                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7654
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tammy Stone                                                         Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 9175 Firethorn Court                                                 Contingent
                                                                      Unliquidated
 Manassas, VA, 20110                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7655
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      129.99
                                                                                                                     $________________________________
 Tana Flowers                                                        Check all that apply.
 185 White Pine Canyon Road                                           Contingent
                                                                      Unliquidated
 Park City, UT, 84060                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7656
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tanner Lozier                                                       Check all that apply.
                                                                                                                       14.01
                                                                                                                     $________________________________
 199 Country View Drive                                               Contingent
                                                                      Unliquidated
 Harrison, OH, 45030                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1557 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7657
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.13
                                                                                                                     $________________________________
 Tanner Sigears                                                       Contingent
 1109 Madison Street                                                  Unliquidated
                                                                      Disputed
 Clarksville, TN, 37040
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7658
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.33
                                                                                                                     $________________________________
 Tanner Working                                                      Check all that apply.
 141 Gore Road                                                        Contingent
                                                                      Unliquidated
 Onalaska, WA, 98570                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7659
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tanya skernick                                                      Check all that apply.
                                                                                                                      13.99
                                                                                                                     $________________________________
 4302 Meadowwood Drive                                                Contingent
                                                                      Unliquidated
 Rapid City, SD, 57702                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7660
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      109.51
                                                                                                                     $________________________________
 Tapan Sharma                                                        Check all that apply.
 7224 Ridge Creek Trail                                               Contingent
                                                                      Unliquidated
 Shakopee, MN, 55379                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7661
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tara Bradley                                                        Check all that apply.
                                                                                                                       5.99
                                                                                                                     $________________________________
 2020 Parkview Cove                                                   Contingent
                                                                      Unliquidated
 Biloxi, MS, 39532                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.        Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor           _______________________________________________________
                   Name                           Document Page 1558 of Case number (if known)_____________________________________
                                                                          2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7662
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             23.58
                                                                                                                      $________________________________
 Tara Collison                                                         Contingent
 1105 Northeast 5th Avenue                                             Unliquidated
                                                                       Disputed
 Aledo, IL, 61231
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  7663
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        35.15
                                                                                                                      $________________________________
 Tara Dienes                                                          Check all that apply.
 299 Friedell St                                                       Contingent
                                                                       Unliquidated
 San Francisco, CA, 94124                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  7664
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Tara McEvoy                                                          Check all that apply.
                                                                                                                       10.99
                                                                                                                      $________________________________
 30 Taft Ave                                                           Contingent
                                                                       Unliquidated
 Lynbrook, NY, 11563-1429                                              Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  7665
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       107.97
                                                                                                                      $________________________________
 Tara Palmer                                                          Check all that apply.
 24 elm street                                                         Contingent
                                                                       Unliquidated
 Lackawanna, NY, 14218                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  7666
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Tara Santoro                                                         Check all that apply.
                                                                                                                        10.99
                                                                                                                      $________________________________
 302 Windsor Pl                                                        Contingent
                                                                       Unliquidated
 Macungie, PA, 18062                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



    Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1559 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7667
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             337.97
                                                                                                                     $________________________________
 Tarek Refaie                                                         Contingent
 3 tara lane                                                          Unliquidated
                                                                      Disputed
 montville, NJ, 7045
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7668
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.79
                                                                                                                     $________________________________
 Tarun Pilli                                                         Check all that apply.
 3189 Deanpark Drive                                                  Contingent
                                                                      Unliquidated
 Hilliard, OH, 43026                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7669
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Taunisha Manning                                                    Check all that apply.
                                                                                                                      27.99
                                                                                                                     $________________________________
 1675 Paseo Del Oro, 302                                              Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91913                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7670
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.42
                                                                                                                     $________________________________
 Taunja Thomson                                                      Check all that apply.
 1095 Schabell Drive                                                  Contingent
                                                                      Unliquidated
 Highland Heights, KY, 41076                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7671
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tawnia White                                                        Check all that apply.
                                                                                                                       17.98
                                                                                                                     $________________________________
 1914 N BEECHWOOD DR                                                  Contingent
                                                                      Unliquidated
 FLORENCE, AL, 35630                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1560 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7672
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             79.35
                                                                                                                     $________________________________
 Tayler Hutchinson                                                    Contingent
 1801 leoni dr                                                        Unliquidated
                                                                      Disputed
 Hanford, CA, 93230
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7673
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.95
                                                                                                                     $________________________________
 tayler smith                                                        Check all that apply.
 2680 Vista De Avila                                                  Contingent
                                                                      Unliquidated
 Avila Beach, CA, 93424                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7674
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Taylor Barnes                                                       Check all that apply.
                                                                                                                      34.64
                                                                                                                     $________________________________
 5801 East Albany Street, 5801                                        Contingent
                                                                      Unliquidated
 Mesa, AZ, 85205                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7675
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.46
                                                                                                                     $________________________________
 Taylor Fortin                                                       Check all that apply.
 12100 Lima Drive                                                     Contingent
                                                                      Unliquidated
 Manor, TX, 78653                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7676
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Taylor Fuess                                                        Check all that apply.
                                                                                                                       28.95
                                                                                                                     $________________________________
 262 Capitan St                                                       Contingent
                                                                      Unliquidated
 Thousand Oaks, CA, 91320                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1561 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7677
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             138.98
                                                                                                                     $________________________________
 Taylor Fuess                                                         Contingent
 368 Spring Oak Road, 1831                                            Unliquidated
                                                                      Disputed
 Camarillo, CA, 93010
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7678
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       41.77
                                                                                                                     $________________________________
 Taylor Hawkins                                                      Check all that apply.
 6582 133rd St W                                                      Contingent
                                                                      Unliquidated
 Apple Valley, MN, 55124                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7679
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Taylor Kimberly                                                     Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 7906 clover court                                                    Contingent
                                                                      Unliquidated
 La vista, NE, 68128                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7680
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.99
                                                                                                                     $________________________________
 Taylor koziol                                                       Check all that apply.
 80 North Raccoon , 69                                                Contingent
                                                                      Unliquidated
 Youngstown, OH, 44515                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7681
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Taylor Mecimore                                                     Check all that apply.
                                                                                                                       31.02
                                                                                                                     $________________________________
 224 Burette Fox Lane                                                 Contingent
                                                                      Unliquidated
 Township of Taylorsville, NC, 28681                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7682
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Taylor Mitchell                                                      Contingent
 2237 South Fern Avenue, Unit E                                       Unliquidated
                                                                      Disputed
 Ontario, CA, 91762
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7683
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       239.24
                                                                                                                     $________________________________
 Ted Quitasol                                                        Check all that apply.
 7887 Arroyo Vista Court                                              Contingent
                                                                      Unliquidated
 Riverside, CA, 92506                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7684
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Teddy Ouwerkerk                                                     Check all that apply.
                                                                                                                      36.98
                                                                                                                     $________________________________
 4615 Center Boulevard, 1707                                          Contingent
                                                                      Unliquidated
 Queens, NY, 11109                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7685
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      114.97
                                                                                                                     $________________________________
 TEENA LORIE HARRIS                                                  Check all that apply.
 2351 West Altgeld Street                                             Contingent
                                                                      Unliquidated
 Chicago, IL, 60647                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7686
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tella Silver                                                        Check all that apply.
                                                                                                                       38.78
                                                                                                                     $________________________________
 2079 South 1200 East,, Unit 104                                      Contingent
                                                                      Unliquidated
 Salt Lake City, UT, 84105                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1563 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7687
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Tena Zertuche                                                        Contingent
 10485 Neale Sound Ct                                                 Unliquidated
                                                                      Disputed
 Gainesville, VA, 20155
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7688
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.99
                                                                                                                     $________________________________
 Teng Jiang                                                          Check all that apply.
 2347 Chadlington Road                                                Contingent
                                                                      Unliquidated
 Falls Church, VA, 22043                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7689
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tenysha Billings                                                    Check all that apply.
                                                                                                                      12.92
                                                                                                                     $________________________________
 2205 Ambassador Rd NE, Apt 335                                       Contingent
                                                                      Unliquidated
 Albuquerque, NM, 87112                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7690
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Teppei Hata                                                         Check all that apply.
 425 South St. #3001                                                  Contingent
                                                                      Unliquidated
 Honolulu, HI, 96813                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7691
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tequlia Baker                                                       Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 739east third st.                                                    Contingent
                                                                      Unliquidated
 xenia, OH, 45385                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1564 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7692
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.96
                                                                                                                     $________________________________
 Terence Chou                                                         Contingent
 804 s 318th st                                                       Unliquidated
                                                                      Disputed
 federal way, WA, 98003
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7693
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Terence Edgar                                                       Check all that apply.
 911 Shadow Ridge Dr                                                  Contingent
                                                                      Unliquidated
 Pensacola, FL, 32514                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7694
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Terence Freeman                                                     Check all that apply.
                                                                                                                      36.47
                                                                                                                     $________________________________
 236 Thompson Avenue                                                  Contingent
                                                                      Unliquidated
 Middletown Township, NJ, 7748                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7695
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.69
                                                                                                                     $________________________________
 Teresa Dinuova                                                      Check all that apply.
 13 Lancaster Avenue                                                  Contingent
                                                                      Unliquidated
 Quarryville, PA, 17566                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7696
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 TEresa Holland                                                      Check all that apply.
                                                                                                                       36.97
                                                                                                                     $________________________________
 3210 Trails Lake Drive                                               Contingent
                                                                      Unliquidated
 Medina, OH, 44256                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1565 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7697
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             78.99
                                                                                                                     $________________________________
 Teresa Melara                                                        Contingent
 10249 Limerick Avenue                                                Unliquidated
                                                                      Disputed
 Chatsworth, CA, 91311
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7698
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       309.92
                                                                                                                     $________________________________
 Teresa Romani                                                       Check all that apply.
 910 SE 37th Ave #307                                                 Contingent
                                                                      Unliquidated
 Portland, OR, 97214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7699
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Teresa Tocco                                                        Check all that apply.
                                                                                                                      8.99
                                                                                                                     $________________________________
 2 Sherry Ct                                                          Contingent
                                                                      Unliquidated
 Florissant, MO, 63031                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7700
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.98
                                                                                                                     $________________________________
 Teresa Zheng                                                        Check all that apply.
 8722 17th Avenue                                                     Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7701
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Terra Akagi                                                         Check all that apply.
                                                                                                                       28.39
                                                                                                                     $________________________________
 3143 Larchmont Lane                                                  Contingent
                                                                      Unliquidated
 San Pablo, CA, 94806                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1566 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7702
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             141.52
                                                                                                                     $________________________________
 Terrell Brooks-McEachern                                             Contingent
 1409 E 84th street                                                   Unliquidated
                                                                      Disputed
 Brooklyn, NY, 11236
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7703
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       148.98
                                                                                                                     $________________________________
 Terrence Chan                                                       Check all that apply.
 2216 Mustang Trl                                                     Contingent
                                                                      Unliquidated
 Frisco, TX, 75033                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7704
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Terri Ruggieri                                                      Check all that apply.
                                                                                                                      13.77
                                                                                                                     $________________________________
 42085 Plantation Circle                                              Contingent
                                                                      Unliquidated
 Elizabeth, CO, 80107                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7705
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Terry Brady                                                         Check all that apply.
 404 Pine St                                                          Contingent
                                                                      Unliquidated
 Strasburg, IL, 62465                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7706
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Terry Dishman                                                       Check all that apply.
                                                                                                                       21.39
                                                                                                                     $________________________________
 1924 West 38th Drive, 3                                              Contingent
                                                                      Unliquidated
 Kearney, NE, 68845                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1567 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7707
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             7.99
                                                                                                                     $________________________________
 Terry Irvin                                                          Contingent
 41065 Meadow Dr                                                      Unliquidated
                                                                      Disputed
 Three Rivers, CA, 93271
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7708
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       82.98
                                                                                                                     $________________________________
 Terry Toth                                                          Check all that apply.
 716 Hile Lane                                                        Contingent
                                                                      Unliquidated
 Englewood, OH, 45322                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7709
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 terry vaughn                                                        Check all that apply.
                                                                                                                      272.20
                                                                                                                     $________________________________
 758 Landons Way                                                      Contingent
                                                                      Unliquidated
 Spring Branch, TX, 78070                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7710
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      69.30
                                                                                                                     $________________________________
 Teryl Lepon                                                         Check all that apply.
 1545 Longboat Ave.                                                   Contingent
                                                                      Unliquidated
 Beachwood, NJ, 8722                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7711
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tesius Kent                                                         Check all that apply.
                                                                                                                       82.98
                                                                                                                     $________________________________
 2211 Ala Wai Boulevard, 1002                                         Contingent
                                                                      Unliquidated
 Honolulu, HI, 96815                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1568 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7712
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Tess Chapin                                                          Contingent
 4310 Timber Ridge Trail Southwest, Apt 9                             Unliquidated
                                                                      Disputed
 Wyoming, MI, 49519
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7713
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.89
                                                                                                                     $________________________________
 Tessa Solensky                                                      Check all that apply.
 106 Leffler Drive                                                    Contingent
                                                                      Unliquidated
 Johnstown, PA, 15904                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7714
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tevin Flores                                                        Check all that apply.
                                                                                                                      18.39
                                                                                                                     $________________________________
 1980 Horal Street, #724                                              Contingent
                                                                      Unliquidated
 San Antonio, TX, 78227                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7715
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      215.94
                                                                                                                     $________________________________
 Thaj Yeeb Yang                                                      Check all that apply.
 6489 N. DEWOLF                                                       Contingent
                                                                      Unliquidated
 CLOVIS, CA, 93619                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7716
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thalia Castro                                                       Check all that apply.
                                                                                                                       70.54
                                                                                                                     $________________________________
 10829 South Avenue E                                                 Contingent
                                                                      Unliquidated
 Chicago, IL, 60617                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1569 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7717
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             63.06
                                                                                                                     $________________________________
 Thanh Doan                                                           Contingent
 8925 Coyote Bush Road                                                Unliquidated
                                                                      Disputed
 Riverside, CA, 92508
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7718
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Thanh Nguyen                                                        Check all that apply.
 419 Daniels Place                                                    Contingent
                                                                      Unliquidated
 Bear, DE, 19701                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7719
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thanh Tam Nguyen                                                    Check all that apply.
                                                                                                                      37.99
                                                                                                                     $________________________________
 7352 Stahov Avenue                                                   Contingent
                                                                      Unliquidated
 Westminster, CA, 92683                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7720
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      605.61
                                                                                                                     $________________________________
 Thanh-Chi Le                                                        Check all that apply.
 1 Tammie Lane, 1127                                                  Contingent
                                                                      Unliquidated
 Peabody, MA, 1960                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7721
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thao Dao                                                            Check all that apply.
                                                                                                                       2,273.35
                                                                                                                     $________________________________
 2545 Brighton Drive                                                  Contingent
                                                                      Unliquidated
 East York, PA, 17402                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1570 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7722
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Thatcher Anderson                                                    Contingent
 378 Eliot Street                                                     Unliquidated
                                                                      Disputed
 Ashland, MA, 1721
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7723
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       51.00
                                                                                                                     $________________________________
 The Port Authority of NY & NJ                                       Check all that apply.
 PO Box 15186                                                         Contingent
                                                                      Unliquidated
 Albany, NY, 12212-5186                                               Disputed
                                                                     Basis for the claim: Toll violations



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7724
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thelma De la ola                                                    Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 346 E Dakota                                                         Contingent
                                                                      Unliquidated
 Laredo, TX, 78041                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7725
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      61.59
                                                                                                                     $________________________________
 Theodore Sewell                                                     Check all that apply.
 14720 Rinaldi Street                                                 Contingent
                                                                      Unliquidated
 San Fernando, CA, 91340                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7726
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Theresa Davidson                                                    Check all that apply.
                                                                                                                       27.18
                                                                                                                     $________________________________
 706 Smith St, Lower Apt                                              Contingent
                                                                      Unliquidated
 Buffalo, NY, 14206-2014                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1571 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7727
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Theresa Perez                                                        Contingent
 1318 Carol Place                                                     Unliquidated
                                                                      Disputed
 National City, CA, 91950
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7728
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       58.16
                                                                                                                     $________________________________
 Theresa Doan                                                        Check all that apply.
 2979 Cataldi Drive                                                   Contingent
                                                                      Unliquidated
 San Jose, CA, 95132                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7729
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Theresa Gogliormella                                                Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 407 Costa Mesa dr                                                    Contingent
                                                                      Unliquidated
 Toms River, NJ, 8757                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7730
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      149.26
                                                                                                                     $________________________________
 Theresa Kinczel                                                     Check all that apply.
 14 Brown Lane                                                        Contingent
                                                                      Unliquidated
 Plumsted Township, NJ, 8533                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7731
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Theresa Miracle                                                     Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 3751 Windhaven Drive                                                 Contingent
                                                                      Unliquidated
 Clarksville, TN, 37040                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1572 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7732
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Therese Guinto                                                       Contingent
 5905 Chestnut Road                                                   Unliquidated
                                                                      Disputed
 Independence, OH, 44131
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7733
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       249.99
                                                                                                                     $________________________________
 Therin Taylor                                                       Check all that apply.
 1018 S Adams Rd                                                      Contingent
                                                                      Unliquidated
 Spokane Valley, WA, 99037                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7734
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Paige                                                        Check all that apply.
                                                                                                                      12.95
                                                                                                                     $________________________________
 119 Braeburn Dr                                                      Contingent
                                                                      Unliquidated
 Montgomery, IL, 60538                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7735
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,366.34
                                                                                                                     $________________________________
 Thomas Woodstock                                                    Check all that apply.
 284 Walnut Path SW                                                   Contingent
                                                                      Unliquidated
 Marietta , GA, 30064                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7736
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 thomas accaria                                                      Check all that apply.
                                                                                                                       29.98
                                                                                                                     $________________________________
 154 S MORRISON ST                                                    Contingent
                                                                      Unliquidated
 COOS BAY, OR, 97420                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1573 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7737
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 Thomas Akagi                                                         Contingent
 10948 S Topview Rd                                                   Unliquidated
                                                                      Disputed
 South Jordan, UT, 84009
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7738
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Thomas Andreae                                                      Check all that apply.
 1108 Marcussen Drive                                                 Contingent
                                                                      Unliquidated
 Menlo Park, CA, 94025                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7739
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Arenas                                                       Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 5341 N Homerest Ave                                                  Contingent
                                                                      Unliquidated
 Azusa, CA, 91702                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7740
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      53.97
                                                                                                                     $________________________________
 Thomas Arnott                                                       Check all that apply.
 1560 N Summit St                                                     Contingent
                                                                      Unliquidated
 Wheaton, IL, 60187                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7741
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Bentley                                                      Check all that apply.
                                                                                                                       10.81
                                                                                                                     $________________________________
 1006 Dayton Dr                                                       Contingent
                                                                      Unliquidated
 Robinson, TX, 76706                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1574 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7742
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.99
                                                                                                                     $________________________________
 Thomas Black Hawk Jr                                                 Contingent
 150 GRANDVIEW LN                                                     Unliquidated
                                                                      Disputed
 BULLS GAP, TN, 37711
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7743
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       296.79
                                                                                                                     $________________________________
 Thomas Blake                                                        Check all that apply.
 50486 Bay Run N #1                                                   Contingent
                                                                      Unliquidated
 Chesterfield, MI, 48047                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7744
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Butler                                                       Check all that apply.
                                                                                                                      59.99
                                                                                                                     $________________________________
 268 Winding Pond Road                                                Contingent
                                                                      Unliquidated
 Londonderry, NH, 3053                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7745
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      138.88
                                                                                                                     $________________________________
 Thomas Christensen                                                  Check all that apply.
 128 Fairview Lane                                                    Contingent
                                                                      Unliquidated
 Streamwood, IL, 60107                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7746
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Custer                                                       Check all that apply.
                                                                                                                       37.09
                                                                                                                     $________________________________
 8225B School rd                                                      Contingent
                                                                      Unliquidated
 Ft. Campbell, KY, 42223                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1575 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7747
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.08
                                                                                                                     $________________________________
 Thomas Derrick                                                       Contingent
 611 Bell Fork Rd                                                     Unliquidated
                                                                      Disputed
 Jacksonville, NC, 28540-6315
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7748
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       136.48
                                                                                                                     $________________________________
 Thomas Domenech                                                     Check all that apply.
 1523 S. JOHNSON RD.                                                  Contingent
                                                                      Unliquidated
 NEW BERLIN, WI, 53146                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7749
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Dusza                                                        Check all that apply.
                                                                                                                      5.99
                                                                                                                     $________________________________
 10216 Church Road                                                    Contingent
                                                                      Unliquidated
 Huron, OH, 44839                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7750
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.99
                                                                                                                     $________________________________
 Thomas Ehrmann                                                      Check all that apply.
 5109 Lakehurst Court                                                 Contingent
                                                                      Unliquidated
 Palmetto, FL, 34221                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7751
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Fank                                                         Check all that apply.
                                                                                                                       13.02
                                                                                                                     $________________________________
 42 Linden Avenue                                                     Contingent
                                                                      Unliquidated
 Holtsville, NY, 11742                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7752
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             57.57
                                                                                                                     $________________________________
 Thomas Finocchio                                                     Contingent
 34 Sunshine Lane                                                     Unliquidated
                                                                      Disputed
 Edison, NJ, 8820
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7753
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       43.08
                                                                                                                     $________________________________
 Thomas Fisk                                                         Check all that apply.
 6931 ELM AVE                                                         Contingent
                                                                      Unliquidated
 CYPRESS, CA, 90630                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7754
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Harms                                                        Check all that apply.
                                                                                                                      197.94
                                                                                                                     $________________________________
 6708 John Smith Lane                                                 Contingent
                                                                      Unliquidated
 Hayes, VA, 23072                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7755
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.96
                                                                                                                     $________________________________
 Thomas Holloran                                                     Check all that apply.
 5170 Oak Hill Rd                                                     Contingent
                                                                      Unliquidated
 Delray Beach , FL, 33484                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7756
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Kantowski                                                    Check all that apply.
                                                                                                                       167.96
                                                                                                                     $________________________________
 2804 North 13th Street                                               Contingent
                                                                      Unliquidated
 Broken Arrow, OK, 74012                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1577 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7757
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             16.42
                                                                                                                     $________________________________
 Thomas Kehn                                                          Contingent
 16422 Bear Meadow Circle                                             Unliquidated
                                                                      Disputed
 Cerritos, CA, 90703-1904
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7758
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       25.23
                                                                                                                     $________________________________
 Thomas Kelly                                                        Check all that apply.
 13495 bancroft ave, APT B306                                         Contingent
                                                                      Unliquidated
 San Leandro, CA, 94578                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7759
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Kim                                                          Check all that apply.
                                                                                                                      49.98
                                                                                                                     $________________________________
 164 Manor Circle                                                     Contingent
                                                                      Unliquidated
 Jupiter, FL, 33458                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7760
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      79.72
                                                                                                                     $________________________________
 Thomas Ko                                                           Check all that apply.
 923 East Valley Boulevard #205                                       Contingent
                                                                      Unliquidated
 San Gabriel, CA, 91776                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7761
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Kreitlow                                                     Check all that apply.
                                                                                                                       25.98
                                                                                                                     $________________________________
 7222 E Rose Dr.                                                      Contingent
                                                                      Unliquidated
 Tucson, AZ, 85730                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1578 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7762
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             16.19
                                                                                                                     $________________________________
 Thomas Lavin                                                         Contingent
 4740 Brookgreen Road                                                 Unliquidated
                                                                      Disputed
 Martinez, GA, 30907
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7763
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       71.97
                                                                                                                     $________________________________
 Thomas Lee                                                          Check all that apply.
 13929 seagate dr                                                     Contingent
                                                                      Unliquidated
 san leandro, CA, 94577-6428                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7764
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas LoDico                                                       Check all that apply.
                                                                                                                      70.60
                                                                                                                     $________________________________
 21 Prairie Lane                                                      Contingent
                                                                      Unliquidated
 Lindenhurst, NY, 11757                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7765
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.00
                                                                                                                     $________________________________
 Thomas Mateyak                                                      Check all that apply.
 3401 Ravens Crest Drive                                              Contingent
                                                                      Unliquidated
 Plainsboro, NJ, 8536                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7766
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas McCarroll                                                    Check all that apply.
                                                                                                                       28.98
                                                                                                                     $________________________________
 2102 Stonelick Woods Dr.                                             Contingent
                                                                      Unliquidated
 Batavia, OH, 45103                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1579 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7767
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.86
                                                                                                                     $________________________________
 Thomas Olson                                                         Contingent
 345 Fraser Ln                                                        Unliquidated
                                                                      Disputed
 Ventura, CA, 93001
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7768
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.97
                                                                                                                     $________________________________
 Thomas Roshone                                                      Check all that apply.
 1018 Verdant Street                                                  Contingent
                                                                      Unliquidated
 The Dalles, OR, 97058                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7769
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Sheehan                                                      Check all that apply.
                                                                                                                      59.39
                                                                                                                     $________________________________
 218 North Transit Street                                             Contingent
                                                                      Unliquidated
 Lockport, NY, 14094                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7770
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      136.10
                                                                                                                     $________________________________
 Thomas Todd                                                         Check all that apply.
 95-214 Kuahaua Place                                                 Contingent
                                                                      Unliquidated
 Mililani, HI, 96789                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7771
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thomas Touhey                                                       Check all that apply.
                                                                                                                       34.97
                                                                                                                     $________________________________
 18305 Summerlin Drive                                                Contingent
                                                                      Unliquidated
 Hagerstown, MD, 21740                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1580 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7772
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             331.69
                                                                                                                     $________________________________
 Thomas Williams                                                      Contingent
 1143 Lyndale Dr                                                      Unliquidated
                                                                      Disputed
 Charleston, WV, 25314-2131
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7773
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.77
                                                                                                                     $________________________________
 Thomas Yankanich                                                    Check all that apply.
 109 Clarkdale Lane                                                   Contingent
                                                                      Unliquidated
 Gilbertsville, PA, 19525                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7774
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Thompson Truong                                                     Check all that apply.
                                                                                                                      76.19
                                                                                                                     $________________________________
 79 N 7th St                                                          Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11249-3005                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7775
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.98
                                                                                                                     $________________________________
 Thoms Serfes                                                        Check all that apply.
 2000B 6TH ST NE BASEMENT                                             Contingent
                                                                      Unliquidated
 Great Falls, MT, 59404                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7776
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tiana Pinai                                                         Check all that apply.
                                                                                                                       32.46
                                                                                                                     $________________________________
 104 South Prize Oaks                                                 Contingent
                                                                      Unliquidated
 Cedar Park, TX, 78613                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                  Name                           Document Page 1581 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7777
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             50.87
                                                                                                                     $________________________________
 tianyi zhuge                                                         Contingent
 1301 Briarwood Cir, room 400                                         Unliquidated
                                                                      Disputed
 Ann Arbor, MI, 48108
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7778
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       31.02
                                                                                                                     $________________________________
 Tiffany Bates                                                       Check all that apply.
 21140 Ponderosa Trail                                                Contingent
                                                                      Unliquidated
 Kiln, MS, 39556-6047                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7779
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tiffany Britton                                                     Check all that apply.
                                                                                                                      30.98
                                                                                                                     $________________________________
 22313 65TH AVE                                                       Contingent
                                                                      Unliquidated
 Bayside, NY, 11364                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7780
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.55
                                                                                                                     $________________________________
 Tiffany Gastineau                                                   Check all that apply.
 1556 Mark Welborn Rd                                                 Contingent
                                                                      Unliquidated
 Somerset, KY, 42503                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7781
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tiffany Karas                                                       Check all that apply.
                                                                                                                       37.99
                                                                                                                     $________________________________
 302 South Mulberry Street                                            Contingent
                                                                      Unliquidated
 Marshall, MI, 49068                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1582 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7782
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.15
                                                                                                                     $________________________________
 Tiffany Kerlin                                                       Contingent
 138 Wickham Drive                                                    Unliquidated
                                                                      Disputed
 Monaca, PA, 15061
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7783
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       159.98
                                                                                                                     $________________________________
 Tiffany Le                                                          Check all that apply.
 6752 Ambercrest Dr                                                   Contingent
                                                                      Unliquidated
 Arlington, TX, 76002                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7784
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 TIFFANY SANA                                                        Check all that apply.
                                                                                                                      496.06
                                                                                                                     $________________________________
 105 SANDHURST DR                                                     Contingent
                                                                      Unliquidated
 SIMPSONVILLE, SC, 29680                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7785
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.33
                                                                                                                     $________________________________
 Tiffany Sherman                                                     Check all that apply.
 3017 Kennedy Drive                                                   Contingent
                                                                      Unliquidated
 Northampton, PA, 18067                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7786
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tiffany Sutton                                                      Check all that apply.
                                                                                                                       44.99
                                                                                                                     $________________________________
 1407 Oak Marsh Street                                                Contingent
                                                                      Unliquidated
 Davenport, FL, 33837                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7787
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Tiffany Tran                                                         Contingent
 776 Sterling Hills Dr                                                Unliquidated
                                                                      Disputed
 Camarillo, CA, 93010
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7788
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 Tiffany Wernik                                                      Check all that apply.
 4522 Louise Ave                                                      Contingent
                                                                      Unliquidated
 Encino, CA, 91316                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7789
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tim Alberts                                                         Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 N6420 Ballard Rd                                                     Contingent
                                                                      Unliquidated
 Seymour, WI, 54165                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7790
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      46.91
                                                                                                                     $________________________________
 Tim DeCoursey Jr                                                    Check all that apply.
 1517 SW Indian Trl                                                   Contingent
                                                                      Unliquidated
 Topeka, KS, 66604                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7791
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tim Hardin                                                          Check all that apply.
                                                                                                                       37.99
                                                                                                                     $________________________________
 1311 wild rose lane                                                  Contingent
                                                                      Unliquidated
 gearhart, OR, 97138-4609                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1584 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7792
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.87
                                                                                                                     $________________________________
 Tim Lai                                                              Contingent
 125 Saint Paul St Apt 2224                                           Unliquidated
                                                                      Disputed
 Rochester, NY, 14604-1252
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7793
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       90.63
                                                                                                                     $________________________________
 Tim Lopez                                                           Check all that apply.
 215 N Atlantic Ave E                                                 Contingent
                                                                      Unliquidated
 Stratford, NJ, 08084-1703                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7794
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tim McCarty                                                         Check all that apply.
                                                                                                                      24.99
                                                                                                                     $________________________________
 2902 West Sweetwater Avenue, Apt. 2146                               Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85029                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7795
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9.56
                                                                                                                     $________________________________
 Tim Menard                                                          Check all that apply.
 313 Maple Street                                                     Contingent
                                                                      Unliquidated
 Killingly, CT, 6239                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7796
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tim Mosby                                                           Check all that apply.
                                                                                                                       169.98
                                                                                                                     $________________________________
 6512 Broadway Ave.                                                   Contingent
                                                                      Unliquidated
 Evansville, IN, 47712                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1585 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7797
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             68.03
                                                                                                                     $________________________________
 Tim Russo                                                            Contingent
 59 Continental Dr                                                    Unliquidated
                                                                      Disputed
 Lockport, NY, 14094
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7798
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       105.98
                                                                                                                     $________________________________
 Tim Tinnell                                                         Check all that apply.
 102 whitney avenue, #d                                               Contingent
                                                                      Unliquidated
 Lawrenceburg, KY, 40342                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7799
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tim Wilson                                                          Check all that apply.
                                                                                                                      35.03
                                                                                                                     $________________________________
 720 Hilgard Ave., Apt 105                                            Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90024                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7800
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      67.83
                                                                                                                     $________________________________
 Tim Yeung                                                           Check all that apply.
 14317 Autumn Gold Road                                               Contingent
                                                                      Unliquidated
 Boyds, MD, 20841                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7801
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Timberly Price                                                      Check all that apply.
                                                                                                                       29.98
                                                                                                                     $________________________________
 3085 NW 91st Avenue Apt 105                                          Contingent
                                                                      Unliquidated
 Coral Springs, FL, 33065                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1586 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7802
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             160.48
                                                                                                                     $________________________________
 Timothy Brooks                                                       Contingent
 324 W Railroad St                                                    Unliquidated
                                                                      Disputed
 Fortville, IN, 46040
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7803
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       384.99
                                                                                                                     $________________________________
 Timothy Lentz                                                       Check all that apply.
 52 Cove Lane                                                         Contingent
                                                                      Unliquidated
 Great Falls, MT, 59404                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7804
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Timothy Pierce                                                      Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 PO Box 17                                                            Contingent
                                                                      Unliquidated
 Alton, VA, 24520                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7805
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      54.99
                                                                                                                     $________________________________
 Timothy Baker                                                       Check all that apply.
 536 Hunt Pl                                                          Contingent
                                                                      Unliquidated
 Ypsilanti, MI, 48198-3923                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7806
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Timothy Bethmann                                                    Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 1405 Montclair St                                                    Contingent
                                                                      Unliquidated
 Arlington, TX, 76015                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1587 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7807
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             28.87
                                                                                                                     $________________________________
 timothy caudill                                                      Contingent
 807 windy place apt 204                                              Unliquidated
                                                                      Disputed
 ALTAMONTE SPG, FL, 32714
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7808
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       293.18
                                                                                                                     $________________________________
 Timothy Chang                                                       Check all that apply.
 2418 Halenoho Place                                                  Contingent
                                                                      Unliquidated
 Honolulu, HI, 96816                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7809
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 timothy dorris                                                      Check all that apply.
                                                                                                                      22.99
                                                                                                                     $________________________________
 16 Mohon Dr a4, A 4                                                  Contingent
                                                                      Unliquidated
 McMinnville, TN, 37110                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7810
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14.99
                                                                                                                     $________________________________
 Timothy Freer                                                       Check all that apply.
 369 Obrien Ave                                                       Contingent
                                                                      Unliquidated
 GRIDLEY, CA, 95948-9714                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7811
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 timothy hall                                                        Check all that apply.
                                                                                                                       11.99
                                                                                                                     $________________________________
 52 Country Lane                                                      Contingent
                                                                      Unliquidated
 Prestonsburg, KY, 41653                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1588 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7812
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.97
                                                                                                                     $________________________________
 Timothy Helsel                                                       Contingent
 200 South Hampton Place , 4-308                                      Unliquidated
                                                                      Disputed
 Clarksville , TN, 37040
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7813
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Timothy Hendricks                                                   Check all that apply.
 4006 Forestedge Street                                               Contingent
                                                                      Unliquidated
 Tipp City, OH, 45371                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7814
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Timothy Hokanson                                                    Check all that apply.
                                                                                                                      17.19
                                                                                                                     $________________________________
 134 North Washington Street, 100                                     Contingent
                                                                      Unliquidated
 Papillion, NE, 68046                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7815
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      43.99
                                                                                                                     $________________________________
 Timothy Horn                                                        Check all that apply.
 2029 Sancerre Lane                                                   Contingent
                                                                      Unliquidated
 Carrollton, TX, 75007                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7816
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Timothy Lehman                                                      Check all that apply.
                                                                                                                       37.09
                                                                                                                     $________________________________
 94 Liberty Street, 3                                                 Contingent
                                                                      Unliquidated
 Smithfield, PA, 15478                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7817
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Timothy Mehling                                                      Contingent
 1845 WATERVIEW LN                                                    Unliquidated
                                                                      Disputed
 WAUKESHA, WI, 53189
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7818
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Timothy Robinson                                                    Check all that apply.
 1443 manner drive                                                    Contingent
                                                                      Unliquidated
 Mansfield, OH, 44905                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7819
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Timothy Rockwell                                                    Check all that apply.
                                                                                                                      42.94
                                                                                                                     $________________________________
 2930 17th ST S, APT 102                                              Contingent
                                                                      Unliquidated
 Moorhead, MN, 56560-5231                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7820
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Timothy Smith                                                       Check all that apply.
 76 Ferraro Drive                                                     Contingent
                                                                      Unliquidated
 Bristol, CT, 6010                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7821
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Timothy Strait                                                      Check all that apply.
                                                                                                                       37.09
                                                                                                                     $________________________________
 15799 W 11 Mile Rd, APT #119                                         Contingent
                                                                      Unliquidated
 Southfield, MI, 48076                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7822
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             102.98
                                                                                                                     $________________________________
 Tina Alvarado                                                        Contingent
 606 Tiverton Rd                                                      Unliquidated
                                                                      Disputed
 Lake Forest, IL, 60045
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7823
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.99
                                                                                                                     $________________________________
 Tina Benacquisto                                                    Check all that apply.
 71 Alexander Road                                                    Contingent
                                                                      Unliquidated
 New Britain, CT, 6053                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7824
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tina Dos Reis                                                       Check all that apply.
                                                                                                                      56.99
                                                                                                                     $________________________________
 4 Fairway Drive                                                      Contingent
                                                                      Unliquidated
 South Setauket, NY, 11720                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7825
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.57
                                                                                                                     $________________________________
 Tina Michelson                                                      Check all that apply.
 366 New Jersey 18, D10                                               Contingent
                                                                      Unliquidated
 East Brunswick, NJ, 8816                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7826
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tion Sutton                                                         Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 221 Howard Avenue, 1R                                                Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11233                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7827
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             351.58
                                                                                                                     $________________________________
 Tipatat Chennavasin                                                  Contingent
 3 Fieldcrest Drive                                                   Unliquidated
                                                                      Disputed
 Daly City, CA, 94015
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7828
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Tito Valentin                                                       Check all that apply.
 804 Dewberry Dr                                                      Contingent
                                                                      Unliquidated
 Cedar Park, TX, 78613                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7829
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Toan Van                                                            Check all that apply.
                                                                                                                      27.05
                                                                                                                     $________________________________
 3725 Navarro                                                         Contingent
                                                                      Unliquidated
 Frisco, TX, 75034                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7830
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.99
                                                                                                                     $________________________________
 Tobin Schindler                                                     Check all that apply.
 986 Jeannette St                                                     Contingent
                                                                      Unliquidated
 Des Plaines, IL, 60016                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7831
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Todd Herzog                                                         Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 352 N 1300 E                                                         Contingent
                                                                      Unliquidated
 Pleasant Grove, UT, 84062                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1592 of Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7832
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Todd Hinchcliffe                                                     Contingent
 44 Julia Drive                                                       Unliquidated
                                                                      Disputed
 Uxbridge, MA, 1569
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7833
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Todd Ruggiero                                                       Check all that apply.
 151 Marina Blvd.                                                     Contingent
                                                                      Unliquidated
 San Rafael, CA, 94901                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7834
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Todd Stordahl                                                       Check all that apply.
                                                                                                                      132.28
                                                                                                                     $________________________________
 4157 39th Ave SW                                                     Contingent
                                                                      Unliquidated
 Seattle, WA, 98116                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7835
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      51.00
                                                                                                                     $________________________________
 Tolls by Mail                                                       Check all that apply.
 PO Box 15183                                                         Contingent
                                                                      Unliquidated
 Albany, NY, 12212-5183                                               Disputed
                                                                     Basis for the claim: Toll violations



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7836
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tom Cooke                                                           Check all that apply.
                                                                                                                       167.86
                                                                                                                     $________________________________
 635 Carolina Farms Boulevard                                         Contingent
                                                                      Unliquidated
 Myrtle Beach, SC, 29579                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7837
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 Tom Demarco                                                          Contingent
 81 LAUSANNE AVE, APT 2                                               Unliquidated
                                                                      Disputed
 Daly city, CA, 94014
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7838
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.93
                                                                                                                     $________________________________
 Tom Kaliher                                                         Check all that apply.
 1121 Lucca Court                                                     Contingent
                                                                      Unliquidated
 Caseyville, IL, 62232                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7839
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tom Lohr                                                            Check all that apply.
                                                                                                                      55.98
                                                                                                                     $________________________________
 76 cinnamon circle                                                   Contingent
                                                                      Unliquidated
 fairport, NY, 14450                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7840
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      89.43
                                                                                                                     $________________________________
 Tom Longberry                                                       Check all that apply.
 308 38th ST. NW                                                      Contingent
                                                                      Unliquidated
 Canton, OH, 44709                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7841
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tom Moore                                                           Check all that apply.
                                                                                                                       104.93
                                                                                                                     $________________________________
 2731 Konnoak Dr.                                                     Contingent
                                                                      Unliquidated
 Winston Salem, NC, 27127                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7842
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.96
                                                                                                                     $________________________________
 Tom Neil                                                             Contingent
 10636 Live Oak Drive                                                 Unliquidated
                                                                      Disputed
 Forney, TX, 75126
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7843
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.97
                                                                                                                     $________________________________
 Tom Olson                                                           Check all that apply.
 345 Fraser Lane                                                      Contingent
                                                                      Unliquidated
 Ventura , CA, 93001                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7844
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tom Shea                                                            Check all that apply.
                                                                                                                      54.98
                                                                                                                     $________________________________
 10 Buckthorn St                                                      Contingent
                                                                      Unliquidated
 Londonderry, NH, 3053                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7845
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.98
                                                                                                                     $________________________________
 Tomas Bilbao                                                        Check all that apply.
 1839 East Palo Verde Drive                                           Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85016                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7846
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tomas Lopez                                                         Check all that apply.
                                                                                                                       59.94
                                                                                                                     $________________________________
 223 8th Avenue Southwest                                             Contingent
                                                                      Unliquidated
 Decatur, AL, 35601                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7847
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Tommy Chen                                                           Contingent
 2038 East 22nd Street                                                Unliquidated
                                                                      Disputed
 Oakland, CA, 94606
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7848
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.86
                                                                                                                     $________________________________
 tommy simpkins                                                      Check all that apply.
 3336 oak bend blvd                                                   Contingent
                                                                      Unliquidated
 canal winchester, OH, 43110-9320                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7849
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tommy Simpkins                                                      Check all that apply.
                                                                                                                      79.98
                                                                                                                     $________________________________
 3336 Oak Bend Boulevard                                              Contingent
                                                                      Unliquidated
 Canal Winchester, OH, 43110                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7850
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      89.99
                                                                                                                     $________________________________
 Tomokazu Nakamura                                                   Check all that apply.
 3557 Corona St                                                       Contingent
                                                                      Unliquidated
 Camarillo, CA, 93010                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7851
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tomy Nicolas                                                        Check all that apply.
                                                                                                                       106.90
                                                                                                                     $________________________________
 3321 Commercial ave                                                  Contingent
                                                                      Unliquidated
 South Chicago Heights, IL, 60411                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7852
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.99
                                                                                                                     $________________________________
 tongwen ENGNYG                                                       Contingent
 15617 NE Airport Way, C/O ENGNYG                                     Unliquidated
                                                                      Disputed
 Portland, OR, 97251-9615
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7853
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       20.47
                                                                                                                     $________________________________
 Toni Crooks                                                         Check all that apply.
 22 Ireland Ave                                                       Contingent
                                                                      Unliquidated
 Greenhills, OH, 45218                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7854
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Toni Stickles                                                       Check all that apply.
                                                                                                                      54.59
                                                                                                                     $________________________________
 5733 W Mescal St                                                     Contingent
                                                                      Unliquidated
 Glendale, AZ, 85304-3813                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7855
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.97
                                                                                                                     $________________________________
 Tonia Demeritte                                                     Check all that apply.
 3160 NW 58 STREET                                                    Contingent
                                                                      Unliquidated
 MIAMI, FL, 33142                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7856
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tonkia Smoots                                                       Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 627 East Markison Avenue                                             Contingent
                                                                      Unliquidated
 Columbus, OH, 43207                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7857
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.02
                                                                                                                     $________________________________
 Tony Contreras                                                       Contingent
 141 Trent Dr.                                                        Unliquidated
                                                                      Disputed
 Napa, CA, 94558
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7858
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       79.49
                                                                                                                     $________________________________
 Tony Davenport                                                      Check all that apply.
 2211 STONE WHEEL DR #B, APT 723                                      Contingent
                                                                      Unliquidated
 RESTON, VA, 20191                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7859
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tony DeCarlo                                                        Check all that apply.
                                                                                                                      269.99
                                                                                                                     $________________________________
 1509 Benjamin Drive                                                  Contingent
                                                                      Unliquidated
 Niagara Falls, NY, 14304                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7860
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      35.99
                                                                                                                     $________________________________
 Tony DiDio                                                          Check all that apply.
 684 Woodcreek Dr                                                     Contingent
                                                                      Unliquidated
 Waterford, MI, 48327-3082                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7861
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tony Faulkner                                                       Check all that apply.
                                                                                                                       49.98
                                                                                                                     $________________________________
 1211 Appleby Drive                                                   Contingent
                                                                      Unliquidated
 Silver Spring, MD, 20904                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1598 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7862
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 TONY GONZALES                                                        Contingent
 4387 MATTHEW WAY, TONY GONZALES                                      Unliquidated
                                                                      Disputed
 TRACY, CA, 95377
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7863
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.97
                                                                                                                     $________________________________
 Tony Gulli                                                          Check all that apply.
 4410 152ND ST                                                        Contingent
                                                                      Unliquidated
 MIDLOTHIAN, IL, 60445-3250                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7864
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tony Lam                                                            Check all that apply.
                                                                                                                      13.99
                                                                                                                     $________________________________
 18819 Leesbury Way                                                   Contingent
                                                                      Unliquidated
 Rowland Heights, CA, 91748                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7865
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      149.99
                                                                                                                     $________________________________
 Tony Le                                                             Check all that apply.
 11023 Olivewood Dr.                                                  Contingent
                                                                      Unliquidated
 Houston, TX, 77089                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7866
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tony Marotta                                                        Check all that apply.
                                                                                                                       13.01
                                                                                                                     $________________________________
 667 VISTA DR                                                         Contingent
                                                                      Unliquidated
 OSWEGO, IL, 60543                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1583
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1599 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7867
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             16.04
                                                                                                                     $________________________________
 Tony McKinney                                                        Contingent
 954 South 23rd Street                                                Unliquidated
                                                                      Disputed
 Fort Dodge, IA, 50501
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7868
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       119.99
                                                                                                                     $________________________________
 Tony Trapasso                                                       Check all that apply.
 6798 San Benito Way                                                  Contingent
                                                                      Unliquidated
 Buena Park, CA, 90620                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7869
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tony Vasquez                                                        Check all that apply.
                                                                                                                      187.98
                                                                                                                     $________________________________
 9686 Amboy Ave.                                                      Contingent
                                                                      Unliquidated
 Pacoima, CA, 91331                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7870
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.99
                                                                                                                     $________________________________
 Tony Willett                                                        Check all that apply.
 1700 BIRDIE HILLS RD                                                 Contingent
                                                                      Unliquidated
 SAINT PETERS, MO, 63376                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7871
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tony Wright                                                         Check all that apply.
                                                                                                                       129.90
                                                                                                                     $________________________________
 115 UNIVERSITY AVE NE, UNIT 415                                      Contingent
                                                                      Unliquidated
 Minneapolis, MN, 55413                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1600 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7872
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             62.74
                                                                                                                      $________________________________
 TONYA MCPARLIN                                                        Contingent
 4340 HALSTEAD CIR                                                     Unliquidated
                                                                       Disputed
 COLORADO SPRIMGS, CO, 80916
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                       Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  7873
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        17.51
                                                                                                                      $________________________________
 Tophia Slydell                                                       Check all that apply.
 3901 Lafayette Drive Northeast, Apt 201 building                      Contingent
 13                                                                    Unliquidated
                                                                       Disputed
 Albuquerque, NM, 87107
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________     Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  7874
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Tori Bennett                                                         Check all that apply.
                                                                                                                       70.66
                                                                                                                      $________________________________
 4863 New York 233                                                     Contingent
                                                                       Unliquidated
 Westmoreland, NY, 13490                                               Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________     Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  7875
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                      $________________________________
 Toria Owens                                                          Check all that apply.
 2002B Lee Gordon Road                                                 Contingent
                                                                       Unliquidated
 Arnaudville, LA, 70512                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________     Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  7876
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 toulo vang                                                           Check all that apply.
                                                                                                                        26.98
                                                                                                                      $________________________________
 5235 E Kaviland Ave.                                                  Contingent
                                                                       Unliquidated
 Fresno, CA, 93725                                                     Disputed
                                                                       Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



    Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                        page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1601 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7877
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             67.79
                                                                                                                     $________________________________
 Tqn Truong                                                           Contingent
 309 Checkers Drive, 201                                              Unliquidated
                                                                      Disputed
 San Jose, CA, 95133
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7878
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       33.99
                                                                                                                     $________________________________
 Tracey L Cardillo                                                   Check all that apply.
 227 S ALPINE ST                                                      Contingent
                                                                      Unliquidated
 ARROYO GRANDE, CA, 93420                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7879
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Traci Fisher-Zaiser                                                 Check all that apply.
                                                                                                                      12.99
                                                                                                                     $________________________________
 330 Shuniah Street                                                   Contingent
                                                                      Unliquidated
 Thunder Bay, ON, P7A 3A3                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7880
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      60.99
                                                                                                                     $________________________________
 Traci Lew                                                           Check all that apply.
 10 Tremont Terrace                                                   Contingent
                                                                      Unliquidated
 Livingston, NJ, 7039                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7881
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tracie Carter                                                       Check all that apply.
                                                                                                                       76.20
                                                                                                                     $________________________________
 204 Richmond Rd                                                      Contingent
                                                                      Unliquidated
 Richmond Heights, OH, 44143                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1602 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7882
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Tracy Donovan                                                        Contingent
 13685 Legacy Circle, Apt K                                           Unliquidated
                                                                      Disputed
 Herndon, VA, 20171
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7883
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.99
                                                                                                                     $________________________________
 Tracy Pisano                                                        Check all that apply.
 1300 Mountain Road                                                   Contingent
                                                                      Unliquidated
 Larksville, PA, 18651                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7884
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tracy Houser                                                        Check all that apply.
                                                                                                                      174.17
                                                                                                                     $________________________________
 1409 Morse Avenue                                                    Contingent
                                                                      Unliquidated
 Sacramento, CA, 95864                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7885
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      50.99
                                                                                                                     $________________________________
 Tracy Nguyen                                                        Check all that apply.
 15 Madison Ave.                                                      Contingent
                                                                      Unliquidated
 Randolph, MA, 2368                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7886
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tracy Tran                                                          Check all that apply.
                                                                                                                       96.99
                                                                                                                     $________________________________
 4100 Old Farm Road                                                   Contingent
                                                                      Unliquidated
 Oklahoma City, OK, 73120                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1603 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7887
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             63.59
                                                                                                                     $________________________________
 Tracy Welch                                                          Contingent
 1540 North Genesee Drive                                             Unliquidated
                                                                      Disputed
 Lansing, MI, 48915
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7888
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       126.20
                                                                                                                     $________________________________
 Tramayne Harris                                                     Check all that apply.
 1878 Fred Jackson Way                                                Contingent
                                                                      Unliquidated
 Richmond, CA, 94801                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7889
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Trask Stalnaker1                                                    Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 13726 Northwest Germantown Road                                      Contingent
                                                                      Unliquidated
 Portland, OR, 97231                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7890
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,000.00
                                                                                                                     $________________________________
 Travelers                                                           Check all that apply.
 PO Box 660317                                                        Contingent
                                                                      Unliquidated
 Dallas, TX, 75266-0317                                               Disputed
                                                                     Basis for the claim: Insurance company



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7891
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Travis Ciani                                                        Check all that apply.
                                                                                                                       62.90
                                                                                                                     $________________________________
 213 Maple Ave                                                        Contingent
                                                                      Unliquidated
 Neptune, NJ, 7753                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1588
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1604 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7892
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             86.39
                                                                                                                     $________________________________
 Travis Clark                                                         Contingent
 3732 Patti Pkwy                                                      Unliquidated
                                                                      Disputed
 Decatur, GA, 30034
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7893
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       50.99
                                                                                                                     $________________________________
 Travis Dickinson                                                    Check all that apply.
 910 E. 16th Ave                                                      Contingent
                                                                      Unliquidated
 San Mateo, CA, 94402                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7894
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Travis Lee                                                          Check all that apply.
                                                                                                                      36.08
                                                                                                                     $________________________________
 1951 Drumhead Ct                                                     Contingent
                                                                      Unliquidated
 San Jose, CA, 95131                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7895
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.96
                                                                                                                     $________________________________
 Travis Nguyen                                                       Check all that apply.
 14515 Briar Forest Dr, 727                                           Contingent
                                                                      Unliquidated
 Houston, TX, 77077                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7896
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Travis Perkins                                                      Check all that apply.
                                                                                                                       25.99
                                                                                                                     $________________________________
 21710 McGilvray Rd                                                   Contingent
                                                                      Unliquidated
 Bend, OR, 97702                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
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                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7897
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             81.38
                                                                                                                     $________________________________
 Travis Reed                                                          Contingent
 1095 N Sterling Ave, Apt 111                                         Unliquidated
                                                                      Disputed
 Palatine, IL, 60067-1976
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7898
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       15.99
                                                                                                                     $________________________________
 Travis Shisler                                                      Check all that apply.
 1483 West Farragut Avenue, Apartment 2                               Contingent
                                                                      Unliquidated
 Chicago, IL, 60640                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7899
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tre HIllerich                                                       Check all that apply.
                                                                                                                      159.98
                                                                                                                     $________________________________
 510 Morrisett Ct SE                                                  Contingent
                                                                      Unliquidated
 Leesburg, VA, 20175-6140                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7900
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.98
                                                                                                                     $________________________________
 Treasure Nyame                                                      Check all that apply.
 817 Majestic Rock Ave                                                Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89128                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7901
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Treavor Hansley                                                     Check all that apply.
                                                                                                                       31.99
                                                                                                                     $________________________________
 101 Bogie Dr                                                         Contingent
                                                                      Unliquidated
 Suffolk, VA, 23434-9277                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1606 of Case number (if known)_____________________________________
                                                                         2068
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7902
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.98
                                                                                                                     $________________________________
 Tremaine Pollard                                                     Contingent
 8652 38th ave S                                                      Unliquidated
                                                                      Disputed
 Seattle, WA, 98118
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7903
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17,130.00
                                                                                                                     $________________________________
 Trend Setters LTD.                                                  Check all that apply.
 22500 State Rt. 9                                                    Contingent
                                                                      Unliquidated
 Tremont, IL, 61568                                                   Disputed
                                                                     Basis for the claim: Trade Payables



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7904
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Trent Stassi                                                        Check all that apply.
                                                                                                                      59.25
                                                                                                                     $________________________________
 27777 Violet                                                         Contingent
                                                                      Unliquidated
 Mission Viejo, CA, 92691                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7905
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.49
                                                                                                                     $________________________________
 Trevor Benoit                                                       Check all that apply.
 830 Norman st                                                        Contingent
                                                                      Unliquidated
 Fall River, MA, 02721-4636                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7906
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Trevor Lehr                                                         Check all that apply.
                                                                                                                       13.22
                                                                                                                     $________________________________
 804 Dillon Drive                                                     Contingent
                                                                      Unliquidated
 Normal, IL, 61761                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1607 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7907
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             74.98
                                                                                                                     $________________________________
 Trevor McConnaughey                                                  Contingent
 8742 Capstone Ranch Drive                                            Unliquidated
                                                                      Disputed
 New Port Richey, FL, 34655
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7908
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       21.98
                                                                                                                     $________________________________
 Trevor Schenck                                                      Check all that apply.
 19686 Perch Ct                                                       Contingent
                                                                      Unliquidated
 Lake Oswego, OR, 97034                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7909
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Trey Nies                                                           Check all that apply.
                                                                                                                      23.99
                                                                                                                     $________________________________
 1201 S Scott St, 406                                                 Contingent
                                                                      Unliquidated
 Arlington, VA, 22204                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7910
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      325.99
                                                                                                                     $________________________________
 Trey Wandler                                                        Check all that apply.
 312 6th Street                                                       Contingent
                                                                      Unliquidated
 Stevensville, MT, 59870                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7911
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Trey Wiley                                                          Check all that apply.
                                                                                                                       92.01
                                                                                                                     $________________________________
 Ripple Creek Drive 2203                                              Contingent
                                                                      Unliquidated
 Rosenberg, TX, 77471                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7912
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             62.99
                                                                                                                     $________________________________
 Tricia Mae S. De Los Reyes                                           Contingent
 1605 Merchant St. Apt. G                                             Unliquidated
                                                                      Disputed
 Sparks, NV, 89431
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7913
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       129.99
                                                                                                                     $________________________________
 Trini Vela                                                          Check all that apply.
 1001 Fremont Avenue, Unit 3435                                       Contingent
                                                                      Unliquidated
 South Pasadena, CA, 91030                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7914
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Trisha Hillis                                                       Check all that apply.
                                                                                                                      213.99
                                                                                                                     $________________________________
 5330 31st Ave. N.                                                    Contingent
                                                                      Unliquidated
 St. Petersburg, FL, 33710                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7915
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.99
                                                                                                                     $________________________________
 Trishia Parshall                                                    Check all that apply.
 2855 Arbor Gardens Drive                                             Contingent
                                                                      Unliquidated
 Evans, CO, 80620                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7916
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Trista Cruz                                                         Check all that apply.
                                                                                                                       97.99
                                                                                                                     $________________________________
 587 Susquehanna Avenue                                               Contingent
                                                                      Unliquidated
 Wyoming, PA, 18644                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1609 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7917
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.05
                                                                                                                     $________________________________
 Tristan Cochran                                                      Contingent
 10451 Greenbrier Road, 120                                           Unliquidated
                                                                      Disputed
 Minnetonka, MN, 55305
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7918
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.61
                                                                                                                     $________________________________
 Tristan Enciso                                                      Check all that apply.
 250 Knoll Rd, Apt 46                                                 Contingent
                                                                      Unliquidated
 San Marcos, CA, 92069                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7919
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tristan Leone                                                       Check all that apply.
                                                                                                                      16.32
                                                                                                                     $________________________________
 235 92 st                                                            Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11209                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7920
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      18.01
                                                                                                                     $________________________________
 Tristan Piper                                                       Check all that apply.
 3736 Rotz Road                                                       Contingent
                                                                      Unliquidated
 Chambersburg, PA, 17202                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7921
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tristan Salvanera                                                   Check all that apply.
                                                                                                                       225.76
                                                                                                                     $________________________________
 1235 Moss Springs Road                                               Contingent
                                                                      Unliquidated
 Albemarle, NC, 28001                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7922
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             80.97
                                                                                                                     $________________________________
 Tristen Wood                                                         Contingent
 15129 Wire Road                                                      Unliquidated
                                                                      Disputed
 Coaling, AL, 35453
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7923
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       78.71
                                                                                                                     $________________________________
 Triston Kapper                                                      Check all that apply.
 111 Bennett court                                                    Contingent
                                                                      Unliquidated
 Festus, MO, 63028                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7924
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Triston Myers                                                       Check all that apply.
                                                                                                                      26.44
                                                                                                                     $________________________________
 3638 LA-27                                                           Contingent
                                                                      Unliquidated
 Sulphur, LA, 70663                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7925
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 Troy Bernal                                                         Check all that apply.
 800 Rebecca Street                                                   Contingent
                                                                      Unliquidated
 Weslaco, TX, 78596                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7926
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Troy Caywood                                                        Check all that apply.
                                                                                                                       51.21
                                                                                                                     $________________________________
 420 North Pine Street                                                Contingent
                                                                      Unliquidated
 Pratt, KS, 67124                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7927
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.27
                                                                                                                     $________________________________
 Troy Hopp                                                            Contingent
 1229 ne Michigan avenue, 1229 ne Michigan                            Unliquidated
 avenue                                                               Disputed
 Topeka, KS, 66616                                                   Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7928
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       63.85
                                                                                                                     $________________________________
 Troy Schneider                                                      Check all that apply.
 811 river raft ct                                                    Contingent
                                                                      Unliquidated
 Modesto, CA, 95351-4533                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7929
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Troy Tedder                                                         Check all that apply.
                                                                                                                      189.99
                                                                                                                     $________________________________
 4121 Honey Creek Blvd                                                Contingent
                                                                      Unliquidated
 Russiaville , IN, 46979                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7930
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8.99
                                                                                                                     $________________________________
 Truc Phan                                                           Check all that apply.
 329 North Conlon Avenue, B                                           Contingent
                                                                      Unliquidated
 West Covina, CA, 91790                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7931
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Truman Dowdy                                                        Check all that apply.
                                                                                                                       29.99
                                                                                                                     $________________________________
 24611 Lori Ln                                                        Contingent
                                                                      Unliquidated
 Magnolia, TX, 77355                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1612 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7932
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.98
                                                                                                                     $________________________________
 Tsivyah Levine                                                       Contingent
 2C N Main St, #74                                                    Unliquidated
                                                                      Disputed
 Williamsburg, MA, 1096
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7933
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.21
                                                                                                                     $________________________________
 Tsun Hung Ko                                                        Check all that apply.
 920 Clementine Ct, Unit B                                            Contingent
                                                                      Unliquidated
 Azusa, CA, 91702                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7934
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tuan Dang                                                           Check all that apply.
                                                                                                                      16.42
                                                                                                                     $________________________________
 1931 east calico dr                                                  Contingent
                                                                      Unliquidated
 West Covina, CA, 91791                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7935
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.91
                                                                                                                     $________________________________
 Tuan Nguyen                                                         Check all that apply.
 15243 Arcturus Ave                                                   Contingent
                                                                      Unliquidated
 Gardena, CA, 90249-4111                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7936
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tung Nguyen                                                         Check all that apply.
                                                                                                                       514.10
                                                                                                                     $________________________________
 10652 Paloma Ave.                                                    Contingent
                                                                      Unliquidated
 Garden Grove, CA, 92843                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7937
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.99
                                                                                                                     $________________________________
 Tunji Smith                                                          Contingent
 6817 Parkers Crossing Dr.                                            Unliquidated
                                                                      Disputed
 Charlotte, NC, 28215
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7938
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.31
                                                                                                                     $________________________________
 Turner Swann                                                        Check all that apply.
 3779 N DENNY WAY                                                     Contingent
                                                                      Unliquidated
 Buckeye, AZ, 85396                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7939
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tury Ruiz                                                           Check all that apply.
                                                                                                                      16.99
                                                                                                                     $________________________________
 2820 Neptune Ct, A                                                   Contingent
                                                                      Unliquidated
 LEMOORE, CA, 93245                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7940
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      89.99
                                                                                                                     $________________________________
 Tuwayne Foster                                                      Check all that apply.
 1850 chestnut pl apt 401                                             Contingent
                                                                      Unliquidated
 Denver, CO, 80202                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7941
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ty Grittner                                                         Check all that apply.
                                                                                                                       28.12
                                                                                                                     $________________________________
 1859 5th Ave Clarkston                                               Contingent
                                                                      Unliquidated
 Clarkston, WA, 99403                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1614 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7942
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Ty Hall                                                              Contingent
 2010 North Irving Street                                             Unliquidated
                                                                      Disputed
 Fremont, NE, 68025
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7943
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Ty Latiolais                                                        Check all that apply.
 566 Kuhne Heights, Troy MO 63379                                     Contingent
                                                                      Unliquidated
 Troy, MO, 63379                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7944
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ty Walker                                                           Check all that apply.
                                                                                                                      32.01
                                                                                                                     $________________________________
 259 N Monroe Dr                                                      Contingent
                                                                      Unliquidated
 Xenia, OH, 45385                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7945
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.98
                                                                                                                     $________________________________
 Ty, Damon,                                                          Check all that apply.
 15882 Antioch Rd                                                     Contingent
                                                                      Unliquidated
 White City, OR, 97503                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7946
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyhler Williams                                                     Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 4635 Sw Mueller Dr, E204                                             Contingent
                                                                      Unliquidated
 Beaverton, OR, 97078                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7947
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             14.99
                                                                                                                     $________________________________
 Tyler White                                                          Contingent
 7252 W Ratliff Rd.                                                   Unliquidated
                                                                      Disputed
 Bloomington, IN, 47404
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7948
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.99
                                                                                                                     $________________________________
 Tyler Abercrombie                                                   Check all that apply.
 159 Fixie                                                            Contingent
                                                                      Unliquidated
 Irvine, CA, 92618                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7949
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyler Blankenship                                                   Check all that apply.
                                                                                                                      8.55
                                                                                                                     $________________________________
 714 S 21st Ave                                                       Contingent
                                                                      Unliquidated
 Hattiesburg, MS, 39401                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7950
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      133.97
                                                                                                                     $________________________________
 Tyler Blount                                                        Check all that apply.
 314 Speers Valley Cir                                                Contingent
                                                                      Unliquidated
 Brandon, MS, 39042                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7951
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyler Christian                                                     Check all that apply.
                                                                                                                       354.66
                                                                                                                     $________________________________
 1277 FISHING CREEK RD                                                Contingent
                                                                      Unliquidated
 Clover, SC, 29710-1682                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1616 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7952
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             44.99
                                                                                                                     $________________________________
 tyler collins                                                        Contingent
 60 little road                                                       Unliquidated
                                                                      Disputed
 altoona, AL, 35952
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7953
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       89.98
                                                                                                                     $________________________________
 Tyler Darling                                                       Check all that apply.
 15730 East Kim Drive                                                 Contingent
                                                                      Unliquidated
 Fountain Hills, AZ, 85268                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7954
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyler Day                                                           Check all that apply.
                                                                                                                      29.08
                                                                                                                     $________________________________
 4827 Sanford Street                                                  Contingent
                                                                      Unliquidated
 Fair Oaks, CA, 95628                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7955
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      64.99
                                                                                                                     $________________________________
 Tyler Domanski                                                      Check all that apply.
 750 North Dover Drive, 750                                           Contingent
                                                                      Unliquidated
 Independence, MO, 64056                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7956
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyler Ehresman                                                      Check all that apply.
                                                                                                                       12.95
                                                                                                                     $________________________________
 3228 Rialto Ave                                                      Contingent
                                                                      Unliquidated
 Clovis, CA, 93619                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7957
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.99
                                                                                                                     $________________________________
 Tyler Emrick                                                         Contingent
 5645 Spring Hill Road                                                Unliquidated
                                                                      Disputed
 Grove City, OH, 43123
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7958
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       35.63
                                                                                                                     $________________________________
 Tyler Freeman                                                       Check all that apply.
 2646 Providence Road                                                 Contingent
                                                                      Unliquidated
 Cassatt, SC, 29032                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7959
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyler Harper                                                        Check all that apply.
                                                                                                                      133.53
                                                                                                                     $________________________________
 280 Prospect Street                                                  Contingent
                                                                      Unliquidated
 Pottstown, PA, 19464                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7960
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      41.99
                                                                                                                     $________________________________
 Tyler Harris                                                        Check all that apply.
 6464 NY-23                                                           Contingent
                                                                      Unliquidated
 Oneonta, NY, 13820                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7961
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyler Hays                                                          Check all that apply.
                                                                                                                       96.29
                                                                                                                     $________________________________
 3217 Brereton St, APT 3                                              Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15219-3775                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7962
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.61
                                                                                                                     $________________________________
 Tyler Kerr                                                           Contingent
 12905 Red Spruce Cir                                                 Unliquidated
                                                                      Disputed
 Oklahoma City, OK, 73142
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7963
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       30.86
                                                                                                                     $________________________________
 Tyler Liegmann                                                      Check all that apply.
 3224 South Wallace Street                                            Contingent
                                                                      Unliquidated
 Chicago, IL, 60616                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7964
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyler Lopes                                                         Check all that apply.
                                                                                                                      28.17
                                                                                                                     $________________________________
 50 Paisley Boulevard West, 610                                       Contingent
                                                                      Unliquidated
 Mississauga, ON, L5B 1C9                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7965
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      51.35
                                                                                                                     $________________________________
 Tyler Marlowe                                                       Check all that apply.
 3865 Cromwell Lane                                                   Contingent
                                                                      Unliquidated
 Williamsburg, VA, 23188                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7966
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyler Mcintosh                                                      Check all that apply.
                                                                                                                       19.07
                                                                                                                     $________________________________
 29664 ostreich                                                       Contingent
                                                                      Unliquidated
 Brownstown, MI, 48173-9745                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1603
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1619 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7967
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.22
                                                                                                                     $________________________________
 Tyler Medick                                                         Contingent
 8048 S 116TH ST                                                      Unliquidated
                                                                      Disputed
 SEATTLE, WA, 98178-3842
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7968
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       168.99
                                                                                                                     $________________________________
 Tyler Meeker                                                        Check all that apply.
 1512 South Rocky Mountain Drive                                      Contingent
                                                                      Unliquidated
 Tucson, AZ, 85710                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7969
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyler Mild                                                          Check all that apply.
                                                                                                                      36.03
                                                                                                                     $________________________________
 200 Greenway Avenue                                                  Contingent
                                                                      Unliquidated
 Seneca, PA, 16346                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7970
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      94.33
                                                                                                                     $________________________________
 Tyler Powers                                                        Check all that apply.
 1123 Nature Trail                                                    Contingent
                                                                      Unliquidated
 Manchester, MI, 48158                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7971
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyler Reed                                                          Check all that apply.
                                                                                                                       97.99
                                                                                                                     $________________________________
 408 calumet ave NE, Apt 40                                           Contingent
                                                                      Unliquidated
 De Smet, SD, 57231                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1604
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1620 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7972
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.49
                                                                                                                     $________________________________
 Tyler Rice                                                           Contingent
 6457 Hemmingford Dr                                                  Unliquidated
                                                                      Disputed
 Canal Winchester, OH, 43110
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7973
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       24.99
                                                                                                                     $________________________________
 Tyler Seminchuk                                                     Check all that apply.
 14175 savannah road                                                  Contingent
                                                                      Unliquidated
 Amarillo, TX, 79118                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7974
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyler Whitecotton                                                   Check all that apply.
                                                                                                                      10.99
                                                                                                                     $________________________________
 561 W Stratford Place, #5A                                           Contingent
                                                                      Unliquidated
 Chicago, IL, 60657                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7975
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.89
                                                                                                                     $________________________________
 Tyler Young                                                         Check all that apply.
 7089 Copperwood Way                                                  Contingent
                                                                      Unliquidated
 Columbia, MD, 21046                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7976
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tymon Woods                                                         Check all that apply.
                                                                                                                       27.30
                                                                                                                     $________________________________
 724 Paige Circle                                                     Contingent
                                                                      Unliquidated
 Nashville, TN, 37207                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1605
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1621 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7977
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             27.55
                                                                                                                     $________________________________
 tyrell steele                                                        Contingent
 9009 greenwood avenue North, apt 311                                 Unliquidated
                                                                      Disputed
 Seattle, WA, 98103
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7978
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       102.98
                                                                                                                     $________________________________
 Tyreq Moulton                                                       Check all that apply.
 770 Mitchell Avenue                                                  Contingent
                                                                      Unliquidated
 Whiteman Air Force Base, MO, 65305                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7979
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tyson Kubota                                                        Check all that apply.
                                                                                                                      79.99
                                                                                                                     $________________________________
 5835 Tellefson Rd                                                    Contingent
                                                                      Unliquidated
 Culver City, CA, 90230-5471                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7980
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      91.80
                                                                                                                     $________________________________
 Tyszko, Joseph                                                      Check all that apply.
 15220 Rosarie Drive                                                  Contingent
                                                                      Unliquidated
 Homer Glen, IL, 60491                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7981
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tzer Hang                                                           Check all that apply.
                                                                                                                       12.99
                                                                                                                     $________________________________
 1614 S 106th St                                                      Contingent
                                                                      Unliquidated
 Seattle, WA, 98168                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1606
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1622 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7982
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             134.99
                                                                                                                     $________________________________
 Ulises Minaya                                                        Contingent
 7335 Fairway Drive, Apartment 623                                    Unliquidated
                                                                      Disputed
 Miami Lakes, FL, 33014
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7983
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       141,186.65
                                                                                                                     $________________________________
 Ultra Tokyo Connection                                              Check all that apply.
 5589 Ayala Ave.                                                      Contingent
                                                                      Unliquidated
 Irwindale, CA, 91706                                                 Disputed
                                                                     Basis for the claim: Trade Payables



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7984
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Una Kang                                                            Check all that apply.
                                                                                                                      37.99
                                                                                                                     $________________________________
 256 Academy Street                                                   Contingent
                                                                      Unliquidated
 South Orange, NJ, 7079                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7985
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.99
                                                                                                                     $________________________________
 Understand the Concept                                              Check all that apply.
 4 Red Leaf Rose Court                                                Contingent
                                                                      Unliquidated
 Reisterstown, MD, 21136                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7986
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Unishippers                                                         Check all that apply.
                                                                                                                       25.20
                                                                                                                     $________________________________
 16 Corporate Woods Blvd. - Ste 2                                     Contingent
                                                                      Unliquidated
 Albany, NY, 12211                                                    Disputed
                                                                     Basis for the claim: Service Invoice



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1607
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1623 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7987
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.13
                                                                                                                     $________________________________
 Uriel Luna                                                           Contingent
 113 East Davis Avenue, 662                                           Unliquidated
                                                                      Disputed
 Weatherford, OK, 73096
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7988
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 uriel renteria-valdez                                               Check all that apply.
 3783 trellis view ave                                                Contingent
                                                                      Unliquidated
 las vegas, NV, 89115                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7989
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 val storino                                                         Check all that apply.
                                                                                                                      5.99
                                                                                                                     $________________________________
 1755 Lily Pond Circle                                                Contingent
                                                                      Unliquidated
 Henderson, NV, 89012                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7990
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.99
                                                                                                                     $________________________________
 valentin perales                                                    Check all that apply.
 6923 Emerald Pool Lane                                               Contingent
                                                                      Unliquidated
 Spring, TX, 77379                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7991
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Valentine Lan                                                       Check all that apply.
                                                                                                                       69.06
                                                                                                                     $________________________________
 820 North Delaware Street, 301                                       Contingent
                                                                      Unliquidated
 San Mateo, CA, 94401                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1608
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1624 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7992
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             92.98
                                                                                                                     $________________________________
 Valeria Gonzalez                                                     Contingent
 15424 West White Road                                                Unliquidated
                                                                      Disputed
 Medical Lake, WA, 99022
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7993
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.78
                                                                                                                     $________________________________
 Valeria Juarez                                                      Check all that apply.
 310 Falcon Drive                                                     Contingent
                                                                      Unliquidated
 Absecon, NJ, 8201                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7994
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Valeria Medina                                                      Check all that apply.
                                                                                                                      27.99
                                                                                                                     $________________________________
 1917 South Broadway, Apt A                                           Contingent
                                                                      Unliquidated
 Escondido, CA, 92025                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  7995
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28.70
                                                                                                                     $________________________________
 Valeria Yundt                                                       Check all that apply.
 63 Faneuil st                                                        Contingent
                                                                      Unliquidated
 Windsor, CT, 6095                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  7996
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Valerie Aguirre                                                     Check all that apply.
                                                                                                                       76.98
                                                                                                                     $________________________________
 323 Front Street, Apt. 313                                           Contingent
                                                                      Unliquidated
 Salinas, CA, 93901                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1609
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1625 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7997
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Valerie Balanon                                                      Contingent
 2200 Silver Lane, Apt 101                                            Unliquidated
                                                                      Disputed
 New Brighton, MN, 55112
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  7998
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Valerie Hunter                                                      Check all that apply.
 15586 Rockwell Ave                                                   Contingent
                                                                      Unliquidated
 Fontana, CA, 92336-4178                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  7999
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Valerie Morales                                                     Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 1010 Southwest 5th Street                                            Contingent
                                                                      Unliquidated
 Grand Prairie, TX, 75051                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8000
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      72.71
                                                                                                                     $________________________________
 Valerie Philipps                                                    Check all that apply.
 9279 Hickory Ridge Drive                                             Contingent
                                                                      Unliquidated
 Streetsboro, OH, 44241                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8001
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Valerie Ramirez                                                     Check all that apply.
                                                                                                                       176.97
                                                                                                                     $________________________________
 1858 NW 93rd Terrace                                                 Contingent
                                                                      Unliquidated
 Plantation, FL, 33322                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1626 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8002
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.55
                                                                                                                     $________________________________
 Valerie Stephens                                                     Contingent
 5429 Newcastle Avenue, #322                                          Unliquidated
                                                                      Disputed
 Encino, CA, 91316
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8003
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.99
                                                                                                                     $________________________________
 Valerie Vazquez                                                     Check all that apply.
 2636 s 59th ave                                                      Contingent
                                                                      Unliquidated
 Cicero, IL, 60804                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8004
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Valerie Walton                                                      Check all that apply.
                                                                                                                      29.98
                                                                                                                     $________________________________
 5502 Pinelawn Ave                                                    Contingent
                                                                      Unliquidated
 Chattanooga, TN, 37411                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8005
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      55.98
                                                                                                                     $________________________________
 Vanessa Alvarez                                                     Check all that apply.
 206 WOODARD ST                                                       Contingent
                                                                      Unliquidated
 HOUSTON, TX, 77009-1820                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8006
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vanessa Ansley                                                      Check all that apply.
                                                                                                                       25.72
                                                                                                                     $________________________________
 480 North Davis Boulevard                                            Contingent
                                                                      Unliquidated
 Bountiful, UT, 84010                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1627 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8007
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Vanessa Bourassa                                                     Contingent
 401 Main Ave N                                                       Unliquidated
                                                                      Disputed
 Park Rapids, MN, 56470
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8008
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.90
                                                                                                                     $________________________________
 Vanessa Campos                                                      Check all that apply.
 6815 Du Boise Road                                                   Contingent
                                                                      Unliquidated
 Houston, TX, 77091                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8009
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vanessa Dye                                                         Check all that apply.
                                                                                                                      52.64
                                                                                                                     $________________________________
 5251 Garden Creek Road                                               Contingent
                                                                      Unliquidated
 Rowe, VA, 24646                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8010
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.98
                                                                                                                     $________________________________
 Vanessa Fernandez                                                   Check all that apply.
 38608 36th Street East                                               Contingent
                                                                      Unliquidated
 Palmdale, CA, 93550                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8011
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vanessa Fisher                                                      Check all that apply.
                                                                                                                       40.98
                                                                                                                     $________________________________
 9705 South Prairie Road                                              Contingent
                                                                      Unliquidated
 Tillamook, OR, 97141                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1628 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8012
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Vanessa Garcia                                                       Contingent
 3236 1/2 32nd St                                                     Unliquidated
                                                                      Disputed
 San Diego, CA, 92104
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8013
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 Vanessa Guest                                                       Check all that apply.
 20507 Morning Creek Dr.                                              Contingent
                                                                      Unliquidated
 Katy, TX, 77450                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8014
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vanessa Guillen                                                     Check all that apply.
                                                                                                                      87.59
                                                                                                                     $________________________________
 3951 Guardia Avenue                                                  Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90032                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8015
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      152.97
                                                                                                                     $________________________________
 Vanessa Morales                                                     Check all that apply.
 1126 Edgedale Drive                                                  Contingent
                                                                      Unliquidated
 Salisbury, NC, 28144                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8016
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vanessa Villalobos                                                  Check all that apply.
                                                                                                                       78.97
                                                                                                                     $________________________________
 12549 West Calle De Baca                                             Contingent
                                                                      Unliquidated
 Peoria, AZ, 85383                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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  Debtor          _______________________________________________________
                  Name                           Document Page 1629 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8017
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             19.99
                                                                                                                     $________________________________
 Vanity Alston                                                        Contingent
 101 McLellan Dr, Apt. 1042                                           Unliquidated
                                                                      Disputed
 South San Francisco, CA, 94080
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8018
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.99
                                                                                                                     $________________________________
 Vanity Wilson                                                       Check all that apply.
 5820 South Tripp Avenue                                              Contingent
                                                                      Unliquidated
 Chicago, IL, 60629                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8019
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Varinia Chua                                                        Check all that apply.
                                                                                                                      68.98
                                                                                                                     $________________________________
 1 AEROPOST WAY GUA-47326                                             Contingent
                                                                      Unliquidated
 MIAMI, FL, 33206                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8020
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      16.20
                                                                                                                     $________________________________
 Vassana Earle                                                       Check all that apply.
 14 Old Beahan Road                                                   Contingent
                                                                      Unliquidated
 Rochester, NY, 14624                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8021
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Venika Bibra                                                        Check all that apply.
                                                                                                                       24.77
                                                                                                                     $________________________________
 25221 Pike Road                                                      Contingent
                                                                      Unliquidated
 Laguna Hills, CA, 92653                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
                  Name                           Document Page 1630 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8022
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36.28
                                                                                                                     $________________________________
 Ventura Uitz                                                         Contingent
 3640 West 110th Street, Apt b                                        Unliquidated
                                                                      Disputed
 Inglewood, CA, 90303
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8023
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.86
                                                                                                                     $________________________________
 Ver nica Martinez                                                   Check all that apply.
 227 s llanos st                                                      Contingent
                                                                      Unliquidated
 Cortland, IL, 60112                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8024
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vera Lulgjuraj                                                      Check all that apply.
                                                                                                                      11.99
                                                                                                                     $________________________________
 16 James Drive                                                       Contingent
                                                                      Unliquidated
 Brewster, NY, 10509                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8025
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      259.90
                                                                                                                     $________________________________
 Verizon                                                             Check all that apply.
 500 Technology Dr. - Suite 5550                                      Contingent
                                                                      Unliquidated
 Weldon Spring, MO, 63304                                             Disputed
                                                                     Basis for the claim: Utility Services



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8026
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Veronica Matos Fernandez                                            Check all that apply.
                                                                                                                       13.88
                                                                                                                     $________________________________
 1309 Virginia Boulevard                                              Contingent
                                                                      Unliquidated
 San Antonio, TX, 78203                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8027
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.08
                                                                                                                     $________________________________
 Veronica Alatorre                                                    Contingent
 9050 Kern Ave Unit H4                                                Unliquidated
                                                                      Disputed
 Gilroy, CA, 95020-7508
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8028
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.24
                                                                                                                     $________________________________
 Veronica Alatorre                                                   Check all that apply.
 9050 Kern Avenue, Unit H4                                            Contingent
                                                                      Unliquidated
 Gilroy, CA, 95020                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8029
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Veronica Carpentier                                                 Check all that apply.
                                                                                                                      33.54
                                                                                                                     $________________________________
 4747 Luka Lane                                                       Contingent
                                                                      Unliquidated
 Laredo, TX, 78046                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8030
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      42.99
                                                                                                                     $________________________________
 Veronica Castilleja                                                 Check all that apply.
 1716 N 49TH ST                                                       Contingent
                                                                      Unliquidated
 MCALLEN, TX, 78501                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8031
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Veronica Gonzalez                                                   Check all that apply.
                                                                                                                       19.99
                                                                                                                     $________________________________
 320 Derecho Way                                                      Contingent
                                                                      Unliquidated
 Tracy, CA, 95376                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8032
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             18.99
                                                                                                                     $________________________________
 Veronica McNicholas                                                  Contingent
 29 Watson Hill Road                                                  Unliquidated
                                                                      Disputed
 Raymond, NH, 3077
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8033
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.18
                                                                                                                     $________________________________
 Veronica Stegall                                                    Check all that apply.
 11854 garney hood road                                               Contingent
                                                                      Unliquidated
 Denham springs, LA, 70726                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8034
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Veronika Frystacka                                                  Check all that apply.
                                                                                                                      109.98
                                                                                                                     $________________________________
 3314 Northside Drive, #92                                            Contingent
                                                                      Unliquidated
 Key West, FL, 33040                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8035
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12.98
                                                                                                                     $________________________________
 Vicente Cruz                                                        Check all that apply.
 4926 Jarl Court                                                      Contingent
                                                                      Unliquidated
 Katy, TX, 77449                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8036
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vicente Garcia                                                      Check all that apply.
                                                                                                                       68.98
                                                                                                                     $________________________________
 1350 SW 122ND AVE APT 305                                            Contingent
                                                                      Unliquidated
 Miami, FL, 33184                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1633 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8037
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 vicente mendoza                                                      Contingent
 4350 Cedar Ave, Apt C                                                Unliquidated
                                                                      Disputed
 El Monte, CA, 91732
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8038
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 Vickie Marino                                                       Check all that apply.
 N2481 COUNTY HIGHWAY P                                               Contingent
                                                                      Unliquidated
 SARONA, WI, 54870-9410                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8039
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Victor Antonio                                                      Check all that apply.
                                                                                                                      379.95
                                                                                                                     $________________________________
 15008 Allendale Lane                                                 Contingent
                                                                      Unliquidated
 Conroe, TX, 77302                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8040
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.45
                                                                                                                     $________________________________
 Victor Avena                                                        Check all that apply.
 936 Dalrymple Rd                                                     Contingent
                                                                      Unliquidated
 Las Cruces, NM, 88007                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8041
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Victor Badillo                                                      Check all that apply.
                                                                                                                       43.49
                                                                                                                     $________________________________
 444 Encinitas Avenue                                                 Contingent
                                                                      Unliquidated
 San Diego, CA, 92114                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1634 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8042
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.19
                                                                                                                     $________________________________
 Victor Barba                                                         Contingent
 1537 Applegate St                                                    Unliquidated
                                                                      Disputed
 Chula Vista, CA, 91913-1580
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8043
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       137.81
                                                                                                                     $________________________________
 Victor Barrios                                                      Check all that apply.
 45321 Kingtree Avenue                                                Contingent
                                                                      Unliquidated
 Lancaster, CA, 93534                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8044
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 victor barros                                                       Check all that apply.
                                                                                                                      399.98
                                                                                                                     $________________________________
 234 Green Valley Road                                                Contingent
                                                                      Unliquidated
 East Meadow, NY, 11554                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8045
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      90.00
                                                                                                                     $________________________________
 Victor Cosme                                                        Check all that apply.
 940 Sonata Lane                                                      Contingent
                                                                      Unliquidated
 Orlando, FL, 32825                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8046
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Victor Flowers                                                      Check all that apply.
                                                                                                                       146.07
                                                                                                                     $________________________________
 1310 W Lambert Rd, 176                                               Contingent
                                                                      Unliquidated
 La Habra, CA, 90631                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.        Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                            Document Page 1635 of Case number (if known)_____________________________________
                                                                          2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8047
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             163.11
                                                                                                                      $________________________________
 Victor Gonzalez                                                       Contingent
 53378 Shady Lane                                                      Unliquidated
                                                                       Disputed
 Coachella, CA, 92236
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  8048
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        102.81
                                                                                                                      $________________________________
 Victor Gonzalez                                                      Check all that apply.
 73 East Hopkins Avenue                                                Contingent
                                                                       Unliquidated
 Pontiac, MI, 48340                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  8049
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Victor Hillerich                                                     Check all that apply.
                                                                                                                       29.99
                                                                                                                      $________________________________
 6502 Southside drive, 6502 Southside drive                            Contingent
                                                                       Unliquidated
 Louisville, KY, 40214                                                 Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  8050
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       37.61
                                                                                                                      $________________________________
 Victor Lizardi                                                       Check all that apply.
 10357 Del Mar Cir.                                                    Contingent
                                                                       Unliquidated
 Tampa, FL, 33624                                                      Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  8051
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 victor llano                                                         Check all that apply.
                                                                                                                        28.13
                                                                                                                      $________________________________
 12555 Jackson Heights Drive                                           Contingent
                                                                       Unliquidated
 El Cajon, CA, 92021                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1636 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8052
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             117.69
                                                                                                                     $________________________________
 Victor M Sosa Rincon                                                 Contingent
 908 4th AVE SE                                                       Unliquidated
                                                                      Disputed
 Hampton, IA, 50441
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8053
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.21
                                                                                                                     $________________________________
 Victor Martinez                                                     Check all that apply.
 1513 W PICO BLVD APT 20                                              Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90015                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8054
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Victor Martinez                                                     Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 9818 Hoback St                                                       Contingent
                                                                      Unliquidated
 Bellflower, CA, 90706                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8055
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.99
                                                                                                                     $________________________________
 Victor Medina                                                       Check all that apply.
 14 W 41 ST                                                           Contingent
                                                                      Unliquidated
 Anderson , IN, 46013                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8056
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Victor Medrano                                                      Check all that apply.
                                                                                                                       140.64
                                                                                                                     $________________________________
 5150 Airport Rd, Lot A20                                             Contingent
                                                                      Unliquidated
 Colorado Springs, CO, 80916-1625                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1637 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8057
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             205.85
                                                                                                                     $________________________________
 Victor Ovalle Jr                                                     Contingent
 12222 Bristol Dr                                                     Unliquidated
                                                                      Disputed
 La Mirada, CA, 90638
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8058
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       119.06
                                                                                                                     $________________________________
 Victor Perez                                                        Check all that apply.
 13314 Goodland Street, #207                                          Contingent
                                                                      Unliquidated
 Farmers Branch, TX, 75234                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8059
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Victor Perez                                                        Check all that apply.
                                                                                                                      261.95
                                                                                                                     $________________________________
 211 Young St,                                                        Contingent
                                                                      Unliquidated
 Nocona, TX, 76255                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8060
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.99
                                                                                                                     $________________________________
 victor saldivar                                                     Check all that apply.
 1135 Hawthorne Ave E,                                                Contingent
                                                                      Unliquidated
 SAINT PAUL, MN, 55106                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8061
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Victor Santaella                                                    Check all that apply.
                                                                                                                       31.99
                                                                                                                     $________________________________
 35734 Mission Blvd                                                   Contingent
                                                                      Unliquidated
 Fremont, CA, 94536                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1638 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8062
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             604.94
                                                                                                                     $________________________________
 Victor Sosa                                                          Contingent
 908 4th ave se                                                       Unliquidated
                                                                      Disputed
 Hampton, IA, 50441
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8063
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Victor Wright                                                       Check all that apply.
 8151 EASY MEADOW DR                                                  Contingent
                                                                      Unliquidated
 CONVERSE, TX, 78109-3462                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8064
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Victoria Lewis                                                      Check all that apply.
                                                                                                                      27.99
                                                                                                                     $________________________________
 River Road, 333                                                      Contingent
                                                                      Unliquidated
 Andover, MA, 1810                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8065
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.32
                                                                                                                     $________________________________
 Victoria Valenzuela                                                 Check all that apply.
 7219 Teresa Ave                                                      Contingent
                                                                      Unliquidated
 Rosemead, CA, 91770                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8066
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Victoria Carrillo                                                   Check all that apply.
                                                                                                                       250.93
                                                                                                                     $________________________________
 19 Furman Circle                                                     Contingent
                                                                      Unliquidated
 Kenner, LA, 70065-3917                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1639 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8067
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23.98
                                                                                                                     $________________________________
 Victoria Flores                                                      Contingent
 18557 Eagles Roost Dr                                                Unliquidated
                                                                      Disputed
 Germantown, MD, 20874
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8068
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       22.99
                                                                                                                     $________________________________
 Victoria Gonsor                                                     Check all that apply.
 1213 E. 70th Street North                                            Contingent
                                                                      Unliquidated
 Sioux Falls, SD, 57104                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8069
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Victoria Hubauer                                                    Check all that apply.
                                                                                                                      50.98
                                                                                                                     $________________________________
 5875 Crestwick Way                                                   Contingent
                                                                      Unliquidated
 Cumming, GA, 30040                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8070
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.08
                                                                                                                     $________________________________
 Victoria Lewis                                                      Check all that apply.
 57456 Cypress Avenue                                                 Contingent
                                                                      Unliquidated
 Slidell, LA, 70461                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8071
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 VICTORIA MARTINE                                                    Check all that apply.
                                                                                                                       840.80
                                                                                                                     $________________________________
 5523 NEOLA ROAD                                                      Contingent
                                                                      Unliquidated
 STROUDSBURG, PA, 18360                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1624
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.        Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor           _______________________________________________________
                   Name                           Document Page 1640 of Case number (if known)_____________________________________
                                                                          2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8072
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             91.57
                                                                                                                      $________________________________
 Victoria Moreno                                                       Contingent
 320 Town Center Pkwy, 2511                                            Unliquidated
                                                                       Disputed
 Santee, CA, 92071
                                                                      Basis for the claim: Customers with Outstanding Deposits



                                                                      Is the claim subject to offset?
         Date or dates debt was incurred       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
         Last 4 digits of account number       ___________________
  8073
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        11.99
                                                                                                                      $________________________________
 Victoria Rivera                                                      Check all that apply.
 7 taras drive                                                         Contingent
                                                                       Unliquidated
 Fords, NJ, 8863                                                       Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  8074
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Victoria Sertich                                                     Check all that apply.
                                                                                                                       17.98
                                                                                                                      $________________________________
 6718 Callaghan Rd, Apt 601                                            Contingent
                                                                       Unliquidated
 SAN ANTONIO, TX, 78229                                                Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
         Last 4 digits of account number       __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  8075
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       116.59
                                                                                                                      $________________________________
 Viet Le                                                              Check all that apply.
 6113 Summerset Drive                                                  Contingent
                                                                       Unliquidated
 Midland, MI, 48640                                                    Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes
  8076
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Viet Nguyen                                                          Check all that apply.
                                                                                                                        579.98
                                                                                                                      $________________________________
 6633 Brookite Court                                                   Contingent
                                                                       Unliquidated
 Carlsbad, CA, 92009                                                   Disputed
                                                                      Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
         Last 4 digits of account number       ___________________     Yes



    Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                           1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1641 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8077
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.98
                                                                                                                     $________________________________
 Vince Pai                                                            Contingent
 9122 Sauternes Ct                                                    Unliquidated
                                                                      Disputed
 Dallas, TX, 75231
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8078
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Vince Vaca                                                          Check all that apply.
 8210 N Hickory St , Apt 9-027                                        Contingent
                                                                      Unliquidated
 Kansas City , MO, 64118                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8079
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vincent Barron                                                      Check all that apply.
                                                                                                                      102.61
                                                                                                                     $________________________________
 91-1075 Oaniani St 9G, 9G                                            Contingent
                                                                      Unliquidated
 Kapolei, HI, 96707                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8080
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      56.96
                                                                                                                     $________________________________
 Vincent Basile                                                      Check all that apply.
 19 Central Ave                                                       Contingent
                                                                      Unliquidated
 Oneonta, NY, 13820                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8081
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vincent Beltran                                                     Check all that apply.
                                                                                                                       44.51
                                                                                                                     $________________________________
 314 East South Street                                                Contingent
                                                                      Unliquidated
 Wilkes Barre, PA, 18702                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1642 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8082
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.00
                                                                                                                     $________________________________
 Vincent Cestone                                                      Contingent
 58 Harrison St                                                       Unliquidated
                                                                      Disputed
 Little Falls, NJ, 7424
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8083
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       19.07
                                                                                                                     $________________________________
 Vincent Dorsey                                                      Check all that apply.
 261 north street                                                     Contingent
                                                                      Unliquidated
 Westfield, PA, 16950                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8084
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vincent Flores                                                      Check all that apply.
                                                                                                                      303.08
                                                                                                                     $________________________________
 2502 Piping Rock Trail                                               Contingent
                                                                      Unliquidated
 Austin, TX, 78748                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8085
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39.31
                                                                                                                     $________________________________
 Vincent Greco                                                       Check all that apply.
 71 Jog Hill Road                                                     Contingent
                                                                      Unliquidated
 Trumbull, CT, 6611                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8086
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vincent Gutosky                                                     Check all that apply.
                                                                                                                       254.38
                                                                                                                     $________________________________
 2216 Early Settlers Road                                             Contingent
                                                                      Unliquidated
 Richmond, VA, 23235                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1643 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8087
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             38.99
                                                                                                                     $________________________________
 Vincent Kwong                                                        Contingent
 14444 Wicks Boulevard                                                Unliquidated
                                                                      Disputed
 San Leandro, CA, 94577
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8088
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       94.80
                                                                                                                     $________________________________
 Vincent Nagoshi                                                     Check all that apply.
 15690 Bernardo Center Drive, Apt 2208                                Contingent
                                                                      Unliquidated
 San Diego, CA, 92127                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8089
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vincent Palazzo III                                                 Check all that apply.
                                                                                                                      79.99
                                                                                                                     $________________________________
 45 Hamilton Road                                                     Contingent
                                                                      Unliquidated
 Cranston, RI, 2910                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8090
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      17.98
                                                                                                                     $________________________________
 Vinnie Gardner                                                      Check all that apply.
 4028 17th ave so                                                     Contingent
                                                                      Unliquidated
 MINNEAPOLIS, MN, 55407                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8091
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vioni Villanueva                                                    Check all that apply.
                                                                                                                       44.16
                                                                                                                     $________________________________
 4025 Porte La Paz, Unit 123                                          Contingent
                                                                      Unliquidated
 San Diego, CA, 92122                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1628
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1644 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8092
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             279.98
                                                                                                                     $________________________________
 Vishal Govil                                                         Contingent
 1234 30th Avenue                                                     Unliquidated
                                                                      Disputed
 San Francisco, CA, 94122
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8093
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       91.97
                                                                                                                     $________________________________
 Vivian Huynh                                                        Check all that apply.
 20520 Vose St.                                                       Contingent
                                                                      Unliquidated
 Winnetka, CA, 91306                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8094
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vivian Savarese                                                     Check all that apply.
                                                                                                                      51.99
                                                                                                                     $________________________________
 3711 Loma Ventosa                                                    Contingent
                                                                      Unliquidated
 Sierra Vista, AZ, 85650                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8095
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      23.99
                                                                                                                     $________________________________
 Vivian Tran                                                         Check all that apply.
 1422 Pass and Covina Road                                            Contingent
                                                                      Unliquidated
 La Puente, CA, 91744                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8096
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Viviana gonzalez                                                    Check all that apply.
                                                                                                                       28.99
                                                                                                                     $________________________________
 813 West McKinley Street                                             Contingent
                                                                      Unliquidated
 Phoenix, AZ, 85007                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1629
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1645 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8097
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             58.29
                                                                                                                     $________________________________
 Vivien Seidler                                                       Contingent
 115 Hearthstone Circle                                               Unliquidated
                                                                      Disputed
 Bowling Green, KY, 42101
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8098
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.99
                                                                                                                     $________________________________
 Von Young                                                           Check all that apply.
 301 N Main Street                                                    Contingent
                                                                      Unliquidated
 Fithian, IL, 61844                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8099
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vu Huynh                                                            Check all that apply.
                                                                                                                      21.65
                                                                                                                     $________________________________
 1209 SILK OAK DR                                                     Contingent
                                                                      Unliquidated
 SUISUN CITY, CA, 94585                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8100
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      93.68
                                                                                                                     $________________________________
 Vu Nguyen                                                           Check all that apply.
 6614 42nd Ave S                                                      Contingent
                                                                      Unliquidated
 Seattle, WA, 98118                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8101
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vu Trinh                                                            Check all that apply.
                                                                                                                       71.65
                                                                                                                     $________________________________
 210 E 211th St.                                                      Contingent
                                                                      Unliquidated
 Carson, CA, 90745                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1630
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1646 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8102
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             6.45
                                                                                                                     $________________________________
 Vy Nguyen                                                            Contingent
 4204 Copeland Avenue, Apt5                                           Unliquidated
                                                                      Disputed
 San Diego, CA, 92105
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8103
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       14.99
                                                                                                                     $________________________________
 VZW Customer Service                                                Check all that apply.
 12659 Langstaff Dr                                                   Contingent
                                                                      Unliquidated
 Windermere, FL, 34786                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8104
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wade Eiff                                                           Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 14205 N Fountain Hills Blvd., Unit A                                 Contingent
                                                                      Unliquidated
 Fountain Hills, AZ, 85268                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8105
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24.13
                                                                                                                     $________________________________
 Wade Laymance                                                       Check all that apply.
 317 Old Tacora Hills Rd.                                             Contingent
                                                                      Unliquidated
 Clinton, TN, 37716                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8106
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wade Walton                                                         Check all that apply.
                                                                                                                       21.99
                                                                                                                     $________________________________
 630 Martic Heights Drive                                             Contingent
                                                                      Unliquidated
 Holtwood, PA, 17532                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1647 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8107
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             80.83
                                                                                                                     $________________________________
 Wai Fong Chang                                                       Contingent
 5396 Diana Common                                                    Unliquidated
                                                                      Disputed
 Fremont, CA, 94555
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8108
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       23.98
                                                                                                                     $________________________________
 Wakisha Bryant                                                      Check all that apply.
 2665 Grand Concourse, APT 1C                                         Contingent
                                                                      Unliquidated
 The Bronx, NY, 10468                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8109
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Walter Gunn                                                         Check all that apply.
                                                                                                                      168.99
                                                                                                                     $________________________________
 6502 Dellbank Drive                                                  Contingent
                                                                      Unliquidated
 Cleveland, OH, 44144                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8110
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      47.95
                                                                                                                     $________________________________
 Walter J Beese                                                      Check all that apply.
 536 Second St                                                        Contingent
                                                                      Unliquidated
 Carlstadt, NJ, 7072                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8111
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wameng Lo                                                           Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 6681 Pasado Rd                                                       Contingent
                                                                      Unliquidated
 Goleta, CA, 93117                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1648 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8112
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 wan hi lee                                                           Contingent
 3316 montrose ave, apt b                                             Unliquidated
                                                                      Disputed
 la crescenta, CA, 91214
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8113
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       42.45
                                                                                                                     $________________________________
 Wanda Doviw                                                         Check all that apply.
 72 East 190th Street, Apt E4                                         Contingent
                                                                      Unliquidated
 Bronx, NY, 10468                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8114
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 wang ning                                                           Check all that apply.
                                                                                                                      69.61
                                                                                                                     $________________________________
 1127 Main St                                                         Contingent
                                                                      Unliquidated
 Imperial, MO, 63052                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8115
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      66.98
                                                                                                                     $________________________________
 Warren Chen                                                         Check all that apply.
 1203 Danlea Court                                                    Contingent
                                                                      Unliquidated
 Herndon, VA, 20170                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8116
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Warren Rohr                                                         Check all that apply.
                                                                                                                       47.11
                                                                                                                     $________________________________
 1421 8th Ave                                                         Contingent
                                                                      Unliquidated
 Honolulu, HI, 96816                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1649 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8117
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10.99
                                                                                                                     $________________________________
 Warren Vang                                                          Contingent
 9036 North Gilbert Place                                             Unliquidated
                                                                      Disputed
 Portland, OR, 97203
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8118
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       8.00
                                                                                                                     $________________________________
 Wayne Armstrong                                                     Check all that apply.
 12169-6 Northpointe Lane                                             Contingent
                                                                      Unliquidated
 holland, MI, 49424                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8119
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wayne Hernandez                                                     Check all that apply.
                                                                                                                      33.99
                                                                                                                     $________________________________
 5572 Green Shadows Pl                                                Contingent
                                                                      Unliquidated
 Orlando, FL, 32811-2926                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8120
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.98
                                                                                                                     $________________________________
 Wayne Miskelly                                                      Check all that apply.
 5060 Westminster Way, 905, 905                                       Contingent
                                                                      Unliquidated
 Beech Island, SC, 29842                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8121
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Weiheng Guan                                                        Check all that apply.
                                                                                                                       28.64
                                                                                                                     $________________________________
 244 W 29th, #1f                                                      Contingent
                                                                      Unliquidated
 chicago, IL, 60616                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1650 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8122
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             103.90
                                                                                                                     $________________________________
 Wen Jie Mei                                                          Contingent
 11952 Chanteloup Dr                                                  Unliquidated
                                                                      Disputed
 Houston, TX, 77047
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8123
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       219.99
                                                                                                                     $________________________________
 Wendell Alexander                                                   Check all that apply.
 1241 South Ridgeley Drive                                            Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90019                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8124
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wendy Gregory                                                       Check all that apply.
                                                                                                                      53.60
                                                                                                                     $________________________________
 11469 S Open View Lane                                               Contingent
                                                                      Unliquidated
 South Jordan, UT, 84009                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8125
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      46.99
                                                                                                                     $________________________________
 Wendy Martel                                                        Check all that apply.
 2 Valgo Way                                                          Contingent
                                                                      Unliquidated
 Dudley, MA, 01571-6030                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8126
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wendy McLaughlin                                                    Check all that apply.
                                                                                                                       43.34
                                                                                                                     $________________________________
 62 Penfield Ave                                                      Contingent
                                                                      Unliquidated
 Croton on Hudson, NY, 10520-2702                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1651 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8127
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.98
                                                                                                                     $________________________________
 Wendy Murrell                                                        Contingent
 PO Box 2277                                                          Unliquidated
                                                                      Disputed
 SUISUN CITY, CA, 94585
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8128
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       29.99
                                                                                                                     $________________________________
 Wendy velazquez                                                     Check all that apply.
 7959 Bright Avenue, 10                                               Contingent
                                                                      Unliquidated
 Whittier, CA, 90602                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8129
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wenhui Kong                                                         Check all that apply.
                                                                                                                      33.98
                                                                                                                     $________________________________
 1238 66th Street                                                     Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11219                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8130
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      50.64
                                                                                                                     $________________________________
 Wenyi Chen                                                          Check all that apply.
 6601 127th Pl SE                                                     Contingent
                                                                      Unliquidated
 Bellevue, WA, 98006                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8131
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wes Calder                                                          Check all that apply.
                                                                                                                       32.99
                                                                                                                     $________________________________
 11184 Snapdragon St                                                  Contingent
                                                                      Unliquidated
 Ventura, CA, 93004                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1652 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8132
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             29.99
                                                                                                                     $________________________________
 Wes Lovell                                                           Contingent
 33435 Morse Avenue                                                   Unliquidated
                                                                      Disputed
 Creswell, OR, 97426
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8133
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       213.96
                                                                                                                     $________________________________
 Wesley Aleman                                                       Check all that apply.
 11436 Tiger Tail Circle                                              Contingent
                                                                      Unliquidated
 Sandy , UT, 84094                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8134
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wesley Clemons                                                      Check all that apply.
                                                                                                                      59.99
                                                                                                                     $________________________________
 240 Forest Drive                                                     Contingent
                                                                      Unliquidated
 Lake Jackson, TX, 77566                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8135
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.98
                                                                                                                     $________________________________
 Wesley Edwards                                                      Check all that apply.
 1501 Oaks Road                                                       Contingent
                                                                      Unliquidated
 Paducah, KY, 42003                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8136
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wesley Ellsworth                                                    Check all that apply.
                                                                                                                       14.99
                                                                                                                     $________________________________
 204 S Brand Blvd Ste 207                                             Contingent
                                                                      Unliquidated
 San Fernando, CA, 91340-3629                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1637
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1653 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8137
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.60
                                                                                                                     $________________________________
 Wesley Horne                                                         Contingent
 1243 Wappetaw Place                                                  Unliquidated
                                                                      Disputed
 Mount Pleasant, SC, 29464
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8138
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.90
                                                                                                                     $________________________________
 Wesley Jones                                                        Check all that apply.
 PO BOX 62                                                            Contingent
                                                                      Unliquidated
 Plainville, IN, 47568-0062                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8139
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wesley Li                                                           Check all that apply.
                                                                                                                      167.99
                                                                                                                     $________________________________
 2117 Blue Knob Ter.                                                  Contingent
                                                                      Unliquidated
 Silver Spring, MD, 20906                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8140
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      250.98
                                                                                                                     $________________________________
 Wesley Payne                                                        Check all that apply.
 655 Wall Street, Apartment 3                                         Contingent
                                                                      Unliquidated
 North Tonawanda, NY, 14120                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8141
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wesley Smallwood                                                    Check all that apply.
                                                                                                                       108.15
                                                                                                                     $________________________________
 2004 Smoky River Road                                                Contingent
                                                                      Unliquidated
 Knoxville, TN, 37931                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1654 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8142
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.95
                                                                                                                     $________________________________
 Wesley Willmott                                                      Contingent
 6651 Pickett Ave                                                     Unliquidated
                                                                      Disputed
 Garden Grove, CA, 92845
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8143
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       71.98
                                                                                                                     $________________________________
 Westin Cross                                                        Check all that apply.
 22 E 500 N                                                           Contingent
                                                                      Unliquidated
 Santaquin, UT, 84655                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8144
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Westin Wikstrom                                                     Check all that apply.
                                                                                                                      36.45
                                                                                                                     $________________________________
 4613 Hidden Lake Drive                                               Contingent
                                                                      Unliquidated
 Bountiful, UT, 84010                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8145
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      22.99
                                                                                                                     $________________________________
 Whitney Fauntleroy                                                  Check all that apply.
 4251 Campbell Avenue, 201                                            Contingent
                                                                      Unliquidated
 Arlington, VA, 22206                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8146
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Whitney Mitchell                                                    Check all that apply.
                                                                                                                       19.98
                                                                                                                     $________________________________
 5220 Haynes-Sterchi Road                                             Contingent
                                                                      Unliquidated
 Knoxville, TN, 37912                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1655 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8147
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             82.26
                                                                                                                     $________________________________
 Whitney Rehlander                                                    Contingent
 848 Woodsmans Mill Road                                              Unliquidated
                                                                      Disputed
 Montville, ME, 4941
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8148
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       84.12
                                                                                                                     $________________________________
 Wilbur Norman                                                       Check all that apply.
 2334 Twin Flower Ln                                                  Contingent
                                                                      Unliquidated
 Sanford, FL, 32771                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8149
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wild Star                                                           Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 8693 Meadowbrook Drive                                               Contingent
                                                                      Unliquidated
 Pensacola, FL, 32514                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8150
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      116.97
                                                                                                                     $________________________________
 Wilfredo Matos                                                      Check all that apply.
 193 Chestnut Ridge Drive, Apto F                                     Contingent
                                                                      Unliquidated
 Harrisonburg, VA, 22801                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8151
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Will Kois                                                           Check all that apply.
                                                                                                                       17.98
                                                                                                                     $________________________________
 2115 Dominion Drive                                                  Contingent
                                                                      Unliquidated
 Charlottesville, VA, 22901                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1656 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8152
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9.99
                                                                                                                     $________________________________
 Will Moore                                                           Contingent
 43092 Thoroughfare Gap Ter                                           Unliquidated
                                                                      Disputed
 Ashburn, VA, 20148-7090
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8153
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.79
                                                                                                                     $________________________________
 Will Moore                                                          Check all that apply.
 6350 Stonehaven Lane                                                 Contingent
                                                                      Unliquidated
 Bedford Heights, OH, 44146                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8154
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Will Temple                                                         Check all that apply.
                                                                                                                      14.99
                                                                                                                     $________________________________
 893 Estey Way                                                        Contingent
                                                                      Unliquidated
 Placerville, CA, 95667                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8155
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.49
                                                                                                                     $________________________________
 Will Washington                                                     Check all that apply.
 6408 Anderson Drive                                                  Contingent
                                                                      Unliquidated
 Temple Hills, MD, 20748                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8156
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Will Xu                                                             Check all that apply.
                                                                                                                       208.96
                                                                                                                     $________________________________
 13201 Corrigan Avenue                                                Contingent
                                                                      Unliquidated
 Downey, CA, 90242                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1657 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8157
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             54.99
                                                                                                                     $________________________________
 Willard Smith                                                        Contingent
 5445 E 172nd Ave                                                     Unliquidated
                                                                      Disputed
 Anchorage, AK, 99516-5606
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8158
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       12.83
                                                                                                                     $________________________________
 Willdavid Padilla                                                   Check all that apply.
 1251 Northwest 20th Street, APT 419                                  Contingent
                                                                      Unliquidated
 Miami, FL, 33142                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8159
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Willi Valle                                                         Check all that apply.
                                                                                                                      47.97
                                                                                                                     $________________________________
 741 Northwest 117th Street                                           Contingent
                                                                      Unliquidated
 Miami, FL, 33161                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8160
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      103.96
                                                                                                                     $________________________________
 William Laboy Flores                                                Check all that apply.
 Calle norte 256                                                      Contingent
                                                                      Unliquidated
 Dorado, PR, 646                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8161
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William MANCHESTER                                                  Check all that apply.
                                                                                                                       95.22
                                                                                                                     $________________________________
 247 Fair Street                                                      Contingent
                                                                      Unliquidated
 Warwick, RI, 2888                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1658 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8162
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.59
                                                                                                                     $________________________________
 William Alexander                                                    Contingent
 903 Wexford Lane                                                     Unliquidated
                                                                      Disputed
 Statesboro, GA, 30458
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8163
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.97
                                                                                                                     $________________________________
 William Belue                                                       Check all that apply.
 305 Pryor Rd                                                         Contingent
                                                                      Unliquidated
 Taylors, SC, 29687                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8164
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 WILLIAM BERNARD                                                     Check all that apply.
                                                                                                                      38.14
                                                                                                                     $________________________________
 1280 Birch Rd                                                        Contingent
                                                                      Unliquidated
 Lebanon, PA, 17042-9193                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8165
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.99
                                                                                                                     $________________________________
 William Bierach                                                     Check all that apply.
 213 Euphoria Circle                                                  Contingent
                                                                      Unliquidated
 Cary, NC, 27519                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8166
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Brown                                                       Check all that apply.
                                                                                                                       21.98
                                                                                                                     $________________________________
 1060 Mallard Ave                                                     Contingent
                                                                      Unliquidated
 Jordan, MN, 55352                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1659 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8167
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             15.99
                                                                                                                     $________________________________
 william callaway                                                     Contingent
 804 PINE LEVEL LN                                                    Unliquidated
                                                                      Disputed
 CHESAPEAKE, VA, 23322
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8168
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       11.99
                                                                                                                     $________________________________
 William Coffey                                                      Check all that apply.
 11709 Black Powder Drive                                             Contingent
                                                                      Unliquidated
 Knoxville, TN, 37934                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8169
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Corbusier                                                   Check all that apply.
                                                                                                                      60.21
                                                                                                                     $________________________________
 35 Crystal Mountain Ln                                               Contingent
                                                                      Unliquidated
 Maumelle, AR, 72113                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8170
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      49.99
                                                                                                                     $________________________________
 William Dempsey                                                     Check all that apply.
 92 Shady Lane                                                        Contingent
                                                                      Unliquidated
 Stamford, CT, 6903                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8171
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Dykes                                                       Check all that apply.
                                                                                                                       58.29
                                                                                                                     $________________________________
 13803 ROUND TOP PL                                                   Contingent
                                                                      Unliquidated
 LOUISVILLE, KY, 40299                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1660 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8172
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.71
                                                                                                                     $________________________________
 William Gallagher                                                    Contingent
 579 Miller Ln                                                        Unliquidated
                                                                      Disputed
 Whitehall, PA, 18052
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8173
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       92.95
                                                                                                                     $________________________________
 William Grindler                                                    Check all that apply.
 45 Jackson Avenue                                                    Contingent
                                                                      Unliquidated
 Rutherford, NJ, 7070                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8174
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Guillen                                                     Check all that apply.
                                                                                                                      29.22
                                                                                                                     $________________________________
 10233, English Oak Dr                                                Contingent
                                                                      Unliquidated
 Austin, TX, 78748                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8175
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.44
                                                                                                                     $________________________________
 William Hall                                                        Check all that apply.
 202 Tallow Wood Drive                                                Contingent
                                                                      Unliquidated
 Clifton Park, NY, 12065                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8176
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Hanna                                                       Check all that apply.
                                                                                                                       362.89
                                                                                                                     $________________________________
 26792 Lenox Avenue                                                   Contingent
                                                                      Unliquidated
 Madison Heights, MI, 48071                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1661 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8177
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21.99
                                                                                                                     $________________________________
 William Lee                                                          Contingent
 1901 west Benjamin holt drive                                        Unliquidated
                                                                      Disputed
 Stockton, CA, 95207
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8178
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       33.99
                                                                                                                     $________________________________
 William Long                                                        Check all that apply.
 695 Duvall Hwy                                                       Contingent
                                                                      Unliquidated
 Pasadena, MD, 21122                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8179
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Maclean                                                     Check all that apply.
                                                                                                                      79.99
                                                                                                                     $________________________________
 2910 Rhineberry Road                                                 Contingent
                                                                      Unliquidated
 Rochester Hills, MI, 48309                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8180
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.23
                                                                                                                     $________________________________
 William Marsh                                                       Check all that apply.
 1045 Culmer Dr                                                       Contingent
                                                                      Unliquidated
 VIRGINIA BEACH, VA, 23454                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8181
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Masback                                                     Check all that apply.
                                                                                                                       22.99
                                                                                                                     $________________________________
 2110 Southwest 19th Street                                           Contingent
                                                                      Unliquidated
 Gresham, OR, 97080                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1662 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8182
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 William Maye                                                         Contingent
 8044 Hidden View Circle                                              Unliquidated
                                                                      Disputed
 Fair Oaks, CA, 95628
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8183
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.85
                                                                                                                     $________________________________
 William Mccleery                                                    Check all that apply.
 7718 Greenbrier Rd                                                   Contingent
                                                                      Unliquidated
 Pennsauken, NJ, 8109                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8184
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Mccullagh                                                   Check all that apply.
                                                                                                                      13.04
                                                                                                                     $________________________________
 1905 Delrose St                                                      Contingent
                                                                      Unliquidated
 Joliet, IL, 60435                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8185
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.93
                                                                                                                     $________________________________
 William McGarry                                                     Check all that apply.
 170 NORTH ST                                                         Contingent
                                                                      Unliquidated
 NORTH READING, MA, 1864                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8186
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Moran                                                       Check all that apply.
                                                                                                                       67.98
                                                                                                                     $________________________________
 6450 Dougherty road, Apt 711                                         Contingent
                                                                      Unliquidated
 Dublin, CA, 94568                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1663 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8187
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.99
                                                                                                                     $________________________________
 WILLIAM P. FABINA                                                    Contingent
 204 Boyer St.                                                        Unliquidated
                                                                      Disputed
 Johnstown, PA, 15906
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8188
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.23
                                                                                                                     $________________________________
 William Pague                                                       Check all that apply.
 1842 Pinehaven Drive                                                 Contingent
                                                                      Unliquidated
 Clinton, MS, 39056                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8189
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Ratliff                                                     Check all that apply.
                                                                                                                      64.99
                                                                                                                     $________________________________
 3335 N Christmas Ave                                                 Contingent
                                                                      Unliquidated
 Tucson, AZ, 85716                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8190
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.74
                                                                                                                     $________________________________
 william rogers                                                      Check all that apply.
 8589 Wilburn Cove                                                    Contingent
                                                                      Unliquidated
 Navarre, FL, 32566                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8191
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 WILLIAM RUSSELL                                                     Check all that apply.
                                                                                                                       70.84
                                                                                                                     $________________________________
 4683 LEE ROAD 11                                                     Contingent
                                                                      Unliquidated
 OPELIKA, AL, 36804                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1664 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8192
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             26.99
                                                                                                                     $________________________________
 William Scheel                                                       Contingent
 7224 Highland Loop                                                   Unliquidated
                                                                      Disputed
 Zephyrhills, FL, 33541
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8193
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.99
                                                                                                                     $________________________________
 William Schweisthal                                                 Check all that apply.
 2209 PASEO COURT                                                     Contingent
                                                                      Unliquidated
 LAS VEGAS, NV, 89117                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8194
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Shea                                                        Check all that apply.
                                                                                                                      28.61
                                                                                                                     $________________________________
 81 South Highland Drive                                              Contingent
                                                                      Unliquidated
 Lake Leelanau, MI, 49653                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8195
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 william shockey                                                     Check all that apply.
 1209 w.fred                                                          Contingent
                                                                      Unliquidated
 Whiting, IN, 46394                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8196
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Smelser                                                     Check all that apply.
                                                                                                                       8.99
                                                                                                                     $________________________________
 606 west pikes peak avenue                                           Contingent
                                                                      Unliquidated
 Colorado springs, CO, 80905                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1665 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8197
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             59.99
                                                                                                                     $________________________________
 William Smith                                                        Contingent
 1 Weatherstone Way                                                   Unliquidated
                                                                      Disputed
 Smithtown, NY, 11787
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8198
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       51.98
                                                                                                                     $________________________________
 William Smith                                                       Check all that apply.
 215 Cloverbrook Circle                                               Contingent
                                                                      Unliquidated
 Pittsburg, CA, 94565                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8199
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Snow                                                        Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 12 Kings Crossing Ct Apt J                                           Contingent
                                                                      Unliquidated
 Cockeysville, MD, 21030                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8200
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.15
                                                                                                                     $________________________________
 William Thompson                                                    Check all that apply.
 16 Lawton rd Unit 28                                                 Contingent
                                                                      Unliquidated
 Manchester, CT, 6042                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8201
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Tubao                                                       Check all that apply.
                                                                                                                       39.99
                                                                                                                     $________________________________
 12854 Pinefield Road                                                 Contingent
                                                                      Unliquidated
 Poway, CA, 92064                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1666 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8202
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             74.01
                                                                                                                     $________________________________
 William Vista                                                        Contingent
 85-30 112th street                                                   Unliquidated
                                                                      Disputed
 Richmond hill, NY, 11418
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8203
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       62.05
                                                                                                                     $________________________________
 William Whittemore                                                  Check all that apply.
 1702 Tanglewood Drive                                                Contingent
                                                                      Unliquidated
 Clinton, MS, 39056                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8204
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 William Young                                                       Check all that apply.
                                                                                                                      42.11
                                                                                                                     $________________________________
 339 Palm Terrace Loop                                                Contingent
                                                                      Unliquidated
 Conway, SC, 29526                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8205
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.53
                                                                                                                     $________________________________
 Willie Gutierrez                                                    Check all that apply.
 2401 West Sam Houston Parkway North, 903                             Contingent
                                                                      Unliquidated
 Houston, TX, 77043                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8206
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Willow Hall                                                         Check all that apply.
                                                                                                                       87.97
                                                                                                                     $________________________________
 4 upland road                                                        Contingent
                                                                      Unliquidated
 ASHEVILLE, NC, 28804                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1651
                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1667 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8207
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             32.99
                                                                                                                     $________________________________
 Willy Quijano                                                        Contingent
 501 Bank Lane, Apt#201                                               Unliquidated
                                                                      Disputed
 HIGHWOOD, IL, 60040
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8208
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       47.97
                                                                                                                     $________________________________
 Willy Wang                                                          Check all that apply.
 3865 Duncan Pl.                                                      Contingent
                                                                      Unliquidated
 PALO ALTO, CA, 94306-4549                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8209
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Willy Williams                                                      Check all that apply.
                                                                                                                      10.65
                                                                                                                     $________________________________
 38 Seeley Ave                                                        Contingent
                                                                      Unliquidated
 Keansburg, NJ, 7734                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8210
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      2,611.96
                                                                                                                     $________________________________
 Wing Leung                                                          Check all that apply.
 12718 35th Ave SE, Apt A4                                            Contingent
                                                                      Unliquidated
 Everett, WA, 98208-5663                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8211
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Winter Rose                                                         Check all that apply.
                                                                                                                       84.99
                                                                                                                     $________________________________
 2638 North Wyoming Avenue                                            Contingent
                                                                      Unliquidated
 Fremont, NE, 68025                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1668 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8212
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             43.78
                                                                                                                     $________________________________
 Woodrow Bailey                                                       Contingent
 5115 Inaglen Way                                                     Unliquidated
                                                                      Disputed
 View Park-Windsor Hills, CA, 90043
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8213
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       45.76
                                                                                                                     $________________________________
 wuolfran sanchez                                                    Check all that apply.
 656 henry long blvd                                                  Contingent
                                                                      Unliquidated
 stockton, CA, 95206                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8214
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wyatt Barber                                                        Check all that apply.
                                                                                                                      97.99
                                                                                                                     $________________________________
 1463 Campton St                                                      Contingent
                                                                      Unliquidated
 Ely, NV, 89301-2014                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8215
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      15.99
                                                                                                                     $________________________________
 Wyatt Skelton                                                       Check all that apply.
 408 5th Ave E                                                        Contingent
                                                                      Unliquidated
 Bryant, SD, 57221                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8216
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Xander Geraldo                                                      Check all that apply.
                                                                                                                       92.53
                                                                                                                     $________________________________
 998 Longwood Avenue, Apt 34                                          Contingent
                                                                      Unliquidated
 Bronx, NY, 10459                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1669 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8217
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             64.99
                                                                                                                     $________________________________
 xang her                                                             Contingent
 30631 SE PIPELINE RD                                                 Unliquidated
                                                                      Disputed
 Gresham, OR, 97080
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8218
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       6.48
                                                                                                                     $________________________________
 Xavier Flores                                                       Check all that apply.
 2813 N Warren Ave                                                    Contingent
                                                                      Unliquidated
 Fresno, CA, 93705                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8219
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Xavier I. Caraballo                                                 Check all that apply.
                                                                                                                      122.95
                                                                                                                     $________________________________
 Vistas de Rio Grande II, Nogal 407                                   Contingent
                                                                      Unliquidated
 Rio Grande, PR, 745                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8220
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21.98
                                                                                                                     $________________________________
 Xiaodong Yang                                                       Check all that apply.
 9180 Autumn Mist Ct                                                  Contingent
                                                                      Unliquidated
 Las Vegas,, NV, 89148                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8221
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 XIAOHE TIAN                                                         Check all that apply.
                                                                                                                       263.49
                                                                                                                     $________________________________
 203 Park Drive, Apt 326                                              Contingent
                                                                      Unliquidated
 Boston, MA, 2215                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1670 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8222
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             50.99
                                                                                                                     $________________________________
 Xiaoyi Zhang                                                         Contingent
 35 Bradford Rd                                                       Unliquidated
                                                                      Disputed
 Scarsdale, NY, 10583
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8223
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.61
                                                                                                                     $________________________________
 Xingyu Liu                                                          Check all that apply.
 2767 S Knightsbridge Cir                                             Contingent
                                                                      Unliquidated
 Ann Arbor, MI, 48105                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8224
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Xinyi Hu                                                            Check all that apply.
                                                                                                                      16.40
                                                                                                                     $________________________________
 1428 Rosecrest Terrace                                               Contingent
                                                                      Unliquidated
 San Jose, CA, 95126                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8225
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      328.11
                                                                                                                     $________________________________
 Xinyou Yu                                                           Check all that apply.
 1580 Meadow Ridge Circle                                             Contingent
                                                                      Unliquidated
 San Jose, CA, 95131                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8226
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Xinyu Ma                                                            Check all that apply.
                                                                                                                       36.28
                                                                                                                     $________________________________
 7696 Oxgate Ct                                                       Contingent
                                                                      Unliquidated
 Hudson, OH, 44236                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1671 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8227
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             105.55
                                                                                                                     $________________________________
 xiuzhi zheng                                                         Contingent
 7510 20th Ave, Apt 3a                                                Unliquidated
                                                                      Disputed
 BROOKLYN, NY, 11214
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8228
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       152.96
                                                                                                                     $________________________________
 Xue Xiong                                                           Check all that apply.
 1626 Biemeret Street                                                 Contingent
                                                                      Unliquidated
 Green Bay, WI, 54304                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8229
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Y Nguyen                                                            Check all that apply.
                                                                                                                      84.98
                                                                                                                     $________________________________
 2207 E.Beachcomber Dr                                                Contingent
                                                                      Unliquidated
 Gilbert, AZ, 85234                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8230
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      607.75
                                                                                                                     $________________________________
 Yadira Torres                                                       Check all that apply.
 223 Ocean Ave                                                        Contingent
                                                                      Unliquidated
 Lakewood, NJ, 8701                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8231
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yaleska Irizarry                                                    Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 HC03 BOX 37214                                                       Contingent
                                                                      Unliquidated
 San Sebastian, PR, 685                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1672 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8232
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             243.79
                                                                                                                     $________________________________
 Yanan Zhao                                                           Contingent
 3935 white rose way                                                  Unliquidated
                                                                      Disputed
 ellicott city, MD, 21042
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8233
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       57.98
                                                                                                                     $________________________________
 Yaneth Gonzalez                                                     Check all that apply.
 1318 Julien Street                                                   Contingent
                                                                      Unliquidated
 Belvidere, IL, 61008                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8234
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yang Yu                                                             Check all that apply.
                                                                                                                      49.99
                                                                                                                     $________________________________
 10058 Tall Oaks Street                                               Contingent
                                                                      Unliquidated
 Parker, CO, 80134                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8235
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      53.76
                                                                                                                     $________________________________
 Yaoyuan Xu                                                          Check all that apply.
 907 Buchanan St                                                      Contingent
                                                                      Unliquidated
 Albany, CA, 94706                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8236
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yaritza Loreto                                                      Check all that apply.
                                                                                                                       28.26
                                                                                                                     $________________________________
 2856 Berkeley Ct                                                     Contingent
                                                                      Unliquidated
 San Bernardino, CA, 92405                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                          1682
               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1673 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8237
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             45.45
                                                                                                                     $________________________________
 Yarlim Contreras                                                     Contingent
 1913 Galveston Street                                                Unliquidated
                                                                      Disputed
 Grand Prairie, TX, 75051
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8238
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       32.65
                                                                                                                     $________________________________
 Yasaman Ghodse-Elahi                                                Check all that apply.
 33 Newel Street, 2                                                   Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11222                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8239
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yasin Ibn Majdoub Hassani                                           Check all that apply.
                                                                                                                      151.56
                                                                                                                     $________________________________
 5167 Aberdeen Ct NW                                                  Contingent
                                                                      Unliquidated
 Lilburn, GA, 30047                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8240
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      128.39
                                                                                                                     $________________________________
 Yasmin onder                                                        Check all that apply.
 700 Cocoanut Avenue, Apartment 342                                   Contingent
                                                                      Unliquidated
 Sarasota, FL, 34236                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8241
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yasmina Elmorabit                                                   Check all that apply.
                                                                                                                       119.99
                                                                                                                     $________________________________
 2158 Cumberland Parkway Southeast, APT#                              Contingent
 10407                                                                Unliquidated
                                                                      Disputed
 Atlanta, GA, 30339                                                  Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1674 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8242
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             81.98
                                                                                                                     $________________________________
 Yating Wu                                                            Contingent
 16 Lavender Ct                                                       Unliquidated
                                                                      Disputed
 Daly City, CA, 94014
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8243
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       9.99
                                                                                                                     $________________________________
 Yazmin Zavaleta                                                     Check all that apply.
 211 E 115th Street, Floor 3                                          Contingent
                                                                      Unliquidated
 New York, NY, 10029                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8244
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yecenia E Reyes                                                     Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 928 Maryland Drive                                                   Contingent
                                                                      Unliquidated
 Vista, CA, 92083                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8245
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      59.99
                                                                                                                     $________________________________
 Yehan Lee                                                           Check all that apply.
 183 Mount Auburn Street, 46                                          Contingent
                                                                      Unliquidated
 Watertown, MA, 2472                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8246
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yeji Kim                                                            Check all that apply.
                                                                                                                       27.99
                                                                                                                     $________________________________
 12931 Oxnard Street, Apt 11                                          Contingent
                                                                      Unliquidated
 Van Nuys, CA, 91401                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1675 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8247
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             396.98
                                                                                                                     $________________________________
 Yekaterina Tabatadze                                                 Contingent
 340 Sunderland Road, C3                                              Unliquidated
                                                                      Disputed
 Worcester, MA, 1604
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8248
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.63
                                                                                                                     $________________________________
 Yen Ngo                                                             Check all that apply.
 1813 South Almansor Street                                           Contingent
                                                                      Unliquidated
 Alhambra, CA, 91801                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8249
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yencie Ayala                                                        Check all that apply.
                                                                                                                      12.71
                                                                                                                     $________________________________
 115 Barrington Rd                                                    Contingent
                                                                      Unliquidated
 Fort Wright, KY, 41011                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8250
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.31
                                                                                                                     $________________________________
 yener parra                                                         Check all that apply.
 212 Lincoln Avenue                                                   Contingent
                                                                      Unliquidated
 Elizabeth, NJ, 7208                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8251
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 yer xiong                                                           Check all that apply.
                                                                                                                       36.91
                                                                                                                     $________________________________
 2560 Palisades LN                                                    Contingent
                                                                      Unliquidated
 appleton, WI, 54915                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1676 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8252
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             79.98
                                                                                                                     $________________________________
 Yesenia Lucio                                                        Contingent
 2702 Dario St                                                        Unliquidated
                                                                      Disputed
 Weslaco, TX, 78599
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8253
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       63.99
                                                                                                                     $________________________________
 Yesenia Macias                                                      Check all that apply.
 1413 WEST 101TH ST                                                   Contingent
                                                                      Unliquidated
 LOS ANGELES, CA, 90047                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8254
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yesenia Medina                                                      Check all that apply.
                                                                                                                      39.99
                                                                                                                     $________________________________
 1830 Waverly Lane                                                    Contingent
                                                                      Unliquidated
 algonquin, IL, 60102                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8255
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.04
                                                                                                                     $________________________________
 yeshi tsodon                                                        Check all that apply.
 168 Corabelle Avenue                                                 Contingent
                                                                      Unliquidated
 Lodi, NJ, 7644                                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8256
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yi Jin                                                              Check all that apply.
                                                                                                                       54.99
                                                                                                                     $________________________________
 2243 North Lincoln Avenue, Apt. 3A                                   Contingent
                                                                      Unliquidated
 Chicago, IL, 60614                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1677 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8257
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             39.44
                                                                                                                     $________________________________
 Yi Wang                                                              Contingent
 333 Grand Street, Apt 1113                                           Unliquidated
                                                                      Disputed
 Jersey City, NJ, 7302
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8258
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       34.99
                                                                                                                     $________________________________
 Ying Zhang                                                          Check all that apply.
 85 Jefferson Avenue                                                  Contingent
                                                                      Unliquidated
 Eagleville, PA, 19403                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8259
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 yinny liu                                                           Check all that apply.
                                                                                                                      47.98
                                                                                                                     $________________________________
 1715 76th st                                                         Contingent
                                                                      Unliquidated
 brooklyn, NY, 11214                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8260
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      54.43
                                                                                                                     $________________________________
 Yiran Zhao                                                          Check all that apply.
 41-42 24th Street, 1401                                              Contingent
                                                                      Unliquidated
 Long Island City, NY, 11101                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8261
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yoelver Lopez                                                       Check all that apply.
                                                                                                                       452.58
                                                                                                                     $________________________________
 5117 NW Fifth Street                                                 Contingent
                                                                      Unliquidated
 Miami , FL, 33126                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1678 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8262
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24.99
                                                                                                                     $________________________________
 Yoh Sawatari                                                         Contingent
 415 Marmore Ave                                                      Unliquidated
                                                                      Disputed
 Coral Gables, FL, 33146
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8263
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       28.61
                                                                                                                     $________________________________
 Yolanda M Aquino                                                    Check all that apply.
 1644 Goddard Rd                                                      Contingent
                                                                      Unliquidated
 Lincoln Park, MI, 48146-4032                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8264
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yong Liu                                                            Check all that apply.
                                                                                                                      394.98
                                                                                                                     $________________________________
 34831 Starling Drive, APT#4                                          Contingent
                                                                      Unliquidated
 Union City, CA, 94587                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8265
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      45.97
                                                                                                                     $________________________________
 Yongxin Hu                                                          Check all that apply.
 1733 galemont Ave                                                    Contingent
                                                                      Unliquidated
 Hacienda Heights , CA, 91745                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8266
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Young Kim                                                           Check all that apply.
                                                                                                                       52.99
                                                                                                                     $________________________________
 9375 Hamilton Ct Apt A                                               Contingent
                                                                      Unliquidated
 Des Plaines, IL, 60016                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1679 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8267
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9,427.66
                                                                                                                     $________________________________
 YRC Freight                                                          Contingent
 PO Box 13573                                                         Unliquidated
                                                                      Disputed
 Newark, NJ, 07188-3573
                                                                     Basis for the claim: Trade Payables



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8268
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       1,649.93
                                                                                                                     $________________________________
 YRC Inc. DBA YRC Freight                                            Check all that apply.
 PO Box 93151                                                         Contingent
                                                                      Unliquidated
 Chicago, IL, 60673-3151                                              Disputed
                                                                     Basis for the claim: Trade Payables



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8269
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ysaac Manuel                                                        Check all that apply.
                                                                                                                      21.99
                                                                                                                     $________________________________
 1014 Oak Hill Dr                                                     Contingent
                                                                      Unliquidated
 Chula Vista, CA, 91915                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8270
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      27.81
                                                                                                                     $________________________________
 Yu-Bo Wang                                                          Check all that apply.
 204 Silver Ridge Dr                                                  Contingent
                                                                      Unliquidated
 Central, SC, 29630                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8271
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yu-Feng Hung TWWMTHGG                                               Check all that apply.
                                                                                                                       59.98
                                                                                                                     $________________________________
 13822 NE Airport Way                                                 Contingent
                                                                      Unliquidated
 Portland, OR, 97251-9614                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                      of ___
                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1680 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8272
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,269.97
                                                                                                                     $________________________________
 YU-SHENG LIN                                                         Contingent
 1937 Pontius Ave, Fl 4                                               Unliquidated
                                                                      Disputed
 Los Angeles, CA, 90025-5611
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8273
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       26.99
                                                                                                                     $________________________________
 Yubin Li                                                            Check all that apply.
 742 Brunswick Street                                                 Contingent
                                                                      Unliquidated
 San Francisco, CA, 94112                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8274
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yubo Lu                                                             Check all that apply.
                                                                                                                      459.96
                                                                                                                     $________________________________
 4-74 48th Ave Apt 36G                                                Contingent
                                                                      Unliquidated
 Long Island City, NY, 11109                                          Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8275
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      57.88
                                                                                                                     $________________________________
 Yue Ching Leung                                                     Check all that apply.
 900 Garden Square Lane                                               Contingent
                                                                      Unliquidated
 Morrisville, NC, 27560                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8276
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yujia Li                                                            Check all that apply.
                                                                                                                       30.91
                                                                                                                     $________________________________
 407 Huntington Avenue                                                Contingent
                                                                      Unliquidated
 Boston, MA, 2115                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1681 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8277
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             35.59
                                                                                                                     $________________________________
 yujie su                                                             Contingent
 3308 vancouver dr                                                    Unliquidated
                                                                      Disputed
 Modesto, CA, 95355
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8278
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       82.56
                                                                                                                     $________________________________
 Yun Sang Chan                                                       Check all that apply.
 222 21st Street East                                                 Contingent
                                                                      Unliquidated
 North Vancouver, BC, V7L 3B6                                         Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8279
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yunfeng Chen                                                        Check all that apply.
                                                                                                                      70.43
                                                                                                                     $________________________________
 18 Forest Ln                                                         Contingent
                                                                      Unliquidated
 Scarsdale, NY, 10583                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8280
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      31.74
                                                                                                                     $________________________________
 Yuri Lee                                                            Check all that apply.
 991 Arapahoe Street, Unit 501                                        Contingent
                                                                      Unliquidated
 Los Angeles, CA, 90006                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8281
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 yusuf syed                                                          Check all that apply.
                                                                                                                       23.98
                                                                                                                     $________________________________
 7034 johnnycake rd.                                                  Contingent
                                                                      Unliquidated
 baltimore, MD, 21244-2405                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1682 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8282
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             12.78
                                                                                                                     $________________________________
 Yuta Nagasaka                                                        Contingent
 472 7th street, 1st fl                                               Unliquidated
                                                                      Disputed
 Palisades Park, NJ, 7650
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8283
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       36.03
                                                                                                                     $________________________________
 Yvanka Figueroa                                                     Check all that apply.
 251 Florida Ave.                                                     Contingent
                                                                      Unliquidated
 Shenandoah, PA, 17976                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8284
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Yvette Morales                                                      Check all that apply.
                                                                                                                      14.19
                                                                                                                     $________________________________
 2093 E Bard Road                                                     Contingent
                                                                      Unliquidated
 Oxnard, CA, 93033                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8285
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19.99
                                                                                                                     $________________________________
 Za Greenhagen                                                       Check all that apply.
 3717 6th Avenue, 144                                                 Contingent
                                                                      Unliquidated
 Des Moines, IA, 50313                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8286
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zach Chambers                                                       Check all that apply.
                                                                                                                       20.65
                                                                                                                     $________________________________
 8060 Saddlebrook Drive                                               Contingent
                                                                      Unliquidated
 Lynden, WA, 98264                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1683 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8287
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13.07
                                                                                                                     $________________________________
 Zach Hilts                                                           Contingent
 116 CLOVIS CIR                                                       Unliquidated
                                                                      Disputed
 MYRTLE BEACH, SC, 29579
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8288
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       41.99
                                                                                                                     $________________________________
 Zach M Alexander                                                    Check all that apply.
 304 Catawba Dr                                                       Contingent
                                                                      Unliquidated
 Summerville, SC, 29483                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8289
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zach Mendelson                                                      Check all that apply.
                                                                                                                      91.57
                                                                                                                     $________________________________
 37 SAN SEBASTIAN                                                     Contingent
                                                                      Unliquidated
 RANCHO SANTA MARGARITA, CA, 92688                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8290
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      18.99
                                                                                                                     $________________________________
 Zach Mora                                                           Check all that apply.
 563 w 114th way                                                      Contingent
                                                                      Unliquidated
 Northglenn, CO, 80234                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8291
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zach Tankersley                                                     Check all that apply.
                                                                                                                       25.99
                                                                                                                     $________________________________
 288 Clemmer Ferry Road                                               Contingent
                                                                      Unliquidated
 Benton, TN, 37307                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1684 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8292
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             52.54
                                                                                                                     $________________________________
 Zach Ulle                                                            Contingent
 6601 Vrooman Rd                                                      Unliquidated
                                                                      Disputed
 Painesville, OH, 44077-8841
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8293
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       242.56
                                                                                                                     $________________________________
 Zachariah Smith                                                     Check all that apply.
 3516 East Tyson Street                                               Contingent
                                                                      Unliquidated
 Gilbert, AZ, 85295                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8294
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zachary Bryson Rogers                                               Check all that apply.
                                                                                                                      585.91
                                                                                                                     $________________________________
 3181 Jordan Ln                                                       Contingent
                                                                      Unliquidated
 Redding, CA, 96003                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8295
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      32.16
                                                                                                                     $________________________________
 Zachary Fouts                                                       Check all that apply.
 909 Avent Meadows Lane                                               Contingent
                                                                      Unliquidated
 Holly Springs, NC, 27540                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8296
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zachary Gilbert                                                     Check all that apply.
                                                                                                                       68.79
                                                                                                                     $________________________________
 80 Cody St                                                           Contingent
                                                                      Unliquidated
 Lakewood, CO, 80226                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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                                                                                                                                                          1682
               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1685 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8297
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             51.35
                                                                                                                     $________________________________
 Zachary Gilmore                                                      Contingent
 10312, Charlotte Dr                                                  Unliquidated
                                                                      Disputed
 Parrish, FL, 34219
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8298
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       39.99
                                                                                                                     $________________________________
 Zachary Heller                                                      Check all that apply.
 3726 Pricetown Road, Apt C                                           Contingent
                                                                      Unliquidated
 Fleetwood, PA, 19522                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8299
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zachary Johnson                                                     Check all that apply.
                                                                                                                      17.11
                                                                                                                     $________________________________
 309 La Serena                                                        Contingent
                                                                      Unliquidated
 Winter Haven, FL, 33884                                              Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8300
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11.99
                                                                                                                     $________________________________
 Zachary Leighton-Ryan                                               Check all that apply.
 8 Chatham Street, Apt 7                                              Contingent
                                                                      Unliquidated
 Kinderhook, NY, 12106                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8301
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zachary Matz                                                        Check all that apply.
                                                                                                                       16.99
                                                                                                                     $________________________________
 845 Hillman Court                                                    Contingent
                                                                      Unliquidated
 Morgan Hill, CA, 95037                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1686 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8302
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             22.99
                                                                                                                     $________________________________
 Zachary Mouton                                                       Contingent
 13969 Marquesas Way, Apt 306B                                        Unliquidated
                                                                      Disputed
 Marina Del Rey, CA, 90292
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8303
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       17.99
                                                                                                                     $________________________________
 Zachary Pratt                                                       Check all that apply.
 514 arrowhead rd                                                     Contingent
                                                                      Unliquidated
 Front royal, VA, 22630                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8304
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zachary Senat                                                       Check all that apply.
                                                                                                                      27.71
                                                                                                                     $________________________________
 3 Wood Thrush Avenue                                                 Contingent
                                                                      Unliquidated
 Gloucester Township, NJ, 8081                                        Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8305
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      209.93
                                                                                                                     $________________________________
 Zachary Sherman                                                     Check all that apply.
 3017 Kennedy Dr                                                      Contingent
                                                                      Unliquidated
 Northampton, PA, 18067                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8306
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zachary Wasserman                                                   Check all that apply.
                                                                                                                       34.99
                                                                                                                     $________________________________
 211 Old Churchmans Rd                                                Contingent
                                                                      Unliquidated
 New Castle, DE, 19720                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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                                                                                                                                                          1682
               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1687 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8307
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.99
                                                                                                                     $________________________________
 Zachary Williams                                                     Contingent
 5322 Lost Cove Ln                                                    Unliquidated
                                                                      Disputed
 Spring, TX, 77373
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8308
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       13.19
                                                                                                                     $________________________________
 Zachary Wilson                                                      Check all that apply.
 24586 E Calhoun Pl unit A Aurora                                     Contingent
                                                                      Unliquidated
 Aurora, CO, 80016                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8309
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zachery Lyons                                                       Check all that apply.
                                                                                                                      19.99
                                                                                                                     $________________________________
 838 Elk st.                                                          Contingent
                                                                      Unliquidated
 Macy, NE, 68039                                                      Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8310
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      36.35
                                                                                                                     $________________________________
 Zack Daniels                                                        Check all that apply.
 3622 29th Ave W                                                      Contingent
                                                                      Unliquidated
 Seattle, WA, 98199                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8311
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zack Renfro                                                         Check all that apply.
                                                                                                                       59.25
                                                                                                                     $________________________________
 16652 Dolores Ln, #1                                                 Contingent
                                                                      Unliquidated
 Huntington Beach, CA, 92649-3367                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1688 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8312
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25.98
                                                                                                                     $________________________________
 Zacry DeCriscio                                                      Contingent
 7602 Pine St                                                         Unliquidated
                                                                      Disputed
 Taylor, MI, 48180
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8313
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.99
                                                                                                                     $________________________________
 Zahira Camacho                                                      Check all that apply.
 334 Hyde Street                                                      Contingent
                                                                      Unliquidated
 Salinas, CA, 93907                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8314
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zaida Rodriguez                                                     Check all that apply.
                                                                                                                      32.99
                                                                                                                     $________________________________
 180 E. Market St. Apt 24                                             Contingent
                                                                      Unliquidated
 Long Beach, CA, 90805                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8315
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      37.21
                                                                                                                     $________________________________
 Zaira Avila                                                         Check all that apply.
 1422 Lomita Boulevard, Apt A                                         Contingent
                                                                      Unliquidated
 Harbor City, CA, 90710                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8316
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 zaira bravo                                                         Check all that apply.
                                                                                                                       27.05
                                                                                                                     $________________________________
 8127 Parnell Street                                                  Contingent
                                                                      Unliquidated
 Houston, TX, 77051                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1689 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8317
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31.02
                                                                                                                     $________________________________
 Zane Bolton                                                          Contingent
 300 Coral Gables Street                                              Unliquidated
                                                                      Disputed
 Panama City Beach, FL, 32407
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8318
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       123.04
                                                                                                                     $________________________________
 Zane Lakson                                                         Check all that apply.
 1120 Reflections Cir, Apt 306                                        Contingent
                                                                      Unliquidated
 Casselberry, FL, 32707                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8319
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zara Mott                                                           Check all that apply.
                                                                                                                      47.99
                                                                                                                     $________________________________
 13715 Dana Ln E                                                      Contingent
                                                                      Unliquidated
 Puyallup, WA, 98373                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8320
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13.19
                                                                                                                     $________________________________
 Zehra Hussain                                                       Check all that apply.
 320 Trinity Ln                                                       Contingent
                                                                      Unliquidated
 Oak Brook, IL, 60523                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8321
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zennia Guerrero                                                     Check all that apply.
                                                                                                                       358.96
                                                                                                                     $________________________________
 1685 Oro Vista RD, 175                                               Contingent
                                                                      Unliquidated
 San Diego, CA, 92154                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1690 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8322
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             108.24
                                                                                                                     $________________________________
 Zeyda Brown                                                          Contingent
 33000 Vista West Drive                                               Unliquidated
                                                                      Disputed
 Trinidad, CO, 81082
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8323
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       139.96
                                                                                                                     $________________________________
 ZFEXZ HDB                                                           Check all that apply.
 14991 NE Airport Way                                                 Contingent
                                                                      Unliquidated
 Portland, OR, 97251-9611                                             Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8324
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 zhangli zhou                                                        Check all that apply.
                                                                                                                      215.94
                                                                                                                     $________________________________
 23508 deer spring ln                                                 Contingent
                                                                      Unliquidated
 diamond bar, CA, 91765                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8325
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.98
                                                                                                                     $________________________________
 Zhanna Baughman                                                     Check all that apply.
 1546 Wiese Ct                                                        Contingent
                                                                      Unliquidated
 Mount Pleasant, WI, 53406                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8326
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zhaoqi He                                                           Check all that apply.
                                                                                                                       44.73
                                                                                                                     $________________________________
 357 Celebration Drive                                                Contingent
                                                                      Unliquidated
 Milpitas, CA, 95035                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
                Sure Thing Sales, LLC.       Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
  Debtor          _______________________________________________________
                  Name                           Document Page 1691 of Case number (if known)_____________________________________
                                                                         2068
Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8327
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.99
                                                                                                                     $________________________________
 Zhe Liu                                                              Contingent
 2127 S Apt C Baldwin Ave Arcadia CA91007                             Unliquidated
                                                                      Disputed
 Arcadia, CA, 91007
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8328
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       100.98
                                                                                                                     $________________________________
 Zhemin Li                                                           Check all that apply.
 14469 29th Avenue                                                    Contingent
                                                                      Unliquidated
 Queens, NY, 11354                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8329
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zhi Yao Xie                                                         Check all that apply.
                                                                                                                      9.99
                                                                                                                     $________________________________
 3329 Kuykendall PL                                                   Contingent
                                                                      Unliquidated
 San Jose, CA, 95148                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8330
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      67.82
                                                                                                                     $________________________________
 Zhidong Shi                                                         Check all that apply.
 2382 Merrymount Drive                                                Contingent
                                                                      Unliquidated
 Suwanee, GA, 30024                                                   Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8331
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zhihan Tao                                                          Check all that apply.
                                                                                                                       17.99
                                                                                                                     $________________________________
 1601 Holleman Dr, Apt 1608                                           Contingent
                                                                      Unliquidated
 College Station, TX, 77840                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1692 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8332
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Zhiwei Liu                                                           Contingent
 121 Jasmine Ct                                                       Unliquidated
                                                                      Disputed
 Milpitas, CA, 95035
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8333
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       10.93
                                                                                                                     $________________________________
 Zhiwei Tan                                                          Check all that apply.
 1428 Valenza Avenue                                                  Contingent
                                                                      Unliquidated
 Rowland Heights, CA, 91748                                           Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8334
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ziann Ferguson                                                      Check all that apply.
                                                                                                                      17.98
                                                                                                                     $________________________________
 237 Border St                                                        Contingent
                                                                      Unliquidated
 Columbus, OH, 43207                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8335
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      164.97
                                                                                                                     $________________________________
 Ziggy Mj                                                            Check all that apply.
 4241 W Capitol Dr                                                    Contingent
                                                                      Unliquidated
 Milwaukee, WI, 53216                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8336
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ziliang Chen                                                        Check all that apply.
                                                                                                                       258.96
                                                                                                                     $________________________________
 46-07 193rd Street                                                   Contingent
                                                                      Unliquidated
 Flushing, NY, 11358                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1693 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8337
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             33.99
                                                                                                                     $________________________________
 Zinab Antar                                                          Contingent
 10413 N Woodmere Rd                                                  Unliquidated
                                                                      Disputed
 Tampa, FL, 33617
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8338
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       64.99
                                                                                                                     $________________________________
 Zinaida Rapoport                                                    Check all that apply.
 1085 Kingsley Road                                                   Contingent
                                                                      Unliquidated
 Jenkintown, PA, 19046                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8339
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zinnia Rodriguez                                                    Check all that apply.
                                                                                                                      879.73
                                                                                                                     $________________________________
 334 Lincoln Avenue                                                   Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11208                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8340
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      359.86
                                                                                                                     $________________________________
 Zinnia Rodriguez                                                    Check all that apply.
 334 Lincoln Avenue                                                   Contingent
                                                                      Unliquidated
 Brooklyn, NY, 11208                                                  Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8341
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zo?? Pitts                                                          Check all that apply.
                                                                                                                       9.99
                                                                                                                     $________________________________
 8870 Chambray Road                                                   Contingent
                                                                      Unliquidated
 Elk Grove, CA, 95624                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1694 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8342
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             34.99
                                                                                                                     $________________________________
 Zoe Allen                                                            Contingent
 6386 Pearlroth Dr                                                    Unliquidated
                                                                      Disputed
 San Jose, CA, 95123
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8343
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       27.87
                                                                                                                     $________________________________
 Zoe C                                                               Check all that apply.
 738 S 6300 E , #34                                                   Contingent
                                                                      Unliquidated
 Huntsville , UT, 84317                                               Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8344
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 zoe m                                                               Check all that apply.
                                                                                                                      26.99
                                                                                                                     $________________________________
 9440 El Campo Avenue                                                 Contingent
                                                                      Unliquidated
 Englewood, FL, 34224                                                 Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8345
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      34.97
                                                                                                                     $________________________________
 Zoe Mecholsky                                                       Check all that apply.
 9814 Summerday Drive                                                 Contingent
                                                                      Unliquidated
 Burke, VA, 22015                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8346
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zoe Rhodes                                                          Check all that apply.
                                                                                                                       27.04
                                                                                                                     $________________________________
 4605 Weiskopf Ln                                                     Contingent
                                                                      Unliquidated
 Corpus Christi, TX, 78413-2143                                       Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



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               Case   24-15446-RG
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  Debtor          _______________________________________________________
                  Name                           Document Page 1695 of Case number (if known)_____________________________________
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Pa rt 2 :      Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  8347
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49.99
                                                                                                                     $________________________________
 Zoey Hopkins                                                         Contingent
 1818 S Davis Blvd                                                    Unliquidated
                                                                      Disputed
 Bountiful, UT, 84010
                                                                     Basis for the claim: Customers with Outstanding Deposits



                                                                     Is the claim subject to offset?
         Date or dates debt was incurred      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
         Last 4 digits of account number      ___________________
  8348
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       49.99
                                                                                                                     $________________________________
 Zoey Larson                                                         Check all that apply.
 506 Napoleon St                                                      Contingent
                                                                      Unliquidated
 Valparaiso, IN, 46383                                                Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  8349
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Zorawar Singh                                                       Check all that apply.
                                                                                                                      234.52
                                                                                                                     $________________________________
 1156 Morning Glory Drive                                             Contingent
                                                                      Unliquidated
 Monroe Township, NJ, 8831                                            Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
         Last 4 digits of account number      __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  8350
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      38.04
                                                                                                                     $________________________________
 Zyler Pointer                                                       Check all that apply.
 3730 West Rock Creek Road, Apt 1106                                  Contingent
                                                                      Unliquidated
 Norman, OK, 73072                                                    Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes
  8351
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ÊåØËªí Âäâ                                                          Check all that apply.
                                                                                                                       155.00
                                                                                                                     $________________________________
 Âúã???Ë?Ø, 132Â??                                                    Contingent
                                                                      Unliquidated
 Ê??ÂíåÂçÄ, 23450                                                     Disputed
                                                                     Basis for the claim: Customers with Outstanding Deposits



         Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
         Last 4 digits of account number      ___________________     Yes



    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 1680
                                                                                                                                                      of ___
                                                                                                                                                          1682
                  Case    24-15446-RG
                   Sure Thing Sales, LLC.          Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
     Debtor         _______________________________________________________
                    Name                               Document Page 1696 of Case number (if known)_____________________________________
                                                                               2068
Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          American Recovery Service Inc.
4.1.      555 St. Charles Dr. - Suite 100                                                           3.433
                                                                                               Line _____
          Thousand Oaks, CA, 91360                                                                                                              ________________
                                                                                                    Not listed. Explain:


          Doyle & Hoefs, LLC
4.2.
          PO Box 143,                                                                          Line 3.433
                                                                                                    _____
          Suffern, NY, 10901                                                                      Not listed. Explain                          ________________



          Euler Hermes Collections North America                                                    3.863
4.3.                                                                                           Line _____
          100 International Dr. - 22nd Floor
          Baltimore, MD, 21202                                                                    Not listed. Explain                          ________________


          Leviton Law Firm
4.4.      One Pierce Pl. - Suite 725W                                                               3.7983
                                                                                               Line _____
          Itasca, IL, 60143                                                                                                                     ________________
                                                                                                  Not listed. Explain

          Marino, Mayers & Jarrach, LLC
41.       75 Kingsland Ave - Suite 3,                                                               3.2844
                                                                                               Line _____
          Clifton, NJ, 07014                                                                                                                    ________________
                                                                                                  Not listed. Explain

4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __
                                                                                                                                                                1681
                                                                                                                                                                     of ___
                                                                                                                                                                         1682
            Case   24-15446-RG
             Sure Thing Sales, LLC.        Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11 Desc Main
 Debtor        _______________________________________________________
               Name                            Document Page 1697 of Case number (if known)_____________________________________
                                                                       2068
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                          218,830.33
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                                  5b.   +     2,108,579.85
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2                                                                                2,327,410.18
                                                                                              5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page __
                                                                                                                                      1682
                                                                                                                                           of ___
                                                                                                                                               1682
            Case 24-15446-RG                  Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11                                      Desc Main
                                                  Document Page 1698 of 2068
 Fill in this information to identify the case:

             Sure Thing Sales, LLC.
 Debtor name __________________________________________________________________

                                         District of New Jersey
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                       7
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       Commercial lease                                 K&J Associates
         State what the contract or                                                     One Madison St
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                        East Rutherford, NJ, 07073

         State the term remaining
         List the contract number of
         any government contract

                                       Commercial lease                                 Kelways Associates
         State what the contract or                                                     One Madison St
 2.2     lease is for and the nature
         of the debtor’s interest                                                       East Rutherford, NJ, 07073

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
             Case 24-15446-RG                  Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11                                        Desc Main
                                                   Document Page 1699 of 2068
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Sure Thing Sales, LLC.

                                         District of New Jersey
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1                                                                                                                                          D
                                                                                                                                              E/F
                                                                                                                                              G




 2.2
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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Fill in this information to identify the case:
             Sure Thing Sales, LLC.
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: District of New Jersey District of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

     None
            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                            Operating a business                         200,000.00
           fiscal year to filing date:           01/01/2024
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2023
                                           From ___________         to     12/31/2023
                                                                           ___________          Operating a business                       3,696,000.00
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2022
                                           From ___________         to     12/31/2022
                                                                           ___________          Operating a business                       8,449,000.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔ None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
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                Sure Thing Sales, LLC.
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
            Creditor’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

            __________________________________________                        $_________________                 Secured debt
            Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


     3.2.

                                                                              $_________________                 Secured debt
            __________________________________________
            Creditor’s name                                                                                      Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔ None
            Insider’s name and address                         Dates          Total amount or value        Reasons for payment or transfer
     4.1.

            __________________________________________       _________       $__________________
            Insider’s name

                                                             _________

                                                             _________


            Relationship to debtor
            __________________________________________



     4.2.   __________________________________________
            Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




            Relationship to debtor

            __________________________________________



Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 2
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                 Sure Thing Sales, LLC.
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
      None
            Creditor’s name and address                         Description of the property                               Date                Value of property
     5.1.
            State of Texas
            __________________________________________                                                                    ______________        4,000.00
                                                                                                                                              $___________
            Creditor’s name
            P.O. Box 13528, Capitol Station
            Austin, TX 78711




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                               Nature of case                          Court or agency’s name and address               Status of case

     7.1.                                                                                                                                       Pending
                                                                                                                                                On appeal
             Case number                                                                                                                        Concluded

             _________________________________

             Case title                                                                       Court or agency’s name and address
                                                                                                                                                Pending
     7.2.
                                                                                                                                                On appeal
             Case number
                                                                                                                                                Concluded


             _________________________________


Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 3
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                 Sure Thing Sales, LLC.
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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                                                Document Page 1704 of 2068
               Sure Thing Sales, LLC.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

           Scura, Wigfield, Heyer, Stevens & Cammarota, LLP
           __________________________________________     Legal fees plus filing fee.
   11.1.                                                                                                                 03/2024
                                                                                                                         ______________      $_________
                                                                                                                                               5,000.00
           Address

           1599 Hamburg turnpike
           Wayne, NJ 07470




           Email or website address
           _________________________________

           Who made the payment, if not debtor?


           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.   __________________________________________
                                                                                                                         ______________      $_________
           Address




           Email or website address


           __________________________________________


           Who made the payment, if not debtor?

           __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔ None
           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________                                                                     ______________      $_________

           Trustee

           __________________________________________




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
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               Sure Thing Sales, LLC.
Debtor        _______________________________________________________                            Case number (if known)_____________________________________
              Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔ None

           Who received transfer?                              Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.   __________________________________________                                                                     ________________     $_________

           Address




           Relationship to debtor

           __________________________________________




           Who received transfer?                                                                                         ________________     $_________

   13.2.   __________________________________________

           Address




           Relationship to debtor

           __________________________________________



 Part 7:     Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
           Address                                                                                              Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
           Case 24-15446-RG                  Doc 1 Filed 05/29/24 Entered 05/29/24 15:27:11                                              Desc Main
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               Sure Thing Sales, LLC.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




 Part 8:       Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔ No. Go to Part 9.
      Yes. Fill in the information below.
           Facility name and address                         Nature of the business operation, including type of services the             If debtor provides meals
                                                             debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.   ________________________________________                                                                                       ____________________
           Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                      How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                           Electronically
                                                                                                                                           Paper
                                                             Nature of the business operation, including type of services the             If debtor provides meals
           Facility name and address                         debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
           ________________________________________
           Facility name


                                                             Location where patient records are maintained (if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:       Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔ No.
      Yes. State the nature of the information collected and retained. ___________________________________________________________________
               Does the debtor have a privacy policy about that information?
             
              No
              Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔ No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
                      Name of plan                                                                             Employer identification number of the plan

                      _______________________________________________________________________                  EIN: ___________________________________

                    Has the plan been terminated?
                     No
                     Yes

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 7
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Debtor        Sure Thing Sales, LLC.
              _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔ None

           Financial institution name and address          Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔ None
            Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

           ______________________________________                                                                                                     No
           Name                                                                                                                                       Yes


                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔ None
            Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
           ______________________________________
           Name
                                                                                                                                                       Yes



                                                            Address




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              Sure Thing Sales, LLC.
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔ None


          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔ No

      Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                    Pending
                                                     _____________________________________
          Case number                                Name                                                                                      On appeal
          _________________________________                                                                                                    Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔ No

      Yes. Provide details below.
         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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               Sure Thing Sales, LLC.
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔ No

      Yes. Provide details below.
           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


           __________________________________       ______________________________________                                                     __________
           Name                                     Name




 Part 13:         Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔ None



           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.   __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
           __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
           __________________________________
           Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor            _______________________________________________________                      Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

            
            ✔ None

              Name and address                                                                              Dates of service

                                                                                                            From _______
   26a.1.     __________________________________________________________________________________
              Name
                                                                                                            To _______




              Name and address                                                                              Dates of service

                                                                                                            From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                            To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔ None


                   Name and address                                                                         Dates of service

                                                                                                            From _______
         26b.1.    ______________________________________________________________________________
                   Name
                                                                                                            To _______




                                                                                                            Dates of service
                   Name and address

                                                                                                            From _______
         26b.2.
                   ______________________________________________________________________________
                   Name                                                                                     To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔ None

                   Name and address                                                                         If any books of account and records are
                                                                                                            unavailable, explain why


         26c.1.    ______________________________________________________________________________
                   Name




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                    Sure Thing Sales, LLC.
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔ None


                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔ No

      Yes. Give the details about the two most recent inventories.


               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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              Sure Thing Sales, LLC.
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




           Name of the person who supervised the taking of the inventory                      Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

           ______________________________________________________________________             _______         $___________________

           Name and address of the person who has possession of inventory records


   27.2.   ______________________________________________________________________
           Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                     Address                                                  Position and nature of any interest      % of interest, if any
 Ryan Wing                                  45 Villa Road, Little Falls, NJ 07424                    Member                                  100




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

      Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                               Address                                                  interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
      No
     
     ✔ Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
           Name and address of recipient                                             and value of property                                   the value

   30.1.   Ryan Wing                                                                                                                        Compensation
           ______________________________________________________________             65,000.00
                                                                                      _________________________          _____________
           Name
           45 Villa Road
           Little Falls, NJ 07424                                                                                        _____________


                                                                                                                         _____________

           Relationship to debtor                                                                                        _____________
           Member
           ______________________________________________________________                                                _____________
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                Sure Thing Sales, LLC.
Debtor          _______________________________________________________                            Case number (if known)_____________________________________
                Name




             Name and address of recipient
                                                                                           __________________________     _____________

   30.2      ______________________________________________________________
             Name                                                                                                         _____________

                                                                                                                          _____________



                                                                                                                          _____________


             Relationship to debtor                                                                                       _____________

             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔ No

      Yes. Identify below.
             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation

             ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔ No

      Yes. Identify below.

             Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                             EIN: ____________________________



 Part 14:           Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on      05/29/2024
                             _________________
                              MM / DD / YYYY



            /s/ Ryan Wing
            ___________________________________________________________                               Ryan Wing
                                                                                         Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

                                                Member
             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         
         ✔ No
          Yes



Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 14
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 Fill in this information to identify the case and this filing:

              Sure Thing Sales, LLC.
 Debtor Name __________________________________________________________________

                                         District of New Jersey
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         
         ✔ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔ Schedule H: Codebtors (Official Form 206H)

         
         ✔ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    05/29/2024
        Executed on ______________                          /s/ Ryan Wing
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Ryan Wing
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Member
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                             United States Bankruptcy Court
                              District of New Jersey




         Sure Thing Sales, LLC.
In re:                                                         Case No.

                                                               Chapter    7
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              05/29/2024                        /s/ Ryan Wing
Date:
                                                Signature of Individual signing on behalf of debtor

                                                Member
                                                Position or relationship to debtor
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Aarhiel Fernandez                                Aaron herkenhoff
90 Canterbury Avenue                             1025 Flagler st
Daly City, CA 94015                              Durham, NC 27713


Aaron Gaspard                                    Aaron Herrera-Pacheco
1201 S College Rd, 2                             4611 W Broadway, Apt. B
Lafayette, LA 70503                              Hawthorne, CA 90250


Aaron Bourg                                      Aaron Howard
166 East 102nd Street                            527 Turkey Lane
Cut Off, LA 70345                                Cynthiana, KY 41031


Aaron Buzzas                                     Aaron Jackson
1825 Burlington Avenue                           228 Alverstone Street
Missoula, MT 59801                               DeSoto, TX 75115


Aaron Campbell                                   Aaron Labajo
16830 dry run road south                         15480 Red Pepper Place
Dry run, PA 17220-9709                           Fontana, CA 92336


Aaron Cortez                                     aaron moore
915 South Aprilia Avenue                         715 Almondwood Place
Compton, CA 90220                                La Vergne, TN 37086


Aaron D Archuleta                                Aaron Mullinix
P.O. Box 668                                     337 South Hightpoint Road, 2
Espanola, NM 87532                               Spartanburg, SC 29301


Aaron Davis                                      Aaron Nuezca
224 S. Spencer St.                               600 William Street, 109
FRACKVILLE, PA 17931                             Oakland, CA 94612


Aaron Elliott                                    Aaron Nugent
42956 Beachall Street                            97 Norman Street
Chantilly, VA 20152                              Manchester, CT 6040


Aaron Escobedo                                   Aaron Simpliciano
2034 N 18th Ave Apt 8                            94-413 Honowai Place
Melrose Park, IL 60160                           Waipahu, HI 96797


Aaron Foster                                     Aaron Sims
205 N Forke Dr                                   30w Pebble Beach Cir, 104
Advance, NC 27006                                Glendale Heights, IL 60139


Aaron Gartin                                     Aaron Smith
2180 rt65                                        13291 Criolla Circle
Delbarton, WV 25670                              Eastvale, CA 92880
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Aaron Souvanno                                      Abby Dycus
1609 Amy Avenue                                     1350 Fort Lamar Rd
Glendale Heights, IL 60139                          Charleston, SC 29412


Aaron Tang                                          Abdallah Higazy
47 Highfield Lane                                   21021 Aldine Westfield Road, 1204
Nutley, NJ 7110                                     Humble, TX 77338


Aaron Taylor                                        Abdi Rosa
2907 Kidder Rd                                      402 Jewell St
Clinton, MD 20735                                   Columbus, IN 47203


Aaron Tietjen                                       Abdulla Faiq
9762 s. chylene dr                                  40 Metropolitan Oval Apt 2A
sandy, UT 84092                                     Bronx, NY 10462


Aaron Villicana                                     Abdullah Bakolka
3148 La Mantia Drive                                4882 West wiley post way, B6101
Yuba City, CA 95993                                 SALT LAKE CITY, UT 84116


Aaron Woods                                         Abel Mota
6501 Colonial Drive, Apt #3                         4522 S Harding
Myrtle Beach, SC 29572                              Chicago, IL 60632-4016


Aaron Yunk                                          Abiel Reyes
5201 E. US highway 95, LOT 137                      7809 State Line Avenue
Yuma, AZ 85365                                      Munster, IN 46321


Aarti Kasabwala                                     Abigail Cole
583 Paulison Ave                                    1420 Mulberry Ln.
Clifton, NJ 07011-4120                              St. Joseph, MI 49085


AB Donegan                                          Abigail Ott
525 Park Terrace                                    3114 S. Herman St., Apt A
Greensboro, NC 27403                                Milwaukee, WI 53207


abbi o?Äômalley                                     Abigail Schwartz
3105 East 5th Road, lot j                           9153 County Road 3
La Salle, IL 61301                                  Owatonna, MN 55060


Abbie Gettys                                        Abigail Stringham
936 Achord Circle, Apt. 22                          17434 Hoskinson Rd
Dublin, GA 31021                                    poolesville, MD 20837


Abbigail Copeland                                   Abigail Wilson
1484 E Louise Dr                                    5109 N 33rd St
Columbia City, IN 46725                             Arlington, VA 22207
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Abigaile Caaway                                      Absalom Menchavez
10950 Welsh Road                                     4346 Faith Home Road
San Diego, CA 92126                                  Ceres, CA 95307


Abigale Rippe                                        Ace owo
6914 Cottonwood Circle                               1064 60th Street
Eastvale, CA 92880                                   Brooklyn, NY 11219


Abigayil Ramirez                                     Ace Royal
310 East 9th St                                      1985 S Knox Ct
BAKERSFIELD, CA 93307                                Denver, CO 80219


Abraham Castro                                       AD L
1418 Paddocks Way                                    335 Isabel St.
Powder Springs, GA 30127                             Los Angeles, CA 90065


Abraham FLores                                       Adalicia Garcia-Bellorin
24191 Pleasant Run Rd                                6622 Shadygrove St.
Moreno Valley, CA 92557                              Tujunga, CA 91042


Abraham Gonzalez                                     Adam Conner
556 N Chardonnay Dr                                  5522 Cory Street
Covina, CA 91723                                     Fairview Heights, IL 62208


Abraham Higginbotham                                 Adam Bransky
14641 Deervale Place                                 92 3rd Ave, Apt 1
Sherman Oaks, CA 91403                               Garwood, NJ 7027


Abraham Mata                                         Adam Dilley
6425 Clara St                                        1750 Brookview Rd
Bell Gardens, CA 90201                               Baltimore, MD 21222


Abraham Ponce                                        Adam Dutro
16255 Daisy View Court                               29040 Spring Rd #501
Conroe, TX 77302                                     Pine Valley, CA 91962


Abraham Rivera                                       Adam Enriquez
808 flatters way                                     4719 Hunter Peak Ct
Pflugerville , TX 78660                              Antioch, CA 94531


Abram Yang                                           Adam Faulkner
1918 Georgia Avenue                                  1658 N Olympic
Sheboygan, WI 53081                                  Mesa, AZ 85205


Absaar Jawed                                         Adam Flores
49 Green Street, Apartment B                         13950 milton ave, suite 200A
Westwood, NJ 7675                                    westminister, CA 92683
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Adam Fox                                          Adam Shields
5770 Ruhl Rd.                                     303 FIRESIDE ST.
Fairview, PA 16415                                Oceanside, CA 92058


Adam Grey                                         Adam Smith
135 Garfield Pl, Apt 423                          2543 Flintridge Drive
Cincinnati, OH 45202                              Glendale, CA 91206


Adam Lopez                                        Adam Strantz
4513 La Madera Avenue                             790 N Dick Ave
El Monte, CA 91732                                Hamilton, OH 45013


Adam Miller                                       Adam Vitale
100 1st Avenue                                    269 Chestnut Hill Road
Reisterstown, MD 21136                            Emmaus, PA 18049


Adam Nelson                                       Adam Xiong
106 Indian Hills Lane                             4688 E Pitt Ave
Circle Pines, MN 55014                            Fresno, CA 93725


Adam Nikirk                                       adan bojorquez
714 North 7th Street                              2125 GREENLEE DR
Grand Junction, CO 81501                          EL PASO, TX 79936


Adam Orwig                                        Adan Flores
4 West 32 nd St.                                  7701 Calle Paraiso NE
Sand Springs, OK 74063                            Albuquerque, NM 87113


Adam Presson                                      Adan Rivas
20264 NEWSOME RD                                  4313 Altura Avenue, Apt 2
OAKBORO, NC 28129-9580                            El Paso, TX 79903


Adam Rivera                                       Adhitya Sripennem
1410 West Dekalb Street                           1853 26th Street, #115, View on 26th
Egg Harbor City, NJ 8215                          Boulder, CO 80302


Adam RYAN                                         Aditya Aiyer
832 S. Nova Road, 100                             7029 Heron Cir
Daytona Beach, FL 32114                           Carlsbad, CA 92011


Adam Sabata                                       Adniel Hernandez
224 Edinboro Drive                                82309 Valencia Avenue
Southern Pines, NC 28387                          Indio, CA 92201


Adam Schmidt                                      Adolfo Angel Medina
8133 Sepulveda Boulevard, 102                     10603 S Wilcrest Dr, #43
Panorama City, CA 91402                           Houston, TX 77099
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Adonis Inman                                     Adrian Gonzalez-Perez
3485 Princess Tammy Cove                         5151 W Roscoe St
Tucker, GA 30084                                 Chicago, IL 60641-4205


Adonis Rodriguez                                 Adrian Herrera
452 Satsuma Lane                                 5943 Fox Point Trail,
Orlando, FL 32835                                Dallas, TX 75249


Adria Renouard                                   Adrian Joseph Aguilar
26099 W ORAIBI DR                                10815 Hesby Street, 209
BUCKEYE, AZ 85396                                Los Angeles, CA 91601


Adrian Angel                                     Adrian Lara
5007 Caprock Dr                                  231 Briarwood Drive
Pearland, TX 77584                               Elgin, IL 60120


Adrian Bocanegra                                 Adrian Nunez
610 N Mississippi ave                            7435 Wilcox
BIg Lake, TX 76932                               El Paso, TX 79915


adrian burstein                                  Adrian P
2100 NE 208th st                                 100 Chapel Street, Apt 2
Miami, FL 33179                                  New Haven, CT 6513


Adrian Castillo                                  Adrian Proctor
3828 Wilberta Street                             1838 CONCORD AVE SE
Olney, MD 20832                                  GRAND RAPIDS, MI 49506-4629


Adrian Contreras                                 Adrian Rivas
13526 East Evans Avenue                          1474 Chaffee st, Apt 103
Aurora, CO 80014                                 Upland, CA 91786


Adrian Contreras                                 adrian ruiz
9326 Sandpiper Tree                              605 colchester ct
San Antonio, TX 78251                            middletown, DE 19709


Adrian Escobar                                   Adrian Washington
147 Abney Drive                                  6114 Noah Way
Houston, TX 77060                                Hanover, MD 21076


Adrian Fernandez                                 Adrian Wong
1728 North Karlov Avenue                         3855 Kent Way
Chicago, IL 60639                                South San Francisco, CA 94080


Adrian Garcia                                    Adriana Huerta
12303 Serenity Farm                              1860 Thompson Ave
San Antonio, TX 78249                            Atlanta , GA 30344
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Adriana Price                                      Aidan Esposito
6881 Linda Creek Ct                                28 Lynwood Rd
Las Vegas, NV 89178                                Cedar Grove, NJ 7009


Adriana Rodriguez                                  Aidan Machin
3314 PEBBLE BEACH DR                               18 High Pond Ln
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Ashleigh McDonald                                 Ashley Juarez
1905 Tufton Court                                 604 Verano Street
Virginia Beach, VA 23454                          Soledad, CA 93960


Ashleigh Peretic                                  Ashley Kellett
1400 Cedardale Court                              10434 Harvest Ave
Mt. Juliet, TN 37122                              Santa Fe Springs, CA 90670


Ashleigh Pyle                                     Ashley Laufert
1432 Chevelle Drive                               14613 Tulip Lane
Richmond, VA 23235                                Hancock, MD 21750


Ashley Berger-Turner                              Ashley Love
5819 Shawnee Court                                304 E 45th Street
Mishawaka, IN 46545                               Savannah, GA 31405


Ashley Bryan                                      Ashley Mal
12808 Strode lane                                 5520 Lee Highway, apt 102
Windermere, FL 34786                              Arlington, VA 22207


Ashley Bryan                                      Ashley McKercher
4233 salt springs lane                            7109 Edgewood Rd
Lakeland , FL 33811                               Mechanicsville, VA 23111


Ashley Casarrubias                                Ashley Mochizuki
3255 South Dorsey Lane, Apt 2005                  1368 Baxter Drive
Tempe, AZ 85282                                   Glendora, CA 91741


Ashley Gillingham                                 Ashley O'Salway
4224 Ort Dr                                       1753 Carlton Blvd.
Woodburn, IN 46797                                Avon, IN 46123
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Ashley Rodriguez                                     Aubrey Brunson
823 E Hummingbird St                                 8956 Brant Road
Roma, TX 78584                                       Diana, TX 75640


Ashley Setters                                       Audra Frogoso
128 s butler ave                                     7011 Jasper Hill Way
Indianapolis, IN 46219                               Las Vegas, NV 89118


Ashley Siemiaczko                                    Audrey L Johnson
160 Granda Flora Dr                                  4844 Frontage Road Northwest
White House, TN 37188                                Cleveland, TN 37312


Ashley Sopila                                        Audrey Ojeda
1759 Sharon Drive                                    29 Colonial Terr
Guthrie, OK 73044                                    Nutley, NJ 7110


Ashley Tabar                                         Audrey Weon
1910 South White Road                                1441 Brett Place, Unit 324
San Jose, CA 95148                                   San Pedro, CA 90732


Ashley Watts                                         Audrianna R.
272 W Water St                                       331 Belmont Avenue
Flemingsburg, KY 41041-1051                          Redwood City, CA 94061


Ashley Welch                                         August Callahan
6128 Creekside cir                                   730 Picket Lane
Ypsilanti, MI 48197                                  Longmont, CO 80504


Ashley White                                         August Sankey
2651 Reservior Dr                                    9008 Hierba Rd
Simi Valley, CA 93065                                Agua Dulce, CA 91390


ASHLEY WILLIAMS                                      Augusto Viteri Men?©ndez
2354 ELM DR                                          325 Vollmer Court
COLUMBUS, GA 31907                                   Northvale, NJ 7647


Ashlie Duflo                                         aurelio juarez
131 South Nebraska Street                            8722 Old Town Ln
Chandler, AZ 85225                                   Indianapolis, IN 46260


Athena Magno                                         Aurielle Davis
4618 66th Street                                     2500 Vintage Park Lane
Woodside, NY 11377                                   Yukon, OK 73099


attn. Mitch-Midnight Express                         Aurora Malpass
Po box 1468                                          5650 32nd Ter N
Gresham, OR 97030-0500                               Saint Petersburg, FL 33710
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Aurora Morrison                                    Austin Voravong
5069 Hidden Park Cres, Apt A109                    1944 Ewing Estates Dr
Simi Valley, CA 93063                              Dacula, GA 30019


Austin Alcorn                                      Autumn Drees
2202 south jackson cove                            2948 Mayfair Ct
Russellville, AR 72802                             Clearwater, FL 33761


Austin Caudill                                     Autumn Willey
137 Susans Court                                   184 W Elm St
Hazard, KY 41701                                   Pembroke, MA 02359-2111


Austin Cormier                                     Ava Gartman
113 Bright street                                  108 Bendingwood Cir
Waltham, MA 2453                                   Taylors, SC 29687


Austin Craig                                       Ava Park
129 Flemming Road                                  1770 Chestnut Place
Fort Bragg, NC 28307                               Denver, CO 80202


Austin Cusak                                       Ava Russell
1432 Van Valkenburgh Lane                          254 Seward St
Alexandria, VA 22301                               Pittsburgh, PA 15211-1038


Austin Hussey                                      Ava Tramm
1088 North Petaluma Street                         11540 Weeping Willow Drive
Tulare, CA 93274                                   Zionsville, IN 46077


Austin Jasa                                        Ava Zolfaghari
1704 44th ave E, 205                               722 ROE ST
Tacoma, WA 98446                                   STEILACOOM, WA 98388


Austin Johnson                                     Avery Alexander
876 Johnson Bridge Road                            1329 Sherwood Avenue
De Queen, AR 71832                                 North Tonawanda, NY 14120


Austin Leiser                                      Avery Broughton
19296 Lead Mine Road                               315 Carpenter Lane
Anamosa, IA 52205                                  Philadelphia, PA 19119


Austin Lewis                                       Avery Burns
13526 3rd Avenue Northeast                         13774 Monstrell Road
Bradenton, FL 34212                                Frisco, TX 75035


Austin Moyer                                       Avery Ellis
13696 E DIABLO CREEK DR                            2329 Gilmour Ave
VAIL, AZ 85641                                     Corpus Christi, TX 78414
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Avery Whitledge                                   Azaryiah Ritter-Williams
159 east brimfield road                           5734 Fleetwing Dr
Holland, MA 1521                                  Levittown, PA 19057


Avery Wilson                                      Azucena Manzano
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Austin, TX 78759                                  Bakersfield, CA 93309


Avik Banerjee                                     Azul Mejia
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Cary, NC 27519                                    Indio, CA 92201


Avram Kaufman                                     Azusena Garcia
100 West 119th Street, 2D                         415 West Fresno Street
New York, NY 10026                                Greenwood, AR 72936


Axel Andersen                                     B. Xiong
2043 Bedford St.                                  4646 North 71st Street
Santa Rosa, CA 95404                              Milwaukee, WI 53218


ay- B                                             Babak Asaseh
6550 Saulsbury Ct                                 4458 Northwest 65th Street
Arvada, CO 80003                                  Coconut Creek, FL 33073


Ayat Useinoski                                    Bach Nguyen
3425 Gates Place, 6G                              173 Dogwood Ct
Bronx, NY 10467                                   Canton, MI 48187


Ayden Gallo                                       Bailey Carlson
9 Justin Way                                      479 Stonegate Way NW
Cranston, RI 2910                                 Airdrie, AB T4B 2Y2


Ayla Graham                                       Bailey Duenas
4326 North Maple Street                           930 SW Silverberry ST
Spokane, WA 99205                                 Oak Harbor, WA 98277


Aylin Hernandez                                   Bailey Powell
12-16 30th Dr, 1                                  4417 San Mateo Ln
Astoria, NY 11102                                 McKinney, TX 75070


AYOUNG KIM                                        Baily Mueller
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North Wales, PA 19454                             Newton, KS 67114


Azaryah Wilson                                    Baker, Loretta
2506 Waldemar Ln                                  218 Brandon Drive
Tallahassee, FL 32304                             Monticello, KY 42633
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Bandai Namco Toys & Collectibles America Inc.       BAYDEN DORA
23 Odyssey Ave.                                     2506 Tremont Drive
Irvine, CA 92618                                    Eustis, FL 32726


Bank of America                                     baylee jones
PO Box 660441                                       8834 South Alaska Street
Dallas, TX 75266-0441                               Tacoma, WA 98444


Bao Zheng                                           Baylee Steele
32708 Regents Blvd                                  622 Vine Street
Union City, CA 94587                                Chillicothe, OH 45601


Barbara Beaver                                      Beatrice Navarrette
1739 2nd Street                                     190 Roberta Dr
West Deptford, NJ 8086                              Watsonville, CA 95076


Barbara C Breslin                                   Beatrice Vantapool
280 Neponset Valley PKWY                            4600 9th Ave, 508
Hyde Park, MA 2136                                  Brooklyn, NY 11220


Barbara Canady                                      Beau Floyd
2309 Walton Pl                                      1209 Douglas Street
Minneapolis, MN 55411                               Euless, TX 76039


Barbara Hesik                                       Beau Nguyen
6310 Winding Stream Dr                              5531 Lavaca road
Louisville, KY 40272                                Grand Prairie, TX 75052


Barbara Villarreal                                  Bebito Vargas
918 Richview Drive                                  1561 7th Avenue Drive
Houston, TX 77060                                   Kingsburg, CA 93631


Barclays Bank Delaware                              becca mcgough
PO Box 70264                                        Shipslanding Avenue Northwest, 6125
Philadelphia, PA 19176-0264                         canton, OH 44718


Barry Chan                                          Beckie Boring
5352 Debra Lane                                     6871 Raybear Dr
Richmond, CA 94803                                  Canal Winchester, OH 43110-9497


BARRY SULLIVAN                                      Beckie Ramsey
512 Gideon Road,                                    2303 Education Way
Middletown, OH 45044                                Oakwood, GA 30566


Barton Lynn                                         Becky Weeden
18244 La Casa Ct.                                   90 Jericho Road
Reno, NV 89508                                      Haverhill, MA 1832
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belen corona                                       Ben Schuldt
12413 Clearglen Avenue, Apt 13                     2300 West San Angelo Street, Apt. 1147
Whittier, CA 90604                                 Gilbert, AZ 85233


Belen Lezama                                       Ben Schultz
1230 Acmite Avenue                                 15921 W 66th Pl
Aubrey, TX 76227                                   Arvada, CO 80007


Belinda Hernandez                                  bendee anzures
38060 12th St E                                    1492 Palisades Drive
Palmdale, CA 93550                                 PACIFIC PALISADES, CA 90272


Bella Mcnamara                                     Benito Omana Moro
5821 West Strant Street                            2740 SE 73rd Ave
Eagle, ID 83616                                    Portland, OR 97206


Belladonna Scala                                   Benjamin Alcaraz
3443 East 5th Street                               125 San Pascual Ave
Los Angeles, CA 90063                              Los Angeles, CA 90042


Bellamy Fowlds                                     Benjamin Averitt
1737 20th avenue SE, 606                           216 Nunn St
Aberdeen, SD 57401                                 Havelock , NC 28532


Ben Carkhuff                                       Benjamin Bainbridge
1127 meadow ln                                     203 Market St, BOX 412
Colona, IL 61241                                   Cumbola, PA 17930


Ben Castillo                                       Benjamin Bishop
12638 Ridgeline Blvd, Apt 1213                     1939 WILLOWGREEN DR
Cedar park, TX 78613                               BEAVERCREEK, OH 45432


Ben Kasko                                          Benjamin Danaj
1111 Mormon Street                                 7016 DEERING ST
Folsom, CA 95630                                   GARDEN CITY, MI 48135


Ben Mitchell                                       Benjamin Darling
5548 Greatpine lane n                              69 South 1300 East
Jacksonville, FL 32244                             Springville, UT 84663


ben rockefeller                                    Benjamin Dillon
3872 South Leawood Avenue                          7829 49th Ave
Springfield, MO 65807                              Kenosha, WI 53142


Ben Rohde                                          Benjamin Gifford
7836 Ogden Avenue, 276                             2001 FLORAL DR
Lyons, IL 60534                                    WILMINGTON, DE 19810-3835
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Benjamin Godwin                                   Benjamin Reyes
4188 Butternut Hill Drive                         302 Meadow lane
Troy, MI 48098                                    Norfolk, NE 68701


Benjamin Hamilton                                 Benjamin Richey
863 Florida Ave                                   1917 Tabor Circle
York, PA 17404                                    Gadsden, AL 35904


Benjamin Hinely                                   Benjamin Robertson
211 Neely Hammonds Road                           45 Mountain Avenue
Covington, GA 30014                               Rocky Mount, VA 24151


Benjamin Lozensky                                 Benjamin Sennett
510 5th ST                                        257 Weathervane Rd
West Concord, MN 55985                            South Kingstown, RI 2879


Benjamin Magrum                                   Benjamin Tripp
5822 Calaveras Circle                             124 Davis St., Apt.#1
La Palma, CA 90623                                Greenfield, MA 1301


Benjamin McElhany                                 Benjamin Tyler
438 Locust Grove Road                             108 Ferntree Ct
YORK, PA 17402                                    Columbia, SC 29210


Benjamin Metzemaekers                             Benjamin Whitt
6 Washington Circle                               1539 E Scott Ave
Hillsboro, NH 3244                                Gilbert, AZ 85234


Benjamin Morales                                  Bentley Dean
204 Greenhurst Ave                                1064 boyd crossing rd
Summerville, SC 29485                             Newberry, SC 29108


Benjamin Nichols                                  Berend DeBoer
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Roanoke, VA 24016                                 Midlothian, IL 60445


Benjamin Ortega                                   Bernard Bernard
2604 Cumberland Ct                                26474 Sagewood
College Station, TX 77845                         Lake Forest, CA 92630


Benjamin Ortiz                                    Bernard Panelo
1563 West 113th Street                            6009 Rancho Mission Road, Unit 208
Los Angeles, CA 90047                             San Diego, CA 92108


Benjamin Quach                                    Beth Achterhoff
1407 West Chateau Avenue                          720 Diamondhead Drive South
Anaheim, CA 92802                                 Pinehurst, NC 28374
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Beth Tchinski                                       Bianca Yu
26256 Golada                                        98-364 Kaonohi Street, Apt 2
Mission Viejo, CA 92692                             Aiea, HI 96701


Bethany Carr                                        Bilal Estwani
PO Box 61                                           12615 Fantasia Drive
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Bethany Marner                                      Bill Dziatkowicz
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University Place, WA 98467                          Olmsted Twp, OH 44138


Bethney Soto                                        Bill Ghaffary
3701 Whitefish Street                               4766 Dartmoor Court
Bentonville, AR 72712                               Moorpark, CA 93021


Betina Levine-Rivas                                 Bill Kennen
427 15th Street, apt 1D                             49 Lufkin Ct.
Brooklyn, NY 11215                                  Warwick, RI 2888


Betsy Leeloy                                        Bill Seufert
HC3 Box 14076, 15-1972 32nd St.-HPP                 2424 SE Pine Ln
Keaau, HI 96749                                     Portland, OR 97267


Betzalys Cabrera Kuilan                             Billie Powers
4008 North Bernard Street, Floor 1                  2024 Dane - Kelsey Drive
Chicago, IL 60618                                   Pekin, IL 61554


Beverly Escamilla                                   Billy Goshorn
3818 Ohio Ave, Richmond, Apt, suite, flo            16886 West Roosevelt Street
Richmond, CA 94804                                  Goodyear, AZ 85338


Beverly Saenz                                       Billy Lu
5 Evans Street                                      4033 Villeroy Avenue
San Diego, CA 92102                                 Las Vegas, NV 89141


Bianca Arellano                                     Billy Tong
704 S Vine Ave                                      751 Kaiwiula Street, 13H
Ontario, CA 91762                                   Honolulu, HI 96817


Bianca Nascimento                                   Billy Trafford
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Bethesda, MD 20815                                  Linden, IN 47955


Bianca Solano                                       Bishop Craig
123 Lalor Street                                    101 crestview drive lot 3
Trenton, NJ 8611                                    Foley, MO 63347
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Bizarre_ Ethen                                     Blas Gutierrez
13767 West Pattison Avenue                         2007 North O'Connor Road
Kenton, OH 43326                                   Irving, TX 75061


Bj Sablan                                          Bleng Puih
6473 S Hoyt Ct                                     704 Carroll Street
Littleton, CO 80123                                Durham, NC 27701


Bladimir Valladarez                                Bob Ayach
26577 Ward Street                                  21731 Ventura Blvd. Ste 300
Highland, CA 92346                                 Woodland Hills, CA 91364


Blair Zhou                                         Bob Mitchell
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Milltown, NJ 8850                                  Milwaukee, WI 53202


Blake Essex                                        Bobby Rucker
4500 Emerson Drive                                 1200 west oklahoma avenue
Plano, TX 75093                                    Sulphur, OK 73086


blake holcomb                                      BOBBY Z
572 west berdine street                            10903 Northfleet Drive
roseburg, OR 97471                                 Anchorage, AK 99515


Blake Knecht                                       Bobby Zambella
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Burlington, NJ 8016                                Port Charlotte, FL 33981


Blake Kunimoto                                     Bonnie Claire Gauthier
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Stockton, CA 95212                                 Worthington, OH 43085-4883


Blake Roberts                                      Bowei Ye
41 Old Oak Court                                   222 N Columbus Dr Apt 1810
Southington, CT 6489                               Chicago, IL 60601-7951


Blake Weldon                                       BOWEN SHEN
190 Gorget Ct                                      959 Stewart Dr, Apt 828
Troy, MO 63379                                     Sunnyvale, CA 94085


blake Wheeler                                      Boyle Boyle
705 East Market Avenue, Apt 2                      2201 Mountain Springs Road
Searcy, AR 72143                                   Auburn, CA 95602


Blanca Flores                                      Brad Allebone
327 Fair Ave.                                      4707 Cornoustie Street
San Antonio, TX 78223                              Pasadena, TX 77505
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Brad Farrow                                          Brady Ingersoll
4691 Harpeth Peytonsville Rd                         7035 Deepage Drive,
Thompsons Station, TN 37179                          Columbia, MD 21045


Brad Johnson                                         Brady VanGorder
397 Pennsylvania ave                                 80 Pear Street
Bridgeport, WV 26330                                 Cabot, AR 72023


Brad Ramirez                                         Brandee Riehle
7734 Ironbark Drive                                  238 West Calle Bayeta
Port Richey, FL 34668-1723                           Sahuarita, AZ 85629


Brad Scallin                                         Branden Klimas
172 Diablo Court                                     9 Wynnecliffe Drive
Pleasant Hill, CA 94523                              Carnegie, PA 15106


Brad Vaughn                                          Brandi Camp
29226 Greenbrier Dr                                  5555 Roswell 5555 ROSWELL RD, Apt W4
Pierce City, MO 65723                                Atlanta, GA 30342


Bradley Barwick                                      Brandi McGinty
20722 Sunset Lane                                    48 Everard Street, apt 3
Redding, CA 96002                                    Worcester, MA 1605


Bradley Evans                                        Brandi Taylor
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Burke, VA 22015                                      McKinney, TX 75070


Bradley Good                                         Brandon Alos Fujimoto
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Fairport, NY 14450                                   Mililani, HI 96789


Bradley Jackson                                      Brandon Berg
PO Box 221073                                        1702 41st Ave s
Anchorage , AK 99522                                 Moorhead , MN 56560


Bradley Lopez                                        Brandon Boone
1335 South Scarborough lane                          148 Jim Boone Ln
Anaheim, CA 92804                                    Jacksonville, GA 31544


Bradley Rivera                                       Brandon Bourland
94 Midland Ave                                       1102 Markham Avenue
garfield, NJ 7026                                    Paducah, KY 42003


Brady Alantzas                                       brandon carter
14 Mill River Lane                                   2349 e castleman st
Rowley, MA 1969                                      Longview, WA 98632
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Brandon Castillo                                    Brandon Kelly
114 Colt Loop                                       2232 Moldavite Lane
Kyle, TX 78640                                      Santa Rosa, CA 95404


Brandon Chan                                        Brandon Kent
10890 Macouba Place                                 444 Santa Barbara Drive
San Diego, CA 92124                                 Pataskala, OH 43062


Brandon Colmenero                                   Brandon Kosinski
1278 Cabelas Drive, Apt 221                         21574 Chase Dr.
Buda, TX 78610                                      Novi, MI 48375


brandon edmonds                                     Brandon Lantis
1007 Lockett Drive                                  25105 Rancho Lane
Danville, VA 24541                                  Paisley, FL 32767


BRANDON FRANK                                       Brandon Luu
2625 Hillcrest Avenue                               988 B Mowry Ave
Norristown, PA 19401                                Fremont, CA 94536


Brandon Hairston                                    Brandon McKinney
1663 Firvale Ave                                    310 Long Grove Lane
Montebello, CA 90640                                Greer, SC 29650


Brandon Hamilton                                    Brandon Menifee
104 Main Street, PO Box 146                         2868 Kings Lynn
MONROE CENTER, IL 61052                             memphis, TN 38128


Brandon Hamilton                                    Brandon Murphypmb1478
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Howell, MI 48855                                    Tamuning, GU 96913


Brandon Hoang                                       Brandon Nichols
4733 SW Greensboro Way, Apt 93                      4311 W Anthem Dr
Beaverton, OR 97007                                 Fayetteville, AR 72704-5059


Brandon Hwang                                       Brandon OBrien
394 Boynton Avenue, APT E3                          577 Oak Street
San jose, CA 95117                                  Berlin, WI 54923


Brandon Ingraham                                    Brandon Parker
5406 Simpson Circle                                 380 Latimore Valley Road
Doylestown, PA 18902                                York Springs, PA 17372


Brandon Jefferson                                   Brandon Parsley
726 Roark Street                                    54 Grandview Cir
Chase City, VA 23924                                White Lake, MI 48386
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Brandon Quintero                                 Brandy Johnson
1618 Kimberly lane                               31 Highland St
Romeoville, IL 60446                             Rice Lake, WI 54868-2220


Brandon Rawlins                                  Brandy Miller
3318 BONNEVILLE CIR                              401 Hawkeye Avenue
Chattanooga, TN 37419                            Williamson, IA 50272


Brandon Reale                                    Brandy Ramirez
6241 Sunnywood dr                                4825 Sparrow Dr
Solon, OH 44139                                  Saint Cloud, FL 34772


Brandon Rendon                                   Brandy Steals
691 Monferino Dr.                                18 Lamplighter Lane
San Jose, CA 95112                               Baden, PA 15005


Brandon Renteria                                 Brantley Kuglar
1734 Luna Bella Ln                               140 Hickory Lane
Manteca, CA 95337                                Williston, SC 29853


Brandon Rios                                     Brayan Garcia
29785 Calle Edmundo                              500 South Lake Street, 317
Sun City, CA 92586                               Los Angeles, CA 90057


Brandon Roof                                     Bre Hancock
319 Nell St                                      3120 Naamans Rd, APT S5
Batesburg, SC 29006                              Wilmington, DE 19810-2114


Brandon Rountree                                 Brea Hellard
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Seattle, WA 98108-4440                           Shepherdsville, KY 40165


BRANDON STROUP                                   Breana Villa
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Aiken, SC 29801                                  salinas, CA 93905


Brandon Whitmore                                 Breanna Briggs
1930 Hopedale Dr                                 69 Stratford Road
Troy, MI 48085                                   Tinton Falls, NJ 7724


Brandon Wong                                     Breanna Henriquez
25 Scott Aly                                     15 Ponus Avenue
San Francisco, CA 94107-1086                     Norwalk, CT 6850


Brandon Worrell                                  Bree Burchinal
2105 Fort Robinson Dr                            2033 Springdale Avenue
Kingsport, TN 37660                              Charlotte, NC 28203
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Breeanny Meza                                       Brenna Bochow
3700 Parkview Lane, 24 D                            531 Paper Mill Road
Irvine, CA 92612                                    Newark, DE 19711


Bren Bataclan                                       Brenna Lamborn
25 Kelly Road #2                                    11698 Stone Crest Circle
Cambridge, MA 2139                                  Riverton, UT 84065


Brenda Solem                                        Brenna Martin
5815 Mayberry Drive                                 289 Twin Lake Trail
Imperial, MO 63052                                  Little Canada, MN 55127


Brenda Curiel                                       Brennan Jones
432 E Banning St                                    5887 Barbanna Lane
compton, CA 90222-1414                              Dayton, OH 45415


Brenda Dickason                                     Brennan Knight
7742 N. Avenida de Carlotta                         604 Mercer Grant Dr
Tucson, AZ 85704                                    Cary, NC 27519


BRENDA FREKING                                      Brennan Wong
3333 BELLEVIEW ROAD                                 2840 Nicholas Drive
PETERSBURG, KY 41080                                San Jose, CA 95124


Brenda Rawson                                       Brent Hamby
909 Congressional Dr                                22 Gateswood Dr
Lawrence, KS 66049                                  St. Peters, MO 63376


Brenda Streitman                                    brent ross
3 Shore Lane                                        420 Shogan Drive
Westhampton, NY 11977                               Greensburg, PA 15601


Brendan Coletta                                     Brent Snoddy
2719 W Bonnie Brook Ln                              12111 sunset Dr
Waukegan, IL 60087                                  Garfield Heights, OH 44125


Brendan Dailey                                      Brent Triantos
58 Greenwood Avenue, Apt. 4                         1261 Mariposa Avenue
East Islip, NY 11730                                San Jose, CA 95126


Brendan Selig                                       Brenton Milazzo
48 phelps st                                        716 N. 1st Street
Windsor, CT 6095                                    Richmond, VA 23219


brendon moeller                                     Bret Rivera
3 veteran road                                      6251 Manor Circle
patterson, NY 12563                                 Bensalem, PA 19020-1207
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Brett Hoffmann                                     brian confetti
2204 West Park Boulevard, 2103                     14144 campagna way
Plano, TX 75075                                    watsonville, CA 95076-9250


Brett Crandall                                     Brian Conrad
13 Hickok Avenue                                   979 Koontz Rd
Norwich, NY 13815                                  Chehalis, WA 98532


Brett Dickson                                      BRIAN COUNTS
35643 Reymouth Dr.                                 1280 Appian Way
Newark, CA 94560                                   Lawrenceville, GA 30046-7660


Brett Johnson                                      Brian Crawford
27 Eaves Mill Road                                 186 DONNA RD NE
Medford, NJ 8055                                   PALM BAY, FL 32907


Brett Thomann                                      Brian Crites
16107 Londelius St                                 548 East Prospect Street
North Hills, CA 91343                              Front Royal, VA 22630


Brian Diaz                                         Brian Davis
9 Sect Zamot                                       1746 Treseder Circle
Isabela , PR 662                                   El Cajon , CA 92019


Brian Presley                                      Brian DiDomenico
11835 state route 85                               14350 Addison St. Apt 211, 91423
Kittanning, PA 16201                               SHERMAN OAKS, CA 91423


Brian Brookshire                                   Brian Fitzgerald
105 Colonial Dr                                    382 Southerland Terrace NE
Louisville, KY 40207                               Atlanta, GA 30307


Brian Brown                                        Brian Hubbart
1418 e Calhoun st                                  143 Auburn Avenue Northeast
Anderson, SC 29621                                 Grand Rapids, MI 49503


Brian brown                                        Brian Hunt
7770 w 950 n Fairland Indiana 46126                10 Pennsylvania Ave
Fairland, IN 46126                                 Avon, NY 14414-9790


Brian Bruzzese                                     Brian Huqueriza
1914 Glen Road                                     5835 El Dorado Ln
Aliquippa, PA 15001                                Dublin, CA 94568


brian buchanan                                     Brian Jimenez Martinez
170 east porthaven way                             9916 11th St
Clayton, NC 27527                                  Garden Grove, CA 92844
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2721 Pine Drive                                   68535 Tachevah Drive
Columbia, MO 65216                                Cathedral City, CA 92234


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Brian Masters                                     Brian Stewart
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Brian Nieves                                      Brian Thackeray
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Chandler, AZ 85286                                GLENDALE, CA 91205


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Brian Ridings                                     Brian Yarayan
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Van Nuys, CA 91405                                Laurel, MD 20723


Brian Salamanca                                   Brian Zelidon
4130 West 59th Street                             1618 West 1440 North
Chicago, IL 60629                                 St. George, UT 84770
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Briana Williams                                      Brianna Rogers
1722 POPLAR LN                                       596 West Lucky Penny Place
MUNSTER, IN 46321-3849                               Casa Grande, AZ 85122


Brianna Andrade                                      Brianna Scheening
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Hyattsville , MD 20783                               Utica, NY 13502


Brianna Benites                                      Brianna Warren
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Brianna Buffalo                                      Brianna Warren
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Brianna Cavender                                     Brianna Werdann
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Prospect Heights, IL 60070                           Brick, NJ 8724


Brianna Cook                                         Bridget Ge
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Mission Viejo, CA 92692                              West Point, NY 10996


Brianna Hernandez                                    Bridget MacLeod
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PHOENIX, AZ 85037                                    Grand Forks, ND 58201


Brianna Herrera                                      Bridget Taylor
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Mesa, AZ 85205                                       Lutz, FL 33558


Brianna Hill                                         Brigit Collins
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Woodbridge, VA 22191                                 Macon, GA 31210-3122


Brianna Loftus                                       Brine Reyes
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Brianna Murphy                                       Britney Hill
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Brianna Pullen                                       Britta Duvall
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Papillion, NE 68133                                  Hudson, OH 44236
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Brittanie Irby                                       Brody Laing
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Milpitas, CA 95035                                   Gloucester, MA 1930


Brittany Adames                                      Brogan Rogan
PSC 819 Box 4075                                     11548 S BRAMBLEBERRY LN
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Brittany Boudreaux                                   Brohn Jelks
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Brittany Bullis                                      Bronagh Kelly
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Brittany Loggins                                     Bronson Herrera
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Goodlettsville, TN 37072                             Santa Clara, CA 95051


Brittany Pearson                                     Brook Lopez
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Brittany Stacks                                      Brooke Angle
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Clermont, FL 34711                                   Sacramento, CA 95822-2904


Brittany Young                                       Brooke Claxon
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Mapleton, PA 17052                                   Lexington, KY 40515


Britton Stice                                        Brooke LeJeune
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Pine Bluff, AR 71603                                 Iowa, LA 70647


Bro Mo                                               brooke murphy
5483 S 3350 W                                        7 bassett brook lane
Taylorsville, UT 84129-7851                          duxbury, MA 2332


Brock Macklij                                        Brooke Painter
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Pleasant Lake, MI 49272                              Oshawa, ON L1G 3S3


Brockton MacDonald                                   Brooke Parra
28 Sherman Street, Apartment 3                       150 East Floral Dr
Portland, ME 4101                                    Monterey Park, CA 91755
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brooke rose                                         Bryan Buel
3109 Sierra Dr                                      16701 New Kent Hwy
San Angelo, TX 76904                                Lanexa, VA 23089-5206


Brooke Rose                                         Bryan Byrd
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Sequim, WA 98382                                    Waterford, MI 48327


Brooke Wilson                                       Bryan Cuevas
194 Mountain View Rd                                1315 NE 200TH Terrace
Marion, NC 28752-6466                               Miami, FL 33179


Bruce Bennett                                       bryan Gamez
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bruce coltre                                        Bryan Garcia
12 Magnolia Court                                   14522 Del Mar Dr
Bordentown, NJ 8505                                 Woodbridge, VA 22193


Bruce Gailey                                        Bryan Hott
1581 South Osborne Road                             142 Specks Run Rd
Dansville, MI 48819                                 Bunker Hill, WV 25413-2059


Bruce Lehmann                                       bryan houston
355 W. 2nd S., 204                                  225 Ayliffe Avenue
Recburg, ID 83440                                   Westfield, NJ 7090


Bruce Solis                                         Bryan Moore
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Elkhart, IN 46514                                   riverside, CA 92504


Bruno Ivaldi                                        Bryan Romero
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Lubbock, TX 79401                                   Mecca, CA 92254


Bryan Aguilera                                      Bryan Sales
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Hawthorne, CA 90250                                 Myrtle Beach, SC 29577-4297


Bryan Arrue                                         Bryan Soto-zubia
13747 vanowen, apt 102                              3557 Merry Ridge Road
van nuys, CA 91405                                  Tobaccoville, NC 27050


Bryan Budvitis                                      Bryan Thompson
1037 Tamarack Lane                                  121 E Victory , I-104
Libertyville, IL 60048                              Meridian, ID 83642
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Bryan Tillman                                    Bryce Pflughaupt
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Conway, AR 72034-2558                            College Station, TX 77840


Bryan Vaughn                                     Bryce Roth
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Easley, SC 29640                                 Sioux Falls, SD 57107


Bryan Wright                                     Bryceton Bible
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Bethpage, TN 37022                               Knoxville, TN 37934


Bryanna Falkofske                                Brynnan Fox
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Bryant Lampano                                   Brynne O
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Bryant OSheaf                                    Bryonia Gutrick
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Grovetown, GA 30813                              Bryans Road, MD 20616


Bryant Williams                                  Buck Thananaken
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bryce braswell                                   Buffy Reinmuth
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Bryce Emmons                                     Burton Lanam
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Henderson, NV 89074                              Marana, AZ 85653


Bryce Fussell                                    Buzzy Moore
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North Port, FL 34288                             South Vienna, OH 45369


Bryce Glasper                                    Byron Kellogg
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Brooklyn, NY 11208                               Youngtown, AZ 85363


Bryce Miyahara                                   Byron Lee
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Oceano, CA 93445                                 Brooklyn, NY 11213
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Byron Reynolds                                      Caitlyn Robinson
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Opelika, AL 36801                                   Hartselle, AL 35640-6902


C. INNISS                                           Caleb B
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Cadence Shupe                                       Caleb DeShazer
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Cadence Zaremski                                    Caleb Hubbard
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Clifton Park, NY 12065                              Inverness, FL 34452


caedmon dorn                                        Caleb Moring
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Caesar Lopez                                        California Department of Tax and Fee Administ
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Caisha King                                         Callie Lanter
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Caitlin Barr                                        Callie Oliver
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Caitlin Cook                                        Callie Rodriguez
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Arvada, CO 80002                                    Durham, NC 27707


Caitlin Joy                                         Calvin Tran
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Caitlin Rivest                                      Calvin Vu
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Aldie, VA 20105-2871                                Austin, TX 78758


Caitlyn Ramsey                                      Calvin Wong
345 Hall Road                                       851 33rd Avenue
Crownsville, MD 21032                               San Francisco, CA 94121
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Cameron Burleson                                 Cameron Young
4744 Brown Road                                  33228 N 55th street
Vassar, MI 48768                                 Cave Creek, AZ 85331


Cameron Casto                                    Camila Decima
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Cameron Catapusan                                Camille Pagador
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San Diego, CA 92128                              Jacksonville, FL 32246


Cameron D. Brown                                 Camy Dang
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Cameron DeMoss                                   Canaan King
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Cameron Drouilhet                                Candace Crisp
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Cameron Eckstrom                                 candace marzec
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Hines, MN 56647                                  saginaw, MI 48601


Cameron Jagger                                   CANDACE RISHAR
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Cameron Ramon                                    Candemir Kurubas
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Cameron Stopforth                                Candice Gates
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Rancho Palos Verdes, CA 90275                    Washington, IN 47501


Cameron Waitman                                  candice fierro
418 S 7th St                                     418 S. Oakcreek Dr.
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Cameron Watkins                                  Candice Sargent
5832 Shreveport Dr                               15807 SE 296th St
Austin, TX 78727                                 Kent, WA 98042
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Carisa Phillips                                     Carla Donaldson
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Carissa Foy                                         Carla Gonzalez
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Carissa Gorman                                      Carla Morales
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Carl Pilgrim                                        Carla Sanchez
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Carl Anderson                                       Carlea Gorczynski
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carl gonce                                          Carlene Garrick
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Carl Greenblatt                                     Carlito Tamisin
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Carl Hartstein                                      Carlo Abasta
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Carl Jones                                          Carlo Labastida
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Philadelphia, PA 19131                              San Bruno, CA 94066
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Carlos Magana                                       Carlos Martinez
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Chicago, IL 60707                                   Sacramento, CA 95838


carlos aleman h                                     Carlos Moscoso
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Carlos Cestero                                      Carlos Ortiz
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Carlos Cisneros                                     Carlos Ramirez
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KENT, WA 98030                                      Moline, IL 61265


Carlos CO10X240026N                                 carlos romero
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carlos fajardo                                      Carlos Savarin
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Huntington Station, NY 11746-1370                   The Bronx, NY 10468


Carlos Felix                                        Carlos Solis
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Dedham, MA 2026                                     West Covina, CA 91792


Carlos Ferrer                                       Carlos Tamayo
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carlos leon                                         Carlos Tavares
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carlos Lopez                                        Carlos Valdez
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Carlos Martinez                                     carlos Velasquez Gomez
159 Sunrise Pkwy                                    6254 Rosewood St
Mountainside, NJ 7092                               Mission, KS 66205
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Carlos Viteri                                       Carol Jeffery
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Carlos Zarate                                       Carol Merwede
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Carlyn Cumberland                                   Carolina Galicia
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Carmen Correa                                       Carolina Mendez
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Carmen Gaeta                                        Caroline Chandler
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Carmine Capone                                      Caroline Godbout
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DENVILLE, NJ 7834                                   Durham , CT 6422


Carmine Marino                                      Caroline Hanna
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Bronx, NY 10458                                     Pittsburgh, PA 15206
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carolyn gasz                                         Casey de la Rocha
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Carrie Duerfeldt                                     Casey Hart
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Carrie Adams                                         Casey Hudson
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Carrie Little                                        Casey Johnson
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Carrie Sauter                                        casey pennant
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Carrieann Quaranta                                   Casey Thomas
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Carter Frick                                         Casey Warren
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Carter Nottingham                                    Casper Magnolia
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caryle wamsley                                       Caspian Berry
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Casandra Kutara                                      Cassandra Carrillo
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Casandra Newsome                                     Cassandra Dahl
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Cassandra Dorsey                                   Cassie Payne
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Carnegie, PA 15106                                 Newnan, GA 30265-2066


Cassandra Ingram                                   Cassie Venable
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Weidman, MI 48893                                  Tarzana, CA 91356


Cassandra Mayer                                    Cath O?ÄôBrien
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Morgan Hill, CA 95037                              Wood-Ridge, NJ 7075


Cassandra McEllen                                  Catherine Bui
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Cassandra Medeiros                                 Catherine Forrester
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Cassi W                                            Catherine Olaez
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Cassidy Sulaiman                                   Catherine Sun
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Cassidy Wheeler                                    Cathy Cunningham
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Cassie Cunningham                                  Cathy Longhurst
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Lake Jackson, TX 77566                             Mount Vernon, KY 40456


Cassie DeBoard                                     Cathy Nolan
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Cassie Madewell                                    Cathy Shenefield
911 Leola Lane                                     3911 Grand Bend Dr
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CCS830627 Oscar Belmonte                           Celestine Lang
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Miami, FL 33192-4177                               McIntosh, AL 36553


Cecelia Mataalii                                   Celina Montiel
25022 Woodward Avenue                              201 West Mile 10 North
Lomita, CA 90717                                   Weslaco, TX 78596


Cecil Yawn                                         Celina Nava Camacho
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Montgomery, AL 36106                               Fullerton, CA 92832


Cecilia Chan                                       Celisete Romero
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Tenafly, NJ 7670                                   san antonio, TX 78253


Cecilia De La Garza                                Cesar Aguirre
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Laredo, TX 78045                                   Vallejo, CA 94591


Cecilia Pellitteri                                 Cesar Barrios
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Cecilia Rodriguez                                  Cesar Gonzalez
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Dinuba, CA 93618-3466                              Los Angeles, CA 90011


Cecilie Darling                                    Cesar Ramirez
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Dayton, OH 45414                                   Hemet, CA 92544


Cedric Clark                                       Cesar Rendon
917 Whitney ave                                    1259 W 112TH ST
Suisun City, CA 94585                              Los Angeles, CA 90044
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Cesar Rodriguez                                    Chad Miller
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Cesar Romero                                       chains Ellis
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Cha Len Vang                                       Chance Justice
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Chad Schroeder                                     Chance Williams
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Round Lake Park, IL 60073                          Deer Island, OR 97054


Chad A Reisman                                     Chandler Carlile
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Cincinnati, OH 45241                               Las Vegas, NV 89103


Chad Cannon                                        Chandler Howrey
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Brentwood, TN 37027                                Virginia Beach, VA 23464


Chad Cannon                                        Chandler Smith
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Rio Rancho, NM 87124                               Murrieta, CA 92563
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Austin, TX 78753                                   stout, OH 45684


Charlene Invencion                                 Charles Perez
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SYLMAR, CA 91342                                   Yelm, WA 98597


Charlene Spears                                    Charles Ramos
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Crestwood, KY 40014                                Oakland, RI 2858


Charles Allen                                      Charles Thompson
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Charles Benitez                                    Charles Vinyard
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Cape Coral, FL 33990                               Gilroy , CA 95020


Charles Brammer                                    Charles Young
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WINCHESTER, VA 22602                               Dayton, TX 77535


Charles Clemencio                                  charlie bejines
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CHARLES DEL HIERRO                                 Charlie Han
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Charlie Zeman                                       Chelsea De Leon
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Charlotte Guiney                                    Chelsea Keyser
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Charlotte Roberts                                   Chelsea Laflam
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Charlton Kangas                                     Chelsea Taylor
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Charmen Burrage                                     Chelsea Thompson
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Chas Martinez                                       Chelsi Campbell
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Chase Donahue                                       Chen Si
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Che Verdejo                                         Chengyu Deng
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Chelsea Camejo                                      Cherri Picard
578 Stewart St                                      1644 North Pearl Street
Ridgefield, NJ 07657-1928                           Jacksonville, FL 32206
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Cheyenne McMahan                                Chloe Schuett
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Chi Quach                                       Choua Vue
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Chicklet Morales                                Chris Anderson
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Chimere Smith                                   Chris augustin
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Chin-Hsiang Ho                                  Chris Beauchamp
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Chloe Calder                                    Chris Burdick
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Long Beach, CA 90804                            ANTELOPE, CA 95843
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Mckinney, TX 75070                                Norristown, PA 19403


Chris Chapman                                     Chris Janak
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McKinney, TX 75070                                N Chesterfield, VA 23235


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Chris Eads                                        CHRIS LAMROUEX
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Quincy, MA 2169                                       Cranston, RI 2910


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Lebanon, VA 24266                                     Thief River Falls, MN 56701
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Christie Decker                                        Christina Mabunga
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Camden, TN 38320                                       Chino Hills, CA 91709


Christie Kerr                                          Christina MacLean
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Christie Kerr                                          Christina Miller
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christina patton                                   Christine Stuart
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CHRISTINE Batcho                                   Christine Valley
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christine janvrin                                  Christopher Anderson
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Christine Joyce Reburiano                          Christopher Arriaga
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Hayward, CA 94544                                  Derby, KS 67037
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Christopher chiaro                                 Christopher George
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Portsmouth, RI 2871                                Lindsborg, KS 67456


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Hilliard, OH 43026                                 Ashland, MA 01721-1750


Christopher Cohen                                  Christopher Groomes
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Christopher de Lis                                 Christopher Hawkins
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Huntington Beach, CA 92646                         Rensselaer, NY 12144


Christopher DeMorier                               Christopher Horsley
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Christopher Dion                                   Christopher Hufman
369 ROBB RD                                        8787 W Alameda Ave
AMSTERDAM, NY 12010                                Lakewood, CO 80226
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christopher kirkland                              Christopher plymire
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Erie, PA 16509                                    Lenexa, KS 66215


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Christopher Marino                                CHRISTOPHER SMITH
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Christy Nisco                                       Chun Ho Wong
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Christy Rodriguez                                   Chun lam Chiu
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Christyn Walters                                    chun yung
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Chrisy Soulack                                      Chung-Ying Tsai
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Chrystelle Hernandez                                Ciara Fraser
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EL DORADO HILLS, CA 95762                           Clinton Township, MI 48035


Chuck Ridgway                                       Cielo Heredia
385 South Grant Street                              3788 Hemlock Avenue
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Cindy Lam                                          Clark goebel
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CINDY NAM                                          Claude Dearchs
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Cindy Wooten                                       Claudia Ferdinand
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CJ Wadsworth                                       Claudia Perez
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CL Hodge                                           claudio mercado
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Clifford Elor                                      Cody farmer
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Clint Grommett                                     Cody Kreppein
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Clint Miller                                       Cody Morris
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CLINT VON HOLLEN                                   Cody Onishi
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Clinton Dybul                                      Cole Jackson
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Collin Partin                                     Connor Smith
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Colorado Department of Revenue                    Connor Young
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Comptroller of Maryland                           Conor McCarty
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Connie Gilbert                                    Corey Danowsky
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Connie Oseguera Espinoza                          Corey Dean
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Connie Situ                                       Corey Fields
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Benton, LA 71006                                  Washougal, WA 98671
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Corina Houseworth                                  Courtney Copening
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cristobal Quintero                                  Crystal Moussouris
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Ontario, CA 91761                                   Ogden, UT 84405
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Bonneau, SC 29431                                    TARENTUM, PA 15084
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Guillermo Garcia                                   Guy Twitty
1335 Roselawn street                               1941 20th Avenue drive NE, 52
National City, CA 91950                            Hickory, NC 28601


Guillermo Reyes                                    Gwen Mulligan
8339 SW 157th Pl                                   152 Bristol Pass
Miami, FL 33193                                    Aiken, SC 29801


Guillermo Rivas                                    Ha'ani Tydingco
2216 West Rock Creek Court                         13241 Corte Villanueva
Merced, CA 95348                                   San Diego, CA 92129
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Ha'mani Ashley                                   Haley Olson
16275 E 107th Pl                                 10551 Greenbrier Rd Apt 309
Commerce City, CO 80022                          Minnetonka, MN 55305


Ha-Won Lee                                       Haley Peterson
16 Hollywood Dr                                  1645 Ala Wai Boulevard, Apartment #1406
Woodbridge, NJ 7095                              Honolulu, HI 96815


Hageo Trinidad                                   Haley Roldan
172 Smith Drive                                  10213 Union Terrace Ln N
Winchester, VA 22603                             Maple grove, MN 55369-4712


Hai Du                                           Haley Roraff
541 West Royce Drive                             N1247 Coolidge Road
Mountain House, CA 95391                         Oconomowoc, WI 53066


Hai Duong                                        HALEY SMITH
3624 Bloomsbury Way                              106 S BENDING OAK LN
San Jose, CA 95132                               WYLIE, TX 75098


Haihan Wang                                      Haley Storey
958 Robin Rd                                     70 East Road
Amherst, NY 14228                                East Kingston, NH 3827


hailea fiona                                     Han Nguyen
95 RIVER RD APT 18                               17830 47th ave w
MANCHESTER, NH 03104-2963                        lynnwood, WA 98037


Hailee Yoder                                     Han Xu
629 Ebersole Road                                2151 Oakland Road spc 142, 142
Reading, PA 19605                                San Jose, CA 95131


Hailey Tinajero                                  Hanji Chen
1279 bal                                         180 South St, Apt 16D
San jose , CA 95122                              New York, NY 10038-1419


Hakeem Ferguson                                  Hank Diplock
301 Richmondfarm Cir.                            27 Macomber Ave
Lexington, SC 29072                              Augusta, ME 4330


Haleigh Baez                                     Hannah Currey
181 E 111th St, Apt 4A                           1138 La Jolla Dr
New York, NY 10029                               Thousand Oaks, CA 91362


haley bishop                                     Hannah Esbenshade
122 South Grove Street                           11 Laura Ct
Sicklerville, NJ 8081                            Quarryville, PA 17566
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hannah francis                                    Haoyun Qiu
15147 Homestead Road                              830 Columba Ln
Thompsonville, MI 49683                           Foster City, CA 94404


Hannah Kerezsi                                    Happy Singh
1704 Falkirk Road                                 2100 beechwood court
Madison, OH 44057                                 Antioch, CA 94509


Hannah Newell                                     Hari Kavia
2443 New Hinson Rd                                24382 Patricia Street
Slocomb, AL 36375                                 Laguna Hills, CA 92656


Hannah Panzino                                    Harold Bierwirth
540 Salem Avenue                                  2139 3rd Avenue
Newfield, NJ 8344                                 Watervliet, NY 12189


Hannah Tamaki                                     Harold Sheridan
24982 Southport Street                            28 Park Avenue
Laguna Hills, CA 92653                            Warwick, NY 10990


Hannah Wall                                       Harold Sussman
2518 Hightrail dr                                 65 Provencal Road, APT 406
Carrollton, TX 75006                              Laconia, NH 3246


Hannah Wambold                                    Harrison Deitz
17212 North Scottsdale Road, #2137                43864 Piney Stream Ct
Scottsdale, AZ 85255                              Chantilly, VA 20152


Hannah West                                       Harrison Stewart
119 Wade Herrod Road                              27141 Norfolk, 27141 Norfolk
Smyrna, TN 37167                                  Inkster, MI 48141


Hannah Wilkinson                                  Harry A Moore
4115 Kingman Boulevard, Apt.1                     110 Main Street
Des Moines, IA 50311                              Southampton Township, NJ 8088


Hannah Zermeno                                    Harry M Peless
2285 Lakeside Place, 201                          8807 Birchwood Dr
Corona, CA 92879                                  Newport, MI 48166


Hannett, Megan                                    Harry Tyler
1005 E Grove Drive                                815 CIRCLE DR
Pleasant Grove, UT 84062                          PALMER LAKE, CO 80133


HANS LE                                           Hasan Currie
7808 Rose Garden Lane                             1511 S 47th street
Springfield, VA 22153                             Philadelphia, PA 19143
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Hattie Barger                                      Heather Gomez
3967 Winding Blade Road                            1301 Congress Street
East Bernstadt, KY 40729                           Woodbridge, VA 22191


Hattie Bethke                                      Heather marshall
1928 Crystal Springs Rd W                          161 West Bell Street
University Place, WA 98466                         Sequim, WA 98382


HAYDE FRANCO                                       Heather Russell
15906 MONTE BELLO LN                               411 Candlewood Dr.
EDINBURG, TX 78541-7392                            State College, PA 16803


hayden evans                                       Heather Sassi
59 Denrose Dr, H                                   20 Little River Ct
Amherst, NY 14228                                  Youngsville, NC 27596


Hayes Kwong                                        Heather Schwenker
3246 Dorset Dr.                                    3046 Alton Darby Creek Rd
Brooklyn Heights, OH 44131                         Hilliard, OH 43026


Hayley Green                                       Heather Waldenmaier
628 Canyon Rd.                                     25 Simmons Rd
Novato, CA 94947                                   Mooers, NY 12958-3834


Hays Amano                                         Heaven Anguiano
138N G 3rd Street, G                               45465 25th St E sp 182
Alhambra, CA 91801                                 Lancaster, CA 93535


Hazel Haggins                                      Hector Alanis
6037 Hickory Drive                                 8516 Paddock Trail
Forest Park, GA 30297                              Blacklick, OH 43004


Heath Wineburner                                   Hector Arizpe
336 S Oliver                                       3096 Grandiflora Dr
Wichita, KS 67218                                  Greenacres, FL 33467


Heather Banton                                     Hector Cardenas
608 Northwynd Cir                                  527 Howard Avenue, Apt. 16
Lynchburg, VA 24502                                Montebello, CA 90640


Heather Condon                                     Hector Castaneda
3244 Prairie St.                                   35 Baileys Court
Aurora, IL 60506                                   Silver Spring, MD 20906


Heather Crockett                                   Hector Castellanos
527 East Grandview Way                             2828 N Cambridge Ave, Apt 516
Casselberry, FL 32707                              Chicago, IL 60657-6053
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Hector Cervantes                                     Heidi Cobb
427 Ripley Ave                                       343 Yockey Road
Richmond, CA 94801-2684                              Mitchell, IN 47446


Hector Delgado                                       Heidi Heintzelman
7711 Pandora Street                                  1719 Dressler Ridge Road
El Paso, TX 79904                                    Richfield, PA 17086


Hector Farias                                        Heidi Morales
37327 East Ave 35th street                           1949 Redberry Ln
PALMDALE, CA 93550                                   Conover, NC 28613


Hector Flores                                        HeimLantz
13210 May Ct                                         180 Admiral Cochrane Dr. - Suite 520
Silver Spring, MD 20906-3915                         Annapolis, MD 21401


Hector Garcia                                        Helen Henry
135 virginia ave                                     106 Flicker Drive
Ontario, CA 91764-4323                               McKees Rocks, PA 15136


Hector Gomez                                         Helen Morales
1403 Thornhill Dr                                    4313 Flamingo dr
Newark, DE 19702                                     Naples, FL 34104


Hector Reyes                                         Helen Uribe
168 Hampden Street, Unit 1                           1439 E 90th ST
Chicopee, MA 1013                                    Los Angeles, CA 90002


HECTOR T VELAZQUEZ                                   Helena Ramning
PO BOX 367682                                        712 Cowan Ln
San Juan, PR 936                                     McKinney, TX 75071


Hector Velasco                                       Helio rodriguez
449 South Kern Ave                                   4040 boulder hwy , Apt#1110 Bldg#14
Los Angeles, CA 90022                                LAS VEGAS, NV 89121


Hector Zavala                                        Hemant Patel
740 Manor St                                         12572 San Pablo Avenue
Houston, TX 77015                                    Richmond, CA 94805


Heda Patrick                                         Henricky Nascimento
1212 Taylor Lane                                     5202 Hampton Beach Place, town house
Lewisville, TX 75077                                 Tampa, FL 33609


Heidi Asjes                                          Henry Arevalo
511 Emerald Dunes Place                              88 George St
Horizon City, TX 79928                               Milltown , NJ 8850
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Henry Arevalo                                         Henry Vo
88 George st                                          1751 Lakeside Enclave Drive
Milltown, NJ 8850                                     Houston, TX 77077


Henry AuYeung                                         Hera Kim
3740 South Halsted Street                             5543 Ridgeton Hill Ct
Chicago, IL 60609                                     Fairfax, VA 22032


Henry Bahrs                                           Herbert Cholger
232 West Talcott Road                                 24256 Loretta Ave
Park Ridge, IL 60068                                  Warren, MI 48091


Henry Barnes                                          Herbert Isais
75 Van Vlake Drive                                    46 Via Barberini
Georgetown, SC 29440                                  Chula Vista, CA 91910


Henry Betancourth                                     Herman Perez
8478 Eden Lane                                        4211 East 100th Avenue lot 441
Pennsauken, NJ 8110                                   Thornton, CO 80229


Henry Chen                                            hermes ramirez
4935 Vail Drive                                       9817 Turf Way, Apt 8
Caledonia, IL 61011                                   Orlando, FL 32837


Henry Chow                                            Hermione Joseph louis
3356 Madden Way                                       1602 East 94th Street
Dublin, CA 94568                                      Brooklyn, NY 11236


Henry Do                                              Heron LO
6600 Tierra Drive                                     42607 Fontainebleau Park Lane
Waco, TX 76712                                        Fremont, CA 94538


Henry He                                              Hien Huynh
44-10 Ketcham Street, Apt. 1A                         1315 E Nasa Parkway, Apt 307
Elmhurst, NY 11373                                    Houston, TX 77058


Henry Knoche                                          hien pham
1300 Walnut                                           167 Albany Ave
Higginsville, MO 64037                                vacaville, CA 95687


Henry Rivas                                           Hieu Tran-Nol
8517 E 83rd St                                        17 Snell Street
Tulsa, OK 74133-8005                                  Holbrook, MA 2343


Henry Tran                                            Hilary Mechler
648 GROVER WILSON RD                                  5 Goodnow Avenue
BLYTHEWOOD, SC 29016                                  Ashland, MA 1721
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Hilda velez                                          Hollie Levy
590 62nd St, Apt 4A                                  340 Lakeview Ave
west new york, NJ 07093-1556                         Haddonfield, NJ 8033


Hilton Kreil                                         Holly Bennett
9814 South Townsville Circle                         4544 East Corral Road
Littleton, CO 80130                                  Phoenix, AZ 85044


Hiram Leyva                                          Holly Check
West Flagler Street, 5                               19794 Zane St NW
Miami, FL 33144                                      Elk River, MN 55330


Ho Chan                                              Holly Dyer
27 Perna Lane                                        301 E 26th Ave
Riverside, CT 6878                                   Ellensburg, WA 98926-2523


Ho Yu                                                Holly Slaski
7606 Cortina Dr.                                     4964 Sugar Pie Drive
Houston, TX 77083                                    Schnecksville, PA 18078


Hoa Huynh                                            Holly Stiffler
1501 Little Gloucester Road, APT Q-30                406 Stuart Circle
BLACKWOOD, NJ 8012                                   Belle Vernon, PA 15012


Hoan Que Ly                                          Hong L Yeung
1623 37TH AVENUE                                     755 Northeast Circle Boulevard, 36
SAN FRANCISCO, CA 94122-3127                         Corvallis, OR 97330


Hoang Gralewski                                      Hongshan Xu
38W476 N. Lakeview Circle                            3336 Peppermill Drive
Saint Charles, IL 60175                              West Lafayette, IN 47906


Hoang Nguyen                                         Honor Pomeroy
5412 Wellington drive                                1920 North 1st Avenue, Apt 114
Richardson, TX 75082                                 Tucson, AZ 85719


Hoi Yan Cheung                                       Hope Amm
4622 west orchid lane                                5025 Trace Crossings Ln
chandler, AZ 85226                                   Birmingham, AL 35244


Holden Honor                                         Horizon Blue Cross Blue Shield of NJ
3025 Crum Road                                       PO Box 10130
Brooksville, FL 34604                                Newark, NJ 07101-3130


Hollee Smith                                         Howard Hunter
3022 Brookhill Ct.                                   3813 Orchard Park Lane
Georgetown, IN 47122                                 Midlothian, TX 76065
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Howard Le                                             Hung Dieu
3902 Somerset Rd                                      5702 Candlecreek Drive
Yorba Linda, CA 92886                                 Richmond, TX 77469


Huaning Wang                                          Hung Nguyen
1629 Parkway Dr                                       129 Iron Horse
Folsom, CA 95630                                      Irvine, CA 92602


Huck's Filling Station                                Hung Nguyen
211 Fall River Avenue                                 129 Iron Horse
Seekonk, MA 2771                                      Irvine, CA 92602-1826


Hugh White                                            hung nguyen
1573 Holcomb Bridge Rd, Apt D                         1417 Scollon Ct
Norcross, GA 30092                                    San Jose, CA 95132


Hugo Ortiz                                            Hunter Bar
40 Watchung Avenue                                    709 Via Palo Alto
West Orange, NJ 7052                                  Washoe Valley, NV 89704


Hugo Antonio                                          Hunter Buehl
3501 W 118th Pl                                       1091 North Lake Avenue, #3
Inglewood, CA 90303                                   Pasadena, CA 91104


Hugo De Luna                                          Hunter Carey
6339 Glenview Place                                   608 Maylawn Ave
Pittsburgh, PA 15206                                  Louisville, KY 40217


Hugo Sanchez                                          Hunter Isaacs
22720 Sidding Rd                                      3416 Lerwick rd
Bakersfield, CA 93314                                 Sacramento, CA 95821


HUI SHAO                                              Hunter Lafferty
34 Meadowbrook Dr.                                    204 Prospect Drive
Huntingtion Station, NY 11746                         Cottageville, WV 25239


Hulicez Gonzalez                                      Hunter Leavitt
1514 East 8th Street                                  PO Box 81
Stockton, CA 95206                                    Marcus, IA 51035


Hun Kim                                               Hunter Mason
4516 Yosemite Way                                     6825 S 185th Ave
Los Angeles, CA 90065                                 Omaha, NE 68135


Hung Chun TWXWMANA                                    Hunter Watson
13822 NE Airport Way                                  8848 Gore St
Portland, OR 97251-9614                               Arvada, CO 80007-7312
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Husayn Reyes                                          Ian Goh
34 Emerald Lane                                       5960 Cedar Fern Court
Old Bridge, NJ 8857                                   Columbia, MD 21044


Huy Chung                                             Ian Harper
6330 Stable Farm                                      PO Box 883317
San Antonio, TX 78249                                 Steamboat Springs, CO 80488


Huy Le                                                Ian MacRitchie
1969 W 16th St.                                       600 S. Ridgeley Dr. , #105
San Bernardino, CA 92411                              Los Angeles, CA 90036


Hye Min Choi                                          Ian Monteith
16604 Ermanita Ave                                    1379 Westfield ave Sw
Torrance, CA 90504                                    North Canton, OH 44720


Hyesu Jung                                            Ian Musial
542 25th St, 208                                      34 Howard Ave
Oakland, CA 94612-1704                                Hillside, IL 60162


HYUN-SEOK JI                                          Ian Nelson
34024 19th Place Southwest                            7906 South Gaylord Way,
Federal Way, WA 98023                                 Centennial, CO 80122


Iain Nicholson                                        Ian Pizano
13045 Palancar Drive                                  393 Walnut Court
Fort Worth, TX 76244                                  Palm harbor, FL 34683


Ialah Buettner                                        Ian Stanley
1201 Jubilee Circle                                   49 Rosebud Lane
Pell City, AL 35125                                   Bloomsburg, PA 17815


Ian Boley                                             Ian Stavis
217 Bowen Drive                                       5431 Grissom Road
Fredericksburg, VA 22407                              San Antonio, TX 78238


Ian Chi Chen                                          Ian Wlodarczyk
7600 Lyndale AVE S, APT 212                           5166 Caste Dr
Minneapolis, MN 55423                                 Pittsburgh, PA 15236


Ian DeMers                                            Icarus Lincoln
2293 Bromley St, Apt 2, Apt 2                         365 Main Street, PO Box 265
Medford, OR 97501                                     Douglas, MA 1516


Ian Fleck                                             Ida Tang
315 11th St SW                                        12031 Morgan Lane
Albuquerque, NM 87102                                 Garden Grove, CA 92840
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Idaho State Tax Commission                            inman lee
PO Box 76                                             1234 S WESTERN AVE, #118
Boise, ID 83707                                       Anaheim, CA 92804-4774


Ignacio Robles                                        Internal Revenue Service
4119 s sentous ave apt 127                            P.O. Box 7346
West covina, CA 91792                                 Philadelphia, PA 19101


Igor Aynbund                                          Inyez Soniat
2034 E 37 Street                                      2005 Hearthstone Dr.
Brooklyn, NY 11234-4924                               Carrollton, TX 75010


Ihtzel Grijalva                                       Iowa Department of Revenue
7865 ROESBORO CIRCLE                                  PO Box 10412
SACRAMENTO, CA 95828                                  Des Moines, IA 50306-0412


Ilana Kissel                                          Irina Tskhomelidze
2218 Westview Dr                                      7402 Bay Parkway, Apt b2
Silver Spring, MD 20910                               Brooklyn, NY 11204


Illana Nugas                                          irvin salinas
21 Georgetown                                         32580 lake Bridgeport st
Irvine, CA 92612                                      Fremont, CA 94555


Imari A Thomas                                        Irvin Salinas
609 N Almon St Spc 1015                               32580 Lake Bridgeport Street
Moscow, ID 83843                                      Fremont, CA 94555


Imran Shah                                            IRVING CABEZAS
144-45 35th Ave, Apt. 3B                              844 E E St, Colton
Flushing, NY 11354                                    Colton, CA 92324


India Dittemore                                       Irwin Abraham
11 BLUEBERRY CT                                       130-22 Rockaway Blvd.
STOW, MA 1775                                         South Ozone Park, NY 11420


India Tindale                                         Isa Haskologlu
6900 North East 187th Pl, 106                         625 Lehigh Road, C-06
Kenmore, WA 98028                                     NEWARK, DE 19711


Ingrid Chen                                           Isaac Reyes
11533 Spruce Run Drive                                1775 Milmont Drive, Apt.T312
San Diego, CA 92131                                   Milpitas, CA 95035


Ingrid Lopez                                          Isaac Brenes
346 Winston Rd sw                                     64 Caldwell Place, Apartment A
marietta, GA 30008                                    SPRINGFIELD, NJ 07081-1714
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Isaac Burgess                                      Isabelle Wray
1905 Jane Ann Ct.                                  10647 Main Street
URBANA, IL 61802                                   North Collins, NY 14111


ISAAC GIRON                                        Isaiah Lozano
25287 Moorland Road                                7405 Sterling Ave Apt J77
Moreno Valley, CA 92551-1105                       San Bernardino, CA 92410


Isaac Jacobo                                       Isaiah Gonzalez
100 Oldenburg Lane                                 13340 Roosevelt Ave Apt 6H
Norco, CA 92860                                    FLUSHING, NY 11354-5220


Isaac Johnson                                      Isaiah Maciel
922 Artwood Road Northeast                         2116 Setting Sun Drive, House
Atlanta, GA 30307                                  El Paso, TX 79938


Isaac Vargas                                       Isaiah Miller
1423 Tampico Avenue                                3209 Charlesgate Ave SW
Salinas, CA 93906                                  Wyoming, MI 49509


Isabel Briseno                                     Isaiah Wilson
1117 Cotton Street                                 415 Howard Street, Apt 611
Reading, PA 19602                                  Evanston, IL 60202


Isabel Lopez                                       Isaiah Wortham
901 E Washington St, 205                           5711 W 92nd Ave APT 2
Colton, CA 92324                                   Westminster, CO 80031-3012


isabela malave                                     Isaias Cruz
154 Broome Street, 9c                              12210 Flushing md. Dr
New York, NY 10002                                 Houston, TX 77089


Isabella Burkhardt                                 Isidro Perez
855 Noble st                                       1538 East Adams Avenue, F
Indianapolis, IN 46203                             Orange, CA 92867


Isabella Hanselman                                 Isis Thickstun
101 Garfield Ave.,                                 7410 east rich st
Cuyahoga Falls, OH 44221                           Reynoldsburg , OH 43068


Isabella Navas                                     Ismael De La Cruz Jr
10026 sw 163rd PL                                  8203 Academic Post
Miami, FL 33196                                    San Antonio, TX 78250


Isabella Olivarez                                  Ismael Barron Barron
7809 Zenith Dr                                     711 Clay Street, Trlr #15
Citrus Heights, CA 95621                           Cleveland, TX 77327
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Ismael Candelas                                        Ivan Luna
413 Roan Ln                                            4359 Benham Avenue Southeast
Red Oak, TX 75154                                      Salem, OR 97317


Israel Sandoval                                        Ivan Rivera JR
24400 Bostwick Dr.                                     215 Longbridge Way
MORENO VALLEY, CA 92553                                Perry, GA 31069


Israfel Torres-Ortiz                                   Ivan Sandoval
Urb. Bella Vista Calle Rosa B7                         221 Alamo st
Aibonito, PR 00705-4103                                SULLIVAN CITY, TX 78595


Issac Cerna                                            Ivan Wong
511 West Ocean Avenue, Apartment #b                    18 Augusta Ave
Lompoc, CA 93436                                       Edison, NJ 8820


Issac Rico                                             Ivette Castro
2133 Lupin Street                                      1221 Huntsmoor Drive
Simi Valley, CA 93065                                  Gastonia, NC 28054


Issac Silva                                            Ivonne Zavala
2122 Clairton Pl                                       6623 San Miguel St.
San Diego, CA 92154                                    Paramount, CA 90723


Itzamara Vazquez                                       Ixchel Ochoa
656 S 910 W, Unit 27                                   131 ALVERSON RD, APT 36
Pleasant Grove, UT 84062                               SAN YSIDRO, CA 92173


Ivan Alanis                                            Ixzamara Sopon
1016 Fieldwood Dr, Unit B                              239 BushTail Dr, Apt, suite, floor, etc.
Austin, TX 78758                                       New Braunfels, TX 78130


Ivan Castro                                            Izabela Lokiec
7730 Southwest 47 Lane                                 8309 Washington blvd., Apt. i
Gainesville, FL 32608                                  Washington , MI 48094


Ivan Corona                                            JM
1687 north durward st.                                 123 Edison Avenue
Banning, CA 92220                                      South San Francisco, CA 94080


IVAN DAVILA                                            J. Taylor
2 Birch Hill Lane                                      1111 jefferson davis drive
Kent, CT 6757                                          Bogalusa, LA 70427


Ivan Garcia                                            J.P. Valente
Diciembre 2113 Dr, Hogar                               238 SUSSEX RD
El Paso, TX 79935                                      WOOD RIDGE, NJ 7075
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JABER W ALEIDAN                                    Jack Regan
Sabah Al-Salem, Block 4, Street 29, Hous           31209 sleepy Hollow lane
Kuwait City, 44004                                 Beverly Hills, MI 48025


Jabril Portillo                                    Jack Shultz
15 Greenwich Ave Unit 2                            562 Belle Meade Farm Drive
Stamford, CT 06902-5033                            Loveland, OH 45140


Jack Ajubita                                       Jack Vartuli
65 Woodlake Blvd.                                  29 Northridge Road
Kenner, LA 70065                                   OLD GREENWICH, CT 6870


Jack C. Christmann                                 Jackelyne Reyes
1178 Highland Road                                 231 montana
Mundelein, IL 60060                                San francisco, CA 94112-2951


Jack Fruge                                         Jackie Alarid
524 hensgens Rd                                    5773 East 143rd Court
Crowley, LA 70526                                  Thornton, CO 80602


Jack Gluckman                                      Jackie Benton
3 Grandin Lane                                     130 Bowman Loop
Cincinnati, OH 45208                               Beech Bluff, TN 38313


Jack Hate                                          Jackie Ching
539 Brigham Trail                                  83 Diablo View Drive
Augusta, GA 30909                                  Orinda, CA 94563


Jack Lechelt                                       jackie stoller
1206 South Sunnyvale Drive                         364 Belmont Ct
Kennewick, WA 99338                                Lebanon, OH 45036


Jack Leyva                                         Jacklyn Hart
1995 Padding River Rd.                             44 Dorwin Drive
Chula Vista, CA 91913                              West Springfield, MA 1089


Jack Livingston                                    Jackson Bova
182 s monroe atreet, Apt 5                         670 Wall avenue
Tiffin, OH 44883                                   PITCAIRN, PA 15140


Jack Massad                                        Jackson Richter
6112 Kenwood Avenue                                10228 Deerhollow Lane
Dallas, TX 75214                                   Cincinnati, OH 45252


Jack Rabin                                         Jackson Tang
330 E Hudson St.                                   4249 Callan Blvd
Long Beach, NY 11561                               Daly City, CA 94015
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Jackson Wright                                      Jacob Hecht
44 W CAMINO PRESIDIO QUEMADO                        35888 Weiss Road
SAHUARITA, AZ 85629                                 Walker, LA 70785


Jaclyn Lewis                                        Jacob Hill
7115 Shadow Run                                     7204 PARK WEST CIR apt 106
San Antonio, TX 78250-3494                          FORT WORTH, TX 76134


Jaclyn Moldawsky                                    Jacob Hoffner
5 Harold Terrace                                    616 Iron Street
Towaco, NJ 7082                                     Lehighton, PA 18235


Jacob Silva                                         Jacob Holguin
762 Callecita Aquilla Sur                           625 West Baker Avenue
Chula Vista, CA 91911                               Fullerton, CA 92832


Jacob Abbott                                        Jacob Horner
555 South Galleria Way, Unit 460                    44 S. Main St
Chandler, AZ 85226                                  Mullica Hill, NJ 8062


Jacob Baides                                        Jacob Hoskinson
2806 Watson Ct                                      302 Cliffwood Hill Way
Fairfield, CA 94534                                 Louisville, KY 40206


Jacob Colbert                                       Jacob Kaine
416 Church Street                                   4708 Waxwing Dr
Farmville, VA 23901                                 Arlington, TX 76018-1266


Jacob Esquivel                                      Jacob Kirk
11219 Forest Grove St.                              5811 Wollochet Drive Northwest
El Monte, CA 91731                                  Gig Harbor, WA 98335


Jacob Ferderigos                                    Jacob Luvaas
150 E Robinson St, APT 2405                         227 University Dr, 127
Orlando, FL 32801                                   Richland, WA 99354


Jacob Frederick                                     Jacob Montoya
721 Chandon Dr                                      909 Weinberger Trace Dr
Merced, CA 95348                                    Ponchatoula, LA 70454


Jacob Hansen                                        Jacob Ofarrell
930 YALE AVE                                        15209 Hanover Avenue
GLADSTONE, OR 97027                                 Allen Park, MI 48101


Jacob Harmon                                        Jacob Peterson
3910 Stony Brook Dr                                 3812 46th ave n
Louisville, KY 40299                                robbinsdale, MN 55422
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Jacob Plants                                         Jacqueline Kennedy
97 Ebbert Road                                       2531 S 56TH CT
West Alexander, PA 15376                             CICERO, IL 60804


Jacob Proctor                                        Jacqueline Kerth
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Chatham, VA 24531                                    Wheaton, IL 60189


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Jennie Vo                                             Jennifer DePetro
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jennifer buzin                                        Jennifer Gibbs
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lutz, FL 33558                                        Nashua, NH 03064-1560


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Jennifer Ciurla                                       Jennifer James
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Chantilly, VA 20152                                   Severn, MD 21144
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Jeramie Robinson                                Jeremy Bower-Anspach
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Jeremiah Bowers                                 Jeremy Bremer
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Jeremiah D                                      Jeremy Charles
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Jeremy Clark                                        Jeremy Startz
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Jeremy Delong                                       Jeremy Swank
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Laredo, TX 78046                                   Woonsocket, RI 2895
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Austin, TX 78721                                    Corpus Christi, TX 78412


Jesus Barraza                                       Jesus Solorzano
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Jesus Rodriguez                                     Jhonny Rodriguez
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jo bro                                               Joannie Betancourt
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JOHN PISCOPINK                                       John Stetz
1215 Manchester Rd                                   4259 9th Avenue Circle South, Apt 102
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John Powers                                          John Stone
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Sacramento, CA 95820                                 Lexington, KY 40503


John Reed                                            John Stuart
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Hilliard, OH 43026                                   Bothell, WA 98021


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Johnny Reutted                                     jon Newberry
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Chowchilla, CA 93610                               Marysville, OH 43040
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San Jacinto, CA 92583                              Fremont, CA 94538


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Jonathan Armenta                                   Jonathan Chu12535 OF
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Spartanburg, SC 29303                              Hot Springs, AR 71913
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JOSEPH CANONICA JR                                joseph gross
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Boynton beach, FL 33472                            Pontiac, MI 48341
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Mcdade, TX 78650                                   ALTOONA, IA 50009


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Marcos Maia                                        Margaret Cayabyab
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Burleson, TX 76028                                 Oxnard, CA 93035
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Ruskin, FL 33570                                    Norway, MI 49870
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Manalapan, NJ 7726                                Colorado Springs, CO 80915
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1820 East Bell De Mar Drive, 164                    17 Autumn Dr
Tempe, AZ 85283                                     Ringgold, GA 30736


Maximos Mausten                                     Mechae Hall
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MAXINE PIERRE                                       Mechea Boughton
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Md Nafizur Rahman                                   MEGAN GUPTA
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Tacoma, WA 98445                                 Charlotte, NC 28212


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Mehrnaz Emami                                    Melanie Mckenzie
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Whittier, CA 90603                               Nashville, TN 37207
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Marietta, GA 30067                                 Carpentersville, IL 60110
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Elmhurst, NY 11373-5148                             FLAGSTAFF, AZ 86001-2543


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Noe B                                              NORA Algasali
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Noel Vermander                                     Norma Duez
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16631 Echo Hill Way                                28 Eve Lane
Hacienda heights, CA 91745                         Levittown, NY 11756
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Nyah barajas                                        Oliver So
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Pasadena, CA 91107                                  Yucaipa, CA 92399


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Omar Vasquez                                       Oscar Garza
2113 oakwood                                       4408 E MCMILLAN ST
Richmond, VA 23228                                 COMPTON, CA 90221-1854


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oriana pasch                                       Oscar Ortega Mejia
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Oscar Cumplido                                     Oscari Gomez
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SAN DIEGO, CA 92123-1470                           Homestead, FL 33033
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Oseye Boyd                                       Owen Walker
1838 Wellesley Commons                           4395 Minges Road South
Indianapolis, IN 46219                           Battle Creek, MI 49015


Osmar Martinez                                   Oytun Kaplan
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Osvaldo Hernandez                                PA Turnpike Toll by Plate
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Otto Dunn                                        Pabloin PRIETO
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Owen Jaekle                                      Paige Miller
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Owen Simwale                                     Pam Catalano
2406 Dorrington Court                            18754 Crystal Creek Drive
Modesto, CA 95350                                Mokena, IL 60448
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Pamela Lucado                                     Parker Hall
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Fullerton, CA 92832                               Larkspur, CA 94939


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richmond, KY 40475-3265                           Henrico, VA 23233


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Pang Leung                                        Pasquale Grasso
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123 Summer Lane                                   94-510 Hoohele Place
Mechanicsburg, PA 17050                           Waipahu, HI 96797
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paul salgado                                      Paxton Schiermeyer
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Payton Terry                                          Pennsylvania Department of Revenue
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Pe Ti                                                 percy williams
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flushing, NY 11355                                    Clermont, FL 34714-6576
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Peyton Knight                                        Phillip Kunzig
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phetsada, Justin                                     Phillip Martins
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Phillip Phan                                      Phuc Nguyen
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phillip stamper                                   Phuoc Doan
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Phillip Starnes                                   Phuong Mai
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Phillip Wheatley                                  Piankhi Zimmerman
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Phillip White                                     Piero Lopez Rodriguez-Gaona
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Phillipe Santos                                   Pierre Demassey
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Phoebe O                                          Pierre Pelen
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Phoeberly Ungos                                   Ping Somsack
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Phonesy Saengphachanh                             Pinto
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Phong Pham                                        Piper Sullentrup
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Phu Huynh                                         Pratsanee Galluzzo
233 Bellam Blvd                                   7202 Nocona Drive
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10965 West 192nd Place                              11859 Goodale Ave
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Preston Ward                                        Queenaly Tran
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Proimsa Jose Munoz                                  Rachael mehaffey
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Qiangqiang Hu                                       Rachel Ardry
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qinglu he                                           Rachel Bailey
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Temple City, CA 91780                               Lawrenceburg, TN 38464
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125 Coal Street                                      32471 Wisconsin Street
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Rachel charlie dixon Dixon                           Rachel Melfi
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Rachel Hensberger                                    Radito Orodio
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York, PA 17408-8843                                  Buxton, ME 4093
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Rae Valdez                                          Rafaela Ortiz
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Raed Moukarem                                       Rafaella Bressan
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San Antonio, TX 78230                               Sanford, FL 32773


Raelenn Muldrow                                     Raiann Maas
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Raeshawn Spence                                     Rain Whelan
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rafael garcia                                       Raina Chalkley
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Rafael Hernandez Jr                                 Raissa Serna
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Rafael Rivera                                       Ralph Gilson
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PORTLAND, OR 97225                                  Bay Point, CA 94565
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San Ramon, CA 94582                                  Houston, TX 77049-7295
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Riley Payne                                           Robby Gann
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robert olvera                                     Robert Sevigny
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Rocio Saravia                                         Rodolfo Diaz
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Roger Elswood                                       Ron Eng
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Wilsonville, OR 97070                               Oviedo, FL 32765


Roland Mello                                        Ronald DeMartines
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San Antonio, TX 78245                               Staten Island, NY 10302


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Nipomo, CA 93444                                    SACO, ME 4072


Rolando Michel                                      Ronald Herrera
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Clermont, FL 34711                                  Daly City, CA 94014


Rolland Geiger                                      Ronald Tai
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Cary, NC 27518                                      Albertson, NY 11507


Romeo Clarke                                        Ronald Toyer
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Zimmerman, MN 55398                                 New York, NY 10026


Romeo Lovelace                                      Ronaldo Chen
810 5th St.                                         425 N Olive Ave
Sheldon, IA 51201                                   Alhambra, CA 91801-2243
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Ronaldo S Abagatnan Jr                            Rosa Gonzalez
PO BOX 20483                                      1300 Keller Pkwy, apt 323
Barrigada, GU 96921                               Keller, TX 76248


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Dartmouth, MA 2748                                Staten Island, NY 10310


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Franklin, TN 37069                                Redlands, CA 92374


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Shepherdsville, KY 40165                          Perris, CA 92572


Ronie Camejo                                      Rosa Rodriguez
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Roniel Ortega                                     Rosa Torres
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Katy, TX 77493                                    Blue Island, IL 60406


Ronnie Arredondo                                  roscoe wentworth
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San Antonio, TX 78225                             San Antonio, TX 78253


Ronnie Buzzetta                                   Rose Pulickal
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Alexandria, LA 71303-2151                         Rochester, NY 14624


Ronnie Hinojosa                                   Rosemary Cantu
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Harlingen, TX 78550                               White Settlement, TX 76108


Ronnie Newton                                     Rosendo Garcia
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Southbridge, MA 1550                              Chicago, IL 60618


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SHERWOOD, OR 97140                                JANESVILLE, WI 53548


Rory Kennedy                                      Ross Martin
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Route App, Inc. dba Safe Order Solutions           Ruben Castaneda
1557 W Innovation Way - Suite 200                  6340 Whittier Ave, Apt C, Whittier CA 90
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Bremerton, WA 98312                                Wilmington, CA 90744


Rowan Pearson                                      Ruben Fernandez
705 East 222nd st, 1                               1119 West 10th Street
Bronx, NY 10467                                    Mesa, AZ 85201


Roxana Merlos                                      Ruben Hernandez
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Houston, TX 77053                                  Houston, TX 77093


Roxanna Hembree                                    Ruben jay Macaraeg
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Marshall, NC 28753                                 Pepeekeo, HI 96783


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Roxanne Reed                                       Ruben Martinez
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SKOKIE, IL 60077                                   Oklahoma City , OK 73159


Roxxana Manzanarez                                 Ruben Millan Jr.
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Roy Stephens                                       Ruben Rodriguez
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KESHENA, WI 54135-9401                             El Paso, TX 79938


Roy Tao                                            Ruben Salinas
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Ruben Betancourt Flores                            Ruben Sanchez
1826 E 83rd St                                     1020 South 30th Street
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Ruby Frank                                           Russell Sebastian
4031 Marathon St                                     160 Larsen Cir
Los Angeles , CA 90029                               Vallejo, CA 94589


Ruby Alvarado                                        Russell Sheppard
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BONITA, CA 91902                                     westlake, OH 44145


Ruby Bauer                                           Russell Stitz
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Louisville, KY 40272                                 Corona, CA 92878


Ruby Cassidy                                         Rusty Cole
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Strafford, VT 5072                                   Hopkinsville, KY 42240-8811


ruby wong                                            Rusty Harrington
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Rudy Alvarrz                                         Ryah Smith
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Fairfield, CA 94534                                  Tulsa, OK 74106


Ruelgar Ochosa                                       Ryan Abbruzzese
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San Diego, CA 92126                                  Glen Burnie, MD 21061


Rui Zhang                                            Ryan Alexander
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Rui-Ming Liu                                         Ryan Aquino
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Russell Champion                                     Ryan Choe
120 East 38th Street                                 8725 ARIVA CT, APT 462
Savannah , GA 31401                                  San Diego, CA 92123
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ryan collette                                           Ryan Guerrero
54 ST ASAPH ST                                          7107 Whitsett Avenue, Apt 2
LEOMINSTER, MA 1453                                     North Hollywood , CA 91605


Ryan Croft                                              Ryan Hannah
1314 West Chestnut Street, 1R                           4729 Spears St.
Chicago, IL 60642                                       Pace, FL 32571


Ryan Davis                                              Ryan Hawks
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PAINESVILLE, OH 44077                                   Tomball, TX 77375


Ryan Day                                                Ryan Henneberque
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Hemet, CA 92544                                         FORESTVILLE, CA 95436


Ryan De Freitas                                         Ryan Houle
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Parrish, FL 34219                                       Deltona, FL 32738-8949


Ryan De Korte                                           Ryan Hunt
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Grand Rapids, MI 49504                                  Cincinnati, OH 45245


Ryan Deaver                                             Ryan Kennedy
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West Jordan, UT 84081                                   Pasadena, CA 91101


Ryan Degregorio                                         Ryan Kenter
2706 El Rastro Ln                                       928 Edwards Rd
Carlsbad, CA 92009-9109                                 Cincinnati, OH 45208-3409


Ryan Ditmars                                            ryan ladd
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Parkville, MO 64152                                     VENICE, FL 34293


Ryan Duane                                              Ryan LeBlanc
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Odessa, FL 33556                                        GONZALES, LA 70737


Ryan Fox                                                ryan lu
1100, Victory ln , apartment 16                         9353 glendon way
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Ryan Gilbert                                            Ryan Meizinger
5481 Evening Canyon Way                                 1 Weatherhill Road
Alta Loma, CA 91737                                     Hamburg, NJ 7419
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Ryan Mitchell                                       Ryan Wyszynski
24215 Kuykendahl Road, 1236                         10294 Fairchild Rd
Tomball, TX 77375                                   Spring Hill, FL 34608


Ryan Morgan                                         Ryan Zi
7296 South 525 East                                 7 Sycamore Lane
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Ryan N Campos                                       Ryane Thibodeau
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Ryan Partridge                                      Rylan Daley
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Ryan Richardson                                     Ryou Kai
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Ryan Rodriguez                                      SS
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Hesperia, CA 92345                                  American Canyon, CA 94503


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ROCHESTER HILLS, MI 48307                           Columbia, MD 21045


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Morton Grove, IL 60053                              HUTTO, TX 78634


Ryan Shatto                                         Sade Smith
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West Allis, WI 53214                                San Clemente, CA 92672


Ryan Srarkey                                        Sadie Fuller
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Ryan Wesley                                         Sadie Walkup
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Castaic, CA 91384                                   Pasadena, CA 91107
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Sahara Brown                                        Sally Aguilar
2443 Farm to Market Road 1488, 2005                 15356 Marburn
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Sahara Stevenson                                    Sally Cardaci
236 Etna St                                         3420 Gulfshore Blvd north, Unit 21
Russell, KY 41169                                   Naples, FL 34103


Sahian Villegas                                     Sally Leigh
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Madera, CA 93638                                    Reedsburg, WI 53959


Sai wai To                                          Sally Nguyen
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Whitestone, NY 11357                                Harper Woods, MI 48225


Sakib Matin                                         Salman Dass
30-53 69th St                                       128 Neptune Avenue, 5
Woodside, NY 11377                                  Jersey City, NJ 7305


Sakura Reyes                                        Salvador Arias
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Sal Castellanos                                     Salvador Cano
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Sacramento, CA 95838                                Whittier, CA 90601


Sal Perdichizzi                                     Salvador Heredia
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Bronx, NY 10460                                     Livermore, CA 94550


Saleem Sayage                                       Salvador Lerma
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Syosset, NY 11791                                   Bryan, TX 77803


Saleha Khan                                         Salvador Ramirez
3245 North Biggs Drive                              118 S Homerest Ave
Biggs, CA 95917                                     West Covina, CA 91791-1819


Salina Chan                                         Salvador Rodriguez
118 Glenwood Street                                 1310 s 57th ct
Malden, MA 2148                                     Cicero, IL 60804


SALINA RAMIREZ                                      salvador salinas
11656 Warbler Way                                   1309 Caplin Street
Moreno Valley, CA 92557                             Houston, TX 77022
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Salvador Torres                                     Samantha Blackowl
473 east 7th street                                 1165 Shelly Rd
reno, NV 89512                                      Yukon, OK 73099


Salvatore Candido                                   Samantha C Heiser
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Brooklyn, NY 11214                                  Barrington, RI 2806


Salvatore Iodice                                    SAMANTHA CARRIZALES
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Goshen, NY 10924-2147                               EDINBURG, TX 78542


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3422 Ridgepark St                                   4561 Halfway Rock St
Caldwell, ID 83605                                  Las Vegas, NV 89147


Sam Fusani                                          Samantha Defreitas
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Wyandotte, MI 48192                                 Salem, MA 1970


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Doral, FL 33178                                     Queens, NY 11414


sam woods                                           Samantha Dews
2141 count rd e carmi IL                            10314 Strathmore Hall Street, APT 401
carmi, IL 62821                                     North Bethesda, MD 20852


Samael Dietsch                                      samantha Dohring
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Saman Mehrazar                                      Samantha Gerleman
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Inglewood, CA 90302                                 Silver Spring, MD 20902


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Samantha Johnson                                   Samantha Thomas
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Wylie, TX 75098                                    whitsett, NC 27377


Samantha Kahns                                     Samantha Tomlin
1741 Sierra Norte Loop NE                          1316 County Highway 5
Rio Rancho, NM 87144-2526                          Hayden, AL 35079


Samantha Kosina                                    Sami Riley
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Samantha McNulty                                   Samira Sarakbi
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Braintree, MA 2184                                 Jacksonville, FL 32225


samantha moosman                                   Sammy Hecker
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Samantha Ocura                                     Sammy Vaysman
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San Antonio, TX 78224                              Brooklyn, NY 11229


Samantha Price                                     Sampson Austin
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Samantha Sark                                      Samuel Arevalo
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BAKERSFIELD, CA 93312                              Dallas, TX 75217


Samantha Sellers                                   Samuel Bird
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Springfield, OH 45503                              Evesham, NJ 8053


Samantha Skinner                                   Samuel Cooke
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San Jose, CA 95126                                 Fort Mill, SC 29715


Samantha Spears                                    samuel hilborn
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Seattle, WA 98122                                  reno, NV 89509
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Samuel Kok                                         Sandra Juarez
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Samuel Moran                                       Sandra Mollette
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Port Hueneme, CA 93041                             Bronx, NY 10469


Samuel Pruyn                                       Sandra Sharpe
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Samuel Vargas                                      Sandralee Sanchez
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Samuel Welchel                                     Sandy Cuellar
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San Diego, CA 92112-8458                           Auburn, CA 95602


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Sand Phan                                          Sandy Switzer
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Sandra Espinosa                                    Sandy Turnbull
19 Harrington Street                               98 Lewis St
Courtdale, PA 18704                                Phillipsburg, NJ 08865-2927
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Sandy Vo                                           Sara Sims
8382 WESTMINSTER BLVD, APT 16, APT 16              1112 Corinth Greens Dr
WESTMINSTER, CA 92683                              Sun City Ctr, FL 33573-8065


Santiago Avila                                     Sara Wells
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El Monte, CA 91731                                 ANDOVER, MA 1810


Santiago Maza                                      Sarah Barnett Thompson Thompson
108 Hover Creek Rd                                 822 Oak Drive
Savannah, GA 31419                                 Marion, OH 43302


Santiago Rodriguez                                 Sarah Cannon
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El Paso, TX 79912                                  Lakewood, NJ 8701


Sara Atrach                                        Sarah Chandler
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Ridgefield Park, NJ 7660                           Westfield, IN 46074


Sara Bhagwan                                       Sarah Cole
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Sara Burkart                                       Sarah Coleman
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Lake Havasu City, AZ 86406                         Taylor, MI 48180-3419


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Sara Lipka                                         Sarah Delgado
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Lincoln, NE 68523                                  Glendale, AZ 85304


Sara Perugini                                      Sarah Dennis
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Waterbury, CT 6704                                 Cazenovia, NY 13035


Sara Piersainvil                                   Sarah Duffy
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Orange, NJ 7050                                    Feasterville-Trevose, PA 19053
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Sarah Edmiston                                      Sarah O'Leary
137 Palm Circle                                     14 Constantine Ct
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Sarah Glinka                                        Sarah Pannenberg
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SARAH GOEHRING                                      Sarah Petersen
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San Diego, CA 92120                                 Seekonk, MA 2771


Sarah Goldacker                                     Sarah Rahim
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Murrieta, CA 92563                                  Rancho Cucamonga, CA 91701


Sarah Gonzalez                                      Sarah Rajala
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San Sebastian, PR 685                               Windsor Locks, CT 06096-2328


Sarah Krull                                         Sarah Read
70 Rosedale Apartments, 70                          51 SARATOGA DR
Hershey, PA 17033                                   Pittsfield, MA, MA 1201


Sarah Martinez                                      Sarah Rohde
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Sarah Martuscello                                   Sarah Sastoque
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Sarah McGehearty                                    Sarah Sloan
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TEMPE, AZ 85282                                     Westville, IN 46391-9341


Sarah Murphree                                      Sarah Sotsuda
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SARAH NAKIHEI                                       Sarah Stelly
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Everett, WA 98208                                   Harker Heights, TX 76548


Sarah Noble                                         Sarah Terry
42560 Adelbert Street                               605 Sinewell Drive
Elyria, OH 44035                                    Wake Forest, NC 27587
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sarah thompson                                       Saul Nava-Contreras
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MIDDLETOWN, OH 45044-9794                            Las Vegas, NV 89122


Sarah Webster                                        Saul Ramirez
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Knoxville, TN 37938                                  Uniontown, PA 15401


sarah whitney                                        Savanah Nehls
339526 e 1030 rd                                     2505 30th st dr NE
meeker, OK 74855                                     Hickory, NC 28601


Sarah Wornom                                         Savannah Barnes
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Hampton, VA 23669                                    Oberlin, OH 44074


sarahlynn conley                                     Savannah Wagner
7617Lipizzan Rd                                      1223 Harley Cir.
Oklahoma city, OK 73132                              STARKE, FL 32091


Sarahy Vasquez                                       Savannah Walker
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Los Angeles, CA 90031                                Carson, CA 90746


Sarina Singh                                         Savas Tasiopoulos
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Sarnai Gankhuyag                                     Sawie Barrios
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Sasha Rue                                            Schaine Carter
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Saul Barrera                                         scott merkle
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Dallas, TX 75211                                     vandalia, OH 45377-0223


Saul Figueroa                                        Scott Barker
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Maywood, CA 90270                                    North Attleborough, MA 2760
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scott bickler                                    Scott Johnson
1810 peachtree drive                             W4790 Palmer Rd
valparaiso, IN 46383                             Lake Geneva, WI 53147-2626


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196 Winners Circle                               15 N 12th Ave
Red Lion, PA 17356                               Manville, NJ 8835


Scott Carroll                                    Scott Kelley
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CHATTANOOGA, TN 37415-5602                       Hayes , VA 23072


Scott Chapin                                     Scott Kramer
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Portland, OR 97266                               Alsip, IL 60803


Scott Clevenger                                  Scott Larson
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Johnstown, PA 15905                              Middletown, CT 6457


Scott Crocker                                    Scott Miller
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Lewiston, NY 14092                               Citrus Heights, CA 95610


Scott Frix                                       Scott Mills
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Scott Greve                                      Scott Mittledorf
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Scott Hall                                       SCOTT NIELSEN
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Denver, CO 80228                                 SAN DIEGO, CA 92102


Scott Helm                                       Scott Norman
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SCOTT HOLLOMAN                                   Scott Petersen
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MOUNT VERNON, IN 47620                           Lincoln, NE 68516


Scott Irvin                                      Scott Pryor
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ROCKFORD, IL 61108-7981                           Tannersville, PA 18372
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Sean McKibben                                         Sean Walsh
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5001 Henderson Rd                                  7040 Sawley Ct
Temple Hills, MD 20748                             Talahassee, FL 32713
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Trenton, NJ 8619                                  New castle, DE 19720


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Shan Olsen                                        shannon cowell
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Shanahan Lim                                      Shannon Duncan
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Shane Chua                                        Shannon McMaster
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Laguna Niguel, CA 92677                           Manassas, VA 20110


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Shane Jenkins                                     Shannon Riddle
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Thousand Oaks, CA 91362                           Macon, GA 31220-1968
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Shannon Tighe                                        Sharon Malicsi
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Shawn Reed                                          Sheila Perez
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Shay Reever                                         Shelia Austin
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Millcreek, UT 84117                                 HAMPTON, VA 23669


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Sammamish, WA 98074                                 San Francisco, CA 94105


Sheree Hedrick                                      Shopify Inc.
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Sherida Magana                                      Siamak Ghahremani
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Sherlyn Morales                                     Sid Woodcook
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LYNN, MA 01902-3599                                 Pine City, NY 14871


Shermayne Reyes                                     Sidney Bui
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SHERRY COLOCHO                                      Sienna Beck
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Los angeles, CA 90063                               Rockingham, VA 22801-2318


Sherwin Li                                          Sierra Bangs
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Sheseng Lauwidjaja                                  Sierra Bullock
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Sinatra sinatra                                    Sofia Thakur
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Sir Swaggy Pants1                                  Solmari Figueroa-Ojeda
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Sirot Martin                                       Songming Zhao
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Skyler Meine                                       Sonia Guzman
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Skyler Van hoy                                     Sonia Mastroianni
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Newport News, VA 23607                             Clinton, CT 6413
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sonya avakian                                       Spencer Wallin
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sonya sutton                                        Sruthi Thinakkal
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Sophia DeMiguel                                     Stacey McKenzie
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Sophia Monroy                                       Stacie Davis
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SOPHIA MURPHY                                       Stacy Kamin
75 ELK CT                                           163 Meli Ln
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Austin, TX 78758                                    La Crosse, WI 54601
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Stanley Worth                                       Stella Labellarte
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Star Panora                                         Stellmarys Lopez
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                                                    Stephanie Elleman
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                                                    Stephanie Eller
Stefan Eccles                                       4508 Duke St
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                                                    Stephanie Ferniza
Stefani Swiatkowski                                 1213 Dani Ln, null
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                                                    Stephanie Hernandez
Stefania Guarneri                                   7530 SW 37TH ST
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Stephanie Nicole Ortiz Vega                         Stephanie Stewart
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buena park, CA 90620                               Belton, MO 64012


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Steve Soukaserm                                    STEVEN EDER
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Steven Hom                                           Steven Tuttle
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Steven Kent Mapes                                    Steven Tyree
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Steven Lopez                                         Steven x Kenyon
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Elm Mott, TX 76640                                   Breckenridge, MN 56520
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4178 Liberty Drive                                3600 West Kirkwood Street
Orchard Park, NY 14127                            Rogers, AR 72758
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Edon, OH 43518-9679                                Watervliet, NY 12189


Sydney Underwood                                   Takashi Midorikawa
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Erlanger, KY 41018                                   San Francisco, CA 94124
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30 Taft Ave                                           262 Capitan St
Lynbrook, NY 11563-1429                               Thousand Oaks, CA 91320


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Tarek Refaie                                          Taylor Kimberly
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montville, NJ 7045                                    La vista, NE 68128


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Tawnia White                                          Ted Quitasol
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tayler smith                                          TEENA LORIE HARRIS
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Manor, TX 78653                                       Gainesville, VA 20155
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1018 S Adams Rd                                  128 Fairview Lane
Spokane Valley, WA 99037                         Streamwood, IL 60107


Thomas Paige                                     Thomas Custer
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thomas accaria                                   Thomas Domenech
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Thomas Arenas                                    Thomas Fank
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Thomas Black Hawk Jr                             Thomas Harms
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Thomas Blake                                     Thomas Holloran
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268 Winding Pond Road                            2804 North 13th Street
Londonderry, NH 3053                             Broken Arrow, OK 74012
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Cerritos, CA 90703-1904                              Lockport, NY 14094


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The Dalles, OR 97058                                 Somerset, KY 42503
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timothy dorris                                     Timothy Strait
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Tom Demarco                                          Tommy Simpkins
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Tom Lohr                                             Tomy Nicolas
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fairport, NY 14450                                   South Chicago Heights, IL 60411


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Canton, OH 44709                                     Portland, OR 97251-9615
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Rowland Heights, CA 91748                         Fresno, CA 93725
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Traci Lew                                          Travis Clark
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Tramayne Harris                                    Treasure Nyame
1878 Fred Jackson Way                              817 Majestic Rock Ave
Richmond, CA 94801                                 Las Vegas, NV 89128
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Treavor Hansley                                    Trini Vela
101 Bogie Dr                                       1001 Fremont Avenue, Unit 3435
Suffolk, VA 23434-9277                             South Pasadena, CA 91030


Tremaine Pollard                                   Trisha Hillis
8652 38th ave S                                    5330 31st Ave. N.
Seattle, WA 98118                                  St. Petersburg, FL 33710


Trend Setters LTD.                                 Trishia Parshall
22500 State Rt. 9                                  2855 Arbor Gardens Drive
Tremont, IL 61568                                  Evans, CO 80620


Trent Stassi                                       Trista Cruz
27777 Violet                                       587 Susquehanna Avenue
Mission Viejo, CA 92691                            Wyoming, PA 18644


Trevor Benoit                                      Tristan Cochran
830 Norman st                                      10451 Greenbrier Road, 120
Fall River, MA 02721-4636                          Minnetonka, MN 55305


Trevor Lehr                                        Tristan Enciso
804 Dillon Drive                                   250 Knoll Rd, Apt 46
Normal, IL 61761                                   San Marcos, CA 92069


Trevor McConnaughey                                Tristan Leone
8742 Capstone Ranch Drive                          235 92 st
New Port Richey, FL 34655                          Brooklyn, NY 11209


Trevor Schenck                                     Tristan Piper
19686 Perch Ct                                     3736 Rotz Road
Lake Oswego, OR 97034                              Chambersburg, PA 17202


Trey Nies                                          Tristan Salvanera
1201 S Scott St, 406                               1235 Moss Springs Road
Arlington, VA 22204                                Albemarle, NC 28001


Trey Wandler                                       Tristen Wood
312 6th Street                                     15129 Wire Road
Stevensville, MT 59870                             Coaling, AL 35453


Trey Wiley                                         Triston Kapper
Ripple Creek Drive 2203                            111 Bennett court
Rosenberg, TX 77471                                Festus, MO 63028


Tricia Mae S. De Los Reyes                         Triston Myers
1605 Merchant St. Apt. G                           3638 LA-27
Sparks, NV 89431                                   Sulphur, LA 70663
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Troy Bernal                                        Tunji Smith
800 Rebecca Street                                 6817 Parkers Crossing Dr.
Weslaco, TX 78596                                  Charlotte, NC 28215


Troy Caywood                                       Turner Swann
420 North Pine Street                              3779 N DENNY WAY
Pratt, KS 67124                                    Buckeye, AZ 85396


Troy Hopp                                          Tury Ruiz
1229 ne Michigan avenue, 1229 ne Michiga           2820 Neptune Ct, A
Topeka, KS 66616                                   LEMOORE, CA 93245


Troy Schneider                                     Tuwayne Foster
811 river raft ct                                  1850 chestnut pl apt 401
Modesto, CA 95351-4533                             Denver, CO 80202


Troy Tedder                                        Ty Grittner
4121 Honey Creek Blvd                              1859 5th Ave Clarkston
Russiaville , IN 46979                             Clarkston, WA 99403


Truc Phan                                          Ty Hall
329 North Conlon Avenue, B                         2010 North Irving Street
West Covina, CA 91790                              Fremont, NE 68025


Truman Dowdy                                       Ty Latiolais
24611 Lori Ln                                      566 Kuhne Heights, Troy MO 63379
Magnolia, TX 77355                                 Troy, MO 63379


Tsivyah Levine                                     Ty Walker
2C N Main St, #74                                  259 N Monroe Dr
Williamsburg, MA 1096                              Xenia, OH 45385


Tsun Hung Ko                                       Ty, Damon,
920 Clementine Ct, Unit B                          15882 Antioch Rd
Azusa, CA 91702                                    White City, OR 97503


Tuan Dang                                          Tyhler Williams
1931 east calico dr                                4635 Sw Mueller Dr, E204
West Covina, CA 91791                              Beaverton, OR 97078


Tuan Nguyen                                        Tyler White
15243 Arcturus Ave                                 7252 W Ratliff Rd.
Gardena, CA 90249-4111                             Bloomington, IN 47404


Tung Nguyen                                        Tyler Abercrombie
10652 Paloma Ave.                                  159 Fixie
Garden Grove, CA 92843                             Irvine, CA 92618
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Tyler Blankenship                                  Tyler Hays
714 S 21st Ave                                     3217 Brereton St, APT 3
Hattiesburg, MS 39401                              Pittsburgh, PA 15219-3775


Tyler Blount                                       Tyler Kerr
314 Speers Valley Cir                              12905 Red Spruce Cir
Brandon, MS 39042                                  Oklahoma City, OK 73142


Tyler Christian                                    Tyler Liegmann
1277 FISHING CREEK RD                              3224 South Wallace Street
Clover, SC 29710-1682                              Chicago, IL 60616


tyler collins                                      Tyler Lopes
60 little road                                     50 Paisley Boulevard West, 610
altoona, AL 35952                                  Mississauga, ON L5B 1C9


Tyler Darling                                      Tyler Marlowe
15730 East Kim Drive                               3865 Cromwell Lane
Fountain Hills, AZ 85268                           Williamsburg, VA 23188


Tyler Day                                          Tyler Mcintosh
4827 Sanford Street                                29664 ostreich
Fair Oaks, CA 95628                                Brownstown, MI 48173-9745


Tyler Domanski                                     Tyler Medick
750 North Dover Drive, 750                         8048 S 116TH ST
Independence, MO 64056                             SEATTLE, WA 98178-3842


Tyler Ehresman                                     Tyler Meeker
3228 Rialto Ave                                    1512 South Rocky Mountain Drive
Clovis, CA 93619                                   Tucson, AZ 85710


Tyler Emrick                                       Tyler Mild
5645 Spring Hill Road                              200 Greenway Avenue
Grove City, OH 43123                               Seneca, PA 16346


Tyler Freeman                                      Tyler Powers
2646 Providence Road                               1123 Nature Trail
Cassatt, SC 29032                                  Manchester, MI 48158


Tyler Harper                                       Tyler Reed
280 Prospect Street                                408 calumet ave NE, Apt 40
Pottstown, PA 19464                                De Smet, SD 57231


Tyler Harris                                       Tyler Rice
6464 NY-23                                         6457 Hemmingford Dr
Oneonta, NY 13820                                  Canal Winchester, OH 43110
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Tyler Seminchuk                                    Understand the Concept
14175 savannah road                                4 Red Leaf Rose Court
Amarillo, TX 79118                                 Reisterstown, MD 21136


Tyler Whitecotton                                  Unishippers
561 W Stratford Place, #5A                         16 Corporate Woods Blvd. - Ste 2
Chicago, IL 60657                                  Albany, NY 12211


Tyler Young                                        Uriel Luna
7089 Copperwood Way                                113 East Davis Avenue, 662
Columbia, MD 21046                                 Weatherford, OK 73096


Tymon Woods                                        uriel renteria-valdez
724 Paige Circle                                   3783 trellis view ave
Nashville, TN 37207                                las vegas, NV 89115


tyrell steele                                      val storino
9009 greenwood avenue North, apt 311               1755 Lily Pond Circle
Seattle, WA 98103                                  Henderson, NV 89012


Tyreq Moulton                                      valentin perales
770 Mitchell Avenue                                6923 Emerald Pool Lane
Whiteman Air Force Base, MO 65305                  Spring, TX 77379


Tyson Kubota                                       Valentine Lan
5835 Tellefson Rd                                  820 North Delaware Street, 301
Culver City, CA 90230-5471                         San Mateo, CA 94401


Tyszko, Joseph                                     Valeria Gonzalez
15220 Rosarie Drive                                15424 West White Road
Homer Glen, IL 60491                               Medical Lake, WA 99022


Tzer Hang                                          Valeria Juarez
1614 S 106th St                                    310 Falcon Drive
Seattle, WA 98168                                  Absecon, NJ 8201


Ulises Minaya                                      Valeria Medina
7335 Fairway Drive, Apartment 623                  1917 South Broadway, Apt A
Miami Lakes, FL 33014                              Escondido, CA 92025


Ultra Tokyo Connection                             Valeria Yundt
5589 Ayala Ave.                                    63 Faneuil st
Irwindale, CA 91706                                Windsor, CT 6095


Una Kang                                           Valerie Aguirre
256 Academy Street                                 323 Front Street, Apt. 313
South Orange, NJ 7079                              Salinas, CA 93901
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Valerie Balanon                                     Vanessa Dye
2200 Silver Lane, Apt 101                           5251 Garden Creek Road
New Brighton, MN 55112                              Rowe, VA 24646


Valerie Hunter                                      Vanessa Fernandez
15586 Rockwell Ave                                  38608 36th Street East
Fontana, CA 92336-4178                              Palmdale, CA 93550


Valerie Morales                                     Vanessa Fisher
1010 Southwest 5th Street                           9705 South Prairie Road
Grand Prairie, TX 75051                             Tillamook, OR 97141


Valerie Philipps                                    Vanessa Garcia
9279 Hickory Ridge Drive                            3236 1/2 32nd St
Streetsboro, OH 44241                               San Diego, CA 92104


Valerie Ramirez                                     Vanessa Guest
1858 NW 93rd Terrace                                20507 Morning Creek Dr.
Plantation, FL 33322                                Katy, TX 77450


Valerie Stephens                                    Vanessa Guillen
5429 Newcastle Avenue, #322                         3951 Guardia Avenue
Encino, CA 91316                                    Los Angeles, CA 90032


Valerie Vazquez                                     Vanessa Morales
2636 s 59th ave                                     1126 Edgedale Drive
Cicero, IL 60804                                    Salisbury, NC 28144


Valerie Walton                                      Vanessa Villalobos
5502 Pinelawn Ave                                   12549 West Calle De Baca
Chattanooga, TN 37411                               Peoria, AZ 85383


Vanessa Alvarez                                     Vanity Alston
206 WOODARD ST                                      101 McLellan Dr, Apt. 1042
HOUSTON, TX 77009-1820                              South San Francisco, CA 94080


Vanessa Ansley                                      Vanity Wilson
480 North Davis Boulevard                           5820 South Tripp Avenue
Bountiful, UT 84010                                 Chicago, IL 60629


Vanessa Bourassa                                    Varinia Chua
401 Main Ave N                                      1 AEROPOST WAY GUA-47326
Park Rapids, MN 56470                               MIAMI, FL 33206


Vanessa Campos                                      Vassana Earle
6815 Du Boise Road                                  14 Old Beahan Road
Houston, TX 77091                                   Rochester, NY 14624
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Venika Bibra                                          Veronica McNicholas
25221 Pike Road                                       29 Watson Hill Road
Laguna Hills, CA 92653                                Raymond, NH 3077


Ventura Uitz                                          Veronica Stegall
3640 West 110th Street, Apt b                         11854 garney hood road
Inglewood, CA 90303                                   Denham springs, LA 70726


Ver nica Martinez                                     Veronika Frystacka
227 s llanos st                                       3314 Northside Drive, #92
Cortland, IL 60112                                    Key West, FL 33040


Vera Lulgjuraj                                        Vicente Cruz
16 James Drive                                        4926 Jarl Court
Brewster, NY 10509                                    Katy, TX 77449


Verizon                                               Vicente Garcia
500 Technology Dr. - Suite 5550                       1350 SW 122ND AVE APT 305
Weldon Spring, MO 63304                               Miami, FL 33184


Vermont Department of Taxes                           vicente mendoza
PO Box 1881                                           4350 Cedar Ave, Apt C
Montpelier, VT 05601-1881                             El Monte, CA 91732


Veronica Matos Fernandez                              Vickie Marino
1309 Virginia Boulevard                               N2481 COUNTY HIGHWAY P
San Antonio, TX 78203                                 SARONA, WI 54870-9410


Veronica Alatorre                                     Victor Antonio
9050 Kern Ave Unit H4                                 15008 Allendale Lane
Gilroy, CA 95020-7508                                 Conroe, TX 77302


Veronica Alatorre                                     Victor Avena
9050 Kern Avenue, Unit H4                             936 Dalrymple Rd
Gilroy, CA 95020                                      Las Cruces, NM 88007


Veronica Carpentier                                   Victor Badillo
4747 Luka Lane                                        444 Encinitas Avenue
Laredo, TX 78046                                      San Diego, CA 92114


Veronica Castilleja                                   Victor Barba
1716 N 49TH ST                                        1537 Applegate St
MCALLEN, TX 78501                                     Chula Vista, CA 91913-1580


Veronica Gonzalez                                     Victor Barrios
320 Derecho Way                                       45321 Kingtree Avenue
Tracy, CA 95376                                       Lancaster, CA 93534
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victor barros                                       Victor Medrano
234 Green Valley Road                               5150 Airport Rd, Lot A20
East Meadow, NY 11554                               Colorado Springs, CO 80916-1625


Victor Cosme                                        Victor Ovalle Jr
940 Sonata Lane                                     12222 Bristol Dr
Orlando, FL 32825                                   La Mirada, CA 90638


Victor Flowers                                      Victor Perez
1310 W Lambert Rd, 176                              13314 Goodland Street, #207
La Habra, CA 90631                                  Farmers Branch, TX 75234


Victor Gonzalez                                     Victor Perez
53378 Shady Lane                                    211 Young St,
Coachella, CA 92236                                 Nocona, TX 76255


Victor Gonzalez                                     victor saldivar
73 East Hopkins Avenue                              1135 Hawthorne Ave E,
Pontiac, MI 48340                                   SAINT PAUL, MN 55106


Victor Hillerich                                    Victor Santaella
6502 Southside drive, 6502 Southside dri            35734 Mission Blvd
Louisville, KY 40214                                Fremont, CA 94536


Victor Lizardi                                      Victor Sosa
10357 Del Mar Cir.                                  908 4th ave se
Tampa, FL 33624                                     Hampton, IA 50441


victor llano                                        Victor Wright
12555 Jackson Heights Drive                         8151 EASY MEADOW DR
El Cajon, CA 92021                                  CONVERSE, TX 78109-3462


Victor M Sosa Rincon                                Victoria Lewis
908 4th AVE SE                                      River Road, 333
Hampton, IA 50441                                   Andover, MA 1810


Victor Martinez                                     Victoria Valenzuela
1513 W PICO BLVD APT 20                             7219 Teresa Ave
Los Angeles, CA 90015                               Rosemead, CA 91770


Victor Martinez                                     Victoria Carrillo
9818 Hoback St                                      19 Furman Circle
Bellflower, CA 90706                                Kenner, LA 70065-3917


Victor Medina                                       Victoria Flores
14 W 41 ST                                          18557 Eagles Roost Dr
Anderson , IN 46013                                 Germantown, MD 20874
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Victoria Gonsor                                       Vincent Basile
1213 E. 70th Street North                             19 Central Ave
Sioux Falls, SD 57104                                 Oneonta, NY 13820


Victoria Hubauer                                      Vincent Beltran
5875 Crestwick Way                                    314 East South Street
Cumming, GA 30040                                     Wilkes Barre, PA 18702


Victoria Lewis                                        Vincent Cestone
57456 Cypress Avenue                                  58 Harrison St
Slidell, LA 70461                                     Little Falls, NJ 7424


VICTORIA MARTINE                                      Vincent Dorsey
5523 NEOLA ROAD                                       261 north street
STROUDSBURG, PA 18360                                 Westfield, PA 16950


Victoria Moreno                                       Vincent Flores
320 Town Center Pkwy, 2511                            2502 Piping Rock Trail
Santee, CA 92071                                      Austin, TX 78748


Victoria Rivera                                       Vincent Greco
7 taras drive                                         71 Jog Hill Road
Fords, NJ 8863                                        Trumbull, CT 6611


Victoria Sertich                                      Vincent Gutosky
6718 Callaghan Rd, Apt 601                            2216 Early Settlers Road
SAN ANTONIO, TX 78229                                 Richmond, VA 23235


Viet Le                                               Vincent Kwong
6113 Summerset Drive                                  14444 Wicks Boulevard
Midland, MI 48640                                     San Leandro, CA 94577


Viet Nguyen                                           Vincent Nagoshi
6633 Brookite Court                                   15690 Bernardo Center Drive, Apt 2208
Carlsbad, CA 92009                                    San Diego, CA 92127


Vince Pai                                             Vincent Palazzo III
9122 Sauternes Ct                                     45 Hamilton Road
Dallas, TX 75231                                      Cranston, RI 2910


Vince Vaca                                            Vinnie Gardner
8210 N Hickory St , Apt 9-027                         4028 17th ave so
Kansas City , MO 64118                                MINNEAPOLIS, MN 55407


Vincent Barron                                        Vioni Villanueva
91-1075 Oaniani St 9G, 9G                             4025 Porte La Paz, Unit 123
Kapolei, HI 96707                                     San Diego, CA 92122
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Virginia Department of Taxation                     VZW Customer Service
PO Box 1777                                         12659 Langstaff Dr
Richmond, VA 23218-1777                             Windermere, FL 34786


Vishal Govil                                        Wade Eiff
1234 30th Avenue                                    14205 N Fountain Hills Blvd., Unit A
San Francisco, CA 94122                             Fountain Hills, AZ 85268


Vivian Huynh                                        Wade Laymance
20520 Vose St.                                      317 Old Tacora Hills Rd.
Winnetka, CA 91306                                  Clinton, TN 37716


Vivian Savarese                                     Wade Walton
3711 Loma Ventosa                                   630 Martic Heights Drive
Sierra Vista, AZ 85650                              Holtwood, PA 17532


Vivian Tran                                         Wai Fong Chang
1422 Pass and Covina Road                           5396 Diana Common
La Puente, CA 91744                                 Fremont, CA 94555


Viviana gonzalez                                    Wakisha Bryant
813 West McKinley Street                            2665 Grand Concourse, APT 1C
Phoenix, AZ 85007                                   The Bronx, NY 10468


Vivien Seidler                                      Walter Gunn
115 Hearthstone Circle                              6502 Dellbank Drive
Bowling Green, KY 42101                             Cleveland, OH 44144


Von Young                                           Walter J Beese
301 N Main Street                                   536 Second St
Fithian, IL 61844                                   Carlstadt, NJ 7072


Vu Huynh                                            Wameng Lo
1209 SILK OAK DR                                    6681 Pasado Rd
SUISUN CITY, CA 94585                               Goleta, CA 93117


Vu Nguyen                                           wan hi lee
6614 42nd Ave S                                     3316 montrose ave, apt b
Seattle, WA 98118                                   la crescenta, CA 91214


Vu Trinh                                            Wanda Doviw
210 E 211th St.                                     72 East 190th Street, Apt E4
Carson, CA 90745                                    Bronx, NY 10468


Vy Nguyen                                           wang ning
4204 Copeland Avenue, Apt5                          1127 Main St
San Diego, CA 92105                                 Imperial, MO 63052
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Warren Chen                                       Wendy Murrell
1203 Danlea Court                                 PO Box 2277
Herndon, VA 20170                                 SUISUN CITY, CA 94585


Warren Rohr                                       Wendy velazquez
1421 8th Ave                                      7959 Bright Avenue, 10
Honolulu, HI 96816                                Whittier, CA 90602


Warren Vang                                       Wenhui Kong
9036 North Gilbert Place                          1238 66th Street
Portland, OR 97203                                Brooklyn, NY 11219


Wayne Armstrong                                   Wenyi Chen
12169-6 Northpointe Lane                          6601 127th Pl SE
holland, MI 49424                                 Bellevue, WA 98006


Wayne Hernandez                                   Wes Calder
5572 Green Shadows Pl                             11184 Snapdragon St
Orlando, FL 32811-2926                            Ventura, CA 93004


Wayne Miskelly                                    Wes Lovell
5060 Westminster Way, 905, 905                    33435 Morse Avenue
Beech Island, SC 29842                            Creswell, OR 97426


Weiheng Guan                                      Wesley Aleman
244 W 29th, #1f                                   11436 Tiger Tail Circle
chicago, IL 60616                                 Sandy , UT 84094


Wen Jie Mei                                       Wesley Clemons
11952 Chanteloup Dr                               240 Forest Drive
Houston, TX 77047                                 Lake Jackson, TX 77566


Wendell Alexander                                 Wesley Edwards
1241 South Ridgeley Drive                         1501 Oaks Road
Los Angeles, CA 90019                             Paducah, KY 42003


Wendy Gregory                                     Wesley Ellsworth
11469 S Open View Lane                            204 S Brand Blvd Ste 207
South Jordan, UT 84009                            San Fernando, CA 91340-3629


Wendy Martel                                      Wesley Horne
2 Valgo Way                                       1243 Wappetaw Place
Dudley, MA 01571-6030                             Mount Pleasant, SC 29464


Wendy McLaughlin                                  Wesley Jones
62 Penfield Ave                                   PO BOX 62
Croton on Hudson, NY 10520-2702                   Plainville, IN 47568-0062
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Wesley Li                                            Will Kois
2117 Blue Knob Ter.                                  2115 Dominion Drive
Silver Spring, MD 20906                              Charlottesville, VA 22901


Wesley Payne                                         Will Moore
655 Wall Street, Apartment 3                         43092 Thoroughfare Gap Ter
North Tonawanda, NY 14120                            Ashburn, VA 20148-7090


Wesley Smallwood                                     Will Moore
2004 Smoky River Road                                6350 Stonehaven Lane
Knoxville, TN 37931                                  Bedford Heights, OH 44146


Wesley Willmott                                      Will Temple
6651 Pickett Ave                                     893 Estey Way
Garden Grove, CA 92845                               Placerville, CA 95667


Westin Cross                                         Will Washington
22 E 500 N                                           6408 Anderson Drive
Santaquin, UT 84655                                  Temple Hills, MD 20748


Westin Wikstrom                                      Will Xu
4613 Hidden Lake Drive                               13201 Corrigan Avenue
Bountiful, UT 84010                                  Downey, CA 90242


Whitney Fauntleroy                                   Willard Smith
4251 Campbell Avenue, 201                            5445 E 172nd Ave
Arlington, VA 22206                                  Anchorage, AK 99516-5606


Whitney Mitchell                                     Willdavid Padilla
5220 Haynes-Sterchi Road                             1251 Northwest 20th Street, APT 419
Knoxville, TN 37912                                  Miami, FL 33142


Whitney Rehlander                                    Willi Valle
848 Woodsmans Mill Road                              741 Northwest 117th Street
Montville, ME 4941                                   Miami, FL 33161


Wilbur Norman                                        William Laboy Flores
2334 Twin Flower Ln                                  Calle norte 256
Sanford, FL 32771                                    Dorado, PR 646


Wild Star                                            William MANCHESTER
8693 Meadowbrook Drive                               247 Fair Street
Pensacola, FL 32514                                  Warwick, RI 2888


Wilfredo Matos                                       William Alexander
193 Chestnut Ridge Drive, Apto F                     903 Wexford Lane
Harrisonburg, VA 22801                               Statesboro, GA 30458
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William Belue                                    William Hall
305 Pryor Rd                                     202 Tallow Wood Drive
Taylors, SC 29687                                Clifton Park, NY 12065


WILLIAM BERNARD                                  William Hanna
1280 Birch Rd                                    26792 Lenox Avenue
Lebanon, PA 17042-9193                           Madison Heights, MI 48071


William Bierach                                  William Lee
213 Euphoria Circle                              1901 west Benjamin holt drive
Cary, NC 27519                                   Stockton, CA 95207


William Brown                                    William Long
1060 Mallard Ave                                 695 Duvall Hwy
Jordan, MN 55352                                 Pasadena, MD 21122


william callaway                                 William Maclean
804 PINE LEVEL LN                                2910 Rhineberry Road
CHESAPEAKE, VA 23322                             Rochester Hills, MI 48309


William Coffey                                   William Marsh
11709 Black Powder Drive                         1045 Culmer Dr
Knoxville, TN 37934                              VIRGINIA BEACH, VA 23454


William Corbusier                                William Masback
35 Crystal Mountain Ln                           2110 Southwest 19th Street
Maumelle, AR 72113                               Gresham, OR 97080


William Dempsey                                  William Maye
92 Shady Lane                                    8044 Hidden View Circle
Stamford, CT 6903                                Fair Oaks, CA 95628


William Dykes                                    William Mccleery
13803 ROUND TOP PL                               7718 Greenbrier Rd
LOUISVILLE, KY 40299                             Pennsauken, NJ 8109


William Gallagher                                William Mccullagh
579 Miller Ln                                    1905 Delrose St
Whitehall, PA 18052                              Joliet, IL 60435


William Grindler                                 William McGarry
45 Jackson Avenue                                170 NORTH ST
Rutherford, NJ 7070                              NORTH READING, MA 1864


William Guillen                                  William Moran
10233, English Oak Dr                            6450 Dougherty road, Apt 711
Austin, TX 78748                                 Dublin, CA 94568
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WILLIAM P. FABINA                                  William Snow
204 Boyer St.                                      12 Kings Crossing Ct Apt J
Johnstown, PA 15906                                Cockeysville, MD 21030


William Pague                                      William Thompson
1842 Pinehaven Drive                               16 Lawton rd Unit 28
Clinton, MS 39056                                  Manchester, CT 6042


William Ratliff                                    William Tubao
3335 N Christmas Ave                               12854 Pinefield Road
Tucson, AZ 85716                                   Poway, CA 92064


william rogers                                     William Vista
8589 Wilburn Cove                                  85-30 112th street
Navarre, FL 32566                                  Richmond hill, NY 11418


WILLIAM RUSSELL                                    William Whittemore
4683 LEE ROAD 11                                   1702 Tanglewood Drive
OPELIKA, AL 36804                                  Clinton, MS 39056


William Scheel                                     William Young
7224 Highland Loop                                 339 Palm Terrace Loop
Zephyrhills, FL 33541                              Conway, SC 29526


William Schweisthal                                Willie Gutierrez
2209 PASEO COURT                                   2401 West Sam Houston Parkway North, 903
LAS VEGAS, NV 89117                                Houston, TX 77043


William Shea                                       Willow Hall
81 South Highland Drive                            4 upland road
Lake Leelanau, MI 49653                            ASHEVILLE, NC 28804


william shockey                                    Willy Quijano
1209 w.fred                                        501 Bank Lane, Apt#201
Whiting, IN 46394                                  HIGHWOOD, IL 60040


William Smelser                                    Willy Wang
606 west pikes peak avenue                         3865 Duncan Pl.
Colorado springs, CO 80905                         PALO ALTO, CA 94306-4549


William Smith                                      Willy Williams
1 Weatherstone Way                                 38 Seeley Ave
Smithtown, NY 11787                                Keansburg, NJ 7734


William Smith                                      Wing Leung
215 Cloverbrook Circle                             12718 35th Ave SE, Apt A4
Pittsburg, CA 94565                                Everett, WA 98208-5663
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Winter Rose                                         XIAOHE TIAN
2638 North Wyoming Avenue                           203 Park Drive, Apt 326
Fremont, NE 68025                                   Boston, MA 2215


Wisconsin Department of Revenue                     Xiaoyi Zhang
PO Box 3028                                         35 Bradford Rd
Milwaukee, WI 53201-3028                            Scarsdale, NY 10583


Woodrow Bailey                                      Xingyu Liu
5115 Inaglen Way                                    2767 S Knightsbridge Cir
View Park-Windsor Hills, CA 90043                   Ann Arbor, MI 48105


wuolfran sanchez                                    Xinyi Hu
656 henry long blvd                                 1428 Rosecrest Terrace
stockton, CA 95206                                  San Jose, CA 95126


Wyatt Barber                                        Xinyou Yu
1463 Campton St                                     1580 Meadow Ridge Circle
Ely, NV 89301-2014                                  San Jose, CA 95131


Wyatt Skelton                                       Xinyu Ma
408 5th Ave E                                       7696 Oxgate Ct
Bryant, SD 57221                                    Hudson, OH 44236


Wyoming Department of Revenue                       xiuzhi zheng
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Cheyenne, WY 82002-0110                             BROOKLYN, NY 11214


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Xavier I. Caraballo                                 Yaleska Irizarry
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9180 Autumn Mist Ct                                 3935 white rose way
Las Vegas,, NV 89148                                ellicott city, MD 21042
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Belvidere, IL 61008                                 Watertown, MA 2472


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Albany, CA 94706                                    Worcester, MA 1604


Yaritza Loreto                                      Yen Ngo
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San Bernardino, CA 92405                            Alhambra, CA 91801


Yarlim Contreras                                    Yencie Ayala
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Yasaman Ghodse-Elahi                                yener parra
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Brooklyn, NY 11222                                  Elizabeth, NJ 7208


Yasin Ibn Majdoub Hassani                           yer xiong
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Yasmina Elmorabit                                   Yesenia Macias
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Yongxin Hu                                          yujie su
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Hacienda Heights , CA 91745                         Modesto, CA 95355


Young Kim                                           Yun Sang Chan
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yusuf syed                                         Zachariah Smith
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Za Greenhagen                                      Zachary Gilmore
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Zach Chambers                                      Zachary Heller
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Zach Hilts                                         Zachary Johnson
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MYRTLE BEACH, SC 29579                             Winter Haven, FL 33884


Zach M Alexander                                   Zachary Leighton-Ryan
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Summerville, SC 29483                              Kinderhook, NY 12106


Zach Mendelson                                     Zachary Matz
37 SAN SEBASTIAN                                   845 Hillman Court
RANCHO SANTA MARGARITA, CA 92688                   Morgan Hill, CA 95037


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288 Clemmer Ferry Road                             514 arrowhead rd
Benton, TN 37307                                   Front royal, VA 22630


Zach Ulle                                          Zachary Senat
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Zachary Sherman                                      Zane Bolton
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Zachery Lyons                                        Zennia Guerrero
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Zack Renfro                                          ZFEXZ HDB
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Zhidong Shi                                        Zoe C
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Suwanee, GA 30024                                  Huntsville , UT 84317


Zhihan Tao                                         zoe m
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College Station, TX 77840                          Englewood, FL 34224


Zhiwei Liu                                         Zoe Mecholsky
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Zhiwei Tan                                         Zoe Rhodes
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Ziggy Mj                                           Zoey Larson
4241 W Capitol Dr                                  506 Napoleon St
Milwaukee, WI 53216                                Valparaiso, IN 46383


Ziliang Chen                                       Zorawar Singh
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Zinab Antar                                        Zyler Pointer
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Zinaida Rapoport
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Zinnia Rodriguez
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Zo?? Pitts
8870 Chambray Road
Elk Grove, CA 95624
        Case
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                                      United States Bankruptcy Court
                                                                 District of New Jersey
                                               __________________________________
     In re Sure Thing Sales, LLC.
                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         5,000.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 0.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   5,000.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Beyond meeting of creditors. Any legal proceeding, including but not limited to, adversary proceeding initiated by the Trustee or any Creditors,
actions with respect to claimed exemptions and depositions.
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                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       05/29/2024                       /s/ Aiden Murphy, 12324
     _____________________             _________________________________________
     Date                                     Signature of Attorney
                                        Scura Wigfield, Heyer, Stevens & Cammarota LLP
                                       _________________________________________
                                            ​Name of law firm
                                        1599 Hamburg Turnpike
                                        Wayne, NJ 07470
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                                         United States Bankruptcy Court
                                                  District of New Jersey
 In re   Sure Thing Sales, LLC.                                                      Case No.
                                                            Debtor(s)                Chapter    7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Sure Thing Sales, LLC. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




May 23, 2024                                   /s/ Aiden Murphy
Date                                           Aiden Murphy
                                               Signature of Attorney or Litigant
                                               Counsel for Sure Thing Sales, LLC.
                                               Scura, Wigfield, Heyer, Stevens & Cammarota, LLP
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                                               Wayne, NJ 07470
                                               973-696-8391
                                               ecfbkfilings@scuramealey.com
